USCA Case #23-1157     Document #2009836           Filed: 07/27/2023   Page 1 of 430



                                     No. 23-1181
                                     No. 23-1181

                                       IIN
                                         NT HE
                                           THE

             United   States Court
             Zilniteb iptate   court of
                                     of Appeals
                                        Rppeat
           for the
           for     District
               tbe lEsi trict of
                              of Columbia
                                 Columbia Circuit
                                          Circuit

                           KINDER MORGAN, INC.,
                           KINDER MORGAN, INC.,
                                                    Petitioner,
                                                    Petitioner,
                                         v.
                                         v.
 U.S. ENVIRONMENTAL
 U.S. ENVIRONMENTAL PROTECTION      AGENCY and
                    PROTECTION AGENCY         and MICHAEL
                                                  MICHAEL S.
                                                          S. REGAN,
                                                             REGAN,
                     Administrator, U.S.
                     Administrator, U.S. EPA,
                                         EPA,
                                                    Respondents.
                                                    Respondents.


                  On Petition
                  On Petition for
                              for Review
                                  Review of the Final
                                         of the Final Rule
                                                      Rule of the
                                                           of the
                     U.S. Environmental
                     U.S.  Environmental Protection
                                         Protection Agency
                                                     Agency


                MOTION TO
                MOTION   TO STAY
                            STAY THE
                                 THE FINAL
                                     FINAL RULE
                                           RULE
        OF THE
        OF THE U.S.
               U.S. ENVIRONMENTAL
                    ENVIRONMENTAL PROTECTION    AGENCY
                                   PROTECTION AGENCY
                        PENDING REVIEW
                        PENDING  REVIEW


  ANA M
  ANA    ARIA G
       MARIA    UTIÉRREZ
               GUTIERREZ                      C ATHERINE E.
                                              CATHERINE    E. STETSON
                                                              STETSON
  D      A. WILLNER
    AVID A.
  DAVID     WILLNER                           D      A. R
                                                ANA A.
                                              DANA        APHAEL
                                                        RAPHAEL
  H OGAN L
  HOGAN            US LLP
            OVELLS US
          LOVELLS      LLP                    H        LOVELLS US
                                                OGAN LOVELLS
                                              HOGAN              US LLP
                                                                     LLP
  1601 Wewatta
  1601  Wewatta Street,
                 Street, Suite
                         Suite 900
                               900            555  Thirteenth Street
                                              555 Thirteenth          N.W.
                                                               Street N.W.
  Denver, CO
  Denver,      80202
           CO 80202                           Washington, D.C.
                                              Washington,   D.C. 20004
                                                                  20004
  (303) 454-2514
  (303) 454-2514                              (202) 637-5491
                                              (202)  637-5491
  ana.gutierrez@hoganlovells.com
  ana.gutierrez@hoganlovells.com              cate.stetson@hoganlovells.com
                                              cate.stetson@hoganlovells.com

                         Counsel for Kinder
                         Counselfor  Kinder Morgan,
                                            Morgan, Inc.
                                                    Inc.

July 27, 2023
July 27, 2023
USCA Case #23-1157       Document #2009836         Filed: 07/27/2023   Page 2 of 430



   CERTIFICATE AS TO
   CERTIFICATE AS TO PARTIES,
                     PARTIES, RULINGS, AND RELATED
                              RULINGS, AND RELATED CASES
                                                   CASES

   A.
   A.      Parties
           Parties

        The following
        The           are parties
            following are parties in
                                  in this
                                     this Court:
                                          Court:

        Petitioner
        Petitioner is Kinder Morgan,
                   is Kinder Morgan, Inc.
                                     Inc.

        Respondents
        Respondents are the United
                    are the United States
                                   States Environmental
                                          Environmental Protection Agency (EPA)
                                                        Protection Agency (EPA)

and Michael
and Michael S.
            S. Regan, in his
               Regan, in his official
                             official capacity
                                      capacity as Administrator of
                                               as Administrator of EPA.
                                                                   EPA.

        Proposed Intervenors are
        Proposed Intervenors are the
                                 the States
                                     States of New York,
                                            of New York, Connecticut,
                                                         Connecticut, Delaware,
                                                                      Delaware,

Illinois, Maryland,
Illinois, Maryland, New
                    New Jersey,
                        Jersey, and Wisconsin; the
                                and Wisconsin; the Commonwealths
                                                   Commonwealths of
                                                                 of

Massachusetts and
Massachusetts and Pennsylvania; the District
                  Pennsylvania; the District of
                                             of Columbia; the City
                                                Columbia; the City of New York;
                                                                   of New York;

Harris County,
Harris         Texas; Air
       County, Texas; Air Alliance
                          Alliance Houston; Appalachian Mountain
                                   Houston; Appalachian          Club; Center
                                                        Mountain Club; Center

for Biological Diversity;
for Biological Diversity; Chesapeake
                          Chesapeake Bay
                                     Bay Foundation;
                                         Foundation; Citizens
                                                     Citizens for
                                                              for Pennsylvania’s
                                                                  Pennsylvania's

Future; Clean
Future;       Air Council;
        Clean Air Council; Clean Wisconsin; Downwinders
                           Clean Wisconsin; Downwinders at
                                                        at Risk;
                                                           Risk; Environmental
                                                                 Environmental

Defense Fund;
Defense Fund; Louisiana
              Louisiana Environmental Action Network;
                        Environmental Action Network; Sierra
                                                      Sierra Club;
                                                             Club; Southern
                                                                   Southern

Utah Wilderness
Utah Wilderness Alliance;
                Alliance; and Utah Physicians
                          and Utah Physicians for
                                              for aa Healthy
                                                     Healthy Environment.
                                                             Environment. The
                                                                          The

Court has not
Court has not yet
              yet ruled
                  ruled on the Proposed
                        on the Proposed Intervenors’ respective Motions
                                        Intervenors' respective Motions to
                                                                        to

Intervene.
Intervene.

   B.
   B.      Rulings Under Review
           Rulings Under Review

        Kinder Morgan
        Kinder Morgan seeks
                      seeks review
                            review of
                                   of EPA’s
                                      EPA's final action promulgating
                                            final action promulgating aa federal
                                                                         federal

implementation plan
implementation plan (FIP)
                    (FIP) for 23 States
                          for 23        to address
                                 States to         the interstate
                                           address the interstate transport
                                                                  transport




                                            ii
USCA Case #23-1157       Document #2009836          Filed: 07/27/2023   Page 3 of 430



requirements of
requirements    42 U.S.C.
             of 42 U.S.C. §§ 7410(a)(2)(D)(i)(I)
                             7410(a)(2)(D)(i)(I) for the 2015
                                                 for the 2015 8-hour
                                                              8-hour ozone national
                                                                     ozone national

ambient air
ambient air quality
            quality standards.
                    standards.

        EPA’s
        EPA's final
              final action
                    action is titled "Federal
                           is titled “Federal ‘Good Neighbor Plan’
                                              `Good Neighbor Plan' for the 2015
                                                                   for the 2015 Ozone
                                                                                Ozone

National Ambient
National Ambient Air
                 Air Quality,” and is
                     Quality," and    published in
                                   is published in the
                                                   the Federal
                                                       Federal Register
                                                               Register at 88 Fed.
                                                                        at 88 Fed.

Reg. 36,654 (June
Reg. 36,654 (June 5, 2023).
                  5, 2023).

   C.
   C.      Related Cases
           Related Cases

        This case
        This      has not
             case has not previously
                          previously been
                                     been before
                                          before this
                                                 this Court
                                                      Court or
                                                            or any
                                                               any other
                                                                   other court. This
                                                                         court. This

matter has
matter has been
           been consolidated with Utah
                consolidated with Utah v. EPA, No.
                                       v. EPA, No. 23-1157;
                                                   23-1157; Ohio
                                                            Ohio v. EPA, No.
                                                                 v. EPA, No. 23-
                                                                             23-

1183; American
1183; American Forest
               Forest &
                      & Paper
                        Paper Association
                              Association v. EPA, No.
                                          v. EPA, No. 23-1190;
                                                      23-1190; and
                                                               and Interstate
                                                                   Interstate

Natural Gas
Natural     Association of
        Gas Association of America
                           America v. EPA, No.
                                   v. EPA, No. 23-1193.
                                               23-1193. There
                                                        There are
                                                              are 5
                                                                  5 related
                                                                    related cases
                                                                            cases

that involve
that involve substantially
             substantially the
                           the same
                               same parties
                                    parties and
                                            and present
                                                present the
                                                        the same
                                                            same or
                                                                 or similar
                                                                    similar issues
                                                                            issues

pending before
pending before other
               other Circuit
                     Circuit Courts:
                             Courts:

           • Texas
              Texas v. EPA, No.
                    v. EPA, No. 23-60300
                                23-60300 (5th
                                         (5th Cir.
                                              Cir. June
                                                   June 7, 2023)
                                                        7, 2023)

           • Nevada
              Nevada Cement
                     Cement Co. LLC v.
                            Co. LLC    EPA, No.
                                    v. EPA, No. 23-1098
                                                23-1098 (9th
                                                        (9th Cir.
                                                             Cir. June
                                                                  June 5, 2023)
                                                                       5, 2023)

           • Tulsa
              Tulsa Cement LLC v.
                    Cement LLC    EPA, No.
                               v. EPA, No. 23-9551
                                           23-9551 (10th
                                                   (10th Cir. June 5,
                                                         Cir. June    2023)
                                                                   5, 2023)

           • PacifiCorp
              PacifiCorp v. EPA, No.
                         v. EPA, No. 23-9557
                                     23-9557 (10th
                                             (10th Cir.
                                                   Cir. June 26, 2023)
                                                        June 26, 2023)

           • Oklahoma
              Oklahoma v. EPA, No.
                       v. EPA, No. 23-9561
                                   23-9561 (10th
                                           (10th Cir.
                                                 Cir. June 30, 2023)
                                                      June 30, 2023)


                                                    /s/
                                                    /s/ Catherine
                                                        Catherine E.
                                                                  E. Stetson
                                                                     Stetson
                                                    Catherine
                                                    Catherine E.
                                                               E. Stetson
                                                                  Stetson




                                          ii
                                          ii
USCA Case #23-1157      Document #2009836            Filed: 07/27/2023    Page 4 of 430



             CIRCUIT
             CIRCUIT RULE 26.1 DISCLOSURE
                     RULE 26.1 DISCLOSURE STATEMENT
                                          STATEMENT

      Pursuant to Fed.
      Pursuant to Fed. R.
                       R. App.
                          App. P. 26.1 and
                               P. 26.1 and D.C.
                                           D.C. Circuit
                                                Circuit Rule 26.1, Petitioner
                                                        Rule 26.1,            Kinder
                                                                   Petitioner Kinder

Morgan, Inc.,
Morgan, Inc., makes
              makes the
                    the following disclosures:
                        following disclosures:

      Kinder Morgan
      Kinder Morgan is
                    is aa publicly
                          publicly held
                                   held corporation. Kinder Morgan
                                        corporation. Kinder Morgan does
                                                                   does not
                                                                        not

have aa parent
have    parent corporation, and no
               corporation, and no publicly
                                   publicly held
                                            held corporation holds 10%
                                                 corporation holds 10% or
                                                                       or more
                                                                          more

of Kinder Morgan's
of Kinder Morgan’s stock.
                   stock.

      Kinder Morgan
      Kinder        is an
             Morgan is an energy infrastructure company
                          energy infrastructure         that operates
                                                company that          natural gas
                                                             operates natural gas

pipelines across
pipelines across North
                 North America.
                       America. Kinder
                                Kinder Morgan
                                       Morgan operates within the
                                              operates within the Pipeline
                                                                  Pipeline

Transportation of
Transportation    Natural Gas
               of Natural Gas Sector, which is
                              Sector, which    an industry
                                            is an          sector subject
                                                  industry sector subject to
                                                                          to the
                                                                             the U.S.
                                                                                 U.S.

Environmental
Environmental Protection Agency’s final
              Protection Agency's       action under
                                  final action under review.
                                                     review.

                                               /s/
                                               /s/ Catherine
                                                   Catherine E.
                                                             E. Stetson
                                                                Stetson
                                               Catherine
                                               Catherine E.
                                                          E. Stetson
                                                             Stetson




                                         iii
                                         iii
USCA Case #23-1157       Document #2009836            Filed: 07/27/2023    Page 5 of 430



        CERTIFICATE OF
        CERTIFICATE OF COMPLIANCE
                       COMPLIANCE WITH
                                  WITH CIRCUIT
                                       CIRCUIT RULE 18(a)
                                               RULE 18(a)

        The undersigned
        The undersigned certifies that this
                        certifies that this Motion
                                            Motion to
                                                   to Stay
                                                      Stay complies with Circuit
                                                           complies with Circuit Rule
                                                                                 Rule

18(a). On
18(a). On July 17, 2023,
          July 17, 2023, the
                         the Interstate
                             Interstate Natural
                                        Natural Gas Association of
                                                Gas Association    America, on
                                                                of America,    behalf
                                                                            on behalf

of itself and
of itself     its members,
          and its members, including
                           including Kinder
                                     Kinder Morgan,
                                            Morgan, filed
                                                    filed aa petition
                                                             petition for
                                                                      for

administrative stay
administrative stay with
                    with Michael
                         Michael S.
                                 S. Regan, Administrator, U.S.
                                    Regan, Administrator, U.S. Environmental
                                                               Environmental

Protection Agency, requesting
Protection Agency, requesting an
                              an immediate stay of
                                 immediate stay of EPA’s
                                                   EPA's final
                                                         final action pending
                                                               action pending

judicial review.
judicial review. EPA
                 EPA confirmed
                     confirmed receipt
                               receipt of the petition
                                       of the petition on
                                                       on July 27, 2023.
                                                          July 27, 2023. Receiving
                                                                         Receiving

no further
no         response from
   further response from EPA
                         EPA or
                             or its Administrator, Petitioner
                                its Administrator, Petitioner filed this motion
                                                              filed this motion for
                                                                                for

stay.
stay.

        In accordance
        In accordance with
                      with Circuit
                           Circuit Rule 18(a)(2), on
                                   Rule 18(a)(2), on July 18, 2023,
                                                     July 18, 2023, Petitioner notified
                                                                    Petitioner notified

Respondents’
Respondents' counsel by email
             counsel by email and letter that
                              and letter that it
                                              it planned
                                                 planned to
                                                         to file this Motion
                                                            file this        to Stay.
                                                                      Motion to Stay.

EPA
EPA confirmed
    confirmed receipt of the
              receipt of the letter
                             letter and stated that
                                    and stated that the
                                                    the U.S.
                                                        U.S. Department
                                                             Department of
                                                                        of Justice
                                                                           Justice

(DOJ) would
(DOJ) would respond
            respond on behalf of
                    on behalf of EPA regarding the
                                 EPA regarding the pending
                                                   pending litigation.
                                                           litigation. To
                                                                       To date,
                                                                          date,

DOJ has
DOJ has not
        not responded
            responded on behalf of
                      on behalf of EPA.
                                   EPA.

                                                /s/
                                                /s/ Catherine
                                                    Catherine E.
                                                              E. Stetson
                                                                 Stetson
                                                Catherine
                                                Catherine E.
                                                           E. Stetson
                                                              Stetson




                                           iv
                                           iv
USCA Case #23-1157                Document #2009836                      Filed: 07/27/2023            Page 6 of 430



                                        TABLE
                                        TABLE OF CONTENTS
                                              OF CONTENTS

                                                                                                                Page
                                                                                                                Page

CERTIFICATE AS TO
CERTIFICATE AS TO PARTIES,
                  PARTIES, RULINGS, AND RELATED
                           RULINGS, AND         CASES ..............ii
                                        RELATED CASES

CIRCUIT
CIRCUIT RULE 26.1 DISCLOSURE
        RULE 26.1 DISCLOSURE STATEMENT
                             STATEMENT ........................................... iii
                                                                                   iii

CERTIFICATE
CERTIFICATE OF
            OF COMPLIANCE WITH CIRCUIT
               COMPLIANCE WITH CIRCUIT RULE 18(a) ......................iv
                                       RULE 18(a)                       iv

TABLE OF
TABLE    AUTHORITIES .................................................................................. vii
      OF AUTHORITIES                                                                                    vii

GLOSSARY
GLOSSARY..............................................................................................................xi
                                                                                                                      xi

LIST
LIST OF ATTACHMENTS ................................................................................... xii
     OF ATTACHMENTS                                                                                     xii

INTRODUCTION .....................................................................................................1
INTRODUCTION                                                                                                      1

STATEMENT
STATEMENT OF
          OF THE
             THE CASE
                 CASE .................................................................................. 3
                                                                                                         3

    I. Statutory
    I.           and Regulatory
       Statutory and Regulatory Background
                                Background ............................................................ 3
                                                                                                        3

         A.
         A.       State
                  State and Federal Implementation
                        and Federal Implementation Plans
                                                   Plans ............................................... 3
                                                                                                         3

         B.
         B.       The Interstate
                  The            Transport Provision
                      Interstate Transport Provision ........................................................ 3
                                                                                                              3

    II. Procedural
    II. Procedural Background
                   Background ................................................................................... 5
                                                                                                                  5

         A.
         A.       EPA’s Proposed FIP
                  EPA's Proposed FIP .............................................................................. 55

         B.
         B.       EPA Adopts the
                  EPA Adopts the FIP
                                 FIP .............................................................................. 77

STANDARD
STANDARD OF
         OF REVIEW
            REVIEW ....................................................................................... 9
                                                                                                           9

ARGUMENT ........................................................................................................... 10
ARGUMENT                                                                                                             10

    I.
    I.        K       MORGAN IS
                INDER MORGAN
              KINDER         IS LIKELY
                                LIKELY To
                                       TO SUCCEED O
                                          SUCCEED ONNT HE M
                                                     THE    ERITS ...................... 10
                                                          MERITS                         10

         A.
         A.       EPA Failed To
                  EPA Failed To Identify
                                 Identify The The Emissions            “Amounts” From
                                                      Emissions "Amounts"                 From
                  Non-EGU Sources
                  Non-EGU              That Contribute
                            Sources That       Contribute Significantly
                                                                 Significantly To      To
                  Nonattainment .....................................................................................10
                  Nonattainment                                                                                      10

         B.
         B.       EPA  Failed To
                  EPA Failed  To Consider Important Factors
                                 Consider Important        Factors In       Adopting
                                                                        In Adopting
                  Its Compliance
                  Its Compliance Timeline
                                 Timeline ..................................................................... 14
                                                                                                                14


                                                           v
                                                           v
USCA Case #23-1157                   Document #2009836                         Filed: 07/27/2023             Page 7 of 430
                                  TABLE
                                  TABLE OF CONTENTS—Continued
                                        OF CONTENTS—Continued

                                                                                                                         Page
                                                                                                                         Page


           C.
           C.       EPA Inadequately Responded
                    EPA Inadequately      Responded To       To Kinder
                                                                  Kinder Morgan’s
                                                                              Morgan's
                    Comments
                    Comments ............................................................................................16
                                                                                                                         16

           D.
           D.       EPA’s Compliance Timeline
                    EPA's Compliance Timeline Is
                                              Is Arbitrary
                                                 Arbitrary And
                                                           And Capricious
                                                               Capricious ................17
                                                                                          17

    II.
    II.         K        MORGAN WILL
                  INDER MORGAN
                KINDER                  WILL BE   BE IIRREPARABLY
                                                        RREPARABLY H             ARMED ABSENT
                                                                              HARMED         ABSENT
                AS
                A   TAY ...................................................................................................... 20
                   STAY                                                                                                        20

    III.
    III.        T    BALANCE OF
                  HE BALANCE
                THE            OF H      AND P
                                    ARMS AND
                                  HARMS                   INTEREST WEIGH
                                                UBLIC INTEREST
                                             PUBLIC                       WEIGH
                H EAVILY IIN
                HEAVILY      FAVOR OF
                           N FAVOR OF A
                                      AS  TAY................................................................. 21
                                        STAY                                                                   21

CONCLUSION
CONCLUSION ........................................................................................................23
                                                                                                                   23

CERTIFICATE
CERTIFICATE OF
            OF COMPLIANCE
               COMPLIANCE

CERTIFICATE
CERTIFICATE OF
            OF SERVICE
               SERVICE




                                                               vi
                                                               vi
 USCA Case #23-1157                Document #2009836                     Filed: 07/27/2023           Page 8 of 430



                                       TABLE
                                       TABLE OF AUTHORITIES
                                             OF AUTHORITIES

                                                                                                                Page
                                                                                                                Page
  C ASES:
  CASES:

 Ala. Ass
 Ala. Ass’n  of Realtors
          'n of Realtors v. Dep’t of
                         v. Dep't    of Health
                                         Health &        Hum. Servs.,
                                                     & Hum.        Servs.,
  141 S.
  141  S. Ct.  2485 (2021)
           Ct. 2485 (2021) ......................................................................................... 21
                                                                                                                     21

 Ass’n
 Ass    of Oil
     'n of     Pipe Lines
           Oil Pipe Lines v. FERC,
                          v. FERC,
  281 F.3d
  281   F.3d 239
             239 (D.C.
                  (D.C. Cir.
                        Cir. 2002)
                             2002) ............................................................................. 19
                                                                                                                 19

 Dominion Transmission,
 Dominion                Inc. v.
           Transmission, Inc.    Summers,
                              v. Summers,
  723 F.3d 238
  723 F.3d 238 (D.C.
               (D.C. Cir.
                     Cir. 2013)
                          2013) ............................................................................... 33

  EME Homer
  EME  Homer City
              City Generation, L.P. v.
                   Generation, L.P.       EPA,
                                      v. EPA,
   795 F.3d 118
   795 F.3d 118 (D.C.
                (D.C. Cir.
                      Cir. 2015)
                           2015) ............................................................................... 55

  Encino Motorcars,
  Encino Motorcars, LLC
                    LLC v.    Navarro,
                          v. Navarro,
   579 U.S. 211
   579 U.S. 211 (2016)
                (2016) ............................................................................................. 13
                                                                                                                     13

* EPA
* EPA v. EME Homer
      v. EME  Homer City
                     City Generation,
                            Generation, L.P.,   L.P.,
   572 U.S.
   572 U.S. 489
            489 (2014)
                (2014) ........................................................................... 3,
                                                                                                   3, 4,
                                                                                                      4, 5, 10, 11
                                                                                                         5, 10, 11

 In re
 In    Musical Instruments
    re Musical Instruments &  Equip. Antitrust
                            & Equip.    Antitrust Litig.,
                                                       Litig.,
   798 F.3d 1186
   798 F.3d 1186 (9th
                  (9th Cir. 2015).............................................................................. 15
                       Cir. 2015)                                                                               15

 In re
 In    NTE Conn.,
    re NTE          LLC,
             Conn., LLC,
   26 F.4th
   26  F.4th 980
             980 (D.C.
                 (D.C. Cir. 2022) .............................................................................. 22
                       Cir. 2022)                                                                                22

 INS v.
 INS v. Yang,
        Yang,
   519  U.S. 26,
   519 U.S.  26, 32
                 32 (1996)
                    (1996) ......................................................................................... 13
                                                                                                                     13

  League of
  League of Women
            Women Voters    of United
                     Voters of           States v.
                               United States            Newby,
                                                    v. Newby,
   838 F.3d
   838 F.3d 11 (D.C.
               (D.C. Cir. 2016) ................................................................................. 21
                     Cir. 2016)                                                                                   21

 Maryland v.
 Maryland    EPA,
          v. EPA,
  958 F.3d 1185
  958 F.3d 1185 (D.C.
                (D.C. Cir. 2020) ........................................................................... 10
                      Cir. 2020)                                                                             10


  ** Authorities
     Authorities upon
                 upon which
                      which we
                            we chiefly rely are
                               chiefly rely are marked
                                                marked with
                                                       with an
                                                            an asterisk.
                                                               asterisk.


                                                          vii
                                                          vii
 USCA Case #23-1157                  Document #2009836                       Filed: 07/27/2023            Page 9 of 430
                              TABLE OF AUTHORITIES—Continued
                              TABLE OF AUTHORITIES—Continued

                                                                                                                      Page
                                                                                                                      Page

  Memphis Light,
  Memphis Light, Gas
                 Gas && Water
                           Water Div.Div. v. v. Craft,
                                                 Craft,
   436 U.S.
   436 U.S. 1
            1 (1978)
              (1978) ................................................................................................. 22
                                                                                                                       22

  Mexichem Specialty
  Mexichem  Specialty Resins,
                      Resins, Inc.
                              Inc. v. EPA,
                                   v. EPA,
   787 F.3d 544
   787 F.3d     (D.C. Cir.
            544 (D.C.  Cir. 2015)
                            2015) ............................................................................. 20
                                                                                                                20

  Michigan v.
  Michigan    EPA,
           v. EPA,
   213 F.3d
   213 F.3d 663
            663 (D.C.
                (D.C. Cir.
                      Cir. 2000)
                           2000) ............................................................................. 11
                                                                                                               11

* Motor
* Motor Vehicle Mfrs. Ass
        Vehicle Mfrs. Ass’n     of U.S.,
                            'n of            Inc. v.
                                    U.S., Inc.          State Farm
                                                    v. State     Farm Mut. Mut. Auto.
                                                                                   Auto. Ins.Ins. Co.,
                                                                                                    Co.,
   463 U.S.
   463 U.S. 29
            29 (1983)
               (1983) ................................................................................... 14,
                                                                                                          14, 15,
                                                                                                              15, 17
                                                                                                                  17

  Nken v.
  Nken    Holder,
       v. Holder,
   556 U.S. 418
   556 U.S. 418 (2009)
                 (2009) ............................................................................................... 99

  North Carolina
  North Carolina v.  EPA,
                  v. EPA,
   531  F.3d 896
   531 F.3d  896 (D.C.
                 (D.C. Cir.
                       Cir. 2008)
                            2008) ............................................................................. 11
                                                                                                                11

  Shell Oil
  Shell Oil Co.
            Co. v. EPA,
                v. EPA,
   950  F.2d 741
   950 F.2d        (D.C. Cir.
             741 (D.C.   Cir. 1991)
                              1991) ............................................................................. 13
                                                                                                                  13

  Sierra Club
  Sierra Club v. EPA,
              v. EPA,
    863 F.3d
    863 F.3d 834
             834 (D.C.
                  (D.C. Cir.
                        Cir. 2017)
                             2017) ............................................................................. 16
                                                                                                                 16

  Small Refiner
  Small Refiner Lead
                Lead Phase-Down
                     Phase-Down Task        Force v.
                                    Task Force             EPA,
                                                       v. EPA,
   705  F.2d 506
   705 F.2d      (D.C. Cir.
             506 (D.C. Cir. 1983)
                            1983) ....................................................................... 17,
                                                                                                          17, 20
                                                                                                              20

  Texas
  Texas v. EPA,
        v. EPA,
   829 F.3d
   829  F.3d 405
             405 (5th
                 (5th Cir. 2016)................................................................................ 22
                      Cir. 2016)                                                                                 22

  STATUTES:
  STATUTES:

  55 U.S.C.
     U.S.C. §§ 553(c)
               553(c) .................................................................................................... 16
                                                                                                                           16

  42 U.S.C.
  42 U.S.C. §
            § 7407(d)(1)(B)
              7407(d)(1)(B) ........................................................................................ 3
                                                                                                                     3

  42 U.S.C.
  42 U.S.C. §
            § 7408
              7408 ....................................................................................................... 3
                                                                                                                           3



                                                             viii
                                                             viii
USCA Case #23-1157                 Document #2009836                       Filed: 07/27/2023             Page 10 of 430
                             TABLE OF AUTHORITIES—Continued
                             TABLE OF AUTHORITIES—Continued

                                                                                                                     Page
                                                                                                                     Page

 42 U.S.C.
 42 U.S.C. §
           § 7409
             7409 ....................................................................................................... 3
                                                                                                                          3

 42 U.S.C.
 42 U.S.C. §
           § 7410(a)(1)
             7410(a)(1).............................................................................................. 3
                                                                                                                      3

 42 U.S.C.
 42 U.S.C. §
           § 7410(a)(2)(D)(i)(I)
             7410(a)(2)(D)(i)(I) .......................................................................... 4,
                                                                                                            4, 11
                                                                                                               11

 42 U.S.C.
 42 U.S.C. §
           § 7410(c)(1)
             7410(c)(1).............................................................................................. 3
                                                                                                                      3

 42 U.S.C.
 42 U.S.C. §
           § 7410(k)(3)..............................................................................................
             7410(k)(3)                                                                                               3
                                                                                                                      3

 R ULES:
 RULES:

 D.C. Cir.
 D.C. Cir. R. 18 .......................................................................................................... 1
           R. 18                                                                                                            1

 Fed. R.
 Fed. R. Civ.
         Civ. P. 18(a)(2) ............................................................................................. 1
              P. 18(a)(2)                                                                                               1

 R EGULATIONS:
 REGULATIONS:

 Title
 Title V
       V Clean Air Act
         Clean Air Act Final
                       Final Interim
                              Interim Approval,
                                      Approval,
   63  Fed. Reg.
   63 Fed.  Reg. 57,356 (Oct. 27,
                 57,356 (Oct.  27, 1998)
                                   1998) ...................................................................... 6
                                                                                                                6

 Rule to
 Rule    Reduce Interstate
      to Reduce Interstate Transport of Fine
                           Transport of Fine Particulate
                                                Particulate Matter,Matter,
  70  Fed. Reg.
  70 Fed.       25,162 (May
           Reg. 25,162 (May 12,
                             12, 2005)
                                 2005) ................................................................... 12
                                                                                                           12

 National Ambient
 National Ambient Air
                   Air Quality Standards for
                       Quality Standards    for Ozone,
                                                 Ozone,
  80 Fed.
  80  Fed. Reg. 65,292 (Oct.
           Reg. 65,292 (Oct. 26,
                             26, 2015)
                                 2015) ...................................................................... 55

 Cross-State Air Pollution
 Cross-State Air Pollution Rule
                           Rule Update,
                                 Update,
  81 Fed.
  81 Fed. Reg.
          Reg. 74,504   (Oct. 26,
                74,504 (Oct.  26, 2016)
                                  2016) .................................................................... 12
                                                                                                             12

 Clean Air Act
 Clean Air Act Rulemaking
               Rulemaking Process,
                          Process,
  85 Fed.
  85 Fed. Reg.
           Reg. 84,130
                84,130 (Dec.
                       (Dec. 23,
                             23, 2020)
                                 2020) ................................................................... 13
                                                                                                           13

 Revised Cross-State
 Revised             Air Pollution
         Cross-State Air Pollution Rule
                                   Rule Update
                                         Updatefor   for the     2008 Ozone
                                                           the 2008                  NAAQS,
                                                                          Ozone NAAQS,
  86 Fed.
  86  Fed. Reg. 23,054 (Apr.
           Reg. 23,054 (Apr. 30,
                             30, 2021)
                                 2021) ............................................................... 6,
                                                                                                       6, 12
                                                                                                          12




                                                             ix
                                                             ix
USCA Case #23-1157              Document #2009836                   Filed: 07/27/2023         Page 11 of 430
                           TABLE OF AUTHORITIES—Continued
                           TABLE OF AUTHORITIES—Continued

                                                                                                         Page
                                                                                                         Page

 Federal Implementation
 Federal Implementation Plan
                        Plan Addressing
                             Addressing Regional
                                            Regional Ozone  Ozone Transport
                                                                       Transportfor     for the     2015
                                                                                              the 2015
  Ozone  National Ambient
  Ozone National  Ambient Air
                          Air Quality
                               Quality Standard,
                                        Standard,
  87 Fed.
  87 Fed. Reg. 20,036 (Apr.
          Reg. 20,036 (Apr. 6,
                            6, 2022)
                               2022) ................................................................. 6,
                                                                                                       6, 10
                                                                                                          10

 Air Plan
 Air Plan Disapprovals;
          Disapprovals; Interstate
                        Interstate Transport
                                   Transport of   of Air
                                                      Air Pollution
                                                            Pollution for   for the     2015 8-Hour
                                                                                  the 2015       8-Hour
  Ozone   National Ambient
  Ozone National   Ambient Air
                            Air Quality
                                Quality Standards,
                                         Standards,
  88 Fed.
  88  Fed. Reg.
           Reg. 9,336 (Feb. 13,
                9,336 (Feb. 13, 2023)
                                2023) ....................................................................... 77

 Federal ‘Good
 Federal        Neighbor Plan'
          `Good Neighbor  Plan’ for
                                 for the 2015 Ozone
                                     the 2015                National Ambient
                                                  Ozone National         Ambient AirAir Quality
                                                                                        Quality
  Standards,
  Standards,
  88 Fed.
  88 Fed. Reg.  36,654 (June
           Reg. 36,654 (June 5, 2023) ............................. 1,
                             5, 2023)                               1, 4-7,
                                                                       4-7, 10,
                                                                            10, 11,
                                                                                11, 13-15,
                                                                                    13-15, 17-19
                                                                                           17-19

 O      AUTHORITIES:
   THER AUTHORITIES:
 OTHER

 EPA, Final Non-EGU
 EPA, Final Non-EGU Sectors
                    Sectors Technical Support Document,
                            Technical Support      Document,
  EPA-HQ-OAR-2021-0668    (Mar. 2023)
  EPA-HQ-OAR-2021-0668 (Mar.    2023) .............................................................. 17
                                                                                                     17

 EPA, NOx Emissions
 EPA, NOx  Emissions Control
                     Control Technology Installation Timing
                             Technology Installation   Timingfor   for Non-EGU
                                                                         Non-EGU
  Sources, Final
  Sources, Final Report,
                 Report,
  EPA-HQ-OAR-2021-0668-1077
  EPA-HQ-OAR-2021-0668-1077 (Mar.(Mar. 14,
                                       14, 2023)
                                           2023) ................................... 15,
                                                                                     15, 17,
                                                                                         17, 18
                                                                                             18

 EPA, Pipeline Natural
 EPA, Pipeline Natural Gas Engines Analysis
                       Gas Engines Analysis Data,
                                            Data,
  EPA-HQ-OAR-2021-0668-1050
  EPA-HQ-OAR-2021-0668-1050 (Mar.(Mar. 9, 2023) ................................................. 17
                                       9, 2023)                                                   17

 EPA, Response to
 EPA, Response    Public Comments
               to Public          on Proposed
                         Comments on Proposed Rule,
                                              Rule,
  EPA-HQ-OAR-2021-0668-1127     (Mar. 15,
  EPA-HQ-OAR-2021-0668-1127 (Mar.     15, 2023)
                                          2023) ............................................... 16
                                                                                                16




                                                       x
                                                       x
USCA Case #23-1157       Document #2009836         Filed: 07/27/2023   Page 12 of 430



                                   GLOSSARY
                                   GLOSSARY

      APA
      APA                    Administrative Procedure
                             Administrative           Act
                                            Procedure Act

      EGU
      EGU                    Electric generating units
                             Electric generating units

      EPA
      EPA                    United States
                             United States Environmental
                                           Environmental Protection Agency
                                                         Protection Agency

      EPA Timing
      EPA Timing             NOx Emissions
                             NOx   Emissions Control
                                              Control Technology   Installation
                                                       Technology Installation
      Report
      Report                 Timing  for Non-EGU
                             Timing for  Non-EGU Sources,
                                                  Sources, Final
                                                           Final Report,
                                                                 Report, EPA-
                                                                         EPA-
                             HQ-OAR-2021-0668-1077 (Mar.
                             HQ-OAR-2021-0668-1077    (Mar. 14,
                                                            14, 2023)
                                                                2023)

      Comment Letter
      Comment Letter         Kinder Morgan,
                             Kinder         Inc.’s Comments
                                    Morgan, Inc.'s Comments on the Proposed
                                                            on the  Proposed
                             Rule,
                             Rule, EPA-HQ-OAR-2021-0668-0350      (June 21,
                                    EPA-HQ-OAR-2021-0668-0350 (June      21,
                             2022)
                             2022)

      FERC or
      FERC    the
           or the            Federal Energy
                             Federal Energy Regulatory Commission
                                            Regulatory Commission
      Commission
      Commission

      FIP
      FIP                    Federal Implementation
                             Federal Implementation Plan
                                                    Plan

      pipeline engines
      pipeline engines       Natural gas-fired
                             Natural gas-fired reciprocating
                                               reciprocating internal
                                                             internal combustion
                                                                      combustion
                             engines
                             engines

      Proposed Rule
      Proposed Rule          Federal Implementation
                             Federal   Implementation Plan
                                                       Plan Addressing
                                                             Addressing Regional
                                                                        Regional
                             Ozone
                             Ozone Transport     for the
                                      Transport for       2015 Ozone
                                                      the 2015          National
                                                                 Ozone National
                             Ambient Air
                             Ambient   Air Quality Standard, 87
                                           Quality Standard, 87 Fed.
                                                                Fed. Reg.
                                                                     Reg. 20,036
                                                                          20,036
                             (Apr. 6,
                             (Apr. 6, 2022)
                                      2022)

      Rule
      Rule                   Federal ‘Good
                             Federal         Neighbor Plan'
                                      `Good Neighbor   Plan’ for
                                                              for the 2015 Ozone
                                                                  the 2015  Ozone
                             National Ambient
                             National Ambient Air
                                               Air Quality Standards, 88
                                                   Quality Standards, 88 Fed.
                                                                         Fed. Reg.
                                                                              Reg.
                             36,654 (June
                             36,654 (June 5, 2023)
                                          5, 2023)

      SIP
      SIP                    State
                             State Implementation
                                   Implementation Plan
                                                  Plan




                                         xi
                                         xi
USCA Case #23-1157   Document #2009836         Filed: 07/27/2023   Page 13 of 430



                          LIST OF APPENDICES
                          LIST OF APPENDICES

      Letter
      Letter     Title
                 Title

      A
      A          Federal "Good
                 Federal “Good Neighbor
                               Neighbor Plan”
                                          Plan" for  the 2015
                                                 for the 2015 Ozone
                                                               Ozone National
                                                                      National
                 Ambient Air
                 Ambient  Air Quality
                              Quality Standards, 88 Fed.
                                      Standards, 88  Fed. Reg. 36,654 (June
                                                          Reg. 36,654 (June 5,
                                                                            5,
                 2023) (Rule)
                 2023) (Rule)

      B
      B          Kinder Morgan,
                 Kinder Morgan, Inc.'s
                                Inc.’s Comments
                                       Comments on  the Proposed
                                                 on the Proposed Rule,
                                                                 Rule, EPA-
                                                                       EPA-
                 HQ-OAR-2021-0668-0350 (June
                 HQ-OAR-2021-0668-0350    (June 21,
                                                21, 2022)
                                                    2022) (Comment
                                                          (Comment Letter)
                                                                    Letter)

      C
      C          Declaration of
                 Declaration of Kenneth  W. Grubb,
                                Kenneth W.   Grubb, Chief   Operating Officer,
                                                      Chief Operating  Officer,
                 Natural Gas
                 Natural Gas Pipelines Business Unit,
                             Pipelines Business Unit, Kinder
                                                      Kinder Morgan,
                                                             Morgan, Inc.
                                                                      Inc.




                                     xii
                                     xii
USCA Case #23-1157       Document #2009836           Filed: 07/27/2023   Page 14 of 430



                                 INTRODUCTION
                                 INTRODUCTION

       Pursuant to Federal
       Pursuant to Federal Rule
                           Rule of Appellate Procedure
                                of Appellate           18(a)(2), Circuit
                                             Procedure 18(a)(2), Circuit Rule 18,
                                                                         Rule 18,

 and the
 and the Administrative
         Administrative Procedure Act (APA),
                        Procedure Act (APA), petitioner
                                             petitioner Kinder Morgan, Inc.
                                                        Kinder Morgan, Inc. moves
                                                                            moves

 to stay
 to stay the
         the United
             United States Environmental Protection
                    States Environmental            Agency’s (EPA)
                                         Protection Agency's (EPA) final
                                                                   final rule
                                                                         rule

 adopting aa federal
 adopting    federal implementation plan for
                     implementation plan     the 2015
                                         for the 2015 ozone National Ambient
                                                      ozone National Ambient Air
                                                                             Air

 Quality
 Quality Standards as applied
         Standards as applied to
                              to certain
                                 certain engines in the
                                         engines in the natural
                                                        natural gas
                                                                gas pipeline
                                                                    pipeline

 transportation sector,
 transportation sector, 88
                        88 Fed.
                           Fed. Reg. 36,654 (June
                                Reg. 36,654 (June 5, 2023) ("Rule")
                                                  5, 2023) (“Rule”) (App.
                                                                    (App. 1),
                                                                          1), pending
                                                                              pending

 review of
 review of the
           the Rule.
               Rule.

       Kinder Morgan
       Kinder Morgan is
                     is one
                        one of the largest
                            of the largest energy infrastructure companies
                                           energy infrastructure           and
                                                                 companies and

 transporters of
 transporters of natural
                 natural gas
                         gas in
                             in North
                                North America.
                                      America. Its
                                               Its approximately
                                                   approximately 62,000
                                                                 62,000 miles
                                                                        miles of
                                                                              of

 natural gas
 natural gas pipelines
             pipelines move
                       move 40%
                            40% of all natural
                                of all natural gas
                                               gas consumed in the
                                                   consumed in the United
                                                                   United States. As
                                                                          States. As

 part of
 part    its duty
      of its duty to
                  to provide
                     provide "continuity
                             “continuity of
                                         of service"
                                            service” to
                                                     to downstream
                                                        downstream consumers,
                                                                   consumers, Kinder
                                                                              Kinder

 Morgan utilizes
 Morgan utilizes hundreds
                 hundreds of natural gas-fired
                          of natural gas-fired reciprocating
                                               reciprocating internal
                                                             internal combustion
                                                                      combustion

 engines (pipeline engines)
 engines (pipeline          to efficiently
                   engines) to             transport natural
                               efficiently transport natural gas
                                                             gas along pipelines across
                                                                 along pipelines across

 the United
 the United States, including in
            States, including in States subject to
                                 States subject to the
                                                   the Rule.
                                                       Rule.

       In the
       In the Rule,
              Rule, EPA
                    EPA established
                        established aa federal program to
                                       federal program to enforce stringent emissions
                                                          enforce stringent emissions

 limits for
 limits     23 States
        for 23        that may
               States that may be
                               be contributing to increased
                                  contributing to           pollution levels
                                                  increased pollution levels in nearby
                                                                             in nearby

 States.
 States. Consistent with similar
         Consistent with similar past
                                 past rulemakings, the Rule
                                      rulemakings, the      requires operators
                                                       Rule requires operators of
                                                                               of

 power plants
 power plants within
              within those
                     those States to implement
                           States to implement control technologies to
                                               control technologies to reduce
                                                                       reduce

 emissions. And for
 emissions. And     the first
                for the       time, the
                        first time, the Rule
                                        Rule also
                                             also reaches pipeline engines:
                                                  reaches pipeline          Kinder
                                                                   engines: Kinder



                                           1
                                           1
USCA Case #23-1157       Document #2009836           Filed: 07/27/2023    Page 15 of 430



 Morgan and
 Morgan and other natural gas
            other natural gas transmission
                              transmission companies must install
                                           companies must install complex and
                                                                  complex and

 costly
 costly emission
        emission controls
                 controls on
                          on aa massive
                                massive number
                                        number of
                                               of their
                                                  their pipeline
                                                        pipeline engines—and they
                                                                 engines—and they

 must do
 must do so
         so on
            on an
               an unprecedented
                  unprecedented and
                                and impossible timetable.
                                    impossible timetable.

       The Court
       The       should stay
           Court should stay the
                             the portions
                                 portions of the Rule
                                          of the Rule applicable to pipeline
                                                      applicable to pipeline engines
                                                                             engines

 because Kinder
 because Kinder Morgan
                Morgan is
                       is likely to succeed
                          likely to succeed on
                                            on its
                                               its challenges to the
                                                   challenges to the Rule.
                                                                     Rule. EPA
                                                                           EPA

 violated the
 violated the Clean Air Act
              Clean Air Act and departed from
                            and departed      past practice
                                         from past practice by
                                                            by failing to identify
                                                               failing to identify the
                                                                                   the

 emissions “amounts” that
 emissions "amounts" that sources
                          sources like
                                  like pipeline
                                       pipeline engines
                                                engines contribute to downwind
                                                        contribute to downwind

 States’ nonattainment of
 States' nonattainment of EPA’s
                          EPA's emissions limits. EPA
                                emissions limits. EPA also
                                                      also failed to adequately
                                                           failed to adequately

 address service
 address service interruptions
                 interruptions resulting
                               resulting from the Rule,
                                         from the       respond to
                                                  Rule, respond to Kinder
                                                                   Kinder Morgan's
                                                                          Morgan’s

 comments regarding an
 comments regarding    averaging approach
                    an averaging approach for
                                          for addressing
                                              addressing emissions
                                                         emissions on
                                                                   on aa statewide,
                                                                         statewide,

 company-wide level, and
 company-wide level, and imposed
                         imposed an
                                 an impossible
                                    impossible compliance deadline that
                                               compliance deadline that is
                                                                        is

 unsupported by
 unsupported by substantial
                substantial evidence—rendering the Rule
                            evidence—rendering the      arbitrary and
                                                   Rule arbitrary and capricious.
                                                                      capricious.

       A stay
       A stay is
              is appropriate
                 appropriate here
                             here given
                                  given the
                                        the irreparable harm Kinder
                                            irreparable harm        Morgan will
                                                             Kinder Morgan will

 suffer while
 suffer while the
              the Court
                  Court is
                        is considering Kinder Morgan’s
                           considering Kinder Morgan's claims.
                                                       claims. If
                                                               If aa stay
                                                                     stay is
                                                                          is not
                                                                             not

 granted, Kinder
 granted, Kinder Morgan
                 Morgan will
                        will incur
                             incur at
                                   at least
                                      least $80 million and
                                            $80 million and up
                                                            up to
                                                               to $270 million in
                                                                  $270 million in

 compliance
 compliance costs before its
            costs before     petition is
                         its petition is heard
                                         heard and decided—none of
                                               and decided—none    which will
                                                                of which will be
                                                                              be

 recoverable from
 recoverable from EPA if the
                  EPA if the Rule
                             Rule is set aside.
                                  is set aside. The balance of
                                                The balance    harms and
                                                            of harms and public
                                                                         public

 interest also
 interest also favor
               favor aa stay.
                        stay. Absent
                              Absent aa stay,
                                        stay, the
                                              the public
                                                  public will
                                                         will face harm from
                                                              face harm      natural gas
                                                                        from natural gas

 service interruptions
 service interruptions in
                       in essential utilities while
                          essential utilities while Kinder
                                                    Kinder Morgan struggles to
                                                           Morgan struggles to timely
                                                                               timely

 implement these
 implement these vast
                 vast control
                      control changes.
                              changes.


                                           22
USCA Case #23-1157      Document #2009836           Filed: 07/27/2023   Page 16 of 430



                          STATEMENT OF THE
                          STATEMENT OF     CASE
                                       THE CASE

 I.
 I.    Statutory
       Statutory and
                 and Regulatory Background
                     Regulatory Background

       A.
       A.     State and Federal
              State and Federal Implementation
                                Implementation Plans
                                               Plans

       Congress tasked EPA
       Congress tasked     with establishing
                       EPA with              national air
                                establishing national air quality standards for
                                                          quality standards for

 pollutants like
 pollutants like ozone.
                 ozone. 42
                        42 U.S.C.
                           U.S.C. §§
                                  §§ 7408,
                                     7408, 7409. Once EPA
                                           7409. Once EPA establishes those
                                                          establishes those

 standards, it
 standards, it identifies
               identifies geographic
                          geographic areas
                                     areas within
                                           within each
                                                  each State that do
                                                       State that do not
                                                                     not meet
                                                                         meet the
                                                                              the

 standards and
 standards and are
               are thus
                   thus deemed
                        deemed to
                               to be
                                  be in
                                     in "nonattainment."
                                        “nonattainment.” Id.
                                                         Id. §§ 7407(d)(1)(B).
                                                                7407(d)(1)(B).

       As "an
       As “an exercise
              exercise in
                       in cooperative
                          cooperative federalism,” Congress gave
                                      federalism," Congress gave States the first
                                                                 States the first

 opportunity to reduce
 opportunity to reduce pollution
                       pollution in
                                 in nonattainment
                                    nonattainment areas. Dominion Transmission,
                                                  areas. Dominion               Inc.
                                                                  Transmission, Inc.

 v. Summers, 723
 v. Summers,     F.3d 238,
             723 F.3d 238, 240
                           240 (D.C.
                               (D.C. Cir. 2013). Within
                                     Cir. 2013). Within three
                                                        three years
                                                              years of
                                                                    of EPA
                                                                       EPA revising
                                                                           revising

 air quality
 air quality standards,
             standards, States must submit
                        States must submit state
                                           state implementation plans (SIPs)
                                                 implementation plans (SIPs) to
                                                                             to EPA
                                                                                EPA

 explaining how they
 explaining how they will
                     will either maintain or
                          either maintain    achieve attainment
                                          or achieve            of EPA’s
                                                     attainment of       air quality
                                                                   EPA's air quality

 standards. Id.;
 standards. Id.; 42
                 42 U.S.C.
                    U.S.C. §
                           § 7410(a)(1).
                             7410(a)(1).

       If aa State’s
       If    State's SIP
                     SIP complies with the
                         complies with the Clean Air Act,
                                           Clean Air Act, EPA must approve
                                                          EPA must approve it. 42
                                                                           it. 42

 U.S.C. §§ 7410(k)(3).
 U.S.C.                If aa SIP
           7410(k)(3). If        does not
                             SIP does not comply with the
                                          comply with the Clean Air Act,
                                                          Clean Air Act, EPA may
                                                                         EPA may

 issue aa rule
 issue    rule disapproving
               disapproving it. Id. §§ 7410(c)(1).
                            it. Id.                In that
                                       7410(c)(1). In that event,
                                                           event, EPA has two
                                                                  EPA has two years
                                                                              years to
                                                                                    to

 promulgate aa federal
 promulgate            implementation plan
               federal implementation plan (FIP)
                                           (FIP) for that State.
                                                 for that        Id.
                                                          State. Id.

       B.
       B.     The Interstate Transport
              The Interstate Transport Provision
                                       Provision

       Because the
       Because the wind
                   wind is
                        is "heedless
                           “heedless of state boundaries,"
                                     of state boundaries,” SIPs and FIPs
                                                           SIPs and FIPs must
                                                                         must

 address the
 address the interstate transport of
             interstate transport of emissions. EPA v.
                                     emissions. EPA    EME Homer
                                                    v. EME Homer City
                                                                 City Generation,
                                                                      Generation,

 L.P., 572
 L.P., 572 U.S.
           U.S. 489,
                489, 496
                     496 (2014).
                         (2014). Under
                                 Under the
                                       the Clean Air Act's
                                           Clean Air Act’s interstate
                                                           interstate transport
                                                                      transport

                                           3
                                           3
USCA Case #23-1157        Document #2009836            Filed: 07/27/2023     Page 17 of 430



 provision (sometimes
 provision (sometimes known
                      known as the "good
                            as the “good neighbor"
                                         neighbor” provision),
                                                   provision), plans
                                                               plans must
                                                                     must "contain
                                                                          “contain

 adequate provisions"
 adequate provisions” to
                      to mitigate
                         mitigate in-state
                                  in-state emissions
                                           emissions of “any air
                                                     of "any     pollutant in
                                                             air pollutant in amounts
                                                                              amounts

 which will
 which will .. .. .. contribute significantly to
                     contribute significantly to nonattainment
                                                 nonattainment in,
                                                               in, or interfere with
                                                                   or interfere with

 maintenance by,
 maintenance by, any
                 any other
                     other State with respect
                           State with respect to
                                              to any
                                                 any .. .. .. air quality standard."
                                                              air quality standard.” 42
                                                                                     42

 U.S.C. §
 U.S.C. § 7410(a)(2)(D)(i)(I). Identifying aa specific
          7410(a)(2)(D)(i)(I). Identifying    specific "amounts"
                                                       “amounts” threshold
                                                                 threshold is
                                                                           is therefore
                                                                              therefore

 imperative; if
 imperative; if aa FIP
                   FIP "require[s]
                       “require[s] aa State to reduce
                                      State to reduce its
                                                      its output of pollution
                                                          output of pollution by
                                                                              by more
                                                                                 more than
                                                                                      than

 is necessary
 is necessary to
              to achieve
                 achieve attainment in every
                         attainment in       downwind State,”
                                       every downwind State," EPA “will have
                                                              EPA "will have

 overstepped
 overstepped its authority.” EME
             its authority." EME Homer,
                                 Homer, 572 U.S. at
                                        572 U.S. at 521.
                                                    521. "Thus,
                                                         “Thus, EPA's
                                                                EPA’s task
                                                                      task is
                                                                           is to
                                                                              to

 reduce upwind
 reduce upwind pollution,
               pollution, but
                          but only
                              only in
                                   in ‘amounts’ that push
                                      `amounts' that push aa downwind
                                                             downwind State's
                                                                      State’s

 pollution concentrations
 pollution concentrations above the relevant
                          above the          [air quality
                                    relevant [air quality standard]."
                                                          standard].” Id.
                                                                      Id. at
                                                                          at 514.
                                                                             514.

        The Clean
        The Clean Air
                  Air Act
                      Act does
                          does not
                               not define
                                   define the
                                          the interstate
                                              interstate emissions “amounts” from
                                                         emissions "amounts" from

 upwind States
 upwind        that "contribute
        States that “contribute significantly"
                                significantly” to
                                               to nonattainment
                                                  nonattainment in
                                                                in downwind
                                                                   downwind States.
                                                                            States.

 Id. at
 Id.    515, 518.
     at 515, 518. To
                  To address this silence,
                     address this silence, EPA
                                           EPA defines
                                               defines "amounts"
                                                       “amounts” to
                                                                 to mean
                                                                    mean the
                                                                         the "amount
                                                                             “amount

 of
 of emissions that is
    emissions that is in
                      in excess
                         excess of the emissions
                                of the emissions control strategies that
                                                 control strategies that EPA has deemed
                                                                         EPA has deemed

 cost-effective.”
 cost-effective." 88 Fed. Reg.
                  88 Fed.      at 36,676;
                          Reg. at 36,676; see
                                          see also
                                              also EME
                                                   EME Homer,
                                                       Homer, 572
                                                              572 U.S.
                                                                  U.S. at
                                                                       at 518 (“As
                                                                          518 ("As

 EPA interprets the
 EPA interprets the statute,
                    statute, upwind
                             upwind emissions rank as
                                    emissions rank as ‘amounts [that] .. .. .. contribute
                                                      `amounts [that]          contribute

 significantly to
 significantly to nonattainment'
                  nonattainment’ if
                                 if they
                                    they .. .. .. can be eliminated
                                                  can be            under the
                                                         eliminated under the cost threshold
                                                                              cost threshold

 set by
 set by the
        the Agency.").
            Agency.”). EPA
                       EPA determines
                           determines this
                                      this amount
                                           amount by
                                                  by "calculat[ing]
                                                     “calculat[ing] how
                                                                    how much
                                                                        much

 pollution each
 pollution      upwind State
           each upwind State could
                             could eliminate if all
                                   eliminate if all of
                                                    of its
                                                       its sources
                                                           sources applied
                                                                   applied pollution
                                                                           pollution




                                             4
                                             4
USCA Case #23-1157       Document #2009836           Filed: 07/27/2023    Page 18 of 430



 control technologies available
 control technologies available at
                                at particular
                                   particular cost thresholds.” EME
                                              cost thresholds." EME Homer
                                                                    Homer City
                                                                          City

 Generation, L.P. v.
 Generation, L.P.    EPA, 795
                  v. EPA,     F.3d 118,
                          795 F.3d 118, 126
                                        126 (D.C.
                                            (D.C. Cir.
                                                  Cir. 2015).
                                                       2015).

        These cost
        These      thresholds are
              cost thresholds are "expressed
                                  “expressed in terms of
                                             in terms of cost per ton
                                                         cost per ton of
                                                                      of emissions
                                                                         emissions

 reduced” based
 reduced" based on the implementation
                on the implementation of
                                      of certain
                                         certain control technologies in
                                                 control technologies    upwind
                                                                      in upwind

 States. Id. EPA
 States. Id. EPA repeats
                 repeats the
                         the analysis
                             analysis at
                                      at different
                                         different cost thresholds (e.g.,
                                                   cost thresholds (e.g., $800/ton,
                                                                          $800/ton,

 $1,400/ton,
 $1,400/ton, $3,400/ton) until it
             $3,400/ton) until it reaches
                                  reaches the
                                          the "point
                                              “point at
                                                     at which
                                                        which further
                                                              further emissions
                                                                      emissions

 mitigation strategies
 mitigation strategies become
                       become excessively
                              excessively costly
                                          costly on
                                                 on aa per-ton
                                                       per-ton basis
                                                               basis while
                                                                     while also
                                                                           also

 delivering far
 delivering far fewer
                fewer additional
                      additional emissions
                                 emissions reductions
                                           reductions and air quality
                                                      and air quality benefits."
                                                                      benefits.” 88
                                                                                 88

 Fed. Reg.
 Fed. Reg. at 36,683. This
           at 36,683. This incremental point, which
                           incremental point, which EPA
                                                    EPA calls the "cost
                                                        calls the “cost effectiveness
                                                                        effectiveness

 threshold,” defines
 threshold," defines the
                     the statutory
                         statutory "amounts"
                                   “amounts” that
                                             that "contribute
                                                  “contribute significantly
                                                              significantly to
                                                                            to

 nonattainment.” Id.
 nonattainment." Id. at
                     at 36,683,
                        36,683, 36,837.
                                36,837. Once
                                        Once EPA identifies the
                                             EPA identifies the appropriate
                                                                appropriate cost-
                                                                            cost-

 effectiveness threshold, it
 effectiveness threshold,    determines the
                          it determines the available
                                            available control technologies at
                                                      control technologies    that price
                                                                           at that price

 point, and
 point, and models
            models the
                   the emissions
                       emissions anticipated to be
                                 anticipated to be reduced through implementation
                                                   reduced through implementation

 of those technologies
 of those technologies (i.e.,
                       (i.e., the
                              the "amounts").
                                  “amounts”). EPA’s
                                              EPA's cost-effectiveness proxy for
                                                    cost-effectiveness proxy for

 “amounts” has
 "amounts" has been
               been upheld
                    upheld as “efficient and
                           as "efficient and equitable.” EME Homer,
                                             equitable." EME Homer, 572
                                                                    572 U.S.
                                                                        U.S. at
                                                                             at

 519.
 519.

 II.
 II.    Procedural
        Procedural Background
                   Background

        A.
        A.    EPA’s Proposed FIP
              EPA's Proposed FIP

        EPA revised the
        EPA revised the national
                        national air
                                 air quality
                                     quality standards
                                             standards for
                                                       for ozone
                                                           ozone in 2015. National
                                                                 in 2015. National

 Ambient Air
 Ambient Air Quality
             Quality Standards
                     Standards for
                                for Ozone, 80 Fed.
                                    Ozone, 80 Fed. Reg.
                                                   Reg. 65,292
                                                        65,292 (Oct.
                                                               (Oct. 26,
                                                                     26, 2015).
                                                                         2015).



                                           5
                                           5
USCA Case #23-1157       Document #2009836            Filed: 07/27/2023     Page 19 of 430



 States then submitted
 States then submitted SIPs to EPA
                       SIPs to     demonstrating how
                               EPA demonstrating how they
                                                     they would
                                                          would each meet the
                                                                each meet the

 revised ozone
 revised ozone standard
               standard and
                        and address
                            address the
                                    the interstate
                                        interstate transport
                                                   transport of
                                                             of ozone. See 88
                                                                ozone. See 88 Fed.
                                                                              Fed.

 Reg.
 Reg. at 36,656.
      at 36,656.

       Before taking
       Before taking action
                     action on the SIPs,
                            on the SIPs, EPA issued its
                                         EPA issued its own proposed FIP
                                                        own proposed FIP to
                                                                         to address
                                                                            address

 the interstate
 the interstate transport
                transport of
                          of ozone across 23
                             ozone across 23 States. 87 Fed.
                                             States. 87 Fed. Reg. 20,036 (Apr.
                                                             Reg. 20,036 (Apr. 6, 2022)
                                                                               6, 2022)

 (“Proposed Rule”).
 ("Proposed         The Proposed
            Rule"). The Proposed Rule proved much
                                 Rule proved much more
                                                  more expansive than prior
                                                       expansive than prior

 FIPs, especially
 FIPs,            regarding the
       especially regarding the regulation
                                regulation of
                                           of pipeline
                                              pipeline engines, which historically
                                                       engines, which historically have
                                                                                   have

 not been
 not been subject
          subject to
                  to regulation
                     regulation under
                                under the
                                      the interstate
                                          interstate transport
                                                     transport provision.
                                                               provision. See,
                                                                          See, e.g.,
                                                                               e.g., 63
                                                                                     63

 Fed. Reg.
 Fed. Reg. 57,356 (Oct. 27,
           57,356 (Oct. 27, 1998);
                            1998); 86 Fed. Reg.
                                   86 Fed.      23,054 (Apr.
                                           Reg. 23,054 (Apr. 30,
                                                             30, 2021).
                                                                 2021). In
                                                                        In fact, as
                                                                           fact, as

 recently as
 recently    2021, EPA
          as 2021,     determined that
                   EPA determined that emission
                                       emission reductions
                                                reductions for non-electric
                                                           for non-electric

 generating units
 generating       (non-EGUs)1 "were
            units (non-EGUs)1 “were not
                                    not required to eliminate
                                        required to           significant
                                                    eliminate significant

 contribution to downwind
 contribution to downwind air
                          air quality problems under
                              quality problems under the
                                                     the interstate
                                                         interstate transport
                                                                    transport

 provision.” 88
 provision." 88 Fed.
                Fed. Reg.
                     Reg. at 36,678 (citing
                          at 36,678 (citing 86
                                            86 Fed.
                                               Fed. Reg.
                                                    Reg. at
                                                         at 23,110).
                                                            23,110). In its Proposed
                                                                     In its Proposed

 Rule, EPA identified
 Rule, EPA identified $7,500 per ton
                      $7,500 per ton of nitrogen oxide
                                     of nitrogen oxide as
                                                       as the
                                                          the proxy
                                                              proxy for the "amounts"
                                                                    for the “amounts”

 of
 of emissions to be
    emissions to be eliminated
                    eliminated for non-EGU sources
                               for non-EGU sources like
                                                   like pipeline
                                                        pipeline engines.
                                                                 engines. 87 Fed.
                                                                          87 Fed.

 Reg.
 Reg. at 20,083.
      at 20,083.

       Kinder Morgan's
       Kinder Morgan’s comments
                       comments on
                                on EPA’s proposal identified
                                   EPA's proposal identified several
                                                             several critical
                                                                     critical

 flaws in EPA’s
 flaws in       analysis, including
          EPA's analysis,           the agency’s
                          including the agency's failure to consider
                                                 failure to          the variation
                                                            consider the variation in
                                                                                   in


 11 Electric generating units
    Electric generating units (EGUs)
                              (EGUs) are
                                      are emission  sources in
                                          emission sources  in the
                                                               the power
                                                                   power sector,
                                                                         sector, typically
                                                                                 typically
  power plants.
 power    plants. Non-EGUs
                  Non-EGUs include
                               include all
                                        all other industrial and
                                            other industrial and commercial
                                                                   commercial emissions
                                                                               emissions
  sources, including
 sources,   including pipeline
                      pipeline engines.
                                engines.

                                            6
                                            6
USCA Case #23-1157      Document #2009836           Filed: 07/27/2023   Page 20 of 430



 costs associated with
 costs associated with implementing
                       implementing the
                                    the same
                                        same control technologies on
                                             control technologies    different types
                                                                  on different types

 of pipeline engines.
 of pipeline          Kinder Morgan,
             engines. Kinder Morgan, Inc.’s
                                     Inc.'s Comments
                                            Comments on the Proposed
                                                     on the Proposed Rule,
                                                                     Rule, EPA-
                                                                           EPA-

 HQ-OAR-2021-0668-0350, at
 HQ-OAR-2021-0668-0350,    20 (June
                        at 20 (June 21,
                                    21, 2022)
                                        2022) (Comment
                                              (Comment Letter) (App. 2).
                                                       Letter) (App. 2). For
                                                                         For

 instance, Kinder
 instance, Kinder Morgan
                  Morgan explained that adding
                         explained that adding Selective
                                               Selective Catalytic
                                                         Catalytic Reduction (a
                                                                   Reduction (a

 control technology EPA
 control technology     identified as
                    EPA identified as consistent with its
                                      consistent with its $7,500
                                                          $7,500 cost threshold) to
                                                                 cost threshold) to aa

 particular engine
 particular        type would
            engine type would result
                              result in
                                     in aa cost-per-ton
                                           cost-per-ton of nitrogen oxide
                                                        of nitrogen oxide reduced
                                                                          reduced of
                                                                                  of

 $109,301—over fourteen times
 $109,301—overfourteen  times EPA’s proposed cost-effectiveness
                              EPA's proposed                    threshold for
                                             cost-effectiveness threshold     the
                                                                          for the

 same technology.
 same technology. Id.
                  Id. at 21, 26.
                      at 21, 26.

       Kinder Morgan
       Kinder Morgan identified several other
                     identified several other inadequacies of the
                                              inadequacies of the Proposed
                                                                  Proposed Rule and
                                                                           Rule and

 EPA’s underlying data,
 EPA's underlying data, including
                        including that
                                  that it is not
                                       it is not technically
                                                 technically or temporally feasible
                                                             or temporally          to
                                                                           feasible to

 apply EPA's
 apply EPA’s proposed
             proposed control technologies uniformly
                      control technologies uniformly across
                                                     across all pipeline engines.
                                                            all pipeline engines.

 See id.
 See     at 13-18,
     id. at 13−18, 27-31.
                   27−31.

       B.
       B.     EPA Adopts the
              EPA Adopts the FIP
                             FIP

       EPA disapproved the
       EPA disapproved the SIPs of 21
                           SIPs of 21 States in February
                                      States in February 2023.
                                                         2023. Air
                                                               Air Plan
                                                                   Plan

 Disapprovals; Interstate
 Disapprovals; Interstate Transport of Air
                          Transport of Air Pollution
                                           Pollution for
                                                      for the 2015 8-Hour
                                                          the 2015 8-Hour Ozone
                                                                          Ozone

 National Ambient
 National Ambient Air
                  Air Quality Standards, 88
                      Quality Standards, 88 Fed.
                                            Fed. Reg.
                                                 Reg. 9,336,
                                                      9,336, 9,354–61 (Feb. 13,
                                                             9,354-61 (Feb. 13,

 2023). EPA
 2023).     then published
        EPA then published its
                           its Rule
                               Rule on
                                    on June
                                       June 5, 2023, which
                                            5, 2023, which included
                                                           included implementation
                                                                    implementation

 plans for
 plans     21 States.
       for 21         88 Fed.
              States. 88 Fed. Reg. at 36,654.
                              Reg. at 36,654.

       In its
       In its Rule,
              Rule, EPA acknowledged that
                    EPA acknowledged that the
                                          the proposed
                                              proposed $7,500
                                                       $7,500 cost threshold was
                                                              cost threshold was

 not an
 not an accurate
        accurate proxy
                 proxy for the "amounts"
                       for the “amounts” of nitrogen oxide
                                         of nitrogen       that "contribute
                                                     oxide that “contribute



                                          77
USCA Case #23-1157       Document #2009836          Filed: 07/27/2023    Page 21 of 430



 significantly” to
 significantly" to nonattainment,
                   nonattainment, recognizing
                                  recognizing that
                                              that "the
                                                   “the $7,500/ton threshold does
                                                        $7,500/ton threshold does not
                                                                                  not

 reflect the
 reflect the full range of
             full range of cost-effectiveness values that
                           cost-effectiveness values that are
                                                          are likely present across
                                                              likely present across the
                                                                                    the

 many different
 many different types
                types of non-EGU industries
                      of non-EGU industries and
                                            and emissions units assessed"
                                                emissions units assessed” and
                                                                          and was
                                                                              was

 thus not
 thus not "representative."
          “representative.” Id.
                            Id. at
                                at 36,740.
                                   36,740. EPA
                                           EPA therefore
                                               therefore eliminated the $7,500
                                                         eliminated the $7,500 cost
                                                                               cost

 threshold from
 threshold      the Rule.
           from the       Id. at
                    Rule. Id. at 36,740-41.
                                 36,740–41.

       But EPA
       But     did not
           EPA did not replace
                       replace that
                               that cost threshold with
                                    cost threshold with another.
                                                        another. Instead,
                                                                 Instead, EPA
                                                                          EPA

 concluded that for
 concluded that     the selected
                for the selected non-EGU
                                 non-EGU control strategies and
                                         control strategies and emissions thresholds,
                                                                emissions thresholds,

 there was no
 there was no cost-effectiveness
              cost-effectiveness threshold: “there [wa]s
                                 threshold: "there [wa]s no
                                                         no point
                                                            point at which there
                                                                  at which there is
                                                                                 is aa

 noticeable decline
 noticeable decline in
                    in the
                       the rate
                           rate of
                                of air quality improvement
                                   air quality             up through
                                               improvement up through the
                                                                      the control
                                                                          control

 stringency level
 stringency level selected."
                  selected.” Id.
                             Id. at
                                 at 36,741.
                                    36,741. EPA did not
                                            EPA did not adopt another proxy
                                                        adopt another proxy for the
                                                                            for the

 statutorily-required "amounts"
 statutorily-required “amounts” under
                                under the
                                      the Clean
                                          Clean Air
                                                Air Act.
                                                    Act.

       Despite renouncing
       Despite renouncing its
                          its proposed
                              proposed proxy
                                       proxy for the "amounts"
                                             for the “amounts” of
                                                               of emissions to be
                                                                  emissions to be

 prohibited, EPA
 prohibited, EPA concluded that it
                 concluded that it would
                                   would maintain
                                         maintain the
                                                  the same
                                                      same emission
                                                           emission control
                                                                    control

 strategies it
 strategies it had
               had identified
                   identified in the proposed
                              in the proposed rule: “EPA nonetheless
                                              rule: "EPA nonetheless finds that, with
                                                                     finds that, with

 some adjustments
 some adjustments from proposal, the
                  from proposal, the overall mix of
                                     overall mix of emissions
                                                    emissions controls it identified
                                                              controls it identified

 at proposal
 at proposal is
             is appropriate
                appropriate to
                            to eliminate significant contribution
                               eliminate significant              to nonattainment
                                                     contribution to nonattainment or
                                                                                   or

 interference with
 interference with maintenance
                   maintenance in
                               in downwind
                                  downwind areas."
                                           areas.” Id.
                                                   Id. at
                                                       at 36,746.
                                                          36,746. EPA
                                                                  EPA thus
                                                                      thus never
                                                                           never

 settled on
 settled on aa cost-effectiveness proxy for
               cost-effectiveness proxy     non-EGUs, and
                                        for non-EGUs, and so
                                                          so never
                                                             never defined
                                                                   defined the
                                                                           the

 “amounts” of
 "amounts" of emissions to be
              emissions to be reduced.
                              reduced. It just imposed
                                       It just         its preferred
                                               imposed its preferred emission
                                                                     emission control
                                                                              control

 strategies regardless
 strategies regardless of
                       of costs.
                          costs.


                                           8
                                           8
USCA Case #23-1157       Document #2009836           Filed: 07/27/2023    Page 22 of 430



       EPA’s treatment of
       EPA's treatment of EGUs was vastly
                          EGUs was vastly different.
                                          different. For
                                                     For EGUs,
                                                         EGUs, EPA
                                                               EPA identified
                                                                   identified aa

 “representative cost
 "representative      threshold of
                 cost threshold of $11,000 per ton"
                                   $11,000 per ton” as
                                                    as the
                                                       the proxy
                                                           proxy for the amounts
                                                                 for the         of
                                                                         amounts of

 emissions to be
 emissions to be reduced. Id. at
                 reduced. Id. at 36,741,
                                 36,741, 36,745;
                                         36,745; see
                                                 see also
                                                     also id. at 36,719-31,
                                                          id. at 36,719−31, 36,737.
                                                                            36,737.

 EPA arrived at
 EPA arrived at that
                that cost threshold by
                     cost threshold by examining “emissions reduction
                                       examining "emissions           potential”
                                                            reduction potential"

 across various
 across various "EGU
                “EGU emissions
                     emissions control technologies.” Id.
                               control technologies." Id. at
                                                          at 86,741.
                                                             86,741. After
                                                                     After

 examining the reduction
 examining the reduction potential
                         potential alongside “air quality
                                   alongside "air quality factors,
                                                          factors, costs,
                                                                   costs, and
                                                                          and emissions
                                                                              emissions

 reductions,” EPA
 reductions," EPA concluded that "reductions
                  concluded that “reductions for
                                             for each
                                                 each of the emissions
                                                      of the emissions control
                                                                       control

 technologies are
 technologies are available at reasonable
                  available at reasonable cost.” Id. at
                                          cost." Id. at 36,745.
                                                        36,745. That
                                                                That analysis
                                                                     analysis was
                                                                              was

 lacking as
 lacking    to pipeline
         as to pipeline engines.
                        engines.

                                 STANDARD
                                 STANDARD OF REVIEW
                                          OF REVIEW

       Courts
       Courts consider
              consider four
                       four factors when determining
                            factors when determining whether
                                                     whether to
                                                             to grant
                                                                grant aa stay:
                                                                         stay:

 (1) likelihood
 (1) likelihood of
                of success
                   success on the merits;
                           on the merits; (2)
                                          (2) the
                                              the movant's
                                                  movant’s irreparable
                                                           irreparable injury;
                                                                       injury;

 (3) potential
 (3) potential harm
               harm to
                    to other parties; and
                       other parties;     (4) the
                                      and (4) the public
                                                  public interest.
                                                         interest. Nken
                                                                   Nken v. Holder, 556
                                                                        v. Holder, 556

 U.S. 418,
 U.S. 418, 434
           434 (2009).
               (2009). The
                       The first two factors
                           first two         are the
                                     factors are the most
                                                     most critical; the third
                                                          critical; the third and
                                                                              and fourth
                                                                                  fourth

 merge when
 merge when the
            the government
                government is the opposing
                           is the          party. Id.
                                  opposing party. Id. at
                                                      at 434-35.
                                                         434–35. Each
                                                                 Each factor
                                                                      factor

 supports aa stay
 supports    stay of the Rule.
                  of the Rule.




                                           9
                                           9
USCA Case #23-1157       Document #2009836           Filed: 07/27/2023    Page 23 of 430



                                    ARGUMENT
                                    ARGUMENT

 I.
 I.    KINDER MORGAN
       KINDER MORGAN IISS LIKELY
                          LIKELY TOS
                                 To  UCCEED O
                                    SUCCEED ONNT HE M
                                               THE   ERITS.
                                                    MERITS.

       A.
       A.     EPA Failed To
              EPA Failed    Identify the
                         To Identify the Emissions  “Amounts” From
                                         Emissions "Amounts"         Non-EGU
                                                                From Non-EGU
              Sources
              Sources That
                      That Contribute
                           Contribute Significantly
                                       Significantly to Nonattainment.
                                                     to Nonattainment.

       In its
       In its Proposed
              Proposed Rule,
                       Rule, EPA identified $7,500
                             EPA identified        per ton
                                            $7,500 per ton of
                                                           of emissions as the
                                                              emissions as the proxy
                                                                               proxy

 for the "amounts"
 for the “amounts” of
                   of emissions to be
                      emissions to be eliminated
                                      eliminated for non-EGU sources,
                                                 for non-EGU sources, including
                                                                      including

 pipeline engines.
 pipeline          87 Fed.
          engines. 87 Fed. Reg. at 20,083.
                           Reg. at 20,083. After
                                           After Kinder
                                                 Kinder Morgan
                                                        Morgan and
                                                               and others
                                                                   others identified
                                                                          identified

 critical
 critical flaws in EPA's
          flaws in EPA’s cost analysis, EPA
                         cost analysis, EPA abandoned that threshold
                                            abandoned that threshold as “not
                                                                     as "not

 reflect[ing] the
 reflect[ing] the full range of
                  full range of cost-effectiveness values that
                                cost-effectiveness values that are
                                                               are likely
                                                                   likely present
                                                                          present across
                                                                                  across

 the many
 the many different
          different types
                    types of non-EGU industries
                          of non-EGU industries and
                                                and emissions units assessed."
                                                    emissions units assessed.” 88
                                                                               88

 Fed. Reg.
 Fed.      at 36,740.
      Reg. at 36,740.

       Yet despite
       Yet despite abandoning
                   abandoning that
                              that $7,500
                                   $7,500 threshold
                                          threshold for non-EGUs in
                                                    for non-EGUs    the final
                                                                 in the       FIP,
                                                                        final FIP,

 the Rule
 the      nonetheless endorsed
     Rule nonetheless          the same
                      endorsed the same emission
                                        emission control strategies for
                                                 control strategies     non-EGUs
                                                                    for non-EGUs

 that underpinned
 that underpinned its
                  its cost analysis in
                      cost analysis in the
                                       the Proposed
                                           Proposed Rule. Id. at
                                                    Rule. Id.    36,661, 36,741.
                                                              at 36,661, 36,741. Failure
                                                                                 Failure

 to define
 to define "amounts"
           “amounts” flouts
                     flouts EPA’s
                            EPA's obligations under the
                                  obligations under the Clean Air Act
                                                        Clean Air Act and is
                                                                      and is

 arbitrary and
 arbitrary and capricious because it
               capricious because it departs
                                     departs from decades of
                                             from decades of regulatory precedent.
                                                             regulatory precedent.

       If EPA
       If EPA regulates beyond the
              regulates beyond the "amounts"
                                   “amounts” of
                                             of emissions that "contribute
                                                emissions that “contribute

 significantly to
 significantly to nonattainment,"
                  nonattainment,” it will have
                                  it will have overstepped its authority.
                                               overstepped its authority. EME
                                                                          EME Homer,
                                                                              Homer,

 572 U.S. at
 572 U.S. at 521; see also
             521; see also Maryland
                           Maryland v. EPA, 958
                                    v. EPA, 958 F.3d
                                                F.3d 1185,
                                                     1185, 1192
                                                           1192 (D.C.
                                                                (D.C. Cir.
                                                                      Cir. 2020)
                                                                           2020)

 (“Emissions that
 ("Emissions that can be reduced
                  can be reduced at
                                 at or below the
                                    or below the selected
                                                 selected control level are
                                                          control level are considered
                                                                            considered

 ‘significant’
 `significant' for purposes of
               for purposes of Good Neighbor compliance.”).
                               Good Neighbor compliance."). EPA
                                                            EPA effectively
                                                                effectively


                                           10
                                           10
USCA Case #23-1157       Document #2009836          Filed: 07/27/2023    Page 24 of 430



 acknowledged that
 acknowledged that limit
                   limit on
                         on its
                            its authority
                                authority when
                                          when it
                                               it initially
                                                  initially arrived at the
                                                            arrived at the proposed
                                                                           proposed

 $7,500
 $7,500 cost-per-ton threshold in
        cost-per-ton threshold    the Proposed
                               in the Proposed Rule.
                                               Rule. But it jettisoned
                                                     But it jettisoned that
                                                                       that cost
                                                                            cost

 threshold in
 threshold in the
              the Rule
                  Rule once it determined
                       once it determined that
                                          that amount was unsupported,
                                               amount was unsupported, and
                                                                       and EPA
                                                                           EPA

 never adopted
 never adopted aa revised
                  revised cost threshold reflecting
                          cost threshold reflecting the
                                                    the "amount
                                                        “amount of
                                                                of emissions that is
                                                                   emissions that is in
                                                                                     in

 excess of the
 excess of the emissions
               emissions control strategies that
                         control strategies that EPA has deemed
                                                 EPA has deemed cost-effective.” 88
                                                                cost-effective." 88

 Fed. Reg.
 Fed. Reg. at
           at 36,676.
              36,676. EPA therefore never
                      EPA therefore never defined
                                          defined the
                                                  the "amounts"
                                                      “amounts” of
                                                                of emissions to be
                                                                   emissions to be

 reduced. That
 reduced. That failure both violates
               failure both violates the
                                     the Clean Air Act
                                         Clean Air Act and departs from
                                                       and departs from EPA’s past
                                                                        EPA's past

 practice.
 practice.

       First, the
       First, the Clean Air Act
                  Clean Air Act requires
                                requires EPA to define
                                         EPA to define the
                                                       the "amounts"
                                                           “amounts” of
                                                                     of pollutants
                                                                        pollutants to
                                                                                   to

 be reduced.
 be reduced. 42
             42 U.S.C.
                U.S.C. §§ 7410(a)(2)(D)(i)(I). As this
                          7410(a)(2)(D)(i)(I). As this Court has explained,
                                                       Court has explained,

 “[i]nterstate contributions
 "[i]nterstate contributions cannot be assumed
                             cannot be assumed out
                                               out of thin air.”
                                                   of thin       Michigan v.
                                                           air." Michigan    EPA, 213
                                                                          v. EPA, 213

 F.3d 663,
 F.3d 663, 684
           684 (D.C.
               (D.C. Cir. 2000). Rather,
                     Cir. 2000).         they must
                                 Rather, they must be
                                                   be grounded
                                                      grounded in
                                                               in an “amount,”
                                                                  an "amount,"

 which EPA
 which     has decided
       EPA has decided to
                       to measure
                          measure as
                                  as cost-effectiveness.
                                     cost-effectiveness. 88 Fed. Reg.
                                                         88 Fed. Reg. at 36,676;
                                                                      at 36,676;

 EME Homer,
 EME Homer, 572 U.S. at
            572 U.S. at 521. This accords
                        521. This         with the
                                  accords with the administrative law principle
                                                   administrative law principle

 that courts
 that        will generally
      courts will generally "read
                            “read statutes
                                  statutes as
                                           as authorizing
                                              authorizing regulations with benefits
                                                          regulations with benefits at
                                                                                    at

 least roughly
 least roughly commensurate with their
               commensurate with their costs.” Michigan, 213
                                       costs." Michigan, 213 F.3d
                                                             F.3d at
                                                                  at 679
                                                                     679 (citation
                                                                         (citation

 and quotation
 and quotation marks
               marks omitted).
                     omitted).

       Although EPA
       Although EPA has
                    has discretion
                        discretion in
                                   in selecting
                                      selecting aa reasonable
                                                   reasonable "cut-off
                                                              “cut-off point"
                                                                       point” for
                                                                              for cost-
                                                                                  cost-

 effectiveness, that does
 effectiveness, that does not
                          not mean
                              mean that
                                   that EPA
                                        EPA can simply forgo
                                            can simply       selecting aa cost
                                                       forgo selecting    cost

 threshold altogether.
 threshold altogether. Id.
                       Id. at
                           at 680; see also
                              680; see also North
                                            North Carolina
                                                  Carolina v. EPA, 531
                                                           v. EPA,     F.3d 896,
                                                                   531 F.3d 896, 918
                                                                                 918


                                          11
                                          11
USCA Case #23-1157        Document #2009836             Filed: 07/27/2023     Page 25 of 430



 (D.C. Cir.
 (D.C.      2008) (EPA
       Cir. 2008) (EPA has
                       has discretion
                           discretion in “draw[ing] the
                                      in "draw[ing] the significant
                                                        significant contribution line
                                                                    contribution line

 based on
 based on .. .. .. cost” but cannot
                   cost" but        refuse to
                             cannot refuse to "draw
                                              “draw the
                                                    the line
                                                        line at all.”), on
                                                             at all."), on reh’g
                                                                           reh'g in part, 550
                                                                                 in part, 550

 F.3d 1176
 F.3d 1176 (D.C.
           (D.C. Cir. 2008). And
                 Cir. 2008). And because
                                 because EPA
                                         EPA failed to determine
                                             failed to determine aa cost-
                                                                    cost-

 effectiveness threshold in
 effectiveness threshold in the
                            the Rule,
                                Rule, and never identified
                                      and never            an alternative
                                                identified an alternative proxy,
                                                                          proxy, EPA
                                                                                 EPA

 failed to determine
 failed to determine the
                     the statutory
                         statutory "amounts"
                                   “amounts” of
                                             of emissions required to
                                                emissions required to be
                                                                      be eliminated.
                                                                         eliminated.

        Second, EPA’s
        Second, EPA's failure to define
                      failure to define "amounts"
                                        “amounts” as “represented by
                                                  as "represented by aa cost
                                                                        cost

 threshold” departs
 threshold" departs from decades of
                    from decades of agency precedent. In
                                    agency precedent.    past ozone
                                                      In past       transport rules,
                                                              ozone transport rules,

 EPA required industries
 EPA required industries to
                         to install
                            install only those control
                                    only those         technologies that
                                               control technologies that are
                                                                         are cost-
                                                                             cost-

 effective. See, e.g.,
 effective. See, e.g., 86
                       86 Fed.
                          Fed. Reg.
                               Reg. at 23,110. And
                                    at 23,110. And when
                                                   when EPA
                                                        EPA found
                                                            found aa cost threshold
                                                                     cost threshold

 unrepresentative, it
 unrepresentative,    did not
                   it did not require
                              require reductions. See, e.g.,
                                      reductions. See, e.g., 70 Fed. Reg.
                                                             70 Fed.      25,162, 25,214
                                                                     Reg. 25,162, 25,214

 (May 12,
 (May 12, 2005)
          2005) ("EPA
                (“EPA believes
                      believes it is necessary
                               it is necessary to
                                               to have
                                                  have .. .. .. better
                                                                better control
                                                                       control cost
                                                                               cost

 information for
 information     [non-EGUs] before
             for [non-EGUs] before assuming reductions from
                                   assuming reductions      them.”); 81
                                                       from them."); 81 Fed.
                                                                        Fed. Reg.
                                                                             Reg.

 74,504,
 74,504, 74,509 (Oct. 26,
         74,509 (Oct. 26, 2016)
                          2016) ("Our
                                (“Our analysis shows that
                                      analysis shows that there
                                                          there is
                                                                is uncertainty
                                                                   uncertainty

 regarding whether
 regarding whether or not meaningful,
                   or not meaningful, cost-effective non-EGU emission
                                      cost-effective non-EGU emission reductions
                                                                      reductions

 are achievable
 are achievable .. .. .. .. Therefore,
                            Therefore, non-EGU
                                       non-EGU reductions
                                               reductions are not included
                                                          are not included in
                                                                           in the
                                                                              the final
                                                                                  final

 rule.”).
 rule.").

        EPA departed from
        EPA departed      that precedent
                     from that precedent here.
                                         here. EPA acknowledged that
                                               EPA acknowledged that its
                                                                     its proposed
                                                                         proposed

 threshold did
 threshold did "not
               “not reflect
                    reflect the
                            the full range of
                                full range of cost-effectiveness values that
                                              cost-effectiveness values that are
                                                                             are likely
                                                                                 likely

 present across
 present across the
                the many
                    many different
                         different types
                                   types of non-EGU industries
                                         of non-EGU industries and
                                                               and emissions units
                                                                   emissions units

 assessed”—yet EPA
 assessed"—yet     is still
               EPA is still forcing
                            forcing companies to install
                                    companies to         those same
                                                 install those same controls it
                                                                    controls it


                                             12
                                             12
USCA Case #23-1157       Document #2009836           Filed: 07/27/2023    Page 26 of 430



 proposed. 88
 proposed. 88 Fed.
              Fed. Reg.
                   Reg. at
                        at 36,746.
                           36,746. An
                                   An agency
                                      agency cannot set forth
                                             cannot set       “a general
                                                        forth "a general policy
                                                                         policy by
                                                                                by

 which its
 which its exercise
           exercise of discretion will
                    of discretion will be
                                       be governed,"
                                          governed,” only to "irrational[ly]
                                                     only to “irrational[ly] depart[]
                                                                             depart[]

 from that policy"
 from that policy” by
                   by ignoring it. INS
                      ignoring it. INS v.
                                       v. Yang, 519 U.S.
                                          Yang, 519 U.S. 26,
                                                         26, 32
                                                             32 (1996).
                                                                (1996).

       EPA also did
       EPA also did not
                    not explain why it
                        explain why it was
                                       was departing
                                           departing from
                                                     from its past practice
                                                          its past practice to
                                                                            to require
                                                                               require

 control technologies that
 control technologies that are
                           are admittedly not cost-effective.
                               admittedly not cost-effective. Even worse, EPA
                                                              Even worse, EPA

 changed its interpretation
 changed its interpretation in
                            in aa final
                                   final rule,
                                         rule, without
                                               without the
                                                       the opportunity
                                                           opportunity for notice and
                                                                       for notice and

 comment. See Shell
 comment. See Shell Oil
                    Oil Co.
                        Co. v. EPA, 950
                            v. EPA,     F.2d 741,
                                    950 F.2d 741, 747 (D.C. Cir.
                                                  747 (D.C. Cir. 1991).
                                                                 1991). Indeed,
                                                                        Indeed,

 Kinder Morgan
 Kinder Morgan commented that "[i]t
               commented that “[i]t is
                                    is unclear
                                       unclear how
                                               how EPA
                                                   EPA could make the
                                                       could make the necessary
                                                                      necessary

 findings
 findings for
          for aa final rule given
                 final rule given the
                                  the inaccurate
                                      inaccurate data
                                                 data it
                                                      it relies upon.” Comment
                                                         relies upon." Comment Letter 3.
                                                                               Letter 3.

 EPA’s
 EPA's failure to provide
       failure to provide aa reasoned
                             reasoned explanation “for disregarding
                                      explanation "for disregarding facts and
                                                                    facts and

 circumstances that underlay
 circumstances that underlay or
                             or were
                                were engendered by the
                                     engendered by the prior
                                                       prior policy"
                                                             policy” was
                                                                     was arbitrary
                                                                         arbitrary

 and capricious.
 and             Encino Motorcars,
     capricious. Encino Motorcars, LLC
                                   LLC v. Navarro, 579
                                       v. Navarro,     U.S. 211,
                                                   579 U.S. 211, 222 (2016).2
                                                                 222 (2016).2

       Although the
       Although the Rule provides aa limited
                    Rule provides    limited exemption process purportedly
                                             exemption process purportedly based
                                                                           based on
                                                                                 on

 costs, that process
 costs, that process does
                     does not
                          not cure
                              cure EPA’s
                                   EPA's failure to identify
                                         failure to identify aa cost threshold. Already
                                                                cost threshold. Already

 anticipating that
 anticipating that "certain
                   “certain individual
                            individual facilities and emissions
                                       facilities and           units may
                                                      emissions units may face
                                                                          face extreme
                                                                               extreme

 hardship,” EPA
 hardship," EPA included
                included aa case-by-case
                            case-by-case exemption process in
                                         exemption process    the Rule.
                                                           in the Rule. 88 Fed. Reg.
                                                                        88 Fed. Reg.

 at 36,747
 at 36,747 n.250.
           n.250. But
                  But to
                      to receive
                         receive an
                                 an exemption,
                                    exemption, companies must demonstrate
                                               companies must demonstrate

 “technical impossibility
 "technical impossibility or
                          or extreme
                             extreme economic hardship”—standards that
                                     economic hardship"—standards that EPA has
                                                                       EPA has


 2
   At the least, EPA should have conducted a rigorous cost-benefit analysis—pursuant
 2 At the least, EPA should have conducted a rigorous cost-benefit analysis—pursuant
  to the
 to  the requirements
         requirements for
                      for cost-benefit analyses EPA
                          cost-benefit analyses      must follow
                                                EPA must         before promulgating
                                                          follow before promulgating
 aa rule
    rule under
         under the
               the Clean Air Act.
                   Clean Air Act. See
                                  See 85
                                       85 Fed.
                                          Fed. Reg. 84,130, 84,155
                                               Reg. 84,130, 84,155 (Dec.
                                                                   (Dec. 23,
                                                                         23, 2020).
                                                                             2020).

                                           13
                                           13
USCA Case #23-1157      Document #2009836            Filed: 07/27/2023   Page 27 of 430



 not used
 not used in
          in the
             the past
                 past and
                      and has
                          has yet
                              yet to
                                  to define.
                                     define. Id.
                                             Id. (emphases
                                                 (emphases added).
                                                           added). And
                                                                   And by
                                                                       by limiting
                                                                          limiting

 exemptions to "individual
 exemptions to “individual facilities and emissions
                           facilities and           units” on
                                          emissions units" on aa case-by-case basis, it
                                                                 case-by-case basis, it

 also is
 also is unlikely
         unlikely that
                  that EPA
                       EPA will
                           will grant
                                grant mass
                                      mass exemptions, which will
                                           exemptions, which will be
                                                                  be necessary
                                                                     necessary due
                                                                               due

 to the
 to the exorbitant
        exorbitant costs and technical
                   costs and technical problems
                                       problems expected by the
                                                expected by the industry.
                                                                industry.

       B.
       B.     EPA
              EPA Failed
                  Failed To  Consider Important
                          To Consider Important Factors In Adopting
                                                Factors In Adopting Its
                                                                    Its
              Compliance Timeline.
              Compliance Timeline.

       Among other
       Among other things,
                   things, the
                           the Rule
                               Rule requires the pipeline
                                    requires the pipeline transportation
                                                          transportation sector
                                                                         sector to
                                                                                to

 implement various
 implement various control technologies by
                   control technologies by May
                                           May 1,
                                               1, 2026—just
                                                  2026—just 31
                                                            31 months
                                                               months from the
                                                                      from the

 Rule’s
 Rule's effective date. 88
        effective date.    Fed. Reg.
                        88 Fed.      at 36,756.
                                Reg. at 36,756. EPA
                                                EPA failed to consider
                                                    failed to          “important
                                                              consider "important

 aspect[s] of
 aspect[s]    the problem"
           of the problem” in
                           in adopting
                              adopting that
                                       that compliance timeline, thus
                                            compliance timeline, thus rendering its
                                                                      rendering its

 action arbitrary
 action arbitrary and
                  and capricious. See Motor
                      capricious. See Motor Vehicle Mfrs. Ass
                                            Vehicle Mfrs. Ass’n  of U.S.,
                                                              'n of       Inc. v.
                                                                    U.S., Inc.    State
                                                                               v. State

 Farm Mut.
 Farm Mut. Auto.
           Auto. Ins.
                 Ins. Co., 463 U.S.
                      Co., 463 U.S. 29,
                                    29, 43
                                        43 (1983).
                                           (1983).

       Most glaringly,
       Most glaringly, EPA
                       EPA failed to adequately
                           failed to adequately consider the gas
                                                consider the gas and
                                                                 and power
                                                                     power service
                                                                           service

 interruptions, capacity,
 interruptions,           and reliability
                capacity, and reliability impacts that the
                                          impacts that the Rule will have
                                                           Rule will have on downstream
                                                                          on downstream

 consumers as aa result
 consumers as    result of implementation of
                        of implementation    the Rule
                                          of the      by the
                                                 Rule by the pipeline
                                                             pipeline transportation
                                                                      transportation

 sector. Kinder
 sector. Kinder Morgan’s
                Morgan's comments
                         comments on the Proposed
                                  on the Proposed Rule warned EPA
                                                  Rule warned     that the
                                                              EPA that the

 proposed emissions
 proposed           threshold for
          emissions threshold     pipeline engines
                              for pipeline         would lead
                                           engines would lead to
                                                              to "a
                                                                 “a large-scale
                                                                    large-scale

 reduction in
 reduction in output of natural
              output of natural gas"
                                gas” because
                                     because numerous
                                             numerous pipeline
                                                      pipeline engines will be
                                                               engines will be offline
                                                                               offline

 at the
 at the same
        same time,
             time, which
                   which will
                         will cause Kinder Morgan
                              cause Kinder        to decrease
                                           Morgan to decrease transport
                                                              transport of
                                                                        of natural
                                                                           natural

 gas, "jeopardiz[ing]
 gas, “jeopardiz[ing] the
                      the safe
                          safe and
                               and reliable transmission of
                                   reliable transmission    natural gas
                                                         of natural gas in the United
                                                                        in the United

 States.” Comment Letter
 States." Comment        29, 36-37.
                  Letter 29, 36–37.

                                          14
                                          14
USCA Case #23-1157        Document #2009836            Filed: 07/27/2023    Page 28 of 430



       EPA’s
       EPA's only discussion of
             only discussion of reliability
                                reliability in the Rule
                                            in the      relates exclusively
                                                   Rule relates             to EGUs
                                                                exclusively to EGUs

 like power
 like power plants,
            plants, not
                    not non-EGUs
                        non-EGUs such
                                 such as pipeline engines.
                                      as pipeline engines. 88 Fed. Reg.
                                                           88 Fed.      at 36,774.
                                                                   Reg. at 36,774.

 And as
 And as to
        to non-EGUs,
           non-EGUs, EPA
                     EPA admits
                         admits that
                                that the
                                     the Federal
                                         Federal Energy
                                                 Energy Regulatory
                                                        Regulatory Commission
                                                                   Commission

 has "primary
 has “primary responsibility
              responsibility for
                             for ensuring
                                 ensuring reliability of the
                                          reliability of the bulk
                                                             bulk electric system.” Id.
                                                                  electric system." Id.

 at 36,679.
 at 36,679. EPA
            EPA insists
                insists it
                        it consulted with the
                           consulted with the Commission before promulgating
                                              Commission before promulgating the
                                                                             the

 Rule, but EPA
 Rule, but     does not
           EPA does not document
                        document FERC's
                                 FERC’s position
                                        position or address potential
                                                 or address potential challenges
                                                                      challenges

 that operators
 that operators may
                may face between the
                    face between the Rule and FERC
                                     Rule and FERC obligations. See State
                                                   obligations. See State Farm,
                                                                          Farm,

 463 U.S.
 463 U.S. at
          at 43
             43 (rule
                (rule is
                      is arbitrary and capricious
                         arbitrary and            if the
                                       capricious if the agency “entirely failed
                                                         agency "entirely        to
                                                                          failed to

 consider an important
 consider an           aspect of
             important aspect of the
                                 the problem").
                                     problem”). And
                                                And EPA’s suggestion that
                                                    EPA's suggestion that pipeline
                                                                          pipeline

 operators
 operators can simply "coordinate
           can simply “coordinate outages” to avoid
                                  outages" to avoid capacity impacts, EPA,
                                                    capacity impacts,      NOx
                                                                      EPA, NOx

 Emissions Control
 Emissions Control Technology Installation Timing
                   Technology Installation         for Non-EGU
                                           Timing for  Non-EGU Sources,
                                                               Sources, Final
                                                                        Final

 Report, EPA-HQ-OAR-2021-0668-1077
 Report, EPA-HQ-OAR-2021-0668-1077 (Mar.
                                   (Mar. 14,
                                         14, 2023)
                                             2023) at
                                                   at 8 (“EPA Timing
                                                      8 ("EPA Timing

 Report”), may trigger
 Report"), may trigger regulatory
                       regulatory violations
                                  violations and
                                             and raise anticompetitive concerns
                                                 raise anticompetitive          given
                                                                       concerns given

 the potential
 the potential market
               market impacts
                      impacts of those coordinated
                              of those coordinated outages. See In
                                                   outages. See In re Musical
                                                                   re Musical

 Instruments &
 Instruments & Equip.
               Equip. Antitrust
                      Antitrust Litig.,
                                Litig., 798 F.3d 1186,
                                        798 F.3d 1186, 1191
                                                       1191 (9th
                                                            (9th Cir.
                                                                 Cir. 2015)
                                                                      2015)

 (“[A]greements among
 ("[A]greements among competitors to fix
                      competitors to     prices, divide
                                     fix prices, divide markets,
                                                        markets, and
                                                                 and refuse to deal
                                                                     refuse to deal

 .. .. .. [are]
          [are] inherently
                inherently anticompetitive horizontal agreements
                           anticompetitive horizontal agreements [that]
                                                                 [that] violate
                                                                        violate the
                                                                                the Sherman
                                                                                    Sherman

 Act per
 Act per se.").
         se.”). EPA’s suggested "solution"
                EPA's suggested “solution” is no solution
                                           is no solution at
                                                          at all.
                                                             all.




                                            15
                                            15
USCA Case #23-1157       Document #2009836           Filed: 07/27/2023    Page 29 of 430



       C.
       C.     EPA Inadequately Responded
              EPA Inadequately Responded To
                                         To Kinder
                                            Kinder Morgan’s Comments.
                                                   Morgan's Comments.

       It is
       It is aa cornerstone principle of
                cornerstone principle of notice-and-comment
                                         notice-and-comment rulemaking
                                                            rulemaking that
                                                                       that the
                                                                            the

 agency adequately
 agency adequately respond
                   respond to
                           to "major
                              “major substantive
                                     substantive comments.” Sierra Club
                                                 comments." Sierra Club v. EPA,
                                                                        v. EPA,

 863 F.3d
 863 F.3d 834,
          834, 839
               839 (D.C.
                   (D.C. Cir. 2017); 55 U.S.C.
                         Cir. 2017);    U.S.C. §§ 553(c).
                                                  553(c). EPA
                                                          EPA failed to adequately
                                                              failed to adequately

 respond to
 respond to Kinder
            Kinder Morgan's
                   Morgan’s comments proposing an
                            comments proposing an alternate
                                                  alternate solution
                                                            solution to
                                                                     to address
                                                                        address

 the interstate
 the interstate transport
                transport of
                          of ozone.
                             ozone.

       In an
       In an effort to support
             effort to support sensible
                               sensible regulation by EPA,
                                        regulation by EPA, Kinder Morgan proposed
                                                           Kinder Morgan proposed

 aa state-wide,
    state-wide, company-wide averaging program
                company-wide averaging program in
                                               in its
                                                  its Comment
                                                      Comment Letter to resolve
                                                              Letter to resolve

 industry concerns
 industry concerns about
                   about financial
                         financial and technical infeasibility
                                   and technical               as related
                                                 infeasibility as         to pipeline
                                                                  related to pipeline

 engines. Comment Letter
 engines. Comment Letter 37-40.
                         37–40. This
                                This is
                                     is because
                                        because an averaging program
                                                an averaging program across
                                                                     across aa

 company, but limited
 company, but limited to
                      to aa State, offers the
                            State, offers the necessary
                                              necessary flexibility
                                                        flexibility for an operator
                                                                    for an          to
                                                                           operator to

 “address cost,
 "address       technical, and
          cost, technical, and other
                               other constraints” across dozens
                                     constraints" across dozens of pipeline engines.
                                                                of pipeline engines.

 Id. at
 Id. at 5.
        5. EPA
           EPA failed to respond
               failed to         to that
                         respond to that proposal.
                                         proposal. Instead,
                                                   Instead, EPA
                                                            EPA only
                                                                only addressed
                                                                     addressed

 averaging on
 averaging on aa facility-wide basis, which
                 facility-wide basis, which is
                                            is aa materially
                                                  materially different
                                                             different program
                                                                       program than
                                                                               than that
                                                                                    that

 proposed by
 proposed by Kinder
             Kinder Morgan.
                    Morgan. See
                            See EPA, Response to
                                EPA, Response    Public Comments
                                              to Public          on Proposed
                                                        Comments on Proposed

 Rule, EPA-HQ-OAR-2021-0668-1127,
 Rule, EPA-HQ-OAR-2021-0668-1127, at 654 (Mar.
                                  at 654 (Mar. 15,
                                               15, 2023).
                                                   2023). In
                                                          In an attempt to
                                                             an attempt to

 “adjust[ 1"
 "adjust[ ]” the
             the Rule to be
                 Rule to be "cost-reasonable"
                            “cost-reasonable” and
                                              and in
                                                  in recognition of the
                                                     recognition of the relatively
                                                                        relatively large
                                                                                   large

 number of
 number of engines in the
           engines in the pipeline
                          pipeline transportation
                                   transportation sector,
                                                  sector, EPA developed the
                                                          EPA developed the facility-
                                                                            facility-

 wide averaging
 wide averaging concept. Id. at
                concept. Id. at 124.
                                124. But
                                     But EPA did not
                                         EPA did not explain whether it
                                                     explain whether it considered
                                                                        considered

 state-wide, company-wide
 state-wide,              averaging, or,
             company-wide averaging,     in the
                                     or, in the alternative, why it
                                                alternative, why it considered but did
                                                                    considered but did



                                           16
                                           16
USCA Case #23-1157       Document #2009836           Filed: 07/27/2023    Page 30 of 430



 not adopt
 not adopt the
           the state-wide,
               state-wide, company-wide approach. That
                           company-wide approach. That silent
                                                       silent treatment
                                                              treatment is
                                                                        is

 impermissible.
 impermissible.

       D.
       D.     EPA’s Compliance Timeline
              EPA's Compliance          Is Arbitrary
                               Timeline Is Arbitrary And
                                                     And Capricious.
                                                         Capricious.

       The Rule's
       The Rule’s fast-approaching
                  fast-approaching compliance deadline is
                                   compliance deadline is arbitrary
                                                          arbitrary and
                                                                    and

 capricious—and impossible to
 capricious—and impossible to achieve—because
                              achieve—because EPA (1) undercounted
                                              EPA (1) undercounted the
                                                                   the pipeline
                                                                       pipeline

 engines requiring retrofit;
 engines requiring           (2) ignored
                   retrofit; (2) ignored logistical
                                         logistical impediments; and (3)
                                                    impediments; and (3) brushed
                                                                         brushed aside
                                                                                 aside

 supply chain
 supply chain concerns. See Small
              concerns. See Small Refiner
                                  Refiner Lead
                                          Lead Phase-Down
                                               Phase-Down Task Force v.
                                                          Task Force    EPA, 705
                                                                     v. EPA, 705

 F.2d 506,
 F.2d 506, 544−45, 552 (D.C.
           544-45, 552 (D.C. Cir. 1983) (vacating
                             Cir. 1983) (vacating EPA's
                                                  EPA’s gasoline
                                                        gasoline lead
                                                                 lead standard
                                                                      standard

 under the
 under the Clean
           Clean Air
                 Air Act
                     Act in part for
                         in part     the lack
                                 for the      of record
                                         lack of record evidence that compliance
                                                        evidence that compliance

 timeline was
 timeline was achievable); State Farm,
              achievable); State Farm, 463
                                       463 U.S.
                                           U.S. at
                                                at 43.
                                                   43.

       First, EPA
       First,     vastly undercounted
              EPA vastly undercounted the
                                      the pipeline
                                          pipeline engines that will
                                                   engines that will need
                                                                     need emissions
                                                                          emissions

 controls. See Comment
 controls. See Comment Letter 9−13. The
                       Letter 9-13. The undercounting
                                        undercounting stems
                                                      stems largely
                                                            largely from EPA’s
                                                                    from EPA's

 facility-wide
 facility-wide averaging
               averaging concept.
                         concept. EPA determined that
                                  EPA determined that of
                                                      of the
                                                         the 3,005
                                                             3,005 engines subject
                                                                   engines subject

 to the
 to the Rule,
        Rule, only
              only 905
                   905 engines (roughly aa third)
                       engines (roughly    third) will
                                                  will require
                                                       require controls. 88 Fed.
                                                               controls. 88 Fed. Reg.
                                                                                 Reg. at
                                                                                      at

 36,824; EPA
 36,824; EPA Timing
             Timing Report
                    Report 30.
                           30. But that approach
                               But that          relies on
                                        approach relies on erroneous assumptions
                                                           erroneous assumptions

 and will
 and will be
          be ineffective
             ineffective in
                         in practice
                            practice because
                                     because most
                                             most facilities with pipeline
                                                  facilities with pipeline engines
                                                                           engines

 contain three or
 contain three or fewer
                  fewer engines—with many only
                        engines—with many only containing
                                               containing one. See EPA,
                                                          one. See      Final
                                                                   EPA, Final

 Non-EGU Sectors
 Non-EGU Sectors Technical Support Document,
                 Technical Support Document, EPA-HQ-OAR-2021-0668, at 19-
                                             EPA-HQ-OAR-2021-0668, at 19–

 20 (Mar.
 20 (Mar. 2023);
          2023); EPA, Pipeline Natural
                 EPA, Pipeline Natural Gas Engines Analysis
                                       Gas Engines Analysis Data,
                                                            Data, EPA-HQ-OAR-
                                                                  EPA-HQ-OAR-

 2021-0668-1050 (Mar.
 2021-0668-1050 (Mar. 9, 2023) (listing
                      9, 2023) (listing engines by facility).
                                        engines by            An operator
                                                   facility). An operator cannot
                                                                          cannot



                                           17
                                           17
USCA Case #23-1157       Document #2009836           Filed: 07/27/2023    Page 31 of 430



 install controls
 install          on less
         controls on less than
                          than one
                               one engine.
                                   engine. In reality, due
                                           In reality, due to
                                                           to the
                                                              the lack
                                                                  lack of
                                                                       of flexibility in
                                                                          flexibility in

 most facilities
 most            that have
      facilities that have only
                           only aa few
                                   few engines, many more
                                       engines, many more pipeline
                                                          pipeline engines will need
                                                                   engines will need

 controls. Because EPA
 controls. Because EPA crafted
                       crafted its timeline based
                               its timeline based on significant undercounting,
                                                  on significant undercounting,

 EPA’s
 EPA's compliance timeline is
       compliance timeline    not supported
                           is not supported by
                                            by substantial
                                               substantial evidence.
                                                           evidence.

       Second, EPA
       Second, EPA failed to consider
                   failed to          basic logistical
                             consider basic logistical obstacles.
                                                       obstacles. There are only
                                                                  There are      two
                                                                            only two

 vendors nationwide
 vendors nationwide with
                    with the
                         the necessary
                             necessary equipment and experience
                                       equipment and            to retrofit
                                                     experience to          most
                                                                   retrofit most

 pipeline engines,
 pipeline          and those
          engines, and those contractors have never
                             contractors have never processed
                                                    processed the
                                                              the scale
                                                                  scale and
                                                                        and

 magnitude of
 magnitude of requests that the
              requests that the Rule
                                Rule forces.
                                     forces. Comment
                                             Comment Letter 28; EPA
                                                     Letter 28;     Timing Report
                                                                EPA Timing Report

 68, A-1—A-3.
 68, A-1−A-3. Each pipeline engine
              Each pipeline        is massive,
                            engine is massive, weighing
                                               weighing as
                                                        as much
                                                           much as
                                                                as 365,000
                                                                   365,000

 pounds, requiring
 pounds, requiring complex retrofits. Comment
                   complex retrofits. Comment Letter 28. EPA
                                              Letter 28.     also dismisses
                                                         EPA also dismisses its
                                                                            its own
                                                                                own

 data points
 data points making
             making clear that permitting—which
                    clear that permitting—which is
                                                is required
                                                   required prior
                                                            prior to
                                                                  to modification—
                                                                     modification—

 is itself
 is itself expected to range
           expected to range from “2 [to]
                             from "2 [to] 12 months.” EPA
                                          12 months." EPA Timing
                                                          Timing Report 24. Kinder
                                                                 Report 24. Kinder

 Morgan explained
 Morgan           that permitting
        explained that permitting can take "as
                                  can take “as little
                                               little as
                                                      as 90 days” and
                                                         90 days" and up
                                                                      up to
                                                                         to "24
                                                                            “24 months
                                                                                months

 or more.” This
 or more." This may
                may sound
                    sound reasonable
                          reasonable in the context
                                     in the context of
                                                    of one
                                                       one engine, but when
                                                           engine, but when

 considering hundreds of
 considering hundreds of engines,
                         engines, aa compliance timeline of
                                     compliance timeline of just
                                                            just 31
                                                                 31 months
                                                                    months from the
                                                                           from the

 effective date of
 effective date    the Rule
                of the      quickly becomes
                       Rule quickly becomes unrealistic.
                                            unrealistic. Comment
                                                         Comment Letter 29.
                                                                 Letter 29.

       Third,
       Third, EPA
              EPA categorically assumed that
                  categorically assumed that supply
                                             supply chain delays will
                                                    chain delays will not
                                                                      not impede
                                                                          impede

 implementation, contrary
 implementation,          to record
                 contrary to record evidence.
                                    evidence. EPA
                                              EPA optimistically
                                                  optimistically explains that
                                                                 explains that

 compliance
 compliance could be achieved
            could be          in 28
                     achieved in 28 months
                                    months "if
                                           “if there
                                               there are
                                                     are no
                                                         no supply
                                                            supply chain delays.”
                                                                   chain delays."

 88 Fed.
 88 Fed. Reg. at 36,759.
         Reg. at 36,759. In
                         In the
                            the same
                                same breath,
                                     breath, EPA
                                             EPA estimates that "if
                                                 estimates that “if current supply
                                                                    current supply


                                           18
                                           18
USCA Case #23-1157       Document #2009836            Filed: 07/27/2023    Page 32 of 430



 chain delays continue,
 chain delays continue, control
                        control installations
                                installations could take as
                                              could take as long
                                                            long as
                                                                 as 61 months for
                                                                    61 months     most
                                                                              for most

 non-EGU industries"
 non-EGU industries” and
                     and up
                         up to
                            to 112
                               112 months
                                   months for difficult cases.
                                          for difficult        Id. While
                                                        cases. Id. While EPA
                                                                         EPA

 acknowledges that
 acknowledges that supply
                   supply chain
                          chain constraints may impact
                                constraints may impact the
                                                       the compliance timeline,
                                                           compliance timeline,

 EPA nevertheless dismisses
 EPA nevertheless dismisses those
                            those concerns,
                                  concerns, concluding that the
                                            concluding that the facility-wide
                                                                facility-wide

 averaging approach
 averaging approach and
                    and exemption process "should
                        exemption process “should reduce
                                                  reduce the
                                                         the strain"
                                                             strain” on the supply
                                                                     on the supply

 chain. Id. at
 chain. Id. at 36,760.
               36,760.

       EPA’s
       EPA's facility-wide averaging approach
             facility-wide averaging approach (discussed
                                              (discussed above) and exemption
                                                         above) and exemption

 process will
 process will not
              not fix the Rule's
                  fix the Rule’s systemic
                                 systemic problems.
                                          problems. The
                                                    The Rule allows for
                                                        Rule allows     timeline
                                                                    for timeline

 extensions in exceptional
 extensions in exceptional circumstances. 88 Fed.
                           circumstances. 88 Fed. Reg.
                                                  Reg. at 36,749. But
                                                       at 36,749. But these
                                                                      these

 discretionary, one-off
 discretionary, one-off extensions will not
                        extensions will not cure the timeline
                                            cure the timeline problem,
                                                              problem, as
                                                                       as extensions
                                                                          extensions

 will be
 will be needed
         needed across the board.
                across the board. Kinder
                                  Kinder Morgan
                                         Morgan cautioned
                                                cautioned EPA that the
                                                          EPA that the "underlying
                                                                       “underlying

 rule .. .. .. cannot
 rule                 be drafted
               cannot be drafted such
                                 such that
                                      that every subject operator
                                           every subject          would be
                                                         operator would be required
                                                                           required to
                                                                                    to

 request an
 request an extension
            extension for
                      for each
                          each Engine.”
                               Engine." Comment
                                        Comment Letter 30. This
                                                Letter 30. This is
                                                                is precisely
                                                                   precisely the
                                                                             the

 result of
 result of the Rule.33 Id.
           the Rule.   Id. at
                           at 30-31;
                              30−31; see
                                     see Ass
                                         Ass’n  of Oil
                                             'n of     Pipe Lines
                                                   Oil Pipe Lines v. FERC, 281
                                                                  v. FERC, 281 F.3d
                                                                               F.3d 239,
                                                                                    239,

 244 (D.C.
 244 (D.C. Cir. 2002) (noting
           Cir. 2002) (noting that
                              that "the
                                   “the exception would swallow
                                        exception would swallow the
                                                                the rule” if an
                                                                    rule" if an

 agency were
 agency were permitted
             permitted to
                       to rely
                          rely on
                               on aa "safety
                                     “safety valve"
                                             valve” to
                                                    to remedy
                                                       remedy systemic
                                                              systemic errors).
                                                                       errors).

       In sum,
       In sum, EPA’s 31-month timeline
               EPA's 31-month timeline is
                                       is entirely unrealistic, fails
                                          entirely unrealistic,       to consider
                                                                fails to consider

 important information,
 important information, and
                        and is
                            is not
                               not supported
                                   supported by
                                             by substantial
                                                substantial evidence,
                                                            evidence, rendering it
                                                                      rendering it


 3
   The operator
 3 The          remains subject
       operator remains subject to
                                to the
                                   the May 1, 2026
                                       May 1, 2026 deadline
                                                   deadline until
                                                            until the
                                                                  the extension is
                                                                      extension is
 granted, which
 granted, which opens   Kinder Morgan
                  opens Kinder Morgan toto fines
                                           fines if the extension
                                                 if the extension is not timely
                                                                  is not timely granted.
                                                                                 granted.
 88 Fed.
 88 Fed. Reg.  at 36,760
          Reg. at 36,760 ("A
                         (“A denial
                             denial will
                                    will be
                                         be effective
                                             effective on the date
                                                       on the date of
                                                                   of denial.").
                                                                      denial.”).

                                           19
                                           19
USCA Case #23-1157       Document #2009836          Filed: 07/27/2023    Page 33 of 430



 arbitrary and
 arbitrary and capricious. See Small
               capricious. See Small Refiner
                                     Refiner Lead,
                                             Lead, 705 F.2d at
                                                   705 F.2d at 552 (vacating EPA’s
                                                               552 (vacating EPA's

 Clean Air Act
 Clean Air Act standard
               standard for “lack of
                        for "lack    record evidence
                                  of record          that aa market
                                            evidence that    market for lead credits
                                                                    for lead credits

 will develop
 will develop virtually
              virtually overnight”).
                        overnight").

 II.
 II.   KINDER MORGAN
       KINDER MORGAN WILL
                     WILL BE
                          BE IIRREPARABLY
                               RREPARABLY H      ABSENT A
                                           ARMED ABSENT
                                          HARMED        AS TAY.
                                                          STAY.

       If the
       If the Rule is not
              Rule is not stayed,
                          stayed, Kinder Morgan will
                                  Kinder Morgan will be
                                                     be subjected
                                                        subjected to
                                                                  to enormous
                                                                     enormous

 compliance
 compliance costs that are
            costs that are not
                           not recoverable “in the
                               recoverable "in the ordinary
                                                   ordinary course
                                                            course of
                                                                   of litigation.”
                                                                      litigation."

 Mexichem Specialty
 Mexichem Specialty Resins,
                    Resins, Inc.
                            Inc. v. EPA, 787
                                 v. EPA,     F.3d 544,
                                         787 F.3d      555 (D.C.
                                                  544, 555 (D.C. Cir. 2015).
                                                                 Cir. 2015).

       The costs
       The costs for Kinder Morgan
                 for Kinder Morgan to
                                   to comply with the
                                      comply with the Rule are upwards
                                                      Rule are upwards of
                                                                       of $2.1
                                                                          $2.1

 billion—$80 million
 billion—$80 million of
                     of which
                        which Kinder Morgan must
                              Kinder Morgan must spend
                                                 spend in
                                                       in the
                                                          the next
                                                              next 12
                                                                   12 to
                                                                      to 18
                                                                         18

 months if
 months if the
           the Rule
               Rule remains stayed in
                    remains stayed in eight
                                      eight States,
                                            States, and
                                                    and $270 million if
                                                        $270 million if the
                                                                        the stays
                                                                            stays are
                                                                                  are

 lifted. Declaration
 lifted. Declaration of
                     of Kenneth W. Grubb
                        Kenneth W.       ¶¶ 6,
                                   Grubb ¶¶ 6, 28
                                               28 (App.
                                                  (App. 3).
                                                        3). Kinder
                                                            Kinder Morgan
                                                                   Morgan will
                                                                          will be
                                                                               be

 forced to take
 forced to take pipeline
                pipeline engines
                         engines offline, which will
                                 offline, which will cause Kinder Morgan
                                                     cause Kinder        to incur
                                                                  Morgan to incur

 additional, substantial
 additional, substantial financial impacts in
                         financial impacts in the
                                              the range
                                                  range of
                                                        of up
                                                           up to
                                                              to $120 million (three
                                                                 $120 million (three

 pipeline segments)
 pipeline segments) due
                    due to
                        to FERC's
                           FERC’s policy
                                  policy that
                                         that natural
                                              natural gas
                                                      gas transporters
                                                          transporters issue
                                                                       issue

 reservation charge
 reservation charge credits
                    credits for
                            for interrupted service. Id.
                                interrupted service. Id. ¶¶
                                                         ¶¶ 12,
                                                            12, 70−72.
                                                                70-72.

       Further, Kinder
       Further, Kinder Morgan
                       Morgan will
                              will face irreparable financial
                                   face irreparable financial losses in the
                                                              losses in the form
                                                                            form of
                                                                                 of

 lost sales,
 lost sales, future business prospects,
             future business prospects, and potential fines
                                        and potential       under the
                                                      fines under the Clean Air Act
                                                                      Clean Air Act

 resulting from
 resulting from failure to comply
                failure to        with EPA’s
                           comply with EPA's Rule. Id. ¶¶
                                             Rule. Id. ¶¶ 45,
                                                          45, 73. The required
                                                              73. The required

 compliance
 compliance costs will also
            costs will also divert
                            divert resources
                                   resources from Kinder Morgan’s
                                             from Kinder Morgan's efforts to
                                                                  efforts to

 modernize facilities,
 modernize facilities, ensure pipeline integrity
                       ensure pipeline integrity above and beyond
                                                 above and beyond the
                                                                  the regulatory
                                                                      regulatory



                                          20
                                          20
USCA Case #23-1157       Document #2009836          Filed: 07/27/2023     Page 34 of 430



 requirements, and
 requirements, and achieve
                   achieve voluntary
                           voluntary additional
                                     additional emissions
                                                emissions reductions. Id. ¶
                                                          reductions. Id. ¶ 46.
                                                                            46. None
                                                                                None

 of these harms
 of these harms are
                are recoverable
                    recoverable from
                                from EPA in litigation.
                                     EPA in litigation.

 III.
 III.    T HE B
         THE   ALANCE OF
              BALANCE   OF HARMS
                            HARMS AND
                                  AND P UBLIC IINTEREST
                                      PUBLIC            WEIGH H
                                                NTEREST WEIGH HEAVILY IN
                                                               EAVILY IN
         F AVOR O
         FAVOR      AS
                OFF A  TAY.
                      STAY.

         “[T]here is
         "[T]here is aa substantial
                        substantial public
                                    public interest
                                           interest ‘in having governmental
                                                    `in having governmental agencies
                                                                            agencies

 abide by
 abide by the
          the federal
              federal laws that govern
                      laws that govern their
                                       their existence and operations.’
                                             existence and operations.' "” League
                                                                           League of
                                                                                  of

 Women
 Women Voters of United
       Voters of        States v.
                 United States    Newby, 838
                               v. Newby, 838 F.3d
                                             F.3d 1,
                                                  1, 12
                                                     12 (D.C.
                                                        (D.C. Cir. 2016) (citation
                                                              Cir. 2016) (citation

 omitted).
 omitted). Even when there
           Even when there is
                           is aa compelling public interest,
                                 compelling public interest, "our
                                                             “our system
                                                                  system does
                                                                         does not
                                                                              not

 permit agencies
 permit agencies to
                 to act
                    act unlawfully
                        unlawfully even in pursuit
                                   even in pursuit of desirable ends.”
                                                   of desirable        Ala. Ass
                                                                ends." Ala. Ass’n  of
                                                                                'n of

 Realtors v.
 Realtors    Dep’t of
          v. Dep't of Health
                      Health &
                             & Hum.
                               Hum. Servs.,
                                    Servs., 141
                                            141 S.
                                                S. Ct. 2485, 2490
                                                   Ct. 2485, 2490 (2021).
                                                                  (2021). Here,
                                                                          Here,

 given EPA's
 given EPA’s illegal
             illegal actions
                     actions discussed
                             discussed above,
                                       above, the
                                              the public
                                                  public interest
                                                         interest strongly
                                                                  strongly supports
                                                                           supports aa

 stay.
 stay.

         A stay
         A stay is
                is also
                   also warranted
                        warranted because
                                  because EPA is responsible
                                          EPA is responsible for the constrained
                                                             for the constrained

 timeline. In
 timeline. In staying
              staying EPA’s disapproval of
                      EPA's disapproval of Texas’s
                                           Texas's and
                                                   and Louisiana’s
                                                       Louisiana's SIPs, the Fifth
                                                                   SIPs, the Fifth

 Circuit
 Circuit observed that "EPA's
         observed that “EPA’s multi-year
                              multi-year delay
                                         delay in
                                               in disapproving
                                                  disapproving .. .. .. SIPs undercuts
                                                                        SIPs undercuts

 any claim
 any       that time
     claim that time is
                     is of the essence
                        of the         when it
                               essence when it comes to imposing
                                               comes to          the EPA’s
                                                        imposing the       Final
                                                                     EPA's Final

 FIP.” Texas
 FIP." Texas v. EPA, 5th
             v. EPA, 5th Cir. No. 23-60069,
                         Cir. No. 23-60069, ECF 269-1 at
                                            ECF 269-1    24 (May
                                                      at 24 (May 1,
                                                                 1, 2023).
                                                                    2023).

 Accordingly, where
 Accordingly, where EPA
                    EPA has
                        has set
                            set an
                                an unreasonable
                                   unreasonable compliance deadline in
                                                compliance deadline in the
                                                                       the Rule
                                                                           Rule

 for non-EGUs of
 for non-EGUs of May 1, 2026,
                 May 1, 2026, and
                              and where
                                  where EPA was the
                                        EPA was the source
                                                    source of delay in
                                                           of delay in the
                                                                       the first
                                                                           first

 instance, EPA
 instance, EPA cannot argue that
               cannot argue that it
                                 it or the public
                                    or the public is
                                                  is harmed
                                                     harmed by
                                                            by aa stay.
                                                                  stay.




                                          21
                                          21
USCA Case #23-1157       Document #2009836           Filed: 07/27/2023     Page 35 of 430



       The public
       The public interest
                  interest in
                           in ensuring the consistent
                              ensuring the            and reliable
                                           consistent and reliable supply
                                                                   supply of natural
                                                                          of natural

 gas to
 gas to downstream
        downstream consumers
                   consumers also tips heavily
                             also tips heavily in
                                               in favor
                                                  favor of
                                                        of aa stay.
                                                              stay. Under
                                                                    Under the
                                                                          the Rule’s
                                                                              Rule's

 timeline, Kinder
 timeline, Kinder Morgan will be
                  Morgan will be forced to take
                                 forced to take aa significant
                                                   significant number
                                                               number of
                                                                      of pipeline
                                                                         pipeline

 engines
 engines offline
         offline in
                 in aa short
                       short window,
                             window, causing service interruptions
                                     causing service interruptions to
                                                                   to downstream
                                                                      downstream

 consumers, including electric
 consumers, including          power plants,
                      electric power plants, homes,
                                             homes, and
                                                    and businesses.
                                                        businesses. K.
                                                                    K. Grubb
                                                                       Grubb Decl.
                                                                             Decl.

¶¶ 11, 58–69.
IN     58-69.

       The public
       The public interest
                  interest lies
                           lies in
                                in "generating
                                   “generating more
                                               more supply
                                                    supply and
                                                           and competition
                                                               competition in the
                                                                           in the

 electricity market,” In
 electricity market," In re NTE Conn.,
                         re NTE        LLC, 26
                                Conn., LLC, 26 F.4th
                                               F.4th 980,
                                                     980, 991 (D.C. Cir.
                                                          991 (D.C. Cir. 2022),
                                                                         2022), and
                                                                                and

 ensuring the "ready
 ensuring the “ready access
                     access to
                            to affordable
                               affordable electricity,”
                                          electricity," Texas
                                                        Texas v. EPA, 829
                                                              v. EPA, 829 F.3d
                                                                          F.3d 405,
                                                                               405,

 419 (5th
 419 (5th Cir.
          Cir. 2016).
               2016). These
                      These public
                            public interests apply even
                                   interests apply      more forcefully
                                                   even more            here, where
                                                             forcefully here, where

 natural gas
 natural gas is
             is not
                not only used to
                    only used to generate
                                 generate electricity, but affects
                                          electricity, but affects nearly
                                                                   nearly every aspect of
                                                                          every aspect of

 an end
 an     user’s daily
    end user's daily life,
                     life, from
                           from commercial
                                commercial fuel
                                           fuel and
                                                and feedstocks to home
                                                    feedstocks to home heating,
                                                                       heating, hot
                                                                                hot

 water, and
 water, and cooking. See Memphis
            cooking. See Memphis Light,
                                 Light, Gas
                                        Gas &
                                            & Water Div. v.
                                              Water Div. v. Craft, 436 U.S.
                                                            Craft, 436 U.S. 1,
                                                                            1, 18
                                                                               18

 (1978) ("Utility
 (1978) (“Utility service
                  service is
                          is aa necessity
                                necessity of modern life;
                                          of modern life; indeed,
                                                          indeed, the
                                                                  the discontinuance
                                                                      discontinuance of
                                                                                     of

 water or
 water    heating for
       or heating for even short periods
                      even short periods of
                                         of time
                                            time may
                                                 may threaten
                                                     threaten health
                                                              health and safety.”). A
                                                                     and safety."). A

 stay will
 stay will ensure that the
           ensure that the public
                           public receives
                                  receives continued access to
                                           continued access to natural
                                                               natural gas.
                                                                       gas.




                                           22
                                           22
USCA Case #23-1157      Document #2009836          Filed: 07/27/2023    Page 36 of 430



                                    CONCLUSION
                                    CONCLUSION

       The Court
       The       should stay
           Court should stay the
                             the portions
                                 portions of the Rule
                                          of the Rule applicable to pipeline
                                                      applicable to pipeline engines
                                                                             engines

 and postpone
 and postpone the
              the effective date of
                  effective date    the Rule
                                 of the      pending review.
                                        Rule pending review.

                                              Respectfully submitted,
                                              Respectfully submitted,
 July 27, 2023
 July 27, 2023
                                              /s/
                                              /s/ Catherine
                                                  Catherine E.
                                                            E. Stetson
                                                               Stetson   _
 ANA M
 ANA    ARIA G
      MARIA    UTIÉRREZ
              GUTIERREZ                       C ATHERINE E.
                                              CATHERINE   E. S TETSON
                                                             STETSON
 D      A. WILLNER
   AVID A.
 DAVID     WILLNER                            D      A. RAPHAEL
                                                ANA A.
                                              DANA      RAPHAEL
 H OGAN L
 HOGAN   LOVELLS  US LLP
           OVELLS US  LLP                     H OGAN L
                                              HOGAN             US LLP
                                                        OVELLS US
                                                       LOVELLS      LLP
 1601 Wewatta
 1601  Wewatta Street,
                Street, Suite 900
                        Suite 900             555  Thirteenth Street
                                              555 Thirteenth         N.W.
                                                              Street N.W.
 Denver, CO
 Denver,      80202
          CO 80202                            Washington, D.C.
                                              Washington,   D.C. 20004
                                                                 20004
 (303) 454-2514
 (303) 454-2514                               (202) 637-5491
                                              (202)  637-5491
 ana.gutierrez@hoganlovells.com
 ana.gutierrez@hoganlovells.com               cate.stetson@hoganlovells.com
                                              cate.stetson@hoganlovells.com

                          Counsel for Kinder
                          Counselfor  Kinder Morgan,
                                             Morgan, Inc.
                                                     Inc.




                                         23
                                         23
USCA Case #23-1157      Document #2009836         Filed: 07/27/2023     Page 37 of 430



                        CERTIFICATE
                        CERTIFICATE OF
                                    OF COMPLIANCE
                                       COMPLIANCE

       1.
       1.    This document
             This document complies with the
                           complies with the type-volume
                                             type-volume limits
                                                         limits of Federal Rule
                                                                of Federal Rule

 of Appellate Procedure
 of Appellate           27(d)(2)(A) because,
              Procedure 27(d)(2)(A) because, excluding the parts
                                             excluding the parts of the document
                                                                 of the document

 exempted by Federal
 exempted by Federal Rule
                     Rule of Appellate Procedure
                          of Appellate           32(f), this
                                       Procedure 32(f), this document
                                                             document contains
                                                                      contains

 5,200 words or
 5,200 words or less.
                less.

       2.
       2.    This document
             This document complies with the
                           complies with the typeface
                                             typeface requirements
                                                      requirements of Federal
                                                                   of Federal

 Rule of Appellate
 Rule of Appellate Procedure 32(a)(5) and
                   Procedure 32(a)(5)     the type-style
                                      and the type-style requirements
                                                         requirements of Federal
                                                                      of Federal

 Rule
 Rule of Appellate Procedure
      of Appellate Procedure 32(a)(6)
                             32(a)(6) because
                                      because this
                                              this document
                                                   document has
                                                            has been
                                                                been prepared
                                                                     prepared in
                                                                              in aa

 proportionally spaced
 proportionally spaced typeface
                       typeface using
                                using Microsoft
                                      Microsoft Word
                                                Word for
                                                     for Office 365 in
                                                         Office 365 in 14-point
                                                                       14-point

 Times New
 Times New Roman.
           Roman.



                                             /s/
                                             /s/ Catherine
                                                 Catherine E.
                                                           E. Stetson
                                                              Stetson
                                             Catherine
                                             Catherine E.
                                                        E. Stetson
                                                           Stetson
USCA Case #23-1157         Document #2009836           Filed: 07/27/2023     Page 38 of 430



                             CERTIFICATE OF
                             CERTIFICATE OF SERVICE
                                            SERVICE

          II certify that on
             certify that on July 27, 2023,
                             July 27, 2023, the
                                            the foregoing was electronically
                                                foregoing was electronically filed through
                                                                             filed through

 this Court's
 this Court’s CM/ECF system, which
              CM/ECF system, which will
                                   will send
                                        send aa notice
                                                notice of
                                                       of filing to all
                                                          filing to all registered
                                                                        registered

 users.
 users.


                                                  /s/
                                                  /s/ Catherine
                                                      Catherine E.
                                                                E. Stetson
                                                                   Stetson
                                                  Catherine
                                                  Catherine E.
                                                             E. Stetson
                                                                Stetson
USCA Case #23-1157   Document #2009836   Filed: 07/27/2023   Page 39 of 430




                           Appendix A
                                                       USCA Case #23-1157                           Document #2009836                              Filed: 07/27/2023             Page 40 of 430
                                                 36654
                                                 36654                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 ENVIRONMENTAL PROTECTION                     information is not publicly available,                           CoST Control Strategy Tool
                                                 AGENCY                                       e.g., Confidential Business Information                          CPT Cost Per Ton
                                                                                              or other information whose disclosure is                         CRA Congressional Review Act
                                                 40 CFR Parts 52, 75, 78, and 97              restricted by statute. Certain other                             CSAPR Cross-State Air Pollution Rule
                                                                                                                                                               DAHS Data Acquisition and Handling
                                                 [EPA—HQ—OAR-2021-0668;
                                                 [EPA–HQ–OAR–2021–0668; FRL-8670-02—
                                                                               FRL–8670–02–   material, such as copyrighted material,                            System
                                                 OAR]                                         will be publicly available only in hard                          DOE Department of Energy
                                                                                              copy. Publicly available docket                                  EAF Electric Arc Furnace
                                                 RIN 2060—AV51
                                                      2060–AV51                               materials are available either                                   EGU Electric Generating Unit
                                                                                              electronically at https://                                       EIA U.S. Energy Information Agency
                                                           ‘‘Good Neighbor Plan"
                                                 Federal "Good                 Plan’’ for the
                                                                                              www.regulations.gov
                                                                                              www.regulations.gov or in hard copy at                           EIS Emissions Inventory System
                                                 2015 Ozone National Ambient Air
                                                                                              the U.S. Environmental Protection                                EISA Energy Independence and Security
                                                 Quality Standards                                                                                               Act
                                                                                              Agency, EPA Docket Center, William
                                                 AGENCY: Environmental Protection
                                                 AGENCY:                                      Jefferson Clinton West Building, Room                            ELG Effluent Limitation Guidelines
                                                 Agency (EPA).                                3334, 1301 Constitution Ave. NW,
                                                                                              3334,1301                                                        E.O. Executive Order
                                                                                                                                                               EPA or the Agency United States
                                                 ACTION: Final rule.
                                                 ACTION:                                      Washington, DC. The Public Reading
                                                                                                                                                                 Environmental Protection Agency
                                                                                              Room is open from 8:30 a.m. to 4:30                              ERT Electronic Reporting Tool
                                                 SUMMARY: This action finalizes Federal
                                                 SUMMARY:                                     p.m., Monday through Friday, excluding                           FERC Federal Energy Regulatory
                                                 Implementation Plan (FIP) requirements legal holidays. The telephone number                                     Commission
                                                 to address 23 states'
                                                                 states’ obligations to       for the Public Reading Room is (202)                             FFS Findings of Failure to Submit
                                                 eliminate significant contribution to        566–1744,
                                                                                              566-1744, and the telephone number for                           FIP Federal Implementation Plan
                                                 nonattainment,
                                                 nonattainrnent, or interference with         the Office of Air and Radiation Docket                           GIS Geographic Information System
                                                 maintenance, of the 2015 ozone               is (202) 566–1742.
                                                                                                       566-1742.                                               g/hp-hr grams per horsepower per hour
                                                 National Ambient Air Quality Standards FOR FURTHER INFORMATION CONTACT:  CONTACT: Ms.
                                                                                                                                                               HDGHG Greenhouse Gas Emissions and
                                                 (NAAQS) in other states. The U.S.                                                                               Fuel Efficiency Standards for Medium- and
                                                                                              Elizabeth Selbst, Air Quality Policy                               Heavy-Duty Engines and Vehicles
                                                 Environmental Protection Agency (EPA) Division, Office of Air Quality Planning
                                                 is taking this action under the "good
                                                                                   ‘‘good                                                                      HEDD High Electricity Demand Days
                                                                                              and Standards (C539-01),
                                                                                                              (C539–01),                                       ICI Industrial, Commercial, and
                                                 neighbor’’
                                                 neighbor" or "interstate
                                                                ‘‘interstate transport"
                                                                             transport’’      Environmental Protection Agency, 109                               Institutional
                                                 provision of the Clean Air Act (CAA or       TW Alexander Drive, Research Triangle                            I/M Inspection and Maintenance
                                                 Act). The Agency is defining the amount Park, NC 27711; telephone number:                                     IPM Integrated Planning Model
                                                 of ozone-precursor emissions                 (312) 886-4746;
                                                                                                     886–4746; email address:                                  IRA Inflation Reduction Act
                                                 (specifically, nitrogen oxides) that         selbst.elizabeth@epa.gov.                                        LAER Lowest Achievable Emission Rate
                                                 constitute significant contribution to                                                                        LDC Local Distribution Company
                                                                                                                INFORMATION:
                                                                                              SUPPLEMENTARY INFORMATION:
                                                 nonattainment
                                                 nonattainrnent and interference with                                                                          LME Low Mass Emissions
                                                 maintenance from these 23 states. With       Preamble Glossary of Terms and                                   LNB Low-NO
                                                                                                                                                                      Low-NOx  X Burners

                                                 respect to fossil fuel-fired power plants    Abbreviations                                                    MATS Mercury and Air Toxics Standards
                                                 in 22 states, this action will prohibit                                                                       MCM Menu of Control Measures
                                                                                                 The following are abbreviations of                            MDA8 Maximum Daily Average 8-Hour
                                                 those emissions by implementing an           terms used in the preamble.                                      MJO Multi-Jurisdictional Organization
                                                 allowance-based trading program                                                                               MOU Memorandum of Understanding
                                                 beginning in the 2023 ozone season.          2016v1 2016 Version 1 Emissions Modeling
                                                                                                Platform                                                       MOVES Motor Vehicle Emissions Simulator
                                                 With respect to certain other industrial     2016v2 2016 Version 2 Emissions Modeling                         MSAT2 Mobile Source Air Toxics Rule
                                                 stationary sources in 20 states, this          Platform                                                       MWC Municipal Waste Combustor
                                                 action will prohibit those emissions         4-Step Framework 4-Step Interstate                               NAAQS National Ambient Air Quality
                                                 through emissions limitations and              Transport Framework                                              Standards
                                                 associated requirements beginning in         ABC Associated Builders and Contractors                          NACAA National Association of Clean Air
                                                 the 2026 ozone season. These industrial ACS American Community Survey                                           Agencies
                                                 source types are: reciprocating internal     ACT Alternative Control Techniques                               NAICS North American Industry
                                                                                              AEO Annual Energy Outlook                                          Classification System
                                                 combustion engines in Pipeline                                                                                NEEDS National Electric Energy Data
                                                 Transportation of Natural Gas; kilns in      AQAT Air Quality Assessment Tool
                                                                                              AQS Air Quality System                                             System
                                                 Cement and Cement Product                    BACT Best Available Control Technology                           NEI National Emissions Inventory
                                                 Manufacturing; reheat furnaces in Iron       BART Best Available Retrofit Technology                          NERC North American Electric Reliability
                                                 and Steel Mills and Ferroalloy               BOF Basic Oxygen Furnace                                           Corporation
                                                 Manufacturing; furnaces in Glass and         BPT Benefit Per Ton                                              NESHAP National Emissions Standards for
                                                 Glass Product Manufacturing; boilers in C1C2 Category 1      1 and Category 2                                   Hazardous Air Pollutants
                                                 Iron and Steel Mills and Ferroalloy          C3 Category 3                                                    NMB Normalized Mean Bias
                                                 Manufacturing, Metal Ore Mining, Basic CAA or Act Clean Air Act                                               NME Normalized Mean Error
                                                 Chemical Manufacturing, Petroleum and CAM    CAIR Clean Air Interstate Rule                                   No SISNOSE No Significant Economic
                                                                                                                                                                 Impact on a Substantial Number of Small
                                                 Coal Products Manufacturing, and Pulp, CBI Confidential Business Information                                    Entities
                                                                                              CCR Coal Combustion Residual
                                                 Paper, and Paperboard Mills; and             CDC Centers for Disease Control and                              Non-EGU Non-Electric Generating Unit
                                                 combustors and incinerators in Solid           Prevention                                                     NODA Notice of Data Availability
                                                 Waste Combustors and Incinerators.           CDX Central Data Exchange                                        NOX Nitrogen Oxides
                                                                                                                                                               NOx
                                                 DATES: This final rule is effective on
                                                 DATES:                                       CEDRI Compliance and Emissions Data                              NREL National Renewable Energy Lab
ddrumheller on DSK120RN23PROD with RULES2




                                                 August 4,   2023.
                                                          4,2023.                               Reporting Interface                                            NSCR Non-Selective Catalytic Reduction
                                                 ADDRESSES: The EPA has established a
                                                                                              CEMS
                                                                                              GEMS    Continuous Emissions Monitoring                          NSPS New Source Performance Standard
                                                 ADDRESSES:
                                                                                                Systems                                                        NSR New Source Review
                                                 docket for this rulemaking under Docket CES Clean Energy Standards                                            NTTAA National Technology Transfer and
                                                 ID No. EPA—HQ—OAR-2021-0668.
                                                         EPA–HQ–OAR–2021–0668. All            CFB Circulating Fluidized Bed Units                                Advancement Act
                                                 documents in the docket are listed in        CHP Combined Heat and Power                                      OFA Over-Fire Air
                                                      https://www.regulations.gov index.
                                                 the https://www.regulations.gov              CMDB Control Measures Database                                   OMB United States Office of Management
                                                 Although listed in the index, some           CMV Commercial Marine Vehicle                                      and Budget


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00002   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                           Document #2009836                              Filed: 07/27/2023              Page 41 of 430
                                                                      Federal Register / Vol. 88, No. 107/Monday,
                                                                                                      107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules                                                               36655

                                                 OSAT/APCA Ozone Source Apportionment                      a. Step 11 Approach                                    e. Installing New SCRs
                                                   Technology/Anthropogenic Precursor                      b. Step 2 Approach                                     f. Generation Shifting
                                                   Culpability Analysis                                    c. Step 3 Approach                                     g. Other EGU Mitigation Measures
                                                 OTC Ozone Transport Commission                            d. Step 4 Approach                                     2. Non-EGU or Stationary Industrial Source
                                                 OTR Ozone Transport Region                                2. FIP Authority for Each State Covered by                NOX Mitigation Strategies
                                                                                                                                                                     NOx
                                                 OTSA Oklahoma Tribal Statistical Area                        the Rule                                            3. Other Stationary Sources NOx
                                                                                                                                                                                               NOX
                                                 PDF Portable Document Format                              C. Other CAA Authorities for This Action                  Mitigation Strategies
                                                 PEMS Predictive Emissions Monitoring                      1. Withdrawal of Proposed Error Correction             a. Municipal Solid Waste Units
                                                   Systems                                                    for Delaware                                        b. Electric Generating Units Less Than or
                                                 PM2.5 Fine Particulate Matter
                                                 PM2.5                                                     2. Application of Rule in Indian Country                  Equal to 25 MW
                                                 ppb parts per billion                                        and Necessary or Appropriate Finding                c. Cogeneration Units
                                                 ppm parts per million                                     a. Indian Country Subject to Tribal                    4. Mobile Source NOx
                                                                                                                                                                                     NOX Mitigation Strategies
                                                 ppmv parts per million by volume                             Jurisdiction                                        C. Control Stringencies Represented by
                                                 ppmvd parts per million by volume, dry                    b. Indian Country Subject to State                        Cost Threshold ($ per ton) and
                                                 PRA Paperwork Reduction Act                                  Implementation Planning Authority                      Corresponding Emissions Reductions
                                                 PSD Prevention of Significant Deterioration               D. Severability                                        1. EGU Emissions Reduction Potential by
                                                 PTE Potential to Emit                                   IV. Analyzing Downwind Air Quality                          Cost Threshold
                                                 RACT Reasonably Available Control                            Problems and Contributions From                     2. Non-EGU or Industrial Source Emissions
                                                   Technology                                                 Upwind States                                          Reduction Potential
                                                 RATA Relative Accuracy Test Audit                         A. Selection of Analytic Years for                     D. Assessing Cost, EGU and Industrial
                                                 RCF Relative Contribution Factor                             Evaluating Ozone Transport                             Source NOx
                                                                                                                                                                             NOX Reductions, and Air Quality
                                                 RFA Regulatory Flexibility Act                               Contributions to Downwind Air Quality               1. EGU Assessment
                                                 RICE Reciprocating Internal Combustion                       Problems                                            2. Stationary Industrial Sources
                                                   Engines                                                 B. Overview of Air Quality Modeling                       Assessment
                                                 ROP Rate of Progress                                         Platform                                            3. Combined EGU and Non-EGU
                                                 RPS Renewable Portfolio Standards                         C. Emissions Inventories                                  Assessment
                                                 RRF Relative Response Factor                              1. Foundation Emissions Inventory Data                 4. Over-Control Analysis
                                                 RTC Response to Comments                                     Sets                                              VI. Implementation of Emissions Reductions
                                                 RTO Regional Transmission Organization                    2. Development of Emissions Inventories                A. NOx
                                                                                                                                                                      NOX Reduction Implementation
                                                 SAFETEA Safe, Accountable, Flexible,                         for EGUs                                               Schedule
                                                   Efficient, Transportation Equity Act                    a. EGU Emissions Inventories Supporting                1. 2023–2025:
                                                                                                                                                                      2023-2025: EGU NOxNOX Reductions
                                                 SCC Source Classification Code
                                                                                                              This Rule                                              Beginning in 2023
                                                 SCR Selective Catalytic Reduction
                                                                                                           b. Impact of the Inflation Reduction Act on            2. 2026 and Later Years: EGU and
                                                 SIL Significant Impact Level
                                                                                                              EGU Emissions                                          Stationary Industrial Source NOx
                                                                                                                                                                                                  NOX
                                                 SIP State Implementation Plan
                                                                                                           3. Development of Emissions Inventories                   Reductions Beginning in 2026
                                                 SMOKE Sparse Matrix Operator Kernel
                                                                                                              for Stationary Industrial Point Sources             a. EGU Schedule for 2026 and Later Years
                                                   Emissions
                                                 SNCR Selective Non-Catalytic Reduction                    4. Development of Emissions Inventories                b. Non-EGU or Industrial Source Schedule
                                                 SO2 Sulfur Dioxide
                                                 SO2                                                          for Onroad Mobile Sources                              for 2026 and Later Years
                                                 tpd ton per day                                           5. Development of Emissions Inventories                B. Regulatory Requirements for EGUs
                                                 TAS Treatment as State                                       for Commercial Marine Vessels                       1. Trading Program Background and
                                                 TSD Technical Support Document                            6. Development of Emissions Inventories                   Overview of Revisions
                                                 UMRA Unfunded Mandates Reform Act                            for Other Nonroad Mobile Sources                    a. Current CSAPR Trading Program Design
                                                 VMT Vehicle Miles Traveled                                7. Development of Emissions Inventories                   Elements and Identified Concerns
                                                 VOCs Volatile Organic Compounds                              for Nonpoint Sources                                b. Enhancements To Maintain Selected
                                                 WRAP Western Regional Air Partnership                     D. Air Quality Modeling To Identify                       Control Stringency Over Time
                                                 WRF Weather Research and Forecasting                         Nonattainment and Maintenance                       i. Revised Emissions Budget-Setting
                                                                                                              Receptors                                              Process
                                                 Table of Contents                                         E. Methodology for Projecting Future Year              ii. Allowance Bank Recalibration
                                                 I. Executive Summary                                         Ozone Design Values                                 c. Enhancements To Improve Emissions
                                                    A. Purpose of the Regulatory Action                    F. Pollutant Transport From Upwind States                 Performance at Individual Units
                                                    1. Emissions Limitations for EGUs                      1. Air Quality Modeling To Quantify                    i. Unit-Specific Backstop Daily Emissions
                                                       Established by the Final Rule                          Upwind State Ozone Contributions                       Rates
                                                    2. Emissions Limitations for Industrial                2. Application of Ozone Contribution                   ii. Unit-Specific Emissions Limitations
                                                       Stationary Point Sources Established by                Screening Threshold                                    Contingent on Assurance Level
                                                       the Final Rule                                      a. States That Contribute Below the                       Exceedances
                                                    B. Summary of the Regulatory Framework                    Screening Threshold                                 d. Responses to General Comments on the
                                                       of the Rule                                         b. States That Contribute Above the                       Revisions to the Group 3 Trading
                                                    C. Costs and Benefits                                     Screening Threshold                                    Program
                                                 II. General Information                                   G. Treatment of Certain Monitoring Sites in            2. Expansion of Geographic Scope
                                                    A. Does this action apply to me?                          California and Implications for Oregon's
                                                                                                                                               Oregon’s           3. Applicability and Tentative
                                                    B. What action is the Agency taking?                      Good Neighbor Obligations for the 2015                 Identification of Newly Affected Units
                                                    C. What is the Agency's
                                                                    Agency’s legal authority for              Ozone NAAQS                                         4. State Emissions Budgets
                                                       taking this action?                               V. Quantifying Upwind-State NOx NOX Emissions            a. Methodology for Determining Preset
                                                    D. What actions has the EPA previously                    Reduction Potential To Reduce Interstate               State Emissions Budgets for the 2023
                                                       issued to address regional ozone                       Ozone Transport for the 2015 Ozone                     through 2029 Control Periods
                                                       transport?                                             NAAQS                                               b. Methodology for Determining Dynamic
                                                 III. Air Quality Issues Addressed and Overall             A. The Multi-Factor Test for Determining                  State Emissions Budgets for Control
                                                       Rule Approach                                          Significant Contribution                               Periods in 2026 Onwards
ddrumheller on DSK120RN23PROD with RULES2




                                                    A. The Interstate Ozone Transport Air                  B. Identifying Control Stringency Levels               c. Final Preset State Emissions Budgets
                                                       Quality Challenge                                            NOX Mitigation Strategies
                                                                                                           1. EGU NOx                                             5. Variability Limits and Assurance Levels
                                                    1. Nature of Ozone and the Ozone NAAQS                 a. Optimizing Existing SCRs                            6. Annual Recalibration of Allowance Bank
                                                    2. Ozone Transport                                     b. Installing State-of-the-Art NOx
                                                                                                                                          NOX                     7. Unit-Specific Backstop Daily Emissions
                                                    3. Health and Environmental Effects                       Combustion Controls                                    Rates
                                                    B. Final Rule Approach                                 c. Optimizing Already Operating SNCRs or               8. Unit-Specific Emissions Limitations
                                                    1. The 4-Step Interstate Transport                        Turning on Idled Existing SNCRs                        Contingent on Assurance Level
                                                       Framework                                           d. Installing New SNCRs                                   Exceedances


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00003   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                           Document #2009836                               Filed: 07/27/2023                Page 42 of 430
                                                 36656                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                   9. Unit-Level Allowance Allocation and                VIII. Costs, Benefits, and Other Impacts of the
                                                                                                                                                      Jersey, New York, Ohio, Oklahoma,
                                                      Recordation Procedures                                  Final Rule                              Pennsylvania, Texas, Utah, Virginia,
                                                   a. Set-Asides of Portions of State Emissions          IX. Summary of Changes to the Regulatory     West Virginia, and Wisconsin) is
                                                      Budgets                                                 Text for the Federal Implementation
                                                                                                                                                      significantly contributing to
                                                   b. Allocations to Existing Units, Including                Plans and Trading Programs for EGUs
                                                      Units That Cease Operation                           A. Amendments to FIP Provisions in 40      nonattainment or interfering with
                                                   c. Allocations From Portions of State                      CFR Part 52                             maintenance of the 2015 ozone NAAQS
                                                      Emissions Budgets Set Aside for New                  B. Amendments to Group 3 Trading           in downwind states, based on projected
                                                      Units                                                   Program and Related Regulations         ozone precursor emissions in the 2023
                                                   d. Incorrectly Allocated Allowances                     C. Transitional Provisions                 ozone season. The EPA is issuing FIP
                                                   10. Monitoring and Reporting                            D. Clarifications and Conforming Revisions requirements to eliminate interstate
                                                      Requirements                                       X. Statutory and Executive Order Reviews     transport of ozone precursor emissions
                                                   a. Monitor Certification Deadlines                      A. Executive Order 12866: Regulatory       from these 23 states that significantly
                                                   b. Additional Recordkeeping and Reporting                  Planning and Review and Executive       contributes to nonattainment or
                                                      Requirements                                            Order 13563: Improving Regulation and
                                                   11. Designated Representative                              Regulatory Review                       interferes with maintenance of the
                                                      Requirements                                         B. Paperwork Reduction Act (PRA)           NAAQS in downwind states. The EPA
                                                   12. Transitional Provisions                             1. Information Collection Request for EGUs is not finalizing its proposed error
                                                   a. Prorating Emissions Budgets, Assurance               2. Information Collection Request for Non- correction for Delaware's
                                                                                                                                                                         Delaware’s ozone
                                                      Levels, and Unit-Level Allowance                        EGUs                                    transport SIP, and we are deferring final
                                                      Allocations in the Event of an Effective             C. Regulatory Flexibility Act (RFA)        action at this time on the proposed FIPs
                                                      Date After May 1, 2023                               D. Unfunded Mandates Reform Act            for Tennessee and Wyoming pending
                                                   b. Creation of Additional Group 3                          (UMRA)                                  further review of the updated air quality
                                                      Allowance Bank for 2023 Control Period               E. Executive Order 13132: Federalism       and contribution modeling and analysis
                                                   c. Recall of Group 2 Allowances for Control             F. Executive Order 13175: Consultation
                                                      Periods After 2022                                      and Coordination With Indian Tribal
                                                                                                                                                      developed for this final action. As
                                                   13. Conforming Revisions to Regulations                    Governments                             discussed in section III of this
                                                      for Other CSAPR Trading Programs                     G. Executive Order 13045: Protection of    document, the EPA's EPA’s updated analysis
                                                   C. Regulatory Requirements for Stationary                  Children From Environmental Health      of 2023 suggests that the states of
                                                      Industrial Sources                                      Risks and Safety Risks                  Arizona, Iowa, Kansas, and New Mexico
                                                   1. Pipeline Transportation of Natural Gas               H. Executive Order 13211: Actions          may be significantly contributing to one
                                                   2. Cement and Concrete Product                             Concerning Regulations That             or more nonattainment or maintenance
                                                      Manufacturing                                           Significantly Affect Energy Supply,     receptors. The EPA is not making any
                                                   3. Iron and Steel Mills and Ferroalloy                     Distribution or Use                     final determinations with respect to
                                                      Manufacturing                                        I. National Technology Transfer and        these states in this action but intends to
                                                   4. Glass and Glass Product Manufacturing                   Advancement Act (NTTAA)
                                                   5. Boilers at Basic Chemical
                                                                                                                                                      address these states, along with
                                                                                                           J. Executive Order 12898: Federal Actions
                                                      Manufacturing, Petroleum and Coal                       To Address Environmental Justice in     Tennessee and Wyoming, in a
                                                      Products Manufacturing, Pulp, Paper,                    Minority Populations and Low-Income     subsequent action or actions.
                                                      and Paperboard Mills, Iron and Steel and                Populations                                The EPA is finalizing FIP
                                                      Ferroalloys Manufacturing, and Metal                 K. Congressional Review Act                requirements for 21 states for which the
                                                      Ore Mining Facilities                                L. Determinations Under CAA Section        Agency has, in a separate action,
                                                   a. Coal-fired Industrial Boilers                           307(b)(1) and (d)                       disapproved (or partially disapproved)
                                                   b. Oil-fired Industrial Boilers                                                                    ozone transport SIP revisions that were
                                                   c. Natural gas-fired Industrial Boilers               I. Executive Summary
                                                                                                                                                      submitted for the 2015 ozone NAAQS:
                                                   6. Municipal Waste Combustors                            This final rule resolves the interstate   Alabama, Arkansas, California, Illinois,
                                                   D. Submitting a SIP                                   transport obligations of 23 states under     Indiana, Kentucky, Louisiana,
                                                   1. SIP Option To Modify Allocations for               CAA section 110(a)(2)(D)(i)(I), referred
                                                      2024 under EGU Trading Program                                                                  Maryland, Michigan, Minnesota,
                                                                                                                    ‘‘good neighbor provision’’
                                                                                                         to as the "good             provision" or    Mississippi, Missouri, Nevada, New
                                                   2. SIP Option To Modify Allocations for
                                                      2025 and Beyond Under EGU Trading                      ‘‘interstate transport provision’’
                                                                                                         the "interstate            provision" of     Jersey, New York, Ohio, Oklahoma,
                                                      Program                                            the Act, for the 2015 ozone NAAQS. On Texas, Utah, West Virginia, and
                                                   3. SIP Option To Replace the Federal EGU              October 1, 2015, the EPA revised the         Wisconsin. See 88 FR 9336. In this final
                                                      Trading Program With an Integrated                 primary and secondary 8-hour standards rule, the EPA is issuing FIPs for two
                                                      State EGU Trading Program                          for ozone to 70 parts per billion (ppb).1
                                                                                                                                            (ppb).1   states—Pennsylvania and Virginia—for
                                                   4. SIP Revisions That Do Not Use the New              States were required to submit to EPA        which the EPA issued Findings of
                                                      Trading Program                                    ozone infrastructure State                   Failure to Submit for 2015 ozone
                                                   5. SIP Revision Requirements for Non-EGU              Implementation Plan (SIP) revisions to       NAAQS transport SIPs. See 84 FR 66612
                                                      or Industrial Source Control
                                                                                                         fulfill interstate transport obligations for (December 5, 2019). Under CAA section
                                                      Requirements
                                                   E. Title V Permitting                                 the 2015 ozone NAAQS by October 1,           301(d)(4), the EPA is extending FIP
                                                   1. Title V Permitting Considerations for              2018. The EPA proposed the subject           requirements to apply in Indian country
                                                      EGUs                                               rule to address outstanding interstate       located within the upwind geography of
                                                   2. Title V Permitting Considerations for              ozone transport obligations for the 2015 the final rule, including Indian
                                                      Industrial Stationary Sources                      ozone NAAQS in the Federal Register          reservation lands and other areas of
                                                   F. Relationship to Other Emissions Trading            on April 6, 2022 (87 FR 20036).              Indian country over which the EPA or
                                                      and Ozone Transport Programs                          The EPA is making a finding that          a tribe has demonstrated that a tribe has
                                                      NOX SIP Call
                                                   1. NOx
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                         interstate transport of ozone precursor      jurisdiction.
                                                                                                                                                      jurisdiction.22
                                                   2. Acid Rain Program                                  emissions from 23 upwind states                 This final rule defines ozone season
                                                   3. Other CSAPR Trading Programs
                                                                                                         (Alabama, Arkansas, California, Illinois, nitrogen oxides (NOx)    (NOX) emissions
                                                 VII. Environmental Justice Analytical
                                                      Considerations and Stakeholder                     Indiana, Kentucky, Louisiana,
                                                                                                         Maryland, Michigan, Minnesota,                 2 In general, specific tribal names or reservations
                                                                                                                                                        2
                                                      Outreach and Engagement                                                                         are not identified separately in this final rule except
                                                   A. Introduction                                       Mississippi, Missouri, Nevada, New           as needed. See section DI.C.2
                                                                                                                                                                               III.C.2 of this document for
                                                   B. Analytical Considerations                                                                                 further discussion about the application of this rule
                                                   C. Outreach and Engagement                              11 See 80 FR 65291 (October 26, 2015).               in Indian Country.



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00004   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                           Document #2009836                              Filed: 07/27/2023             Page 43 of 430
                                                                      Federal Register / Vol. 88, No. 107/Monday,
                                                                                                      107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules                                                           36657
                                                                                                                                                                                                 36657

                                                 performance obligations for Electric                    issuing new FIPs for three states not                 states are based primarily on the
                                                 Generating Unit (EGU) sources and                       currently covered by any CSAPR NOx  NOX               potential retrofit of additional post-
                                                 fulfills those obligations by                           ozone season trading program:                         combustion controls for NOxNOX on most
                                                 implementing an allowance-based                         Minnesota, Nevada, and Utah.                          coal-fired EGUs and a portion of oil/gas-
                                                 ozone season trading program beginning                     This rulemaking requires emissions                 fired EGUs that are currently lacking
                                                 in 2023. This rule also establishes                     reductions in the selected control                    such controls.
                                                 emissions limitations beginning in 2026                 stringency to be achieved as
                                                                                                         expeditiously as practicable and, to the                 The EPA is finalizing, with some
                                                 for certain other industrial stationary
                                                 sources (referred to generally as "non-
                                                                                     ‘‘non-              extent possible, by the next applicable               modifications from proposal in response
                                                 Electric Generating Units’’
                                                                        Units" (non-EGUs)).              nonattainment dates for downwind                      to comments, certain additional features
                                                 Taken together, these regulatory                        areas for the 2015 ozone NAAQS. Thus,                 in the allowance-based trading program
                                                 requirements will fully eliminate the                   initial emissions reductions from EGUs                approach for EGUs, including dynamic
                                                 amount of emissions that constitute the                 will be required beginning in the 2023                adjustments of the emissions budgets
                                                           states’ significant contribution
                                                 covered states'                                         ozone season and prior to the August 3,               and recalibration of the allowance bank
                                                 to nonattainment and interference with                  2024, attainment date for areas                       over time as well as backstop daily
                                                 maintenance in downwind states for                      classified as Moderate nonattainment                  emissions rate limits for large coal-fired
                                                 purposes of the 2015 ozone NAAQS.                       for the 2015 ozone NAAQS.                             units. The purpose of these
                                                    This final rule implements the                          The remaining emissions reduction                  enhancements is to better ensure that
                                                 necessary emissions reductions as                       obligations will be phased in as soon as              the emissions control stringency the
                                                 follows. Under the FIP requirements,                    possible thereafter. Substantial                      EPA found necessary to eliminate
                                                 EGUs in 22 states (Alabama, Arkansas,                   additional reductions from potential                  significant contribution at Step 3 of the
                                                 Illinois, Indiana, Kentucky, Louisiana,                 new post-combustion control                           4-step interstate transport framework is
                                                 Maryland, Michigan, Minnesota,                          installations at EGUs as well as from                 maintained over time in Step 4
                                                 Mississippi, Missouri, Nevada, New                      installation of new pollution controls at             implementation and is durable to
                                                 Jersey, New York, Ohio, Oklahoma,                       non-EGUs, also referred to in this action             changes in the power sector. These
                                                 Pennsylvania, Texas, Utah, Virginia,                    as industrial sources, will phase in                  enhancements ensure the elimination of
                                                 West Virginia, and Wisconsin) are                       beginning in the 2026 ozone season,                   significant contribution is maintained
                                                 required to participate in a revised                    associated with the August 3, 2027,
                                                                                                                                                               both in terms of geographical
                                                 version of the Cross-State Air Pollution                attainment date for areas classified as
                                                                                                                                                               distribution (by limiting the degree to
                                                 Rule (CSAPR) NOx NOX Ozone Season Group                 Serious nonattainment for the 2015
                                                                                                         ozone NAAQS. The EPA had proposed                     which individual sources can avoid
                                                 3 Trading Program that was previously
                                                 established in the Revised CSAPR                        to require all emissions reductions to                making emissions reductions) and in
                                                 Update.33 In addition to reflecting
                                                 Update.                                                 eliminate significant contribution to be              terms of temporal distribution (by better
                                                 emissions reductions based on the                       in place by the 2026 ozone season.                    ensuring emissions reductions are
                                                 Agency’s determination of the necessary
                                                 Agency's                                                While we continue to view 2026 as the                 maintained throughout each ozone
                                                 control stringency in this rule, the                    appropriate analytic year for purposes of             season, year over year). As we further
                                                 revised trading program includes                        applying the 4-step interstate transport              discuss in section V.D of this document,
                                                 several enhancements to the program’s
                                                                                 program's               framework, as discussed in section                    these changes do not alter the stringency
                                                 design to better ensure achievement of                  V.D.4 and VI.A.2 of this document, the                of the emissions trading program over
                                                 the selected control stringency on all                  final rule will allow individual facilities           time. Rather, they ensure that the
                                                 days of the ozone season and over time.                 limited additional time to fully                      trading program (as the method of
                                                 For 12 states already required to                       implement the required emissions                      implementation at Step 4) remains
                                                 participate in the CSAPR NOx NOX Ozone                  reductions where the owner or operator                aligned with the determinations made at
                                                 Season Group 3 Trading Program                          demonstrates to the EPA's
                                                                                                                               EPA’s satisfaction              Step 3. These enhancements are further
                                                 (Illinois, Indiana, Kentucky, Louisiana,                that more rapid compliance is not                     discussed in section VI.B of this
                                                 Maryland, Michigan, New Jersey, New                     possible. For EGUs, the emissions                     document.
                                                 York, Ohio, Pennsylvania, Virginia, and                 trading program budget stringency                        The EPA is making a finding that NOxNOX
                                                 West Virginia) under the Revised                        associated with retrofit of post-                     emissions from certain non-EGU sources
                                                 CSAPR Update (with respect to the 2008                  combustion controls will be phased in                 are significantly contributing to
                                                 ozone NAAQS), the FIPs are amended                                                (2026–2027).
                                                                                                         over two ozone seasons (2026-2027).                   nonattainment or interfering with
                                                 by the revisions to the Group 3 trading                 For industrial sources, this final rule
                                                                                                         provides a process for individual
                                                                                                                                                               maintenance of the 2015 ozone NAAQS
                                                 program regulations. For seven states
                                                                                                                                                               and that cost-effective controls for NOx
                                                                                                                                                                                                    NOX
                                                 currently covered by the CSAPR NOx   NOX                facilities to seek a one year extension,
                                                                                                         with the possibility of up to two                     emissions reductions are available in
                                                 Ozone Season Group 2 Trading Program
                                                                                                         additional years, based on a specific                 certain industrial source categories that
                                                 under SIPs or FIPs, the EPA is issuing
                                                 new FIPs for two states (Alabama and                    showing of necessity.                                 would result in meaningful air quality
                                                 Missouri) and amending existing FIPs                       The EGU emissions reductions are                   improvements in downwind receptors.
                                                 for five states (Arkansas, Mississippi,                 based on the feasibility of control                   The EPA is establishing emissions
                                                 Oklahoma, Texas, and Wisconsin) to                      installation for EGUs in 19 states that               limitations beginning in 2026 for non-
                                                 transition EGU sources in these states                  remain linked to downwind                             EGU sources located within 20 states:
                                                 from the Group 2 program to the revised                 nonattainment and maintenance                         Arkansas, California, Illinois, Indiana,
                                                                                                         receptors in 2026. These 19 states are:               Kentucky, Louisiana, Maryland,
ddrumheller on DSK120RN23PROD with RULES2




                                                 Group 3 trading program, beginning
                                                 with the 2023 ozone season. The EPA is                  Arkansas, Illinois, Indiana, Kentucky,                Michigan, Mississippi, Missouri,
                                                                                                         Louisiana, Maryland, Michigan,                        Nevada, New Jersey, New York, Ohio,
                                                   3 As explained in section V.C.1 of this document,
                                                   3                                                     Mississippi, Missouri, Nevada, New                    Oklahoma, Pennsylvania, Texas, Utah,
                                                 the EPA is making a finding that EGU sources            Jersey, New York, Ohio, Oklahoma,                     Virginia, and West Virginia. The final
                                                 within the State of California are sufficiently                                                                                NOX emissions
                                                 controlled such that no further emissions
                                                                                                         Pennsylvania, Texas, Utah, Virginia,                  rule establishes NOx
                                                 reductions are needed from them to eliminate            and West Virginia. The emissions                      limitations during the ozone season for
                                                 significant contribution to downwind states.            reductions required for EGUs in these                 the following unit types for sources in


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00005   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                           Document #2009836                                Filed: 07/27/2023             Page 44 of 430
                                                 36658
                                                 36658                Federal Register / Vol. 88, No. 107/Monday,
                                                                                                      107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules

                                                 non-EGU industries: 44 reciprocating                  respect to any primary or secondary                       analysis, the 23 upwind states covered
                                                 internal combustion engines in Pipeline               NAAQS.8 Within 3 years of the EPA
                                                                                                       NAAQS.8                                                   in this action are linked above the 1
                                                 Transportation of Natural Gas; kilns in               promulgating a new or revised NAAQS,                      percent of the NAAQS threshold to
                                                 Cement and Cement Product                             all states are required to provide SIP                    downwind air quality problems in
                                                 Manufacturing; reheat furnaces in Iron                submittals, often referred to as                          downwind states. The EPA intends to
                                                 and Steel Mills and Ferroalloy                        ‘‘infrastructure SIPs,"
                                                                                                       "infrastructure   SIPs,’’ addressing certain              expeditiously review the updated air
                                                 Manufacturing; furnaces in Glass and                  requirements, including the good                          quality modeling and related analyses to
                                                 Glass Product Manufacturing; boilers in               neighbor provision. See CAA section                       address potential good neighbor
                                                 Iron and Steel Mills and Ferroalloy                   110(a)(1) and (2). The EPA must either                    requirements of six additional states—
                                                 Manufacturing, Metal Ore Mining, Basic                approve or disapprove such submittals                     Arizona, Iowa, Kansas, New Mexico,
                                                 Chemical Manufacturing, Petroleum and                 or make a finding that a state has failed                 Tennessee, and Wyoming—in a
                                                 Coal Products Manufacturing, and Pulp,                to submit a complete SIP revision. As                     subsequent action. The EPA had
                                                 Paper, and Paperboard Mills; and                      with any other type of SIP under the                      previously approved 2015 ozone
                                                 combustors and incinerators in Solid                  Act, when the EPA disapproves an                          transport SIPs submitted by Oregon and
                                                 Waste Combustors and Incinerators.                    interstate transport SIP or finds that a                  Delaware, but in the proposed FIP
                                                                                                       state failed to submit an interstate                      action the EPA found these states
                                                 A. Purpose of the Regulatory
                                                                            Regulatory Action
                                                                                                       transport SIP, the CAA requires the EPA                   potentially to be linked in the modeling
                                                     The purpose of this rulemaking is to              to issue a FIP to directly implement the                  supporting our proposal. We proposed
                                                 protect public health and the                         measures necessary to eliminate                           to issue an error correction for our prior
                                                 environment by reducing interstate                    significant contribution under the good                                Delaware’s 2015 ozone
                                                                                                                                                                 approval of Delaware's
                                                 transport of certain air pollutants that              neighbor provision. See generally
                                                                                                                                   generally CAA                 transport SIP; however, in this final
                                                 significantly contribute to                           section 110(k) and 110(c). As such, in                    rule, the EPA is withdrawing the
                                                 nonattainment,
                                                 nonattainrnent, or interfere with                     this rule, the EPA is finalizing                          proposed error correction and the
                                                 maintenance, of the 2015 ozone NAAQS requirements to fully address good                                         proposed FIP for Delaware, because our
                                                 in downwind states. Ground-level ozone neighbor obligations for the covered                                     updated modeling for this final rule
                                                 has detrimental effects on human health states for the 2015 ozone NAAQS under                                   confirms that Delaware is not linked
                                                 as well as vegetation and ecosystems.                 its authority to promulgate FIPs under                    above the 1 percent of NAAQS
                                                 Acute and chronic exposure to ozone in CAA section 110(c). By eliminating                                       threshold (see section III.C.1 of this
                                                 humans is associated with premature                   significant contribution from these                       document for additional information).
                                                 mortality and certain morbidity effects,              upwind states, this rule will make                        The EPA is deferring finalizing a finding
                                                 such as asthma exacerbation. Ozone                    substantial and meaningful                                at this time for Oregon (see section IV.G
                                                 exposure can also negatively impact                   improvements in air quality by reducing                   of this document for additional
                                                 ecosystems by limiting tree growth,                   ozone levels at the identified downwind                   information).
                                                 causing foliar injury, and changing                   receptors as well as many other areas of
                                                 ecosystem community composition.                                                                                1. Emissions Limitations for EGUs
                                                                                                       the country. At any time after the
                                                 Section III of this document provides                                                                           Established by the Final Rule
                                                                                                       effective date of this rule, states may
                                                 additional evidence of the harmful                    submit a Good Neighbor SIP to replace                        In this rule, the EPA is issuing FIP
                                                 effects of ozone exposure on human                    the FIP requirements contained in this                    requirements that apply the provisions
                                                 health and the environment. Studies                   rule, subject to EPA approval under                       of the CSAPR NOx NOX Ozone Season Group
                                                 have established that ozone air                       CAA section 110(a).                                       3 Trading Program as revised in the rule
                                                 pollution can be transported over                        The EPA conducted air quality                          to EGU sources within the borders of the
                                                 hundreds of miles, with elevated                      modeling for the 2023 and 2026 analytic                   following 22 states: Alabama, Arkansas,
                                                 ground-level ozone concentrations                     years to identify (1) the downwind areas                  Illinois, Indiana, Kentucky, Louisiana,
                                                 occurring in rural and metropolitan                   identified as "receptors"
                                                                                                                      ‘‘receptors’’ (which are                   Maryland, Michigan, Minnesota,
                                                 areas..55 66 Assessments of ozone control
                                                 areas                                                 associated with monitoring sites) that                    Mississippi, Missouri, Nevada, New
                                                 approaches have concluded that control are expected to have trouble attaining or                                Jersey, New York, Ohio, Oklahoma,
                                                 strategies targeting reduction of NOx         NOX     maintaining the 2015 ozone NAAQS in                       Pennsylvania, Texas, Utah, Virginia,
                                                 emissions are an effective method to                  the future and (2) the contribution of                    West Virginia, and Wisconsin.
                                                 reduce regional-scale ozone transport.'  transport.7  ozone transport from upwind states to                     Implementation of the revised trading
                                                     CAA section 110(a)(2)(D)(i)(I) requires the downwind air quality problems. We                               program provisions begins in the 2023
                                                 states to prohibit emissions that will                               ‘‘downwind’’ to describe
                                                                                                       use the term "downwind"                                   ozone season.
                                                 contribute significantly to                           those states or areas where a receptor is                    The EPA is expanding the CSAPR
                                                 nonattainment
                                                 nonattainrnent or interfere with                      located, and we use the term "upwind"
                                                                                                                                        ‘‘upwind’’               NOX Ozone Season Group 3 Trading
                                                                                                                                                                 NOx
                                                 maintenance in any other state with                   to describe states whose emissions are                    Program beginning in the 2023 ozone
                                                                                                       linked to one or more receptors. States                   season. Specifically, the FIPs require
                                                    4wWee use the terms "emissions
                                                                          ‘‘emissions limitation’’
                                                                                      limitation" and  may be both downwind and upwind                           power plants within the borders of the
                                                 ‘‘emissions limit’’
                                                 "emissions    limit" to refer to both numeric                                                                   22 states listed in the previous
                                                 emissions limitations and control technology
                                                                                                       depending on the receptor or linkage in
                                                 requirements that specify levels of emissions         question. Section IV of this document                     paragraph to participate in an expanded
                                                 reductions to be achieved.                            provides a full description of the results                and revised version of the CSAPR NOx NOX
                                                    5 Bergin, M.S. et al. (2007) Regional air quality:
                                                    5
                                                                                                               EPA’s updated air quality
                                                                                                       of the EPA's                                              Ozone Season Group 3 Trading Program
                                                 local and interstate impacts of NO NOx X and SO
                                                                                              SO22     modeling    and relevant analyses for the                 created by the Revised CSAPR Update.
                                                 emissions on ozone and fine particulate matter in
ddrumheller on DSK120RN23PROD with RULES2




                                                 the eastern United States. Environmental Sci &        rulemaking, including a discussion of                     Affected EGUs within the borders of the
                                                             4677–4689.
                                                 Tech. 41: 4677-4689.                                  how updates to the modeling and air                       following 12 states currently
                                                    8 Liao, K. et al. (2013) Impacts of interstate
                                                    6                                                  quality analysis following the proposed                   participating in the Group 3 Trading
                                                 transport of pollutants on high ozone events over     rule have resulted in some modest                         Program under existing FIPs remain in
                                                 the Mid-Atlantic United States. Atmospheric                                                                     the program, with revised provisions
                                                 Environment 84, 100-112.
                                                                      100–112.
                                                                                                       changes   in the overall geography of the
                                                    7 See 82 FR 51238, 51248 (November 3, 2017)
                                                    7                                                  final rule. Based on the EPA's
                                                                                                                                  EPA’s air quality              beginning in the 2023 ozone season,
                                                 [citing 76 FR 48208, 48222 (August 8, 2011)] and                                                                under this rule: Illinois, Indiana,
                                                 63 FR 57381 (October 27, 1998).                               42 U.S.C. 7410(a)(2)(D)(i)(I).
                                                                                                           88 42                                                 Kentucky, Louisiana, Maryland,


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000    Frm 00006    Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                           Document #2009836                               Filed: 07/27/2023                Page 45 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 //Rules
                                                                                                                                   Rules and Regulations                                                  36659
                                                                                                                                                                                                          36659

                                                 Michigan, New Jersey, New York, Ohio,                   Manufacturing; furnaces in Glass and                   ozone concentrations for the 2023
                                                 Pennsylvania, Virginia, and West                        Glass Product Manufacturing; boilers in                analytic year at individual monitoring
                                                 Virginia. The FIPs also require affected                Iron and Steel Mills and Ferroalloy                    sites and considered current ozone
                                                 EGUs within the borders of the                          Manufacturing, Metal Ore Mining, Basic                 monitoring data at these sites to identify
                                                 following seven states currently covered                Chemical Manufacturing, Petroleum and                  receptors that are anticipated to have
                                                 by the CSAPR NOxNOX Ozone Season                        Coal Products Manufacturing, and Pulp,                 problems attaining or maintaining the
                                                 Group 2 Trading Program (the "Group
                                                                                   ‘‘Group 2             Paper, and Paperboard Mills; and                       2015 ozone NAAQS. This analysis of
                                                 trading program’’)
                                                          program") under existing FIPs or               combustors and incinerators in Solid                   projected ozone concentrations was
                                                 existing SIPs to transition from the                    Waste Combustors and Incinerators.                     then repeated for 2026.
                                                 Group 2 program to the revised Group                    Refer to Table II.A–1
                                                                                                                        II.A-1 for a list of North                 To apply the second step of the
                                                 3 trading program beginning with the                    American Industry Classification                       framework, the EPA used air quality
                                                 2023 control period: Alabama,                           System (NAICS) codes for each entity                   modeling to quantify the contributions
                                                 Arkansas, Mississippi, Missouri,                        included for regulation under this rule.               from upwind states to ozone
                                                                          Wisconsin.9
                                                 Oklahoma, Texas, and Wisconsin.9                                                                               concentrations in 2023 and 2026 at
                                                 Finally, the EPA is issuing new FIPs for                B. Summary
                                                                                                            Summary of  of the Regulatory
                                                                                                                               Regulatory                       downwind receptors.12
                                                                                                                                                                             receptors.12 Once quantified,
                                                 EGUs within the borders of three states                 Framework of the Rule                                  the EPA then evaluated these
                                                 not currently covered by any existing                      The EPA is applying the 4-step                      contributions relative to a screening
                                                 CSAPR trading program for seasonal                      interstate transport framework                         threshold of 1 percent of the NAAQS
                                                 NOX emissions: Minnesota, Nevada, and
                                                 NOx                                                     developed and used in CSAPR, the                       (i.e., 0.70 ppb).13 States with
                                                                                                                                                                            ppb).13
                                                 Utah. Sources in these states will enter                CSAPR Update, the Revised CSAPR                        contributions that equaled or exceeded
                                                 the Group 3 trading program in the 2023                 Update, and other previous ozone                       1 percent of the NAAQS were identified
                                                 control period following the effective                  transport rules under the authority                    as warranting further analysis at Step 3
                                                 date of the final rule.1°
                                                                   rule.10 Refer to section              provided in CAA section                                of the 4-step framework to determine if
                                                 VI.B of this document for details on                    110(a)(2)(D)(i)(I). The 4-step interstate              the upwind state significantly
                                                 EGU regulatory requirements.                            transport framework provides a                         contributes to nonattainment or
                                                                                                         stepwise method for the EPA to define                  interference with maintenance in a
                                                 2. Emissions Limitations for Industrial                                                                        downwind state. States with
                                                                                                         and implement good neighbor
                                                 Stationary Point Sources Established by                                                                        contributions below 1 percent of the
                                                                                                         obligations for the 2015 ozone NAAQS.
                                                 the Final Rule                                          The four steps are as follows: (Step 1)                NAAQS were considered not to
                                                    The EPA is issuing FIP requirements                  identifying downwind receptors that are                significantly contribute to
                                                                    NOX emissions
                                                 that include new NOx                                    expected to have problems attaining or                 nonattainment or interfere with
                                                 limitations for industrial or non-EGU                   maintaining the NAAQS; (Step 2)                        maintenance of the NAAQS in
                                                 sources in 20 states, with sources                      determining which upwind states                        downwind states.
                                                 expected to demonstrate compliance no                   contribute to these identified problems                   Based on the EPA's
                                                                                                                                                                                  EPA’s most recent air
                                                 later than 2026. The EPA is requiring                                              ‘‘link’’ them to
                                                                                                         in amounts sufficient to "link"                        quality modeling and contribution
                                                 emissions reductions from non-EGU                       the downwind air quality problems (i.e.,               analysis using 2023 as the analytic year,
                                                 sources to address interstate transport                 in this rule as in prior transport rules               the EPA finds that the following 23
                                                 obligations for the 2015 ozone NAAQS                    beginning with CSAPR in 2011, above a                  states have contributions that equal or
                                                 for the following 20 states: Arkansas,                  contribution threshold of 1 percent of                 exceed 1 percent of the 2015 ozone
                                                 California, Illinois, Indiana, Kentucky,                the NAAQS); (Step 3) for states linked                 NAAQS, and, thereby, warrant further
                                                 Louisiana, Maryland, Michigan,                          to downwind air quality problems,                      analysis of significant contribution to
                                                 Mississippi, Missouri, Nevada, New                      identifying upwind emissions that                      nonattainment or interference with
                                                 Jersey, New York, Ohio, Oklahoma,                       significantly contribute to downwind                   maintenance of the NAAQS: Alabama,
                                                 Pennsylvania, Texas, Utah, Virginia and                 nonattainment or interfere with                        Arkansas, California, Illinois, Indiana,
                                                 West Virginia.                                          downwind maintenance of the NAAQS                      Kentucky, Louisiana, Maryland,
                                                    The EPA is establishing emissions                    through a multifactor analysis; and                    Michigan, Minnesota, Mississippi,
                                                 limitations for the following unit types                (Step 4) for states that are found to have             Missouri, Nevada, New Jersey, New
                                                 in non-EGU industries: reciprocating                    emissions that significantly contribute                York, Ohio, Oklahoma, Pennsylvania,
                                                 internal combustion engines in Pipeline                 to nonattainment or interfere with                     Texas, Utah, Virginia, West Virginia,
                                                 Transportation of Natural Gas; kilns in                 maintenance of the NAAQS in                            and Wisconsin.
                                                 Cement and Cement Product                               downwind areas, implementing the                          There are locations in California to
                                                 Manufacturing; reheat furnaces in Iron                  necessary emissions reductions through                 which Oregon contributes greater than 1
                                                 and Steel Mills and Ferroalloy                          enforceable measures. The remainder of                 percent of the NAAQS; the EPA
                                                                                                         this section provides a general overview
                                                    9 Five of these seven states (Arkansas,
                                                    9
                                                                                                                EPA’s application of the 4-step                 August 3, 2024, for areas classified as Moderate
                                                                                                         of the EPA's                                           nonattainment, and August 3, 2027, for areas
                                                 Mississippi, Oklahoma, Texas, and Wisconsin)
                                                 currently participate in the Federal Group 2 trading    framework as it applies to the                         classified as Serious nonattainment. See 83 FR
                                                 program pursuant to the FIPs finalized in the           provisions of the rule; additional details             25776.
                                                 CSAPR Update. The FIPs required under this rule                         EPA’s approach are found
                                                                                                         regarding the EPA's                                      12 The EPA performed air quality modeling for
                                                                                                                                                                  12
                                                 amend the existing FIPs for these states. The other     in section III of this document.                       2032 in the proposed rulemaking, but did not
                                                 two states (Alabama and Missouri) have already                                                                 perform contribution modeling for 2032 since
                                                 replaced the FIPs finalized in the CSAPR Update
                                                                                                            To apply the first step of the 4-step               contribution data for this year were not needed to
                                                 with approved SIP revisions that require their EGUs     framework to the 2015 ozone NAAQS,                     identify upwind states to be analyzed in Step 3. The
ddrumheller on DSK120RN23PROD with RULES2




                                                 to participate in state Group 2 trading programs        the EPA performed air quality modeling                 modeling of 2032 done at proposal using the
                                                 integrated with the Federal Group 2 trading             to project ozone concentrations at air                 2016v2 platform does not constitute or represent
                                                 program, so the FIPs required in this action                                                                   any final agency determinations respecting air
                                                 constitute new FIPs for these states. The EPA will
                                                                                                         quality monitoring sites in 2023 and                   quality conditions or regulatory judgments with
                                                 cease implementation of the state Group 2 trading       2026. 11 The EPA evaluated projected
                                                                                                         2026.11                                                respect to good neighbor obligations or any other
                                                 programs included in the two states'
                                                                                  states’ SIPs on the                                                           CAA requirements.
                                                 effective date of this rule.                               11 These 2 analytic years are the last full ozone
                                                                                                           11These                                                13 See section IV.F of this document for
                                                                                                                                                                  13
                                                    10 Three states, Kansas, Iowa, and Tennessee, will
                                                   10                                                    seasons before, and thus align with, upcoming                          EPA’s use of the 1 percent of the
                                                                                                                                                                explanation of EPA's
                                                 remain in the Group 2 Trading Program.                  attainment dates for the 2015 ozone NAAQS:             NAAQS threshold in the Step 2 analysis.



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00007   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                           Document #2009836                              Filed: 07/27/2023             Page 46 of 430
                                                 36660
                                                 36660                Federal Register / Vol. 88, No. 107/Monday,
                                                                                                      107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules

                                                 proposed that downwind areas                            combustion controls; (3) fully operating emissions controls such as SCR.    SCR.1515 While

                                                 represented by these monitoring sites in                existing selective non-catalytic         these programs successfully drove many
                                                 California should not be considered                     reduction (SNCR) controls, including     EGUs to retrofit post-combustion
                                                 interstate ozone transport receptors at                 both optimizing NOxNOX removal by        controls, other EGUs throughout the
                                                 Step 1. However, the EPA is deferring                   existing operational SNCRs and turning present geography of linked upwind
                                                 finalizing a finding at this time for                   on and optimizing existing idled         states continue to operate without such
                                                 Oregon (see section IV.G of this                        SNCRs; (4) installing new SNCRs; (5)     controls and continue to emit at
                                                 document for additional information).                   installing new SCRs; and (6) generation  relatively high rates more than 20 years
                                                    Based on the air quality analysis                    shifting. For the reasons explained in   after similar units reduced these
                                                 presented in section IV of this                         section V of this document and           emissions under prior interstate ozone
                                                 document, the EPA finds that, with the                                      ‘‘Technical Support
                                                                                                         supported by the "Technical              transport rulemakings.
                                                 exception of Alabama, Minnesota, and                    Document (TSD) for the Final Federal        Furthermore, the CSAPR Update
                                                 Wisconsin, the states found linked in                   Good Neighbor Plan for the 2015 Ozone    provided      only a partial remedy for
                                                 2023 will continue to contribute above                  National Ambient Air Quality Standard, eliminating significant contribution for
                                                 the 1 percent of the NAAQS threshold                    Docket ID No. EPA—HQ—OAR-2021-
                                                                                                                         EPA–HQ–OAR–2021–         the 2008 ozone NAAQS, as needed to
                                                 to at least one receptor whose                          0668, EGU NOxNOX Mitigation Strategies   obtain available reductions by the 2017
                                                 nonattainment and maintenance
                                                 nonattainrnent                                          Final Rule TSD’’                         ozone season. In that rule, the EPA
                                                                                                                      TSD" (Mar. 2023),
                                                 concerns persist through the 2026 ozone                 hereinafter referred to as the EGU NOx
                                                                                                                                              NOX made no determination regarding the
                                                                           EPA’s evaluation
                                                 season. As a result, the EPA's                                                                   appropriateness of more stringent EGU
                                                                                                         Mitigation Strategies Final Rule TSD,
                                                 of significantly contributing emissions                                                          NOX controls that would be required for
                                                                                                                                                  NOx
                                                                                                         included in the docket for this action,
                                                 at Step 3 for Alabama, Minnesota, and                                                            a full remedy for interstate transport for
                                                                                                         the EPA determines that for the
                                                 Wisconsin is limited to emissions                                                                the 2008 ozone NAAQS. Following the
                                                                                                         regional, multi-state scale of this
                                                 reductions achievable by the 2023 and                                                            remand of the CSAPR Update in
                                                 2024 ozone seasons.                                     rulemaking, only fully operating and     Wisconsin
                                                                                                                                                  Wisconsin v. EPA, 938 F.3d 303 (D.C.
                                                    At the third step of the 4-step                      optimizing existing SCRs and existing    Cir. 2019) (Wisconsin), the EPA again
                                                 framework, the EPA applied a                            SNCRs (EGU NOx NOX emissions controls    declined to require the retrofit of new
                                                 multifactor test that incorporates cost,                options 1 and 3 in the list earlier) are post-combustion controls on EGUs in
                                                 availability of emissions reductions, and               possible for the 2023 ozone season. The the Revised CSAPR Update, but that
                                                 air quality impacts at the downwind                     EPA determined that state-of-the-art     determination was based on a specific
                                                 receptors to determine the amount of                    NOX combustion controls at EGUs
                                                                                                         NOx                                      timing consideration: downwind air
                                                 ozone precursor emissions from the                      (emissions control option 2 in the list  quality problems under the 2008 ozone
                                                 linked upwind states that                               above) are available by the beginning of NAAQS were projected to resolve before
                                                 ‘‘significantly’’ contribute to downwind
                                                 "significantly"                                         the 2024 ozone season. See section       post-combustion control retrofits could
                                                 nonattainment or maintenance
                                                 nonattainrnent                                          V.B.1 of this document for a full        be accomplished on a fleetwide,
                                                 receptors. The EPA is applying the                      discussion of EPA's
                                                                                                                        EPA’s analysis of NOx
                                                                                                                                           NOX    regional scale. See 86 FR 23054, 23110
                                                 multifactor test described in section V.A               emissions mitigation strategies for EGU  (April 30, 2021).
                                                 of this document to both EGU and                        sources.                                    In this rulemaking, the EPA is
                                                 industrial sources. The EPA assessed                       The EPA is requiring control          addressing good neighbor obligations for
                                                 the potential emissions reductions in                   stringency levels that offer the most    the more protective 2015 ozone
                                                 2023 and 2026,    14 as well as in
                                                             2026,14                                     incremental NOx
                                                                                                                       NOX emissions reduction    NAAQS, and the Agency observes
                                                 intervening and later years to determine                potential from EGUs—among the            ongoing and persistent contribution
                                                 the emissions reductions required to                    uniform mitigation measures assessed     from upwind states to ozone
                                                 eliminate significant contribution in                   for the covered region—and the most      nonattainment
                                                                                                                                                  nonattainrnent and maintenance
                                                 2023 and future years where downwind                    corresponding downwind ozone air         receptors in downwind states under that
                                                 areas are projected to have potential                   quality improvements to the extent       NAAQS. As further discussed in section
                                                 problems attaining or maintaining the                   feasible in each year analyzed. The EPA V of this document, the nature of this
                                                 2015 ozone NAAQS.                                       is making a finding that the required    contribution warrants a greater degree of
                                                    For EGU sources, the EPA evaluated                                                            control stringency than the EPA
                                                                                                         controls provide cost-effective
                                                 the following set of widely-available                                                            determined to be necessary to eliminate
                                                                                                         reductions of NOx
                                                                                                                        NOX emissions that will
                                                 NOX emissions control technologies: (1)
                                                 NOx                                                                                              significant contribution of ozone
                                                                                                         provide substantial improvements in
                                                 fully operating existing selective                                                               transport in prior CSAPR rulemakings.
                                                                                                         downwind ozone air quality to address
                                                 catalytic reduction (SCR) controls,                                                              In this rule, the EPA is requiring
                                                 including both optimizing NOx NOX removal               interstate transport obligations for the
                                                 by existing operational SCRs and                        2015 ozone NAAQS in a timely manner. emissions performance levels for EGU
                                                                                                         These controls represent greater         NOX control strategies commensurate
                                                                                                                                                  NOx
                                                 turning on and optimizing existing idled
                                                 SCRs; (2) installing state-of-the-art NOx
                                                                                       NOX               stringency in upwind EGU controls than with those determined to be necessary
                                                                                                         in the EPA's
                                                                                                                EPA’s most recent ozone           in the NOx
                                                                                                                                                          NOX SIP Call and CAIR.  CA1R.
                                                                                                                                                     Based on the Step 3 analysis
                                                    14 The EPA included emissions reductions from        transport rulemakings, such as the
                                                   14
                                                                                                         CSAPR Update and the Revised CSAPR       described in section V of this document,
                                                 the potential installation of SCRs at all affected
                                                 large coal-fired EGUs in the 2026 analytic year for     Update. However, programs to address     the  EPA finds that emissions reductions
                                                 the purposes of assessing significant contribution to                                            commensurate with the full operation of
                                                 nonattainment and interference with maintenance,
                                                                                                         interstate ozone transport based on the
                                                                                                                                                  all existing post-combustion controls
                                                                                                         retrofit of post-combustion controls are
ddrumheller on DSK120RN23PROD with RULES2




                                                 which is consistent with the associated attainment                                               (both SCRs and SNCRs) and state-of-the-
                                                 date. However, in response to comments identifying      by no means unprecedented. In prior
                                                 potential supply chain and outage scheduling                                                     art combustion control upgrades
                                                                                                         ozone transport rulemakings such as the
                                                 challenges if the full breadth of these assumed SCR                                              constitute the Agency's
                                                                                                                                                                      Agency’s selected control
                                                 installations were to occur, the EPA is                 NOX SIP Call and the Clean Air
                                                                                                         NOx
                                                                                                                                                  stringency for EGUs within the borders
                                                 implementing half of this emissions reduction           Interstate Rule (CAIR),
                                                                                                                          (CA1R), the EPA
                                                 potential in 2026 ozone-season NOxNOX budgets for
                                                                                                                                                  of 22 states linked to downwind
                                                                                                         established EGU budgets premised on
                                                 states containing these EGUs and the other half of
                                                 this emissions reduction potential in 2027 ozone-
                                                                                                         the widespread availability of             15 See, e.g., 70 FR 25162,25205-06
                                                                                                                                                    15                  25162, 25205–06 (May 12,
                                                 season NO
                                                         NOxX budgets for those states.
                                                                                                         retrofitting EGUs with post-combustion   2005).



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00008   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                           Document #2009836                              Filed: 07/27/2023                 Page 47 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                                    36661
                                                                                                                                                                                                            36661

                                                 nonattainment or maintenance in 2023
                                                 nonattainrnent                                          information helped shape the proposal                  impactful and warrant further analysis
                                                 (Alabama, Arkansas, Illinois, Indiana,                  and final rule. To further evaluate the                at Step 3, and we find that the available
                                                 Kentucky, Louisiana, Maryland,                          industries and emissions unit types                    emissions reductions are cost-effective
                                                 Michigan, Minnesota, Mississippi,                       identified by the screening assessment                 and make meaningful improvements at
                                                 Missouri, Nevada, New Jersey, New                       and to establish the applicability criteria            the identified downwind receptors. For
                                                 York, Ohio, Oklahoma, Pennsylvania,                     and proposed emissions limits, the EPA                 a detailed discussion of the changes,
                                                 Texas, Utah, Virginia, West Virginia,                   reviewed Reasonably Available Control                  between the proposal and this final rule,
                                                 and Wisconsin). For 19 of those states                  Technology (RACT) rules, New Source                    in emissions unit types included and in
                                                 that are also linked in 2026 (Arkansas,                 Performance Standards (NSPS) rules,                    emissions limits, see section VI.C. of
                                                 Illinois, Indiana, Kentucky, Louisiana,                 National Emissions Standards for                       this document.
                                                 Maryland, Michigan, Mississippi,                        Hazardous Air Pollutants (NESHAP)                         The EPA performed air quality
                                                 Missouri, Nevada, New Jersey, New                       rules, existing technical studies, rules in            analysis using the Ozone Air Quality
                                                 York, Ohio, Oklahoma, Pennsylvania,                     approved SIPs, consent decrees, and                    Assessment Tool (AQAT) to evaluate
                                                 Texas, Utah, Virginia, and West                         permit limits. That evaluation is                      the air quality improvements
                                                 Virginia), the EPA is determining that                  detailed in the "Technical
                                                                                                                           ‘‘Technical Support                  anticipated to result from the
                                                 the selected EGU control stringency also                Document (TSD) for the Proposed Rule,                  implementation of the selected EGU and
                                                 includes emissions reductions                           Docket ID No. EPA—HQ—OAR-2021-
                                                                                                                          EPA–HQ–OAR–2021–                      non-EGU emissions reduction strategies.
                                                 commensurate with the retrofit of SCR                   0668, Non-EGU Sectors TSD’’ TSD" (Dec.                 See section V.D of this document.
                                                                                                                                                                                          document.20 20 We

                                                 at coal-fired units of 100 MW or greater                2021), hereinafter referred to as the                  also used AQAT to determine whether
                                                 capacity (excepting circulating fluidized               Proposed Non-EGU Sectors TSD,                          the emissions reductions for both EGUs
                                                 bed units (CFB)), new SNCR on coal-                     prepared for the proposed FIP.    18
                                                                                                                                       F1P.18                   and non-EGUs potentially create an
                                                 fired units of less than 100 MW capacity                   In this final rule, the EPA is retaining            ‘‘over-control’’ scenario. As in prior
                                                                                                                                                                "over-control"
                                                 and on CFBs of any capacity size, and                   the industries and many of the                         transport rules following the holdings in
                                                 SCR on oil/gas steam units greater than                 emissions unit types included in the                   EME
                                                                                                                                                                EME Homer City, overcontrol would be
                                                 100 MW that have historically emitted                   proposal in its findings of significant                established if the record indicated that,
                                                 at least 150 tons of NOx
                                                                      NOX per ozone                      contribution at Step 3, as discussed in                for any given state, there is a less
                                                 season.                                                 section V of this document. As                         stringent emissions control approach for
                                                                                                         discussed in the memorandum for the                    that state, by which (1) the expected
                                                    To identify appropriate control                      final rule, titled "Summary
                                                                                                                             ‘‘Summary of Final                 ozone improvements would be
                                                 strategies for non-EGU sources to                       Rule Applicability Criteria and                        sufficient to resolve all of the downwind
                                                           NOX emissions reductions that
                                                 achieve NOx                                                                                                    receptor(s) to which that state is linked;
                                                                                                         Emissions Limits for Non-EGU
                                                 would result in meaningful air quality                  Emissions Units, Assumed Control                       or (2) the expected ozone improvements
                                                 improvements in downwind areas, for                     Technologies for Meeting the Final                     would reduce the upwind state's
                                                                                                                                                                                              state’s ozone
                                                 the proposed FIP, the EPA evaluated air                 Emissions Limits, and Estimated                        contributions below the screening
                                                 quality modeling information, annual                    Emissions Units, Emissions Reductions,                 threshold (i.e., 1 percent of the NAAQS
                                                 emissions, and information about                             Costs,’’ the EPA uses the 2019
                                                                                                         and Costs,"                                            or 0.70 ppb) to all of linked receptors.
                                                 potential controls to determine which                   emissions inventory, the list of                       The EPA's
                                                                                                                                                                     EPA’s over-control analysis,
                                                 industries, beyond the power sector,                    emissions units estimated to be                        discussed in section V.D.4 of this
                                                 could have the greatest impact in                       captured by the applicability criteria,                document, shows that the control
                                                 providing ozone air quality                                                                                    stringencies for EGU and non-EGU
                                                                                                         the assumed control technologies that
                                                 improvements in affected downwind                       would meet the emissions limits, and                   sources in this final rule do not over-
                                                 states. Once the EPA identified the                     information on control efficiencies and                control upwind states'
                                                                                                                                                                                  states’ emissions either
                                                 industries, the EPA used its Control                    default cost/ton values from the Control               with respect to the downwind air
                                                 Strategy Tool to identify potential                                 Database,19 to estimate NOx
                                                                                                         Measures Database,19                 NOX               quality problems to which they are
                                                 emissions units and control measures                    emissions reductions and costs for the                 linked or with respect to the 1 percent
                                                 and to estimate emissions reductions                    year 2026. In this final rule, the EPA                 of the NAAQS contribution threshold,
                                                 and compliance costs associated with                    made changes to the applicability                      such that over-control would trigger re-
                                                 application of non-EGU emissions                        criteria and emissions limits following                evaluation at Step 3 for any linked
                                                 control measures. The technical                         consideration of comments on the                       upwind state.
                                                 memorandum Screening Assessment of                                                                                Based on the multi-factor test applied
                                                                                                         proposal and reassessed the overall non-
                                                 Potential Emissions Reductions, Air                                                                            to both EGU and non-EGU sources and
                                                                                                         EGU emissions reduction strategy based
                                                 Quality
                                                 Quality Impacts, and Costs fromfrom Non-
                                                                                                         on the factors at Step 3 to render a
                                                 EGU Emissions Units
                                                 EGU                     for 2026 lays out
                                                                   Units for                                                                                       2° The use of AQAT and other simplified
                                                                                                                                                                  20
                                                                                                         judgment as to whether the level of                    modeling tools to generate "appropriately
                                                                                                                                                                                             ‘‘appropriately reliable
                                                 the analytical framework and data used                  emissions control that would be                        projections of air quality conditions and
                                                 to prepare proxy estimates for 2026 of                  achievable from these units meets the                  contributions’’ when there is limited time to
                                                                                                                                                                contributions"
                                                 potentially affected non-EGU facilities                                                                        conduct full-scale photochemical grid modeling
                                                                                                         criteria for "significant
                                                                                                                      ‘‘significant contribution.’’
                                                                                                                                    contribution." In           was upheld by the D.C. Circuit in MOG v. EPA, No.
                                                 and emissions units, emissions                          the final rule, we affirm our proposed                 21–1146 (D.C. Cir. March 3, 2023). The EPA has
                                                                                                                                                                21-1146
                                                                   costs.16 17
                                                 reductions, and costs.16   17 This
                                                                                                         determinations of which industries and                 used AQAT for the purpose of air quality and
                                                                                                         emissions units are potentially                        overcontrol assessments at Step 3 in the prior
                                                   16 The memorandum is available in the docket at
                                                   16                                                                                                           CSAPR rulemakings, and we continue to find it
                                                 https://www.regulations.gov/document/EPA-HQ-
                                                 https://www.regulations.govIdocument/EPA-HQ-                                                                   reliable for such purposes. We discuss the
                                                 OAR-2021-0668-0150.                                     emissions units. This information helped shape the     calibration of AQAT for this action and the multiple
ddrumheller on DSK120RN23PROD with RULES2




                                                   17 This screening assessment was not intended to
                                                   17                                                    proposed rule.                                         sensitivity checks we performed to ensure its
                                                                                                           18 The TSD is available in the docket at https://
                                                 identify the specific emissions units subject to the      16                                                   reliability in the Ozone Transport Policy Analysis
                                                 proposed emissions limits for non-EGU sources but       www.regulations.gov/document/EPA-HQ-OAR-
                                                                                                         www.regulations.govIdocument/EPA-HQ-OAR-               Final Rule TSD in the docket. Because we were able
                                                 was intended to inform the development of the           2021-0668-0145.                                        to conduct a photochemical grid modeling run of
                                                 proposed rule by identifying proxies for (1) non-         19 More information about the control measures
                                                                                                           16                                                   the 2026 final rule policy scenario, these results are
                                                 EGU emissions units that had emissions reduction        database (CMDB) can be found at the following link:    also included in the docket and confirm the
                                                 potential, (2) potential controls for and emissions     https://www.epa.gov/economic-and-cost-analysis-
                                                                                                         https://www.epa.govleconomic-and-cost-analysis-        regulatory conclusions reached with AQAT. See
                                                 reductions from these emissions units, and (3)          air-pollution-regulations/cost-analysis-modelstools-
                                                                                                         air-pollution-regulationslcost-analysis-modelstools-   section VIII of this document and Appendix 3A of
                                                 control costs from the potential controls on these      air-pollution.                                         the Final Rule RIA for more information.



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00009   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                            Document #2009836                              Filed: 07/27/2023             Page 48 of 430
                                                 36662
                                                 36662                 Federal Register / Vol. 88, No. 107/Monday,
                                                                                                       107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                             2023/Rules

                                                 our subsequent assessment of over-                       EGUs within the borders of three states               budget is 4 percent lower than the 2027
                                                 control, the EPA finds that the selected                 not currently covered by any CSAPR                    preset budget; and the 2029 preset
                                                 EGU and non-EGU control stringencies                     trading program for seasonal NOx
                                                                                                                                         NOX                    budget is 8 percent lower than the 2028
                                                 constitute the elimination of significant                emissions—Minnesota, Nevada, and                      preset budget.
                                                 contribution and interference with                       Utah—will enter the Group 3 trading                      While it is possible that additional
                                                 maintenance, without over-controlling                    program in the 2023 control period                    EGUs may seek to retire in this 2026–
                                                                                                                                                                                                  2026-
                                                 emissions, from the 23 upwind states                     following the effective date of the final             2029 period than are currently
                                                 subject to EGU and non-EGU emissions                     rule. In addition, the EPA is revising                scheduled and captured in the preset
                                                 reductions requirements under the rule.                  other aspects of the Group 3 trading                  emissions budgets, it is also possible
                                                 For additional details about the multi-                  program to better ensure that this                    that EGUs with currently scheduled
                                                 factor test and the over-control analysis,               method of implementation at Step 4                    retirements may adjust their retirement
                                                 see the document titled "Technical
                                                                            ‘‘Technical                   provides a durable remedy for the                     timing to accommodate the timing of
                                                 Support Document (TSD) for the Final                     elimination of the amount of emissions                replacement generation and/or
                                                 Federal Good Neighbor Plan for the                       deemed to constitute significant                      transmission upgrades necessitated by
                                                 2015 Ozone National Ambient Air                          contribution at Step 3 of the interstate              their retirement. While the EPA
                                                 Quality Standard, Docket ID No. EPA—EPA–                 transport framework. These                            designed this final rule to provide preset
                                                 HQ–OAR–2021–0668, Ozone Transport
                                                 HQ—OAR-2021-0668,                                        enhancements, summarized later in this                budgets through 2029 to incorporate
                                                 Policy Analysis Proposed Rule TSD" TSD’’                 section, are designed to operate together             known retirement-related emissions
                                                 (Mar. 2023), hereinafter referred to as                  to maintain that degree of control                    reductions to ensure the elimination of
                                                 Ozone Transport Policy Analysis Final                    stringency over time, thus improving                  significant contribution as identified at
                                                 Rule TSD, included in the docket for                     emissions performance at individual                   Step 3 is maintained over time, the use
                                                 this rulemaking.                                         units and offering a necessary measure                of these floors also provides generators
                                                    In this fourth step of the 4-step                                         NOX pollution controls
                                                                                                          of assurance that NOx                                 and grid operators enhanced certainty
                                                 framework, the EPA is including                          will be operated throughout each ozone                regarding the minimum amount of
                                                 enforceable measures in the                              season, as described in section VI.B of               allowable NOx
                                                                                                                                                                            NOX emissions for reliability
                                                 promulgated FIPs to achieve the                          this document. This rulemaking does                   planning through the 2020s. By
                                                 required emissions reductions in each of                 not revise the budget stringency and                  providing the opportunity for dynamic
                                                 the 23 states. Specifically, the FIPs                    geography of the existing CSAPR NOxNOX                budgets to subsequently calibrate
                                                 require covered power plants within the                  Ozone Season Group 1 trading program.                 budgets to any unforeseen increases in
                                                 borders of 22 states (Alabama, Arkansas,                 Aside from the seven states moving                    fleet demand, it also ensures this rule
                                                 Illinois, Indiana, Kentucky, Louisiana,                  from the Group 2 trading program to the               will not interfere with ongoing
                                                 Maryland, Michigan, Minnesota,                           Group 3 trading program under the final               retirement scheduling or adjustments
                                                 Mississippi, Missouri, Nevada, New                       rule, this rule otherwise leaves                      and thus is robust to future uncertainty
                                                 Jersey, New York, Ohio, Oklahoma,                        unchanged the budget stringency of the                during a transition period.
                                                 Pennsylvania, Texas, Utah, Virginia,                     existing CSAPR NOx NOX Ozone Season                      The EPA also believes the likelihood
                                                 West Virginia, and Wisconsin) to                         Group 2 trading program.                              and magnitude of a scenario in which a
                                                 participate in the CSAPR NOx NOX Ozone                      The EPA is establishing preset ozone               state’s preset emissions budgets during
                                                                                                                                                                state's
                                                 Season Group 3 Trading Program                                   NOX emissions budgets for each
                                                                                                          season NOx                                            this period would authorize more
                                                 created by the Revised CSAPR Update.                     ozone season from 2023 through 2029,                  emissions than the corresponding
                                                 Affected EGUs within the borders of the                  using generally the same Group 3                      dynamic budget is low. As described
                                                 following 12 states currently                            trading program budget-setting                        elsewhere, dynamic budgets are
                                                 participating in the Group 3 Trading                     methodology used in the Revised                       incorporated to best calibrate the rule’s
                                                                                                                                                                                                     rule's
                                                 Program will remain in the program,                      CSAPR Update, as explained in section                 stringency to future unknown changes
                                                 with revised provisions beginning in the                 VI.B of this document and as shown in                 to the fleet. The circumstances in which
                                                 2023 ozone season, under this rule:                      Table I.B–1.
                                                                                                                 I.B-1. The preset budgets for the              a dynamic budget would produce a
                                                 Illinois, Indiana, Kentucky, Louisiana,                  2026 through 2029 ozone seasons                       level of allowable emissions less than
                                                 Maryland, Michigan, New Jersey, New                      incorporate EGU emissions reductions                  preset budgets is most pronounced for
                                                 York, Ohio, Pennsylvania, Virginia, and                  to eliminate significant contribution and             future periods in which there is a high
                                                 West Virginia. Affected EGUs within the                  also take into account a substantial                  degree of unknown retirements
                                                 borders of the following seven states                    number of known retirements over that                 (increasing the risk that budgets are not
                                                 currently covered by the CSAPR NOx  NOX                  period to ensure the elimination of                   appropriately calibrated to the reduced
                                                 Ozone Season Group 2 Trading Program                     significant contribution is maintained as             fossil fuel heat input post retirement).
                                                      ‘‘Group 2 trading program’’)—
                                                 (the "Group             program")—                       intended by this rule. These budgets                  However, the 2026–2029
                                                                                                                                                                                2026-2029 period
                                                 Alabama, Arkansas, Mississippi,                          serve as floors and may be supplanted                 presents a case where retirement
                                                 Missouri, Oklahoma, Texas, and                           by a budget that the EPA calculates for               planning has been announced with
                                                 Wisconsin—will transition from the                       that control period using more recent                 greater lead time than normal due to a
                                                 Group 2 program to the revised Group                     information (a "dynamic
                                                                                                                           ‘‘dynamic budget")
                                                                                                                                     budget’’) if that          combination of utility 2030
                                                 3 trading program beginning with the                     dynamic budget yields a higher level of               decarbonization commitments, and
                                                 2023 control period,  21 and affected
                                                                period,21                                 allowable emissions—still consistent                  Effluent Limitation Guideline (ELG) and
                                                                                                          with the Step 3 level of emissions                    Coal Combustion Residual (CCR)
                                                    21 The EPA will deem participation in the Group
                                                    21
                                                                                                          control stringency—than the preset                    alternative compliance pathways
ddrumheller on DSK120RN23PROD with RULES2




                                                 3 trading program by the EGUs in these seven states
                                                 as also addressing the respective states'
                                                                                   states’ good
                                                                                                          budget. As reflected in Table I.B-1,
                                                                                                                                         I.B–1, and             available to units planning to cease
                                                 neighbor obligations with respect to the 2008 ozone      accounting for both the stringency of the             combustion of coal by December 31,
                                                 NAAQS (for all seven states), the 1997 ozone             rule and known fleet change, the 2026                 2028. For each of these existing rules,
                                                 NAAQS (for all the states except Texas), and the         preset budget is 23 percent lower than                facilities that are planning to retire have
                                                 1979 ozone NAAQS (for Alabama and Missouri) to
                                                 the same extent that those obligations are currently
                                                                                                          the 2025 preset budget; the 2027 preset               already conveyed that intention to EPA
                                                 being addressed by participation of the states'
                                                                                           states’ EGUs   budget is 20 percent lower than the                   in order to take advantage of the
                                                 in the Group 2 trading program.                          2026 preset budget; the 2028 preset                   alternative compliance pathways


                                            VerDate Sep<11>2014    20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00010   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                        USCA Case #23-1157                               Document #2009836                                Filed: 07/27/2023                Page 49 of 430
                                                                             Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                     Register/Vol.                                                                                                                36663
                                                                                                                                                                                                                  36663

                                                 available to such facilities.22 Therefore,
                                                                   facilities.22                              mechanism to accommodate planning                        year before the control period, using the
                                                 the likelihood of unknown                                    and fleet transition dynamics during                     dynamic budget-setting methodology. In
                                                 retirements—leading
                                                 retirements-leading to lower dynamic                         this period. The need and reasoning for                  this manner, the stringency of the
                                                 budgets—is much lower than typical for
                                                 budgets-is                                                   the limited-period preset budget floor is                program will be secured and sustained
                                                 this time horizon. This makes EPA's
                                                                                  EPA’s                       further discussed in section VI.B.4.                     in the dynamic budgets of this program,
                                                 balanced use of preset emissions                               For control periods in 2030 and                        regardless of whatever EGU transition
                                                 budgets or dynamic budgets if they                           thereafter, the emissions budgets will be                activities ultimately occur in this 2026–
                                                                                                                                                                                                           2026-
                                                 exceed preset levels a reasonable                            the amounts calculated for each state                    2029 transition period.
                                                                                                              and noticed to the public roughly one
                                                  TABLE I.B–1—P
                                                  TABLE         RESET CSAPR NO
                                                        I.B-1-PRESET        NOx OZONE S
                                                                              X OZONE  EASON G
                                                                                      SEASON   ROUP 3 S
                                                                                              GROUP     TATE E
                                                                                                      STATE   MISSIONS B
                                                                                                             EMISSIONS  UDGETS ((TONS)
                                                                                                                       BUDGETS   TONS) FOR 2023 THROUGH
                                                                                                                                                THROUGH
                                                                                             CONTROL P
                                                                                        2029 CONTROL          *
                                                                                                       ERIODS *
                                                                                                     PERIODS

                                                                                        2023 State         2024 State            2025 State        2026 State         2027 State         2028 State          2029 State
                                                               State                      budget             budget                budget           budget **
                                                                                                                                                    budget**           budget **
                                                                                                                                                                       budget**           budget **
                                                                                                                                                                                          budget**            budget **
                                                                                                                                                                                                              budget**

                                                 Alabama .......................               6,379                 6,489              6,489               6,339               6,236            6,236               5,105
                                                 Arkansas ......................               8,927                 8,927              8,927               6,365               4,031            4,031               3,582
                                                 Illinois ...........................          7,474                 7,325              7,325               5,889               5,363            4,555               4,050
                                                 Indiana .........................            12,440                11,413             11,413               8,410               8,135            7,280               5,808
                                                 Kentucky ......................              13,601                12,999             12,472              10,190               7,908            7,837               7,392
                                                 Louisiana ......................              9,363                 9,363              9,107               6,370               3,792            3,792               3,639
                                                 Maryland ......................               1,206                 1,206              1,206                 842                 842              842                 842
                                                 Michigan .......................             10,727                10,275             10,275               6,743               5,691            5,691               4,656
                                                 Minnesota .....................               5,504                 4,058              4,058               4,058               2,905            2,905               2,578
                                                 Mississippi ....................              6,210                 5,058              5,037               3,484               2,084            1,752               1,752
                                                 Missouri ........................            12,598                11,116             11,116               9,248               7,329            7,329               7,329
                                                 Nevada .........................              2,368                 2,589              2,545               1,142               1,113            1,113                 880
                                                 New Jersey ..................                   773                   773                773                 773                 773              773                 773
                                                 New York .....................                3,912                 3,912              3,912               3,650               3,388            3,388               3,388
                                                 Ohio ..............................           9,110                 7,929              7,929               7,929               7,929            6,911               6,409
                                                 Oklahoma .....................               10,271                 9,384              9,376               6,631               3,917            3,917               3,917
                                                 Pennsylvania ................                 8,138                 8,138              8,138               7,512               7,158            7,158               4,828
                                                 Texas ...........................            40,134                40,134             38,542              31,123              23,009           21,623              20,635
                                                 Utah ..............................          15,755                15,917             15,917               6,258               2,593            2,593               2,593
                                                 Virginia .........................            3,143                 2,756              2,756               2,565               2,373            2,373               1,951
                                                 West Virginia ................               13,791                11,958             11,958              10,818               9,678            9,678               9,678
                                                 Wisconsin .....................               6,295                 6,295              5,988               4,990               3,416            3,416               3,416

                                                       Total ......................         208,119            198,014               195,259              151,329         119,663             115,193              105,201
                                                   * Further information on the state-level emissions budget calculations pertaining to Table I.B–1
                                                   *Further                                                                                   I.B-1 is provided in section VI.B.4 of this document
                                                 as well as the Ozone Transport Policy Analysis Final Rule TSD. Further information on the approach for allocating a portion of Utah’s
                                                                                                                                                                                   Utah's emissions
                                                 budget for each control period to the existing EGU in the Uintah and Ouray Reservation within Utah’s
                                                                                                                                                 Utah's borders is provided in section VI.B.9 of this
                                                 document.
                                                   ** As described in section VI of this document, the budget for these years will be subsequently determined and equal the greater of the value
                                                   **As
                                                 above or that derived from the dynamic budget methodology.


                                                    The budget-setting methodology that    provision. As already noted, for the        Unrestricted banking of allowances
                                                 the EPA will use to determine dynamic     control periods in which both preset        allows what might otherwise be
                                                 budgets for each control period starting  budgets and dynamic budgets are             temporary surpluses of allowances in
                                                 with 2026 is an extension of the          determined for a state (i.e., 2026 through some individual control periods to
                                                 methodology used to determine the         2029), the state's
                                                                                                       state’s dynamic budget will     accumulate into a long-term allowance
                                                 preset budgets and will be used                                               state’s surplus that reduces allowance prices
                                                                                           apply only if it is higher than the state's
                                                 routinely to determine emissions          preset budget. See section VI.B of this     and weakens the trading program’s
                                                                                                                                                                program's
                                                 budgets for each future control period in document for additional discussion of       incentives to control emissions. To
                                                                                                EPA’s method for adjusting
                                                 the year before that control period, with the EPA's                                   prevent this outcome, the EPA is also
                                                 each emissions budget reflecting the      emissions budgets to ensure elimination revising the Group 3 trading program by
                                                 latest available information on the       of significant contribution from EGU        adding provisions that establish a
                                                 composition and utilization of the EGU    sources in the linked upwind states.        routine recalibration process for banked
                                                 fleet at the time that emissions budget      In conjunction with the levels of the    allowances using a target percentage of
                                                 is determined. The stringency of the      emissions budgets, the carryover of         21 percent for the 2024–2029
                                                                                                                                                          2024-2029 control
                                                 dynamic emissions budgets will simply unused allowances for use in future             periods and 10.5 percent for control
                                                 reflect the stringency of the emissions   control periods as banked allowances        periods in 2030 and later years.
ddrumheller on DSK120RN23PROD with RULES2




                                                 control strategies selected in the        affects the ability of a trading program       As an enhancement to the structure of
                                                                                                             rule’s selected control
                                                 rulemaking more consistently over time to maintain the rule's                         the trading program originally
                                                 and ensure that the annual updates        stringency and related EGU effective        promulgated in the Revised CSAPR
                                                 would eliminate emissions determined      emissions rate performance level as the     Update, the EPA is also establishing
                                                 to be unlawful under the good neighbor EGU fleet evolves over time.                   backstop daily emissions rates for coal

                                                   22 Notices of Planned Participation for the ELG
                                                   22                                                         (85 FR 64708, 64679). For the CCR Action, facilities    had to indicate their future plans to cease receipt
                                                 Reconsideration Rule were due October 31, 2021                                                                       of waste by April 11, 2021 (85 FR 53517).



                                            VerDate Sep<11>2014        20:14 Jun 02, 2023   Jkt 259001   PO 00000    Frm 00011    Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM    05JNR2
                                                         USCA Case #23-1157                                          Document #2009836                                                Filed: 07/27/2023                                Page 50 of 430
                                                 36664
                                                 36664                        Federal Register / Vol. 88, No. 107/Monday,
                                                                                      Register/Vol.           107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                                    2023/Rules

                                                 steam EGUs greater than or equal to 100                                     compliance flexibility consistent with                                      compliance date for industrial sources.
                                                 MW in covered states. Starting with the                                     that determination. These trading                                           The EPA is therefore finalizing control
                                                 2024 control period, a 3-for-1 allowance                                    program improvements will promote                                           requirements for non-EGU sources that
                                                 surrender ratio (instead of the usual 1-                                    consistent emissions control                                                take effect in 2026. However, in
                                                 for-1 surrender ratio) will apply to                                        performance across the power sector in                                      recognition of comments and additional
                                                 emissions during the ozone season from                                      the linked upwind states, which                                             information indicating that not all
                                                 any large coal-fired EGU with existing                                      protects communities living in                                              facilities may be capable of meeting the
                                                 SCR controls exceeding by more than 50                                      downwind ozone nonattainment areas                                          control requirements by that time, the
                                                 tons a daily average NOx
                                                                      NOX emissions rate                                     from exceedances of the NAAQS that                                          final rule provides a process by which
                                                 of 0.14 lb/mmBtu. The daily average                                         might otherwise occur.                                                      the EPA may grant compliance
                                                 emissions rate provisions will apply to                                       The EPA is including enforceable                                          extensions of up to 1 year, which if
                                                 large coal-fired EGUs without existing                                      emissions control requirements that will                                    approved by the EPA, would require
                                                 SCR controls starting with the second                                       apply during the ozone season (annually                                     compliance no later than the 2027 ozone
                                                 control period in which newly installed                                     from May to September) for nine non-
                                                                                                                                                                                                         season, followed by an additional
                                                 SCR controls are operational at the unit,                                   EGU industries in the promulgated FIPsFlPs                                  possible extension of up to 2 more
                                                 but not later than the 2030 control                                         to achieve the required emissions
                                                                                                                                                                                                         years, where specific criteria are met.
                                                 period.                                                                     reductions in 20 states with remaining
                                                    The backstop daily emissions rates                                                                                                                   For sources located in the 20 states
                                                                                                                             interstate transport obligations for the
                                                 work in tandem with the ozone season                                        2015 ozone NAAQS in 2026: Arkansas,                                         listed in the previous paragraph, the
                                                 emissions budgets to ensure the                                                                                                                         EPA is finalizing the NOx
                                                                                                                                                                                                                                NOX emissions
                                                                                                                             California, Illinois, Indiana, Kentucky,
                                                 elimination of significant contribution                                     Louisiana, Maryland, Michigan,                                              limits listed in Table I.B–2
                                                                                                                                                                                                                                 I.B-2 for
                                                 as determined at Step 3 is maintained                                       Mississippi, Missouri, Nevada, New                                          reciprocating internal combustion
                                                 over time and more consistently                                             Jersey, New York, Ohio, Oklahoma,                                           engines in Pipeline Transportation of
                                                 throughout each ozone season. They                                          Pennsylvania, Texas, Utah, Virginia,                                                           NOX emissions limits
                                                                                                                                                                                                         Natural Gas; the NOx
                                                 will offer downwind receptor areas a                                        and West Virginia. These requirements                                       listed in Table I.B-3
                                                                                                                                                                                                                          I.B–3 for kilns in Cement
                                                 necessary measure of assurance that                                         would apply to all existing emissions                                       and Cement Product Manufacturing; the
                                                 they will be protected on a daily basis                                     units and to any future emissions units                                     NOX emissions limits listed in Table
                                                                                                                                                                                                         NOx
                                                 during the ozone season by more                                             constructed in the covered states that                                      I.B–4
                                                                                                                                                                                                         I.B-4 for reheat furnaces in Iron and
                                                 continuous and consistent operation of                                      meet the relevant applicability criteria.                                   Steel Mills and Ferroalloy
                                                 installed pollution controls. The EPA's
                                                                                     EPA’s                                   Thus, the emissions limitations for non-                                    Manufacturing; the NOxNOX emissions
                                                 experience with the CSAPR trading                                           EGU sources and associated compliance                                       limits listed in Table I.B–5
                                                                                                                                                                                                                                 I.B-5 for furnaces
                                                 programs has revealed instances where                                       requirements would apply in all 20                                          in Glass and Glass Product
                                                 EGUs have reduced their SCRs'
                                                                            SCRs’                                            states listed in this paragraph, even if                                    Manufacturing; the NOxNOX emissions
                                                 performance on a given day, or across                                       some of these states do not currently                                       limits listed in Table I.B–6
                                                                                                                                                                                                                                 I.B-6 for boilers in
                                                 the entire ozone seasons in some cases,                                     have any existing emissions units                                           Iron and Steel Mills and Ferroalloy
                                                 including high ozone days.   23 In addition
                                                                        days.23                                              meeting the applicability criteria for the                                  Manufacturing, Metal Ore Mining, Basic
                                                 to maintaining a mass-based seasonal                                        identified industries.                                                      Chemical Manufacturing, Petroleum and
                                                 requirement, this rule will achieve a                                         Based on our evaluation of the time                                       Coal Products Manufacturing, and Pulp,
                                                 much more consistent level of emissions                                     required to install controls at the types                                   Paper, and Paperboard Mills; and the
                                                 control in line with our Step 3                                             of non-EGU sources covered by this                                          NOX emissions limits listed in Table
                                                                                                                                                                                                         NOx
                                                 determination of significant                                                rule, the EPA has identified the 2026                                       I.B–7
                                                                                                                                                                                                         I.B-7 for combustors and incinerators in
                                                 contribution while maintaining                                              ozone season as a reasonable                                                Solid Waste Combustors or Incinerators.

                                                                  TABLE I.B–2—S
                                                                  TABLE         UMMARY OF NO
                                                                        I.B-2—SUMMARY         EMISSIONS L
                                                                                            X EMISSIONS
                                                                                          NOx           LIMITS     PIPELINE TRANSPORTATION
                                                                                                         IMITS FOR PIPELINE TRANSPORTATION OF NATURAL G
                                                                                                                                              NATURAL GAS
                                                                                                                                                       AS

                                                                                                                              Engine type and fuel                                                                                             NOx
                                                                                                                                                                                                                                               NOX emissions limit
                                                                                                                                                                                                                                                   (g/hp-hr)
                                                 Natural Gas Fired Four Stroke Rich Burn ...............................................................................................................................                                         1.0
                                                 Natural Gas Fired Four Stroke Lean Burn ..............................................................................................................................                                          1.5
                                                 Natural Gas Fired Two Stroke Lean Burn ...............................................................................................................................                                          3.0

                                                              TABLE I.B–3—S
                                                              TABLE         UMMARY OF NO
                                                                    I.B-3—SUMMARY       X E
                                                                                      NOx EMISSIONS LIMITS FOR K
                                                                                           MISSIONS LIMITS     KILN TYPES IN CEMENT
                                                                                                                ILN TYPES    CEMENT AND CONCRETE
                                                                                                                                        CONCRETE PRODUCT
                                                                                                                                                 PRODUCT
                                                                                                    M
                                                                                                    MANUFACTURING
                                                                                                      ANUFACTURING

                                                                                                                                       Kiln type                                                                                               NOx
                                                                                                                                                                                                                                               NOX emissions limit
                                                                                                                                                                                                                                                (lb/ton of clinker)
                                                 Long Wet .................................................................................................................................................................................                      4.0
                                                 Long Dry ..................................................................................................................................................................................                     3.0
                                                 Preheater .................................................................................................................................................................................                     3.8
ddrumheller on DSK120RN23PROD with RULES2




                                                 Precalciner ...............................................................................................................................................................................                     2.3
                                                 Preheater/Precalciner ..............................................................................................................................................................                            2.8




                                                  23 See 86 FR 23090. The EPA highlighted the
                                                  23                                                                         tripled its ozone-season NOx
                                                                                                                                                      NOX emission rate between
                                                 Miami Fort Unit 7 (possessing a SCR) more than                              2017 and 2019.



                                            VerDate Sep<11>2014         20:14 Jun 02, 2023         Jkt 259001       PO 00000        Frm 00012       Fmt 4701       Sfmt 4700       E:\FR\FM\05JNR2.SGM              05JNR2
                                                         USCA Case #23-1157                                           Document #2009836                                                  Filed: 07/27/2023                                Page 51 of 430
                                                                              Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                      Register/Vol.                                                                                                                                                            36665
                                                                                                                                                                                                                                                               36665

                                                    Based on evaluation of comments                                           proposed at 87 FR 20046 (see section
                                                 received, the EPA is not, at this time,                                      VII.C.2 of the April 6, 2022, Proposal).
                                                 finalizing the source cap limit as
                                                    TABLE I.B–4—S
                                                    TABLE         UMMARY OF NO
                                                          I.B-4—SUMMARY     NOx CONTROL REQUIREMENTS
                                                                              X CONTROL REQUIREMENTS FOR IRON
                                                                                                         IRON AND S
                                                                                                                  STEEL     FERROALLOY EMISSIONS
                                                                                                                   TEEL AND FERROALLOY EMISSIONS U
                                                                                                                                                 UNITS
                                                                                                                                                  NITS

                                                                                              Emissions unit                                                                                   NOx
                                                                                                                                                                                               NOX emissions standard or requirement
                                                                                                                                                                                                           (Ib/mmBtu)
                                                                                                                                                                                                           (lb/mmBtu)

                                                 Reheat furnace ......................................................................................... Test and set limit based on installation of Low-NOx
                                                                                                                                                                                                      Low-NOX Burners.


                                                          TABLE I.B–5—S
                                                          TABLE                   NOX EMISSIONS
                                                                        UMMARY OF NOx
                                                                I.B-5—SUMMARY         EMISSIONS LIMITS FOR F
                                                                                                LIMITS      URNACE U
                                                                                                           FURNACE UNIT TYPES IN G
                                                                                                                    NIT TYPES     LASS AND G
                                                                                                                                 GLASS     GLASS PRODUCT
                                                                                                                                            LASS PRODUCT
                                                                                                  M
                                                                                                  MANUFACTURING
                                                                                                    ANUFACTURING

                                                                                                                                Furnace type                                                                                                   NOx
                                                                                                                                                                                                                                               NOX emissions limit
                                                                                                                                                                                                                                           (lb/ton of glass produced)
                                                 Container Glass Manufacturing Furnace .....................................................................................................................                                                        4.0
                                                 Pressed/Blown Glass Manufacturing Furnace or Fiberglass Manufacturing Furnace ................................................                                                                                     4.0
                                                 Flat Glass Manufacturing Furnace ..............................................................................................................................                                                    7.0


                                                   TABLE I.B–6—S
                                                   TABLE                     NOX E
                                                                 UMMARY OF NOx
                                                         I.B-6—SUMMARY             MISSIONS L
                                                                                  EMISSIONS  IMITS FOR B
                                                                                            LIMITS     BOILERS    IRON AND STEEL
                                                                                                        OILERS IN IRON     STEEL AND FERROALLOY M
                                                                                                                                     FERROALLOY  ANUFAC-
                                                                                                                                                MANUFAC-
                                                      TURING, M
                                                      TURING, METAL  ORE M
                                                                ETAL ORE    INING, B
                                                                          MINING,  BASIC  CHEMICAL M
                                                                                     ASIC CHEMICAL    ANUFACTURING, PETROLEUM
                                                                                                    MANUFACTURING,   PETROLEUM AND COAL
                                                                                                                                     COAL PRODUCTS
                                                                                                                                          PRODUCTS M ANUFAC-
                                                                                                                                                    MANUFAC-
                                                      TURING, AND PULP,
                                                      TURING,     PULP, PAPER,
                                                                        PAPER, AND PAPERBOARD
                                                                                    PAPERBOARD MILLS
                                                                                                 MILLS

                                                                                                                                         Unit type                                                                                                    Emissions limit
                                                                                                                                                                                                                                                    (lbs NOx/mmBtu)
                                                                                                                                                                                                                                                         NOX/mmBtu)

                                                 Coal ..........................................................................................................................................................................................                   0.20
                                                 Residual oil ..............................................................................................................................................................................                       0.20
                                                 Distillate oil ...............................................................................................................................................................................                    0.12
                                                 Natural gas ..............................................................................................................................................................................                        0.08

                                                             TABLE I.B–7—S
                                                             TABLE                    NOX EMISSIONS
                                                                            UMMARY OF NOx
                                                                   I.13-7—SUMMARY         EMISSIONS L
                                                                                                    LIMITS     COMBUSTORS AND INCINERATORS
                                                                                                     IMITS FOR COMBUSTORS     INCINERATORS IN S
                                                                                                                                              SOLID WASTE
                                                                                                                                               OLID WASTE
                                                                                             COMBUSTORS OR INCINERATORS
                                                                                             COMBUSTORS      INCINERATORS

                                                                                                              Combustor or incinerator, averaging period                                                                                           NOx
                                                                                                                                                                                                                                                   NOX emissions limit
                                                                                                                                                                                                                                                       (ppmvd)
                                                 ppmvd on a 24-hour block averaging period ..........................................................................................................................                                              110
                                                 ppmvd on a 30-day rolling averaging period ...........................................................................................................................                                            105


                                                    Section VI.0
                                                             VI.C of this document                                            modeling platform and emissions                                               Section IX of this document provides a
                                                 provides an overview of the                                                  inventories used in the rule, as well as                                      summary of changes to the existing
                                                 applicability criteria, compliance                                               EPA’s methods for identifying
                                                                                                                              the EPA's                                                                     regulatory text applicable to the EGUs
                                                                                    EPA’s
                                                 assurance requirements, and the EPA's                                        downwind air quality problems and                                             covered by this rule; and section X of
                                                 rationale for establishing these                                                      states’ ozone transport
                                                                                                                              upwind states'                                                                this document discusses the statutory
                                                 emissions limits and control                                                 contributions to downwind states.                                             and executive orders affecting this
                                                 requirements for each of the non-EGU                                         Section V of this document describes                                          rulemaking.
                                                 industries covered by the rule.                                                  EPA’s approach to quantifying
                                                                                                                              the EPA's
                                                    The remainder of this preamble is                                                  states’ obligations in the form of
                                                                                                                              upwind states'                                                                C. Costs and Benefits
                                                 organized as follows: section II of this                                     EGU NOx
                                                                                                                                    NOX control stringencies and non-                                          A summary of the key results of the
                                                 document outlines general applicability                                      EGU emissions limits. Section VI of this                                      cost-benefit analysis that was prepared
                                                 criteria and describes the EPA's
                                                                             EPA’s legal                                      document describes key elements of the                                        for this final rule is presented in Table
                                                 authority for this rule and the                                              implementation schedule for EGU and                                           I.C–1. Table I.C–1
                                                                                                                                                                                                            I.C-1.        I.C-1 presents estimates of
                                                 relationship of the rule to previous                                         non-EGU emissions reductions                                                  the present values (PV) and equivalent
                                                 interstate ozone transport rulemakings.                                      requirements, including details                                               annualized values (EAV), calculated
                                                 Section III of this document describes                                       regarding the revised aspects of the                                          using discount rates of 3 and 7 percent
                                                 the human health and environmental                                           CSAPR NOxNOX Group 3 trading program                                          as recommended by OMB's OMB’s Circular A-
                                                                                                                                                                                                                                                   A–
                                                 challenges posed by interstate transport                                     and compliance deadlines, as well as                                          4, of the health and climate benefits,
                                                 contributions to ozone air quality                                                                                                                         compliance costs, and net benefits of the
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                                              regulatory requirements and compliance
                                                 problems, as well as the EPA's
                                                                            EPA’s overall                                     deadlines for non-EGU sources. Section                                        final rule, in 2016 dollars, discounted to
                                                 approach for addressing interstate                                           VII of this document discusses the                                            2023. The estimated monetized net
                                                 transport for the 2015 ozone NAAQS in                                        environmental justice analysis of the                                         benefits are the estimated monetized
                                                 this rule. Section IV of this document                                       rule, as well as outreach and                                                 benefits minus the estimated monetized
                                                 describes the Agency's
                                                                Agency’s analyses of air                                      engagement efforts. Section VIII of this                                      costs of the final rule. These results
                                                 quality data to inform this rulemaking,                                      document describes the expected costs,                                        present an incomplete overview of the
                                                 including descriptions of the air quality                                    benefits, and other impacts of this rule.                                     effects of the rule because important


                                            VerDate Sep<11>2014          20:14 Jun 02, 2023         Jkt 259001        PO 00000        Frm 00013        Fmt 4701       Sfmt 4700       E:\FR\FM\05JNR2.SGM               05JNR2
                                                        USCA Case #23-1157                                         Document #2009836                                               Filed: 07/27/2023                              Page 52 of 430
                                                 36666
                                                 36666                       Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                     Register/Vol.

                                                 categories of benefits—including                                          not monetized and are therefore not                                        effects into account would show the
                                                 benefits from reducing other types of air                                 reflected in the cost-benefit tables. We                                   rule to be more net beneficial than this
                                                 pollutants, and water pollution—were                                      anticipate that taking non-monetized                                       table reflects.
                                                  TABLE I.C-1—ESTIMATED
                                                  TABLE I.C–1—ESTIMATED M
                                                                        MONETIZED HEALTH AND CLIMATE
                                                                         ONETIZED HEALTH          CLIMATE B    ENEFITS, COMP
                                                                                                             BENEFITS,   COMPLIANCE    COSTS, AND N
                                                                                                                                LIANCE COSTS,     NET BENEFITS OF THE
                                                                                                                                                   ET BENEFITS
                                                                                     F
                                                                                     FINAL     RULE, 2023 THROUGH
                                                                                       INAL RULE,             THROUGH 2042
                                                                                        [Millions 2016$, discounted to 2023] aa

                                                                                                                                                                                                                              3% Discount             7% Discount
                                                                                                                                                                                                                                 rate                    rate

                                                 Present Value:
                                                     Health Benefits bb ...............................................................................................................................................             $200,000             $130,000
                                                     Climate Benefits c .............................................................................................................................................                 15,000               15,000
                                                     Compliance Costs dd ..........................................................................................................................................                   14,000                9,400
                                                     Net Benefits ......................................................................................................................................................             200,000              140,000
                                                 Equivalent Annualized Value:
                                                     Health Benefits .................................................................................................................................................                  13,000              12,000
                                                     Climate Benefits ...............................................................................................................................................                      970                 970
                                                     Compliance Costs ............................................................................................................................................                         910                 770
                                                     Net Benefits ......................................................................................................................................................                13,000              12,000
                                                    aa Rows may not appear to add correctly due to rounding.
                                                     bb The annualized present value of costs and benefits are calculated over a 20-year period from 2023 to 2042. Monetized benefits include those
                                                 related to public health associated with reductions in ozone and PM25   PM2.5 concentrations. The health benefits are associated with two point esti-
                                                 mates and are presented at real discount rates of 3 and 7 percent. Several categories of benefits remain unmonetized and are thus not reflected
                                                 in the table.
                                                      c Climate benefits are calculated using four different estimates of the social cost of carbon (SC-0O2
                                                                                                                                                    (SC–CO2 (model average at 2.5 percent, 3 percent,
                                                 and 5 percent discount rates; 95th percentile at 3 percent discount rate). For presentational purposes in this table, the climate benefits associ-
                                                 ated with the average SC-0O2
                                                                           SC–CO2 at a 3-percent discount rate are used in the columns displaying results of other costs and benefits that are dis-
                                                 counted at either a 3-percent or 7-percent discount rate.
                                                    d d The costs presented in this table are consistent with the costs presented in Chapter 4 of the Regulatory
                                                                                                                                                         Regulatory Impact
                                                                                                                                                                     Impact Analysis (RIA). To estimate
                                                 these annualized costs for EGUs, the EPA uses a conventional and widely accepted approach that applies a capital recovery factor (CRF) multi-
                                                 plier to capital investments and adds that to the annual incremental operating expenses. Costs were calculated using a 3.76 percent real dis-
                                                                                                IPM's objective function for cost-minimization. For further information on the discount rate use, please
                                                 count rate consistent with the rate used in IPM’s
                                                 see Chapter 4, Table 4-8 4–8 in the RIA.


                                                    As shown in Table I.C–1,
                                                                       I.C-1, the PV of                                    ($12,000 million). The PV of the                                           rate, the PV of the compliance costs is
                                                 the monetized health benefits,                                            monetized climate benefits, associated                                     estimated to be about $9.4 billion
                                                 associated with reductions in ozone and                                   with reductions in GHG emissions, of                                       ($9,400 million), with an EAV of about
                                                 PM2.5 concentrations, of this final rule,
                                                 PM2.5                                                                     this final rule, discounted at a 3-percent                                 $770 million.
                                                 discounted at a 3-percent discount rate,                                  discount rate, is estimated to be about
                                                 is estimated to be about $200 billion                                     $15 billion ($15,000 million), with an                                     II. General Information
                                                                                                                                                                                                      H.
                                                 ($200,000 million), with an EAV of                                        EAV of about $970 million. The PV of                                       A. Does this action apply
                                                                                                                                                                                                                          apply to me?
                                                 about $13 billion ($13,000 million). At                                   the monetized compliance costs,
                                                 a 7-percent discount rate, the PV of the                                  discounted at a 3-percent rate, is                                           This rule affects EGU and non-EGU
                                                 monetized health benefits is estimated                                    estimated to be about $14 billion                                          sources, and regulates the groups
                                                 to be $130 billion ($130,000 million),                                    ($14,000 million), with an EAV of about                                    identified in Table II.A-1.
                                                                                                                                                                                                                          II.A–1.
                                                 with an EAV of about $12 billion                                          $910 million. At a 7-percent discount
                                                                                                                              TABLE II.A-1—REGULATED
                                                                                                                              TABLE II.A–1—REGULATED G
                                                                                                                                                     GROUPS
                                                                                                                                                      ROUPS

                                                                                                                                       Industry group                                                                                                   NAICS
                                                 Fossil fuel-fired electric power generation ...........................................................................................................................................                   221112
                                                 Pipeline Transportation of Natural Gas ...............................................................................................................................................                      4862
                                                 Metal Ore Mining .................................................................................................................................................................................          2122
                                                 Cement and Concrete Product Manufacturing ....................................................................................................................................                              3273
                                                 Iron and Steel Mills and Ferroalloy Manufacturing .............................................................................................................................                             3311
                                                 Glass and Glass Product Manufacturing .............................................................................................................................................                         3272
                                                 Basic Chemical Manufacturing ............................................................................................................................................................                   3251
                                                 Petroleum and Coal Products Manufacturing .....................................................................................................................................                             3241
                                                 Pulp, Paper, and Paperboard Mills .....................................................................................................................................................                     3221
                                                 Solid Waste Combustors and Incinerators ..........................................................................................................................................                        562213
ddrumheller on DSK120RN23PROD with RULES2




                                                   This table is not intended to be                                        listed in the table could also be                                          applicability of this rule to a particular
                                                 exhaustive, but rather provides a guide                                   regulated. To determine whether your                                       entity, consult the person listed in the
                                                 for readers regarding entities likely to be                               EGU entity is regulated by this rule, you                                  FOR FURTHER INFORMATION CONTACT
                                                 regulated by this rule. This table lists                                  should carefully examine the                                               section.
                                                 the types of entities that the EPA is now                                 applicability criteria found in 40 CFR
                                                 aware could potentially be regulated by                                   97.1004, which are unchanged in this
                                                 this rule. Other types of entities not                                    rule. If you have questions regarding the


                                            VerDate Sep<11>2014         20:14 Jun 02, 2023        Jkt 259001       PO 00000       Frm 00014       Fmt 4701       Sfmt 4700      E:\FR\FM\05JNR2.SGM             05JNR2
                                                       USCA Case #23-1157                           Document #2009836                              Filed: 07/27/2023                Page 53 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                                 36667
                                                                                                                                                                                                         36667

                                                 B. What action is the Agency
                                                                        Agency taking?                   for coal-fired steam sources with                     enforcement’’             NAAQS.24 The
                                                                                                                                                               enforcement" of such NAAQS.24
                                                    The EPA evaluated whether interstate                 existing SCRs, and in the second control              statute directly imposes on states the
                                                 ozone transport emissions from upwind                   period in which a new SCR operates,                   duty to make these SIP submissions,
                                                 states are significantly contributing to                but not later than 2030, for those                    and the requirement to make the
                                                 nonattainment, or interfering with
                                                 nonattainrnent,                                         currently without SCRs.                               submissions is not conditioned upon
                                                 maintenance, of the 2015 ozone NAAQS                       This rule establishes emissions                    the EPA taking any action other than
                                                 in any downwind state using the same                    limitations for non-EGU sources in 20                 promulgating a new or revised
                                                 4-step interstate transport framework                   states: Arkansas, California, Illinois,               NAAQS.25
                                                                                                                                                               NAAQS.25
                                                 that was developed in previous ozone                    Indiana, Kentucky, Louisiana,                            The EPA has historically referred to
                                                 transport rulemakings. The EPA finds                    Maryland, Michigan, Mississippi,                      SIP submissions made for the purpose
                                                 that emissions reductions are required                  Missouri, Nevada, New Jersey, New                     of satisfying the applicable requirements
                                                 from EGU and non-EGU sources in a                       York, Ohio, Oklahoma, Pennsylvania,                   of CAA sections 110(a)(1) and 110(a)(2)
                                                 total of 23 upwind states to eliminate                  Texas, Utah, Virginia, and West                          ‘‘infrastructure SIP’’
                                                                                                                                                               as "infrastructure            ‘‘iSIP’’
                                                                                                                                                                                    SIP" or "iSIP"
                                                 significant contribution to downwind                    Virginia. In these states, the EPA is                 submissions. CAA section 110(a)(1)
                                                 air quality problems for the 2015 ozone                 establishing control requirements for the             addresses the timing and general
                                                 standard under the interstate transport                 following unit types in non-EGU                       requirements for iSIP submissions, and
                                                 provision of the CAA. The EPA will                      industries: reciprocating internal                    CAA section 110(a)(2) provides more
                                                                     NOX emissions
                                                 ensure that these NOx                                   combustion engines in Pipeline                        details concerning the required content
                                                 reductions are achieved by issuing FIP                  Transportation of Natural Gas; kilns in               of these submissions.26
                                                                                                                                                                         submissions.26 It includes a list
                                                 requirements for 23 states: Alabama,                    Cement and Cement Product                             of specific elements that "[e]ach
                                                                                                                                                                                           ‘‘[e]ach such
                                                 Arkansas, California, Illinois, Indiana,                Manufacturing; reheat furnaces in Iron                plan’’        address.27
                                                                                                                                                               plan" must address.27
                                                 Kentucky, Louisiana, Maryland,                          and Steel Mills and Ferroalloy                           CAA section 110(c)(1) requires the
                                                 Michigan, Minnesota, Mississippi,                       Manufacturing; furnaces in Glass and                  Administrator to promulgate a FIP at
                                                 Missouri, Nevada, New Jersey, New                       Glass Product Manufacturing; boilers in               any time within 2 years after the
                                                 York, Ohio, Oklahoma, Pennsylvania,                     Iron and Steel Mills and Ferroalloy                   Administrator: (1) finds that a state has
                                                 Texas, Utah, Virginia, West Virginia,                   Manufacturing, Metal Ore Mining, Basic                failed to make a required SIP
                                                 and Wisconsin.                                          Chemical Manufacturing, Petroleum and                 submission; (2) finds a SIP submission
                                                    The EPA is revising the existing                     Coal Products Manufacturing, and Pulp,                to be incomplete pursuant to CAA
                                                 CSAPR Group 3 Trading Program to                        Paper, and Paperboard Mills; and                      section 110(k)(1)(C); or (3) disapproves
                                                 include additional states beginning in                  combustors and incinerators in Solid                  a SIP submission. This obligation
                                                 the 2023 ozone season. EGUs in three                    Waste Combustors and Incinerators. See                applies unless the state corrects the
                                                 states not currently covered by any                     Table II.A–1
                                                                                                                II.A-1 in this document for a list             deficiency through a SIP revision that
                                                 CSAPR trading program for seasonal                      of NAICS codes for each entity included               the Administrator approves before the
                                                 NOX emissions—Minnesota, Nevada,
                                                 NOx                                                     for regulation in this rule.                          FIP is promulgated.
                                                                                                                                                                       promulgated.28 28

                                                 and Utah—will be added to the CSAPR                        This rule reduces the transport of
                                                                                                                                                                  CAA section 110(a)(2)(D)(i)(I), also
                                                 Group 3 Trading Program under this                      ozone precursor emissions to downwind                 known as the "good
                                                                                                                                                                               ‘‘good neighbor"
                                                                                                                                                                                       neighbor’’
                                                 rule. EGUs in twelve states currently                   areas, which is protective of human                   provision, provides the primary basis
                                                 participating in the Group 3 Trading                    health and the environment because                    for this rule.29
                                                                                                                                                                        rule.29 It requires that each state
                                                 Program will remain in the program                      acute and chronic exposure to ozone are               SIP include provisions sufficient to
                                                 under this rule: Illinois, Indiana,                     both associated with negative health                  ‘‘prohibit[ ], consistent with the
                                                                                                                                                               "prohibit[
                                                 Kentucky, Louisiana, Maryland,                          impacts. Ozone exposure is also                       provisions of this subchapter, any
                                                 Michigan, New Jersey, New York, Ohio,                   associated with negative effects on                   source or other type of emissions
                                                 Pennsylvania, Virginia, and West                        ecosystems. Additional information on                 activity within the State from emitting
                                                 Virginia. EGUs in seven states                          the air quality issues addressed by this              any air pollutant in amounts which
                                                 (Alabama, Arkansas, Mississippi,                        rule are included in section III of this              will—(I) contribute significantly to
                                                 Missouri, Oklahoma, Texas, and                          document.                                             nonattainment in, or interfere with
                                                                                                                                                               nonattainrnent
                                                 Wisconsin) will transition from the                     C. What
                                                                                                            What is the Agency's
                                                                                                                         Agency’s legal authority
                                                                                                                                        authority              maintenance by, any other State with
                                                 CSAPR Group 2 Trading Program to the                    for taking this action?
                                                                                                         for                                                                    [NAAQS].’’ 30
                                                                                                                                                               respect to any [NAAQS]."      3° The EPA
                                                 CSAPR Group 3 Trading Program under                                                                           often refers to the emissions reduction
                                                 this rule beginning in the 2023 ozone                      The statutory authority for this rule is
                                                                                                         provided by the CAA as amended (42                    requirements under this provision as
                                                 season. The EPA is establishing control                                                                       ‘‘good neighbor obligations"
                                                                                                                                                               "good              obligations’’ and
                                                 stringency levels reflecting installation               U.S.C. 7401 et seq.). Specifically,
                                                                                                                                                               submissions addressing these
                                                 of state-of-the-art combustion controls                 sections 110 and 301 of the CAA
                                                                                                                                                               requirements as "good
                                                                                                                                                                                  ‘‘good neighbor SIPs."
                                                                                                                                                                                                      SIPs.’’
                                                 on certain covered EGU sources in                       provide the primary statutory
                                                 emissions budgets beginning in the 2024                 underpinnings for this rule. The most
                                                                                                                                                                 24 42 U.S.C. 7410(a)(1).
                                                                                                                                                                 24
                                                 ozone season. The EPA is establishing                   relevant portions of CAA section 110 are                25             EME Homer City
                                                                                                                                                                 25 See EPA v. EME          City Generation, L.P.,
                                                 control stringency levels reflecting                    subsections 110(a)(1), 110(a)(2)                      572 U.S. 489, 509–10
                                                                                                                                                                              509-10 (2014).
                                                 installation of new SCR or SNCR                         (including 110(a)(2)(D)(i)(I)) and                      26 42 U.S.C. 7410(a)(2).
                                                                                                                                                                 26

                                                 controls on certain covered EGU sources                 110(c)(1)).                                             27 The EPA’s
                                                                                                                                                                 27      EPA's general approach to infrastructure
                                                 in emissions budgets beginning in the                      CAA section 110(a)(1) provides that                SIP submissions is explained in greater detail in
                                                                                                         states must make SIP submissions                      individual notices acting or proposing to act on
ddrumheller on DSK120RN23PROD with RULES2




                                                 2026
                                                 2026 ozone season.                                                                                            state infrastructure SIP submissions and in
                                                    As a complement to the ozone season                  ‘‘within 3 years (or such shorter period
                                                                                                         "within                                               guidance. See, e.g., Memorandum from Stephen D.
                                                 emissions budgets, the EPA is also                      as the Administrator may prescribe)                   Page on Guidance on Infrastructure State
                                                 establishing a backstop daily emissions                 after the promulgation of a national                  Implementation Plan (SIP) Elements under Clean
                                                                                                         primary ambient air quality standard (or              Air Act Sections 110(a)(1) and 110(a)(2) (September
                                                 rate of 0.14 lb/mrnBtu
                                                              lb/mmBtu for coal-fired                                                                          13, 2013).
                                                 steam units greater than or equal to 100                any revision thereof),"
                                                                                                                       thereof),’’ and that these                28 42 U.S.C. 7410(c)(1).
                                                                                                                                                                 28

                                                 MW in covered states. The backstop                      SIP submissions are to provide for the                  29 42
                                                                                                                                                                 29 42 U.S.C. 7410(a)(2)(D)(i)(I).

                                                 emissions rate will first apply in 2024                 ‘‘implementation, maintenance, and
                                                                                                         "implementation,                                        30
                                                                                                                                                                 30 Id.



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00015   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                           Document #2009836                               Filed: 07/27/2023                     Page 54 of 430
                                                 36668                   Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                    Once the EPA promulgates a NAAQS,                    D. What
                                                                                                            What actions has the EPA previously
                                                                                                                                      previously                    PM
                                                                                                                                                                    PM2.5                      NAAQS.40
                                                                                                                                                                        2.5 and 1997 ozone NAAQS
                                                                                                                                                                                                         40 On

                                                 the EPA must designate areas as being                   issued to address regional ozone                           March 15, 2006, the EPA promulgated
                                                    ‘‘attainment’’ or "nonattainment"
                                                 in "attainment"        ‘‘nonattainment’’ of             transport?                                                 FIPs to implement the emissions
                                                                   ‘‘unclassifiable.’’ CAA
                                                 the NAAQS, or "unclassifiable."                                                                                    reductions required by CAIR.41
                                                                                                                                                                                                CAIR.41 CAIR
                                                                                                            The EPA has issued several previous
                                                 section 107(d).31
                                                          107(d).31 For ozone,                                                                                      was remanded to EPA by the D.C.
                                                                                                         rules interpreting and clarifying the
                                                 nonattainment is further split into five                                                                           Circuit in North Carolina v. EPA, 531
                                                                                                         requirements of CAA section                                F.3d 896 (D.C. Cir.), modified on reh'g,
                                                                                                                                                                                                           reh’g,
                                                 classifications based on the severity of                110(a)(2)(D)(i)(I) with respect to the
                                                 the violation—Marginal, Moderate,                                                                                  550 F.3d 1176 (D.C. Cir. 2008). For more
                                                                                                         regional transport of ozone. These rules,                  information on the legal issues
                                                 Serious, Severe, or Extreme. Higher                     and the associated court decisions
                                                 classifications provide states with                                                                                underlying CAIR and the D.C. Circuit's
                                                                                                                                                                                                        Circuit’s
                                                                                                         addressing these rules, summarized                         holding in North Carolina, refer to the
                                                 progressively more time to attain while                 here, provide important direction
                                                 imposing progressively more stringent                                                                              preamble of the CSAPR rule.42
                                                                                                                                                                                                rule.42
                                                                                                         regarding the requirements of CAA                            In 2011, the EPA promulgated CSAPR
                                                 control requirements. See CAA sections                  section 110(a)(2)(D)(i)(I).
                                                       182.32 In general, states with                                                                               to address the issues raised by the
                                                 181, 182.32                                                The "NOx
                                                                                                                  ‘‘NOX SIP Call,’’
                                                                                                                            Call," promulgated in                   remand of CAIR. CSAPR addressed the
                                                 nonattainment areas classified as                       1998, addressed the good neighbor                          two NAAQS at issue in CAIR and
                                                 Moderate or higher must submit plans                    provision for the 1979 1-hour ozone                        additionally addressed the good
                                                 to the EPA to bring these areas into                    NAAQS.37 The rule required 22 states
                                                                                                         NAAQS.37                                                   neighbor provision for the 2006 PM2.5 PM2.5
                                                 attainment according to the statutory                   and the District of Columbia to amend                      NAAQS.43 CSAPR required 28 states to
                                                                                                                                                                    NAAQS.43
                                                                            182.33 If an area
                                                 schedule. CAA section 182.33                            their SIPs to reduce NOx
                                                                                                                               NOX emissions that                   reduce SO2
                                                                                                                                                                             SO2 emissions, annual NOx  NOX
                                                 fails to attain the NAAQS by the                        contribute to ozone nonattainment in                       emissions, or ozone season NOx   NOX
                                                 attainment date associated with its                     downwind states. The EPA set ozone                         emissions that significantly contribute
                                                 classification, it is "bumped
                                                                       ‘‘bumped up"up’’ to the           season NOxNOX budgets for each state, and                            states’ nonattainment or
                                                                                                                                                                    to other states'
                                                 next classification. CAA section                        the states were given the option to                        interfere with other states'
                                                                                                                                                                                            states’ abilities to
                                                 181(b).34
                                                 181(b).34                                               participate in a regional allowance                        maintain these air quality standards.44
                                                                                                                                                                                                   standards.44
                                                    Section 301(a)(1) of the CAA gives the               trading program, known as the NOx NOX                      To align implementation with the
                                                 Administrator the general authority to                  Budget Trading Program.38
                                                                                                                           Program.38 The D.C.                      applicable attainment deadlines, the
                                                 prescribe such regulations as are                       Circuit largely upheld the NOx
                                                                                                                                      NOX SIP Call                  EPA promulgated FIPs for each of the 28
                                                 necessary to carry out functions under                  in Michigan v. EPA, 213 F.3d 663 (D.C.                     states covered by CSAPR. The FIPs
                                                      Act.35 Pursuant to this section, the
                                                 the Act.35                                              Cir. 2000), cert. denied, 532 U.S. 904                     require EGUs in the covered states to
                                                 EPA has authority to clarify the                        (2001).                                                    participate in regional trading programs
                                                 applicability of CAA requirements and                      The EPA's
                                                                                                                  EPA’s next rule addressing the                    to achieve the necessary emissions
                                                 undertake other rulemaking action as                    good neighbor provision, CAIR, was                         reductions. Each state can submit a good
                                                 necessary to implement CAA                              promulgated in 2005 and addressed                          neighbor SIP at any time that, if
                                                 requirements. CAA section 301 affords                   both the 1997 fine particulate matter                      approved by EPA, would replace the
                                                 the Agency any additional authority that                (PM  2.5) NAAQS and 1997 ozone
                                                                                                         (PM2.5)                                                    CSAPR FIP for that state.
                                                                                                         NAAQS.39 CAIR required SIP revisions
                                                                                                         NAAQS.39                                                     CSAPR was the subject of an adverse
                                                 may be needed to make certain other
                                                                                                         in 28 states and the District of Columbia                  decision by the D.C. Circuit in August
                                                 changes to its regulations under 40 CFR
                                                                                                         to reduce emissions of sulfur dioxide                      2012.
                                                                                                                                                                    2012.4545 However, this decision was
                                                 parts 52, 75, 78, and 97, to effectuate the
                                                                                                         (SO 2) or NOx—important
                                                                                                         (SO2)      NOX—important precursors of                     reversed in April 2014 by the Supreme
                                                 purposes of the Act. Such changes are                                                                              Court, which largely upheld the rule,
                                                 discussed in section IX of this                         regionally transported PM2.5
                                                                                                                                   PM2.5 (SO2
                                                                                                                                         (SO2 and
                                                                                                                   NOX) and ozone (summer-time
                                                                                                         annual NOx)                                                                EPA’s approach to
                                                                                                                                                                    including the EPA's
                                                 document.                                                                                                          addressing interstate transport in
                                                                                                         NOX). As in the NOx
                                                                                                         NOx).             NOX SIP Call, states
                                                    Tribes are not required to submit state              were given the option to participate in                    CSAPR. EPA v. EME  EME Homer City City
                                                 implementation plans. However, as                       regional trading programs to achieve the                   Generation, L.P., 572 U.S. 489 (2014)
                                                 explained in the EPA's
                                                                     EPA’s regulations                   reductions. When the EPA promulgated                       (EME Homer City     I). The rule was
                                                                                                                                                                                   City l).
                                                 outlining Tribal Clean Air Act authority,               the final CAIR in 2005, the EPA also                       remanded to the D.C. Circuit to consider
                                                 the EPA is authorized to promulgate                     issued findings that states nationwide                     claims not addressed by the Supreme
                                                 FIPs for Indian country as necessary or                 had failed to submit SIPs to address the                   Court. Id. In July 2015 the D.C. Circuit
                                                 appropriate to protect air quality if a                 requirements of CAA section
                                                 tribe does not submit, and obtain the                                                                                40 70
                                                                                                                                                                      40 70 FR 21147 (April 25, 2005).
                                                                                                         110(a)(2)(D)(i) with respect to the 1997
                                                                                                                                                                      41 71 FR 25328 (April 28, 2006).
                                                                                                                                                                      41
                                                 EPA’s approval of, an implementation
                                                 EPA's                                                                                                                42                         Plans: Interstate
                                                                                                                                                                      42 Federal Implementation Plans:
                                                 plan. See 40 CFR 49.11(a); see also CAA                    37 Finding of Significant Contribution and
                                                                                                            "Finding                                                Transport of of Fine Particulate Matter and Ozone and
                                                 section 301(d)(4).  36 In the proposed
                                                          301(d)(4).36                                   Rulemaking for Certain States in the Ozone                 Correction of SIP Approvals, 76 FR 48208, 48217
                                                 rule, the EPA proposed an "appropriate
                                                                                ‘‘appropriate            Transport Assessment Group Region for Purposes of          (August 8, 2011).
                                                 or necessary"
                                                    necessary’’ finding under CAA                        Reducing Regional Transport of Ozone, 63 FR                   43 76
                                                                                                                                                                          76 FR 48208.
                                                                                                         57356 (Oct. 27, 1998). As originally promulgated,            "44 CSAPR was revised by several rulemakings
                                                 section 301(d) and proposed tribal                           NOX SIP Call also addressed good neighbor
                                                                                                         the NOx                                                    after its initial promulgation to revise certain states'
                                                                                                                                                                                                                     states’
                                                 FIP(s) as necessary to implement the                    obligations under the 1997 8-hour ozone NAAQS,             budgets and to promulgate FIPs for five additional
                                                 relevant requirements. The EPA is                       but EPA subsequently stayed and later rescinded            states addressing the good neighbor obligation for
                                                                                                              rule’s provisions with respect to that standard.
                                                                                                         the rule's                                                 the 1997 ozone NAAQS. See 76 FR 80760
                                                 finalizing these determinations, as                     See 84 FR 8422 (March 8, 2019).                            (December 27, 2011); 77 FR 10324 (February 21,
                                                 further discussed in section III.C.2 of                       ‘‘Allowance Trading,"
                                                                                                            38 "Allowance     Trading,’’ sometimes referred to as   2012); 77 FR 34830 (June 12, 2012).
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                            36
                                                 this document.                                          ‘‘cap and trade,"
                                                                                                         "cap        trade,’’ is an approach to reducing               45 On August 21, 2012, the D.C. Circuit issued a
                                                                                                                                                                       45
                                                                                                         pollution that has been used successfully to protect       decision in EME Homer City City Generation, L.P. v.
                                                                                                         human health and the environment. The design               EPA, 696 F.3d 7 (D.C. Cir. 2012), vacating CSAPR.
                                                   31 42 U.S.C. 7407(d).
                                                   31
                                                                                                         elements of the EPA's
                                                                                                                            EPA’s most recent trading programs      The EPA sought review with the D.C. Circuit en
                                                   32 42 U.S.C. 7511, 7511a.
                                                   32
                                                                                                         are discussed in section VI.B.1.a of this document.
                                                   33 42 U.S.C. 7511a.
                                                                                                                                                                    banc and the D.C. Circuit declined to consider the
                                                                                                            39 Rule To Reduce Interstate Transport of Fine          EPA’s appeal en banc. EME Homer City
                                                                                                            "Ride                                                   EPA's                                 City Generation,
                                                   34 42 U.S.C. 7511(b).
                                                   34
                                                                                                         Particulate Matter and Ozone (Clean Air Interstate                            11–1302 (D.C. Cir. January 24,
                                                                                                                                                                    L.P. v. EPA, No. 11-1302
                                                   35 42 U.S.C. 7601(a)(1).
                                                                                                         Rule); Revisions to Acid Rain Program;
                                                                                                         Rule);                            Program; Revisions to    2013), ECF No. 1417012 (denying EPA'sEPA’s motion for
                                                   36 42
                                                      42 U.S.C. 7601(d)(4).                                   NOX SIP Call, 70 FR 25162 (May 12, 2005).
                                                                                                         the NOx                                                    rehearing en banc).



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00016   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM       05JNR2
                                                       USCA Case #23-1157                           Document #2009836                              Filed: 07/27/2023             Page 55 of 430
                                                                      Federal Register / Vol. 88, No. 107/Monday,
                                                                                                      107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules                                                             36669
                                                                                                                                                                                                   36669

                                                                           EPA’s
                                                 generally affirmed the EPA's                            NOX were required with respect to the
                                                                                                         NOx                                                   with the 2021 ozone season. Based on
                                                 interpretation of various statutory                     2008 ozone NAAQS for 20 of the 22                         EPA’s assessment of remaining air
                                                                                                                                                               the EPA's
                                                 provisions and the EPA's
                                                                       EPA’s technical                   eastern states covered by the CSAPR                   quality issues and additional emissions
                                                 decisions. EME Homer City  City Generation,             Update.
                                                                                                         Update.50 50                                          control strategies for EGUs and
                                                 L.P. v. EPA, 795 F.3d 118 (2015) (EME                     The CSAPR Update and the CSAPR                      emissions sources in other industry
                                                 Homer City
                                                          City II). However, the court                   Close-Out were both subject to legal                  sectors (non-EGUs), the EPA determined
                                                 remanded the rule without vacatur for                   challenges in the D.C. Circuit.                                 NOX emissions reductions
                                                                                                                                                               that the NOx
                                                 reconsideration of the EPA's
                                                                           EPA’s emissions               Wisconsin v. EPA, 938 F.3d 303 (D.C.                  achieved by the Revised CSAPR Update
                                                 budgets for certain states, which the                   Cir. 2019) (Wisconsin); New
                                                                                                                                  New York v.                  fully eliminated these states'
                                                                                                                                                                                        states’ significant
                                                 court found may have over-controlled                    EPA, 781 Fed. App'x
                                                                                                                          App’x 4 (D.C. Cir. 2019)             contributions to downwind air quality
                                                        states’ emissions with respect to
                                                 those states'                                           (New York). In September 2019, the D.C.
                                                                                                         (New                                                  problems for the 2008 ozone NAAQS.
                                                 the downwind air quality problems to                    Circuit upheld the CSAPR Update in                    As under the CSAPR and the CSAPR
                                                                                        129–
                                                 which the states were linked. Id. at 129-               virtually all respects but remanded the               Update, each state can submit a good
                                                 30, 138. For more information on the                    rule because it was partial in nature and             neighbor SIP at any time that, if
                                                 legal issues associated with CSAPR and                  did not fully eliminate upwind states'
                                                                                                                                            states’            approved by the EPA, would replace the
                                                 the Supreme Court's
                                                                 Court’s and D.C. Circuit's
                                                                                   Circuit’s             significant contribution to                           Revised CSAPR Update FIP for that
                                                 decisions in the EMEEME Homer City
                                                                                  City                   nonattainment or interference with                    state.
                                                 litigation, refer to the preamble of the                maintenance of the 2008 ozone NAAQS                     On March 3, 2023, the D.C. Circuit
                                                 CSAPR Update.
                                                          Update.46 46                                       ‘‘the relevant downwind attainment
                                                                                                         by "the                                               Court of Appeals denied the Midwest
                                                    In 2016, the EPA promulgated the                     deadlines’’
                                                                                                         deadlines" in the CAA. Wisconsin, 938                 Ozone Group's
                                                                                                                                                                        Group’s (MOG) petition for
                                                 CSAPR Update to address interstate                      F.3d at 313–15.
                                                                                                                  313-15. In October 2019, the                 review of the Revised CSAPR Update.
                                                 transport of ozone pollution with                       D.C. Circuit vacated the CSAPR Close-                 MOG v. EPA, No. 21–1146
                                                                                                                                                                                  21-1146 (D.C. Cir.
                                                 respect to the 2008 ozone NAAQS.47
                                                                               NAAQS.47                  Out on the same grounds that it                       March 3, 2023). The court noted that it
                                                 The final rule updated the CSAPR ozone                  remanded the CSAPR Update in                          has "exhaustively"
                                                                                                                                                                    ‘‘exhaustively’’ addressed the
                                                          NOX emissions budgets for 22
                                                 season NOx                                              Wisconsin, specifically because the                   interstate transport framework before,
                                                 states to achieve cost-effective and                    Close-Out rule did not address good                   citing relevant cases, and "incorporate
                                                                                                                                                                                            ‘‘incorporate
                                                 immediately feasible NOxNOX emissions                                             ‘‘the next
                                                                                                         neighbor obligations by "the                          them herein by reference."
                                                                                                                                                                                reference.’’ Slip Op. 1
                                                 reductions from EGUs within those                       applicable attainment date’’
                                                                                                                                 date" of                      n.1. In response to MOG's
                                                                                                                                                                                    MOG’s arguments,
                                                 states.48 The EPA aligned the analysis
                                                 states.48                                               downwind states. NewNew York, 781 Fed.                the court upheld the Agency's
                                                                                                                                                                                      Agency’s air
                                                 and implementation of the CSAPR                         App’x at 7.
                                                                                                         App'x         51
                                                                                                                     7.51                                      quality analysis. Id. at 10-11.
                                                                                                                                                                                        10–11. The court
                                                 Update with the 2017 ozone season to                      In response to the Wisconsin
                                                                                                                                Wisconsin remand               noted that in light of the statutory
                                                 assist downwind states with timely                      of the CSAPR Update and the New  New York             timing framework and court-ordered
                                                 attainment of the 2008 ozone NAAQS.49
                                                                                  NAAQS.49               vacatur of the CSAPR Close-Out, the                   schedule the EPA was under, the
                                                 The CSAPR Update implemented the                        EPA promulgated the Revised CSAPR                     Agency’s methodological choices were
                                                                                                                                                               Agency's
                                                 budgets through FIPs requiring sources                  Update on April 30, 2021.
                                                                                                                               2021.5252 The
                                                                                                                                                               reasonable and provided "an ‘‘an
                                                 to participate in a revised CSAPR NOx NOX               Revised CSAPR Update found that the                   appropriately reliable projection of air
                                                 ozone season trading program beginning                  CSAPR Update was a full remedy for                    quality conditions and contributions in
                                                 with the 2017 ozone season. As under                    nine of the covered states. For the 12                2021.’’       11–12.
                                                                                                                                                               2021." Id. at 11-12.
                                                 CSAPR, each state could submit a good                   remaining states, the EPA found that
                                                 neighbor SIP at any time that, if                       their projected 2021 ozone season NOx NOX              III. Air Quality Issues Addressed and
                                                 approved by the EPA, would replace the                  emissions would significantly                          Overall Rule Approach
                                                 CSAPR Update FIP for that state. The                    contribute to downwind states'
                                                                                                                                    states’                     A. The Interstate Ozone Transport Air
                                                 final CSAPR Update also addressed the                   nonattainment or maintenance                           Quality
                                                                                                                                                                Quality Challenge
                                                 remand by the D.C. Circuit of certain                   problems. The EPA issued new or
                                                 states’ CSAPR phase 2 ozone season
                                                 states'                                                 amended FIPs for these 12 states and                  1. Nature of Ozone and the Ozone
                                                 NOX emissions budgets in EME
                                                 NOx                           EME Homer                 required implementation of revised                    NAAQS
                                                 City
                                                 City II.                                                emissions budgets for EGUs beginning                    Ground-level ozone is not emitted
                                                    In December 2018, the EPA                                                                                 directly into the air but is created by
                                                 promulgated the CSAPR "Close-Out,"
                                                                             ‘‘Close-Out,’’                   Determination Regarding Good Neighbor
                                                                                                           50 Determination
                                                                                                                                                              chemical reactions between NOx NOX and
                                                 which determined that no further                        Obligations for the 2008 Ozone National Ambient
                                                                                                         Air Quality
                                                                                                              Quality Standard, 83 FR 65878, 65882            volatile organic compounds     (VOCs) in
                                                 enforceable reductions in emissions of                  (December 21, 2018). After promulgating the          the presence of sunlight. Emissions from
                                                                                                         CSAPR Update and before promulgating the CSAPR electric utilities and industrial facilities,
                                                   46 Cross-State Air Pollution Rule Update
                                                   46                                Update for the      Close-Out, the EPA approved a SIP from Kentucky
                                                 2008 Ozone NAAQS, 81 FR 74504, 74511 (October
                                                                                                                                                              motor vehicles, gasoline vapors, and
                                                                                                                        Commonwealth’s good neighbor
                                                                                                         resolving the Commonwealth's
                                                 26, 2016).                                              obligations for the 2008 ozone NAAQS. 83 FR          chemical solvents are some of the major
                                                   47 81 FR 74504.
                                                   47 81                                                 33730 (July 17, 2018). In the Revised CSAPR                     NOX and VOCs.
                                                                                                                                                              sources of NOx
                                                   45 One state, Kansas, was made newly subject to
                                                   48                                                    Update, the EPA made an error correction under          Because ground-level ozone formation
                                                               NOX requirements by the CSAPR
                                                 ozone season NOx                                        CAA section 110(k)(6) to convert this approval to    increases with temperature and
                                                 Update. All other CSAPR Update states were              a disapproval, because the Kentucky approval
                                                                                 NOX requirements
                                                 already subject to ozone season NOx                     relied on the same analysis which the D.C. Circuit   sunlight, ozone levels are generally
                                                 under CSAPR.                                            determined to be unlawful in the CSAPR Close-Out. higher during the summer months.
                                                   49 81 FR 74516. The EPA’s
                                                   42 81                EPA's final 2008 Ozone             51 Subsequently, the D.C. Circuit made clear in a
                                                                                                           51                                                 Increased temperature also increases
                                                 NAAQS SIP Requirements Rule, 80 FR 12264,               decision reviewing the EPA's
                                                                                                                                 EPA’s denial of a petition   emissions of volatile man-made and
ddrumheller on DSK120RN23PROD with RULES2




                                                 12268 (March 6, 2015), revised the attainment           under CAA section 126 that the holding in
                                                                                                         Wisconsin regarding alignment with downwind          biogenic organics and can also
                                                 deadline for ozone nonattainment areas designated
                                                 as Moderate to July 20, 2018. See 40 CFR 51.1103.       area’s attainment schedules applies with equal force indirectly increase NOx
                                                                                                         area's                                                                    NOX emissions (e.g.,
                                                 To demonstrate attainment by this deadline, states      to the Marginal area attainment date established     increased electricity generation for air
                                                 were required to rely on design values calculated       under CAA section 181(a). See Maryland v. EPA,       conditioning).
                                                 using ozone season data from 2015 through 2017,         958 F.3d 1185, 1203-04
                                                                                                                          1203–04 (D.C. Cir. 2020).
                                                 since the July 20, 2018, deadline did not afford          52 Revised Cross-State Air Pollution Rule Update
                                                                                                           52                                        Update
                                                                                                                                                                 On October 1, 2015, the EPA
                                                 enough time for measured data of the full 2018          for the 2008 Ozone NAAQS, 86 FR 23054 (April 30,     strengthened the primary and secondary
                                                 ozone season.                                           2021).                                               ozone standards to 70 ppb as an 8-hour


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00017   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                           Document #2009836                              Filed: 07/27/2023                    Page 56 of 430
                                                 36670
                                                 36670                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 level.53 Specifically, the standards
                                                 leve1.53                                                Adaptation in the United
                                                                                                                             United States:
                                                                                                                                     States: Fourth               important contributor to peak ozone
                                                 require that the 3-year average of the                  National Climate Assessment, Volume                      concentrations and high-ozone days
                                                 fourth highest 24-hour maximum 8-hour                   II 57 reinforced these findings. The
                                                                                                         7757                                                     during the summer ozone season.
                                                 average ozone concentration may not                     increase in ozone results from changes                      The EPA has previously concluded in
                                                 exceed 70 ppb as a truncated value (i.e.,               in local weather conditions, including                        NOX SIP Call, CAIR,
                                                                                                                                                                  the NOx             CA1R, CSAPR, the
                                                 digits to right of decimal removed).54
                                                                             removed).54 In              temperature and atmospheric                              CSAPR Update, and the Revised CSAPR
                                                 general, areas that exceed the ozone                    circulation patterns, as well as changes                 Update that a regional NOx
                                                                                                                                                                                           NOX control
                                                 standard are designated as                              in ozone precursor emissions that are                    strategy would be effective in reducing
                                                 nonattainment
                                                 nonattainrnent areas, pursuant to the                   influenced by meteorology (Nolte et al.,                 regional-scale transport of ozone
                                                 designations process under CAA section                  2018). While the projected impact may                                           NOX emissions can
                                                                                                                                                                  precursor emissions. NOx
                                                 107(d), and are subject to heightened                   not be uniform, climate change has the                   be transported downwind as NOx  NOX or as
                                                 planning requirements depending on                      potential to increase average                            ozone after transformation in the
                                                 the severity of their nonattainrnent
                                                                        nonattainment                    summertime ozone relative to a future                    atmosphere. In any given location,
                                                 classification, see CAA sections 181,                                     change.58
                                                                                                         without climate change    58 59
                                                                                                                                      59 6°
                                                                                                                                         60 Climate               ozone pollution levels are impacted by
                                                 182.                                                    change has the potential to offset some                  a combination of background ozone
                                                    In the process of setting the 2015                   of the improvements in ozone air                         concentration, local emissions, and
                                                 ozone NAAQS, the EPA noted that the                     quality, and therefore some of the                       emissions from upwind sources
                                                 conditions conducive to the formation                   improvements in public health, that are                  resulting from ozone transport, in
                                                 of ozone (i.e., seasonally-dependent                    expected from reductions in emissions                    conjunction with variable
                                                 factors such as ambient temperature,                    of ozone precursors (80 FR 65300). The                   meteorological conditions. Downwind
                                                 strength of solar insolation, and length                EPA responds to comments received on                     states’ ability to meet health-based air
                                                                                                                                                                  states'
                                                 of day) differ by location, and that the                the impacts of climate change on ozone                   quality standards such as the NAAQS is
                                                 Agency believes it is important that                    formation in section 11 of the Response                  challenged by the transport of ozone
                                                 ozone monitors operate during all                       to Comments (RTC) document.                              pollution across state borders. For
                                                 periods when there is a reasonable                                                                               example, ozone assessments conducted
                                                 possibility of ambient levels                           2. Ozone Transport                                       for the October 2015 Regulatory Impact
                                                 approaching the level of the NAAQS. At                     Studies have established that ozone                   Analysis of the Final Revisions to the
                                                 that time, the EPA stated that ambient                  formation, atmospheric residence, and                    National Ambient Air Quality Standards
                                                 ozone concentrations in many areas                      transport occur on a regional scale (i.e.,               for Ground-Level Ozone 62 62 continue to

                                                 could approach or exceed the level of                   thousands of kilometers) over much of                    show the importance of NOxNOX emissions
                                                 the NAAQS, more frequently and during                       U.S.61 While substantial progress
                                                                                                         the U.S.61                                               for ozone transport. This analysis is
                                                 more months of the year compared with                   has been made in reducing ozone in                       included in the docket for this
                                                 the historical ozone season monitoring                  many areas, the interstate transport of                  rulemaking.
                                                 lengths. Consequently, the EPA                          ozone precursor emissions remains an                        Further, studies have found that EGU
                                                 extended the ozone monitoring season                                                                             NOX emissions reductions can be
                                                                                                                                                                  NOx
                                                 for many locations. See 80 FR 65416 for                 Assessment. Crimmins, A., J. Balbus, J.L. Gamble,        effective in reducing individual 8-hour
                                                 more details.                                           C.B. Beard, J.E. Bell, D. Dodgen, R.J. Eisen, N. Fann,   peak ozone concentrations and in
                                                    Furthermore, the EPA stated that in                  M.D. Hawkins, S.C. Herring, L. Jantarasami, D.M.         reducing 8-hour peak ozone
                                                                                                         Mills, S. Saha, M.C. Sarofim, J. Trtanj, and L. Ziska,
                                                 addition to being affected by changing                  Eds. U.S. Global Change Research Program,                concentrations averaged across the
                                                 emissions, future ozone concentrations                  Washington, DC, 312 pp. https://dx.doi.org/              ozone season. For example, a study of
                                                 may also be affected by climate change.                 10.7930/J0R49NQX.
                                                                                                         10. 7930/JOR49NQX.                                       the EGU NOxNOX reductions achieved
                                                                            EPA’s Interim
                                                 Modeling studies in the EPA's                             57 USGCRP, 2018: Impacts, Risks, and Adaptation
                                                                                                           57 USGCRP,
                                                                                                                                                                  under the NOx
                                                                                                                                                                              NOX Budget Trading Program
                                                                                                         in the United  States: Fourth National Climate
                                                                                                                United States:
                                                 Assessment (U.S. EPA, 2009a) that are                   Assessment, Volume H   II [Reidmiller, D.R., C.W.
                                                                                                                                                                  (i.e., the NOx
                                                                                                                                                                             NOX SIP Call) shows that
                                                 cited in support of the 2009 Greenhouse                 Avery, D.R. Easterling, K.E. Kunkel, K.L.M. Lewis,       regulating NOx
                                                                                                                                                                              NOX emissions in that
                                                 Gas Endangerment Finding under CAA                      T.K. Maycock, and B.C. Stewart (eds.)]. U.S. Global      program was highly effective in
                                                 section 202(a) (74 FR 66496, Dec. 15,                   Change Research Program, Washington, DC, USA,            reducing ozone concentrations during
                                                                                                         1515 pp. doi: 10.7930/NCA4.2018.
                                                 2009) as well as a recent assessment of                                                                                      season.63
                                                                                                                                                                  the ozone season.63
                                                                                                           58 Fann NL, Nolte CG, Sarofim MC, Martinich J,
                                                                                                           56 Farm
                                                 potential climate change impacts (Fann                  Nassikas NJ. Associations Between Simulated                 Previous regional ozone transport
                                                 et al., 2015) project that climate change               Future Changes in Climate, Air Quality, and Human        efforts, including the NOx
                                                                                                                                                                                          NOX SIP Call,
                                                 may lead to future increases in summer                  Health. JAMA Netw Open. 2021;4(1):e2032064.              CAIR, CSAPR, the CSAPR Update, and
                                                                                                                                                                  CA1R,
                                                 ozone concentrations across the                         doi:10.1001/jamanetworkopen.2020.32064                   the Revised CSAPR Update, required
                                                                                                           59 Christopher G Nolte, Tanya L Spero, Jared H
                                                                                                           59
                                                 contiguous U.S.55
                                                              U.S.55 (80 FR 65300). The                                                                           ozone season NOxNOX reductions from EGU
                                                                                                         Bowden, Marcus C Sarofim, Jeremy Martinich,
                                                 U.S. Global Change Research Program's
                                                                                  Program’s              Megan S Mallard. Regional temperature-ozone              sources to address interstate transport of
                                                 Impacts of Climate Change on Human                      relationships across the U.S. under multiple climate     ozone. Together with NOx,
                                                                                                                                                                                          NOX, the EPA has
                                                 Health in the United    States: A Scientific
                                                                 United States:                          and emissions scenarios. J Air Waste Manag Assoc.        also identified VOCs as a precursor in
                                                                                                         2021 Oct;71(10):1251–1264.
                                                                                                               Oct;71(10):1251-1264. doi: 10.1080/
                                                 Assessment 56 56 and Impacts, Risks, and                                                                         forming ground-level ozone. Ozone
                                                                                                         10962247.2021.1970048.
                                                                                                              Nolte, C.G., P.D. Dolwick, N. Fann, L.W.
                                                                                                           60 Nolte,                                              formation chemistry can be "NOx-
                                                                                                                                                                                                ‘‘NOX-
                                                   53 80 FR 65291.
                                                   53 80                                                 Horowitz, V. Naik, R.W. Pinder, T.L. Spero, D.A.         limited,’’
                                                                                                                                                                  limited," where ozone production is
                                                   54 40
                                                   54 40 CFR part 50, appendix P.                        Winner, and L.H. Ziska, 2018: Air Quality. In            primarily determined by the amount of
                                                    55 These modeling studies are based on coupled
                                                    55                                                   Impacts, Risks, and Adaptation in the United States:     NOX emissions or "VOC-limited,"
                                                                                                                                                                  NOx                 ‘‘VOC-limited,’’
                                                 global climate and regional air quality models and      Fourth National Climate Assessment, Volume II
                                                 are designed to assess the sensitivity of U.S. air      [Reidmiller, D.R., C.W. Avery, D.R. Easterling, K.E.     where ozone production is primarily
ddrumheller on DSK120RN23PROD with RULES2




                                                 quality to climate change. A wide range of future       Kunkel, K.L.M. Lewis, T.K. Maycock, and B.C.
                                                 climate scenarios and future years have been            Stewart (eds.)]. U.S. Global Change Research                62 Available in the docket for the October 2015
                                                                                                                                                                    62

                                                 modeled and there can be variations in the expected                                             512–538. doi:
                                                                                                         Program, Washington, DC, USA, pp. 512-538.               Revisions to the National Ambient Air Quality
                                                 response in U.S. 03
                                                                   O3 by scenario and across models      10.7930/NCA4.2018.CH13                                   Standards for Ground-Level Ozone at https://
                                                 and years, within the overall signal of higher            61 Bergin, M.S. et al. (2007) Regional air quality:
                                                                                                           61                                                     www.regulations.gov/docket/EPA-HQ-OAR-2008-
                                                                                                                                                                  www.regulations.govIdocket/EPA-HQ-OAR-2008-
                                                 summer 03 O3 concentrations in a warmer climate.        Local and interstate impacts of NOx
                                                                                                                                          NOX and SO2SO2          0699.
                                                    56
                                                    56 U.S. Global Change Research Program               emissions on ozone and fine particulate matter in           63 Butler, et al., "Response
                                                                                                                                                                    63                  ‘‘Response of Ozone and Nitrate
                                                 (USGCRP), 2016: The Impacts of Climate Change on        the eastern United States. Environmental Sci &           to Stationary Source Reductions in the Eastern
                                                 Human Health in the United    States: A Scientific
                                                                       United States:                    Tech. 41: 4677-4689.
                                                                                                                     4677–4689.                                   USA.’’Atmospheric Environment, 2011.
                                                                                                                                                                  USA."Atmospheric



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00018   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM     05JNR2
                                                       USCA Case #23-1157                           Document #2009836                              Filed: 07/27/2023                Page 57 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                                36671
                                                                                                                                                                                                        36671

                                                 determined by the amount of VOC                         community composition. See EPA's EPA’s                 from 23 states to nonattainment or
                                                 emissions.64 The EPA and others have
                                                 emissions.64                                            October 2015 Regulatory Impact                         maintenance of the 2015 ozone NAAQS
                                                 long regarded NOx
                                                                 NOX to be the more                      Analysis of the Final Revisions to the                                                   CAA’s
                                                                                                                                                                to meet the requirements of the CAA's
                                                 significant ozone precursor in the                      National Ambient Air Quality Standards                 interstate transport provision. In this
                                                 context of interstate ozone transport.65
                                                                                        65               for Ground-Level Ozone 66  66 in the docket            rule, the EPA continues to observe that
                                                    The EPA has determined that the                      for this rulemaking for more information               requiring NOx
                                                                                                                                                                           NOX emissions reductions
                                                 regulation of VOCs as an ozone                          on the human health and ecosystem                      from stationary sources is an effective
                                                 precursor is not necessary to eliminate                 effects associated with ambient ozone                  strategy for reducing regional ozone
                                                 significant contribution of ozone                       exposure.                                              transport in the U.S.
                                                 transport to downwind areas in this                        Commenters on prior ozone transport                    The EPA responds to other comments
                                                 rule. As described in section V.A of this               rules have asserted that VOC emissions                 received on the health and
                                                 document, the EPA examined the                          harm underserved and overburdened                      environmental impacts of ozone
                                                 results of the contribution modeling                    communities experiencing                                                             RTC
                                                                                                                                                                exposure in section 11 of the RTC
                                                 performed for this rule to identify the                 disproportionate environmental health                  document.
                                                 portion of the ozone contribution                       burdens and facing other environmental
                                                                                                                                                                B. Final Rule Approach
                                                                                NOX
                                                 attributable to anthropogenic NOx                       injustices. The EPA acknowledges that
                                                 emissions versus VOC emissions from                     VOCs can contain toxic chemicals that                  1. The 4-Step Interstate Transport
                                                 each linked upwind state to each                        are detrimental to public health. The                  Framework
                                                 downwind receptor. Our analysis of the                  EPA conducted a demographic analysis                      The EPA first developed a multi-step
                                                 ozone contribution from upwind states                   as part of the regulatory impact analysis              process to address the requirements of
                                                 subject to regulation demonstrates that                 for the 2015 revisions to the primary                  the good neighbor provision in the 1998
                                                 regional ozone concentrations affecting                 and secondary ozone NAAQS. This                        NOX SIP Call and the 2005 CAIR.
                                                                                                                                                                NOx                           CA1R. The
                                                 the vast majority of the downwind areas                 analysis, which is included in the                     Agency built upon this framework and
                                                                            NOX-limited,
                                                 of air quality concern are NOx-limited,                 docket for this rulemaking, found                      further refined the methodology for
                                                 rather than VOC-limited. Therefore, the                 greater representation of minority                     addressing interstate transport
                                                 rule’s strategy for reducing regional-
                                                 rule's                                                  populations in areas with poor air                     obligations in subsequent rules such as
                                                 scale transport of ozone targets NOx
                                                                                  NOX                    quality relative to the revised ozone                  CSAPR in 2011, the CSAPR Update in
                                                 emissions from stationary sources to                    standard than in the U.S. as a whole.                  2016, and the Revised CSAPR Update in
                                                 achieve the most effective reductions of                The EPA concluded that populations in                  2021. 67 In CSAPR, the EPA first
                                                                                                                                                                2021.67
                                                 ozone transport over the geography of                   these areas would be expected to benefit                              ‘‘4-step framework"
                                                                                                                                                                articulated a "4-step   framework’’ within
                                                 the affected downwind areas. The                        from implementation of future air                      which to assess interstate transport
                                                 potential impacts of NOx
                                                                        NOX mitigation                   pollution control actions from state and               obligations for ozone. In this rule to
                                                 strategies from other sources are                       local air agencies in implementing the                 address interstate transport obligations
                                                 discussed in section V.B of this                        strengthened standard. This rule is an                 for the 2015 ozone NAAQS, the EPA is
                                                 document.                                               example of air pollution control actions               again utilizing the 4-step interstate
                                                    In section V of this document, the                   implemented by the Federal                             transport framework. These steps are:
                                                 EPA describes the multi-factor test that                Government in support of the more                      (1) identifying downwind receptors that
                                                 is used to determine NOx
                                                                        NOX emissions                    protective 2015 ozone NAAQS, and                       are expected to have problems attaining
                                                 reductions that are cost-effective and                  populations living in downwind ozone                   the NAAQS (nonattainment receptors)
                                                 reduce interstate transport of ground-                  nonattainment and maintenance areas                    or maintaining the NAAQS
                                                 level ozone. Our analysis indicates that                are expected to benefit from improved                  (maintenance receptors); (2)
                                                 the EGU and non-EGU control                             air quality that will result from reducing             determining which upwind states are
                                                 requirements included in this rule will                 ozone transport. Further discussion of                 ‘‘linked’’ to these identified downwind
                                                                                                                                                                "linked"
                                                 provide meaningful improvements in air                  the environmental justice analysis of                  receptors based on a numerical
                                                 quality at the downwind receptors.                      this rule is located in section VII of this            contribution threshold; (3) for states
                                                 Based on the implementation schedule                    document and in the accompanying                       linked to downwind air quality
                                                 established in section VI.A of this                     regulatory impact analysis, titled                     problems, identifying upwind emissions
                                                 document, the EPA finds that the                        ‘‘Regulatory Impact Analysis for Final
                                                                                                         "Regulatory                                            on a statewide basis that significantly
                                                 regulatory requirements included in the                 Federal Good Neighbor Plan Addressing                  contribute to downwind nonattainment
                                                 rule are as expeditious as practicable                  Regional Ozone Transport for the 2015                  or interfere with downwind
                                                 and are aligned with the attainment                     Ozone National Ambient Air Quality                     maintenance of the NAAQS,
                                                 schedule of downwind areas.                             Standard’’  [EPA–452/D–22–001], which
                                                                                                         Standard" [EPA-452/D-22-001],                          considering cost- and air quality-based
                                                 3. Health and Environmental Effects                     is available in the docket for this                    factors; and (4) for upwind states that
                                                                                                         rulemaking.                                            are found to have emissions that
                                                    Exposure to ambient ozone causes a                      The Agency regulates exposure to
                                                 variety of negative effects on human                                                                           significantly contribute to
                                                                                                         toxic pollutant concentrations and                     nonattainment or interfere with
                                                 health, vegetation, and ecosystems. In                  ambient exposure to criteria pollutants
                                                 humans, acute and chronic exposure to                                                                          maintenance of the NAAQS in any
                                                                                                         other than ozone through other sections                downwind state, implementing the
                                                 ozone is associated with premature                      of the Act, such as the regulation of
                                                 mortality and certain morbidity effects,                                                                       necessary emissions reductions through
                                                                                                         hazardous air pollutants under CAA                     enforceable measures.
                                                 such as asthma exacerbation. In                         section 112 or the process for revising
                                                 ecosystems, ozone exposure causes                                                                                 Comment:
                                                                                                                                                                   Comment: The EPA received
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                         and implementing the NAAQS under                                                    Agency’s use
                                                                                                                                                                comments supporting the Agency's
                                                 visible foliar injury, decreases plant                                  107–110. The purpose of
                                                                                                         CAA sections 107-110.
                                                 growth, and affects ecosystem                                                                                  of the 4-step interstate transport
                                                                                                         the subject rulemaking is to protect                   framework as a permissible method for
                                                                                                         public health and the environment by                   assigning the required amount of
                                                   64 ‘‘Ozone Air Pollution.’’
                                                   64 "Ozone      Pollution." Introduction to
                                                 Atmospheric Chemistry, by Daniel J. Jacob,              eliminating significant contribution
                                                 Princeton University Press, Princeton, New Jersey,                                                               67 See CSAPR, Final Rule, 76 FR 48208, 48248-
                                                                                                                                                                  67                                     48248–
                                                           231–244.
                                                 1999, pp. 231-244.                                        66 Available at https://www.epa.gov/sites/default/
                                                                                                           66 Available at https://www.epa.govIsitesIdefault/   48249 (August 8, 2011); CSAPR Update, Final Rule,
                                                   65 81 FR 74514.
                                                   66 81                                                 files/2016-02/documents/20151001ria.pdf.
                                                                                                         files/2016-02/documents/20151001ria.pdf                81 FR 74504, 74517–74521
                                                                                                                                                                             74517-74521 (October 26, 2016).



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00019   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                           Document #2009836                               Filed: 07/27/2023                    Page 58 of 430
                                                 36672
                                                 36672                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 emissions reductions necessary to                       for the EPA to allow time for states to                   2018 memorandum, which comprised
                                                                      states’ significant
                                                 eliminate upwind states'                                resubmit SIPs are further addressed in                    an unvetted list of external stakeholders'
                                                                                                                                                                                                      stakeholders’
                                                 contribution. Commenters also noted                     RTC sections 1.1 and 2.4.
                                                                                                         RTC                                                       ideas). And, although outside the scope
                                                 that the 4-step interstate transport                       With regard to the need for the EPA                    of this action, as the EPA has explained
                                                 framework was reviewed by the                           to develop and issue guidance in                          in disapproving states'
                                                                                                                                                                                        states’ SIP submittals,
                                                 Supreme Court in EPA vs. EME Homer                      addressing good neighbor obligations, in                  those submittals did not meet the terms
                                                 City
                                                 City Generation, 572 U.S. 489 (2014),                   EPA v. EME Homer City   City Generation,                  of the August 2018 or October 2018
                                                 and upheld. However, other                              L.P., the Supreme Court held that                         memoranda addressing contribution
                                                 commenters took exception to the                        ‘‘nothing in the statute places the EPA
                                                                                                         "nothing                                                  thresholds and maintenance receptors,
                                                 overall approach of this proposed                       under an obligation to provide specific                   respectively.
                                                 action. These commenters alleged that                   metrics to States before they undertake                      Commenters mistakenly view
                                                 the EPA is ignoring the "flexibility"
                                                                            ‘‘flexibility’’ in           to fulfill their good neighbor                            Attachment A to the March 2018
                                                 addressing good neighbor obligations                    obligations.’’ 69
                                                                                                         obligations."   69 While we have taken a                  memorandum as constituting agency
                                                 that it had purportedly suggested to                    different approach in some prior                          guidance. This memorandum was
                                                 states would be permissible in                          rulemakings by providing states with an                   primarily issued to share modeling
                                                 memoranda that the EPA issued in                        opportunity to submit a SIP after we                      results for 2023 that represented the best
                                                 2018. Commenters also raised concerns                                     states’ budgets (e.g., the
                                                                                                         quantified the states'                                    information available to the Agency as
                                                 that the air quality modeling (2016v2)                  NOX SIP Call and CAIR 70
                                                                                                         NOx                           ), the CAA
                                                                                                                                     70),                          of March 2018, while Attachment A
                                                 the EPA used to propose to disapprove                   does not require such an approach.                        then listed certain ideas from certain
                                                 SIP submittals and as the basis for the                    2018 Memoranda. As commenters                          stakeholders that the EPA said could be
                                                 proposed FIP was not available to states                point out, the EPA issued three                           further discussed among states and
                                                 at the time they made their submissions                 ‘‘memoranda’’ in 2018 to provide some
                                                                                                         "memoranda"                                               stakeholders. The EPA disagrees with
                                                 and that the changes in results at Steps                assistance to states in developing these                  commenters’
                                                                                                                                                                   commenters' characterization of the
                                                 1 and 2 from prior rounds of modeling                   SIP submittals.71
                                                                                                              submittals.71 Each memorandum                        EPA’s stance regarding these so-called
                                                                                                                                                                   EPA's
                                                 rendered the new modeling unreliable.                                           EPA’s action on SIP
                                                                                                         made clear that the EPA's                                 ‘‘flexibilities’’ listed (without analysis)
                                                                                                                                                                   "flexibilities"
                                                 Commenters also raised a number of                      submissions would be through a                            in Attachment A. The March 2018
                                                 arguments that the EPA should allow                     separate notice-and-comment                               memorandum provided, "While    ‘‘While the
                                                 states an additional opportunity to                     rulemaking process and that SIP                           information in this memorandum and
                                                 submit SIPs before promulgating a FIP,                  submissions seeking to rely on or take                    the associated air quality analysis data
                                                 advocated that the EPA should issue a                   advantage of any so-called                                could be used to inform the
                                                 ‘‘SIP call"
                                                 "SIP  call’’ under CAA section 110(k)(5),               ‘‘flexibilities’’ in these memoranda
                                                                                                         "flexibilities"                                           development of these SIPs, the
                                                 asked for the EPA to issue new or more                  would be carefully reviewed against the                   information is not a final determination
                                                 specific guidance, or otherwise                         relevant legal requirements and                           regarding states'
                                                                                                                                                                               states’ obligations under the
                                                 suggested that the EPA should defer                     technical information available to the                    good neighbor provision.’’
                                                                                                                                                                                      provision." The EPA
                                                 acting to promulgate a FIP at this time.                EPA at the time it would take such                        again affirms that the concepts listed in
                                                    Response: As an initial matter,                      rulemaking action. Further, certain                       Attachment A to the March 2018
                                                 comments regarding the EPA's EPA’s basis for            aspects of discussions in those                           memorandum require unique
                                                 disapproving SIPs are beyond the scope                  memoranda were specifically identified                    consideration, and these ideas do not
                                                         action.68 To the extent these
                                                 of this action.68                                       as not constituting agency guidance                       constitute agency guidance with respect
                                                 comments relate to the legal basis for                  (especially Attachment A to the March                     to transport obligations for the 2015
                                                 the EPA to promulgate a FIP, the EPA                                                                              ozone NAAQS. Attachment A to the
                                                 disagrees that it is acting in a manner                   69 572 U.S. 489, 510 (2014). "Nothing
                                                                                                           69                             ‘‘Nothing in the Act     March 2018 memorandum identified a
                                                 contrary to the memoranda it released in                differentiates the Good Neighbor Provision from the       ‘‘Preliminary List of Potential
                                                                                                                                                                   "Preliminary
                                                                                                         several other matters a State must address in its SIP.
                                                 2018 related to good neighbor                           Rather, the statute speaks without reservation: Once      Flexibilities’’
                                                                                                                                                                   Flexibilities" that could potentially
                                                 obligations for the 2015 ozone NAAQS.                   a NAAQS has been issued, a State ‘shall’
                                                                                                                                               `shall' propose     inform SIP development. However, the
                                                 Arguments that the EPA must or should                   a SIP within three years, § 7410(a)(1), and that SIP      EPA made clear in both the March 2018
                                                 allow states to re-submit SIP                           ‘shall’ include, among other components,
                                                                                                         'shall'                                                   memorandum 72     72 and in Attachment A
                                                                                                         provisions adequate to satisfy the Good Neighbor
                                                 submissions based on the most recent                    Provision, § 7410(a)(2).’’
                                                                                                                       7410(a)(2)." EPA v. EME Homer City  City    that the list of ideas was not endorsed
                                                 modeling information before the EPA                     Generation, L.P., 572 U.S. at 515.                                                        ‘‘comments
                                                                                                                                                                   by the Agency but rather "comments
                                                 promulgates a FIP ignore the plain                        70 For information on the NO
                                                                                                           "For                         NOx X SIP call see 63 FR   provided in various forums’’
                                                                                                                                                                                            forums" on which
                                                 language of the statute and relevant                    57356 (October 27, 1998). For information on CAIR                             ‘‘feedback from
                                                                                                                                                                   the EPA sought "feedback
                                                 caselaw. CAA section 110(c) authorizes                  see 70 FR 25162 (May 12, 2005).                           interested stakeholders."
                                                                                                                                                                                stakeholders.’’ 73 73 Further,
                                                                                                           71
                                                                                                            71 See Information on the Interstate Transport
                                                 the EPA to promulgate a FIP "at  ‘‘at any               State Implementation Plan Submissions for the             Attachment A stated, "EPA  ‘‘EPA is not at this
                                                 time within 2 years"
                                                                 years’’ of a SIP                        2015 Ozone National Ambient Air Quality                   time making any determination that the
                                                 disapproval. No provision of the Act                    Standards under Clean Air Act Section                     ideas discussed below are consistent
                                                 requires the EPA to give states an                      110(a)(2)(D)(i)(I) (March 27, 2018) (‘‘March
                                                                                                                                               ("March 2018        with the requirements of the CAA, nor
                                                                                                         memorandum’’); Analysis of Contribution
                                                                                                         memorandum");
                                                 additional opportunity to prepare a new                 Thresholds for Use in Clean Air Act Section               are we specifically recommending that
                                                 SIP submittal once the EPA has                          110(a)(2)(D)(i)(I) Interstate Transport State             states use these approaches."
                                                                                                                                                                                       approaches.’’ 74 74
                                                 proposed a FIP or proposed disapproval                  Implementation Plan Submissions for the 2015              Attachment A to the March 2018
                                                 of a SIP submittal. Comments regarding                  Ozone National Ambient Air Quality Standards,             memorandum, therefore, does not
                                                                                                         August 31, 2018) (‘‘August           memorandum’’);
                                                                                                                             ("August 2018 memorandum");
                                                 the timing of the EPA's
                                                                    EPA’s actions and calls              Considerations for Identifying Maintenance
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                         Receptors for Use in Clean Air Act Section
                                                                                                                                                                     72  ‘‘In addition, the memorandum is accompanied
                                                                                                                                                                      72 "In

                                                   66 We nonetheless further respond to comments
                                                   68 We nonetheless further respond to comments         110(a)(2)(D)(i)(I) Interstate Transport State             by Attachment A, which provides a preliminary list
                                                 regarding the timing and sequence of the EPA's
                                                                                             EPA’s SIP   Implementation Plan Submissions for the 2015              of potential flexibilities in analytical approaches for
                                                 and FIP actions, the relevance of judicial consent      Ozone National Ambient Air Quality Standards,             developing a good neighbor SIP that may warrant
                                                 decrees, the requests for a SIP call, and related       October 19, 2018 (‘‘October          memorandum’’).
                                                                                                                             ("October 2018 memorandum").          further discussion between EPA and states."
                                                                                                                                                                                                            states.’’ March
                                                 comments—to the extent any of these issues are          These are available in the docket or at https://          2018 memorandum at 1.
                                                 within scope of the present action—in Sections 1  1     www.epa.gov/airmarkets/memo-and-supplemental-
                                                                                                         www.epa.govlairmarkets/memo-and-supplemental-                73 March 2018 memorandum, Attachment A at
                                                                                                                                                                     73

                                                 and 2 of the RTC
                                                               RTC document located in the docket        information-regarding-interstate-transport-sips-          A–1.
                                                                                                                                                                   A-1.
                                                 for this action.                                        2015-ozone-naaqs.                                           74
                                                                                                                                                                      74 Id.



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00020   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM      05JNR2
                                                       USCA Case #23-1157                           Document #2009836                              Filed: 07/27/2023              Page 59 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                             36673
                                                                                                                                                                                                     36673

                                                 constitute agency guidance, but was                     stringent approach for identifying                    approach is particularly important in
                                                 intended to generate further discussion                 maintenance receptors for purposes of                 the context of interstate ozone transport,
                                                 around potential approaches to                          the 2015 ozone NAAQS. In fact, as                     which is a regional-scale pollution
                                                 addressing ozone transport among                        explained in section III.B.1.a and IV.D of            problem involving the collective
                                                 interested stakeholders. The EPA                        this document, the EPA has found in its               emissions of many smaller contributors.
                                                 emphasized in these memoranda that                      analysis for this final rule that, in                 Effective policy solutions to the problem
                                                 such alternative approaches must be                     general, recent measured data from                    of interstate ozone transport dating back
                                                 technically justified and appropriate in                regulatory ambient air quality ozone                         NOX SIP Call (63 FR 57356
                                                                                                                                                               to the NOx
                                                 light of the facts and circumstances of                 monitoring sites suggest that a number                (October 27, 1998)) have necessitated
                                                 each particular state's
                                                                   state’s submittal. To the             of receptors with elevated ozone levels               the application of a uniform framework
                                                 extent states sought to develop or rely                 will persist in 2023 even though our                  of policy judgments, and the EPA'sEPA’s
                                                 on one or more of these ideas in support                traditional methodology at Step 1 did                 framework applied here has been
                                                 of their SIP submissions, the EPA                       not identify these monitoring sites as                upheld as ensuring an "efficient
                                                                                                                                                                                         ‘‘efficient and
                                                 reviewed their technical and legal                      receptors in 2023. Thus, the EPA is not               equitable’’
                                                                                                                                                               equitable" approach. See EME Homer
                                                 justifications for doing so.75
                                                                            so.75                        acting inconsistently with that                       City
                                                                                                                                                               City Generation, LP v. EPA, 572 U.S.
                                                    Regarding the October 2018                           memorandum—the factual conditions                     489, 519 (2014).
                                                 memorandum, that document                               that would need to exist for the                         Updated
                                                                                                                                                                  Updated modeling. The EPA had
                                                 recognized that states may be able to                   suggested approaches of that                          originally provided 2023 modeling
                                                 demonstrate in their SIPs that                          memorandum to be applicable have not                  results in its March 2018 memorandum,
                                                 conditions exist that would justify                     been demonstrated as being applicable                 which used a 2011-based platform.
                                                 treating a monitoring site as not being a               or appropriate based on the relevant                  Many states used this modeling in
                                                 maintenance receptor despite results                    data.                                                 providing good neighbor SIP submittals
                                                 from our modeling methodology                              Regarding the August 2018                          for the 2015 ozone NAAQS. While our
                                                 identifying it as such a receptor. The                  memorandum, as discussed in section                   action on the SIP submittals is not
                                                 EPA explained that this demonstration                   IV.F.2 of this document, for purposes of              within scope of this action, commenters
                                                 could be appropriate under two                          Step 2 of our ozone transport evaluation              claim the use of new modeling or other
                                                 circumstances: (1) the site currently has               framework, we are applying a 1 percent                information not available to states at the
                                                 ‘‘clean data’’
                                                 "clean  data" indicating attainment of                  of NAAQS threshold rather than a 1 ppb                time they made their submittals renders
                                                 the 2015 ozone NAAQS based on                           threshold, as this memorandum had                     this action promulgating a FIP unlawful.
                                                 measured air quality concentrations, or                 suggested might be appropriate for                    Notwithstanding whether that is an
                                                 (2) the state believes there is a technical             states to apply as an alternative. The                accurate characterization of the EPA's
                                                                                                                                                                                                    EPA’s
                                                 reason to justify using a design value                  EPA is finalizing its proposed approach               basis for disapproving the SIPs, we note
                                                 from the baseline period that is lower                  of consistently using a 1 percent of the              that the court in Wisconsin rejected this
                                                 than the maximum design value based                     NAAQS contribution threshold at Step                  precise argument against the CSAPR
                                                 on monitored data during the same                       2 to evaluate whether states are linked               Update FIPs as a collateral attack on the
                                                 baseline period. To justify such an                     to downwind nonattainment and                         SIP disapprovals. 938 F.3d at 336 ("That
                                                                                                                                                                                                      (‘‘That
                                                 approach, the EPA anticipated that any                  maintenance concerns for purposes of                  is the hallmark of an improper collateral
                                                 such showing would be based on an                       this FIP.                                             attack. The true gravamen of the claim
                                                 analytical demonstration that (1)                          The approach of this FIP ensures both              lies in the agency's
                                                                                                                                                                            agency’s failure to timely act
                                                 meteorological conditions in the area of                national consistency across all states                upon the States’
                                                                                                                                                                          States' SIP submissions and,
                                                 the monitoring site were conducive to                   and consistency and continuity with our               relatedly, its reliance on data compiled
                                                 ozone formation during the period of                    prior interstate transport actions for                after the SIP action deadline. Both go
                                                 clean data or during the alternative base               other NAAQS. Further, in this action                  directly to the legitimacy of the SIP
                                                 period design value used for                            the EPA is promulgating FIPs under the                denials.’’).
                                                                                                                                                               denials.").
                                                 projections; (2) ozone concentrations                   authority of CAA section 110(c). In                      Nonetheless, we offer the following
                                                 have been trending downward at the                      doing so, the EPA has exercised its                   explanation of the evolution of the
                                                 site since 2011 (and ozone precursor                    discretion to determine how to define                 EPA’s understanding of projected air
                                                                                                                                                               EPA's
                                                 emissions of NOx
                                                                NOX and VOC have also                    and apply good neighbor obligations in                quality conditions and contributions in
                                                 decreased); and (3) emissions are                       place of the discretion states otherwise              2023 resulting from the iterative nature
                                                 expected to continue to decline in the                  would exercise (subject to the EPA's
                                                                                                                                          EPA’s                of our modeling efforts. These modeling
                                                 upwind and downwind states out to the                   approval as compliant with the Act). In               efforts are further addressed in section
                                                 attainment date of the receptor.                        general, the EPA is applying the 4-step               IV of this document. We acknowledge
                                                 Although this is beyond the scope of                    interstate transport framework it                     that to evaluate transport SIPs and
                                                 this action, the EPA explained in its                   devised over the course of its prior good             support our proposed FIP the EPA
                                                 final SIP disapproval action that no state              neighbor rulemakings, including                       reassessed receptors at Step 1 and states'
                                                                                                                                                                                                       states’
                                                 successfully demonstrated that one of                   applying a consistent definition of                   contribution levels at Step 2 through
                                                 these alternative approaches is justified.              nonattainment and maintenance-only                    additional modeling (2016v2) before
                                                 In this action, our analysis of the air                 receptors, and applying the 1 percent of              proposing this action and have
                                                 quality data and projections in section                 NAAQS threshold at Step 2. The basis                  reassessed again to inform the final
                                                 IV of this document indicate that trends                for these decisions is further explained              action (2016v3). At proposal, we relied
                                                 in historic measured data do not                        in sections IV.F.1 and IV.F.2 of the                  on CAMx Version 7.10 and the 2016v2
ddrumheller on DSK120RN23PROD with RULES2




                                                 necessarily support adopting a less                     document. These policy judgments                      emissions platform to make updated
                                                                                                         reflect consistency with relevant good                determinations regarding which
                                                    75             64423–64425 (Alabama); 87 FR
                                                    75 E.g., 87 FR 64423-64425                           neighbor case law and past agency                     receptors would likely exist in 2023 and
                                                 31453–31454
                                                 31453-31454 (California); 87 FR 9852-9854
                                                                                  9852–9854              practice implementing the good                        which states are projected to contribute
                                                                   9859–9860 (Indiana); 87 FR 9508,
                                                 (Illinois); 87 FR 9859-9860                             neighbor provision as reflected in the                above the contribution threshold to
                                                 9515 (Kentucky); 87 FR 9861–9862
                                                                          9861-9862 (Michigan); 87
                                                 FR 9869–9870
                                                      9869-9870 (Ohio); 87 FR 9798, 9818–9820
                                                                               9798,9818-9820
                                                                                                         original CSAPR, CSAPR Update,                         those receptors. As explained in the
                                                 (Oklahoma); 87 FR 31477–31481
                                                                      31477-31481 (Utah); 87 FR          Revised CSAPR Update, and related                     preamble of the EPA's
                                                                                                                                                                                  EPA’s proposed FIP and
                                                 9526–9527 (West Virginia).
                                                 9526-9527                                               rulemakings. Nationwide consistency in                further detailed in the "Air
                                                                                                                                                                                         ‘‘Air Quality


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00021   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                           Document #2009836                              Filed: 07/27/2023               Page 60 of 430
                                                 36674
                                                 36674                Federal Register / Vol. 88, No. 107/Monday,
                                                                                                      107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules

                                                 Modeling Technical Support Document                     emissions inventory information and                      The 2016-based meteorology and
                                                 for the Federal Implementation Plan                     other updates. It is reasonable for the               boundary conditions used in the
                                                 Addressing Regional Ozone Transport                     Agency to improve its understanding of                modeling have been available through
                                                 for the 2015 Ozone National Ambient                     a situation before taking final action,               the 2016v1 platform, which was used
                                                 Air Quality Standards Proposed                          and the Agency uses the best                          for the Revised CSAPR Update
                                                 Rulemaking’’ (Dec. 2021), hereinafter
                                                 Rulemaking"                                             information available to it in taking this            (proposed, 85 FR 68964; October 30,
                                                 referred to as Air Quality Modeling                     action.                                               2020). The updated emissions inventory
                                                 Proposed Rule TSD, and the "Technical
                                                                                ‘‘Technical                 Further, these modeling updates have               files used in the current modeling were
                                                 Support Document (TSD): Preparation                                                                           publicly released September 21, 2021,
                                                                                                         not uniformly resulted in new
                                                 of Emissions Inventories for the 2016v2                 linkages—the 2016v2 modeling, for
                                                                                                                                                               for stakeholder feedback, and have been
                                                 North American Emissions Modeling                                                                             available on our website since that
                                                                                                         instance, corroborated the proposed
                                                 Platform’’ (Dec. 2021), hereinafter
                                                 Platform"                                                                                                     time.77 The CAMx modeling software
                                                                                                                                                               time.77
                                                                                                         approval of Montana and supported
                                                 referred to as the 2016v2 Emissions                                                                           that the EPA used has likewise been
                                                                                                                        Colorado’s SIP in October of
                                                                                                         approval of Colorado's
                                                 Inventory TSD, both available in the                                                                          publicly available for over a year before
                                                                                                         2022.
                                                                                                         2022.76 76 Although some commenters
                                                 docket for this action (docket ID no.                                                                         this final rule was proposed on April 6,
                                                                                                         indicate that our modeling iterations
                                                 EPA–HQ–OAR–2021–0668), this
                                                 EPA—HQ—OAR-2021-0668),                                                                                        2022. CAMx version 7.10 was released
                                                 modeling built off of previous modeling                 have provided differing outcomes and                  by the model developer, Ramboll, in
                                                                                  EPA’s
                                                 iterations used to support the EPA's                    are therefore unreliable, this is not what            December 2020. On January 19, 2022,
                                                 action on interstate transport                          the overall record indicates. Rather, in              we released on our website and notified
                                                 obligations. The EPA periodically                       general, although the specifics of states'
                                                                                                                                             states’
                                                                                                                                                               a wide range of stakeholders of the
                                                 refines its modeling to ensure the results              linkages may have changed to some                     availability of both the modeling results
                                                 are as indicative as possible of air                    extent, our modeling on the whole has                 for 2023 and 2026 (including
                                                 quality in future years. This includes                  provided consistent outcomes regarding                contribution data) along with many key
                                                 making any necessary adjustments to                     which states are linked to downwind air               underlying input files.78
                                                                                                                                                                                    files.78
                                                 our modeling platform and updating our                  quality problems. For example, the                       By providing the 2016 meteorology
                                                 emissions inventories to reflect current                EPA’s modeling shows that most states
                                                                                                         EPA's                                                 and boundary conditions (used in the
                                                 information, including information                      that were linked to one or more                       2016v1 version) in fall of 2020, and by
                                                 submitted during public comments on                     receptors using the 2011-based platform               releasing updated emissions inventory
                                                 proposed actions.                                       (i.e., the March 2018 data release) are               information used in 2016v2 in
                                                    For this final rule, the EPA has                     also linked to one or more receptors                  September of 2021,
                                                                                                                                                                               2021,7979 we gave states and

                                                 evaluated a raft of technical information               using the newer 2016-based platform.                  other interested parties multiple
                                                 and critiques of its 2016v2 modeling                    Because the new platform uses different               opportunities prior to proposal of this
                                                 provided by commenters on this action                   meteorology (i.e., 2016 instead of 2011),             rule on April 6, 2022, to consider how
                                                 (as well as comments on the SIP actions)                it is not unexpected that an upwind                   our modeling updates could affect their
                                                 and has responded to those comments                     state would be linked to different                    status for purposes of evaluating
                                                 and incorporated updates into the                       receptors using 2011 versus 2016                      potential linkages for the 2015 ozone
                                                 version of the modeling used to support                 meteorology. In addition, although a                  NAAQS. In this final rule, we have
                                                 this final rule (2016v3). As explained in               state may be linked to a different set of             updated our modeling to 2016v3,
                                                 section IV.B of the document, in                        receptors, those receptors are within the             incorporating and reflecting the
                                                 response to additional information                      same areas that have historically had a               feedback and additional information we
                                                 provided by stakeholders following a                    persistent air quality problem. Only                  received through the multiple public
                                                 solicitation of feedback during the                     three upwind states included in the FIP               comment opportunities the EPA made
                                                 release of the 2016v2 emissions                         went from being unlinked to being                     available on the 2016v2 modeling.
                                                 inventory and during the comment                        linked in 2023 between the 2011-based                    The EPA's
                                                                                                                                                                       EPA’s development of and
                                                 periods on the proposed SIP actions, the                modeling provided in the March 2018                   reliance on newer modeling is
                                                 EPA has reviewed and revised its                        memorandum and the 2016v3-based                       reasonable and is simply another
                                                 2016v2 modeling platform and input                      modeling—Alabama, Minnesota, and                      iteration of the EPA's
                                                                                                                                                                                EPA’s longstanding
                                                 since the platform was made available                   Nevada.                                               scientific and technical work to improve
                                                 for comment. The new modeling                              Additionally, we disagree with                     our understanding of air quality issues
                                                 platform 2016v3 was developed from                      commenters who claim that the 2016v2                  and causes going back many decades.
                                                 this input, and the modeling results                    modeling results were sprung upon the                    Comment:
                                                                                                                                                                  Comment: Commenters asserted that
                                                 using platform 2016v3 are available                     states with the publication of the                    the EPA lacks authority under the good
                                                 with this action. See section IV of this                proposed SIP disapprovals. In fact,                   neighbor provision to do more than
                                                 document for further discussion. Thus,                  states had prior access to a series of data           establish state-wide emissions budgets,
                                                      EPA’s final rule is based on a
                                                 the EPA's                                               and modeling releases beginning as                    which states may then implement
                                                 comprehensive record of data and                        early as the publication of the 2016v1                through their own choice of emissions
                                                 technical evaluation, including the                     modeling with the proposed Revised
                                                                                                                                                               controls. The commenters claim that the
                                                 updated modeling information used at                                                                          EPA lacks authority to directly regulate
                                                                                                         CSAPR Update in October 2020. States
                                                 proposal (2016v2), the comments                         could have reviewed and used this
                                                                                                                                                               emissions sources under the good
                                                 received on that modeling, and the                                                                            neighbor provision, and they cite to case
                                                                                                         technical information to understand and
                                                 latest modeling used in this final rule                                                                       law that they view as establishing a
                                                                                                         track how the EPA's
                                                                                                                          EPA’s modeling updates
                                                                                                                                                               ‘‘federalism bar"
                                                                                                                                                                             bar’’ to direct Federal
ddrumheller on DSK120RN23PROD with RULES2




                                                 (2016v3).                                                                                                     "federalism
                                                                                                         were affecting the list of potential
                                                    The changes in projected outcomes at                                                                       regulation. Commenters assert that the
                                                                                                         receptors and linkages for the 2015
                                                 Steps 1 and 2 are a product of these                    ozone NAAQS in the 2023 analytic year.
                                                 changes; these updates between the data                                                                         77 See https://www.epa.gov/air-emissions-
                                                                                                                                                                 77     https://www.epa.govlair-emissions-
                                                 released in 2018 to now are an                                                                                modeling/2016v2-platform.
                                                                                                                                                                 76 See https://www.epa.gov/scram/
                                                                                                           76 87 FR 6095, 6097 at n. 15 (February 3, 2022)       78     https://www.epa.govIscram/
                                                 outgrowth of this iterative process,                      76 87
                                                                                                         (Montana proposal); 87 FR 27050, 27056 (May 6,        photochemical-modeling-applications.
                                                 including updating the platform from a                  2022) (Colorado, proposal), 87 FR 61249 (October        79 https://www.epa.gov/air-emissions-modeling/
                                                                                                                                                                 79 https://www.epa.govlair-emissions-modeling/
                                                 2011 to a 2016 base year, updates to the                11, 2022) (Colorado, final).                          2016v2-platform.
                                                                                                                                                               2016v2  platform.



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00022   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                           Document #2009836                              Filed: 07/27/2023             Page 61 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                            36675

                                                       ‘‘amounts’’ as used in the good
                                                 term "amounts"                                          pollution control regime demands.’’’)
                                                                                                                                      demands.'")                 Commenters’ position that the EPA
                                                                                                                                                                  Commenters'
                                                 neighbor provision prevents the agency                  (quoting Natural Resources Defense                    must provide similar flexibility to the
                                                 from establishing emissions limits at                   Council v. Browner, 57 F.3d 1122, 1124                states in this action (i.e., only provide a
                                                 individual sources, such as the non-                    (D.C. Cir. 1995)). Cf. District ofof                  general emissions reduction target and
                                                 EGU industrial units that the EPA                       Columbia v. Train, 521 F.2d 971 (D.C.                 leave to states how to meet that target)
                                                 proposed to regulate or implementing                    Cir. 1975), vacated sub nom. EPA v.                   is a non sequitur. The EPA is
                                                 ‘‘enhancements’’ in its mass-based
                                                 "enhancements"                                          Brown, 431 U.S. 99 (1977) (‘‘[W]here
                                                                                                                                         ("[W]here             implementing a FIP in this action and
                                                 emissions trading approach for EGUs as                  cooperation [from states] is not                      must directly implement the necessary
                                                 it had proposed. Commenters claim                       forthcoming, we believe that the                      emissions controls. The EPA is not
                                                 these aspects of the rule are an unlawful               recourse contemplated by the commerce                 empowered to require states to
                                                 or arbitrary and capricious departure                   clause is direct federal regulation of the            implement FIP mandates. Such an
                                                 from the EPA's
                                                           EPA’s prior transport                         offending activity . . . .").
                                                                                                                                    .’’).                      approach would conflict with
                                                 rulemakings, which they claim only set                     These same principles apply where                  constitutional anti-commandeering
                                                 mass-based emissions budgets as the                     the EPA must promulgate a FIP to                      principles, is not provided for in the
                                                 means to eliminate "significant
                                                                      ‘‘significant                      address good neighbor requirements                    Act, and would only constitute a partial
                                                 contribution.’’
                                                 contribution."                                          under CAA section 110(a)(2)(D)(i)(I).                 implementation of FIP obligations in
                                                    Response: To the extent these                        The EPA has promulgated a series of                   contravention of the holding in
                                                 comments challenge the EPA's
                                                                            EPA’s                        FIPs in the past to address the relevant              Wisconsin
                                                                                                                                                               Wisconsin v. EPA, 938 F.3d at 313–20.
                                                                                                                                                                                                  313-20.
                                                 disapproval of states'
                                                                 states’ 2015 ozone                      requirements for prior ozone and PM                      Commenters’ attempt to contrast the
                                                                                                                                                                  Commenters'
                                                 NAAQS good neighbor SIP submissions,                    NAAQS. See, e.g., CAIR FIP, 71 FR                     implementation of source-specific
                                                 they are out of scope of this action,                   25328 (April 28, 2006); CSAPR, 76 FR                  emissions limitations at industrial
                                                 which promulgates a FIP under the                       48208 (August 8, 2011); the CSAPR                     sources with the establishment of a
                                                 authority of CAA section 110(c)(1). To                  Update, 81 FR 74504 (October 26, 2016);               specific mass-based budget (as the EPA
                                                 the extent commenters assert that the                   and the Revised CSAPR Update, 86 FR                   has set for power plants in prior good
                                                 EPA does not have the authority to                      23054 (April 30, 2021). Courts have                   neighbor FIPs) is unavailing. CAA
                                                 directly implement source-specific                                    EPA’s exercise of this
                                                                                                         upheld the EPA's                                      section 110(c)(1) and 302(y) authorize
                                                 emissions control requirements or other                 authority. See EME Homer City    City                 the EPA in promulgating a FIP to
                                                 emissions control measures, means, or                   Generation v. EPA, 572 U.S. 489 (2014);               establish "enforceable
                                                                                                                                                                          ‘‘enforceable emission
                                                 techniques, including emissions trading                 Wisconsin v. EPA, 938 F.3d 303 (D.C.                  limitations’’
                                                                                                                                                               limitations" in addition to other types of
                                                 programs, in the exercise of that FIP                   Cir. 2019). Indeed, in EME Homer City,                control measures like mass-based
                                                 authority, the EPA disagrees. While the                 the U.S. Supreme Court held that the                  trading programs. Further, in this
                                                 courts have long recognized that the                    EPA is not obligated to provide                       action, the EPA has developed an
                                                 states have wide discretion in the design               guidance to states before acting on their             emissions control strategy that prohibits
                                                 of SIPs to attain and maintain the                      good neighbor submissions or give                          ‘‘amount’’ of pollution that
                                                                                                                                                               the "amount"
                                                 NAAQS, see, e.g., Union
                                                                     Union Electric Co v.                states a second chance at correcting the              significantly contributes to
                                                 EPA, 427 U.S. 246 (1976), when the EPA                  deficiencies before promulgating a FIP,               nonattainment
                                                                                                                                                               nonattainrnent and/or interferes with
                                                 promulgates a FIP to cure a defective                   and the EPA may promulgate a FIP at                   maintenance. We determine that
                                                 SIP, the Act, including the definition of               any time after finalizing its disapproval             amount, as we have in prior transport
                                                 a FIP in section 302(y), provides for the               of SIP submissions. 572 U.S. at 508–11.
                                                                                                                                               508-11.         actions, at Step 3 of the analysis, by
                                                 EPA to directly implement the Act'sAct’s                   The cases cited by commenters,                     applying a multifactor analysis that
                                                 requirements. The EPA is granted                        which they refer to as establishing the               includes considering cost and
                                                 authority to choose among a broad range                 Train-Virginia federalism bar, were not               downwind air quality effects. See
                                                    ‘‘emission limitations or other control
                                                 of "emission                                            reviewing the exercise of the EPA'sEPA’s              section V.A of this document. With the
                                                 measures, means, or techniques                          authority in promulgating a FIP under                 implementation of the selected controls
                                                 (including economic incentives, such as                 CAA section 110(c)(1) but rather were                 (at Step 4) through both an emissions
                                                 marketable permits or auctions of                       describing the scope of the EPA'sEPA’s                trading program for power plants and
                                                 emissions allowances) . . . ." .’’ CAA                  authority in acting on SIP submissions                source-specific emissions limitations for
                                                 section 302(y); see also CAA section                    under CAA section 110(k)(3) or in                     industrial sources, those "amounts"
                                                                                                                                                                                            ‘‘amounts’’ that
                                                 110(a)(2) (empowering states to                                    ‘‘SIP call’’
                                                                                                         issuing a "SIP   call" under section                  had been emitted prior to imposition of
                                                 implement an identical set of emissions                 110(k)(5). In those latter contexts, the              the controls will be eliminated.
                                                 control mechanisms).                                    courts have held that the EPA may not                    The Act does not mandate that the
                                                    The courts have also recognized that                 dictate the specific control measures                 EPA must set a specific mass-based
                                                 the EPA has broad authority to cure a                   states must implement to meet the Act's  Act’s        budget for each state to eliminate
                                                 defective SIP, that the EPA may exercise                requirements. See Virginia, 108 F.3d at               significant contribution based on the
                                                 its own, independent regulatory                         1409–10. In Michigan, the D.C. Circuit
                                                                                                         1409-10.                                              use of the term "amounts"
                                                                                                                                                                                 ‘‘amounts’’ in CAA
                                                 authority in implementing a FIP in                                    EPA’s exercise of CAA
                                                                                                         upheld the EPA's                                      section 110(a)(2)(D)(i). As the Supreme
                                                 accordance with the CAA, and that the                   section 110(k)(5) authority in issuing the            Court recognized, the statute "requires
                                                                                                                                                                                                ‘‘requires
                                                 EPA in effect steps into the shoes of a                 ‘‘NOX SIP Call,"
                                                                                                         "NOx         Call,’’ because, "EPA
                                                                                                                                       ‘‘EPA does not          States to eliminate those ‘amounts’
                                                                                                                                                                                            `amounts' of
                                                 state when it promulgates a FIP. See,                   tell the states how to achieve SIP                    pollution that ‘contribute
                                                                                                                                                                                `contribute significantly
                                                 e.g., Central Ariz. Water
                                                                     Water Conservation                  compliance. Rather, EPA looks to                         nonattainment’ in downwind States,"
                                                                                                                                                               to nonattainment'                    States,’’
                                                 Dist. v. EPA, 990 F.2d 1531 (9th Cir.                   section 110(a)(2)(D) and merely                       and it delegates to states or EPA acting
ddrumheller on DSK120RN23PROD with RULES2




                                                 1993); South Terminal Corp. v. EPA,                     provides the levels to be achieved by                 in their stead discretion to determine
                                                 504 F.2d 646 (1st Cir. 1974). Accord                    state-determined compliance                           how
                                                                                                                                                               how to apportion responsibility among
                                                 Virginia v. EPA, 108 F.3d 1397, 1406-
                                                                                     1406–               mechanisms. . . . However, EPA made                   those upwind states. 572 U.S. at 514
                                                 07 (D.C. Cir. 1997) ("The
                                                                     (‘‘The Federal Plan                 clear that states do not have to adopt the            (emphasis added). The statute does not
                                                 ‘provides
                                                 `provides an additional incentive for                   control scheme that EPA assumed for                   define the term "amount"
                                                                                                                                                                                  ‘‘amount’’ in the way
                                                 state compliance because it rescinds                    budget-setting purposes.’’
                                                                                                                           purposes." Michigan v.              commenters suggest (or in any other
                                                 state authority to make the many                        EPA, 213 F.3d 663, 687–88
                                                                                                                                 687-88 (D.C. Cir.             way), and neither the Agency nor any
                                                 sensitive and policy choices that a                     2000).                                                court has reached that conclusion. The


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00023   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                            Document #2009836                              Filed: 07/27/2023                  Page 62 of 430
                                                 36676
                                                 36676                 Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 Supreme Court itself has recognized that                  concentration-based standards. For                    ozone, identifies a uniform level of
                                                 the language of the good neighbor                         example, in CAA section 163(b),                       emissions reduction that the covered
                                                 provision is amenable to different types                  Congress provided that maximum                        sources in the linked upwind states can
                                                 of metrics for quantification of                          allowable increases in concentrations of              achieve that cost-effectively delivers
                                                 ‘‘significant contribution.’’
                                                 "significant   contribution." See EME                     certain pollutants "shall
                                                                                                                                ‘‘shall not exceed the           improvement in air quality at
                                                 Homer City
                                                          City Generation, L.P., 572 U.S. at               following amounts,"
                                                                                                                       amounts,’’ with a list of                 downwind receptors on a regional scale.
                                                 514 ("How
                                                      (‘‘How is EPA to divide                              allowable increases provided that are                 The "amount"
                                                                                                                                                                        ‘‘amount’’ of pollution that is
                                                 responsibility among the . . . States?                    expressed in micrograms per cubic                     identified for elimination at Step 3 of
                                                 Should the Agency allocate reductions                     meter.82 As a third example, in the 1990
                                                                                                           meter.82                                              the framework is therefore that amount
                                                 proportionally . . ., on a per capita                     CAA Amendments, Congress provided                     of emissions that is in excess of the
                                                 basis, on the basis of the cost of                        that ozone nonattainment areas                        emissions control strategies the EPA has
                                                 abatement, or by some other metric?                       classified as Serious must provide a                  deemed cost-effective. Contrary to
                                                 . . . The Good Neighbor Provision does                    reasonable further progress                           commenters’
                                                                                                                                                                 commenters' views, in prior transport
                                                 not answer that question for EPA.");EPA.’’); see          demonstration of reductions in VOC                    rules utilizing emissions trading, the
                                                 also Michigan v. EPA, 213 F.3d 663, 677                   emissions "equal
                                                                                                                       ‘‘equal to the following                  mass budgets through which the
                                                 D.C. Cir. 2000) (‘‘Nothing
                                                                    ("Nothing in the text of               amount,’’ which is then described as a
                                                                                                           amount,"                                              elimination of significant contribution
                                                 . . . the statute spells out a criterion for              percentage reduction from baseline                    was effectuated did not constitute the
                                                 classifying ‘emissions       activity’ as
                                                              `emissions activity'                         emissions. CAA section 182(c)(2)(B).                  ‘‘amounts’’ to be eliminated but rather
                                                                                                                                                                 "amounts"
                                                 ‘significant.’ ’’); id. at 677 ("Must
                                                 `significant.' ");               (‘‘Must EPA              These examples illustrate that the word               the residual emissions remaining
                                                 simply pick some flat ‘amount’
                                                                             `amount' of                   ‘‘amounts’’ is amenable to a variety of
                                                                                                           "amounts"                                             following the elimination of significant
                                                 contribution . . . ?").
                                                                       ?’’). When the State of             meanings depending on what is being                   contribution through the control
                                                 Delaware petitioned the Agency under                      measured or quantified. It would                      stringency selected based on our
                                                 CAA section 126(b) to establish daily                     therefore be highly unlikely that                     multifactor assessment at Step 3. Nor
                                                 emissions rates for EGUs to remedy                        Congress could have intended that                     did the EPA consider a mass-based
                                                 what it saw as continuing violations of                   ‘‘amount’’ as used in the good neighbor
                                                                                                           "amount"                                              budget to be the sole expression, even
                                                 the good neighbor provision for the                       provision must signify only a fixed mass              indirectly, of what constituted
                                                 2008 ozone NAAQS, neither the EPA                         budget of emissions for each state                    ‘‘significant contribution.’’
                                                                                                                                                                 "significant  contribution." See, e.g.,
                                                 nor the reviewing court questioned                        expressed as total tons per ozone                     CSAPR, 76 FR 48256–57
                                                                                                                                                                                   48256-57 (discussing the
                                                 whether the Agency had the statutory                      season.                                               evaluation of the control strategies that
                                                 authority to do so. The EPA's EPA’s decision                 Such an approach would, in fact, fail              would eliminate significant contribution
                                                 not to was upheld on record grounds.                      to address an important aspect of the                 for the 1997 ozone NAAQS, including
                                                 See Maryland v. EPA, 958 F.3d 1185,                       problem of interstate transport. As                   combustion controls, and explaining,
                                                 1207 D.C. Cir. 2020) ("In (‘‘In other words,              explained in sections III.B.1.d, V.D.4,               ‘‘[I]t would be inappropriate for a state
                                                                                                                                                                 "[I]t
                                                 Delaware’s concern makes sense but has
                                                 Delaware's                                                and VI.B.1, the EPA in this rule seeks to             linked to downwind nonattainment or
                                                 not been observed in practice.’’).
                                                                            practice.").8°80               better address the need for emissions                 maintenance areas to stop operating
                                                    The term "amounts"
                                                               ‘‘amounts’’ can be                          reductions on each day of the ozone                   existing pollution control equipment
                                                 interpreted to refer to any number of                     season, reflecting the daily, but                     (which would increase their emissions
                                                 metrics, and in fact the CAA uses the                     unpredictably recurring, nature of the                      contribution).’’).
                                                                                                                                                                 and contribution).").
                                                                                                           air pollution problem, short-term health                 In other actions the EPA has taken to
                                                 term in several contexts where it is clear
                                                                                                           impacts, and the form of the 2015 ozone               implement good neighbor obligations,
                                                 Congress did not intend the term to refer
                                                                                                           NAAQS, wherein nonattainment for                      the EPA has required or allowed for
                                                 to a fixed, mass-based quantity of
                                                                                                           downwind areas (and thus heightened                   reliance on source-specific emissions
                                                 emissions. For example, in the
                                                                                                           regulatory requirements) could be based               limitations rather than defining
                                                 definition of "lowest
                                                                 ‘‘lowest achievable
                                                                                                           on ozone exceedances on just a few days               significant contribution as a mass-based
                                                            rate’’ (LAER) in CAA section
                                                 emission rate"
                                                                                                           of the year. The expression of the                    budget. For example, the EPA imposed
                                                 171, the Act provides that the
                                                                                                           ‘‘amount’’ of pollution that should be
                                                                                                           "amount"                                              unit-specific emissions limitations in
                                                 application of LAER shall not permit a
                                                                                                           eliminated to address upwind states'
                                                                                                                                              states’            granting a CAA section 126(b) petition
                                                 proposed new or modified source to
                                                                                                           ‘‘significant contribution"
                                                                                                           "significant   contribution’’ to that type of         from the State of New Jersey in 2011.
                                                 emit any pollutant in excess of "the   ‘‘the
                                                                                                           air pollution problem may appropriately               Final Response to Petition From New
                                                 amount allowable under applicable new
                                                                                                           take into account those aspects of the                Jersey Regarding SO SO22 Emissions From
                                                 source standards of performance
                                                 [NSPS].’’ NSPS may be, and usually are,
                                                                                                           problem, and the EPA may                              the Portland Generating Station, 76 FR
                                                 [NSPS]."
                                                                                                           appropriately conclude, as we do here,                69052, 69063–64
                                                                                                                                                                           69063-64 (Nov. 7, 2011)
                                                 set as emissions standards or limitations
                                                                                                           that a single, fixed, emissions budget                (discussing the analytical basis for the
                                                 that are rate- or concentration-based.
                                                                                                           covering an entire ozone season is not                establishment of emissions limits at
                                                 See, e.g., 40 CFR part 60, subpart KKKK,
                                                                                                           sufficient to the task at hand.                       specific units). This action was upheld
                                                 table I (establishing concentration-based                    In this action, the EPA reasonably                 by the Third Circuit in Genon Rema LW   LLC
                                                 and rate-based emissions limits for                       applies the good neighbor provision,                  v. EPA, 722 F.3d 513, 526 (3d. Cir.
                                                 stationary combustion turbines).81
                                                                              turbines).81
                                                                                                           including the term "amount,"
                                                                                                                                  ‘‘amount,’’ through            2013).
                                                                                                                                                                 2013).83 83
                                                 Congress has elsewhere used the term
                                                                                                           the 4-step interstate transport
                                                 ‘‘amount’’ in the CAA to refer to
                                                 "amount"                                                  framework. Under this approach, the                      B3 In CAA section 126(c), Congress provided for
                                                                                                                                                                    83

                                                                                                           EPA here, as it has in prior transport                the EPA to directly impose "emission
                                                                                                                                                                                                ‘‘emission limitations’’
                                                                                                                                                                                                           limitations"
                                                           Agency’s view of the basis for backstop
                                                    80 The Agency's
                                                                                                                                                                 to eliminate prohibited significant contribution.
ddrumheller on DSK120RN23PROD with RULES2




                                                    8°
                                                 daily emissions rates for certain EGUs within the         rulemakings for regional pollutants like              Notably, the statute affords the EPA and states
                                                 trading program has changed since the time of its                                                               flexibility in how an "emissions
                                                                                                                                                                                       ‘‘emissions limitation’’
                                                                                                                                                                                                     limitation" may be
                                                             Delaware’s petition, as explained in
                                                 action on Delaware's                                         B2 Notably, both the provisions of CAA section
                                                                                                              82                                                 expressed, including as a "quantity,
                                                                                                                                                                                             ‘‘quantity, rate, or
                                                 section VI.B.                                             171 and section 163 given as examples here were       concentration,’’ see CAA section 302(k). It would
                                                                                                                                                                 concentration,"
                                                    B1 The EPA has interpreted the term "amount"
                                                    81                                    ‘‘amount’’ as    added by the CAA Amendments of 1977, in the           make little sense that the EPA could only establish
                                                 used in CAA section 111(a)(4) in the definition of        same set of amendments that Congress first                                          ‘‘amounts’’ under CAA
                                                                                                                                                                 a mass-based definition of "amounts"
                                                           ‘‘modifications’’ as an increase in a rate of
                                                 the term "modifications"                                  strengthened the good neighbor provision and          section 110(a)(2)(D)(i)(I), when the statute provides
                                                 emissions expressed as kilograms per hour. 40 CFR                          ‘‘amounts.’’ See Public Law 95–95,
                                                                                                           added the term "amounts."                    95-95,   for rate- or concentration-based limitations in CAA
                                                 60.14(b).                                                 91 Stat. 685, 693, 732, 746.                          section 126, which directly incorporates



                                            VerDate Sep<11>2014    20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00024   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                            Document #2009836                              Filed: 07/27/2023             Page 63 of 430
                                                                       Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                       36677
                                                                                                                                                                                                36677

                                                    Even where the EPA has provided for                    mechanisms that go beyond fixed, mass-      purposes of good neighbor analysis
                                                 implementation of good neighbor                           based, ozone-season long budgets.           under CAA section 110(a)(2)(D)(i)(I) to
                                                 requirements through mass-based                             The EPA's
                                                                                                                   EPA’s authority for its industrial  be a function of the requirement to
                                                 budgets, it has recognized that other                     source control strategies is further        prohibit emissions that interfere with
                                                 approaches may be acceptable as                           discussed in sections II.C. and III.B.1.c   maintenance of the NAAQS; even if our
                                                 providing an equivalent degree of                         of this document. The relationship of       transport modeling projects that an area
                                                 emissions reduction to eliminate                          the control strategy to the assessment of   may reach attainment in 2023, we have
                                                 significant contribution. See, e.g., NOxNOX               overcontrol is discussed in section         other information indicating that there
                                                 SIP Call, 63 FR 57378–79
                                                                   57378-79 (discussing                    V.D.4 of this document. The                 is an identified risk that attainment will
                                                 approvability of rate-based emissions                     relationship of our FIP authority to state  not in fact be achieved in 2023. The
                                                 limit approaches for implementing NOx    NOX              authorities and SIP calls under CAA         EPA’s analysis of these additional
                                                                                                                                                       EPA's
                                                 SIP Call and providing, "the‘‘the 2007                    section 110(k)(5) is further discussed in   receptors further is explained in section
                                                 overall budget is an important                            RTC sections 1 and 2.
                                                                                                           RTC                                         IV.D of this document.
                                                 accounting tool. However, the State is                    a. Step 1 Approach                             However, because we did not identify
                                                 not required to demonstrate that it has
                                                 limited its total NOx
                                                                    NOX emissions to the                      As proposed, the EPA applies the         this basis for receptor-identification at
                                                                                                           same basic method of the CSAPR              proposal, in this final action we are only
                                                 budget amounts. Thus, the overall
                                                                                                           Update and the Revised CSAPR Update         using this receptor category on a
                                                 budget amount is not an independently
                                                                                                           for identifying nonattainment and           confirmatory basis. That is, for states
                                                 enforceable requirement.’’);
                                                               requirement."); CAIR, 70 FR
                                                 25261–62
                                                 25261-62 (discussing ways states could                    maintenance receptors. However, we          that we find linked based on our
                                                 implement CAIR obligations, including                     received comments arguing that the          traditional modeling-based methodology
                                                 through emission-rate limitations, so                     outcome of applying our methodology         in 2023, we find in this final analysis
                                                                                                           to identify receptors in 2023 appears       that the linkage at Step 2 is strengthened
                                                 long as adequately demonstrated to
                                                 achieve comparable reductions to                          overly optimistic in light of current       and confirmed if that state is also linked
                                                 CAIR’s emissions budgets).
                                                                                                           measured data from the network of                               ‘‘violating monitor"
                                                                                                                                                       to one or more "violating         monitor’’
                                                 CAIR's
                                                                                                           ambient air quality monitors across the     receptors. If a state is only linked to a
                                                    Finally, as it has in its prior transport
                                                                                                           country. These commenters suggest that violating-monitor receptor in this final
                                                 FIP actions, the EPA has in this action                   the EPA give greater weight to current
                                                 provided guidance for states on methods                                                               analysis, we are deferring promulgating
                                                                                                           measured data as part of the method for a final FIP (and we have also deferred
                                                 by which they could replace this FIP                      identifying projected receptors. As
                                                 with SIPs,
                                                       Sips, and in so doing, continues to                                                             taking final action on that state'sstate’s SIP
                                                                                                           discussed further in section IV.D of this submittal). This is the case for the State
                                                 recognize substantial state flexibility in                document, the EPA has modified its
                                                 achieving an equivalent degree of                                                                     of Tennessee. Among the states that
                                                                                                           approach for identifying receptors for      previously had their transport SIPs     SlPs fully
                                                 emissions reduction that would                            this final rule in response to these
                                                 successfully eliminate significant                                                                    approved for the 2015 ozone NAAQS,
                                                                                                           comments.                                   the EPA has also identified a linkage to
                                                 contribution for the 2015 ozone                              This concern is more evident given
                                                 NAAQS. See section VI.D of this                                                                       violating-monitor receptors for the State
                                                                                                           that the 2023 ozone season is just a few    of Kansas. The EPA intends to further
                                                 document. While the EPA has exercised                     months away, and the most recent
                                                 the responsibility it has under CAA                                                                   review its air quality modeling results
                                                                                                           measured ozone values in many areas         and recent measured ozone levels, and
                                                 section 110(c)(1) to step into the shoes                  strongly suggest that these areas will not we intend to address these states'
                                                 of the covered states and directly                                                                                                        states’ good
                                                                                                           likely see the substantial reduction in
                                                 implement good neighbor requirements                                                                  neighbor obligations as expeditiously as
                                                                                                           ozone levels that the 2016v2 and 2016v3
                                                 through a particular set of regulatory                                                                practicable in a future action.
                                                                                                           modeling continue to project.
                                                 mechanisms in this action, we                                It would not be reasonable to ignore     b. Step 2 Approach
                                                 anticipate that states may identify                       recent measured ozone levels in many
                                                 alternative, equivalent mechanisms that                   areas that are clearly not fully consistent    The EPA applies the same approach
                                                 we would be bound to evaluate and                         with certain concentrations in the Step     for identifying which states are
                                                 approve if satisfactory, should states                    1 analysis for 2023. Therefore, the EPA     contributing to downwind
                                                 seek to replace this FIP with a SIP.                      has developed an additional                 nonattainment and maintenance
                                                    For these reasons, the EPA disagrees                   maintenance-only receptor category,         receptors as it has applied in the three
                                                 with the contention that it is                            which includes what we refer to as          prior CSAPR rulemakings. CSAPR, the
                                                 constrained by the good neighbor                                      monitor’’ receptors, based on CSAPR Update, and the Revised CSAPR
                                                                                                           ‘‘violating monitor"
                                                                                                           "violating
                                                 provision to define upwind state                          current ozone concentrations measured       Update used a screening threshold of 1
                                                 obligations solely by reference to a                      by regulatory ambient air quality           percent of the NAAQS to identify
                                                 fixed, mass budget. We find it                            monitoring sites. We acknowledge that       upwind states that were "linked"‘‘linked’’ to
                                                 reasonable in this action to again                        the traditional modeling plus               downwind air pollution problems.
                                                 determine the amount of "significant
                                                                               ‘‘significant               monitoring methodology we used at           States with contributions greater than or
                                                 contribution’’
                                                 contribution" at Step 3 by reference to                   proposal and in prior ozone transport       equal to the threshold for at least one
                                                 uniform levels of cost-effective                          rules would otherwise have identified       downwind nonattainment or
                                                 emissions controls that can be applied                    such sites as being in attainment in        maintenance receptor identified in Step
                                                 across the upwind sources. And, we                        2023. Despite the implications of the       1 were identified in these rules as
                                                 find it appropriate to implement those                    current measured data suggesting there
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                                                                       needing further evaluation of their good
                                                 emissions reductions at Step 4 through                    will be a nonattainment problem at          neighbor obligations to downwind states
                                                                                                           these sites in 2023, we cannot              at Step 3.84
                                                                                                                                                                 3.84 The EPA evaluated each
                                                 110(a)(2)(D)(i)(I). (In observing this, we do not         definitively establish that such sites will state's
                                                                                                                                                       state’s contribution based on the average
                                                 concede that an "emissions
                                                                   ‘‘emissions limitation’’
                                                                                limitation" itself could   be in nonattainment in 2023 in light of     relative downwind impact calculated
                                                 not also be expressed through a mass-based
                                                 approach, which may be read as authorized by the
                                                                                                           our modeling projections. In the face of
                                                      ‘‘quantity,’’ a term also used in CAA section
                                                 term "quantity,"                                          this uncertainty, we regard our ability to    84 For ozone, the impacts include those from VOC
                                                                                                                                                         84

                                                 302(k).)                                                  consider such sites as receptors for             NOX from all sectors.
                                                                                                                                                       and NOx



                                            VerDate Sep<11>2014    20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00025   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                           Document #2009836                              Filed: 07/27/2023              Page 64 of 430
                                                 36678
                                                 36678                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 over multiple days.   85 States whose air
                                                                 days.85                                 c. Step 3 Approach                                      the EPA finalizes a control stringency
                                                 quality impacts to all downwind                            The EPA continues to apply the same                  for EGUs from these measures that is
                                                 receptors were below this threshold did                 approach as the prior three CSAPR                       commensurate with the nature of the
                                                 not require further evaluation for                      rulemakings for evaluating "significant
                                                                                                                                       ‘‘significant             ongoing ozone nonattainment and
                                                 measures to address transport. In other                 contribution’’ at Step 3.
                                                                                                         contribution"             86 For states that
                                                                                                                                 3.86                            maintenance problems observed for the
                                                 words, the EPA determined that these                                                                            2015 ozone NAAQS. Similarly, in this
                                                                                                         are linked at Step 2 to downwind air
                                                 states did not contribute to downwind                   quality problems, CSAPR, the CSAPR                      action, the EPA includes other
                                                 air quality problems and therefore had                  Update, and the Revised CSAPR Update                    industrial sources (non-EGUs) in its
                                                 no emissions reduction obligations                      evaluated NOx
                                                                                                                     NOX reduction potential, cost,
                                                                                                                                                                 Step 3 analysis and finalizes emissions
                                                 under the good neighbor provision. The                                                                          limitations for certain non-EGU sources
                                                                                                         and downwind air quality
                                                 EPA applies a relatively low                                                                                    as needed to eliminate significant
                                                                                                         improvements available at various
                                                 contribution screening threshold                                                                                contribution and interference with
                                                                                                         mitigation technology breakpoints
                                                 because many downwind ozone                                                                                     maintenance. The available reductions
                                                                                                         (represented by cost thresholds) in the                 and cost-levels for the non-EGU
                                                 nonattainment and maintenance                           multi-factor test. In CSAPR, the CSAPR
                                                 receptors receive transport contributions                                                                       stringency is commensurate with the
                                                                                                         Update, and the Revised CSAPR
                                                 from multiple upwind states. While the                                                                          control strategy for EGUs.
                                                                                                         Update, the EPA selected the technology                    In CSAPR, the CSAPR Update, and
                                                 proportion of contribution from a single                breakpoint (represented by a cost
                                                 upwind state may be relatively small,                                                                           the Revised CSAPR Update, the EPA
                                                                                                         threshold) that, in general, maximized                  focused its Step 3 analysis on EGUs. In
                                                 the effect of collective contribution                   cost-effectiveness—i.e., that achieved a
                                                 resulting from multiple upwind states                                                                           the Revised CSAPR Update, in response
                                                                                                         reasonable balance of incremental NOx  NOX              to the Wisconsin
                                                                                                                                                                         Wisconsin decision’s
                                                                                                                                                                                     decision's finding that
                                                 may substantially contribute to                         reduction potential and corresponding                   the EPA had not adequately evaluated
                                                 nonattainment of or interference with                   downwind ozone air quality                              potential non-EGU reductions, see 938
                                                 maintenance of the NAAQS in                             improvements, relative to the other                     F.3d at 318, the EPA determined that
                                                 downwind areas. The preambles to the                    emissions budget levels evaluated. See,                 the available NOx
                                                                                                                                                                                NOX emissions reductions
                                                 proposed and final CSAPR rules discuss                  e.g., 81 FR 74550. The EPA determined                   from non-EGU sources, for purposes of
                                                 the use of the 1 percent threshold for                  the level of emissions reductions                       addressing good neighbor obligations for
                                                 CSAPR. See 75 FR 45237 (August 2,                       associated with that level of control                   the 2008 ozone NAAQS, at a
                                                 2010); 76 FR 48238 (August 8, 2011).                    stringency to constitute significant                    comparable cost threshold to the
                                                 The same metric is discussed in the                     contribution to nonattainment or                        required EGU emissions reductions (for
                                                 CSAPR Update, see 81 FR 74538, and in                   interfere with maintenance of a NAAQS                   which the EPA used an adjusted
                                                 the Revised CSAPR Update, see 86 FR                     downwind. See, e.g., 86 FR 23116. This                  representative cost of $1,800 per ton),
                                                 23054. In this final rule, the EPA has                  approach was upheld by the U.S.                         and based on the timing of when such
                                                 updated the air quality modeling data                   Supreme Court in EPA v. EME  EME Homer                  measures could be implemented, did
                                                 used for determining contributions at                   City. 87
                                                                                                         City.87                                                 not provide a sufficiently meaningful
                                                 Step 2 of the 4-step interstate transport                  In this action, the EPA applies this                 and timely air quality improvement at
                                                 framework using the 2016v3 modeling                     approach to identify EGU and non-EGU                    the downwind receptors before those
                                                 platform. The EPA continues to find                     NOX control stringencies necessary to
                                                                                                         NOx                                                     receptors were projected to resolve. See
                                                 that this threshold is appropriate to                   address significant contribution for the                86 FR 23110. On that basis, the EPA
                                                 apply for the 2015 ozone NAAQS. This                    2015 ozone NAAQS. The EPA applies a                     made a finding that emissions
                                                 rule’s
                                                 rule's application of the Step 2 approach               multifactor assessment using cost-                      reductions from non-EGU sources were
                                                 is comprehensively described in section                 thresholds, total emissions reduction                   not required to eliminate significant
                                                 IV of this document.                                    potential, and downwind air quality                     contribution to downwind air quality
                                                    Many commenters challenged the use                   effects as key factors in determining a                 problems under the interstate transport
                                                 of a 1 percent of NAAQS threshold or                                            NOX controls in
                                                                                                         reasonable balance of NOx                               provision for the 2008 ozone NAAQS. In
                                                 otherwise raised issues with the EPA's
                                                                                    EPA’s                light of the downwind air quality                                      EPA’s "significant
                                                                                                                                                                 this rule, the EPA's  ‘‘significant
                                                 Step 2 methodology. These comments                      problems. The EPA's
                                                                                                                          EPA’s evaluation of                    contribution’’
                                                                                                                                                                 contribution" analysis at Step 3 of the
                                                 are addressed in section IV.F of this                              NOX mitigation strategies for
                                                                                                         available NOx                                           4-step framework includes a
                                                 document and in the RTC RTC document.                   EGUs focuses on the same core set of                    comprehensive evaluation of major
                                                                                                         measures as prior transport rules, and                  stationary source non-EGU industries in
                                                    B5 The number of days used in calculating the
                                                    85                                                                                                           the linked upwind states. The EPA finds
                                                                                                            86 For simplicity, the EPA (and courts) at times
                                                 average contribution metric has historically been          88                                                   that emissions from certain non-EGU
                                                 determined in a manner that is generally consistent     will refer to the Step 3 analysis as determining        sources in the upwind states
                                                           EPA’s recommendations for projecting
                                                 with the EPA's                                          ‘‘significant contribution";
                                                                                                         "significant  contribution’’; however, the EPA's
                                                                                                                                                     EPA’s
                                                 future year ozone design values. Our ozone              approach at Step 3 also implements the                  significantly contribute to downwind air
                                                 attainment demonstration modeling guidance at the       ‘‘interference with maintenance"
                                                                                                         "interference         maintenance’’ prong of the good   quality problems for the 2015 ozone
                                                 time of CSAPR recommended using all model-              neighbor provision by also addressing emissions         NAAQS, and that cost-effective
                                                 predicted days above the NAAQS to calculate             that impact the maintenance receptors identified at     emissions reductions from these sources
                                                 future year design values (https://www3.epa.gov/        Step 1. See 86 FR 23074 (‘‘In
                                                                                                                                    ("In effect, EPA's
                                                                                                                                                 EPA’s
                                                 ttn/scram/guidance/guide/final-03-pm-rh-
                                                 ttnIscramIguidancelguidelfinal-03-pm-rh-                determination of what level of upwind contribution      are required to eliminate significant
                                                 guidance.pdf). In 2014, the EPA issued draft revised    constitutes 'interference'
                                                                                                                      ‘interference’ with a maintenance          contribution under the interstate
                                                 guidance that changed the recommended number of         receptor is the same determination as what              transport provision. Therefore, this rule
                                                 days to the top-10 model predicted days (https://       constitutes 'significant
                                                                                                                      ‘significant contribution’
                                                                                                                                   contribution' for a           requires emissions reductions from non-
                                                 www3.epa.gov/ttn/scram/guidance/guide/Draft-O3-
                                                 www3.epa.govIttnIscramIguidancelguidelDraft-03-         nonattainment receptor. Nonetheless, this continues
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                         to give independent effect to prong 2 because the
                                                                                                                                                                 EGU sources in upwind states to fulfill
                                                 PM-RH-Modeling_Guidance-2014.pdf).
                                                 PM-RH-Modeling     Guidance-2014.pdf). For the
                                                 CSAPR Update, the EPA transitioned to calculating       EPA applies a broader definition for identifying        interstate transport obligations for the
                                                 design values based on this draft revised approach.     maintenance receptors, which accounts for the           2015 ozone NAAQS. This analysis is
                                                 The revised modeling guidance was finalized in          possibility of problems maintaining the NAAQS           described fully in section V of this
                                                 2019 and, in this regard, the EPA is calculating both   under realistic potential future conditions.").
                                                                                                                                           conditions.’’). See
                                                                                                         also EME Homer City, 795 F.3d 118, 136 (upholding
                                                                                                                                                                 document.
                                                 the ozone design values and the contributions based
                                                 on a top-10 day approach (https://www3.epa.gov/         this approach to prong 2).                                 In this rule, the EPA also continues to
                                                 ttn/scram/guidance/guide/O3-PM-RH-Modeling_
                                                 ttnIscramIguidancelguide/03-PM-RH-Modeling                 87 EPA v. EME Homer CityCity Generation, L.P., 572   apply its approach for assessing and
                                                 Guidance-2018.pdf).                                     U.S. 489 (2014).                                                   ‘‘over-control.’’ In EME
                                                                                                                                                                 avoiding "over-control."        EME Homer


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00026   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                           Document #2009836                              Filed: 07/27/2023                Page 65 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                                   36679
                                                                                                                                                                                                           36679

                                                  City, the Supreme Court held that "EPA   ‘‘EPA            Comment:
                                                                                                            Comment: Commenters alleged that                   2000); Appalachian Power Co. v. EPA,
                                                 cannot require a State to reduce its                    the EPA lacks authority to regulate                   249 F.3d 1032 (D.C. Cir. 2001). In fact,
                                                 output of pollution by more than is                     EGUs under the good neighbor                          each of the EPA's
                                                                                                                                                                           EPA’s interstate ozone
                                                 necessary to achieve attainment in every                provision of the CAA, or at least in the              transport rulemakings has focused on
                                                  downwind State or at odds with the                     manner proposed, because in their view,               the regulation of ozone-precursor
                                                 one-percent threshold the Agency has                    this regulation would intrude into areas              emissions from the power sector (all but
                                                  set.’’ 572 U.S. at 521. The Court
                                                 set."                                                   of regulation that are reserved to other                  NOX SIP Call exclusively), because
                                                                                                                                                               the NOx
                                                                          ‘‘instances of ‘over-
                                                 acknowledged that "instances             'over-         Federal agencies or are beyond the                    substantial, cost-effective reductions in
                                                  control’ in particular downwind
                                                 control'                                                EPA’s expertise. They focused in
                                                                                                         EPA's                                                 ozone-precursor emissions have been
                                                 locations may be incidental to                          particular on the EGU trading program                 and continue to be available from fossil-
                                                 reductions necessary to ensure                          enhancements, which they alleged                      fuel fired EGUs. See, e.g., 63 FR 57399–
                                                                                                                                                                                                    57399-
                                                                elsewhere.’’ Id. at 492.
                                                 attainment elsewhere."                                  would threaten electric grid reliability,             400 (NOx
                                                                                                                                                                    (NOX SIP Call); 70 FR 25165 and 71
                                                      Because individual upwind States often             and asserted that EPA lacks authority or              FR 25343 (CAIR and CAIR FIP); 76 FR
                                                  `contribute significantly'
                                                  ‘contribute  significantly’ to nonattainment in        expertise to dictate the mix of electricity           48210–11 (CSAPR); 81 FR 74507
                                                                                                                                                               48210-11
                                                 multiple downwind locations, the emissions              generation in the country.                            (CSAPR Update); 86 FR 23061 (Revised
                                                 reductions required to bring one linked                    Response: The EPA disagrees that the
                                                                                                            Response:
                                                                                                                                                               CSAPR Update).    89
                                                                                                                                                                        Update).89
                                                  downwind State into attainment may well be             regulation of EGUs in this action is
                                                 large enough to push other linked downwind              unlawful or unsupported. The Agency                      This rule, like all prior EPA ozone-
                                                  States over the attainment line. As the Good           has consistently and successfully                     transport rulemakings, regulates only
                                                 Neighbor Provision seeks attainment in everyevery                  EGUs’ ozone season NOx
                                                                                                         regulated EGUs'                   NOX                 one aspect of the operation of fossil-fuel
                                                  downwind State, however, exceeding                     emissions under the good neighbor                     fired EGUs, that is, the emissions of
                                                 attainment in one State cannot rank as 'over-
                                                                                            ‘over-       provision for over 25 years, beginning                NOX as an ozone-precursor pollutant
                                                                                                                                                               NOx
                                                 control'
                                                  control’ unless unnecessary to achieving
                                                                                                                          NOX SIP Call. This action            during the ozone season. This rule
                                                 attainment in any downwind State. Only                  with the 1997 NOx
                                                 reductions unnecessary to downwind                      does not intrude on other Federal                     limits EGU NOx
                                                                                                                                                                            NOX emissions that interfere
                                                 attainment anywhere fall outside the                    agencies’ authorities and
                                                                                                         agencies'                                             with downwind states'
                                                                                                                                                                                  states’ ability to attain
                                                 Agency's
                                                  Agency’s statutory authority.                          responsibilities with respect to                      and maintain the 2015 ozone NAAQS.
                                                                                                         managing the electric power grid and                  The rule does not regulate any other
                                                 Id. at 522 (footnotes omitted).
                                                                                                         ensuring reliable electricity. While other            aspect of energy generation,
                                                      The Court further explained that                   agencies such as the Federal Energy                   distribution, or sale. For these reasons,
                                                  ‘‘while EPA has a statutory duty to
                                                 "while                                                  Regulatory Commission (FERC) have                     the rule does not intrude on FERC’s
                                                                                                                                                                                                FERC's
                                                  avoid over-control, the Agency also has                primary responsibility for ensuring                   power under the Federal Power Act, 16
                                                 a statutory obligation to avoid ‘under-
                                                                                       'under-           reliability of the bulk electric system,              U.S.C. 791a, et seq. And, as in prior
                                                  control,’ i.e., to maximize achievement
                                                 control,'                                               the EPA has ensured that its final rule
                                                  of attainment downwind.’’
                                                                                                                                                               transport rules, the EPA implements
                                                                    downwind." Id. at 523.               here will not create electric reliability
                                                  Therefore, in the CSAPR Update and
                                                                                                                                                               this regulation through a proven,
                                                                                                         concerns. See section VI.B.1.d of this                flexible mass-based emissions trading
                                                  Revised CSAPR Update, the EPA                          document. Thus, to the extent                         program that integrates well with, and
                                                  evaluated possible over-control by                     commenters are raising a record-based                 in no way intrudes upon, the
                                                  considering whether an upwind state is                 issue that the EPA through this action
                                                  linked solely to downwind air quality                                                                        management of the power sector under
                                                                                                         has created a reliability concern, we                 other state and Federal authorities. This
                                                  problems that can be resolved at a lower               disagree. The EPA engaged in a series of
                                                  cost threshold, or if upwind states                                                                          rule will not alter the procedures system
                                                                                                         stakeholder meetings with Reliability                 operators employ to dispatch resources
                                                 would reduce their emissions at a lower                 Coordinators who commented on the
                                                  cost threshold to the extent that they                                                                       or force changes to FERC-jurisdictional
                                                                                                         proposed rule, including several                      electricity markets, nor have
                                                 would no longer meet or exceed the 1                    Regional Transmission Organizations
                                                  percent air quality contribution                                                                             commenters offered any explanation in
                                                                                                         (RTOs) as well as non-RTO entities
                                                  threshold. See, e.g., 81 FR 74551–52.
                                                                                   74551-52.                                                                   this regard themselves.
                                                                                                         throughout the rulemaking process.     88
                                                                                                                                       process.88
                                                  See also Wisconsin,
                                                             Wisconsin, 938 F.3d at 325                    To the extent commenters maintain                      The actual compliance requirement
                                                  (over-control must be proven through a                 that—despite this record of                           that the EGUs must meet in the
                                                 "‘‘ ‘particularized,
                                                     `particularized, as-applied                         collaboration and sensitivity to the need             allowance trading system finalized
                                                  challenge’
                                                  challenge' ")’’) (quoting EME
                                                                             EME Homer City City         to ensure reliability in the                          here—just as in all prior interstate
                                                  Generation, 572 U.S. at 523–24).
                                                                                523-24). The             implementation of its mandates,                       transport trading programs—is simply to
                                                  EPA continues to apply this framework                  including in this rule—the EPA                        hold sufficient allowances to cover
                                                  for assessing over-control in this rule,               nonetheless fundamentally lacks                       emissions during a given control period,
                                                 and, as discussed in section V.D.4 of                   authority to regulate the electric-power              not to undertake any specific
                                                  this document, does not find any over-                                          ‘‘impact[s]
                                                                                                         sector in any way that "impact[s]
                                                  control at the final control stringency                national electricity and energy                         B9 There are myriad other examples of effective
                                                                                                                                                                 89

                                                 selected.                                               markets,’’ the EPA disagrees. The EPA
                                                                                                         markets,"                                             power sector regulation under the CAA and other
                                                      This evaluation of cost, NOxNOX                                                                          environmental statutes, including for example, new
                                                                                                         has successfully regulated interstate                 source performance standards (NSPS), best
                                                  reductions, and air quality                            ozone-precursor emissions from the                    available retrofit technology (BART) requirements,
                                                  improvements, including consideration                  power sector since the NOxNOX SIP Call and            and mercury and air toxics standards (MATS) under
                                                  of whether there is proven over-control,               the establishment of the NOxNOX Budget                the CAA; effluent limitation guidelines (ELGs)
                                                                                                                                                               under the Clean Water Act; and coal combustion
ddrumheller on DSK120RN23PROD with RULES2




                                                  results in the EPA's
                                                                    EPA’s determination of the           Trading Program. See generally
                                                                                                                                 generally
                                                                                                                                                               residuals (CCR) requirements under the Resource
                                                 appropriate level of upwind control                     Michigan v. EPA, 213 F.3d 663 (D.C. Cir.              Conservation and Recovery Act. Whether
                                                 stringency that would result in                                                                               implemented through unit- or facility-level
                                                  elimination of emissions that                                                 EPA–HQ–OAR–2021–
                                                                                                           88 See Documents no. EPA—HQ—OAR-2021-
                                                                                                           88                                                  pollution control requirements or through
                                                 significantly contribute to                             0668–0938,  EPA–HQ–OAR–2021–0668–0940, EPA—
                                                                                                         0668-0938, EPA—HQ—OAR-2021-0668-0940,       EPA–      emissions-trading or other market-based programs,
                                                                                                         HQ–OAR–2021–0668–0941, EPA—HQ—OAR-2021-
                                                                                                         HQ—OAR-2021-0668-0941,    EPA–HQ–OAR–2021–            these regulations have been effective in reducing air
                                                  nonattainment or interfere with                        0668–0942,  EPA–HQ–OAR–2021–0668–0943, EPA—
                                                                                                         0668-0942, EPA—HQ—OAR-2021-0668-0943,       EPA–      and water pollution while not intruding into the
                                                  maintenance of the NAAQS in                            HQ–OAR–2021–0668–0944, and EPA—HQ—OAR-
                                                                                                         HQ—OAR-2021-0668-0944,         EPA–HQ–OAR–            regulatory arenas of other state and Federal entities.
                                                  downwind areas.                                        2021–0668–0945
                                                                                                         2021-0668-0945 in the docket for this rulemaking.     See Section 1 of the RTC
                                                                                                                                                                                     RTC for further discussion.



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00027   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                           Document #2009836                              Filed: 07/27/2023                Page 66 of 430
                                                 36680
                                                 36680                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                               strategy.90 The owner or
                                                 compliance strategy.90                                   attempts to mandate a particular energy                 than many other such requirements
                                                 operator of an EGU has flexibility in                    mix in West
                                                                                                                  West Virginia v. EPA. See 142 S.                EGUs are already subject to. Further, as
                                                 determining how it will meet this                        Ct. 2587, 2613 n.4 (2022) ("[T]here
                                                                                                                                        (‘‘[T]here is an          in prior transport rules, this rule applies
                                                 requirement, whether through the add-                    obvious difference between (1) issuing a                a uniform control stringency to EGUs
                                                 on emissions controls that the EPA has                   rule that may end up causing an                         within the covered upwind states. EGUs
                                                 selected in our Step 3 analysis, or                      incidental loss of coal’s
                                                                                                                               coal's market share,               that may have enjoyed a competitive
                                                 through some other method or methods                     and (2) simply announcing what the                      advantage in the past through not
                                                 of compliance. The costs of meeting this                 market share of coal, natural gas, wind,                bearing the costs of installing and
                                                 allowance-holding requirement—just                                                  .’’).
                                                                                                          and solar must be . . . .").                            running state-of-the-art emissions
                                                 like the cost associated with meeting                       This rule is squarely in the former                  control technology now must bear that
                                                 any other regulatory requirements—                       camp; as the most stringent component                   cost just as their competitors with that
                                                 could possibly then be factored into                     of its emissions controls strategy for                  technology already are. Cf. EME Homer
                                                 what that unit bids in the wholesale                     EGUs, the EPA has determined that to                    City, 572 U.S. 489, 519 (CSAPR is
                                                 electricity market (or in regulated                      eliminate significant contribution to                   ‘‘[e]quitable because, by imposing
                                                                                                                                                                  "[e]quitable
                                                 jurisdictions, would factor into utility                 harmful levels of ozone in other states,                uniform cost thresholds on regulated
                                                 regulators’
                                                 regulators' determinations of what can                   certain fossil-fuel fired EGUs in                       States, EPA's
                                                                                                                                                                             EPA’s rule subjects to stricter
                                                 be cost-recovered).                                      ‘‘linked’’ upwind states that do not
                                                                                                          "linked"                                                regulation those States that have done
                                                    Those costs could, in turn, result in a               already have selective catalytic                        relatively less in the past to control their
                                                 reduction in electricity generation from                 reduction (SCR) post-combustion                         pollution. Upwind States that have not
                                                 higher-emitting sources and an increase                  control technology, should install it (or               yet implemented pollution controls of
                                                 in electricity generation from lower-                    achieve emissions reductions                            the same stringency as their neighbors
                                                 emitting or zero-emitting generators, but                commensurate with that technology).                     will be stopped from free riding on their
                                                 that kind of generation shifting (not                    SCR is a well-established at-the-source                 neighbors’
                                                                                                                                                                  neighbors' efforts to reduce pollution.
                                                 mandated but occurring as an economic                    NOX control technology already in use
                                                                                                          NOx                                                     They will have to bring down their
                                                 choice by the regulated sources) is                      by EGUs representing roughly 60                         emissions by installing devices of the
                                                 consistent, and in no way interferes                     percent of the existing coal-fired                      kind in which neighboring States have
                                                 with, the existing security-constrained                  generating capacity in the United States.               already invested.’’).
                                                                                                                                                                              invested.").
                                                 economic dispatch protocols of the                       This technology can be installed and                       Finally, we note that this final rule
                                                 modern electrical grid. Further, this                    operated to reduce NOx NOX emissions                    does not include "generation
                                                                                                                                                                                        ‘‘generation shifting"
                                                                                                                                                                                                      shifting’’
                                                         ‘‘impact’’ on electricity
                                                 type of "impact"                                         without forcing the retirement or                       as a component of the budget-setting
                                                 markets—merely incidental, not                           reduced utilization of any EGU.                         process, even in the limited way that it
                                                 mandated or even intended—is of the                      However, if market conditions are such                  had been used in prior transport rules
                                                 same type that results from any other                    that an EGU faced with this mandate                     like CSAPR and the CSAPR Update, i.e.,
                                                 kind of regulation, environmental or                     (again, as expressed through an                         to ensure the budget provided adequate
                                                 otherwise. Indeed, the U.S. Supreme                      emissions trading budget) finds it more                 incentive to ensure implementation of
                                                 Court recognizes that regulatory actions                 economic to comply with the mandate                     the selected emission-control strategy.
                                                 that may have some "effect,"
                                                                        ‘‘effect,’’ or impact,            through the purchase of allowances,                     See section V.B.1.f of this document.
                                                 in electricity markets do not on that                    installation of other types of pollution                Further comments regarding legal
                                                 basis alone intrude into authorities                     control, reduced utilization, and/or                    authority for "generation
                                                                                                                                                                                   ‘‘generation shifting,"
                                                                                                                                                                                                 shifting,’’
                                                 reserved to electricity rate-setting                     retirement, rather than installing SCR                  relationship to state authorities, and
                                                 regulators by the Federal Power Act. See                 technology, that is a choice that the EGU               expertise associated with grid reliability
                                                 FERC                       Supply Ass'n,
                                                 FERC v. Electric Power Supply        Ass’n,              owner/operator can freely make under                    are addressed in section 1.3 of the RTC.
                                                 577 U.S. 260, 282–84
                                                                 282-84 (2016)                            this rule. 91 Security constrained
                                                                                                               rule.91                                            We further discuss our consideration of
                                                 (distinguishing between actions that                     economic dispatch is thereby                            grid reliability concerns and
                                                 have an effect on retail rates and actual                maintained and is in no way interfered                  adjustments in the approach to the EGU
                                                 intrusion into retail rate-setting itself);              with.                                                   emissions trading program from
                                                 see also Hughes v. Talen, 578 U.S. 150,                     The EPA recognizes that cost to                      proposal in section VI.B.1.d of this
                                                 166 (2016). The Supreme Court again                      operate generators is one of the major                  document.
                                                 recognized this distinction between                      factors that system operators utilize to                   Comment:
                                                                                                                                                                     Comment: Commenters generally
                                                 ‘‘incidental’’ effects caused by lawfully
                                                 "incidental"                                             determine "merit"
                                                                                                                       ‘‘merit’’ order in dispatching             challenged the EPA'sEPA’s authority to
                                                 issued environmental regulations and                     resources. However, this rule does not                  establish emissions control
                                                                                                          intrude in any way into that process. To                requirements for non-EGU industrial
                                                    9° The EPA has included in this trading program
                                                   90                                                     the extent that compliance with                         sources in this action, or argued that
                                                         ‘‘enhancements’’ to ensure that the program
                                                 certain "enhancements"                                   environmental regulations is a kind of                  such controls are unnecessary or
                                                 continues to eliminate the emissions the EPA has
                                                                          ‘‘significant contribution"
                                                 determined constitute "significant     contribution’’
                                                                                                          cost that may need to be factored into                  unsupported, or run contrary to the
                                                 over the entire life of the trading program. While       generators’ bids, this rule is no different
                                                                                                          generators'                                             EPA’s prior actions under the good
                                                                                                                                                                  EPA's
                                                 one of the enhancements elevates a type of conduct                                                               neighbor provision.
                                                 that was already strongly discouraged into an               91 As explained in section V.B of this document,
                                                                                                             91                                                      Response: The states and the EPA
                                                                                                                                                                     Response:
                                                 enforceable violation, the other enhancements all        the imposition of a backstop emissions rate             have authority under CAA section
                                                 simply modify the traditional allowance-based            beginning in 2030 for units that do not already have
                                                 program structure to revise how the specific             SCR installed could lead the owner of a given unit
                                                                                                                                                                  110(a)(2)(D)(i)(I) to prohibit emissions
                                                 quantities of allowances that must be surrendered        to decide that the unit's
                                                                                                                             unit’s continued operation would     from "any
                                                                                                                                                                          ‘‘any source or other type of
                                                                                                                                                                  emissions activity"
                                                                                                                                                                                activity’’ that are found to
ddrumheller on DSK120RN23PROD with RULES2




                                                 or the specific quantities of allowances available for   be uneconomic without installation of SCR, but the
                                                 surrender are determined. In finalizing this rule, the   establishment of technology-based emissions rates       significantly contribute to
                                                 EPA has made a number of changes to its proposed         that require such decisions is consistent with
                                                 enhancements to the trading program in response          decades of the EPA's
                                                                                                                          EPA’s rulemaking and permitting         nonattainment
                                                                                                                                                                  nonattainrnent or interfere with
                                                 to comment and in part to ensure no impact on            actions requiring source-specific pollution controls.   maintenance of the NAAQS in
                                                 system reliability. Nonetheless, with these changes,     Further, the backstop rate in this program is           downwind states. This language is not
                                                 the EPA has determined that the enhanced trading         implemented through an enhanced allowance-
                                                 program can be implemented without impacting             surrender ratio, thus preserving some degree of
                                                                                                                                                                  limited only to power plant emissions,
                                                 grid reliability. See section VI.B.1.d of this           flexibility through the emissions-trading program as    nor is it limited only to "major"
                                                                                                                                                                                               ‘‘major’’ sources
                                                 document.                                                the mechanism of compliance.                            or "stationary"
                                                                                                                                                                      ‘‘stationary’’ sources. Thus, as a legal


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00028   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                           Document #2009836                              Filed: 07/27/2023              Page 67 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                             36681
                                                                                                                                                                                                     36681

                                                 matter, the emissions control                           substantial reductions from power                                                statute.’’ Id.
                                                                                                                                                               noncompliance with the statute."
                                                 requirements for certain large "non-
                                                                                    ‘‘non-                plants. See id. at 48249 (the EPA'sEPA’s             Rather, the Agency would need to "meet   ‘‘meet
                                                 EGU’’ industrial sources in this action
                                                 EGU"                                                     ‘‘preliminary assessment in the rule
                                                                                                         "preliminary                                          the ‘heavy
                                                                                                                                                                    `heavy burden to demonstrate the
                                                 are grounded in unambiguous statutory                    proposal suggested that there likely                 existence of an impossibility.’
                                                                                                                                                                                 impossibility.' "’’ Id.
                                                 authority, in particular the statute's
                                                                                 statute’s use           would be very large emissions                         (quoting Sierra Club v. EPA, 719 F.2d
                                                                     ‘‘any source."
                                                 of the broad term "any      source.’’                    reductions available from EGUs before                436, 462 (D.C. Cir. 1983)).
                                                 Whereas the Act elsewhere includes                       costs reach the point for which non-                    Following the remand of the CSAPR
                                                 definitions of "major
                                                                 ‘‘major stationary source,"
                                                                                       source,’’         EGU sources have available reductions                 Update in Wisconsin,
                                                                                                                                                                            Wisconsin, in the Revised
                                                 ‘‘small source,"
                                                 "small  source,’’ and "stationary
                                                                         ‘‘stationary source,"
                                                                                       source,’’         . . . . EPA revisited these non-EGU                   CSAPR Update, the EPA conducted an
                                                 see, e.g., CAA section 302(j), (x), and (z),             reduction cost levels in this final                  analysis of non-EGUs to ensure it had
                                                 no such qualifying terms are used with                   rulemaking and verified that there are               implemented a complete remedy to
                                                 respect to the term "any
                                                                       ‘‘any source"
                                                                               source’’ at CAA            little or no reductions available from               eliminate significant contribution for
                                                 section 110(a)(2)(D)(i). Rather, the scope              non-EGUs at costs lower than the                      the covered states for the 2008 ozone
                                                 of authority in this provision expands to               thresholds that EPA has chosen                        NAAQS. While acknowledging
                                                              ‘‘other type of emissions
                                                 encompass "other                                                 .’’). The EPA noted in CSAPR that
                                                                                                         . . . .").                                            uncertainty in the datasets for non-
                                                 activity’’ in addition to "any
                                                 activity"                   ‘‘any source."
                                                                                   source.’’             states retained the authority to regulate             EGUs, the EPA concluded: "[U]sing
                                                                                                                                                                                             ‘‘[U]sing the
                                                 The EPA has previously included non-                    non-EGUs as a method of addressing                    best information currently available to
                                                 EGU industrial sources in findings                      their good neighbor obligations. Id. at               the Agency, . . . the EPA is concluding
                                                               states’ obligations under the
                                                 quantifying states'                                      48320. The EPA also noted in CSAPR                   that there are relatively fewer emissions
                                                 good neighbor provision, in the 1998                           ‘‘potentially substantial"
                                                                                                         that "potentially       substantial’’ non-EGU         reductions available at a cost threshold
                                                 NOX SIP Call, see 63 FR 57365.
                                                 NOx                                  92 See
                                                                               57365.92                   emissions reductions could be available              comparable to the cost threshold
                                                 also Michigan v. EPA, 213 F.3d 663,                      in future rulemakings applying a higher              selected for EGUs. In the EPA's
                                                                                                                                                                                           EPA’s
                                                 690–93
                                                 690-93 (upholding the inclusion of                       cost threshold. See id. at 48256.                    reasoned judgment, the Agency
                                                 certain non-EGU boilers in the NOx   NOX SIP                 Similarly, in the CSAPR Update,                  concludes such reductions are estimated
                                                             EPA’s determinations in prior
                                                 Call). The EPA's                                         which addressed good neighbor                        to have a much smaller effect on any
                                                 transport rules not to regulate sources                  obligations for the 2008 ozone NAAQS,                downwind receptor in the year by
                                                 beyond the power sector were grounded                    the EPA found that regulation of non-                which the EPA finds such controls
                                                 in considerations not related to the                    EGUs was not warranted as the analysis                could be installed.’’
                                                                                                                                                                          installed." 86 FR 23059.
                                                 Agency’s statutory authority. For
                                                 Agency's                                                 required could delay the expeditious                 Therefore, the EPA determined control
                                                 example, in the original CSAPR                           implementation of power plant                        of non-EGU emissions was not required
                                                 rulemaking, the EPA determined that                      reductions. The EPA found that the                   to eliminate significant contribution for
                                                 the analytical effort needed to regulate                availability and cost-effectiveness of                the 2008 ozone NAAQS.
                                                 non-EGU industrial sources would                        non-EGU reductions was uncertain and                     The circumstances that led the EPA to
                                                 substantially delay the implementation                   further analysis could delay                         defer or decline regulation of non-EGU
                                                 of emissions reductions from the power                   implementation of the EGU strategy                   sources in CSAPR, the CSAPR Update,
                                                 sector. See, e.g., 76 FR 48247–48
                                                                            48247-48                     beyond 2017. The EPA acknowledged                     and the Revised CSAPR Update, are not
                                                 (‘‘[D]eveloping the additional
                                                 ("[D]eveloping                                          that it was not promulgating a complete               present here, and the EPA's
                                                                                                                                                                                       EPA’s
                                                 information needed to consider NOx    NOX                remedy for good neighbor obligations                 determination in this action that
                                                 emissions from non-EGU source                            for the 2008 ozone NAAQS and                         prohibiting certain emissions from
                                                 categories to fully quantify upwind state                indicated its intention to further review            certain non-EGU sources is necessary to
                                                 responsibility with respect to the 1997                  emissions-reduction opportunities from               eliminate significant contribution for
                                                 ozone NAAQS would substantially                         non-EGU and EGU sources. 81 FR                        the 2015 ozone NAAQS is a logical
                                                 delay promulgation of the Transport                      74521–22.
                                                                                                          74521-22.                                            extension of the analyses and evolution
                                                                                                              In Wisconsin, the court held that the            of regulatory policy development
                                                 Rule. . . . [W]e do not believe that
                                                 effort should delay the emissions                        EPA’s deferral of a complete good
                                                                                                         EPA's                                                 spanning its prior good neighbor rules,
                                                 reductions and large health benefits this               neighbor remedy by 2017, on the basis,                now applied to implement this more
                                                 final rule will deliver[.]’’).
                                                                  deliver[.]"). The EPA                  among other things, of uncertainty                    protective NAAQS. As the EPA
                                                                                                          regarding non-EGU emissions                          explained at proposal, unlike in CSAPR
                                                 acknowledged that by not addressing
                                                 non-EGUs, it may not have promulgated
                                                                                                          reductions and the need for further                  and the Revised CSAPR Update, in this
                                                                                                          regulatory analysis, was unlawful. 938               action the EPA finds that available
                                                 a complete remedy to good neighbor
                                                                                                          F.3d at 318–19.
                                                                                                                     318-19. The court noted that              reductions and cost-levels for the non-
                                                 obligations in CSAPR, id. at 48248.
                                                                                                         "‘‘ ‘the
                                                                                                             `the statutes and common sense                    EGU stringency are commensurate with
                                                 Nonetheless, the EPA went on to                          demand regulatory action to prevent                  the control strategy for EGUs. Following
                                                 explain that there were limited
                                                                                                         harm, even if the regulator is less than              consideration of comments and after
                                                 emissions reductions available from
                                                                                                          certain.’ ’’ Id. at 319 (quoting Ethyl Corp.
                                                                                                          certain.'"                                           some adjustments in the non-EGU
                                                 non-EGUs at the cost thresholds the
                                                                                                         v. EPA, 541 F.2d 1, 24–25  24-25 (D.C. Cir.           analysis and control strategy, in this
                                                 EPA determined would deliver
                                                                                                          1976)), and that agencies can only avoid             final rule, the EPA continues to find this
                                                                                                         meeting their statutory obligations                   to be the case. See sections V.0
                                                                                                                                                                                             V.C and V.D
                                                    92 Specifically, in the NOx
                                                   92                       NOX SIP Call, the EPA set
                                                 statewide budgets while states could determine           where "scientific
                                                                                                                    ‘‘scientific uncertainty is so             of this document.
                                                 which sectors to regulate. The EPA recommended           profound that it precludes EPA from                     In particular, the EPA continues to
                                                 that states regulate certain types of non-EGUs and      making a reasoned judgment.’’
                                                                                                                                   judgment." Id.              find that cost-effective emissions
                                                 quantified the statewide budgets based in part on                                                             reductions are available for non-EGUs at
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                          (citing Massachusetts v. EPA, 549 U.S.
                                                 the emissions reductions from those types of non-
                                                 EGUs. In the parallel rule that followed under the       497, 534 (2007)). Further, the court                 a representative cost-threshold that is
                                                 EPA’s CAA section 126(b) authority to directly
                                                 EPA's                                                                    EPA’s argument that it
                                                                                                          rejected the EPA's                                   lower than the cost-threshold the EPA is
                                                 regulate emissions to eliminate significant             would have delayed its rulemaking if                  applying for EGUs. See section V.C. of
                                                 contribution, we promulgated an emissions trading       the EPA needed to complete a non-EGU                  this document. These emissions control
                                                 program that would have included these same types
                                                 of non-EGUs. Before this rule was implemented, all
                                                                                                         analysis in a timely manner, holding                  strategies are generally comparable to
                                                 states adopted equivalent state trading programs               ‘‘administrative infeasibility"
                                                                                                         that "administrative        infeasibility’’ is not    the emissions reduction requirements
                                                 using the NO
                                                            NOx X SIP Call model rule.                                     ‘‘justify . . .
                                                                                                         sufficient to "justify                                that similar sources in downwind states


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00029   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                           Document #2009836                              Filed: 07/27/2023             Page 68 of 430
                                                 36682
                                                 36682                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 are already required to meet. See section               section 111(b) and (d) to regulate both               and confirm here in our final rule that
                                                 V.B.2 of this document. The EPA finds                   new and existing sources of ozone                     the methodology used in the screening
                                                 that the implementation of these                                NOX, which is premised on the
                                                                                                         season NOx,                                           assessment comported with the factors
                                                 emissions control strategies at non-                    incorrect notion that the EPA's
                                                                                                                                    EPA’s action               that we consider at Step 3. Further, the
                                                 EGUs, in conjunction with the strategies                here is an attempt to regulate entire                 EPA’s 4-step interstate transport
                                                                                                                                                               EPA's
                                                 for EGU, will make a cost-effective and                 source categories nationwide, rather                  framework, including the Step 3
                                                 meaningful improvement in air quality                   than to eliminate significant                         analysis and an overcontrol assessment,
                                                 through reducing ozone levels at the                    contribution pursuant to CAA section                  ensure that the emissions reductions
                                                 identified downwind receptors, and,                     110(a)(2)(D)(i)(I). This action applies               achieved at each source covered by this
                                                 therefore, the EPA has determined that                                                ‘‘linked’’ to
                                                                                                         only to the extent a state is "linked"                rule are in fact justified as part of an
                                                 these strategies will eliminate the                     downwind receptors, and therefore this                overall, complete remedy to eliminate
                                                 amount of upwind emissions needed to                    action only regulates covered non-EGU                 significant contribution for the covered
                                                 address significant contribution under                  industrial sources in 20 states. Further,             states for the 2015 ozone NAAQS. The
                                                 the good neighbor provision. The EPA's
                                                                                      EPA’s              this comment ignores that the regulation              EPA has decided to finalize emissions
                                                 action here is focused on the most                      of criteria pollutant emissions from                  limitations for all of the non-EGU
                                                 impactful industries and emissions                      existing sources under CAA section                    industries, with some modifications
                                                 units as determined by our evaluation of                111(d) is limited by the criteria                     from proposal reflecting public input, as
                                                 the power sector and the non-EGU                        pollutant exclusion in CAA section                    discussed in section VI.0
                                                                                                                                                                                       VI.C of this
                                                 screening assessment prepared for the                   111(d)(1)(A)(i).                                      document. The Agency's
                                                                                                                                                                                 Agency’s authority to
                                                 proposal; indeed, of the 41 industries, as                The EPA agrees with the commenters                  establish unit- and/or source-specific
                                                 identified by North American Industry                                        EPA’s authority to
                                                                                                         who assert that the EPA's                             emissions limitations in exercising our
                                                 Classification System codes, we                         regulate non-EGUs under the good                      FIP authority is further discussed in
                                                 analyzed, only nine industries met the                  neighbor provision is well-grounded in                section III.B.1 of this document.
                                                 criteria for further evaluation of                      administrative precedent and case law.
                                                                                                                                                                  Comment:
                                                                                                                                                                  Comment: Commenters raise
                                                 significant contribution. See section                   Our previous discussion briefly recites
                                                                                                                                                               additional issues with the overall
                                                 V.B.2 of this document. Further, the                    several of the most salient aspects of
                                                                                                         that history. We also agree that the                  approach of the rule at Step 3 to address
                                                 EPA finds that these strategies do not                                                                        significant contribution through our
                                                 result in "overcontrol."
                                                           ‘‘overcontrol.’’ See section                  statutory language is not limited only to
                                                                                                                                                               evaluation of EGU and non-EGU
                                                 V.D.4 of this document. As such, the                    those sources that emit above 100 tons
                                                                                                         per year. The EPA's
                                                                                                                        EPA’s Step 3 and Step 4                strategies through parallel but separate
                                                 EPA maintains that its final                                                                                  analyses. They stated that the EPA
                                                 determinations regarding non-EGUs and                   analyses in this regard, which establish
                                                                                                         certain thresholds based on historical                failed to establish that the identified
                                                 its inclusion of non-EGU emissions                                                                            non-EGU emissions reductions are
                                                 sources within this final rule are                      actual emissions, potential to emit and/
                                                                                                         or metrics for unit design capacity,                  needed to eliminate significant
                                                                              lawful.93
                                                 statutorily authorized and lawful.93                                                                          contribution. Commenters stated that
                                                    The EPA disagrees that it should defer               reflect a reasoned judgment by the
                                                                                                         Agency regarding which emissions can                  the identified non-EGU emissions
                                                 regulation of industrial sources to the                                                                       reductions are not impactful of air
                                                 NSPS program under CAA section                          be cost-effectively eliminated to address
                                                                                                         significant contribution, under the facts             quality at receptors or that they are
                                                 111(b). CAA section 111(b) does not                                                                           much less cost-effective than the EGU
                                                 expressly provide for the elimination of                and circumstances of this action. That
                                                                                                         these thresholds are designed to exclude              emissions reductions. Commenters
                                                 ‘‘significant contribution’’
                                                 "significant  contribution" as is required                                                                    stated that the EPA grouped all non-
                                                 under CAA section 110(a)(2)(D)(i)(I). In                certain smaller or lower-emitting units
                                                                                                         does not reflect a determination that the             EGU emissions reductions together in
                                                 particular, commenter’s
                                                              commenter's statement that                                                                       making a cost-effectiveness
                                                 NSPS rulemakings under section 111(b)                   EPA lacks legal authority to regulate
                                                                                                         such sources under different facts and                determination that is only an average
                                                 will appropriately address the emissions                                                                      and ignores significant variation in costs
                                                 that we find must be eliminated in this                 circumstances.
                                                                                                           The EPA identified two industry tiers               associated with controls on different
                                                 action is not correct. Standards under                                                                        types of non-EGU emissions units. They
                                                 section 111(b) apply only to new and                    of potential non-EGU emissions
                                                                                                         reductions in its non-EGU screening                   also stated the EPA did not assess
                                                 modified sources, not existing sources.                                                                       multiple control technologies in the way
                                                                                                         assessment at proposal, based on
                                                 This action, however, finds that                                                                              that it did for EGUs, and they argued
                                                                                                         screening metrics intended to capture
                                                 reductions in ongoing emissions from                                                                          there is great variation in the profile of
                                                                                                         different kinds of impacts that non-EGU
                                                 existing sources are needed to eliminate                                                                      non-EGU industries and emissions unit
                                                                                                         sources may have on identified
                                                 significant contribution. An NSPS                                                                             types in the different upwind states or
                                                                                                         receptors. The EPA agrees that it is only
                                                 standard for new and modified sources                                                                         that individual emissions units do not
                                                                                                         authorized to prohibit emissions under
                                                 would not address such emissions from                                                                         contribute to an out-of-state air quality
                                                                                                         the good neighbor provision that
                                                 existing sources. To the extent that                    significantly contribute to                           problem at all. Commenters argued that
                                                 covered sources in this action also may                 nonattainment or interfere with                       certain non-EGU controls were not
                                                 be covered by an older NSPS, these                      maintenance in downwind states, and                   feasible, or that the EPA had applied a
                                                 sources nonetheless continue to have                    we determined that these industries did               different standard for "feasibility"
                                                                                                                                                                                        ‘‘feasibility’’ for
                                                 emissions that the EPA finds                            so. The EPA sought comment on                         non-EGUs than it did for EGUs.
                                                 significantly contribute and can be                     whether additional non-EGU industries                 Commenters stated that the EPA should
                                                 eliminated through further emissions                                                                          have provided a mass-based trading
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                         significantly contributed to
                                                 control as determined in this action. We                nonattainment or interfered with                      option for non-EGUs just as it had for
                                                 further disagree with commenter’s
                                                                         commenter's                     maintenance in downwind states. The                   EGUs. By contrast, other commenters
                                                 separate suggestion that the EPA use                    EPA did not receive comments                          supported the regulation of non-EGUs in
                                                                                                         identifying other industrial stationary               this action as necessary to ensure a
                                                    93 Certain changes in the emissions control
                                                    93

                                                 strategies for non-EGUs reflecting comments and
                                                                                                         sources that are more impactful that                  complete remedy to good neighbor
                                                 updated information are explained in section VI.0
                                                                                                VI.C     should be regulated instead of those the              obligations, since the statute is not
                                                 of this document.                                       EPA identified. We believed at proposal               limited to regulating power plants.


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00030   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                           Document #2009836                              Filed: 07/27/2023                Page 69 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                                  36683
                                                                                                                                                                                                          36683

                                                 Some commenters further stated that        The Court in that case rejected that the                           value for any particular control
                                                 EGUs should not face any further           EPA must define significant                                        stringency, but this in itself does not
                                                 emissions reduction obligation because     contribution by reference to a specific                                        EPA’s ability to render an
                                                                                                                                                               upset the EPA's
                                                 all cost-effective controls have already   quantum of reductions that each state                              overall policy judgment based on the
                                                 been identified through prior transport    must achieve that is proportional to its                           Step 3 factors as to a set of emissions
                                                 rules, and that any further regulation of  impact at a downwind receptor. The                                 control strategies that together eliminate
                                                 EGUs would only lead to the retirement Court agreed with the EPA's  EPA’s concerns as                         significant contribution. See 86 FR
                                                 of coal plants, which they believe is the to why that approach would be                                       23054, 23073 (responding to similar
                                                 EPA’s true objective. Finally, some
                                                 EPA's                                      problematically complicated or even                                comments on the Revised CSAPR
                                                 commenters argued that the EPA had         impossible to apply in light of the                                Update).
                                                 not ensured that it only regulated up to   complex set of linkages among states for                              We note that the EPA has made a
                                                 the minimum needed for downwind            a regional pollutant like ozone. See 572                           number of adjustments to the non-EGU
                                                 areas to come into attainment.             U.S. at 515–17.
                                                                                                     515-17. The Court found that the                          emissions limits identified at Step 4 to
                                                    Response: Issues related to the         use of uniform cost thresholds to                                  accommodate legitimate concerns
                                                                                   Agency’s allocate responsibility for good neighbor
                                                 specific technical bases for the Agency's                                                                     regarding the ability of certain non-EGU
                                                 determinations of what emissions           obligations to be efficient and equitable,                         facilities to meet the emissions control
                                                             ‘‘significant contribution’’
                                                 constitute "significant   contribution" at in that it requires those sources that                             requirements that the EPA had
                                                 Step 3 of the 4-step framework are         have done less to reduce their emissions                           proposed. The Agency's
                                                                                                                                                                               Agency’s determinations
                                                 addressed in section V of this             to come up to a minimum level of                                   regarding feasibility and installation
                                                 document. Here, we evaluate                performance to what other sources are                              timing for pollution controls are
                                                 commenters’ more general assertions
                                                 commenters'                                already achieving. Id. at 519. The EPA's
                                                                                                                                  EPA’s                        comparable and not inconsistent
                                                 that this action addresses non-EGU or      analysis in this action in section V of                            between EGUs and non-EGUs. The EPA
                                                 EGU emissions in an inconsistent way.      this document establishes that this                                is not establishing a trading program for
                                                 First, the EPA agrees with commenters      continues to be an appropriate means of                            non-EGUs because the Agency does not
                                                 that the task of evaluating significant    delivering meaningful air quality                                  have adequate baseline emissions data
                                                 contribution from the non-EGU              improvement to downwind receptors,                                 and information on monitoring
                                                 industries is complex compared to          taking into consideration the                                      currently at many of these emissions
                                                 EGUs in light of the much greater          complexities of interstate pollution                               units to develop emissions budgets that
                                                 diversity in industries and emissions      transport.                                                         could reliably implement the Step 3
                                                 unit types. This, however, is not a valid                                                                     determinations made in this action.
                                                 basis to avoid emissions control              Not every upwind state has the same
                                                                                            mix   of non-EGU industries and                                    However, for most of the non-EGU
                                                 requirements on such sources if needed                                                                        industries,94 the EPA is not mandating
                                                                                                                                                               industries,94
                                                 to eliminate significant contribution. In  emissions unit types, and it is also the
                                                                                                                                                               a specific control technology and is
                                                                    EPA’s analysis in this
                                                 this respect, the EPA's                    case that the costs for installation of the
                                                                                                                                                               instead establishing numeric emissions
                                                 final rule is that the 4-step framework,   selected level of control technology will
                                                                                                                                                               limits that are uniform across the region
                                                 as upheld by the Supreme Court in EME vary from facility to facility based on                                 and that allow sources to choose how to
                                                 Homer City, can be adequately applied      site-specific considerations. This is also
                                                                                                                                                               comply. The EPA's
                                                                                                                                                                              EPA’s analysis, including
                                                 even to this more complex set of sources true for the set of EGU sources regulated                            review of RACT determinations, consent
                                                 in a way that parallels the analysis       here and in previous CSAPR
                                                                                                                                                               decrees, and permitting actions, shows
                                                 previously conducted only for EGUs.        rulemakings. These real-world
                                                                                            complexities do not obviate the broader                            that these emissions limits and control
                                                 This analysis relies on evaluation of                                                                         requirements are achievable by existing
                                                 uniform levels of control stringency       policy and technical judgements that
                                                                                                                                                               units in the non-EGU industries covered
                                                 across all upwind states to find a level   the EPA makes at Step 3 regarding what
                                                                                            level of emissions control performance                             by this final rule. This rule will
                                                 of emissions control that is cost-                                                                            therefore bring all of these impactful
                                                 effective and collectively delivers        can be achieved on a region-wide basis
                                                                                                                                                               industries and unit types across the
                                                 meaningful downwind air quality            to resolve significant contribution for a
                                                                                                                                                               region of linked upwind states up to this
                                                 improvement. For non-EGUs, the EPA         regional-scale pollutant like ozone. The
                                                                                            EPA’s design of cost thresholds derives                            standard of performance, and thus will
                                                 identified the most impactful industries EPA's                                                                result collectively in a relatively
                                                 and emissions unit types and evaluated from the identification of discrete types                              substantial decrease in ozone-season
                                                 emissions control strategies for these         NOX emissions control strategies. The
                                                                                            of NOx
                                                                                                                                                               NOX emissions, with associated
                                                                                                                                                               NOx
                                                 units that have been demonstrated or       EPA then identifies a representative
                                                                                                                                                               reductions in ozone levels projected to
                                                 applied across many similar facilities     cost-effectiveness on a per ton basis for
                                                                                                                                                               result at the downwind receptors. This
                                                 and emissions units. The EPA has           that technology. In the Step 3 analysis,
                                                                                                                                                               is further discussed in section V.D.
                                                 evaluated whether these strategies are     it is not the cost per ton value itself that                          Some commenters alleged that the
                                                 cost-effective on a cost-per-ton basis,    is inherently meaningful, but rather how                           EPA’s EGU control strategy goes beyond
                                                                                                                                                               EPA's
                                                 and in particular has compared these       that cost-effectiveness value relates to                           the cost-effectiveness determinations of
                                                 strategies to those selected for EGUs.     other control stringencies, how many                               prior transport rules, and they believe
                                                 This analysis is set forth in sections V   emissions reductions may be obtained,                                        EPA’s true objective is to force
                                                                                                                                                               that the EPA's
                                                 and VI of this document and associated     and how air quality is ultimately                                  the retirement of coal plants. First, we
                                                 technical support documents.               impacted. The selected level of control                            note that the EGU emissions control
                                                    Commenter’s statement that the
                                                    Commenter's                             stringency reflects a point at which                               strategy is premised entirely on at-the-
                                                                                            further emissions mitigation strategies
ddrumheller on DSK120RN23PROD with RULES2




                                                 establishment of a uniform level of
                                                 control for each group of industrial       become excessively costly on a per-ton                               94 For reheat furnaces in the Iron and Steel Mills
                                                                                                                                                                 94
                                                 units across the linked upwind states      basis while also delivering far fewer                              and Ferroalloy Manufacturing industry, the EPA is
                                                 fails to assess with greater precision or  additional emissions reductions and air                            establishing requirements to operate low-NOx
                                                                                                                                                                                                     low-NOX
                                                 define a state-specific proportion of      quality benefits. This is often referred to                        burners achieving a specified level of emissions
                                                                                                                                                               reduction; this approach is needed to allow for unit-
                                                 emissions reduction that is needed for           ‘‘knee in the curve"
                                                                                            as a "knee          curve’’ analysis. There                        specific testing before an appropriate emissions
                                                 each downwind receptor is effectively      are always inherent uncertainties in                               limitation can be set. See section VI.C.3 of this
                                                 an attempt to relitigate EME Homer City. identifying a representative cost per ton                            document.



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00031   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                           Document #2009836                              Filed: 07/27/2023             Page 70 of 430
                                                 36684
                                                 36684                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 source emissions control technologies                   must have some leeway in fulfilling the   contribution in Step 3 and may not
                                                 that are widely available and in use                    good neighbor mandate of the Act given    adequately ensure the control of
                                                 across the EGU fleet. It is not the EPA's
                                                                                     EPA’s               uncertainty in making forward             emissions throughout all days of the
                                                 intention in this rule to force the                     projections of air quality and the        ozone season. At the same time, the EPA
                                                 retirement of any EGU or non-EGU                        efficacy or impact of emissions control   continues to find that an interstate-
                                                 facilities or emissions units but to                    determinations. See EME Homer City,       trading program approach delivers
                                                 identify and eliminate significant                      572 U.S. at 523. This is further          substantial benefits at Step 4 in terms of
                                                 contribution under CAA section                          addressed in section V.D.4 of this        affording an appropriate degree of
                                                 110(a)(2)(D)(i)(I) based on cost-effective              document.                                 compliance flexibility, certainty in
                                                 and proven control technologies that are                                                          emissions outcomes, data and
                                                                                                         d. Step 4 Approach
                                                 appropriate in relation to address the                                                            performance transparency, and cost-
                                                 problem of interstate transport for the                    The EPA is finalizing an approach      effective achievement of a high degree
                                                 2015 ozone NAAQS. Further,                              similar to its prior transport            of aggregate emissions reductions. As
                                                 determinations of cost-effectiveness                    rulemakings to implement the necessary such, the EPA is retaining an interstate
                                                 must be made in relation to the                         emissions reductions through              trading program approach while making
                                                 particular statutory provision and its                  permanent and enforceable measures.       several enhancements to that approach.
                                                 purpose. The EPA recognized in                          The EPA is requiring EGU sources to          Thus, in this rulemaking, the EPA is
                                                 CSAPR, for example, that additional                     participate in an emissions trading       including dynamic budget-setting
                                                 emissions reductions beyond what were                   program and is making additional          procedures in the regulations that will
                                                 determined to be cost-effective in that                 enhancements to the trading regime to     allow state emissions budgets for
                                                 action could be required to implement                   maintain the selected control stringency control periods in 2026 and later years
                                                 good neighbor obligations if a NAAQS                    over time and improve emissions           to reflect more current data on the
                                                 were revised to a more protective level.                performance at individual units,          composition and utilization of the EGU
                                                 See 76 FR 48210. Here it is not                         offering a necessary measure of           fleet (e.g., the 2026 budgets will reflect
                                                 surprising that a more stringent level of               assurance that emissions controls will    recent data through 2024 data, the 2027
                                                 control could be found justified in                     be operated throughout the ozone          budgets will reflect data through 2025,
                                                 implementing transport obligations for                  season. For non-EGUs, the EPA is          etc.). These enhancements will enable
                                                                                                         finalizing permanent and enforceable      the trading program to better maintain
                                                 the more protective 2015 ozone
                                                                                                         emissions rate limits and work practice   over time the selected control stringency
                                                 NAAQS. Those reductions are projected
                                                 to deliver meaningful air quality                       standards, and associated compliance      that was determined to be necessary to
                                                                                                         requirements, for several types of NOR-
                                                                                                                                             NOX-            states’ good neighbor
                                                                                                                                                   address states'
                                                 improvement to downwind receptors, as
                                                                                                         emitting combustion units across          obligations with respect to the 2015
                                                 discussed in section V.D of this
                                                 document. Those air quality benefits
                                                                                                         several industrial sectors. The measures ozone NAAQS. In prior programs,
                                                                                                         for both EGUs and non-EGUs are            where state emissions budgets were
                                                 continue to compare favorably to the air
                                                                                                         required throughout the May 1-            static across years rather than calibrated
                                                 quality benefits that will be delivered                 September 30 ozone season of each year. to yearly fleet changes, the EPA has
                                                 through the combined non-EGU                            The EGU program will begin with the       observed instances of units idling their
                                                 emissions limits, which apply to nine                   2023 ozone season, and the non-EGU
                                                                                     V.C of                                                        emissions controls in the latter years of
                                                 non-EGU industries (see section V.0                     implementation schedule is targeted to
                                                 this document). We find that the                                                                  the program. To provide greater
                                                                                                         the 2026 ozone season. Refer to section   certainty regarding the minimum
                                                 implementation of both the EGU and                      VI.A of this document for details on the quantities of allowances that will be
                                                 non-EGU strategies identified in section                implementation schedule.                  available for compliance for the control
                                                 V of this document together represent                                     EPA’s experience in
                                                                                                            Based on the EPA's                     periods in 2026 through 2029, the EPA
                                                 the appropriate level of emissions                      implementing prior transport              is also establishing preset state
                                                 control stringency to eliminate                         rulemakings, the Agency is making         emissions budgets for these control
                                                 significant contribution under CAA                      several enhancements to its trading-      periods, and a dynamic state emissions
                                                 section 110(a)(2)(D)(i)(I).                             program approach for implementing         budget determined for one of these
                                                    Finally, the EPA also analyzed for                   good neighbor requirements for EGUs.      control periods will apply only if it is
                                                 overcontrol and does not identify any.                  In CSAPR, the CSAPR Update, and the       higher than the state's
                                                                                                                                                                      state’s preset budget for
                                                 Some commenters misstate the purpose                    Revised CSAPR Update, the EPA             the control period.
                                                 of this rule as bringing downwind                       established interstate trading programs      In the trading programs established
                                                 receptors into attainment. In line with                 for EGUs to implement the necessary       for ozone season NOx NOX emissions under
                                                 the statutory directive in CAA section                  emissions reductions. In each of these    CSAPR, the CSAPR Update, and the
                                                 110(a)(2)(D)(i)(I), this rule eliminates                rules, EGUs in each covered state are     Revised CSAPR Update, the EPA
                                                 ‘‘significant contribution’’
                                                 "significant  contribution" from upwind                 assigned an emissions budget in each      included assurance provisions to limit
                                                 states; while the rule has substantial air              control period for their collective       state emissions to levels below 121
                                                 quality benefits for downwind                           emissions. Emissions allowances are       percent of the state's
                                                                                                                                                                    state’s budget by
                                                 receptors, in many cases we project that                allocated to units covered by the trading requiring additional allowance
                                                 a nonattainment
                                                   nonattainrnent or maintenance                         program, and the covered units then       surrenders in the instance that
                                                 problem will continue to persist through                surrender allowances after the close of   emissions in the state exceed this level.
                                                 2023 and 2026 despite the emissions                     the control period, usually in an amount This limit on the degree to which a
                                                                                                         equal to their ozone season EGU NOxNOX
ddrumheller on DSK120RN23PROD with RULES2




                                                 reductions achieved by this rule.                                                                 state’s emissions can exceed its budget
                                                                                                                                                   state's
                                                 Commenters alleging overcontrol have                    emissions. While these programs have      is designed to allow for a certain level
                                                 not met the requirement that                            been effective in achieving overall       of year-to-year variability in power
                                                 overcontrol be established by                           reductions in emissions, experience has sector emissions to account for
                                                 particularized evidence through as-                     shown that these programs may not         fluctuations in demand and EGU
                                                 applied challenges. The Supreme Court                   fully reflect in perpetuity the degree of operations and is responsive to previous
                                                 has recognized that the EPA also has an                 emissions stringency determined           court decisions (see discussion in
                                                 obligation to avoid under-control and                   necessary to eliminate significant        section VI.B.5 of this document). In this


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00032   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                           Document #2009836                              Filed: 07/27/2023             Page 71 of 430
                                                                      Federal Register / Vol. 88, No. 107/Monday,
                                                                                                      107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules                                                             36685
                                                                                                                                                                                                   36685

                                                 action, the EPA is maintaining the                                              EPA’s transport
                                                                                                         consistent with the EPA's                             not be supported on the basis of
                                                 existing assurance provisions that limit                actions dating back to the NOxNOX SIP Call            environmental justice benefits, or were
                                                 state emissions to levels below a                                NOX Budget Trading Program.
                                                                                                         and the NOx                                           otherwise unlawful for other reasons.
                                                 percentage of the state's
                                                                      state’s budget by                  In all CSAPR EGU trading programs, for                These commenters argue that the EPA's  EPA’s
                                                 requiring additional allowance                          instance, new EGUs are subject to the                 Step 4 dynamic budget approach for
                                                 surrenders in any instance where                        program, and the EPA has established                  EGU regulation purportedly re-defines
                                                 emissions in the state exceed the                       provisions for the allocation of                      each state's
                                                                                                                                                                     state’s "significant
                                                                                                                                                                             ‘‘significant contribution’’
                                                                                                                                                                                           contribution"
                                                 specified level, but with adjustments                   allowances to such units through "new  ‘‘new          annually and independent of any
                                                 that allow the level to exceed 121                               asides.’’ See, e.g., 86 FR 23126.
                                                                                                         unit set asides."                                     impact (or lack thereof) on air quality.
                                                 percent of a state's
                                                                state’s budget in a given                In the NOx
                                                                                                                 NOX SIP Call, the EPA required                They further argue that under this
                                                 control period if necessary to account                  that states cover new and existing units              dynamic budgeting approach, even if a
                                                 for actual operational conditions in that               in the relevant source sectors through an             state eliminates the "amount"
                                                                                                                                                                                      ‘‘amount’’ the EPA
                                                 control period. In addition, the EPA is                 enforceable cap or other emissions                    has identified as the state's
                                                                                                                                                                                       state’s significant
                                                 also making several additional                          limitation. See 40 CFR 51.121(f). The                 contribution by respecting a given
                                                 enhancements to the EGU trading                         EPA’s approach of including new units
                                                                                                         EPA's                                                 control period’s
                                                                                                                                                                        period's emissions budget,
                                                 program in this action, including                               NOX Budget Trading Program
                                                                                                         in the NOx                                            sources within that state are expected to
                                                 routine recalibrations of the total                     promulgated under the EPA's EPA’s CAA                 continue to make further reductions by
                                                 amount of banked allowances, unit-                      section 126 authority was upheld by the               operating their controls in a particular
                                                 specific backstop daily emissions rates                 D.C. Circuit in Appalachian Power v.                  manner in subsequent control periods
                                                 for certain units, and unit-specific                    EPA, 249 F.3d 1032 (2001). As the court               under potentially lower emissions
                                                 secondary emissions limitations for                     noted, the EPA explained in its action:               budgets, which these commenters argue
                                                 certain units that contribute to                           Once EPA has determined that the                   is inconsistent with case law on prior
                                                 exceedances of the assurance levels, to                 emissions from the existing sources in an             CSAPR rules.
                                                 ensure EGU emissions control operation                  upwind State already make a significant                  Response: Many of these comments
                                                                                                                                                                  Response:
                                                 and associated air quality                              contribution to one or more petitioning               regarding Step 4 issues are addressed
                                                 improvements. Implementation of the                     downwind States, any additional emissions             elsewhere in this document or in the
                                                 EGU emissions reductions using a                        from a new source in that upwind State                RTC document. The EPA's
                                                                                                                                                               RTC                     EPA’s authority to
                                                 CSAPR NOxNOX trading program is further                 would also constitute a portion of that               establish unit- or source-specific
                                                                                                         significant contribution, unless the emissions        emissions rates is addressed in section
                                                 described in section VI.B of this                       from that new source are limited to the level
                                                 document.                                               of highly effective controls.                         IV.B.1 of this document. Responses to
                                                    In this rule, the EPA is also                                                                              comments and adjustments in the
                                                 establishing emissions limitations for                  Id. at 1058 (quoting EPA 1999 RTC at                  timing requirements of the final rule
                                                 the non-EGU industry sources listed in                  39). The court affirmed this approach:                compared to proposal are discussed in
                                                                                                         ‘‘Indeed, it would be irrational to enable
                                                                                                         "Indeed,                                              VI.A. Responses to comments and
                                                 Table II.A–1.
                                                        II.A-1. The EPA has the authority
                                                                                                         the EPA to make findings that a group                 adjustments in emissions control
                                                 to require emissions limitations from
                                                 stationary sources, as well as from other               of sources in an upwind state contribute              requirements for non-EGUs in the final
                                                                                                         to downwind nonattainment, but then                   rule compared to proposal are in section
                                                 sources and emissions activities, under
                                                                                                         preclude the EPA from regulating new                  VI.C of this document.
                                                                                                                                                               VI.0
                                                 CAA section 110(a)(2)(D)(i)(I). The EPA
                                                 finds that requiring NOxNOX emissions                   sources that contribute to that same                     Responses to comments on the EGU
                                                                                                         pollution.’’         1057–58. The EPA is
                                                                                                         pollution." Id. at 1057-58.                           trading program enhancements and
                                                 reductions through emissions rate limits
                                                                                                         implementing the same court-affirmed                  adjustments in the final rule are
                                                 and control technology requirements for
                                                 certain non-EGU industrial sources that                 approach in this action because this                  contained in section VI.B of this
                                                                                                         reasoning is equally applicable to                    document. However, here, in light of the
                                                 the EPA found at Step 3 to be relatively
                                                 impactful 9595 on downwind air quality is               addressing interstate transport                       changes in the emissions trading
                                                 an effective strategy for reducing                      obligations under CAA section                         program for EGUs that we are finalizing
                                                 regional ozone transport. Therefore, the                110(a)(2)(D)(i)(I) for the 2015 ozone                 in this action as compared to prior EGU
                                                                                                         NAAQS.                                                emissions trading programs
                                                 EPA is establishing NOx NOX emissions
                                                                                                            Comment: Commenters took issue                     promulgated to address good neighbor
                                                 limitations and associated compliance
                                                                                                         with aspects of the EPA's
                                                                                                                                EPA’s proposed Step            obligations under other NAAQS, we set
                                                 requirements for non-EGU sources to                     4 approach. Commenters argued the
                                                 ensure the elimination of significant                                                                         forth responses to comments specific to
                                                                                                         EPA could not set unit- or source-                    this topic.
                                                 contribution of ozone precursor
                                                                                                         specific emissions limits or other                       The EPA finds that these comments
                                                 emissions required under the interstate                 control requirements, for EGUs or non-                confuse Step 3 emissions reduction
                                                 transport provision for the 2015 ozone                  EGUs. Commenters argued that various                  stringency determinations with Step 4
                                                 NAAQS.
                                                    Finally, the EPA finds that the control              aspects of the non-EGU emissions                      implementation program details. In this
                                                 measures determined to be required for                  control strategy would not be feasible                rulemaking’s
                                                                                                                                                               rulemaking's Step 3 analysis, the EPA is
                                                                                                         for their facilities or were otherwise                measuring emissions reduction
                                                 the identified EGU and non-EGU
                                                                                                         flawed. Many industrial-source and                    potential from improving effective
                                                 sources apply to both existing units and
                                                                                                         EGU commenters argued that the EPA                    emissions rates across groups of EGUs
                                                 any new, modified, or reconstructed
                                                 units meeting the applicability criteria                had not provided sufficient time for                  adopting applicable pollution control
                                                 established in this final rule. This is                 sources to come into compliance.                      measures and selecting a uniform
                                                                                                                                                               control level whose effective emissions
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                         Commenters also challenged the EGU
                                                   95
                                                   95 Section III of the Non-EGU Screening
                                                                                                         trading program "enhancements"
                                                                                                                             ‘‘enhancements’’ as               rates deliver an acceptable outcome
                                                 Assessment memorandum in the docket for this            unnecessary or beyond the EPA's EPA’s                 under the multifactor test (including a
                                                 rulemaking describes the EPA's
                                                                            EPA’s approach to            authority. In this regard, commenters                 finding of no overcontrol at the selected
                                                 evaluating impacts on downwind air quality,             argued that these changes deviated from               control stringency level). The
                                                 considering estimated total, maximum, and average
                                                 contributions from each industry and the total
                                                                                                              EPA’s prior approach, were
                                                                                                         the EPA's                                             ‘‘amounts’’ defined as significant
                                                                                                                                                               "amounts"
                                                 number of receptors with contributions from each        unnecessary overcontrol, constituted a                contribution to nonattainment and
                                                 industry.                                               command-and-control approach, could                   interference with maintenance are


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00033   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                           Document #2009836                              Filed: 07/27/2023             Page 72 of 430
                                                 36686
                                                 36686                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 emissions that occur at effective                       that states and the EPA have authority                the opportunity for administrative
                                                 emissions rates above the control                       to select in securing the emissions                   appeal should an interested party
                                                 stringency level selected at Step 3. That               reductions deemed necessary under                     identify some flaw in the EPA's
                                                                                                                                                                                            EPA’s updated
                                                          state’s affected EGUs fail to
                                                 is, if a state's                                        Step 3. See CAA section 110(a)(2)(A).                 data. See 40 CFR 78.1(b)(19)(i) (2023).
                                                 reduce their effective emissions rates in               The EPA and the states routinely                      That process is coupled with the
                                                 line with the widely available and cost-                determine control stringency on an                    availability of judicial review should the
                                                 effective control measures identified,                  emissions rate basis in line with                     party remain dissatisfied with the EPA's
                                                                                                                                                                                                     EPA’s
                                                 they have therefore failed to eliminate                 demonstrated pollution control                        resolution of complaints. See 40 CFR
                                                 their significant contribution to                       opportunities, and both the EPA and the               78.1(a)(2) (requiring administrative
                                                 nonattainment and interference with
                                                 nonattainrnent                                          states have implementation program                    adjudication as a prerequisite for
                                                 maintenance of this NAAQS.                              design discretion to determine what                   judicial review). This administrative
                                                    In this rule, the EPA is finalizing                  compliance requirements, whether                      process has worked well throughout the
                                                           ‘‘enhancements’’ to its existing
                                                 several "enhancements"                                  expressed on a rate, mass,                            history of implementing good neighbor
                                                 Group 3 emissions trading program for                   concentration, or percentage basis, will              trading programs under Part 97, and no
                                                 ozone season NOx,NOX, for reasons                       assure an emissions performance that                  such disputes have necessitated judicial
                                                 explained in section VI.B.1 of this                     reflects the control stringency required.             resolution.
                                                 document. In general, these changes                     Dynamic budgets in the Step 4                            Further, because the dynamic budgets
                                                 will ensure that the emissions control                  implementation of this rule are simply                simply implement the stringency level
                                                 program promulgated for EGUs at Step                    to ensure the trading program continues               reflective of the emissions control
                                                 4 of the EPA's
                                                            EPA’s 4-step interstate transport            to incentivize the implementation of the              performance the EPA has determined at
                                                 framework is in alignment with the                      EGU control strategies we find are                    Step 3 for the covered EGUs, the EPA
                                                 emissions control stringency                            necessary to eliminate significant                    does not agree that any "potential
                                                                                                                                                                                         ‘‘potential
                                                 determinations the EPA made at Step 3.                  contribution at Step 3. The key                       variables’’
                                                                                                                                                               variables" that are unforeseeable now
                                                 These enhancements reflect lessons                      distinction between dynamic budget                    could upset the basis for the formula the
                                                 learned through the EPA's
                                                                         EPA’s experience                approaches and preset budget                          EPA is establishing in this action. The
                                                 with prior trading programs                             approaches is not one in stringency or                EPA has adjusted the role of dynamic
                                                 implemented under the good neighbor                     authority, but rather in timing and data              budgeting in this final rule as compared
                                                 provision and ensure that the                           resources for determining the suitable                to the proposal. See sections VI.B.1 and
                                                 implementation of the elimination of                    mass-based limits that are as well-                   VI.B.4 of the preamble. In particular, the
                                                 significant contribution through an                     matched as possible to expected                       EPA is applying an approach to budget
                                                 emissions trading program remains                       emissions of the affected EGUs                        setting through 2029 that will use the
                                                 durable through a period of power                       achieving the emissions rate-based                    greater of either a preset budget based
                                                 sector transition. None of commenters’
                                                                              commenters'                control stringency deemed necessary                   on information known to the Agency at
                                                                           EPA’s authority to
                                                 arguments against the EPA's                             under Step 3 to eliminate significant                 the time of this action, or the dynamic
                                                 implement these enhancements are                                          nonattainment and
                                                                                                         contribution to nonattainrnent                        budget to be calculated based upon
                                                 persuasive.                                             interference with maintenance of the                  future data yet to be reported. Thus,
                                                    First, the EPA is not mandating that                                                                       through 2029 the imposition of a
                                                                                                         NAAQS.
                                                 any EGU must install SCR technology.                                                                          dynamic budget would only increase
                                                 All but one of the enhancements to the                     The EPA does not agree that the                    rather than diminish the emissions
                                                 trading program continue to be                          administrative mechanisms by which it                 allowed for that control period
                                                 implemented through allowance-                          will implement "dynamic
                                                                                                                           ‘‘dynamic budgeting"
                                                                                                                                      budgeting’’              compared to the preset budgets
                                                 holding requirements under the mass-                    conflict with CAA section 307(d) or the               established in this action. In addition,
                                                 based emissions budget and trading                      Administrative Procedure Act. The EPA                 the EPA will determine each state's
                                                                                                                                                                                               state’s
                                                 system, including the backstop rate.                    is promulgating a complete FIP in this                dynamic budget based on a rolling 3-
                                                 (The secondary emissions limitation,                    action, and the codified language of that                                  state’s heat input,
                                                                                                                                                               year average of the state's
                                                 which is not implemented through                        FIP will not need to be modified as                   thus smoothing out trends to account for
                                                 allowance-holding requirements under                    budgets are adjusted. This is because the             interannual variability in demand and
                                                 the mass-based emissions budget and                     FIP establishes the formula by which                  heat input and provide greater certainty
                                                 trading system, and which is discussed                  the budgets will be calculated each year              and predictability as the budget updates
                                                 in section VI.B.1.c.ii of this document,                (with preset budgets functioning as a                 from year to year.
                                                 merely establishes a stronger deterrent                 floor from 2026 through 2029). This is                   Moreover, the EPA does not agree that
                                                 for a type of conduct that was already                  no different than how the EPA has                     the EPA is constrained by the statute to
                                                 strongly discouraged under the pre-                     implemented other calculations such as                only implement good neighbor
                                                 existing trading program regulations).                  updating allocations using a rolling set              obligations through fixed, unchanging,
                                                 Nonetheless, the EPA does have the                      of data in its prior CSAPR trading                    mass-based emissions budgets. See
                                                 authority to impose unit-specific                       programs. See, e.g., 87 FR 10786. We                  section III.B.1 of this document. The
                                                 emissions limits under the exercise of                  view these actions as fundamentally                   EPA finds good reason based on its
                                                 its FIP authority, and it has done so in                ministerial in nature in that no exercise             experience with trading programs using
                                                 this action for non-EGU industrial                      of Agency discretion is required. This                fixed budgets why this approach does
                                                 sources. This authority is distinct from                process will rely on notices of                       not necessarily ensure the elimination
                                                 the EPA's
                                                      EPA’s title I permitting authority as              availability of the relevant data in the              of significant contribution in perpetuity.
                                                                                                         Federal Register, coupled with an
ddrumheller on DSK120RN23PROD with RULES2




                                                 discussed by certain commenters, and                                                                          The EPA has already once adjusted its
                                                 the scope of that permitting authority is               opportunity for the public to correct any             historical approach to better account for
                                                 not relevant to this action.                            errors they may identify in the data                  known, upcoming changes in the EGU
                                                    The quantification of emissions                      before the EPA sets each updated                      fleet to ensure mass-based emissions
                                                 budgets in an allowance-based                           budget. See section VI.B.4 for more                   budgets adequately incentivize the
                                                 emissions trading program is one of                     detail on how the EPA intends to                      control strategy determined at Step 3.
                                                 multiple potential Step 4                               implement dynamic budgeting. As in                    This adjustment was introduced in the
                                                 implementation program design choices                   prior transport rules, this rule provides             Revised CSAPR Update. See 82 FR


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00034   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                            Document #2009836                              Filed: 07/27/2023                 Page 73 of 430
                                                                       Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                                   36687
                                                                                                                                                                                                            36687

                                                 23121–22.
                                                 23121-22.96 96 The EPA now believes it is                 application of its stringency measures               sector at the time the rule is
                                                 appropriate to ensure in a more                           identified in this rule.                             promulgated, and without any
                                                 comprehensive manner, and in                                 The EPA does not agree with                       additional requirement for pollution
                                                 perpetuity, that the mass-based                           commenters who suggest that these                    controls operation, can become quickly
                                                 emissions budget incentivize continuing                   enhancements are undertaken for the                  obsolete if the composition of the group
                                                 implementation of the Step 3 control                      purpose of a non-statutory                           of affected EGUs changes notably over
                                                 strategies to ensure significant                          ‘‘environmental justice’’
                                                                                                           "environmental     justice" objective. As            time. As some sources retire, other
                                                 contribution is eliminated in all upwind                  explained in section VI.B of this                                                       NOX
                                                                                                                                                                sources relax their operation of NOx
                                                 states and remains so. The dynamic                        document, certain enhancements to the                controls in response to a growing
                                                 budget-setting process preserves these                    trading program ensure that each EGU is              surplus of allowances, even though the
                                                 incentives over time by calculating the                   adequately incentivized to continuously              EPA had concluded that ongoing
                                                 state emissions budgets for each future                   operate its emissions controls once                  operation of those controls is necessary
                                                 control period so as to reflect the Step                  those controls are installed. One                    to meet the statutory good neighbor
                                                 3 control stringency finalized in this                    commenter contends that the backstop                 requirements. For instance, under the
                                                 rule as applied to the most current                       emissions rate is not authorized based               CSAPR Update, in the 2018–2020
                                                                                                                                                                                         2018-2020
                                                 information regarding the composition                     on environmental justice                             period, the fixed budget approach
                                                 of the power sector in the control                        considerations, since it is not necessary            enabled large, frequently run units with
                                                 period. This is fully analogous in                        and is overcontrol with respect to the               existing SCR controls to not optimize
                                                 material respect to an approach to                        EPA’s statutory authority to address
                                                                                                           EPA's                                                                                  EPA’s
                                                                                                                                                                those controls even though the EPA's
                                                 implementation at Step 4 that relies on                   good neighbor obligations. But the EPA               assessment (as reflected in the CSAPR
                                                 application of unit-specific emissions                    disagrees with the premise that these                Update) was that the optimization of
                                                 rates that apply in perpetuity. The                       enhancements are unrelated to the                    those controls was necessary to
                                                 availability of unit-specific emissions                   statutory obligation to eliminate                    eliminate significant contribution. This
                                                 rates as a means to eliminate significant                 significant contribution. Taking                     deterioration in emission rate at SCR-
                                                 contribution is discussed in further                      measures to ensure that each upwind                  controlled coal plants was widely
                                                 detail in section III.B.1 of this                         source covered by an emissions trading               observed across the CSAPR Update
                                                 document. The EPA also explained this                     program to eliminate significant                     geography as the program advanced into
                                                 in the proposal. See 87 FR 20095–96.
                                                                               20095-96.                   contribution is operating its installed              later years and allowance price
                                                 The EPA does not agree that either                        pollution controls on a more continuous              deteriorated. Whereas coal sources with
                                                 dynamic budgeting or the backstop rate                    and consistent basis throughout the                  SCR performed, on average, at a 0.086
                                                 results in overcontrol. See section V.D.4                 ozone season is entirely appropriate in              lb/mmBtu rate in 2017, that same set of
                                                 of this document.                                         light of the daily nature of the ozone               sources saw their environmental
                                                    The EPA is enhancing the trading                       problem, the impacts to public health                performance worsen to a 0.099 lb/
                                                 program to help reconcile the approach                    and the environment from ozone that                  mmBtu rate in 2020. A Congressional
                                                 of using mass-based budgets to achieve                    can occur through short-term exposure                Research Service Report on EPA prior
                                                 the elimination of significant                            (e.g., over a course of hours), the fact             CSAPR trading programs indicated low
                                                 contribution with the Wisconsin                           that the 2015 ozone NAAQS is                         prices observed in later years "could
                                                                                                                                                                                                ‘‘could
                                                 directive to provide a complete remedy                    expressed as an 8-hour average, and that
                                                                                                                                                                lead to some decisions not to run some
                                                 under the good neighbor provision. This                   only a small number of days in excess                pollution controls at maximum output.
                                                 approach also better accords with                         of the ozone NAAQS are necessary to                  This would, in turn, lead to higher
                                                                                                           place a downwind area in
                                                 ensuring measures to attain and                                                                                emissions’’.97
                                                                                                                                                                emissions".97
                                                                                                           nonattainment, resulting in continuing
                                                 maintain the NAAQS are permanent                                                                                  In the case of individual units, this
                                                                                                           and/or increased regulatory burden on
                                                 and enforceable. The dynamic budget                                                                            deterioration in performance can be
                                                                                                           the downwind jurisdiction. See section
                                                 approach recognizes that the                                                                                   quite pronounced and can occur as
                                                                                                           III.A of this document.
                                                 uncertainty around future fleet                              Further, the D.C. Circuit has held that           quickly as the second or third control
                                                 conditions increases the further into the                 the EPA must ensure that its good                    period, as in the case of Miami Fort Unit
                                                 future one looks (and the EPA must look                   neighbor program has eliminated each                 7 in Ohio in 2019, discussed in section
                                                 further under the "full
                                                                    ‘‘full remedy’’
                                                                           remedy"                         state’s sources from continuing to
                                                                                                           state's                                              V.B of this document. The absence of a
                                                 directive). To preserve its ability to                    significantly contribute to                          sufficient incentive under the trading
                                                 successfully implement its identified                     nonattainment or interfere with                      program to implement the identified
                                                 Step 3 stringency, the EPA is designing                   maintenance in downwind states. See                  control strategy at Step 3 can even result
                                                 the implementation of this rule’s
                                                                                rule's                     North Carolina, 531 F.3d at 921. The                 in collective emissions that exceed
                                                 emissions control program to benefit                      commenters neglect to acknowledge the                state-wide assurance levels. The EPA
                                                 from the future availability of better data               scenario that has frequently borne out in            established these levels beginning with
                                                 from the regulated sources to inform its                  prior programs, in which future fleet                CSAPR, above which enhanced
                                                                                                           changes that were not known at the time              allowance-surrender requirements are
                                                   96
                                                    96 Further, in the Revised CSAPR Update, the
                                                                                                           of initial setting of state emissions                triggered, in an effort to ensure sources
                                                 EPA acknowledged that a mechanism like dynamic                                                                 in each state are held to eliminate their
                                                 budgeting could be appropriate for a transport rule       budgets produce unexpected "hot  ‘‘hot air"
                                                                                                                                                  air’’
                                                 with longer time horizons. We stated in response          in the budget that, if unaccounted for,              own significant contribution, which the
                                                 to comments that we were not "in  ‘‘in this action,       other units can exploit to forgo                     D.C. Circuit has held is legally required,
                                                 including an adjustment mechanism to further                                                                   see North Carolina, 531 F.3d 896, 906–
                                                                                                                                                                                                     906-
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                           identified cost-effective mitigation
                                                 adjust state emission budgets to account for                                                                   08 (D.C. Cir. 2008). In four instances
                                                 currently unknown or uncertain retirements after          measures deemed necessary to eliminate
                                                 the finalization of this rule . . . . EPA observes that   significant contribution to                          over the course of the 2019, 2020, and
                                                 the commenter’s
                                                      commenter's proposed mechanism would                 nonattainment and interference with
                                                 become increasingly valuable for rules where the          maintenance of the NAAQS.
                                                                                                                                                                  97               ‘‘The Clean Air Act's
                                                                                                                                                                  97 Shouse, Kate. "The            Act’s Good
                                                 timeframe extends further into the future where                                                                Neighbor Provision: Overview of Interstate Air
                                                 retirement uncertainty is higher."
                                                                             higher.’’ Revised CSAPR
                                                                                                              The EPA's
                                                                                                                   EPA’s experience is that fixed                         Control’’. Congressional Research
                                                                                                                                                                Pollution Control".
                                                                                      EPA–HQ–OAR–
                                                 Update Response to Comments, EPA—HQ—OAR-                  mass-based budgets that are determined               Services. August 30,  2018. Available at https://
                                                                                                                                                                                 30,2018.
                                                 2020–0272–219, at 153.
                                                 2020-0272-219,                                            based only on the profile of the power               sgp.fas.org/crs/misc/R45299.pdf.
                                                                                                                                                                sgpfas.orgIcrs/misc/R45299.pdf



                                            VerDate Sep<11>2014    20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00035   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                           Document #2009836                              Filed: 07/27/2023                 Page 74 of 430
                                                 36688
                                                 36688                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 2021 control periods under the CSAPR                    within that framework for sources in                  understanding of how an emissions
                                                 Update, sources in Mississippi and                      certain areas within that region, or                  trading program that does not properly
                                                 Missouri collectively exceeded their                    during periods of high ozone when good                anticipate future fleet conditions at Step
                                                 state-wide assurance levels in part due                 emissions performance is most                         4 may fail to achieve the elimination of
                                                 to deterioration in emissions                           essential, to emit at levels well in excess           emissions that should be prohibited
                                                 performance that can be attributed to a                        EPA’s Step 3 determinations of
                                                                                                         of the EPA's                                          based on our findings at Step 3. Further,
                                                 glut of allowances within the CSAPR                     significant contribution. Significant                 we find there to be no "serious
                                                                                                                                                                                       ‘‘serious reliance
                                                 Update. See section VI.B.8 of the                       contribution, according to the statute,               interests’’
                                                                                                                                                               interests" that have been or even could
                                                 preamble.                                                        ‘‘prohibited.’’ CAA section
                                                                                                         must be "prohibited."                                 have been "engendered"
                                                                                                                                                                           ‘‘engendered’’ by any prior
                                                    Thus, while this trading program                     110(a)(2)(D)(i).                                      policy on these issues, see id. at 515–16.
                                                                                                                                                                                                  515-16.
                                                 structure may achieve some                                 Thus, these trading program                        The EPA is implementing these
                                                 environmental benefit through fixed                     enhancements are within the EPA'sEPA’s                enhancements for the first time with
                                                 emissions budgets for initial control                   authority under CAA section                           respect to a new obligation—good
                                                 periods, over time those fixed budgets                  110(a)(2)(D)(i)(I) to eliminate interstate            neighbor requirements for the 2015
                                                 cease to have their intended effect, and                ozone pollution that significantly                    ozone NAAQS. No party reasonably
                                                 remaining operating facilities can, and                 contributes to nonattainment or                       could have invested substantial
                                                 have, increased emissions or even                       interferes with maintenance in                        resources to-date to comply with an
                                                 discontinued the operation of their                     downwind states. These enhancements                   obligation that was heretofore
                                                 emissions controls. This, in turn, can                  ensure the elimination of significant                 undefined; and no commenter has
                                                 lead to the continuation (or re-                        contribution across all upwind states                 supplied any information to the
                                                 emergence) of significant contribution                  and throughout each ozone season. We                  contrary.
                                                 in terms of a recurrence of excessive                   observe in the Ozone Transport Policy
                                                 emissions that had been slated for                      Analysis Final Rule TSD, section E, that              2. FIP Authority for Each State Covered
                                                 permanent elimination under the EPA's   EPA’s           the trading program enhancements may                  by the Rule
                                                 determinations at Step 3. Although the                  also benefit underserved and                             On October 26, 2015, the EPA
                                                 EPA has always intended for its trading                 overburdened communities downwind                     promulgated a revision to the 2015 8-
                                                 programs to provide flexibility, the                    of EGUs in the covered geography of the               hour ozone NAAQS, lowering the level
                                                 Agency did not expect and has certainly                 final rule. See section VI.B of this                  of both the primary and secondary
                                                 never endorsed the use of that flexibility              document. This does not detract from                  standards to 0.070 parts per million
                                                 to stop the operation of controls that                  the statutorily-authorized basis for these            (ppm).
                                                                                                                                                               (ppm).9898 These revisions of the NAAQS,

                                                 have already been installed. See, e.g., 76              changes, and the EPA finds nothing                    in turn, established a 3-year deadline for
                                                 FR 48256–57
                                                      48256-57 (‘‘[I]t
                                                                  ("[I]t would be                        impermissible in acknowledging the                    states to provide SIP submissions
                                                 inappropriate for a state linked to                     reality of these potential benefits for               addressing infrastructure requirements
                                                 downwind nonattainment or                               underserved and overburdened                          under CAA sections 110(a)(1) and CAA
                                                 maintenance areas to stop operating                     communities.                                          110(a)(2), including the good neighbor
                                                 existing pollution control equipment                       The EPA appreciates a commenter’s
                                                                                                                                     commenter's               provision, by October 1, 2018. If the
                                                 (which would increase their emissions                   concern that our actions be legally                   EPA makes a determination that a state
                                                        contribution).’’). Despite the EPA's
                                                 and contribution).").                  EPA’s            defensible. The EPA acknowledges that                 failed to submit a SIP, or if EPA
                                                 expectations in CSAPR, the historical                   the changes to the trading program                    disapproves a SIP submission, then the
                                                 data establishes a real risk of "under-
                                                                                   ‘‘under-              structure for implementing good                       EPA is obligated under CAA section
                                                 control’’ if the existing trading
                                                 control"                                                neighbor obligations discussed here                   110(c) to promulgate a FIP for that state
                                                 framework is not improved upon. See                     constitute a change in the policy                     within 2 years. For a more detailed
                                                 EME Homer City, 572 U.S. at 523                         underlying its prior transport-rule                   discussion of CAA section 110 authority
                                                 (‘‘[T]he Agency also has a statutory
                                                 ("[T]he                                                 trading programs for EGUs. However,                   and timelines, refer to section III.C
                                                                                                                                                                                                III.0 of
                                                 obligation to avoid ‘under-control,’
                                                                         `under-control,' i.e.,          the EPA is confident that these changes               this document.
                                                 to maximize achievement of attainment                   are in compliance with the holdings in                   The EPA is finalizing this FIP action
                                                 downwind.’’).
                                                 downwind.").                                            judicial decisions reviewing prior                    now to address 23 states'
                                                                                                                                                                                    states’ good neighbor
                                                    This result is also inconsistent with                transport rules. The fact that the EPA is             obligations for the 2015 ozone
                                                                              ‘‘prohibit’’
                                                 the statutory mandate to "prohibit"                     making changes does not somehow                       NAAQS.99 For each state for which the
                                                                                                                                                               NAAQS.99
                                                 significant contribution and interference               render these enhancements legally                     EPA is finalizing this FIP, the EPA
                                                 with maintenance of the NAAQS in                        impermissible or even subject to a                    either issued final findings of failure to
                                                 downwind states, as evidenced most                      heightened standard of review. See FCC FCC            submit or has issued a final disapproval
                                                 clearly in CAA section 126, which                       v. Fox Television Stations, 556 U.S. 502,             of that state's
                                                                                                                                                                       state’s SIP submission.
                                                 makes it unlawful for a source "to  ‘‘to                514 (2009) ("We
                                                                                                                      (‘‘We find no basis in the                  Several commenters asserted that the
                                                 operate more than three months after [a                 Administrative Procedure Act or in our                                  EPA’s actions, and in
                                                                                                                                                               sequence of the EPA's
                                                 finding that the source emits or would                  opinions for a requirement that all                   particular, the timing of its proposed
                                                 emit in violation of the good neighbor                  agency change be subjected to more                    FIP (which was signed on February 28,
                                                 provision] has been made with respect                   searching review.’’).
                                                                                                                     review."). We have explained
                                                 to it."
                                                     it.’’ 42 U.S.C. 7426(c)(2) (emphasis                previously and elsewhere in the record                   99 National Ambient Air Quality
                                                                                                                                                                  98                        Quality Standards for
                                                 added). See also North Carolina, 531                                    ‘‘good reasons"
                                                                                                         that there are "good   reasons’’ for the              Ozone, Final Rule, 80 FR 65292 (Oct. 26, 2015).
                                                 F.3d at 906–08
                                                            906-08 (each state must be held              ‘‘new policy.’’
                                                                                                         "new   policy." See id. at 515. And, we               Although the level of the standard is specified in
                                                                                                                                                               the units of ppm, ozone concentrations are also
ddrumheller on DSK120RN23PROD with RULES2




                                                 to the elimination of its own significant               are of course fully aware that we have                described in parts per billion (ppb). For example,
                                                 contribution). The purpose of the                       changed our position. See id. at 514–15.
                                                                                                                                             514-15.           0.070 ppm is equivalent to 70 ppb.
                                                 Agency’s interstate trading programs
                                                 Agency's                                                Specifically, we have gone from                          99 The EPA notes that it is subject to, and has met
                                                                                                                                                                  99

                                                 under the good neighbor provision is to                 previously treating fixed, mass-based                 through this action, a consent decree deadline to
                                                 afford sources some flexibility in                      budgets as sufficient to eliminate                    promulgate FIPs addressing 2015 ozone NAAQS
                                                                                                                                                               good neighbor obligations for the states of
                                                 achieving region-wide emissions                         significant contribution, to an approach              Pennsylvania, Utah, and Virginia. See Sierra Club
                                                 reductions; however, there is no                        for purposes of the 2015 ozone NAAQS                  et al. v. Regan, No. 3:22–cv–01992–JD
                                                                                                                                                                                    3:22—cv-01992—JD (N.D.
                                                                                                                                                                                                         (ND. Cal.
                                                 justification that can be sustained                     reflecting a more nuanced                             entered January 24, 2023).



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00036   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                            Document #2009836                              Filed: 07/27/2023                   Page 75 of 430
                                                                       Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                                     36689
                                                                                                                                                                                                              36689

                                                 2022, and published on April 6, 2022)                     disapproval or making a finding of                     FIP actions for those states. As
                                                 in relation to the timing of its proposed                 failure to submit. The Supreme Court                   discussed in section IV.F of this
                                                 SIP disapprovals (most of which were                      recognized in EME
                                                                                                                           EME Homer City
                                                                                                                                        City that the             document, the EPA's
                                                                                                                                                                                   EPA’s most recent
                                                 published on February 22, 2022, four of                   EPA is not obligated to first define a                 modeling and air quality analysis
                                                 which were published on May 24, 2022,                     state’s good neighbor obligations or give
                                                                                                           state's                                                indicates that several states may be
                                                 and one of which was published on                         the state an additional opportunity to                 linked to downwind receptors for which
                                                 October 25, 2022), was either unlawful                    submit an approvable SIP before                        we had not previously proposed
                                                 or unreasonable in light of the sequence                  promulgating a FIP: "EPA
                                                                                                                                 ‘‘EPA is not obliged             disapproval or FIP action. The EPA
                                                 of steps required under CAA section                       to wait two years or postpone its action               anticipates addressing remaining
                                                 110(k) and (c).                                           even a single day: The Act empowers                    interstate transport obligations for the
                                                    These commenters are incorrect. As                     the Agency to promulgate a FIP 'at ‘at any             2015 ozone NAAQS for these in a
                                                 an initial matter, concerns about the                                                 limit.’’ 101
                                                                                                           time’ within the two-year limit."
                                                                                                           time'                                                  subsequent rulemaking.)
                                                                              EPA’s actions
                                                 timing or substance of the EPA's                          Thus, the EPA may promulgate a FIP                        Additionally, the EPA has taken
                                                 on the SIP submittals are beyond the                      contemporaneously with or                                                             EPA’s
                                                                                                                                                                  action that has triggered the EPA's
                                                 scope of this action. Nor are the timing                  immediately following predicate final                  obligation under CAA section 110(c) to
                                                 or contents of merely proposed actions                    SIP disapproval (or finding no SIP was                 promulgate FIPs addressing the good
                                                 to be considered final agency actions or                  submitted). To accomplish this, the EPA                neighbor provision for several
                                                 subject to judicial review. See In re                     must necessarily be able to propose a                  downwind states. On December 5, 2019,
                                                 Murray Energy, 788 F.3d 330 (D.C. Cir.
                                                 Murray                                                    FIP prior to taking final action to                    the EPA published a rule finding that
                                                 2015). With these principles in mind,                     disapprove a SIP or make a finding of                  seven states (Maine, New Mexico,
                                                 the timing of this final action is lawful                 failure to submit.                                     Pennsylvania, Rhode Island, South
                                                 under the Act. First, the EPA is not                        Second, and more importantly, the                    Dakota, Utah, and Virginia) failed to
                                                 required to wait to propose a FIP until                   EPA has established predicate authority                submit or otherwise make complete
                                                 after the Agency proposes or finalizes a                  to promulgate FIPs for all of the covered              submissions that address the
                                                 SIP disapproval or makes a finding of                     states through its action with respect to              requirements of CAA section
                                                            submit.100 CAA section 110(c)
                                                 failure to submit.10°                                     the relevant SIP submittals. A brief                   110(a)(2)(D)(i)(I) for the 2015 ozone
                                                 authorizes the EPA to promulgate a FIP                    history of these actions follows:                      NAAQS.106 This finding triggered a 2-
                                                                                                                                                                  NAAQS.106
                                                 ‘‘at any time within 2 years"
                                                 "at                     years’’ of a SIP                    On February 22, 2022, the EPA                        year deadline for the EPA to issue FIPs
                                                                                                           proposed to disapprove 19 good                         to address the good neighbor provision
                                                    100 The EPA notes there are three consent decrees      neighbor SIP submissions (Alabama,                     for these states by January 6, 2022. As
                                                                                              EPA’s duty
                                                 to resolve three deadline suits related to EPA's          Arkansas, Illinois, Indiana, Kentucky,                 the EPA has subsequently received and
                                                 to act on good neighbor SIP submissions for the           Louisiana, Maryland, Michigan,                         taken final action to approve good
                                                 2015 ozone NAAQS. In New  New York et alal. v. Regan,
                                                 et al. (No. 1:21-CV-00252,
                                                             1:21–CV–00252, S.D.N.Y.), the EPA
                                                                                                           Minnesota, Mississippi, Missouri, New                  neighbor SIPs from Maine, Rhode
                                                 agreed to take final action on the 2015 ozone             Jersey, New York, Ohio, Oklahoma,                      Island, and South Dakota,107
                                                                                                                                                                                       Dakota,107 the EPA
                                                 NAAQS good neighbor SIP submissions from                  Tennessee, Texas, West Virginia,                       currently has authority under the
                                                 Indiana, Kentucky, Michigan, Ohio, Texas, and             Wisconsin).102
                                                                                                                        102 Alabama subsequently
                                                                                                                                                                  December 5, 2019, findings of failure to
                                                 West Virginia by April 30, 2022; however, if the
                                                 EPA proposes to disapprove any SIP submissions
                                                                                                           withdrew its SIP submission and re-                    submit to issue FIPs for New Mexico,
                                                 and proposes a replacement FIP by February 28,            submitted a SIP submission on June 22,                 Pennsylvania, Utah, and Virginia. In
                                                              EPA’s deadline to take final action on
                                                 2022, then EPA's                                          2022. The EPA proposed to disapprove                   this final rule, the EPA is issuing FIP
                                                 that SIP submission is extended to December 30,           that SIP submittal on October 25,                      requirements for Pennsylvania, Utah,
                                                           Downwinders
                                                 2022. In Down   winders at Risk et al. v. Regan (No.      2022. 103 The EPA proposed to
                                                                                                           2022.103                                                    Virginia.108
                                                 21–cv–03551, N.D. Cal.), the EPA agreed to take
                                                 21-cv-03551,
                                                                                                                                                                  and Virginia.108
                                                 final action on the 2015 ozone NAAQS good                 disapprove good neighbor SIP                              Further information on the procedural
                                                 neighbor SIP submissions from Alabama, Arkansas,          submissions for four additional states,                history establishing the EPA's
                                                                                                                                                                                             EPA’s authority
                                                 Connecticut, Florida, Georgia, Illinois, Indiana,         California, Nevada, Utah, and Wyoming,                 for this final rule is provided in a
                                                 Iowa, Kansas, Kentucky, Louisiana, Maryland,              on May 24, 2022.  104
                                                                                                                        2022.104                                  document in the docket.109
                                                 Michigan, Minnesota, Mississippi, New Jersey, New
                                                 York, North Carolina, Ohio, Oklahoma, South
                                                                                                              Subsequently, on January 31, 2023,
                                                 Carolina, Tennessee, Texas, West Virginia, and            the EPA Administrator signed a single                     106 Findings of Failure To Submit a Clean Air Act
                                                                                                                                                                    108

                                                 Wisconsin by April 30, 2022; however, if the EPA          disapproval action for all of the above                Section 110 State Implementation Plan for
                                                 proposes to disapprove any of these SIP                                                                          Interstate Transport for the 2015
                                                                                                                                                                                                2015 Ozone National
                                                                                                           states, with the exception of Tennessee                Ambient Air Quality
                                                                                                                                                                                 Quality Standards (NAAQS), 84 FR
                                                 submissions and proposes a replacement FIP by
                                                 February 28, 2022, then the EPA's
                                                                              EPA’s deadline to take            Wyoming.105 This action
                                                                                                           and Wyoming.105                                        66612 (December 5, 2019, effective January 6, 2020).
                                                 final action on that SIP submission is December 30,       established the EPA's
                                                                                                                            EPA’s authority to                           Air Plan Approval;
                                                                                                                                                                    107 Air       Approval; Maine and NewNew
                                                 2022. In this CD, the EPA also agreed to take final       promulgate FIPs for the disapproved                    Hampshire; 2015
                                                                                                                                                                  Hampshire;    2015 Ozone NAAQS Interstate
                                                            Hawaii’s SIP submission by April 30,
                                                 action on Hawaii's                                                                                               Transport Requirements, 86 FR 45870 (August 17,
                                                                                                           states. (As explained in section IV.F of                                 Approval; Rhode Island;
                                                                                                                                                                  2021); Air Plan Approval;           Island; 2015
                                                 2022, and to take final action on the SIP
                                                 submissions of Arizona, California, Montana,              this document, the Agency is deferring                 Ozone NAAQS Interstate Transport Requirements,
                                                 Nevada, and Wyoming by December 15, 2022. In              action at this time for Tennessee and                  86 FR 70409 (December 10, 2021); Promulgation of    of
                                                 Our Children’s
                                                      Children's Earth Foundation v. EPA (No. 20–  20-     Wyoming with respect to its proposed                                                 Revisions; Infrastructure
                                                                                                                                                                  State Implementation Plan Revisions;
                                                 8232, S.D.N.Y.), the EPA agreed to take final action                                                             Requirements for the 2015
                                                                                                                                                                                          2015 Ozone National Ambient
                                                 on the 2015 ozone NAAQS good neighbor SIP                                                                        Air Quality   Standards; South Dakota;
                                                                                                                                                                       Quality Standards;          Dakota; Revisions to
                                                                                                             101 See EPA v. EME Homer City
                                                                                                                                         City Generation, L.P.,
                                                 submission from New York by April 30, 2022;                                                                      the Administrative Rules of South Dakota, 85 FR
                                                                                                           572 U.S. 489, 509 (2014) (citations omitted).          29882 (May 19, 2020).
                                                 however, if the EPA proposes to disapprove New              102 See 87 FR 9463 (Maryland); 87 FR 9484 (New          108 WildEarth Guardians v. Regan, No. 1:22-cv-
                                                                                                                                                                                                              1:22–cv–
                                                 York’s SIP submission and proposes a replacement
                                                 York's                                                                                                             1°8

                                                 FIP by February 28, 2022, then the EPA's
                                                                                       EPA’s deadline      Jersey, New York); 87 FR 9498 (Kentucky); 87 FR        00174 (D.N.M. entered Aug. 16, 2022); Sierra Club
                                                 to take final action on New York's
                                                                              York’s SIP submission        9516 (West Virginia); 87 FR 9533 (Missouri); 87 FR     et al. v. EPA, No. 3:22–cv–01992
                                                                                                                                                                                      3:22-cv-01992 (N.D. Cal. entered
ddrumheller on DSK120RN23PROD with RULES2




                                                 is extended to December 30, 2022. By stipulation          9545 (Alabama, Mississippi, Tennessee); 87 FR          Jan. 24, 2023).
                                                 of the parties, the December 15, 2022, date in all        9798 (Arkansas, Louisiana, Oklahoma, Texas); 87                   ‘‘Final Rule: Status of CAA Section
                                                                                                                                                                     109 See "Final
                                                                                                                                                                    10°
                                                 three of these consent decrees was extended to            FR 9838 (Illinois, Indiana, Michigan, Minnesota,       110(a)(2)(D)(i)(I) SIP Submissions for the 2015
                                                 January 31, 2023. By further stipulation of the           Ohio, Wisconsin).                                      Ozone NAAQS for States Covered by the Proposed
                                                                                                             103 See 87 FR 64412.
                                                 parties in the Down
                                                                Downwinders
                                                                      winders at Risk case, the January                                                           Federal Implementation Plan Addressing Regional
                                                                                                             104 See 87 FR 31443 (California); 87 FR 31485
                                                 31, 2023, date was further extended to December             104                                                  Ozone Transport for the 2015 Ozone National
                                                 15, 2023 for the EPA to act on the SIP submissions        (Nevada); 87 FR 31470 (Utah); 87 FR 31495                                     Standards.’’ This document
                                                                                                                                                                  Ambient Air Quality Standards."
                                                 from the states of Arizona, Tennessee, and                (Wyoming).                                             updates a prior document of the same title provided
                                                                                                             105 See 88 FR 9336.                                                                                Continued
                                                 Wyoming.                                                    108




                                            VerDate Sep<11>2014    20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00037   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM    05JNR2
                                                       USCA Case #23-1157                             Document #2009836                                Filed: 07/27/2023                    Page 76 of 430
                                                 36690
                                                 36690                  Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                                 EPA’s previous actions are
                                                    While the EPA's                                         2019, ozone infrastructure SIP                           EPA is including all areas of Indian
                                                 sufficient to establish that the EPA's
                                                                                    EPA’s                   submissions as satisfying the                            country within the covered geography,
                                                 promulgation of this FIP action at this                    requirements of CAA section                              notwithstanding whether those areas are
                                                 time is lawful, the timing of this action                  110(a)(2)(D)(i)(I) for the 2015 ozone                    currently subject to a state's
                                                                                                                                                                                            state’s
                                                 is all the more reasonable in light of the                 NAAQS. The EPA proposed to                               implementation planning authority or
                                                 need for the EPA to address good                           determine that the basis for the prior SIP               the potential planning authority of a
                                                 neighbor obligations consistent with the                   approval was invalidated by the                          tribe.
                                                 rest of title I of the CAA. In particular,                 Agency’s more recent technical
                                                                                                            Agency's
                                                 the D.C. Circuit in Wisconsin
                                                                        Wisconsin held that                 evaluation of air quality modeling                       a. Indian Country Subject to Tribal
                                                 states and the EPA are obligated to fully                  performed in support of the proposed                     Jurisdiction
                                                 address good neighbor obligations for                      rule,114 and that Delaware had
                                                                                                            rule,114                                      With respect to areas of Indian
                                                 ozone "as
                                                         ‘‘as expeditiously as practical’’
                                                                                 practical"                 unresolved interstate transport            country not currently subject to a state's
                                                                                                                                                                                            state’s
                                                 and in no event later than the next                        obligations for the 2015 ozone NAAQS.      implementation planning authority—
                                                 relevant downwind attainment dates                         The EPA also proposed to issue a FIP for   i.e., Indian reservation lands (with the
                                                 found in CAA section 181(a).110 In                         Delaware given these unresolved            partial exception of reservation lands
                                                 Maryland v. EPA, the D.C. Circuit made                     interstate transport obligations.          located in the State of Oklahoma, as
                                                 clear that Wisconsin’s
                                                              Wisconsin's and North                         However, based on the updated air          described further in this section) and
                                                 Carolina’s
                                                 Carolina's holdings are fully applicable                   quality modeling described in section      other areas of Indian country over
                                                 to the Marginal area attainment date for                   IV.F. of this document and the technical   which the EPA or a tribe has
                                                 the 2015 ozone NAAQS,111
                                                                     NAAQS,111 which fell                   assessment that informs this final rule,   demonstrated that a tribe has
                                                 on August 3, 2021.     112 As discussed in
                                                                  2021.112                                  the EPA finds that Delaware is not         jurisdiction—the EPA here makes a
                                                 section VI.A of this document, by                          projected to be linked to any downwind     ‘‘necessary or appropriate"
                                                                                                                                                       "necessary      appropriate’’ finding that
                                                 finalizing this action now, the EPA is                     receptor above the 1 percent of the        direct Federal implementation of the
                                                 able to implement initial required                         NAAQS threshold in 2023. Thus, based       rule’s
                                                                                                                                                       rule's requirements is warranted under
                                                 emissions reductions to eliminate                          on the record before the Agency now,       CAA section 301(d)(4) and 40 CFR
                                                 significant contribution by the 2023                                                  Delaware’s SIP
                                                                                                            the original approval of Delaware's        49.11(a) (the areas of Indian country
                                                 ozone season, which is the last full                       submission was not in error, and the       subject to this finding will be referred to
                                                 ozone season before the next attainment                    EPA is withdrawing its proposed error      as the CAA section 301(d) FIP areas).
                                                 date, the Moderate area attainment date                    correction and proposed FIP for            Indian Tribes may, but are not required
                                                 of August 3, 2024. The Wisconsin
                                                                             Wisconsin court                Delaware.                                  to, submit tribal plans to implement
                                                 emphasized that the EPA has the
                                                 authority under CAA section 110 to                         2. Application of Rule in Indian Country CAA requirements, including the good
                                                                                                            and Necessary or Appropriate Finding       neighbor provision. Section 301(d) of
                                                 structure and time its actions in a
                                                 manner such that the Agency can ensure                        The EPA is finalizing its               the  CAA and 40 CFR part 49 authorize
                                                                                                            determination that this rule will be       the Administrator to treat an Indian
                                                 necessary reductions are achieved in
                                                 alignment with the downwind                                applicable in all areas of Indian country Tribe in the same manner as a state (i.e.,
                                                 attainment schedule, and that is                           (as defined at 18 U.S.C. 1151) within the TAS) for purposes of developing and
                                                 precisely what the EPA is doing here.113
                                                                                      here.113              covered geography of the final rule, as    implementing a tribal plan
                                                 The EPA provides further response to                       defined in this section. Certain areas of  implementing good neighbor
                                                 the comments on this issue in section 1                    Indian country within the geography of     obligations. See 40 CFR 49.3; see also
                                                 of the RTC
                                                         RTC document.                                      the rule are or may be subject to state    ‘‘Indian Tribes: Air Quality Planning
                                                                                                                                                       "Indian
                                                                                                            implementation planning authority.         and   Management,’’ hereafter "Tribal
                                                                                                                                                             Management,"              ‘‘Tribal
                                                 C. Other CAA Authorities for This                                                                                 Rule’’ (63 FR 7254, February
                                                                                                                                                       Authority Rule"
                                                                                                            Other areas of Indian country within
                                                 Action                                                                                                12, 1998). The EPA is authorized to
                                                                                                            that geography are subject to tribal
                                                 1. Withdrawal of Proposed Error                            planning authority, although none of the directly implement the good neighbor
                                                 Correction for Delaware                                    relevant tribes have as yet sought         provision in the 301(d) FIP areas when
                                                                                                            eligibility to administer a tribal plan to it finds, consistent with the authority of
                                                    The EPA proposed at 87 FR 20036 to                                                                 CAA section 301—which the EPA has
                                                 make an error correction under CAA                         implement the good neighbor
                                                                                                            provision.  115 As described later, the
                                                                                                            provision.115                              exercised in 40 CFR 49.11—that it is
                                                 section 110(k)(6) of its May 1, 2020,                                                                 necessary or appropriate to do so.116
                                                                                                                                                                                         so.116
                                                 approval at 85 FR 25307 of the interstate                    114 See the Air Quality Modeling Proposed Rule
                                                 transport elements for Delaware's
                                                                          Delaware’s                          114
                                                                                                            TSD in the docket for this rule.                         any linked upwind states'
                                                                                                                                                                                            states’ good neighbor
                                                 October 11, 2018, and December 26,                           115 We note that, consistent with the EPA's
                                                                                                              115                                     EPA’s prior    obligations. See, e.g., Approval and Promulgation of
                                                                                                            good neighbor actions in California, the regulatory      Air Quality                           Plans; California;
                                                                                                                                                                          Quality State Implementation Plans;      California;
                                                 at proposal (Document no. EPA—HQ—OAR-2021-
                                                                              EPA–HQ–OAR–2021–              ozone monitor located on the Morongo Band of             Interstate Transport Requirements for Ozone, Fine
                                                 0668–0131).
                                                 0668-0131).                                                Mission Indians (‘‘Morongo’’)
                                                                                                                              ("Morongo") reservation is a           Particulate Matter, and Sulfur Dioxide, 83 FR 65093
                                                    110 Wisconsin v. EPA, 938 F.3d 303, 313–14
                                                   110                                     313-14 (D.C.     projected downwind receptor in 2023. See                 (December 19, 2018). Under 40 CFR 49.4(a), tribes
                                                 Cir. 2019) (citing North Carolina v. EPA, 531 F.3d         monitoring site 060651016 in Table IV.D.-1.
                                                                                                                                                   IV.D.–1. We       are not subject to the specific plan submittal and
                                                       911–13 (D.C. Cir. 2008).
                                                 896, 911-13                                                also note that the Temecula, California, regulatory      implementation deadlines for NAAQS-related
                                                    111 Maryland v. EPA, 958 F.3d 1185, 1203-04
                                                   111Mazy/and                             1203–04          ozone monitor is a projected downwind receptor in        requirements, including deadlines for submittal of
                                                 (D.C. Cir. 2020).                                          2023 and in past regulatory actions has been             plans addressing transport impacts.
                                                    112 See CAA section 181(a); 40 CFR 51.1303;
                                                   112                                                      deemed representative of air quality on the                                         Serv. Co. v. U.S.
                                                                                                                                                                        116 See Arizona Pub. Sew.
                                                                                                                                                                        116                                  U.S. E.P.A., 562
                                                 Additional Air Quality
                                                                  Quality Designations for the 2015
                                                                                                 2015                           Luiseño Indians ("Pechanga")
                                                                                                            Pechanga Band of Luisefio            (‘‘Pechanga’’)      F.3d 1116, 1125 (10th Cir. 2009) (stating that 40
                                                                                                            reservation. See, e.g., Approval of Tribal                              ‘‘provides the EPA discretion to
ddrumheller on DSK120RN23PROD with RULES2




                                                 Ozone National Ambient Air Quality
                                                                                 Quality Standards, 83                                                               CFR 49.11(a) "provides
                                                 FR 25776 (June 4, 2018, effective August 3, 2018).         Implementation Plan and Designation of Air               determine what rulemaking is necessary or
                                                        938 F.3d at 318 (‘‘When
                                                   113 938              ("When EPA determines a             Quality            Area; Pechanga Band of
                                                                                                            Quality Planning Area;                        Luiseño
                                                                                                                                                       of Luisefio   appropriate to protect air quality and requires the
                                                 State’s SIP is inadequate, EPA presumably must
                                                 State's                                                                                       18121–18123
                                                                                                            Mission Indians, 80 FR 18120, at 18121-18123             EPA to promulgate such rulemaking");
                                                                                                                                                                                                 rulemaking’’); Safe Air For
                                                 issue a FIP that will bring that State into                (April 3, 2015); see also monitoring site 060650016      Everyone v. U.S.   Env’t Prot. Agency, No. 05–73383,
                                                                                                                                                                                   U.S. Env't                      05-73383,
                                                 compliance before upcoming attainment deadlines,           in Table IV.D-1.
                                                                                                                      IV.D–1. The presence of receptors on, or       2006 WL 3697684, at *1 (9th Cir., Dec. 15, 2006)
                                                 even if the outer limit of the statutory timeframe         representative of, the Morongo and Pechanga              (‘‘The statutes and regulations that enable EPA to
                                                                                                                                                                     ("The
                                                 gives EPA more time to formulate the FIP.")
                                                                                          FIP.’’) (citing   reservations does not trigger obligations for the        regulate air quality on Indian reservations provide
                                                 Sierra Club v. EPA, 294 F.3d 155, 161 (D.C. Cir.           Morongo and Pechanga Tribes. Nevertheless, these         EPA with broad discretion in setting the content of
                                                 2002)).                                                    receptors are relevant to the EPA's
                                                                                                                                           EPA’s assessment of       such regulations.’’).
                                                                                                                                                                            regulations.").



                                            VerDate Sep<11>2014    20:14 Jun 02, 2023    Jkt 259001   PO 00000   Frm 00038   Fmt 4701    Sfmt 4700   E:\FR\FM\05JNR2.SGM     05JNR2
                                                       USCA Case #23-1157                            Document #2009836                               Filed: 07/27/2023                Page 77 of 430
                                                                       Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                               36691
                                                                                                                                                                                                        36691

                                                    The EPA hereby finds that it is both       country as necessary or appropriate).                                entire upwind geography is "equitable"
                                                                                                                                                                                                    ‘‘equitable’’
                                                 necessary and appropriate to regulate all Further, in any action in which the EPA                                  because, by imposing uniform cost
                                                 new and existing EGU and industrial                                        state’s SIP
                                                                                               subsequently approved a state's                                      thresholds on regulated States, the
                                                 sources meeting the applicability             submittal to partially or wholly replace                             EPA’s rule subjects to stricter regulation
                                                                                                                                                                    EPA's
                                                 criteria set forth in this rule in all of the the provisions of a CSAPR FIP, the EPA                               those States that have done relatively
                                                 301(d) FIP areas that are located within      has clearly delineated that it will                                  less in the past to control their
                                                 the geographic scope of coverage of the       continue to administer the Indian                                    pollution. Upwind States that have not
                                                 rule. For purposes of this finding, the       country new unit set aside for sources                               yet implemented pollution controls of
                                                 geographic scope of coverage of the rule in any areas of Indian country                                            the same stringency as their neighbors
                                                 means the areas of the United States                                                state’s
                                                                                               geographically located within a state's                              will be stopped from free riding on their
                                                 encompassed within the borders of the                                             state’s
                                                                                               borders and not subject to that state's                              neighbors’
                                                                                                                                                                    neighbors' efforts to reduce pollution.
                                                 states the EPA has determined to be           CAA planning authority, and the state                                They will have to reduce their
                                                 linked at Steps 1 and 2 of the 4-step         may not exercise jurisdiction over any                               emissions by installing devices of the
                                                 interstate transport framework.    117 For
                                                                        framework.117          such sources. See, e.g., 82 FR 46674,                                kind in which neighboring States have
                                                 EGU applicability criteria, see section       46677 (October 6, 2017) (approving                                   already invested. Id.
                                                 VI.B of this document; for industrial-        Alabama’s SIP submission establishing a
                                                                                               Alabama's                                                               In the context of addressing regional-
                                                 source applicability criteria, see section state CSAPR trading program for ozone                                   scale ozone transport in this rule, the
                                                 VI.C of this document. To EPA's
                                                 VI.0                           EPA’s                   NOX, but providing, "The
                                                                                               season NOx,                     ‘‘The SIP is                         importance of a uniform level of
                                                 knowledge, only one existing EGU or           not approved to apply on any Indian                                  stringency that extends to and includes
                                                 industrial source is located within the       reservation land or in any other area                                the CAA section 301(d) FIP areas
                                                 CAA section 301(d) FIP areas: the             where EPA or an Indian tribe has                                     geographically located within the
                                                 Bonanza Power Plant, an EGU source,           demonstrated that a tribe has                                        boundaries of the linked upwind states
                                                 located on the Uintah and Ouray               jurisdiction.’’).
                                                                                               jurisdiction.").                                                     carries significant force. Failure to
                                                 Reservation, geographically located              In this rule, the EPA is taking an                                include all such areas within the scope
                                                 within the borders of Utah.                   approach similar to the prior CSAPR                                  of the rule creates a significant risk that
                                                    This finding is consistent with the        rulemakings with respect to regulating                               these areas may be targeted for the siting
                                                 EPA’s prior good neighbor rules. In
                                                 EPA's                                         sources in the CAA section 301(d) FIP                                of facilities emitting ozone-precursor
                                                 prior rulemakings under the good              areas.118 The EPA believes this
                                                                                               areas.118                                                            pollutants, to avoid the regulatory costs
                                                 neighbor provision, the EPA has               approach is necessary and appropriate                                that would be imposed under this rule
                                                 included all areas of Indian country          for several reasons. First, the purpose of                           in the surrounding areas of state
                                                 within the geographic scope of those          this rule is to address the interstate                               jurisdiction. Electricity generation or the
                                                 FIPs, such that any new or existing           transport of ozone on a national scale,                              production of other goods and
                                                                         rules’ applicability
                                                 sources meeting the rules'                    and the technical record establishes that                            commodities may become more cost-
                                                 criteria would be subject to the rule              nonattainment and maintenance
                                                                                               the nonattainrnent                                                   competitive at any EGU or industrial
                                                 irrespective of whether subject to state      receptors located throughout the                                     sources not subject to the rule but
                                                 or tribal underlying CAA planning             country are impacted by sources of                                   located in a geography where the same
                                                 authority. In CSAPR, the CSAPR                ozone pollution on a broad geographic                                types of sources are subject to the rule.
                                                 Update, and the Revised CSAPR                 scale. The upwind regions associated                                 For instance, the affected EGU source
                                                 Update, the scope of the emissions            with each receptor typically span at                                 located on the Uintah and Ouray
                                                 trading programs established for EGUs         least two, and often far more, states.                               Reservation of the Ute Tribe is in an
                                                 extended to cover all areas of Indian         Within the broad upwind region                                       area that is interconnected with the
                                                 country located within the geographic         covered by this rule, the EPA is                                     western electricity grid and is owned
                                                 boundaries of the covered states. In          applying—consistent with the                                         and operated by an entity that generates
                                                 these rules, at the time of their             methodology of allocating upwind                                     and provides electricity to customers in
                                                 promulgation, no existing units were          responsibility in prior transport rules                              several states. It is both necessary and
                                                 located in the covered areas of Indian                            NOX SIP Call—a
                                                                                               going back to the NOx                                                                      EPA’s view, to avoid
                                                                                                                                                                    appropriate, in the EPA's
                                                 country; under the general applicability uniform level of control stringency (as                                   creating, via this rule, a structure of
                                                 criteria of the trading programs,             determined separately for linkages                                   incentives that may cause generation or
                                                 however, any new sources locating in          existing in 2023, and linkages persisting                            production—and the associated NOx    NOX
                                                 such areas would become subject to the in 2026). (See section V of this                                            emissions—to shift into the CAA section
                                                 programs. Thus, the EPA established a         document for a discussion of EPA'sEPA’s                              301(d) FIP areas to escape regulation
                                                 separate allowance allocation that            determination of control stringency for                              needed to eliminate interstate transport
                                                 would be available for any new units          this rule.) Within this approach,                                    under the good neighbor provision.
                                                 locating in any of the relevant areas of      consistency in rule requirements across                                 The EPA finds it is appropriate to
                                                 Indian country. See, e.g., 76 FR 48293        all jurisdictions is vital in ensuring the                           directly implement the rule's
                                                                                                                                                                                               rule’s
                                                 (describing the CSAPR methodology of          remedy for ozone transport is, in the                                requirements in the CAA section 301(d)
                                                                                     ‘‘Indian
                                                 allowance allocation under the "Indian        words of the Supreme Court, "efficient
                                                                                                                                 ‘‘efficient                        FIP areas in this action rather than at a
                                                                     set-aside’’ provisions); and equitable,’’
                                                 country new unit set-aside"                        equitable," 572 U.S. 489, 519. In                               later date. Tribes have the opportunity
                                                 see also id. at 48217 (explaining the         particular, as the Supreme Court found                               to seek treatment as a state (TAS) and
                                                 EPA’s source of authority for directly
                                                 EPA's                                         in EME Homer City City Generation,                                   to undertake tribal implementation
                                                 regulating in relevant areas of Indian        allocating responsibility through                                    plans under the CAA. To date, the one
ddrumheller on DSK120RN23PROD with RULES2




                                                                                               uniform levels of control across the                                 tribe which could develop and seek
                                                   117 With respect to any industrial sources located
                                                   117
                                                                                                                                                                    approval of a tribal implementation plan
                                                 in the CAA section 301(d) FIP areas, the geographic          118 See section VI.B.9 of this document for a
                                                                                                             118                                                    to address good neighbor obligations
                                                 scope of coverage of this rule does not include those     discussion of revisions that are being made in this      with respect to an existing EGU in the
                                                 states for which the EPA finds, based on air quality      rulemaking regarding the point in the allowance          CAA section 301(d) FIP areas for the
                                                 modeling, that no further linkage exists by the 2026      allocation process at which the EPA would
                                                 analytic year at Steps 1
                                                                        1 and 2. The states in this rule   establish set-asides of allowances for units in Indian
                                                                                                                                                                    2015 ozone NAAQS (or for any other
                                                 not linked in 2026 are Alabama, Minnesota, and            country not subject to a state's
                                                                                                                                     state’s CAA implementation     NAAQS), the Ute Indian Tribe of the
                                                 Wisconsin.                                                planning authority.                                      Uintah and Ouray Reservation, has not


                                            VerDate Sep<11>2014    20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00039   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM    05JNR2
                                                       USCA Case #23-1157                           Document #2009836                              Filed: 07/27/2023                Page 78 of 430
                                                 36692
                                                 36692                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 expressed an intent to do so. Nor has the               consultation after publication of the                  actions. Although the formal tribal
                                                 EPA heard such intentions from any                      proposed rulemaking. By including all                  consultation process associated with
                                                 other tribe, and it would not be                        areas of Indian country within the                     this action has concluded, the EPA is
                                                 reasonable to expect tribes to undertake                covered geography of the rule, the EPA                 willing and available to engage with any
                                                 that planning effort, particularly when                 is advancing environmental justice,                    tribe as this rule is implemented.
                                                 no existing sources are currently located               lowering pollution burdens in such
                                                                                                                                                               b. Indian Country Subject to State
                                                 on their lands. Further, the EPA is                     areas, and preventing the potential for               Implementation Planning Authority
                                                 mindful that under court precedent, the                 ‘‘pollution havens"
                                                                                                         "pollution   havens’’ to form in such
                                                 EPA and states bear an obligation to                    areas as a result of facilities seeking to               Following the U.S. Supreme Court
                                                 fully implement any required emissions                  locate there to avoid the requirements                decision in McGirt v. Oklahoma, 140 S.
                                                 reductions to eliminate significant                     that would otherwise apply outside of                 Ct. 2452 (2020), the Governor of the
                                                 contribution under the good neighbor                    such areas under this rule.                           State of Oklahoma requested approval
                                                 provision as expeditiously as                              Therefore, to ensure timely alignment              under section 10211(a) of the Safe,
                                                 practicable and in alignment with                       of all needed emissions reductions                    Accountable, Flexible, Efficient
                                                 downwind areas'
                                                               areas’ attainment schedule                within the timetables of this rule, to                Transportation Equity Act of 2005: A
                                                 under the Act. As discussed in section                  ensure equitable distribution of the                  Legacy for Users, Public Law 109-59,
                                                                                                                                                                                               109–59,
                                                 VI.A of this document, the EPA is                       upwind pollution reduction obligation                 119 Stat. 1144, 1937 (August 10, 2005)
                                                 implementing certain required                           across all upwind jurisdictions, to avoid             (‘‘SAFETEA’’),
                                                                                                                                                               ("SAFETEA"), to administer in certain
                                                 emissions reductions by the 2023 ozone                  perverse economic incentives to locate                areas of Indian country (as defined at 18
                                                 season, the last full ozone season before               sources of ozone-precursor pollution in               U.S.C. 1151) the State’s
                                                                                                                                                                                 State's environmental
                                                 the 2024 Moderate area attainment date,                 the CAA section 301(d) FIP areas, and                 regulatory programs that were
                                                 and other key additional required                       to deliver greater environmental justice              previously approved by the EPA for
                                                 emissions reductions by the 2026 ozone                  to tribal communities in line with                    areas outside of Indian country. The
                                                 season, the last full ozone season before               Executive Order 13985: Advancing                      State’s
                                                                                                                                                               State's request excluded certain areas of
                                                 the 2027 Serious area attainment date.                  Racial Equity and Support for                         Indian country further described later.
                                                 Absent the application of this FIP in the               Underserved Communities Through the                   In addition, the State only sought
                                                 CAA section 301(d) FIP areas, NOx  NOX                  Federal Government,120 120 the EPA finds it           approval to the extent that such
                                                 emissions from any existing or new EGU                  both necessary and appropriate that all               approval is necessary for the State to
                                                 or non-EGU sources located in, or                       existing and new EGU and industrial                   administer a program in light of
                                                 locating in, the CAA section 301(d) FIP                 sources that are located in the CAA                   Oklahoma Dept. of Environmental
                                                 areas within the covered geography of                   section 301(d) FIP areas within the                   Quality
                                                                                                                                                               Quality v. EPA, 740 F.3d 185 (D.C. Cir.
                                                 the rule would remain unregulated for                   geographic boundaries of the covered                  2014).121
                                                 purposes of CAA section                                                                                          On October 1, 2020, the EPA
                                                                                                         states, and which would be subject to
                                                 110(a)(2)(D)(i)(I) for the 2015 ozone                                                                                    Oklahoma’s SAFETEA request
                                                                                                                                                               approved Oklahoma's
                                                                                                         this rule if located within areas subject
                                                 NAAQS and could continue or                                                                                   to administer all the State’s
                                                                                                                                                                                      State's EPA-
                                                                                                         to state CAA planning authority, should
                                                 potentially increase. This would be                                                                           approved environmental regulatory
                                                                                                         be included in this rule. The EPA issues              programs, including the Oklahoma SIP,
                                                                          EPA’s overall goal
                                                 inconsistent with the EPA's                             this finding under CAA section
                                                 of aligning good neighbor obligations                                                                         in the requested areas of Indian
                                                                                                         301(d)(4) of the Act and 40 CFR 49.11.
                                                 with the downwind areas'areas’ attainment                                                                     country.122 As requested by Oklahoma,
                                                                                                                                                               country.122
                                                                                                         Further, to avoid "unreasonable
                                                                                                                            ‘‘unreasonable delay’’
                                                                                                                                             delay"
                                                 schedule and to achieve emissions                                                                                 EPA’s approval under SAFETEA
                                                                                                                                                               the EPA's
                                                                                                         in promulgating this FIP, as required                 does not include Indian country lands,
                                                 reductions as expeditiously as                          under section 49.11, the EPA makes this
                                                 practicable.                                                                                                  including rights-of-way running through
                                                                                                         finding now, to align emissions
                                                    Further, the EPA recognizes that                                                                           the same, that: (1) qualify as Indian
                                                                                                         reduction obligations for any covered                 allotments, the Indian titles to which
                                                 Indian country, including the CAA                       new or existing sources in the CAA
                                                 section 301(d) FIP areas, is often home                                                                       have not been extinguished, under 18
                                                                                                         section 301(d) FIP areas with the larger              U.S.C. 1151(c); (2) are held in trust by
                                                 to communities with environmental                       schedule of reductions under this rule.
                                                 justice concerns, and these communities                                                                       the United States on behalf of an
                                                                                                         Because all other covered EGU and non-                individual Indian or Tribe; or (3) are
                                                 may bear a disproportionate level of                    EGU sources within the geography of
                                                 pollution burden as compared with                                                                             owned in fee by a Tribe, if the Tribe (a)
                                                                                                         this rule would be subject to emissions               acquired that fee title to such land, or
                                                 other areas of the United States. The                   reductions of uniform stringency
                                                 EPA’s Fiscal Year 2022–2026
                                                 EPA's                 2022-2026 Strategic                                                                     an area that included such land, in
                                                       119 includes an objective to                      beginning in the 2023 ozone season, and               accordance with a treaty with the
                                                 Plan 119
                                                                                                         as necessary to fully and expeditiously               United States to which such Tribe was
                                                 promote environmental justice at the
                                                                                                         address good neighbor obligations for                 a party, and (b) never allotted the land
                                                 Federal, Tribal, state, and local levels
                                                                                                         the 2015 ozone NAAQS, there is little                 to a member or citizen of the Tribe
                                                              ‘‘Integration of
                                                 and states: "Integration
                                                                                                         benefit to be had by not including the
                                                 environmental justice principles into all               CAA section 301(d) FIP areas in this
                                                 EPA activities with Tribal governments
                                                                                                                                                                 121 In ODEQ v. EPA, the D.C. Circuit held that
                                                                                                                                                                 121 In

                                                                                                         rule now and a potentially significant                under the CAA, a state has the authority to
                                                 and in Indian country is designed to be                 downside to not doing so.                             implement a SIP in non-reservation areas of Indian
                                                 flexible enough to accommodate EPA's  EPA’s                The Agency recognizes that Tribal                  country in the state, where there has been no
                                                 Tribal program activities and goals,                    governments may still choose to seek
                                                                                                                                                               demonstration of tribal jurisdiction. Under the D.C.
                                                                                                                                                               Circuit’s decision, the CAA does not provide
                                                                                                                                                               Circuit's
                                                 while at the same time meeting the                      TAS to develop a Tribal plan with                     authority to states to implement SIPs in Indian
ddrumheller on DSK120RN23PROD with RULES2




                                                 Agency’s environmental justice goals."
                                                 Agency's                             goals.’’           respect to the obligations under this                 reservations. ODEQ did not, however, substantively
                                                 As described in section X.F of this                     rule, and this determination does not                 address the separate authority in Indian country
                                                 document, the EPA offered Tribal                                                                              provided specifically to Oklahoma under
                                                                                                         preclude the tribes from taking such                  SAFETEA. That separate authority was not invoked
                                                 consultation to 574 Tribes in April of                                                                        until the State submitted its request under
                                                 2022 and received no requests for Tribal                  120 Executive Order 13985 (January 20, 2021) (86
                                                                                                           129                                                 SAFETEA, and was not approved until the EPA's
                                                                                                                                                                                                           EPA’s
                                                                                                         FR 7009 (January 25, 2021)): https://                 decision, described in this section, on October 1,
                                                   119 https://www.epa.gov/system/files/documents/
                                                   119                                                   www.govinfo.gov/content/pkg/FR-2021-01-25/pdf/
                                                                                                         www.govinfo.govIcontent/pkg/FR-2021-01-25/pdfl        2020.
                                                 2022-03/fy-2022-2026-epa-strategic-plan.pdf.
                                                 2022-03/  fy-2022-2026-epa-strategic-plan.pdf.          2021-01753.pdf.
                                                                                                         2021-01753.pdf.                                         122 Available in the docket for this rulemaking.
                                                                                                                                                                 122




                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00040   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                            Document #2009836                               Filed: 07/27/2023              Page 79 of 430
                                                                       Federal Register / Vol. 88, No. 107/Monday,
                                                                                                       107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                             2023/Rules                                                                36693
                                                                                                                                                                                                       36693

                                                                ‘‘excluded Indian country
                                                 (collectively "excluded                                    allotments or dependent Indian                         believes that the remaining aspects of
                                                 lands’’).
                                                 lands").                                                   communities located outside of an                      this rule can and should continue to be
                                                    The EPA's
                                                         EPA’s approval under SAFETEA                       Indian reservation over which there has                implemented to the extent possible. In
                                                 expressly provided that to the extent                      been no demonstration of tribal                        particular, this action promulgates a FIP
                                                 EPA’s prior approvals of Oklahoma's
                                                 EPA's                        Oklahoma’s                    authority. The EPA's
                                                                                                                             EPA’s FIP authority                   for each covered state (and, pursuant to
                                                 environmental programs excluded                            under CAA section 110(c) similarly                     CAA section 301(d), for each area of
                                                 Indian country, any such exclusions are                    applies to Indian allotments or                        tribal jurisdiction within the geographic
                                                 superseded for the geographic areas of                     dependent Indian communities located                   boundaries of those states). Should any
                                                 Indian country covered by the EPA'sEPA’s                   outside of an Indian reservation over                  jurisdiction-specific aspect of the final
                                                               Oklahoma’s SAFETEA
                                                 approval of Oklahoma's                                     which there has been no demonstration                  rule be found invalid, the EPA views
                                                 request.123 The approval also provided
                                                 request.123                                                of tribal authority located in any other               this rule as severable along those state
                                                 that future revisions or amendments to                     state within the geographic scope of this              and/or tribal jurisdictional lines, such
                                                 Oklahoma’s
                                                 Oklahoma's approved environmental                          rule.                                                  that the rule can continue to be
                                                 regulatory programs would extend to                           In light of the relevant legal                      implemented as to any remaining
                                                 the covered areas of Indian country                        authorities discussed above regarding                  jurisdictions. This action promulgates
                                                 (without any further need for additional                   the scope of the State of Oklahoma's
                                                                                                                                       Oklahoma’s                  discrete emissions control requirements
                                                 requests under SAFETEA).                                   regulatory jurisdiction under the CAA,                 for the power sector and for each of
                                                    In a Federal Register document                          the EPA has FIP authority under CAA                    seven other industries. Should any
                                                 published on February 13, 2023 (88 FR                      section 110(c) with respect to all Indian              industry-specific aspect of the final rule
                                                 9336), the EPA disapproved the portion                     country in Oklahoma other than                         be found invalid, the EPA views this
                                                 of an Oklahoma SIP submittal                               excluded Indian country lands. To the                  rule as severable as between the
                                                 pertaining to the state's
                                                                     state’s interstate                     extent any change occurs in the scope                  different industries and different types
                                                 transport obligations under CAA section                        Oklahoma’s SIP authority in Indian
                                                                                                            of Oklahoma's                                          of emissions control requirements. This
                                                 110(a)(2)(D)(i)(I) for the 2015 ozone                      country following finalization of this                 is not intended to be an exhaustive list
                                                 NAAQS. Consistent with the D.C.                            rule, and such change affects the                      of the ways in which the rule may be
                                                 Circuit’s
                                                 Circuit's decision in ODEQ v. EPA and                      exercise of FIP authority provided under               severable. In the event any part of it is
                                                           EPA’s October 1, 2020
                                                 with the EPA's                                             section 110(c) of the Act,126
                                                                                                                                    Act,126 then, to the           found invalid, our intention is that the
                                                 SAFETEA approval, the EPA has                              extent any such areas would fall more                  remaining portions should continue to
                                                 authority under CAA section 110(c) to                      appropriately within the CAA section                   be implemented consistent with any
                                                 promulgate a FIP as needed to address                      301(d) FIP areas as described in section               judicial ruling.
                                                 the disapproved aspects of Oklahoma's
                                                                                 Oklahoma’s                 III.C.2.a of this document, the EPA's
                                                                                                                                              EPA’s                   The EPA's
                                                                                                                                                                           EPA’s conclusion that this rule is
                                                 good neighbor SIP submitta1.124
                                                                       submittal.124 In                     necessary or appropriate finding as set                severable also reflects the important
                                                 accordance with the previous                               forth above with respect to all other                  public health and environmental
                                                 discussion, the EPA's
                                                                   EPA’s FIP authority in                   CAA section 301(d) FIP areas within the                benefits of this rulemaking in
                                                 this circumstance extends to all Indian                    geographic scope of coverage of the rule               eliminating significant contribution and
                                                 country in Oklahoma, other than the                        would apply.                                           to ensure to the greatest extent possible
                                                 excluded Indian country lands, as                                                                                 the ability of both upwind states and
                                                 described previously.    125 Because—per
                                                             previously.125                                 D. Severability
                                                                                                               Severability
                                                                                                                                                                   downwind states and other relevant
                                                 the State’s
                                                      State's request under SAFETEA—                          The EPA regards this action as a
                                                                                                                                                                   stakeholders to be able to rely on this
                                                 EPA’s October 1, 2020 approval does
                                                 EPA's                                                      complete remedy, which will as                         final rule in their planning. Cf.
                                                 not displace any SIP authority                             expeditiously as practicable implement
                                                                                                                                                                   Wisconsin,
                                                                                                                                                                   Wisconsin, 938 F.3d at 336–37     (‘‘As a
                                                                                                                                                                                            336-37 ("As
                                                 previously exercised by the State under                    good neighbor obligations for the 2015                 general rule, we do not vacate
                                                 the CAA as interpreted in ODEQ v. EPA,                     ozone NAAQS for the covered states,                    regulations when doing so would risk
                                                      EPA’s FIP authority under CAA
                                                 the EPA's                                                  consistent with the requirements of the                significant harm to the public health or
                                                 section 110(c) also applies to any Indian                  Act. See North Carolina v. EPA, 531                         environment.’’); North Carolina v.
                                                                                                                                                                   the environment.");
                                                                                                            F.3d 896, 911–12
                                                                                                                       911-12 (D.C. Cir. 2008);
                                                                                                                                                                   EPA, 550 F.3d 1176, 1178 (D.C. Cir.
                                                            EPA’s prior approvals relating to
                                                   123 The EPA's
                                                   123                                                      Wisconsin v. EPA, 938 F.3d 303, 313-
                                                                                                                                              313–
                                                 Oklahoma’s SIP frequently noted that the SIP was
                                                 Oklahoma's                                                                                                        2008) (noting the need to preserve
                                                                                                            20 (D.C. Cir. 2019); Maryland v. EPA,
                                                 not approved to apply in areas of Indian country                                                                  public health benefits); EME
                                                                                                                                                                                            EME Homer City City
                                                                                                            958 F.3d 1185, 1204 (D.C. Cir. 2020);
                                                 (consistent with the D.C. Circuit’s
                                                                            Circuit's decision in                                                                  v. EPA, 795 F.3d 118, 132 (D.C. Cir.
                                                 ODEQ v. EPA) located in the state. See, e.g., 85 FR        New York v. EPA, 964 F.3d 1214, 1226
                                                                                                            New                                                    2015) (noting the need to avoid
                                                 20178, 20180 (April 10, 2020). Such prior expressed        (D.C. Cir. 2020); New
                                                                                                                              New York v. EPA, 781
                                                                                     EPA’s approval of
                                                 limitations are superseded by the EPA's                                                                           disruption to emissions trading market
                                                                                                            Fed. App'x
                                                                                                                 App’x 4, 7–8
                                                                                                                           7-8 (D.C. Cir. 2019) (all
                                                 Oklahoma’s SAFETEA request.
                                                 Oklahoma's                                                                                                        that had developed).
                                                   124 The antecedent fact that the state had the
                                                   124
                                                                                                            holding that the EPA must address good
                                                 authority and jurisdiction to implement                    neighbor obligations as expeditiously as               IV. Analyzing Downwind Air Quality
                                                 requirements under the good neighbor provision, in         practicable and by no later than the next              Problems and Contributions From
                                                      EPA’s view, supplies the condition necessary
                                                 the EPA's                                                  applicable attainment date). Yet should                Upwind States
                                                 for the Agency to exercise its FIP authority to the        a court find any discrete aspect of this
                                                 extent the EPA has disapproved the state's
                                                                                        state’s SIP                                                                A. Selection of Analytic Years for
                                                 submission with respect to those requirements.             document to be invalid, the Agency                     Evaluating Ozone Transport
                                                                                                                                                                   Evaluating
                                                 Under CAA section 110(c), the EPA "stands
                                                                                       ‘‘stands in the
                                                                                                                                                                   Contributions to Downwind Air Quality
                                                                                                                                                                                                     Quality
                                                 shoes of the defaulting state, and all of the rights         126 On December 22, 2021, the EPA proposed to
                                                                                                              126
                                                 and duties that would otherwise fall to the state          withdraw and reconsider the October 1, 2020,           Problems
                                                 accrue instead to the EPA."
                                                                        EPA.’’ Central Ariz. Water
                                                                                              Water         SAFETEA approval. See https://www.epa.gov/ok/
                                                                                                                                     https://www.epa.govlok/         In this section, the EPA describes its
ddrumheller on DSK120RN23PROD with RULES2




                                                 Conservation Dist. v. EPA, 990 F.2d 1531, 1541 (9th        proposed-withdrawal-and-reconsideration-and-
                                                 Cir. 1993).                                                supporting-information. The EPA is engaging in
                                                                                                                                                                   process for selecting analytic years for
                                                   125 With respect to those areas of Indian country
                                                   125                                                      further consultation with tribal governments and       air quality modeling and analyses
                                                               ‘‘excluded Indian country lands"
                                                 constituting "excluded                    lands’’ in the   expects to have discussions with the State of          performed to identify nonattainment
                                                 State of Oklahoma, as defined supra, the EPA               Oklahoma as part of this reconsideration. The EPA      and maintenance receptors and identify
                                                 applies the same necessary or appropriate finding          also notes that the October 1, 2020, approval is the
                                                 as set forth above with respect to all other 301(d)        subject of a pending challenge in Federal court.
                                                                                                                                                                   upwind state linkages. For this final
                                                 FIP areas within the geographic scope of coverage          Pawnee Nation of Oklahoma v. Regan, No. 20–9635
                                                                                                                                                        20-9635    rule, the EPA evaluated air quality to
                                                 of the rule.                                               (10th Cir.).                                           identify receptors at Step 1 for two


                                            VerDate Sep<11>2014    20:14 Jun 02, 2023   Jkt 259001   PO 00000    Frm 00041   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                           Document #2009836                              Filed: 07/27/2023             Page 80 of 430
                                                 36694                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 analytic years: 2023 and 2026. The EPA                  areas. As noted above, 2023 and 2026                  relevant downwind deadlines the EPA
                                                 evaluated interstate contributions to                   coincide with the last full ozone seasons             must align with in implementing the
                                                 these receptors from individual upwind                  before future attainment dates for the                good neighbor provision. In Wisconsin,
                                                                                                                                                                                               Wisconsin,
                                                 states at Step 2 for these two analytic                 2015 ozone NAAQS. In addition, 2026                                    ‘‘In sum, under our
                                                                                                                                                               the court held, "In
                                                 years. In selecting these years, the EPA                coincides with the ozone season by                    decision in North Carolina, the Good
                                                 views 2023 and 2026 to constitute years                 which key additional emissions                        Neighbor Provision calls for elimination
                                                 by which key emissions reductions from                  reductions from EGUs and non-EGUs                     of upwind States’
                                                                                                                                                                            States' significant
                                                 EGUs and non-EGUS can be                                become available. Thus, the EPA                       contributions on par with the relevant
                                                 implemented "as  ‘‘as expeditiously as                  analyzed additional years beyond 2023                 downwind attainment deadlines.’’
                                                                                                                                                                                          deadlines."
                                                 practicable.’’
                                                 practicable." In addition, these years are              to determine whether any additional                   Wisconsin,
                                                                                                                                                               Wisconsin, 938 F.3d. at 321 (emphasis
                                                 the last full ozone seasons before the                  emissions reductions that are                         added).
                                                 Moderate and Serious area attainment                    impossible to obtain by the 2024                         After that decision, the EPA
                                                 dates for the 2015 ozone NAAQS (ozone                   attainment date could still be necessary              interpreted Wisconsin
                                                                                                                                                                             Wisconsin as limited to the
                                                 seasons run each year from May 1—    1–                 to fully address significant contribution.            attainment dates for Moderate or higher
                                                 September 30). To demonstrate                           In all cases, implementation of                       classifications under CAA section 181
                                                 attainment by these deadlines,                          necessary emissions reductions is as                  on the basis that Marginal
                                                 downwind states would be required to                    expeditiously as practicable, with all                nonattainment areas have reduced
                                                                                                                                                               nonattainrnent
                                                 rely on design values calculated using                  possible emissions reductions                         planning requirements and other
                                                 ozone data from 2021 through 2023 and                   implemented by the next applicable                    considerations. See, e.g., 85 FR 29882,
                                                 2024 through 2026, respectively. By                     attainment date.                                      29888–89
                                                                                                                                                               29888-89 (May 19, 2020) (proposed
                                                 focusing its analysis, and, potentially,                   The timing framework and selection                 approval of South Dakota's
                                                                                                                                                                                    Dakota’s 2015 ozone
                                                 achieving emissions reductions by, the                  of analytic years set forth above                     NAAQS good neighbor SIP). However,
                                                 last full ozone seasons before the                                                Circuit’s
                                                                                                         comports with the D.C. Circuit's                      on May 19, 2020, the D.C. Circuit in
                                                 attainment dates (i.e., in 2023 or 2026),               direction in Wisconsin that                           Maryland v. EPA, 958 F.3d 1185 (D.C.
                                                 this final rule can assist the downwind                 implementing good neighbor obligations                Cir. 2020), applying the Wisconsin
                                                 areas with demonstrating attainment or                  beyond the dates established for                      decision, rejected that argument and
                                                 receiving extensions of attainment dates                attainment may be justified on a proper               held that the EPA must assess air
                                                 under CAA section 181(a)(5). (The EPA                   showing of impossibility or necessity.                quality at the next downwind
                                                 explains in detail in sections V and VI                 See 938 F.3d at 320.                                  attainment date, including Marginal
                                                 of this document its determinations                        Comment:
                                                                                                            Comment: A commenter claims that                   area attainment dates under CAA
                                                 regarding which emissions reduction                     the EPA has not followed the holdings                 section 181, in evaluating the basis for
                                                 strategies can be implemented by 2023,                  of Wisconsin
                                                                                                            Wisconsin v. EPA, 938 F.3d 303 (D.C.                    EPA’s denial of a petition under
                                                                                                                                                               the EPA's
                                                 and which emissions reduction                           Cir. 2019), North Carolina v. EPA, 550                CAA section 126(b). 958 F.3d at 1203-
                                                                                                                                                                                                   1203–
                                                 strategies require additional time                      F.3d 1176 (D.C. Cir. 2008), and                       04. After Maryland, the EPA
                                                 beyond that ozone season, or the 2026                   Maryland v. EPA, 958 F. 3d 1185 (D.C.                 acknowledged that the Marginal
                                                 ozone season.)                                          Cir. 2020) in the selection of analytic               attainment date is the first attainment
                                                    It would not be logical for the EPA to               years, in that commenter interprets                   date to consider in evaluating good
                                                 analyze any earlier year than 2023. The                 those decisions as holding that the EPA               neighbor obligations. See, e.g., 85 FR
                                                 EPA continues to interpret the good                            ‘‘harmonize’’ the exact timing of
                                                                                                         must "harmonize"                                      67653, 67654 (Oct. 26, 2020) (final
                                                 neighbor provision as forward-looking,                  upwind emissions reductions with                      approval of South Dakota's
                                                                                                                                                                                    Dakota’s 2015 ozone
                                                            Congress’s use of the future-
                                                 based on Congress's                                     when downwind states implement their                  NAAQS good neighbor SIP).
                                                        ‘‘will’’ in CAA section
                                                 tense "will"                                            required reductions. Commenter also                      The D.C. Circuit again had occasion to
                                                 110(a)(2)(D)(i), an interpretation upheld               points to the EPA's
                                                                                                                        EPA’s proposed action on                            Agency’s interpretation of
                                                                                                                                                               revisit the Agency's
                                                 in Wisconsin, 938 F.3d at 322. It would                       York’s Good Neighbor SIP
                                                                                                         New York's                                            North Carolina, Wisconsin,
                                                                                                                                                                                  Wisconsin, and
                                                     ‘‘anomalous,’’ id., for the EPA to
                                                 be "anomalous,"                                         submission specifically to argue that the             Maryland, in a challenge to the Revised
                                                 impose good neighbor obligations in                     EPA is treating upwind and downwind                   CSAPR Update brought by the Midwest
                                                 2023 and future years based solely on                   states dissimilarly. Commenter also                   Ozone Group (MOG). The court
                                                 finding that "significant
                                                                ‘‘significant contribution"
                                                                              contribution’’             cites CAA sections 172, 177, and 179 to               declined to entertain similar arguments
                                                 had existed at some time in the past. Id.               argue the EPA did not properly align                  to those presented by commenters here
                                                    Applying this framework in the                       upwind and downwind obligations.                      and instead in a footnote explained that
                                                 proposal, the EPA recognized that the                   Several commenters believe the EPA                    it had "exhaustively
                                                                                                                                                                       ‘‘exhaustively summarized the
                                                 2021 Marginal area attainment date had                  should defer implementing good                        regulatory framework governing EPA's EPA’s
                                                 already passed. Further, based on the                   neighbor requirements until downwind                  conduct’’               ‘‘[drew] on those
                                                                                                                                                               conduct" and that it "[drew]
                                                 timing of the proposal, it was not                      receptor areas have first implemented                 decisions and incorporate them herein
                                                 possible to finalize this rulemaking                    their own emissions control strategies.               by reference,’’
                                                                                                                                                                   reference," citing, among other cases,
                                                 before the 2022 ozone season had also                      Response: The EPA maintains that
                                                                                                            Response:                                          Maryland, 958 F.3d 1185, and New  New
                                                 passed. Thus, the EPA has selected 2023                 2023 is an appropriate analytic year and              York, 781 F. App'x
                                                                                                                                                                              App’x 4. MOG v. EPA, No.
                                                 as the first appropriate future analytic                comports with the relevant caselaw.                   21–1146
                                                                                                                                                               21-1146 (D.C. Cir. March 3, 2023), Slip
                                                 year for this final rule because it reflects            Section VI.A further discusses the                    Op. at 3 n.1.
                                                 implementation of good neighbor                         compliance schedule for emissions                        The relevance of CAA sections 172,
                                                 obligations as expeditiously as                         reductions under this rule. Commenter                 177, and 179 to the selection of the
                                                                                                         misreads the North Carolina, Wisconsin,               analytic year in this action is not clear.
ddrumheller on DSK120RN23PROD with RULES2




                                                 practicable and coincides with the                                                       Wisconsin,
                                                 August 3, 2024, Moderate area                           and Maryland decisions as calling for                 Commenter cites these provisions to
                                                 attainment date established for the 2015                good neighbor analysis and emissions                  conclude that the EPA did not
                                                 ozone NAAQS.                                            controls to be aligned with the timing of             appropriately consider downwind
                                                    The EPA conducted additional                         the implementation of nonattainment
                                                                                                                                  nonattainrnent               attainment deadlines and the timing of
                                                 analysis for 2026 to ensure a complete                  controls by downwind states. However,                 upwind good neighbor obligations.
                                                 Step 3 analysis for future ozone                        the D.C. Circuit has held that the                    These provisions are found in subpart I,
                                                 transport contributions to downwind                     statutory attainment dates are the
                                                                                                         statutory                                             and while they may have continuing


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00042   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                           Document #2009836                              Filed: 07/27/2023             Page 81 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                         36695

                                                 relevance or applicability to aspects of                Wisconsin, 938 F.3d at 316. See also                  of flexibility for the EPA to consider in
                                                 ozone nonattainment planning                            Natural Resources Defense Council v.                  the timing of implementation of good
                                                 requirements, the nonattainment dates                   EPA, 777 F.3d 456, 466–68
                                                                                                                                 466-68 (D.C. Cir.             neighbor obligations, as Wisconsin
                                                                                                                                                                                          Wisconsin
                                                 for the 2015 ozone NAAQS flow from                      2014) (holding the EPA cannot adjust                  recognized, it is not the case that the
                                                 subpart 2 of title I of the CAA, and                    the section 181 attainment schedule to                EPA must delay or defer good neighbor
                                                 specifically CAA section 181(a).                        run from any other date than from the                 obligations for that reason, and neither
                                                 Applying that statutory schedule to the                 date of designation); id. at 468 (‘‘EPA
                                                                                                                                              ("EPA            the D.C. Circuit nor any other court has
                                                 designations for the 2015 ozone                         identifies no statutory provision giving              so held.
                                                 NAAQS, the EPA has promulgated the                      it free-form discretion to set Subpart 2                 Commenter is therefore incorrect to
                                                 applicable attainment dates in its                      compliance deadlines based on its own                 the extent that they argue the selection
                                                 regulations at 40 CFR 51.1303. The                      policy assessment concerning the                      of 2023 as an analytic year for upwind
                                                 effective date of the initial designations              number of ozone seasons within which                  obligations results in the misalignment
                                                 for the 2015 ozone NAAQS was August                     a nonattainment area should be                        of downwind and upwind state
                                                 3, 2018 (83 FR 25776, June 4, 2018,                     expected to achieve compliance.’’)
                                                                                                                                  compliance.")                obligations. To the contrary, both
                                                 effective August 3, 2018).       127 Thus, the
                                                                          2018).127                      (citing and quoting Whitman v.                        downwind and upwind state obligations
                                                 first deadline for attainment planning                  American Trucking       Ass’ns, 531 U.S.
                                                                                                                     Trucking Ass'ns,                          are driven by the statutory attainment
                                                 under the 2015 ozone NAAQS was the                      457, 484, (2001) ("The
                                                                                                                             (‘‘The principal                  date of August 3, 2024 for Moderate
                                                 Marginal attainment date of August 3,                   distinction between Subpart 1 and                     areas, and the last year that air quality
                                                 2021, and the second deadline for                       Subpart 2 is that the latter eliminates               data may impact whether nonattainment
                                                 attainment planning is the Moderate                     regulatory discretion that the former                 areas are found to have attained by the
                                                 attainment date of August 3, 2024. If a                 allowed.’’). Furthermore, as the court in
                                                                                                         allowed.").                                           attainment date is 2023. That is why, in
                                                 Marginal area fails to attain by the                    NRDC noted, "[T]he
                                                                                                         NRDC            ‘‘[T]he ‘attainment
                                                                                                                                  `attainment                  the recent final rulemaking
                                                 attainment date it is reclassified, or                  deadlines . . . leave no room for claims              determinations that certain Marginal
                                                 ‘‘bumped up,"
                                                 "bumped      up,’’ to Moderate. Indeed, the             of technological or economic                          areas failed to attain by the attainment
                                                 EPA has just completed a rulemaking                     infeasibility.’
                                                                                                         infeasibility.'"’’ 777 F.3d at 488 (quoting           date, bumping those areas up to
                                                 action reclassifying many areas of the                  Sierra Club, 294 F.3d at 161) (internal               Moderate, and giving them SIP
                                                 country from Marginal to Moderate                       quotation marks and brackets omitted).                submission deadlines, reasonably
                                                 nonattainment, including all of the areas                                                                     available control measures (RACM), and
                                                                                                            With the exception of the Uinta Basin,             reasonably RACT implementation
                                                 where downwind receptors have been
                                                                                                         which is not an identified receptor in                deadlines, the EPA set the attainment
                                                 identified in our 2023 modeling as well
                                                                                                         this action, no Marginal nonattainment                SIP submission deadlines for the
                                                 as many other areas of the country. 87
                                                                                                         area met the conditions of CAA section
                                                 FR 60897, 60899 (Oct. 7, 2022).                                                                               bumped up Moderate areas to be
                                                    Other than under the narrow                          181(a)(5) to obtain a one-year extension              January 1, 2023. See 87 FR 60897, 60900
                                                 circumstances of CAA section 181(a)(5)                  of the Moderate area attainment date. 87              (Oct. 7, 2022). The implementation
                                                 (discussed further in this section), the                FR 60899. Thus, all Marginal areas                    deadline for RACM and RACT is also
                                                 EPA is not permitted under the CAA to                   (other than Uinta) that failed to attain              January 1, 2023. Id. This was in large
                                                 extend the attainment dates for areas                   have been reclassified to Moderate. Id.               part driven by the EPA's
                                                                                                                                                                                    EPA’s ozone
                                                 under a given classification. That is, no               (And the New York City Metropolitan                   implementation regulations, 40 CFR
                                                 matter when or if the EPA finalizes a                   nonattainment area was initially                      51.1312(a)(3)(i), which previously
                                                 determination that an area failed to                    classified as Moderate (see following                 established a RACT implementation
                                                 attain by its attainment date and                       text for further details).) Even if the EPA           deadline for initially classified
                                                 reclassifies that area, the attainment                  had extended the attainment date for                  Moderate as no later than January 1,
                                                 date remains fixed, based on the number                 any of the downwind areas, it is not                  2023, and the modeling and attainment
                                                 of years from the area's
                                                                       area’s initial                    clear that it would necessarily follow                demonstration requirements in 40 CFR
                                                 designation. See, e.g., CAA section                     that the EPA must correspondingly                     51.1308(d), which require a state to
                                                 182(i) (authorizing the EPA to adjust                   extend or delay the implementation of                 provide for implementation of all
                                                 any applicable deadlines for newly                      good neighbor obligations. While the                  control measures needed for attainment
                                                 reclassified areas "other
                                                                        ‘‘other than attainment          Wisconsin court recognized extensions                 no later than the beginning of the
                                                 dates’’).
                                                 dates"). As the D.C. Circuit has                        under CAA section 181(a)(5) as a                      attainment year ozone season (i.e.,
                                                 repeatedly made clear, the statutory                    possible source of timing flexibility in              2023). Given this regulatory history, the
                                                 attainment schedule of the downwind                     implementing the good neighbor                        EPA can hardly be accused of letting
                                                 nonattainment areas under subpart 2 is                  provision, 938 F.3d at 320, the EPA and               states with nonattainment areas for the
                                                 rigorously enforced and is not subject to               the states are still obligated to                     2015 ozone NAAQS avoid or delay their
                                                 change based on policy considerations                   implement good neighbor reductions as                 mandatory CAA obligations.
                                                 of the EPA or the states.                               expeditiously as practicable and are also                Commenter’s proposal that the EPA
                                                                                                                                                                  Commenter's
                                                                                                         obligated under the good neighbor                     align good neighbor obligations with the
                                                    [T]he attainment deadlines, the Supreme              provision to address "interference
                                                                                                                                   ‘‘interference with
                                                                      ‘‘the heart’’
                                                 Court has said, are "the   heart" of the Act.                                                                 actual implementation of measures in
                                                 Train v. Nat. Res. Def. Council, 421 U.S. 60,           maintenance.’’ Areas that have obtained
                                                                                                         maintenance."                                         downwind areas is untethered from the
                                                 66, 95 S.Ct. 1470, 43 L.Ed.2d 731 (1975); see           an extension under CAA section                        statute, as discussed above. It is also
                                                 Sierra Club v. EPA, 294 F.3d 155, 161 (D.C.             181(a)(5) or which are not designated as              unworkable in practice. It would
                                                 Cir. 2002) (‘‘the
                                                             ("the attainment deadlines are              in nonattainment could still be                       necessitate coordinating the activities of
                                                 central to the regulatory scheme")
                                                                             scheme’’) (alteration       identified as struggling to maintain the
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                                                                               multiple states and EPA regional and
                                                 and internal quotation marks omitted). The              NAAQS, and the EPA is obligated under                 headquarters offices to an impossible
                                                 Act’s central object is the "attain[ment]
                                                 Act's                        ‘‘attain[ment] [of]
                                                                                                         the good neighbor provision to                        degree and effectively could preclude
                                                 air quality of specified standards [within] a
                                                 specified period of time."
                                                                       time.’’ Train, 421 U.S. at        eliminate upwind emissions interfering                the implementation of good neighbor
                                                 64–65, 95 S.Ct. 1470.
                                                 64-65,                                                  with the ability to maintain the NAAQS,               obligations altogether. Commenter does
                                                                                                         as well. North Carolina, 531 F.3d at                  not explain how the EPA or upwind
                                                   127 September 24, 2018, for the San Antonio area.
                                                   127
                                                                                                         908–11.
                                                                                                         908-11. Thus, while an extension under                states should coordinate upwind
                                                 83 FR 35136 (July 25, 2018).                            CAA section 181(a)(5) may be a source                 emissions control obligations for states


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00043   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                           Document #2009836                              Filed: 07/27/2023              Page 82 of 430
                                                 36696
                                                 36696                Federal Register / Vol. 88, No. 107/Monday,
                                                                                                      107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules

                                                 linked to multiple downwind receptors                   York’s SCCT controls were not included
                                                                                                         York's                                                further responds to these comments in
                                                 whose states may be implementing their                  by New York in its good neighbor SIP                       RTC document in the docket.
                                                                                                                                                               the RTC
                                                 requirements on different timetables.                   submission, nor was the prior approval                  The remainder of this section
                                                 Less drastic mechanisms than subjecting                 of the SCCT controls reexamined by the                includes information on (1) the air
                                                 people living in downwind receptor                      EPA or reopened for consideration by                  quality modeling platform used in
                                                 areas to continuing high levels of air                  the Agency in this action. Although not               support of the final rule with a focus on
                                                 pollution caused in part by upwind-                     part of this rulemaking, the EPA notes                the base year and future year base case
                                                 state pollution are available if the actual             that the SCCT controls were approved                  emissions inventories, (2) the method
                                                 implementation of mandatory CAA                         by the EPA as a SIP strengthening                     for projecting design values in 2023 and
                                                 requirements in the downwind areas is                   measure and not to satisfy any specific               2026, and (3) the approach for
                                                 delayed: CAA section 304(a)(2) provides                 planning requirements for the 2015                    calculating ozone contributions from
                                                 for judicial recourse where there is an                 ozone NAAQS under CAA section 182.                    upwind states. The Agency also
                                                 alleged failure by the Agency to perform                86 FR 43956, 43958 (Aug. 11, 2021). The               provides the design values for
                                                 a nondiscretionary duty; that recourse is               SCCT controls submitted to the EPA                    nonattainment and maintenance
                                                 for the Agency to be placed on a court-                 were already a state rule, and the only               receptors and the largest predicted
                                                 ordered deadline to address the relevant                effect under the CAA of the EPA                       downwind contributions in 2023 and
                                                 obligations. See Oklahoma v. U.S. U.S. EPA,             approving them into New York'sYork’s SIP              2026 from each state. The 2016 base
                                                 723 F.3d 1201, 1223-24
                                                                  1223–24 (10th Cir. 2013);              was to make them federally enforceable.               period and 2023 and 2026 projected
                                                 Montana Sulphur and Chemical Co. v.                     86 FR 43956, 43959 (Aug. 11, 2021). In                design values and contributions for all
                                                 U.S.
                                                 U.S. EPA, 666 F.3d 1174, 1190-91
                                                                             1190–91 (9th                other words, approval of the SCCT                     ozone monitoring sites are provided in
                                                 Cir. 2012). Commenter focuses on the                    controls did not relieve New York of its              the docket for this rule. The "Air
                                                                                                                                                                                             ‘‘Air
                                                 EPA’s evaluation of New York's
                                                 EPA's                       York’s Good                 nonattainment planning obligations for                Quality Modeling Technical Support
                                                 Neighbor SIP submission to argue the                    the 2015 ozone NAAQS.                                 Document for the Federal Good
                                                 EPA is treating upwind and downwind                        The EPA notes that the New York-                   Neighbor Plan for the 2015 Ozone
                                                 states dissimilarly. The argument                       Northern New Jersey-Long Island, NY-                  National Ambient Air Quality Standards
                                                 conflates New York's
                                                                  York’s role as both a                  NJ-CT nonattainment area was initially                Final Rulemaking"
                                                                                                                                                                      Rulemaking’’ (Mar. 2023),
                                                 downwind and an upwind state. In                        designated as Moderate nonattainment.                 hereinafter referred to as the Air Quality
                                                 evaluating the Good Neighbor SIP                        83 FR 25776 (June 4, 2018). Pursuant to               Modeling Final Rule TSD, in the docket
                                                 submission that New York submitted,                     this designation, New York was                        for this final rule contains more detailed
                                                 the EPA identified as a basis for                       required to submit a RACT SIP                         information on the air quality modeling
                                                 disapproval that none of the state                      submission and an attainment                          aspects of this rule.
                                                 emissions control programs New York                     demonstration no later than 24 months
                                                                                                                                                               B. Overview
                                                                                                                                                                  Overview of Air Quality
                                                                                                                                                                                    Quality Modeling
                                                 cited included implementation                           and 36 months, respectively, after the
                                                                                                         effective date of the Moderate                        Platform
                                                 timeframes to achieve the reductions, let
                                                 timefrarnes
                                                 alone ensure they were achieved by                      designation. CAA section 182; 40 CFR                    The EPA used version 3 of the 2016-
                                                 2023. 87 FR 9484, 9494 (Feb. 22, 2022).                 51.1308(a), 51.1312(a)(2). New York                   based modeling platform (i.e., 2016v3)
                                                 The EPA conducted the same inquiry                      submitted a RACT SIP for the 2015                     for the air quality modeling for this final
                                                 into other states'
                                                            states’ claims regarding their               ozone standards on January 29, 2021,     128
                                                                                                                                             2021,128          rule. This modeling platform includes
                                                 existing or proposed state laws or other                and the EPA is currently evaluating that              2016 base year emissions from
                                                 emissions reductions claimed in their                   submission. New York has not yet                      anthropogenic and natural sources and
                                                 SIP submissions. See, e.g., 87 FR 9472–
                                                                                       9472-             submitted its attainment demonstration,               anthropogenic emissions projections for
                                                 73 (evaluating claims regarding                         which was due August 3, 2021. Further,                2023 and 2026. The emissions data
                                                 emissions reductions anticipated under                  the New York-Northern New Jersey-                     contained in this platform represent an
                                                 Maryland’s state law); 87 FR 9854
                                                 Maryland's                                              Long Island, NY-NJ-CT nonattainrnent
                                                                                                                                     nonattainment             update to the 2016 version 2 inventories
                                                 (evaluating claims regarding emissions                  area remains subject to the Moderate                  used for the proposal modeling.
                                                                                                         nonattainment area date of August 3,                    The air quality modeling for this final
                                                 reductions anticipated under Illinois'
                                                                                  Illinois’
                                                                                                         2024. If it fails to attain the 2015 ozone            rule was performed for a modeling
                                                 state law). Consistent with its treatment
                                                                                                         NAAQS by August 3, 2024, it will be                   region (i.e., modeling domain) that
                                                 of the other upwind states included in
                                                                                                         reclassified to Serious nonattainment,                covers the contiguous 48 states using a
                                                 this action, the EPA in a separate action
                                                                                                         resulting in additional requirements on               horizontal resolution of 12 x 12 km. The
                                                 disapproved New York's
                                                                     York’s good neighbor
                                                                                                         the New York nonattainment area.                      EPA used the CAMx version 7.10 for air
                                                 SIP submission for the 2015 ozone
                                                                                                           In any case, regardless of the status of            quality modeling which is the same
                                                 NAAQS because its arguments did not
                                                 demonstrate that it had fully prohibited                      York’s and the EPA's
                                                                                                         New York's              EPA’s efforts in              model that EPA used for the proposed
                                                                                                         relation to the New York-Northern New                 rule air quality modeling.129
                                                                                                                                                                                modeling.129 Additional
                                                 emissions significantly contributing to
                                                 out of state nonattainment or                           Jersey-Long Island, NY-NJ-CT                          information on the 2016-based air
                                                                                                         nonattainment area (which are outside                 quality modeling platform can be found
                                                 maintenance problems.
                                                                                                         the scope of this action), the EPA's
                                                                                                                                          EPA’s                in the Air Quality Modeling Final Rule
                                                    Commenter attempts to contrast this                  evaluation of 2023 as the relevant                    TSD.
                                                 evaluation with what it believes is the                                                                         Comment:
                                                                                                                                                                 Comment: Commenters noted that the
                                                                                                         analytic year in assessing New York's
                                                                                                                                            York’s
                                                 EPA’s permissive attitude toward delays
                                                 EPA's                                                                                                         2016 base year summer maximum daily
                                                                                                                     states’ good neighbor
                                                                                                         and other states'
                                                 by downwind states, specifically                        obligations is consistent with the                    average 8-hour (MDA8) ozone
                                                 claiming that "certain
                                                                ‘‘certain nonattainment
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                         statutory framework and court decisions               predictions from the proposal modeling
                                                 areas have delayed implementation of                                                                          were biased low compared to the
                                                                                                         calling on the agency to align these
                                                 nonattainment controls until 2025 and                                                                         corresponding measured concentrations
                                                                                                         obligations with the downwind areas'areas’
                                                 beyond.’’ This apparently references
                                                 beyond."                                                                                                      in certain locations. In this regard,
                                                                                                         statutory attainment schedule. The EPA
                                                       York’s simple cycle and
                                                 New York's                                                                                                    commenters said that model
                                                 regenerative combustion turbines                              https://edap.epa.gov/public/extensions/S4S_
                                                                                                           128 https://edap.epa.gov/publiclextensions/S4S_
                                                                                                           128
                                                 (SCCT) controls, which commenter                        Public_Dashboard_2/S4S_Public_Dashboard_
                                                                                                         Public  Dashboard 2/S4S Public_Dashboard_               129 Ramboll Environment and Health, January
                                                                                                                                                                 128
                                                 cited elsewhere in its comments. New                    2.html.                                               2021, https://www.camx.com.



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00044   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                           Document #2009836                               Filed: 07/27/2023                    Page 83 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                                        36697
                                                                                                                                                                                                                36697

                                                 performance statistics for a number of                  emissions in the U.S. dramatically                        under-predict daytime ozone
                                                 monitoring sites, particularly those in                 increase from spring to suminer.131
                                                                                                                                   summer.131 132
                                                                                                                                                132 In             concentrations at rural and remote
                                                 portions of the West and in the area                    contrast, ozone transported into the U.S.                 monitoring sites across the U.S. during
                                                 around Lake Michigan, were outside the                  from international anthropogenic and                      the spring of 2016 whereas the
                                                 range of published performance criteria                 natural sources peaks during the period                   predictions from the GEOS-Chem global
                                                 for normalized mean bias (NMB) and                      March through June, with lower                            model 137 were generally less biased.138
                                                                                                                                                                   mode1137
                                                 normalized mean error (NME) of less                     contributions during July through                         During the summer of 2016 both models
                                                       ±15 percent and less than 25
                                                 than ±15                                                September.      134 To investigate the
                                                                                                                     133 134
                                                                                                         September.133                                             showed varying degrees of over
                                                 percent, respectively (Emory, et al.,                   impacts of these sources, EPA                             prediction with GEOS-Chem showing
                                                 2017). 130 The commenters said EPA
                                                 2017).130                                               conducted sensitivity model runs which                    somewhat greater over-prediction,
                                                 must investigate the factors contributing               focused on the effects on model                           compared to H—CMAQ.
                                                                                                                                                                                   H–CMAQ. In view of those
                                                 to low bias and make necessary                          performance of adding NOx NOX emissions                   results, EPA examined the impacts of
                                                 corrections to improve model                            from lightning strikes, updating                          using GEOS-Chem as an alternative to
                                                 performance in the final rule modeling.                 biogenic emissions, and using an                          H–CMAQ for providing boundary
                                                                                                                                                                   H—CMAQ
                                                 Some commenters said that EPA should                    alternative approach for quantifying                      conditions for the final rule modeling.
                                                 include NOx
                                                          NOX emissions from lightning                   transport of ozone and precursor                             For the lightning NOx,
                                                                                                                                                                                         NOX, biogenics, and
                                                 strikes and assess the treatment of other               pollutants into the U.S. from                             GEOS-Chem sensitivity runs, EPA reran
                                                 background sources of ozone to improve                  international anthropogenic and natural                   the proposal modeling using each of
                                                 model performance for the final rule.                   sources. The development of lightning                     these inputs, individually. Results from
                                                 Additional information on the                           NOX emissions and the updates to
                                                                                                         NOx                                                       these sensitivity runs indicate that each
                                                 comments on model performance can be                    biogenic emissions, are described in                      of the three updates provides an
                                                 found in the RTC
                                                               RTC document for this                     section IV.C
                                                                                                                 IV.0 of this document. In the                     improvement in model performance.
                                                 final rule.                                             proposal modeling the amount of                           However, by far the greatest
                                                    Response: In response to these                       transport from international                              improvement in model performance is
                                                 comments EPA examined the temporal                      anthropogenic and natural sources was                     attributable to the use of GEOS-Chem. In
                                                 and spatial characteristics of model                    based on a simulation of the                              view of these results EPA has included
                                                 under prediction to investigate the                     hemispheric version of the Community                                  NOX emissions, updated
                                                                                                                                                                   lightning NOx
                                                 possible causes of under prediction of                  Multi-scale Air Quality Model (H– (H—                     biogenic emissions, and international
                                                 MDA8 ozone concentrations in different                  CMAQ) for 2016.
                                                                                                                     2016.135135 The outputs from                  transport from GEOS-Chem in the final
                                                 regions of the U.S. in the proposal                     this hemispheric modeling were then                       rule air quality modeling. Details on the
                                                             EPA’s analysis indicates that
                                                 modeling. EPA's                                         used to provide boundary conditions for                   results of the individual sensitivity runs
                                                 the under prediction was most extensive                 national scale air quality modeling at                    can be found in the Air Quality
                                                 during May and June with less bias                      proposal.                H–CMAQ tends to
                                                                                                                   136 Overall, H—CMAQ
                                                                                                         proposa1.136                                              Modeling Final Rule TSD. For the air
                                                 during July and August in most regions                                                                            quality modeling supporting this final
                                                 of the U.S. For example, in the Upper                      131 Guenther, A.B., 1997. Seasonal and spatial
                                                                                                            131                                                    action, model performance based on
                                                 Midwest region model under prediction                   variations in natural volatile organic compound           days in 2016 with measured MDA8
                                                 was larger in May and June compared to                  emissions. Ecol. Appl. 7, 34–45.
                                                                                                                                    34-45. https://doi.org/        ozone ≥60 ppb is considerably improved
                                                 July through September. Specifically, in                10.1890/1051-
                                                                                                         0761(1997)007[0034:SASVIN]2.0.CO;2.
                                                                                                         0761(1997)007[0034:SASVINI.2.0.00;2. Guenther,            (i.e., less bias and error) compared to the
                                                 the proposal modeling, the normalized                   A., Hewitt, C.N., Erickson, D., Fall, R.                  proposal modeling in nearly all regions
                                                 mean bias for days with measured                           132 Kang D, Mathur R, Pouliot GA, Gilliam RC,
                                                                                                            132                                                    of the U.S. For example, in the Upper
                                                 concentrations ≥60 ppb improved from                    Wong DC. Significant ground-level ozone attributed        Midwest, which includes monitoring
                                                 a 21.4 percent under prediction for May                 to lightning-induced nitrogen oxides during
                                                                                                                                                                   sites along Lake Michigan, the
                                                 and June to a 12.6 percent under                        summertime over the Mountain West States. NPJ
                                                                                                         Clim Atmos Sci. 2020 Jan 30;3:6. doi: 10.1038/            normalized mean bias improved from a
                                                 prediction in the period July through                   s41612–020–0108–2. PMID: 32181370; PMCID:
                                                                                                         s41612-020-0108-2.                                        19 percent under prediction to a 6.9
                                                 September. As described in the Air                      PMC7075249.                                               percent under prediction and in the
                                                 Quality Modeling Final Rule TSD, the                       133 Jaffe DA, Cooper OR, Fiore AM, Henderson
                                                                                                            133                                                    Southwest region, which includes
                                                 seasonal pattern in bias in the Upper                   BH, Tonnesen GS, Russell AG, Henze DK, Langford
                                                                                                         AO, Lin M, Moore T. Scientific assessment of              monitoring sites in Denver and Salt
                                                 Midwest region improves somewhat                        background ozone over the U.S.: Implications for air      Lake City, normalized mean bias
                                                 gradually with time from the middle of                  quality management. Elementa (Wash DC).                   improved from a 13.6 percent under
                                                 May to the latter part of June. In view                 2018;6(1):56. doi: 10.1525/elementa.309. PMID:            prediction to a 4.8 percent under
                                                 of the seasonal pattern in bias in the                  30364819; PMCID: PMC6198683.
                                                                                                            134 Henderson, B.H., P. Dolwick, C. Jang, A., Eyth,    prediction.139 In all regions, the
                                                                                                                                                                   prediction.139
                                                 Upper Midwest and in other regions of                      134
                                                                                                         J. Vukovich, R. Mathur, C. Hogrefe, N. Possiel, G.
                                                 the U.S., EPA focused its investigation                 Pouliot, B. Timin, K.W. Appel, 2019. Global               modeling can be found in the Air Quality Modeling
                                                 of model performance on model inputs                    Sources of North American Ozone. Presented at the         Final Rule TSD.
                                                 that, by their nature, have the largest                 18th Annual Conference of the UNC Institute for the              I. Bey, D.J. Jacob, R.M. Yantosca, J.A. Logan,
                                                                                                                                                                      137 I.
                                                                                                                                                                      132

                                                 temporal variation within the ozone                     Environment Community Modeling and Analysis               B.D. Field, A.M. Fiore, Q. Li, H.Y. Liu, L.J. Mickley,
                                                                                                         System (CMAS) Center, October 21-23,
                                                                                                                                            21–23, 2019.           M.G. Schultz. Global modeling of tropospheric
                                                 season. These inputs include emissions                     135 Mathur, R., Gilliam, R., Bullock, O.R., Roselle,
                                                                                                            135                                                    chemistry with assimilated meteorology: model
                                                 from biogenic sources and lightning                     S., Pleim, J., Wong, D., Binkowski, F., and 1 Streets,    description and evaluation. J. Geophys. Res.
                                                 NOX, and contributions from transport
                                                 NOx,                                                    D.: Extending the applicability of the community          Atmos., 106 (2001), pp. 23073-23095,
                                                                                                                                                                                               23073–23095, 10.1029/
                                                 of international anthropogenic                          multiscale air quality model to 2 hemispheric             2001jd000807.
                                                                                                         scales: motivation, challenges, and progress. In:            138 Henderson, B.H., P. Dolwick, C. Jang, A., Eyth,
                                                 emissions and natural sources into the                  Steyn DG, Trini S (eds) Air 3 pollution modeling
                                                                                                                                                                      136
                                                                                                                                                                   J. Vukovich, R. Mathur, C. Hogrefe, G., N. Possiel,
ddrumheller on DSK120RN23PROD with RULES2




                                                 U.S. Both biogenic and lightning NOxNOX                 and its applications, XXI. Springer, Dordrecht, pp        B. Timin, K.W. Appel, 2022. Meteorological and
                                                                                                         175–179, 2012.
                                                                                                         175-179,                                                  Emission Sensitivity of Hemispheric Ozone and
                                                   130 Christopher Emery, Zhen Liu, Armistead G.
                                                   130                                                      136 Boundary conditions are the concentrations of
                                                                                                            136                                                    PM2.5. Presented at the 21st Annual Conference of
                                                                                                                                                                   PM2.5.
                                                 Russell, M. Talat Odman, Greg Yarwood & Naresh          pollutants along the north, east, south, and west         the UNC Institute for the Environment Community
                                                 Kumar (2017) Recommendations on statistics and          boundaries of the air quality modeling domain.            Modeling and Analysis System (CMAS) Center,
                                                 benchmarks to assess photochemical model                Boundary conditions vary in space and time and are                   17–19, 2022.
                                                                                                                                                                   October 17-19,2022.
                                                 performance, Journal of the Air & Waste                 typically obtained from predictions of global or                 A comparison of model performance from the
                                                                                                                                                                      139 A
                                                                                                                                                                      132
                                                 Management Association, 67:5, 582-598,
                                                                                 582–598, DOI:           hemispheric models. Information on how boundary           proposal modeling to the final modeling for
                                                 10.1080/10962247.1265027.                               conditions were developed for the final rule                                                             Continued



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00045   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM      05JNR2
                                                       USCA Case #23-1157                           Document #2009836                              Filed: 07/27/2023             Page 84 of 430
                                                 36698
                                                 36698                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 normalized mean bias and normalized                     Emissions Modeling TSD. This TSD is                    updated to use the latest available
                                                 mean error statistics for high ozone days                                                rule.141
                                                                                                         available in the docket for this rule.141              versions of the Biogenic Emissions
                                                 based on the final rule modeling are                                                                           Inventory System and associated land
                                                                                                         1. Foundation Emissions Inventory Data
                                                 within the range of performance criteria                                                                       use data to help address comments
                                                                                                         Sets
                                                                     ±15 percent for
                                                 benchmarks (i.e., < ±15                                                                                        related to a degradation in model
                                                 normalized mean bias and <25 percent                       The 2016v3 emissions platform is                    performance in the 2016v2 platform as
                                                                                                         comprised of data from various sources                 compared to the 2016v1 platform.
                                                 for normalized mean error).140
                                                                                                         including data developed using models,                 Details on the construction of the
                                                 Additional information on model
                                                                                                         methods, and source datasets that                      inventories are available in the 2016v3
                                                 performance is provided in the Air                      became available in calendar years 2020
                                                 Quality Modeling Final Rule TSD. In                                                                            Emissions Modeling TSD. Details on
                                                                                                         through 2022, in addition to data                      how the EPA responded to comments
                                                 summary, EPA included emissions of                      retained from the Inventory
                                                           NOX, as requested by                                                                                 related to emissions inventories are
                                                 lightning NOx,                                          Collaborative 2016 version 1 (2016v1)                  available in the RTC
                                                                                                                                                                                 RTC document for this
                                                 commenters, and investigated and                        Emissions Modeling Platform, released                  rule.
                                                 addressed concerns about model                          in October 2019. The 2016v1 platform
                                                 performance for the final rule modeling.                was developed through a national                       2. Development of Emissions
                                                                                                         collaborative effort between the EPA                   Inventories for EGUs
                                                 C. Emissions Inventories
                                                                                                         and state and local agencies along with               a. EGU Emissions Inventories
                                                    The EPA developed emissions                          MJOs. The 2016v2 platform used to                     Supporting This Final Rule
                                                 inventories to support air quality                      support the proposed action included
                                                                                                         updated data from the 2017 NEI along                     Development of emissions inventories
                                                 modeling for this final rule, including                                                                       for annual NOx
                                                                                                                                                                           NOX and SOSO22 emissions for
                                                 emissions estimates for EGUs, non-EGU                   with updates to models and methods as
                                                                                                         compared to 2016v1. The 2016v3                        EGUs in the 2016 base year inventory
                                                 point sources (i.e., stationary point                                                                         are based primarily on data from
                                                                                                         platform includes updates to the 2016v2
                                                 sources), stationary nonpoint sources,                                                                        continuous emissions monitoring
                                                                                                         platform implemented in response to
                                                 onroad mobile sources, nonroad mobile                                                                         systems (CEMS) and other monitoring
                                                                                                         comments along with other updates to
                                                 sources, other mobile sources, wildfires,               the 2016v2 platform such as corrections               systems allowed for use by qualifying
                                                 prescribed fires, and biogenic emissions                and the incorporation of updated data                 units under 40 CFR part 75, with other
                                                 that are not the direct result of human                 sources that became available prior to                EGU pollutants estimated using
                                                                  EPA’s air quality
                                                 activities. The EPA's                                   the 2016v3 inventories being developed.               emissions factors and annual heat input
                                                 modeling relies on this comprehensive                   Several commenters noted that the                     data reported to the EPA. For EGUs not
                                                 set of emissions inventories because                    2016v2 platform did not include NOx NOX               reporting under Part 75, the EPA used
                                                 emissions from multiple source                          emissions that resulted from lightning                data submitted to the NEI by the state,
                                                 categories are needed to model ambient                  strikes. To address this, lightning NOx
                                                                                                                                              NOX              local, and tribal agencies. The Air
                                                 air quality and to facilitate comparison                emissions were computed and included                  Emissions Reporting Rule (80 FR 8787;
                                                 of model outputs with ambient                           in the 2016v3 platform.                               February 19, 2015), requires that Type A
                                                 measurements.                                              For this final rule, the EPA developed             point sources large enough to meet or
                                                                                                         emissions inventories for the base year               exceed specific thresholds for emissions
                                                    Prior to air quality modeling, the                                                                         be reported to the EPA every year, while
                                                 emissions inventories were processed                    of 2016 and the projected years of 2023
                                                                                                         and 2026. The 2023 and 2026                           the smaller Type B point sources must
                                                 into a format that is appropriate for the                                                                     only be reported to EPA every 3 years.
                                                                                                         inventories represent changes in activity
                                                 air quality model to use. To prepare the                data and of predicted emissions                       Emissions data for EGUs that did not
                                                 emissions inventories for air quality                   reductions from on-the-books actions,                 have data submitted to the NEI specific
                                                 modeling, the EPA processed the                         planned emissions control installations,              to the year 2016 were filled in with data
                                                 emissions inventories using the Sparse                  and promulgated Federal measures that                 from the 2017 NEI. For more
                                                 Matrix Operator Kernel Emissions                                                emissions.142 The
                                                                                                         affect anthropogenic emissions.142                    information on the details of how the
                                                 (SMOKE) Modeling System version 4.9                     2016 emissions inventories for the U.S.               2016 EGU emissions were developed
                                                 to produce the gridded, hourly,                         primarily include data derived from the               and prepared for air quality modeling,
                                                 speciated, model-ready emissions for                    2017 National Emissions Inventory                     see the 2016v3 Emissions Modeling
                                                 input to the air quality model.                                      143 and data specific to the
                                                                                                         (2017 NEI) 143                                        TSD.
                                                 Additional information on the                           year of 2016. The following sections                     The EPA projected 2023 and 2026
                                                 development of the emissions                            provide an overview of the construct of               baseline EGU emissions using the
                                                 inventories and on data sets used during                the 2016v3 emissions and projections.                 version 6—Updated Summer 2021
                                                 the emissions modeling process are                      The fire emissions were unchanged                     Reference Case of the Integrated
                                                 provided in the document titled,                        between the 2016v2 and 2016v3                         Planning Model (IPM). 1PM,
                                                                                                                                                                                        IPM, developed
                                                 ‘‘Technical Support Document (TSD):
                                                 "Technical                                              emissions platforms. For the 2016v3                   by ICF Consulting, is a state-of-the-art,
                                                 Preparation of Emissions Inventories for                platform, the biogenic emissions were                 peer-reviewed, multi-regional, dynamic,
                                                 the 2016v3 North American Emissions                                                                           deterministic linear programming model
                                                             Platform’’ (Jan. 2023),
                                                 Modeling Platform"                                        141 See 2016v3 Emissions Modeling TSD, also
                                                                                                           141                                                 of the contiguous U.S. electric power
                                                 hereafter known as the 2016v3                                         https://www.epa.gov/air-emissions-
                                                                                                         available at https://www.epa.govlair-emissions-       sector. It provides forecasts of least cost
                                                                                                         modeling/2016v3-platform.                             capacity expansion, electricity dispatch,
                                                                                                           142 Biogenic emissions and emissions from
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                                                                               and emissions control strategies while
                                                 individual monitoring sites can be found in the         wildfires and prescribed fires were held constant
                                                 docket for this final rule.                             between 2016 and the future years because (1) these   meeting energy demand and
                                                   140 Christopher Emery, Zhen Liu, Armistead G.
                                                   140                                                   emissions are tied to the 2016 meteorological         environmental, transmission, dispatch,
                                                 Russell, M. Talat Odman, Greg Yarwood & Naresh          conditions and (2) the focus of this rule is on the   and reliability constraints. The EPA has
                                                 Kumar (2017) Recommendations on statistics and          contribution from anthropogenic emissions to          used IPM for over two decades,
                                                 benchmarks to assess photochemical model                projected ozone nonattainment and maintenance.
                                                 performance, Journal of the Air & Waste                       https://www.epa.gov/air-emissions-
                                                                                                           143 https://www.epa.govlair-emissions-
                                                                                                           143
                                                                                                                                                               including all prior implemented CSAPR
                                                 Management Association, 67:5, 582-598,
                                                                                 582–598, DOI:           inventories/2017-national-emissions-inventory-nei-    rulemakings, to better understand power
                                                 10.1080/10962247.1265027.                               technical-support-document-tsd.                       sector behavior under future business-


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00046   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                           Document #2009836                              Filed: 07/27/2023             Page 85 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                          36699
                                                                                                                                                                                                  36699

                                                 as-usual conditions and to evaluate the                 (including renewable energy tax credit                   Both IPM and the Engineering
                                                 economic and emissions impacts of                       extensions from the Consolidated                      Analytics tools are valuable for
                                                 prospective environmental policies. The                 Appropriations Act of 2021) through                   estimating future EGU emissions and
                                                 model is designed to reflect electricity                early 2021 impacting SO2,
                                                                                                                                 SO2, NOx,
                                                                                                                                      NOX, directly            examining the cone of uncertainty
                                                 markets as accurately as possible. The                  emitted particulate matter, CO2,
                                                                                                                                       CO2, and                around any future sector-level inventory
                                                 EPA uses the best available information                 power plant operations. It also includes              estimate. A key difference between the
                                                 from utilities, industry experts, gas and               final actions the EPA has taken to                    two tools is that IPM reflects both
                                                 coal market experts, financial                          implement the Regional Haze Rule and                  announced and projected changes in
                                                 institutions, and government statistics                 best available retrofit technology                    fleet operation, whereas the Engineering
                                                 as the basis for the detailed power sector              (BART) requirements. Documentation of                 Analytics tool only reflects announced
                                                 modeling in IPM. The model                              IPM version 6 and NEEDS, along with                   changes. By not including projected
                                                 documentation provides additional                       updates, is in Docket ID No. EPA—HQ—
                                                                                                                                        EPA–HQ–                regional changes that are anticipated in
                                                 information on the assumptions                          OAR–2021–0668 and available online at
                                                                                                         OAR-2021-0668                                         response to market forces and fleet
                                                 discussed here as well as all other                     https://www.epa.gov/airmarkets/power-                 trends, the Engineering Analysis
                                                 model assumptions and inputs.     144 The
                                                                            inputs.144                   sector-modeling. IPM has projected                    deliberately creates future estimates of
                                                 EPA relied on the same model platform                   output years for 2023 and 2025. IPM                   the power sector where state estimates
                                                 at final as it did at proposal, but made                year 2025 outputs were adjusted for                   are limited to known changes.
                                                 substantial updates to reflect public                   known retirements to be reflective of                 Throughout all of the CSAPR rules to
                                                 comments on near-term fossil fuel                       year 2026, and IPM year 2030 outputs                  date, and prior interstate transport
                                                 market price volatility and updated fleet               were used for the year 2032 as is                     actions, the EPA has used IPM at Steps
                                                 information reflecting Summer 2022                      specified by the mapping of IPM output                1 and 2 as it is best suited for projecting
                                                 U.S. Energy Information Agency (EIA)                    years to specific years.                              emissions in an airshed, at projecting
                                                 860 data, unit-level comments, and                         Additional 2023 through 2026 EGU                   emissions for time horizons more than
                                                 additional updates to the National                      emissions baseline levels were                        a few years out (for which changes
                                                 Electric Energy Data System (NEEDS)                     developed through engineering                         would not yet be announced and thus
                                                 inventory.                                                                                                    projecting changes is critical), and for
                                                                                                         analytics as an alternative approach that
                                                    The IPM version 6—Updated Summer                     did not involve 1PM.
                                                                                                                           IPM. The EPA                        scenarios where the assumed change in
                                                 2021 Reference Case incorporated recent                                                                       emissions is not being codified into a
                                                                                                         developed this inventory for use in Step
                                                 updates through the Summer of 2022 to                   3 of this final rule, where it determines
                                                                                                                                                               state emissions reduction requirement.
                                                 account for updated Federal and state                                                                         Using IPM at Steps 1 and 2 helps the
                                                                                                         emissions reduction potential and
                                                 environmental regulations (including                                                                          EPA avoid overstating the current
                                                                                                         corresponding state-level emissions
                                                 Renewable Portfolio Standards (RPS),                    budgets. IPM includes optimization and
                                                                                                                                                               analytic year receptor values (Step 1)
                                                 Clean Energy Standards (CES) and other                                                                        and future year linkages (Step 2) by
                                                                                                         perfect foresight in solving for least cost
                                                 state mandates), fleet changes                                                                                reflecting reductions anticipated to
                                                                                                         dispatch. Given that this final rule will
                                                 (committed EGU retirements and new                                                                            occur within the airshed in the relevant
                                                                                                         likely become effective immediately
                                                 builds), electricity demand, technology                                                                       timeframe.
                                                                                                         prior to the start of the 2023 ozone                     Engineering analytics has been a
                                                 cost and performance assumptions from                   season, the EPA adopted a similar
                                                 recent data (for renewables adopting                                                                          useful tool for Step 3 state-level
                                                                                                         approach to the CSAPR Update and the                  emissions reduction estimates in CSAPR
                                                 from National Renewable Energy Lab                      Revised CSAPR Update where it
                                                 (NREL’s) Annual Technology Baseline
                                                 (NREL's)                                                                                                      rulemaking, because at that step the
                                                                                                         utilized historical data and an                       EPA is dealing with more geographic
                                                 2020 and for fossil sources from EIA's
                                                                                     EIA’s               engineering analytics approach in Step
                                                 Annual Energy Outlook (AEO) 2020.                                                                             granularity (state-level as opposed to
                                                                                                         3 to avoid overstating optimization and               regional air shed), more near-term (as
                                                 Natural gas and coal price projections                  dispatch decisions in state-emissions
                                                 reflect data developed in Fall 2020 but                                                                       opposed to medium-term) assessments,
                                                                                                         budget quantification that may not be                 and scenarios where reduction estimates
                                                 updated in summer of 2022 to capture                    possible in a short time frame. The EPA
                                                 near-term price volatility and current                                                                        are codified into regulatory
                                                                                                         does this by starting with unit-level                 requirements. Using the Engineering
                                                 market conditions. The inventory of                     reported data and only making
                                                 EGUs provided as an input to the model                                                                        Analytics tool at this step ensures that
                                                                                                         adjustments to reflect known baseline                 the EPA is not codifying into the base
                                                 was the NEEDS fall 2022 version and is                  changes such as planned retirements
                                                                EPA’s website.145
                                                 available on EPA's    website.145 This                                                                        case, and consequently into state
                                                                                                         and new builds (for the base case                     emissions budgets, changes in the
                                                 version of NEEDS reflects announced                     scenarios) and also identified mitigation
                                                 retirements and under-construction new                                                                        power sector that are merely modeled to
                                                                                                         strategies for determining state                      occur rather than announced by real-
                                                 builds known as of early summer 2022.                   emissions budgets. In both the CSAPR
                                                 This projected base case accounts for                                                                         world actors.
                                                                                                         Update and in this rule at Step 3, the                   Finally, both in the Revised CSAPR
                                                 the effects of the finalized Mercury and                EPA complemented that projected IPM                   Update and in this rule, the EPA was
                                                 Air Toxics Standards rule, CSAPR, the                   EGU outlook with an historical (e.g.,                 able to use the Air Quality Assessment
                                                 CSAPR Update, the Revised CSAPR                         engineering analytics) perspective based              Tool to determine that regardless of
                                                 Update, NSR enforcement settlements,                    on historical data that only factors in               which EGU inventory is used, the 2023
                                                 the final ELG Rule, CCR Rule, and other                 known changes to the fleet. This 2023                 geography of the program is not
                                                 on-the-books Federal and state rules                    engineering analytics data set is                     impacted. In other words, regardless of
                                                                                                         described in more detail in the Ozone
ddrumheller on DSK120RN23PROD with RULES2




                                                   144 Detailed information and documentation of
                                                   144
                                                                                                                                                               whether a stakeholder takes a more
                                                 EPA’s Base Case, including all the underlying
                                                 EPA's                                                   Transport Policy Analysis Final Rule                  comprehensive view of the EGU future
                                                 assumptions, data sources, and architecture             TSD and corresponding Appendix A:                     (IPM)
                                                                                                                                                               (1PM) or one limited to current data and
                                                 parameters can be found on EPA's
                                                                              EPA’s website at:          State Emissions Budgets Calculations                  known changes (Engineering Analysis),
                                                 https://www.epa.gov/airmarkets/epas-power-sector-
                                                 https://www.epa.govlairmarketslepas-power-sector-       and Underlying Data. The Engineering                  the states that are linked to receptors at
                                                 modeling-platform-v6-using-ipm-summer-2021-
                                                 reference-case.                                         Analysis used in Step 3 is also                       Steps 1 and 2 would be the same. This
                                                   145 Available at https://www.epa.gov/airmarkets/
                                                   145              https://www.epa.govlairmarkets/      discussed further in section VII.B of this            finding is consistent with the
                                                 national-electric-energy-data-system-needs-v6.          document.                                             observation that EGUs are now less than


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00047   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                           Document #2009836                              Filed: 07/27/2023             Page 86 of 430
                                                 36700
                                                 36700                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 10 percent of the total ozone-season                    Additionally, at the time of the                      inform the modeling projections for
                                                 NOX inventory and the degree of near-
                                                 NOx                                                     proposal’s
                                                                                                         proposal's analysis, the 2023 ozone                   2023 and 2026 was conducted prior to
                                                 term difference between the IPM and                     season was still nearly two years away.               the passage of the Inflation Reduction
                                                 Engineering Analytic regional                           Therefore, it was appropriate for EPA's
                                                                                                                                              EPA’s            Act (IRA), Public Law 117-169.
                                                                                                                                                                                          117–169. The
                                                 projections is relatively small on the                  modeling to project economic                          EPA did not have time to incorporate
                                                 regional level. The EPA continues to                    retirements as those retirements—which                updated EGU projections reflecting the
                                                 believe that IPM is best suited for Step                are regularly occurring—are often not                 passage of the IRA into the primary air
                                                 1 and Step 2, and engineering analytics                 firm or announced two years in                        quality modeling for this final rule.
                                                 is best suited for Step 3 efforts in this               advance. However, for this final rule,                However, the EPA was able to perform
                                                 rulemaking. The Ozone Transport                         the 2023 analytic year was close enough               a sensitivity analysis reflecting the IRA
                                                 Policy Analysis Final Rule TSD contains                 to the period in which EPA was                        in its EGU NOx
                                                                                                                                                                            NOX emissions inventories.
                                                 data on 2023 and 2026 AQ impacts of                     conducting its analysis that such                     The results from this scenario were run
                                                 each dataset.                                           retirements would likely be announced.                through AQAT and demonstrated that
                                                    Comment:
                                                    Comment: Some commenters express                     Therefore, the EPA was able to                        the status of states identified as linked
                                                 concern that using IPM for Step 1 and                   incorporate those announced and firm                  at the 1 percent of NAAQS contribution
                                                 Step 2 captures generation shifting                     retirements to occur in the 2023 year.                threshold (based on the modeling and
                                                 across state lines, which exceeds the                   Further, in recognition of this very near
                                                 EPA’s authority. Moreover, the
                                                 EPA's                                                                                                         air quality analysis described in this
                                                                                                         timeframe, we deactivated IPM’s
                                                                                                                                      IPM's ability
                                                 commenters suggest that the resulting                                                                         section) would not change regardless of
                                                                                                         to project additional economic
                                                 proposed baseline EGU inventory may                     retirements for the 2023 year (reflecting             which inventory (with or without IRA)
                                                 understate emissions levels as it projects              the notion that any retirements                       is used. This sensitivity analysis is
                                                 economic retirements that are not yet                   occurring by 2023 would be known at                   presented in the Regulatory Impact
                                                 announced or firm. Other commenters                     this point). This adjustment further                  Analysis accompanying this rule, and
                                                 more generally allege that the EPA is                   accommodates the commenters’
                                                                                                                              commenters' concern              that discussion provides additional
                                                 using different modeling tools at                       that the baseline overstates generation               detail on the emissions consequences of
                                                 different steps in its analysis, and this               shifting (driven by retirements) in the               including the IRA in a baseline EGU
                                                 introduces confusion or uncertainty into                near term, and consequently understates               inventory. The air quality impact of
                                                 the basis for the EPA's
                                                                   EPA’s regulatory                      emissions levels. Finally, with respect               including the IRA in EPA's
                                                                                                                                                                                        EPA’s emissions
                                                 conclusions.                                            to comments that the EPA is using                     inventories and in its Step 3 scenarios
                                                    Response: The EPA believes the first                 different modeling tools at different                 is discussed in Appendix K of the
                                                 aspect of this comment, in regards to its               steps in the framework, we previously                 Ozone Transport Policy Analysis Final
                                                 focus on generation shifting, is                        explained why these techniques are                    Rule TSD.
                                                 misguided in several ways. For Step 1                   appropriate for the purposes at each                     The results of this analysis are not
                                                 and Step 2, the EPA models no                           step of the analysis, and they are not                surprising and accord with what is
                                                 incremental generation shifting                         incompatible nor do they produce                      generally understood to be the overall
                                                 attributable to the implementation of an                results so different as to call into                  effect of the IRA over the short to long
                                                 emissions control policy at Step 3.                     question their reliability or the bases for           term. While the IRA is anticipated to
                                                 Rather, any generation patterns are                     our regulatory determinations (EPA                    have a potentially dramatic effect on
                                                 merely a reflection of the model's
                                                                             model’s                     notes that the nationwide projected                   reducing both GHG and conventional
                                                 projection of how regional load                                              NOX emissions vary
                                                                                                         ozone season total NOx                                pollutant emissions from the power
                                                 requirements will be met with the                       by less than 1 percent in the 2023                    sector, it is likely to have a more
                                                 generation sources serving that region in               analytic year). Nonetheless, we also                  substantial impact later in the forecast
                                                 the baseline. The EPA is not modeling                   observe that the effect of using                      period (i.e., beyond the attainment
                                                 any additional generation shifting, but                 engineering analytics to inform analysis              deadlines by which the emissions
                                                 merely capturing the expected                           at Steps 1 and 2 would tend to produce
                                                 generation dispatch under anticipated                                                                         reductions under this final rule must
                                                                                                         higher assumed emissions from EGUs in                 occur). This timing reflects a realistic
                                                 baseline market conditions. Electricity                 the baseline than IPM would project in
                                                 generated in one state regularly is                                                                                            utilities’, regulators',
                                                                                                                                                               assessment of utilities',    regulators’, and
                                                                                                         2026 and beyond and therefore only
                                                 transmitted across state boundaries and                                                                                       authorities’ planning
                                                                                                                                                               transmission authorities'
                                                                                                         strengthen and further affirm the Step 1
                                                 is used to serve load in other states; IPM                                                                    requirements associated with the
                                                                                                         and Step 2 geographic findings. EPA's
                                                                                                                                             EPA’s
                                                 is not incentivizing or requiring any                                                                         addition of substantial new renewable
                                                                                                         use of different tools to project EGU
                                                 additional generation transfer across                   scenarios is not inconsistent, but rather
                                                                                                                                                               and storage capacity to the grid, as well
                                                 state lines in this scenario but is merely              it is carefully explained as a deliberate             as the time needed to integrate that
                                                 projecting the pattern of this behavior in              measure taken to preserve—not                         capacity and retire existing capacity.
                                                 the future. Moreover, as noted                          introduce—consistency across each of                  Additionally, the IRA incentives span a
                                                 previously, the EPA affirms its                         the Steps in the 4-step framework. By                 longer time period (for example, certain
                                                 geographic findings at Step 2 (states                   using IPM at Step 1 and 2, EPA is                     tax incentives for clean energy sources
                                                 contributing over 1 percent of the                      selecting the more conservative                       are available until the later of 2032 or
                                                 NAAQS to a downwind receptor) using                     approach for identifying the degree of                the year in which power sector
                                                 historical data (engineering analysis) in               nonattainment and geography of states                 emissions are 75 percent below 2022
                                                 a sensitivity analysis. These historical                contributing above 1 percent. By using                levels) and therefore there is no IRA-
                                                                                                                                                               related deadline to build cleaner
ddrumheller on DSK120RN23PROD with RULES2




                                                 data reflect the actual generation                      Engineering Analytics at Step 3, EPA is
                                                 patterns observed to meet regional load.                selecting the more conservative value to              generation by 2026. Recent analysis by
                                                 Therefore, any suggestion by the                        codify into state-level budgets.                      the Congressional Budget Office
                                                 commenter that the EPA's
                                                                       EPA’s projected                                                                         supports the finding that the majority of
                                                 view of baseline grid dispatch is                       b. Impact of the Inflation Reduction Act              power sector EGU emissions reductions
                                                 unreasonable, is mooted by the fact that                on EGU Emissions                                      expected from the IRA occur well after
                                                 the use of historical reported generation                  The EGU modeling used to construct                 the 2023 and 2026 analytic years
                                                 patterns produces the same result.                      the EGU emissions inventories used to                 relevant to the attainment dates and this


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00048   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                           Document #2009836                                Filed: 07/27/2023              Page 87 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                               36701

                                                 rulemaking.146 While the report focuses
                                                 rulemaking.146                                          point source emissions carried forward                  rail energy use growth rate projections
                                                 on CO
                                                     CO22 rather than NOx,
                                                                       NOX, the drivers of               from 2014 NEI were not the best                         for 2023, and 2026 with the fleet mix
                                                 the emissions reductions (primarily                     estimates of 2017 emissions. Thus,                      assumed to be constant throughout the
                                                 increased zero-emitting generation)                     emissions sources in 2016v2 that had                    period.
                                                 would generally have a downward                         been projected from the 2014 NEI in the                    The EPA made multiple updates to
                                                 impact on both pollutants.                              proposal were replaced with emissions                   point source oil and gas emissions in
                                                    We note that important uncertainties                 based on the 2017 NEI. Point source                     response to comments. For the final
                                                 remain at this time in the                              emissions submitted to the 2016 NEI or                  rule, the point source oil and gas
                                                 implementation of the IRA that further                  to the 2016v1 platform development                      emissions for 2016 were based on the
                                                 counsel against over-assuming short-                    process specifically for the year 2016                  2016v2 point inventory except that most
                                                 term emissions reductions for purposes                  were retained in 2016v3. Other 2016                     2014 NEI-based emissions were
                                                 of this rule. The legislation provides                  non-EGU updates in 2016v3 include a                     replaced with 2017 NEI emissions.
                                                 economic incentives for shifting to                     few sources being moved to the EGU                      Additionally, in response to comments,
                                                 cleaner forms of power generation but                   inventory, the addition of some control                 state-provided emissions equivalent to
                                                 does not mandate emissions reductions                   efficiency information for the year 2016,               those in the 2016v1 platform were used
                                                 through an enforceable regulatory                       the replacement of most emissions                       for Colorado, and some New Mexico
                                                 program. The strength of those                          projected from 2014 NEI with data from                  emissions were replaced with data
                                                 incentives will vary to some extent                     2017 NEI, and the inclusion of point                    backcast from 2020 to 2016. To develop
                                                 depending on other key market factors                   source data for solvent processes that                  inventories for 2023 and 2026 for the
                                                 (such as the cost of natural gas or                     had not been included in the 2016v2                     final rule, the year 2016 oil and gas
                                                 renewable energy technologies).                         non-EGU inventory.                                      point source inventories were first
                                                 Further, some incentives, such as tax                     The 2023 and 2026 non-EGU point                       projected to 2021 values based on actual
                                                 credits for carbon capture and storage,                 source emissions were grown from 2016                   historical production data, then those
                                                 could lead EGUs to remain in operation                  to those years using factors based on the               2021 emissions were projected to 2023
                                                 longer, which could in turn result in                   AEO 2022 and reflect emissions                          and 2026 using regional projection
                                                          NOX emissions, if those
                                                 greater NOx                                             reductions due to known national and                    factors based on AEO 2022 projections.
                                                 emissions are not also well controlled.                 local rules, control programs, plant                    This was an update from the proposal
                                                    Nonetheless, while we find that the                  closures, consent decrees, and                          approach that used actual data only
                                                 passage of the IRA does not affect the                  settlements that could be computed as                   through the year 2019, because 2021
                                                 geography of the rule in terms of which                 reductions to specific units by July                    data were not yet available. NOx
                                                                                                                                                                                                NOX and
                                                 states we identify as linked, the Agency                2022.
                                                                                                         2022.                                                   VOC reductions resulting from co-
                                                                                                           Aircraft emissions and ground                         benefits of NSPS for Stationary
                                                 is confident that the incentives toward
                                                                                                         support equipment at airports are                       Reciprocating Internal Combustion
                                                 clean technology provided in the IRA
                                                                                                         represented as point sources and are                    Engines (RICE) are reflected, along with
                                                 will, in the longer run beyond the 2015
                                                                                                         based on adjustments to emissions in                    Natural Gas Turbine and Process Heater
                                                 ozone NAAQS attainment deadlines,
                                                                                                         the January 2021 version of the 2017                           NOX controls and Oil and Gas
                                                                                                                                                                 NSPS NOx
                                                 facilitate ongoing EGU compliance with
                                                                                                         NEI. The EPA developed and applied                      NSPS VOC controls. In some cases, year
                                                 the emissions reduction requirements of
                                                                                                         factors to adjust the 2017 airport                      2019 point source inventory data were
                                                 this rule and will reduce costs borne by
                                                                                                         emissions to 2016, 2023 and 2026 based                  used instead of the projected future year
                                                 EGUs and their customers as the U.S.
                                                                                                         on activity growth projected by the                     emissions except for the Western
                                                 power sector transitions. As discussed
                                                                                                         Federal Aviation Administration                         Regional Air Partnership (WRAP) states
                                                 in greater detail in section VI.B of this
                                                                                                         Terminal Area Forecast 2021 147 147 data,
                                                                                                                                                                 of Colorado, New Mexico, Montana,
                                                 document, we have made several
                                                                                                         the latest available version at the time                Wyoming, Utah, North Dakota, and
                                                 adjustments in the final rule to provide
                                                                                                         the factors were developed. By basing                   South Dakota. The WRAP future year
                                                 greater flexibility to EGU owners and
                                                                                                         the factors on the latest available                                148 was used in these WRAP
                                                                                                                                                                 inventory 148
                                                 operators to integrate this rule’s
                                                                             rule's
                                                                                                         Terminal Area Forecast that was                         states in all future years except in New
                                                 requirements with and facilitate the
                                                                                                         released following the most significant                 Mexico where the WRAP base year
                                                 accelerating transition to an overall
                                                                                                         pandemic impacts on the aviation                        emissions were projected using the EIA
                                                 cleaner electricity-generating sector,
                                                                                                         sector, the reduction and rebound                       historical and AEO forecasted
                                                 which the IRA represents. Despite the
                                                                                                         impacts of the pandemic on aircraft and                 production data. Estimated impacts
                                                 uncertainties inherent in the
                                                                                                         ground support equipment were                           from the New Mexico Administrative
                                                 implementation of the IRA at this time,
                                                                                                         reflected in the 2023 and 2026 airport                  code 20.2.50 146
                                                                                                                                                                                149 were also included.
                                                 the EPA also has performed a sensitivity
                                                                                                         emissions.
                                                 analysis on the final rule to confirm that                                                                       4. Development of Emissions
                                                                                                           Emissions at rail yards were
                                                 our finding of no overcontrol is robust                                                                          Inventories for Onroad Mobile Sources
                                                                                                         represented as point sources. The 2016
                                                 to a future with the IRA in effect.
                                                                                                         rail yard emissions are largely                             Onroad mobile sources include
                                                 3. Development of Emissions                             consistent with the 2017 NEI rail yard                   exhaust, evaporative, and brake and tire
                                                 Inventories for Stationary Industrial                   emissions. The 2016 and 2023 rail yard                   wear emissions from vehicles that drive
                                                 Point Sources                                           emissions were developed through the                     on roads, parked vehicles, and vehicle
                                                   Non-EGU point source emissions are                    2016v1 Inventory Collaborative process,                  refueling. Emissions from vehicles using
                                                                                                         with the 2026 emissions interpolated                     regular gasoline, high ethanol gasoline,
                                                 mostly consistent with those in the
ddrumheller on DSK120RN23PROD with RULES2




                                                 proposal modeling except where they                     between the 2023 and 2028 emissions                      diesel fuel, and electric vehicles were
                                                                                                         from 2016v1 rail yard emissions were                     represented, along with buses that used
                                                 were updated in response to comments.
                                                 Several commenters mentioned that                       interpolated from the 2016 and 2023                      compressed natural gas. The EPA
                                                                                                         emissions. Class I rail yard emissions
                                                   146 "‘‘Emissions
                                                   148    Emissions of Carbon Dioxide In the Electric
                                                                                                         were projected based on the AEO freight                   148 http://www.wrapair2.org/pdf/WRAP_OGWG_
                                                                                                                                                                   148 http://www.wrapair2.org/pdf/WRAP    OGWG
                                                          Sector,’’ Congressional Budget Office.
                                                 Power Sector,"                                                                                                  2028_OTB_RevFinalReport_05March2020.pdf.
                                                                                                                                                                 2028_0TB_RevFinalReport    05March2020.pdf.
                                                 December 2022. Available at https://www.cbo.gov/          147
                                                                                                           147   https://www.faa.gov/data_research/aviation/
                                                                                                                 https://www.faa.govIdata_researchlaviation/       149 https://www.srca.nm.gov/parts/title20/
                                                                                                                                                                   149
                                                 publication/58860.
                                                 publication/58860.                                      taf/.                                                   20.002.0050.html.



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000     Frm 00049   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                           Document #2009836                              Filed: 07/27/2023               Page 88 of 430
                                                 36702
                                                 36702                Federal Register / Vol. 88, No. 107/Monday,
                                                                                                      107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules

                                                 developed the onroad mobile source                      final rule modeling. The 2023 and 2026                proposal. The nonroad mobile
                                                 emissions for states other than                         onroad mobile emissions were                          emissions control programs include
                                                 California using the EPA's
                                                                       EPA’s Motor                       computed within SMOKE by                              reductions to locomotives, diesel
                                                 Vehicle Emissions Simulator (MOVES).                    multiplying the respective emissions                  engines, and recreational marine
                                                 MOVES3 was released in November                         factors developed using MOVES with                    engines, along with standards for fuel
                                                 2020 and has been followed by some                      the year-specific activity data. Prior to             sulfur content and evaporative
                                                 minor releases that improved the usage                  computing the final rule emissions for                emissions. A comprehensive list of
                                                 of the model but that do not have                       2023, the EPA made updates to some                    control programs included for mobile
                                                 substantive impacts on the emissions                    onroad inputs in response to comments                 sources is available in the 2016v3
                                                 estimates. For the proposal, MOVES3                     and to implement corrections.                         Emissions Modeling TSD.
                                                 was run using inputs provided by state                                                                           Line haul locomotives are also
                                                                                                         5. Development of Emissions                           considered a type of nonroad mobile
                                                 and local agencies through the 2017 NEI                 Inventories for Commercial Marine
                                                 where available, in combination with                                                                          source but the emissions inventories for
                                                                                                         Vessels                                               locomotives were not developed using
                                                 nationally available data sets to develop
                                                 a complete inventory. Onroad emissions                     The commercial marine vessel (CMV)                 MOVES3. Year 2016 locomotive
                                                 were developed based on emissions                       emissions in the 2016 base case                       emissions were developed through the
                                                 factors output from MOVES3 runs for                     emissions inventory for this rule were                2016v1 collaborative process and the
                                                 the year 2016, coupled with activity                    based on those in the 2017 NEI. Factors               year 2016 emissions are mostly
                                                 data (e.g., vehicle miles traveled and                  were applied to adjust the 2017 NEI                   consistent with those in the 2017 NEI.
                                                 vehicle populations) representing the                   emissions backward to represent                       More information on the development
                                                 year 2016. The 2016 activity data were                  emissions for the year 2016. The CMV                  of the Class I, Class II and III, and
                                                 provided by some state and local                        emissions reflect reductions associated               commuter rail line haul locomotive
                                                 agencies through the 2016v1 process,                    with the Emissions Control Area                       emissions is available in the 2016v3
                                                 and the remaining activity data were                    proposal to the International Maritime                Emissions Modeling TSD. The projected
                                                 derived from those used to develop the                  Organization control strategy (EPA–
                                                                                                                                        (EPA-                  locomotive emissions for 2023 and 2026
                                                 2017 NEI. The onroad emissions were                     420–F–10–041,
                                                                                                         420—F-10-041, August 2010);                           were developed by applying factors to
                                                 computed within SMOKE by                                reductions of NOx,
                                                                                                                        NOX, VOC, and CO                       the 2016 emissions using activity data
                                                                                                         emissions for new category 3 (C3)                     based on AEO freight rail energy use
                                                 multiplying emissions factors developed
                                                                                                         engines that went into effect in 2011;                growth rate projections along with
                                                 using MOVES with the appropriate
                                                                                                         and fuel sulfur limits that went into                 emissions rates adjusted to account for
                                                 activity data. Prior to computing the
                                                                                                         effect prior to 2016. The cumulative                  recent historical trends. The emission
                                                 final rule emissions, updates to some
                                                                                                         impacts of these rules through 2023 and               factors used for NOx,
                                                                                                                                                                                 NOX, PM10 and VOC for
                                                 onroad inputs were made in response to
                                                                                                         2026 were incorporated into the                       line haul locomotives in the analytic
                                                 comments and to implement
                                                                                                         projected emissions for CMV sources.                  years were derived from trend lines
                                                 corrections. Onroad mobile source
                                                                                                         The CMV emissions were split into                     based on historic line-haul emission
                                                 emissions for California were consistent
                                                                                                         emissions inventories from the larger C3              factors from the period of 2007 through
                                                 with the updated emissions data
                                                                                                         engines, and those from the smaller                   2017 and extrapolated to 2023 and 2026.
                                                 provided by the state for the final rule.
                                                                                                         category 1 and 2 (C1C2) engines. CMV
                                                    The 2023 and 2026 onroad emissions                   emissions in California are based on                  7. Development of Emissions
                                                 reflect projected changes to fuel                       emissions provided by the state. The                  Inventories for Nonpoint Sources
                                                 properties and usage, along with the                    CMV emissions are consistent with the                    For stationary nonpoint sources, some
                                                 impact of the rules included in                         emissions for the 2016v1 platform                     emissions in the 2016 base case
                                                 MOVES3 for each of those years.                         updated CMV emissions released by                     emissions inventory come directly from
                                                 MOVES emissions factors for the years                   February 2020 although they include                   the 2017 NEI, others were adjusted from
                                                 2023 and 2026 were used. A                              projected emissions for the years of                  the 2017 NEI to represent 2016 levels,
                                                 comprehensive list of control programs                  2023 and 2026 instead of 2023 and                     and the remaining emissions including
                                                 included for onroad mobile sources is                   2028. In addition, in response to                     those from oil and gas, fertilizer, and
                                                 available in the 2016v3 Emissions                       comments, the EPA implemented an                      solvents were computed specifically to
                                                 Modeling TSD. Year 2023 and 2026                        improved process for spatial allocating               represent 2016. Stationary nonpoint
                                                 activity data for onroad mobile sources                 CMV emissions along state and county                  sources include evaporative sources,
                                                 were provided by some state and local                   boundaries.                                           consumer products, fuel combustion
                                                 agencies, and otherwise were projected                                                                        that is not captured by point sources,
                                                 to 2023 and 2026 by first projecting the                6. Development of Emissions
                                                                                                                                                               agricultural livestock, agricultural
                                                 2016 activity to year 2019 based on                     Inventories for Other Nonroad Mobile
                                                                                                                                                               fertilizer, residential wood combustion,
                                                 county level vehicle miles traveled                     Sources
                                                                                                                                                               fugitive dust, and oil and gas sources.
                                                 (VMT) from the Federal Highway                             The EPA developed nonroad mobile                   The emissions sources derived from the
                                                 Administration. Because VMT for                         source emissions inventories (other than              2017 NEI include agricultural livestock,
                                                 onroad mobile sources were                              CMV, locomotive, and aircraft                         fugitive dust, residential wood
                                                 substantially impacted by the pandemic                  emissions) for 2016, 2023, and 2026                   combustion, waste disposal (including
                                                 and took about two years to rebound to                  from monthly, county, and process level               composting), bulk gasoline terminals,
                                                 pre-pandemic levels, in the 2016v3                      emissions output from MOVES3. Types                   and miscellaneous non-industrial
                                                 platform no growth in VMT was                           of nonroad equipment include
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                                                                               sources such as cremation, hospitals,
                                                 implemented from 2019 to. The                           recreational vehicles, pleasure craft, and            lamp breakage, and automotive repair
                                                 estimated 2021 VMT were then grown                      construction, agricultural, mining, and               shops. A recent method to compute
                                                 from 2021 to 2023 and 2026 using AEO                    lawn and garden equipment. State-                                                   used.150
                                                                                                                                                               solvent VOC emissions was used.15°
                                                 2022-based factors. Recent updates to                   submitted emissions data for nonroad                     Where comments were provided
                                                 inspection and maintenance programs                     sources were used for California. The                 about projected control measures or
                                                 in North Carolina and Tennessee were                    nonroad emissions for the final rule
                                                 reflected in the MOVES inputs for the                   were unchanged from those at the                           https://doi.org/10.5194/acp-21-5079-2021.
                                                                                                                                                                 150 https://doi.org/10.5194/acp-21-5079-2021.
                                                                                                                                                                 15°




                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00050   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                           Document #2009836                              Filed: 07/27/2023                  Page 89 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                                    36703

                                                 changes in nonpoint source emissions,                   AEO forecasted production data.                   The Agency explained in the NOx          NOX SIP
                                                 those inputs were first reviewed by the                 Estimated impacts from the New Mexico Call and CAIR and then reaffirmed in
                                                 EPA. Those found to be based on                         Administrative Code 20.2.50 were               the CSAPR Update that the EPA has the
                                                 reasonable data for affected emissions                  included.                                      most confidence in our projections of
                                                 sources were incorporated into the                                                                     nonattainment for those monitoring
                                                                                                         D. Air Quality
                                                                                                                 Quality  Modeling   To  Identify
                                                                                                                                         Identify
                                                 projected inventories for 2023 and 2026                                                                sites that also measure nonattainment
                                                                                                         Nonattainment and Maintenance
                                                 to the extent possible. Where possible,                                                                for the most recent period of available
                                                 projection factors based on the AEO                     Receptors
                                                                                                                                                        ambient data. The EPA separately
                                                 used data from AEO 2022, the most                          In this section, the Agency describes       identified maintenance receptors as
                                                 recent AEO at the time available at the                 the air quality modeling and analyses          those monitoring sites that would have
                                                 time the inventories were developed.                    performed in Step 1 to identify locations difficulty maintaining the relevant
                                                 Federal regulations that impact the                     where the Agency expects there to be           NAAQS in a scenario that accounts for
                                                 nonpoint sources were reflected in the                  nonattainment or maintenance receptors historical variability in air quality at
                                                 inventories. Adjustments for state fuel                 for the 2015 ozone NAAQS in the 2023           that site. The variability in air quality
                                                 sulfur content rules for fuel oil in the                and 2026 analytic years. Where the             was determined by evaluating the
                                                 Northeast were included along with                                                                     ‘‘maximum’’ future design value at each
                                                                                                         EPA’s analysis shows that an area or site "maximum"
                                                                                                         EPA's
                                                 solvent controls applicable within the                  does not fall under the definition of a        monitoring site based on a projection of
                                                 ozone transport region. Details are                     nonattainment or maintenance receptor          the maximum measured design value
                                                 available in the 2016v3 Emissions                       in these analytic years, that site is          over the relevant period. The EPA
                                                 Modeling TSD.                                           excluded from further analysis under           interprets the projected maximum
                                                   Nonpoint oil and gas emissions                        this rule.                                     future design value to be a potential
                                                 inventories for many states were                           In the proposed rule, the EPA applied future air quality outcome consistent
                                                 developed based on outputs from the                     the same approach used in the CSAPR            with the meteorology that yielded
                                                 2017 NEI version of the EPA Oil and                     Update and the Revised CSAPR Update maximum measured concentrations in
                                                 Gas Tool using activity data for year                   to identify nonattainment and                  the ambient data set analyzed for that
                                                 2016. Production-related emissions data                 maintenance receptors for the 2008             receptor (i.e., ozone conducive
                                                 from the 2017 NEI were used for                                 NAAQS.153 See 86 FR 23078–79.
                                                                                                         ozone NAAQS.153                  23078-79.     meteorology). The EPA also recognizes
                                                 Oklahoma, 2016v1 emissions were used                    The EPA's
                                                                                                              EPA’s approach gives independent          that previously experienced
                                                 for Colorado and for Texas production-                  effect to both the "contribute
                                                                                                                             ‘‘contribute               meteorological conditions (e.g.,
                                                 related sources to response to                                            nonattainment’’ and the
                                                                                                         significantly to nonattainment"                dominant wind direction, temperatures,
                                                 comments. Data for production-related                   ‘‘interfere with maintenance"
                                                                                                         "interfere       maintenance’’ prongs of       and air mass patterns) promoting ozone
                                                 nonpoint oil and gas emissions in the                   section 110(a)(2)(D)(i)(I), consistent with formation that led to maximum
                                                 states of Colorado, Montana, New                                  Circuit’s direction in North
                                                                                                         the D.C. Circuit's                             concentrations in the measured data
                                                 Mexico, North Dakota, South Dakota,                     Carolina.  154 Further, in its decision on
                                                                                                         Carolina.154                                   may reoccur in the future. The
                                                 Utah, and Wyoming were obtained from                    the remand of the CSAPR from the               maximum design value gives a
                                                 the WRAP baseline inventory.    151 A
                                                                      inventory.151                      Supreme Court in the EME  EME Homer City
                                                                                                                                                City    reasonable projection of future air
                                                 California Air Resources Board-                         case, the D.C. Circuit confirmed that          quality at the receptor under a scenario
                                                 provided inventory was used for 2016                    EPA’s approach to identifying
                                                                                                         EPA's                                          in which such conditions do, in fact,
                                                 oil and gas emissions in California.                    maintenance receptors in the CSAPR             reoccur.156 The projected maximum
                                                                                                                                                        reoccur.156
                                                 Nonpoint oil and gas inventories for                                            court’s prior
                                                                                                         comported with the court's                     design value is used to identify upwind
                                                 2023 and 2026 were developed by first                   instruction to give independent                emissions that, under those
                                                 projecting the 2016 oil and gas                                          ‘‘interfere with              circumstances, could interfere with the
                                                                                                         meaning to the "interfere
                                                 inventories to 2021 values based on                     maintenance’’ prong in the good
                                                                                                         maintenance"                                   downwind area's area’s ability to maintain the
                                                 actual production data. Next, those 2021                neighbor provision. EMEEME Homer City City II, NAAQS.
                                                 emissions were projected to 2023 and                    795 F.3d at 136.                                  Therefore, applying this methodology
                                                 2026 using regional projection factors by
                                                 product type based on AEO 2022                             In the CSAPR Update and the Revised in this rule, the EPA assessed the
                                                                                                         CSAPR Update, the EPA identified               magnitude of the projected maximum
                                                 projections. A 2017–2019
                                                                 2017-2019 average                                                                      design values for 2023 and 2026 at each
                                                                                                         nonattainment receptors as those
                                                 inventory was used for oil and natural                                                                 monitoring site in relation to the 2015
                                                 gas exploration emissions in 2023 and                   monitoring sites that are projected to
                                                                                                         have average design values that exceed         ozone NAAQS and, where such a value
                                                 2026 except for California and in the
                                                                                                         the NAAQS and that are also measuring exceeds the NAAQS, the EPA
                                                 WRAP states in which data from the
                                                                                                         nonattainment based on the most recent determined that receptor to be a
                                                 WRAP future year inventory 152 152 were
                                                                                                                                                        ‘‘maintenance’’ receptor for purposes of
                                                        NOX and VOC reductions that are                  monitored design values. This approach "maintenance"
                                                 used. NOx                                                                                              defining interference with maintenance,
                                                                                                         is consistent with prior transport
                                                 co-benefits to the NSPS for RICE are                                                                   consistent with the method used in
                                                                                                         rulemakings, such as the NOx NOX SIP Call
                                                 reflected, along with Natural Gas                                                                      CSAPR and upheld by the D.C. Circuit
                                                                                                         and CAIR, where the EPA defined
                                                 Turbines and Process Heaters NSPS                                                                      in EME Homer City          II.157 That is,
                                                                                                                                                                             City 11.157
                                                 NOX controls and NSPS Oil and Gas                       nonattainment receptors as those areas
                                                 NOx
                                                                                                         that both currently monitor
                                                 VOC controls. The WRAP future year
                                                 inventory was used for oil and natural                  nonattainment and that the EPA projects reasonable EPA's   EPA’s approach to defining
                                                                                                         will be in nonattainment in the future         nonattainment in CAIR).
                                                 gas production sources in 2023 and                                                                                EPA’s air quality modeling guidance
                                                                                                                                                          156 The EPA's
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                                       year.155
                                                                                                         compliance year.155                              156
                                                 2026 except in New Mexico where the                                                                    identifies the use of the highest of the relevant base
                                                 WRAP Base year emissions were                                                                                   period design values as a means to evaluate future
                                                                                                           153
                                                                                                           153 See 86 FR 23078–79.
                                                                                                                          23078-79.                              year attainment under meteorological conditions
                                                 projected using the EIA historical and                    154 531
                                                                                                           154 531 F.3d at 910–911
                                                                                                                           910-911 (holding that the EPA         that are especially conducive to ozone formation.
                                                                                                                    ‘‘independent significance"
                                                                                                         must give "independent   significance’’ to each prong   See U.S. Environmental Protection Agency, 2018.
                                                   151 http://www.wrapair2.org/pdf/WRAP_OGWG_
                                                   151                                                   of CAA section 110(a)(2)(D)(i)(I)).                     Modeling Guidance for Demonstrating Attainment
                                                 Report_Baseline_17Sep2019.pdf.
                                                 Report   Baseline_1 7Sep2019.pdf.                         155 See 63 FR 57375, 57377 (October 27, 1998); 70
                                                                                                           155                                                   of Air Quality Goals for Ozone, PM 2.5, and Regional
                                                                                                                                                                                                 PM2.5,
                                                   152 http://www.wrapair2.org/pdf/WRAP_OGWG_
                                                   152                                                   FR 25241 (January 14, 2005). See also North             Haze, Research Triangle Park, NC.
                                                 2028_OTB_RevFinalReport_05March2020.pdf.
                                                 2028_0TB_RevFinalReport     05March2020.pdf.            Carolina, 531 F.3d at 913–914
                                                                                                                               913-914 (affirming as               157 See 795 F.3d at 136.
                                                                                                                                                                   157



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00051   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM    05JNR2
                                                       USCA Case #23-1157                            Document #2009836                              Filed: 07/27/2023             Page 90 of 430
                                                 36704
                                                 36704                 Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 monitoring sites with a maximum                          Commenters noted that a number of                     Moreover, 2023 is so near in time that
                                                 design value that exceeds the NAAQS                      monitoring sites that are projected to be             recent measured ozone levels can be
                                                 are projected to have maintenance                        below the NAAQS in 2023 based on the                  used to reasonably project whether an
                                                 problems in the future analytic years.158
                                                                                   years.158              EPA’s modeling for the proposed action
                                                                                                          EPA's                                                 air quality problem is likely to persist.
                                                   Recognizing that nonattainment                         are currently measuring nonattainment                 We view this approach to identifying
                                                 receptors are also, by definition,                       based on data from 2020 and 2021. One                 additional receptors in 2023 as the best
                                                 maintenance receptors, the EPA often                     commenter requested that the EPA                      means of responding to the comments
                                                                ‘‘maintenance-only’’ to
                                                 uses the term "maintenance-only"                         determine whether its past modeling                   on this issue in this action, while also
                                                 refer to receptors that are not also                     tends to overestimate or underestimated               identifying all transport receptors.
                                                 nonattainment receptors. Consistent                      actual observed design values. If EPA                    For purposes of this action, we treat
                                                 with the concepts for maintenance                        finds that the agency's
                                                                                                                         agency’s model tends to
                                                 receptors, as described previously, the                                                                        these violating monitors as an
                                                                                                          underestimate future year design values,
                                                                                                                                                                additional type of maintenance-only
                                                 EPA identifies "maintenance-only"
                                                                  ‘‘maintenance-only’’                    the commenter requests that EPA re-run
                                                 receptors as those monitoring sites that                                                                       receptor. Because our modeling did not
                                                                                                          its ozone modeling, incorporating
                                                 have projected average design values                                                                           identify these sites as receptors, we do
                                                                                                          parameters that account for this
                                                 above the level of the applicable                                                                              not believe it is sufficiently certain that
                                                                                                          tendency.
                                                 NAAQS, but that are not currently                           Response: In response to comments,
                                                                                                             Response:                                          these sites will be in nonattainment
                                                 measuring nonattainment based on the                     the EPA compared the projected 2023                   such that they should be considered
                                                 most recent official design values. In                   design values based on the proposal                   nonattainment receptors. Rather, our
                                                 addition, those monitoring sites with                                                                          authority for treating these sites as
                                                                                                          modeling to recent trends in measured
                                                 projected average design values below                    data. As a result of this analysis, the               receptors in 2023 flows from the
                                                 the NAAQS, but with projected                            EPA agrees that current data indicate                 responsibility in CAA section
                                                 maximum design values above the                          that there are monitoring sites at risk of            110(a)(2)(i)(I) to prohibit emissions that
                                                 NAAQS are also identified as                             continued nonattainment in 2023 even                  interfere with maintenance of the
                                                 ‘‘maintenance only"
                                                 "maintenance    only’’ receptors, even if                though the model projected average and                NAAQS. See, e.g., North Carolina, 531
                                                 they are currently measuring                             maximum design values at these sites                  F.3d at 910–11
                                                                                                                                                                          910-11 (failing to give effect to
                                                 nonattainment based on the most recent                   are below the NAAQS (i.e., sites that are             the interfere with maintenance clause
                                                 official design values.159                               not modeling-based receptors). It would               ‘‘provides no protection for downwind
                                                                                                                                                                "provides
                                                   Comment:
                                                    Comment: The EPA received                             not be reasonable to ignore recent                    areas that, despite EPA's
                                                                                                                                                                                      EPA’s predictions,
                                                 comments claiming that the projected                     measured ozone levels in many areas                   still find themselves struggling to meet
                                                 design values for 2023 were biased low                   that are clearly not fully consistent with            NAAQS due to upwind interference
                                                 compared to recent measured data.                        certain concentrations in the Step 1                  . . . .’’)
                                                                                                                                                                        ") (emphasis added). Recognizing
                                                                                                          analysis for 2023. Therefore, the EPA                 that no modeling can perfectly forecast
                                                    158 The EPA issued a memorandum in October
                                                    158
                                                                                                          has also developed an additional                      the future, and "a‘‘a degree of imprecision
                                                 2018, providing additional information to states
                                                                                                          maintenance-only receptor category,                   is inevitable in tackling the problem of
                                                 developing interstate transport SIP submissions for                                                            interstate air pollution,’’
                                                                                                                                                                               pollution," this approach
                                                 the 2015 8-hour ozone NAAQS concerning                   which includes what we refer to as
                                                 considerations for identifying downwind areas that       ‘‘violating monitor"
                                                                                                          "violating  monitor’’ receptors, based on             in the Agency's
                                                                                                                                                                         Agency’s judgement best balances
                                                 may have problems maintaining the standard at            current ozone concentrations measured                                           ‘‘under-control’’
                                                                                                                                                                the need to avoid both "under-control"
                                                 Step 1 1 of the 4-step interstate transport framework.
                                                                                                          by regulatory ambient air quality                           ‘‘overcontrol,’’ EME Homer City,
                                                                                                                                                                and "overcontrol,"
                                                 See Considerations for Identifying Maintenance                                                                 572 U.S. at 523.
                                                 Receptors for Use in Clean Air Act Section               monitoring sites.
                                                 110(a)(2)(D)(i)(I) Interstate Transport State               Specifically, the EPA has identified                  We acknowledge that the traditional
                                                 Implementation Plan Submissions for the 2015             monitoring sites with measured 2021                   modeling plus monitoring methodology
                                                 Ozone National Ambient Air Quality Standards,
                                                 October 19, 2018 (‘‘October
                                                                      ("October 2018 memorandum’’),
                                                                                       memorandum"),
                                                                                                          and preliminary 2022 design values and                we used at proposal and in prior ozone
                                                                             EPA–HQ–OAR–2021–0668
                                                 available in Docket No. EPA—HQ—OAR-2021-0668             4th high maximum daily 8-hour average                 transport rules would otherwise have
                                                        https://www.epa.gov/airmarkets/memo-and-
                                                 or at https://www.epa.govlairmarkets/memo-and-           (MDA8) ozone in both 2021 and 2022                    identified such sites as being in
                                                 supplemental-information-regarding-interstate-           (preliminary data) that exceed the                    attainment in 2023. Despite the
                                                 transport-sips-2015-ozone-naaqs. EPA is not              NAAQS, although projected to be in                    implications of the current measured
                                                 applying the suggested analytical approaches in
                                                 that memorandum in this rule, nor would those            attainment in 2023, as having the                     data suggesting there will be a
                                                 approaches be appropriate in light of currently          greatest risk of continuing to have a                 nonattainment problem at these sites in
                                                 available data. Potential alternative approaches         problem attaining the standard in 2023.               2023, we cannot definitively establish
                                                 would introduce unnecessary and substantial              These criteria sufficiently consider                  that such sites will be in nonattainment
                                                 additional analytical burdens that could frustrate
                                                 timely and efficient implementation of good
                                                                                                          measured air quality data so as to avoid              in 2023 in light of our modeling
                                                 neighbor obligations. In addition, the information       including monitoring sites that have                  projections. In the face of this
                                                 supplied in that memorandum is now outdated due          measured nonattainment data in recent                 uncertainty, we regard our ability to
                                                 to several additional years of air quality monitoring    years but could reasonably be                         consider such sites as receptors for
                                                 data and updated modeling results. EPA'sEPA’s current                                                          purposes of good neighbor analysis
                                                                                                          anticipated to not have a nonattainment
                                                                          ‘‘maintenance’’ receptors has
                                                 approach to defining "maintenance"
                                                 been upheld and continues to provide an                  or maintenance problem in 2023, in line               under CAA section 110(a)(2)(D)(i)(I) to
                                                 appropriate approach to addressing the                   with our modeling results. Our                        be a function of the requirement to
                                                 ‘‘interference with maintenance"
                                                 "interference          maintenance’’ prong of the Good   methodology is intended only to                       prohibit emissions that interfere with
                                                 Neighbor provision. See EME Homer City, 795 F.3d         identify those sites that have sufficiently           maintenance of the NAAQS; even if an
ddrumheller on DSK120RN23PROD with RULES2




                                                       136–37; Wisconsin,
                                                 118, 136-37;    Wisconsin, 938 F.3d at 325–26.
                                                                                          325-26.         poor ozone levels that there is clearly a             area may be technically in attainment,
                                                             https://www.epa.gov/air-trends/air-
                                                    159 See https://www.epa.govlair-trendslair-
                                                    159
                                                 quality-design-values for design value reports. At       reasonable expectation that an ozone                  we have reliable information indicating
                                                 the time of this action, the most recent reports         nonattainment or maintenance problem                  that there is an identified risk that
                                                 available are for the calendar year 2021.                will persist in the 2023 ozone season.                attainment will not in fact be achieved.




                                            VerDate Sep<11>2014    20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00052   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                           Document #2009836                              Filed: 07/27/2023                    Page 91 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                                        36705
                                                                                                                                                                                                                36705

                                                    However, because we did not identify                    The ozone predictions from the 2016                  WRF meteorological model those grid
                                                 this basis for receptor-identification at               and future year air quality model                       cells that are greater than 50 percent
                                                 proposal, in this final action we are only              simulations were used to project 2016– 2016-            overwater are treated as being 100
                                                 using this receptor category on a                       2018 average and maximum ozone                          percent overwater. In such cases the
                                                 confirmatory basis. That is, for states                 design values to 2023 and 2026 using an                 meteorological conditions in the entire
                                                 that we find linked based on our                        approach similar to the approach in                     grid cell reflect the vertical mixing and
                                                 traditional modeling-based methodology                  EPA’s guidance for attainment
                                                                                                         EPA's                                                   winds over water, even if part of the
                                                 in 2023, we find in this final analysis                 demonstration modeling. This guidance                   grid cell also happens to be over land
                                                 that the linkage at Step 2 is strengthened              recommends using model predictions                      with land-based emissions, as can often
                                                 and confirmed if that state is also linked              from the 3 x 3 array of grid cells 161
                                                                                                                                              161
                                                                                                                                                                 be the case for coastal areas. Overlaying
                                                                  ‘‘violating monitor"
                                                 to one or more "violating    monitor’’                  surrounding the location of the                         land-based emissions with overwater
                                                 receptors. If a state is only linked to a               monitoring site to calculate a Relative                 meteorology may be representative of
                                                 violating-monitor receptor in this final                Response Factor (RRF) for that site.162
                                                                                                                                             site.162            conditions at coastal monitors during
                                                 analysis, we are deferring taking final                 However, the guidance also notes that                   times of on-shore flow associated with
                                                                 state’s SIP submittal. This
                                                 action on that state's                                  an alternative array of grid cells may be               synoptic conditions or sea-breeze or
                                                 is the case for the State of Tennessee.                 used in certain situations where local                  lake-breeze wind flows. But there may
                                                 Among the states that previously had                    topographic or geographical feature                     be other times, particularly with off-
                                                 their transport SIPs fully approved for                 (e.g., a large water body or a significant              shore wind flow, when vertical mixing
                                                 the 2015 ozone NAAQS, the EPA has                       elevation change) may influence model                   of land-based emissions may be too
                                                 also identified a linkage to violating-                 response.                                               limited due to the presence of overwater
                                                 monitor receptors for the State of                         The 2016–2018
                                                                                                                 2016-2018 base period average                   meteorology. Thus, for our modeling the
                                                 Kansas. The EPA intends to further                      and maximum design values were                          EPA projected average and maximum
                                                 review its air quality modeling results                 multiplied by the RRF to project each of                design values at individual monitoring
                                                 and recent measured ozone levels, and                   these design values to each of the three                sites based on both the "3    × 3"
                                                                                                                                                                                           ‘‘3 x 3’’ approach
                                                 we intend to address these states'
                                                                                states’ good             future years. In this manner, the                       as well as the alternative approach that
                                                 neighbor obligations as expeditiously as                projected design values are grounded in                 eliminates overwater cells in the RRF
                                                 practicable in a future action.                         monitored data, and not the absolute                    calculation for near-coastal areas (i.e.,
                                                                                                         model-predicted future year                             ‘‘no water"
                                                                                                                                                                 "no  water’’ approach). The projected
                                                    Methodology for
                                                 E. Methodology    for Projecting Future                 concentrations. Following the approach                  2023 and 2026 design values using both
                                                 Year Ozone Design Values                                in the CSAPR Update and the Revised                     the "3  × 3’’
                                                                                                                                                                     ‘‘3 x         ‘‘no-water’’ approaches
                                                                                                                                                                           3" and "no-water"
                                                                          EPA’s modeling
                                                   Consistent with the EPA's                             CSAPR Update, the EPA also projected                    are provided in the docket for this final
                                                 guidance, the 2016 base year and future                 future year design values based on a                    rule. For this final rule, the EPA is
                                                 year air quality modeling results were                  modified version of the "3     × 3’’
                                                                                                                                    ‘‘3 x 3"                     relying upon design values based on the
                                                 used in a relative sense to project design              approach for those monitoring sites                     ‘‘no water"
                                                                                                                                                                 "no  water’’ approach for identifying
                                                 values for 2023 and 2026. That is, the                  located in coastal areas. In this                       nonattainment and maintenance
                                                 ratios of future year model predictions                 alternative approach, the EPA                           receptors.164
                                                                                                                                                                 receptors.164
                                                 to base year model predictions are used                 eliminated from the RRF calculations
                                                                                                                                                                    Consistent with the truncation and
                                                 to adjust ambient ozone design                          the modeling data in those grid cells                   rounding procedures for the 8-hour
                                                         160 up or down depending on the
                                                 values 160                                              that are dominated by water (i.e., more                 ozone NAAQS, the projected design
                                                 relative (percent) change in model                      than 50 percent of the area in the grid                 values are truncated to integers in units
                                                 predictions for each location. The                      cell is water) and that do not contain a
                                                                                                                                                                 of ppb. 165 Therefore, projected design
                                                                                                                                                                    ppb.165
                                                 modeling guidance recommends using                      monitoring site (i.e., if a grid cell is more
                                                                                                                                                                 values that are greater than or equal to
                                                 measured ozone concentrations for the                   than 50 percent water but contains an                   71 ppb are considered to be violating
                                                 5-year period centered on the base year                 air quality monitor, that cell would
                                                                                                                                                                 the 2015 ozone NAAQS. For those sites
                                                 as the air quality data starting point for              remain in the calculation). The choice of
                                                                                                                                                                 that are projected to be violating the
                                                 future year projections. This average                   more than 50 percent of the grid cell
                                                                                                                                                                 NAAQS based on the average design
                                                 design value is used to dampen the                      area as water as the criteria for
                                                                                                         identifying overwater grid cells is based               values in the future analytic years, the
                                                 effects of inter-annual variability in                                                                          Agency examined the measured design
                                                 meteorology on ozone concentrations                     on the treatment of land use in the
                                                                                                         Weather Research and Forecasting                        values for 2021, which are the most
                                                 and to provide a reasonable projection                                                                          recent official measured design values at
                                                 of future air quality at the receptor                   model (WRF).    163 Specifically, in the
                                                                                                                  (WRF).163
                                                                                                                                                                 the time of this final rule. As noted
                                                 under average conditions. In addition,                     161 As noted in this section, each model grid cell   earlier, the Agency is identifying
                                                                                                            161
                                                 the Agency calculated maximum design                    is 12 x 12 km.
                                                                                                                     kin.                                        nonattainment receptors in this
                                                 values from within the 5-year base                         162 The relative response factor represents the
                                                                                                            162                                                  rulemaking as those sites that are
                                                 period to represent conditions when                     change in ozone at a given site. To calculate the       violating the NAAQS based on current
                                                 meteorology is more favorable than                                 EPA’s modeling guidance recommends
                                                                                                         RRF, the EPA's
                                                                                                         selecting the 10 highest ozone days in an ozone
                                                 average for ozone formation. Because                    season at a given monitor in the base year, noting
                                                                                                                                                                    164 Using design values from the "3     × 3"
                                                                                                                                                                                                        ‘‘3 x 3’’
                                                 the base year for the air quality                       which of the grid cells surrounding the monitor         approach, the maintenance-only receptor at site
                                                                                                         experienced the highest ozone concentrations in the     550590019 in Kenosha County, WI would become
                                                 modeling used in this final rule is 2016,                                                                       a nonattainment receptor because the average
                                                                                                         base year, and averaging those ten highest
                                                 measured data for 2014–2018
                                                                      2014-2018 (i.e.,                   concentrations. The model is then run using the         design value with the "3    × 3’’
                                                                                                                                                                                         ‘‘3 x 3" approach is 72.0 ppb
                                                 design values for 2016, 2017, and 2018)                 projected year emissions, in this case 2023, with all   versus 70.8 ppb with the "no‘‘no water"
                                                                                                                                                                                                   water’’ approach. In
ddrumheller on DSK120RN23PROD with RULES2




                                                 were used to project average and                        other model variables held constant. Ozone              addition, the maintenance-only receptor at site
                                                                                                         concentrations from the same ten days, in the same      090099002 in New Haven County, CT would
                                                 maximum design values in 2023 and                                                                               become a nonattainment receptor using the "3         × 3’’
                                                                                                                                                                                                                  ‘‘3 x 3"
                                                                                                         grid cells, are then averaged. The fractional change
                                                 2026.
                                                 2026.                                                   between the base year (2016 model run) average          approach because the average design value with the
                                                                                                         ozone concentration and the future year (e.g., 2023     "3  × 3’’
                                                                                                                                                                 ‘‘3 x  3" approach is 71.2 ppb versus 70.5 ppb with
                                                   160 The ozone design value at a particular
                                                   160                                                   model run) average ozone concentration represents            ‘‘no water"
                                                                                                                                                                 the "no   water’’ approach.
                                                 monitoring site is the 3-year average of the annual     the relative response factor.                              165 40 CFR part 50, appendix P—Interpretation of
                                                                                                                                                                    166
                                                 4th highest daily maximum 8-hour ozone                         https://www.mmm.ucar.edu/weather-research-
                                                                                                            163 https://www.mmm.ucar.edulweather-research-
                                                                                                            163                                                  the Primary and Secondary National Ambient Air
                                                 concentration at that site.                             and-forecasting-model.                                  Quality Standards for Ozone.



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00053   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM    05JNR2
                                                       USCA Case #23-1157                                 Document #2009836                                      Filed: 07/27/2023                Page 92 of 430
                                                 36706
                                                 36706                    Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                  Register/Vol.

                                                 measured air quality and also have                            maintenance receptors because the                             the 2023 base case average and
                                                 projected average design values of 71                         maximum design values for each of                             maximum design values and the
                                                 ppb or greater. Maintenance-only                              these sites is always greater than or                         measured 2021 design values for the
                                                 receptors include both (1) those sites                        equal to the average design value. The                        sites that are projected to be
                                                 with projected average design values                          monitoring sites that the Agency                              nonattainment
                                                                                                                                                                             nonattainrnent receptors in 2023. Table
                                                 above the NAAQS that are currently                            projects to be nonattainment and                              IV.D–2
                                                                                                                                                                             IV.D-2 contains this same information
                                                 measuring clean data (i.e., ozone design                      maintenance receptors for the ozone                           for monitoring sites that are projected to
                                                 values below the level of the 2015 ozone                      NAAQS in the 2023 and 2026 base case                          be maintenance-only receptors in 2023.
                                                 NAAQS) and (2) those sites with                               are used for assessing the contribution                       The design values for all monitoring
                                                 projected average design values below                         of emissions in upwind states to                              sites in the U.S. are provided in the
                                                                                                               downwind nonattainrnent
                                                                                                                            nonattainment and
                                                 the level of the NAAQS, but with                              maintenance of the 2015 ozone NAAQS
                                                                                                                                                                             docket for this rule. Additional details
                                                 projected maximum design values of 71                                               rule.166                                on the approach for projecting average
                                                                                                               as part of this final rule.166
                                                 ppb or greater. In addition to the                              Table IV.D–1
                                                                                                                        IV.D-1 contains the 2016-                            and maximum design values are
                                                 maintenance-only receptors, ozone                                       167 base period average and
                                                                                                               centered 167                                                  provided in the Air Quality Modeling
                                                 nonattainment receptors are also
                                                 nonattainrnent                                                maximum 8-hour ozone design values,                           Final Rule TSD.

                                                   TABLE IV.D–1—A
                                                   TABLE          VERAGE AND M
                                                         IV.D-1-AVERAGE               2016-CENTERED AND 2023 BASE
                                                                               AXIMUM 2016-CENTERED
                                                                             MAXIMUM                          BASE CASE
                                                                                                                   CASE 8-HOUR
                                                                                                                        8-HOUR OZONE
                                                                                                                               OZONE DESIGN
                                                                                                                                     DESIGN VALUES
                                                                                                                                            VALUES AND
                                                                           DESIGN VALUES
                                                                      2021 DESIGN VALUES (ppb) AT PROJECTED
                                                                                                  PROJECTED N             RECEPTORS
                                                                                                             ONATTAINMENT RECEPTORS
                                                                                                            NONATTAINMENT

                                                                                                                                                             2016         2016           2023          2023
                                                                Monitor ID                         State                      County                        Centered     Centered       Average       Maximum           2021
                                                                                                                                                            average      maximum

                                                 060650016 ....................................   CA           Riverside .............................            79.0         80.0            72.2          73.1              78
                                                 060651016 ....................................   CA           Riverside .............................            99.7        101.0            91.0          92.2              95
                                                 080350004 ....................................   CO           Douglas ...............................            77.3          78             71.3          71.9              83
                                                 080590006 ....................................   CO           Jefferson ..............................           77.3          78             72.8          73.5              81
                                                 080590011 ....................................   CO           Jefferson ..............................           79.3          80             73.5          74.1              83
                                                 090010017 ....................................   CT           Fairfield ................................         79.3          80             71.6          72.2              79
                                                 090013007 ....................................   CT           Fairfield ................................         82.0          83             72.9          73.8              81
                                                 090019003 ....................................   CT           Fairfield ................................         82.7          83             73.3          73.6              80
                                                 481671034 ....................................   TX           Galveston ............................             75.7          77             71.5          72.8              72
                                                 482010024 ....................................   TX           Harris ...................................         79.3          81             75.1          76.7              74
                                                 490110004 ....................................   UT           Davis ...................................          75.7          78             72.0          74.2              78
                                                 490353006 ....................................   UT           Salt Lake .............................            76.3          78             72.6          74.2              76
                                                 490353013 ....................................   UT           Salt Lake .............................            76.5          77             73.3          73.8              76
                                                 551170006
                                                 551170006 ....................................   WI           Sheboygan ..........................               80.0          81             72.7          73.6              72


                                                   TABLE IV.D–2—A
                                                   TABLE          VERAGE AND M
                                                         IV.D-2-AVERAGE              2016-CENTERED AND 2023 BASE
                                                                              AXIMUM 2016-CENTERED
                                                                             MAXIMUM                          BASE CASE
                                                                                                                   CASE 8-HOUR
                                                                                                                        8-HOUR OZONE
                                                                                                                               OZONE DESIGN
                                                                                                                                      DESIGN VALUES
                                                                                                                                             VALUES AND
                                                                         DESIGN VALUES
                                                                    2021 DESIGN VALUES (ppb) AT PROJECTED M
                                                                                                PROJECTED  AINTENANCE-ONLY RECEPTORS
                                                                                                          MAINTENANCE-ONLY  RECEPTORS
                                                                                                                                                             2016         2016           2023          2023
                                                                Monitor ID                         State                      County                        Centered     Centered                                       2021
                                                                                                                                                            average      maximum        Average       Maximum

                                                 040278011 ....................................   AZ          Yuma ...................................            72.3           74            70.4          72.1              67
                                                 080690011 ....................................   CO          Larimer ................................            75.7           77            70.9          72.1              77
                                                 090099002 ....................................   CT          New Haven ..........................                79.7           82            70.5          72.6              82
                                                 170310001 ....................................   IL          Cook ....................................           73.0           77            68.2          71.9              71
                                                 170314201 ....................................   IL          Cook ....................................           73.3           77            68.0          71.5              74
                                                 170317002 ....................................   IL          Cook ....................................           74.0           77            68.5          71.3              73
                                                 350130021 ....................................   NM          Dona Ana ............................               72.7           74            70.8          72.1              80
                                                 350130022 ....................................
                                                 350130022                                        NM          Dona Ana ............................               71.3           74            69.7          72.4              75
                                                 350151005 ....................................   NM          Eddy ....................................           69.7           74            69.7          74.1              77
                                                 350250008 ....................................   NM          Lea ......................................          67.7           70            69.8          72.2              66
                                                 480391004 ....................................   TX          Brazoria ...............................            74.7           77            70.4          72.5              75
                                                 481210034 ....................................   TX          Denton .................................            78.0           80            69.8          71.6              74
                                                 481410037 ....................................   TX          El Paso ................................            71.3           73            69.8          71.4              75
                                                 482010055 ....................................   TX          Harris ...................................          76.0           77            70.9          71.9              77
                                                 482011034 ....................................   TX          Harris ...................................          73.7           75            70.1          71.3              71
                                                 482011035 ....................................   TX          Harris ...................................          71.3           75            67.8          71.3              71
                                                 530330023 ....................................   WA          King .....................................          73.3           77            67.6          71.0              64
                                                 550590019 ....................................   WI          Kenosha ..............................              78.0           79            70.8          71.7              74
ddrumheller on DSK120RN23PROD with RULES2




                                                 551010020 ....................................   WI          Racine .................................            76.0           78            69.7          71.5              73

                                                   166 In addition, there are 71 monitoring sites in
                                                   1661n                                                       The two exceptions are the two monitoring sites                     2016-centered
                                                                                                                                                                               167 2016
                                                                                                                                                                               167      - centered averaged design values
                                                 California with projected 2023 maximum design                 that represent air quality impacts to lands of the            represent the average of the design values for 2016,
                                                 values above the NAAQS. With two exceptions, as               Morongo and Pechanga tribes. As explained in                  2017, and 2018. Similarly, the maximum 2016-
                                                 described in section IV.F of this document, the               footnote 110 supra, we treat these as transport               centered design value is the highest measured
                                                 Agency is not making a determination in this action           receptors that are impacted by emissions from                 design value from these three design value periods.
                                                 that these monitors are ozone transport receptors.            California.



                                            VerDate Sep<11>2014      20:14 Jun 02, 2023      Jkt 259001   PO 00000    Frm 00054       Fmt 4701      Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                                Document #2009836                                      Filed: 07/27/2023                Page 93 of 430
                                                                        Federal Register //Vol.
                                                                                           Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                                             36707

                                                    In total, in the 2023 base case there                        the greatest risk of continuing to have a                  NAAQS. See, e.g., North Carolina, 531
                                                 are a total of 33 projected modeling-                           problem attaining the standard in 2023,                    F.3d at 910–11
                                                                                                                                                                                      910-11 (failing to give effect to
                                                 based receptors nationwide including                            even when the modeling projects these                      the interfere with maintenance clause
                                                 14 nonattainment receptors in 9                                 sites will attain. These criteria are                      ‘‘provides no protection for downwind
                                                                                                                                                                            "provides
                                                 different counties and 19 maintenance-                          sufficiently conservative that we avoid                    areas that, despite EPA's
                                                                                                                                                                                                  EPA’s predictions,
                                                 only receptors in 13 additional counties                        including monitoring sites that have                       still find themselves struggling to meet
                                                 (Harris County, TX, has both                                    measured nonattainment data in recent                      NAAQS due to upwind interference
                                                 nonattainment and maintenance-only                              years but could reasonably be                              . . . .’’)
                                                                                                                                                                                    ") (emphasis added). Recognizing
                                                 receptors).168 Of the 14 nonattainment
                                                 receptors).168                                                  anticipated to not have a nonattainment                    that no modeling can perfectly forecast
                                                 receptors in 2023, 7 remain                                     or maintenance problem in 2023, in line                    the future, and "a‘‘a degree of imprecision
                                                 nonattainment receptors, 5 are projected                        with our modeling results. Our                             is inevitable in tackling the problem of
                                                 to become maintenance-only receptors                            methodology is intended only to                            interstate air pollution,’’
                                                                                                                                                                                            pollution," this approach
                                                 and 2 are projected to be in attainment                         identify those sites that have sufficiently                in the Agency's
                                                                                                                                                                                     Agency’s judgement best balances
                                                 in 2026. Of the 19 maintenance-only                             poor ozone levels that there is clearly a                                             ‘‘under-control’’
                                                                                                                                                                            the need to avoid both "under-control"
                                                 receptors in 2023, 7 are projected to                           reasonable expectation that an ozone                             ‘‘overcontrol,’’ EME Homer City,
                                                                                                                                                                            and "overcontrol,"
                                                 remain maintenance-only receptors and                           nonattainment or maintenance problem                       572 U.S. at 523.
                                                 12 are projected to be in attainment in                         will persist in the 2023 ozone season.
                                                 2026. The projected average and                                 We do not apply this methodology for                          In this action, we identify "violating
                                                                                                                                                                                                             ‘‘violating
                                                 maximum design values in 2026 for all                           the 2026 analytic year, because that year                  monitor’’ maintenance-only receptors
                                                                                                                                                                            monitor"
                                                 receptors are included in the Air                               is sufficiently farther in the future that                 for purposes of more firmly establishing
                                                 Quality Modeling Final Rule TSD.                                we do not believe there would be a                         that the states we have otherwise
                                                    Comment:
                                                    Comment: EPA received comments                               reasonable basis to supplement our                         identified as linked at Step 2 in our
                                                 saying that the projected design values                                                        ‘‘violating
                                                                                                                 modeling analysis with this "violating                     modeling-based methodology can
                                                 for 2023 were biased low compared to                            monitor’’ methodology. By comparison,
                                                                                                                 monitor"                                                   indeed be reasonably anticipated to be
                                                 recent measured data. Commenters                                2023 is so near in time that recent                        linked to air quality problems in
                                                 noted that a number of monitoring sites                         measured ozone levels can be used                          downwind states in 2023 for reasons
                                                 that are projected to be below the                              reasonably to project whether an air                       that extend beyond that methodology. In
                                                 NAAQS in 2023 based on EPA's EPA’s                              quality problem is likely to persist. We                   this sense, this approach is
                                                 modeling for the proposed rule are                              view this approach to identifying                          ‘‘confirmatory’’ and does not alter the
                                                                                                                                                                            "confirmatory"
                                                 currently measuring nonattainment.                              additional receptors in 2023 as the best                   geography of the final rule compared to
                                                 Because 2023 is only a year later than                          means of responding to the comments                        the application of the modeling-based
                                                 the most recent measured data some                              on this issue in this action. The                          receptor definitions used at proposal.
                                                 commenters said that EPA should give                            monitoring sites that meet these criteria,                 Rather, it strengthens the analytical
                                                 greater weight to measured data when                            along with the corresponding measured                      basis for our Step 2 findings by
                                                 identifying downwind receptors.                                 and modeled data, are provided in Table                    establishing that many upwind states
                                                    Response: Based on an analysis of                            IV.D–3.
                                                                                                                 IV.D-3.                                                    covered in this action are also projected
                                                 model projections for 2023 and recent                              For purposes of this action, we will                    to contribute above 1 percent of the
                                                 trends in measured data, the EPA agrees                         treat these sites as an additional type of                 NAAQS to these types of receptors. For
                                                 that current data indicate that there are                       maintenance-only receptor. Because our                     purposes of this final rule, we will not
                                                 monitoring sites at risk of continued                           modeling did not identify these sites as                   finalize FIPs
                                                                                                                                                                                       FlPs for any states that this
                                                 nonattainment in 2023 even though the                           receptors, we do not believe it is                         analysis indicates contribute greater
                                                 model projected average and maximum                             sufficiently certain that these sites will                 than 1 percent of the NAAQS only to a
                                                 design values at these sites are below                          be in nonattainment that they should be                    ‘‘violating monitor"
                                                                                                                                                                            "violating   monitor’’ receptor. Our
                                                 the NAAQS (i.e., sites that are not                             considered nonattainment receptors for                     analysis suggests this would be the case
                                                 modeling-based receptors).    169
                                                                    receptors).169                               purposes of this final rule. Rather, our                   for two states, Kansas and Tennessee
                                                 Specifically, the EPA believes that                             authority for treating these sites as                      (see section IV.F of this document).     170
                                                                                                                                                                                                         document).17°
                                                 monitoring sites with measured design                           receptors in 2023 flows from the                           We are making no final decisions with
                                                 values and 4th high maximum daily 8-                            responsibility in CAA section                              respect to these states in this action and
                                                 hour average (MDA8) ozone based on                              110(a)(2)(i)(I) to prohibit emissions that                 intend to address these states in a
                                                 2021 and preliminary 2022 data have                             interfere with maintenance of the                          subsequent action.
                                                   TABLE IV.D-3—AVERAGE
                                                   TABLE IV.D–3—AVERAGE AND M AXIMUM 2023 B
                                                                            MAXIMUM             CASE 8-HOUR
                                                                                            ASE CASE
                                                                                          BASE       8-HOUR OZONE, AND 2021 AND PRELIMINARY
                                                                                                            OZONE,              PRELIMINARY 2022 DESIGN
                                                                                                                                                 DESIGN
                                                                     VALUES (ppb) AND 4TH
                                                                     VALUES           4TH H    CONCENTRATIONS AT VIOLATING
                                                                                           IGH CONCENTRATIONS
                                                                                          HIGH                   VIOLATING MONITORS
                                                                                                                           MONITORS

                                                                                                                                                 2023           2023                                   2021           2022 P
                                                           Monitor ID                    State                     County
                                                                                                                                                Average        Maximum
                                                                                                                                                                            2021            P*
                                                                                                                                                                                       2022 P*
                                                                                                                                                                                                      4th high        4th high

                                                 40070010 ..........................   AZ           Gila ....................................        67.9           69.5        77             76              75             74


                                                            EPA’s modeling also projects that three
                                                   168 The EPA's
                                                   166                                                                       Basin’s wintertime ozone are sources
                                                                                                                 the Uinta Basin's                                          modeling-based receptors listed in Table IV.D-1
                                                                                                                                                                                                                       IV.D–1
                                                 monitoring sites in the Uintah Basin (i.e., monitor             located at low elevations within the Basin, the                        IV.D–2 to the 2021 design values
                                                                                                                                                                            and Table IV.D-2
ddrumheller on DSK120RN23PROD with RULES2




                                                 490472003 in Uintah County, Utah, and monitors                  Basin’s unique topography, and the influence of the
                                                                                                                 Basin's                                                    measured at these sites indicates that the projected
                                                 490130002 and 490137011 in Duchesne County,                     wintertime meteorologic inversions that keep ozone         maximum values are lower than the measured data
                                                 Utah) will have average design values above the                 and ozone precursors near the Basin floor and              at most receptors. These differences are particularly
                                                 NAAQS in 2023. However, as noted in the proposed                restrict air flow in the Basin. Because of the             evident at receptors in coastal Connecticut and in
                                                 rule, the Uinta Basin nonattainment area was
                                                                                                                 localized nature of the ozone problem at these sites       Denver. (See Air Quality Modeling Final Rule TSD
                                                 designated as nonattainment for the 2015 ozone
                                                 NAAQS not because of an ongoing problem with                    the EPA has not identified these three monitors as         for details).
                                                 summertime ozone (as is usually the case in other               receptors in Step 1 of this final rule.                       170 We have not conducted an analysis in this
                                                                                                                                                                              17°
                                                                                                                   169 In addition, we note that comparing the              action to determine whether violating-monitor
                                                 parts of the country), but instead because it violates            169
                                                 the ozone NAAQS in winter. The main causes of                   projected 2023 maximum design values at                    receptors may exist in California.



                                            VerDate Sep<11>2014     20:14 Jun 02, 2023      Jkt 259001   PO 00000       Frm 00055       Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                              Document #2009836                                     Filed: 07/27/2023                Page 94 of 430
                                                 36708
                                                 36708                   Federal Register //Vol.
                                                                                            Vol. 88, No. 107/Monday,
                                                                                                         107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                               2023/Rules

                                                   TABLE IV.D-3-AVERAGE
                                                   TABLE IV.D–3—AVERAGE AND M  AXIMUM 2023 B
                                                                              MAXIMUM            CASE 8-HOUR
                                                                                             ASE CASE
                                                                                            BASE      8-HOUR O ZONE, AND 2021 AND PRELIMINARY
                                                                                                             OZONE,               PRELIMINARY 2022 DESIGN
                                                                                                                                                   DESIGN
                                                                 VALUES (ppb) AND 4TH
                                                                 VALUES           4TH H    CONCENTRATIONS AT VIOLATING
                                                                                       IGH CONCENTRATIONS
                                                                                      HIGH                   VIOLATING MONITORS-Continued
                                                                                                                       MONITORS—Continued
                                                                                                                                              2023           2023                                   2021          2022 P
                                                           Monitor ID                    State                  County                                                   2021       2022 P*
                                                                                                                                                                                         P*
                                                                                                                                             Average        Maximum                                4th high       4th high

                                                 40130019 ..........................   AZ         Maricopa ...........................            69.8           70.0        75             77             78             76
                                                 40131003 ..........................   AZ         Maricopa ...........................            70.1           70.7        80             80             83             78
                                                 40131004 ..........................   AZ         Maricopa ...........................            70.2           70.8        80             81             81             77
                                                 40131010 ..........................   AZ         Maricopa ...........................            68.3           69.2        79             80             80             78
                                                 40132001 ..........................   AZ         Maricopa ...........................            63.8           64.1        74             78             79             81
                                                 40132005 ..........................   AZ         Maricopa ...........................            69.6           70.5        78             79             79             77
                                                 40133002 ..........................   AZ         Maricopa ...........................            65.8           65.8        75             75             81             72
                                                 40134004 ..........................   AZ         Maricopa ...........................            65.7           66.6        73             73             73             71
                                                 40134005 ..........................   AZ         Maricopa ...........................            62.3           62.3        73             75             79             73
                                                 40134008 ..........................   AZ         Maricopa ...........................            65.6           66.5        74             74             74             71
                                                 40134010 ..........................   AZ         Maricopa ...........................            63.8           66.9        74             76             77             75
                                                 40137020 ..........................   AZ         Maricopa ...........................            67.0           67.0        76             77             77             75
                                                 40137021 ..........................   AZ         Maricopa ...........................            69.8           70.1        77             77             78             75
                                                 40137022 ..........................   AZ         Maricopa ...........................            68.2           69.1        76             78             76             79
                                                 40137024 ..........................   AZ         Maricopa ...........................            67.0           67.9        74             76             74             77
                                                 40139702 ..........................   AZ         Maricopa ...........................            66.9           68.1        75             77             72             77
                                                 40139704 ..........................   AZ         Maricopa ...........................            65.3           66.2        74             77             76             76
                                                 40139997 ..........................   AZ         Maricopa ...........................            70.5           70.5        76             79             82             76
                                                 40218001 ..........................   AZ         Pinal ..................................        67.8           69.0        75             76             73             77
                                                 80013001 ..........................   CO         Adams ...............................           63.0           63.0        72             77             79             75
                                                 80050002 ..........................   CO         Arapahoe ...........................            68.0           68.0        80             80             84             73
                                                 80310002 ..........................   CO         Denver ...............................          63.6           64.8        72             74             77             71
                                                 80310026 ..........................   CO         Denver ...............................          64.5           64.8        75             77             83             72
                                                 90079007 ..........................   CT         Middlesex ..........................            68.7           69.0        74             73             78             73
                                                 90110124 ..........................   CT         New London ......................               65.5           67.0        73             72             75             71
                                                 170310032 ........................    IL         Cook ..................................         67.3           69.8        75             75             77             72
                                                 170311601 ........................    IL         Cook ..................................         63.8           64.5        72             73             72             71
                                                 181270024 ........................    IN         Porter ................................         63.4           64.6        72             73             72             73
                                                 260050003 ........................    MI         Allegan ..............................          66.2           67.4        75             75             78             73
                                                 261210039 ........................    MI         Muskegon ..........................             67.5           68.4        74             79             75             82
                                                 320030043 ........................    NV         Clark ..................................        68.4           69.4        73             75             74             74
                                                 350011012 ........................    NM         Bernalillo ...........................          63.8           66.0        72             73             76             74
                                                 350130008
                                                 350130008 ........................    NM         Dona Ana ..........................             65.6           66.3        72             76             79             78
                                                 361030002
                                                 361030002 ........................    NY         Suffolk ...............................         66.2           68.0        73             74             79             74
                                                 390850003 ........................    OH         Lake ..................................         64.3           64.6        72             74             72             76
                                                 480290052 ........................    TX         Bexar .................................         67.1           67.8        73             74             78             72
                                                 480850005 ........................    TX         Collin .................................        65.4           66.0        75             74             81             73
                                                 481130075 ........................    TX         Dallas ................................         65.3           66.5        71             71             73             72
                                                 481211032 ........................    TX         Denton ...............................          65.9           67.7        76             77             85             77
                                                 482010051 ........................    TX         Harris .................................        65.3           66.3        74             73             83             72
                                                 482010416 ........................    TX         Harris .................................        68.8           70.4        73             73             78             71
                                                 484390075 ........................    TX         Tarrant ...............................         63.8           64.7        75             76             76             77
                                                 484391002 ........................    TX         Tarrant ...............................         64.1           65.7        72             77             76             80
                                                 484392003 ........................    TX         Tarrant ...............................         65.2           65.9        72             72             74             72
                                                 484393009 ........................    TX         Tarrant ...............................         67.5           68.1        74             75             75             75
                                                 490571003 ........................    UT         Weber ................................          69.3           70.3        71             74             77             71
                                                 550590025 ........................    WI         Kenosha ............................            67.6           70.7        72             73             72             71
                                                 550890008 ........................    WI         Ozaukee ............................            65.2           65.8        71             72             72             72
                                                   *2022
                                                   * 2022 preliminary design values are based on 2022 measured MDA8 concentrations provided by state air agencies to the EPA's
                                                                                                                                                                         EPA’s Air Quality
                                                 System (AQS), as of January 3, 2023.


                                                 F. Pollutant Transport From Upwind
                                                                             Upwind                            states on downwind nonattainment and                      emissions and boundary conditions to
                                                 States                                                        maintenance receptors for 8-hour ozone.                   fully characterize culpable sources.
                                                                                                               CAMx employs enhanced source                                The EPA performed nationwide, state-
                                                 1. Air Quality Modeling To Quantify                                                                                     level ozone source apportionment
                                                 Upwind State Contributions                                    apportionment techniques that track the
                                                                                                               formation and transport of ozone from                     modeling using the CAMx Ozone
                                                   This section documents the                                  specific emissions sources and                            Source Apportionment Technology/
                                                 procedures the EPA used to quantify the                       calculates the contribution of sources                    Anthropogenic Precursor Culpability
                                                                                                                                                                         Analysis (OSAT/APCA) technique 171   171 to
                                                 impact of emissions from specific
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                               and precursors to ozone for individual
                                                 upwind states on ozone design values in                       receptor locations. The benefit of the                    quantify the contribution of 2023 and
                                                 2023 and 2026 for the identified                                                                                        2026 base case NOx
                                                                                                                                                                                         NOX and VOC emissions
                                                                                                               photochemical model source
                                                 downwind nonattainment and                                                                                              from all sources in each state to the
                                                                                                               apportionment technique is that all
                                                 maintenance receptors. The EPA used                           modeled ozone at a given receptor                           171 As part of this technique, ozone formed from
                                                                                                                                                                           171
                                                 CAMx photochemical source                                     location in the modeling domain is                        reactions between biogenic VOC and NOxNOX with
                                                 apportionment modeling to quantify the                        tracked back to specific sources of                       anthropogenic NOx
                                                                                                                                                                                         NOX and VOC are assigned to the
                                                 impact of emissions in specific upwind                                                                                  anthropogenic emissions.



                                            VerDate Sep<11>2014     20:14 Jun 02, 2023    Jkt 259001   PO 00000      Frm 00056       Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                         USCA Case #23-1157                                           Document #2009836                                                  Filed: 07/27/2023                        Page 95 of 430
                                                                              Federal Register / Vol. 88, No. 107/Monday,
                                                                                      Register/Vol.           107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                                    2023/Rules                                                                                                         36709
                                                                                                                                                                                                                                                       36709

                                                 corresponding projected ozone design                                             •• Fires—combined emissions from                                              (1) Calculate the 8-hour average
                                                 values in 2023 and 2026 at air quality                                        wild and prescribed fires domain-wide                                         contribution from each source tag to
                                                 monitoring sites. The CAMx OSAT/                                              (i.e., not by state); and                                                     each monitoring site for the time period
                                                 APCA model run was performed for the                                             •• Offshore—combined emissions                                             of the 8-hour daily maximum modeled
                                                 period May 1 through September 30                                             from offshore marine vessels and                                              concentrations in 2023;
                                                 using the projected future base case                                          offshore drilling platforms.                                                     (2) Average the contributions and
                                                 emissions and 2016 meteorology for this                                           The contribution modeling provided                                        average the concentrations for the top 10
                                                 time period. In the source                                                    contributions to ozone from                                                   modeled ozone concentration days in
                                                 apportionment modeling the Agency                                             anthropogenic NOx NOX and VOC emissions                                       2023;
                                                 tracked (i.e., tagged) the amount of                                          in each state, individually. The                                                 (3) Divide the average contribution by
                                                 ozone formed from anthropogenic                                               contributions to ozone from chemical                                          the corresponding average concentration
                                                 emissions in each state individually as                                       reactions between biogenic NOx  NOX and                                       to obtain a Relative Contribution Factor
                                                 well as the contributions from other                                          VOC emissions were modeled and                                                (RCF) for each monitoring site;
                                                 sources (e.g., natural emissions).                                                              ‘‘biogenic’’ category. The
                                                                                                                               assigned to the "biogenic"                                                       (4) Multiply the 2023 average design
                                                                                                                               contributions from wildfire and                                               values by the 2023 RCF at each site to
                                                     In the state-by-state source
                                                                                                                               prescribed fire NOx
                                                                                                                                                 NOX and VOC emissions
                                                 apportionment model runs, the EPA                                                                                                                           produce the average contribution metric
                                                                                                                               were modeled and assigned to the
                                                 tracked the ozone formed from each of                                                                                                                       values in 2023.  172
                                                                                                                                                                                                                        2023.172
                                                                                                                               ‘‘fires’’ category. That is, the
                                                                                                                               "fires"
                                                 the following tags:                                                           contributions from the "biogenic"
                                                                                                                                                         ‘‘biogenic’’ and                                       This same approach was applied to
                                                    •• States—anthropogenic NOx NOX and                                        ‘‘fires’’ categories are not assigned to
                                                                                                                               "fires"                                                                       calculate contribution metric values at
                                                 VOC emissions from each state tracked                                         individual states nor are they included                                       individual monitoring sites for 2026.     173
                                                                                                                                                                                                                                                2026.173
                                                 individually (emissions from all                                              in the state contributions.                                                      The resulting contributions from each
                                                 anthropogenic sectors in a given state                                            For the Step 2 analysis, the EPA                                          tag to each monitoring site in the U.S.
                                                 were combined);                                                               calculated a contribution metric that                                         for 2023 and 2026 can be found in the
                                                    •• Biogenics—biogenic NOx NOX and VOC                                      considers the average contribution on                                         docket for this final rule. Additional
                                                 emissions domain-wide (i.e., not by                                           the 10 highest ozone concentration days                                       details on the source apportionment
                                                 state);                                                                       (i.e., top 10 days) in 2023. This average                                     modeling and the procedures for
                                                                                                                               contribution metric is intended to                                            calculating contributions can be found
                                                    •• Boundary Concentrations—                                                                                                                              in the Air Quality Modeling Final Rule
                                                 concentrations transported into the air                                       provide a reasonable representation of
                                                                                                                               the contribution from individual states                                       TSD. The EPA's
                                                                                                                                                                                                                         EPA’s response to comments
                                                 quality modeling domain;                                                                                                                                    on the method for calculating the
                                                                                                                               to projected future year design values,
                                                    •• Tribes—the emissions from those                                         based on modeled transport patterns                                           contribution metric can be found in the
                                                 tribal lands for which the Agency has                                         and other meteorological conditions                                           RTC document for this final rule.
                                                                                                                                                                                                             RTC
                                                 point source inventory data in the                                            generally associated with modeled high                                           The largest contribution from each
                                                 2016v3 emissions modeling platform                                            ozone concentrations at the receptor. An                                      state that is the subject of this rule to
                                                 (EPA did not model the contributions                                          average contribution metric constructed                                       modeled 8-hour ozone nonattainment
                                                 from individual tribes);                                                      in this manner is beneficial since the                                        and maintenance receptors in
                                                    •• Canada and Mexico—                                                      magnitude of the contributions is                                             downwind states in 2023 and 2026 are
                                                 anthropogenic emissions from sources                                          directly related to the magnitude of the                                      provided in Table IV.F–1
                                                                                                                                                                                                                                  IV.F-1 and Table
                                                 in the portions of Canada and Mexico                                          design value at each site.                                                    IV.F–2,
                                                                                                                                                                                                             IV.F-2, respectively. The largest
                                                 included in the modeling domain (the                                              The analytic steps for calculating the                                    contribution from each state to a
                                                 EPA did not model the contributions                                           contribution metric for the 2023 analytic                                     ‘‘violating monitor"
                                                                                                                                                                                                             "violating  monitor’’ maintenance-only
                                                 from Canada and Mexico separately);                                           year are as follows:                                                          receptor is provided in Table IV.F–3.
                                                                                                                                                                                                                                              IV.F-3.
                                                 TABLE IV.F–1—L
                                                 TABLE IV.F-1—LARGEST  CONTRIBUTION TO DOWNWIND
                                                                ARGEST CONTRIBUTION    DOWNWIND 8-HOUR
                                                                                                8-HOUR OZONE
                                                                                                        OZONE NONATTAINMENT AND M
                                                                                                              NONATTAINMENT      AINTENANCE R
                                                                                                                                MAINTENANCE  ECEPTORS
                                                                                                                                            RECEPTORS
                                                                                                   2023
                                                                                                IN 2023
                                                                                                  [ppb]
                                                                                                  IPPIA

                                                                                                                                                                                                                        Largest                 Largest
                                                                                                                                                                                                                     contribution to         contribution to
                                                                                                                      Upwind state                                                                                     downwind                downwind
                                                                                                                                                                                                                     nonattainment          maintenance-only
                                                                                                                                                                                                                       receptors               receptors

                                                 Alabama ...................................................................................................................................................                       0.75                    0.65
                                                 Arizona .....................................................................................................................................................                     0.54                    1.69
                                                 Arkansas ..................................................................................................................................................                       0.94                    1.21
                                                 California ..................................................................................................................................................                    35.27                    6.31
                                                 Colorado ..................................................................................................................................................                       0.14                    0.18
                                                 Connecticut ..............................................................................................................................................                        0.01                    0.01
                                                 Delaware ..................................................................................................................................................                       0.44                    0.56
                                                 District of Columbia .................................................................................................................................                            0.03                    0.04
                                                 Florida ......................................................................................................................................................                    0.50                    0.54
ddrumheller on DSK120RN23PROD with RULES2




                                                 Georgia ....................................................................................................................................................                      0.18                    0.17
                                                 Idaho ........................................................................................................................................................                    0.42                    0.41
                                                 Illinois .......................................................................................................................................................                 13.89                   19.09

                                                   172 Note that a contribution metric value was not                           County, Washington (530330023), was the only                                  for 2026 are based on the 2026 daily contributions
                                                   172

                                                 calculated for any receptor at which there were                               receptor which did not meet this criterion.                                   for the same days that were used to calculate the
                                                 fewer than 5 days with model-predicted MDA8                                     173 To provide consistency in the contributions
                                                                                                                                 173                                                                         contribution metric values for 2023.
                                                 ozone concentrations greater than or equal to 60                              for 2023 and 2026, the contribution metric values
                                                 ppb in 2023. The monitoring site in Seattle, King



                                            VerDate Sep<11>2014          20:14 Jun 02, 2023          Jkt 259001       PO 00000        Frm 00057        Fmt 4701       Sfmt 4700       E:\FR\FM\05JNR2.SGM           05JNR2
                                                         USCA Case #23-1157                                           Document #2009836                                                  Filed: 07/27/2023                      Page 96 of 430
                                                 36710                        Federal Register / Vol. 88, No. 107/Monday,
                                                                                      Register/Vol.           107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                                    2023/Rules

                                                 TABLE IV.F-1
                                                 TABLE IV.F–1—L        CONTRIBUTION TO DOWNWIND
                                                                ARGEST CONTRIBUTION
                                                             -LARGEST                  DOWNWIND 8-HOUR
                                                                                                 8-HOUR OZONE
                                                                                                         OZONE NONATTAINMENT AND M
                                                                                                               NONATTAINMENT      AINTENANCE R
                                                                                                                                 MAINTENANCE  ECEPTORS
                                                                                                                                             RECEPTORS
                                                                                           IN 2023-Continued
                                                                                              2023—Continued
                                                                                                   [ppb]
                                                                                                   [PPIA
                                                                                                                                                                                                                       Largest              Largest
                                                                                                                                                                                                                    contribution to      contribution to
                                                                                                                      Upwind state                                                                                    downwind             downwind
                                                                                                                                                                                                                    nonattainment       maintenance-only
                                                                                                                                                                                                                      receptors            receptors

                                                 Indiana .....................................................................................................................................................                   8.90              10.03
                                                 Iowa .........................................................................................................................................................                  0.67               0.90
                                                 Kansas .....................................................................................................................................................                    0.46               0.52
                                                 Kentucky ..................................................................................................................................................                     0.84               0.79
                                                 Louisiana ..................................................................................................................................................                    9.51               5.62
                                                 Maine .......................................................................................................................................................                   0.02               0.01
                                                 Maryland ..................................................................................................................................................                     1.13               1.28
                                                 Massachusetts .........................................................................................................................................                         0.33               0.15
                                                 Michigan ...................................................................................................................................................                    1.59               1.56
                                                 Minnesota ................................................................................................................................................                      0.36               0.85
                                                 Mississippi ................................................................................................................................................                    1.32               0.91
                                                 Missouri ....................................................................................................................................................                   1.87               1.39
                                                 Montana ...................................................................................................................................................                     0.08               0.10
                                                 Nebraska ..................................................................................................................................................                     0.20               0.36
                                                 Nevada .....................................................................................................................................................                    1.11               1.13
                                                 New Hampshire .......................................................................................................................................                           0.10               0.02
                                                 New Jersey ..............................................................................................................................................                       8.38               5.79
                                                 New Mexico .............................................................................................................................................                        0.36               1.59
                                                 New York .................................................................................................................................................                     16.10              11.29
                                                 North Carolina ..........................................................................................................................................                       0.45               0.66
                                                 North Dakota ............................................................................................................................................                       0.18               0.45
                                                 Ohio .........................................................................................................................................................                  2.05               1.98
                                                 Oklahoma .................................................................................................................................................                      0.79               1.01
                                                 Oregon * ...................................................................................................................................................
                                                 Oregon*                                                                                                                                                                         0.46               0.31
                                                 Pennsylvania ............................................................................................................................................                       6.00               4.36
                                                 Rhode Island ............................................................................................................................................                       0.04               0.01
                                                 South Carolina .........................................................................................................................................                        0.16               0.18
                                                 South Dakota ...........................................................................................................................................                        0.05               0.08
                                                 Tennessee ...............................................................................................................................................                       0.60               0.68
                                                 Texas .......................................................................................................................................................                   1.03               4.74
                                                 Utah .........................................................................................................................................................                  1.29               0.98
                                                 Vermont ...................................................................................................................................................                     0.02               0.01
                                                 Virginia .....................................................................................................................................................                  1.16               1.76
                                                 Washington ..............................................................................................................................................                       0.16               0.09
                                                 West Virginia ............................................................................................................................................                      1.37               1.49
                                                 Wisconsin .................................................................................................................................................                     0.21               2.86
                                                 Wyoming ..................................................................................................................................................                      0.68               0.67


                                                 TABLE IV.F-2-LARGEST
                                                 TABLE IV.F–2—LARGEST CONTRIBUTION
                                                                      CONTRIBUTION TO DOWNWIND
                                                                                      DOWNWIND 8-HOUR
                                                                                               8-HOUR OZONE
                                                                                                        OZONE NONATTAINMENT AND M
                                                                                                              NONATTAINMENT      AINTENANCE R
                                                                                                                                MAINTENANCE  ECEPTORS
                                                                                                                                            RECEPTORS
                                                                                               IN 2026
                                                                                                 [ppb]
                                                                                                 [PPILA
                                                                                                                                                                                                                       Largest              Largest
                                                                                                                                                                                                                    contribution to      contribution to
                                                                                                                      Upwind state                                                                                    downwind             downwind
                                                                                                                                                                                                                    nonattainment       maintenance-only
                                                                                                                                                                                                                      receptors            receptors

                                                 Alabama ...................................................................................................................................................                     0.20               0.69
                                                 Arizona .....................................................................................................................................................                   0.44               1.34
                                                 Arkansas ..................................................................................................................................................                     0.53               1.16
                                                 California ..................................................................................................................................................                  34.03               6.16
                                                 Colorado ..................................................................................................................................................                     0.04               0.17
                                                 Connecticut ..............................................................................................................................................                      0.00               0.01
                                                 Delaware ..................................................................................................................................................                     0.43               0.41
                                                 District of Columbia .................................................................................................................................                          0.03               0.02
                                                 Florida ......................................................................................................................................................                  0.46               0.17
ddrumheller on DSK120RN23PROD with RULES2




                                                 Georgia ....................................................................................................................................................                    0.13               0.16
                                                 Idaho ........................................................................................................................................................                  0.27               0.36
                                                 Illinois .......................................................................................................................................................                0.63              13.57
                                                 Indiana .....................................................................................................................................................                   1.06               8.53
                                                 Iowa .........................................................................................................................................................                  0.14               0.62
                                                 Kansas .....................................................................................................................................................                    0.14               0.42
                                                 Kentucky ..................................................................................................................................................                     0.79               0.76
                                                 Louisiana ..................................................................................................................................................                    4.57               9.37



                                            VerDate Sep<11>2014          20:14 Jun 02, 2023          Jkt 259001       PO 00000        Frm 00058        Fmt 4701       Sfmt 4700       E:\FR\FM\05JNR2.SGM           05JNR2
                                                         USCA Case #23-1157                                           Document #2009836                                                  Filed: 07/27/2023                                 Page 97 of 430
                                                                              Federal Register / Vol. 88, No. 107/Monday,
                                                                                      Register/Vol.           107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                                    2023/Rules                                                                                                                 36711

                                                 TABLE IV.F-2-LARGEST
                                                 TABLE IV.F–2—LARGEST CONTRIBUTION
                                                                      CONTRIBUTION TO DOWNWIND
                                                                                      DOWNWIND 8-HOUR
                                                                                                8-HOUR OZONE
                                                                                                       OZONE NONATTAINMENT AND M
                                                                                                             NONATTAINMENT      AINTENANCE R
                                                                                                                               MAINTENANCE  ECEPTORS
                                                                                                                                           RECEPTORS
                                                                                             2026—Continued
                                                                                          IN 2026-Continued
                                                                                                                                                                [ppb]
                                                                                                                                                                [ppb]
                                                                                                                                                                                                                            Largest                      Largest
                                                                                                                                                                                                                         contribution to              contribution to
                                                                                                                      Upwind state                                                                                         downwind                     downwind
                                                                                                                                                                                                                         nonattainment               maintenance-only
                                                                                                                                                                                                                           receptors                    receptors

                                                 Maine .......................................................................................................................................................                               0.00                  0.01
                                                 Maryland ..................................................................................................................................................                                 1.06                  0.92
                                                 Massachusetts .........................................................................................................................................                                     0.06                  0.31
                                                 Michigan ...................................................................................................................................................                                1.39                  1.47
                                                 Minnesota ................................................................................................................................................                                  0.15                  0.32
                                                 Mississippi ................................................................................................................................................                                0.29                  1.15
                                                 Missouri ....................................................................................................................................................                               0.29                  1.68
                                                 Montana ...................................................................................................................................................                                 0.06                  0.07
                                                 Nebraska ..................................................................................................................................................                                 0.09                  0.19
                                                 Nevada .....................................................................................................................................................                                0.67                  0.90
                                                 New Hampshire .......................................................................................................................................                                       0.01                  0.09
                                                 New Jersey ..............................................................................................................................................                                   8.10                  7.04
                                                 New Mexico .............................................................................................................................................                                    0.35                  0.46
                                                 New York .................................................................................................................................................                                 12.65                 12.34
                                                 North Carolina ..........................................................................................................................................                                   0.40                  0.42
                                                 North Dakota ............................................................................................................................................                                   0.09                  0.17
                                                 Ohio .........................................................................................................................................................                              1.95                  1.93
                                                 Oklahoma .................................................................................................................................................                                  0.19                  0.74
                                                 Oregon*
                                                 Oregon * ...................................................................................................................................................                                0.26                  0.41
                                                 Pennsylvania ............................................................................................................................................                                   5.47                  4.94
                                                 Rhode Island ............................................................................................................................................                                   0.00                  0.03
                                                 South Carolina .........................................................................................................................................                                    0.14                  0.15
                                                 South Dakota ...........................................................................................................................................                                    0.03                  0.04
                                                 Tennessee ...............................................................................................................................................                                   0.24                  0.54
                                                 Texas .......................................................................................................................................................                               0.48                  4.34
                                                 Utah .........................................................................................................................................................                              1.05                  0.81
                                                 Vermont ...................................................................................................................................................                                 0.01                  0.02
                                                 Virginia .....................................................................................................................................................                              1.09                  1.10
                                                 Washington ..............................................................................................................................................                                   0.10                  0.14
                                                 West Virginia ............................................................................................................................................                                  1.36                  1.34
                                                 Wisconsin .................................................................................................................................................                                 0.17                  0.18
                                                 Wyoming ..................................................................................................................................................                                  0.40                  0.59


                                                      TABLE IV.F-3-LARGEST
                                                      TABLE IV.F–3—LARGEST CONTRIBUTION
                                                                           CONTRIBUTION TO D         8-HOUR OZONE
                                                                                            OWNWIND 8-HOUR
                                                                                           DOWNWIND         OZONE ‘‘VIOLATING M
                                                                                                                  "VIOLATING   ONITOR’’ M
                                                                                                                              MONITOR"   AINTENANCE-ONLY
                                                                                                                                        MAINTENANCE-ONLY
                                                                                                RECEPTORS
                                                                                                RECEPTORS
                                                                                                    [ppb]
                                                                                                    IPPILA

                                                                                                                                                                                                                                                         Largest
                                                                                                                                                                                                                                                      contribution to
                                                                                                                                                                                                                                                    downwind violating
                                                                                                                                      Upwind state
                                                                                                                                                                                                                                                         monitor
                                                                                                                                                                                                                                                    maintenance-only
                                                                                                                                                                                                                                                        receptors

                                                 Alabama ...................................................................................................................................................................................                       0.79
                                                 Arizona .....................................................................................................................................................................................                     1.62
                                                 Arkansas ..................................................................................................................................................................................                       1.16
                                                 California ..................................................................................................................................................................................                     6.97
                                                 Colorado ..................................................................................................................................................................................                       0.39
                                                 Connecticut ..............................................................................................................................................................................                        0.17
                                                 Delaware ..................................................................................................................................................................................                       0.42
                                                 District of Columbia .................................................................................................................................................................                            0.03
                                                 Florida ......................................................................................................................................................................................                    0.50
                                                 Georgia ....................................................................................................................................................................................                      0.31
                                                 Idaho ........................................................................................................................................................................................                    0.46
                                                 Illinois .......................................................................................................................................................................................                 16.53
                                                 Indiana .....................................................................................................................................................................................                     9.39
ddrumheller on DSK120RN23PROD with RULES2




                                                 Iowa .........................................................................................................................................................................................                    1.13
                                                 Kansas .....................................................................................................................................................................................                      0.82
                                                 Kentucky ..................................................................................................................................................................................                       1.57
                                                 Louisiana ..................................................................................................................................................................................                      5.06
                                                 Maine .......................................................................................................................................................................................                     0.02
                                                 Maryland ..................................................................................................................................................................................                       1.14
                                                 Massachusetts .........................................................................................................................................................................                           0.39
                                                 Michigan ...................................................................................................................................................................................                      3.47



                                            VerDate Sep<11>2014          20:14 Jun 02, 2023          Jkt 259001       PO 00000        Frm 00059        Fmt 4701       Sfmt 4700        E:\FR\FM\05JNR2.SGM               05JNR2
                                                         USCA Case #23-1157                                           Document #2009836                                                 Filed: 07/27/2023                                 Page 98 of 430
                                                 36712
                                                 36712                        Federal Register / Vol. 88, No. 107/Monday,
                                                                                      Register/Vol.           107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                                    2023/Rules

                                                     TABLE IV.F–3—L
                                                     TABLE IV.F-3-LARGEST  CONTRIBUTION TO D
                                                                    ARGEST CONTRIBUTION              8-HOUR OZONE
                                                                                            OWNWIND 8-HOUR
                                                                                           DOWNWIND         OZONE ‘‘VIOLATING M
                                                                                                                  "VIOLATING   ONITOR’’ M
                                                                                                                              MONITOR"   AINTENANCE-ONLY
                                                                                                                                        MAINTENANCE-ONLY
                                                                                            RECEPTORS—Continued
                                                                                            RECEPTORS-Continued
                                                                                                    [ppb]
                                                                                                    [PPIA
                                                                                                                                                                                                                                                       Largest
                                                                                                                                                                                                                                                    contribution to
                                                                                                                                                                                                                                                  downwind violating
                                                                                                                                     Upwind state                                                                                                      monitor
                                                                                                                                                                                                                                                  maintenance-only
                                                                                                                                                                                                                                                      receptors

                                                 Minnesota ................................................................................................................................................................................                      0.64
                                                 Mississippi ................................................................................................................................................................................                    1.02
                                                 Missouri ....................................................................................................................................................................................                   2.95
                                                 Montana ...................................................................................................................................................................................                     0.12
                                                 Nebraska ..................................................................................................................................................................................                     0.43
                                                 Nevada .....................................................................................................................................................................................                    1.11
                                                 New Hampshire .......................................................................................................................................................................                           0.10
                                                 New Jersey ..............................................................................................................................................................................                       8.00
                                                 New Mexico .............................................................................................................................................................................                        0.34
                                                 New York .................................................................................................................................................................................                     12.08
                                                 North Carolina ..........................................................................................................................................................................                       0.65
                                                 North Dakota ............................................................................................................................................................................                       0.35
                                                 Ohio .........................................................................................................................................................................................                  2.25
                                                 Oklahoma .................................................................................................................................................................................                      1.57
                                                 Oregon * ...................................................................................................................................................................................
                                                 Oregon*                                                                                                                                                                                                         0.36
                                                 Pennsylvania ............................................................................................................................................................................                       5.20
                                                 Rhode Island ............................................................................................................................................................................                       0.08
                                                 South Carolina .........................................................................................................................................................................                        0.23
                                                 South Dakota ...........................................................................................................................................................................                        0.12
                                                 Tennessee ...............................................................................................................................................................................                       0.86
                                                 Texas .......................................................................................................................................................................................                   3.83
                                                 Utah .........................................................................................................................................................................................                  1.46
                                                 Vermont ...................................................................................................................................................................................                     0.03
                                                 Virginia .....................................................................................................................................................................................                  1.39
                                                 Washington ..............................................................................................................................................................................                       0.11
                                                 West Virginia ............................................................................................................................................................................                      1.79
                                                 Wisconsin .................................................................................................................................................................................                     5.10
                                                 Wyoming ..................................................................................................................................................................................                      0.42
                                                    * Does not include California monitoring sites.


                                                 2. Application of Contribution            is intended to capture a relatively large                                                                        allowed too much upwind state
                                                 Screening Threshold                       percentage of the contribution from                                                                              contribution to drop out from further
                                                                                           upwind    states to downwind receptors in                                                                        analysis.174 The EPA continues to
                                                                                                                                                                                                            analysis.174
                                                    In Step 2 of the interstate transport
                                                                                           light of the regional-scale, collective                                                                          observe that nonattainment and
                                                 framework, the EPA uses an air quality
                                                                                           contribution problem associated with                                                                             maintenance receptors identified at Step
                                                 screening threshold to identify upwind                                                                                                                     1 are impacted collectively by emissions
                                                 states that contribute to downwind        both ozone and PM2.5
                                                                                                              PM2.5 NAAQS. Id. The
                                                                                           Agency   also  explained  that the use of a                                                                      from numerous upwind contributors.
                                                 ozone concentrations in amounts                                                                                                                            Therefore, application of a low, uniform
                                                 sufficient to "link"
                                                               ‘‘link’’ them to these to   higher threshold in transport rules prior
                                                                                           to CSAPR was based on single-day                                                                                 screening threshold allows the EPA to
                                                 downwind nonattainment and
                                                                                           maximum contribution, whereas in                                                                                 identify upwind states that share a
                                                 maintenance receptors. The                                                                                                                                 responsibility under the interstate
                                                 contributions from each state to each     CSAPR (and continuing in subsequent
                                                                                           rules including this one), the Agency                                                                            transport provision to eliminate their
                                                 downwind nonattainment or
                                                                                                                                                                                                            significant contribution.
                                                 maintenance receptor that were used for uses a more robust, average contribution
                                                 the Step 2 evaluation can be found in     metric over multiple days. Thus, it was                                                                             As we explained at proposal, the EPA
                                                                                           not the case that 1 percent of NAAQS                                                                             recognizes that in 2018 it issued a
                                                 the Air Quality Modeling Final Rule
                                                                                           was substantially more stringent than                                                                            memorandum indicating the potential
                                                 TSD.
                                                                                           that prior approach. Id. at 48238. In the                                                                        for states to use a higher threshold at
                                                    The EPA applies an air quality                                                                                                                          Step 2 in the development of their good
                                                 screening threshold of 1 percent of the   2016 CSAPR Update, the EPA reviewed
                                                                                                                                                                                                            neighbor SIP submissions where it
                                                 NAAQS, which has been used since the the 1 percent threshold (as coupled with                                                                              could be technically justified. The
                                                 CSAPR rulemaking, including in the        multi-day averaging) and determined it
                                                                                           was appropriate to continue to apply                                                                             August 2018 memorandum stated that
                                                 CSAPR Update, the Revised CSAPR                                                                                                                            ‘‘it may be reasonable and appropriate"
                                                                                                                                                                                                            "it                          appropriate’’
                                                                                           this threshold. The EPA compared the 1
ddrumheller on DSK120RN23PROD with RULES2




                                                 Update, and numerous actions                                                                                                                               for states to rely on an alternative 1 ppb
                                                             states’ transport SIP
                                                 evaluating states'                        percent threshold to a 0.5 percent of
                                                                                                                                                                                                            threshold at Step 2.  175 (The
                                                                                                                                                                                                                                2.175
                                                 submittals. The explanation for how this NAAQS threshold and a 5 percent of                                                                                memorandum also indicated that any
                                                 value was originally derived is available NAAQS threshold. The EPA found that
                                                 in the CSAPR rulemaking from 2011.        the lower threshold did not capture
                                                                                                                                                                                                              174 See Final CSAPR Update Air Quality
                                                                                                                                                                                                              174
                                                 See 76 FR 48208, 48237–38.
                                                                     48237-38. As          appreciably more upwind state                                                                                                      27–30 (EPA–HQ–OAR–2015–
                                                                                                                                                                                                            Modeling TSD, at 27-30  (EPA-HQ-OAR-2015-
                                                 originally explained there, the           contribution compared to the 1 percent                                                                           0596-0144).
                                                                                                                                                                                                            0596–0144). See also 86 FR 23054,
                                                                                                                                                                                                                                       23054,23085.
                                                                                                                                                                                                                                              23085.
                                                 application of a relatively low threshold threshold, while the 5 percent threshold                                                                           175 August 2018 memo at 4.
                                                                                                                                                                                                              175




                                            VerDate Sep<11>2014          20:14 Jun 02, 2023         Jkt 259001       PO 00000        Frm 00060        Fmt 4701       Sfmt 4700       E:\FR\FM\05JNR2.SGM               05JNR2
                                                       USCA Case #23-1157                           Document #2009836                              Filed: 07/27/2023             Page 99 of 430
                                                                      Federal Register / Vol. 88, No. 107/Monday,
                                                                                                      107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules                                                            36713
                                                                                                                                                                                                  36713

                                                 higher alternative threshold, such as 2                 national ozone transport policy would                 Commenters further argued that a 1 ppb
                                                 ppb, would likely not be appropriate.)                  not be well-served by applying a single,              threshold would be more consistent
                                                 The EPA nonetheless proposed to fulfill                 less stringent threshold at Step 2. The                          EPA’s "significant
                                                                                                                                                               with the EPA's    ‘‘significant impact
                                                 its role under CAA section 110(c) in                    EPA recognized in the August 2018                     level’’
                                                                                                                                                               level" (SIL) guidance related to
                                                 promulgating FIPs to directly                           memo that there was some similarity in                implementing prevention of significant
                                                 implement good neighbor requirements,                   the amount of total upwind contribution               deterioration (PSD) permitting
                                                 and in this role, proposed retaining use                captured (on a nationwide basis)                      requirements. They argued that the 1
                                                 of the 1 percent threshold for all states.              between 1 percent and 1 ppb. However,                 percent threshold was below precision
                                                 We noted that in several documents                      the EPA noted at proposal that while                  limits of regulatory ozone monitors, and
                                                 proposing transport SIP disapprovals,                   this may be true in some sense, that is               they argued it was within the "margin
                                                                                                                                                                                                 ‘‘margin
                                                 see, e.g., 87 FR 9498 and 87 FR 9510                    hardly a compelling basis to move to a                of error"
                                                                                                                                                                  error’’ of the EPA's
                                                                                                                                                                                 EPA’s modeling.
                                                 (Feb. 22, 2022), we explained that our                  1 ppb threshold. Indeed, the 1 ppb                       Response: The EPA is finalizing its
                                                                                                                                                                  Response:
                                                 experience since the issuance of the                    threshold has the disadvantage of losing              proposed approach of consistently using
                                                 August 2018 memorandum regarding                        a certain amount of total upwind                      a 1 percent of the NAAQS threshold at
                                                 use of alternative thresholds led the                   contribution for further evaluation at                Step 2 in this action to determine which
                                                 Agency to believe it may not be                         Step 3. Considering the core statutory                states contribute to identified
                                                 appropriate to continue to attempt to                   objective of ensuring elimination of all              nonattainment and maintenance
                                                 recognize alternative contribution                      significant contribution to                           receptors. This approach ensures both
                                                 thresholds at Step 2, either in the                     nonattainment or interference of the                  national consistency across all states
                                                 context of SIPs or FIPs.                                NAAQS in downwind states and the                      and consistency and continuity with our
                                                    We went on to explain that the EPA's
                                                                                       EPA’s             broad, regional nature of the collective              prior interstate transport actions for
                                                 experience since 2018 is that allowing                  contribution problem with respect to                  other NAAQS. We do not agree that this
                                                 for alternative Step 2 thresholds may be                ozone, EPA could not identify a                       approach is inconsistent with or a
                                                 impractical or otherwise inadvisable for                compelling policy imperative to move to               reversal in policy from the August 2018
                                                 a number of additional policy reasons.                  a 1 ppb threshold.                                    memorandum, which only suggested
                                                 For a regional air pollutant such as                       In the proposal, we also found                     that states in the development of their
                                                 ozone, consistency in requirements and                  consistency with past interstate                      SIPs "may"
                                                                                                                                                                     ‘‘may’’ be able to establish that 1
                                                 expectations across all states is                       transport actions such as CSAPR, and                  ppb could be an appropriate alternative
                                                 essential. Using multiple different                     the CSAPR Update and Revised CSAPR                    threshold. The EPA has been consistent
                                                 thresholds at Step 2 with respect to the                Update rulemakings (which used a Step                 in that memorandum, and since that
                                                 2015 ozone NAAQS raises substantial                     2 threshold of 1 percent of the NAAQS                 time, that final determinations on
                                                 policy consistency and practical                        for two less protective ozone NAAQS) to               alternative thresholds would be made
                                                 implementation concerns.      176 The
                                                                    concerns.176                         be an important consideration.                        through rulemaking action, as the EPA
                                                 application of different thresholds at                  Continuing to use a 1 percent of NAAQS                is taking here.
                                                 Step 2 has the potential to result in                   approach ensures that as the NAAQS                       The August 2018 memorandum made
                                                 inconsistent determination of good                      are revised and made more stringent, an               clear that the Agency had substantial
                                                 neighbor obligations. From the                          appropriate increase in stringency at                 doubts that any threshold greater than 1
                                                 perspective of ensuring effective                       Step 2 occurs, so as to ensure an                     ppb (such as 2 ppb) would be
                                                 regional implementation of good                         appropriately larger amount of total                  acceptable, and the Agency is affirming
                                                 neighbor obligations, the more                          upwind-state contribution is captured                 that a threshold higher than 1 ppb
                                                 important analysis is the evaluation of                 for purposes of fully addressing                      would not be justified under any
                                                 the emissions reductions needed, if any,                interstate transport for the more                     circumstance for purposes of this action.
                                                               state’s significant
                                                 to address a state's                                    protective NAAQS.                                     No commenter credibly provided a basis
                                                 contribution after consideration of a                      The Agency also questioned whether                 for using a threshold even higher than
                                                 multifactor analysis at Step 3, including               it would be a good use of limited                     1 ppb, and so this issue is primarily
                                                 a detailed evaluation that considers air                resources to attempt to further justify               limited to the difference between a 0.7
                                                 quality factors and cost. We explained                  the use of alternative thresholds for                 ppb threshold (the 1 percent of the
                                                 that while alternative thresholds for                   certain states at Step 2 for purposes of              NAAQS threshold discussed previously
                                                 purposes of Step 2 may be "similar"
                                                                                ‘‘similar’’ in           the 2015 ozone NAAQS. Therefore,                      in this section) and a 1.0 ppb threshold.
                                                 terms of capturing the relative amount                  while EPA articulated the possibility of              Therefore, before proceeding in
                                                 of upwind contribution (as described in                 an alternative threshold in the August                responding to these comments, we note
                                                 the August 2018 memorandum),                            2018 memorandum, the EPA concluded                    that this issue is only relevant to a small
                                                 nonetheless, use of alternative                         in the proposal that our experience and               number of states whose contributions to
                                                 thresholds would allow certain states to                further evaluation since the issuance of              any receptor are above 1 percent of the
                                                 avoid further evaluation of potential                   that memo has revealed substantial                    NAAQS but lower than 1 ppb. Under
                                                 emissions controls while other states                   programmatic and policy difficulties in               the 2016v3 modeling of 2023 being used
                                                 must proceed to a Step 3 analysis. This                 attempting to implement this approach,                in this final rule, the states in this rule
                                                 could create significant equity and                     and therefore we proposed to apply the                with contributions that fall between
                                                 consistency problems among states.                      1 percent of NAAQS threshold.                         0.70 ppb and 1 ppb are Alabama,
                                                    The EPA further proposed that, in                       Comment:
                                                                                                            Comment: Many commenters                           Kentucky, and Minnesota. Similarly, the
                                                 promulgating FIPs to address these                      disagreed with our proposal to continue               EPA applies the 1 percent threshold in
                                                                                                         using a 1 percent of NAAQS threshold.
ddrumheller on DSK120RN23PROD with RULES2




                                                 obligations on a nationwide scale,                                                                            its 2026 modeling projections to
                                                                                                         They argued that the EPA was reversing                determine if any states will not be
                                                   176 We note that Congress has placed on the EPA
                                                   176                                                   course from its policy as articulated in              linked to an ozone receptor by that year,
                                                 a general obligation to ensure the requirements of      the August 2018 memorandum and that                   and therefore should not be subject to
                                                 the CAA are implemented consistently across states      the EPA was now bound to use a 1 ppb                  the more stringent requirements that
                                                 and regions. See CAA section 301(a)(2). Where the
                                                 management and regulation of interstate pollution
                                                                                                         threshold rather than 1 percent of                    take effect in 2026. The states in this
                                                 levels spanning many states is at stake, consistency    NAAQS, even in promulgating a FIP  FlP                rule in that year with contribution
                                                 in application of CAA requirements is paramount.        rather than evaluating SIPs.                          between 0.70 ppb and 1 ppb are


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00061   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023               Page 100 of 430
                                                 36714
                                                 36714                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 Kentucky, Nevada, and Oklahoma. For                     evaluation of emissions control                           ‘‘EPA and air agencies should
                                                                                                                                                       said that "EPA
                                                 all other states covered in this action, at             opportunities applying a multifactor          consider whether the recommendations
                                                 least one linkage exists in 2023 (and, as               analysis at Step 3. Thus, as the Supreme in this guidance are appropriate for each
                                                 relevant, in 2026) that is greater than 1               Court has recognized, the contribution        situation.’’ 181
                                                                                                                                                       situation."   181 The memorandum said

                                                 ppb, and therefore the question of                      threshold essentially functions to            nothing regarding what threshold the
                                                 whether the EPA must recognize a 1 ppb                  exclude states with "de   ‘‘de miminis"
                                                                                                                                        miminis’’      EPA would apply if promulgating a FIP.
                                                 threshold would not have a dispositive                  impacts. EME Homer City, 572 U.S. 489,           As explained in the SIP disapproval
                                                 effect on the regulatory determination                  500.                                          action and again here, the EPA finds it
                                                 being made at Step 2.                                      Comments related to the August 2018 would not be sound policy to apply an
                                                    The 1 percent of the NAAQS                           memorandum argued that the EPA                alternative contribution threshold or
                                                 threshold is consistent with the Step 2                 legally committed itself to approving         thresholds to one or more states within
                                                 approach that the EPA applied in                        SIP submissions from states with              the 4-step interstate transport
                                                 CSAPR for the 1997 ozone NAAQS and                      contributions below 1 ppb and so now          framework for the 2015 ozone NAAQS.
                                                 has subsequently been applied in the                    the EPA must apply that threshold in          However, the EPA disagrees with
                                                 CSAPR Update and Revised CSAPR                          this FIP action. (Comments regarding          commenters’ claims that the agency has
                                                                                                                                                       commenters'
                                                 Update when evaluating determining                      this issue as related to the EPA's
                                                                                                                                          EPA’s action reversed course on applying the August
                                                 interstate transport obligations for the                on SIPs is addressed in that rulemaking 2018 memorandum, because the
                                                 2008 ozone NAAQS. The EPA continues                     and is beyond the scope of this action.)      memorandum never adopted a view that
                                                 to find 1 percent of the ozone NAAQS                    This is not what the memorandum said. the use of 1 ppb or other alternative
                                                 to be an appropriate threshold. For                     The memorandum merely provided an             thresholds would in fact be acceptable.
                                                 ozone, as the EPA found in CAIR,                        analysis regarding "the ‘‘the degree to which Although the EPA said at proposal that
                                                 CSAPR, and the CSAPR Update, a                          certain air quality threshold amounts         the EPA may rescind the guidance in
                                                 portion of the nonattainment and                        capture the collective amount of              the future, we took comment on the
                                                 maintenance problems in the U.S.                        upwind contribution from upwind               subject and also stated, "EPA ‘‘EPA is not at
                                                 results from the combined impact of                     states.’’ 177
                                                                                                         states."  177 It interpreted "that
                                                                                                                                        ‘‘that         this time rescinding the August 2018
                                                 relatively small contributions from                     information to make recommendations           memorandum.’’ 182
                                                                                                                                                       memorandum."         182 The EPA is not

                                                 many upwind states, along with                          about what thresholds maybe  may be           formally rescinding the August 2018
                                                 contributions from in-state sources and                 appropriate for use in"  in’’ SIP submissions memorandum in this action or at this
                                                 other sources. The EPA's
                                                                       EPA’s analysis shows                            added).178 Specifically, the
                                                                                                         (emphasis added).178                          time. However, it is not required that
                                                 that the ozone transport problem being                  August 2018 memorandum said,                                     ‘‘rescind’’ a
                                                                                                                                                       agencies must "rescind"
                                                 analyzed in this rule is still the result of            ‘‘Because the amount of upwind
                                                                                                         "Because                                      memorandum or guidance the moment
                                                 the collective impacts of emissions from                collective contribution capture with the it becomes outdated or called into
                                                 multiple upwind contributors.                           1 percent and the 1 ppb thresholds is         question. The August 2018
                                                 Therefore, application of a consistent                  generally comparable, overall, we
                                                                                                         generally                                     memorandum was not issued through
                                                 contribution threshold is necessary to                  believe it may
                                                                                                                     may be reasonable and             notice-and-comment rulemaking and is
                                                 identify those upwind states that should                appropriate for states to use a 1 ppb         not binding on the Agency or other
                                                 have responsibility for addressing their                contribution threshold, as an alternative parties. While the willingness of the
                                                 contribution (to the extent found                       to a 1 percent threshold, at Step 2 of the Agency as expressed in that
                                                 ‘‘significant’’ at Step 3) to the
                                                 "significant"                                           4-step framework in developing their          memorandum to entertain the
                                                 downwind nonattainment and                              SIP revisions addressing the good             possibility of an alternative threshold of
                                                 maintenance problems to which they                      neighbor provision for the 2015 ozone         1 ppb may be considered a kind of
                                                 collectively contribute. Where a great                  NAAQS’’ (emphasis added).179
                                                                                                         NAAQS"                     added).179 Thus,   policy position, agencies may change
                                                 number of geographically dispersed                      the text of the August 2018                   their non-binding policies without going
                                                 emissions sources contribute to a                       memorandum in no way committed that through notice and comment
                                                 downwind air quality problem, which is                  the EPA would be using a 1 ppb                rulemaking. Catawba County  County v. EPA,
                                                 the case for ozone, EPA believes that, in               threshold going forward either in its         571 F.3d 20, 34 (D.C. Cir. 2009). In this
                                                 the context of CAA section                              evaluation of SIPs or in promulgating a       case, we went through notice and
                                                 110(a)(2)(D)(i)(I), a state-level threshold             FIP. The August 2018 memorandum               comment rulemaking on this topic in
                                                 of 1 percent of the NAAQS is a                          indicated that "Wollowing
                                                                                                                           ‘‘[f]ollowing these         the SIP-disapproval action (88 FR 9336)
                                                 reasonably small enough value to                        recommendations does not ensure that          and here, even though the August 2018
                                                 identify only the greater-than-de                       EPA will approve a SIP revision in all        memorandum was issued without such
                                                 minimis contributors yet is not so large                instances where the recommendations           opportunity for public input. We further
                                                 that it unfairly focuses attention for                  are followed, as the guidance may not         address the basis for the consistent use
                                                 further action only on the largest single               apply to the facts and circumstances          of a 1 percent of NAAQS threshold and
                                                 or few upwind contributors. Continuing                  underlying a particular SIP. Final            summarize our conclusions under the
                                                 to use 1 percent of the NAAQS as the                    decisions by the EPA to approve a             FCC v. Fox factors below.
                                                                                                                                                       FCC
                                                 screening metric to evaluate collective                 particular SIP revision will only be             We continue to believe, as set forth in
                                                 contribution from many upwind states                    made based on the requirements of the         our   proposed action, that national ozone
                                                 also allows the EPA (and states) to apply               statute and will only be made following transport policy is not well served by
                                                 a consistent framework to evaluate                             agency’s final submission of the
                                                                                                         an air agency's                                 181 Id.
                                                 interstate emissions transport under the                SIP revision to the EPA, and after              181
ddrumheller on DSK120RN23PROD with RULES2




                                                 interstate transport provision from one                                                                     87 FR 9545, 9551 (Feb. 22, 2022) (Alabama,
                                                                                                                                                         182 87
                                                                                                         appropriate notice and opportunity for        Mississippi, Tennessee); 87 FR 9498, 9510 (Feb. 22,
                                                 NAAQS to the next. See 86 FR 23054,                     public review and comment,"
                                                                                                                                 comment.’’ 180        2022) (Kentucky); 87 FR 9838, 9844 (Feb. 22, 2022)
                                                 23085; 81 FR 74504, 74518; 76 FR                        Further, the August 2018 memorandum (Illinois, Indiana, Michigan, Minnesota, Ohio,
                                                 48208, 48237–38.
                                                          48237-38.                                                                                            Wisconsin); 87 FR 9798, 9807, 9813, 9820 (Feb. 22,
                                                    Further, the EPA notes that the role of                177 August 2018 memorandum, at 1.
                                                                                                                                                               2022) (Arkansas, Louisiana, Oklahoma, Texas); 87
                                                                                                           177 August       memorandum, at 1.                  FR 9533, 9542 (Feb. 22, 2022) (Missouri); 87 FR
                                                 the Step 2 threshold is limited and just                  178
                                                                                                           178 Id.                                             31470, 31479 (May 24, 2022) (Utah); 87 FR 31495,
                                                 one step in the larger 4-Step Framework.                  179 Id. at 4.
                                                                                                           179                                                 31504 (May 24, 2022) (Wyoming); 87 FR 31485,
                                                 It serves to screen in states for further                 180 Id. at 1.
                                                                                                           189                                                 31490 (May 24, 2022) (Nevada).



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00062   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 101 of 430
                                                                      Federal Register / Vol. 88, No. 107/Monday,
                                                                                                      107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules                                                           36715
                                                                                                                                                                                                 36715

                                                 allowing for less protective thresholds                 memorandum that there was some                        more stringent, an appropriate increase
                                                 than 1 percent of the NAAQS at Step 2.                  similarity in the amount of total upwind              in stringency at Step 2 occurs, so as to
                                                 Furthermore, the EPA disagrees with                     contribution captured (on a nationwide                ensure an appropriately larger amount
                                                 commenters who suggest that national                    basis) between 1 percent and 1 ppb.                   of total upwind-state contribution is
                                                 consistency is an inappropriate                         However, while this may be true in                    captured for purposes of fully
                                                 consideration in the context of interstate              some sense, that is hardly a compelling               addressing interstate transport. See 76
                                                 ozone transport. The Good Neighbor                      basis to move to a 1 ppb threshold for                FR 48208, 48237–38.
                                                                                                                                                                           48237-38.
                                                 provision, CAA section                                  every state. Indeed, the 1 ppb threshold                 We note further that application of a
                                                 110(a)(2)(D)(i)(I), requires to a unique                has the disadvantage of losing a certain              1 percent of NAAQS threshold has been
                                                 degree of concern for consistency,                      amount of total upwind contribution for                   EPA’s consistent approach in each
                                                                                                                                                               the EPA's
                                                 parity, and equity across state lines.  183
                                                                                   lines.183             further evaluation at Step 3 (e.g.,                   of our notice-and-comment rulemakings
                                                 For a regional air pollutant such as                    roughly 7 percent of total upwind state               beginning with CSAPR and continuing
                                                 ozone, consistency in requirements and                  contribution was lost according to the                with the CSAPR Update, the Revised
                                                 expectations across all states is                       modeling underlying the August 2018                   CSAPR Update, and numerous actions
                                                 essential. Based on the EPA's
                                                                           EPA’s review of               memorandum; in the EPA's  EPA’s 2016v2                on ozone transport SIP submissions. In
                                                 good neighbor SIP submissions to-date                   modeling, the amount lost is 5 percent;               each case, the 1 percent of the NAAQS
                                                 and after further consideration of the                  in the EPA's
                                                                                                                 EPA’s 2016v3 modeling used for                threshold was subject to rigorous vetting
                                                 policy implications of attempting to                    final, the amount lost is also 5 percent).            through public comment and the
                                                 recognize an alternative Step 2                         Further, this logic has no end point. A               Agency’s response to those comments,
                                                                                                                                                               Agency's
                                                 threshold for certain states, the Agency                similar observation could be made with                including through the use of analytical
                                                 concludes that the attempted use of                     respect to any incremental change. For                evaluations of alternative thresholds.
                                                 different thresholds at Step 2 with                     example, should the EPA next recognize                See, e.g., 81 FR 74518–19.
                                                                                                                                                                                 74518-19. By contrast,
                                                 respect to the 2015 8-hour ozone                        a 1.2 ppb threshold because that would                the August 2018 memorandum was not
                                                 NAAQS raises substantial policy                         only cause some small additional loss in              issued through notice-and-comment
                                                 consistency and practical                               capture of upwind state contribution as               rulemaking procedures, and the EPA
                                                 implementation concerns. The                            compared to 1 ppb? If the only basis for              was careful to caveat its utility and
                                                 availability of different thresholds at                 moving to a 1 ppb threshold is that it                ultimate reliability for that reason.
                                                 Step 2 has the potential to result in                                ‘‘similar’’ (but actually
                                                                                                         captures a "similar"                                     The EPA disagrees with claims that
                                                 inconsistent application of good                        smaller) amount of upwind                             the EPA is applying the August 2018
                                                 neighbor obligations based solely on the                contribution, then there is no basis for              memorandum inconsistently based on
                                                                state’s SIP submission at
                                                 strength of a state's                                   moving to that threshold at all.                          EPA’s actions with regard to
                                                                                                                                                               the EPA's
                                                 Step 2 of the 4-step interstate transport               Considering the core statutory objective              Arizona, Iowa, and Oregon. The EPA
                                                 framework. The steps of the analysis                    of ensuring elimination of all significant            withdrew a previously proposed
                                                 that lead up to evaluating emissions                                       nonattainment or
                                                                                                         contribution to nonattainrnent                                     Iowa’s SIP submission that
                                                                                                                                                               approval of Iowa's
                                                 reductions opportunities to address                     interference with maintenance of the                  was premised on a 1 ppb contribution
                                                 states’ significant contribution at Step 3
                                                 states'                                                 NAAQS in other states and the broad,                  threshold, and re-proposed and
                                                 should be applied on a consistent basis.                regional nature of the collective                     finalized approval of that SIP based on
                                                 Where alternative thresholds for                        contribution problem with respect to                  a different rationale using a 1 percent of
                                                 purposes of Step 2 may be "similar"
                                                                               ‘‘similar’’ in            ozone, we continue to find no                         the NAAQS contribution threshold. 87
                                                 terms of capturing the relative amount                  compelling policy reason to adopt a new               FR 9477 (Feb. 22, 2022); 87 FR 22463
                                                 of upwind contribution (as described in                 threshold for all states of 1 ppb.                    (April 15, 2022). The EPA also disagrees
                                                 the August 2018 memorandum),                               Nor have commenters explained why                  with any claim that Oregon and Arizona
                                                 nonetheless, use of an alternative                      use of a 1 ppb threshold would be                           ‘‘allowed’’ to use a 1 ppb or higher
                                                                                                                                                               were "allowed"
                                                 threshold would allow certain states to                 appropriate under the more protective                 threshold. The EPA approved Oregon's
                                                                                                                                                                                                Oregon’s
                                                 avoid further evaluation of potential                   2015 ozone NAAQS when a 1 percent                     SIP submission for the 2015 ozone
                                                 emissions controls while other states                   of the NAAQS contribution threshold                   NAAQS on May 17, 2019, and both
                                                 must proceed to a Step 3 analysis. This                 has been used for less protective ozone               Oregon and the EPA relied on a 1
                                                 can create significant equity and                       NAAQS. To illustrate, a state                         percent of the NAAQS contribution
                                                 consistency problems among states and                   contributing greater than 0.75 ppb but                threshold. 84 FR 7854, 7856 (March 5,
                                                 could lead to ineffective or inefficient                less than 1 ppb to a receptor under the               2019) (proposal); 84 FR 22376 (May 17,
                                                 approaches to eliminating significant                   2008 ozone NAAQS was "linked" ‘‘linked’’ at           2019) (final). In the proposal for this
                                                 contribution.                                           Step 2,  184 but if a 1 ppb threshold were
                                                                                                               2,184                                           action, the EPA explained it was not
                                                    One commenter suggested the EPA                      used for the 2015 ozone NAAQS then                    proposing to conduct an error correction
                                                 could address this potentially                                                             ‘‘linked’’
                                                                                                         that same state would not be "linked"                 for Oregon even though updated
                                                 inequitable outcome by simply adopting                  to a receptor at Step 2 under a NAAQS                 modeling indicated Oregon contributed
                                                 a 1 ppb contribution threshold for all                  that is set to be more protective of                  above 1 percent of the NAAQS to
                                                 states. However, the August 2018                        human health and the environment.                     monitors in California.
                                                 memorandum did not conclude that 1                      Consistency with past interstate                         The EPA is deferring finalizing a
                                                 ppb would be appropriate for all states                 transport actions such as CSAPR, and                  finding at this time for Oregon (see
                                                 and the EPA does not view that                          the CSAPR Update and Revised CSAPR                    section IV.G of this document for
                                                 conclusion to be supported at present.                  Update rulemakings (which all used the                additional information). In 2016, the
                                                                                                                                                               EPA approved Arizona's
                                                                                                                                                                                Arizona’s SIP for the
ddrumheller on DSK120RN23PROD with RULES2




                                                 The EPA recognized in the August 2018                   1 percent of the NAAQS for less
                                                                                                         protective ozone NAAQS), is an                        earlier 2008 ozone NAAQS based on a
                                                   183 EPA notes that Congress has placed on EPA
                                                   183                                                   important consideration. We affirm our                similar rationale with regard to certain
                                                 a general obligation to ensure the requirements of      view in CSAPR that continuing to use                  monitors in California. 81 FR 15200
                                                 the CAA are implemented consistently across states      a 1 percent of NAAQS approach ensures                 (March 22, 2016) (proposal); 81 FR
                                                 and regions. See CAA section 301(a)(2). Where the
                                                 management and regulation of interstate pollution       that if the NAAQS are revised and made                31513 (May 19, 2016) (final rule). We
                                                 levels spanning many states is at stake, consistency                                                          are deferring finalizing a finding at this
                                                 in application of CAA requirements is paramount.          184 See 86 FR 23054, 23058 (April 30, 2021).
                                                                                                           184                                                 time that such a rationale is appropriate


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00063   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 102 of 430
                                                 36716
                                                 36716                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 with respect to the more protective 2015                impacts are required of the source to                 percent contribution threshold of 0.7
                                                 ozone NAAQS. While Arizona and                          support a demonstration that it meets                 ppb is lower than the manufacturer's
                                                                                                                                                                                          manufacturer’s
                                                 Oregon’s interstate transport obligations
                                                 Oregon's                                                the criteria for a permit. A source with              reported precision of these reference
                                                 for the 2015 ozone NAAQS remain                         estimated impacts below the PSD SIL                   monitors and that the requirements
                                                 pending (along with several other                       may use this to demonstrate that it will              found in Appendix U truncates monitor
                                                 states), there is no inconsistency in the               not cause or contribute (as those terms               values of 0.7 ppb to 0 ppb. However, the
                                                 treatment of these states or any other                  are used within the PSD program) to a                 commenter is mistaken in applying
                                                 state at Step 2.                                        violation of an ambient air quality                   criteria related to the precision of
                                                    Some commenters claim the EPA                        standard, but is still subject to meeting             monitoring technology to the modeling
                                                 must use a 1 ppb threshold based on the                 applicable control requirements,                      methodology by which we project
                                                 identification of 1 ppb as a significance               including best available control                      contributions when quantifying and
                                                 threshold in one step of the PSD                        technology, designed to moderate the                  evaluating interstate transport at Step 2.
                                                 permitting process. The EPA's
                                                                           EPA’s SIL                     source’s impact on air quality.
                                                                                                         source's                                              Indeed, contributions by source or state
                                                 guidances, however, relate to a different                  Moreover, other aspects of the                     cannot be derived from the total
                                                 provision of the Clean Air Act regarding                technical methodology in the SILs                     ambient concentration of ozone at a
                                                 implementation of the prevention of                     guidance compared to the good                         monitor at all but must be apportioned
                                                 significant deterioration (PSD)                         neighbor framework make a direct                      through modeling. Under our
                                                 permitting program. This program                        comparison between these two values                   longstanding methodology for doing so,
                                                 applies in areas that have been                         misleading. For instance, in PSD permit               the contribution values identified from
                                                 designated attainment of the NAAQS                      modeling using a single year of                       upwind states are based on a robust
                                                 and is intended to ensure that such                     meteorology the maximum single-day 8-                 assessment of the average impact of
                                                 areas remain in attainment even if                      hour contribution is evaluated with                   each upwind state's
                                                                                                                                                                                state’s ozone-precursor
                                                 emissions were to increase as a result of               respect to the SIL. The purpose of the                emissions over a range of scenarios, as
                                                 new sources or major modifications to                   contribution threshold at Step 2 of the               explained in the 2016v3 modeling's
                                                                                                                                                                                              modeling’s Air
                                                 existing sources located in those areas.                4-step good neighbor framework is to                  Quality Modeling Final Rule TSD, in the
                                                 This purpose is different than the                      determine whether the average                         docket for this rule, Docket ID No. EPA—EPA–
                                                 purpose of the good neighbor provision,                 contribution from a collection of sources             HQ–OAR–2021–0668. This analysis is
                                                                                                                                                               HQ—OAR-2021-0668.
                                                 which is to assist downwind areas (in                   in a state is small enough not to warrant             in no way connected with or dependent
                                                 some cases hundreds or thousands of                     any additional control for the purpose of             on monitoring instruments'
                                                                                                                                                                                 instruments’ precision of
                                                 miles away) in resolving ongoing                        mitigating interstate transport, even if              measurement. See EME Homer City, 795
                                                 nonattainment of the NAAQS or                           that control were highly cost effective.              F.3d 118, 135-36
                                                                                                                                                                           135–36 ("[A]
                                                                                                                                                                                     (‘‘[A] model is meant
                                                 difficulty maintaining the NAAQS                        Using a 1 percent of the NAAQS                        to simplify reality in order to make it
                                                 through eliminating the emissions from                  threshold is more appropriate for                     tractable.’ ")
                                                                                                                                                               tractable.' ’’) (quoting Chemical
                                                 other states that are significantly                     evaluating multi-day average                          Manufacturers Association v. EPA, 28
                                                 contributing to those problems. In                      contributions from upwind states than a               F.3d 1259, 1264 (D.C. Cir. 1994).
                                                 addition, as discussed in preceding                     1 ppb threshold applied for a single day,
                                                 paragraphs, the purpose of the Step 2                   since that lower value of 1 percent of                   To the extent that commenters argue
                                                                        EPA’s interstate
                                                 threshold within the EPA's                              the NAAQS will capture variations in                  that the EPA consider a less stringent
                                                 transport framework for ozone is to                     contribution. If EPA were to use a single             threshold as a result of modeling
                                                 broadly sweep in all states contributing                day reflecting the maximum amount of                  uncertainty, the EPA disagrees with this
                                                 to identified receptors above a de                      contribution from an upwind state to                  notion. The EPA has successfully
                                                 minimis level in recognition of the                     determine whether a linkage exists at                 applied a 1 percent of NAAQS threshold
                                                 collective-contribution problem                         Step 2, commenters’
                                                                                                                  commenters' arguments for use                to identify linked upwind states using
                                                 associated with regional-scale ozone                    of the PSD SIL might have more force.                 modeling in three prior FIP rulemakings
                                                 transport. The threshold used in the                    This would in effect be a return to the               and numerous state-specific actions on
                                                 context of PSD SIL serves a different                   pre-CSAPR contribution calculation                    good neighbor obligations. This
                                                 purpose, and so it does not follow that                 methodology of using a single day, see                continues to be a reasonable approach,
                                                 they should be made equivalent.                         76 FR 48238. However, that would                      and indeed courts have repeatedly
                                                 Further, commenters incorrectly                         likely cause more states to become                    declined to establish bright line criteria
                                                                 EPA’s Step 2 contribution
                                                 associate the EPA's                                     linked, not less. And in any case,                    for model performance. In upholding
                                                 threshold with the identification of                    consistent with the method in our                         EPA’s approach to evaluating
                                                                                                                                                               the EPA's
                                                 ‘‘significant’’ emissions (which does not
                                                 "significant"                                           modeling guidance for projecting future               interstate transport in CSAPR, the D.C.
                                                 occur until Step 3), and so it is not the               attainment/nonattainment and as the                   Circuit held that it would not
                                                 case that the EPA is interpreting the                   EPA concluded in 2011 in CSAPR, the                   ‘‘invalidate EPA's
                                                                                                                                                               "invalidate    EPA’s predictions solely
                                                 same term differently.                                  present good neighbor methodology of                  because there might be discrepancies
                                                    The EPA has previously explained                     using multiple days provides a more                   between those predictions and the real
                                                 this distinction between the good                       robust approach to establishing that a                world. That possibility is inherent in the
                                                 neighbor framework and PSD SILs. See                    linkage exists at the state level than                enterprise of prediction.’’
                                                                                                                                                                                prediction." EME Homer
                                                 70 FR 25162, 25190–25191
                                                                 25190-25191 (May 12,                    relying on a single day of data.                      City
                                                                                                                                                               City Generation, L.P. v. EPA, 795 F.3d
                                                 2005); 76 FR 48208, 48237 (Aug. 8,                         A commenter also claimed the 1                     118, 135 (2015). "[T]he
                                                                                                                                                                                   ‘‘[T]he fact that a
                                                 2011). Importantly, the implication of                  percent of NAAQS threshold is                         ‘model
                                                                                                                                                               `model does not fit every application
                                                                                                                                                               perfectly is no criticism; a model is
ddrumheller on DSK120RN23PROD with RULES2




                                                 the PSD SIL threshold is not that single-               inconsistent with the standards of
                                                 source contribution below this level                    precision for Federal reference monitors              meant to simplify reality in order to
                                                 indicates the absence of a contribution                 for ozone and the rounding                            make it tractable.'
                                                                                                                                                                        tractable.’ "’’ Id. at 135-36
                                                                                                                                                                                               135–36
                                                 or that no emissions control                            requirements found in 40 CFR part 50,                 (quoting Chemical Manufacturers
                                                 requirements are warranted. Rather, the                 appendix U, Interpretation of the                     Association v. EPA, 28 F.3d 1259, 1264
                                                 PSD SIL threshold addresses whether                     Primary and Secondary National                        (D.C. Cir. 1994). See also Sierra Club v.
                                                 further, more comprehensive, multi-                     Ambient Air Quality Standards for                     EPA, 939 F.3d 649, 686–87686-87 (5th Cir.
                                                 source review or analysis of air quality                Ozone. Commenter claimed that the 1                   2019) (upholding EPA'sEPA’s modeling in the


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00064   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023                Page 103 of 430
                                                                      Federal Register / Vol. 88, No. 107/Monday,
                                                                                                      107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules                                                                    36717
                                                                                                                                                                                                          36717

                                                 face of complaints regarding an alleged                 a. States That Contribute Below the                   1, the following 23 states contribute at
                                                 ‘‘margin of error,’’
                                                 "margin      error," noting challengers                 Screening Threshold                                   or above the 0.70 ppb threshold to
                                                         ‘‘considerable burden"
                                                 face a "considerable    burden’’ in                        Based on the EPA's
                                                                                                                          EPA’s modeling and                   downwind modeling-based
                                                                 ‘‘presumption of
                                                 overcoming a "presumption                               considering measured data at violating                maintenance-only receptors in 2023:
                                                 regularity’’ afforded "the
                                                 regularity"            ‘‘the EPA's
                                                                              EPA’s choice               monitors, the contributions from each of              Arizona, Arkansas, California, Illinois,
                                                                methodology’’) (citing
                                                 of analytical methodology")                             the following states to nonattainment or              Indiana, Iowa, Kentucky, Louisiana,
                                                 BCCA Appeal Grp. v. EPA, 355 F.3d                       maintenance-only receptors in the 2023                Maryland, Michigan, Minnesota,
                                                 817, 832 (5th Cir. 2003)).                              analytic year are below the 1 percent of              Mississippi, Missouri, Nevada, New
                                                    The Agency will continue to use the                  the NAAQS threshold: Colorado,                        Jersey, New Mexico, New York, Ohio,
                                                                                                         Connecticut, the District of Columbia,                Oklahoma, Texas, Virginia, West
                                                 CAMx model to evaluate contributions
                                                                                                         Delaware, Florida, Georgia, Idaho,                    Virginia, and Wisconsin. Based on the
                                                 from upwind states to downwind areas.                                                                         maximum downwind contribution in
                                                 The agency has used CAMx routinely in                   Maine, Massachusetts, Montana,
                                                                                                         Nebraska, New Hampshire, North                        Table IV.F–3,
                                                                                                                                                                      IV.F-3, the following additional
                                                 previous notice and comment transport
                                                                                                         Carolina, North Dakota, Rhode Island,                 states contribute at or above the 0.70
                                                 rulemakings to evaluate contributions                                                                         ppb threshold to downwind violating
                                                 relative to the 1 percent threshold for                 South Carolina, South Dakota, Vermont,
                                                                                                              Washington.185 The EPA has
                                                                                                         and Washington.185                                    monitor maintenance-only receptors in
                                                                    PM2.5. In fact, in the
                                                 both ozone and PM2.5.                                                                                         2023: Kansas and Tennessee. (However,
                                                 original CSAPR, the EPA found that                                                states’ 2015
                                                                                                         already approved these states'
                                                                                                         ozone good neighbor SIP submittals.                   the EPA is not taking final action based
                                                 ‘‘[t]here was wide support from
                                                 "[t]here                                                                                                      on this analytical result for these two
                                                 commenters for the use of CAMx as an                    Because the contributions from these
                                                                                                         states to projected downwind air quality              states at this time.) The levels of
                                                 appropriate, state-of-the science air                                                                         contribution between each of these
                                                 quality tool for use in the [Cross-State                problems are below the screening
                                                                                                         threshold in the current modeling, these              linked upwind states and downwind
                                                 Air Pollution] Rule. There were no                                                                            nonattainment receptors and
                                                 comments that suggested that the EPA                    states are not within the scope of this
                                                                                                         final rule. Additionally, the EPA has                 maintenance-only receptors are
                                                 should use an alternative model for                                                                           provided in the Air Quality Modeling
                                                                                                         made final determinations that two
                                                 quantifying interstate transport."
                                                                          transport.’’ 76 FR                                                                   Final Rule TSD.
                                                 48229 (August 8, 2011). In this action,
                                                                                                         states outside the modeling domain for
                                                                                                         the air quality modeling analyzed in this                Among the linked states are several
                                                 the EPA has taken a number of steps                                                                           western states—California, Nevada, and
                                                                                                         final rulemaking—Hawaii 186  186 and
                                                 based on comments and new                                       187—do not significantly                      Utah. While the EPA has not previously
                                                                                                         Alaska 187—do
                                                 information to ensure to the greatest                                                                         included action on linked western states
                                                                                                         contribute to nonattainment or interfere
                                                 extent the accuracy and reliability of its                                                                    in its prior CSAPR rulemakings, the
                                                                                                         with maintenance of the NAAQS in any
                                                 modeling projections at Step 1 and 2, as                                                                      EPA has consistently applied the 4-step
                                                                                                         other state.
                                                 discussed elsewhere in this section.                       With respect to Wyoming, our                       framework in evaluating good neighbor
                                                    The EPA disagrees with commenters                    methodology when applied using the                    obligations from these states. On a case-
                                                 that case law reviewing changes in                      2016v3 modeling suggests that whether                 by-case basis, the EPA has found in
                                                 agency positions such as FCC v. Fox TV    TV            the state is linked is uncertain and                  some instances with respect to the 2008
                                                 Stations, Inc., 556 U.S. 502, 515 (2009),               warrants further analysis. The EPA                    ozone NAAQS that a unique
                                                 is applicable with respect to this issue.               intends to expeditiously review its                   consideration has warranted approval of
                                                 As explained above, under the terms of                  assessment with respect to Wyoming                                state’s good neighbor SIP
                                                                                                                                                               a western state's
                                                 the August 2018 memorandum, the                         and take action addressing Wyoming's
                                                                                                                                       Wyoming’s               submittal that might otherwise be found
                                                 Agency did not conclude that the use of                 good neighbor obligations for the 2015                to contribute above 1 percent of the
                                                 an alternative contribution threshold                   ozone NAAQS through a separate                        NAAQS without concluding that
                                                 was justified for any states. But even if               action.                                               additional emissions reductions are
                                                 it were found that the Agency's
                                                                           Agency’s position                                                                   required at Step 3 of the framework.188
                                                                                                         b. States That Contribute at or Above the The EPA has also explained in prior
                                                 had changed between this rulemaking
                                                                                                         Screening Threshold                                   actions that its air quality modeling is
                                                 action and the August 2018
                                                 memorandum, the FCC   FCC v. Fox factors                   Based on the maximum downwind                      reliable for assessing downwind air
                                                 are met. We have explained above that                   contributions in Table IV.F-1,IV.F–1, the Step        quality problems and ozone transport
                                                                                                         2 analysis identifies that the following              contributions from upwind states
                                                 there are good reasons for continuing to
                                                 use a 1 percent of NAAQS threshold.                     21 states contribute at or above the 0.70             throughout the nationwide modeling
                                                 We also are aware that we are not using                 ppb threshold to downwind                             domain.
                                                                                                                                                               domain.189189 The EPA is deferring

                                                 a 1 ppb threshold despite                               nonattainment receptors in 2023:                      finalizing  a finding at this time for
                                                                                                         Alabama, Arkansas, California, Illinois,              Oregon (see section IV.G of this
                                                 acknowledging the potential for doing
                                                                                                         Indiana, Kentucky, Louisiana,                         document for additional information).
                                                 so in the August 2018 memorandum.
                                                                                                         Maryland, Michigan, Mississippi,                         As explained in the following section,
                                                 We do not believe that any party has a
                                                                                                         Missouri, Nevada, New Jersey, New                     the EPA is not, in this action, altering
                                                 serious reliance interest that would be
                                                                                                         York, Ohio, Oklahoma, Pennsylvania,                   its prior approval of Oregon's
                                                                                                                                                                                      Oregon’s good
                                                 sufficient to overcome the                                                                                    neighbor SIP submission for the 2015
                                                 countervailing public interest that is                  Texas, Utah, Virginia, and West
                                                                                                         Virginia. Based on the maximum                        ozone NAAQS. For the remaining
                                                                       EPA’s determination
                                                 served through the EPA's
                                                 to maintain continuity with its                         downwind contributions in Table IV.F–         IV.F- western states included in this rule, the
                                                                                                                                                               EPA’s modeling supports a conclusion
                                                                                                                                                               EPA's
                                                 longstanding, more protective 1 percent
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                           185 The status of monitoring sites in California to that these states are linked above the
                                                 of NAAQS threshold in this action. Cf.                    185
                                                                                                         which Oregon may be linked is under review. See
                                                 88 FR 9373 (reviewing reliance in the                   section IV.G.                                           188 See interstate transport approval actions under
                                                                                                                                                                 188
                                                 context of the SIP-disapproval action).                                         Hawaii’s 2015 ozone
                                                                                                            186 The EPA approved Hawaii's
                                                                                                           188                                                 the 2008 ozone NAAQS for Arizona, California, and
                                                    The EPA therefore will continue its                  transport SIP on December 27, 2021. See 86 FR         Wyoming at 81 FR 36179 (June 6, 2016), 83 FR
                                                                                                         73129.                                                65093 (December 19, 2018), and 84 FR 14270 (April
                                                 longstanding practice of applying the 1                                         Alaska’s 2015 ozone
                                                                                                            187 The EPA approved Alaska's
                                                                                                           187                                                 10, 2019)), respectively.
                                                 percent of NAAQS threshold in this                      transport SIP on December 18, 2019. See 84 FR           189 See 81 FR 71991 (October 19, 2016), 82 FR
                                                                                                                                                                 189
                                                 action.                                                 69331.                                                9155 (February 3, 2017).



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00065   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 104 of 430
                                                 36718
                                                 36718                Federal Register / Vol. 88, No. 107/Monday,
                                                                                                      107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules

                                                 contribution threshold to identified                    NAAQS on May 17, 2019 (84 FR 22376),                      Comment:
                                                                                                                                                                   Comment: Commenters criticized
                                                 ozone transport receptors in downwind                   because in an earlier round of modeling                what they considered to be unfair
                                                 states, and therefore, consistent with the              Oregon was not projected to contribute                 treatment of Oregon, stating that the
                                                 treatment of all other states within the                above 1 percent of the NAAQS to any                    EPA is applying a higher contribution
                                                 modeling domain, the EPA proposes to                    downwind receptors. In the EPA'sEPA’s                  threshold than it applies to other states.
                                                 proceed to evaluate these states for a                  updated modeling used at proposal                      Commenters argued that EPA has not
                                                 determination of "significant
                                                                     ‘‘significant                       (2016v2) and again in the final modeling               established a specific threshold for why
                                                 contribution’’ at Step 3.
                                                 contribution"                                           (2016v3), Oregon is modeled to                         the level of upwind-state impact at these
                                                    In conclusion, as described above,                   contribute above the 1 percent of                      sites should not be considered
                                                 states with contributions that equal or                 NAAQS threshold to several monitoring                  meaningful. Commenters argued that
                                                 exceed 1 percent of the NAAQS to                        sites in California that would generally               our analysis ignored the fact that there
                                                 either nonattainment or maintenance-                               EPA’s definition of
                                                                                                         meet the EPA's                                         are many monitoring sites in California
                                                 only receptors are identified as "linked"
                                                                                    ‘‘linked’’           nonattainment or maintenance                           to which Oregon contributes above 1
                                                 at Step 2 of the good neighbor                          ‘‘receptors’’ at Step 1.191
                                                                                                         "receptors"           1.191 At proposal,               percent of the NAAQS. Commenters
                                                 framework and warrant further analysis                  the EPA explained that our analysis of                 state that EPA has failed to explain why
                                                 for significant contribution to                         the nature of the air quality problem at               Oregon is not subject to this rulemaking,
                                                 nonattainment or interference with                      these monitoring sites led us to propose               while other states contribute lower total
                                                 maintenance under Step 3. The EPA                       a determination that these monitoring                  downwind ozone contributions and
                                                 finds that for purposes of this final rule,             sites should not be treated as receptors               fewer receptors. Commenters concluded
                                                 the following 23 states are linked at Step              for purposes of determining interstate                 that since Oregon is linked it should be
                                                 2 in 2023: Alabama, Arkansas,                                                                                  subject to the same emissions control
                                                                                                         transport obligations of upwind states
                                                 California, Illinois, Indiana, Kentucky,                                                                       determinations at Step 3 and 4 as every
                                                                                                         under CAA section 110(a)(2)(D)(i)(I). We
                                                 Louisiana, Maryland, Michigan,                                                                                 other state, or otherwise apply the same
                                                                                                         explained that we reached this
                                                 Minnesota, Mississippi, Missouri,                                                                              ‘‘nature of the air quality problem’’
                                                                                                                                                                "nature                     problem"
                                                 Nevada, New Jersey, New York, Ohio,                     conclusion at Step 1 of our 4-step
                                                                                                         framework.                                             consideration to eliminate other
                                                 Oklahoma, Pennsylvania, Texas, Utah,                                                                           receptors.
                                                 Virginia, West Virginia, and Wisconsin.                    The EPA previously made a similar                      Response: The EPA acknowledges
                                                 In addition, the EPA finds that the                     assessment of the nature of certain other              that several commenters opposed the
                                                 following 20 States are linked at Step 2                monitoring sites in California in                      proposed treatment of Oregon and the
                                                 in 2026: Arkansas, California, Illinois,                             Arizona’s 2008 ozone
                                                                                                         approving Arizona's                                    California monitoring sites to which it is
                                                 Indiana, Kentucky, Louisiana,                                                    submittal.192
                                                                                                         NAAQS transport SIP submitta1.192                      linked in the proposed and final
                                                 Maryland, Michigan, Mississippi,                        There, the EPA noted that a "factor
                                                                                                                                         ‘‘factor               modeling. We also recognize that other
                                                 Missouri, Nevada, New Jersey, New                       [. . .] relevant to determining the nature             commenters expressed confusion
                                                 York, Ohio, Oklahoma, Pennsylvania,                     of a projected receptor's
                                                                                                                         receptor’s interstate                  regarding the role of this proposed
                                                 Texas, Utah, Virginia, and West                         transport problem is the magnitude of                  determination at Step 1 and how it
                                                 Virginia. We note that our updated                      ozone attributable to transport from all               relates to the longstanding 4-step
                                                 modeling for this final rule shows that                 upwind states collectively contributing                interstate transport framework that the
                                                 two states, Minnesota and Wisconsin,                    to the air quality problem.’’  193 The EPA
                                                                                                                            problem." 193                       EPA is otherwise applying in this
                                                 that we found linked in 2026 at                         observed that only one upwind state                    action. In recognition of these concerns
                                                 proposal are no longer projected to be                  (Arizona) was linked above 1 percent of                and the need to give further thought to
                                                 linked in that year but are linked in                   the 2008 ozone NAAQS to the two                        the appropriate treatment of both
                                                 2023.  190 As at proposal, Alabama is only
                                                 2023.190                                                relevant monitoring sites in California,               upwind states and downwind receptors
                                                 projected to be linked in 2023, not 2026.               and the cumulative ozone contribution                  in these circumstances, the EPA is
                                                    For six states, the EPA's
                                                                         EPA’s analysis at               from all upwind states to those sites was              deferring finalizing a finding at this time
                                                 this time indicates that a linkage may                  2.5 percent and 4.4 percent of the total               for Oregon. The current approval of the
                                                 exist in 2023 for which the EPA had not                 ozone, respectively. The EPA                           state’s SIP submission will remain in
                                                                                                                                                                state's
                                                 proposed FIP requirements, or the                       determined the size of those cumulative                place for the time being, pending further
                                                 updated analysis for this final rule                    upwind contributions was "negligible,
                                                                                                                                       ‘‘negligible,            review. We make no final determination
                                                 suggests that linkages we had previously                particularly when compared to the                      in this action regarding whether the
                                                 found in the proposed action are now                    relatively large contributions from                    California monitoring sites at issue
                                                 uncertain and warrant further analysis.                 upwind states in the East or in certain                should or should not be treated as
                                                 The EPA intends to expeditiously                        other areas of the West.’’  194 In that
                                                                                                                             West." 194                         receptors for purposes of addressing
                                                 address these states in a separate action               action, the EPA concluded the two                      interstate transport for the 2015 ozone
                                                 or actions: Arizona, Iowa, Kansas, New                  California sites to which Arizona was                  NAAQS.
                                                 Mexico, Tennessee, and Wyoming.                         linked should not be treated as receptors
                                                                                                         for the purposes of determining Good                                               NOX
                                                                                                                                                                V. Quantifying Upwind-State NOx
                                                 G. Treatment ofof Certain Monitoring
                                                                           Monitoring
                                                                                                         Neighbor obligations for the 2008 ozone                Emissions Reduction Potential To
                                                 Sites in California and Implications for
                                                                                      for
                                                                                                         NAAQS.195
                                                                                                         NAAQS.195                                              Reduce Interstate Ozone Transport for
                                                 Oregon’s
                                                 Oregon's Good Neighbor Obligations forfor
                                                                                                                                                                the 2015 Ozone NAAQS
                                                 the 2015 Ozone NAAQS
                                                                   NAAQS
                                                   The EPA previously approved
                                                                                                           191 Monitors are included in the docket for this
                                                                                                           191                                                  A. The Multi-Factor Test for
                                                                                                         rulemaking. While EPA is providing information         Determining Significant Contribution
ddrumheller on DSK120RN23PROD with RULES2




                                                 Oregon’s
                                                 Oregon's September 25, 2018 transport                   about cumulative upwind contribution to the
                                                 SIP submittal for the 2015 ozone                        California monitors, the Agency is not making a           This section describes the EPA's
                                                                                                                                                                                               EPA’s
                                                                                                         determination in this action that these monitors are   methodology at Step 3 of the 4-step
                                                                                                         ozone transport receptors.
                                                    190 Minnesota and Wisconsin were linked to
                                                   199                                                                                                          framework for identifying upwind
                                                 maintenance-only receptors in Cook County, IL in
                                                                                                           192 81 FR 15200 (March 22, 2016) (proposal); 81
                                                                                                           192 81

                                                                                                         FR 31513 (May 19, 2016) (final rule).                                             ‘‘significant’’
                                                                                                                                                                emissions that constitute "significant"
                                                 2023. Minnesota and Wisconsin are not linked in
                                                 2026 because the 2026 average and maximum                     81 FR 15203.
                                                                                                           193 81
                                                                                                           193                                                  contribution for the states subject to this
                                                 design values at the monitoring sites are projected       194 Id.
                                                                                                           194                                                  final rule and focuses on the 23 states
                                                 to show attainment.                                       195 Id.
                                                                                                           195                                                  with FIP requirements identified in the


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00066   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 105 of 430
                                                                      Federal Register / Vol. 88, No. 107/Monday,
                                                                                                      107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules                                                           36719
                                                                                                                                                                                                 36719

                                                 previous sections. Following the                        unnecessarily over-control relative to                addition, as was evaluated in the
                                                 existing framework as applied in the                    the contribution threshold or downwind                CSAPR Update and Revised CSAPR
                                                 prior CSAPR rulemakings, the EPA'sEPA’s                 air quality.                                          Update, the EPA evaluated whether,
                                                 assessment of linked upwind state                          As mentioned in section III.A.2 of this            based on particularized evidence, its
                                                 emissions is based primarily on analysis                document, commenters on the proposed                  selected control strategy would result in
                                                 of several alternative levels of NOx
                                                                                   NOX                   rule and previous ozone transport rules               over-control for any upwind state by
                                                 emissions control stringency applied                    have suggested that the EPA should                    examining whether an upwind state is
                                                 uniformly across all of the linked states.              regulate VOCs as an ozone precursor.                  linked solely to downwind air quality
                                                 The analysis includes assessment of                     For this final rule, the EPA examined                 problems that could have been resolved
                                                 non-EGU stationary sources in addition                  the results of the contribution modeling              at a lesser threshold of control
                                                 to EGU sources in the linked upwind                     performed for this rule to identify the               stringency and whether an upwind state
                                                 states.                                                 portion of the ozone contribution                     could reduce its emissions below the 1
                                                    The EPA applies a multi-factor test—                                                 NOX
                                                                                                         attributable to anthropogenic NOx                     percent air quality contribution
                                                 the same multi-factor test that was used                emissions versus VOC emissions from                   threshold at a lesser threshold of control
                                                 in CSAPR, the CSAPR Update, and the                     each linked upwind state to each                      stringency. This analysis is described in
                                                 Revised CSAPR Update 196—  196—to
                                                                                 to evaluate             downwind receptor. Of the total                       section V.D of this document.
                                                 increasing levels of uniform NOx
                                                                                NOX                      upwind-downwind linkages in 2023,                        Finally, while the EPA has evaluated
                                                 control stringency. The multi-factor test,              the contributions from NOx
                                                                                                                                  NOX emissions                potential emissions reductions from
                                                                       EPA’s Step 3
                                                 which is central to EPA's                               comprise 80 percent or more of the total              non-EGU sources in prior rules and
                                                 quantification of significant                           anthropogenic contribution for nearly                 found certain non-EGU emissions
                                                 contribution, considers cost, available                 all of the linkages (121 out of 124 total).           reductions should inform the budgets
                                                 emissions reductions, downwind air                      Across all receptors, the contribution                                     NOX SIP Call, this is
                                                                                                                                                               established in the NOx
                                                 quality impacts, and other factors to                         NOX emissions ranges from 84
                                                                                                         from NOx                                              the first action for which the EPA is
                                                 determine the appropriate level of                      percent to 97 percent of the total                    finalizing non-EGU emissions
                                                          NOX control stringency that
                                                 uniform NOx                                             anthropogenic contribution from                       reductions within the context of the
                                                 would eliminate significant contribution                upwind states. This review of the                     specific, 4-step interstate transport
                                                 to downwind nonattainrnent
                                                                 nonattainment or                        portion of the ozone contribution                     framework established in CSAPR. The
                                                 maintenance receptors. The selection of                                                 NOX
                                                                                                         attributable to anthropogenic NOx                     EPA applies its multi-factor test to non-
                                                                      NOX emissions
                                                 a uniform level of NOx                                  emissions versus VOC emissions from                   EGUs and independently evaluates non-
                                                 control stringency across all of the                    each linked upwind state leads the
                                                                                                                                                               EGU industries in a consistent but
                                                 linked states, reflected as a                           Agency to conclude that the vast                      parallel track to its Step 3 assessment
                                                 representative cost per ton of emissions                majority of the downwind air quality
                                                                                                                                                               for EGUs. This is consistent with the
                                                 reduction (or a weighted average cost                   areas addressed by the final rule under
                                                                                                                                                               parallel assessment approach taken for
                                                 per ton in the case of EPA's
                                                                         EPA’s non-EGU                   are primarily NOx-limited,
                                                                                                                         NOX-limited, rather than
                                                                                                                                                               EGUs and non-EGUs in the Revised
                                                 and EGU analysis for 2026 mitigation                    VOC-limited. Therefore, the EPA
                                                                                                                                                               CSAPR Update. Following the
                                                 measures), also serves to apportion the                 continues to find that regulation of
                                                 reduction responsibility among                          VOCs as an ozone precursor in upwind                  conclusions of the EGU and non-EGU
                                                                                                                                                               multi-factor tests, the identified
                                                 collectively contributing upwind states.                states is not necessary to eliminate
                                                 This approach to quantifying upwind                     significant contribution or interference              reductions for EGUs and non-EGUs are
                                                                                                                                                               combined and collectively analyzed to
                                                 state emission-reduction obligations                    with maintenance in downwind areas in
                                                 using uniform cost was reviewed by the                  this final rule. The remainder of this                assess their effects on downwind air
                                                                                                                                                               quality and whether the rule achieves a
                                                 Supreme Court in EME Homer City    City                 section focuses on EPA's
                                                                                                                              EPA’s strategy for
                                                 Generation, which held that using such                  reducing regional-scale transport of                                             ‘‘significant
                                                                                                                                                               full remedy to eliminate "significant
                                                                                                                              NOX emissions from               contribution’’ while avoiding over-
                                                                                                                                                               contribution"
                                                 an approach to apportion emissions                      ozone by targeting NOx
                                                 reduction responsibilities among                        stationary sources to achieve the most                control.
                                                 upwind states that are collectively                     effective reductions of ozone transport                  To ensure that this rule implements a
                                                 responsible for downwind air quality                    over the geography of the affected                    full remedy for the elimination of
                                                 impacts "is
                                                          ‘‘is an efficient and equitable                downwind areas.                                       significant contribution from upwind
                                                 solution to the allocation problem the                     For both EGUs and non-EGUs, section                states, the EPA has reviewed available
                                                 Good Neighbor Provision requires the                    V.B of this document describes the                    information on all major industrial
                                                             address.’’ 572 U.S. at 519.
                                                 Agency to address."                                                NOX emissions controls that
                                                                                                         available NOx                                         source sectors in the upwind states
                                                    There are four stages in developing                  the EPA evaluated for this final rule and             inclusive of commenter-provided data.
                                                 the multi-factor test: (1) identify levels              their representative cost levels (in                  This analysis leads the EPA to conclude
                                                 of uniform NOx
                                                              NOX control stringency; (2)                2016$). Section V.0
                                                                                                                           V.C of this document                that both EGUs and certain large sources
                                                 evaluate potential NOx
                                                                      NOX emissions                      discusses EPA's
                                                                                                                     EPA’s application of that                 in several specific industrial categories
                                                 reductions associated with each                         information to assess emissions                       should be evaluated for emissions
                                                 identified level of uniform control                     reduction potential of the identified                 control opportunities. As discussed in
                                                 stringency; (3) assess air quality                      control stringencies. Finally, section                the sections that follow, the EPA
                                                 improvements at downwind receptors                      V.D of this document describes EPA's
                                                                                                                                           EPA’s               determines, for both EGUs and the
                                                 for each level of uniform control                       assessment of associated air quality                  selected non-EGU source categories,
                                                 stringency; and (4) select a level of                   impacts and EPA's
                                                                                                                        EPA’s subsequent                       there are impactful emissions reduction
ddrumheller on DSK120RN23PROD with RULES2




                                                 control stringency considering the                      identification of appropriate control                 opportunities available at reasonable
                                                 identified cost, available NOx
                                                                             NOX emissions               stringencies considering the key                      cost-effectiveness thresholds. As in the
                                                 reductions, and downwind air quality                    relevant factors (cost, available                     Revised CSAPR Update, the EPA
                                                 impacts, while also ensuring that                       emissions reductions, and downwind                    examines EGUs and non-EGUs in this
                                                 emissions reductions do not                             air quality impacts).                                 section on consistent but distinct
                                                                                                            This multi-factor approach is                      parallel tracks due to differences
                                                    196 See CSAPR, Final Rule, 76 FR 48208 (August
                                                   196                                                                     EPA’s approach in prior
                                                                                                         consistent with EPA's                                 stemming from the unique
                                                 8, 2011).                                               transport actions, such as CSAPR. In                  characteristics of the power sector


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00067   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023                    Page 106 of 430
                                                 36720
                                                 36720                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 compared to other industrial source                     rule.197 For further discussion of EPA's
                                                                                                         rule.197                           EPA’s                 install state-of-the-art NOx
                                                                                                                                                                                           NOX combustion
                                                 categories.                                             existing and ongoing mobile source                       controls by the 2023 ozone season on a
                                                    Since the NOx
                                                              NOX SIP Call, EGUs have                    measures, see section V.B.4 of this                      regional scale; those controls are
                                                 consistently been regulated under ozone                 document.                                                assumed to be available by the
                                                 transport rules. These units operate in a               B. Identifying Control Stringency
                                                                                                                                Stringency Levels                 beginning of the 2024 ozone season. All
                                                 coordinated manner across a highly                                                                               cost values discussed in the rest of the
                                                 interconnected electrical grid. Their                            NOX Mitigation Strategies
                                                                                                         1. EGU NOx                                               section for EGUs are in 2016 dollars.
                                                 configuration and emissions control                        In identifying levels of uniform                      a. Optimizing Existing SCRs
                                                 strategies are relatively homogenous,                   control stringency for EGUs, the EPA
                                                 and their emissions levels and                          assessed the same NOxNOX emissions                          Optimizing (i.e., turning on idled or
                                                 emissions control opportunities are                     controls that the Agency analyzed in the                 improving operation of partially
                                                 generally very well understood due to                   CSAPR Update and the Revised CSAPR                       operating) existing SCRs can
                                                 longstanding monitoring and data-                       Update, all of which are considered to                   substantially reduce EGU NOxNOX
                                                 reporting requirements. Non-EGU                         be widely available in this sector: (1)                  emissions quickly, using investments
                                                 sources, by contrast, are relatively                    fully operating existing SCR, including                  that have already been made in
                                                 heterogeneous, even within a single                     both optimizing NOxNOX removal by                        pollution control technologies. With the
                                                 industrial category, and have far greater               existing operational SCRs and turning                    promulgation of the CSAPR Update and
                                                 variation in existing emissions control                 on and optimizing existing idled SCRs;                   the Revised CSAPR Update, most
                                                 requirements, emissions levels, and                     (2) installing state-of-the-art NOx
                                                                                                                                         NOX                      operators in the covered states improved
                                                 technologies to reduce emissions. In                    combustion controls; (3) fully operating                 their SCR performance and have
                                                 general, despite these differences, the                 existing SNCRs, including both                           continued to maintain that level of
                                                 information available for this                                       NOX removal by existing
                                                                                                         optimizing NOx                                           improved operation. However, this
                                                 rulemaking indicates that both EGUs                     operational SNCRs and turning on and                     optimized SCR performance was not
                                                 and certain non-EGU categories have                     optimizing existing idled SNCRs; (4)                     universal and not always sustained.
                                                 available cost-effective NOx
                                                                            NOX emissions                installing new SNCRs; and (5) installing                 Between 2017 and 2020, as the CSAPR
                                                 reduction opportunities at relatively                   new SCRs. Finally, for each of these                     Update ozone-season NOx NOX allowance
                                                 commensurate cost per ton levels, and                   combustion and post combustion                           price declined, NOx
                                                                                                                                                                                   NOX emissions rates at
                                                 these emissions reductions will make a                  technologies identified, EPA evaluated                   some SCR-controlled EGUs increased.
                                                 meaningful improvement in air quality                   whether emissions reduction potential                    For example, power sector data from
                                                 at the downwind receptors. Section                      from generation shifting at that                         2019 revealed that, in some cases,
                                                 V.B.2 of this document describes EPA's
                                                                                      EPA’s              representative dollar per ton level was                  operating units had SCR controls that
                                                 process for selecting specific non-EGU                  appropriate at this Step. Shifting                       had been idled or were operating
                                                 industries and emissions unit types                     generation to lower NOx
                                                                                                                               NOX emitting or                    partially, and therefore suggested that
                                                 included in this final rulemaking.                      zero-emitting EGUs may occur in                          there remained emissions reduction
                                                    The EPA notes that its Step 3 analysis               response to economic factors. As the                     potential through optimization.   198 The
                                                                                                                                                                                      optimization.198
                                                 for this FIP does not assess additional                 cost of emitting NOx
                                                                                                                           NOX increases, it                      EPA determined in the Revised CSAPR
                                                 emissions reduction opportunities from                  becomes increasingly cost-effective for                  Update that optimizing SCRs was a
                                                 mobile sources. The EPA continues to                    units with lower NOx
                                                                                                                            NOX rates to increase                 readily available approach for EGUs to
                                                 believe that title II of the CAA provides               generation, while units with higher NOxNOX               reduce NOx
                                                                                                                                                                          NOX emissions in the 12 states
                                                 the primary authority and process for                   rates reduce generation. Because the                     addressed by a FIP in that rulemaking.
                                                 reducing these emissions at the Federal                 cost of generation is unit-specific, this                Noticeable improvements in emissions
                                                 level. EPA's
                                                        EPA’s various Federal mobile                     generation shifting occurs incrementally                 rates at units with SCRs during the 2021
                                                 source programs, summarized in this                     on a continuum. For the reasons                          and 2022 compliance period further
                                                 section, have delivered and are                         explained in the following sections and                  affirm the ability of sources to quickly
                                                 projected to continue to deliver                        supported by technical information                       implement this mitigation strategy and
                                                 substantial nationwide reductions in                    provided in the EGU NOx NOX Mitigation                   to realize emissions reductions from
                                                 both VOCs and NOx NOX emissions; these                  Strategies Final Rule TSD included in                    doing so. This emissions reduction
                                                 reductions from final rules are factored                the docket for this final rule, the EPA                  measure is currently available at EGUs
                                                          Agency’s assessment of air
                                                 into the Agency's                                       determined that for the regional, multi-                 across the broader geography affected in
                                                 quality and contributions at Steps 1 and                state scale of this rulemaking, only EGU                 this final rulemaking (including in
                                                 2. Further, states are generally                        NOX emissions controls 1 and 3 are
                                                                                                         NOx                                                      states not previously affected by the
                                                 preempted from regulating new vehicles                  possible for the 2023 ozone season (fully                Revised CSAPR Update). The EPA thus
                                                 and engines with certain exceptions,                    operating existing SCRs and SNCRs).                      determines that SCR optimization, of
                                                 and therefore a question exists regarding               The EPA finds that it is not possible to                 both idled and partially operating
                                                 EPA’s authority to address such
                                                 EPA's                                                                                                            controls, is a viable mitigation strategy
                                                                                                           197 The EPA recognizes that mechanisms exist
                                                 emissions through such means when                         197                                                    for the 2023 ozone season.
                                                                                                         under title I of the CAA that allow for the regulation
                                                 regulating in place of the states under                 of the use and operation of mobile sources to reduce
                                                                                                                                                                     The EPA estimates a representative
                                                                             generally CAA
                                                 CAA section 110(c). See generally                       ozone-precursor emissions. These include specific        marginal cost of optimizing SCR
                                                 section 209. See also 86 FR 23099. As                   requirements that apply in certain ozone                 controls to be approximately $1,600 per
                                                                                                         nonattainment areas including motor vehicle              ton, consistent with its estimation in the
                                                 noted earlier, the EPA accounted for                    inspection and maintenance (I/M) programs,
                                                 mobile source emissions reductions                                                                               Revised CSAPR Update for this
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                         gasoline vapor recovery, clean-fuel vehicle
                                                 resulting from other federally                          programs, transportation control programs, and           technology. EPA's
                                                                                                                                                                                EPA’s EGU NOx
                                                                                                                                                                                            NOX Mitigation
                                                 enforceable regulatory programs in the                  vehicle miles traveled programs. See, e.g., CAA          Strategies Final Rule TSD for this rule
                                                                                                         sections 182(b)(3), 182(b)(4), 182(c)(3), 182(c)(4),     describes a range of cost estimates for
                                                 development of emissions inventories                    182(c)(5), 182(d)(1), 182(e)(3), and 182(e)(4). The
                                                 used to support analysis for this final                 EPA views these programs as well as others that
                                                 rulemaking, and the EPA does not                        meet CAA requirements can be effective and                  198     ‘‘Ozone Season Data 2018 vs. 2019’’
                                                                                                                                                                     198 See "Ozone                       2019" and
                                                                                                         appropriate in the context of the planning               ‘‘Coal-fired Characteristics and Controls"
                                                                                                                                                                  "Coal-fired                      Controls’’ at https://
                                                 evaluate any mobile source control                      requirements applicable to designated                    www.epa.gov/airmarkets/power-plant-data-
                                                                                                                                                                  www.epa.govlairmarkets/power-plant-data-
                                                 measures in its Step 3 evaluation in this               nonattainment areas.                                     highlights#OzoneSeason.



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00068   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM     05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023                Page 107 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                                  36721
                                                                                                                                                                                                          36721

                                                 this technology noting that the costs are               performance as it did in the Revised                  reasonable level of performance for
                                                 frequently lower than—and for the                       CSAPR Update. To estimate EGU NOx   NOX               optimizing existing SCRs at oil- and gas-
                                                 majority of EGUs, significantly lower                   reduction potential from optimizing, the              fired steam units and simple cycle units
                                                 than—this representative marginal cost.                 EPA considers the difference between                  (for which EPA determined that a 0.03
                                                 While the costs of optimizing existing,                 the non-optimized NOx NOX emissions rates             lb/mmBtu emissions rate reflected SCR
                                                 operational SCRs include only variable                  and an achievable operating and                       optimization) as well as at combined-
                                                 costs, the cost of optimizing SCR units                 optimized SCR NOx NOX emissions rate. To              cycle units (for which the EPA
                                                 that are currently idled considers both                 determine this rate, EPA evaluated                    determined that a 0.012 lb/mmBtu
                                                 variable and fixed costs of returning the               nationwide coal-fired EGU NOx NOX ozone               emissions rate reflected SCR
                                                 control into service. Variable and fixed                season emissions data from 2009                       optimization).
                                                 costs include labor, maintenance and                    through 2019 and calculated an average                   The EPA evaluated the feasibility of
                                                 repair, parasitic load, and ammonia or                  NOX ozone season emissions rate across
                                                                                                         NOx                                                   optimizing idled SCRs for the 2023
                                                 urea for use as a NOx
                                                                   NOX reduction reagent                 the fleet of coal-fired EGUs with SCR for             ozone season. Based on industry past
                                                 in SCR systems. Depending on a unit's
                                                                                     unit’s              each of these eleven years. The EPA                   practice, the EPA determined that idled
                                                 control operating status, the                           found it prudent to not consider the                  controls can be restored to operation
                                                 representative cost at the 90th percentile              lowest or second-lowest ozone season                  quickly (i.e., in less than 2 months).
                                                 unit (among the relevant fleet of coal                  NOX emissions rates, which may reflect
                                                                                                         NOx                                                   This timeframe is informed by many
                                                 units with SCR covered in this                          SCR systems that have all new                         electric utilities'
                                                                                                                                                                        utilities’ previous long-standing
                                                 rulemaking) ranges between $900 and                     components (e.g., new layers of                       practice of utilizing SCRs to reduce EGU
                                                 $1,700 per ton. The EPA performed an                    catalyst). Data from these systems are                NOX emissions during the ozone season
                                                                                                                                                               NOx
                                                 in-depth cost assessment for all coal-                  potentially not representative of ongoing             while putting the systems into
                                                 fired units with SCRs and found that for                             NOX emissions rates
                                                                                                         achievable NOx                                        protective lay-up during the non-ozone
                                                 the subset of SCRs that are already                     considering broken-in components and                  season months. For example, this was
                                                 partially operating, the cost of                        routine maintenance schedules.                        the long-standing practice of many
                                                 optimizing is often much lower than                     Considering the emissions data over the               EGUs that used SCR systems for
                                                 $1,600 per ton and is often under $900                  full time period from 2009–2019
                                                                                                                                 2009-2019 results             compliance with the NOx NOX Budget
                                                 per ton. The EPA anticipates the vast                   in a third-best rate of 0.079 pounds NOx
                                                                                                                                               NOX             Trading Program. It was quite typical for
                                                 majority of realized cost for compliance                per million British thermal units (lb/                SCRs to be turned off following the end
                                                 with this strategy to be better reflected               mmBtu). Therefore, consistent with the
                                                                                                         mrnBtu).                                              of the ozone season control period on
                                                 by the $900 per ton end of that range                   Revised CSAPR Update, where EPA                       September 30. These controls would
                                                 (reflecting the 90th percentile of EGUs                 identified 0.08 lb/mmBtu
                                                                                                                          lb/mrnBtu as a                       then be put into protective lay-up for
                                                 optimizing SCRs that are already                        reasonable level of performance for                   several months of non-use before being
                                                 partially operating) because this                       units with optimized SCR, the EPA                     returned to operation by May 1 of the
                                                 circumstance is considerably more                       finalizes a rate of 0.08 lb/mmBtu as the                                  season.200 Therefore,
                                                                                                                                                               following ozone season.299
                                                 common than EGUs that have ceased                       optimized rate for this rule. The EPA                 the EPA believes that optimization of
                                                 operating their SCR. This cost                          notes that half of the SCR-controlled                 existing SCRs is possible for the portion
                                                 distinction is reflected in the EPA's
                                                                                 EPA’s RIA                                   NOX emissions rate of             of the 2023 ozone season covered under
                                                                                                         EGUs achieved a NOx
                                                 cost estimates. When representing the                   0.064 lb/mmBtu
                                                                                                                lb/mrnBtu or lower over their                  this final rule. The recent successful
                                                 cost of optimization here, the EPA uses                                                                       implementation of this strategy for the
                                                                                                         third-best entire ozone season.
                                                 the higher value to reflect both                        Moreover, for the SCR-controlled coal                 Revised CSAPR Update Rule, and
                                                 optimization of partially operating and                                                                       corresponding fast improvement in SCR
                                                                                                         units that the EPA identified as having
                                                                  EPA’s analysis of this
                                                 idled controls. EPA's                                                                                         performance rates at units with
                                                                                                         a 2021 emissions rate greater than 0.08
                                                 emissions control is informed by the                                                                          optimization potential, provides further
                                                                                                         lb/mmBtu,
                                                                                                         lb/mrnBtu, the EPA verified that in prior
                                                 latest engineering modeling equations                                                                         supporting evidence of the viability of
                                                                                                         years, the majority (more than 90
                                                 used in EPA's
                                                          EPA’s 1PM
                                                                 IPM platform. These cost                                                                      this timeframe.
                                                                                                         percent) of these same units had                         The vast majority of SCR-controlled
                                                 and performance equations were                          demonstrated and achieved a NOx NOX
                                                 recently updated in the summer of 2021                                                                        units (nationwide and in the 23 linked
                                                                                                         emissions rate of 0.08 lb/mmBtu or less               states for which EPA is issuing a FIP for
                                                 in preparation for this rule, and                       on a seasonal or monthly basis. This
                                                 subsequently evaluated for the final rule                                                                     EGUs) are already partially operating
                                                                                                         further supports EPA's
                                                                                                                            EPA’s determination                these controls during the ozone season
                                                 in 2022 and determined to still be
                                                                                                         that 0.08 lb/mmBtu
                                                                                                                    lb/mrnBtu reflects a reasonable            based on reported 2021 and 2022
                                                 appropriate. The description and                        emissions rate for representing SCR
                                                 development of the equations are                                                                              emissions rates. Notably, the higher
                                                                                                         optimization at coal steam units in                   ozone season NOxNOX allowance price
                                                 documented in EGU NOx  NOX Mitigation
                                                                                                         identifying uniform control stringency.               observed in 2022 resulted in more units
                                                 Strategies Final Rule TSD and                           This emissions rate assumption of 0.08
                                                 accompanying documents.      199 They are
                                                                  documents.199                                                                                operating their controls closer to their
                                                                                                         lb/mmBtu
                                                                                                         lb/mrnBtu reflects what those units                   potential and bringing collective
                                                 also implemented in an interactive
                                                                                                         would achieve on average when                         emissions from those 12 states closer to
                                                 spreadsheet tool called the Retrofit Cost               optimized, recognizing that individual
                                                 Analyzer and applied to all units in the                                                                      the 2023 emissions budgets for those
                                                                                                         units may achieve lower or higher rates               states in this final rule, accordingly.
                                                 fleet. These materials are available in
                                                                                                         based on unit-specific configuration and
                                                 the docket for this action.                             dispatch patterns. Units historically
                                                    The EPA is using the same                                                                                    200 In the 22-state CSAPR Update region, 2005
                                                                                                                                                                 2001n
                                                                                                         performing at, or better, than this rate of                 NOX emissions data suggest that 125 EGUs
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                                                                               EGU NOx
                                                 methodology to identify SCR                                                                                   operated SCR systems in the summer ozone season
                                                                                                         0.08 lb/mmBtu are assumed to continue
                                                                                                                                                               while idling these controls for the remaining 7 non-
                                                       The CSAPR Update estimated $1,400 per ton
                                                   199 The                                               to operate at that prior performance                  ozone season months of the year. Units with SCR
                                                 as a representative cost of turning on idled SCR        level.                                                were identified as those with 2005 ozone season
                                                 controls. EPA used the same costing methodology            Given the magnitude and duration of                         NOX rates that were less than 0.12 lb/
                                                                                                                                                               average NOx
                                                 while updating for input cost increases (e.g., urea                                                           mmBtu
                                                                                                                                                               mmfitu and 2005 average non-ozone season NOx  NOX
                                                 reagent) to arrive at $1,600 per ton in the final
                                                                                                         the air quality problems addressed by                 emissions rates that exceeded 0.12 lb/mmBtu
                                                                                                                                                                                                    lb/mml3tu and
                                                 Revised CSAPR Update (while also updating from          this rulemaking, the EPA also applied                 where the average non-ozone season NOx NOX rate was
                                                 2011 dollars to 2016 dollars).                          the same methodology to identify a                    more than double the ozone season rate.



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00069   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 108 of 430
                                                 36722
                                                 36722                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 Existing SCRs operating at partial                      data included impacts from COVID-19
                                                                                                                                        COVID–19               what those units would achieve when
                                                 capacity still provide functioning,                     pandemic shutdowns (such as atypical                  optimized. Some of these units may
                                                 maintained systems that may only                        electricity demand patterns) which                    achieve rates that are lower than 0.08 lb/
                                                 require an increased chemical reagent                   complicate interpretations of typical                 mmBtu, and some units may operate
                                                 feed rate (i.e., ammonia or urea) up to                 EGU emissions performance.                            above that rate based on unit-specific
                                                 their design potential and catalyst                     Additionally, EPA believes that in this               configuration and dispatch patterns. In
                                                 maintenance for mitigating NOx NOX                                  unit’s retirement in 2020 or
                                                                                                         context, a unit's                                     other words, EPA is using this
                                                 emissions; such units may require                       2021 does not obviate the usefulness of               assumption as the average performance
                                                 increased frequency or quantity of                      its prior SCR operational data for                    of a unit that optimizes its SCR,
                                                 deliveries, which can be accomplished                   assessing the emissions control                       recognizing that heterogeneity within
                                                 within a few weeks. In many cases,                      performance of other existing SCRs                    the fleet will likely lead some units to
                                                 EGUs with SCR have historically                         across the fleet. Consequently, EPA is                overperform and others to underperform
                                                 achieved more efficient NOxNOX removal                  continuing to use the same value of the               this rate. Moreover, a review of unit-
                                                 rates than their current performance and                0.08 lb/mmBtu emissions rate                          specific historical data indicates that
                                                 can therefore simply revert to earlier                  calculated from the 2009–2019
                                                                                                                                2009-2019 data set             this is a reasonable assumption: not
                                                 operation and maintenance plans that                    identified at the time of the final                   only has the group of units with SCR
                                                 achieved demonstrably better SCR                        Revised CSAPR Update Rule in this                     optimization potential demonstrated
                                                 performance.                                                          EPA’s analysis focuses on
                                                                                                         rulemaking. EPA's                                     they can perform at or better than the
                                                    In the 12 states subject to this control             the third best ozone season average rate              0.08 lb/mmBtu rate on average, over 90
                                                 stringency in the Revised CSAPR                         because EPA believes that the first- or               percent of the individual units in this
                                                 Update, the EPA observed significant                    second-best rate, consistent with its                 group have already met this rate on a
                                                 immediate-term improvements in SCR                      CSAPR Update final rule and in the                    seasonal and/or monthly basis based on
                                                 performance in the first ozone season                   Revised CSAPR Update, could give                      their reported historical data.
                                                 following finalization of that rule, as                 undue weight to the emissions control                                   EPA’s examination of
                                                                                                                                                                  Additionally, EPA's
                                                 evidenced in particular by the sharp                    performance of new SCRs in their first                units experiencing SCR performance
                                                 drop in emissions rate at Miami Fort                    year of service and their corresponding               deterioration included notable instances
                                                 unit 7 (see EGU NOxNOX Mitigation                       newer SCR components. It does not                     of poor NOx
                                                                                                                                                                        NOX control at increased
                                                 Strategies Final Rule TSD). For instance,               necessarily reflect achievable ongoing                capacity factors. As an example, Miami
                                                 in June of 2021—within months of the                    NOX emissions rates at relatively older
                                                                                                         NOx                                                   Fort Unit 7 had considerably more
                                                 Revised CSAPR Rule being finalized—                     SCRs. The third-lowest season was                     hours of operation at a 70 to 79 percent
                                                 Miami Fort Unit 7 and Unit 8 (which                     selected because it represents a time                 capacity factor in 2019 compared to
                                                 had substantial SCR optimization                        when the unit was most likely                         previous years. However, Miami Fort
                                                 potential) were able to reach levels of                 consistently and efficiently operating its            Unit 7’s                 NOX emissions
                                                                                                                                                                     7's ozone-season NOx
                                                 0.07 lb/mmBtu of NOxNOX (a greater than 50              SCR in a manner representative of                          substantially increased in 2019
                                                                                                                                                               rate substantially
                                                 percent reduction from where they had                   sustained future operation.                           compared to previous years. This SCR
                                                 operated the prior year during the same                    Comment:
                                                                                                            Comment: Other commenters                          performance deterioration runs counter
                                                 month). Such empirical data further                     suggested that EPA should apply a                     to the notion that an increase in
                                                 illustrates the viability of this mitigation                    NOX emissions rate than 0.08 lb/
                                                                                                         higher NOx                                            emissions rates is purely driven by
                                                 strategy for the 2023 control period in                 mmBtu to existing SCR at coal EGUs                    reduced capacity factor, as suggested by
                                                 response to this rule.                                  premised on considerations such as: a                 commenters. This substantial
                                                    Comment:
                                                    Comment: EPA received comments                       generally reduced average capacity                    deterioration in the median emissions
                                                 supporting the 0.08 lb/mmBtu                            factor for coal units in recent years, the            rate performance is observable even
                                                 emissions rate as achievable and,                       age of the boiler, coal rank (bituminous              when comparing specific hours in 2019
                                                 according to some commenters,                           or subbituminous), or other unit-specific             to specific hours in prior years when the
                                                                      control’s potential.
                                                 underestimate the control's                             considerations that commenters claim                  unit operated in the same 70 to 79
                                                 Some of these commenters went on to                     make the 0.08 lb/mmBtu rate                           percent capacity factor range. In fact, in
                                                 provide their own analysis                              unattainable for a specific unit.                     2019 the unit experienced notable
                                                 demonstrating that the 0.08 lb/mmBtu                       Response: EPA did not find sufficient
                                                                                                            Response:                                          emissions rate increases from prior
                                                 was achievable not only on average for                  justification to apply a higher average               years across multiple capacity factor
                                                 the non-optimized fleet, but also for                   emissions rate than 0.08 lb/mmBtu. EPA                ranges as low as 40 percent to as high
                                                 these individual units and that the                     found that some commenters were                       as 80 percent. This type of data
                                                 resulting state emissions budgets were                  misunderstanding or misconstruing                     indicates instances where the increase
                                                 likewise achievable. Some commenters                          EPA’s assumption and
                                                                                                         both EPA's                                            in emissions rate (and emissions) is not
                                                 suggested that the rate should be lower                 implementation mechanism as a unit-                   necessitated by load changes but is more
                                                 and premised on EPA using the first- or                 level requirement for every SCR-                      likely due to the erosion of the existing
                                                 second-best year instead of the third                   controlled unit instead of a reflection of            incentive to optimize controls (i.e., the
                                                 best year of SCR performance. Some                      a fleet-wide average based on a third-                ozone-season NOxNOX allowance price has
                                                 commenters observed that using the                                      commenters’
                                                                                                         best rate. The commenters'                            fallen so low that unit operators find it
                                                 same methodology, but omitting SCR                      observation—that 0.08 lb/mmBtu may                    more economic to surrender additional
                                                 units that have since retired, could                    be difficult for some units to achieve or             allowances instead of continuing to
                                                 deliver an even lower SCR performance                   may not be a preferred compliance                     operate pollution controls at an
ddrumheller on DSK120RN23PROD with RULES2




                                                 benchmark rate.                                         strategy for a given unit given its                   optimized level).
                                                    Response: The EPA notes that                         dispatch levels—does not contradict                      EPA observed this pattern in other
                                                 updating the inventory of coal-fired                    EPA’s assumption, but rather supports
                                                                                                         EPA's                                                 units identified in this rulemaking as
                                                 EGUs to reflect recent retirements and to               its methodology and assumptions. As                   having significant SCR optimization
                                                 include data reported since 2019 (e.g.,                 EPA pointed out in the proposed rule,                 emissions reduction potential. In the
                                                 2009–2021)
                                                 2009-2021) would provide a lower                        this fleet-level emissions rate                       accompanying Emissions Data TSD for
                                                 value of 0.071 lb/mmBtu. However, EPA                   assumption of 0.08 lb/mmBtu for non-                  the supplemental notice that EPA
                                                 acknowledges that 2020 operational                      optimized units reflects, on average,                 recently released in a proceeding to


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00070   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023                Page 109 of 430
                                                                      Federal Register / Vol. 88, No. 107/Monday,
                                                                                                      107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules                                                                  36723

                                                 address a recommendation submitted to NOx  NOX emissions rates across operating                               performance declines at those lower
                                                 EPA by the Ozone Transport                 levels than in the past, particularly at                           operating levels. However, hourly data
                                                 Commission under CAA section 184(c), mid-operating levels.’’         201 That hourly
                                                                                                             levels." 201                                      indicate that maintaining consistent
                                                             ‘‘In their years with the
                                                 EPA noted, "In                             data analysis, included in this docket,                            SCR performance at lower capacity
                                                 lowest average ozone season NOx
                                                                               NOX          controls for operating level changes and                           factors is possible. For example, the
                                                 emissions rates in this analysis, these    still finds there to be instances across                           unit-level performance data in Figure 2
                                                 EGUs had relatively low NOxNOX emissions multiple SCR-controlled units where                                  to section VI.B of this document show
                                                 rates at mid- and high-operating levels;   hourly emissions rates are increasing                              the emissions rate at a coal-fired EGU
                                                 moreover, there was little variability in  even when compared to the same load                                with existing SCR staying relatively low
                                                 NOX emissions rates at these operating
                                                 NOx                                        levels in previous years.                                          (consistent with our optimization
                                                 levels. However, during the 2019 ozone        Some commenters have alleged that                               assumption of 0.08 lb/mmBtu) and
                                                 season, these EGUs had higher NOxNOX       in recent years coal-fired EGUs have                               stable across a wide range of capacity
                                                 emissions rates and greater variability in declined in capacity factor and that SCR                           factors.202
                                                                                                                                                                       202




                                                         Figure 2 to section V.B.La: Example of Consistently Low Unit-level Emissions Rate During
                                                         Periods of Varying Capacity Factor




                                                                              20%

                                                                                3%




                                                   Furthermore, most recent data from                    0.25 lb/mmBtu in the 2021 season). This               performance may not be available at all
                                                 2022 illustrates that cycling units do                  2022 improvement in SCR operation                     units with optimization potential. These
                                                 have the ability to adjust cycling                      occurred during a period when                         commenters also disagree with the EPA
                                                 patterns in a manner that enables them                  allowance prices increased relative to                finding that SCRs can consistently
                                                 to maintain a lower emissions rate                      prior years, creating an incentive for                maintain a 0.08 lb/mmBtu rate over
                                                 throughout the season while still                       potential emissions reductions through                time.
                                                 achieving a load cycling pattern at the                 SCR optimization.                                        Response: EPA reviewed the data and
                                                                                                                                                                  Response:
                                                 unit. For example, the SCR-controlled                      Comment:
                                                                                                            Comment: EPA also received                         its methodology and evaluated it against
                                                 Conemaugh Unit 2 in Pennsylvania                        comment suggesting it should deviate                  its intention to identify a technology-
                                                 adjusted operating patterns in 2022 to                  from its approach in the CSAPR Update                 specific representative emissions rate
                                                 have a slightly higher minimum load in                  of using a nationwide data set of all SCR             for SCR optimization. In doing so, EPA
                                                 most hours (maintaining a range of 550                  controlled coal units to establish a third            did not identify any need to make the
                                                 MW–900 MW for most hours as
                                                 MW-900                                                  best year, and instead limit the dataset              suggested change. EPA is interested in
                                                 opposed to 450 MW-900
                                                                  MW–900 MW observed                     to either just the covered states, or—in              the performance potential of a
                                                 in 2021). This change in minimum load,                  the case of some commenters—just to                   technology, and a larger dataset
                                                 and corresponding minimum operating                     the baseline years of those units at                  provides a superior indication of that
                                                 temperature, enabled the unit to                        which EPA is identifying optimization                 potential as opposed to a smaller, state-
ddrumheller on DSK120RN23PROD with RULES2




                                                 maintain emissions rates in the 0.05 lb/                potential. They claim the current                     limited dataset. Moreover, EPA's
                                                                                                                                                                                             EPA’s use of
                                                 mmBtu to 0.10 lb/mmBtu range for most                   methodology may capture extremely                     the third best year (as opposed to best)
                                                 of the 2022 season (as opposed to NOx
                                                                                     NOX                 efficient SCR performance years at the                from its baseline period results in an
                                                 emissions rates that regularly exceeded                 best performing units and that level of               average optimization level that is robust
                                                   201 ‘‘Analysis of Ozone Season NOx
                                                   201 "Analysis                  NOX Emissions          2020. Available at https://www.epa.govIsites/
                                                                                                                            https://www.epa.gov/sites/           202
                                                                                                                                                                 202 EPA, Air Markets Program Data. Available at
                                                 Data for Coal-Fired EGUs in Four Mid-Atlantic           production/files/2020-12/documents/184c_
                                                                                                         production/files/2020-12/documents/184c                www.epa.gov/ampd.
                                                                                                                                                                                                                   ER05JN23.000</GPH>




                                                 States,’’
                                                 States," EPA Clean Air Markets Division. December       emission_data_tsd.pdf.



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00071   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023                Page 110 of 430
                                                 36724
                                                 36724                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 to the commenters’
                                                         commenters' concern that EPA                    it would remain one of the most widely                b. Installing State-of-the-Art NOx
                                                                                                                                                                                               NOX
                                                 should not overstate the fleetwide                      available, widely practiced, and lowest               Combustion Controls
                                                 representative optimization level. Prior                cost mitigation measures with                            The EPA estimates that the
                                                                    EPA’s methodology and
                                                 experience with EPA's                                   meaningful downwind air quality                       representative cost of installing state-of-
                                                 program has borne out empirical                         benefit. Appendix B of the EGU NOx   NOX              the-art combustion controls is
                                                 evidence of its reasonableness. In both                 Mitigation Strategies Final Rule TSD                  comparable to, if not notably less than,
                                                 the CSAPR Update and in Revised                         further addresses commenters’
                                                                                                                              commenters' concerns             the estimated cost of optimizing existing
                                                 CSAPR Update rule, EPA appropriately                    as it provides a variety of sensitivities             SCR (represented by $1,600 per ton).
                                                 relied on the largest dataset possible                  showing cost per ton levels under a                   State-of-the-art combustion controls
                                                 (i.e., nationwide) to derive technology                 variety of different input assumptions                such as low-NO
                                                                                                                                                                        low-NOx  X burners (LNB) and
                                                 performance averages that it then                       (including higher material and reagent                over-fire air (OFA) can be installed or
                                                 applied respectively to the CSAPR                       cost). It supports the continued                      updated quickly and can substantially
                                                 Update 22-state region and the Revised                  inclusion of this technology in the rule              reduce EGU NOxNOX emissions.
                                                 CSAPR Update’s
                                                           Update's 12-state region. EPA                 even in the event that higher reagent                 Nationwide, approximately 99 percent
                                                 repeats that successful approach in this                costs extend into compliance years.                   of coal-fired EGU capacity greater than
                                                 rule. Finally, as noted in the preceding                    Comment:
                                                                                                             Comment: While many commenters                    25 MW is equipped with some form of
                                                 paragraphs, in affirming the                            supported the feasibility of 2023 ozone-              combustion control; however, the
                                                 reasonableness of this approach, EPA                    season implementation by noting the                   control configuration or corresponding
                                                 examined the historical reported data                   ‘‘immediate availability"
                                                                                                         "immediate      availability’’ of SCR                 emissions rates at a small portion of
                                                 (pre-2021) for the units in the states                  optimization, other commenters argued                 those units (including units in those
                                                 with SCR optimization potential and                     that the engineering, procurement, and                states covered in this action) indicate
                                                 found the nationwide derived average                    other steps required for SCR                          they do not currently have state-of-the-
                                                 appropriate and consistent with                         optimization were not feasible given the              art combustion control technology. For
                                                 demonstrated capability and                             anticipated limited window between                    this rulemaking, the Agency re-
                                                 performance of units within those                       rule finalization and the start of the                evaluated its NOx
                                                                                                                                                                              NOX emissions rate
                                                 states. That is, the vast majority of units             2023
                                                                                                         2023 ozone season.
                                                                                                                                                               assumptions for upgrading existing
                                                 to which this resulting emissions rate                      Response: There is ample evidence of
                                                                                                             Response:                                         combustion controls to state-of-the-art
                                                 assumption was being applied had                        units restoring their optimal                         combustion control. The EPA is
                                                 demonstrated the ability to achieve this                performance within a two-month
                                                                                                                                                               maintaining its determination that NOxNOX
                                                 rate in some prior year for an extended                 timeframe. Not only do units reactivate               emissions rates of 0.146 to 0.199 lb/
                                                 monthly or seasonal basis. This                         SCR performance level at the start of an
                                                                                                                                                               mmBtu can be achieved on average
                                                 information is discussed further in the                 ozone-season when tighter emissions                   depending on the unit's
                                                                                                                                                                                    unit’s boiler
                                                 EGU NOxNOX Mitigation Strategies Final                  limits begin, but unit-level data also
                                                                                                                                                               configuration,  203 and, once installed,
                                                                                                                                                               configuration,203
                                                 Rule TSD in the docket.                                 shows instances where sources have                    reduce NOx
                                                                                                                                                                        NOX emissions at all times of
                                                    Comment:
                                                    Comment: Some commenters                             demonstrated the ability to quickly alter
                                                                                                                                                               EGU operation.
                                                 suggested the price of SCR optimization                 their emissions rate within an ozone-                    These assumptions are consistent
                                                 is higher than the $1,600 per ton figure                season and even within the same day in                with the Revised CSAPR Update. They
                                                 proposed due to current market                          some cases. Moreover, this emissions                  are further discussed in the EGU NOxNOX
                                                 conditions for aqueous ammonia or                       control is familiar to sources and was                Mitigation Strategies Final Rule TSD. In
                                                 other input prices.                                     analyzed and included in the Revised                  particular, the EPA is finalizing, as
                                                    Response: EPA provides a                             CSAPR Update emissions budgets                        proposed, the application of the 0.199
                                                 representative cost for this mitigation                 finalized in 2021 and the CSAPR                       lb/mmBtu emissions rate assumption for
                                                 technology which is anticipated to                      Update emissions budgets finalized in                 both boiler types (tangentially and wall
                                                 reflect the cost, on average, throughout                2016. With this experience, and notice                fired). EPA's
                                                                                                                                                                       EPA’s analysis calculated average
                                                 the compliance period for the rule.                     through the March 2022 proposed rule,                 emissions rates of 0.199 lb/mmBtu for
                                                 While there may be volatility in the                    as well as over two months from final                 combustion controls on dry bottom wall
                                                 market during that period where the                     rule to effective date, the viability of this         fired units and 0.146 lb/mmBtu for
                                                 price falls above or below the single                   emissions control for the 2023 ozone                  tangentially fired units. However, many
                                                                                   EPA’s
                                                 representative threshold value, EPA's                   season is consistent with the 2-week to               of the likely impacted units burn
                                                 EGU NOxNOX Mitigation Strategies Final                  2-month timeframe that EPA identified                 bituminous coal, and the 0.146 lb/
                                                 Rule TSD explains how the                               as reasonable in the CSAPR Update,                    mmBtu nationwide average for
                                                 representative cost is derived and is                   Revised CSAPR Update, and in this                     tangentially-fired (inclusive of
                                                 inclusive of consultation and vetting by                rulemaking. Similar to prior rules,                   subbituminous units) appears to be
                                                 third party air pollution control                       commenters provide some unit-level                    below the demonstrated emissions rate
                                                 consulting groups. Commenters did not                   examples where it has taken longer.                   of state-of-the-art combustion controls
                                                 demonstrate that observed 2021                          Also similar to those prior rules, EPA                for bituminous coal units of this boiler
                                                 elevated prices amid market volatility                  does not find those unit-level examples               type. Therefore, EPA's
                                                                                                                                                                                  EPA’s assignment of a
                                                 would continue into the future                          compelling in the context of its fleet                0.199 lb/mmBtu emissions rate for
                                                 compliance periods discussed in this                    average assumptions and in the                        combustion controls at all affected unit
                                                 rule. Moreover, the selection of the                    implementation context of a trading
                                                                                                                                                               types is robust to current and future coal
                                                 mitigation technology is reflective of a                program which provides compliance
                                                                                                                                                               choice at a unit.
ddrumheller on DSK120RN23PROD with RULES2




                                                 variety of factors including reduction                  alternatives in the event a specific unit                The EPA has previously examined the
                                                 potential and air quality impact. A                     prefers more time to implement a given                feasibility of installing combustion
                                                 higher cost (commenter suggests up to                   control measure. As noted in Wisconsin,
                                                                                                                                            Wisconsin,         controls and found that industry had
                                                 $3,800 per ton) would not change EPA's
                                                                                      EPA’s              ‘‘.. . . all those anecdotes show is that
                                                                                                         ,`                                                    demonstrated ability to install state-of-
                                                 determination that optimizing already                   installation can drag on when
                                                 existing SCRs is an appropriate                         companies are unconstrained by the                     2°3 Details of EPA’s
                                                                                                                                                                203            EPA's assessment of state-of-the-art
                                                 mitigation strategy for Step 3 emissions                ticking clock of the law.’’
                                                                                                                                law." 938 F.3d at              NOX combustion controls are provided in the EGU
                                                                                                                                                               NOx
                                                 reduction analysis in this rulemaking as                330.                                                  NOX Mitigation Strategies Final Rule TSD.
                                                                                                                                                               NOx



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00072   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023                 Page 111 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                                    36725
                                                                                                                                                                                                            36725

                                                 the-art LNB controls on a large unit (800               lower capacity factor is assumed. 99                  rate would require from the specific
                                                 MW) in under six months when                            percent of units have some form of                    segment of the fleet identified as having
                                                  including the pre-installation phases                  combustion controls, indicating the                   this mitigation measure available. Here
                                                  (design, order placement, fabrication,                 widespread cost-effectiveness of this                 too, EPA found that the effective percent
                                                                 204 In prior rules, the EPA
                                                 and delivery).204                                       control. See the EGU
                                                                                                                           EGU NOx  X Mitigation               reduction for the identified fleet
                                                 has documented its own assessment of                    Strategies Final Rule TSD for additional              (inclusive of their existing coal rank
                                                  combustion control timing installation                 details.                                              choice) is well within the historical
                                                 as well as evaluated comments it                           At proposal EPA assumed that                       performance range for this technology.
                                                  received regarding installation of                     emissions reductions from combustion                  Therefore, EPA is finalizing the
                                                  combustion controls from the Institute                 control upgrades at affected EGUs in                  combustion control upgrade
                                                                Companies.205 Those
                                                 of Clean Air Companies.205                              states subject to the Revised CSAPR                   performance assumption of 0.199 lb/
                                                  comments provided information on the                   Update program could occur by 2023                    mmBtu as appropriate representative
                                                  equipment and typical installation time                given that those EGUs may have already                average performance rate for this
                                                  frame for new combustion controls,                     begun pursuing such upgrades in                       technology and robust to different boiler
                                                 accounting for all steps. To date, EPA                  response to that previous rule. However,              types and coal ranks.
                                                 has found it generally takes between 6–   6-            EPA does not have data to confirm that
                                                                                                         presumption, and hence EPA is                         c. Optimizing Already Operating SNCRs
                                                 8 months on a typical boiler—covering                                                                         or Turning on Idled Existing SNCRs
                                                 the time through bid evaluation through                 determining in this final rule that
                                                 start-up of the technology. The                         combustion control upgrades for all                      Optimizing already operating SNCRs
                                                  deployment schedule is repeated here                   affected EGUs, regardless of whether                  or turning on idled existing SNCRs can
                                                 as:                                                     they were previously subject to the                   also reduce EGU NOxNOX emissions
                                                                                                         Revised CSAPR Update program, should                  quickly, using investments in pollution
                                                 •• 4–8
                                                     4-8 weeks—bid evaluation and
                                                                                                         be considered available by the 2024                   control technologies that have already
                                                     negotiation
                                                 •• 4–6
                                                     4-6 weeks—engineering and                           ozone season, consistent with the                     been made. Compared to no post-
                                                     completion of engineering drawings                  deployment schedule noted in this                     combustion controls on a unit, SNCRs
                                                 •• 2 weeks—drawing review and                           section.                                              can achieve a 25 percent reduction on
                                                     approval from user                                     Comment:
                                                                                                            Comment: Some commenters                           average in EGU NOxNOX emissions (with
                                                 •• 10-12
                                                     10–12 weeks—fabrication of                          suggested that EPA, in its modeling for               sufficient reagent). They are less capital
                                                     equipment and shipping to end user                  the proposed rule, overestimated the                  intensive but less efficient at NOx
                                                                                                                                                                                               NOX
                                                     site                                                ability of combustion control                         removal than SCRs. These controls are
                                                 •• 2–3
                                                     2-3 weeks—installation at end user                  technologies to achieve very low NOxNOX               in use to some degree across the U.S.
                                                     site                                                emissions rates. The commenters claim                 power sector. In the 22 linked states
                                                 •• 1 week—commissioning and start-up                    EPA’s assumptions are derived from
                                                                                                         EPA's                                                 with EGU reductions identified in this
                                                     of technology                                       projected NOx
                                                                                                                    NOX emissions rates based on               final rule, approximately 11 percent of
                                                     Given the referenced timeframe of                   ideal circumstances for NOx
                                                                                                                                   NOX emissions               coal-fired EGU capacity is equipped
                                                 approximately 6 to 8 months to                          reductions, including combinations of                 with SNCR.206 Recent power sector data
                                                  complete combustion control                            fuel composition and unit design that                 suggest that, in some cases, SNCR
                                                  installation in the region, the EPA is                 are not typical and should not be                     controls have been operating less in
                                                  finalizing that installation of state-of-              extrapolated to the national inventory.               2021 relative to performance in prior
                                                                                                            Response: EPA's
                                                                                                            Response:  EPA’s emissions                         years. For instance, EPA reviewed the
                                                 the-art combustion controls is a readily
                                                                                                         performance rate for state-of-the-art                 last five years of performance data for
                                                 available approach for EGUs to reduce
                                                  NOX emissions by the start of the 2024
                                                 NOx                                                     combustion controls is derived from                   all the units with SNCR optimization
                                                  ozone season. More details on these                    historical data and takes both boiler                 potential in its Engineering Analysis. It
                                                                                                         type and coal choice into account. EPA                found that in 2021—the most recent
                                                  analyses can be found in the EGUEGU NOx
                                                                                        NOX
                                                                                                         reviewed historical data and identified               year reviewed—that the weighted
                                                  Mitigation Strategies Final Rule TSD.
                                                     The cost of installing state-of-the-art             the average emissions rates for units                 average ozone season emissions rate for
                                                  combustion controls per ton of NOx NOX                 with this technology already in place. It             these units was higher than the prior
                                                  reduced is dependent on the                            segmented this analysis by boiler type                three years (indicating some
                                                  combustion control type and unit type.                 (dry-bottom wall-fired boiler and                     deterioration in average performance).
                                                  The EPA estimates the cost per ton of                  tangentially-fired, and further                       Moreover, a unit level review illustrated
                                                                                                         segmented by coal rank to assess the                  that 80 of the 107 units had performed
                                                 state-of-the-art combustion controls to
                                                                                                         average performance among these                       better in a prior year by an average of
                                                 be $400 per ton to $1,200 per ton of
                                                  NOX removed using a representative
                                                                                                         varying parameters. As explained in the               13 percent—indicating substantial
                                                 NOx
                                                                                                         EGU NOx
                                                                                                         EGU    NOX Mitigation Strategies Final                optimization potential.  207
                                                                                                                                                                              potentia1.20 7
                                                  capacity factor of 85 percent. This cost
                                                                                                         Rule TSD, EPA chose an emissions rate                    The EPA determined that optimizing
                                                  fits well within EPA's
                                                                   EPA’s representative
                                                                                                         for which it verified accommodated                    already operating SNCRs or turning on
                                                  cost threshold observed for SCR
                                                                                                         (i.e., was greater than or equal to) the              idled SNCRs is an available approach
                                                  optimization and combustion controls                                                                         for EGUs to reduce NOx
                                                                                                                                                                                    NOX emissions, has
                                                                                                         average performance rate identified
                                                  (of $1,600 per ton) which would
                                                                                                         above for each boiler configuration with              similar implementation timing to
                                                  accommodate combustion control                         state-of-the-art combustion controls and              restarting idled SCR controls (less than
                                                  upgrade even under scenarios where a                                                                         2 months for a given unit), and therefore
                                                                                                         resulted in reductions consistent with
                                                                                                                                                               could be implemented in time for the
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                              technology’s assumed percent
                                                                                                         the technology's
                                                   204 The EPA finds that, generally, the installation
                                                   204

                                                 phase of state-of-the-art combustion control            reduction potential when applied to this              2023 ozone season. In this final rule, the
                                                 upgrades—on a single-unit basis—can be as little as     subset of units. It also assessed whether             EPA is determining that this emissions
                                                 4 weeks to install with a scheduled outage (not         the rate had been demonstrated by both
                                                 including the pre-installation phases such as           subbituminous and bituminous coal                       206 https://www.epa.gov/airmarkets/national-
                                                                                                                                                                 2°6 https://www.epa.govlairmarkets/national-
                                                 permitting, design, order, fabrication, and delivery)                                                         electric-energy-data-system-needs-v6.
                                                 and as little as 6 months considering all               units with state-of-the-art combustion                  207     ‘‘Historical Emission Rates for Units with
                                                                                                                                                                 207 See "Historical
                                                 implementation phases.                                  controls. EPA further assessed the                                          Potential’’ in the docket for this
                                                                                                                                                               SNCR Optimization Potential"
                                                   205 EPA–HQ–OAR–2015–0500–0093.
                                                   206 EPA-HQ-OAR-2015-0500-0093.                        percent reduction that achieving this                 rulemaking.



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00073   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 112 of 430
                                                 36726
                                                 36726                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 control measure is available beginning                  hookup is as little as 16 months                      program will encourage these EGUs to
                                                 in the 2023 ozone season.                               including pre-contract award steps for                determine and adopt emissions
                                                    Using the Retrofit Cost Analyzer                     an individual power plant installing                  reduction measures (including SNCR or
                                                 described in the EGU
                                                                   EGU NOx
                                                                         NOX Mitigation                  controls on more than one boiler.                     SCR) as soon as possible to reduce their
                                                 Strategies Final TSD, the EPA estimates                 However, SNCR retrofits have less                     allowance holding compliance burden.
                                                 a representative cost of optimizing                     pollution reduction potential than SCRs,              By scheduling SNCR-related emissions
                                                 SNCR ranging from approximately                         and as explained further in the next                  reductions potential for the 2026 ozone
                                                 $1,800 per ton (for partially operating                 section, the EPA is identifying the                   season, the EPA preserves the
                                                 SNCRs) to $3,900 per ton (for idled                     retrofit of new SCR rather than SNCR as               opportunity for considerably superior
                                                 SNCRs). For existing SNCRs that have                    a strategy for larger steam units due to              emissions reduction potential from
                                                 been idled, unit operators may need to                  this lower removal efficiency. This
                                                 restart payment of some fixed and                       approach respects empirical evidence
                                                                                                                                                               these EGUs should they select SCR
                                                 variable operating costs including labor,                                                                     retrofit instead, while still requiring
                                                                                                         that larger coal-fired EGUs which
                                                 maintenance and repair, parasitic load,                 installed post-combustion NOxNOX control              post-combustion control emissions
                                                 and ammonia or urea. The EPA                            technology have overwhelmingly                        reduction potential ahead of the next
                                                 determined that the majority of units                   chosen SCRs over SNCRs. Even for                      attainment date.
                                                 with existing SNCR optimization                         smaller units less than 100 MW                           Comment:
                                                                                                                                                                  Comment: Some commenters argued
                                                 potential were already partially                        identified as potential candidates for                that the upper range of SNCR NOx NOX
                                                 operating their controls. Therefore, the                SNCR technology, the EPA does not                     removal performance (40 percent)
                                                 EPA finalizes a representative cost of                  want to preclude those units from                     referenced by EPA is optimistic for
                                                 $1,800 per ton for SNCR optimization as                 pursuing SCR in lieu of SNCR.                         many boilers.
                                                 this value best reflects the                               Therefore, in this final rule the EPA
                                                 circumstances of the majority of the                    defines the availability of emissions                   Response: EPA evaluated both actual
                                                 affected EGUs with SNCR.                                reductions from post-combustion                       performance and engineering literature
                                                                                                         control installation to be in 2026, the               regarding SNCR retrofit technology and
                                                 d. Installing New SNCRs                                                                                       found both sources supported the range
                                                                                                         same period as the start of SCR-based
                                                   The EPA evaluated potential                           reductions becoming available, to allow               of reduction estimates cited by EPA.
                                                 emissions reductions and associated                     enough time for eligible EGUs to choose               (Refer to the EGLI
                                                                                                                                                                             EGU NOx
                                                                                                                                                                                   NOX Mitigation
                                                 costs from retrofitting EGUs with new                   between SCR or SNCR. SNCR                             Strategies Final Rule TSD in the docket
                                                 SNCR post-combustion controls at                        installation shares similar                           for this rulemaking for additional
                                                 steam units lacking such controls,                      implementation steps with and also                    information.) Moreover, for purposes of
                                                 which can achieve a 25 percent NOxNOX                   need to account for the same regional                 calculating state budgets, EPA assumes
                                                 reduction on average. New SNCR                          factors as SCR installations, which are               25 percent reduction from this
                                                 technology provides owners with a                       described in the next section. While the              technology—not 40 percent—which
                                                 relatively less capital-intensive option                EPA is determining that at least 16                   reflects a value well within the range of
                                                 for reducing NOx
                                                               NOX emissions compared                    months would be needed to complete                    documented performance for this
                                                 to new SCR technology, albeit at the                    all necessary steps of SNCR                           technology. Remaining comments on
                                                 expense of higher operating costs on a                  development and installation, an                      SNCR performance potential are
                                                 per-ton basis and less total emissions                  eligible EGU choosing new SCR instead
                                                                                                                                                               addressed in the RTC
                                                                                                                                                                                  RTC Document and in
                                                 reduction potential. SNCR is more                       would require installation timing of 36
                                                                                                                                                                          NOX Mitigation Strategies Final
                                                                                                                                                                    EGU NOx
                                                                                                                                                               the EGU
                                                 widely observed on relatively smaller                   to 48 months. EPA believes its finalized
                                                 coal units given its low capital/variable               joint timing considerations for post-                 Rule TSD.
                                                 cost ratio. The average capacity of a coal              combustion control retrofits (SNCR and                 e. Installing New SCRs
                                                 unit with SNCR is half the size of the                  SCR) are justified given that post-
                                                 average capacity of coal unit with                      combustion control retrofit decisions are                Selective Catalytic Reduction (SCR)
                                                 SCR.  208 Given these observations, the
                                                 SCR.208                                                 subject to unit-specific economic and                 controls already exist on over 66 percent
                                                 EPA identifies this technology as an                    engineering factors and are sensitive to              of the coal fleet in the linked states that
                                                 emissions reduction measure for coal                    operator compliance strategy choices                  are subject to a FIP in this rulemaking.
                                                 units less than 100 MW lacking post-                    with respect to multiple regulatory                   Nearly every pulverized coal unit larger
                                                 combustion NOxNOX control technology. As                requirements.                                         than 100 MW built in the last 30 years
                                                 described in the EGU
                                                                    EGU NOx
                                                                         NOX Mitigation                     Comment:
                                                                                                            Comment: Some commenters argued                    has installed this control, which is
                                                 Strategies Final Rule TSD, the EPA                      that post-combustion control timing                   generally required for Best Available
                                                 estimated that $6,700 per ton reflects a                assumptions (SCR and SNCR) should be                  Control Technology (BACT) purposes.
                                                 representative SNCR retrofit cost level                 decoupled, which could result in the                  Other than circulating fluidized bed
                                                 for these units.                                        EPA using the 16-month time frame                     coal units which can achieve a
                                                   For this rulemaking, EPA is not                       specific to SNCR installation to require
                                                                                                         emissions reductions related to new                   comparably low emissions rate without
                                                 considering SNCR installation timing                                                                          this technology, the EPA identifies this
                                                 unto itself but is instead considering                  SNCR installations by the 2025 ozone
                                                                                                         season.                                               emissions reduction measure for coal
                                                 how long eligible EGUs may need to
                                                                                                            Response: The EPA does not agree
                                                                                                            Response:                                          steam units greater than or equal to 100
                                                 adopt either SNCR or SCR as a post-
                                                 combustion control measure. SNCR                        that decoupling SCR and SNCR timing                   MW. SCR is widely available for
                                                                                                         consideration is justified in the context             existing coal units of this size and can
ddrumheller on DSK120RN23PROD with RULES2




                                                 installations generally have shorter
                                                 project installation timefrarnes
                                                                       timeframes relative               of this final rule’s
                                                                                                                       rule's emissions control                provide significant emissions reduction
                                                 to other post-combustion controls. The                  program for EGUs. Approximately 1,000                 potential, with removal efficiencies of
                                                 time for engineering review, contract                   tons of emissions reduction potential                 up to 90 percent. The EPA limited its
                                                 award, fabrication, delivery, and                       are estimated for the small coal EGUs                 consideration of SCR technology to
                                                                                                         deemed eligible for SNCR retrofit. The                steam units greater than or equal to 100
                                                               NOX Mitigation Strategies Final Rule
                                                   208 See EGU NOx                                       incentives provided through the                       MW. The costs for retrofitting a plant
                                                 TSD for additional discussion.                          implementation of this rule’s
                                                                                                                                   rule's trading              smaller than 100 MW with SCR increase


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00074   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                               Filed: 07/27/2023                  Page 113 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                                    36727
                                                                                                                                                                                                            36727

                                                 rapidly due to a lack of economies of                   assumed SCR retrofit potential occurs at                   global firm providing engineering,
                                                 scale.209                                               plants with multiple units identified                      construction management, and
                                                    The amount of time needed to retrofit                with retrofit potential, and given the                     consulting services for power and
                                                 an EGU with new SCR extends beyond                      total volume of SCR retrofit capacity                      energy with expertise in grid
                                                 the 2023 ozone season. Similar to the                   being implemented across the region,                       modernization, renewable energy,
                                                 SNCR retrofits discussed in this section,               EPA is allowing in this final rule                         energy storage, nuclear power, and
                                                 the EPA evaluated potential emissions                   between 36 to 48 months, consistent                        fossil fuels. Their familiarity with state-
                                                 reductions and associated costs from                    with the regional time frame discussed                     of-the art pollution controls at power
                                                 this control technology, as well as the                 for SCR retrofit in prior rules, for the                   plants derives from experience
                                                 impacts and need for this emissions                     full implementation of reductions                          providing comprehensive project
                                                 control strategy, at the earliest point in              commensurate with this volume of SCR                       services—from consulting, design, and
                                                 time when their installation could be                   retrofit capacity, as described further in                 implementation to construction
                                                 achieved. EPA notes that it has                         section VI.A of this document.                             management, commissioning, and
                                                 previously determined in the context of                   The Agency examined the cost for                         operations/maintenance. This review
                                                 ozone transport that regional scale                     retrofitting a coal unit with new SCR                      and update supported the 0.05 lb/
                                                 implementation of SCRs at numerous                      technology, which typically attains                        mmBtu performance assumption as a
                                                 EGUs is achievable in 36 months. See 63                              NOX rates of 0.05 lb/mmBtu
                                                                                                         controlled NOx                                             representative emissions rate for new
                                                 FR 57356, 57447–50
                                                             57447-50 (October. 27, 1998).               or less. These updates are further                         SCR across coal types.
                                                 However, since that time, the EPA has                   discussed in the EGU NOxNOX Mitigation                        The EPA performed an assessment for
                                                 found up to 36–48
                                                               36-48 months to be a more                 Strategies Final Rule TSD.  211 Based on
                                                                                                                                TSD.211                             oil/gas steam units in which it evaluated
                                                 appropriate installation timeframe for                  the characteristics of coal units of 100                   the nationwide performance of those
                                                 regionwide actions when the EPA is                      MW or greater capacity that do not have                    units with SCR technology. For these
                                                 evaluating multiple installations at                    post-combustion                                            units, the EPA tabulated EGU NOx NOX
                                                 multiple locations.210                                    NOX control technology, the EPA
                                                                                                           NOx                                                      ozone season emissions data from 2009
                                                    In the past, the EPA has found the                   estimated a weighted-average                               through 2021 and calculated an average
                                                 amount of time to retrofit a single EGU                 representative SCR cost of $11,000 per                     NOX ozone season emissions rate across
                                                                                                                                                                    NOx
                                                 with new SCR, depending on the                          ton.212
                                                                                                         ton.212                                                    the fleet of oil- and gas-fired EGUs with
                                                 regulatory program under which such                       The 0.05 lb/mmBtu emissions rate                         SCR for each of these years. The EPA
                                                 control may be required, may vary                       performance assumption for new SCR                         identified the third lowest year which
                                                 between approximately 2 and 4 years                     retrofits is supported by historical data                  yielded an SCR performance rate of 0.03
                                                 depending on site-specific engineering                  and third party independent review by                      lb/mmBtu as representative of
                                                 considerations and on the number of                     pollution control engineering and                          performance for this retrofit technology
                                                 installations being considered. This                    consulting firms. The EPA first                            applied to this type of EGU. Next, the
                                                 includes steps for engineering review,                  examined unit-level emissions rate data
                                                                                                                                                                    EPA evaluated the emissions and
                                                 construction permit, operating permit,                  for coal-fired units that had a relatively
                                                                                                                                                                    operational characteristics for the
                                                 and control technology installation                     recent SCR installation (within the last                   existing oil/gas steam fleet lacking SCR
                                                 (including fabrication, pre hookup,                     10 years). The best performing 10
                                                                                                                                                                                  EPA’s analysis indicated
                                                                                                                                                                    technology. EPA's
                                                 control hookup, and testing). EPA's
                                                                                  EPA’s                  percent of these SCRs were
                                                                                                                                                                    that the majority of reduction potential
                                                 assessment of installation procedures                   demonstrating seasonal emissions rates
                                                                                                                                                                    (approximately 76 percent) from these
                                                 suggests as little as 21 months may be                  of 0.036 lb/mmBtu during this time.
                                                                                                           While the EPA identified the 0.05 lb/                    units occurred at units greater than or
                                                 needed for a single SCR at an individual
                                                                                                         mmBtu performance assumption
                                                                                                         mrnBtu                                                     equal to 100 MW and that were emitting
                                                 plant and 36 months at a single plant
                                                                                                         consistent with historical data, these                     more than 150 tons per ozone season
                                                                           EPA’s assessment
                                                 with multiple boilers. EPA's
                                                                                                         performance levels are also informed                       (i.e., approximately 1 ton per day).
                                                 of units with SCR retrofit potential
                                                                                                         and consistent with the Agency's
                                                                                                                                   Agency’s IPM                     Moreover, the cost of reductions for
                                                 indicate the majority fall into this first
                                                                                                         modeling assumptions used for more                         units falling below these criteria
                                                 classification, i.e., a single SCR at a
                                                                                                         than a decade. These modeling                              increased significantly on a dollar per
                                                 power plant.
                                                    While EPA finds that 36 months is a                  assumptions are based on input from                        ton basis. Therefore, the EPA identified
                                                 possible time frame for SCR installation                leading engineering and pollution                          the portion of the oil/gas steam fleet
                                                 at individual units or plants, the total of             control consulting entities. Most                          meeting these criteria (i.e., greater than
                                                 nearly 31 GW of coal capacity with SCR                  recently, these data assumptions were                      or equal to 100 MW and emitting more
                                                 retrofit potential and 19 GW of oil/gas                 affirmed and updated in the summer of                      than 150 tons per ozone season) as
                                                 steam capacity with SCR retrofit                        2021 and included in the docket for this                   representative of the SCR retrofit
                                                 potential within the geographic                         rulemaking.213 The EPA relies on a
                                                                                                         rulemaking.2i3                                             reduction potential.  214 For this segment
                                                                                                                                                                                potentia1.2i4
                                                 footprint of the final rule is a scale of                                                                          of the oil/gas steam units lacking post-
                                                 retrofit activity that is not demonstrated                 211 As noted in that TSD, approximately half of
                                                                                                            211                                                     combustion NOxNOX control technology, the
                                                 to have been achieved within a three-                   the recent SCR retrofits (i.e., installed in the last 10   EPA estimated a weighted-average
                                                 year span based on data from the past                   years) have demonstrated an emission rate across           representative SCR cost of $7,700 per
                                                                                                         the ozone season below 0.05 lb/mmBtu, even absent          ton.
                                                 two decades. Given that some of the                     a requirement or strong incentive to operate at that
                                                                                                         level in many cases.                                          Comment:
                                                                                                                                                                       Comment: Some commenters
                                                   209 IPM Model-Updates to Cost and Performance
                                                   202 IPM                                                  212 This cost estimate is representative of coal
                                                                                                            212                                                     disagreed with EPA's
                                                                                                                                                                                      EPA’s proposed 36-
                                                 for APC Technologies. SCR Cost Development              units lacking any post-combustion control. A subset        month timeframe for SCR retrofit. These
ddrumheller on DSK120RN23PROD with RULES2




                                                 Methodology for Coal-fired Boilers. February 2022.      of units within the universe of coal sources with          commenters noted that, while possible
                                                   210 See, e.g., CSAPR Close-Out, 83 FR 65878,
                                                   210                                                   SCR retrofit potential, but that have an existing          at the unit or plant level, the collective
                                                 65895 (December 21, 2018) and Revised CSAPR             SNCR technology in place would have a weighted
                                                 Update, 86 FR 23102 (April 30, 2021). See also          average cost that falls above this level, but still cost   volume of SCR installation occurring in
                                                 Final Report: Engineering and Economic Factors          effective. See the EGU NOx
                                                                                                                                  NOX Mitigation Strategies
                                                 Affecting the Installation of Control Technologies      Final Rule TSD for more discussion.                          214 The EPA used a 3-year average of 2019-2021
                                                                                                                                                                      214                                  2019–2021
                                                                                 EPA–600/R–02/073
                                                 for Multipollutant Strategies, EPA-600/R-02/073            213     ‘‘IPM Model—Updates to Cost and
                                                                                                            213 See "IPM                                            reported ozone season emissions to derive a tons
                                                 (Oct. 2002), available at https://nepis.epa.gov/        Performance for APC Technologies: SCR Cost                 per ozone season value representative for each
                                                 Adobe/PDF/P1001G0O.pdf.
                                                 Adobe/PDF/P1001G00.pdf.                                 Development Methodology for Coal-fired Boilers".
                                                                                                                                                       Boilers’’.   covered oil/gas steam unit.



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00075   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM      05JNR2
                                                      USCA Case #23-1157                            Document #2009836                              Filed: 07/27/2023                 Page 114 of 430
                                                 36728
                                                 36728                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 a limited region of the country would                   many cases, as suggested by the                          outlier cases of project timing that
                                                 not be possible given the labor                         Regulatory Impact Analysis (RIA),
                                                                                                         Regulatory                      (MA), will               would not be representative of the
                                                 constraints, supply constraints, and                    find alternative, and more economic                      conditions expected at future retrofit
                                                 simultaneous outages necessary to                       means, of reducing emissions—                            projects. 216
                                                                                                                                                                  projects.216
                                                 complete SCR retrofit projects on such                  including reduced generation and                            Comment:
                                                                                                                                                                     Comment: Some stakeholders
                                                 a schedule. They noted that achieving                   retirements that are already planned                                      EPA’s cost estimates of
                                                                                                                                                                  suggested that EPA's
                                                 such a timeframe against a backdrop of                  based on the age of the unit,                            $11,000 per ton are premised on a 15-
                                                 such challenging circumstances is                       decarbonization goals, or compliance                     year book life of the equipment and are
                                                                            EPA’s
                                                 unprecedented and that EPA's                            with other Federal/state/local regulation                therefore too optimistic for units that
                                                 assumptions ignore that many of the                     compliance dates. Moreover, the                          plan to retire in well under 15 years.
                                                 remaining unretrofitted coal units                      additional new generation incentives                        Response: EPA analysis of SCR
                                                 reflect more site-specific challenges                   provided by the Inflation Reduction Act                  retrofit cost reflects a representative
                                                 than those that were already retrofitted                (enacted after the proposed rule) will                   value for the technology based on a
                                                 on a quicker timeframe.                                 further increase the pace of new                         weighted average cost. The underlying
                                                    Response: EPA reviewed the                           generation replacing some of the older                   data and the discussion in the EGU NOx NOX
                                                 comments and is making several                          generating capacity identified as having                 Mitigation Strategies Final TSD
                                                 changes in this final rule to address                   retrofit potential. 215 In short, although
                                                                                                                   potential.215                                  illustrates that these costs can vary
                                                 some of the concerns identified by the                  EPA identified the total SCR retrofit                    significantly at the unit level based on
                                                 commenters. In particular, EPA found                    capacity potential for today's
                                                                                                                                  today’s existing                factors such as the length of time a
                                                 that its own review of historical retrofit              fleet and does not premise any                           pollution control technology would be
                                                 patterns as well as technical information               reduction requirements of incremental                    in operation, the capacity factor of the
                                                 submitted by commenters supported                       retirements, the announced and planned                   unit (i.e., how much does it operate), its
                                                 commenters’ concerns regarding: (1)
                                                 commenters'                                             futures for these units indicates that                   size or potential to emit, and its baseline
                                                 current and anticipated constraints in                  many will likely retire instead of                       emissions rate. The EPA has not in prior
                                                 labor and supply markets, (2) the                       installing SCR. For the capacity                         transport rulemakings used such factors
                                                 potential collective capacity levels of                 identified at Step 3 which lacks SCR,                    as justification to excuse any source that
                                                 SCR retrofit within 36 months, and (3)                  the planned or projected retirement in                   is significantly contributing to
                                                 possible site-specific complexities at the              place of a retrofit moots the SCR timing                 nonattainment or interfering with
                                                                                                                                                                  nonattainrnent
                                                 remaining units without an existing                     for these units. Moreover, it also reduces               maintenance in another state from
                                                 SCR. To address these concerns, EPA is                  the demand for associated labor and                      eliminating that significant contribution
                                                 phasing in its SCR installation                         materials which, in turn, frees up                       as expeditiously as practicable. Unlike
                                                 requirement over a 48-month time frame                  resources for any units proceeding with                  under other statutory provisions that
                                                 in this final rule, instead of a 36-month               a SCR retrofit. Therefore, comments                      may require retrofit of emissions
                                                 time frame as proposed (see additional                  which cite labor and supply chain                        controls on existing sources, such as
                                                 detail and discussion in section VI.A.2.a               challenges for accommodating the entire                  under CAA section 111(d) or CAA
                                                 and the EGU NOxNOX Mitigation Strategies                fleet capacity identified as having SCR                  section 169A, there is no remaining
                                                 Final Rule TSD). EPA will require half                  retrofit potential significantly overstate               useful life factor expressly identified as
                                                 of the reductions associated with SCR                   the supply-side challenge—as it ignores                  a justification to relax the requirements
                                                 installation in 2026 and the other half                 the fact that much of this capacity has                  of CAA section 110(a)(2)(D)(i)(I). EPA
                                                 in 2027. Additionally, EPA is moving                    explicit or expected operation plans that                continues to believe that where an
                                                 the daily backstop rate for these units                 will result in compliance without a                      emissions control strategy has been
                                                 with identified SCR reduction potential                 retrofit.                                                identified at Step 3 that is cost-effective
                                                 from 2027 to no later than 2030, which                     Even for sources choosing a SCR                       on a regional scale and provides
                                                 defers the increased allowance                          retrofit compliance pathway, many of                     meaningful downwind air quality
                                                 surrender ratio for emissions above the                 these comments ignore the timing                         improvement, and is thus appropriately
                                                 backstop rate at any outlier units unable               flexibilities of the trading program,                    identified as necessary to eliminate
                                                 to complete the retrofit during that time               which (particularly with the changes to                  significant contribution under the good
                                                 frame. These adjustments continue to                    the backstop daily emissions rate in this                neighbor provision, it would not be
                                                 incentivize reductions in NOx
                                                                             NOX                         final rule) allow sources to temporarily                 appropriate to allow emissions to
                                                 emissions by the attainment date that                   comply through means other than SCR                      continue in excess of those achievable
                                                 are consistent with cost-effective SCR                  retrofit if they experience any site-                    emissions reductions beyond the
                                                 controls, but provide more flexibility                  specific retrofit limitations that increase              timeframe for expeditious
                                                 (both from timing and technology                        their time frame. Also, historical                       implementation of reductions as
                                                 perspective) in how they are procured.                  examples of SCR retrofit projects that                   provided under the larger title I
                                                    Some commenters requested more                       exceeded 48 months in duration do not
                                                 than 48 months to install SCR controls                                                                           structure of the Act for attaining and
                                                                                                         necessarily demonstrate that such                        maintaining the NAAQS. The court in
                                                 based on the collective total volume of                 projects are impossible in less than 48                  Wisconsin recognized that where such
                                                 SCR retrofit volume identified and past                 months, but rather that they can extend
                                                 projects that took five or more years.                                                                           emissions have been identified, they
                                                                                                         beyond the timeframe if no                               should be eliminated as expeditiously
                                                 EPA disagrees with these comments and                   requirements or incentives are in place
                                                 finds that they ignored key aspects of                                                                           as practicable, and in line with the
                                                                                                         for a faster installation. Some also cite
ddrumheller on DSK120RN23PROD with RULES2




                                                 the proposed rule. First, the final rule                site-specific conditions that resulted an                   216 Commenters, for example, cited the timing of
                                                                                                                                                                    216
                                                 does not directly require                                                                                        SCR installation at Sammis 6 and 7. Here, the SCR
                                                 implementation of SCR; rather, it                         215     ‘‘Regulatory Impact Analysis for 2015
                                                                                                           216 See "Regulatory                                    design and material delivery schedule were tailored
                                                 requires reductions commensurate with                   Good Neighbor Plan, Appendix 4A: Inflation               to meet unique site conditions that were unlike
                                                 SCR installations based on a rigorous                   Reduction Act EGU Sensitivity Run Results."
                                                                                                                                                 Results.’’ EPA   many other SCR systems where large modules can
                                                                                                         estimated the compliance costs and emissions             be used to maximize shop and ground assembly
                                                 assessment of SCR retrofit potential.                   changes of the final rule in the presence of the IRA,    techniques. Additional information is available at
                                                 Implementing the reductions through a                   but given time and resource constraints, did not         https://www.babcock.com/home/about/resources/
                                                                                                                                                                  https://www.babcock.com/homelaboutiresources/
                                                 trading program means that sources in                   quantify benefits for this sensitivity.                  success-stories/sammis-plant.



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00076   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM    05JNR2
                                                      USCA Case #23-1157                              Document #2009836                             Filed: 07/27/2023              Page 115 of 430
                                                                       Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                           36729
                                                                                                                                                                                                    36729

                                                 attainment schedule for downwind                          such units would likely be lower,                      Mitigation Strategies Final Rule TSD,
                                                 areas, which, for the 2015 ozone                          holding all other parameters equal, on a               we find that the cost per ton associated
                                                 NAAQS, is provided in CAA section                         dollar per ton basis by virtue of the                  with SCR retrofit technology does not
                                                 181. 938 F.3d at 313-20.
                                                                   313–20.                                 length of time the pollution control                   begin to increase significantly above the
                                                    Further, EPA observes that more than                   equipment may be in operation. Nor                     $11,000/ton benchmark unless units
                                                 one-third of the identified SCR retrofit                  does EPA agree that units that would                   have dramatically lower operating
                                                 potential (in terms of generating                         retire in less than 15 years should                    capacity or retire in less than 5 years'
                                                                                                                                                                                                    years’
                                                 capacity) has no planned retirement                       automatically be considered to face an                 time—as illustrated in Figure 1 to
                                                 date within 15 years, and therefore the                   unreasonably higher cost burden. Based                 section V.B.1.e of this document.
                                                 cost of pollution control technology on                   on data analyzed in the EGU NOxNOX


                                                                    Figure 1 to section V.B.1.e: SCR Retrofit Cost Weighted Average S/ton vs Debt
                                                                                                     Life217




                                                                                                      RetrC.,       tCo                              ten Avg $i n

                                                                             25,000

                                                                             20,000

                                                                        .0 1.5.00C
                                                                         0
                                                                             1Or

                                                                               s,

                                                                                                                             10                              20
                                                                                                                        Debt Lit ;           sirs


                                                   Finally, EPA's
                                                             EPA’s identification of this                  there were no less costly means                        cost for this technology to be
                                                 mitigation strategy is not meant to be                    provided to them to achieve the same                   appropriate and reasonable for purposes
                                                 limited only to units that experience a                   level of emissions reduction (which the                of analysis under CAA section
                                                 retrofit cost that is less than the                       trading program allows for)—that would                 110(a)(2)(D)(i)(I) and maintains this cost
                                                 representative cost threshold. First, that                not necessarily obviate EPA's
                                                                                                                                     EPA’s basis for              estimate in the final rule.
                                                 threshold represents an average,                          finding that an emissions-reduction                      However, in recognition of the unique
                                                                 EPA’s analysis already
                                                 meaning that EPA's                                        requirement commensurate with this                     circumstances related to the transition
                                                 recognizes that some units on a facility-                 standard pollution control practice for                of the power sector away from coal-fired
                                                 specific basis may face costs higher than                 this unit type is warranted. The                                  high-NOX emitting fuels and
                                                                                                                                                                  and other high-NOx
                                                 that threshold. Further, EPA identifies                   implementation of emissions reductions
                                                 this technology as widely available,                                                                             generating technologies, which is
                                                                                                           through a trading program, and its                     anticipated to accelerate in the late
                                                 implemented in practice already at
                                                                                                           corresponding compliance flexibilities,                2020s and into the 2030s, EPA has
                                                 many existing EGUs, and now standard
                                                                                                           make the use of a single representative                adjusted the final rule to avoid imposing
                                                 for any coal-fired unit coming online in
                                                                                                           cost all the more appropriate in this                  a capital-intensive control technology
ddrumheller on DSK120RN23PROD with RULES2




                                                 the past 25 years. More than 66 percent
                                                 of the current large coal fleet already has               assessment. Therefore, upon reviewing                  retrofit obligation which could have
                                                 such controls in place. Even if the cost                  all of the data including the information              overall net-negative environmental
                                                 were higher for some units for the                        supplied by commenters, and even                       consequences (e.g., by extending the life
                                                 reasons provided by commenters—and                        accounting for certain units'
                                                                                                                                    units’ announced              of a higher-emitting EGU or
                                                                                                           plans to retire earlier than an assumed                necessitating the allocation of material
                                                   217 ‘‘Debt Life"
                                                   217 "Debt  Life’’ refers to the term length, or         15-year book life for SCR retrofit                     and personnel that could be used for
                                                                                                           technology, EPA finds its representative
                                                                                                                                                                                                               ER05JN23.001</GPH>




                                                 duration, for a loan used to finance the retrofit.                                                               more advanced clean-technology


                                            VerDate Sep<11>2014    20:14 Jun 02, 2023   Jkt 259001    PO 00000   Frm 00077   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 116 of 430
                                                 36730
                                                 36730                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 innovations). For units that plan to                    often willing to guarantee 0.05 lb/                   appropriate and underpinned by
                                                 retire by 2030, the final rule—by                       mmBtu seasonal performance for new
                                                                                                         mrnBtu                                                operating assumptions reflective of the
                                                 extending the daily backstop rate to                    SCR retrofit projects. Current SCR                    fleet averages, it nevertheless examined
                                                 2030—allows these units to continue to                  catalyst suppliers provide NOxNOX                     how cost would vary based on some of
                                                 operate, so long as they comply with the                emissions warranties based at the                     the variables highlighted by commenter.
                                                 mass-based emissions trading program                    catalyst’s end-of-life period, often after
                                                                                                         catalyst's                                            The EPA derived its capacity factor
                                                 requirements.218 Therefore, a unit
                                                 requirements.218                                        16,000 to 24,000 hours of operations,                 assumption based on expected future
                                                 experiencing a higher dollar per ton                    with newer catalyst achieving similar or              operations of this fleet segment that are
                                                 retrofit cost due to retirement plans has                       NOX removal rates. Standard
                                                                                                         better NOx                                            inclusive of units operating at a range of
                                                 the flexibility to install less capital                 commercial terms, made by the                         capacity factors. It also examined how
                                                 intensive controls such as SNCR,                        purchaser to the SCR Retrofit supplier,               cost would change assuming different
                                                 procure less costly allowances through                  can specify a system capable of meeting               coal rank, assuming different book life,
                                                 either banking or purchase, or they may                 the proposed NOxNOX emissions rate and                and different reagent cost. These
                                                 also reduce their allowance holding                     define the catalyst operational life                  analyses are discussed and shown in
                                                 requirement through reduced utilization                 before replacement. Thus, achieving the               Appendix B of the EGU NOx  NOX
                                                 consistent with their phasing out                       proposed reduction rates is                           Mitigations Strategies Final Rule TSD
                                                 towards a planned retirement date. This                 accomplished through the buyer                        and demonstrate that even under
                                                 flexibility that EPA has included in the                specifying the SCR retrofit requirements              different operating assumptions, the
                                                 final rule is discussed in further detail               and the supplier providing an optimized               variation in cost does not reach a point
                                                 in section VI.B of this document.                       system design and installing sufficient                                    EPA’s finding
                                                                                                                                                               that would reverse EPA's
                                                    Comment:
                                                    Comment: Some commenters                             catalyst for the targeted end-of-life NOx
                                                                                                                                               NOX             regarding the appropriateness of this
                                                 suggested that the 0.05 lb/mmBtu
                                                                            lb/mrnBtu                    emissions rate. The agency is confident               technology as part of this final rule’s
                                                                                                                                                                                                  rule's
                                                 emissions rate assumed for new SCRs at                  that SCR retrofit suppliers will be able              control stringency. Moreover, as
                                                 large coal units is not achievable at all               to warrant their offerings for the                    discussed in section V.D of this
                                                 coal units with retrofit potential and                  emissions rates proposed in the                       document, EPA identifies appropriate
                                                 that EPA should raise this performance                  regulation and to provide sufficient                  mitigation strategies based on multiple
                                                 assumption to a value of 0.08 lb/mmBtu
                                                                                   lb/mrnBtu             operating life for the affected sector.               factors—not solely on cost, and there is
                                                 consistent with that assumption for                        Comment:
                                                                                                            Comment: Some commenters suggest                   no indication that an individual unit's
                                                                                                                                                                                                    unit’s
                                                 existing SCRs.                                          that the evaluation of pollution control              higher retrofit cost would obviate the
                                                    Response: First, EPA believes the                    installation cost at Step 3 should be                 appropriateness of retrofitting this
                                                 commenter misunderstands its intention                  segmented depending on unit                           standard and best practice technology at
                                                 with the 0.05 lb/mmBtu SCR rate                         characteristics, and by failing to do so              the unit. Finally, in prior rules and in
                                                 assumption. This is meant to reflect a                  understate the cost of retrofitting SCR               the proposal, EPA recognized that some
                                                 representative assumption for emissions                 controls. In particular, these                        units will have higher cost and some
                                                 rate performance for new SCR installed                  commenters note that units with lower                 will have lower cost relative the
                                                 on the currently unretrofitted coal                     capacity factors, different coal ranks,               fleetwide representative value provided.
                                                 fleet—in this respect, it represents an                 with pre-existing controls—such as                    Implementing the region and state
                                                 average, not a maximum. EPA                             SNCR—face substantially higher dollar                 reduction requirements through a mass-
                                                 recognizes that some units will likely                  per ton reduced costs than those that do              based trading program provides a means
                                                 perform better (i.e., lower) than this rate             not have such controls in place and                   of alternative lower cost compliance for
                                                 and some will potentially perform                       should not be identified as a cost-                   those sources particularly concerned
                                                 worse (i.e., higher) than this rate—but                 effective mitigation strategy.                        about the higher retrofit cost at their
                                                 that 0.05 lb/mmBtu is a reasonable                         Response: Consistent with prior
                                                                                                            Response:                                          unit.
                                                 representation of new SCR retrofit                      CSAPR rulemakings, at Step 3 EPA                         Comment:
                                                                                                                                                                  Comment: Some commenters
                                                 potential on a fleet-wide basis and for                 evaluates a mitigation technology and                                 EPA’s proposed
                                                                                                                                                               suggested that EPA's
                                                 identifying expected state and regional                 its representative cost and performance               representative cost for SCR pollution
                                                 emissions reduction potential from this                 for the fleet on average. This                        control is likely too high and overstates
                                                 technology. It would be inappropriate                   representative cost is inclusive and                  the true cost of such control. They also
                                                 for EPA to use the worst performing tier                robust to the portion of the fleet that               noted it aligns with agency precedent.
                                                 of new SCR retrofit for this                            may face higher dollar per ton cost. Both             These commenters claim that EPA's EPA’s cost
                                                 representative value. Moreover, EPA'sEPA’s                   ‘‘Technical Support Document
                                                                                                         the "Technical                                        recovery factor is higher than necessary
                                                 review of historical environmental                      (TSD) for the Proposed Federal                        (thus inflating the cost) as it reflects a
                                                 performance for recently installed SCRs                 Implementation Plan Addressing                        weighting of utility-owned to merchant-
                                                 does not support any indication that                    Regional Ozone Transport for the 2015                 owned plants that is representative of
                                                 0.05 is not representative of the retrofit              Ozone National Ambient Air Quality                    the fleet, but not the unretrofitted fleet
                                                 potential for the fleet. EPA found that                 Standard, Docket ID No. EPA—HQ—
                                                                                                                                     EPA–HQ–                   with this retrofit potential identified in
                                                 three quarters of the SCR retrofit                      OAR–2021–0668, EGU NOx
                                                                                                         OAR-2021-0668,             NOX Mitigation             this rule. They also noted that EPA's
                                                                                                                                                                                                 EPA’s
                                                 projects completed in the last 15 years                 Strategies Proposed Rule TSD’’
                                                                                                                                     TSD" (Feb.                assumed interest rate informing the cost
                                                 have achieved a rate of 0.05 lb/mmBtu
                                                                                 lb/mrnBtu               2022), hereinafter referred to as the EGU             estimate was higher than the prime rate
                                                 or better on a monthly or seasonal basis.               NOX Mitigation Strategies Proposed
                                                                                                         NOx                                                   in June of 2022.
                                                 Moreover, its review of the engineering                 Rule TSD, and the EGU NOx  NOX Mitigation                Response: EPA agrees that its
ddrumheller on DSK120RN23PROD with RULES2




                                                 literature and consultation with third                  Strategies Final TSD discuss the SCR                  approach for identifying representative
                                                 party pollution control engineering                     retrofit cost specific to the segment of              cost thresholds is aligned with prior
                                                 consultancies suggests that vendors are                 the fleet that has a SNCR in place and                rules and agrees that its approach is
                                                                                                         notes that those unit-level higher retrofit           reasonable. As the commenter points
                                                   218 In the RIA, EPA has modeled the mass-based
                                                   2181n                                                 cost estimates are factored into its                  out, prime rates and cost recovery
                                                 budgets that are premised on retrofit of SCR            determination of the fleet-wide                       factors may indeed be lower in recent
                                                 technology with the option of complying through
                                                 other strategies, and finds that they are readily       representative number. Although EPA                   data than those assumed by EPA for
                                                 achievable through those other strategies.              believes its representative cost are                  future years. However, given the


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00078   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 117 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                           36731
                                                                                                                                                                                                   36731

                                                 volatility among these metrics, EPA         install, optimize, and operate controls                           authority under CAA section
                                                 believes its choices are appropriate to     identified in the Agency's
                                                                                                                 Agency’s                                      110(a)(2)(D)(i)(I) to consider and require
                                                 build cost estimates that are robust to     determinations regarding the requisite                            emissions reductions from generation
                                                 future uncertainty, and if these cost       level of emissions control at Step 3. See,                        shifting if the EPA were to find that
                                                 input factors do materialize to be the      e.g., 81 FR 74544–45;
                                                                                                          74544-45; 76 FR 48280.                               strategy was necessary to eliminate
                                                 lower values highlighted by commenter,         As in these prior rules, at proposal,                          significant contribution. However, based
                                                 then it will result in a lower cost         the EPA did not identify generation                               on circumstances currently facing
                                                 assumed in this final rule, but would       shifting as a primary mitigation strategy                         affected EGUs, as well as the inherent
                                                 not otherwise alter any of the stringency   and stringency measure on its own, but                            strength of the dynamic budget
                                                 identification or regulatory findings put   included emissions reductions from this                           methodology to automatically reflect the
                                                 forward in this final rule. EPA             strategy as it would be projected to                              market-determined balance of
                                                 performed a cost sensitivity analysis in    occur in response to the selected                                 generation across sources responding to
                                                 Appendix B of the EGU NOx  NOX Mitigation   emissions control stringency levels (and                          this rule, the EPA is not specifying
                                                 Strategies Final Rule TSD which shows       corresponding allowance price signals                             emissions reduction potential from
                                                 how cost for this technology would vary     in step 4 implementation). For this                               generation shifting as a part of the Step
                                                 based on different assumed levels for       rule’s proposal, the EPA only specified
                                                                                             rule's                                                            3 analysis, nor to require any emissions
                                                 this variable. This analysis shows that     emissions reductions from generation                              reductions from generation shifting in
                                                 under lower interest rates such as those    shifting in its preset budget calculations                        preset budgets formulated under Step 4
                                                 put forward by commenter, that              for 2023 and 2024. Because this rule's
                                                                                                                                 rule’s                        for any control period, for this final rule.
                                                 technology cost would drop by               dynamic budget methodology applies                                   Currently observable market
                                                 approximately 15 percent relative to the                           stringency’s
                                                                                             the selected control stringency's                                 conditions (e.g., fuel prices) present
                                                 representative values put forward in this   emissions rates to the most recently                              unusual uncertainty with respect to key
                                                 rule.                                       reported heat input at each affected                              economic drivers of generation shifting.
                                                                                             EGU, dynamic budgeting effectively                                The availability of emissions reductions
                                                 f. Generation Shifting                      serves a similar purpose to our ex ante                           through generation shifting, and the
                                                    At proposal, EPA considered              quantification of emissions reduction                             magnitude of those emissions, is
                                                 intrastate emissions reduction potential potential from generation shifting for                               dependent on the availability and cost
                                                 from generation shifting across the         preset budgets in prior transport rules,                          of substitute generation. The primary
                                                 representative dollar per ton levels        i.e., to adequately and continuously                              driver of near-term generation shifting-
                                                 estimated for the emissions controls        incentivize the implementation of the                             based emissions reductions has been
                                                 considered in previous sections. As the     emissions control strategies selected at                          shifting to lower-emitting natural gas
                                                                    NOX increases, it
                                                 cost of emitting NOx                        Step 3. Therefore, dynamic budgets                                generation. Recent volatility and high
                                                 becomes increasingly cost-effective for                  rule’s program moot the need
                                                                                             under this rule's                                                 prices in the natural gas market have
                                                 units with lower NOxNOX rates to increase   to specify discrete emissions reduction                           increased the uncertainty and reduced
                                                 generation, while units with higher NOxNOX potential from generation shifting for                             the potential of this emissions control
                                                 rates reduce generation. Because the        those control periods, as they                                    strategy at any given cost threshold in
                                                 cost of generation is unit-specific, this   automatically reflect whatever                                    the near term. For example, Henry Hub
                                                 generation shifting occurs incrementally generation balance affected EGUs would                               natural gas prices went from under
                                                 on a continuum. Consequently, there is      determine in the marketplace inclusive                            $3.00/mmBtu during most of the last
                                                                                                                                                               $3.00/mrnBtu
                                                 more generation shifting at higher cost     of their response to the emissions                                decade to an average of nearly $8.00/
                                                 NOX-control levels.
                                                 NOx-control                                 performance levels imposed by this                                mmBtu for the most recent (2022) ozone
                                                    The EPA recognizes that imposing a       rule.                                                             season before declining sharply at the
                                                 NOX-control requirement on affected
                                                 NOx-control                                    Comment:
                                                                                                Comment: Commenters offered both                               start of 2023. The current volatility in
                                                 EGUs, like any environmental                support for and opposition against the                            natural gas prices reduces the
                                                 regulation, internalizes the cost of their  inclusion of generation shifting at Step                          availability of emissions reductions
                                                 pollution, which could result in            3 analysis for EGUs. Those in support                             from generation shifting and make its
                                                 generation shifting away from those         noted that inclusion of emissions                                 identification and quantification too
                                                 sources toward other generators offering reductions from generation-shifting is                               uncertain for incorporation into Step 3
                                                 electricity at a lower pollution cost. If,  integral to the successful                                        emissions reduction estimates for this
                                                 in the context of a market-based            implementation of the pollution control                           rulemaking.
                                                 allowance trading program form of           measures identified in the selected                                  The Step 4 dynamic budget-setting
                                                 implementation, the EPA imposes a           control stringency at Step 3. Those                               process of this rule obviates the need to
                                                 preset emissions budget that is premised opposed generally argued the EPA was                                 specify and require discrete emissions
                                                 only on assumed installation,               overestimating reduction potential from                           reductions from generation shifting
                                                 optimization, and continued operation       generation shifting in light of recent                            under Step 3. As discussed in section VI
                                                 of unit-specific pollution control          volatility and high prices in the markets                         of this document, the EPA in this final
                                                 technologies, with no accounting for the for lower emitting fuels such as natural                             rule will implement a budget-setting
                                                 likely generation shift in the              gas. Commenters also noted the                                    approach that relies on two
                                                 marketplace away from these higher-         electrical grid in certain regions has                            components: first, we have calculated
                                                 polluting sources, that preset emissions    constraints that would make generation                            ‘‘preset’’ budgets that reflect the best
                                                                                                                                                               "preset"
                                                 budget will contain more tons than          shifting more difficult than the EPA                              information currently available about
                                                 would be emitted if the affected EGUs
ddrumheller on DSK120RN23PROD with RULES2




                                                                                             assumed. Commenters also asserted that                            fleet change over the period 2023
                                                 achieved the emissions performance          the EPA did not have the legal authority                          through 2029. Second, beginning in
                                                 level (on a rate basis) selected at step 3. to require generation shifting.                                   2026, dynamic state emissions budgets
                                                 Hence, EPA has previously quantified           Response: The EPA disagrees with
                                                                                                Response:                                                      will be calculated that will reflect the
                                                 and required expected emissions             these comments regarding our legal                                balance of generation across sources
                                                 reductions from generation shifting in      authority but notes this issue is not                             reported to EPA by EGU operators.
                                                 prior transport rules to avoid              relevant for purposes of this final action.                       Between 2026 and 2029, the actual
                                                                     program's incentive to The EPA continues to believe it has
                                                 undermining the program’s                                                                                     budget that will be implemented will


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00079   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 118 of 430
                                                 36732
                                                 36732                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 reflect the greater of either the preset                Infrastructure Investment and Jobs Act                year on average for the 2019–2021
                                                                                                                                                                                         2019-2021 ozone
                                                 budget or the dynamic budget                            and the Inflation Reduction Act) driving              seasons and lacking combustion
                                                 calculation; from 2030 onwards, the                     the current transformation of the power               controls or more advanced controls
                                                 budgets will be set only through the                    sector. By refraining in this rule from               (totaling approximately 1,000 tons of
                                                 dynamic budget calculation. This                        specifying discrete emissions reductions              ozone season NOx
                                                                                                                                                                              NOX emissions in 2021).
                                                 overall approach is well suited for a                   from generation shifting in preset                    EPA analysis estimates a representative
                                                 period of significant power sector                      budgets and instead relying on a                      cost of $22,000 per ton for dry low NOx
                                                                                                                                                                                                     NOX
                                                 transition driven by a variety of                       dynamic budgeting approach to reflect                 burners or ultra-low NOxNOX burners at
                                                 economic, policy, and regulatory forces                 market-driven generation patterns, EPA                these simple cycle combustion turbines,
                                                 and allows for the balance of generation                ensures that its budgets remain                       and over $100,000 per ton for SCR
                                                 in this period to adjust in response to                 sufficiently stringent over the long term             retrofit at some combustion turbines.
                                                 these forces while nonetheless ensuring                 to continually incentivize the emissions              Therefore, EPA does not identify any
                                                 that the budgets will continuously                      control stringency it determined to be                such uniform mitigation measure at
                                                 incentivize the emissions control                       cost-effective and therefore appropriate              Step 3 when estimating reduction
                                                 stringency identified at Step 3. See                    to eliminate significant contribution at              potential.
                                                 section VI.B.4 of this document for                     Step 3. Thus, dynamic budgeting                          Nonetheless, the EPA recognizes that
                                                 further discussion on the interaction of                addresses the same concern that                       these simple cycle combustion turbines
                                                 preset and dynamic budgets during the                   animated our use of generation shifting               may have cost-effective emissions-
                                                 2026–2029
                                                 2026-2029 time period. With these                       in the CSAPR rulemakings, but in doing                reduction opportunities. These units are
                                                 approaches, and on the present record                   so uses a market-following approach                   included in the emissions trading
                                                 before the Agency, we conclude that the                 that will accommodate, over the long                  program and therefore, as in prior
                                                 estimation and incorporation of                         term, unforeseen drops or increases in                transport rules, the program continues
                                                 specified emissions reductions from                     heat input levels.                                    to subject them to an allowance holding
                                                 generation shifting at Step 3 is not                                                                          requirement under this rule which will
                                                                                                         g. Other EGU Mitigation Measures                      likely incentivize any available cost-
                                                 necessary to eliminate significant
                                                 contribution from EGUs for the 2015                        The EPA requested comment on                                  NOX reductions from these
                                                                                                                                                               effective NOx
                                                 ozone NAAQS through this rule'srule’s                   whether other EGU ozone-season NOx  NOX               EGUs. For instance, emissions rates
                                                 program implementation.                                 Mitigation technologies should be                     from these units in New York were
                                                    In previous CSAPR rulemakings, the                   required to eliminate significant                     considerably lower in 2022, when they
                                                 EPA included generation shifting in the                 contribution. For instance, the EGU                   faced a high allowance price, versus
                                                 budget setting process to capture those                 NOX Mitigation Strategies Proposed and
                                                                                                         NOx                                                   2021, when the allowance price was
                                                 reductions that would occur through                     Final Rule TSDs discussed certain                     much lower. Therefore, we find that the
                                                 shifting generation as an economic                      mitigation technologies that have been                appropriate treatment of these units in
                                                 response to the control stringency                      applied to "peaking"
                                                                                                                     ‘‘peaking’’ units (small, low-            this final rule is to continue to include
                                                 determined based on the selected NOx  NOX               capacity factor gas combustion turbines               them in the emissions trading program
                                                 control strategies. See, e.g., 81 FR                    often only operating during periods of                to incentivize cost-effective emissions
                                                 74544–45.   ‘‘Because we have identified
                                                 74544-45. "Because                                      peak demand).                                         reductions, but EPA does not find the
                                                 discrete cost thresholds resulting from                    Comment:
                                                                                                            Comment: Some commenters                           magnitude or consistency of cost-
                                                 the full implementation of particular                   emphasized that simple cycle                          effective mitigation potential to
                                                 types of emissions controls, it is                      combustion turbines play a significant                establish a specific increment of
                                                 reasonable to simultaneously quantify                   role in downwind contribution, and                    emissions reduction through a specific
                                                 the reduction potential from generation                 they highlight that states such as New                Step 3 emissions control determination.
                                                 shifting strategy at each cost level.                   York have imposed emissions limits on                                     EPA’s program will
                                                                                                                                                               Moreover, while EPA's
                                                 Including these reductions is important,                these sources acknowledging their                     incentivize any available cost-effective
                                                 ensuring that other cost-effective                      impact on downwind nonattainrnent.
                                                                                                                                 nonattainment.                reductions within this cadre of units
                                                 reductions (e.g., fully operating                       These commenters suggest that EPA                     (and such behavior is captured in its
                                                 controls) can be expected to occur."
                                                                                 occur.’’                pursue and expedite the                               final program evaluation and modeling
                                                       NOX Mitigation Strategies Final
                                                 EGU NOx                                                 implementation of these or similar                    the RIA), it does not obviate the need for
                                                 Rule TSD (EPA—HQ—OAR-2015-0500-
                                                            (EPA–HQ–OAR–2015–0500–                       mitigation measures.                                  the other EGU cost-effective reductions
                                                 0554), at 11-12.
                                                           11–12.                                           Response: As explained in greater
                                                                                                            Response:                                          elsewhere as suggested by some
                                                    Commenters on this rule and prior                    detail in the EGU NOx
                                                                                                                             NOX Mitigation                    commenters.
                                                 transport rules have observed that using                Strategies Final TSD, both the
                                                 preset budgets to factor in generation                  configuration and operation of this        2. Non-EGU or Stationary Industrial
                                                                                                         segment of the EGU fleet reflects                   NOX Mitigation Strategies
                                                                                                                                                    Source NOx
                                                 shifting is flawed in that it results in
                                                 EPA incorporating specific quantities of                significant variability among units and       In the early stages of preparing the
                                                 emissions reductions from discrete                      across time. In other words, one unit      proposed FIP, the EPA evaluated air
                                                 levels of generation shifting that are                  may have a capacity factor in a given      quality modeling information, annual
                                                 projected to occur but may in fact                      year that is one hundred times greater     emissions, and information about
                                                 ultimately transpire differently in the                 than a similar unit in that same year, or  potential controls to determine which
                                                 marketplace. Commenters on this rule                    even than its own capacity factor from     industries, beyond the power sector,
                                                 claim that other variables, such as                     a preceding year. This type of variability could have the greatest impact on
ddrumheller on DSK120RN23PROD with RULES2




                                                 constraints in transmission capacity or                 and heterogeneity make it unlikely that    downwind receptors'
                                                                                                                                                                 receptors’ air quality and
                                                 changes in fuel prices, can drive such                  there is a single cost-effective control   therefore the greatest impact in
                                                 differences in projected versus realized                strategy across this fleet segment, and    providing ozone air quality
                                                 generation shifting, and these concerns                 commenters did not provide evidence to improvements in affected downwind
                                                 are particularly exacerbated in a time of                              EPA’s analysis discussed
                                                                                                         the contrary. EPA's                        states through reducing those emissions.
                                                 significant uncertainty around energy                                NOX Mitigation Strategies
                                                                                                         in the EGU NOx                             Specifically, the EPA conducted a
                                                 supplies and markets together with new                  Final Rule TSD highlights that there are screening assessment focused on
                                                 laws passed by Congress (e.g., the                      32 units emitting more than 10 tons per    individual emissions units with >100


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00080   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023                Page 119 of 430
                                                                      Federal Register / Vol. 88, No. 107/Monday,
                                                                                                      107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules                                                                36733
                                                                                                                                                                                                      36733

                                                                 NOX emissions in 23
                                                 tpy of actual NOx                                       the changes between the proposed FIP                     marginal cost/ton threshold reflected in
                                                 upwind states. Once the industries were                 and this final rule, in emissions unit                   the Non-EGU Screening Assessment
                                                 identified, the EPA used its Control                    types included and in emissions limits,                  functioned as a relative, representative
                                                 Strategy Tool to identify potential                                   VI.C of this document.
                                                                                                         see section VI.0                                         cost/ton level. Similar to the role of
                                                 emissions units and control measures                    Tables I.B–2             I.B–7 in section I.B
                                                                                                                 I.B-2 through I.B-7                              cost-effectiveness thresholds the EPA
                                                 and to estimate emissions reductions                    of this document identify the emissions                  uses at Step 3 to evaluate EGU
                                                 and compliance costs associated with                    units and applicable emissions                           emissions control opportunities, this
                                                 application of non-EGU emissions                        limitations, and Table II.A–1
                                                                                                                                    II.A-1 in section             threshold is not intended to represent
                                                 control measures. The technical                         II.A of this document identifies the                     the maximum cost any facility may need
                                                                   ‘‘Screening Assessment of
                                                 memorandum "Screening                                   industries included in the final rule.                   to expend but is rather intended to be
                                                 Potential Emissions Reductions, Air                        For the final rule, to determine NOxNOX               a representative figure for evaluating
                                                 Quality Impacts, and Costs from Non-                    emissions reduction potential for the                    technologies to allow for a relative
                                                 EGU Emissions Units for 2026’’2026" (‘‘Non-
                                                                                     ("Non-              non-EGU industries and emissions unit                    comparison between different levels of
                                                 EGU Screening Assessment"
                                                                     Assessment’’ or                     types, with the exception of Solid Waste                 control stringency. The value was used
                                                 ‘‘screening assessment")
                                                 "screening    assessment’’) lays out the                Combustors and Incinerators, we used a                   to identify potentially cost-effective
                                                 analytical framework and data used to                   2019 inventory prepared from the                         controls for further evaluation.
                                                 prepare proxy estimates for 2026 of                     emissions inventory system (EIS) to                         In the final rule, partly in recognition
                                                 potentially affected non-EGU facilities                 estimate a list of emissions units                       of the many comments indicating
                                                 and emissions units, emissions                          captured by the applicability criteria for               widely varying cost-per-ton values
                                                                     costs.219
                                                 reductions, and costs.219                               the final rule. For Solid Waste                          across industries and facilities, the EPA
                                                    This screening assessment was not                    Combustors and Incinerators, the EPA                     has updated its analysis of costs for the
                                                 intended to identify the specific                       estimated the list of covered units using                covered non-EGU industries. This data
                                                 emissions units subject to the proposed                 the 2019 inventory, as well as the                       is summarized in the Technical
                                                 emissions limits for non-EGU sources                    NEEDS-v6-summer-2021-reference-case
                                                                                                         NEEDS-v6-summer-2       021-reference-case                                ‘‘Summary of Final Rule
                                                                                                                                                                  Memorandum "Summary
                                                 but was intended to inform the                          workbook.221 Based on the review of
                                                                                                         workbook.221                                             Applicability Criteria and Emissions
                                                 development of the proposed rule by                     RACT, NSPS, NESHAP rules, as well as                     Limits for Non-EGU Emissions Units,
                                                 identifying proxies for (1) non-EGU                     SIPs, consent decrees, and permits, we                   Assumed Control Technologies for
                                                 emissions units that potentially had the                also assumed certain control                             Meeting the Final Emissions Limits, and
                                                 most impact in terms of the magnitude                   technologies could meet the final                        Estimated Emissions Units, Emissions
                                                 of emissions and potential for emissions                emissions limits.   222 We did not run the
                                                                                                                      limits.222                                                      Costs,’’ available in the
                                                                                                                                                                  Reductions, and Costs,"
                                                 reductions, (2) potential controls for and              Control Strategy Tool to estimate                        docket. We further respond to
                                                 emissions reductions from these                         emissions reductions and costs and                       comments on the screening assessment
                                                 emissions units, and (3) control costs                  instead programmed the assessment                        in section 2.2 of the response to
                                                 from the potential controls on these                           R.223
                                                                                                         using R. 223 Using the list of emissions                 comments document.
                                                 emissions units. This information                       units estimated to be captured by the                    3. Other Stationary Sources NOx NOX
                                                 helped shape the proposed rule.                         final rule applicability criteria, the
                                                    To further evaluate the industries and                                                                        Mitigation Strategies
                                                                                                         assumed control technologies that
                                                 emissions unit types identified by the                  would meet the emissions limits, and                        As part of its analysis for this final
                                                 screening assessment and to establish                   information on control efficiencies and                  rule, the EPA also reviewed whether
                                                 the applicability criteria and proposed                 default cost/ton values from the control                 NOX mitigation strategies for any other
                                                                                                                                                                  NOx
                                                 emissions limits, the EPA reviewed                                            (CMDB),224
                                                                                                         measures database (CMDB),       224 the
                                                                                                                                             the EPA              stationary sources may be appropriate.
                                                 RACT rules, NSPS rules, NESHAP rules,                   estimated NOx
                                                                                                                     NOX emissions reductions                     In this section, the EPA discusses three
                                                 existing technical studies, rules in                    and costs for the year 2026. We                          classes of units that have historically
                                                 approved SIP submittals, consent                        estimated emissions reductions using                     been excluded from our interstate air
                                                 decrees, and permit limits. That                        the actual emissions from the 2019                       transport programs: (1) solid waste
                                                 evaluation is detailed in the Proposed                  emissions inventory. In the assessment,                  incineration units, (2) electric
                                                 Non-EGU Sectors TSD prepared for the                    we matched emissions units by Source                     generating units less than or equal to 25
                                                 proposed FIP.    220
                                                             FIP.22°                                     Classification Code (SCC) from the                       MW, and (3) cogeneration units. EPA'sEPA’s
                                                    In this final rule, for purposes of this             inventory to the applicable control                      initial assessment did not lead it to
                                                 part of the Step 3 analysis, the EPA is                 technologies in the CMDB. We modified                    propose inclusion of the units in these
                                                 retaining emissions control                             SCC codes as necessary to match control                  categories. However, EPA requested
                                                 requirements for these industries and                   technologies to inventory records.                       comment on whether any particular
                                                 many of the emissions unit types                           The EPA recognized both at proposal                   units within this category may offer
                                                 included in the proposal. However,                      and in the final rule that the cost per ton              cost-effective reduction potential.
                                                 based on comments that credibly                         of emissions controls could vary by                         Based on our request for comment,
                                                 indicated in certain cases that emissions               industry and by facility. The $7,500                     comments received, and our further
                                                 reduction opportunities are either not                                                                           evaluation, the EPA is including
                                                 available for certain unit types or are at                221 The workbook is available here: https://
                                                                                                           221                                                    emissions limits and associated control
                                                 costs that are far greater than the EPA                 www.epa.gov/power-sector-modeling/national-
                                                                                                         www.epa.gov/power-sector-modelinglnational-              requirements for the ozone season for
                                                 estimated at proposal, the EPA has                      electric-energy-data-system-needs-v6.                    solid waste incinerator units in this
                                                 changed the final rule to either remove                   222 The Final Non-EGU Sectors TSD is available
                                                                                                           222
                                                                                                                                                                  final rule, in line with the requirements
                                                                                                         in the docket.
                                                 or adjust the applicability criteria for                                                                         we laid out for comment at proposal.
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                           223 R is a free software environment for statistical
                                                                                                           223
                                                 such units. For a detailed discussion of                computing and graphics. Additional information is        Our analysis in this final rule confirms
                                                                                                         available here: https://www.r-project.org/.              that these units have emissions
                                                   219 The memorandum is available in the docket
                                                                                                           224 More information about the Control Strategy
                                                                                                           224                                                    reductions of a magnitude, degree of
                                                       https://www.regulations.gov/document/EPA-
                                                 here: https://www.regulations.govIdocument/EPA-         Tool (CoST) and the control measures database            beneficial impact, and cost-effectiveness
                                                 HQ-OAR-2021-0668-0150.                                  (CMDB) can be found at the following link: https://
                                                   220 The TSD for the proposed FIP is available in
                                                   220                                                   www.epa.gov/economic-and-cost-analysis-air-
                                                                                                         www.epa.govleconomic-and-cost-analysis-air-
                                                                                                                                                                  that is on par with the units in other
                                                 the docket here: https://www.regulations.gov/           pollution-regulations/cost-analysis-modelstools-air-
                                                                                                         pollution-regulationslcost-analysis-modelstools-air-     industrial sectors included in this final
                                                 document/EPA-HQ-OAR-2021-0668-0145.                     pollution.                                               rule.


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00081   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 120 of 430
                                                 36734
                                                 36734                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                   For electric generating units less than noted that MWCs are often located in                                waste reduction policies and associated
                                                 25 MW and cogeneration units              economically marginalized                                           environmental considerations.
                                                 previously exempted from EGU              communities or communities of color.                                   Response: Regarding the comments
                                                                                                                                                                  Response:
                                                 emissions budgets established through     Lastly, one commenter stated that                                   that some MWCs are already subject to
                                                 ozone interstate transport rules, the EPA MWCs were arbitrarily excluded from                                 RACT NOxNOX emissions limits, the EPA
                                                 has determined that these units should    the non-EGU screening assessment                                    acknowledges that some states included
                                                 not be treated as EGUs in this final rule.prepared for the proposal.                                          in this rulemaking have promulgated
                                                   The EPA provides a summary of these        Response: As described in section
                                                                                              Response:                                                        RACT NOxNOX emissions limits that apply
                                                 three segments, their emissions control   VI.B.2 of the notice of proposed                                    to certain MWCs, including some that
                                                 opportunities, and potential air quality  rulemaking, the EPA assessed emissions                              are lower than current MWC NSPS NOx   NOX
                                                 benefits in the following sections.       reduction potential from non-EGUs by                                emissions limits. The EPA does not
                                                 Additional considerations are further     preparing a screening assessment to                                 consider a source to be exempt from this
                                                 discussed in the EGU NOx
                                                                        NOX Mitigation     identify those industries that could have                           rulemaking just because the source may
                                                 Strategies Final TSD and in the RTC       the greatest air quality impact at                                  be subject to other regulatory
                                                 Document.                                 downwind receptors. While the EPA did                               requirements. As noted, the Agency did
                                                 a. Municipal Solid Waste Units            not prepare an updated non-EGU                                      evaluate MWCs using the criteria
                                                                                           screening assessment in preparation for                             developed in the screening assessment
                                                    At proposal, the EPA solicited
                                                                                           this final rule, the Agency did evaluate                            for proposal and has concluded that
                                                 comments on whether NOx   NOX emissions
                                                                                           MWCs using the criteria developed in                                MWCs should be included in this
                                                 reductions should be sought from
                                                                                           the screening assessment for proposal                               rulemaking. In considering the
                                                 municipal waste combustors (MWCs) to
                                                                                           and  determined that MWCs should be                                 emissions limits that are being finalized
                                                 address interstate ozone transport,
                                                                                           included   in this rulemaking. A                                    in this rulemaking, the EPA reviewed
                                                 specifically on potential emissions
                                                                                           discussion of this analysis for MWCs is                             existing state RACT rules as described
                                                 limits, control technologies, and control
                                                 costs. The EPA requested comment on       available in the Municipal Waste                                    in section VI.C.6 of this document and
                                                                                           Combustor Supplement to February
                                                                                                                        February 28,                           the "Technical
                                                                                                                                                                   ‘‘Technical Support Document
                                                 emissions limits of 105 ppmvd on a 30-
                                                 day rolling average and a 110 ppmvd on    2022   Screening  Assessment  of Potential                          (TSD) for the Final Rule, Docket ID No.
                                                 a 24-hour block average based on          Emissions Reductions, Air Quality
                                                                                                                        Quality                                EPA–HQ–OAR–2021–0668,
                                                                                                                                                               EPA—HQ—OAR-2021-0668, Non-EGU
                                                 determinations made in the June 2021      Impacts, and Costs from
                                                                                                                 from Non-EGU
                                                                                                                      Non-EGU                                  Sectors TSD’’
                                                                                                                                                                        TSD" (Mar. 2023), hereinafter
                                                 Ozone Transport Commission (OTC)          Emissions Units    for 2026, which is
                                                                                                       Units for                                               referred to as Final Non-EGU Sectors
                                                              Waste Combustor Workgroup available in the docket for this rule.
                                                 Municipal Waste                                                                                               TSD. We note that sources already
                                                 Report (OTC MWC Report). See 87 FR           Considering EPA's
                                                                                                            EPA’s conclusion that                              subject to RACT NOx
                                                                                                                                                                                 NOX emissions limits
                                                 20085–20086.
                                                 20085-20086. The OTC MWC Report           MWCs should be included in this final                               that are equal to or more stringent than
                                                 found that MWCs in the Ozone              rule if EPA applied the same criteria                               the limits finalized in this rulemaking
                                                 Transport Region (OTR) are a significant developed in the screening assessment                                will have the option to streamline
                                                            NOX emissions and that
                                                 source of NOx                             for proposal, the findings from the OTC                             regulatory requirements through the
                                                                      NOX reductions
                                                 significant annual NOx                    MWC report and recent MOU, the fact                                 Title V permitting process.
                                                 could be achieved from MWCs in the        that many state RACT NOx NOX rules apply                               Regarding the statement that
                                                 OTR using several different               to MWCs, and information received                                   regulation could interfere with state
                                                 technologies, or combination of           during public comment, the EPA finds                                waste reduction policies and associated
                                                 technologies at a reasonable cost. The    that MWCs should be included in this                                environmental considerations, the EPA
                                                 OTC MWC report is included in the         final rule. Thus, the EPA is finalizing                             acknowledges that MWCs serve an
                                                 docket for this action.                   NOX emissions limits and compliance
                                                                                           NOx                                                                 important role in municipal solid waste
                                                    Comment: The EPA received multiple assurance requirements for large MWCs
                                                    Comment:                                                                                                   management programs, and that many
                                                 comments supporting the inclusion of      as defined in the regulatory text at                                function as cogeneration facilities that
                                                 emissions limits for MWCs in the final    § 52.46 and as described in this section.                           produce electrical power for the power
                                                 rule. Commenters noted that MWCs are         Comment:
                                                                                              Comment: Some commenters did not                                 grid. The EPA also analyzed control
                                                                          NOX that
                                                 significant sources of NOx                support the inclusion of emissions                                  costs and determined that the required
                                                 contribute to ozone problems in the       limits for MWCs in the final rule. Some                             NOX emissions limits for MWCs can be
                                                                                                                                                               NOx
                                                 states covered by the proposal. Multiple commenters suggested that the                                        achieved at a reasonable cost, as
                                                 commenters referenced the OTC MWC         inclusion of NOx
                                                                                                          NOX limits in a FIP
                                                                                                                          FlP is not                           described in section VI.C.6 of this
                                                 report to contend that NOxNOX emissions   necessary to continue to reduce NOxNOX                              document, the Final Non-EGU Sectors
                                                 from MWCs could be significantly          emissions from MWCs or to address                                   TSD, and the OTC MWC Report.
                                                 reduced at a reasonable cost. Some        interstate transport problems. Some                                 Although the EPA does not expect these
                                                 commenters reasoned that sources          commenters noted that many of the                                   regulations to disrupt the ability of the
                                                 closer to downwind monitors, including MWCs in the states covered by the                                      industry to provide municipal solid
                                                 MWCs, should be regulated as a more       proposal are already subject to RACT-                               waste and electric services, to the extent
                                                 targeted approach and a means to                  NOX emissions limits that are
                                                                                           based NOx                                                           a facility is unable to comply with the
                                                 prevent overcontrol of upwind sources.    below the current Federal NSPS NOx NOX                              standards due to technical impossibility
                                                 Commenters also noted that the OTC        emissions limits for MWCs under 40                                  or extreme economic hardship, the final
                                                 recently signed a memorandum of           CFR part 60, subparts Cb and Eb. One                                rule includes provisions for facility
                                                 understanding (MOU) requesting that                                                                           operators to apply for a case-by-case
ddrumheller on DSK120RN23PROD with RULES2




                                                                                           commenter noted that MWCs do not
                                                 OTC member states develop cost            always account for a large percentage of                            alternative emissions limit. See section
                                                 effective solutions and select the                    NOX emissions. Others
                                                                                           statewide NOx                                                       VI.C of this document and 40 CFR
                                                                                                                                                               VI.0
                                                 strategy or combination of strategies, as suggested that voluntary industry                                   52.40(d). In addition, for MWC facilities
                                                 necessary and appropriate, that provides actions are also driving downward                                    that are unable to comply with the
                                                 both the maximum certainty and            trends of NOx
                                                                                                      NOX emissions for some                                   standard by the 2026 ozone season, the
                                                 flexibility for that state and its MWCs.  MWCs. Some commenters also asserted                                 final rule includes provisions for
                                                 Additionally, multiple commenters         that regulation could interfere with state                          requesting limited extensions of time to


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00082   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 121 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                      36735
                                                                                                                                                                                              36735

                                                                     VI.C and 40 CFR
                                                 comply. See section VI.0                                MW to a 10 MW unit, and a factor of                83,317 MWe of electrical capacity. Over
                                                 52.40(c).                                               8 when moving to a 1 MW unit.     225
                                                                                                                                      unit.225              99 percent of the installations are
                                                                                                         Moreover, the EPA estimates that under             powered by 5 equipment types, those
                                                 b. Electric Generating Units Less Than
                                                                                                         6 percent of nationwide EGU emissions              being reciprocating engines (52 percent),
                                                 or Equal to 25 MW
                                                                                                         come from units that are less than 25              boilers/steam turbines (17 percent), gas
                                                    The EPA has historically not included                MW and not covered by current                      turbines (16 percent), microturbines (8
                                                 control requirements for emissions for                  applicability criteria due to this size            percent), and fuel cells (4 percent). The
                                                 electric generating units less than or                  exemption threshold. Therefore, the                majority of the electrical capacity is
                                                 equal to 25 MW of generation for three                  EPA is not finalizing any emissions                provided by gas turbine CHP CRP systems
                                                 primary reasons: low potential                          reductions for these units.                        (64 percent) and boiler/steam turbine
                                                 reductions, relatively high cost per ton                  Comment:
                                                                                                           Comment: EPA received comment                    CHP
                                                                                                                                                            CRP systems (32 percent). The various
                                                 of reduction, and high monitoring and                   supporting the continued application of            CHP
                                                                                                                                                            CRP technologies described herewith
                                                 other compliance burdens. In the                        the 25 MW threshold.                               are available in a large range of sizes,
                                                 January 11, 1993, Acid Rain permitting                    Response: Consistent with prior rules,
                                                                                                           Response:                                        from as small as 1 kilowatt reciprocating
                                                 rule, the EPA provided for a conditional                the proposal, and stakeholder comment,             engine systems to as large as 300
                                                 exemption from the emissions                            EPA is continuing to apply its 25 MW               megawatt gas turbine powered systems.
                                                 reduction, emitting, and emissions                      applicability threshold for EGUs in this              NOX emissions from rich burn
                                                                                                                                                               NOx
                                                 monitoring requirements of the Acid                     rulemaking. EPA did not find                       reciprocating engine, gas turbine, and
                                                 Rain Program for new units having a                     compelling comment to reverse its                  microturbine systems are low, ranging
                                                 nameplate capacity of 25 MWe or less                    determination that (1) these sources               from 0.013 to 0.05 lb/mmBtu. NOx  NOX
                                                 that burn fuels with a sulfur content no                offer low potential reductions, (2) have           emissions from lean burn reciprocating
                                                 greater than 0.05 percent by weight,                    relatively high cost per ton, and (3) have         engine systems and gas-powered steam
                                                 because of the de minimis nature of                     high monitoring and other compliance               turbines systems range from 0.1 to 0.2
                                                 their potential SO2,
                                                                 SO2, CO        NOX
                                                                       CO22 and NOx                      burdens.                                           lb/mmBtu. The highest NOx  NOX emitting
                                                 emissions. See 63 FR 57484. The NOx NOX                                                                    CHP
                                                                                                                                                            CRP   units  are solid fuel-fired boiler/
                                                 SIP Call identified these as Small Point                c. Cogeneration Units
                                                                                                                                                            steam turbine systems which emit NOx   NOX
                                                 Sources. For the purposes of that                          Consistent with prior transport rules,          at rates ranging from 0.2 to 1.2 lb/
                                                 rulemaking, the EPA considered                          fossil fuel-fired boilers and combustion           mmBtu.
                                                 electricity generating boilers and                      turbines that produce both electricity                Under the final rule (consistent with
                                                 turbines serving a generator 25 MWe or                  and useful thermal energy (generally               prior CSAPR rulemakings), certain
                                                 less, to be small point sources. The EPA                                  ‘‘cogeneration units")
                                                                                                         referred to as "cogeneration         units’’) and cogeneration units would be exempt
                                                 noted that the collective emissions from                that meet the applicability criteria to be from coverage under the CSAPR NOx            NOX
                                                 small sources were relatively small and                 included in the CSAPR NOx      NOX Ozone           Ozone Season Group 3 Trading Program
                                                 the administrative burden to the states                 Season Group 3 Trading Program would as EGUs. Specifically, the trading
                                                 and regulated entities of controlling                   be subject to the emissions reduction              program regulations include an
                                                 such sources was likely to be                           requirements established in this                   exemption for a unit that qualifies as a
                                                 considerable. As a result, the rule did                 rulemaking for EGUs. However, those                cogeneration unit throughout the later of
                                                 not assume reductions from those                        applicability criteria—which the EPA is 2005 or the first 12 months during
                                                 sources in state emissions budgets                      not altering in this rulemaking (see               which the unit first produces electricity
                                                 requirements (63 FR 57402). Similar                     section VI.B.3 of this document)—                  and continues to qualify through each
                                                 size thresholds have been incorporated                  exempt some cogeneration units from                calendar year ending after the later of
                                                 in subsequent transport programs such                   coverage as EGUs under the trading                 2005 or that 12-month period and that
                                                 as CAIR and CSAPR. As these sources                     program. The EPA is finalizing that                meets the limitation on electricity sales
                                                 were not identified as having cost-                     fossil fuel-fired boilers and combustion           to the grid. To meet the trading
                                                 effective reductions and so were not                    turbines that produce both electricity             program’s
                                                                                                                                                            program's definition of "cogeneration
                                                                                                                                                                                       ‘‘cogeneration
                                                 included in those programs, they were                   and useful thermal energy and that do              unit’’ under the regulations, a unit (i.e.,
                                                                                                                                                            unit"
                                                 also exempted from certain reporting                    not meet the applicability criteria to be          a fossil-fuel-fired boiler or combustion
                                                 requirements and the data for these                     included in the CSAPR NOx      NOX Ozone           turbine) must be a topping-cycle or
                                                 sources is, therefore, not of the same                  Season Group 3 Trading Program as                  bottoming-cycle type that operates as
                                                 caliber as that of covered larger sources.              EGUs would not be subject to the Group part of a "cogeneration
                                                                                                                                                                      ‘‘cogeneration system."
                                                                                                                                                                                       system.’’ A
                                                    EPA’s preliminary survey of current
                                                    EPA's                                                3 emissions trading program. However,              cogeneration system is defined as an
                                                 data, compared to this initial                          to the extent a cogeneration unit meets            integrated group of equipment at a
                                                 justification, does not appear to offer a               the applicability criteria for industrial          source (including a boiler, or
                                                 compelling reason to depart from this                   non-EGU boilers covered by this rule,              combustion turbine, and a generator)
                                                 past practice by requiring emissions                    that unit will be subject to the relevant          designed to produce useful thermal
                                                 reductions from these small EGU                         requirements and is not exempted by                energy for industrial, commercial,
                                                 sources as part of this rule. For instance,             virtue of being a cogeneration unit.               heating, or cooling purposes and
                                                 as explained in the EGU NOxNOX Mitigation                  According to information contained              electricity through the sequential use of
                                                 Strategies Final Rule TSD, EPA has                               EPA’s Combined Heat and Power energy. A topping-cycle unit is a unit
                                                                                                         in the EPA's
                                                 evaluated the costs of SCR retrofits at                 Partnership’s document "Catalog
                                                                                                         Partnership's                                  CHP where the sequential use of energy
                                                                                                                                         ‘‘Catalog of CRP
                                                 small EGUs using its Retrofit Cost                      Technologies’’,
                                                                                                         Technologies",226   226 there are 4,226 CHP   CRP  results in production of useful power
ddrumheller on DSK120RN23PROD with RULES2




                                                 Analyzer and found that such controls                   installations in the U.S. providing                first and then, through use of reject heat
                                                 become markedly less cost-effective at                                                                     from such production, in production of
                                                 lower levels of generating capacity. This                 225 Preliminary estimate based on representative
                                                                                                           225                                              useful thermal energy. A bottoming-
                                                 analysis concluded that, after                                                   NOX rate of 0.2 lb/mmBtu,
                                                                                                         coal units with starting NOx                       cycle unit is a unit where the sequential
                                                 controlling for all other unit                          10,000 BTU/kwh, and assuming 80 percent            use of energy results in production of
                                                                                                         reduction.
                                                 characteristics, the dollar per ton cost                  226 This document is available at: https://
                                                                                                           226                                              useful thermal energy first, and then,
                                                 for a SCR retrofit increases by about a                 www.epa.gov/sites/default/files/2015-07/
                                                                                                         www.epa.govIsitesIdefaultlfiles/2015-071           through use of reject heat from such
                                                 factor of 2.5 when moving from a 500                    documents/catalog_of_chp_technologies.pdf.
                                                                                                         documents/catalog of chp_technologies.pdf.         production, in production of useful


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00083   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023                 Page 122 of 430
                                                 36736
                                                 36736                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 power. To qualify as a cogeneration                     boilers (two in Pulp and Papermill and                   Marine Rule (73 FR 25098; May 6,
                                                 unit, a unit also must meet certain                     two in Basic Chemical Manufacturing)                     2008); the Marine Spark-Ignition and
                                                 efficiency and operating standards in                   that would meet the final rule's
                                                                                                                                     rule’s                       Small Spark-Ignition Engine Rule (73 FR
                                                 2005 and each year thereafter. The                      applicability criteria for non-EGU units                 59034; October 8, 2008); the New
                                                 electricity sales limitation under the                  and are included in the analysis of non-                 Marine Compression-Ignition Engines at
                                                 exemption is applied in the same way                    EGU emissions reduction potential in                     or Above 30 Liters per Cylinder Rule (75
                                                 whether a unit serves only one generator                section V.C.2 of this document.                          FR 22895; April 30, 2010); and the
                                                 or serves more than one generator. In                                                                            Aircraft and Aircraft Engine Emissions
                                                 both cases, the total amount of                         4. Mobile Source NOx
                                                                                                                          NOX Mitigation                          Standards (77 FR 36342; June 18, 2012).
                                                 electricity produced annually by a unit                 Strategies                                                  Most recently, EPA finalized more
                                                 and sold to the grid cannot exceed the                     Under a variety of CAA programs, the                  stringent emissions standards for NOxNOX
                                                 greater of one-third of the unit's
                                                                                unit’s                   EPA has established Federal emissions                    and other pollution from heavy-duty
                                                 potential electric output capacity or                   and fuel quality standards that reduce                   trucks (Control of Air Pollution from
                                                 219,000 MWh. This is consistent with                    emissions from cars, trucks, buses,                      New Motor Vehicles: Heavy-Duty
                                                 the approach taken in the Acid Rain                     nonroad engines and equipment,                           Engine and Vehicle Standards, 88 FR
                                                 Program (40 CFR 72.7(b)(4)), where the                  locomotives, marine vessels, and aircraft                4296, January 24, 2023). These
                                                 cogeneration-unit exemption originated.                 (i.e., "mobile
                                                                                                                ‘‘mobile sources").
                                                                                                                         sources’’). Because states               standards will take effect beginning
                                                    The EPA requested comment on                         are generally preempted from regulating                  with model year 2027. Heavy-duty
                                                 requiring fossil fuel-fired boilers in the              new vehicles and engines with certain                    vehicles are the largest contributor to
                                                 non-EGU industries identified in section                exceptions (see generally
                                                                                                                           generally CAA section                  mobile source emissions of NOxNOX and
                                                 VI.C of this document that serve
                                                 VI.0                                                    209), mobile source emissions are                        will be one of the largest mobile source
                                                 electricity generators and that qualify                 primarily controlled through EPA's
                                                                                                                                          EPA’s                   contributors to ozone in 2025.   230
                                                                                                                                                                                            2025.230
                                                 for an exemption from inclusion in the                  Federal programs. The EPA has been                       Reducing heavy-duty vehicle emissions
                                                 CSAPR NOxNOX Ozone Season Group 3                       regulating mobile source emissions                       nationally will improve air quality
                                                 Trading Program as EGUs to instead                      since it was established as a Federal                    where the trucks are operating as well
                                                 meet the same emissions standards, if                   agency in 1970, and all mobile source                    as downwind. The EPA's
                                                                                                                                                                                       EPA’s existing
                                                 any, that would apply under this                                                           NOX
                                                                                                         sectors are currently subject to NOx                     regulatory program for mobile sources
                                                 rulemaking to fossil fuel-fired boilers at              emissions standards. The EPA factors                                               NOX emissions
                                                                                                                                                                  will continue to reduce NOx
                                                 facilities in the same non-EGU                          these standards and associated                           into the future.
                                                 industries that do not serve electricity                emissions reductions into its baseline                      Comment:
                                                                                                                                                                     Comment: The EPA received
                                                 generators.                                             air quality assessment in good neighbor                  comments on ozone-precursor
                                                    Comment:
                                                    Comment: Some stakeholders support                   rulemaking, including in this final rule.                emissions from mobile sources,
                                                 the continued exclusion of qualifying                   These data are factored into EPA's
                                                                                                                                         EPA’s                    including cars, trucks, trains, ships, and
                                                 cogenerators from the EGU program, but                  analysis at Steps 1 and 2 of the 4-step                  planes. Commenters broadly encouraged
                                                 suggested they be regulated as non-                     framework. As a result of this long                      the EPA to require emissions reductions
                                                 EGUs if they don’t
                                                                 don't fit the EGU                       history, NOx
                                                                                                                   NOX emissions from onroad and                  from mobile sources in this rule.
                                                 applicability criteria.                                 nonroad mobile sources have                              Commenters stated that the
                                                    Response: The EPA agrees that there                  substantially decreased (73 percent and                  transportation sector plays a significant
                                                 is no basis within the four-step                        57 percent since 2002, for onroad and                    role in NOx
                                                                                                                                                                          NOX pollution and ozone
                                                 framework to exempt cogeneration units                                                                           formation and urged the EPA to finalize
                                                                                                         nonroad, respectively) 227227 and are
                                                 that fall under the applicability criteria                                                                       emissions reductions for the
                                                                                                         predicted to continue to decrease into
                                                 of the final rule for non-EGU boilers                                                                            transportation sector that will enable
                                                                                                         the future as newer vehicles and engines
                                                 simply because they are cogeneration                                                                             attainment of the 2015 ozone NAAQS.
                                                 units. While cogeneration units do have                 that are subject to the most recent,
                                                                                                                                                                  Some commenters noted that high
                                                                                                         stringent standards replace older
                                                 environmental benefits as noted at                                                                               proportions of NOx
                                                                                                                                                                                  NOX emissions in various
                                                 proposal, some cogeneration unit-types,                 vehicles and engines.  228
                                                                                                                        engines.228
                                                                                                                                                                  upwind states are attributable to the
                                                 particularly boilers, are estimated to                     For example, in 2014, the EPA
                                                                                                                                                                  transportation sector, and stated that
                                                       NOX emissions that would
                                                 have NOx                                                promulgated new, more stringent
                                                                                                                                                                  EPA should have targeted emissions
                                                                         rule’s criteria at
                                                 otherwise meet this rule's                              emissions and fuel standards for light-
                                                                                                                                                                  reductions from mobile sources first
                                                 Step 3 for constituting "significant
                                                                            ‘‘significant                duty passenger cars and trucks.229
                                                                                                                                     trucks.229 The
                                                                                                                                                                  before requiring more stringent
                                                 contribution.’’ These units can meet the
                                                 contribution."                                          fuel standards took effect in 2017, and
                                                                                                                                                                  emissions controls from stationary
                                                 emissions limits that are otherwise                     the vehicle standards phase in between                   sources in the same upwind states.
                                                 finalized for these unit types, and the                 2017 and 2025. Other EPA actions that                       Response: The EPA agrees with
                                                 EPA does not find a basis to exclude                    are continuing to reduce NOx NOX emissions               commenters that a variety of sources,
                                                 them simply because they may have                       include the Heavy-Duty Engine and                        including mobile sources in the
                                                 other environmentally-beneficial                        Vehicle Standards and Highway Diesel                     transportation sector, produce NOxNOX
                                                 attributes.                                             Fuel Sulfur Control Requirements (66                     emissions that contribute to ozone air
                                                    These emissions limits are set forth in              FR 5002; January 18, 2001); the Clean                    quality problems across the U.S. This
                                                 section VI.C.5 of this document.                        Air Nonroad Diesel Rule (69 FR 38957;                    rule, as with prior interstate transport
                                                 Therefore, the final requirements for                   June 29, 2004); the Locomotive and                       actions, does not ignore those
                                                 non-EGUs do not exempt cogeneration                                                                              emissions, and it credits those on-the-
                                                                                                            227 US EPA. Our Nation's
                                                                                                            227               Nation’s Air: Status and Trends
                                                 units and any cogeneration emissions                                                                             books measures of states and the Federal
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                                          https://gispub.epa.gov/air/
                                                                                                         Through 2019. https://gispub.epa.govlairl
                                                 units meeting the applicability criteria                trendsreport/2020/#home.                                 Government within the four-step
                                                 for non-EGUs will be subject to the final                  228 National Emissions Inventory Collaborative
                                                                                                            228                                                   framework by including emissions and
                                                 emissions limits for the appropriate                    (2019). 2016v1 Emissions Modeling Platform.
                                                 non-EGU emissions unit. Based on                        Retrieved from http://views.cira.colostate.edulwikil
                                                                                                                          http://views.cira.colostate.edu/wiki/     238 Zawacki et al, 2018. Mobile source
                                                                                                                                                                    230
                                                                                                         wiki/10202.                                              contributions to ambient ozone and particulate
                                                 EPA’s review of available data, across
                                                 EPA's                                                      228 Control of Air Pollution from Motor Vehicles:
                                                                                                            229
                                                                                                                                                                  matter in 2025. Atmospheric Environment. Vol 188,
                                                 all of the non-EGU industries covered                   Tier 3 Motor Vehicle Emissions and Fuel Standards,          129–141. Available online: https://doi.org/
                                                                                                                                                                  pg 129-141.
                                                 by this rule, there are four cogeneration               79 FR 23414 (April 28, 2014).                            10.1016/j.atmosenv.2018.04.057.



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00084   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM    05JNR2
                                                       USCA Case #23-1157                                           Document #2009836                                         Filed: 07/27/2023                Page 123 of 430
                                                                              Federal Register //Vol.
                                                                                                 Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                                                      36737
                                                                                                                                                                                                                                      36737

                                                 emissions reductions from these sources                                      any case, the existence of mobile source                     section V.B.1 of this document), that
                                                 in the emissions inventory for air                                           emissions noted by commenters does                           were assessed in previous rules to
                                                 quality modeling, which informs Steps                                        not lead to the conclusion that the EPA                      address ozone transport, and that have
                                                 1 and 2 of this analysis. Thus, this rule                                    must require mobile source reductions                        been incorporated into state planning
                                                 accurately represents emissions from                                         in this rule or that the EPA has not                         requirements to address ozone
                                                 mobile sources that are used to evaluate                                     properly identified "source[s]
                                                                                                                                                    ‘‘source[s] or other                   nonattainment.
                                                                                                                                                                                           nonattainrnent.
                                                 the contribution of states to ozone air                                                             activity’’ in upwind
                                                                                                                              type[s] of emissions activity"                                 The EPA evaluated the EGU sources
                                                 quality problems in other states. See                                                    ‘‘significantly contribute’’
                                                                                                                              states that "significantly  contribute" for                  within the State of California and found
                                                 section IV.C
                                                          IV.0 of this document.                                              purposes of the Good Neighbor                                there were no covered coal steam
                                                    The EPA notes that its Step 3 analysis                                    Provision. The EPA is committed to                           sources greater than 100 MW that would
                                                 for this FIP does not assess additional                                      continuing the effective implementation                      have emissions reduction potential
                                                 emissions reductions opportunities from                                      and enforcement of current mobile                                          EPA’s assumed EGU SCR
                                                                                                                                                                                           according to EPA's
                                                 mobile sources. The EPA continues to                                         source standards and continuing its                          retrofit mitigation technologies.232
                                                                                                                                                                                                               technologies.232 The
                                                 believe that title II of the CAA provides                                    efforts on new standards. The EPA will                       EGUs in the state are sufficiently well-
                                                 the primary authority and process for                                        continue to work with state and local air                    controlled resulting in the lowest fossil-
                                                 reducing these emissions at the Federal                                      agencies to incorporate emissions                            fuel emissions rate and highest share of
                                                        EPA’s various Federal mobile
                                                 level. EPA's                                                                 reductions from the transportation                           renewable generation among the 23
                                                 source programs, summarized above in                                         sector into required ozone attainment                        states examined at Step 3. EPA's
                                                                                                                                                                                                                       EPA’s Step 3
                                                 this section, have delivered and are                                         planning elements.                                           analysis, including analysis of the
                                                 projected to continue to deliver                                             C. Control Stringencies Represented by
                                                                                                                                                                  by                       emissions reduction factors from EGU
                                                 substantial nationwide reductions in                                         Cost Threshold ($ per ton) and                               sources in the state, therefore resulted in
                                                 both VOCs and NOx NOX emissions; these                                       Corresponding Emissions Reductions                           no additional emissions reductions
                                                 reductions from final rules are factored                                                                                                  required to eliminate significant
                                                           Agency’s assessment of air
                                                 into the Agency's                                                            1. EGU Emissions Reduction Potential                         contribution from any EGU sources in
                                                 quality and contributions at Steps 1 and                                     by Cost Threshold                                            California.
                                                 2. Further, states are generally                                                For EGUs, as discussed in section V.A                       The following tables summarize the
                                                 preempted from regulating new vehicles                                       of this document, the multi-factor test                      emissions reduction potentials (in ozone
                                                 and engines with certain exceptions,                                         considers increasing levels of uniform                       season tons) from these emissions
                                                 and therefore a question exists regarding                                    control stringency in combination with                       controls across the affected
                                                      EPA’s authority to address such
                                                 the EPA's                                                                                      NOX reduction
                                                                                                                              considering total NOx                                        jurisdictions. Table V.C.1-1
                                                                                                                                                                                                                 V.C.1–1 focuses on
                                                 emissions through such means when                                            potential and corresponding air quality                      near-term emissions controls while
                                                 regulating in place of the states under                                      improvements. The EPA evaluated EGU                          Table V.C.1-2
                                                                                                                                                                                                  V.C.1–2 includes emissions
                                                                             generally CAA
                                                 CAA section 110(c). See generally                                            NOX emissions controls that are widely
                                                                                                                              NOx                                                          controls with extended implementation
                                                 section 209. See also 86 FR 23099.    231 In
                                                                                23099.231                                     available (described previously in                           timeframes.
                                                                          TABLE V.C.1-1—EGU
                                                                          TABLE V.C.1–1—EGU OZONE-SEASON
                                                                                            OZONE-SEASON EMISSIONS
                                                                                                         EMISSIONS AND REDUCTION
                                                                                                                       REDUCTION POTENTIAL
                                                                                                                                 POTENTIAL (TONS)—2023
                                                                                                                                           (TONS)-2023

                                                                                                                                                                                       Reduction potential (tons) for varying levels of
                                                                                                                                                                                                   technology inclusion
                                                                                                                                                                  Baseline 2023                             SCR                SCR/SNCR
                                                                                                   State                                                            OS NOx
                                                                                                                                                                         NOX                           optimization +         optimization +
                                                                                                                                                                                         SCR                                   combustion
                                                                                                                                                                                     optimization       combustion
                                                                                                                                                                                                           control                control
                                                                                                                                                                                                         upgrades               upgrades

                                                 Alabama .................................................................................................                 6,412                32                    32                    32
                                                 Arkansas ................................................................................................                 8,955                28                    28                    28
                                                 Illinois .....................................................................................................            7,721                70                    70                   247
                                                 Indiana ...................................................................................................              13,298               856                   856                   858
                                                 Kentucky ................................................................................................                13,900               299                   901                   901
                                                 Louisiana ................................................................................................                9,974               515                   515                   611
                                                 Maryland ................................................................................................                 1,214                 0                     0                     8
                                                 Michigan .................................................................................................               10,746                 4                     4                    19
                                                 Minnesota ..............................................................................................                  5,643                98                    98                   139
                                                 Mississippi ..............................................................................................                6,283                73                   984                   984
                                                 Missouri ..................................................................................................              20,094             7,339                 7,339                 7,497
                                                 Nevada ...................................................................................................                2,372                 4                     4                     4
                                                 New Jersey ............................................................................................                     915               143                   143                   143
                                                 New York ...............................................................................................                  3,977                64                    64                    64
                                                 Ohio .......................................................................................................             10,264             1,154                 1,154                 1,154
                                                 Oklahoma ...............................................................................................                 10,470               199                   890                   890
                                                 Pennsylvania ..........................................................................................                   8,573               336                   336                   436
                                                 Texas .....................................................................................................              41,276               909                   909                 1,142
ddrumheller on DSK120RN23PROD with RULES2




                                                 Utah .......................................................................................................             15,762                 7                     7                     7
                                                 Virginia ...................................................................................................              3,329               164                   242                   263
                                                 West Virainia
                                                         Virginia ..........................................................................................              14,686
                                                                                                                                                                          14.686               554                 1,099
                                                                                                                                                                                                                   1.099                 1,380
                                                                                                                                                                                                                                         1.380

                                                    231 This is not to say that states lack other options
                                                   231                                                                        states may (but are not required to) adopt California        submit those standards to be included as a part of
                                                 to reduce emissions from mobile sources. For                                 vehicle emissions standards for which a waiver has           their SIP.
                                                 example, a general list of types of transportation                           been granted from the preemption provisions in                  232 The only coal-fired power plant in California
                                                                                                                                                                                              232

                                                 control measures can be found in CAA section                                 section 209(a). States that decide to adopt California       is the 63 MW Argus Cogeneration facility in Trona,
                                                 108(f). In addition, in accordance with section 177,                         vehicle emissions standards may also choose to               California.



                                            VerDate Sep<11>2014          20:14 Jun 02, 2023         Jkt 259001       PO 00000        Frm 00085        Fmt 4701    Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                                          Document #2009836                                           Filed: 07/27/2023                Page 124 of 430
                                                 36738                                Register / Vol. 88, No. 107/Monday,
                                                                              Federal Register/Vol.           107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                                    2023/Rules

                                                              TABLE V.C.1-1-EGU
                                                              TABLE V.C.1–1—EGU OZONE-SEASON
                                                                                OZONE-SEASON E             REDUCTION POTENTIAL
                                                                                              MISSIONS AND REDUCTION
                                                                                             EMISSIONS               POTENTIAL (TONS)-2023
                                                                                                                               (TONS)—2023—Continued
                                                                                                                                           -Continued

                                                                                                                                                                                         Reduction potential (tons) for varying levels of
                                                                                                                                                                                                     technology inclusion

                                                                                                                                                                Baseline 2023                                  SCR              SCR/SNCR
                                                                                                   State                                                          OS NOx
                                                                                                                                                                       NOX                                optimization +       optimization +
                                                                                                                                                                                           SCR             combustion           combustion
                                                                                                                                                                                       optimization           control              control
                                                                                                                                                                                                            upgrades             upgrades

                                                 Wisconsin ...............................................................................................                   6,321                    7                    7                26

                                                       Total ................................................................................................          222,184               12,854               15,681               16,832
                                                    * The EPA shows reduction potential from state-of-the-art LNB upgrade as near-term emissions controls, but explains in section V.B and VI.A
                                                   *The
                                                 of this document that this reduction potential would not be implemented until 2024.

                                                                        TABLE V.C.1-2-EGU
                                                                        TABLE V.C.1–2—EGU OZONE-SEASON E
                                                                                          OZONE-SEASON  MISSIONS AND R
                                                                                                       EMISSIONS      EDUCTION P
                                                                                                                     REDUCTION           (TONS)—2026 *
                                                                                                                                OTENTIAL (TONS-2026"
                                                                                                                               POTENTIAL

                                                                                                                                                                 Reduction potential (tons) for varying levels of technology inclusion
                                                                                                                                                                                                                                SCR/SNCR
                                                                                                                                                                                          SCR              SCR/SNCR            optimization +
                                                                                                                                   Baseline 2026
                                                                                   State                                                                                             optimization +       optimization +        combustion
                                                                                                                                     OS NOx
                                                                                                                                          NOX                       SCR
                                                                                                                                                                                      combustion           combustion              control
                                                                                                                                                                optimization             control              control           upgrades +
                                                                                                                                                                                       upgrades             upgrades            SCR/SNCR
                                                                                                                                                                                                                                  retrofits

                                                 Alabama .................................................................                       6,371                    32                      32                   32                 604
                                                 Arkansas ................................................................                       8,728                    28                      28                   28               4,697
                                                 Illinois .....................................................................                  6,644                    70                      70                  230               1,281
                                                 Indiana ...................................................................                     9,468                   768                     768                  770               1,333
                                                 Kentucky ................................................................                      13,211                   299                     739                  739               5,303
                                                 Louisiana ................................................................                      9,704                   515                     515                  611               5,894
                                                 Maryland ................................................................                         901                    51                      51                   59                  59
                                                 Michigan .................................................................                      7,790                     4                       4                   19               1,959
                                                 Minnesota ...............................................................                       4,197                    98                      98                  139               1,613
                                                 Mississippi ..............................................................                      6,022                    73                     984                  984               3,938
                                                 Missouri ..................................................................                    18,612                 7,339                   7,339                7,497              11,231
                                                 Nevada ...................................................................                      1,146                     4                       4                    4                   4
                                                 New Jersey ............................................................                           915                   143                     143                  143                 143
                                                 New York ...............................................................                        3,977                    64                      64                   64                 589
                                                 Ohio ........................................................................                   9,083                 1,154                   1,154                1,154               1,154
                                                 Oklahoma ...............................................................                       10,259                   199                     890                  890               5,968
                                                 Pennsylvania ..........................................................                         8,362                   352                     352                  452               1,204
                                                 Texas .....................................................................                    39,684                   909                     909                1,142              15,980
                                                 Utah ........................................................................                   9,930                     7                       7                    7               7,338
                                                 Virginia ...................................................................                    3,019                   164                     242                  263                 646
                                                 West Virginia ..........................................................                       13,185                   401                     947                1,227               3,507
                                                 Wisconsin ...............................................................                       5,016                     7                       7                   26                 623

                                                       Total ................................................................                 196,225                 12,680                 15,346               16,480               75,067
                                                    * The EPA shows all emissions reduction potential identified for assumed SCR retrofits in the Step 3 analytic year 2026, but explains in sec-
                                                    *The
                                                 tions V.B and VI.A of this document that for Step 4 implementation this emissions reduction potential will be phased in during the 2026 and 2027
                                                 ozone season control periods.


                                                 2. Non-EGU or Industrial Source                                             information on control efficiencies and    final rule emissions limits may also
                                                 Emissions Reduction Potential                                               default cost/ton values from the CMDB,     differ from those estimated in this
                                                                                                                             to estimate NOx
                                                                                                                                         NOX emissions reductions       assessment. The costs do not include
                                                    As described in the memorandum
                                                                                                                             and costs for the year 2026. The           monitoring, recordkeeping, reporting, or
                                                 titled "Summary
                                                        ‘‘Summary of Final Rule
                                                                                                                             estimates using the 2019 inventory and     testing costs.
                                                 Applicability Criteria and Emissions
                                                 Limits for Non-EGU Emissions Units,                                         information from the CMDB identify            Table V.C.2-1
                                                                                                                                                                                  V.C.2–1 summarizes the
                                                 Assumed Control Technologies for                                            proxies for emissions units, as well as    industries, estimated emissions unit
                                                 Meeting the Final Emissions Limits, and                                     emissions reductions, and costs            types, assumed control technologies,
ddrumheller on DSK120RN23PROD with RULES2




                                                 Estimated Emissions Units, Emissions                                        associated with the assumed control        estimated annual costs (2016$), and
                                                                  Costs,’’ the EPA uses
                                                 Reductions, and Costs,"                                                     technologies that would meet the final     estimated ozone season emissions
                                                 the 2019 emissions inventory, the list of                                   emissions limits. Emissions units          reductions in 2026, and Table V.C.2-2
                                                                                                                                                                                                       V.C.2–2
                                                 emissions units estimated to be                                             subject to the final rule emissions limits summarizes the estimated reductions by
                                                 captured by the applicability criteria,                                     may differ from those estimated in this    state.
                                                 the assumed control technologies that                                       assessment, and the estimated emissions
                                                 would meet the emissions limits, and                                        reductions from and costs to meet the


                                            VerDate Sep<11>2014         20:14 Jun 02, 2023          Jkt 259001      PO 00000       Frm 00086        Fmt 4701     Sfmt 4700    E:\FR\FM\05JNR2.SGM     05JNR2
                                                        USCA Case #23-1157                                               Document #2009836                                                            Filed: 07/27/2023                                          Page 125 of 430
                                                                                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                                                                                                           36739

                                                        TABLE V.C.2-1-BY
                                                        TABLE V.C.2–1—BY INDUSTRY
                                                                          INDUSTRY IN 2026, ESTIMATED E
                                                                                            ESTIMATED            UNIT TYPES,
                                                                                                        MISSIONS UNIT
                                                                                                      EMISSIONS       TYPES, ASSUMED
                                                                                                                             ASSUMED CONTROL
                                                                                                                                      CONTROL TECHNOLOGIES,
                                                                                                                                               TECHNOLOGIES,
                                                                  ANNUAL COSTS
                                                                  ANNUAL COSTS (2016$), AND ESTIMATED
                                                                                             ESTIMATED EMISSIONS
                                                                                                       EMISSIONS REDUCTIONS
                                                                                                                  REDUCTIONS (OZONE
                                                                                                                              (OZONE S       TONS)
                                                                                                                                       EASON TONS)
                                                                                                                                     SEASON

                                                                                                                                                                                                       Assumed control                                           Annual costs            Ozone season
                                                                  Industry/industries                                                Emissions unit type                                     technologies that meet final emissions                                                       emissions
                                                                                                                                                                                                             limits                                                (2016$)                reductions

                                                 Pipeline Transportation of Natural Gas .....                      Reciprocating Internal Combustion Engine                               NSCR or Layered Combustion, Layered                                     385,463,197                  32,247
                                                                                                                                                                                           Combustion, SCR, NSCR.
                                                 Cement and Concrete Product Manufac- Kiln ............................................................                                   SNCR ........................................................            10,078,205                   2,573
                                                    turing.
                                                 Iron and Steel Mills and Ferroalloy Manu- Reheat Furnaces .......................................                                        LNB ...........................................................           3,579,294                     408
                                                    facturing.
                                                 Glass and Glass Product Manufacturing .. Furnaces ...................................................                                    LNB ...........................................................           7,052,088                   3,129
                                                 Iron and Steel Mills and Ferroalloy Manu- Boilers .......................................................                                SCR, LNB + FGR ......................................                     8,838,171                     440
                                                    facturing.
                                                 Metal Ore Mining ....................................... ....................................................................            ....................................................................        621,496                      18
                                                 Basic Chemical Manufacturing .................. ....................................................................                     ....................................................................     49,697,848                   1,748
                                                 Petroleum and Coal Products Manufac- ....................................................................                                ....................................................................      5,128,439                     147
                                                    turing.
                                                 Pulp, Paper, and Paperboard Mills ........... ....................................................................                       ....................................................................     62,268,540                   1,836
                                                 Solid Waste Combustors and Incinerators Combustors or Incinerators .......................                                               ANSCR or LN       LNTM TM and SNCR .....................                 38,949,560                   2,071

                                                       Totals ..................................................   ....................................................................   ....................................................................    571,676,839                  44,616


                                                                TABLE V.C.2-2-ESTIMATED
                                                                TABLE V.C.2–2—ESTIMATED E         REDUCTIONS (OZONE
                                                                                         MISSIONS REDUCTIONS
                                                                                        EMISSIONS            (OZONE S      TONS) BY UPWIND
                                                                                                                     EASON TONS)
                                                                                                                    SEASON          UPWIND STATE
                                                                                                                                           STATE IN 2026
                                                                                                                                                                                                                                                               2019                          NOX
                                                                                                                                                                                                                                                                                          OS NOx
                                                                                                                                           State                                                                                                                OS
                                                                                                                                                                                                                                                             emissions *                 reductions

                                                 AR ............................................................................................................................................................................                                     8,790                     1,546
                                                 CA ............................................................................................................................................................................                                    16,562                     1,600
                                                 IL ..............................................................................................................................................................................                                  15,821                     2,311
                                                 IN .............................................................................................................................................................................                                   16,673                     1,976
                                                 KY ............................................................................................................................................................................                                    10,134                     2,665
                                                 LA .............................................................................................................................................................................                                   40,954                     7,142
                                                 MD ...........................................................................................................................................................................                                      2,818                       157
                                                 MI .............................................................................................................................................................................                                   20,576                     2,985
                                                 MO ...........................................................................................................................................................................                                     11,237                     2,065
                                                 MS ............................................................................................................................................................................                                     9,763                     2,499
                                                 NJ .............................................................................................................................................................................                                    2,078                       242
                                                     233 .......................................................................................................................................................................
                                                 NV 233                                                                                                                                                                                                              2,544                         0
                                                 NY ............................................................................................................................................................................                                     5,363                       958
                                                 OH ............................................................................................................................................................................                                    18,000                     3,105
                                                 OK ............................................................................................................................................................................                                    26,786                     4,388
                                                 PA ............................................................................................................................................................................                                    14,919                     2,184
                                                 TX ............................................................................................................................................................................                                    61,099                     4,691
                                                 UT ............................................................................................................................................................................                                     4,232                       252
                                                 VA ............................................................................................................................................................................                                     7,757                     2,200
                                                 WV ...........................................................................................................................................................................                                      6,318                     1,649

                                                        Totals ................................................................................................................................................................                                    302,425                    44,616
                                                   * The 2019 OS season emissions are calculated as 5/12 of the annual emissions from the following two emissions inventory files: nonegu_
                                                   *The
                                                 SmokeFlatFile 2019NEI_POINT_20210721_controlupdate_13sep2021_v0 and oilgas_SmokeFlatFile_2019N
                                                 SmokeFlatFile_2019NEI_POINT_20210721_controlupdate_13sep2021_v0          oilgas_SmokeFlatFile_2019NEI_POINT_20210721_controlupdate_
                                                                                                                                                      El_POINT_20210721_controlupdate_
                                                 13sep2021_v0.
                                                 13sep2021_v07


                                                   In Table V.C.2-3
                                                            V.C.2–3 by industry and                                                  all of the non-EGU emissions units. The                                                   dollars and reflect simple averages and
                                                 emissions unit type, the EPA provides a                                             average cost per ton values range from                                                    not a percentile or other representative
                                                 summary of the control technologies                                                 $939 to $14,595 per ton. Note that the                                                    cost values from a distribution of cost
                                                 applied and their average costs across                                              average cost per ton values are in 2016                                                   estimates.
                                                   TABLE V.C.2-3-BY
                                                   TABLE V.C.2–3—BY IINDUSTRY,
                                                                      NDUSTRY, E         UNIT TYPE,
                                                                                MISSIONS UNIT
                                                                               EMISSIONS      TYPE, ASSUMED
                                                                                                    ASSUMED CONTROL
                                                                                                            CONTROL TECHNOLOGIES,
                                                                                                                    TECHNOLOGIES, AND ESTIMATED
                                                                                                                                      ESTIMATED AVERAGE
                                                                                                                                                AVERAGE
                                                                 COST PER TON
                                                                 COST     TON BY CONTROL
                                                                                  CONTROL TECHNOLOGY
                                                                                           TECHNOLOGY ACROSS
                                                                                                       ACROSS ALL
                                                                                                              ALL NON-EGU EMISSIONS
                                                                                                                  NON-EGU EMISSIONS U NITS
                                                                                                                                    UNITS

                                                                                                                                                                                                                                                                                            Average
                                                                                                                                                                                                                  Assumed control technologies that meet final                              cost/ton
                                                                       Industry/industries                                                           Emissions unit type                                                      emissions limits                                               values
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                                                                                                                                                                                                            (2016$)

                                                 Pipeline Transportation of Natural Gas ................                      Reciprocating Internal Combustion Engine .........                               NSCR or Layered Combustion, Layered Com-                                         4,981
                                                                                                                                                                                                                bustion, SCR, NSCR.
                                                 Cement and Concrete Product Manufacturina
                                                                             Manufacturing .....                              Kiln .......................................................................     SNCR ..................................................................          1,632
                                                                                                                                                                                                                                                                                                1.632

                                                   233 We are not aware of existing non-EGU
                                                   233                                                                               If any such units in fact exist, they would be subject                                    Nevada that meets the applicability criteria in the
                                                 emissions units in Nevada that meet the                                             to the requirements of the rule just as in any other                                      final rule will be subject to the final rule’s
                                                                                                                                                                                                                                                                       rule's
                                                 applicability criteria for non-EGUs in the final rule.                              state. In addition, any new emissions unit in                                             requirements. See section III.B.1.d.



                                            VerDate Sep<11>2014           20:14 Jun 02, 2023            Jkt 259001         PO 00000          Frm 00087           Fmt 4701          Sfmt 4700         E:\FR\FM\05JNR2.SGM                    05JNR2
                                                       USCA Case #23-1157                                          Document #2009836                                                            Filed: 07/27/2023                                        Page 126 of 430
                                                 36740
                                                 36740                        Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 //Rules
                                                                                                                                           Rules and Regulations

                                                   TABLE V.C.2-3—BY
                                                   TABLE V.C.2–3—BY IINDUSTRY,
                                                                      NDUSTRY, E
                                                                               EMISSIONS UNIT TYPE,
                                                                                MISSIONS UNIT TYPE, ASSUMED
                                                                                                    ASSUMED CONTROL
                                                                                                            CONTROL TECHNOLOGIES,
                                                                                                                    TECHNOLOGIES, AND ESTIMATED
                                                                                                                                      ESTIMATED AVERAGE
                                                                                                                                                AVERAGE
                                                            COST PER TON
                                                            COST     TON BY CONTROL
                                                                            CONTROL TECHNOLOGY
                                                                                     TECHNOLOGY ACROSS
                                                                                                 ACROSS ALL
                                                                                                         ALL NON-EGU EMISSIONS
                                                                                                             NON-EGU  EMISSIONS UNITS—Continued
                                                                                                                                UNITS—Continued
                                                                                                                                                                                                                                                                                          Average
                                                                      Industry/industries                                                      Emissions unit type                                         Assumed control technologies that meet final                                   cost/ton
                                                                                                                                                                                                                       emissions limits                                                    values
                                                                                                                                                                                                                                                                                          (2016$)
                                                 Iron and Steel Mills and Ferroalloy Manufacturing                      Reheat Furnaces .................................................                LNB ......................................................................           3,656
                                                 Glass and Glass Product Manufacturing ..............                   Furnaces ..............................................................          LNB ......................................................................             939
                                                 Iron and Steel Mills and Ferroalloy Manufacturing                      Boilers ..................................................................       SCR or LNB + FGR ............................................                        8,369
                                                 Metal Ore Mining ..................................................    ..............................................................................   ..............................................................................      14,595
                                                 Basic Chemical Manufacturing .............................             ..............................................................................   ..............................................................................      11,845
                                                 Petroleum and Coal Products Manufacturing .......                      ..............................................................................   ..............................................................................      14,582
                                                 Pulp, Paper, and Paperboard Mills .......................              ..............................................................................   ..............................................................................      14,134
                                                 Solid Waste Combustors and Incinerators ...........                    Combustors or Incinerators .................................                     ANSCR or LN       LNTMTM and SNCR ...............................                    7,836

                                                       Overall Average Cost/Ton .............................           ..............................................................................   ..............................................................................       5,339



                                                    Refer to the memorandum titled                                            that the value may not be technically                                                     effectiveness thresholds the EPA uses at
                                                 ‘‘Summary of Final Rule Applicability
                                                 "Summary                                                                     feasible to apply to existing sources that                                                Step 3 to evaluate EGU emissions
                                                 Criteria and Emissions Limits for Non-                                       would have to retrofit controls.                                                          control opportunities, this threshold is
                                                 EGU Emissions Units, Assumed Control                                           Response: The EPA notes that the
                                                                                                                                Response:                                                                               not intended to represent the maximum
                                                 Technologies for Meeting the Final                                           primary purpose of the Screening                                                          cost any facility may need to expend but
                                                 Emissions Limits, and Estimated                                              Assessment of Potential Emissions                                                         is rather intended to be a representative
                                                 Emissions Units, Emissions Reductions,                                       Reductions, Air Quality
                                                                                                                                               Quality Impacts, and                                                     figure for evaluating technologies to
                                                      Costs’’ for additional estimates—
                                                 and Costs"                                                                   Costs from Non-EGU
                                                                                                                                          Non-EGU Emissions Units
                                                                                                                                                                Units                                                   allow for a relative comparison between
                                                 including by industry and by state.                                          for 2026 (non-EGU screening
                                                                                                                              for                                                                                       different levels of control stringency.
                                                 These estimates are proxy estimates,                                         assessment) was to identify potentially                                                   The EPA's
                                                                                                                                                                                                                             EPA’s potential cost threshold for
                                                 and the EPA also did not prepare                                             impactful industries and emissions unit                                                   non-EGU controls at proposal was
                                                 detailed engineering analyses for the                                        types for further evaluation.234
                                                                                                                                                evaluation.234 In the
                                                                                                                                                                                                                        intended to serve a similar
                                                 industries, facilities, and individual                                       non-EGU screening assessment
                                                                                                                                                                                                                        representative purpose. Based on the
                                                 emissions units identified for the final                                     memorandum we presented an
                                                                                                                                                                                                                        EPA’s updated analysis for this final
                                                                                                                                                                                                                        EPA's
                                                 rule. Emissions units subject to the final                                   analytical framework to further analyze
                                                 rule emissions limits may differ from                                        potential emissions reductions and costs                                                  rule, the EPA recognizes that the
                                                 those estimated in this assessment, and                                      and included proxy estimates for 2026.                                                    $7,500/ton threshold does not reflect the
                                                 the estimated emissions reductions from                                        As noted in section V.D. of this                                                        full range of cost-effectiveness values
                                                 and costs to meet the final rule                                             document, at proposal the EPA found                                                       that are likely present across the many
                                                 emissions limits may also differ from                                        that based on data available at that time                                                 different types of non-EGU industries
                                                 those estimated in this assessment.                                          and for the purposes of the non-EGU                                                       and emissions units assessed.
                                                    Comment:
                                                    Comment: Regarding the marginal                                           screening assessment, it appeared that a                                                     While the potentially impactful
                                                 cost threshold of $7,500/ton used to                                         $7,500 marginal cost-per-ton threshold                                                    industries (identified in Step 1 of the
                                                 assess potential emissions reductions in                                     could be used as a proxy to identify                                                      analytical framework presented in the
                                                 the non-EGU screening assessment                                             cost-effective emissions control                                                          non-EGU screening assessment) were
                                                 prepared for proposal, commenters                                            opportunities. Also, the $7,500 marginal                                                  directly used, the proxy estimates for
                                                 raised a range of questions, including (1)                                   cost-per-ton threshold is higher than the                                                 emissions unit types, emissions
                                                 why the EPA used a marginal cost                                             cost-per-ton value used in the Revised                                                    reductions, and costs from the non-EGU
                                                 threshold that is much higher than the                                       Cross-State Air Pollution Rule Update                                                     screening assessment were not directly
                                                 $2,000/ton threshold used in the 2021                                        because that rulemaking assessed
                                                                                                                                                                                                                        used to establish applicability
                                                 Revised CSAPR Update Rule, (2) why                                           significant contribution for the less
                                                                                                                              protective 2008 ozone NAAQS, and it is
                                                                                                                                                                                                                        thresholds and emissions limits in the
                                                                   ‘‘one size fits all"
                                                 the EPA used a "one               all’’                                                                                                                                proposal. To further evaluate the
                                                 approach for addressing the estimated                                        reasonable when assessing significant
                                                                                                                              contribution associated with the more                                                     impactful industries and emissions unit
                                                 cost and actual emissions reductions                                                                                                                                   types and establish the proposed
                                                 achievable, particularly for existing                                        protective 2015 ozone NAAQS, that a
                                                                                                                              potentially more costly universe of                                                       emissions limits, the EPA reviewed
                                                             NOX emissions, (3) why the
                                                 sources of NOx                                                                                                                                                         RACT rules, NSPS rules, NESHAP rules,
                                                 EPA set a $7,500/ton marginal cost                                           emissions controls and related potential
                                                                                                                              reductions should be included in the                                                      existing technical studies (e.g., Ozone
                                                 threshold for all non-EGUs, despite                                                                                                                                    Transport Commission, Technical
                                                 acknowledging the heterogeneity of                                           analysis.235 Similar to the role of cost-
                                                                                                                              analysis.235
                                                                                                                                                                                                                        Information Oil and Gas Sector
                                                 industry, emissions unit types and
                                                                                                                                  234 The non-EGU screening assessment
                                                                                                                                  234                                                                                   Significant Stationary Sources of NOx
                                                                                                                                                                                                                                                            NOX
                                                 control options and failing to consider                                       memorandum is available in the docket here:                                              Emissions, October 17, 2012), rules in
                                                 the actual costs associated with                                              https://www.regulations.gov/document/EPA-HQ-
                                                                                                                               https://www.regulations.govIdocument/EPA-HQ-
                                                 achieving the proposed reductions at                                          OAR-2021-0668-0150.                                                                      approved SIP submittals, consent
                                                 different types of emissions units in                                            235 As the amount of air pollution that is allowed
                                                                                                                                  235                                                                                   decrees, and permit limits.  236
                                                                                                                                                                                                                                              limits.236
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                                               in the ambient air is reduced (i.e., when a NAAQS
                                                 order to artificially inflate the marginal                                    is revised), it is reasonable to expect that further
                                                 cost threshold and to justify otherwise                                       emissions reductions may be necessary to bring                                           emissions reduction opportunities that were the
                                                 cost-prohibitive NOx
                                                                    NOX control                                                areas into attainment with that more protective                                          least costly. The EPA noted this same possibility in
                                                                                                                               standard. At the same time, the available remaining                                      the original CSAPR rulemaking, see 76 FR 48210.
                                                 technologies. Commenters also stated
                                                                                                                               emissions reduction opportunities will likely have                                         236 This review is detailed in the Final Non-EGU
                                                                                                                                                                                                                          236
                                                 that controls for their industry are not                                      become more costly compared to a prior period,                                           Sectors TSD available in the docket here: https://
                                                                            EPA’s
                                                 cost-effective using the EPA's                                                because other CAA requirements, including such as                                        www.regulations.gov/document/EPA-HQ-OAR-
                                                                                                                                                                                                                        www.regulations.govIdocument/EPA-HQ-OAR-
                                                 presumptive value of $7,500/ton and                                           earlier transport rules, will have consumed those                                        2021-0668-0145.



                                            VerDate Sep<11>2014         20:14 Jun 02, 2023         Jkt 259001          PO 00000        Frm 00088           Fmt 4701         Sfmt 4700          E:\FR\FM\05JNR2.SGM                   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 127 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                         36741
                                                                                                                                                                                                 36741

                                                 D. Assessing Cost, EGU
                                                                     EGU and Non-EGU
                                                                                Non-EGU                  and maintaining the 2015 ozone                        nonattainment to maintenance status up
                                                 NOX Reductions, and Air Quality
                                                 NOx                         Quality                     NAAQS.                                                through the stringency level ultimately
                                                    To determine the emissions that are                     In addition to the findings of cost-               selected by EPA. (And all receptors
                                                 significantly contributing to                           effectiveness, feasibility and widespread             show improvement in air quality even if
                                                 nonattainment or interfering with                                                    EPA’s
                                                                                                         availability that support EPA's                       their status does not change.) These
                                                 maintenance, the EPA applied the                        identification of the appropriate level of            analytic findings at Step 3 cement EPA's
                                                                                                                                                                                                    EPA’s
                                                 multi-factor test to EGUs and non-EGUs                  emissions-control stringency at Step 3                identification of the selected EGU and
                                                 separately, considering for each the                    discussed in sections V.B and V.C, the                non-EGU mitigation measures as the
                                                 relationship of cost, available emissions               findings regarding air quality                        appropriate control stringency to fulfill
                                                 reductions, and downwind air quality                    improvement in this section—as in prior               its statutory obligation to eliminate
                                                 impacts. Specifically, for each sector,                 transport rules—are a central                         significant contribution for the 2015
                                                 the EPA finalizes a determination                       component of our Step 3 analytic                      ozone NAAQS for the covered states.
                                                 regarding the appropriate level of                      findings as to the definition of                      The EPA also evaluated whether the
                                                           NOX control stringency that
                                                 uniform NOx                                             ‘‘significant contribution."
                                                                                                         "significant   contribution.’’ EPA's
                                                                                                                                         EPA’s                 final rule resulted in possible over-
                                                 would collectively eliminate significant                assessment of air quality improvement                 control scenarios by evaluating if an
                                                 contribution to downwind                                for all of the emissions control strategies           upwind state is linked solely to
                                                 nonattainment and maintenance                           included shows continued air quality                  downwind air quality problems that
                                                                                                         improvement with each additional                      could have been resolved at a lower cost
                                                 receptors. Based on the air quality
                                                 results presented in this section, we find              control strategy measure. Within the                  threshold, or if an upwind state could
                                                 that the emissions control strategies that              group of selected control strategies for              have reduced its emissions below the 1
                                                                                                                                            ‘‘knee-in-
                                                                                                         EGUs and non-EGUs no clear "knee-in-                  percent of NAAQS air quality
                                                 were identified and evaluated in
                                                                                                         the-curve’’ is evident; i.e., there is no
                                                                                                         the-curve"                                            contribution threshold at a lower cost
                                                                    V.C of this document
                                                 sections V.B and V.0
                                                                                                         point at which there is a noticeable                  threshold. The Agency finds no
                                                 and found to be both cost-effective and
                                                                                                         decline in the rate of air quality                    overcontrol from this rule. See section
                                                 feasible, deliver meaningful air quality                improvement up through the control
                                                 benefits through projected reductions in                                                                      V.D.4 of this document.
                                                                                                         stringency level selected. However, if
                                                 ozone levels across the linked                          EPA were to go beyond the selected                    1. EGU Assessment
                                                 downwind nonattainment and
                                                                                                         control stringency through inclusion of
                                                 maintenance receptors in the relevant                                                                            For EGUs, the EPA examined the
                                                                                                         additional EGU or non-EGU NOx    NOX
                                                 analytic years 2023 and 2026. Further,                                                                        emissions reduction potential associated
                                                                                                         mitigation technologies for the covered
                                                 EPA finds the emissions control                         sources and unit-types that are, at least             with each EGU emissions control
                                                 strategies in upwind states that would                  on the record of this action, not widely              technology (presented in section V.C.1
                                                 deliver these benefits to be widely                     available, uncertain or untested, and/or              of this document) and its impact on the
                                                 available and in use at many other                      far more costly, a "knee-in-the-curve"
                                                                                                                              ‘‘knee-in-the-curve’’            air quality at downwind receptors.
                                                 similar EGU and non-EGU facilities                      does materialize, where the incremental               Specifically, EPA identified and
                                                 throughout the country, particularly in                 air quality benefit per dollar spent per              assessed the projected average air
                                                 those areas that have historically or now               ton on mitigation measures plateaus                   quality improvements relative to the
                                                 continue to struggle to attain and                      even as costs increase dramatically. In               base case and whether these
                                                 maintain the 2015 ozone NAAQS.                          the Revised CSAPR Update, EPA                         improvements are sufficient to shift the
                                                 Applying these emissions control                        explained that a knee in the curve "is  ‘‘is          status of receptors from projected
                                                 strategies on a uniform basis across all                not on its own a justification for not                nonattainment to maintenance or from
                                                 linked upwind states continues to                       requiring reductions beyond that point,’’
                                                                                                                                                point,"        maintenance to attainment. Combining
                                                 constitute an efficient and equitable                   86 FR 23107, but does indicate that it                these air quality factors, costs, and
                                                 solution to the problem of allocating                   is a useful indicator for informing                   emissions reductions, the EPA
                                                 upwind-state responsibility for the                     potential stopping points. The                        identified a control stringency for EGUs
                                                 elimination of significant contribution.                                        ‘‘knee-in-the-curve’’
                                                                                                         observation that no "knee-in-the-curve"               that results in substantial air quality
                                                 This approach continues to effectively                  materializes at the stringency levels up              improvement from emissions controls
                                                              ‘‘thorny’’ causation problem
                                                 address the "thorny"                                    through that selected by EPA supports                 that are available in the timeframe for
                                                 of interstate pollution transport for                   EPA’s identified control stringency.
                                                                                                         EPA's                                                 which air quality problems at
                                                 regional-scale pollutants like ozone that                  Further, as the Supreme Court has                  downwind receptors persist. For all
                                                 transport over large distances and are                  explained, "while
                                                                                                                      ‘‘while EPA has a statutory              affected jurisdictions, this control
                                                 affected by the vagaries of meteorology.                duty to avoid over-control, the Agency                stringency reflects, at a minimum, the
                                                 EME Homer City, 572 U.S. at 514–16.
                                                 EME                             514-16. It              also has a statutory obligation to avoid              optimization of existing post-
                                                 requires the most impactful sources in                  ‘under-control,’
                                                                                                         `under-control,' i.e., to maximize                    combustion controls and installation of
                                                 each state that has been found to                       achievement of attainment downwind.’’
                                                                                                                                         downwind."                             NOX combustion
                                                                                                                                                               state-of-the-art NOx
                                                 contribute to ozone problems in other                   572 U.S. at 523. While the ultimate                   controls, which are widely available at
                                                 states to come up to minimum standards                  purpose of the good neighbor provision                a representative cost of $1,800 per ton.
                                                 of environmental performance based on                   is to eliminate significant contribution              EPA’s evaluation also shows that the
                                                                                                                                                               EPA's
                                                 demonstrated NOxNOX pollution-control                   and not necessarily to resolve                        effective emissions rate performance
                                                 technology. Id. at 519. When the effects                downwind areas'
                                                                                                                       areas’ nonattainment and                across affected EGUs consistent with
                                                 of these emissions reductions are                       maintenance problems, we have                         realization of these mitigation measures
                                                                                                                                                               does not over-control upwind states'
                                                                                                                                                                                                states’
ddrumheller on DSK120RN23PROD with RULES2




                                                 assessed collectively across the                        evaluated the expected attainment
                                                 hundreds of EGU and non-EGU                             status at each identified receptor as we              emissions relative to either the
                                                 industrial sources that are subject to this             examine the air quality effects of the                downwind air quality problems to
                                                 rule, the cumulative improvements in                    different emissions control strategies                which they are linked at Step 1 or the
                                                 ozone levels at downwind receptors,                     identified. As discussed further in this              1 percent contribution threshold that
                                                 while they may vary to some extent, are                 section, the EPA notes that multiple                  triggers further evaluation at Step 3 of
                                                 both measurable and meaningful and                      receptors shift into projected attainment             the 4-step framework for the 2015 ozone
                                                 will assist downwind areas in attaining                 status or shift from projected                        NAAQS.


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00089   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023                Page 128 of 430
                                                 36742
                                                 36742                Federal Register / Vol. 88, No. 107/Monday,
                                                                                                      107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules

                                                    Similarly, the EPA also identified                   implement (if it has not already) an                   Step 3 that no receptors switch from
                                                 installation of new SCR post-                           emissions control stringency for its                   maintenance to attainment or from
                                                 combustion controls at coal steam                       sources that is comparable to the                      nonattainment to maintenance with
                                                 sources greater than or equal to 100 MW                 upwind control stringency identified                   these mitigation strategies in place.
                                                 and for a more limited portion of the                   here. Consequently, the EPA is                         Table V.D.1-1
                                                                                                                                                                      V.D.1–1 summarizes the results of
                                                 oil/gas steam fleet that had higher levels              accounting for the downwind state's
                                                                                                                                           state’s              EPA’s Step 3 evaluation of air quality
                                                                                                                                                                EPA's
                                                 of emissions as components of the                       ‘‘fair share"
                                                                                                         "fair  share’’ of the responsibility for               improvements at these receptors using
                                                 required control stringency. These SCR                  resolving a nonattainment or                           AQAT.
                                                 retrofits are widely available starting in              maintenance problem as a part of the
                                                                                                                                                                  For 2026, the EPA determined that the
                                                 the 2026 ozone season at $11,000 and                    over-control evaluation.   237
                                                                                                                        evaluation.237
                                                 $7,700 per ton respectively. For all but                   For this assessment, the EPA used an               average air quality improvement at these
                                                                                                                                                               receptors relative to the engineering
                                                 3 of the affected states (Alabama,                      ozone air quality assessment tool (ozone
                                                                                                                                                               analytics base case was 0.47 ppb for
                                                 Minnesota, and Wisconsin, which are                     AQAT) to estimate downwind changes
                                                 no longer linked in 2026 at Steps 1 and                 in ozone concentrations related to                    emissions reductions commensurate
                                                 2 in EPA's
                                                      EPA’s base case air quality                        upwind changes in emissions levels.                   with optimization of existing SCRs/
                                                 modeling for this final rule), EPA's
                                                                                 EPA’s                   The EPA focused its assessment on the                 SNCRs, combustion control upgrades,
                                                 evaluation shows that the effective                     years 2023 and 2026 as they pertain to                and new post-combustion control (SCR
                                                 emissions rate performance across EGUs                  the last years for which ozone season                 and SNCR) retrofits at eligible units are
                                                 consistent with the full realization of                 emissions data can be used for purposes               assumed to be implemented. The EPA
                                                 these mitigation measures does not                      of determining attainment for the                     determined for the purposes of Step 3
                                                                        states’ emissions in
                                                 over-control upwind states'                             Moderate (2024) and Serious (2027)                    that in 2026, all but one of the receptors
                                                 2026 relative to either the downwind air                attainment dates. For each EGU                        are expected to remain nonattainment or
                                                 quality problems to which they are                      emissions control technology, the EPA                 maintenance across these control
                                                 linked at Step 1 or the 1 percent                       first evaluated the magnitude of the                  stringencies, with one receptor in
                                                 contribution threshold that triggers                                                                          Larimer County, Colorado (Monitor
                                                                                                         change in ozone concentrations at the
                                                 further evaluation at Step 3 of the 4-step              nonattainment and maintenance                         080690011), switching from
                                                 framework for the 2015 ozone NAAQS                      receptors for each relevant year (i.e.,               maintenance to attainment and two
                                                 (see the Ozone Transport Policy                         2023 and 2026). Next, the EPA                         receptors (one in Fairfield County,
                                                 Analysis Final Rule TSD for details).                   evaluated whether the estimated change                Connecticut (Monitor 90013007), and
                                                    To assess downwind air quality                       in concentration would resolve the                    one in Galveston, Texas (Monitor ID
                                                 impacts for the nonattainment and                       receptor’s nonattainment or                           481671034)) switching from
                                                                                                         receptor's
                                                 maintenance receptors identified in                     maintenance concern by lowering the                   nonattainment to maintenance with
                                                 section IV.D of this document, the EPA                  average or maximum design values,                     these mitigation strategies in place. 238
                                                                                                                                                                                              place.238
                                                 evaluated the air quality change at that                respectively, below 71 ppb. For a                     Table V.D.1-2
                                                                                                                                                                      V.D.1–2 summarizes the results of
                                                 receptor expected from the                              complete set of estimates, see the Ozone              EPA’s Step 3 evaluation of air quality
                                                                                                                                                               EPA's
                                                 progressively more stringent upwind                     Transport Policy Analysis Final Rule                  improvements at the receptors included
                                                 EGU control stringencies that were                      TSD or the ozone AQAT Excel file.                     in the AQAT analysis. For more
                                                 available for that time period in upwind                   For 2023, the EPA evaluated potential              information about how this assessment
                                                 states linked to that receptor. This                    air quality improvements at the                       was performed and the results of the
                                                 assessment provides the downwind                        downwind receptors outside of                         analysis for each receptor, refer to the
                                                 ozone improvements for consideration                    California associated with available                  Ozone Transport Policy Analysis Final
                                                 and provides air quality data that is                   EGU emissions control technologies in                 Rule TSD and to the Ozone AQAT
                                                 used to evaluate potential over-control                 that timeframe. The EPA determined for                included in the docket for this rule.
                                                 situations.                                             the purposes of Step 3 that the average
                                                    To assess the air quality impacts of                                                                          238 As in prior rules, for the purpose of defining
                                                                                                                                                                  238
                                                                                                         air quality improvement at the receptors
                                                 the various control stringencies at                                                                           significant contribution at Step 3, the EPA
                                                                                                         relative to the engineering analytics base            evaluated air quality changes resulting from the
                                                 downwind receptors for the purposes of                  case was 0.06 ppb for emissions                       application of the emissions reductions in only
                                                 Step 3, the EPA evaluated changes                       reductions commensurate with                          those states that are linked to each receptor as well
                                                 resulting from the emissions reductions                 optimization of existing SCRs/SNCRs                   as the state containing the receptor. By applying
                                                 associated with the identified emissions                                                                      reductions to the state containing the receptor, the
                                                                                                         and combustion control upgrades. The                  EPA ensures that it is accounting for the downwind
                                                 controls in each of the upwind states, as               EPA determined for the purposes of                    state’s fair share. This method holds each upwind
                                                                                                                                                               state's
                                                 well as assumed corresponding                                                                                 state responsible for its fair share of the downwind
                                                 reductions of similar stringency in the                    237 For EGUs, this analysis for the Connecticut
                                                                                                            237                                                problems to which it is linked. Reductions made by
                                                 downwind state containing the receptor                  receptors shows no EGU reduction potential in         other states to address air quality problems at other
                                                 to which they are linked. By applying                   Connecticut from the emissions reduction measures     receptors do not increase or decrease this share. The
                                                                                                         identified given that state's
                                                                                                                               state’s already low-emitting    air quality impacts on design values that reflect the
                                                 these emissions reductions to the state                 fleet; however, EGU reductions were identified in     emissions reductions in all linked states action are
                                                 containing the receptor, the EPA                        Colorado and these reductions were included in the    further discussed in sections V.D.3 and V.D.4 of this
                                                 assumes that the downwind state will                    over-control analysis.                                document.
ddrumheller on DSK120RN23PROD with RULES2




                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00090   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                                              Document #2009836                                                                Filed: 07/27/2023                                      Page 129 of 430
                                                                             Federal Register / Vol. 88, No. 107/Monday,
                                                                                     Register/Vol.           107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                                   2023/Rules                                                                                                                                                     36743

                                                          TABLE
                                                          TABLE V.D.1-1-AIR QUALITY
                                                                V.D.1–1—AIR QUALITY AT THE RECEPTORS
                                                                                           RECEPTORS IN 2023 FROM
                                                                                                             FROM EGU E
                                                                                                                      EMISSIONS
                                                                                                                       MISSIONS CONTROL TECHNOLOGIES aa
                                                                                                                                CONTROL TECHNOLOGIES
                                                                                                                                                                                                                         Average DV                                              Max DV
                                                                                                                                                                                                                            (ppb)
                                                                                                                                                                                                                            (PPb)                                                 (ppb)
                                                                                                                                                                                                                                                                                  (PPb)
                                                           Monitor ID No.                                         State                                               County                                                          SCR/SNCR                                              SCR/SNCR
                                                                                                                                                                                                            Baseline                                              Baseline                  optimization
                                                                                                                                                                                                          (engineering                optimization
                                                                                                                                                                                                                                         +
                                                                                                                                                                                                            analysis)                    + LNB
                                                                                                                                                                                                                                           LNB                  (engineering                   + LNB
                                                                                                                                                                                                                                                                  analysis)
                                                                                                                                                                                                                                        upgrade                                               upgrade

                                                 40278011 ................................     Arizona ...................................         Yuma ......................................                          70.36                      70.34                      72.05                      72.04
                                                 80350004 ................................     Colorado .................................          Douglas ..................................                           71.12                      71.10                      71.71                      71.70
                                                 80590006 ................................     Colorado .................................          Jefferson .................................                          72.63                      72.61                      73.32                      73.31
                                                 80590011 ................................     Colorado .................................          Jefferson .................................                          73.29                      73.27                      73.89                      73.87
                                                 80690011 ................................     Colorado .................................          Latimer
                                                                                                                                                   Larimer ...................................                          70.79                      70.78                      71.99                      71.98
                                                 90010017 ................................     Connecticut .............................           Fairfield ...................................                        71.62                      71.56                      72.22                      72.16
                                                 90013007 ................................     Connecticut .............................           Fairfield ...................................                        72.99                      72.90                      73.89                      73.80
                                                 90019003 ................................     Connecticut .............................           Fairfield ...................................                        73.32                      73.25                      73.62                      73.55
                                                 90099002 ................................     Connecticut .............................           New Haven .............................                              70.61                      70.51                      72.71                      72.61
                                                 170310001 ..............................      Illinois ......................................     Cook .......................................                         68.13                      68.11                      71.82                      71.80
                                                 170314201 ..............................      Illinois ......................................     Cook .......................................                         67.92                      67.88                      71.41                      71.37
                                                 170317002 ..............................      Illinois ......................................     Cook .......................................                         68.47                      68.37                      71.27                      71.17
                                                 350130021 ..............................      New Mexico ............................             Dona Ana ...............................                             70.83                      70.82                      72.13                      72.12
                                                 350130022 ..............................      New Mexico ............................             Dona Ana ...............................                             69.73                      69.72                      72.43                      72.42
                                                 350151005 ..............................      New Mexico bb ..........................            Eddy .......................................          ........................   ........................   ........................   ........................
                                                 350250008 ..............................      New Mexico ............................             Lea ..........................................        ........................   ........................   ........................   ........................
                                                 480391004 ..............................      Texas ......................................        Brazoria ..................................                          70.59                      70.52                      72.69                      72.62
                                                 481210034 ..............................      Texas ......................................        Denton ....................................                          69.93                      69.88                      71.73                      71.68
                                                 481410037 ..............................      Texas ......................................        El Paso ...................................                          69.82                      69.81                      71.43                      71.41
                                                 481671034 ..............................      Texas ......................................        Galveston ...............................                            71.82                      71.70                      73.13                      73.01
                                                 482010024 ..............................      Texas ......................................        Harris ......................................                        75.33                      75.25                      76.93                      76.85
                                                 482010055 ..............................      Texas ......................................        Harris ......................................                        71.19                      71.10                      72.20                      72.10
                                                 482011034 ..............................      Texas ......................................        Harris ......................................                        70.32                      70.25                      71.52                      71.45
                                                 482011035 ..............................      Texas ......................................        Harris ......................................                        68.01                      67.94                      71.52                      71.45
                                                 490110004 ..............................      Utah ........................................       Davis .......................................                        71.88                      71.87                      74.08                      74.07
                                                 490353006 ..............................      Utah ........................................       Salt Lake ................................                           72.48                      72.47                      74.07                      74.06
                                                 490353013 ..............................      Utah ........................................       Salt Lake ................................                           73.21                      73.20                      73.71                      73.70
                                                 550590019 ..............................      Wisconsin ...............................           Kenosha .................................                            70.75                      70.65                      71.65                      71.55
                                                 551010020 ..............................      Wisconsin ...............................           Racine ....................................                          69.59                      69.46                      71.39                      71.25
                                                 551170006
                                                 551170006 ..............................      Wisconsin ...............................           Sheboygan .............................                              72.64                      72.46                      73.54                      73.36

                                                      Average AQ Change Relative to Base (ppb) ............................................................................                              ........................   ........................   ........................                   0.06

                                                      Total PPB Change Across All Receptors Relative to Base ac                                  ....................................................    ........................   ........................   ........................                   1.58
                                                    Table Notes:
                                                     a The EPA notes that the design values reflected in tables V.D.1-1
                                                    aThe                                                         V.D.1–1 and -2
                                                                                                                              –2 correspond to the engineering analysis EGU emissions inventory that was used in AQAT
                                                 to determine state-level baseline emissions and reductions at Step 3. These tools are discussed in greater detail in the Ozone Transport Policy Analysis Final Rule
                                                 TSD.
                                                     b
                                                     b New Mexico Eddy and Lea monitors have no values in tables V.D.1-1
                                                                                                                       V.D.1–1 and 1-2
                                                                                                                                    1–2 as EPA does not have calibration factors for these monitors as no contributions
                                                 were calculated for them from the proposal AQ modeling
                                                    ac The cumulative ppb change only shows the aggregate change across all problematic receptors (some of which are located within close proximity to one another)
                                                 in this part of the Step 3 analysis. Section VIII of this document provides a more complete picture of the air quality impacts of the final rule.

                                                                TABLE
                                                                TABLE V.D.1-2-AIR
                                                                      V.D.1–2—AIR QUALITY
                                                                                  QUALITY AT R
                                                                                             RECEPTORS
                                                                                              ECEPTORS IN 2026 F
                                                                                                               FROM
                                                                                                                ROM EGU E
                                                                                                                        EMISSIONS
                                                                                                                         MISSIONS CONTROL
                                                                                                                                  CONTROL TECHNOLOGIES
                                                                                                                                          TECHNOLOGIES
                                                                                                                                                                                                                         Average DV                                              Max DV
                                                                                                                                                                                                                            (ppb)
                                                                                                                                                                                                                            (PPb)                                                 (ppb)
                                                                                                                                                                                                                                                                                  (PPb)
                                                                                                                                                                                                                                      SCR/SNCR                                              SCR/SNCR
                                                          Monitor ID No.                                          State                                                 County                              Baseline                  optimization                                          optimization
                                                                                                                                                                                                                                                                  Baseline
                                                                                                                                                                                                          (engineering                  + LNB                     Baseline
                                                                                                                                                                                                                                                                (engineering                   + LNB
                                                                                                                                                                                                                                       upgrade +                (engineering                 upgrade +
                                                                                                                                                                                                            analysis)                 SCR/SNCR                    analysis)                 S   R/SNCR
                                                                                                                                                                                                                                      SCR/SNCR                                              SCR/SNCR
                                                                                                                                                                                                                                         retrofit                                              retrofit

                                                 40278011 .............................      Arizona ..........................................       Yuma ...................................                          69.87                      69.84                      71.47                      71.44
                                                 80590006 .............................      Colorado .......................................         Jefferson ..............................                          71.70                      71.36                      72.30                      71.95
                                                 80590011 .............................      Colorado .......................................         Jefferson ..............................                          72.06                      71.59                      72.66                      72.19
                                                 80690011 .............................      Colorado .......................................         Larimer ................................
                                                                                                                                                      Latimer                                                           69.84                      69.54                      71.04                      70.73
                                                 90013007 .............................      Connecticut ...................................          Fairfield ................................                        71.25                      70.98                      72.06                      71.78
                                                 90019003 .............................      Connecticut ...................................          Fairfield ................................                        71.58                      71.34                      71.78                      71.54
                                                 350130021 ...........................       New Mexico ..................................            Dona Ana ............................                             70.06                      69.89                      71.36                      71.19
                                                 350130022 ...........................       New Mexico ..................................            Dona Ana ............................                             69.17                      69.00                      71.77                      71.60
                                                 350151005 ...........................       New Mexico ..................................            Eddy ....................................          ........................   ........................   ........................   ........................
                                                 350250008 ...........................       New Mexico ..................................            Lea .......................................        ........................   ........................   ........................   ........................
                                                 480391004 ...........................       Texas ............................................       Brazoria ...............................                          69.89                      68.96                      72.02                      71.06
                                                 481671034 ...........................       Texas ............................................       Galveston ............................                            71.29                      70.02                      72.51                      71.22
ddrumheller on DSK120RN23PROD with RULES2




                                                 482010024 ...........................       Texas ............................................       Harris ...................................                        74.83                      73.86                      76.45                      75.46
                                                 490110004 ...........................       Utah ..............................................      Davis ....................................                        69.90                      69.34                      72.10                      71.52
                                                 490353006 ...........................       Utah ..............................................      Salt Lake .............................                           70.50                      69.96                      72.10                      71.55
                                                 490353013 ...........................       Utah ..............................................      Salt Lake .............................                           71.91                      71.45                      72.31                      71.84
                                                 551170006
                                                 551170006 ...........................       Wisconsin .....................................          Sheboygan ..........................                              70.83                      70.51                      71.73                      71.41

                                                      Average AQ Change Relative to Base (ppb) ............................................................................                              ........................   ........................   ........................                   0.47

                                                      Total PPB Change Across All Receptors Relative to Base (ppb) .............................................                                         ........................   ........................   ........................                   7.04




                                            VerDate Sep<11>2014         20:14 Jun 02, 2023            Jkt 259001        PO 00000          Frm 00091            Fmt 4701          Sfmt 4700          E:\FR\FM\05JNR2.SGM                   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023               Page 130 of 430
                                                 36744
                                                 36744                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                    Figures 1 and 2 to section V.D.1 of      implemented emissions reduction                                   dates. 242 Programs like North Carolina's
                                                                                                                                                               dates.242                        Carolina’s
                                                 this document, included in Appendix I       strategies that will have meaningful                              Clean Smokestacks Act and Colorado's
                                                                                                                                                                                              Colorado’s
                                                 of the Ozone Transport Policy Analysis      downwind air quality impact.                                      Clean Air, Clean Jobs Act have also
                                                 Final Rule TSD available in the docket          Moreover, these technologies (and                             required or prompted SCR retrofits on
                                                 for this rulemaking, illustrate the air     representative cost) are demonstrated                             units.243 Unit-level BART requirements
                                                                                                                                                               units.243
                                                 quality improvement relative to the         ozone pollution mitigation strategies                             for the first Regional Haze planning
                                                 estimated representative cost associated that are widely practiced across the EGU                             period also determined SCR retrofits
                                                 with the previously identified emissions fleet and are of comparable stringency to                            (and corresponding emissions rates)
                                                 control technologies. The graphs show       emissions reduction measures that                                 were cost-effective controls for a variety
                                                 improving air quality at the downwind                                                                         of sources in the U.S.  244
                                                                                                                                                                                  U.S.244
                                                                                             many downwind states have already
                                                 receptors as emissions reductions           instituted. The coal SCR retrofit                                    As shown in Figure 1 to section V.D.1
                                                 commensurate with the identified            measures driving the majority of the                              of this document,
                                                                                                                                                                       document,245245 the majority of
                                                 control technologies are assumed to be      emissions reductions in this action not                           EGU emissions reduction potential and
                                                 implemented. Figure 1 to section V.D.1      only reflect industry best practice, but                          associated air quality improvements
                                                 of this document reflects emissions         they also reflect prevailing practice                             estimated for 2023 occurs from
                                                 reductions commensurate with                among EGUs. More than 66 percent of                               optimization of existing SCRs, with
                                                 optimization of existing SNCRs and          the existing coal capacity already has                            some additional reductions from
                                                 SCRs. Figure 2 to section V.D.1 of this                                                                       installation of state-of-the-art
                                                                                             this technology in place. For nearly 25
                                                 document reflects emissions reductions                                                                        combustion controls at the same
                                                                                             years, all new coal-fired EGUs that
                                                 commensurate with installation of new       commenced construction have had SCR                               representative cost threshold. At the
                                                 post combustion controls (mainly SCRs)                                                                        slightly higher representative cost
                                                                                             (or equivalent emissions rates). The
                                                 layered on top of the emissions                                                                               threshold of $1,800 per ton, there is
                                                                                             1997     proposed amendments to subpart
                                                 reduction potential from the                                                                                  some additional air quality
                                                                                             Da revised the NOx  NOX standard based on
                                                 technologies represented in Figure 1 to                                                                       improvement from optimization of
                                                                                             the   use  of SCR.   The NOx
                                                                                                                       NOX SIP Call
                                                 section V.D.1 of this document. The                                                                           existing SNCRs. These measures taken
                                                 graphic, and underlying AQAT                (promulgated in 1998) established                                 together represent the control stringency
                                                                                             emissions reduction requirements
                                                 receptor-by-receptor analysis                                                                                 at which near-term incremental EGU
                                                 demonstrates that air quality continues     premised on extensive SCR installation                            NOX reduction potential and
                                                                                                                                                               NOx
                                                 to improve at downwind receptors as         (142 units) and incentivized well over                            corresponding downwind ozone air
                                                 EPA examines increasingly stringent         40 GWs of SCR retrofit in the ensuing                             quality improvements are maximized.
                                                       NOX control technologies. While
                                                 EGU NOx                                     years.239 Similarly, the Clean Air
                                                                                             years.239                                                         This evaluation shows that EGU NOx  NOX
                                                 all major technology breakpoints            Interstate Rule established emissions                             reductions for each of the near-term
                                                 identified in sections V.B and V.0V.C of    reductions     requirements in 2006 that                          emissions control technologies are
                                                 this document show continued air            assumed SCR would be installed on                                 available at reasonable cost and that
                                                 quality improvements at problematic         another 58 units (15 GW) in the ensuing                           these reductions provide meaningful
                                                 receptors and at cost and technology        years among just 10 states, and an even                           improvements in downwind ozone
                                                 levels that are commensurate with           greater volume of capacity chose SCR                              concentrations at the identified
                                                 mitigation strategies that are proven to    retrofit measures in the wake of                                  nonattainment and maintenance
                                                                                                                                                               nonattainrnent
                                                 be widely available and implemented,        finalizing that action.249
                                                                                                                 action.240                                    receptors. Figure 1 to section V.D.1 of
                                                 EPA’s quantification and application of
                                                 EPA's                                           Basing emissions reduction                                    this document 246
                                                                                                                                                                               246 highlights (1) the

                                                 those breakpoints reflect certain           requirements for EGUs on SCR retrofits                            continuous connection between
                                                 exclusions to: (1) preserve this            is also consistent with regulatory                                identified emissions reduction potential
                                                 consistency with widely observed            approaches adopted by states, which—                              and downwind air quality improvement
                                                 mitigation measures in states, and (2)      particularly in downwind areas more                               across the range of near-term mitigation
                                                 remove any retrofit assumptions at          impacted by ozone transport                                       measures assessed, and (2) the cost-
                                                 marginal units that would have much         contribution from upwind state                                    effective availability of these reductions
                                                 higher dollar per ton representative cost emissions—have already adopted SCR-                                 and corresponding air quality
                                                 and little or no air quality benefit. For   based standards as part of stringent NOx    NOX                   improvements.
                                                 instance, the EPA does not define the       control programs. Regulatory programs                                Additional considerations that are
                                                 SCR retrofit breakpoint ($11,000 per        that impose stringent RACT                                        unique to EGUs provide additional
                                                 ton) to include retrofit application at     requirements on all major power plants                            support for EPA's
                                                                                                                                                                             EPA’s determination to
                                                 steam units less than 100 MW or at oil/     and Lowest Achievable Emission Rate                               include SCR and SNCR optimization as
                                                 gas steam units emitting at less than 150 (LAER) standards on all new major                                   part of the identified near-term control
                                                 tons per ozone season. The emissions        sources of NOx NOX have resulted in                               stringency, including:
                                                 reductions from these potential             remaining coal-fired generating
                                                 categories of measures are small and do resources in states along the Northeast                                  242 COMAR 26.11.38 (control of NOx
                                                                                                                                                                  242                               NOX Emissions
                                                                             ‘‘breakpoints’’
                                                 not constitute additional "breakpoints"     Corridor such as Connecticut, Delaware,                           from Coal-Fired Electric Generating Units).
                                                    EPA’s estimation. They would entail
                                                 in EPA's                                    New Jersey, New York, and                                            243 https://www.epa.gov/system/files/documents/
                                                                                                                                                                  243

                                                 much higher dollar per ton costs, going     Massachusetts all being retrofitted with                          2021-09/table-3-30-state-power-sector-regulations-
                                                 beyond what is widely observed in the                                                                         included-in-epa-platform-v6-summer-2021-refe.pdf.
                                                                                             SCR.
                                                                                             SCR.241 241 The Maryland Code of
                                                                                                                                                                  244 See table 3–35
                                                                                                                                                                  244           3-35 BART regulations in EPA IPM
                                                 fleet. This careful calibration of
ddrumheller on DSK120RN23PROD with RULES2




                                                                                             Regulations requires coal-fired sources                           documentation available at https://www.epa.gov/
                                                 technology breakpoints through              to operate existing SCR controls or                               airmarkets/documentation-epas-power-sector-
                                                 exclusion of measures that are clearly      install SCR controls by specified                                 modeling-platform-v6-summer-2021-reference-case.
                                                 not cost-effective in terms of air quality                                                                       245 Included in Appendix I of the Ozone
                                                                                                                                                                  245

                                                 benefit allows for the identification of                                                                      Transport Policy Analysis Final Rule TSD, which
                                                                                                239 63
                                                                                                    63 FR 57448.                                               is available in the docket for this rulemaking.
                                                 an EGU uniform control stringency that         249 71
                                                                                                240 71 FR 25345.                                                  246 Included in Appendix I of the Ozone
                                                                                                                                                                  246
                                                 is an appropriate reflection of those          241 EPA–HQ–OAR–2020–0272. Comment letter
                                                                                                241 EPA—HQ—OAR-2020-0272.                                      Transport Policy Analysis Final Rule TSD, which
                                                 readily available and widely                from Attorneys General of NY, NJ, CT, DE, MA.                     is available in the docket for this rulemaking.



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00092   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023                Page 131 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                                  36745
                                                                                                                                                                                                          36745

                                                    •• these controls are already installed              continuous connection between                          improvement at problematic receptors,
                                                 and available for operation on these                    identified emissions reduction potential               and the cost associated with these
                                                 units;                                                  and downwind air quality improvement                   measures increases substantially on a
                                                    •• they are on average already partially             across the range of mitigation measures                dollar per ton basis. The graphic
                                                 operating, but not necessarily                          assessed in 2026. At no point do the                   capturing this effect (located in
                                                 optimized;                                              additional emissions mitigation                        Appendix I of the Ozone Transport
                                                    •• the reductions are available in the               measures examined here fail to produce                 Policy Analysis Final Rule TSD)
                                                 near-term (during ozone seasons when                    corresponding downwind air quality                     illustrates the significant decline in
                                                 the problematic receptors are projected                 improvements.                                          cost-effectiveness of reductions if these
                                                 to persist), including by the 2023 ozone                   The EPA is determining that the                     measures had been included in EPA's
                                                                                                                                                                                                  EPA’s
                                                 season aligned with the Moderate area                   appropriate EGU control stringency is                  final stringency.248
                                                 attainment date; and                                    commensurate with the full operation of
                                                    •• these sources are already covered                 all existing post-combustion controls                 2. Non-EGU Assessment
                                                 under the existing CSAPR NOx NOX Ozone                  (both SCRs and SNCRs) and state-of-the-                  Using a 2019 emissions inventory, the
                                                 Season Group 2 or Group 3 Trading                       art combustion control upgrades for                   list of emissions units estimated to be
                                                 Programs or the Acid Rain Program and                   those states linked to downwind                       captured by the applicability criteria,
                                                 thus have the monitoring, reporting,                    nonattainment or maintenance receptors                the assumed control technologies that
                                                 recordkeeping, and all other necessary                  in 2023. For those states also linked in              would meet the emissions limits, and
                                                 elements of compliance with the trading                 2026, the EPA is determining that the                 information on control efficiencies and
                                                 program already in place.                               appropriate EGU control stringency also               default cost/ton values from the control
                                                     The majority of EGU emissions                       includes emissions reductions                         measures database, the EPA estimated
                                                 reduction potential and associated air                  commensurate with the retrofit of SCR                 NOX emissions reductions and costs for
                                                                                                                                                               NOx
                                                 quality improvements estimated to start                 at coal steam units of 100 MW or greater              the year 2026. Given the EPA's
                                                                                                                                                                                           EPA’s
                                                 in 2026 occur from retrofitting                         capacity (excepting circulating fluidized             conclusion that the 2026 ozone season
                                                 uncontrolled steam sources with post-                   bed units), new SNCR on coal steam                    is the earliest date by which the
                                                 combustion controls. At the                             units of less than 100 MW capacity and                required controls can be installed across
                                                 representative cost threshold of $11,000                circulating fluidized bed units, and SCR              the identified non-EGU industries, the
                                                 per ton, there are significant additional               on oil/gas steam units greater than 100               EPA assessed the effects of these
                                                 air quality improvements from                           MW that have historically emitted at                  controls in 2026 under its multi-factor
                                                 emissions reductions commensurate                       least 150 tons of NOx
                                                                                                                           NOX per ozone season.               test. In the assessment, we matched
                                                 with installation of new SCRs and                          As noted previously in section V.B of              emissions units by Source Classification
                                                 SNCRs. These measures taken together                    this document and in the EGU NOx   NOX                Code (SCC) from the inventory to the
                                                 with the near-term emissions reduction                  Mitigation Strategies Final Rule TSD,                 applicable control technologies in the
                                                 measures described previously                           the EPA considered other methods of                   CMDB. We modified SCC codes as
                                                 represent the level of control stringency               identifying mitigation measures (e.g.,                necessary to match control technologies
                                                 in 2026 at which incremental EGU NOx  NOX               SCRs on smaller units, combustion                     to inventory records. For additional
                                                 reduction potential and corresponding                   control upgrades on combustion                        details about the steps taken to estimate
                                                 downwind ozone air quality                              turbines, SCRs on combined cycle and                  emissions units, emissions reductions,
                                                 improvements are maximized. This                        simple cycle combustion turbines). The                and costs, see the memorandum titled
                                                 evaluation shows that EGU NOx NOX                       emissions reductions from these                       ‘‘Summary of Final Rule Applicability
                                                                                                                                                               "Summary
                                                 reductions for each of the emissions                    potential categories of measures do not               Criteria and Emissions Limits for Non-
                                                 control technologies are available at                                           ‘‘technology
                                                                                                         constitute additional "technology                     EGU Emissions Units, Assumed Control
                                                 reasonable cost and that these                          breakpoints’’ in EPA's
                                                                                                         breakpoints"      EPA’s estimation, but               Technologies for Meeting the Final
                                                 reductions can provide improvements                     rather reflect a different tier of                    Emissions Limits, and Estimated
                                                 in downwind ozone concentrations at                     assessment where further mitigation                   Emissions Units, Emissions Reductions,
                                                 the identified nonattainment and                        measures are based on inclusion of                          Costs’’ available in the docket. The
                                                                                                                                                               and Costs"
                                                 maintenance receptors.                                  smaller and/or different generator-type               estimates using the 2019 inventory and
                                                     The EPA finds that the control                      units (rather than different pollution                information from the CMDB identify
                                                 stringency that reflects optimization of                control technologies). Emissions                      proxies for emissions units, as well as
                                                 existing SCRs and SNCRs, installation of                reductions from these measures are                    emissions reductions, and costs
                                                 state-of-the-art combustion controls, and               relatively small and would entail much                associated with the assumed control
                                                 the retrofitting of new post combustion                 higher dollar per ton costs, going
                                                 controls at the coal and oil/gas steam                  beyond what is widely observed in the                    248 This is not to discount the potential
                                                                                                                                                                  248

                                                                                                         fleet. Although these additional                      effectiveness of these or other NOx
                                                                                                                                                                                                NOX mitigation
                                                 capacity described previously is                                                                              strategies outside the context of this rulemaking,
                                                 projected to result in nearly 73,000 tons               measures are not included in EPA's
                                                                                                                                          EPA’s                which addresses regional ozone transport on a
                                                 of NOx
                                                     NOX reduction (approximately 40                     technology breakpoint analysis                        nationwide basis based on the present record. States
                                                 percent of the 2026 baseline level) for                 discussed in this section, the EPA did                and local jurisdictions may find such measures
                                                                                                         analyze the cost, potential reductions,               particularly impactful or necessary in the context of
                                                 the 19 linked states in 2026 subject to                                                                       local attainment planning or other unique
                                                 a FIP for EGUs, which will deliver                      and air quality impact of these                       circumstances. Further, while the EPA finds on the
                                                 notable air quality improvements across                 additional measures to affirm that they               present record that this rule is a complete remedy
                                                 all transport-impacted receptors and                    do not merit inclusion in the final                   to the problem of interstate transport for the 2015
                                                                                                                                                               ozone NAAQS for the covered states, the EPA has
ddrumheller on DSK120RN23PROD with RULES2




                                                 assist in fully resolving one downwind                  stringency for this action. That analysis
                                                                                                                                                               in the past recognized that circumstances may arise
                                                 air quality receptor for the 2015 ozone                 shows the potential emissions                         after the promulgation of remedies under CAA
                                                 NAAQS. Figure 2 to section V.D.1 of                     reductions and air quality                            section 110(a)(2)(D)(i)(I) in which the exercise of
                                                 this document 247247 demonstrates the                   improvements from these additional                    further remedial authority against specific
                                                                                                         measures occur beyond a notable "knee-
                                                                                                                                              ‘‘knee-          stationary sources or groups of sources under CAA
                                                                                                                                                               section 126 may be warranted. See Response to
                                                    247 Included in Appendix I of the Ozone
                                                    247                                                  in-the-curve’’ breakpoint. In other
                                                                                                         in-the-curve"                                         Clean Air Act Section 126(b) Petition From
                                                 Transport Policy Analysis Final Rule TSD, which         words, there are very little additional                                                 50444, 50453–54
                                                                                                                                                               Delaware and Maryland, 83 FR 50444,50453-54
                                                 is available in the docket for this rulemaking.         emissions reductions and air quality                         5, 2018).
                                                                                                                                                               (Oct. 5,2018).



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00093   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 132 of 430
                                                 36746
                                                 36746                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 technologies that would meet the final                  seven industries were identified as                      Nonetheless, overall the EPA finds
                                                 emissions limits. Emissions units                       having emissions and potential                        that the range of cost-effectiveness
                                                 subject to the final rule emissions limits              emissions reduction opportunities that                values for non-EGU industries and
                                                 may differ from those estimated in this                           EPA’s air quality criteria for
                                                                                                         met the EPA's                                         emissions units compares favorably
                                                 assessment, and the estimated emissions                 further assessment.                                   with the values used to evaluate EGUs.
                                                 reductions from, and costs to meet, the                    At proposal, the EPA found that based              As discussed in the preceding
                                                 final rule emissions limits may also                    on data available at that time and for the            paragraphs, the representative cost for
                                                 differ from those estimated in this                     purposes of the screening assessment, it              EGUs to retrofit SCR is $11,000/ton.
                                                 assessment. The costs do not include                    appeared that a $7,500 marginal cost-                 This reflects a range of cost estimates,
                                                 monitoring, recordkeeping, reporting, or                per-ton threshold could be used as a                  with $20,900/ton reflecting the 90th
                                                 testing costs.                                          proxy to identify cost-effective                      percentile of units (see section V.B.a of
                                                    After reviewing public comments and                  emissions control opportunities. Similar              this document). The higher end of the
                                                 updating some of the data used to                       to the role of cost-effectiveness                     estimated average cost range for certain
                                                 provide an accurate assessment of the                   thresholds the EPA uses at Step 3 to                  non-EGU industrial emissions units is
                                                 likely potential emissions reductions                   evaluate EGU emissions control                        also in that range. While specific
                                                 that could be achieved from the                         opportunities, this threshold is not                  emissions units may have higher costs
                                                 identified emissions units in the                       intended to represent the maximum cost                associated with installing pollution
                                                 industries analyzed for proposal, the                   any facility may need to expend but is                control technologies than other similar
                                                 EPA finds that in general, these                        rather intended to be a representative                unit types, this does not in itself
                                                 emissions reductions (with some                         figure for evaluating technologies to                 undermine the Agency's
                                                                                                                                                                                 Agency’s conclusion that
                                                 modifications from proposal) are                        allow for a relative comparison between               a level of emissions control associated
                                                 necessary to eliminate significant                      different levels of control stringency.               with a specific emissions limit or
                                                 contribution at Step 3. The EPA's
                                                                              EPA’s use of               For example, in the EGU analysis, the                 control technology is appropriate to
                                                 the analytical framework presented in                   $11,000/ton average cost threshold for                require across the linked upwind state
                                                 the non-EGU screening assessment to                     an SCR retrofit represents a range of                 region, in light of the overall emissions
                                                 identify potentially impactful industries               SCR retrofit costs for units for which the            reductions and air quality benefits at
                                                 and emissions unit types in the proposal                90th percentile cost-per-ton is roughly               downwind receptors that those controls
                                                                      EPA’s criteria were
                                                 remains valid. The EPA's                                $21,000. See section V.B.a of this                    are projected to deliver.
                                                 intended to identify industries and                     document. The EPA's
                                                                                                                           EPA’s potential cost                   We note that the non-EGU control
                                                 emissions unit types that on a broad                                                                          cost estimates in this final rule were
                                                                                                         threshold for non-EGU controls at
                                                 scale impact multiple receptors to                      proposal was intended to serve a similar
                                                                                                                                                               based on historical actual emissions.
                                                 varying degrees. The EPA focused its                                                                          This can affect the presentation of cost-
                                                                                                         representative purpose. We respond
                                                 non-EGU screening assessment on (1)                                                                           per-ton values at the unit level, and it
                                                                                                         briefly to comments regarding the use of
                                                 emissions and potential emissions                                                                             would not be appropriate to abandon
                                                                                                         the $7,500/ton threshold in section V.0 V.C
                                                 reductions from these industries and                                                                          uniform control stringency among like
                                                                                                         of this document. Comments regarding
                                                 emissions units and (2) the potential                                                                         units in the covered industries across or
                                                                                                         the screening assessment are further
                                                 impact that emissions reductions from                                                                         within upwind states based on such cost
                                                                                                         addressed in section 2.2 of the response
                                                 those industries and emissions units                                                                          differentials.
                                                                                                         to comments document in the docket.                      The EPA finds it appropriate to
                                                 could deliver to the receptors.                            Based on the EPA's
                                                                                                                           EPA’s updated analysis
                                                    While commenters criticized the                                                                            require a uniform level of emissions
                                                                                                         for this final rule, the EPA recognizes               control across similar emissions unit
                                                 analytical framework in the non-EGU                     that the $7,500/ton threshold does not
                                                 screening assessment for assuming                                                                             types to, among other things, prevent
                                                                                                         reflect the full range of cost-                       two potential outcomes related to
                                                 potentially unachievable emissions                      effectiveness values that are likely
                                                 reductions at Step 3, or for not                                                                              shifting production, either between
                                                                                                         present across the many different types               units within the same facility or
                                                 corresponding to a precise list of                      of non-EGU industries and emissions
                                                 emissions units that would be covered                                                                         between units at different facilities.
                                                                                                         units assessed. However, the EPA                      First, if some units were exempted from
                                                 at Step 4, these comments did not offer                 nonetheless finds that, with some                     control requirements because of
                                                 an alternative methodology for the Step                 adjustments from proposal, the overall                historically low actual emissions, there
                                                 3 analysis to identify those industries                 mix of emissions controls it identified at            is a risk that source owners or operators
                                                 and emissions units that potentially                    proposal is appropriate to eliminate                  may shift production to these specific
                                                 have the greatest impact and therefore                  significant contribution to                           units, increasing their utilization and
                                                 should be scrutinized more closely for                  nonattainment or interference with                    resulting in emissions increases from
                                                 emissions reduction opportunities.249
                                                                        opportunities.249                maintenance in downwind areas. In the                 these units. Second, if some owners or
                                                 Further, contrary to some commenters’
                                                                             commenters'                 final analysis, we find that the average              operators were able to avoid the control
                                                                 EPA’s assessment did not
                                                 assertions, the EPA's                                   cost-per-ton of emissions reductions                  requirements of the final rule on this
                                                 result in an unbounded scope of                         across all non-EGU industries in this                 basis, they could gain a competitive
                                                 regulation of industrial sources. Of the                rule generally ranges from                                        vis-à-vis other facilities
                                                                                                                                                               advantage vis-à-vis
                                                 approximately 40 industries defined by                  approximately $939/ton to $14,595/ton,                within their respective industries.
                                                 North American Industry Classification                  with an overall average of                            Production could shift from units at
                                                 System codes the EPA analyzed, only                     approximately $5,339/ton. See                         another facility subject to the control
                                                                                                                                ‘‘Summary of Final
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                         memorandum titled "Summary                            requirements to the units that avoided
                                                    249 For example, while the EPA has found it
                                                    249

                                                 appropriate to limit the scope of emissions units
                                                                                                         Rule Applicability Criteria and                       control requirements (and thus avoid
                                                 that would be subject to emissions limits and           Emissions Limits for Non-EGU                          costs the regulated facility should bear),
                                                 controls in the iron and steel industry in light of     Emissions Units, Assumed Control                      potentially resulting in emissions
                                                 comments regarding certain sources'
                                                                               sources’ inability to     Technologies for Meeting the Final                    increases. The effect of such an
                                                            EPA’s proposed emission limits, this does
                                                 meet the EPA's
                                                               EPA’s determination that this industry
                                                 not alter the EPA's
                                                                                                         Emissions Limits, and Estimated                       approach in such circumstances would
                                                 is an impactful industry and that certain emissions     Emissions Units, Emissions Reductions,                be mere emissions shifting rather than
                                                 controls should still be required.                           Costs,’’ available in the docket.
                                                                                                         and Costs,"                                           the elimination of significant


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00094   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                                           Document #2009836                                                         Filed: 07/27/2023                                      Page 133 of 430
                                                                             Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                     Register/Vol.                                                                                                                                                                                      36747
                                                                                                                                                                                                                                                                                        36747

                                                 contribution. Finally, as we have                                            through our review of consent decrees,                                                example, the total ppb improvement
                                                 explained in prior transport actions, the                                    permits, RACT determinations, and                                                     summed over all of the receptors from
                                                 cost-effectiveness figure is not the only                                    other data sources. These levels of                                                   EGUs was 7.04 ppb and the non-EGU
                                                 factor that the agency considers at Step                                     emissions control have in many cases                                                  increment adds another 2.82 ppb of
                                                 3, see 86 FR 23073, and if used in                                           already been required by states with                                                  improvement bringing the total to 9.87
                                                 isolation to make a policy decision                                          downwind nonattainrnent
                                                                                                                                           nonattainment areas for the                                              (when accounting for rounding). Non-
                                                 without considering other information,                                       2015 ozone NAAQS.                                                                     EGUs account for 29 percent of this total
                                                 could produce a result that is                                                 The EPA determined that, for 2026,                                                  air quality improvement as well.
                                                 inconsistent with the objective of                                           the incremental average air quality                                                   Further, these figures should not be
                                                 ensuring significant contribution is                                         improvement at receptors relative to the
                                                                                                                                                                                                                    considered in isolation; EPA is not
                                                 eliminated.  250
                                                 elirninated.25°                                                              EGU case when SCR post-combustion
                                                                                                                                                                                                                    comparing EGU strategy effects and
                                                    In addition to our evaluation of cost-                                    controls were installed was 0.19 ppb
                                                                                                                                                                                                                    non-EGU effects to make a selection
                                                 effectiveness on a cost per ton basis, the                                   when non-EGU controls were applied,
                                                 EPA’s determination at Step 3 for non-
                                                 EPA's                                                                        based on the Step 3 analysis. The total                                               between two different approaches.
                                                 EGUs is also informed by the overall                                         average air quality improvement was                                                   Rather, both the selected EGU and non-
                                                 level of emissions reductions that will                                      0.66 ppb when the non-EGU                                                             EGU emissions reduction strategies at
                                                 be achieved across the region and the                                        improvement was added to the EGU                                                      the cost-effectiveness values identified
                                                 effect those reductions are projected to                                     improvement, meaning that the non-                                                    in section V.B and V.0
                                                                                                                                                                                                                                        V.C of this document
                                                 have on air quality at the downwind                                          EGU increment accounts for about 29                                                   present a comprehensive solution to
                                                 receptors (discussed more later in this                                      percent of this average air quality                                                   eliminating significant contribution for
                                                 section). We are also influenced by the                                      improvement. In general, the air quality                                              the covered states. The combined effect
                                                 fact that these emissions control                                            results from non-EGU emissions                                                        of the EGU and non-EGU strategies is
                                                 strategies for non-EGUs are generally                                        reductions yield additional important                                                 further presented in the following
                                                 well demonstrated to be feasible on                                          downwind benefits to the air quality                                                  section.
                                                 many existing units, as established                                          benefits of the EGU strategy. For
                                                                                  TABLE
                                                                                  TABLE V.D.2-2-AIR
                                                                                        V.D.2–2—AIR QUALITY
                                                                                                    QUALITY AT RECEPTORS
                                                                                                               RECEPTORS IN 2026 FROM
                                                                                                                                 FROM NON-EGU
                                                                                                                                      NON-EGU INDUSTRIES
                                                                                                                                              INDUSTRIES
                                                                                                                                                                                                               Average DV                                              Max DV
                                                                                                                                                                                                                  (ppb)
                                                                                                                                                                                                                  (PPb)                                                 (ppb)
                                                                                                                                                                                                                                                                        (PPb)
                                                                                                                                                                                                                               EGU                                                    EGU
                                                                                                                                                                                                                           SCR/SNCR                                               SCR/SNCR
                                                           Monitor ID No.                                      State                                          County                                                       optimization                                           optimization
                                                                                                                                                                                                  Baseline
                                                                                                                                                                                                  Baseline                    + LNB                     Baseline
                                                                                                                                                                                                                                                        Baseline                     + LNB
                                                                                                                                                                                                (engineering                                          (engineering
                                                                                                                                                                                                  analysis)                 upgrade +                   analysis)                  upgrade +
                                                                                                                                                                                                                           SCR/SNCR                                               SCR/SNCR
                                                                                                                                                                                                                          retrofit + non-                                           retrofit +
                                                                                                                                                                                                                               EGU                                                 non-EGU

                                                 40278011 ................................   Arizona ...................................     Yuma ......................................                      69.87                      69.80                      71.47                      71.40
                                                 80590006 ................................   Colorado .................................      Jefferson .................................                      71.70                      71.34                      72.30                      71.93
                                                 80590011 ................................   Colorado .................................      Jefferson .................................                      72.06                      71.57                      72.66                      72.16
                                                 80690011 ................................   Colorado .................................      Latimer
                                                                                                                                             Larimer ...................................                      69.84                      69.53                      71.04                      70.72
                                                 90013007 ................................   Connecticut .............................       Fairfield ...................................                    71.25                      70.66                      72.06                      71.46
                                                 90019003 ................................   Connecticut .............................       Fairfield ...................................                    71.58                      71.06                      71.78                      71.26
                                                 350130021 ..............................    New Mexico ............................         Dona Ana ...............................                         70.06                      69.86                      71.36                      71.16
                                                 350130022 ..............................    New Mexico ............................         Dona Ana ...............................                         69.17                      68.96                      71.77                      71.56
                                                 350151005 ..............................    New Mexico ............................         Eddy .......................................      ........................   ........................   ........................   ........................
                                                 350250008 ..............................    New Mexico ............................         Lea ..........................................    ........................   ........................   ........................   ........................
                                                 480391004 ..............................    Texas ......................................    Brazoria ..................................                      69.89                      68.50                      72.02                      70.58
                                                 481671034 ..............................    Texas ......................................    Galveston ...............................                        71.29                      69.28                      72.51                      70.47
                                                 482010024 ..............................    Texas ......................................    Harris ......................................                    74.83                      73.39                      76.45                      74.98
                                                 490110004 ..............................    Utah ........................................   Davis .......................................                    69.90                      69.28                      72.10                      71.46
                                                 490353006 ..............................    Utah ........................................   Salt Lake ................................                       70.50                      69.91                      72.10                      71.50
                                                 490353013 ..............................    Utah ........................................   Salt Lake ................................                       71.91                      71.40                      72.31                      71.80
                                                 551170006
                                                 551170006 ..............................    Wisconsin ...............................       Sheboygan .............................                          70.83                      70.27                      71.73                      71.17

                                                      Average AQ Change Relative to Base (ppb) ............................................................................                    ........................   ........................   ........................                   0.66

                                                      Total PPB Change Across All Receptors Relative to Base (ppb) .............................................                               ........................   ........................   ........................                   9.87

                                                    Table Notes:
                                                    a The EPA notes that the design values reflected in Table V.D.-2
                                                    aThe                                                        V.D.–2 correspond to the engineering analysis EGU emissions inventory that was used in AQAT to deter-
                                                 mine state-level baseline emissions and reductions at Step 3. These tools are discussed in greater detail in the Ozone Transport Policy Analysis Final Rule TSD.
                                                    b
                                                    b New Mexico Eddy and Lea monitors have no values in Table V.D.2-2V.D.2–2 as EPA does not have calibration factors for these monitors as no contributions were cal-
                                                 culated for them from the proposal AQ modeling.
                                                    c
                                                    a The cumulative ppb change only shows the aggregate change across all problematic receptors (some of which are located within close proximity to one another)
ddrumheller on DSK120RN23PROD with RULES2




                                                 in this part of the Step 3 analysis. Section VIII of this document provides a more complete picture of the air quality impacts of the final rule.




                                                   250 Nonetheless, recognizing the diverse non-EGU
                                                   250                                                                        hardship in meeting the general requirements being                                    in the emissions limits based on a demonstration
                                                 industries and emissions units covered in this                               finalized in this action, the EPA has provided                                        of technical impossibility or extreme economic
                                                 action and the potential that certain individual                             mechanisms in the regulatory requirements for                                         hardship. See section VI.0
                                                                                                                                                                                                                                          VI.C of this document.
                                                 facilities and emissions units may face extreme                              industrial sources that provide for some flexibility



                                            VerDate Sep<11>2014         20:14 Jun 02, 2023         Jkt 259001        PO 00000         Frm 00095         Fmt 4701        Sfmt 4700         E:\FR\FM\05JNR2.SGM                   05JNR2
                                                       USCA Case #23-1157                                          Document #2009836                                                 Filed: 07/27/2023                           Page 134 of 430
                                                 36748
                                                 36748                       Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                     Register/Vol.

                                                   For more information about how this                                       modeling base case to inform the air                                         combustion control upgrades,
                                                 assessment was performed and the                                            quality effects of the rule and to conduct                                   application of new post-combustion
                                                 results of the analysis for each receptor,                                  our over-control analysis. EPA's
                                                                                                                                                          EPA’s                                           control (SCR and SNCR) retrofits at
                                                 refer to the Ozone Transport Policy                                         evaluation demonstrated air quality                                          eligible units, and all estimated
                                                 Analysis Final Rule TSD and to the                                          improvement at the remaining                                                 emissions reductions from the non-EGU
                                                 Ozone AQAT included in the docket for                                       nonattainment or maintenance receptors                                       industries. Table V.D.3-1
                                                                                                                                                                                                                             V.D.3–1 summarizes
                                                 this rule.                                                                  outside of California (see section IV.D of                                   the results of EPA's
                                                                                                                                                                                                                         EPA’s Step 3 evaluation of
                                                 3. Combined EGU and Non-EGU                                                 this document for receptor details). The                                     air quality improvements at these
                                                 Assessment                                                                  EPA estimated that the average air                                           receptors using AQAT. In summary, the
                                                    The EPA used the Ozone AQAT to                                           quality improvement at these receptors                                       collective application of these
                                                 evaluate the combined impact of these                                       relative to the engineering analytics base                                   mitigation measures and emissions
                                                 selected stringency levels for both EGUs                                    case was 0.66 ppb for emissions                                              reductions are projected to deliver
                                                 and non-EGUs on all receptors                                               reductions commensurate with                                                 meaningful downwind air quality
                                                 remaining in the 2026 air quality                                           optimization of existing SCRs/SNCRs,                                         improvements.

                                                   TABLE V.D.3-1—CHANGE
                                                   TABLE V.D.3–1—CHANGE IN AIR
                                                                           AIR QUALITY
                                                                               QUALITY AT RECEPTORS IN 2026 F
                                                                                          RECEPTORS               ROM F
                                                                                                                 FROM       RULE EGU AND NON-EGU
                                                                                                                       INAL RULE
                                                                                                                      FINAL              NON-EGU EMISSIONS
                                                                                                                                                 EMISSIONS
                                                                                              REDUCTIONS aa bb cc
                                                                                              REDUCTIONS

                                                                                                                                                                                                  Ozone season                 Total PPB      Average PPB
                                                                                                         Sector/technology                                                                         emissions                 change across    change across
                                                                                                                                                                                                                              all downwind     all downwind
                                                                                                                                                                                                   reductions                  receptors dd      receptors

                                                 EGU (SCR/SNCR optimization + LNB upgrade) .....................................................................                                              16,282                   0.71              0.05
                                                 EGU SCR/SNCR Retrofit ........................................................................................................                               55,672                   6.34              0.42
                                                 Non-EGU Industries .................................................................................................................                         44,616                   2.82              0.19

                                                       Total ..................................................................................................................................   ........................             9.87              0.66
                                                      Table Notes:
                                                    aa As in prior rules, for the purpose of defining significant contribution at Step 3, the EPA evaluated air quality changes resulting from the appli-
                                                 cation of the emissions reductions in only those states that are linked to each receptor as well as the state containing the receptor. By applying
                                                 reductions to the state containing the receptor, the EPA ensures that it is accounting for the downwind state’sstate's fair share. In addition, this method
                                                 holds each upwind state responsible for its fair share of the downwind problems to which it is linked. Reductions made by other states to address
                                                 air quality problems at other receptors do not increase or decrease this share. The air quality impacts on design values that reflect the emissions
                                                 reductions in all linked states and associated health and climate benefits are discussed in section VII of this document.
                                                     bb The EPA notes that the design values reflected in Tables V.D.1-1
                                                                                                                      V.D.1–1 and –2—2 correspond to the engineering analysis EGU emissions inventory
                                                 used in AQAT to determine state-level baseline emissions and reductions at Step 3. These tools are discussed in greater detail in the Ozone
                                                 Transport Policy Analysis Final Rule TSD. Additionally, these emissions reduction values vary slightly from the technology reduction estimates
                                                 described in section V.0 V.C of this document, as the values here reflect the sum of the final identified stringency for each state (e.g., SCR retrofit
                                                 potential is not assumed in Alabama, Minnesota, and Wisconsin).
                                                      c The total and average ppb results from non-EGUs emissions reductions shown here were generated using the Step 3 AQAT methodology
                                                    cThe
                                                 consistent with that for EGUs (Le.,
                                                                                   (i.e., including reductions from the state containing the receptor and excluding states that are not explicitly linked to
                                                 particular receptors). The values shown in Table V.C.2-1 V.C.2–1 were prepared for the non-EGU screening assessment using a methodology where
                                                 states within the program make emissions reductions for all receptors. States that contain receptors (Le., (i.e., Connecticut and Colorado) that are not
                                                 linked to other receptors are not assumed to make reductions under that methodology.
                                                    d d The cumulative ppb change only shows the aggregate change across all problematic receptors (some of which are located within close prox-
                                                 imity to one another) in this part of the Step 3 analysis. Section VIII of this document provides a picture of the projected air quality impacts of the
                                                 final rule using modeling techniques that differ from the methodologies employed here.


                                                 4. Over-Control Analysis                    threshold (i.e., 1 percent of the NAAQS                                                                      to the more stringent emissions limits so
                                                                                             or 0.70 ppb) to all receptors. In EME                                                                        as not to cause other downwind
                                                    The EPA applied its over-control test                                                                                                                 locations to which those States are
                                                                                             Homer City, the Supreme Court held
                                                 to this same set of aggregated EGU and                                                                                                                   linked to fall into nonattainment."
                                                                                                                                                                                                                              nonattainment.’’ Id. at
                                                                                             that the EPA cannot "require[]
                                                                                                                     ‘‘require[] an
                                                 non-EGU data described in the previous                                                                                                                   14–15. Further, as the Supreme Court
                                                                                             upwind    State to reduce   emissions by                                                                     14-15.
                                                 section. The EPA performed air quality                                                                                                                   explained, "while
                                                                                                                                                                                                                      ‘‘while EPA has a statutory
                                                 analysis using the Ozone AQAT to            more than the amount necessary to
                                                                                             achieve attainment in every downwind                                                                         duty to avoid over-control, the Agency
                                                 determine whether the emissions
                                                                                                                                                                                                          also has a statutory obligation to avoid
                                                 reductions for both EGUs and non-EGUs State to which it is linked."
                                                                                                                   linked.’’ 572 U.S. at
                                                                                                                                                                                                          ‘under-control,’
                                                                                             521.  On  remand   from   the Supreme                                                                        `under-control,' i.e., to maximize
                                                 potentially create an "over-control"
                                                                        ‘‘over-control’’
                                                                                             Court, the D.C. Circuit held that this                                                                       achievement of attainment downwind.’’
                                                                                                                                                                                                                                        downwind."
                                                 scenario. As in prior transport rules
                                                                                             means that the EPA might overstep its                                                                        572 U.S. at 523. The Court noted that "a‘‘a
                                                 following the holdings in EME Homer                                                                                                                      degree of imprecision is inevitable in
                                                                                                        ‘‘when those downwind
                                                 City, overcontrol would be established if authority "when
                                                                                             locations would achieve attainment                                                                           tackling the problem of interstate air
                                                 the record indicated that, for any given
                                                                                             even if less stringent emissions limits                                                                      pollution’’
                                                                                                                                                                                                          pollution" and that incidental over-
                                                 state, there is an identified, less                                                                                                                      control may be unavoidable. Id.
                                                 stringent emissions control approach for were imposed on the upwind States
ddrumheller on DSK120RN23PROD with RULES2




                                                                                             linked to those locations."
                                                                                                               locations.’’ EME Homer                                                                     ‘‘Required to balance the possibilities of
                                                                                                                                                                                                          "Required
                                                 that state, by which (1) the expected
                                                                                             City
                                                                                             City II, 795 F.3d at 127. The D.C. Circuit                                                                   under-control and over-control, EPA
                                                 ozone improvements would be
                                                                                                                                                                                                          must have leeway in fulfilling its
                                                 sufficient to resolve all of the downwind qualified this statement by noting that
                                                                                                  ‘‘does not mean that every such                                                                         statutory mandate."
                                                                                                                                                                                                                    mandate.’’ k/.251
                                                                                                                                                                                                                                 Id.251
                                                 receptor(s) to which that state is linked; this "does
                                                 or (2) the expected ozone improvements upwind state would then be entitled to                                                                               251 Although the Court described over-control as
                                                                                                                                                                                                             251
                                                                               state’s ozone
                                                 would reduce the upwind state's             less stringent emissions limits. Some of                                                                     going beyond what is needed to address
                                                 contributions below the screening           those upwind States may still be subject                                                                     "nonattainment"
                                                                                                                                                                                                          ‘‘nonattainment’’ problems, the EPA interprets this



                                            VerDate Sep<11>2014         21:01 Jun 02, 2023         Jkt 259001       PO 00000        Frm 00096        Fmt 4701       Sfmt 4700       E:\FR\FM\05JNR2.SGM              05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023                    Page 135 of 430
                                                                      Federal Register / Vol. 88, No. 107/Monday,
                                                                                                      107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules                                                                        36749
                                                                                                                                                                                                              36749

                                                    Consistent with these instructions                   illustrated in the Ozone Transport                       the selected control stringency
                                                 from the Supreme Court and the D.C.                     Policy Analysis Final Rule TSD, our                      beginning in 2026 includes additional
                                                 Circuit, using the Ozone AQAT, the                      analysis under both configurations                       EGU controls and the non-EGU
                                                 EPA first evaluated whether reductions                  establishes that there is no overcontrol                 emissions reductions.
                                                 resulting from the selected control                     and so there is no need to reconcile any                    The EPA assesses air quality impacts
                                                 stringencies for EGUs in 2023 and 2026                  difference in results between them.                      and overcontrol in the year 2026 in this
                                                 combined with the emissions reductions                     We also looked at the ordering of                     final rule, even though the rule
                                                 selected for non-EGUs in 2026 can be                    increments of emissions reduction and                    accommodates the potential need for
                                                 anticipated to resolve any downwind                     have found that it does not matter                       individual facilities (both EGU and non-
                                                 nonattainment or maintenance problems                   whether we assume EGU emissions                          EGU) to have some additional time to
                                                 (see the Ozone Transport Policy                         controls would be applied first,                         come into compliance. The EPA views
                                                 Analysis Final Rule TSD for details on                  followed by non-EGU controls, or vice-                   this additional time to be a reflection of
                                                 the construction and application of                     versa. For 2023, the question is moot as                 need (based on demonstrated
                                                 AQAT).                                                  there are only EGU reductions to                         impossibility) that is justified at Step 4
                                                    Similar to our approach in the CSAPR                 examine. For 2026, the analysis showed                   of the interstate transport framework
                                                 Update and the Revised CSAPR Update,                    there would be no overcontrol either                     rather than at Step 3. As explained in
                                                 our primary overcontrol assessment                      way. In 2026, the EPA's
                                                                                                                             EPA’s overcontrol                    section VI.A of this document, with
                                                 examines the receptor changes from the                  analysis (as presented here) examined                    respect to EGUs, the EPA extends the
                                                 emissions reductions of the upwind                      all EGU reductions first and layered in                  full implementation of the SCR retrofit-
                                                 states found linked to a receptor.                      non-EGU reductions in the last step of                   based reductions across 2026 and 2027
                                                 Consistent with prior Rules, EPA also                   the overcontrol check. However, the                      to accommodate any unit-level
                                                 assumed that downwind states that are                   EPA also examined an alternative                         scheduling challenges. However, we
                                                 not upwind states in this rule                          ordering scenario where the non-EGU                      find that many sources can meet a three-
                                                 implement reductions commensurate                       reductions were assessed prior to the                    year installation time and the trading
                                                 with the rule's
                                                            rule’s requirements (this                    EGU reductions associated with                           program features and the allowance
                                                 treatment applies specifically to                       installation of new SCR post-                            price will incentivize these reductions
                                                 Colorado and Connecticut). This                         combustion controls (see the Ozone                       to occur as soon as possible. Similarly,
                                                 configuration effectively presents an                   Transport Policy Analysis Final Rule                     with respect to non-EGU industrial
                                                 equitable representation of the effects of              TSD for details). This ordering did not                  sources, the final rule provides limited
                                                 the rule in that linked upwind states do                impact the results of the overcontrol                    circumstances for individual facilities to
                                                 not shift their responsibility to other                 test. The specific results of these                      seek and to be granted extensions of
                                                 upwind states linked to different                       analyses are presented in the TSD.                       time to install required pollution
                                                 receptors. It also effectively resolves any                The control stringency selected for                   controls and achieve the emissions rates
                                                 interdependence and "which‘‘which state goes            2023 (a representative cost threshold of                 established in this rule based on a
                                                 first?’’ questions. Furthermore, the
                                                 first?"                                                 $1,800 per ton for EGUs) includes                        showing of necessity. Those
                                                 downwind states in which a receptor is                  emissions reductions commensurate                        circumstances where an extension may
                                                                         ‘‘fair share"
                                                 located are held to a "fair    share’’ of               with optimization of existing SCRs and                   be warranted for any specific facility are
                                                 emissions reductions—i.e., the same                     SNCRs and installation of state-of-the-                  unknown at this time and will be
                                                 level of emissions control stringency                   art combustion controls, is not                          evaluated through a source-specific
                                                 that the upwind states must implement.                  estimated to change the status of any                    application process, where the need for
                                                    The EPA also repeated this analysis                  receptors.252 Thus, the nonattainment or
                                                                                                         receptors.252                                            extension can be established with
                                                 using an alternative configuration, as                  maintenance receptors that the states are                source-specific evidence. See section
                                                 described in the Ozone Transport Policy                                                                          VI.C of this document. Further, 2026 is
                                                                                                                                                                  VI.0
                                                                                                         linked to remain unresolved. Nor do any
                                                 Analysis Final Rule TSD. In this                        states’ contribution levels drop below
                                                                                                         states'                                                  the critical analytic year associated with
                                                 configuration, we looked at the                         the 1 percent of NAAQS threshold.                        the last full ozone season before the
                                                 combined effect of the entire program                   Thus, the EPA determined that none of                    2027 Serious area attainment date and is
                                                 across all linked upwind states on each                 the 23 linked states have all of their                   the year by which significant
                                                 receptor and did not assume that a                      linkages resolved at the final EGU level                 contribution must be eliminated if at all
                                                 downwind state that is not also an                                                                               possible. Therefore, for purposes of this
                                                                                                         of control stringency in 2023, and
                                                 upwind state makes any additional                       hence, the EPA finds no over-control in                  analysis, the collective state and
                                                 emissions reductions beyond the                         the final level of stringency.                           regional representation of these
                                                 baseline in the relevant year. This                        Based on the air quality baseline                     reductions are fully assumed in 2026.
                                                 configuration effectively isolates how                  modeling for 2026, all receptors to                      The potential ability of both EGU and
                                                 the rule as a whole, and just the rule,                 which Alabama, Minnesota, and                            non-EGU sources to have some amount
                                                 will affect air quality and linkages.                   Wisconsin are linked in 2023 are                         of additional time beyond 2026 to
                                                 While the first configuration described                 projected to be in attainment in 2026.                   comply with requirements that we have
                                                            Agency’s view, the more
                                                 is, in the Agency's                                     Therefore, no additional stringency is                   determined at Step 3 are necessary to
                                                 appropriate way to evaluate overcontrol,                finalized for EGUs or non-EGUs in those                  eliminate significant contribution does
                                                 taken together the configurations                       states beyond the 2023 level of                          not necessitate evaluating a later year
                                                 provide a more robust basis on which to                 stringency. For the remaining 20 states,                 than 2026 for overcontrol. The
                                                 rest our conclusions regarding                                                                                   stringency of the control program does
ddrumheller on DSK120RN23PROD with RULES2




                                                 overcontrol. In any case, as further                      252 For purposes of this rule, the violating monitor   not alter in any year beyond 2026.   253 By
                                                                                                                                                                                                 2026.253
                                                                                                         receptors inform our determinations at Step 1 and
                                                 holding as not impacting its approach to defining       2 by strengthening the analytical basis on which we         333 Thus, we note, this circumstance is different
                                                                                                                                                                     253

                                                 and addressing both nonattainment and                   conclude upwind states are linked in 2023. Because       than the record on which overcontrol was found in
                                                 maintenance receptors. In particular, the EPA           no linkages identified using our air quality             EME Homer City. There, CSAPR would have
                                                 continues to interpret the Good Neighbor provision      modeling methodology resolve in 2023 under the           implemented an increase in the emissions control
                                                 as requiring it to give independent effect to the       selected control stringency, it is not necessary to      stringency of the rule (as reflected in a change in
                                                 ‘‘interfere with maintenance"
                                                 "interfere       maintenance’’ prong. Accord            evaluate overcontrol with respect to the additional      emissions control stringency expressed as dollars
                                                 Wisconsin, 938 F.3d at 325–27.
                                                                           325-27.                       set of violating-monitor receptors.                                                                    Continued



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00097   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM     05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023                 Page 136 of 430
                                                 36750
                                                 36750                Federal Register / Vol. 88, No. 107/Monday,
                                                                                                      107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules

                                                 fully reflecting all Step 3 emissions               level is appropriate to avoid under-                      problem based on the present record.
                                                 reductions in its overcontrol test for              control as to these states and does not                   The Supreme Court has directed the
                                                 2026, EPA ensures that it is not                                overcontrol.254
                                                                                                     constitute overcontro1.254                                EPA to avoid both over-control and
                                                 understating the emissions impact and                  Next, the EPA evaluated the potential                  under-control in addressing good
                                                 benefit when performing the test.                   for over-control with respect to the 1                    neighbor obligations. In addition, the
                                                     The EPA used the Ozone AQAT to                  percent of the NAAQS threshold                            D.C. Circuit has reinforced that over-
                                                 evaluate the impact of this selected                applied in this final rulemaking at Step                  control must be established based on
                                                 stringency level (as well as other                  3 of the good neighbor framework,                         particularized, record evidence on an
                                                 potential stringency levels) on all                 assessed for the selected control                         as-applied basis.
                                                 receptors remaining in the 2026 air                 stringencies for each state for each                         The determination that the stringency
                                                 quality modeling base case. This                    period that downwind nonattainment                        of this action does not constitute
                                                 assessment shows that the selected                  and maintenance problems persist (i.e.,                   overcontrol for any linked state is
                                                 control stringency level is estimated to            2023 and 2026). Specifically, the EPA                     further reinforced by EPA's
                                                                                                                                                                                        EPA’s observation
                                                 change the status of three receptors to             evaluated whether the selected control                    in section III.A of this document
                                                 attainment or maintenance in 2026.                  stringencies would reduce upwind                          regarding the nature of the ozone
                                                 Brazoria County, Texas (Monitor ID                  emissions to a level where the                            problem. Ozone levels are known to
                                                 480391004); and Galveston County,                   contribution from any of the 23 linked                    vary, at times dramatically, from year to
                                                 Texas (Monitor ID 481671034), are                   states in 2023 or 20 linked states in 2026                year. Future ozone concentrations and
                                                 estimated to come into attainment. We               would be below the 1 percent threshold.                   the formation of ground level ozone may
                                                 observe that one of the Fairfield,                  The EPA finds that for the mitigation                     also be impacted by factors in future
                                                 Connecticut, receptors (Monitor ID                  measures assumed in 2023 and in 2026,                     years that the EPA cannot fully account
                                                 090013007) is estimated to go from                  all states that contributed greater than or               for at present. For example, changes to
                                                 nonattainment to maintenance (when                  equal to the 1 percent threshold in the                   meteorological conditions could affect
                                                 EGU emissions reductions with SCR are base case are projected to continue to                                  future ozone levels. Climate change
                                                 applied, prior to the application of the            contribute greater than or equal to 1                     could also contribute to higher than
                                                 non-EGU emissions reductions). This                 percent of the NAAQS to at least one                      anticipated ozone levels in future years
                                                 receptor is expected to remain in                   remaining downwind nonattainment or                       through wildfires and heat waves,
                                                 maintenance even after the application              maintenance receptor for as long as that                  which can contribute directly and
                                                 of the non-EGU emissions reductions.                receptor remained in nonattainment or                     indirectly to higher levels of ozone. Any
                                                 Based on these data, EPA finds that all             maintenance. EPA notes that in 2026,                      modeling projection can be
                                                 linked states except Arkansas,                      for Oklahoma, when the incremental                        characterized as having some
                                                 Mississippi, and Oklahoma are                       level of stringency associated with the                   uncertainty, and that is not a sufficient
                                                 projected to continue to be linked to               non-EGU control strategy is applied,                      reason to ignore modeling results.
                                                 nonattainment or maintenance receptors Oklahoma's   Oklahoma’s contribution to Galveston                      However, in the context of the
                                                 after implementation of all identified              County Texas is expected to drop below                    overcontrol test, the question is whether
                                                 Step 3 reductions, and hence, the EPA               the 1 percent threshold (at the same                      it is clear according to particularized
                                                 finds no over-control in its                        time that the receptor has its                            evidence that there is no need for the
                                                 determination of that level of stringency maintenance problems resolved). EPA                                 emissions reductions in question. See
                                                 for those states. Arkansas, Mississippi,            concludes that this does not constitute                   EME
                                                                                                                                                               EME Homer City, 572 U.S. at 523 (‘‘[A]
                                                                                                                                                                                                    ("[A]
                                                 and Oklahoma are linked to at least one overcontrol because both the receptor                                 degree of imprecision is inevitable in
                                                 of the two Texas receptors that are                 and the contribution are estimated to                     tackling the problem of interstate air
                                                 projected to come into attainment with              remain above the maintenance level and                    pollution. Slight changes in wind
                                                 the full implementation of the control              linkage threshold at the prior level of                   patterns or energy consumption, for
                                                 strategy at Step 3. However, these two              stringency and, thus, since otherwise                     example, may vary downwind air
                                                 Texas receptors are expected to remain              justified at Step 3, the full stringency for              quality in ways EPA might not have
                                                 as maintenance-only receptors prior to              2026 is appropriate to avoid under-                       anticipated.’’). Under this standard, the
                                                                                                                                                               anticipated.").
                                                 the final increment of reductions                   control. For more information about this                  degree of attainment that is projected to
                                                 assessed (the addition of the non-EGU               assessment, refer to the Ozone Transport                  occur under the rule in relation to the
                                                 reductions), so EPA concludes that                  Policy Analysis Final Rule TSD and the                    Texas receptors discussed above is not
                                                 imposition of the incremental non-EGU Ozone AQAT.                                                             so large or certain to occur that it would
                                                                                                        Therefore, EPA finds that all of the
                                                                                                     selected EGU and non-EGU NOx    NOX                       be appropriate to attempt to devise a
                                                 per ton from $100/ton to $500/ton). That change in
                                                 stringency marked a determination that EPA had                                         EPA’s
                                                                                                     reduction strategies selected in EPA's                    less stringent emissions control strategy
                                                 made at Step 3 regarding the degree of emissions    Step 3 analysis can be applied to all                     for the relevant linked states as a result,
                                                 reduction that sources needed to achieve beginning
                                                                                                     states linked in 2026 to eliminate                        particularly in light of the fact that at
                                                 in 2014. But in that year, the court found EPA’s
                                                                                             EPA's                                                             the penultimate stringency level the
                                                 record to reveal that certain states would not need significant contribution to
                                                 to go up to that higher level of stringency because nonattainment and interference with                       receptors are not resolved.
                                                 air quality problems and/or linkages were already                                                                It is also possible that ozone-precursor
                                                                                                     maintenance of the 2015 ozone NAAQS
                                                 projected to be resolved at the lower level of
                                                                                                     without introducing an overcontrol                        emissions from certain sources may
                                                 stringency. See 795 F.3d at 128-30.
                                                                              128–30. The analogous                                                            decline beyond what we currently
                                                 year to 2014 here is 2026. The stringency level of
                                                 this control program does not change post-2026.            254 Even with full implementation of the rule,
                                                                                                            254                                                project in this rule. For example, the
                                                 Nor do we think individual sources should gain the      these two receptors are only projected to come into   IRA may result in reductions in fossil-
ddrumheller on DSK120RN23PROD with RULES2




                                                 benefit of delaying emissions reductions simply in      attainment by a relatively small degree, and no       fuel fired generation, which should in
                                                 the hopes that they could show those reductions         policy option is ascertained in the record by which   turn result in lower NOx
                                                                                                                                                                                      NOX emissions
                                                 would be overcontrol; each source must be held to       attainment could be achieved to an even lesser
                                                 the elimination of its portion of significant           degree. Nonetheless, the EPA further evaluated        during the ozone season.255
                                                                                                                                                                                   season.255 We have
                                                 contribution. Necessity may demand some                 whether there were any overcontrol concerns
                                                 additional amount of time for compliance, but           through sensitivity analyses. Under all scenarios,       255 As discussed in section IV.C.2.b, there are also
                                                                                                                                                                 255

                                                 equity demands that individual sources not gain an      the EPA finds there is no overcontrol. See the        potential ways in which the IRA may not
                                                 untoward advantage from delay and reliance on           Ozone Transport Policy Analysis Final Rule TSD                                            NOX emissions
                                                                                                                                                               necessarily result in reductions in NOx
                                                       sources’ timelier compliance.
                                                 other sources'                                          for more discussion and analysis.                     from EGUs.



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00098   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 137 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                           36751
                                                                                                                                                                                                   36751

                                                 assessed this scenario to ensure our                    control strategy will actually result in                 contribution remain available but un-
                                                 overcontrol conclusions are robust even                 any overcontrol of emissions in the                      implemented. This would constitute
                                                 if the IRA has those effects. As                        manner the EPA or courts have                            under-control. Consequently, as
                                                 discussed in the Regulatory Impact                      understood that term, and overcontrol                    described, the EPA views the control
                                                 Analysis, the EPA conducted additional                  allegations must be proven through                       stringency required of these states in
                                                 modeling of the final policy scenario                   particularized, as-applied challenges.                   this final rule as not constituting over-
                                                 (inclusive of economically efficient                    See EME Homer City, 795 F.3d at 127;                     control and appropriate to eliminate
                                                 methods of compliance available within                  see also Wisconsin,
                                                                                                                   Wisconsin, 938 F.3d at 325                     significant contribution to
                                                 the Step 4 implementation programs)                     (‘‘[T]he way to contest instances of over-
                                                                                                         ("[T]he                                                  nonattainment
                                                                                                                                                                  nonattainrnent and interference with
                                                 using its IPM tool. The EPA observes                    control is not through generalized                       maintenance of this NAAQS in line
                                                 that the differences in estimated costs                               EPA’s methodology would
                                                                                                         claims that EPA's                                        with our Step 3 determinations for all
                                                 and emissions reductions in the IRA                     lead to over-control, but rather through                 other states. See the Ozone Transport
                                                 sensitivity (presented in Appendix 4A                   a ‘particularized,
                                                                                                            `particularized, as-applied                           Policy Analysis Final Rule TSD section
                                                 of the RIA) suggests that there would                   challenge.’ "’’ Accordingly, as we did
                                                                                                         challenge.'                                              C.3 for discussion and analysis
                                                 also be differences in estimated health                 when presented with similar arguments                    regarding overcontrol for states solely
                                                 and climate benefits under that                         in EME Homer III, we reject Industry                     linked to one or both of these receptors.
                                                 scenario, although the Agency did not                   Petitioners’ arguments because they do
                                                                                                         Petitioners'                                                Comment:
                                                                                                                                                                     Comment: Commenters raised a
                                                 have time under this rulemaking                         no more than speculate that aspects of                   variety of arguments that the
                                                 schedule to quantify those differences.                 ‘EPA’s
                                                                                                         `EPA's methodology could lead to over-                   enhancements to the EGU trading
                                                 The EPA also used AQAT to conduct an                                         States.’ ")
                                                                                                         control of upwind States.'    ’’) (cleaned               program in this action will result in
                                                 additional EGU modeling sensitivity                     up) (citing EME Homer City, 795 F.3d at                  overcontrol of power plant emissions.
                                                 reflecting the IRA. Both the IPM                        136–137).
                                                                                                         136-137).                                                They alleged that dynamic budgeting
                                                 sensitivity and the corresponding AQAT                      Comment:
                                                                                                             Comment: For 2 of the 20 states                      would cause the budget to continually
                                                 assessment of the IRA scenarios                         linked in 2026, Arkansas and                             decrease even after significant
                                                 demonstrated no overcontrol as every                    Mississippi, the last downwind receptor                  contribution is eliminated. They
                                                 state linkage to a downwind                             to which these two states are linked (i.e.,              similarly argue that annual emissions
                                                 problematic receptor persisted in the                   Brazoria County, Texas) was estimated                    bank recalibration and the emissions
                                                 penultimate level of stringency when                    to achieve attainment and maintenance                    backstop emissions rate have not been
                                                 EPA performed its Step 3 evaluation—                    after full application of EGU reductions                 shown to be justified to eliminate
                                                 even when the impacts of the IRA are                    and Tier 1 non-EGU reductions at                         significant contribution.
                                                 incorporated. This further affirmed                     proposal. Commenters noted that this                        Response: This final rule's
                                                                                                                                                                     Response:             rule’s
                                                 EPA’s conclusion of no overcontrol
                                                 EPA's                                                   suggested application of the estimated                   determination regarding the appropriate
                                                 concerns at the stringency level of the                 non-EGU, and/or some EGU, emissions                      level of control stringency for EGUs
                                                 final rule. This overcontrol sensitivity is             reductions constituted over-control for                  finds that the amounts of NOx
                                                                                                                                                                                              NOX
                                                 further discussed in the Ozone                          these states.                                            emissions reduction achieved through
                                                 Transport Policy Analysis Final Rule                        Response: EPA notes that at proposal,
                                                                                                             Response:                                            these strategies at EGUs are appropriate
                                                 TSD, Appendix K.                                        this downwind receptor only resolved                     and cost-justified under the Step 3
                                                    In light of the mandate of the CAA to                by a small margin after the application                  multifactor analysis. These
                                                 protect the public health and                           of all EGU and Tier 1 non-EGU                            determinations are associated with
                                                 environment through the elimination of                  emissions reductions. As explained                       particular emissions control
                                                 significant contribution under the Good                 earlier in this section, the final rule air              technologies and strategies as detailed
                                                 Neighbor Provision for the 2015 ozone                   quality modeling shows that the                          in sections V.B.1 and V.C.1 above. It is
                                                 NAAQS, nothing in the present record                    receptors to which these states are                      the implementation of those strategies at
                                                 establishes on an as-applied,                           linked do not resolve upon full                          the covered EGU sources and the air
                                                 particularized basis that this rule will                implementation of the identified EGU                     quality effects of those strategies
                                                 result in an unnecessary degree of                      reductions by themselves, and only                       (coupled with non-EGUs) in the relevant
                                                 control of upwind-state emissions.                      reach attainment by a small degree                       analytic year of 2026 on which we base
                                                    Comment:
                                                    Comment: Many commenters alleged                     following the additional reductions                      our determination of significant
                                                 that the rule overcontrols emissions by                 from the non-EGU control strategy.256 If   If            contribution at Step 3. This includes the
                                                 more than necessary to eliminate                        the EPA were to select the control                       evaluation of whether there is
                                                 significant contribution for the 2015                   stringency of this penultimate step, both                overcontrol, which is also conducted for
                                                 ozone NAAQS, on the basis that the                      upwind-state contribution and                            the 2026 analytic year as explained
                                                 emissions reductions are unnecessary or                 downwind-state air quality receptors                     above. As explained below, we disagree
                                                 are unnecessarily stringent.                            would persist while the cost-effective                   that the enhancements to the trading
                                                    Response: As discussed earlier in this               emissions reductions that were                           program at Step 4 implicate the need for
                                                 section, EPA has analyzed whether this                  identified to eliminate significant                      further overcontrol analysis. These
                                                       ‘‘overcontrols’’ emissions and has
                                                 rule "overcontrols"                                                                                              enhancements operate together to
                                                 found based on a robust, multi-faceted                    256 Because in the final record we do not identify
                                                                                                           256
                                                                                                                                                                  ensure the trading program continues to
                                                 analysis, that it does not. In particular,              cost, air quality, and emission reduction factors that   maintain the Step 3 emissions control
                                                                                                         sufficiently differentiate either source-type or
                                                 EPA has not identified a lesser-                        emissions control strategy among the Tier 1 and          stringency over time. These
                                                 stringency emissions control strategy for               Tier 2 industries identified at proposal, we             enhancements reflect lessons learned
ddrumheller on DSK120RN23PROD with RULES2




                                                 any state that would either fully resolve               combined the non-EGU industries and emissions                     EPA’s experience with prior
                                                                                                                                                                  through EPA's
                                                 the air quality problems at a downwind                  reductions into one group, and we are finalizing         trading programs implemented under
                                                                                                         requirements for all non-EGU industries and most
                                                 receptor location or resolve that upwind                emissions unit types identified at proposal. In light    the good neighbor provision. None of
                                                 state’s linkage to a level below the 1
                                                 state's                                                 of the small degree to which the relevant receptors      commenters’ arguments that these
                                                                                                                                                                  commenters'
                                                 percent of NAAQS contribution                           reach attainment and the multi-faceted assessment        enhancements result in overcontrol are
                                                                                                         of overcontrol we have undertaken, the overcontrol
                                                 threshold. No commenter has provided                    assessment with respect to non-EGUs in the final         persuasive.
                                                 a particularized, as-applied analysis                   rule is sufficient to establish that there is no            Commenters contend that these
                                                 demonstrating that EPA's
                                                                       EPA’s emissions                   overcontrol.                                             enhancements to the trading program go


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00099   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 138 of 430
                                                 36752
                                                 36752                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 beyond a mass-based budget approach                        As explained in sections III.B.1.d and             ‘‘unrelated’’ to carrying out the
                                                                                                                                                               "unrelated"
                                                 as applied in CSAPR. Because these                      VI.B.1 of this document, the EPA finds                mandates of CAA section
                                                 improvements in the program result in                   good reason based on its experience                   110(a)(2)(D)(i)(I). Taking measures to
                                                 a continuing incentive for each covered                 with trading programs that using fixed,               ensure that each upwind source covered
                                                 EGU source to maintain the pollution                    mass-based, ozone-season wide budgets                 by an emissions trading program is
                                                 control performance the EPA found                       does not necessarily ensure the                       adequately incentivized to eliminate
                                                 appropriate to eliminate significant                    elimination of significant contribution               excessive emissions (as found at Step 3)
                                                 contribution at Step 3, commenters                      over the entire region of linked states or            throughout the entirety of each ozone
                                                 believe these enhancements must                         throughout each ozone season. Even in                 season is entirely appropriate in light of
                                                 necessarily result in prohibited                        the original CSAPR rulemaking, which                  the nature of the ozone problem. Ozone
                                                 overcontrol. These arguments appear to                  promulgated only fixed, mass-based                    exceedances recur on varying days
                                                 be premised on the assumption that                      budgets, such outcomes were never the                 throughout the summertime ozone
                                                 overall emissions may later decline to                  EPA’s intention to allow. See, e.g., 76
                                                                                                         EPA's                                                 season, and it is not possible to predict
                                                 such a point that there is no longer a                      48256–57 ("[I]t
                                                                                                         FR 48256-57      (‘‘[I]t would be                     in advance which specific days will
                                                 linkage between a particular state and                  inappropriate for a state linked to                   have high ozone. Further, impacts to
                                                 any downwind receptors for reasons                      downwind nonattainrnent
                                                                                                                      nonattainment or                         public health and the environment from
                                                 other than the requirements of this rule.               maintenance areas to stop operating                   ozone can occur through short-term
                                                    As an initial matter, no commenter                   existing pollution control equipment                  exposure (e.g., over a course of hours,
                                                 has provided an empirical analysis                      (which would increase their emissions                 i.e., on a daily basis). The 2015 ozone
                                                 demonstrating that the control                               contribution).’’). Despite the EPA's
                                                                                                         and contribution).").                  EPA’s          NAAQS is expressed as an 8-hour
                                                 stringency identified at Step 3 to                      expectations in CSAPR, the experience                 average, and only a small number of
                                                 eliminate significant contribution would                of the Agency since that time establishes             days in excess of the ozone NAAQS can
                                                 actually result in any overcontrol. The                                 ‘‘under-control’’ if the
                                                                                                         a real risk of "under-control"                        cause a downwind area to be in
                                                 case law is clear that over-control                     existing trading framework is not                     nonattainment. Thus, even a small
                                                                                                                                                               nonattainrnent.
                                                 allegations must be proven through                      enhanced. See EME Homer City, 572                     number of exceedances can result in
                                                 particularized, as-applied challenges.                  U.S. at 523 (‘‘[T]he
                                                                                                                      ("[T]he Agency also has a                continuing and/or increased regulatory
                                                 See prior response to comments. More                                                      ‘under-
                                                                                                         statutory obligation to avoid 'under-                 burdens on the downwind jurisdiction.
                                                 importantly here, the Group 3 trading                   control,’ i.e., to maximize achievement
                                                                                                         control,'                                             Taking these considerations into
                                                 program enhancements do not impose                      of attainment downwind.’’).
                                                                                                                           downwind.").                        account, it is evident that a fixed, mass-
                                                 increased stringency in years after 2030                   Further, the EPA has already once                  based emissions program that does not
                                                 and do not force emissions to                           adjusted its historical approach to better            adequately incentivize emissions
                                                 continually be reduced to ever lower                    account for known, upcoming changes                   reductions commensurate with our Step
                                                 levels. They are only designed to                       in the EGU fleet to ensure mass-based                 3 determinations on each day of every
                                                 incentivize the implementation of the                   emissions budgets adequately                          ozone season going forward does not
                                                 Step 3 emissions control stringency that                incentivize the control strategy                      provide a sufficient guarantee that the
                                                 eliminates significant contribution. The                determined at Step 3. This adjustment                 emissions that significantly contribute
                                                 circumstances that could potentially                    was introduced in the Revised CSAPR                   on those particular days and at
                                                 cause a receptor or linkage to resolve at               Update. See 82 FR 23121–22.
                                                                                                                                  23121-22. The EPA            particular receptor locations when
                                                 some point in the future after 2026 are                 now believes it is appropriate to ensure              ozone levels are at risk of exceeding the
                                                 not circumstances that are within the                   in a more comprehensive manner, and                   NAAQS have been eliminated. See
                                                 power of this rule to control. Nor would                in perpetuity, that a mass-based
                                                                                                                                                               section V.B.1.a and VI.B of this
                                                 those circumstances present a                           emissions-trading framework                           document for more discussion of data
                                                 justification as to why upwind sources                  incentivizes continuing implementation                observations regarding SCR
                                                 should no longer be obligated to                        of the Step 3 control strategies to ensure
                                                                                                                                                               optimization.
                                                 eliminate their own significant                         significant contribution is eliminated in
                                                 contribution. Wisconsin,
                                                                Wisconsin, 938 F.3d at                   all upwind states and remains so. This                   These enhancements are also
                                                 324–25
                                                 324-25 (rejecting overcontrol arguments                 is fully analogous in material respect to             consistent with the general policies and
                                                 premised on attributing air quality                     an approach to implementation at Step                 principles EPA has long applied in
                                                 problems to other emissions).                           4 that relies on application of unit-                 implementing the NAAQS through the
                                                    Further, the EPA is not constrained by               specific emissions limitations, which                 SIP/FIP
                                                                                                                                                               S1P/FIP framework of section 110.
                                                 the statute to only implement good                      under the Act would typically apply in                Emissions control measures relied on to
                                                 neighbor obligations through fixed,                     perpetuity and may only be modified                   meet CAA requirements must be
                                                 unchanging, mass-based emissions                        through a future SIP- or FIP-revision
                                                                                                                                      F1P-revision             permanent and enforceable and
                                                 budgets. See section III.B.1 of this                    rulemaking process. See CAA section                   included in the implementation plan
                                                 document. The EPA has defined the                       110(i) prohibiting modifications to                   itself. See, e.g., Montana Sulfur & Chem.
                                                 ‘‘amount’’ of emissions that must be
                                                 "amount"                                                implementation plan requirements                      Co. v. EPA, 666 F.3d 1174, 1196 (9th
                                                 prohibited to eliminate significant                     except by enumerated processes. The                   Cir. 2012); 40 CFR 51.112(a). In the
                                                 contribution in this action based on a                  availability of unit-specific emissions               General Preamble laying out EPA's
                                                                                                                                                                                               EPA’s
                                                 series of determinations of which                       rates as a means to eliminate significant             plans for implementing the 1990 CAA
                                                 emissions control strategies, for certain               contribution is discussed in further                  Amendments, the EPA identified a core
                                                 identified EGU and non-EGU sources,                     detail in section III.B.1 of this                     ‘‘principle’’ that control strategies
                                                                                                                                                               "principle"
                                                                                                                                                                           ‘‘accountable.’’ "This
                                                                                                                                                                                            ‘‘This means,
ddrumheller on DSK120RN23PROD with RULES2




                                                 are appropriate applying the Step 3                     document. The EPA also explained this                 should be "accountable."
                                                 multifactor analysis. Notably, the non-                 in the proposal. See 87 FR 20095–96.
                                                                                                                                         20095-96.             for example, that source-specific limits
                                                 EGU industrial source emissions                            Further, these enhancements are                    should be permanent and must reflect
                                                 reductions in this action are not being                 directly related to assisting downwind                the assumptions used in the SIP
                                                 achieved at Step 4 through mass-based                   areas specifically with the goal of                   demonstrations.’’
                                                                                                                                                               demonstrations." 57 FR 13498, 13568
                                                 emissions trading, nor are they required                attaining and maintaining the 2015 8-                 (April 16, 1992). EPA went on, "The‘‘The
                                                 to be by any provision of the CAA. See                  hour ozone NAAQS. In this respect,                    principles of quantification,
                                                 section III.B.1.                                                       ‘‘unnecessary’’ or
                                                                                                         they are not "unnecessary"                            enforceability, replicability, and


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00100   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023                 Page 139 of 430
                                                                      Federal Register / Vol. 88, No. 107 //Monday,
                                                                                                            Monday, June 5, 2023 //Rules
                                                                                                                                   Rules and Regulations                                                   36753
                                                                                                                                                                                                           36753

                                                 accountability apply to all SIPs and                    effective emissions control strategies                rather through a "particularized,
                                                                                                                                                                                 ‘‘particularized, as-applied
                                                 control strategies, including those                     identified in Step 3. This is further                 challenge."
                                                                                                                                                               challenge.’’ EME Homer, 134 S. Ct. at 1609,
                                                 involving emissions trading, marketable                 explained in section III.B.1 of this                  slip op. at 31. And petitioners do not point
                                                 permits and allowances."
                                                               allowances.’’ Id. EPA also                document.                                             to any actual such instances of over-control
                                                                                                            Thus, this rule is in compliance with
                                                                                                                                                               at downwind locations.
                                                                      ‘‘emissions trading
                                                 explained that its "emissions
                                                 policy provides that only trades                        the overcontrol principles that the D.C.              795 F.3d at 137. The court went on to
                                                 producing reductions that are surplus,                  Circuit applied on remand in EME                                 ‘‘EPA may only limit emissions
                                                                                                                                                               observe, "EPA
                                                 enforceable, permanent, and                             Homer City
                                                                                                                  City to find certain instances of            ‘by just enough to permit an already-
                                                                                                                                                               'by
                                                 quantifiable can get credit and be                                        CSAPR’s emissions
                                                                                                         overcontrol in CSAPR's                                attaining State to maintain satisfactory
                                                 banked or used in an emissions trade."
                                                                                     trade.’’            control strategies. The D.C. Circuit                  air quality.’
                                                                                                                                                                   quality.' If States have been forced to
                                                 Id. These principles follow from the                    found that EPA had imposed more                       reduce emissions beyond that point,
                                                 language of the Act, including CAA                      stringent emissions-control strategies for            affected parties will have meritorious
                                                 section 110(a)(2), 107(d)(3)(E)(iii),                   certain states than were necessary to                 as-applied challenges.’’
                                                                                                                                                                             challenges." Id. (quoting 572
                                                              110(l). These provisions and
                                                 110(i), and 110(1).                                                            states’ linkages. 795
                                                                                                         resolve all of those states'                          U.S. at 521–22).
                                                                                                                                                                        521-22). But this too was not a
                                                 principles further underscore the                       F.3d at 128-30.
                                                                                                                  128–30. Specifically, for sulfur             holding that EPA may not ensure
                                                 importance of ensuring that the                         dioxide, the court found certain                      effective and permanent
                                                 emissions reductions the EPA has found                  receptors would reach attainment if all               implementation of an emissions control
                                                 necessary to eliminate significant                      linked upwind states had implemented                  stringency that EPA has found
                                                 contribution are in fact implemented on                 ‘‘cost controls’’
                                                                                                         "cost  controls" at $100/ton or $400/ton,             warranted under CAA section
                                                 a consistent and permanent basis even                                 EPA’s selected stringency
                                                                                                         rather than EPA's                                     110(a)(2)(D)(i)(I). Such an approach is
                                                 within the context of an emissions                      level of $500/ton. Similarly, for ozone               available through the more conventional
                                                 trading program.                                                 NOX, the court found that
                                                                                                         season NOx,                                           CAA practice of setting unit-specific
                                                    The EPA disagrees that the budget                    receptors were projected to attain the                emissions limitations that would apply
                                                 adjustments that would occur over time                  NAAQS at stringencies below $500/ton.                 on a permanent and enforceable basis.
                                                 under this final rule (for example, the                 The court's
                                                                                                               court’s focus was on the stringency
                                                                                                                                            stringency         See CAA sections 110(a)(2) and 302(y)
                                                 annual dynamic-budget adjustment)                       of the emissions control obligations as               (providing for SIPs and FIPs to include
                                                 must be reassessed each time they occur                 determined through the application of                 ‘‘enforceable emissions limitations’’
                                                                                                                                                               "enforceable                 limitations" in
                                                 through notice and comment                              cost thresholds at Step 3 of the analysis.            addition to economic incentive
                                                 rulemaking under CAA section 307(d).                    The court did not hold that EPA may                   measures like trading programs).
                                                                                                                                                                                          programs).258258 This

                                                 This would serve no purpose. The                        only use fixed, mass-based budgets to                 is in fact how EPA intends to ensure
                                                 formulas that the EPA will apply to                     implement those reductions. The court                 significant contribution is eliminated
                                                 adjust the budgets and allowance bank                   did not hold that EPA must permit                     from non-EGU industrial sources for
                                                 are set in this final rule and are                      individual polluting sources to be                    which a mass-based trading regime is, at
                                                 intended to maintain, not increase (or                  allowed to increase their emissions at                least at the present time, unworkable
                                                 decrease), program stringency. While                                                                                         VI.C of this document). And
                                                                                                                                                               (see section VI.0
                                                                                                         some point in the future. The court did
                                                 the EPA intends to provide an                                                                                 EPA has provided for the elimination of
                                                                                                         not hold that EPA's
                                                                                                                         EPA’s good neighbor FIPs
                                                 opportunity for stakeholders to review                                                                        significant contribution through source-
                                                                                                         must, effectively, contain termination
                                                 and propose corrections to its data as it                                                                     specific emissions limitations in prior
                                                                                                         clauses, such that they cease to ensure
                                                 implements the established budget                                                                             transport actions as well, so this
                                                                                                         the implementation of the control                     position is not novel. See section III.B
                                                 formulas, no larger reassessment of the                 stringency determined as necessary at
                                                 emissions control program is needed on                                                                        of this document.
                                                                                                         Step 3, the moment a downwind                            Nonetheless, EPA recognizes that
                                                 an ongoing basis, because, again, that                  receptor reaches attainment. Indeed,
                                                 program is simply calibrated to ensure                                                                        under the Act, both FIPs and SIPs may
                                                                                                         such a rule would contravene the                      be revised, and states may replace FIPs
                                                 that emissions reductions                               statute’s clear, forward-looking directive
                                                                                                         statute's
                                                 commensurate with the determination                                                                           with SIPs if EPA approves them. Any
                                                                                                         that EPA must also eliminate upwind                   such revision must be evaluated to
                                                    ‘‘significance’’ in Step 3 continue to
                                                 of "significance"                                       emissions that interfere with
                                                 be obtained over the long term. As                                                                            ensure no applicable CAA requirements
                                                                                                         maintenance of the NAAQS; see North                   are interfered with. See, e.g., Indiana v.
                                                 described earlier, these trading program                Carolina, 531 F.3d at 908–911;
                                                                                                                                   908-911;                    EPA, 796 F.3d 803 (7th Cir. 2015). For
                                                 provisions are analogous to, or mimic,                  Wisconsin, 938 F.3d at 325-26.
                                                                                                                                    325–26.                    example, states may be able to
                                                 the effect of unit-specific emissions                      The EME
                                                                                                                 EME Homer City City court on remand           demonstrate in the future that through
                                                 limitations that apply in perpetuity.   257
                                                                             perpetuity.257              in fact rejected various arguments that
                                                    Commenters also confuse the                                                                                some other permanent and enforceable
                                                                                                                             EPA’s emissions control
                                                                                                         other aspects of EPA's                                methods of emissions reduction that
                                                 ‘‘amount’’ of emissions that must be
                                                 "amount"                                                strategy in CSAPR resulted in
                                                 eliminated under CAA section                                                                                  they have adopted into their SIP, they
                                                                                                         overcontrol, holding that EPA had                     will be able to achieve a similar
                                                 110(a)(2)(D)(i)(I) as being synonymous                  properly given effect to the interfere                emissions control stringency with
                                                 with a fixed, mass-based budget that                    with maintenance prong, and noting                    different emissions reduction
                                                 reflects the residual emissions allowed                 that petitioners failed to make out                   requirements imposed on different
                                                 following the elimination of significant                proven, as-applied demonstrations of                  sources as compared to the FIPs
                                                 contribution. However, EPA views the                    overcontrol:                                          finalized in this action. See section VI.D
                                                 ‘‘amount’’ to be eliminated as those
                                                 "amount"
                                                                                                            At bottom, each of those claims is an              of this document.
                                                 emissions that are in excess of the cost-               argument that EPA's
                                                                                                                        EPA’s methodology could lead              Therefore, commenters'
                                                                                                                                                                               commenters’ contentions
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                         to over-control of upwind States that are                   EPA’s trading program
                                                                                                                                                               that EPA's
                                                   257 We note further that because all of the trading
                                                   257
                                                                                                         found to interfere with maintenance at a
                                                 program provisions, including the dynamic budget-                                                             enhancements result in prohibited
                                                                                                         downwind location. That could prove to be
                                                 setting provisions and process, are established by
                                                                                                         correct in certain locations. But the Supreme
                                                 this final FIP rulemaking, the ministerial future-                                                              258 ‘‘Emissions limitation’’
                                                                                                                                                                 258 "Emissions  limitation" is in turn defined at
                                                 year budget adjustment process complies with the        Court made clear in EME Homer that the way            CAA section 302(k) as a "requirement
                                                                                                                                                                                          ‘‘requirement . . . which
                                                 CAA section 110(i) prohibition on modification of       to contest instances of over-control is not           limits the quantity, rate, or concentration of
                                                 implementation plan requirements except by              through generalized claims that EPA's
                                                                                                                                           EPA’s               emissions of air pollutants on a continuous
                                                 enumerated process.                                     methodology would lead to over-control, but                      .’’
                                                                                                                                                               basis. . . ."



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00101   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 140 of 430
                                                 36754
                                                 36754                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 overcontrol are not proven through as-         EPA’s determinations regarding the
                                                                                                EPA's                                                          reductions in this rulemaking cover the
                                                 applied, particularized challenges, and    timing of this rule are informed by and                            2023,
                                                                                                                                                               2023, 2024, and 2025 ozone seasons.
                                                 they are premised on an incorrect          in compliance with several recent court                            This is the period in which some
                                                 understanding of the CAA and the           decisions. The D.C. Circuit has                                    reductions will be available, but the
                                                 relevant case law. The Agency rejects      reiterated several times that, under the                           portion of full remedy reductions
                                                 the contention that it must somehow        terms of the Good Neighbor Provision,                              related to post combustion control
                                                 provide in the present FIP action for a    upwind states must eliminate their                                 installation identified in sections V.B
                                                 relaxation in the stringency of the Step   significant contributions to downwind                              through V.D of this document are not
                                                 4 implementation program and thus                   ‘‘consistent with the provisions of
                                                                                            areas "consistent                                                  yet available. The EGU NOxNOX mitigation
                                                 allow for the recurrence of pollution      [title I of the Act],"
                                                                                                               Act],’’ including those                         strategies available during these initial 3
                                                 that we have found here, in this action,   provisions setting attainment deadlines                            years are the optimization of existing
                                                 significantly contributes to downwind      for downwind areas.259areas.259 In North                           post-combustion controls (SCRs and
                                                 ozone nonattainment and maintenance        Carolina, the D.C. Circuit found the                               SNCRs) and combustion control
                                                 problems.                                  2015 compliance deadline that the EPA                              upgrades. As described in sections V.B
                                                                                            had established in CA1R    CAIR unlawful in                        through V.D of this document and in
                                                 VI. Implementation of Emissions            light of the downwind nonattainment                                accompanying TSDs, these mitigation
                                                 Reductions                                 areas’ 2010 deadline for attaining the
                                                                                            areas'                                                             measures can be implemented in under
                                                 A. NOx
                                                     NOX Reduction Implementation
                                                                                            1997 NAAQS for ozone and PM25.           PM2.5.260
                                                                                                                                             260
                                                                                                                                                               two months in the case of existing
                                                                                            Similarly, in Wisconsin,
                                                                                                                Wisconsin,      the  Court found               control optimization and in 6 months in
                                                 Schedule
                                                                                            the CSAPR Update unlawful to the                                   the case of combustion control
                                                    This action will ensure that emissions extent it allowed upwind states to                                  upgrades. These timing assumptions
                                                 reductions necessary to eliminate          continue their significant contributions                           account for planning, procurement, and
                                                 significant contribution will be achieved to downwind air quality problems                                    any physical or structural modification
                                                                        practicable" and no beyond the downwind states'
                                                 ‘‘as expeditiously as practicable’’
                                                 "as                                                                          states’ statutory                necessary. The EPA provides significant
                                                 later than the downwind attainment         deadlines for attaining the 2008 ozone                             historical data, including the
                                                                                            NAAQS.261 In Maryland, the Court
                                                 dates except where compliance by those NAAQS.261                                                              implementation of the most recent
                                                 dates is not possible. See CAA section     found the EPA's EPA’s selection of a 2023                          Revised CSAPR Update, as well as
                                                 181(a); Wisconsin, 938
                                                                      938 F.3d
                                                                          F.3d at 318–20.
                                                                                  318-20.   analysis year in evaluating state                                  engineering studies and input factor
                                                 The timing of this action will provide     petitions submitted under CAA section                              analysis documenting the feasibility of
                                                 for all possible emissions reductions to   126 unlawful in light of the downwind                              these timing assumptions. However,
                                                 go into effect beginning in the 2023       Marginal nonattainment areas'       areas’ 2021                    these timing assumptions are
                                                 ozone season for the covered states,       deadline for attaining the 2015 ozone                              representative of fleet averages, and the
                                                                                            NAAQS.262 The Court noted in
                                                                                            NAAQS.262                                                          EPA has noted that some units will
                                                 which is aligned with the next
                                                                                            Wisconsin that the statutory command—                              likely overperform their installation
                                                 upcoming attainment date of August 3,
                                                                                            that compliance with the Good                                      timing assumptions, while others may
                                                 2024, for areas classified as Moderate
                                                                                            Neighbor Provision must be achieved in                             have unit configuration or operational
                                                 nonattainment under the 2015 ozone
                                                                                                           ‘‘consistent with"
                                                                                            a manner "consistent           with’’ title I of the               considerations that result in their
                                                 standard. Additional emissions             CAA—may be read to allow for some
                                                 reductions that the EPA finds not                                                                             underperforming these timing
                                                                                            deviation from the mandate to eliminate                            assumptions. As in prior interstate
                                                 possible to implement by that              prohibited transport by downwind
                                                 attainment date will take effect as                                                                           transport rules, the EPA is
                                                                                            attainment deadlines, "under    ‘‘under particular                 implementing these EGU reductions
                                                 expeditiously as practicable. Emissions    circumstances and upon a sufficient
                                                 reductions commensurate with SCR                                                                              through a trading program approach.
                                                                                                              necessity,’’ but concluded
                                                                                            showing of necessity,"                                             The trading program’s
                                                                                                                                                                             program's option to buy
                                                 mitigation measures for EGUs will start           ‘‘[a]ny such deviation would need
                                                                                            that "[a]ny
                                                 in 2026 and be fully implemented by                                                                           additional allowances provides
                                                                                            to be rooted in Title I's    I’s framework"
                                                                                                                              framework’’ and                  flexibility in the program for outlier
                                                 2027. Emissions reductions through the would need to "provide    ‘‘provide a sufficient
                                                 mitigation measures for industrial                                                                            sources that may need more time than
                                                                                            level of protection to downwind
                                                 sources will generally go into effect in                                                                      what is representative of the fleet
                                                                                            States.’’
                                                                                            States." 263 263
                                                 2026; however, as explained in section                                                                        average to implement these mitigation
                                                 VI.C of this document, we have
                                                 VI.0                                       1.  2023–2025:
                                                                                                2023-2025:       EGU NOxNOX Reductions                         strategies while providing an economic
                                                 provided for case-by-case extensions of    Beginning in 2023                                                  incentive to outperform rate and timing
                                                 up to one year based on a demonstration        The near-term EGU control                                      assumptions for those sources that can
                                                 of necessity (with the potential for up to stringencies and corresponding                                     do so. In effect, this trading program
                                                 an additional two years based on a                                                                            implementation operationalizes the
                                                 further demonstration). The full suite of     259 North Carolina v. EPA, 531 F.3d 896 (D.C. Cir.
                                                                                               259                                                             mitigation measures as state-wide
                                                 emissions reductions is generally          2008), Wisconsin
                                                                                                     Wisconsin v. EPA, 938 F.3d 303 (D.C. Cir.                 assumptions for the EGU fleet rather
                                                                                            2019), and Maryland v. EPA, 958 F.3d 1185 (D.C.                    than unit-specific assumptions.
                                                 anticipated to take effect by the 2027     Cir. 2020).
                                                 ozone season, which is aligned with the       260 North Carolina, 531 F.3d at 911-913.
                                                                                               269 North                          911–913.                        However, starting in 2024, as
                                                 August 3, 2027, attainment date for           261 Wisconsin,
                                                                                               261 Wisconsin, 938 F. 3d at 303,    3018–20.
                                                                                                                             303,3018-20.                      described in section VI.B.7 of this
                                                 areas classified as Serious                   262 Maryland, 958 F.3d at 1203-1204.
                                                                                               262                         1203–1204. Similarly,               document, unit-specific backstop daily
                                                 nonattainment under the 2015 ozone         in New
                                                                                                New York v. EPA, 964 F.3d 1214 (D.C. Cir. 2020),               emissions rates are applied to coal units
                                                 NAAQS. This rule constitutes a full        the Court found the EPA's
                                                                                                                   EPA’s selection of a 2023                   with existing SCR at a level consistent
ddrumheller on DSK120RN23PROD with RULES2




                                                                                            analysis year in evaluating New York's
                                                                                                                                 York’s section 126
                                                 remedy for interstate transport for the    petition unlawful in light of the New York                         with operating that control. The EPA
                                                 2015 ozone NAAQS for the states                             Area’s 2021 Serious area deadline for
                                                                                            Metropolitan Area's                                                believes that implementing these
                                                 covered; the EPA does not anticipate       attaining the 2008 ozone NAAQS. 964 F.3d at 1226                   emissions reductions through state
                                                 further rulemaking to address good         (citing Wisconsin and Maryland).                                   emissions budgets starting in 2023
                                                                                               263 Wisconsin,
                                                                                               263 Wisconsin, 938 F. 3d at 320 (citing CAA
                                                 neighbor obligations under this NAAQS section       181(a) (allowing one-year extension of
                                                                                                                                                               while imposing the unit-specific
                                                 will be required for these states with the attainment deadlines in particular circumstances)                  backstop emissions rates in 2024
                                                 finalization of this rule.                 and North Carolina, 531 F.3d at 912).                              achieves the necessary environmental


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00102   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                                Filed: 07/27/2023                  Page 141 of 430
                                                                      Federal Register / Vol. 88, No. 107/Monday,
                                                                                                      107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules                                                                      36755
                                                                                                                                                                                                            36755

                                                 performance as soon as possible while                   NAAQS.265 The EPA proposed to
                                                                                                         NAAQS.265                                                      The timing of this final rule provides
                                                 accommodating any heterogeneity in                      require compliance with all of the                          three to four years for EGU and non-
                                                 unit-level implementation schedules                     remaining EGU and non-EGU control                           EGU sources to install whatever controls
                                                 regarding daily operation of optimized                  requirements beginning in the 2026                          they deem suitable to comply with
                                                 SCRs.                                                   ozone season. The EPA continues to                          required emissions reductions by the
                                                    Additionally, as in prior rules, the                 find 2026 to be the relevant analytic                       start of the 2026 and 2027 ozone
                                                 EPA assumes combustion control                          year for purposes of its Step 3 analysis,                   seasons. In addition, the publication of
                                                                                                         including its analysis of overcontrol, as                   the proposal provided roughly an
                                                 upgrade implementation may take up to
                                                                                                         discussed in section V.D.4 of this                          additional year of notice to these source
                                                 6 months. In the Revised CSAPR
                                                                                                         document. However, many commenters                          owners and operators that they should
                                                 Update, covering 12 of the 22 states for
                                                                                                         argued that full implementation of the                      begin engineering and financial
                                                 which emissions reduction                               EGU and industrial source control
                                                 requirements for EGUs are established                                                                               planning (steps that can be taken prior
                                                                                                         strategies is not feasible for every source                 to any capital investment) to be
                                                 under this action, the EPA finalized the                by the 2026 ozone season. The EPA
                                                 rule in March of 2021 and thus did not                                                                              prepared to meet this implementation
                                                                                                         addresses these technical comments                          timetable.
                                                 require these combustion control-based                                                     VI.C of
                                                                                                         specifically in sections V.B and VI.0
                                                 emissions reductions in ozone-season                    this document. The EPA also                                    The EPA views this timeframe for
                                                 state emissions budgets until 2022 (year                commissioned a study to develop a                           retrofitting post-combustion NOxNOX
                                                 two of that program).  264 The EPA is
                                                              program).264                               better understanding of the time needed                     emissions controls and other non-EGU
                                                 applying the same timing assumption                     for installation of emissions controls for                  controls to be reasonable and
                                                 regarding combustion control upgrades                   the industrial sector units covered in                      achievable. A 3-year period for
                                                 for this rulemaking. Given the same                     this rule, which is included in the                         installation of control technologies is
                                                 relationship here between the date of                   docket and discussed in section VI.A.2.b                    consistent with the statutory timeframe
                                                 final action and the year one ozone                     of this document. While the EPA does                        for implementation of the controls
                                                 season, the EPA is not assuming the                     not agree with all of the commenters’
                                                                                                                                    commenters'                      required to address interstate pollution
                                                 implementation of any additional                        assertions regarding the time they claim                    under section 110(a)(2)(D) and 126 of
                                                 combustion control upgrades in state                    is needed for control installation, in                      the Act, the statutory timeframes for
                                                 emissions budgets until year two (i.e.,                 other respects the concerns raised were                     implementation of RACT in ozone
                                                 the 2024 ozone season). Any identified                  sufficient to justify some adjustments to                   nonattainment areas classified as
                                                 combustion control upgrade emissions                    the compliance schedule for the final                       Moderate or above, and other statutory
                                                 reductions are reflected beginning in the               rule. We have provided for the                              provisions that establish control
                                                 2024 ozone-season budgets for all                       emissions reductions commensurate                           requirements for existing stationary
                                                 covered states. For the 12 states covered               with assumed EGU post-combustion                            sources of pollution.
                                                 under the Revised CSAPR Update, any                     emissions control retrofits to be phased                       For example, section 126 of the CAA
                                                 identified emissions reduction potential                in over the 2026 and 2027 ozone season                      authorizes a downwind state or tribe to
                                                 from combustion control upgrade is                      emissions budgets, and we have                              petition the EPA for a finding that
                                                 included and reflected in those state                   provided a process in the final                             emissions from "any
                                                                                                                                                                                       ‘‘any major source or
                                                 budgets beginning in 2024—which                         regulations for individual non-EGU                                                sources’’ in an
                                                                                                                                                                     group of stationary sources"
                                                 means EGUs in those states have even                    industrial sources to seek limited                          upwind state contribute significantly to
                                                 more time than the 14 months between                    compliance extensions extending no                          nonattainment in, or interfere with
                                                 finalization of this rule and the 2024                  later than 2029 based on a case-by-case                     maintenance by, the downwind state. If
                                                 ozone season if they started any                        demonstration of necessity. This                            the EPA makes a finding that a major
                                                 planning or installation earlier in                     compliance schedule delivers                                source or a group of stationary sources
                                                 response to the Revised CSAPR Update.                   substantial emissions reductions in the                     emits or would emit pollutants in
                                                                                                         2026
                                                                                                         2026 and 2027 ozone seasons and before
                                                 2.
                                                 2. 2026 and Later Years: EGU and                                                                                    violation of the relevant prohibition in
                                                                                                         the 2027 Serious area attainment date,
                                                 Stationary Industrial Source NOx
                                                                              NOX                                                                                    CAA section 110(a)(2)(D), the source(s)
                                                                                                         and it only allows compliance
                                                 Reductions Beginning in 2026                                                                                        must shut down within three months
                                                                                                         extensions beyond that attainment date
                                                                                                         based on a rigorous, source-specific                        from the finding unless the EPA directly
                                                    The EPA finds that it is not possible                                                                            regulates the source(s) by establishing
                                                                                                         demonstration of need for the additional
                                                 to implement all necessary emissions                    time.266
                                                                                                         time.266                                                    emissions limitations and a compliance
                                                 controls across all of the affected EGU                                                                             schedule extending no later than three
                                                 and non-EGU sources by the August 3,                       265 For each nonattainment area classified under
                                                                                                            265                                                      years from the date of the finding, to
                                                 2024, Moderate area attainment date. In                 CAA section 181(a) for the 2015 ozone NAAQS, the            eliminate the prohibited interstate
                                                 accordance with the good neighbor                       attainment date is "as
                                                                                                                             ‘‘as expeditiously as practicable"
                                                                                                                                                     practicable’’   transport of pollutants as expeditiously
                                                 provision and the downwind attainment                   but not later than the date provided in table 1  1 to       as practicable. 267 Thus, in the provision
                                                                                                                                                                        practicable.267
                                                                                                         40 CFR 51.1303(a). Thus, for areas initially
                                                 schedule under CAA section 181 for the                  designated nonattainment effective August 3, 2018           that allows for direct Federal regulation
                                                 2015 ozone NAAQS, the EPA is aligning                   (83 FR 25776), the latest permissible attainment            of sources violating the good neighbor
                                                 its analysis and implementation of the                  dates are: August 3, 2021 (for Marginal areas),             provision, Congress established three
                                                                                                         August 3, 2024 (for Moderate areas), August 3, 2027
                                                 emissions reductions addressing                         (for Serious areas), and August 3, 2033 (for Severe
                                                                                                                                                                     years as the maximum amount of time
                                                 significant contribution from EGU and                   areas).                                                     available from a final rule to when
                                                 non-EGU sources that require relatively                    266 While we generally use the term "necessity"          emissions reductions need to be
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                            266                                    ‘‘necessity’’
                                                 longer lead time at a sectoral scale with               to describe the showing that non-EGU facilities             achieved at the relevant source or group
                                                                                                         must meet in seeking compliance extensions, the
                                                 the 2026 ozone season. The 2026 ozone                   elements for this showing are designed to allow the
                                                                                                                                                                     of sources. Because this action is not
                                                 season is the last full ozone season that               EPA to make a judgment that comports with the               taken under CAA section 126(c), the
                                                 precedes the August 3, 2027, Serious                    standard of "impossibility"
                                                                                                                      ‘‘impossibility’’ established in case law      mandatory timeframe for
                                                 area attainment date for the 2015 ozone                 such as Wisconsin.
                                                                                                                  Wisconsin. In other words, the "necessity"
                                                                                                                                                    ‘‘necessity’’    implementation of emissions controls
                                                                                                         for additional time is effectively a showing by the
                                                                                                         source that it would be "impossible"
                                                                                                                                   ‘‘impossible’’ for it to meet      267
                                                                                                                                                                      262 CAA 110(a)(2)(D)(i) and 126(c).
                                                   264 86 FR 23093.
                                                   264                                                   the compliance deadline.



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00103   Fmt 4701    Sfmt 4700    E:\FR\FM\05JNR2.SGM    05JNR2
                                                      USCA Case #23-1157                             Document #2009836                             Filed: 07/27/2023                   Page 142 of 430
                                                 36756
                                                 36756                 Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 under that provision is not directly                      submission deadline.   270 Moderate ozone
                                                                                                                        deadline.270                               technologies on which the EPA bases
                                                 applicable, but it is informative.                        nonattainment areas must also                           the emissions limitations that would
                                                    In response to arguments from sources                  implement all reasonably available                      take effect for the 2026 and 2027 ozone
                                                 that more time than has been provided                     control measures (including RACT)                       seasons, generally are consistent with
                                                 in the final rule is necessary, this                      needed for expeditious attainment                       the scope and stringency of RACT
                                                                                                           within three years after the statutory                  requirements for existing major sources
                                                 provision strongly indicates that
                                                                                                           deadline for states to submit these                     of NOx
                                                                                                                                                                      NOX in downwind Moderate
                                                 allowing time beyond a three-year
                                                                                                           measures to the EPA as part of a                        nonattainment areas and some upwind
                                                 period must be based on a substantial                     Moderate area attainment                                areas, which many states have already
                                                 showing of impossibility. Our analysis                    demonstration.      Nonattainment areas
                                                                                                                           271 Nonattainrnent
                                                                                                           demonstration.271                                       implemented in their SIPs.    272 Thus, the
                                                                                                                                                                                            SIPs.272
                                                 based on comments and considering                         for the 2015 ozone NAAQS that were                      timing Congress allotted for sources in
                                                 additional information is that the                        reclassified to Moderate nonattainment                  downwind states to come into
                                                 additional time we have provided in the                   in October 2022 face this same                          compliance with RACT requirements
                                                 final rule is both justified and sufficient               regulatory schedule, meaning that their                 bears directly on the amount of time
                                                 in light of the statutory objective of                    sources are required to implement                       that should be allotted here and
                                                 expeditious compliance.                                   RACT controls in 2023. With the                         indicates, as does CAA section 126, that
                                                    Additionally, for ozone                                exception of the Uinta Basin, which is                  three years is an outer limit on the time
                                                 nonattainment areas classified as                         not an identified receptor in this action,              that should be given sources to come
                                                 Moderate or higher, the CAA requires                      no Marginal nonattainment area met the                  into compliance where possible. In light
                                                 states to implement RACT requirements                     conditions of CAA section 181(a)(5) to                  of the January 1, 2023, deadline for
                                                 less than three years after the statutory                 obtain a one-year extension of the                      implementation of RACT in Moderate
                                                 deadline for submitting these measures                    Moderate area attainment date. 87 FR                    nonattainment areas, the EPA finds that
                                                         EPA.268 Specifically, for these
                                                 to the EPA.268                                            60899 (Oct. 7, 2022). Thus, all Marginal                a May 1, 2026 deadline for full
                                                 areas, CAA sections 182(b)(2) and 182(f)                  areas (other than Uinta) that failed to                 implementation of the emissions control
                                                                                                           attain have been reclassified to                        requirements in this final rule would
                                                 require that states implement RACT for
                                                                                                           Moderate. Id. In the October 2022 final                 generally provide adequate time for any
                                                 existing VOC and NOxNOX sources as
                                                                                                           rulemaking EPA made determinations                      individual source to install the
                                                 expeditiously as practicable but no later                 that certain Marginal areas failed to
                                                 than May 31, 1995, approximately 30                                                                               necessary controls, barring the
                                                                                                           attain by the attainment date,                          circumstances of necessity discussed
                                                 months after the November 15, 1992,                       reclassified those areas to Moderate, and
                                                 deadline for submitting RACT SIP                                                                                  further in this section.
                                                                                                           established SIP submission deadlines
                                                 revisions. For purposes of the 2015                                                                                 Finally, with respect to emissions
                                                                                                           and RACM and RACT implementation
                                                 ozone NAAQS, the EPA has interpreted                      deadlines. EPA set the attainment SIP
                                                                                                                                                                   standards for hazardous air pollutants,
                                                 these provisions to require                               submission deadlines for the bumped                     section 112(i)(3) of the CAA requires the
                                                 implementation of RACT SIP revisions                                                                              EPA to establish compliance dates for
                                                                                                           up Moderate areas to be January 1, 2023.
                                                 as expeditiously as practicable but no                    See 87 FR 60897, 60900. The                             each category or subcategory of existing
                                                 later than January 1 of the fifth year after              implementation deadline for RACM and                    sources subject to an emissions standard
                                                 the effective date of designation, which                  RACT is also January 1, 2023. Id.                            ‘‘provide for compliance as
                                                                                                                                                                   that "provide
                                                 is less than three years after the                          The EPA notes that the types and                      expeditiously as practicable, but in no
                                                 deadline for submitting RACT SIP                          sizes of the EGU and non-EGU sources                    event later than 3 years after the
                                                 revisions.269 For areas initially                         that the EPA includes in this rule, as                  effective date of such standard,"
                                                                                                                                                                                            standard,’’ with
                                                 revisions.269
                                                                                                           well as the types of emissions control                  limited exceptions. CAA section
                                                 designated nonattainment with a
                                                                                                                                                                   112(i)(3)(B) authorizes the EPA to grant
                                                 Moderate or higher classification
                                                                                                              270 40 CFR 51.1312(a)(2)(i) (requiring submission    an extension of up to 1 additional year
                                                 effective August 3, 2018 (83 FR 25776),                      278 40
                                                                                                           of RACT SIP revisions no later than 24 months after     for an existing source to comply with
                                                 that implementation deadline falls on                     the effective date of designation).                     emissions standards "if‘‘if such additional
                                                 January 1, 2023, approximately 29                            271 See, e.g., 40 CFR 51.1108(d) (requiring
                                                                                                              271
                                                                                                                                                                   period is necessary for the installation
                                                 months after the August 3, 2020                           implementation of all control measures (including
                                                                                                                                                                      controls,’’ and sections 112(i)(4)
                                                                                                                                                                   of controls,"
                                                                                                           RACT) needed for expeditious attainment no later
                                                                                                           than the beginning of the attainment year ozone         through (7) provide for limited
                                                    268
                                                    268 See, e.g., 40 CFR 51.1112(a)(3) and                season, which, for a Moderate nonattainment area,       compliance extensions where other
                                                 51.1312(a)(3)(i) (requiring implementation of RA'RACT     occurs less than 3 years after the deadline for
                                                 required pursuant to initial nonattainment area                                                                                    met.273 Here again, where
                                                                                                                                                                   conditions are met.273
                                                                                                           submission of reasonably available control
                                                 designations no later than January 1 of the fifth year    measures under 40 CFR 51.1112(c) and 51.1108(a))        Congress was concerned with
                                                 after the effective date of designation, which is less    and 40 CFR 51.1308(d) (requiring implementation         addressing emissions of pollutants that
                                                 than 3 years after the SIP submission deadline            of all control measures (including RA')
                                                                                                                                                RACT) needed       impact public health, a 3-year time
                                                 under 40 CFR 51.1112(a)(2)) and 51.1312(a)(2)(i),         for expeditious attainment no later than the
                                                 respectively).                                            beginning of the attainment year ozone season,
                                                                                                                                                                   period was allotted as the time needed
                                                    269 40 CFR 51.1312(a)(2)(i) (requiring submission
                                                    269                                                    which, for a Moderate nonattainment area, occurs        for existing sources to come into
                                                 of RACT SIP revisions no later than 24 months after       less than three years after the deadline for            compliance where possible. As
                                                 the effective date of designation) and 40 CFR             submission of reasonably available control              discussed further in section VI.A.2.b of
                                                 51.1312(a)(3)(i) (requiring implementation of RA'RACT     measures under 40 CFR 51.1312(c) and 51.1308(a)).
                                                 SIP revisions as expeditiously as practicable, but no     Because the attainment demonstration for a
                                                                                                                                                                   this document, the process for obtaining
                                                 later than January 1 of the fifth year after the          Moderate nonattainment area (including RA'   RACT       a compliance extension for industrial
                                                 effective date of designation). For reclassified areas,   needed for expeditious attainment) is due three         sources in this rule is generally modeled
                                                 states must implement RACT SIP revisions as               years after the effective date of the area's
                                                                                                                                                 area’s            on 40 CFR 63.6(i)(3), which implements
ddrumheller on DSK120RN23PROD with RULES2




                                                 expeditiously as practicable, but no later than the       designation (40 CFR 51.1308(a) and 51.1312(c)), and
                                                 start of the attainment year ozone season associated      all Moderate nonattainment areas must attain the
                                                            area’s new attainment deadline, or January
                                                 with the area's                                           NAAQS as expeditiously as practicable but no later        272 See the Final Non-EGU Sectors TSD for a
                                                                                                                                                                     272

                                                 1 of the third year after the associated SIP revision
                                                 1                                                         than 6 years after the effective date of the area's
                                                                                                                                                        area’s                                  RACT rules in effect in
                                                                                                                                                                   discussion of SIP-approved RA'
                                                 submittal deadline, whichever is earlier; or the          designation (40 CFR 51.1303(a)), the beginning of       downwind states.
                                                 deadline established by the Administrator in the               ‘‘attainment year ozone season"
                                                                                                           the "attainment               season’’ (as defined in     273 See, e.g., CAA section 112(i)(4), which
                                                                                                                                                                     273

                                                 final action issuing the area reclassification. 40 CFR    40 CFR 51.1300(g)) for such an area is less than        provides for limited compliance extensions granted
                                                 51.1312(a)(3)(ii); see also 83 FR 62989, 63012-
                                                                                           63012–          three years after the due date for the attainment       by the President based on national security
                                                 63014.                                                    demonstration.                                          interests.



                                            VerDate Sep<11>2014    20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00104   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM     05JNR2
                                                      USCA Case #23-1157                            Document #2009836                              Filed: 07/27/2023                  Page 143 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                                    36757
                                                                                                                                                                                                            36757

                                                 the extension provision for existing                    Referencing the Supreme Court's
                                                                                                                                      Court’s      implementation of half the emissions
                                                 sources under CAA section 112(i)(3)(B).                 description of the attainment deadlines   reduction potential identified for
                                                   All of these statutory timeframes for                    ‘‘the heart"
                                                                                                         as "the   heart’’ of the CAA, the         assumed SCR mitigation measures. For
                                                 implementation of new control                           Wisconsin court noted that some           each year in 2027 and beyond, state
                                                 requirements on existing stationary                     deviation from the mandate to eliminate   emissions budgets include all of the
                                                 sources indicate that Congress                          prohibited transport by downwind          emissions reductions commensurate
                                                 considered 3 years to be not only a                     attainment deadlines may be allowed       with these post-combustion control
                                                 sufficient amount of time but an upper                        ‘‘under particular circumstances
                                                                                                         only "under                               technologies identified for covered units
                                                 bound of time allowable (barring                        and upon a sufficient showing of          in Step 3. The EPA notes that similar
                                                 instances of impossibility) for existing                necessity."
                                                                                                         necessity.’’ 276                          compliance schedules and post-
                                                 stationary sources to install or begin the                 For the reasons provided in the        combustion control retrofit installations
                                                 installation of pollution controls as                   following sub-sections, the EPA finds     have been realized successfully in prior
                                                 necessary for expeditious attainment, to                that installation of certain EGU controls programs allowing similar timeframes.
                                                 eliminate prohibited interstate transport               and all non-EGU controls is not possible  Subsequent to the NOx
                                                                                                                                                                       NOX SIP Call and the
                                                 of pollutants, and to protect public                    by the Moderate area attainment date for  parallel Finding of Significant
                                                 health.                                                 the 2015 ozone NAAQS (i.e., August 3,     Contribution and Rulemaking on
                                                    Further, the EPA notes that, given the               2024),  277 and, for certain sources, may
                                                                                                         2024),277                                 Section 126 Petitions (which became
                                                 number of years that have passed since                  not be possible by the 2026 ozone         effective December 28, 1998, and
                                                 EPA’s promulgation of the 2015 ozone
                                                 EPA's                                                   season or even the August 3, 2027,        February 17, 2000, respectively 278   ),
                                                                                                                                                                                     278),
                                                 NAAQS and related nonattainment area                    Serious area attainment date. While the   nearly 19 GW of SCR retrofit came
                                                 designations in 2018, and in light of the               EPA’s technical analysis demonstrates
                                                                                                         EPA's                                     online in 2002 and another 42 GW of
                                                             court’s holding that good
                                                 Maryland court's                                        that for any individual source, control   SCR retrofit came online for steam
                                                 neighbor obligations for the 2015 ozone                 installation could be accomplished by     boilers in 2003, illustrating that a
                                                 NAAQS should have been implemented                      the start of the 2026 ozone season, in    considerable volume of SCR retrofit
                                                 by the Marginal area attainment date in                 light of the scope of this rule coupled   capacity is possible within a 36-month
                                                 2021, 274 the implementation of good
                                                 2021,274                                                with current information on the present   period.
                                                 neighbor obligations for these NAAQS is                 economic capacity of sources, control-       Comment:
                                                                                                                                                      Comment: Some commenters
                                                 already delayed, and the sources subject                installation vendors, and associated      disagreed with EPA's
                                                                                                                                                                    EPA’s proposed 36-
                                                    NOX emissions control in this rule
                                                 to NOx                                                  markets for labor and material, it is the month timeframe for SCR retrofit. These
                                                 have continued to operate for several                   EPA’s judgment that a three-year
                                                                                                         EPA's                                     commenters noted that, while possible
                                                 years without the controls necessary to                 timeframe is not possible for all sources at the unit or plant level, the collective
                                                 eliminate their significant contribution                subject to this rule collectively to come volume of assumed SCR installation
                                                 to ongoing and persistent ozone                         into compliance. Therefore, additional    would not be possible given the labor
                                                 nonattainment and maintenance                           time beyond 2026 will be allowed for      constraints, supply constraints, and
                                                 problems in other states. Under these                   certain facilities in recognition of thesesimultaneous outages necessary to
                                                 circumstances, we find it reasonable to                 constraints on the processes needed for   complete SCR retrofit projects on such
                                                 require compliance with the control                     installation of controls across all of thea schedule. They noted that many of the
                                                 requirements for all non-EGUs and the                   covered sources.                          remaining coal units lacking SCR pose
                                                 EGU reductions related to post-                                                                   more site-specific installation
                                                                                                         a. EGU Schedule for 2026 and Later
                                                 combustion control retrofit identified in                                                         challenges than those that were already
                                                                                                         Years
                                                 section V.B.1.b of this document                                                                  retrofitted on a quicker timeframe.
                                                 beginning in the 2026 ozone season                         As discussed in sections V.B through      Response: EPA is making several
                                                 (with full implementation by the 2027                   V.D of this document, significant         changes in this final rule to address
                                                 ozone season for EGUs, and the                          emissions reduction potential exists and these concerns. First, EPA is phasing in
                                                 availability of source-specific extensions              is included in EPA's
                                                                                                                         EPA’s quantification of   emissions reductions commensurate
                                                 based on a demonstration of necessity                   significant contribution based on the     with assumed SCR installations
                                                 for non-EGUs).                                          potential to install post-combustion      consistent with a 36-to-48-month time
                                                   As the D.C. Circuit noted in                          controls (SCR and SNCRs) at EGUs.         frame in this final rule, instead of a 36-
                                                 Wisconsin, the good neighbor provision                  However, as discussed in detail in those month time frame as proposed. EPA is
                                                                             ‘‘eliminate
                                                 requires upwind states to "eliminate                    sections, the assumption for installation implementing half of this emissions
                                                 their substantial contributions to                      of this technology on a region-wide       reduction potential in 2026 ozone-
                                                 downwind nonattainment in concert                       scale is 36-48
                                                                                                                  36–48 months in this final rule.         NOX budgets for states
                                                                                                                                                   season NOx
                                                 with the attainment deadlines’’
                                                                       deadlines" in the                 This amount of time allows for all        containing these EGUs and the other
                                                 downwind states, even where those                       necessary procurement, permitting, and half of this emissions reduction
                                                 attainment deadlines occur before EPA's
                                                                                      EPA’s              installation milestones across multiple   potential in 2027 ozone-season NOxNOX
                                                 statutory deadline under CAA section                    units in the covered region. Therefore,   budgets for those states. This phase-in
                                                 110(c) to promulgate a FIP.275                          the EPA finds that these emissions        approach to implementing SCR retrofit
                                                                                                         reductions are not available any earlier  reduction potential over a three to four
                                                    274 958 F.3d at 1203-1204
                                                    274 958         1203–1204 (remanding the EPA         than the 2026 compliance period.          year period is in response to comments,
                                                 denial of section 126 petition based on the EPA         Starting in 2026, state emissions budgets including those from third-party full-
                                                 analysis of downwind air quality in 2023 rather         will reflect full implementation of
                                                 than 2021, the year containing the Marginal area
                                                                                                                                                   service engineering firms. These
ddrumheller on DSK120RN23PROD with RULES2




                                                 attainment date).                                       assumed SNCR mitigation measures and commenters highlighted that while the
                                                    275 938 F.3d at 317–318.
                                                    275 938         317-318. For example, the court
                                                                                                           276 Id. at 316 and 319–320
                                                                                                                                319-320 (noting that any such
                                                                                                           276
                                                 observed that the EPA may shorten the deadline for                                                                 276 See 63 FR 57356 (October 27, 1998); 65 FR
                                                                                                                                                                    278

                                                 SIP submissions under CAA section 110(a)(1) and         deviation must be "rooted
                                                                                                                              ‘‘rooted in Title I's
                                                                                                                                                I’s framework"
                                                                                                                                                    framework’’   2674 (January 18, 2000). The D.C. Circuit stayed the
                                                 may issue FIPs soon thereafter under CAA section            ‘‘provide a sufficient level of protection to
                                                                                                         and "provide                                             NOX SIP Call by an order issued May 25, 1999.
                                                                                                                                                                  NOx
                                                                                  states’ deadline for
                                                 110(c)(1), to align the upwind states'                  downwind States").
                                                                                                                      States’’).                                  After upholding the rule in most respects in
                                                 satisfying good neighbor obligations with the             277 Compliance by the August 3, 2021, Marginal
                                                                                                           277                                                    Michigan v. EPA, 213 F.3d 663 (D.C. Cir. 2000), the
                                                              states’ deadline for attaining the
                                                 downwind states'                                        area attainment date is also impossible as that date     court lifted the stay by an order issued June 22,
                                                 NAAQS. Id. at 318.                                      has passed.                                              2000.



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00105   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM    05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 144 of 430
                                                 36758
                                                 36758                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 proposed 36-month time frame is viable                  flexibility will accommodate extreme or     necessary components. Commenters
                                                 at the plant level, it would be "very
                                                                                  ‘‘very                 unique circumstances in which a             suggested various timelines for control
                                                 unlikely’’ that the collective volume of
                                                 unlikely"                                               desired SCR retrofit is not achieved by     installation timing ranging from one
                                                 SCR capacity could be installed in a                    the 2027 ozone season, although EPA         additional year to seven years. Other
                                                 three-year time frame based on a variety                finds such a circumstance exceedingly       commenters asserted that the data
                                                 of factors. First, the commenters                       unlikely. Second, the historical            supported the conclusion that all non-
                                                 identified constraints on labor needed to               examples that exceeded 48 months do         EGU sources, or at least some non-EGU
                                                 retrofit 32 GW of capacity, highlighting                not necessarily demonstrate that such       sources, could install controls by 2026
                                                 that the Bureau of Labor and Statistics                 projects are impossible to execute in       or earlier, and that EPA has a legal
                                                 projects that there will be a decline in                less than 48 months, but rather that they   obligation to impose good neighbor
                                                 boilermaker employment over the                         can extend beyond that timeframe if no      requirements as expeditiously as
                                                 decade and that the Associated Builders                 requirements or incentives are in place     practicable by such sources, including
                                                 and Contractors (ABC) identifies the                    for a faster installation. As the D.C.      earlier than 2026 if possible.
                                                 need for 650,000 additional skilled craft               Circuit has recognized, historical data        Response: After reviewing the
                                                                                                                                                        Response:
                                                 professionals on top of the normal                      on the amount of time sources have          information received during the public
                                                 hiring pace to meet the economy-wide                    taken to install pollution controls do not  comment period and the additional
                                                 demand created by infrastructure                        in themselves establish the minimum         information presented in the Non-EGU
                                                 investment and other clean energy                       amount of time in which those controls      Control Installation Timing Report, the
                                                 projects (e.g., carbon capture and                      could be installed if sources are subject   EPA has concluded that the majority of
                                                 storage). They highlighted the decline in               to a legal mandate to do so. See            non-EGUs can install and operate the
                                                 companies serving this type of large-                   Wisconsin, 938 F.3d at 330 (‘‘[A]ll
                                                                                                                                        ("[A]ll thoserequired controls by the 2026 ozone
                                                 scale retrofit project as the lack of new               anecdotes show is that installation can     season. For the non-EGU control
                                                 coal units and the retirement of coal                   drag on when companies are                  requirements on which the EPA has
                                                 units has curtailed activity in this area               unconstrained by the ticking clock of       based its Step 3 findings as described in
                                                 over the past five years. They also                         law.’’).
                                                                                                         the law.").                                 section V of this document, the
                                                 identified supply bottlenecks for key                                                               emissions limits will generally go into
                                                                                                         b. Non-EGU or Industrial Source             effect starting with the 2026 ozone
                                                 SCR components that would slow the                      Schedule for 2026 and Later Years
                                                 ability to implement a large volume of                                                              season (except where an individual
                                                 SCR within 3 years, affecting electrical                   The EPA proposed to require that all     source qualifies for a limited extension
                                                 conduits, transformers, piping,                         emissions reductions associated with        of time to comply based on a specific
                                                 structural and plate steel, and wire                    the requirements for non-EGU industrial demonstration of necessity, as described
                                                 (with temporary price increases ranging                 sources go into effect by the start of the  in this section). The EPA finds that
                                                 from 30 percent to 200 percent). Finally,               2026 ozone season, but also requested       meeting the emissions limitations of this
                                                 commenters note that site-specific                      comment on its control-installation         final rule through installation of
                                                 conditions can make retrofits for                       timing estimates for non-EGUs and           necessary controls by an ozone season
                                                 individual units a lengthier process than               requested comment on the possibility of before 2026 is not expected to be
                                                 historical averages (e.g., under prior                  providing for limited compliance            possible for the industrial sources
                                                 rules more accommodating sites                          extensions based on a showing of            covered by this final rule.
                                                 retrofitted first) and that four years may              necessity. See 87 FR 20104–05.
                                                                                                                                 20104-05.              The EPA recognizes that labor
                                                 be necessary for some projects,                            Comment: The EPA received                shortages, supply shortages, or other
                                                 accordingly. EPA found the technical                    numerous comments regarding the             circumstances beyond the control of
                                                 justification submitted in comment                      inability of various non-EGU industries     source owner/operators may, in some
                                                 consistent with its prior assessments                   to install controls to comply with the      cases, render compliance by 2026
                                                 that a range of 39–48
                                                                  39-48 months is                        emissions limits by 2026. Specifically,     impossible for a particular industrial
                                                 appropriate for SCR-retrofit timing                     commenters raised concerns regarding        source. Therefore, the final rule contains
                                                 within regional-scale programs.    279
                                                                          programs.279                   the ability to meet these deadlines due     provisions allowing source owner/
                                                 Therefore, EPA is adjusting the                         to the ongoing geopolitical instability     operators to request limited compliance
                                                 timeframe to still incentivize these                    triggered by the war in Ukraine, COVID-
                                                                                                                                             COVID– extensions based on a case-by-case
                                                 reductions by the attainment date while                 19 pandemic-driven disruptions, and         demonstration of necessity. Under these
                                                 accommodating the potential for some                    supply chain delays and shortages.          provisions, the owner or operator of a
                                                 SCR retrofits to require between 36-48
                                                                                     36–48               Commenters also claimed that the EPA'sEPA’s source may initially apply for an
                                                 months for installation.                                three-year installation timeframe for       extension of up to one year to comply
                                                    Some commenters requested more                       non-EGUs does not account for the time with the applicable emissions control
                                                 than 48 months for SCR installation                     needed to obtain necessary permits.         requirements, which if approved by the
                                                 based on past projects that took five or                Commenters stated that even where           EPA, would require compliance no later
                                                 more years. EPA disagrees with these                    controls are feasible for a source, some    than the 2027 ozone season. The EPA
                                                 commenters for two reasons. First,                      sources would need to shut down due         may grant an additional case-based
                                                 while EPA is identifying SCR retrofit                   to their inability to install controls by   extension of up to two additional years
                                                 potential to define significant                         2026 and requested that the EPA             for full compliance, where specific
                                                 contribution at Step 3, the rule only                   provide additional time for sources to      criteria are met.
                                                 requires emissions reductions                           come into compliance. Commenters               The EPA initiated a study to examine
                                                                                                         from multiple non-EGU industries            the time necessary to install the
ddrumheller on DSK120RN23PROD with RULES2




                                                 commensurate with that technology,
                                                 implemented through a trading                           stated that the proposed applicability      potential controls identified in the final
                                                 program, meaning that operators of                      criteria will require controls to be        rule’s
                                                                                                                                                     rule's cost analysis for all of the non-
                                                 EGUs eligible for SCR retrofit may                      installed on thousands of non-EGU           EGU industries subject to the final rule,
                                                 pursue a variety of strategies for                      emissions units. Because of the number including SNCR, low NOx      NOX burners,
                                                 reducing emissions. Such compliance                     of emissions units, commenters raised       layered combustion, NSCR, SCR, fluid
                                                                                                         concerns with permitting delays and the gas recirculation, and SNCR/advanced
                                                   279 86 FR 23102.
                                                   279                                                   unavailability of skilled labor and         selective noncatalytic reduction


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00106   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                             Document #2009836                               Filed: 07/27/2023                 Page 145 of 430
                                                                       Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                              36759
                                                                                                                                                                                                       36759

                                                 (ASNCR). The resulting report, which                       into account, coupled with broader                    generally been lessening since they
                                                 we refer to as the "Non-EGU
                                                                    ‘‘Non-EGU Control                       considerations of economic capacity                   peaked in 2020 during the COVID-19
                                                                                                                                                                                                 COVID–19
                                                 Installation Timing Report,"
                                                                       Report,’’ identified a               including current information on                      pandemic, and many economic
                                                 range of estimated installation times                      supply-chain delays, that the potential               indicators have showed some
                                                 with minimum estimated installation                        need for additional time beyond 2026                  improvement towards pre-pandemic
                                                 times ranging from 6–27
                                                                      6-27 months                           becomes a possibility. Under ideal                    levels, including freight transportation,
                                                 without any supply chain delays and 6-   6–                economic conditions (i.e., no supply-                 inventory to sales ratios, interstate miles
                                                 40 months with potential supply chain                      chain delays or other constraints),                   traveled, U.S. goods imports, and
                                                 delays depending on the industry.280 280                   affected units are estimated to be                    supply chain indices.   283 If these
                                                                                                                                                                                  indices.283
                                                 The Non-EGU Control Installation                           capable to install both combustion and                economic indicators continue to
                                                 Timing Report also identified maximum                      post-combustion controls before the                   improve and the availability of
                                                 estimated installation times ranging                       2026 ozone season. Many commenters,                   fabricators and materials continues to
                                                 from 12-28
                                                       12–28 months without any supply                      however, provided information on                      trend upward, the control timing
                                                 chain delays and 12-72
                                                                    12–72 months with                       installation timing estimates based on                estimates identified in the Non-EGU
                                                 potential supply chain delays                              current supply chain delays and labor                 Control Installation Timing Report
                                                 depending on the industry. As indicated                    constraints. These commenters                         could prove to be overstated for some
                                                 in the Non-EGU Control Installation                        generally stated that installation of the             industries and control technologies. In
                                                 Timing Report, the installation of                         necessary controls for some units would               addition, the Non-EGU Control
                                                 layered combustion and NSCR control                        take longer than three years if supply                Installation Timing Report did not
                                                 technology, in particular, could take                      chain delays similar to those that have               account for the labor and supply market
                                                 between 9 and 72 months depending on                       occurred over the past few years                      adjustments that would be anticipated
                                                 supply chain delays.   281 The report also
                                                                delays.281                                  continue. The Non-EGU Control                         to occur to meet increased demand for
                                                 indicated that permitting processes may                    Installation Timing Report reflected this             control technologies and related
                                                 take 6 to 12 months but noted that these                   information, together with additional                 materials and labor over the next several
                                                 processes typically can proceed                            information gathered from pollution                   years in response to the rule. Cf.
                                                 concurrent with other steps of the                         control vendors, to develop ranges of                 Wisconsin,
                                                                                                                                                                  Wisconsin, 938 F.3d at 330 ("[A]ll
                                                                                                                                                                                                  (‘‘[A]ll those
                                                 installation process. 282
                                                              process.282                                   estimates of possible installation times              anecdotes [of elongated control
                                                    We find that the potential time                         given current (i.e., 2022) labor market               installation times] show is that
                                                 needed for permitting processes is                         conditions and material supplies. The                 installation can drag on when
                                                 generally unlikely to significantly affect                 Non-EGU Control Installation Timing                   companies are unconstrained by the
                                                 installation timefrarnes
                                                              timeframes of at least three                  Report also discussed how the                                               law.’’). For example,
                                                                                                                                                                  ticking clock of the law.").
                                                 years given that a source that has three                   installation and optimization of post-                some of the longer installation
                                                 or more years to comply is expected, in                    combustion controls over a similar                    timeframes identified in the Non-EGU
                                                 most cases, to have adequate time to                       timeframe at both EGUs and non-EGUs                   Control Installation Timing Report are
                                                 apply for and secure the necessary                         subject to this final rule would,                     based on assumed limits on the current
                                                 permits during that time. Permitting                       considered cumulatively, potentially                  availability of skilled labor needed to
                                                 processes may, however, impact shorter                     affect the installation timing needs of               install combustion controls and post
                                                 installation times ranging from 12-28
                                                                                   12–28                    the covered non-EGU sources.                          combustion controls. If the market
                                                                      12–28 month
                                                 months. Given the 12-28                                       Based on information provided by                   adjusts in response to increasing
                                                 estimate for minimum and maximum                           commenters and vendors, the Non-EGU                   demand for this type of skilled labor in
                                                 installation times without supply chain                    Control Installation Timing Report                    the timeframe needed for compliance
                                                 delays and permitting tirnefrarnes
                                                                          timeframes                        indicated that if current supply chain                (e.g., there is an increase in boilermaker
                                                 typically ranging from 6–12
                                                                           6-12 months, the                 delays continue, control installations                and engine controls labor), the
                                                 EPA finds that the controls for non-EGU                    could take as long as 61 months for most              installation timing estimates in the Non-
                                                 sources needed to comply with this                         non-EGU industries and possibly as                    EGU Control Installation Timing Report
                                                 final rule are generally not expected to                   long as 64–112
                                                                                                                     64-112 months in difficult                   again could be overstated.
                                                 be installed significantly before the 2026                 cases. Notably, however, the                             The Non-EGU Control Installation
                                                 ozone season.                                              conclusions in the Non-EGU Control                    Timing Report also did not account for
                                                    Generally, the Non-EGU Control                          Installation Timing Report reflect three              flexibilities provided in this final rule
                                                 Installation Timing Report indicated                       key assumptions that could result in the              that will enable owners and operators of
                                                 that all non-EGU unit types subject to                     relatively lengthy timing estimates at                certain affected units to identify the
                                                 the final rule could install controls                      the outer end of this range: (1) the                  most cost-effective and efficient means
                                                 within 28 months if there are no supply                    current state of supply chain delays and              for installing any necessary controls. For
                                                 chain delays. Thus, the Non-EGU                            disruptions would continue without any                example, one concern highlighted by
                                                 Control Installation Timing Report                         increase in labor supply, materials, or               commenters was the amount of time
                                                 confirms that for any individual facility,                 reduction in fabrication timing; (2) the              necessary to install controls on engines
                                                 meeting the emissions limitations of this                  labor and materials markets would not                 that have been in operation for 50 or
                                                 final rule through installation of                         adjust in response to this rule in the                more years. The requirements that we
                                                 controls can be completed by the start                     timeframe needed to meet the increased                are finalizing for engines in the Pipeline
                                                 of the 2026 ozone season. It is only                       demand for control installations; and (3)             Transportation of Natural Gas industry
                                                 when the number of units in the U.S.                       the Report was unable to account for                  include an exemption for emergency
ddrumheller on DSK120RN23PROD with RULES2




                                                 potentially affected by the rule is taken                  some of the flexibilities built into the              engines and provisions allowing source
                                                                                                            final rule that will allow owners and                 owner/operators to request the EPA
                                                   280      generally SC&A, NO
                                                   280 See generally         NO.  X Emission Control        operators to install controls on the most             approval of facility-wide emissions
                                                 Technology
                                                 Technology Installation Timing for for Non-EGU
                                                                                        Non-EGU             cost-effective units with shorter                     averaging plans, both of which enable
                                                 Sources (March 14, 2023) (‘‘Non-EGU
                                                                            ("Non-EGU Control
                                                                       Report’’).
                                                 Installation Timing Report").                              installation times.                                   owners and operators of affected units
                                                   281
                                                   281 See Non-EGU Control Installation Timing
                                                                                                               As presented in the Non-EGU Control                to take costs, installation timing needs,
                                                 Report, Executive Summary (March 14, 2023).                Installation Timing Report, supply
                                                   282 Id. at Section 5.6.
                                                   282                                                      chain delays and disruptions have                       283 Id. at Section 6.1.
                                                                                                                                                                    283




                                            VerDate Sep<11>2014    20:14 Jun 02, 2023   Jkt 259001     PO 00000   Frm 00107   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023                 Page 146 of 430
                                                 36760
                                                 36760                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 and other considerations into account in                that an extension of time to comply is                2027 only where a source owner/
                                                 deciding which engines to control.                      necessary, due to circumstances entirely              operator submits updated
                                                    In response to industry concern about                                        operator’s control
                                                                                                         beyond the owner or operator's                        documentation showing that it is not
                                                 the number and size of units captured                   and despite all good faith efforts to                 possible to install and operate controls
                                                 by the proposed applicability criteria,                 install the necessary controls by May 1,              by the 2027 ozone season, despite all
                                                 the EPA has made several changes to the                 2026, the EPA may determine that                      good faith efforts to comply and due to
                                                 applicability criteria in the final rule to             installation by 2026 is not possible and              circumstances entirely beyond its
                                                 focus the control requirements on                       thereby grant an extension of up to one               control. The request must be received by
                                                 impactful non-EGU units. As explained                   year for that source to fully implement               the EPA at least 180 days before the
                                                                     VI.C of this document,
                                                 further in section VI.0                                 the required controls. If, after the EPA              extended compliance date and must
                                                 the EPA is establishing exemptions for                  has granted a request for an initial                  include, at minimum, the same types of
                                                 low-use boilers and engines where it                    compliance extension, the source                      information as that required for the
                                                 would not be cost-effective to require                  remains unable to comply by the                       initial extension request. The owner or
                                                 controls at this time. Finally, as                      extended compliance date due to                       operator of an affected unit remains
                                                 discussed in section VI.C.3 of this                     circumstances entirely beyond the                     subject to the initial extended
                                                 document, the EPA is not finalizing the                 owner or operator's
                                                                                                                    operator’s control and despite             compliance date unless and until the
                                                 proposed requirements for most                          all good faith efforts to install the                 Administrator grants a second
                                                 emissions unit types in the Iron and                    necessary controls by the extended                    compliance extension. A denial will be
                                                 Steel Mills and Ferroalloy                              compliance date, the owner or operator                effective on the date of denial.
                                                 Manufacturing industry given the EPA                    may request and the EPA may grant a                      As discussed earlier in section VI.A,
                                                 does not currently have a sufficient                    second extension of up to two                         in Wisconsin the court held that some
                                                 technical basis for finalizing those                    additional years for full compliance,                 deviation from the CAA's
                                                                                                                                                                                    CAA’s mandate to
                                                 proposed requirements. These changes                    where specific criteria are met. This                 eliminate prohibited transport by
                                                 reduce the number of non-EGU units                      application process is generally in                   downwind attainment deadlines may be
                                                 that will actually need to install controls             accordance with the concept on which                                 ‘‘under particular
                                                                                                                                                               allowed only "under
                                                 and should reduce the strain on the                     the Agency requested comment in the                   circumstances and upon a sufficient
                                                 labor and supply chain and permitting                   proposal, see 87 FR 20104–05,
                                                                                                                               20104-05, and is                showing of necessity."
                                                                                                                                                                            necessity.’’ 284
                                                                                                                                                                                         284 This standard
                                                 processes. For example, for engines, the                modeled on a similar process provided                                       EPA’s judgment,
                                                                                                                                                               is met when, in the EPA's
                                                 EPA estimates that the facility-wide                    for industrial sources subject to CAA                 compliance by the attainment date
                                                 emissions averaging provision would, in                 section 112 NESHAPs, found at 40 CFR                  amounts to an impossibility. The EPA
                                                 many cases, allow facilities to install                 63.6(i)(3).                                           cannot allow a covered industrial source
                                                 controls on only one-third of their                        The EPA intends to grant a request for             to avoid timely compliance with the
                                                 engines, on average (see section VI.C.1                 an initial compliance extension only                  emissions control requirements
                                                 of this document for further discussion).               where a source demonstrates that it has               established in this final rule unless the
                                                    Taking all of these considerations into              taken all steps possible to install the               source owner/operator can demonstrate
                                                 account, the EPA finds that the outer                   necessary controls by the applicable                  that compliance by the 2026 ozone
                                                 range of timing estimates presented in                  compliance date and still cannot                      season is not possible due to
                                                 the Non-EGU Control Installation                        comply by the 2026 ozone season, due                  circumstances entirely beyond their
                                                 Timing Report generally reflects a                      to circumstances entirely beyond its                  control. The criteria that must be met to
                                                 conservative set of installation timing                 control. Any request for a compliance
                                                 estimates and that the factors described                                                                      qualify for limited extensions of time to
                                                                                                         extension must be received by the EPA
                                                 previously could result in installation                                                                       comply are designed to meet this
                                                                                                         at least 180 days before the May 1, 2026,
                                                 timeframes that fall toward the shorter
                                                 tirnefrarnes                                                                                                  statutory mandate. The EPA anticipates
                                                                                                         compliance date. The request must
                                                 end of the ranges of time that factor in                                                                      that the majority of the industrial
                                                                                                         include all information obtained from
                                                 supply-chain delays or could obviate                                                                          sources covered by this final rule will
                                                                                                         control technology vendors
                                                 those supply-chain delay issues                         demonstrating that the necessary
                                                                                                                                                               not qualify for a compliance extension.
                                                 entirely.                                               controls cannot be installed by the                      Regulatory Requirements for
                                                                                                                                                               B. Regulatory                 for EGUs
                                                    Based on all of these considerations,                applicable compliance date, any
                                                 the EPA has concluded that three years                                                                           To implement the required emissions
                                                                                                         permit(s) secured for the installation of
                                                 is generally an adequate amount of time                                                                       reductions from EGUs, the EPA is
                                                                                                         controls or information from the                      revising the existing CSAPR NOxNOX Ozone
                                                 for the non-EGU sources covered by this                 permitting authority on the timeline for
                                                 final rule to install the controls in the                                                                     Season Group 3 Trading Program (the
                                                                                                         issuance of such permit(s) if the source              ‘‘Group 3 trading program’’)
                                                 20 states that remain linked in 2026.                                                                         "Group             program") established
                                                                                                         has not yet obtained the required
                                                 The EPA also recognizes, however, that                                                                        in the Revised CSAPR Update both to
                                                                                                         permit(s); and any contracts entered into
                                                 some sources may not be able to install                                                                       expand the program’s
                                                                                                                                                                           program's geographic scope
                                                                                                         by the source for the installation of the
                                                 controls by the 2026 ozone season                                                                             and to enhance the program’s
                                                                                                                                                                                    program's ability to
                                                                                                         control technology or an explanation as
                                                 despite making good faith efforts to do                                                                       ensure favorable environmental
                                                                                                         to why no contract is necessary. The
                                                 so, due to the aforementioned supply                                                                          outcomes. The EPA is using a trading
                                                                                                         EPA may also consider documentation
                                                 chain delays or other circumstances                                  owner’s/operator’s plans to              program for EGUs because of the
                                                                                                         of a source owner's/operator's
                                                                                  operator’s
                                                 entirely beyond the owner or operator's                                                                       inherently greater flexibility that a
                                                                                                         shut down a source by the 2027 ozone
                                                 control. Therefore, the final FIPs require              season in determining whether a source                trading program can provide relative to
                                                 compliance with the emissions control                                                                         more prescriptive, "command-and-
                                                                                                                                                                                   ‘‘command-and-
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                         is eligible for a compliance extension.
                                                 requirements for non-EGUs by the                        The owner or operator of an affected                  control’’
                                                                                                                                                               control" forms of regulation of sufficient
                                                 beginning of the 2026 ozone season,                     unit remains subject to the May 1, 2026               stringency to achieve the necessary
                                                 with limited exceptions based on a                      compliance date unless and until the                  emissions reductions. In the electric
                                                 showing of necessity for individual                     Administrator grants a compliance
                                                                                                                                                                 284 Wisconsin, 938 F.3d at 316 and 319–320
                                                                                                                                                                 284                                   319-320
                                                 sources that meet specific criteria.                    extension.                                            (noting that any such deviation must be "rooted
                                                                                                                                                                                                         ‘‘rooted in
                                                 Where an individual owner or operator                      The EPA intends to grant a request for                   I’s framework"
                                                                                                                                                               Title I's framework’’ and "provide
                                                                                                                                                                                         ‘‘provide a sufficient level
                                                 submits a satisfactory demonstration                    a second compliance extension beyond                                               States’’).
                                                                                                                                                               of protection to downwind States").



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00108   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 147 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                          36761
                                                                                                                                                                                                  36761

                                                 power sector, EGUs'
                                                                 EGUs’ extensive                         level of emission control identified at               As discussed in section VI.B.12.a of this
                                                 interconnectedness and coordination                     Step 3 at the sources active in the                   document, because the effective date of
                                                 create the ability to shift both electricity            trading program on a more consistent                  the rule will likely be sometime during
                                                 production and emissions among units,                   basis throughout each ozone season                    the 2023 ozone season, special
                                                 providing a closely related ability to                  than prior transport trading programs                 transitional provisions have been
                                                 achieve emissions reductions in part by                 (including those that did not provide                 developed to allow for efficient
                                                 shifting electricity production from                    complete remedies for interstate                                              rule’s EGU
                                                                                                                                                               administration of the rule's
                                                 higher-emitting units to lower-emitting                 pollution transport) have required. An                requirements through the Group 3
                                                 or non-emitting units. Thus, while the                  alternative form of implementation at                 trading program while not imposing any
                                                 Step 3 control-stringency determination                 Step 4 would be to implement source-                  new substantive obligations on parties
                                                 for EGUs to eliminate significant                       specific emissions limitations (e.g., rate-           prior to the rule's
                                                                                                                                                                            rule’s effective date, similar
                                                 contribution is based on strategies that                based standards expressed as mass per                 to the transitional provisions
                                                 do not require generation shifting or                   unit of heat input) reflecting the control            implemented under the Revised CSAPR
                                                 reduced utilization of EGUs, the sector's
                                                                                     sector’s            strategies identified at Step 3. This is a            Update.
                                                 unusual flexibility with respect to how                 very common form of implementation                       As is the case for the states already in
                                                 emissions reductions can be achieved                    for many other CAA requirements and                   the Group 3 trading program, for each
                                                 makes the flexibility of a trading                      is indeed the manner of implementation                state added to the program, the set of
                                                 program particularly useful as a means                  selected in this very rulemaking for                  affected EGUs will include new units as
                                                 of lowering the overall costs of                        other affected industrial sources. See                well as existing units and will also
                                                 obtaining such reductions. In addition,                 sections III.B, V.D.4, and VI.C. But doing            include units located in Indian country
                                                 it is essential for the electric power                  so would require loss of the flexibilities                        state’s borders. Sections
                                                                                                                                                               within the state's
                                                 sector to retain short-term operational                 inherent in a trading program, inclusive              VI.B.2 and VI.B.3 of this rule provide
                                                 flexibility sufficient to allow electricity             of these enhancements, that facilitate                additional discussion of the geographic
                                                 to be produced at all times in the                      orderly and timely achievement of the                 expansion of the Group 3 trading
                                                 quantities needed to meet demand                        required emission reductions in the                   program and the units in the expanded
                                                 simultaneously, and the flexibility of a                power sector.                                         geography that will become subject to
                                                 trading program can be helpful in                          Prior to this rule, the Group 3 trading            the program under the program’s
                                                                                                                                                                                         program's
                                                 supporting this aspect of the industry as               program has applied to EGUs meeting                   existing applicability provisions.
                                                 well.                                                   the program’s
                                                                                                              program's applicability criteria                    In addition to expanding the Group 3
                                                    To ensure emissions reductions                       within the borders of twelve states:                  trading program’s
                                                                                                                                                                        program's geographic scope, the
                                                 necessary to eliminate significant                      Illinois, Indiana, Kentucky, Louisiana,               EPA is modifying the program’s
                                                                                                                                                                                        program's
                                                 contribution are maintained, in this                    Maryland, Michigan, New Jersey, New                   regulations prospectively to include
                                                 rulemaking, the EPA is making certain                   York, Ohio, Pennsylvania, Virginia, and               certain enhancements to improve
                                                 enhancements to the current provisions                  West Virginia. Affected EGUs in these                 environmental outcomes. Two of the
                                                 of the Group 3 trading program                          twelve states will continue to                        proposed enhancements will adjust the
                                                 addressing emissions-control                            participate in the Group 3 trading                    overall quantities of allowances
                                                 performance by some kinds of                            program as revised in this rulemaking,                available for compliance in the trading
                                                 individual units that will necessarily                  with some revised provisions taking                   program in each control period so as to
                                                 reduce the flexibility of the program to                effect in the 2023 control period and                                rule’s selected control
                                                                                                                                                               maintain the rule's
                                                 some extent for those units. In analyzing               other revised provisions taking effect                stringency and related EGU effective
                                                 significant contribution at Step 3, once                later as discussed elsewhere in this                  emissions rate performance level as the
                                                 a linkage has been established between                  document. The EPA is expanding the                    EGU fleet evolves. First, instead of
                                                 an upwind state and a downwind                          Group 3 trading program’s
                                                                                                                            program's geographic               establishing emissions budgets for all
                                                 receptor, we identify an appropriate set                scope to include all of the additional                future years under the program at the
                                                 of emissions control strategies,                        states for which EGU emissions                        time of the rulemaking, which cannot
                                                 considering cost and other factors, that                                                                      reflect future changes in the EGU fleet
                                                                                                         reduction requirements are being
                                                 would eliminate significant contribution                established in this rulemaking. Affected              unknown at the time of the rulemaking,
                                                 from the upwind state without leading                   EGUs within the borders of seven states               the EPA is revising the trading program
                                                 to undercontrol or overcontrol at the                                                                         regulations to include a dynamic
                                                                                                         currently covered by the CSAPR NOx  NOX
                                                 downwind linked receptors. At Step 4,                                                                         budgeting procedure. Under this
                                                                                                         Ozone Season Group 2 Trading Program
                                                 for EGUs, we develop emissions budgets                                                                        procedure, the EPA will calculate
                                                                                                               ‘‘Group 2 trading program’’)—
                                                                                                         (the "Group              program")—
                                                 based on consistent application of the                                                                        emissions budgets for control periods in
                                                                                                         Alabama, Arkansas, Mississippi,                       2026 and later years based on more
                                                 identified strategies to the sources. This              Missouri, Oklahoma, Texas, and
                                                 level of emission control at each source                                                                      current information about the
                                                                                                         Wisconsin—will transition from the                    composition and utilization of the EGU
                                                 identified in Step 3 is what the EPA                    Group 2 trading program to the revised
                                                 deems to eliminate significant                                                                                fleet, specifically data available from the
                                                                                                         Group 3 trading program at the                        2024 ozone season and following (e.g.,
                                                 contribution, while the design of
                                                                                                         beginning of the 2023 control period,   285
                                                                                                                                          period,285           for 2026, data from periods through
                                                 emission budgets that successfully
                                                                                                         and affected EGUs within the borders of               2024; for 2027, data from periods
                                                 implement that level of emission control
                                                                                                         the three states not currently covered by             through 2025; etc.). Through the 2029
                                                 is determined at Step 4. See section III.B
                                                                                                         any CSAPR trading program for seasonal                control period, the dynamically
                                                 and V.
                                                                                                         NOX emissions—Minnesota, Nevada,
                                                                                                         NOx
ddrumheller on DSK120RN23PROD with RULES2




                                                    The trading program enhancements                                                                           determined budgets will apply only if
                                                 discussed in this section are designed to               and Utah—will enter the Group 3                       they are higher than preset budgets
                                                 ensure that sources actually achieve that               trading program in the 2023 control                   established in the rule. (Associated
                                                 level of emission control and thereby                   period on the effective date of this rule.            revisions to the program’s
                                                                                                                                                                                 program's variability
                                                 eliminate significant contribution on a                                                                       limits and unit-level allowance
                                                                                                           285 Affected EGUs in the three other states
                                                                                                           285
                                                 permanent basis at Step 4. The                          currently covered by the Group 2 trading program—
                                                                                                                                                               allocation procedures will coordinate
                                                 enhancements ensure that the emissions                  Iowa, Kansas, and Tennessee—will continue to          these provisions with the revised
                                                 budgets for EGUs continue to secure the                 participate in that program.                          budget-setting procedures.) Second,


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00109   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023                 Page 148 of 430
                                                 36762
                                                 36762                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 starting with the 2024 control period,                  higher of 0.10 lb/mmBtu or 125 percent                 1. Trading Program Background and
                                                 the EPA will annually recalibrate the                          unit’s lowest previous seasonal
                                                                                                         of the unit's                                          Overview of Revisions
                                                 quantity of accumulated banked                          average emissions rate under any                       a. Current CSAPR Trading Program
                                                 allowances under the program to                         CSAPR seasonal NOxNOX trading                          Design Elements and Identified
                                                 prevent the quantity of allowances                      program.286                                            Concerns
                                                 carried over from each control period to
                                                                                                           These two enhancements are designed                      The use of allowance trading
                                                 the next from exceeding the target bank
                                                                                                         to ensure that all individual units with               programs to achieve required emissions
                                                 level, which would be revised to
                                                                                                         SCR controls have strong incentives to                 reductions from the electric power
                                                 represent a preset percentage of the sum
                                                 of the state emissions budgets for each                 continuously operate and optimize their                sector has a long history, rooted in the
                                                 control period. The preset percentage                   controls, and also to ensure that all                  Clean Air Act Amendments of 1990. In
                                                 will be 21 percent for control periods                  units with post-combustion controls                    Title IV of those amendments, Congress
                                                 through 2029 and 10.5 percent for                       have strong incentives to optimize their               specified the design elements for a 48-
                                                 control periods in 2030 and later years.                emissions performance when a state's
                                                                                                                                            state’s             state allowance trading program to
                                                 Together, these enhancements will                       assurance level might otherwise be                              SO2 emissions and the resulting
                                                                                                                                                                reduce SO2
                                                 protect the intended stringency of the                  exceeded. These enhancements are                       acid precipitation. Building on the
                                                 trading program against potential                       generally designed to ensure                           success of that first allowance trading
                                                                                                                                EPA’s
                                                                                                         consistency with the EPA's                             program as a tool for addressing multi-
                                                 erosion caused by EGU fleet turnover
                                                 and will better sustain over time the                   determination regarding the emissions                  state air pollution issues, since 1998
                                                 incentives created by the trading                       control stringency needed from EGUs to                 EPA has promulgated and implemented
                                                 program to achieve the degree of                                                                               multiple allowance trading programs for
                                                                                                         eliminate significant contribution under
                                                                                                                                                                SO2 or NOx
                                                                                                                                                                SO2     NOX emissions to address the
                                                 emissions control for EGUs that the EPA                 the Step 3 multifactor analysis as                                            CAA’s good
                                                                                                                                                                requirements of the CAA's
                                                 has determined is necessary to address                  discussed in section V of this document.
                                                 states’ good neighbor obligations.
                                                                                                                                                                neighbor provision with respect to
                                                 states'                                                 Further, these enhancements are                        successively more protective NAAQS
                                                    Two further enhancements to the                      designed to provide greater assurance                  for fine particulate matter and ozone.
                                                 Group 3 trading program establish                       that emissions controls will be operated               Most of these trading programs have
                                                 provisions designed to promote more                     on all days of the ozone season and                    applied either exclusively or primarily
                                                 consistent emissions control by                         therefore necessarily on the days that                 to EGUs.
                                                 individual EGUs within the context of                   turn out to be most critical for                           The EPA currently administers six
                                                 the trading program. First, starting with               downwind ozone levels. The EPA                         CSAPR trading programs for EGUs
                                                 the 2024 control period for coal-fired                  expects that promoting more                            (promulgated in CSAPR, the CSAPR
                                                 EGUs with existing SCR controls and                     consistently good emissions                            Update, and the Revised CSAPR
                                                 the earlier of the 2030 control period or               performance by individual EGUs will                    Update) that differ in the pollutants,
                                                 the control period after which an SCR                   better ensure that each state's
                                                                                                                                  state’s significant           geographic regions, and time periods
                                                 is installed for other large coal-fired                 contribution is fully eliminated by this               covered and in the levels of stringency,
                                                 EGUs, a daily NOx
                                                                 NOX emissions rate of
                                                                                                         action, see North Carolina, 531 F.3d at                but that otherwise have been nearly
                                                 0.14 lb/mmBtu will apply as a backstop                                                                         identical in their core design elements
                                                                                                         919–21.
                                                                                                         919-21. In addition to addressing the
                                                 to the seasonal emissions budgets                                                                              and their regulatory text.287
                                                                                                                                                                                        text.287 The
                                                                                                         statutory requirements of eliminating
                                                 (which are based on an assumed                                                                                 principal common design elements
                                                 seasonal average emissions rate of 0.08                 significant contribution, the EPA
                                                                                                                                                                currently reflected in all of the programs
                                                 lb/mmBtu for EGUs with existing SCR                     anticipates that these enhancements                    are as follows:
                                                 controls). Each ton of emissions                        will also deliver public health and                       •• An "emissions
                                                                                                                                                                         ‘‘emissions budget"
                                                                                                                                                                                       budget’’ is
                                                               unit’s backstop daily
                                                 exceeding a unit's                                      environmental benefits to underserved                  established for each state for each
                                                 emissions rate, after the first 50 such                 and overburdened communities.                          control period, representing the EPA's
                                                                                                                                                                                                     EPA’s
                                                 tons, in a given control period will incur                The revisions to the Group 3 trading                 quantification of the emissions that
                                                 a 3-for-1 allowance surrender ratio                     program being finalized in this rule are               would remain under certain projected
                                                 instead of the usual 1-for-1 allowance                  very similar to the proposed revisions.                conditions after elimination of the
                                                 surrender ratio. Second, also starting                  The changes from proposal to the set of                emissions prohibited by the good
                                                 with the 2024 control period, the                       states covered are driven largely by                   neighbor provision under those
                                                 trading program’s
                                                          program's existing assurance                   updates to the air quality modeling                    projected conditions. For each control
                                                 provisions, which require extra                         performed for the final rule, as                       period of program operation, a quantity
                                                 allowance surrenders from sources that                  described in section IV of this                        of newly issued "allowances"
                                                                                                                                                                                  ‘‘allowances’’ equal to
                                                 are found responsible for contributing to                                                                      the amount of each state's
                                                                                                                                                                                      state’s emissions
                                                                                                         document. The changes from proposal
                                                 an exceedance of the relevant state's
                                                                                    state’s                                                                                                        state’s
                                                                                                                                                                budget is allocated among the state's
                                                                                                         to the trading program enhancements                    sources. (States have options to replace
                                                 ‘‘assurance level"
                                                 "assurance   level’’ (i.e., typically 121
                                                                                                         are generally being made in response to                     EPA’s default allocations or to
                                                                                                                                                                the EPA's
                                                 percent of the state's
                                                                 state’s emissions budget),
                                                                                                         comments on the proposal, as discussed                 institute an auction process.) Total
                                                 will be strengthened by the addition of
                                                                                                         in more detail in the remainder of                     emissions in a given control period from
                                                 another backstop requirement.
                                                 Specifically, for any unit equipped with                section VI.B of this document.                         all sources in the program are effectively
                                                 post-combustion controls that is found
                                                 responsible for contributing to an                                                                               287 The six current CSAPR trading programs are
                                                                                                                                                                  287
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                                                                                the CSAPR NOx
                                                                                                                                                                            NOX Annual Trading Program, CSAPR
                                                 exceedance of the state's
                                                                      state’s assurance                                                                         NO
                                                                                                                                                                NOxX Ozone Season Group 1   1 Trading Program,
                                                 level, the revised regulations will                                                                            CSAPR SOSO22 Group 1 Trading Program, CSAPR SO    SO22
                                                 prohibit the unit's
                                                               unit’s seasonal emissions                   286 The requirement would not apply for control
                                                                                                                                                                Group 2 Trading Program, CSAPR NO   NOxX Ozone

                                                 from exceeding by more than 50 tons                                                                            Season Group 2 Trading Program, and CSAPR NOx    NOX
                                                                                                         periods during which the unit operated for less than   Ozone Season Group 3 Trading Program. The
                                                 the emissions that would have resulted                  10 percent of the hours, and emissions rates           regulations for the six programs are set forth at
                                                 if the unit had achieved a seasonal                     achieved in such previous control periods would be     subparts AAAAA, BBBBB, CCCCC, DDDDD, EEEEE,
                                                 average emissions rate equal to the                     excluded from the comparison.                          and GGGGG, respectively, of 40 CFR part 97.



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00110   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023                Page 149 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                                  36763
                                                                                                                                                                                                          36763

                                                 capped at a level no higher than the                    rule have not limited banking of                      individual sources to idle or run less
                                                 total quantity of allowances available for              allowances within a given trading                     optimally existing emissions controls
                                                 use in the control period, consisting of                program, the 3-for-1 surrender ratio                  even when a linkage between the
                                                                   states’ emissions budgets
                                                 the sum of all states'                                  imposed by the assurance provisions on                sources’ state and a receptor persists.
                                                                                                                                                               sources'
                                                 for the control period plus any unused                  any emissions exceeding a state's
                                                                                                                                       state’s                 For example, certain units in Ohio and
                                                 allowances carried over from previous                   assurance level disincentivizes sources               Pennsylvania have been found to have
                                                 control periods as "banked"
                                                                        ‘‘banked’’ allowances.           from relying on either in-state banked                operated their controls below target
                                                    •• "Assurance
                                                       ‘‘Assurance provisions’’
                                                                      provisions" in each                allowances or net out-of-state purchased              emissions performance levels used for
                                                 program establish an "assurance
                                                                           ‘‘assurance level’’
                                                                                        level"           allowances to emit over the assurance                 budget setting under the CSAPR Update
                                                 for each state for each control period,                 level. 288
                                                                                                         level.288                                             in the 2019–2021
                                                                                                                                                                       2019-2021 period, even though
                                                 defined as the sum of the state's
                                                                                state’s                     •• Finally, other common design                    the Revised CSAPR Update found that
                                                 emissions budget plus a specified                       elements ensure program integrity,                    these states remained linked through at
                                                 ‘‘variability limit.’’
                                                 "variability   limit." The purpose of the               source accountability, and                            least 2021 to receptors for the 2008
                                                 assurance provisions is to limit the total              administrative transparency. Most                     ozone NAAQS, and the CSAPR Update
                                                 emissions from each state's
                                                                           state’s sources in            notably, each unit must monitor and                   itself was only a partial remedy. See 86
                                                 each control period to an amount close                  report emissions and operational data in              FR 23071, 23083. While this unit-level
                                                         state’s emissions budget for the
                                                 to the state's                                          accordance with the provisions of 40                  behavior may have been permissible
                                                 control period, consistent with the good                CFR part 75; all allowance allocations or             under the prior program, emissions from
                                                 neighbor provision’s
                                                             provision's mandate that                    auction results, transfers, and                       these individual sources can contribute
                                                 required emissions reductions must be                   deductions must be properly recorded                  to increased pollution concentrations
                                                 achieved within the state, while                        in the EPA's
                                                                                                                 EPA’s Allowance Management                    downwind on the particular days that
                                                 allowing some flexibility beyond the                    System; each source must have a                       matter for downwind exceedances of the
                                                 emissions budget to accommodate year-                   designated representative who is                      relevant air quality standard. This
                                                 to-year operational variability. In the                 authorized to represent all of the                    indicates that the prior program design
                                                 event a state's
                                                           state’s assurance level is                    source’s owners and operators and is
                                                                                                         source's                                              was not effectively ensuring the
                                                 exceeded, responsibility for the                        responsible for certifying the accuracy               elimination of significant
                                                 exceedance is apportioned among the                     of the source's
                                                                                                                 source’s reports to the EPA and               contribution. 289
                                                                                                                                                               contribution.289
                                                 state’s sources through a procedure that
                                                 state's                                                                  source’s Allowance
                                                                                                         overseeing the source's                                  The EPA has analyzed hourly
                                                 accounts for the sources'
                                                                      sources’ shares of the             Management System account; and                        emissions data reported in prior cap-
                                                 state’s total emissions for the control
                                                 state's                                                 comprehensive data on emissions and                   and-trade programs and identified
                                                 period as well as the sources'
                                                                           sources’ shares of            allowances are made publicly available.               instances of sources that did not operate
                                                      state’s assurance level for the control
                                                 the state's                                                 The EPA continues to believe that the             SCR controls for substantial portions of
                                                 period.                                                 historical CSAPR trading program                      recent ozone seasons. In an effort to
                                                    •• At the program’s
                                                               program's compliance                      structure established by the common                   ensure emissions control on critically
                                                 deadlines after each control period,                    design elements just described has                    important highest ozone days, guard
                                                 sources are required to hold for                        important positive attributes,                        against non-operation of emissions
                                                 surrender specified quantities of                       particularly with respect to the                      controls under a more protective
                                                 allowances. The minimum quantities of                   exceptional degree of compliance                      NAAQS, and provide assurance of
                                                 allowances that must be surrendered are                 flexibility it can provide to a sector such           elimination of significant contribution
                                                                 sources’ reported
                                                 based on the sources'                                   as the electric power sector where such               to downwind areas, while also
                                                 emissions for the control period at a 1-                flexibility is especially useful and                  maintaining appropriate compliance
                                                 for-1 ratio of allowances to tons of                    valuable. However, the EPA also shares                and operational flexibility for EGUs, the
                                                 emissions (or 2-for-1 in instances of late                      stakeholders’ concerns about
                                                                                                         many stakeholders'                                    EPA in this rule is implementing a suite
                                                 compliance). In addition, two more                      whether the historical structure, without             of enhancements to the trading program.
                                                 allowances must be surrendered for                      enhancements, is capable of adequately                These will help to ensure reductions
                                                 each ton of emissions exceeding a state'sstate’s                     states’ good neighbor
                                                                                                         addressing states'                                    occur on the highest ozone days
                                                 assurance level for a control period,                   obligations with respect to the 2015                  commensurate with our Step 3
                                                 yielding an overall 3-for-1 surrender                   ozone NAAQS in light of the rapidly                   determinations, in addition to
                                                 ratio for those emissions (or 4-for-1 in                evolving EGU fleet and the                            maintaining a mass-based seasonal
                                                 instances of late compliance). Failure to               protectiveness and short-term form of                 requirement. To meet the statutory
                                                 timely surrender all required allowances                the ozone standard. One set of concerns               mandate to eliminate significant
                                                 is potentially subject to penalties under               relates to the historically observed                  contribution and interference with
                                                      CAA’s enforcement provisions.
                                                 the CAA's                                               tendency under the trading programs for
                                                    •• To continuously incentivize sources               the supply of allowances to grow over                   288 We also observe that these sources'
                                                                                                                                                                 289                              sources’ emissions
                                                 to reduce their emissions even when                     time while the demand for allowances                  have the potential to impact downwind
                                                 they already hold sufficient allowances                                                                       overburdened communities. See Ozone Transport
                                                                                                         falls, reducing allowance prices and                  Policy Analysis Final Rule TSD, Section E. The EPA
                                                 to cover their expected emissions for a                 eroding the consequent incentives for                 conducted a screening-level analysis to determine
                                                 control period, and to promote                          sources to effectively control their                  whether there may be impacts on overburdened
                                                 compliance cost minimization,                                                                                 communities resulting from those EGUs receiving
                                                                                                         emissions. A second, overlapping set of               backstop emissions rates under this rule. This
                                                 operational flexibility, and allowance                  concerns relates to the general absence               analysis identified a greater potential for these
                                                 market liquidity, the programs allow                    of source- or unit-specific emissions                 sources to affect areas of potential concern than the
                                                 trading of allowances—both among
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                         reduction requirements, allowing some                 national coal-fired EGU fleet on average. However,
                                                 sources in the program and with non-                                                                          this analysis is distinct from the more
                                                                                                                                                               comprehensive exposure analysis conducted as
                                                 source entities—and also let allowances                    288 As discussed in section VI.B.6 of this
                                                                                                            288
                                                                                                                                                               discussed in section VII of this document and the
                                                 that are unused in one control period be                document, while allowance banking has not             RIA. In addition, we note that our conclusions
                                                 carried over for use in future control                  previously been limited under any of the CSAPR        regarding the EGU trading program enhancements
                                                                                                         trading programs, limits on the use of banked         in this final rule are wholly supportable and
                                                 periods as banked allowances. Although                  allowances were included in the earlier NOxNOX        justified under the good neighbor provision, even
                                                 the CSAPR programs do not limit                         Budget Trading Program in the form of "flow
                                                                                                                                                   ‘‘flow      in the absence of any potential benefits to
                                                 trading of allowances, and prior to this                control’’
                                                                                                         control" provisions.                                  overburdened communities.



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00111   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023                Page 150 of 430
                                                 36764
                                                 36764                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 maintenance on the critically important                 certain rates of emissions per unit of                budgets in the CSAPR Update
                                                 days, this combination of provisions                    heat input (i.e., the amount of fuel                  established in 2016 reflected
                                                 will strongly incentivize sources to plan               consumed) and the effects of the                      implementation of the emissions control
                                                 to run controls all season, including on                resulting emissions reductions on                     strategy of operating and optimizing
                                                 the highest ozone days, while giving                    downwind air quality. After                           existing SCR controls, within four years
                                                 reasonable flexibility for occasional                   determining the emissions control                     the EPA found that EGU retirements and
                                                              needs.290
                                                 operational needs.29°                                   strategies and associated emissions                   changes in utilization not anticipated in
                                                   In this rulemaking, the EPA is                        reductions that should be required                    EPA’s previous budget-setting
                                                                                                                                                               EPA's
                                                 revising the Group 3 trading program to                 under the good neighbor provision by                  computations had made it economically
                                                 include enhancements designed to                        considering these factors in a                        attractive for at least some sources to
                                                 address both sets of concerns described                 multifactor test at Step 3, the EPA has               idle or reduce the effectiveness of their
                                                 previously. The principles guiding the                  then for purposes of Step 4                           existing controls (relying on purchased
                                                 various revisions and the relationships                 implementation program design                                      instead).291 While the EPA
                                                                                                                                                               allowances instead).291
                                                 of the revisions to one another are                     projected the amounts of emissions that               has provided analysis indicating that,
                                                 discussed in sections VI.B.1.b and                      would remain after the assumed                        on average, sources operate their
                                                 VI.B.1.c of this document. The                          implementation of the selected                        controls more effectively on high
                                                 individual revisions are discussed in                   emissions control strategies at various               electric demand days, it has also
                                                 more detail in sections VI.B.4 through                  points in the future and has established              identified cases where units fail to
                                                 VI.B.9 of this document.                                the projected remaining amounts of                    optimize their controls on these days.
                                                                                                         emissions as the state emissions budgets              Downwind states have suggested this
                                                 b. Enhancements To Maintain Selected                    in trading programs.                                  type of reduced pollution control
                                                 Control Stringency Over Time                               Projecting the amounts of emissions                performance has occurred on the day
                                                    The first set of concerns noted about                remaining after implementation of                     and preceding day of an ozone
                                                 the current CSAPR trading program                       selected emissions controls necessarily               exceedance.292 293
                                                                                                                                                               exceedance.292   293 While the EPA had

                                                 structure relates to the programs’
                                                                           programs' ability             requires projections not only for                     previously provided analysis focusing
                                                                   rule’s selected control
                                                 to maintain the rule's                                  sources’ future emissions rates but also
                                                                                                         sources'                                              on the year of initial program
                                                 stringency and related EGU effective                    for other factors that influence total                implementation, when allowance prices
                                                 emissions performance level as the EGU                  emissions, notably the composition of                 were high (i.e., 2017 for the CSAPR
                                                 fleet evolves over time. Under the                      the future EGU fleet (i.e., the capacity              Update), to demonstrate that on average,
                                                 historical structure of the CSAPR                       amounts of different types of sources                 sources operate their controls more
                                                 trading programs, the effectiveness of                  with different emissions rates) and their             effectively on high electric demand
                                                 the programs at maintaining the rule's
                                                                                     rule’s              future utilization levels (i.e., their heat           days, even in that case it had identified
                                                 selected control stringency depends                     input). To the extent conditions unfold               situations where particular units failed
                                                 entirely on how allowance prices over                   in practice that differ from the                      to optimize their controls on these days.
                                                 time compare to the costs of sources'
                                                                                 sources’                projections made at the time of a                     In later years, when allowance prices
                                                 various emissions reduction                             rulemaking for these other factors, over              had fallen, more sources, including
                                                 opportunities, which in turn depends                    time the emissions budgets may not                    some identified by commenters, had
                                                 on the relationship between the supply                  reflect the intended stringency of the                idled or reduced the effectiveness of
                                                 for allowances and the demand for                       emissions control strategies identified in            their controls. Such an outcome
                                                 allowances. In considering possible                     the rulemaking as consistent with                     undermined the ongoing achievement of
                                                 ways to address concerns about the                                   states’ good neighbor
                                                                                                         addressing states'                                    emissions rate performance consistent
                                                 ability to enhance the historical trading               obligations. Further, projecting EGU                  with the control strategies identified in
                                                 program structure to better sustain                     fleet composition and utilization                     the CSAPR Update to eliminate
                                                 incentives to control emissions over                    beyond the relatively near-term analytic              significant contribution to
                                                 time, the EPA has focused on the                        years of 2023 and 2026 given particular               nonattainment
                                                                                                                                                               nonattainrnent and interference with
                                                 trading program design elements that                    attention in this rulemaking has become               maintenance, despite the fact that the
                                                 determine the supply of allowances,                     increasingly challenging in light of the              mass-based budgets were being met.
                                                 specifically the approach for setting                   anticipated continued evolution of the                   In the Revised CSAPR Update, the
                                                 state emissions budgets and the rules                   electric power sector toward more                     EPA took steps to better address the
                                                 concerning the carryover of unused                      efficient and cleaner sources of                      rapid evolution of the EGU fleet,
                                                 allowances for use in future control                    generation, including as driven by                    specifically by setting updated
                                                 periods as banked allowances.                           incentives provided by the                            emissions budgets for individual future
                                                                                                         Infrastructure Investment and Jobs Act
                                                 i. Revised Emissions Budget-Setting                     as well as the Inflation Reduction Act.                  291The price of allowances in CSAPR Update
                                                                                                                                                                  291
                                                 Process                                                    A consequence of using a trading                   states started at levels near $800 per ton in 2017 but
                                                    In each of the previous rulemakings                  program approach with preset emissions                declined to less than $100 per ton by 2019 and were
                                                                                                         budgets that do not keep pace with the                less than $70 per ton in July 2020 (data from S&P
                                                 establishing CSAPR trading programs,                                                                          Global Market Intelligence).
                                                 the EPA has evaluated the emissions                     trends in EGU fleet composition and                      292 86 FR 23117.
                                                                                                                                                                  292

                                                 that could be eliminated through                        heat input is that the preset emissions                  293     EPA–HQ–OAR–2020–0272–0094 (‘‘[This]
                                                                                                                                                                  293 See EPA-HQ-OAR-2020-0272-0094          ("[This]
                                                 implementation of certain types of                      budgets maintain the supply of                        is demonstrated through examination of Maryland's
                                                                                                                                                                                                          Maryland’s
                                                 emissions control strategies available at               allowances at levels that increasingly                ozone design value days for June 26th-28th,
                                                                                                                                                                                                  26th–28th, 2019.
                                                                                                                                                               On those days, Maryland recorded 8-hour ozone
ddrumheller on DSK120RN23PROD with RULES2




                                                 various cost thresholds to achieve                      exceed the emissions that would occur
                                                                                                                                                               levels of 75, 85 and 83 ppb at the Edgewood
                                                                                                                                                                         75,85
                                                                                                         even without implementation of the                    monitor. Maryland Department of the Environment
                                                   290 Deferral of the backstop daily emissions rate
                                                   290                                                   emissions control strategies used as the                                    NOX emission rate for units in
                                                                                                                                                               evaluated the daily NOx
                                                 for certain EGUs, for reasons discussed in section      basis for determining the emissions                   Pennsylvania that were found to influence the
                                                 VI.B.7 of this document, does not alter this finding    budgets, causing decreases in allowance               design values on the 3 exceedance days (and 1 day
                                                 that this trading program enhancement is an                                                                   prior to the exceedance) against the past-best ozone
                                                 important part of the solution to eliminating
                                                                                                         prices and hence the incentives to                    season 30-day rolling average optimized NOxNOX rate
                                                 significant contribution from EGUs under CAA            implement the control strategies. As an               (which tends to be higher than the absolute lowest
                                                 section 110(a)(2)(D)(i)(I).                             example, although the emissions                                          rate).’’).
                                                                                                                                                               seasonal average rate).").



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00112   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                              Filed: 07/27/2023               Page 151 of 430
                                                                      Federal Register / Vol. 88, No. 107/Monday,
                                                                                                      107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules                                                               36765
                                                                                                                                                                                                     36765

                                                 years though 2024 that reflect future                   Policy Analysis Final Rule TSD. To                        generation shifting associated with
                                                 EGU fleet changes known with                            summarize here, the methodology used                      implementation of the selected control
                                                 reasonable certainty at the time of the                 to determine the preset budgets largely                   strategies, because any such shifting
                                                 rulemaking. Some commenters in that                     follows the Revised CSAPR Update’s
                                                                                                                                        Update's                   should already be reflected in the
                                                 rulemaking requested that the EPA also                  emissions budget-setting methodology,                     reported heat input data used to update
                                                 update the year-by-year emissions                       which included three primary steps: (1)                   the baseline.
                                                 budgets to reflect future fleet changes                 establishment of a baseline inventory of                     The EPA believes that the revisions to
                                                 that might become known after the time                  EGUs adjusted for known retirements                       the emissions budget-setting process
                                                 of the rulemaking, but the EPA declined                 and new units, with heat input and                        will substantially improve the ability of
                                                 to do so, in part because no                            emissions rate data for each EGU in the                   the emissions budgets to keep pace with
                                                 methodology for making future                           inventory based on recent historical                      changes in the composition and
                                                 emissions budget adjustments in                         data; (2) adjustment of the baseline data                 utilization of the EGU fleet. The
                                                 response to post-rulemaking data had                    to reflect assumed emissions rate                         dynamic budget-setting methodology
                                                 been included in the proposal for the                   changes resulting from known new                          will account for the electric power
                                                 rulemaking.                                             controls, known gas conversions, and                      sector’s overall trends toward more
                                                                                                                                                                   sector's
                                                    Based on information available as of                 implementation of the emissions control                   efficient and cleaner resources, both of
                                                 December 2022, it appears that the                      strategies used to determine states'
                                                                                                                                        states’ good               which tend to decrease total heat input
                                                 emissions budgets set for the first two                 neighbor obligations; and (3) application                 at affected EGUs, and through 2029 the
                                                 control periods covered by the Revised                  of an increment or decrement to reflect                   preset budgets established in the rule
                                                 CSAPR Update generally succeeded at                     the effect on emissions from projected                    will also account for these factors to the
                                                 creating incentives to operate emissions                generation shifting among the units in a                  extent known. The dynamic budget-
                                                 controls under the Group 3 trading                      state at the emissions reduction cost                     setting methodology will also account
                                                 program for those control periods.                      associated with the selected emissions                    for other factors that could lead to
                                                 However, the EPA recognizes that the                    control strategies. In this rulemaking,                   increased heat input in some states,
                                                 lack of emissions budget adjustments                    the EPA has determined the preset state                   such as generation shifting from other
                                                 after 2024 in conjunction with industry                 emissions budgets for the control                         states or increases in electricity demand
                                                 trends toward more efficient and cleaner                periods from 2023 through 2029 by                         caused by rising electrification. The
                                                 resources will likely lead to a surplus of                                           Update’s
                                                                                                         using the Revised CSAPR Update's                          dynamic budget-setting procedure is
                                                 allowances after the adjustments end.                   budget-setting methodology, except that                   specified in this final rule’s
                                                                                                                                                                                           rule's trading
                                                 This prospect for the existing Group 3                  the step of that methodology intended to                  program regulations and the
                                                 trading program should be avoided by                    reflect the effects of generation shifting                computations, which are
                                                 the changes being made in this                          has been eliminated.                                      straightforward, can be performed in a
                                                 rulemaking. In this rulemaking, besides                    The dynamic budget-setting                             spreadsheet to deliver reliable results.
                                                 establishing new preset emissions                       methodology used to determine                             The EPA will provide public notice of
                                                 budgets for the 2023 through 2029                       dynamic state emissions budgets in the                    the preliminary calculations and the
                                                 control periods, the EPA is also                        year before each control period starting                  data used by March 1 of the year
                                                 extending the Group 3 trading program                   with the 2026 control period is set forth                 preceding the control period and will
                                                 budget-setting methodology used in the                  in the revised Group 3 trading program                    provide an opportunity for submission
                                                 Revised CSAPR Update to routinely                       regulations at 40 CFR 97.1010(a). This                    of any objections to the data and
                                                 calculate dynamic emissions budgets for                 methodology modifies the Revised                          preliminary calculations before
                                                 each future control period from 2026 on,                         Update’s budget-setting
                                                                                                         CSAPR Update's                                            finalizing the dynamic budgets for each
                                                 to be published in the year before that                 methodology in two ways. First, the                       control period by May 1 of the year
                                                 control period, with each dynamic                       baseline EGU inventory and heat input                     before the control period to which those
                                                 emissions budget generally reflecting                   data, but not the emissions rate data,                    dynamic budgets apply. Thus, for
                                                 the latest available information on the                 will be updated for each control period                   example, sources and other stakeholders
                                                 composition and utilization of the EGU                  using the most recent available reported                  will have certainty by May 1, 2025, of
                                                 fleet at the time that dynamic emissions                data in combination with reported data                    the dynamic emissions budgets that will
                                                 budget is determined. For the control                   from the four immediately preceding                       be calculated for the 2026 control period
                                                 periods in 2026 through 2029, each                      years. For example, in early 2025, using                  that starts May 1, 2026. Moreover, as of
                                                 state’s final emissions budget will be the
                                                 state's                                                 the final data reported for 2020 through                  the issuance of this final rule,
                                                 preset budget determined for the state in               2024, the EPA will update the baseline                    stakeholders will know the state-level
                                                 this rulemaking except in instances                     inventory and heat input data used to                     preset emissions budgets for the 2026–
                                                                                                                                                                                                       2026-
                                                 when the dynamic budget determined                      determine dynamic state emissions                         2029 control periods, which serve as
                                                 for the state (and published                            budgets for the 2026 control period.   294
                                                                                                                                        period.294                 floors that will only be supplanted by
                                                 approximately one year before the                       Second, the EPA will not apply an                         dynamic budgets calculated for those
                                                 control period using the dynamic                        increment or decrement to any state                       control periods if such a dynamic
                                                 budget-setting methodology) is higher.                  emissions budget for projected                            budget yields a higher amount of tons
                                                 For control periods in 2030 and                                                                                   than the corresponding preset budget
                                                 thereafter, the emissions budgets will be                  294 As discussed in section VI.B.4 of this
                                                                                                            294                                                    established in this action.
                                                 the amounts determined for each state                   document, the state-level data used to determine             It bears emphasis that the annually
                                                 in the year before the control period                   the overall state-level heat input for computing a        updated information used in the
                                                                                                         state’s dynamic budget will be a three-year average
                                                                                                         state's
ddrumheller on DSK120RN23PROD with RULES2




                                                 using the dynamic budget-setting                                                                                  dynamic budget-setting computations
                                                                                                         (e.g., 2022-2024
                                                                                                                2022–2024 state-level data will be used in
                                                 methodology.                                            2025 to set the 2026 dynamic budgets). The unit-          will concern only the composition and
                                                    The current budget-setting                           level data used to determine individual units'
                                                                                                                                                   units’          utilization of the EGU fleet and not the
                                                 methodology established in the Revised                  shares of the state-level heat input in the               emissions rate data also used in those
                                                 CSAPR Update and the revisions being                    computations will be the average of the three             computations. The dynamically
                                                                                                         highest non-zero heat input amounts for the
                                                 made to that methodology are discussed                  respective units over the most recent five years (e.g.,
                                                                                                                                                                   determined emissions budget
                                                 in detail in section VI.B.4 of this                     2020–2024
                                                                                                         2020-2024 unit-level data will be used in 2025 to         computations for all years will reflect
                                                 document and the Ozone Transport                        set the 2026 dynamic budgets).                            only the specific emissions control


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00113   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM    05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 152 of 430
                                                 36766
                                                 36766                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 strategies used to determine states'
                                                                                 states’ good            program to maintain the rule's
                                                                                                                                   rule’s selected             strategies defined as eliminating
                                                 neighbor obligations as determined in                   control stringency as the EGU fleet                   significant contribution to
                                                 this rulemaking, along with fixed                       evolves over time, is the set of rules                nonattainment
                                                                                                                                                               nonattainrnent and interference with
                                                 historical emissions rates for units that               concerning the carryover of unused                    maintenance.
                                                 are not assumed to implement                            allowances for use in future control                     As discussed in detail in section
                                                 additional control strategies, thereby                  periods as banked allowances. As noted                VI.B.6 of this rule, the EPA is revising
                                                 ensuring that the annual updates will                   previously, trading and banking of                    the Group 3 trading program by adding
                                                 eliminate emissions as determined to be                 allowances in the CSAPR trading                       provisions that establish a routine
                                                 required under the good neighbor                        programs can serve a variety of                       recalibration process for banked
                                                 provision. The stringency of the                        purposes: continuously incentivizing                  allowances that will be carried out in
                                                 emissions budgets will simply reflect                   sources to reduce their emissions even                August 2024 and each subsequent
                                                 the stringency of the emissions control                 when they already hold sufficient                     August, after the compliance deadline
                                                 strategies determined in the Step 3                     allowances to cover their expected                    for the control period in the previous
                                                 multifactor analysis and will do so more                emissions for a control period,                       year. In each recalibration, the EPA will
                                                                                    EPA’s
                                                 consistently over time than the EPA's                   facilitating compliance cost                          reset the total quantity of banked
                                                 previous approach of computing                          minimization, accommodating                           allowances for the Group 3 trading
                                                 emissions budgets for all future control                necessary operational flexibility, and                program (‘‘Group      allowances’’) held in
                                                                                                                                                                         ("Group 3 allowances")
                                                 periods at the time of the rulemaking.                  promoting allowance market liquidity.                 all Allowance Management System
                                                    The rule's
                                                         rule’s revisions relating to state              All of these purposes are advanced by                 accounts to a level computed as a target
                                                 emissions budgets and the budget-                       rules that allow sources to trade                     percentage of the sum of the state
                                                 setting process generally follow the                    allowances freely (both with other                    emissions budgets for the current
                                                 proposal except for two changes we are                  sources and with non-source entities                  control period. The target percentage
                                                 making in response to comments,                         such as brokers). All of these purposes               will be 21 percent for the 2024–2029
                                                                                                                                                                                           2024-2029
                                                 specifically: we will use historical data               are also advanced by rules that allow                 control periods and 10.5 percent for
                                                 from multiple years rather than a single                unused allowances to be carried over for              control periods in 2030 and later years.
                                                 year in the dynamic budget-setting                      possible use in future control periods,               The recalibration procedure entails
                                                 process, and we are establishing preset                 thereby preserving a value for the                    identifying the ratio of the target bank
                                                 emissions budgets for the 2026–2029
                                                                              2026-2029                  unused allowances. However, while the                 amount to the total quantity of banked
                                                 control periods such that the dynamic                   EPA considers it generally advantageous               allowances held in all accounts before
                                                 budgets for those control periods will                  to place as few restrictions on the                   the recalibration and then, if the ratio is
                                                 only be imposed where they exceed the                   trading of allowances as possible,  295
                                                                                                                                   possible,295                less than 1.0, multiplying the quantity
                                                 corresponding preset budgets finalized                  unrestricted banking of allowances has                of banked allowances held in each
                                                 in this rule. The rationale for these                   a potentially significant disadvantage                account by the ratio to identify the
                                                 changes is discussed later in this section              offsetting its advantages, namely that it             appropriate recalibrated amount for the
                                                 as part of the responses to the relevant                allows what might otherwise be                        account (rounded to the nearest
                                                 comments. Details of the final budget-                  temporary surpluses of allowances in                  allowance), and deducting any
                                                 setting methodology and responses to                    some individual control periods to                    allowances in the account exceeding the
                                                 additional comments are discussed                       accumulate into a long-term allowance                 recalibrated amount.
                                                 further in section VI.B.4 of this                       surplus that reduces allowance prices                    As noted previously, recalibration of
                                                 document.                                               and weakens the trading program’s
                                                                                                                                    program's                  the bank for each control period will be
                                                    The final rule's
                                                               rule’s provisions relating to             incentives to control emissions. With                 carried out in August of that control
                                                 the determination of state-level                        weakened incentives, some operators                   period. This timing will accommodate
                                                 variability limits and assurance levels                 would be more likely to choose not to                 the process of deducting allowances for
                                                 and unit-level allowance allocations are                continuously operate and optimize their               compliance for the previous control
                                                 coordinated with the budget-setting                     emissions controls, imperiling the                    period, which cannot be completed
                                                 methodology. These provisions                           ongoing achievement of emissions rate                         sources’ June 1 compliance
                                                                                                                                                               before sources'
                                                 generally follow the proposal except                    performance consistent with the control               deadline for the previous control period,
                                                 that the change to the methodology for                                                                        and will then provide approximately
                                                 determining variability limits is                          295 The advantages of trading programs discussed
                                                                                                            295                                                two additional months for sources to
                                                 implemented starting with the 2023                      earlier in this section—providing continuous          engage in any desired allowance
                                                                                                         emissions reduction incentives, facilitating          transactions before recalibration occurs.
                                                 control period instead of the 2025                      compliance cost minimization, and supporting
                                                 control period and the final                            operational flexibility—depend on the existence of    However, data that can be used to
                                                 methodology for determining unit-level                  a marketplace for purchasing and selling              estimate the bank recalibration ratio for
                                                 allocations of allowances to coal-fired                 allowances. Broader marketplaces generally provide    each control period will be available
                                                                                                         greater market liquidity and therefore make trading   shortly after the end of the previous
                                                 units considers the controlled emissions                programs better at providing these advantages. The
                                                 rate assumptions applicable to the same                 EPA recognizes that unrestricted use of net           control period, and the EPA will use
                                                 units in the budget-setting process.                    purchased allowances—meaning quantities of            these data to make information on the
                                                 Details of these provisions, including                  purchased allowances that exceed the quantities of    estimated bank recalibration ratio for
                                                                                                         allowances sold—by a source or group of sources       each control period publicly available
                                                 the rationales for the changes from                     as an alternative to making emissions reductions
                                                 proposal, are discussed in sections                     can interfere with the achievement of the desired     no later than March 1 of the year of that
                                                 VI.B.5 and VI.B.9, respectively.                        environmental outcome. Therefore, section VI.B.1.c    control period, thereby facilitating the
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                         of this document discusses the enhancements to the    ability of affected EGUs to anticipate
                                                 ii. Allowance Bank Recalibration                        Group 3 trading program that the EPA is making in
                                                                                                                                                               their ultimate holdings of recalibrated
                                                                                                         this rulemaking to reduce reliance on net purchased
                                                    Besides the levels of the emissions                  allowances by incentivizing or requiring better       banked allowances to inform their
                                                 budgets, the second design element of                   environmental performance at individual EGUs.         compliance planning for that control
                                                 the trading program structure that                      However, the concern arises from the use of an        season. Affected EGUs will also have
                                                                                                         excessive quantity
                                                                                                                    quantity of net purchased allowances for
                                                 affects the supply of allowances in each                a particular purpose, not from the existence of a
                                                                                                                                                               several months following the completed
                                                 control period, and that consequently                   marketplace where allowances may be freely            bank recalibration in August to transact
                                                 also affects the ability of a trading                   bought and sold.                                      allowances with other parties as needed


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00114   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 153 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                     36767
                                                                                                                                                                                             36767

                                                 before the allowance transfer deadline                  concentrations downwind on the
                                                                                                                                    each day of the control period, any
                                                 of June 1 of the following year.                        particular days that matter for             unit’s reported emissions
                                                                                                                                    excess of the unit's
                                                    The EPA believes this revision to the                downwind exceedances of the relevant
                                                                                                                                    (in pounds) over the emissions that
                                                 Group 3 trading program’s
                                                                    program's banking                    air quality standard.      would have resulted from combusting
                                                 provisions establishing an annual bank                     This EPA intends that the trading
                                                                                                                                    that day’s
                                                                                                                                          day's actual heat input at an
                                                 recalibration process will complement                   program enhancements described in
                                                                                                                                    average daily emissions rate of 0.14 lb/
                                                 the revisions to the budget-setting                     section VI.B.1.b of this rule will
                                                                                                                                    mmBtu, summing the daily amounts,
                                                 process by preventing any surplus of                    improve the Group 3 trading program’s
                                                                                                                                        program's
                                                                                                                                    converting from pounds to tons,
                                                 allowances created in one control                       ability to sustain emissions control
                                                                                                                                    computing the amount of any excess
                                                 period from diminishing the intended                    incentives over time such that needed
                                                                                                                                    over 50 tons, and multiplying by two.
                                                 stringency and resulting emissions                      emissions performance will be achieved
                                                                                                                                    Starting with the second control period
                                                 reductions of the emissions budgets for                 by all participating units without the
                                                                                                                                    in which newly installed SCR controls
                                                 subsequent control periods.                             need for additional requirements to be
                                                                                                                                    are operational, but not later than the
                                                    The calibration procedure will not                   imposed at the level of individual units.
                                                                                                                                    2030 control period, the 3-for-1
                                                 erase the value of unused allowances for                However, because obtaining needed
                                                                                                                                    surrender ratio will apply in the same
                                                 the holder, because the larger the                      emissions performance at individual
                                                                                                                                    way to all large coal-fired EGUs except
                                                 quantity of banked allowances that is                   units is also important to the
                                                                                                                                    circulating fluidized bed units,
                                                 held in a given account before each                     elimination of significant contribution        EPA’s determination
                                                                                                                                    consistent with EPA's
                                                 recalibration, the larger the quantity of               in keeping with the EPA's
                                                                                                                              EPA’s Step 3
                                                                                                                                    that a control stringency reflecting
                                                 banked allowances that will be left in                  determinations, the EPA is installation and operation of SCR
                                                 the account after the recalibration for                 supplementing the previously discussed
                                                                                                                                    controls on all such large coal-fired
                                                 possible sale or use in meeting future                  enhancements with two other new sets
                                                                                                                                    EGUs is appropriate to address states' states’
                                                 compliance requirements. Because the                    of provisions that will apply to certain
                                                                                                                                    good neighbor obligations with respect
                                                 banked allowances will always have                      individual units within the larger
                                                                                                                                    to the 2015 ozone NAAQS.
                                                 value, the opportunity to bank                          context of the Group 3 trading program.
                                                                                                                                       In prior rules addressing interstate
                                                 allowances will continue to advance the                 The allowance price will continue to be
                                                                                                                                    transport of air pollution, stakeholders
                                                 purposes served by otherwise                            the most important driver of good
                                                                                                                                    have noted that while seasonal cap-and-
                                                 unrestricted banking as described                       environmental performance for most
                                                                                                                                    trade programs are effective at lowering
                                                 previously. Opportunities to bank                       units, but the proposed unit-level
                                                                                                                                    ozone and ozone-forming precursors
                                                 unused allowances can serve all these                                              across the ozone season, attainment of
                                                                                                         requirements will be important
                                                 same purposes whether a banked                          supplemental drivers of performance
                                                                                                                                    the standard is measured on key days
                                                 allowance is of partial value (if the bank                                         and therefore it is necessary to ensure
                                                                                                         and will offer additional assurance that
                                                 needs recalibrating to its target level) or             significant contribution is eliminated on
                                                                                                                                    that the rule requires emissions
                                                 is of full value compared to a newly                    a daily basis during the ozone season by
                                                                                                                                    reductions not just seasonally, but also
                                                 issued allowance for the next control                   more continuous operation of existing
                                                                                                                                    on those key days.      296 They have noted
                                                                                                                                                     days.296
                                                 period.                                                 pollution controls.        that while the trading programs
                                                    The final rule's
                                                               rule’s provisions relating to                                        established under the NOx   NOX SIP Call,
                                                 bank recalibration generally follow the  i. Unit-Specific Backstop Daily
                                                                                          Emissions Rates                           CAIR,    and   CSAPR    have  all been
                                                 proposal except that, in response to                                               successful in ensuring seasonal
                                                 comments, the target percentage used to     The first of the trading program       reductions, states must remain below
                                                 determine the recalibrated bank levels   enhancements intended to improve          daily peak levels, not just seasonal
                                                 for the 2024–2029
                                                         2024-2029 control periods is     emissions performance at the level of     levels, to reach attainment. These
                                                 being set at 21 percent instead of 10.5  individual units is the addition of       downwind stakeholder communities
                                                 percent. The rationale for this change isbackstop daily NOxNOX emissions rate      have suggested that operating pollution
                                                                                          provisions that will apply to large coal-
                                                 discussed later in this section as part of                                         controls on the highest ozone days (and
                                                 the responses to the relevant comments.  fired EGUs, defined for this purpose as   immediately preceding days) during the
                                                 Details of the bank recalibration        units serving electricity generators with ozone season is of critical importance.
                                                 provisions are discussed further in      nameplate capacities equal to or greater The EPA has analyzed hourly emissions
                                                 section VI.B.6 of this rule.             than 100 MW and combusting any coal       data reported in prior cap-and-trade
                                                                                          during the control period in question.    programs and has identified instances of
                                                 c. Enhancements To Improve Emissions Starting with the 2024 control period, a
                                                 Performance at Individual Units                                                    sources that did not operate SCR
                                                                                          3-for-1 allowance surrender ratio         controls for substantial portions of
                                                    The second set of concerns about the  (instead of the usual 1-for-1 surrender   recent ozone seasons. These instances
                                                 structure of the current CSAPR trading   ratio) will apply to emissions during the are discussed in section V.B.1.a of this
                                                 programs relates to the general absence  ozone season from any large coal-fired    document and in the EGU NOx      NOX
                                                 of source- or unit-specific emissions    EGU with existing SCR controls            Mitigation Strategies Final Rule TSD in
                                                 reduction requirements. Without such     exceeding by more than 50 tons a daily
                                                                                                                                    the docket. While the EPA has in prior
                                                 requirements, the programs affect                 NOX emissions rate of 0.14 lb/
                                                                                          average NOx                               ozone transport actions not found
                                                             sources’ emissions
                                                 individual sources'                      mmBtu. The additional allowance           sufficient evidence of emissions control
                                                 performance only to the extent that the  surrender requirement will be integrated idling or non-optimization to take the
                                                 incentives created by allowance prices   into the trading program as a new
                                                                                                                                    step of building in enhancements to the
                                                 are high enough relative to the costs of
ddrumheller on DSK120RN23PROD with RULES2




                                                                                          component in the calculation of each      trading program to ensure unit-level
                                                     sources’ various emissions control
                                                 the sources'                             unit’s primary emissions limitation,
                                                                                          unit's                                    control operation, our review of
                                                 opportunities. In circumstances where    such that the additional allowances will subsequent-year data for prior programs
                                                 the incentives to control emissions are  have to be surrendered by the same        suggests that the non-optimization
                                                 insufficient, some individual sources    compliance deadline of June 1 after each
                                                 even idle existing emissions controls.   control period. The amount of               296 E.g., comments of Maryland Department of the
                                                                                                                                      296
                                                 Emissions from these individual sources additional allowances to be surrendered Environment on the proposed Revised CSAPR
                                                 can contribute to increased pollution    will be determined by computing, for      Update at 3, EPA—HQ—OAR-2020-0272-0094.
                                                                                                                                                  EPA–HQ–OAR–2020–0272–0094.



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00115   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 154 of 430
                                                 36768
                                                 36768                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 behavior increases in the latter years of                  We considered whether, as some                      higher NOx
                                                                                                                                                                        NOX allowance prices.
                                                 a program. Applied to this context (e.g.,               commenters suggested, it would be                      Downwind stakeholders have noted that
                                                 a rule providing a full remedy to                       appropriate to simply implement unit-                  some of the higher emissions rates
                                                 interstate transport for the more                       specific daily emissions limitation at all             (specifically in the case of Conemaugh
                                                 protective 2015 ozone NAAQS and an                      of the large, coal-fired EGUs, and forego              Unit 2 in 2019) have occurred on the
                                                 extended period of expected persistence                 an emissions trading approach                          day of and the preceding day of an
                                                 of receptors), this data suggests this                  altogether. While this is within the                   ozone exceedance in bordering states.299
                                                                                                                                                                                                  states.299
                                                 deterioration in performance could                      EPA’s statutory authority, see CAA
                                                                                                         EPA's                                                     The EPA believes that the design of
                                                 become prevalent and problematic in                     section 110(a)(2)(A) and 3 302(y),
                                                                                                                                     0 2(y), and                the daily emissions rate provisions will
                                                 future years if not addressed. Rather                   merits careful consideration, we are                   be effective in addressing these types of
                                                 than allow for the potential of continued               declining to do so in this action but                  high-emitting behavior by significantly
                                                 deterioration in the environmental                      intend to closely monitor EGU                          raising the cost of planned operator
                                                 performance of our trading programs,                    emissions performance in response to                   decisions that substantially compromise
                                                 the EPA finds the evidence of declining                 the trading program finalized here. The                environmental performance. At the
                                                 SCR performance in later years of                       purpose of establishing a backstop daily               same time, the provision will not
                                                 trading programs sufficient to justify                  NOX emissions rate and implementing it
                                                                                                         NOx                                                    unduly penalize an occasional
                                                 prophylactic measures in this rule to                   through additional allowance surrender                 unplanned exceedance, because the
                                                 ensure the emissions control strategy                   requirements instead of as an                          amount of additional allowances that
                                                 selected at Step 3 is indeed                            enforceable emissions limitation is to                 would have to be surrendered to address
                                                 implemented at Step 4. Thus,                            incentivize improved emissions                         a single day’s
                                                                                                                                                                         day's exceedance would be
                                                 particularly in the context of the more                 performance at the individual unit level               much smaller than the amount that
                                                 protective 2015 ozone NAAQS                             while continuing to preserve, to the                   would have to be surrendered to address
                                                 combined with the full remedy nature of                 extent possible, the advantages that the               planned poor performance sustained
                                                 this action and the extended timeframe                  flexibility of a trading program brings to             over longer time periods. Moreover, the
                                                 for which upwind contribution to                        the electric power sector. As discussed                EPA believes that the inclusion of a 50-
                                                 downwind nonattainment is projected                     in section VI.B.7 of this document,                    ton threshold before the increased
                                                 to persist, the EPA agrees with these                               EPA’s historical trading
                                                                                                         under the EPA's                                        surrender requirements would apply is
                                                 stakeholders that the set of measures                   programs without the enhancements                      sufficient to address virtually all
                                                 promulgated in this rulemaking to                       made in this rulemaking, some                          instances where a unit's
                                                                                                                                                                                     unit’s emissions
                                                 implement the control stringency levels                 individual coal-fired units with SCR                   would exceed the 0.14 lb/mmBtu daily
                                                                               states’ good
                                                 found necessary to address states'                      controls have chosen to operate the                    rate because of unavoidable startup or
                                                 neighbor obligations should include                     controls at lower removal efficiencies                 shutdown conditions during which SCR
                                                 measures designed to more effectively                   than in past ozone seasons or even to                  equipment cannot be operated, thereby
                                                 ensure that individual units operate                    idle the controls for entire ozone                     ensuring that the provision will not
                                                 their emissions controls routinely                      seasons. In addition, some SCR-                        penalize units for emissions that are
                                                 throughout the ozone season, thereby                    equipped units have chosen to routinely                beyond their reasonable control.
                                                 also ensuring that the controls are                                                                               The EPA is applying the daily
                                                                                                         cycle their emissions controls off at
                                                 planned to be in operation on the                                                                              emissions rate provisions to large coal-
                                                                                                         lower load levels, such as while
                                                 particular days that turn out to be most                                                                       fired EGUs, and not to other types of
                                                                                                         operating overnight, instead of operating              units, for reasons that are consistent
                                                 critical for ozone formation and for                    the controls, upgrading the units to
                                                 attainment of the NAAQS. Routine                                                                                     EPA’s determinations regarding the
                                                                                                                                                                with EPA's
                                                                                                         enable the controls to be operated under
                                                 operation of emissions controls will also                                                                      appropriate control stringency for EGUs
                                                                                                         those conditions, or not operating the                             states’ good neighbor
                                                                                                                                                                to address states'
                                                 provide relief to overburdened                          units under those conditions.
                                                 communities downwind of any units                                                                              obligations with respect to the 2015
                                                                                                         Collectively, this non-optimization of                 ozone NAAQS. Installation and
                                                 that might otherwise have chosen not to                 existing controls has a detrimental
                                                 operate their controls. In the Ozone                                                                           operation of SCR controls is well-
                                                                                                         impact on problematic receptors. Table                 established as a common practice for the
                                                 Transport Policy Analysis Final Rule                    V.D.1–1 shows the expected air quality
                                                                                                         V.D.1-1
                                                 TSD, the EPA conducted a screening                                                                             best control of NOx
                                                                                                                                                                                 NOX emissions from
                                                                                                         benefit from control optimization                      coal-fired EGUs, as evidenced by the
                                                 analysis that found nearly all of the                   (totaling nearly 1.6 ppb change across
                                                 EGUs included in this analysis are                                                                             fact that the technology is already
                                                                                                             receptors).298
                                                                                                         all receptors).298                                     installed on more than 60 percent of the
                                                 located within a 24-hour transport                         The EPA has identified sources of
                                                 distance of many areas with potential EJ                                                                       sector’s total coal-fired capacity and
                                                                                                                                                                sector's
                                                                                                         interstate ozone pollution such as the                 installed on nearly 100 percent of the
                                                 concerns. Thus, the EPA is adopting                     New Madrid and Conemaugh plants (in
                                                 backstop daily rate limits at the                                                                              coal fired boilers in the top quartile of
                                                                                                         Missouri and Pennsylvania,                             emissions rate performance. In the
                                                 individual unit level because it is                     respectively) whose SCR controls were
                                                 appropriate and justified in the context                                                                       context of addressing good neighbor
                                                                                                         not operating for substantial portions of              obligations with respect to the 2015
                                                 of eliminating significant contribution                 recent ozone seasons. The data included
                                                 under CAA section 110(a)(2)(D)(i)(I).                                                                          ozone NAAQS, the EPA is determining
                                                                                                         in Appendix G of the Ozone Transport                   that a control stringency reflecting
                                                 While the former justification is                       Policy Analysis Final Rule TSD,
                                                 sufficient to finalize this enhancement                                                                        universal installation and operation of
                                                                                                         available in the docket for this                       SCR technology at large coal-fired EGUs
                                                 to the trading program, we also                         rulemaking, demonstrate that these
ddrumheller on DSK120RN23PROD with RULES2




                                                 anticipate that this measure will deliver                                                                      (other than circulating fluidized bed
                                                                                                         units have operated their SCRs better                  units) is appropriate at Step 3. Finally,
                                                 public health and environmental                         and more consistently during years with
                                                 benefits to overburdened communities                                                                           where SCR controls are installed on
                                                 (as well as the rest of the population). 297
                                                                             population).297                                                                    such units, optimized operation of those
                                                                                                         persist even under this final rule. See section VII    controls is an extremely cost-effective
                                                                                                         of this document.
                                                   297 Nonetheless, the environmental justice
                                                   297                                                     298 As illustrated in the table and underlying data,
                                                                                                           298                                                  method of achieving NOx NOX emissions
                                                 exposure analysis indicates that preexisting            a small portion of this ppb impact is attributable to
                                                 disparities among demographic groups are likely to      combustion control upgrade potential.                   299 EPA–HQ–OAR–2020–0272–0094.
                                                                                                                                                                 299EPA—HQ-OAR-2020-0272-0094.



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00116   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 155 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                           36769
                                                                                                                                                                                                   36769

                                                 reductions. The EPA believes these                      will be held to increased allowance-                   controls. This lag is permissible
                                                 considerations support establishment of                 surrender consequences for exceeding                   consistent with the obligation to
                                                 the daily emissions rate provisions on a                the daily rate. Second, it provides the                eliminate significant contribution for
                                                 universal basis for large coal-fired EGUs,              subset of units that exhaust to common                 reasons that are further discussed in
                                                 with near-term application of the                       stacks with other units that currently                 response to comments in section
                                                 provisions for units that already have                  lack SCR controls an opportunity to                    VI.B.1.d of this document. However, for
                                                 the controls installed and deferred                     exercise the option to install and certify             any units that choose a compliance
                                                 application for other units, as discussed               any additional monitoring systems                      strategy of installing new SCR controls
                                                 later.                                                                                      units’
                                                                                                         needed to monitor the individual units'                before 2030, the daily average emissions
                                                    With regard to gas-fired steam EGUs,                 NOX emissions rates separately;
                                                                                                         NOx                                                    rate provisions would apply in the
                                                 SCR controls are nowhere near as                        otherwise, the daily emissions rate                    second control period of operation.
                                                 prevalent, and while the EPA is                         provisions will apply to the SCR-                      Specification of the second control
                                                 including some SCR controls at gas-fired                equipped units based on the combined                   period rather than the first control
                                                 steam units in the selected control                     NOX emissions rates measured in the
                                                                                                         NOx                                                    period provides the unit operators with
                                                 stringency at Step 3, the EPA is not                    common stacks. Third, it provides all                  an opportunity to gain operational
                                                 including universal SCR controls at gas-                units sufficient time to update the data               experience with the new equipment
                                                 fired steam units. Because the EPA is                   handling software in their existing                    before the units will be held to
                                                 not determining that universal                          monitoring systems as needed to                        increased allowance-surrender
                                                 installation and operation of SCR                       compute and report the additional                      consequences for exceeding the daily
                                                 controls at gas-fired steam EGUs is part                hourly and daily data values needed for                rate.
                                                 of the selected control stringency, in                  implementation of the provisions.300300                   The unit-specific daily emissions rate
                                                 order not to constrain the power sector's
                                                                                     sector’s               With respect to the units without                   provisions are being finalized as
                                                 flexibility to choose which particular                  existing SCR controls, the daily average               proposed except for two changes noted
                                                 gas-fired steam EGUs are the preferred                  emissions rate provisions will apply                   in the previous summary: the exclusion
                                                 candidates for achieving the required                   starting with the second control period                from extra allowance surrender
                                                 emissions reductions, the EPA is not                    in which newly installed SCR controls                                      unit’s first 50 tons of
                                                                                                                                                                requirements of a unit's
                                                 applying the daily emissions rate                       are operational at the unit, but not later             emissions in a control period exceeding
                                                 provisions to large gas-fired steam                     than the 2030 control period. This                     the backstop daily rate, and the revision
                                                 EGUs. Focusing the backstop daily                       implementation timing represents a                     of the starting date for implementation
                                                 emissions rates on coal-fired units is                  change from the proposal, under which                  of the requirement for units without
                                                 also consistent with stakeholder input                  the daily average emissions rate                       existing SCR controls to 2030 or the
                                                 which has emphasized the need for                       provisions would have applied to units                 second control period of SCR operation,
                                                 short-term rate limits at coal units given              without existing SCR starting in the                   if earlier. The rationale for these
                                                 their relatively higher emissions rates.                2027 control period. Commenters noted                  changes is further discussed in the
                                                    The EPA developed the level of the                   that for many units without SCR,                       responses to comments later in this
                                                 daily average NOx
                                                                 NOX emissions rate-0.14
                                                                                 rate—0.14               replacement of the unit within a few                   section. Additional details of the unit-
                                                 lb/mmBtu—through analysis of                            years, and shifting of some generation to              specific daily emissions rate provisions
                                                 historical data, as described in section                cleaner units in the interim, would be                 are discussed in section VI.B.7 of this
                                                 VI.B.7 of this document. A rate of 0.14                 a more economic compliance strategy                    document.
                                                 lb/mmBtu represents the daily average                   than installation of new SCR controls.
                                                 NOX emissions rate that has been
                                                 NOx                                                                                                            ii. Unit-Specific Emissions Limitations
                                                                                                         The commenters further noted that
                                                 demonstrated to be achievable on                                                                               Contingent on Assurance Level
                                                                                                         implementation of the daily average
                                                 approximately 95 percent of days                                                                               Exceedances
                                                                                                         emissions rate for these units starting in
                                                 covering more than 99 percent of total                  2027 would strongly disadvantage such                     The second of the trading program
                                                 ozone-season NOxNOX emissions by coal-                  an alternative strategy if the capacity                enhancements intended to improve
                                                 fired units with SCR controls that are                  replacement and any associated                         emissions performance at the level of
                                                                        NOX average
                                                 achieving a seasonal NOx                                transmission improvements could not                    individual units is the addition of unit-
                                                 emissions rate of 0.08 lb/minBtu
                                                                         lb/mmBtu (or                    be implemented by 2027. In light of                    specific secondary emissions limitations
                                                 less), which is the seasonal NOx
                                                                               NOX                       these comments, the EPA has                            for units with post-combustion controls
                                                 emissions rate that the EPA has                         determined that as long as the emissions               starting with the 2024 control period.
                                                 determined is indicative of optimized                   budgets determined in this rule to                     The secondary emissions limitations
                                                 SCR performance by units with existing                  eliminate significant contribution are                 will be determined on a unit-specific
                                                 SCR controls.                                           still being implemented as                             basis according to each unit's
                                                                                                                                                                                         unit’s individual
                                                    As noted previously, the daily average               expeditiously as practicable—which in                  performance but will apply to a given
                                                 emissions rate provisions will apply                    this instance the EPA has determined                   unit only under the circumstance where
                                                 beginning in the 2024 control period for                requires phasing in the required                         state’s assurance level for a control
                                                                                                                                                                a state's
                                                 large coal-fired units with installed SCR               emissions reductions by 2027—it is                     period has been exceeded, the unit is
                                                 controls, one control period later than                 reasonable to defer implementation of                  included in a group of units to which
                                                 optimization of those controls will be                  the daily average emissions rate                       responsibility for the exceedance has
                                                 reflected in the state emissions budgets                provisions to 2030 for units without                   been apportioned under the program’s
                                                                                                                                                                                               program's
                                                 under this rule. For these units, not                   SCR to allow temporarily greater                       assurance provisions, and the unit
                                                                                                                                                                operated during at least 10 percent of
ddrumheller on DSK120RN23PROD with RULES2




                                                 applying the daily average rate                         flexibility to pursue compliance
                                                 provisions until 2024 serves three                      strategies other than installation of new              the hours in the control period. Where
                                                 purposes. First, it provides all the units                                                                     these conditions for application of a
                                                 with a preparatory interval to focus                      300 For further discussion of emissions monitoring
                                                                                                           300                                                  secondary emissions limitation to a
                                                 attention on improving not only the                     and reporting requirements under the rule,             given unit for a given control period are
                                                                                                         including the options available to plants where
                                                 average performance of their SCR                        SCR-equipped and non-SCR-equipped coal-fired
                                                                                                                                                                          unit’s secondary emissions
                                                                                                                                                                met, the unit's
                                                 controls but also the day-to-day                        units exhaust to common stacks, see section VI.B.10    limitation consists of a prohibition on
                                                 consistency of performance before they                  of this document.                                      NOX emissions during the control
                                                                                                                                                                NOx


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00117   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 156 of 430
                                                 36770
                                                 36770                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 period that exceed by more than 50 tons                              owner’s or operator's
                                                                                                         individual owner's                     this rule through expansion and
                                                                                                                                   operator’s control,
                                                      NOX emissions that would have
                                                 the NOx                                                 not to allow owners and operators to   enhancement of the Group 3 trading
                                                 resulted if the unit had achieved an                    plan to emit at emissions rates that   program originally established in the
                                                 average emissions rate for the control                  could be anticipated to cause a state'sRevised CSAPR Update, particularly
                                                                                                                                             state’s
                                                 period equal to the higher of 0.10 lb/                  total emissions to exceed the state's  comments on electric system reliability.
                                                                                                                                           state’s
                                                 mmBtu or 125 percent of the unit's
                                                                                 unit’s                  emissions budget or assurance level.   Responses to comments about
                                                 lowest average emissions rate for any                                                          individual aspects of the enhanced
                                                                                                         Conduct leading to a foreseeable, readily
                                                 previous control period under any                       avoidable exceedance of a state's
                                                                                                                                        state’s trading program are addressed in the
                                                 CSAPR seasonal NOx NOX trading program                  assurance level cannot be reconciled   respective subsections of this section in
                                                 during which the unit operated for at                   with the statutory mandate of the CAA'swhich those aspects are discussed.
                                                                                                                                                CAA’s
                                                 least 10 percent of the hours.                          good neighbor provision that emissions Responses to comments concerning
                                                    The secondary emissions limitation is                ‘‘within the state"
                                                                                                         "within       state’’ significantly    alleged overcontrol and the EPA's
                                                                                                                                                                              EPA’s legal
                                                 in addition to, not in lieu of, the                                       nonattainment or
                                                                                                         contributing to nonattainrnent         authority are in sections V.D. and III.
                                                 primary emissions limitation applicable                 interfering with maintenance of a      Comments not addressed in this
                                                 to each source, which continues to take                 NAAQS in another state must be         document are addressed in the separate
                                                 the form of a requirement to surrender                  prohibited. Because the current CSAPR  RTC document available in the docket
                                                                                                                                                RTC
                                                 a quantity of allowances based on the                   regulations do not expressly prohibit  for this action.
                                                 source’s emissions, and also in addition
                                                 source's                                                such conduct and have proven              Comment:
                                                                                                                                                   Comment: Some commenters,
                                                 to the existing assurance provisions,                   insufficient to deter it in some       including EGU owners, states, and
                                                 which similarly continue to take the                                                           several RTOs, expressed concern that
                                                                                                         circumstances, the EPA is correcting the
                                                 form of a requirement for the owners                    regulatory deficiency in the Group 3   the requirements for EGUs as
                                                 and operators of some sources to                        trading program by adding secondary    formulated in the proposal could lead to
                                                 surrender additional allowances when a                  emissions limitations that cannot be   a degradation in the reliability of the
                                                 state’s assurance level is exceeded. In
                                                 state's                                                 complied with through the use of       electric system. As background, some of
                                                 contrast to these other requirements, the               allowances.                            these commenters noted that the power
                                                 unit-specific secondary emissions                          The EPA notes that although the     sector is currently undergoing rapid
                                                 limitation takes the form of a                          purpose of the secondary emissions     change, with older and less economic
                                                 prohibition on emissions over a                         limitations is to strengthen the       fossil-fuel-fired steam generating units
                                                 specified level, such that any emissions                assurance provisions, which apply on a retiring while the majority of the new
                                                 by a unit exceeding its secondary                       statewide, seasonal basis, the unit-   capacity being added consists of wind
                                                 emissions limitation would be subject to                specific structure of the new limitations
                                                                                                                                                and solar capacity. They noted that
                                                 potential administrative or judicial                    will strengthen the incentives for     fossil-fuel-fired generating capacity
                                                 action and subject to penalties and other               individual units with post-combustion  provides reliability benefits not
                                                 forms of relief under the CAA's
                                                                             CAA’s                       controls to maintain their emissions   necessarily provided by other types of
                                                 enforcement authorities. The reason for                 performance at levels consistent with  generating capacity, including not only
                                                 establishing this form of limitation is                 their previously demonstrated          the ability to generate electricity in the
                                                 that experience under the existing                      capabilities. The new limitations will absence of wind or sunlight, but also
                                                 CSAPR trading programs has shown                                                               inertia, ramping capability, voltage
                                                                                                         strengthen the incentives to operate and
                                                 that, in some circumstances, the existing               optimize the controls continuously,    support, and frequency response.
                                                 assurance provisions have been                          which can be expected to reduce some   Commenters stated that past EGU
                                                 insufficient to prevent exceedances of a                             units’ emissions rates
                                                                                                         individual units'                      retirements and the pace of change in
                                                 state’s assurance level for a control
                                                 state's                                                 throughout the ozone season, including the generating capacity mix have
                                                 period even when the likelihood of an                   on the days that turn out to be most   already been stressing the electric
                                                 exceedance has been foreseeable and the                 critical for downwind ozone levels.    system in some regions, and that the
                                                 exceedance could have been readily                      Better emissions performance on        forecasted risk of events where the
                                                 avoided if certain units had operated                   average across the ozone season by     electric system would be unable to fully
                                                 with emissions rates closer to the lower                individual units likely will also help meet load is rising.
                                                 emissions rates achieved in past control                address impacts of pollution on           For purposes of their comments, these
                                                 periods. The assurance levels exist to                  overburdened communities downwind      commenters generally assumed that the
                                                 ensure that emissions from each state                   from some such units. See Ozone        rule would lead to additional
                                                 that contribute significantly to                        Transport Policy Analysis Final Rule   retirements of fossil-fuel-fired
                                                 nonattainment
                                                 nonattainrnent or interfere with                        TSD, Section E.                        generating capacity beyond the
                                                 maintenance of a NAAQS in another                                                              retirements that EGU owners have
                                                                                                            The unit-specific secondary emissions
                                                 state are prohibited. North Carolina v.                 limitations are being finalized as     already planned and announced. Some
                                                 EPA, 531 F.3d 896, 906–08
                                                                       906-08 (D.C. Cir.                 proposed except that the limitations   of the commenters also suggested that
                                                 2008). The EPA's
                                                              EPA’s programs to eliminate                will apply only to units with post-    remaining fossil-fuel-fired generators
                                                 significant contribution must therefore                 combustion controls. The rationale for would be unwilling to operate when
                                                 achieve this prohibition, and the                       this change, and additional details    needed because allowances might be
                                                 evidence of foreseeable and avoidable                   regarding the provisions, are discussedunavailable for purchase or too costly.
                                                 exceedances of the assurance levels                     in section VI.B.8 of this document.    In the context of an already-stressed
                                                 demonstrates that EPA's
                                                                     EPA’s existing                                                             electric system, the commenters
                                                                                                         d. Responses to General Comments on
ddrumheller on DSK120RN23PROD with RULES2




                                                 approach has not been sufficient to                                                            predicted that these assumed
                                                                                                         the Revisions to the Group 3 Trading   consequences of the rule would threaten
                                                 accomplish this.
                                                    The purpose of including assurance                   Program                                resource adequacy and result in
                                                 levels higher than the state emissions                    This section summarizes and provides degraded electric reliability. To support
                                                 budgets in the CSAPR trading programs                       EPA’s responses to overarching
                                                                                                         the EPA's                              their assumptions concerning additional
                                                 is to provide flexibility to accommodate                                          EPA’s
                                                                                                         comments received on the EPA's         retirements, some of the commenters
                                                 operational variability attributable to                 proposal to implement the emissions    pointed to projections of incremental
                                                 factors that are largely outside of an                  reductions required from EGUs under    generating capacity retirements


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00118   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 157 of 430
                                                                      Federal Register / Vol. 88, No. 107/Monday,
                                                                                                      107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules                                                             36771
                                                                                                                                                                                                   36771

                                                 included in the results of modeling                     entities with responsibilities relating to            reliable electric service. Assumptions of
                                                 performed by the EPA to analyze the                     electric system reliability and to                    this nature are simply not reasonable.
                                                 costs and benefits of the proposed rule.                perform additional analysis. Some                     Like many commenters, the EPA does
                                                 Some commenters indicated that they                     commenters advocated for renewed                      expect that retirement will be viewed as
                                                 expected EGU owners to be interested in                 consultations and analysis before each                a more economic compliance strategy
                                                 retiring and replacing uncontrolled                     planned adjustment to emissions                       for some EGUs than installing new
                                                 units as of the date of implementation                  budgets under the dynamic budget-                     controls, but the Agency also expects
                                                 of the backstop daily rate requirement                  setting process. Commenters cited the                 that any resulting unit retirements will
                                                 on uncontrolled units, and expressed                    consultation processes followed during                be carried out through an orderly
                                                 concern that the proposal to implement                  implementation of other EPA rules,                    process in which RTOs, balancing
                                                 that requirement as of the 2027 control                 such as the Mercury and Air Toxics                    authorities, and state regulators use
                                                 period did not allow sufficient time for                Standards (MATS) (77 FR 9304, Feb. 16,                their powers to ensure that electric
                                                 planning and implementation of all the                  2012).                                                system reliability is protected. The
                                                 necessary generation and transmission                      Response: The EPA disagrees with the
                                                                                                            Response:                                          trading program inherently provides
                                                 investments to make this a viable                       comments asserting that this rule would               ample flexibility to allow such an
                                                 compliance strategy; for these                          threaten resource adequacy or otherwise               orderly transition to take place. In
                                                 commenters, 2027 and the immediately                    degrade electric system reliability. The              addition, as discussed later in this
                                                 following years were the period of                      emissions reduction requirements for                  section, the EPA has adopted several
                                                 greatest concern. Some commenters                       EGUs under this rule are being                        changes in the final rule to increase
                                                 appear simply to have assumed that                      implemented through the mechanism of                  flexibility specifically for the early years
                                                 owners of units not already equipped                    an allowance trading program. Under                   of the trading program for which
                                                 with SCR controls would choose to                       the trading program, no EGU is required               commenters have indicated the greatest
                                                 retire the units as of the ozone season                 to cease operation. The core trading                  concerns about electric system
                                                 in which the units would otherwise                      program requirements for a participating              reliability.
                                                 become subject to the backstop daily                                                          unit’s
                                                                                                         EGU are to monitor and report the unit's                 As an initial matter, the EPA notes
                                                 emissions rate provisions, regardless of                NOX emissions for each ozone season
                                                                                                         NOx                                                   two fundamental aspects of this
                                                 whether replacement investments had                     period and to surrender a quantity of                 rulemaking which together provide a
                                                 been completed.                                         allowances after the end of the ozone                 strong foundation for the Agency's
                                                                                                                                                                                           Agency’s
                                                   Some of the commenters raising
                                                                                                         season based on the reported emissions.               conclusion that the emissions
                                                 concerns about electric system
                                                                                                         To address states'
                                                                                                                      states’ obligations under the            reductions required from EGUs can be
                                                 reliability suggested potential
                                                 modifications to the proposed rule that                 good neighbor provision, some units of                achieved with no adverse impacts on
                                                 the commenters believed could help                      course will have to take some type of                 electric system reliability. First, there is
                                                 address their concerns. The suggestions                 action to reduce emissions, the actions               ample evidence indicating that the
                                                 included various mechanisms for                         taken to reduce emissions will generally              required emissions reductions are
                                                 suspending some or all of the trading                   have costs, and some EGU owners will                  feasible. As discussed in section V of
                                                 program’s
                                                 program's requirements for certain                      conclude that, all else being equal,                  this document, the magnitude and
                                                 EGUs at times when an RTO or other                      retiring a particular EGU and replacing               timing of the EGU emissions reductions
                                                 entity responsible for overseeing a                     it with cleaner generating capacity is                required by this action reflect
                                                 region of the interconnected electrical                 likely to be a more economic option                   application of technologies that are
                                                 grid determines that generation from                    from the perspective of the unit's
                                                                                                                                       unit’s                  already in widespread use, on schedules
                                                 those EGUs is needed and the EGUs                       customers and/or owners than making                   that are supported by industry
                                                 might not otherwise agree to operate.                   substantial investments in new                        experience. Second, the required
                                                 Other suggestions focused on ways of                    emissions controls at the unit. However,              emissions reductions are being
                                                 providing EGUs with greater confidence                  the EPA also understands that before                  implemented through the mechanism of
                                                 that allowances would be available to                   implementing such a retirement                        a trading program. The enhanced
                                                 cover their incremental emissions                       decision, the unit's
                                                                                                                        unit’s owner will follow               trading program under this rule, like the
                                                 during particular events. A number of                   the processes put in place by the                     trading programs established by the EPA
                                                                                 ‘‘reliability
                                                 commenters used the term "reliability                   relevant RTO, balancing authority, or                 under prior rules, provides EGU owners
                                                         valve,’’ in some cases with
                                                 safety valve,"                                          state regulator to protect electric system            with opportunities to substitute
                                                 reference to the types of suggestions just              reliability. These processes typically                emissions reductions from sources
                                                 mentioned and in other cases without                    include analysis of the potential impacts             where achieving reductions is cheaper
                                                 details. Some commenters pointed to                     of the proposed EGU retirement on                     and easier for emissions reductions from
                                                     ‘‘safety valve"
                                                 the "safety  valve’’ provision included in              electrical system reliability,                        other sources where achieving
                                                 the Group 2 trading program regulations                 identification of options for mitigating              reductions is more costly or difficult. In
                                                 under the Revised CSAPR Update.                         any identified adverse impacts, and, in               general, an EGU owner has options to
                                                 Another commenter pointed to                            some cases, temporary provision of                    operate the emissions controls
                                                 provisions for a "reliability
                                                                    ‘‘reliability safety                 additional revenues to support the                    identified by the EPA for that type of
                                                 valve’’ included in the Clean Power
                                                 valve"                                                  EGU’s continued operation until longer-
                                                                                                         EGU's                                                 unit (including installation or upgrade
                                                 Plan (80 FR 64662, Oct. 23, 2015).                      term mitigation measures can be put in                of controls where necessary), operate
                                                   In addition to offering critiques and                 place. No commenter stated that this                  other types of emissions controls, or
                                                                                                                                                                          unit’s levels of operation to
ddrumheller on DSK120RN23PROD with RULES2




                                                 recommendations concerning the                          rule would somehow authorize any EGU                  adapt the unit's
                                                 proposed rule's
                                                            rule’s contents, some                        owner to unilaterally retire a unit                   produce less generation if the unit is a
                                                 commenters claimed that the EPA had                     without following these processes, yet                higher-emitting EGU or more generation
                                                 failed to conduct sufficient analysis of                some comments nevertheless assume                     if the unit is a lower-emitting EGU. The
                                                 the potential implications of the                       that is how multiple EGU owners would                 backstop daily emissions rate provisions
                                                 proposed rule on electrical system                      proceed, in violation of their obligations            in this rule reduce the degree of
                                                 reliability. These commenters called on                 to RTOs, balancing authorities, or state              available flexibility relative to the
                                                 the EPA to consult with RTOs and other                  regulators relating to the provision of               degree of flexibility in the Agency's
                                                                                                                                                                                             Agency’s


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00119   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 158 of 430
                                                 36772
                                                 36772                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 previous trading programs under CAIR                     would have had adverse reliability                   through approximately the 2029 control
                                                 and CSAPR but by no means eliminate                      impacts were proved to be groundless.                period.
                                                 it. Moreover, even the backstop rate                                                                             The RTOs also described a concern
                                                                                                             Notwithstanding the long experience
                                                 provisions are structured as                                                                                  about potentially illiquid allowance
                                                                                                                                          EPA’s
                                                                                                          confirming the ability of the EPA's
                                                 requirements to surrender additional                                                                          markets. They believed it was possible
                                                                                                          trading programs to obtain emissions
                                                 allowances rather than as hard limits,                                                                        that some EGUs might claim an inability
                                                                                                          reductions from EGUs without                         to operate at particular times when
                                                 providing a further element of flexibility                               sector’s ability to provide
                                                                                                          impairing the sector's                               needed unless they had confidence that
                                                 No EGU is required to retire or is                       reliable electric service, the Agency of
                                                 prohibited from operating at any time                                                                         they would be able obtain additional
                                                                                                          course does not rely here solely on its              allowances. The RTOs were particularly
                                                 under this rule. EGUs only need to
                                                                                                          experience, but has carefully reviewed               concerned that introduction of dynamic
                                                 surrender of the appropriate quantities
                                                                                                          the comments on this topic for any                   budgeting as proposed would create
                                                 of allowances after the end of the
                                                                  301                                     information that might indicate the                  uncertainty for some EGUs regarding the
                                                 control period.301
                                                    Further, in the large number of
                                                                                                          appropriateness of modifications to the              quantities of allowances they would
                                                 comments submitted in this rulemaking                    enhanced trading program as proposed.                have available for use, particularly given
                                                 that assert concerns over electric system                In recognition of the important role that            the potentially large year-to-year swings
                                                 reliability, no commenter has cited a                    RTOs play in ensuring electric system                if budgets were based on historical data
                                                 single instance where implementation                     reliability, and consistent with the                 from a single year. Some of the RTOs
                                                 of an EPA trading program has actually                   requests of some commenters, the EPA                 suggested potential solutions for these
                                                 caused an adverse reliability impact.                    has engaged in outreach to the RTOs                  issues, principally in the form of
                                                 Indeed, similar claims made in the                       that commented on the proposal to                    auctions or RTO-administered
                                                 context of the EPA's
                                                                 EPA’s prior trading                      better understand their comments                     allocations of allowances from pools of
                                                 program rulemakings have shown a                         specifically and the reliability-related             supplemental allowances, with access to
                                                 considerable gap between rhetoric and                    comments of other commenters more                    the supplemental allowances triggered
                                                                                                                     303 Through these meetings,
                                                                                                          generally.303                                        by certain indications of temporary
                                                 reality. For example, in the litigation
                                                 over the industry's
                                                           industry’s multiple motions to                 the central reliability-related concern              stress on the electric system.
                                                 stay implementation of CSAPR, claims                     was identified as one of timing. In order               In the final rule, the EPA is adopting
                                                 were made that allowing the rule to go                   for retirement to be a viable compliance             several changes from the proposal to
                                                 into effect would compromise                             strategy for a unit that cannot be entirely          help address the reliability-related
                                                 reliability. Yet in the 2012 ozone season                spared until replacement investments in              concerns that were identified in
                                                                                                          generation or transmission are                       comments and brought into greater
                                                 starting just over 4 months after the rule
                                                                                                          completed, it must be possible for the               focus by the consultations with the
                                                 was stayed, EGUs covered by CSAPR
                                                 collectively emitted below the overall                   unit to operate at critical times for a              RTOs. The first change adopted in
                                                                                                          transition period. Like other                        response to these comments is that
                                                 program budgets that the rule would
                                                 have imposed in that year if the rule had                stakeholders, the RTOs perceived                     application of the backstop daily NOx
                                                                                                                                                                                                   NOX
                                                                                                          implementation of the backstop daily                 emissions rate to units without existing
                                                 been allowed to take effect, with most
                                                                                                          emissions rate provisions on                         SCR controls is being deferred until the
                                                 individual states emitting below their
                                                                                                          uncontrolled units as materially                     2030 control period, or the second
                                                 respective state budgets despite CSAPR
                                                                                                          strengthening incentives for such units              control period in which a unit operates
                                                 not being in effect. 302 Similarly, in the
                                                               effect.302
                                                                                                          to either install controls or retire. The            new SCR controls, if earlier. The
                                                 litigation over the 2015 Clean Power                                                                          purpose of this change is to address the
                                                 Plan, assertions that the rule would                     RTOs were concerned that the option
                                                                                                          for a coal-fired unit without SCR                    concerns that application of the
                                                 threaten electric system reliability were                                                                     backstop daily NOx
                                                                                                                                                                                NOX emissions rate to
                                                 made by some utilities or their                          controls to maintain limited operation
                                                                                                                                                               EGUs without existing SCR starting in
                                                 representatives, yet even though the                     while surrendering allowances at a 3-
                                                                                                                                                               2027 would provide insufficient time
                                                 Supreme Court stayed the rule in 2016,                   for-1 ratio for all emissions exceeding
                                                                                                                                                               for planning and investments needed to
                                                 the industry achieved the rule’s
                                                                                rule's                    the backstop daily rate was one that                 facilitate unit retirement as a
                                                 emissions reduction targets without the                  EGU owners would be reluctant to                     compliance pathway, which some
                                                 rule ever going into effect. See WestWest                pursue. Accordingly, the RTOs expected               commenters noted they prefer or have
                                                 Virginia v. EPA, 142
                                                                    142 S.   Ct. 2587,
                                                                          S. Ct. 2587, 2638
                                                                                        2638              considerable interest from EGU owners                already planned. In particular, where an
                                                 (2022) (Kagan, J., dissenting) ("[T]he
                                                                                   (‘‘[T]he               in retiring and replacing uncontrolled               EGU owner would prefer to retire and
                                                 industry didn’t
                                                            didn't fall short of the [Clean               units as of the date of implementation               replace an uncontrolled EGU rather than
                                                 Power] Plan's
                                                          Plan’s goal; rather, the industry               of the backstop daily rate requirement               to install new controls, and in
                                                 exceeded that target, all on its                         on uncontrolled units, and they were                 recognition that reliability-related needs
                                                 own. . . . At the time of the repeal
                                                                                   repeal.. . .           concerned that the proposal to                       may require some degree of operation
                                                 ‘there
                                                 `there [was] likely to be no difference                  implement that requirement as of the                 from such units in the period before the
                                                 between a world where the [Clean                         2027 control period did not allow                    investments needed to replace the unit
                                                 Power Plan was] implemented and one                      sufficient time for planning and                     can be completed, deferral of the
                                                                  not.’ ")
                                                 where it [was] not.'   ’’) (quoting 84 FR                implementation of all the necessary                  backstop daily emissions rate provisions
                                                 32561). The claims that these rules                      generation and transmission                          ensures that the necessary generation
                                                                                                          investments to make this a viable                    can be provided without being made
                                                   301 The EPA has prepared a resource adequacy
                                                   301
                                                                                                          compliance strategy. The RTOs
ddrumheller on DSK120RN23PROD with RULES2




                                                 assessment of the projected impacts of the final rule
                                                                                                                                                               subject to a 3-for-1 allowance surrender
                                                 showing that the projected impacts of the final rule
                                                                                                          described their concerns as greatest                 ratio that might render that compliance
                                                 on power system operations, under conditions                                                                  strategy uneconomic compared to the
                                                 preserving resource adequacy, are modest and               303 The EPA also met with non-RTO balancing        faster but less environmentally
                                                                              Adequacy and Reliability
                                                 manageable. See Resource Adequacy          Reliability   authorities that submitted comments. Memoranda       beneficial compliance strategy of
                                                 Analysis Final Rule TSD, available in the docket.        identifying the dates, attendees, and topics of
                                                   302 For a state-by-state comparison, see Appendix
                                                   302                                                    discussion of these meetings with RTOs and non-
                                                                                                                                                               installing new controls. The EPA has
                                                 G of the Ozone Transport Policy Analysis Final           RTO balancing authorities are available in the       considered the statutory mandate that
                                                 Rule TSD.                                                docket.                                              states’ good neighbor obligations—
                                                                                                                                                               states'


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00120   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 159 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                          36773
                                                                                                                                                                                                  36773

                                                                 action’s requirement for
                                                 including this action's                                 bank recalibration process in 2024                    dynamic budget to be published in the
                                                 large coal-fired EGUs to make emissions                 generally to boost market liquidity (by               future will only supplant the preset
                                                 reductions commensurate with good                       discouraging allowance hoarding) and                  budget finalized in this rule for a control
                                                 SCR operation—be addressed as                           also considers the target percentage of               period in which that dynamic budget is
                                                 expeditiously as practicable. The EPA                   10.5 percent set forth in the proposal                higher than the corresponding preset
                                                 has also considered the fact that in this               well supported. Nevertheless, the                     budget. The reason for using dynamic
                                                 rule, the backstop daily emissions rate                 Agency agrees with suggestions by                     budgets when they are higher than the
                                                 serves as a supplement to the broader                   commenters that, at least in the early                corresponding preset budgets is that the
                                                 requirement for emissions reductions                    years of the enhanced trading program,                EPA recognizes that evolution of the
                                                 commensurate with application of                        a larger bank would provide further                   EGU fleet will not follow the exact path
                                                 several control technologies at several                 liquidity and would give program                      projected at the time of the rulemaking,
                                                 types of EGUs, encompassing the extent                  participants greater confidence that                  and that by not accounting for certain
                                                 of emissions reductions that would be                   allowances would be available for                     events, the preset methodology could
                                                 incentivized by the backstop emissions                  purchase when needed. Greater                         result in issuance of smaller quantities
                                                 rate requirement. The EPA views the                     confidence by sources would help                      of allowances than the EPA would find
                                                 backstop daily emissions rate as part of                         RTOs’ concern about the
                                                                                                         address RTOs'                                         consistent with the quantities of
                                                 the solution to eliminating significant                 possibility that some sources could be                emissions from a well-controlled EGU
                                                 contribution in that it strongly                        reluctant to operate if they were unsure              fleet using the dynamic budget-setting
                                                 incentivizes emissions-control operation                of their ability to procure allowances to             methodology. Events that could cause
                                                 throughout each day of the ozone                        cover their emissions. In finding that                preset budgets to underpredict a state's
                                                                                                                                                                                                   state’s
                                                 season. See sections III.B.1.d, VI.B.1.b,               this modification from proposal is                    well-controlled emissions, which are
                                                 VI.B.1.c.i. For that reason, in general we              appropriate, the EPA has considered the               more likely in years farther in the future
                                                 are finalizing the daily backstop                       fact that use of a higher target                      from the time of the rulemaking, include
                                                 emissions rate for units that have SCR                  percentage will not result in the creation            deferral of a large EGU's
                                                                                                                                                                                   EGU’s previously
                                                 installed or that install it in the future.             of any additional allowances in any                   planned retirement date or increases in
                                                 It is only as an exception to that general              control period, because under the                     electricity demand that outpace the
                                                 rule that we defer the backstop daily                   recalibration provisions, when the total              general trend of lower-emitting or non-
                                                 emissions rate given the transition                     quantity of allowances banked from the                emitting generation replacing higher-
                                                 period and reliability concerns                         previous control period is less than the              emitting generation. After considering
                                                 identified by commenters. The EPA                       bank target level, the consequence is not             the commenters’
                                                                                                                                                                    commenters' interest in greater
                                                 finds that in this circumstance, as long                that additional allowances are created to             predictability during the early years of
                                                 as state emissions budgets continue to                  raise the bank to the target level, but               the amended trading program as well as
                                                 reflect the required degree of emissions                simply that no bank adjustment is                     the need to protect against instances
                                                 reductions, deferral of the backstop rate               carried out. We also note that while                  where the preset budgets could
                                                 requirement for uncontrolled units for a                including an annual bank recalibration                underpredict a state's
                                                                                                                                                                                state’s well-controlled
                                                 transition period can be justified on the               of any percentage is an enhancement in                emissions in years farther from the year
                                                 basis of the greater long-term                          the trading program from prior trading                of the rulemaking, the EPA finds that
                                                 environmental benefits obtained                         programs under the good neighbor                      the combination of these factors justifies
                                                 through facilitating the replacement of                 provision established in the CAIR,                    the approach of using the higher of the
                                                 these affected EGUs with cleaner                        CSAPR, CSAPR Update, and Revised                      two budgets for the control periods from
                                                 sources of generation. Beginning in the                 CSAPR Update rulemakings, it is not                   2026 through 2029.
                                                 2030 ozone season, all coal-fired EGUs                  unprecedented; the trading program                       In addition to the changes made in
                                                 identified for SCR retrofit potential in                                        NOX SIP Call
                                                                                                         established under the NOx                             response to reliability-related
                                                 this action will be subject to the                      included "progressive
                                                                                                                    ‘‘progressive flow control’’
                                                                                                                                       control"                comments, several other changes to the
                                                 backstop daily emissions rate. Any such                 provisions that were designed                         proposal being adopted primarily for
                                                 units that remain in operation in that                  differently from the bank recalibration               other reasons will also help address the
                                                 year can and should meet the backstop                   provisions in this rule but had the same              factors identified as reliability-related
                                                 daily emissions rate or be subject to the               purpose and general effect.                           concerns. Most notably, the EPA is
                                                 heightened allowance surrender ratio.                      The third change from the proposal                 adopting changes to the dynamic budget
                                                    The second change from the proposal                  adopted in response to the reliability-               computation procedure to incorporate
                                                 adopted in response to the reliability-                 related comments is that the EPA is                   multiple years of heat input data, which
                                                 related comments is that the target                     determining preset state emissions                    will reduce year-to-year variability in
                                                 percentage of the states'
                                                                    states’ emissions                    budgets not only for the control periods              the budgets determined under that
                                                 budgets used to recalibrate the target                  in 2023 and 2024 as proposed, but also                procedure and should to some extent
                                                 bank level will be set at the proposed                  for the control periods in 2025 through               reduce uncertainty about the quantities
                                                 10.5 percent starting in the 2030 control               2029. Finalizing preset state emissions               of allowances available for use in
                                                 period, and for the control periods from                budgets through 2029 will establish                   instances where a dynamic budget is
                                                 2024 through 2029, a target percentage                  predictable amounts for the minimum                   being used instead of preset budget. In
                                                 of 21
                                                     21 percent will be used instead. The                quantities of allowances available                    addition, the adoption of a 50-ton
                                                 adoption of the higher target percentage                during the period when commenters                     threshold before application of the 3-for-
                                                 for use through the 2029 control period                 have expressed concern that the                       1 surrender ratio to emissions exceeding
ddrumheller on DSK120RN23PROD with RULES2




                                                 is intended to promote greater                          reliability-related need for such                     the backstop daily NOx
                                                                                                                                                                                    NOX emissions rate
                                                 allowance market liquidity during a                     predictability is greatest. Moreover, the             should ensure that no unit incurs the
                                                 period of relatively rapid fleet transition             EPA will also determine state emissions               higher surrender ratio solely because of
                                                 about which commenters expressed                        budgets using the final dynamic budget-               unavoidable emissions during startup
                                                 more focused reliability-related needs.                 setting methodology for the control                   and should help address concerns that
                                                 As discussed later in this section, the                 periods in 2026 through 2029, and for                 some units might be reluctant to operate
                                                 EPA expects the introduction of the                     each state and control period, the                    because of the associated emissions-


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00121   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023                Page 160 of 430
                                                 36774
                                                 36774                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 related costs. Also, the 2026–2027
                                                                          2026-2027                      responsibilities determines there is a                advance of the recurring dynamic
                                                 phase-in of emissions reductions                        reliability-related need, the EPA again               budget adjustments, which do not
                                                 commensurate with installation of new                   observes that the rule’s
                                                                                                                             rule's emissions                  increase the stringency of the rule's
                                                                                                                                                                                                  rule’s
                                                 SCR controls will increase the quantities               reduction requirements are being                      emissions reduction requirements
                                                 of allowances available in the 2026 state               implemented through a trading program                 established in the final rule. The
                                                 emissions budgets for most states in the                mechanism which makes exceptions of                   extensive consultation processes
                                                 trading program.                                        this nature unnecessary. Trading                      adopted by the Agency in conjunction
                                                    To summarize: in light of the strong                 programs inherently offer the flexibility             with the MATS rulemaking are not a
                                                 record supporting the feasibility of the                to accommodate variability in the                     relevant precedent; the MATS rule,
                                                 emissions reductions required from                      utilization of individual units. The                  which was promulgated to address a
                                                 EGUs; the use of a trading program as                   ‘‘reliability safety valve"
                                                                                                         "reliability         valve’’ provisions in            different statutory mandate, was
                                                 the mechanism for achieving those                       the Clean Power Plan, which one                       structured in the form of unit-specific
                                                 emissions reductions, with multiple                     commenter cited as a precedent to                     emissions constraints, fundamentally
                                                 options for achieving compliance and                    support some form of temporary                        different from the requirements of this
                                                 no requirements to cease operation of                   exemption under this rule, in fact was                rule. The EPA notes that other entities
                                                 any individual EGU at any time; the                     available only in situations where a                  responsible for maintaining reliability
                                                 established processes of RTOs, other                    state plan did not allow emissions                    and managing entry and exit of
                                                 balancing authorities, and state                        trading and instead imposed unit-                     resources, including the North
                                                 regulators for managing any EGU                         specific emissions constraints. See 80                American Electric Reliability
                                                 retirement requests that do occur in an                 FR 64877–879.
                                                                                                             64877-879. Even the 3-for-1                       Corporation (NERC) and RTOs and other
                                                 orderly manner with evaluation of                       allowance surrender ratio under the                   balancing authorities, already routinely
                                                 potential reliability impacts and                       backstop daily NOxNOX emissions rate                  assess resource adequacy and reliability
                                                 implementation of mitigation measures                   provisions can be met through the                     inclusive of meeting all regulatory
                                                 where needed; the unbroken, decades-                    surrender of additional allowances. The               requirements, including environmental
                                                 long historical success of the EPA's
                                                                                EPA’s                    rule does not bar any EGU from                        requirements.
                                                 trading programs at achieving emissions                 operating at any time as long as all                     While the EPA does not agree that
                                                 reductions without any adverse                          allowance surrender requirements are                  such consultations are a necessary
                                                 reliability impacts; the views expressed                met.                                                  precondition for successful
                                                 by commenters that facilitating EGU                                                                           implementation of this rule, the Agency
                                                                                                            With respect to suggestions that the               remains available to engage with any
                                                 retirement and replacement as a
                                                 possible compliance strategy through                    EPA must undertake recurring modeling                 affected EGU or reliability authority
                                                 2029 would be particularly helpful; the                 of the evolving electrical system and                 requesting to meet and discuss the
                                                 changes made in the final rule for                      consult with RTOs before each planned                 intersection of its power sector
                                                 control periods through 2029                            adjustment to emissions budgets, which                regulatory programs with electric
                                                 specifically to increase flexibility during             start from the premise that the rule                  reliability planning and operations. The
                                                 this transitional period, including                     poses risk to electric system reliability             EPA is also continuing its practice of
                                                 deferring application of the backstop                   that must be continuously monitored,                  meeting with the U.S. Department of
                                                 daily emissions rate provisions for EGUs                the EPA disagrees with the premise and                Energy and the Federal Energy
                                                 without existing SCR controls,                          therefore also disagrees with the                     Regulatory Commission to maintain
                                                 increasing the target percentage used to                suggestions. As discussed in section V                mutual awareness of how Federal
                                                 determine the target allowance bank                     of this document, the EPA has taken                   actions and programs intersect with the
                                                 level for purposes of the bank                          care to ensure that the emissions                     industry’s
                                                                                                                                                               industry's responsibility to maintain
                                                 recalibration provisions, and                           reduction requirements applicable to                                       304
                                                                                                                                                               electric reliability.304
                                                 establishing preset state emissions                     EGUs under this rule are feasible                        The EPA is not adopting the
                                                 budgets which serve as floors against                   through application of the control                    suggestion to replicate the so-called
                                                 potential dynamic budget imposition in                  technologies selected as the basis of the             ‘‘safety valve"
                                                                                                                                                               "safety  valve’’ mechanism created under
                                                 those control periods; and the changes                  emissions reductions. The EPA has also                the Revised CSAPR Update. That
                                                 made in the final rule incorporating                    performed modeling in this rulemaking                 mechanism, cited by some commenters
                                                 multiple years of heat input data into                  to assess the benefits and costs of the               as potential precedent for an
                                                 the dynamic budget-setting procedure,                   rule when all required emissions                      unspecified form of "reliability
                                                                                                                                                                                      ‘‘reliability safety
                                                 adding a 50-ton threshold before                        reductions are achieved. That modeling,               valve’’
                                                                                                                                                               valve" in this action, gave owners of
                                                 application of the 3-for-1 surrender ratio              which incorporates a representation of                covered EGUs a one-time opportunity to
                                                 to emissions exceeding the backstop                     electrical grid regions and interregional             voluntarily convert allowances banked
                                                 daily NOx
                                                        NOX emissions rate, and phasing                  constraints on energy and capacity                    under the Group 2 trading program to
                                                 in emissions reductions requirements                    exchange, affirms the feasibility of the              allowances useable in the Group 3
                                                 commensurate with new SCR                               overall emissions reduction                           trading program at an 18-for-1 ratio for
                                                 installations through 2027; the EPA                     requirements and is illustrative of a                 use in the trading program’s
                                                                                                                                                                                    program's initial
                                                 concludes that this action does not pose                control strategy where some units retire              control period in 2021. See 82 FR
                                                 any material risk of adverse impact to                  and are replaced instead of installing                23137–138.
                                                                                                                                                               23137-138. EGU owners chose to use
                                                 electric system reliability.                            new controls. The EPA has also                        the voluntary mechanism to acquire a
                                                    The EPA has also considered the                      consulted with the RTOs (as well as                   total of 382 allowances, representing
                                                                                                         other balancing authorities) in the
ddrumheller on DSK120RN23PROD with RULES2




                                                 other suggestions offered by                                                                                  only 0.36 percent of the sum of the state
                                                 commenters for addressing reliability-                  course of this rulemaking to ensure that              emissions budgets and only 0.26 percent
                                                 related issues. With respect to                         the EPA understood the concerns
                                                 suggestions that the rule should include                expressed in their comments such that                       See, e.g., U.S. Department of Energy and U.S.
                                                                                                                                                                 304 See,

                                                 provisions allowing some or all of the                  we could address those comments in                    Environmental Protection Agency, Joint
                                                                                                                                                               Memorandum on Interagency Communication and
                                                 trading program’s
                                                          program's requirements to be                   this final rule. The EPA does not agree               Consultation on Electric Reliability (March 8, 2023),
                                                 suspended at times when an RTO or                       that further modeling or ongoing                      available at https://www.epa.gov/power-sector/
                                                 other entity with grid management                       consultations with RTOs are needed in                 electric-reliability-mou.



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00122   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 161 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                             36775
                                                                                                                                                                                                     36775

                                                 of the total quantity of allowances                     in the implementation framework at                       respect to sources in Indian country in
                                                 available for compliance in that control                Step 4. 307
                                                                                                              4.307                                               general and in these areas in particular
                                                 period. 305 For the 2023 control period,
                                                 period.305                                              2. Expansion of Geographic Scope
                                                                                                                                                                  are discussed in section III.C.2 of this
                                                 the bank of allowances carried over                                                                              document. EPA's
                                                                                                                                                                               EPA’s approach for
                                                 from the 2022 control period plus the                        In light of the findings at Steps 1, 2,             determining a portion of each state's
                                                                                                                                                                                                   state’s
                                                 incremental starting bank that will be                  and 3 of the 4-step interstate transport                 budget for each control period that will
                                                 created by conversion of additional                     framework, the EPA is expanding the                      be set aside for allocation to any units
                                                 allowances banked under the Group 2                     geographic scope of the existing CSAPR in areas of Indian country within the
                                                 trading program (see section VI.B.12.b of               NOX Ozone Season Group 3 Trading
                                                                                                         NOx                                                                               state’s CAA
                                                                                                                                                                  state not subject to the state's
                                                 this document) will total over 30                       Program to encompass additional states implementation planning authority is
                                                 percent of the full-season emissions                    (and Indian country within the borders                   discussed in section VI.B.9 of this
                                                 budgets.306 Given the larger starting
                                                 budgets.306                                             of such states) with EGU emissions that document.
                                                 bank and this rule’s
                                                                 rule's bank recalibration               significantly contribute for purposes of                    Units within the borders of each
                                                 provisions (which will be implemented                   the 2015 ozone NAAQS. Specifically,                      newly added state will join the Group
                                                 starting with the 2024 control period,                  the EPA is expanding the Group 3                         3 trading program on one of two
                                                 but which the EPA expects will increase                 trading program to include the                           possible dates during the program’s
                                                                                                                                                                                              program's
                                                 allowance market liquidity starting with                following states and Indian country                      2023 control period (that is, the period
                                                 the 2023 control period), the Agency                    within the borders of the states:                        from May 1, 2023, through September
                                                 views establishment of a one-time                       Alabama, Arkansas, Minnesota,                            30, 2023). The reason that two entry
                                                 voluntary conversion opportunity for                    Mississippi, Missouri, Nevada,                           dates are necessary is that, as discussed
                                                 the 2023 control period analogous to the                Oklahoma, Texas, Utah, and Wisconsin. in section VI.B.12.a of this document,
                                                                   Update’s "safety
                                                 Revised CSAPR Update's       ‘‘safety valve"
                                                                                       valve’’           Any unit located in a newly added                        the effective date is expected to fall after
                                                 provision as unnecessary.                               jurisdiction that meets the applicability May 1, 2023. In the case of states (and
                                                    Finally, in the final rule the EPA is                criteria for the Group 3 trading program Indian country within the states'            states’
                                                 not adopting any of the other                           will become an affected unit under the                   borders) whose sources do not currently
                                                 suggestions concerning additional                       program, as discussed in section VI.B.3                  participate in the CSAPR NOxNOX Ozone
                                                 mechanisms to make additional                           of this document.                                        Season Group 2 trading program—
                                                                                                              CSAPR, the CSAPR Update, and the                    Minnesota, Nevada, and Utah—the
                                                 allowances available through auctions
                                                                                                         Revised CSAPR Update also applied to                     sources will begin participating in the
                                                 or RTO-administered allowance pools.
                                                                                                         sources in Indian country, although,                     Group 3 trading program on the rule's
                                                                                                                                                                                                     rule’s
                                                 For the reasons discussed throughout
                                                                                                         when those rules were issued, no                         effective date. However, in the case of
                                                 this section, the EPA concludes that the                existing EGUs within the regions
                                                 trading program as established in this                                                                           the states (and Indian country within
                                                                                                         covered by the rules were located on                         states’ borders) whose sources do
                                                                                                                                                                  the states'
                                                 action provides a flexible compliance                   lands that the EPA understood at the
                                                 mechanism that will allow the required                                                                           currently participate in the Group 2
                                                                                                         time to be Indian country. country.308 308 In contrast,
                                                                                                                                                                  trading program—Alabama, Arkansas,
                                                 emissions reductions to be achieved                     within the geographic scope of this
                                                 without the need for creation of                                                                                 Mississippi, Missouri, Oklahoma, Texas,
                                                                                                         rulemaking, the EPA is aware of areas of and Wisconsin—the sources will begin
                                                 additional allowances. However, the                     Indian country within the borders of
                                                 EPA also recognizes the potential for                                                                            participating in the Group 3 trading
                                                                                                         both Utah and Oklahoma with existing                     program on May 1, 2023, regardless of
                                                 allowance market liquidity to be further                EGUs that meet the program’s  program's                      rule’s effective date, subject to
                                                                                                                                                                  the rule's
                                                 increased through some form of auction                  applicability criteria. Issues related to                transitional provisions designed to
                                                 mechanism. For instance, it may be                      state, tribal, and Federal CAA                           ensure that the increased stringency of
                                                 appropriate to pair the introduction of                 implementation planning authority with the Group 3 trading program as revised
                                                 an auction with a reduction in the bank
                                                                                                                                                                  in this rulemaking will not
                                                 recalibration percentage that begins                       307 Such a rulemaking would not reopen any
                                                                                                             307
                                                                                                                                                                                            sources’
                                                                                                                                                                  substantively affect the sources'
                                                 earlier than 2030. Through a                            determinations which the Agency has made at
                                                                                                                 1, 2, or 3 of the interstate transport framework
                                                                                                         Steps 1,2,
                                                                                                                                                                  requirements prior to the rule’s
                                                                                                                                                                                              rule's effective
                                                 supplemental rulemaking, the Agency                                                                              date. This approach provides a simpler
                                                 intends to propose and take comment                     in this action. Nor would it reopen any aspects of
                                                                                                         implementation of the program at Step 4 except for       transition for the sources historically
                                                 on potential amendments to the Group                    those in relation to establishing an auction and         covered by the Group 2 trading program
                                                 3 trading program that would add such                   associated adjustments to ensure program
                                                                                                         stringency is maintained. In this respect, such a        than the alternative approach of being
                                                 an auction mechanism to the regulations                                                                          required to switch from the Group 2
                                                                                                         rulemaking would constitute a discretionary action
                                                 and make other appropriate adjustments                  that is not necessary to resolution of good neighbor     trading program to the Group 3 trading
                                                                                                         obligations. Rather, these adjustments, if finalized,    program in the middle of a control
                                                    305 Additional allowances available for
                                                    305
                                                                                                         would reflect a shift from one acceptable form of
                                                 compliance under the Group 3 trading program in         implementation at Step 4 to a slightly modified but
                                                                                                                                                                  period, and it is the same approach that
                                                 the 2021 control period included a starting             also acceptable form of implementation at Step 4,        was followed for sources that
                                                 allowance bank created through mandatory                as related to EGUs. No legal or technical                transitioned from the Group 2 trading
                                                 conversion of a portion of the allowances banked        justification for this action as set forth in the record program to the Group 3 trading program
                                                 under the Group 2 trading program as well as            here depends on or would be undermined by the
                                                 supplemental allowances issued to ensure that no        development of an alternative approach that
                                                                                                                                                                  in 2021 under the Revised CSAPR
                                                 provisions of the Revised CSAPR Update increasing       includes an auction, and if the EPA for any reason       Update. Section VI.B.12.a of this
                                                 regulatory stringency would take effect before that     determines not to propose or finalize such a             document contains further discussion of
                                                 rule’s effective date. See 86 FR 23133-137.
                                                 rule's                            23133–137.            rulemaking, no aspect of this rule would thereby be      the rationale for this approach and the
                                                    306 The full-season emissions budgets for the 2023
                                                    306                                                  rendered infeasible or incomplete.
ddrumheller on DSK120RN23PROD with RULES2




                                                 control period under the Group 3 trading program              8 CSAPR and the CSAPR Update both applied
                                                                                                            "308
                                                                                                                                                                  specific transitional provisions.
                                                 and the incremental starting bank created in this       to EGUs located in areas within Oklahoma's
                                                                                                                                               Oklahoma’s borders
                                                                                                                                                                     The EPA notes that under the rule, the
                                                 action through conversion of additional Group 2         that are now understood to be Indian country,            expanded Group 3 trading program will
                                                 allowances (but not the bank of allowances carried      consistent with the U.S. Supreme Court'sCourt’s decision include not only 19 states for which the
                                                 over from the 2022 control period under the Group       in McGirt v. Oklahoma, 140 S. Ct. 2452 (2020) (and       EPA is determining that the required
                                                 3 trading program) will be prorated to reflect the      subsequent case law), clarifying the extent of
                                                 portion of the 2023 ozone season occurring after the    certain Indian country within Oklahoma’s
                                                                                                                                            Oklahoma's borders.
                                                                                                                                                                  control stringency includes, among
                                                 effective date of this rule. See sections VI.B.12.a.    However, those rules were issued before the McGirt       other measures, installation of new post-
                                                 and VI.B.12.b.                                          decision. See section III.C.2.a.                         combustion controls, but also three


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00123   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 162 of 430
                                                 36776
                                                 36776                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 states—Alabama, Minnesota, and                          supported the approach, which is             states)—will also become subject to the
                                                 Wisconsin—for which the EPA is                          finalized as proposed.                       Group 3 trading program.
                                                 determining that the required control                                                                   In the additional states where other
                                                                                                         3. Applicability and Tentative               CSAPR trading programs are not
                                                 stringency does not include such
                                                                                                         Identification of Newly Affected Units       currently in effect—Nevada and Utah
                                                 measures. In previous rulemakings, the
                                                 EPA has chosen to combine states in a                      The Group 3 trading program               (including Indian country within the
                                                 single multi-state trading program only                 generally applies to any stationary,         borders of such states)—units already
                                                 where the selected control stringencies                 fossil-fuel-fired boiler or stationary,      subject to the Acid Rain Program under
                                                 were comparable, to ensure that states                  fossil fuel-fired combustion turbine         that program’s
                                                                                                                                                             program's applicability criteria (see
                                                 did not effectively shift their emissions               located in a covered state (or Indian        40 CFR 72.6) generally also meet the
                                                 reduction requirements to other states                  country within the borders of a covered applicability criteria for the Group 3
                                                 with less stringent emissions reduction                 state) and serving at any time on or after trading program. Based on a preliminary
                                                 requirements by using net out-of-state                  January 1, 2005, a generator with            screening analysis of the units in these
                                                 purchased allowances. Although the                      nameplate capacity exceeding 25 MW           states that currently report emissions
                                                 assurance provisions in the CSAPR                       and producing electricity for sale, with     and operating data to the EPA under the
                                                 trading programs were designed to                       exemptions for certain cogeneration          Acid Rain Program, the Agency believes
                                                 address the same general concern about                  units and certain solid waste                that all such units are likely to meet the
                                                 excessive shifting of emissions                         incineration units. To qualify for an        applicability criteria for the Group 3
                                                 reduction activities between states, EPA                exemption as a cogeneration unit, an         trading program.
                                                 chose not to rely on the assurance                      otherwise-affected unit generally (1)           Because the applicability criteria for
                                                 provisions as sufficient to allow for                   must be designed to produce electricity      the Acid Rain Program and the Group 3
                                                 interstate trading in situations where the              and useful thermal energy through the        trading program are not identical, it is
                                                 states were assigned differing emissions                sequential use of energy, (2) must           possible that some units could meet the
                                                 control stringencies.                                   convert energy inputs to energy outputs applicability criteria for the Group 3
                                                    In this rulemaking, the EPA believes                 with efficiency exceeding specified          trading program even if they are not
                                                 the previous concern about the                          minimum levels, and (3) may not              subject to the Acid Rain Program. Using
                                                 possibility that certain states might not               produce electricity for sale in amounts      data reported to the U.S. Energy
                                                 make the required emissions reductions                  above specified thresholds. To qualify       Information Administration, in the
                                                 is sufficiently addressed through the                   for an exemption as a solid waste            proposal the EPA identified six sources
                                                 various enhancements to the design of                   incineration unit, an otherwise-affected     in Nevada and Utah (and Indian country
                                                 the trading program, even where states                  unit generally (1) must meet the CAA         within the borders of the states) with a
                                                 have been assigned differing emissions                  section 129(g)(1) definition of a "solid
                                                                                                                                            ‘‘solid   total of 15 units that appear to meet the
                                                 control stringencies. First, the existing                                    unit’’ and (2) may
                                                                                                         waste incineration unit"                     general applicability criteria for the
                                                 assurance provisions are being                          not consume fossil fuel in amounts           Group 3 trading program and that do not
                                                 substantially strengthened through the                  above specified thresholds. The              currently report NOx  NOX emissions and
                                                 addition of the unit-specific secondary                 complete text of the Group 3 trading         operating data to the EPA under the
                                                 emissions limitations discussed in                      program’s                                    Acid Rain Program. These units were
                                                                                                         program's applicability provisions and
                                                 sections VI.B.1.c.ii and VI.B.8. Second,                                                             listed in a table in the proposed rule,
                                                                                                         the associated definitions can be found
                                                 by ensuring that individual units                                                                    and the data from that table for these
                                                                                                         at 40 CFR 97.1004 and 97.1002,
                                                 operate their emissions controls                                                                     units are reproduced as Table VI.B.3-1   VI.B.3–1
                                                                                                         respectively. The applicability of this
                                                 effectively, the unit-specific backstop                                                              of this document. For each of these
                                                 daily emissions rate provisions                         rule to MWCs and cogeneration units
                                                                                                         outside the Group 3 trading program is       units, the table shows the estimated
                                                 discussed in sections VI.B.1.c.i and                                                                 historical heat input and emissions data
                                                                                                         discussed in sections V.B.3.a and
                                                 VI.B.7 will necessarily also ensure that                                                             that the EPA proposed to use for the
                                                 required emissions reductions occur                     V.B.3.c of this document, respectively,
                                                                                                         and MWC applicability criteria are           unit when determining state emissions
                                                 within the state. With these                                                                         budgets if the unit was ultimately
                                                                                                         further discussed in section VI.C.6 of
                                                 enhancements to the design of the                                                                    treated as subject to the Group 3 trading
                                                 trading program, the EPA does not                       this document.
                                                                                                            In this rulemaking, the EPA did not       program.
                                                                                                                                                      program.309  309 The EPA requested
                                                 believe it is necessary for sources in                                                               comment       on whether each listed unit
                                                 Alabama, Minnesota, and Wisconsin to                    propose and is not finalizing any
                                                                                                         revisions to the existing applicability      would or would not meet all relevant
                                                 be excluded from the revised Group 3                                                                 criteria set forth in 40 CFR 97.1004 and
                                                 trading program simply because their                    provisions for the Group 3 trading
                                                                                                         program. Thus, any unit that is located      the associated definitions in 97.1002 to
                                                 emissions budgets reflect a different                                                                qualify for an exemption from the
                                                 selected emissions control stringency                   in a newly added state and that meets
                                                 than the other states in the program.                   the existing applicability criteria for the trading program and whether the
                                                    The EPA's
                                                         EPA’s legal and analytic bases for              Group 3 trading program will become an estimated historical heat input and
                                                                                                         affected unit under the program. The         emissions data identified for each unit
                                                 expansion of the Group 3 trading
                                                 program to each of the additional                       fact that the applicability criteria for all
                                                                                                                                                        3° 9 As discussed in section VI.B.10, any unit that
                                                                                                                                                        309
                                                 covered states, as well as responses to                 of the CSAPR trading programs are            becomes subject to the Group 3 trading program
                                                 the principal related comments, are                     identical therefore is sufficient to         pursuant to this rule and that does not already
                                                 discussed in sections III, IV, and V of                 establish that any units that are            report emissions data to the EPA in accordance
                                                                                                         currently required to participate in         with 40 CFR part 75 will not be required to report
ddrumheller on DSK120RN23PROD with RULES2




                                                 this document, respectively, and
                                                                                                                                                      emissions data or be subject to allowance holding
                                                 responses to additional comments are                    another CSAPR trading program in any         requirements under the Group 3 trading program
                                                 contained in the RTC
                                                                   RTC document. With                    of the additional states where such other until May 1, 2024, in order to provide time for
                                                 respect to the proposed approach of                     programs currently are in effect—            installation and certification of the required
                                                 including all states covered by the rule                Alabama, Arkansas, Minnesota,                monitoring systems. Such a unit will not be taken
                                                                                                                                                            account for purposes of determining state
                                                 in a single trading program even where                  Mississippi, Missouri, Oklahoma, Texas, into emissions budgets and unit-level allocations under
                                                 the assigned control stringencies differ,               and Wisconsin (including Indian              the Group 3 trading program until the 2024 control
                                                 the only comments received by the EPA                   country within the borders of such           period.



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00124   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                                  Document #2009836                                                 Filed: 07/27/2023                  Page 163 of 430
                                                                           Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                   Register/Vol.                                                                                                                                      36777
                                                                                                                                                                                                                                      36777

                                                 were representative. With respect to the                                      unrepresentative.310 For
                                                                                                                    EPA were unrepresentative.31°                                           each unit are representative. However,
                                                 listed units within the borders of                                 purposes of this rule, the EPA is                                       the owners and operators of the sources
                                                 Nevada or Utah, the EPA received no                                therefore presuming that the units listed                               retain the option to seek applicability
                                                 comments asserting either that the units                           in Table VI.B.3-1
                                                                                                                             VI.B.3–1 do not qualify for                                    determinations under the trading
                                                 qualified for applicability exemptions or                          applicability exemptions and that the                                   program regulations at 40 CFR
                                                 that the estimated data identified by the                          estimated data shown in the table for                                   97.1004(c).

                                                       TABLE VI.B.3-1—ESTIMATED
                                                       TABLE VI.B.3–1—ESTIMATED DATA
                                                                                 DATA TO
                                                                                      TO BE
                                                                                         BE U         PRESUMPTIVELY AFFECTED
                                                                                              SED FOR PRESUMPTIVELY
                                                                                            USED                    AFFECTED U      WITHIN THE BORDERS
                                                                                                                               NITS WITHIN
                                                                                                                              UNITS            BORDERS OF
                                                                       N           UTAH THAT
                                                                         EVADA AND UTAH
                                                                       NEVADA           THAT DO
                                                                                             DO N    REPORT U
                                                                                                  OT REPORT
                                                                                                NOT                    ACID RAIN
                                                                                                             NDER THE ACID
                                                                                                            UNDER           RAIN PROGRAM
                                                                                                                                 PROGRAM
                                                                                                                                                                                                                      Estimated
                                                                                                                                                                                                     Estimated      ozone season
                                                                            Facility                                                                                                               ozone season     average NOx
                                                                                                                                                                                                                              NOX       Notes
                                                        State                 ID                           Facility name                                 Unit ID                Unit type                                               Notes
                                                                                                                                                                                                     heat input       emissions
                                                                                                                                                                                                      (mmBtu)            rate
                                                                                                                                                                                                                     (lb/mmBtu)
                                                                                                                                                                                                                     (Ib/mmBtu)

                                                 Nevada .............          2322       Clark .................................................   GT4 ..............       CT ................        190,985              0.0475    ............
                                                 Nevada .............          2322       Clark .................................................   GT5 ..............       CT ................      1,455,741              0.0191    ............
                                                 Nevada .............          2322       Clark .................................................   GT6 ..............       CT ................      1,455,741              0.0187    ............
                                                 Nevada .............          2322       Clark .................................................   GT7 ..............       CT ................      1,455,741              0.0178    ............
                                                 Nevada .............          2322       Clark .................................................   GT8 ..............       CT ................      1,455,741              0.0204    ............
                                                 Nevada .............         54350       Nev. Cogen. Assoc. 1—Garnet Val                           GTA ..............       CT ................        660,100              0.0377              1
                                                 Nevada .............         54350       Nev. Cogen. Assoc. 1—Garnet Val                           GTB ..............       CT ................        660,100              0.0387              1
                                                 Nevada .............         54350       Nev. Cogen. Assoc. 1—Garnet Val                           GTC .............        CT ................        660,100              0.0387              1
                                                 Nevada .............         54349       Nev. Cogen. Assoc. 2—Black Mtn ..                         GTA ..............       CT ................        749,778              0.0323              1
                                                 Nevada .............         54349       Nev. Cogen. Assoc. 2—Black Mtn ..                         GTB ..............       CT ................        749,778              0.0370              1
                                                 Nevada .............         54349       Nev. Cogen. Assoc. 2—Black Mtn ..                         GTC .............        CT ................        749,778              0.0364              1
                                                 Nevada .............         56405       Nevada Solar One ...........................              HI .................     Boiler ............        479,452              0.1667    ............
                                                 Nevada .............         54271       Saguaro ...........................................       CTG1 ...........         CT ................      1,383,149              0.0314              1
                                                 Nevada .............         54271       Saguaro ...........................................       CTG2 ...........         CT ................      1,383,149              0.0301              1
                                                 Utah ..................      50951       Sunnyside ........................................        1 ...................    Boiler ............      1,888,174              0.1715    ............
                                                   Table notes:
                                                   1 Unit reports capability of producing both electricity and useful thermal energy.
                                                   'Unit


                                                 4. State Emissions Budgets                           stringency.’’ Preset budgets
                                                                                             control stringency."                                                                           periods in those years, with no role for
                                                                                             provide greater certainty for planning                                                         dynamic budgeting. For the control
                                                    In this final rule, the EPA is using a   purposes and can be reliably established                                                       periods from 2026 through 2029, the
                                                                     ‘‘preset’’ budget
                                                 combination of a "preset"                   in the short-term based on known,                                                              EPA is determining preset emissions
                                                 calculation methodology and a               upcoming changes in the EGU fleet. Due                                                         budgets for each control period in the
                                                 ‘‘dynamic’’ budget calculation
                                                 "dynamic"                                   to build time for new units and                                                                rule and will also calculate and publish
                                                 methodology to establish state              planning and approval processes for                                                            dynamic budgets for each state in the
                                                 emissions budgets for the Group 3           plant retirements, these major fleet                                                           year before each control period using
                                                 trading program. A "preset"
                                                                        ‘‘preset’’ budget is alterations are often known several                                                            the dynamic budget-setting
                                                 one for which the absolute amount           years in advance. This information                                                             methodology finalized in this rule,
                                                 expressed as tons per ozone season          facilitates presetting budgets that                                                            applied to data available at the time of
                                                 control period is established in this final appropriately calibrate the identified                                                         the calculations. For these four control
                                                 rule. It uses the latest data currently     control stringency to the fleet. Dynamic                                                       periods, each state's
                                                                                                                                                                                                            state’s preset budget
                                                 available on EGU fleet composition at       budgets better assure that the budgets                                                         serves as a floor and may be supplanted
                                                 the time of this final action. A            remain commensurate with the Step 3                                                            by the dynamic emissions budget EPA
                                                 ‘‘dynamic’’ budget is one for which the
                                                 "dynamic"                                   emissions control stringency over the                                                          calculates for the state for that control
                                                 formula and emissions-rate information longer term, as currently unknown                                                                   period only if the dynamic budget is
                                                 is finalized in this rule, but updated      changes in the EGU fleet occur. In this                                                        higher than the preset budget. For
                                                 EGU heat input and inventory                final rule, in response to comments, we                                                        control periods in 2030 and thereafter,
                                                 information is used on a rolling basis to have adjusted the proposal to give a                                                             the state emissions budgets will be the
                                                 set the total tons per ozone season for     greater role for preset budgets through                                                        dynamic budgets calculated and
                                                 each control period. Both methods of        2029, while dynamic budgeting will be                                                          published in the year before each
                                                 budget calculation are designed to set      phased in to provide greater certainty in                                                      control period.
                                                 budgets reflective of the emissions         the short term and allow for a transition                                                         In the dynamic budget calculation
                                                 control strategies and associated           period to an exclusively "dynamic"
                                                                                                                        ‘‘dynamic’’                                                         methodology, it is the fleet composition
                                                 stringency levels (expressed as an          approach beginning in 2030.                                                                    (reflected by heat input patterns across
                                                 emissions rate of pounds of NOx  NOX per       For the control periods from 2023                                                           the fleet in service, inclusive of EGU
                                                 mmBtu) identified for relevant EGU          through 2025, the preset budgets                                                               entry and exit) that is dynamic, while
ddrumheller on DSK120RN23PROD with RULES2




                                                 types at Step 3—which we will refer to      established in the rule will serve as the                                                      the emissions stringency finalized in
                                                                          ‘‘Step 3 emissions
                                                 in this section as the "Step                state emissions budgets for the control                                                        this rule is constant, as reflected in

                                                    310 One commenter expressed the view that eight
                                                   310                                                              EPA—HQ—OAR-2021-0668-0554,
                                                                                                                    EPA–HQ–OAR–2021–0668–0554, at 58–59.58-59. The                          the Group 3 trading program in the final rule. See
                                                 of the listed units within Nevada's
                                                                            Nevada’s borders appear                 EPA also received comments concerning sources                                                 EPA–HQ–OAR–2021–0668–
                                                                                                                                                                                            comments of Calpine, EPA—HQ—OAR-2021-0668-
                                                 to meet the CSAPR applicability criteria but                              Delaware’s borders that were included in the
                                                                                                                    within Delaware's                                                       0515; comments of Delaware City Refining, EPA—
                                                                                                                                                                                                                                        EPA–
                                                 provided no comments on the specific proposed                      proposal’s request for comment; these comments
                                                                                                                    proposal's                                                              HQ—OAR-2021-0668-0309.
                                                                                                                                                                                            HQ–OAR–2021–0668–0309.
                                                 data. See comments of Berkshire Hathaway Energy,                   are moot because Delaware is not being added to



                                            VerDate Sep<11>2014      20:14 Jun 02, 2023    Jkt 259001      PO 00000        Frm 00125       Fmt 4701      Sfmt 4700      E:\FR\FM\05JNR2.SGM         05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 164 of 430
                                                 36778
                                                 36778                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 emissions rates for various types of                    time period. During this period, the                  input values—as the latest
                                                 units. Multiplying the assumed                          state emissions budget for each state for             representative values to inform the 2028
                                                 emissions rate for each unit (as finalized              a given control period will be the preset             state emissions budget, which would
                                                 in this rule) by the identified recent                  state emissions budget unless the                     reflect the decline in coal heat input and
                                                 historical heat input for each unit and                 dynamic budget is higher. This                        replacement with natural gas heat input
                                                 summing the results to the state level                  approach accommodates scenarios                       (capturing the coal unit's
                                                                                                                                                                                     unit’s retirement).
                                                 would provide a given year's
                                                                          year’s state                   where baseline fossil heat input may                  Therefore, the heat input values under
                                                 dynamic emissions budgets. Dynamic                      exceed levels anticipated by EPA in the               the dynamic budget scenario reflect the
                                                 budgets are a product of the formula                    preset budgets (e.g., this could result               change in fleet composition, and when
                                                 promulgated in this action applied to a                 from greater electric vehicle penetration             multiplied by the relevant emissions
                                                 rolling three-year average of reported                                 VI.B.4–1 illustrates this
                                                                                                         rates). Table VI.B.4-1                                rates reflecting the Step 3 emissions
                                                 heat input data at the state level and a                scenario. In the preset budget approach               control stringency identified in this
                                                 rolling highest-three-of-five-year average              for 2028, the 2028 heat input is                      final rule, the corresponding emissions
                                                 of reported heat input data at the unit                 estimated based on the latest available               (15,000 tons) constitute a state budget
                                                 level. As such, the EPA is confident that               heat input data at the time of rule                   that reflects the identified control
                                                 dynamic budgets will more accurately                    proposal (i.e., 2021; see the subsection              stringency applied to the fleet
                                                 reflect power sector composition,                       on preset budget methodology later in                 composition for that year as opposed to
                                                 particularly in later years, and certainly              this section), which cannot reflect a                 the 17,000 tons in summed in the first
                                                 from 2030 and beyond, than preset                       subsequent change in fleet heat input                 table. However, for the 2026–2029
                                                                                                                                                                                         2026-2029
                                                 budgets could and will therefore better                 values (column 2) due to, e.g., increased             period, in which the EPA implements
                                                 implement the Step 3 emissions control                  utilization to meet increased electric                an approach that utilizes the higher of
                                                 stringency over long time horizons.                     load. However, the dynamic budget                     the dynamic budget or preset budget,
                                                    Starting in 2025 (for the 2026 control               would use 2022–2026
                                                                                                                      2022-2026 heat input values              the budget implemented for 2028 in this
                                                 period), the dynamic budgets, along                     at the unit level and 2024–2026
                                                                                                                                2024-2026 heat                 scenario would be the 17,000 ton preset
                                                 with the underlying data and                            input values at the state level—as                    amount.
                                                 calculations will be publicly                           opposed to 2021 heat input values—as
                                                 announced, and this will occur                                                                                   During the 2026–2029
                                                                                                                                                                              2026-2029 transition
                                                                                                         the latest representative values to                   period—during which substantial,
                                                 approximately one year before the                       inform the 2028 state emissions budget.               publicly announced utility
                                                 relevant control period begins. These                   Therefore, the heat input values in                   commitments exist for higher emitting
                                                 will be published in the Federal                        column 2 under the dynamic scenario
                                                 Register through notices of data                                                                              units to exit the fleet—it is still possible
                                                                                                         reflect the change in fleet utilization               that yet-to-be known, unit-specific
                                                 availability (NODAs), similar to how                    levels, and when multiplied by the
                                                 other periodic actions that are                                                                               retirements (such as illustrated in this
                                                                                                         emissions rates reflecting the Step 3                 second scenario) may result in dynamic
                                                 ministerial in nature to implement the                  emissions control stringency in this
                                                 trading programs are currently handled.                                                                       budgets that are lower than the preset
                                                                                                         final rule, the corresponding emissions               budgets finalized in this rule. However,
                                                 And as with such other actions,                         (18,700 tons) summed in column 4
                                                 interested parties will have the                                                                              during this transition period EPA
                                                                                                         constitute a state budget that more                   believes that having the preset budgets
                                                 opportunity to seek corrections or                      accurately reflects the Step 3 emissions
                                                 administrative adjudication under 40                                                                          serve as floors for the state emissions
                                                                                                         control stringency applied to the fleet               budgets is appropriate for two primary
                                                 CFR part 78 if they believe any data                    composition for that year, as opposed to
                                                 used in making these calculations, or                                                                         reasons identified by commenters. First,
                                                                                                         the 17,000 tons identified in the preset              commenters repeatedly emphasized the
                                                 the calculations themselves, are in error.
                                                    To illustrate how dynamic budgeting                  budget approach. As illustrated in the                need for certainty and flexibility to
                                                                                                         example, the dynamic variable is the                  successfully carryout plans for
                                                 will work after the transition from
                                                 preset budgets, the dynamic budgets for                 heat input variable, which changes over               significant fleet transition through the
                                                 the 2030 ozone season control period                    time. In this instance, the dynamic                   end of the decade. The 2026–2029
                                                                                                                                                                                         2026-2029
                                                 will be identified by May 1, 2029, using                budget value of 18,700 tons would be                  period is expected to have substantial
                                                 the latest available average of three                   implemented for 2028 instead of the                   fleet turnover. Current Form EIA-860
                                                                                                                                                                                                EIA–860
                                                 years of reported operational data at that              preset value, and thus accommodate the                data, in which utilities report their
                                                 time (i.e., the average of 2026–2028
                                                                            2026-2028 heat               unforeseen utilization changes in                     retirement plans, identify 2028 as the
                                                 input data at the state level and 2024–
                                                                                    2024-                response to higher demand.                            year with the most planned coal
                                                 2028 years of rolling data at the unit                     In the second table, Table VI.B.4-2,
                                                                                                                                        VI.B.4–2,              capacity retirements during the 2023–
                                                                                                                                                                                                   2023-
                                                 level) applied in a simple mathematical                 the dynamic budget is lower than the                  2029 timeframe. Using preset budgets as
                                                 formula finalized in this rule, which                   preset budget due to retirements that                 state emissions budget floors provides
                                                 multiplies this heat input data by the                  were not foreseen at the time the preset              states and utilities with information on
                                                 emissions rates quantified in this rule.                budgets were determined. In the preset                minimum quantities of allowances that
                                                 Therefore, if a unit retires before the                 budget approach for 2028, the 2028 heat               can be used for planning purposes. In
                                                 start of the 2028 ozone season but had                  input is still estimated based on the                 turn, this fosters the operational
                                                 not announced its upcoming retirement                   latest available heat input data at the               flexibility needed while putting
                                                 at the time of this rule's
                                                                     rule’s finalization, the            time of rule proposal (i.e., 2021), which             generation and transmission solutions
                                                 dynamic budget approach ensures that                    cannot reflect a subsequent fleet change              into place to accommodate such
                                                                                                         in heat input values due to an                        elevated levels of retirements. Second,
ddrumheller on DSK120RN23PROD with RULES2




                                                 the dynamic budgets for 2030 and
                                                 subsequent control periods would                        unanticipated retirement of one of the                the latter part of the decade has a
                                                 represent the identified control                        state’s coal-fired units before the start of
                                                                                                         state's                                               significant amount of unit-level firm
                                                 stringency applied to a fleet reflecting                the 2028 ozone season. However, the                   retirements already planned and
                                                 that retirement.                                        dynamic budget again would use 2022– 2022-            announced for purposes of compliance
                                                    The two examples discussed next                      2026 heat input values at the unit level              with other power sector regulations or
                                                 illustrate the implementation of the                    and 2024–2026
                                                                                                              2024-2026 heat input values at the               fulfillment of utility commitments.
                                                 dynamic budget during the 2026–2029
                                                                                2026-2029                state level—as opposed to 2021 heat                   These known retirements are already


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00126   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                                      Document #2009836                                   Filed: 07/27/2023                        Page 165 of 430
                                                                            Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                    Register/Vol.                                                                                                                                      36779
                                                                                                                                                                                                                                       36779

                                                 captured in the preset state budgets,                                     will fully capture all prior retirements              reported with a planned retirement is
                                                 with the result that the likelihood and                                   and new builds when the fleet is                      less than 2 GW each year.311
                                                                                                                                                                                                       year.311 This yet-
                                                 magnitude of instances where a state's
                                                                                   state’s                                 entering this period where unit-specific              to-be available data and relative lack of
                                                 dynamic budget for a given control                                        data on such plans is less frequently                 currently known firm retirement plans
                                                 period would be lower than its preset                                     available. For instance, through the                  for 2030 and beyond make dynamic
                                                 budget for the control period is reduced                                  remaining portion of the decade, the                  budget implementation for those years
                                                 in this 2026–2029
                                                         2026-2029 period relative to                                      amount of coal steam retirements                      essential for state emissions budgets to
                                                 control periods further in the future for                                 identified and reported through Form                  maintain the Step 3 control stringency
                                                 which retirement plans have not yet                                       EIA–860 is nearly 7 GW each year.
                                                                                                                           EIA-860                                               required under this rule.
                                                 been announced. After 2029, the                                           However, for the decade beginning in
                                                 dynamic budgets from 2030 forward                                         2030—the amount of capacity currently

                                                   TABLE VI.B.4-1—EXAMPLE
                                                   TABLE VI.B.4–1—EXAMPLE OF PRESET
                                                                             PRESET AND DYNAMIC
                                                                                        DYNAMIC B
                                                                                                BUDGET  CALCULATION IN S
                                                                                                 UDGET CALCULATION     SCENARIO    INCREASED F
                                                                                                                        CENARIO OF INCREASED FOSSIL HEAT
                                                                                                                                              OSSIL HEAT
                                                                                                  INPUT
                                                                                                  INPUT

                                                                                                                                   Preset budget approach (2028)                          Dynamic budget approach (2028)

                                                                                                                              Preset           Preset             Preset tons                              Emissions                  Tons
                                                                                                                                             emissions                       ×
                                                                                                                                                                 (heat input x     Heat input                  rate                           ×
                                                                                                                                                                                                                                  (heat input x
                                                                                                                             heat input         rate               emissions         (tBtu)                                        emissions
                                                                                                                               (tBtu)       (Ib/mmBtu)
                                                                                                                                            (lb/mmBtu)            rate)/2000                               (Ib/mmBtu)
                                                                                                                                                                                                           (lb/mmBtu)
                                                                                                                                                                                                                                   rate)/2000
                                                 Coal Units ............................................................            600                0.05             15,000                 660                     0.05              16,500
                                                 Gas Units .............................................................            400                0.01              2,000                 440                     0.01               2,200
                                                       State Budget (tons) ...................................... .................... ......................           17,000    ....................   ......................          18,700

                                                           TABLE VI.B.4-2—EXAMPLE
                                                           TABLE VI.B.4–2—EXAMPLE OF PRESET AND D
                                                                                     PRESET      YNAMIC B
                                                                                                DYNAMIC BUDGET CALCULATION IN S
                                                                                                         UDGET CALCULATION    SCENARIO    UNANTICIPATED
                                                                                                                               CENARIO OF UNANTICIPATED
                                                                                                   R
                                                                                                   RETIREMENT
                                                                                                    ETIREMENT

                                                                                                                                   Preset budget approach (2028)                          Dynamic budget approach (2028)

                                                                                                                              Preset           Preset             Preset tons                              Emissions                  Tons
                                                                                                                                             emissions                       ×
                                                                                                                                                                 (heat input x     Heat input                  rate                           ×
                                                                                                                                                                                                                                  (heat input x
                                                                                                                             heat input         rate               emissions         (tBtu)                                        emissions
                                                                                                                               (tBtu)       (Ib/mmBtu)
                                                                                                                                            (lb/mmBtu)            rate)/2000                               (Ib/mmBtu)
                                                                                                                                                                                                           (lb/mmBtu)
                                                                                                                                                                                                                                   rate)/2000
                                                 Coal Units ............................................................            600                0.05             15,000                 500                     0.05              12,500
                                                 Gas Units .............................................................            400                0.01              2,000                 500                     0.01               2,500
                                                       State Budget (tons) ...................................... .................... ......................           17,000    ....................   ......................          15,000


                                                    In summary, for the control periods in notice regarding the total quantities of                                              retirement plans), the PJM Retirement
                                                 2023 through 2025, EPA is providing        allowances available to accommodate                                                  Tracker, utilities'
                                                                                                                                                                                           utilities’ integrated resource
                                                 only preset budgets in this final rule     compliance planning through the latter                                               plans, notification of compliance plans
                                                 because those control periods are in the half of the decade, during a period of                                                 with other EPA power sector regulatory
                                                 immediate future and would not             particularly high fleet transition                                                   requirements, and other information
                                                 substantially benefit from the use of      expected with or without this                                                        sources that EPA routinely canvasses to
                                                 future reported data. For these years, the rulemaking.                                                                          populate the data fields included in the
                                                 certainty around new builds and               EPA’s emissions budget methodology
                                                                                               EPA's                                                                             Agency’s NEEDS database. The EPA has
                                                                                                                                                                                 Agency's
                                                 retirements is higher than ensuing years. and formula for establishing Group 3                                                  updated this data on retirements and
                                                 For the ozone season control periods of    budgets are described in detail in the                                               new builds using the latest information
                                                 2026 through 2029, EPA is providing        Ozone Transport Policy Analysis Final                                                available from these sources at the time
                                                 both preset budgets in this final rule and Rule TSD and summarized later in this                                                of final rule development as well as
                                                 dynamic budgets via future ministerial     section.                                                                             input provided by commenters.
                                                 actions. For those control periods from    a. Methodology for Determining Preset                                                   For determining preset state
                                                 2026 through 2029, the preset budgets                                                                                           emissions budgets, the EPA generally
                                                                                            State Emissions Budgets for the 2023
                                                 finalized in this rule serve as floors,    Through 2029 Control Periods                                                         uses historical ozone season data from
                                                                    state’s dynamic budget
                                                 such that a given state's                                                                                                       the 2021 ozone season, the most recent
                                                 ultimately calculated and published for       To compose preset state emissions                                                 data available to EPA and to
                                                 that control period will apply to that     budgets, the EPA is using the best                                                   commenters responding to this
                                                 state’s affected EGUs only if it is higher
                                                 state's                                    available data at the time of developing                                             rulemaking’s
                                                                                                                                                                                 rulemaking's proposal and providing a
ddrumheller on DSK120RN23PROD with RULES2




                                                 than the corresponding preset budget       this final rule regarding retirements and                                            reasonable representation of near-term
                                                 finalized in this rulemaking. This         new builds. The EPA relies on a                                                      fleet conditions. This is similar to the
                                                 approach is in response to stakeholder     compilation of data from Form EIA-860
                                                                                                                              EIA–860                                            approach taken in the CSAPR Update
                                                 comments requesting more advance           (where facilities report their future                                                and the Revised CSAPR Update, where


                                                   311 See 2021 Form EIA Form 860—Schedule 3,
                                                   311

                                                 Generator Data. Department of Energy, Energy
                                                 Information Administration.

                                            VerDate Sep<11>2014        20:14 Jun 02, 2023       Jkt 259001      PO 00000      Frm 00127   Fmt 4701   Sfmt 4700    E:\FR\FM\05JNR2.SGM      05JNR2
                                                       USCA Case #23-1157                                      Document #2009836                                             Filed: 07/27/2023                Page 166 of 430
                                                 36780
                                                 36780                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 the EPA likewise began with data for the                                adjusting 2021 unit-level data to reflect                           lb/mmBtu or less in the historical
                                                 most recent ozone season at the time of                                 changes announced and planned to                                    baseline, the EPA lowered that unit's
                                                                                                                                                                                                                               unit’s
                                                 proposal (2015 and 2019, respectively).                                 occur by 2023). The EPA adjusted the                                assumed emissions rate to 0.08 lb/
                                                   By using historical unit-level NOx
                                                                                   NOX                                   2021 ozone-season data to reflect                                   mmBtu and calculated the impact on
                                                 emissions rates, heat input, and                                        committed fleet changes expected to                                     unit’s mass emissions. Note that the
                                                                                                                                                                                             the unit's
                                                 emissions data in the first stage of                                    occur in the baseline. This includes                                heat input is held constant for the unit
                                                 determining preset emissions budgets,                                   announced and confirmed retirements,                                in the process, reflecting the same level
                                                 the EPA is grounding its budgets in the                                 new builds, and retrofits that occur after                          of unit operation compared to historical
                                                 most recent representative historical                                   2021 but prior to 2023. For example, if                             2021 data. The improved emissions rate
                                                 operation for the covered units at the                                  a unit emitted in 2021, but retired prior                           of 0.08 lb/mmBtu is applied to this
                                                 time EPA began its final rulemaking.                                    to May 1, 2022, its 2021 emissions                                  constant heat input, reflecting control
                                                 This data set is a reasonable starting                                  would not be included in the 2023                                   optimization. In this manner, the unit-
                                                 point for the budget-setting process as it                              baseline estimate. For units that had no                            level totals from Step 1 are adjusted to
                                                 reflects recent publicly available and                                  known changes, the EPA uses the actual                              reflect the additional application of the
                                                 quality assured data reported by affected                               emissions, heat input, and emissions                                assumed control technology at a given
                                                 facilities under 40 CFR part 75, largely                                rates reported for 2021 as the baseline                             control stringency. This is illustrated in
                                                 using CEMS. The reporting                                               starting point for calculating the 2023                             Table VI.B.4.a-1.
                                                                                                                                                                                                    VI.B.4.a–1. Row 1 reflects the
                                                 requirements include quality control                                    state emissions budgets. Using this                                 2021 historical data for this SCR-
                                                 measures, verification measures, and                                    method, the EPA arrived at a baseline                               controlled unit. Row 2 reflects no
                                                 instrumentation to best record and                                      emission, heat input, and emissions rate                            change (as there are no known changes
                                                 report the data. In addition, the                                       estimate for each unit for a future year                            such as planned retirement or coal-to-
                                                 designated representatives of EGU                                       (e.g., 2023).                                                       gas conversion). Row 3 reflects
                                                 sources are required to attest to the                                      The second step in deriving the preset                           application of the Step 3 stringency (i.e.,
                                                 accuracy and completeness of the data.                                  state emissions budgets is for EPA to                               a 0.08 lb/mmBtu emissions rate from
                                                   The first step in deriving the future                                 take the adjusted historical data from                              SCR optimization). The resulting impact
                                                 year state emissions budget is to                                       Step 1, and adjust the emissions rates                              on emissions is a reduction from the
                                                 calibrate historical data to planned                                    and mass emissions to reflect the                                   historical 4,700 tons to an expected
                                                 future fleet conditions. EPA does this by                               control stringencies identified as                                  future level of 615 tons. A state's
                                                                                                                                                                                                                          state’s preset
                                                 adjusting this historical baseline                                      appropriate for EGUs of that type. For                              budget for a given control period is the
                                                 information to reflect the known                                        instance, if an SCR-equipped unit was                               sum of the amounts computed in this
                                                 changes (e.g., when deriving the 2023                                   not operating its SCR so as to achieve                              manner for each unit in the state for the
                                                 state emissions budget, EPA starts by                                   a seasonal average emissions rate of 0.08                           control period.

                                                           TABLE VI.B.4.a-1—EXAMPLE
                                                           TABLE VI.B.4.a–1—EXAMPLE OF UNIT-LEVEL
                                                                                       UNIT-LEVEL DATA
                                                                                                  DATA CALCULATIONS
                                                                                                       CALCULATIONS FOR DERIVING
                                                                                                                        DERIVING STATE
                                                                                                                                 STATE EMISSIONS
                                                                                                                                       EMISSIONS B
                                                                                                                                                 BUDGETS
                                                                                                                                                  UDGETS

                                                                                                                                                                                             Heat input       Emission      Emissions
                                                                                                                                                                                                                 rate
                                                                                                                                                                                               (tBtu)        (Ib/mmBtu)
                                                                                                                                                                                                             (lb/mmBtu)      (tons)

                                                 Historical Data (2021) ..................................................................................................................        15.384            0.61           4,700
                                                 Step 1 (Baseline)—Historical data adjusted for planned changes .............................................                                     15.384            0.61           4,700
                                                 Step 2—Baseline further adjusted for Step 3 stringency ............................................................                              15.384            0.08             615


                                                    For each control period from 2026                                    pollution control measure). The           Therefore, EPA believes it is important
                                                 onward, the unit-specific emissions                                     emissions rates assigned to these large   to incorporate expected new builds,
                                                 rates assumed for all affected states                                   coal-fired EGUs for 2027 state emissions retirements, and unit changes already
                                                 except Alabama, Minnesota, and                                          budget computations reflect the full      slated to occur. Ignoring these factors
                                                 Wisconsin will reflect the selected                                     assumed SCR retrofit emissions            would dilute, rather than strengthen, the
                                                 control stringency that incorporates                                    potential at those units, by applying the ability of preset budgets to capture the
                                                 post-combustion control retrofit                                        controlled emissions rate only. For       most representative fleet of EGUs to
                                                 opportunities for the relevant units                                    example, a coal steam unit greater than   which they will be applied. Omitting
                                                 identified in the state emissions budgets                               or equal to 100 MW currently lacking a    scheduled retirements and new builds
                                                 and calculations appendix to the Ozone                                  SCR and emitting at 0.20 lb/mmBtu         from state emissions budgets would
                                                 Transport Policy Analysis Final Rule                                    would be assumed to reduce its            reflect units that power sector operators
                                                 TSD. The emissions rates assigned to                                    emissions rate to 0.125 lb/mmBtu rate in and planning authorities do not expect
                                                 large coal-fired EGUs for 2026 state                                    2026 and 0.050 lb/mmBtu rate in 2027      to exist, while failing to reflect units
                                                 emissions budget computations only                                      for purposes of deriving its preset state that are expected to exist.
                                                 reflect 50 percent of the SCR retrofit                                  emissions budgets in those years.           EPA notes it is using the best
                                                 emissions reduction potential at each of                                  Comment:
                                                                                                                           Comment: Some commenters                available data at the time of the final
                                                 those units, to capture the phase-in                                    suggested that EPA should not reflect     rule. EPA relies on a compilation of data
                                                                                                                         planned retirements in its preset         from Form EIA-860
                                                                                                                                                                               EIA–860 where facilities
ddrumheller on DSK120RN23PROD with RULES2




                                                 approach EPA is taking for this control
                                                 as described in section VI.A of this                                    budgets. The suggestion stems from        report their future retirement plans. In
                                                 document. The EPA calculates these                                      commenters’ observation that those
                                                                                                                         commenters'                               addition, EPA is using data from
                                                 unit-level emissions rates in 2026 as the                               retirement decisions may yet change.      regional transmission organizations who
                                                 sum of the unit's
                                                             unit’s baseline emissions rate                                Response: The effectiveness of EPA's
                                                                                                                           Response:                        EPA’s  are cataloging, evaluating, and
                                                 and its controlled emissions rate                                       future year preset state emissions        approving such retirement plans and
                                                 divided by two (i.e., 50 percent of the                                 budgets depends on how well they are      data; data from notifications submitted
                                                 emissions reduction potential of that                                   calibrated to the expected future fleet.  directly to EPA by the utility themselves


                                            VerDate Sep<11>2014        20:14 Jun 02, 2023        Jkt 259001     PO 00000       Frm 00128       Fmt 4701      Sfmt 4700      E:\FR\FM\05JNR2.SGM     05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023                     Page 167 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                                        36781
                                                                                                                                                                                                                36781

                                                 through comments; and retirement                           We further observe that the                           conditions for the period in which they
                                                 notifications submitted to permitting                   commenters’ concern is only materially
                                                                                                         commenters'                                              are applied.
                                                 authorities. This information is highly                 meaningful for the 20232023 through 2025                    Comment:
                                                                                                                                                                     Comment: Some commenters
                                                 reliable, real-world information that                   preset budget periods, where the                         suggested that EPA should use a multi-
                                                 provides EPA with the high confidence                   currently known information is                           year baseline for all of its state budget
                                                 that such retirements will in fact occur.               generally the most reliable. For the                     derivations, including preset budgets, to
                                                    If a unit's
                                                         unit’s future retirement does not               2026–2029
                                                                                                         2026-2029 control periods, if an                         control for outlier years that may not be
                                                 occur on the currently scheduled date,                  anticipated fleet change such as an EGU                  representative of future years due to
                                                 EPA observes that such an unexpected                    retirement does not actually occur, the                  major weather events or other fleet
                                                 departure from the currently available                  dynamic budget setting methodology                       disruptions (such as a large nuclear unit
                                                 evidence would still not undermine the                  would, all else being equal, generate a                  outage).
                                                 ability of affected EGUs to comply with                 budget reflective of that unit's
                                                                                                                                     unit’s                          Response: For preset state emissions
                                                 their applicable state budgets. EPA's
                                                                                   EPA’s                 continued operation (as the budget                       budget derivation, EPA is finalizing use
                                                 approach of using historical data and                   would be based on the preceding years                    of the same single-year 316
                                                                                                                                                                                            316 historical

                                                 incorporation only of announced fleet                   of historical data), and that dynamic                    baseline approach it used in the
                                                 changes in estimating its future                        budget will supplant the preset budget                   proposed rule. This approach is similar
                                                 engineering analytics baseline means                    for that state (if it represents a total                 to the Revised CSAPR Update, where
                                                 that its future year baseline generation                quantity of emissions higher than the                    EPA also relied on a single-year
                                                 and retirement outlook for higher                       preset budget).                                          historical baseline to inform its Step 3
                                                                                                            Because the future is inherently                                  EPA’s interest in a historical
                                                                                                                                                                  approach. EPA's
                                                 emitting sources is more likely to
                                                 understate future retirements (rather                   uncertain, all analytic tools and                        data set to inform this part of the
                                                 than overstate as suggested by                          information resources used in any                        analysis is to capture the most
                                                 commenter), as EPA does not assume for                  estimation of future EGU emissions will                  representative view of the power sector.
                                                                                                         yield some differences between the                       For estimating preset state budgets, EPA
                                                 the purpose of preset budget
                                                 quantification any retirements beyond                   projected future and the realized future.                finds that, particularly at the state level,
                                                                                                         Such potential differences may either                    more recent data is a better
                                                 those that are already planned. In other
                                                                                                         increase or decrease future emissions in                 representation and basis for future year
                                                 words, in the 2023
                                                                  2023 through 2029
                                                                                 2029
                                                                                                         practice, and the unavoidable existence                  baselines rather than incorporating
                                                 timeframe for which EPA is establishing
                                                 tirnefrarne
                                                                                                         of such differences does not, on its own,                older data. Taking as an example preset
                                                 preset state emissions budgets in this
                                                                                                                     EPA’s inclusion of currently
                                                                                                         render the EPA's                                         budget estimation for the 2023 through
                                                 rulemaking, there are more likely to be                                                                          2025 ozone seasons, the EPA is able to
                                                 additional future EGU retirements                       announced retirements an unreasonable
                                                                                                         feature of the methodology for                           compare its single-year base line to an
                                                 beyond those scheduled prior to the                                                                              alternative multi-year baseline (e.g., a 3-
                                                 finalization of this rule than there are to             determining future year preset
                                                                                                         emissions budgets. To the contrary, if                   year baseline encompassing 2020–2022)
                                                                                                                                                                                                  2020-2022)
                                                 be reversed or substantially delayed                                                                             and determine that the single year
                                                 changes to already announced EGU                        the EPA failed to include these
                                                                                                         announced retirements, the rule would                    baseline better reflects future fleet
                                                 retirement plans. For instance,                                                                                  operation expectation than a multi-year
                                                 subsequent to the EPA's
                                                                      EPA’s finalization of              knowingly authorize amounts of
                                                                                                                                                                  baseline that incorporates units which
                                                 the Revised CSAPR Update Rule                           additional, sustained pollution that are
                                                                                                         not currently expected to occur. If those                have since retired as well as outlier
                                                 budgets for 2023
                                                                2023 (rule finalized in
                                                                                                                                                                  patterns in load during pandemic-
                                                 March 2021),
                                                          2021), the owners of Sammis
                                                                                 Sarnrnis                retirements largely or entirely occur as
                                                                                                                                                                  related shutdowns.
                                                 Units 5–7
                                                         5-7 and Zimmer Unit 1 in Ohio                   currently scheduled, the overestimated                      EPA recognizes that 2021 is the latest
                                                 (totaling nearly 3 GW of coal capacity)                 state budgets would allow other EGUs to                  available historical data as of the
                                                 announced that the units would retire                   emit additional pollution in place of the
                                                                                                                                                                  preparation of this rulemaking, and
                                                 by 2023—nearly
                                                     2023—nearly 5 years earlier than                    emissions from the retired EGUs instead
                                                                                                                                                                  therefore the most up-to-date picture of
                                                 previously planned.        313 These coal
                                                                        312 313
                                                               planned.312                               of maintaining or improving their                        the fleet at the time EPA began its
                                                 retirements were not captured in Ohio's
                                                                                       Ohio’s            emissions performance to eliminate
                                                                                                                                                                  analysis. EPA then further evaluates the
                                                 2023
                                                 2023 or 2024
                                                           2024 state emissions budgets                  significant contribution with                            2021 historical data at the state level to
                                                 established under the Revised CSAPR                     nonattainment and interference with                      determine whether it was a
                                                 Update. Meanwhile, there have been no                                           NAAQS.315
                                                                                                         maintenance of the NAAQS.315                             representative starting point for
                                                 announcements of previously                               Additionally, as noted elsewhere,                      estimating future year baseline levels
                                                 announced retirement plans being                        EPA’s use of a market-based program, a
                                                                                                         EPA's                                                    and subsequently deriving the preset
                                                 rescinded or delayed for other Ohio                     starting bank of converted allowances,                   state emissions budgets. If the Agency
                                                 units. Similarly, the Joppa Power Plant                 and variability limits are all features                  finds any state-level anomalies, it makes
                                                 in Illinois accelerated its retirement                  that will readily accommodate whatever                   necessary adjustments to the data.
                                                 from 2025    to 2022
                                                        2025 to  2022 shortly after the                  relatively limited differences in                        While unit-level variation may occur
                                                 Revised CSAPR Update Rule was                           emissions may occur if a currently
                                                                                                                                                                  from year-to-year, those variations are
                                                 signed.314
                                                 signed.314                                              scheduled EGU retirement is ultimately                   often offset by substitute generation
                                                                                                         postponed during the preset budget
                                                                                                                                                                  from other units within the state.
                                                   312 Available at https://www.prnewswire.com/
                                                   312                                                   years of 2023
                                                                                                                   2023 through 2025.
                                                                                                                                   2025. Therefore,
                                                                                                                                                                  Therefore, EPA conducts its first
                                                 news-releases/energy-harbor-transitions-to-100-         EPA’s resulting preset state emissions
                                                                                                         EPA's
                                                 carbon-free-energy-infrastructure-company-in-2023-                                                               screening at the state level by
                                                                                                         budgets—inclusive of expected fleet
ddrumheller on DSK120RN23PROD with RULES2




                                                 301501879.html.                                                                                                  identifying any states where 2021 heat
                                                                                                         turnover—are robust to the inherent
                                                   313 Available at https://www.spglobal.com/
                                                   313

                                                 commodityinsights/en/market-insights/latest-news/
                                                 commodityinsightslenlmarket-insights/latest-news/       uncertainty in future year baseline                         316 For the purposes of this rulemaking, when
                                                                                                                                                                     316
                                                 coal/071921-vistra-plans-to-retire-13-gw-zimmer-
                                                 coa1/071921-vistra-plans-to-retire-13-gw-zimmer-                                                                               ‘‘year’’ or "years"
                                                                                                                                                                  describing a "year"       ‘‘years’’ of data utilized in
                                                 coal-plant-in-ohio-five-years-early.                      315
                                                                                                           315 Some of these announced retirements reflect        state emission budget computations, the EPA is
                                                   314 Available at https://www.prnewswire.com/
                                                   314                                                       operator’s reported intention to EPA to retire the
                                                                                                         the operator's                                           actually utilizing the relevant data from May 1
                                                 news-releases/joppa-power-plant-to-close-in-2022-       affected capacity by that time as part of their          through September 30 of the referenced year(s),
                                                 as-company-transitions-to-a-cleaner-future-             compliance with effluent limitation guidelines or        consistent with the control period duration of this
                                                 301263013.html.                                         with the coal combustion residuals rule.                 rule’s EGU trading program.
                                                                                                                                                                  rule's



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00129   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM     05JNR2
                                                       USCA Case #23-1157                                         Document #2009836                                Filed: 07/27/2023                  Page 168 of 430
                                                 36782
                                                 36782                         Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 input and 2021 emissions were the                                     latest, most representative data in a                    input. Ozone seasons for which a unit
                                                 lowest year for heat input and emissions                              manner that is robust to any substantial                 reported zero heat input are excluded
                                                 relative to the past several years (2018-
                                                                                       (2018–                          state-level or region-level outlier events               from the averaging of the three highest
                                                 2022, excluding 2020 due to shut downs                                within that dataset and further validates                heat input values for that unit. These
                                                 and corresponding reduced utilization                                 EPA’s comprehensive approach to using
                                                                                                                       EPA's                                                    representative unit-level heat input
                                                                             onset).317
                                                 related to the pandemic onset).     317 318                           the most recent single year of data for                  values established for each unit
                                                 Then, for that limited number of states                               preset budgets.                                          individually are then summed for all
                                                 (AL, LA, MS, and TX) in which 2021                                                                                             units in each state. Each unit's
                                                                                                                                                                                                            unit’s
                                                                                                                       b. Methodology for Determining
                                                 reflects the minimum fossil fuel heat                                                                                          representative unit-level heat input is
                                                 input and minimum emissions over the
                                                                                                                       Dynamic State Emissions Budgets for
                                                                                                                       Control Periods in 2026 onwards                          then divided into this state-level sum to
                                                 baseline evaluation period, EPA—                                                                                               get that unit's
                                                                                                                                                                                         unit’s representative percent of
                                                 similar to prior rules—evaluated                                         In this final rule, the EPA is finalizing             the aggregated average heat input values
                                                 whether any unit-level anomalies in                                   an approach of using multi-year                          for all affected EGUs in that state.
                                                 operation were driving this lower heat                                baseline data for purposes of dynamic
                                                 input at the state level. EPA examined                                budget computation. The                                     Next, EPA calculates a representative
                                                 unit-level 2021 outages to determine                                  aforementioned testing of the                            state-level heat input by taking the
                                                 where an individual unit-level outage                                 representative nature of a single year of                average state-level total heat input
                                                 might yield a significant difference in                               baseline data for purposes of preset                     across affected EGUs from the most
                                                 state heat input, corresponding                                       budget setting is not possible in the                    recent three ozone seasons for which
                                                 emissions baseline and resulting state                                dynamic budget process as that data                      data have been reported, to which the
                                                 emissions budgets. When applying this                                 will not be available until a later date.                above-derived representative unit-level
                                                 test to all of the units in the previously                            Further, the EPA generally agrees with                   percentages of heat input are applied.
                                                 identified states (and even when                                      commenters that use of a multi-year                      The EPA uses a three-year baseline
                                                 applying to EGUs in all states for whom                               period will be more robust to any                        period for state-level heat input versus
                                                 Federal implementation plans are                                      unrepresentative outlier years in fleet                  the five-year baseline period noted
                                                 finalized in this rulemaking), the EPA                                operation and thus better suited for                     previously for unit-level heat input
                                                 determined that the only unit with a                                  purposes of dynamic budgets. The                         because there is less variation from year
                                                 2021 outage that (1) decreased its output                             methodology for determining dynamic                      to year at the state level compared to the
                                                 relative to preceding or subsequent                                   state emissions budgets for later control                unit level. Multiplying the
                                                 years by 75 percent or more (signifying                               periods (2026 and beyond) relies on a                    representative unit-level percentages of
                                                 an outage), and (2) could potentially                                 nearly identical methodology for                         heat input by the representative state-
                                                 impact the state's
                                                              state’s emissions budget                                 applying unit-level emissions rate                       level heat input yields a normalized
                                                 substantially as it constituted more than                             assumptions as the preset budget                         unit-level heat input value for each
                                                 5 percent of the state's
                                                                    state’s heat input in a                            methodology. But it uses more recent                     affected EGU. This step assures that the
                                                 non-outage year was Daniel Unit 2 in                                  heat input data that will become                         total heat input being reflected in a
                                                 Mississippi. EPA therefore adjusted this                              available by that future time, employing                 dynamic state budget does not exceed
                                                 state’s baseline heat input and NOx
                                                 state's                             NOX                               a multi-year approach for identifying                    the average total heat input reported by
                                                 emissions to reflect the operation of this                            the heat input data so as to ensure                      affected EGUs in that state from the
                                                 unit based on its 2019 data—which was                                 representativeness.                                      three most recent years. Finally, each
                                                 the second most recent year of data                                      For dynamic budgets, EPA uses more                    normalized unit-level heat input value
                                                 available at the time of proposal                                     years of baseline data to control for any                is multiplied by the emissions rate
                                                 (excluding 2020 given atypical impacts                                state-level and unit-level variation that                reflecting the assumed unit-specific
                                                 from pandemic-related shutdowns) for                                  may occur in a future single year that is                control stringency for each particular
                                                 which this unit operated. The EPA then                                not possible to identify at present. First,              year (determined at Step 3) to get a unit-
                                                 applied the Step 3 mitigation strategies                              for each unit operating in the most                      level emissions estimate. These unit-
                                                 as appropriate to this unit (i.e.,                                    recent ozone season for which data have                  level emissions estimates are then
                                                 combustion controls upgrade in 2024,                                  been reported, EPA identifies the                        summed to the state level to identify the
                                                 SCR retrofit in 2026/2027) to derive this                             average of the three highest unit-level                  dynamic budget for that year. This
                                                 portion of Mississippi's
                                                              Mississippi’s budget. This                               heat input values from the five ozone                    procedure to derive normalized unit-
                                                 test, and subsequent adjustment as                                    seasons ending with that ozone season                    level heat input is captured in the
                                                 necessary, enables EPA to utilize the                                 to get a representative unit-level heat                  following table:
                                                                                             TABLE VI.B.4.b-1—DERIVATION
                                                                                             TABLE VI.B.4.b–1—DERIVATION OF NORMALIZED
                                                                                                                               NORMALIZED UNIT-LEVEL H
                                                                                                                                          UNIT-LEVEL HEAT INPUT
                                                                                                                                                      EAT INPUT
                                                                                                                         [Illustrative]

                                                                                                                                                      Representative                               Representative
                                                                                             2022        2023      2024      2025        2026          unit-level heat     Representative          state level heat       Normalized
                                                                                             Heat        Heat      Heat      Heat        Heat               input            unit-level                 input             unit—level
                                                                                             input       input     input     input       input           (avg of 3            percent                (avg 3 most          heat input
                                                                                                                                                     highest of past 5)                          recent state totals)

                                                 Unit A ..................................     100          200       150      200         300                       233             41%                            483          199
                                                 Unit B ..................................      50          100       200       50         100                       133               24                           483          114
ddrumheller on DSK120RN23PROD with RULES2




                                                 Unit C ..................................     250          150       150      200         100                       200               35                           483          170


                                                   317 EPA identified states for which 2021 both heat
                                                   317                                                                   318 EPA also conducted a similar test to identify
                                                                                                                         318                                                    lower levels and was correlated with retirements
                                                 input and emissions were the low year among the                       states in which 2021 heat input and emissions were       elsewhere in the region—indicating that some of
                                                 examined baseline period as a preliminary screen                      the high year among the examined baseline period         this heat input increase may be representative of the
                                                 to identify potential instances where reduced                         and found that it was for both Utah and                  future fleet and that planned retirements factored
                                                 utilization may lead to an understated emissions                      Pennsylvania. However, for both states the elevated      into preset budget will remove any unrepresentative
                                                 baseline value.                                                       heat input trend persisted into 2022 (at slightly        heat input from 2021.



                                            VerDate Sep<11>2014           20:14 Jun 02, 2023         Jkt 259001   PO 00000   Frm 00130    Fmt 4701    Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                                     Document #2009836                                Filed: 07/27/2023                                  Page 169 of 430
                                                                           Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                   Register/Vol.                                                                                                                                                      36783
                                                                                                                                                                                                                                                      36783

                                                                              TABLE VI.B.4.b-1
                                                                              TABLE VI.B.4.b–1—DERIVATION OF N
                                                                                              —DERIVATION    NORMALIZED       UNIT-LEVEL H
                                                                                                              ORMALIZED UNIT-LEVEL       HEAT INPUT—Continued
                                                                                                                                          EAT INPUT—Continued
                                                                                                               [Illustrative]

                                                                                                                                                 Representative                                            Representative
                                                                                        2022        2023      2024      2025        2026          unit-level heat      Representative                      state level heat                      Normalized
                                                                                        Heat        Heat      Heat      Heat        Heat               input             unit-level                             input                            unit—level
                                                                                        input       input     input     input       input           (avg of 3             percent                            (avg 3 most                         heat input
                                                                                                                                                highest of past 5)                                       recent state totals)

                                                     State Total ....................     400          450       500      450         500                       567   ............................   ........................................   ......................



                                                    The EPA will issue these dynamic                              corresponding data and formulas, and                           subsequently reduced utilization by the
                                                 budget quantifications approximately 1                           examples for the dynamic budget are                            target year for which the dynamic
                                                 year before the relevant control period.                         described in the Ozone Transport Policy                        budget is being calculated) to estimate
                                                 We view such actions as ministerial in                           Analysis Final Rule TSD.                                       the expected future fleet performance at
                                                 nature in that no exercise of agency                                Comment:
                                                                                                                     Comment: Multiple commenters                                the emissions performance levels
                                                 discretion is required. For instance,                            claimed that designing a dynamic                               determined by the Step 3 result in this
                                                 starting in early 2025, the EPA would                            budget process that relies on a single                         rulemaking, that drawback is worth the
                                                 take the most recent three years of state-                       year of yet-to-be known heat input data                        advantage of protecting against
                                                 level heat input data and the most                               may produce an unrepresentative view                           instances where atypical circumstances
                                                 recent five years of unit-level heat input                       of fleet operations for the immediate                          in the most recent single year may occur
                                                 data and calculate 2026 state emissions                          ensuing years. Commenters pointed to                           and not be representative of the
                                                 budgets using the methodology                                    the hypothetical of another pandemic-                          subsequent year for which the dynamic
                                                 described previously. For 2026–2029,
                                                                              2026-2029,                          like year (e.g., 2020) occurring in the                        budget is being estimated. This singular
                                                 EPA is establishing the preset state                             future, noting that 2020 would have                            drawback of moving to a multi-year
                                                 emissions budgets finalized in this                              been a poor choice for estimating 2022                         baseline is most pronounced in the early
                                                 rulemaking and will only supplant                                fleet operation and the same would                             years of dynamic budgeting. Therefore,
                                                 those preset emissions budgets with the                          likely hold true if a similar event                            EPA is able to lessen the impact of this
                                                 to-be-published dynamic emissions                                occurred, for example, in 2025—that                            drawback of the multi-year baseline by
                                                 budgets if, for a given state and a given                        would consequently make that year a                            extending the earliest start date of
                                                 control period, that dynamic budget                              poor choice as a representative of 2027                        dynamic budgets from 2025 (as
                                                 yields a higher level of emissions than                          baseline. They further pointed out that                        proposed) to 2026 in the final rule.
                                                 the corresponding preset budget                                  severe weather events and operating                               Comment:
                                                                                                                                                                                    Comment: Commenters suggested that
                                                 finalized in this rulemaking. For 2030                           disruptions (a large nuclear plant                             the dynamic budget procedure would
                                                 and beyond, the EPA solely uses the                              outage) can similarly render a single                          not provide enough advance notice of
                                                 dynamic budget process.                                          year baseline a risky choice to inform                         state budget and unit level allocation for
                                                    By March 1 of 2025, and each year                             future expectations.                                           sources to adequately plan future year
                                                 thereafter, the EPA will make publicly                              Response: Insofar as the commenters
                                                                                                                     Response:                                                   operation.
                                                 available through a NODA the                                     are addressing the reference period for                           Response: EPA disagrees with the
                                                                                                                                                                                    Response:
                                                 preliminary state emissions budgets for                          dynamic budget computation regarding                           notion that the timing of the dynamic
                                                 the subsequent control period and will                           years of data that have not yet occurred                       budget determination would occur too
                                                 provide stakeholders with a 30-day                               and therefore not currently available for                      close to the control period to allow
                                                 opportunity to submit any objections to                          evaluating their representative nature,                        adequate operations planning for
                                                 the updated data and computations.                               EPA agrees and is incorporating a                              compliance. As described previously,
                                                 (This process will be similar to the                             rolling 3-year baseline at the state level                     the dynamic budget level would be
                                                 releases of data and preliminary                                 and a rolling 5-year baseline at the unit                      provided approximately 1 year in
                                                 computations for allocations from new                            level for determining dynamic budgets                          advance of the start of the control period
                                                 unit set-asides that is already used in                          in this final rule. These multi-year                           (i.e., around May 1), and the allowance
                                                 existing CSAPR trading programs.) By                             rolling baseline (or reference periods)                        allocations would occur on July 1,
                                                 May 1 of 2025, and each year thereafter,                         will minimize any otherwise undue                              approximately 10 months prior to the
                                                 the EPA will publish the dynamic                                 impact from individual years where                             start of the compliance period. Not only
                                                 budgets for the ozone-season control                             fleet-level or unit-level heat input was                       is this an adequate amount of time as
                                                 period in the following calendar year.                           uncharacteristically high or low. EPA                          demonstrated by the successful
                                                 Through the 2029 ozone season control                            determined that such an approach,                              implementation of past rules that have
                                                 period, these budgets will only be                               while not needed for preset budgets, is                        been finalized and implemented within
                                                 imposed if the applicable dynamic state                          necessary in the case of dynamic                               several months of the beginning of the
                                                 budget is higher than the corresponding                          budgets because the baseline in that                           first affected compliance period (e.g.,
                                                 preset state budget finalized in this                            instance is occurring in a future year                         Revised CSAPR Update), but EPA notes
                                                 rulemaking. Preliminary and final unit-                          and therefore is not knowable and                              it is maintaining similar trading
                                                 level allowance allocations for the units                        available to test for representativeness at                    program flexibility and banking
                                                 in each state in each control period will                        the time of the final rule. To control for                     flexibilities of past programs which
                                                 be published on the same schedule as                             this type of uncertainty, the EPA finds                        provide further opportunities for
ddrumheller on DSK120RN23PROD with RULES2




                                                 the dynamic budgets for the control                              it appropriate to use a multi-year                             sources to procure allowances and plan
                                                 period. For the control periods from                             baseline in this instance per commenter                        for any future operating conditions.
                                                 2026 through 2029, the allocations will                          suggestion. While a multi-year baseline                        Finally, as noted previously, the EPA is
                                                 reflect the higher of the preset or                              may have a slight drawback of using a                          providing preset budgets for the years
                                                 dynamic budget for each state, and after                         slightly more dated past fleet                                 2023–2029,
                                                                                                                                                                                 2023-2029, which serve as an effective
                                                 2030, the allocations will reflect the                           performance (including emissions from                          floor on the state's
                                                                                                                                                                                               state’s ultimate emissions
                                                 dynamic budgets. Additional details,                             higher emitting EGUs that may have                             budget level for years 2026–2029,
                                                                                                                                                                                                           2026-2029, as


                                            VerDate Sep<11>2014       20:14 Jun 02, 2023        Jkt 259001   PO 00000   Frm 00131    Fmt 4701    Sfmt 4700   E:\FR\FM\05JNR2.SGM              05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 170 of 430
                                                 36784
                                                 36784                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 states will receive the higher of the                   budgets for 2023 through 2025 based                   limit for a given control period so that
                                                 preset or dynamic budget for those                      upon 2021 data, and at no point in the                the percentage value used will be the
                                                 years. This provision of certain preset                 long history of EPA's
                                                                                                                          EPA’s trading programs               higher of 21 percent or the percentage
                                                 state emissions budgets serving as a                    has such a data lag in state budget                   (if any) by which the total reported heat
                                                 floor level for 2026–2029
                                                                  2026-2029 should further               computation yielded any compliance                    input of the state's
                                                                                                                                                                             state’s affected EGUs in the
                                                           commenters’ concerns regarding
                                                 assuage commenters'                                     problems for affected EGUs. Without                   control period exceeds the total reported
                                                 planning certainty about allowance                      dynamic budgeting, the data lag                       heat input of the state's
                                                                                                                                                                                  state’s affected EGUs
                                                 allocations and state emissions budget                  inherent in calculating preset budgets                                     state’s emissions
                                                                                                                                                               as reflected in the state's
                                                 levels during this period of power sector               would grow unabated with the passage                  budget for the control period. Thus, if in
                                                 transition to cleaner energy sources.                   of time, as a fixed reference year of heat            year 2030, for example, a state's
                                                                                                                                                                                            state’s actual
                                                    Comment:
                                                    Comment: Commenters raised                           input levels would continually apply                  heat input levels increase to a level that
                                                 concerns that there is a two-year lag in                regardless of potentially higher heat                 is not reflected in the dynamic budget
                                                 the dynamic budgets in that, for                        input levels farther and farther into the             calculation using earlier years of data,
                                                 example, for the dynamic budget in the                  future. By eliminating the increase in                the assurance level (which absent the
                                                 2026 control period, the calculations                   the length of the data lag, this new                  unusually high heat input would be 121
                                                 will be based on heat input and                         dynamic budgeting approach is a                       percent of the state's
                                                                                                                                                                               state’s budget) will be
                                                 inventory information reflective of data                substantial improvement in                            calculated by the EPA following the
                                                 through 2024. Commenters contend                        performance of the program relative to                2030 ozone season, using that higher
                                                 that, if there is a much greater need for               previous approaches that were not                     reported heat input. This will avoid
                                                 allowances for compliance due to                        capable of capturing changes over time                imposing a three-for-one allowance
                                                 unavoidable or unforeseen need for a                    in the fleet and its utilization beyond               surrender penalty on sources except
                                                 higher amount of heat input than                        the scheduled changes known to the                    where emissions exceed the assurance
                                                 reflected in prior years'
                                                                      years’ data, the budget            EPA at the time of establishing preset                level even factoring in the increase in
                                                 for that control period will not reflect                budgets.                                              heat input in that year. Finally, as some
                                                 this need, and the allowances will only                                                                       commenters observed, the inherent data
                                                                                                            The EPA disagrees that this lag will in
                                                 become available when the dynamic                                                                             lag in dynamic budget quantification
                                                                                                         fact pose compliance challenges for
                                                 budget is calculated using that                                                                               means that a state budget for the year
                                                 information (i.e., 2025 data would be                   EGUs even if the unlikely scenario
                                                                                                                                                               2030 will continue to reflect emissions
                                                                                                         described by commenters were to occur.
                                                 reflected starting in the 2027 dynamic                                                                        from any EGU that retires before the
                                                                                                         Several factors influence this. First, the
                                                 budget). According to commenters, this                                                                        2030 control period but is still operating
                                                 lag could present a serious compliance                  change in methodology to preset                       anytime during the 2026–2028
                                                                                                                                                                                      2026-2028 reference
                                                 challenge. Other commenters raised a                    budgets serving as a floor on budgets
                                                                                                                                                               years from which the 2030 dynamic
                                                 concern in the opposite direction about                 through 2029 means that the dynamic                   budget will be calculated. Given the
                                                 the potential "slack"
                                                                 ‘‘slack’’ created by the lag            budget methodology can only produce                   likely ongoing trend of relatively high-
                                                 time—meaning that as high-emitting                      an increase in the budget from this final             emitting EGU retirements over time, this
                                                 units retire, their emissions and                       rule through that year. Second, the                   method for determining dynamic
                                                 operation will still inform the state                   adoption of a multi-year approach for                 budgets should further assist the ability
                                                 emissions budgets for additional years                  identifying the heat input used to                    of remaining EGUs to obtain sufficient
                                                 beyond their retirement due to the lag.                 calculate the dynamic budgets will                    allowances to cover future heat input
                                                    Response: The EPA recognizes there                   smooth the year-to-year budget changes                levels.
                                                 will be a data lag inherent in the                      and effectively eliminate the possibility                With respect to the comments
                                                 computation of future year dynamic                      of greatest concern, which was that a                 expressing concern that dynamic
                                                 emissions budgets, because the dynamic                  single year of unusually low heat input               budgets would create too much slack
                                                 budgets will reflect fleet composition                  would be used to set the budget for a                 because of the lag in incorporating
                                                 and utilization data from recent                        subsequent year that turned out to have               retirements, the EPA observes that
                                                 previous control periods rather than the                unusually high heat input. While a year               dynamic budgets will yield a closer
                                                 control periods for which the dynamic                   of unusually high heat input for a given              representation of Step 3 control
                                                 budgets are being calculated. This                                                  state’s budgets
                                                                                                         state may still occur, the state's                    stringency across the future fleet than
                                                 means that the resulting dynamic                        for those years will never be based on                preset budgets for years in which
                                                 budgets will reflect a limited lag behind               heat input from an anomalously low                    retirement plans are currently relatively
                                                 the actual pace of the EGU fleet's
                                                                                 fleet’s trends.         year, but instead will always be based                unknown. Moreover, any risk that the
                                                 However, on the whole, those trends are                                            years’ heat
                                                                                                         on an average of several years'                       lag would lead to an unacceptably large
                                                 clearly toward more efficient and                       input. Third, because the Group 3                     surplus of allowances is limited by
                                                 cleaner generating resources. Thus, the                 trading program is an interstate program              EPA’s finalization of the annual bank
                                                                                                                                                               EPA's
                                                 data lag on the whole will inure to the                 implemented over a wide geographic                    recalibration to 21 percent and 10.5
                                                 compliance benefit of EGUs by resulting                 region, and it is unlikely that all regions           percent of the budget beginning in 2024
                                                 in dynamic budgets that are generally                   of the country would uniformly                        and 2030 respectively. The
                                                 calculated at levels likely to be                       experience a marked increase in fossil                corresponding risk that a lag will lead
                                                 somewhat higher than what a dynamic                     fuel heat input necessitating an                      sources to not operate emissions
                                                 budget calculation reflecting real-time                 additional supply of allowances, it is                controls, due to a surplus of allowances,
                                                 EGU operations would produce. The                       likely that allowances will be available              is also limited by the backstop daily
                                                                                                         for trade from one area of the country
ddrumheller on DSK120RN23PROD with RULES2




                                                 EPA believes this data lag is worthwhile                                                                      emissions rates that start in 2024 (for
                                                 to provide more compliance planning                     where there is less demand to another                 sources with existing SCR controls) and
                                                 certainty and advance notice to affected                area where there is greater demand.                   no later than 2030 for other coal-fired
                                                 EGUs of the dynamic budget applicable                   Fourth, as explained in section VI.B.5 of             sources.
                                                 to an upcoming control period.                          this document, each state's
                                                                                                                                state’s assurance                 Comment:
                                                                                                                                                                  Comment: Commenters allege that the
                                                 Furthermore, this data lag in dynamic                   level will adjust to reflect actual heat              dynamic budget methodology is
                                                 budget computation is comparable to                     input in that year. Specifically, the EPA             effectively a "one-way
                                                                                                                                                                             ‘‘one-way ratchet"
                                                                                                                                                                                         ratchet’’ because,
                                                 the data lag of quantifying preset state                will determine each state's
                                                                                                                                state’s variability            if EGUs pursue compliance strategies


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00132   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                                          Document #2009836                                 Filed: 07/27/2023              Page 171 of 430
                                                                                     Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations
                                                                             Federal Register/Vol.                                                                                                                    36785

                                                 such as reduced utilization or                                              whole, modulate the dynamic budgets                  slack) budgets and corresponding
                                                 generation shifting to comply with the                                      such that the budgets over time will                 conditions where the incentive to
                                                 rule rather than install or optimize                                        only gradually change with changes in                operate a control dissipated over time.
                                                 pollution controls pursuant to the                                          the operating profile of the EGU fleet.              In the event that sources reduce
                                                 identified Step 3 emissions control                                            For the control periods 2030 and later,           utilization whether for compliance
                                                 strategies, the effect will be that the                                     this rule is premised on the expectation             purposes or market-driven reasons, that
                                                 dynamic budget calculated in a future                                       that all large coal-fired EGU sources                also does not obviate the importance of
                                                 year will reflect that reduced heat input,                                  identified for SCR-retrofit potential will,          continuing to incentivize the Step 3
                                                 but the applied emissions rate                                              if they continue operating in 2030 or                emissions control stringency at
                                                 assumption will be the same. Thus, the                                      later, have installed the requisite post-            identified sources.
                                                 approach according to commenters                                            combustion controls. Thus, the backstop
                                                 actually "punishes"
                                                            ‘‘punishes’’ sources for                                         daily emissions rate applies for all such            c. Final Preset State Emissions Budgets
                                                 achievement of emissions reductions                                         sources beginning in the 2030 ozone
                                                                         EPA’s Step 3                                        season. In this latter period (post-2030),              For affected EGUs in each covered
                                                 commensurate with EPA's
                                                 determinations through alternative                                          the EPA disagrees that the dynamic                   state (and Indian country within the
                                                 compliance means, by producing a                                            budget will punish fleet segments                    state’s borders), this final rule
                                                                                                                                                                                  state's
                                                 smaller budget in later years (less heat                                    seeking to continue to pursue a strategy             establishes preset budgets for the
                                                 input multiplied by the same emissions                                      of reduced utilization. Rather, the                  control periods 2023 through 2029. For
                                                 rate). If the source again reduces                                          dynamic budget will simply continue to               control periods 2026 through 2029, any
                                                 utilization or shifts generation to                                         reflect the Step 3 emissions control                 of those preset budgets may be
                                                 comply with this budget, then budgets                                       stringency. For instance, if there are two           supplanted by the corresponding
                                                 in later years will again ratchet down,                                     otherwise high-emitting sources in a                 dynamic budget that will be tabulated at
                                                 and so on.                                                                  state that can reduce emissions by                   later date, if and only if that dynamic
                                                    Response: First, the claims of                                           operating SCR, this rule's
                                                                                                                                                    rule’s control                budget yields a higher amount. For 2030
                                                 dynamic budgeting being a one-way                                           stringency finds it cost effective for both          and beyond, the dynamic budget
                                                 ratchet are incorrect. As pointed out at                                    sources to operate their controls. If one            formula promulgated in this rule will be
                                                 proposal, the dynamic budget process                                        source retires and is replaced by new                applied to future year data to quantify
                                                 would allow for increased utilization to                                    lower-emitting generation, it is not a               state emissions budgets for those control
                                                 result in increased budgets. Moreover,                                      punishment to have the budgets adjust                periods. The procedures for allocating
                                                 this concern is entirely mooted for the                                     in a way that still incentivize remaining            the allowances from each state budget
                                                 period 2026 through 2029 with the shift                                     units to operate their controls. This is             among the units in each state (and
                                                 to preset budgets serving as a floor;                                       simply right-sizing the budget to an                                               state’s
                                                                                                                                                                                  Indian country within the state's
                                                 dynamic budgeting can only increase                                         evolving fleet. It is a feature of the rule,         borders) are described in section VI.B.9
                                                 the budget used in any given year in this                                   not a flaw, and is designed to address               of this document. The amounts of the
                                                 time period. Additionally, the use of a                                     observed instances in prior rules where              final preset state emissions budgets for
                                                 multi-year average heat input in the                                        market-driven reduced utilization                    the 2023 through 2029 control periods
                                                 budget-setting calculations will, on the                                    resulted in non-binding (i.e., overly                are shown in Table VI.B.4.c-1.
                                                                                                                                                                                                        VI.B.4.c–1.

                                                         TABLE VI.B.4.c-1-CSAPR
                                                         TABLE VI.B.4.c–1—CSAPR NOx
                                                                                NOX OZONE
                                                                                    OZONE SEASON G
                                                                                          SEASON  ROUP 3 PRESET
                                                                                                 GROUP         PRESET STATE E
                                                                                                                      STATE EMISSIONS BUDGETS FOR THE 2023
                                                                                                                             MISSIONS BUDGETS
                                                                                       THROUGH 2029 CONTROL
                                                                                       THROUGH       CONTROL P     ERIODS
                                                                                                                  PERIODS
                                                                                                  [Tons] aa bb

                                                                                                                                     Final         Final          Final         Preset        Preset       Preset      Preset
                                                                                                                                  emissions     emissions      emissions      emissions     emissions    emissions   emissions
                                                                                   state
                                                                                   State
                                                                                                                                   budgets       budgets        budgets        budgets       budgets      budgets     budgets
                                                                                                                                   for 2023      for 2024       for 2025       for 2026      for 2027     for 2028    for 2029

                                                 Alabama .................................................................            6,379          6,489            6,489        6,339         6,236       6,236       5,105
                                                 Arkansas ................................................................            8,927          8,927            8,927        6,365         4,031       4,031       3,582
                                                 Illinois .....................................................................       7,474          7,325            7,325        5,889         5,363       4,555       4,050
                                                 Indiana ...................................................................         12,440         11,413           11,413        8,410         8,135       7,280       5,808
                                                 Kentucky ................................................................           13,601         12,999           12,472       10,190         7,908       7,837       7,392
                                                 Louisiana ................................................................           9,363          9,363            9,107        6,370         3,792       3,792       3,639
                                                 Maryland ................................................................            1,206          1,206            1,206          842           842         842         842
                                                 Michigan .................................................................          10,727         10,275           10,275        6,743         5,691       5,691       4,656
                                                 Minnesota ...............................................................            5,504          4,058            4,058        4,058         2,905       2,905       2,578
                                                 Mississippi ..............................................................           6,210          5,058            5,037        3,484         2,084       1,752       1,752
                                                 Missouri ..................................................................         12,598         11,116           11,116        9,248         7,329       7,329       7,329
                                                 Nevada ...................................................................           2,368          2,589            2,545        1,142         1,113       1,113         880
                                                 New Jersey ............................................................                773            773              773          773           773         773         773
                                                 New York ...............................................................             3,912          3,912            3,912        3,650         3,388       3,388       3,388
                                                 Ohio ........................................................................        9,110          7,929            7,929        7,929         7,929       6,911       6,409
ddrumheller on DSK120RN23PROD with RULES2




                                                 Oklahoma ...............................................................            10,271          9,384            9,376        6,631         3,917       3,917       3,917
                                                 Pennsylvania ..........................................................              8,138          8,138            8,138        7,512         7,158       7,158       4,828
                                                 Texas .....................................................................         40,134         40,134           38,542       31,123        23,009      21,623      20,635
                                                 Utah ........................................................................       15,755         15,917           15,917        6,258         2,593       2,593       2,593
                                                 Virginia ...................................................................         3,143          2,756            2,756        2,565         2,373       2,373       1,951
                                                 West Virginia ..........................................................            13,791         11,958           11,958       10,818         9,678       9,678       9,678
                                                 Wisconsin ...............................................................            6,295          6,295            5,988        4,990         3,416       3,416       3,416




                                            VerDate Sep<11>2014         20:14 Jun 02, 2023          Jkt 259001      PO 00000      Frm 00133   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                                        Document #2009836                                  Filed: 07/27/2023              Page 172 of 430
                                                 36786
                                                 36786                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                    Register/Vol.

                                                       TABLE VI.B.4.c-1—CSAPR
                                                       TABLE VI.B.4.c–1—CSAPR NO
                                                                              NOx OZONE S
                                                                                X OZONE  EASON G
                                                                                        SEASON  ROUP 3 PRESET
                                                                                               GROUP          PRESET STATE E
                                                                                                                     STATE           BUDGETS FOR THE 2023
                                                                                                                            MISSIONS BUDGETS
                                                                                                                           EMISSIONS
                                                                                THROUGH 2029 CONTROL
                                                                                THROUGH      CONTROL P       ERIODS—Continued
                                                                                                         PERIODS—Continued
                                                                                                [Tons] aa bb

                                                                                                                                  Final         Final          Final          Preset        Preset       Preset       Preset
                                                                                                                               emissions     emissions      emissions       emissions     emissions    emissions    emissions
                                                                                 State                                          budgets       budgets        budgets         budgets       budgets      budgets      budgets
                                                                                                                                for 2023      for 2024       for 2025        for 2026      for 2027     for 2028     for 2029

                                                      Total ................................................................     208,119        198,014           195,259      151,329       119,663     115,193       105,201
                                                    Table Notes:
                                                    aa The state emissions budget calculations pertaining to Table VI.B.4.c-1
                                                                                                                       VI.B.4.c–1 are described in greater detail in the Ozone Transport Policy Analysis
                                                 Final Rule TSD. Budget calculations and underlying data are also available in Appendix A of that TSD.
                                                     b
                                                     b In the event this final rule becomes effective after May 1, 2023, the emissions budgets and assurance levels for the 2023 control period will
                                                 be adjusted under the rule's
                                                                            rule’s transitional provisions to ensure that the increased stringency of the new budgets would apply only after the rule's
                                                                                                                                                                                                  rule’s
                                                 effective date. The 2023 budget amounts shown in Table VI.B.4.c-1VI.B.4.c–1 do not reflect these possible adjustments. The transitional provisions are
                                                 discussed in section VI.B.12 of this document.


                                                 5. Variability Limits and Assurance          requirement to surrender allowances at                                                   state’s variability limit for a given
                                                                                                                                                                                each state's
                                                 Levels                                       a ratio of one allowance per ton of                                               control period so that, instead of always
                                                                                              emissions. In contrast, emissions above                                                              state’s emissions budget
                                                                                                                                                                                multiplying the state's
                                                    Like each of the other CSAPR trading            state’s assurance level for a given
                                                                                              the state's                                                                       for the control period by a value of 21
                                                 programs, the Group 3 trading program        control period are strongly discouraged                                           percent, the percentage value used will
                                                 includes assurance provisions designed as inconsistent with the state's        state’s good                                    be the higher of 21 percent or the
                                                 to limit the total emissions from the        neighbor obligations and are subject to                                           percentage (if any) by which the total
                                                 sources in each state (and Indian            an overall 3-for-1 allowance surrender                                            reported heat input of the state's
                                                                                                                                                                                                              state’s
                                                                       state’s borders) in
                                                 country within the state's                   ratio. The establishment of assurance                                             affected EGUs in the control period
                                                 each control period to an amount close       levels with associated extra allowance                                            exceeds the total historical heat input of
                                                         state’s emissions budget for the
                                                 to the state's                               surrender requirements was intended to                                                 state’s affected EGUs as reflected in
                                                                                                                                                                                the state's
                                                 control period, consistent with the                                    Circuit’s holding in
                                                                                              respond to the D.C. Circuit's                                                          state’s emissions budget for the
                                                                                                                                                                                the state's
                                                 principle that each state's
                                                                       state’s sources must   North Carolina requiring the EPA to                                               control period. For example, if the total
                                                 be held to the elimination of significant ensure within the context of an                                                      reported heat input of the state's
                                                                                                                                                                                                              state’s
                                                 contribution within that state, while        interstate trading program that sources                                           covered sources for the 2025 control
                                                 allowing some flexibility beyond the         in each state are required to address                                             period is 130 percent of the historical
                                                 emissions budget to accommodate year- their good neighbor obligations within                                                   heat input used in computing the state'sstate’s
                                                 to-year operational variability beyond       the state and may not simply shift those                                          2025 budget, then the state's
                                                                                                                                                                                                          state’s variability
                                                 sources’ reasonable ability to control.
                                                 sources'                                     obligations to other states by failing to                                         limit for the 2025 control period will be
                                                 For each state, the assurance provisions reduce their own emissions and instead                                                30 percent of the state's
                                                                                                                                                                                                     state’s emissions
                                                 establish an assurance level for each        surrendering surplus allowances                                                   budget instead of 21 percent of the
                                                 control period, defined as the sum of the purchased from sources in other                                                      state’s emissions budget. The EPA
                                                                                                                                                                                state's
                                                 state’s emissions budget for the control
                                                 state's                                      states.319
                                                                                              states.319                                                                        expects that the minimum 21 percent
                                                 period plus a variability limit, which          In this rulemaking, the EPA did not                                            will apply in almost all instances, and
                                                 under the Group 3 trading program            propose and is not making changes to                                              that the alternative, higher percentage
                                                 regulations in effect before this            the basic structure of the Group 3                                                value will apply only in control periods
                                                 rulemaking was 21 percent of the             trading program’s
                                                                                                        program's assurance provisions,                                         where operational variability causes an
                                                 relevant state emissions budget. The         which will continue to set an assurance                                           unusually large increase relative to the
                                                 purpose of the variability limit is to       level for each control period equal to the                                        historical data used in setting the state's
                                                                                                                                                                                                                       state’s
                                                 account for year-to-year variability in      state’s emissions budget for the control
                                                                                              state's                                                                           emissions budget, which would be a
                                                 EGU operations, which can occur for a        period plus a variability limit and will                                          situation meriting a temporarily higher
                                                 variety of reasons including changes in      continue to apply a 3-for-1 surrender                                             variability limit and assurance level.
                                                 weather patterns, changes in electricity     ratio to emissions exceeding the state's       state’s                            The revised methodology for
                                                 demand, and disruptions in electricity       assurance level.     320 Each assurance level
                                                                                                            leve1.32°                                                           determining the variability limits will
                                                 supply from other units or from the          also will continue to apply to the                                                apply both with respect to control
                                                 transmission grid. Because of the need       collective emissions of all units within                                          periods when a state's
                                                                                                                                                                                                   state’s emissions budget
                                                 to account for such variability in           the state and Indian country within the                                           is a preset budget established in this
                                                                                              state’s borders.321
                                                                      state’s EGUs, the fact state's
                                                 operations of each state's                            borders.321 However, the EPA is                                          final rule and with respect to control
                                                                            state’s EGUs
                                                 that emissions from the state's              making a change to the methodology for                                            periods when a state's
                                                                                                                                                                                                   state’s emissions budget
                                                                   state’s emissions budget determining the variability limits.
                                                 may exceed the state's                                                                                                         is a dynamically-determined budget
                                                 for a given control period is not treated    Specifically, the EPA will determine                                              computed using the procedures laid out
                                                 as inconsistent with satisfaction of the                                                                                       in the regulations, and it will apply
                                                                                                319 531 F.3d at 908.
                                                 state’s good neighbor obligations as long
                                                 state's                                        319
                                                                                                                                                                                starting with the 2023 control period
                                                                                                320 As discussed in section VI.B.8, the EPA is also
                                                 as the total emissions from the EGUs
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                329
                                                                                              establishing a new secondary emissions limitation
                                                                                                                                                                                rather than starting with the 2025
                                                                     state’s assurance level. for individual units that will apply in situations
                                                 remain below the state's                                                                                                       control period as proposed.
                                                 Emissions from a state's
                                                                     state’s EGUs above the where an exceedance of the relevant state'sstate’s                                     The purpose of the revision to the
                                                 state’s emissions budget but below the
                                                 state's                                      assurance level has occurred.                                                     variability limits is to better align the
                                                                                                321 See 40 CFR 97.1002 (definitions of "common
                                                                                                                                           ‘‘common
                                                 state’s assurance level are treated in the
                                                 state's                                        321                                                                             variability limits for successive control
                                                                                              designated representative,"
                                                                                                          representative,’’ "common
                                                                                                                            ‘‘common designated
                                                 same manner as emissions below the           representative's            level" and "common
                                                                                              representative’s assurance level’’        ‘‘common
                                                                                                                                                                                periods with the heat input data used in
                                                 state’s emissions budget in that such
                                                 state's                                      designated representative's
                                                                                                          representative’s share"),
                                                                                                                            share’’), 97.1006(c)(2),                            setting the state emissions budgets.
                                                 emissions are subject to the same            and 97.1025.                                                                      Under the final rule, each dynamically


                                            VerDate Sep<11>2014       20:14 Jun 02, 2023         Jkt 259001      PO 00000      Frm 00134   Fmt 4701   Sfmt 4700    E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                             Document #2009836                             Filed: 07/27/2023                 Page 173 of 430
                                                                       Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                                    36787
                                                                                                                                                                                                             36787

                                                 determined emissions budget will be                      apply the same principle in setting the               on that analysis, the variability limits
                                                 computed using the latest available                      variability limit in control periods                  for ozone season NOxNOX in both CSAPR
                                                 reported heat input, which for each                      where the preset floor budgets are used               and the CSAPR Update were set at 21
                                                 budget set for a control period in 2026                  as in control periods where the                       percent of each state's
                                                                                                                                                                                  state’s budget, and these
                                                 or a later year will be the average state-               dynamically determined budgets are                    variability limits for the NOx
                                                                                                                                                                                            NOX ozone
                                                 level heat input for the control periods                 used, because the preset floor budgets                season trading programs were then
                                                 two, three, and four years before the                    are computed using the same principles                codified in 40 CFR 97.510 and 97.810,
                                                 control period whose budget is being                     as the dynamically determined budgets,                along with the respective state
                                                 determined (for example, the dynamic                     with the major difference being that the              budgets.323 For the Revised CSAPR
                                                                                                                                                                budgets.323
                                                 state emissions budgets for the 2026                     available heat input data used in                     Update, the EPA performed an updated
                                                 control period will be computed in early                 computing the preset budgets are                      variability analysis for the twelve states
                                                 2025 using the reported state-level heat                 necessarily less current. Accordingly,                being moved into the Group 3 trading
                                                 input for the 2022–2024
                                                                2022-2024 control                         because preset budgets established in                 program in that rulemaking, evaluating
                                                 periods). The revised variability limits                 this manner are used starting with the                historical state-level heat input
                                                 will be well coordinated with the                        2023 control period, the EPA believes it              variability over the period from 2000
                                                 budgets established using this dynamic                   is also reasonable to begin                           through 2019. The updated analysis
                                                 budgeting process, because the                           implementing the revised methodology                  again resulted in a variability estimate
                                                 percentage change in the actual heat                     for determining variability limits                    of 21 percent. The EPA also considered
                                                 input for the control period relative to                 starting with the 2023 control period.                shorter time periods for the updated
                                                 the earlier multi-year average heat input                   The reason the EPA is using the                    analysis and found that the resulting
                                                 used in computing the state's
                                                                           state’s emissions              higher of a fixed 21 percent or the                   variability estimates were not especially
                                                 budget will be an appropriate measure                    percentage change in heat input                       sensitive to the particular time period
                                                 of the degree of operational variability                 computed as just described is that the                analyzed.324 A further updated analysis
                                                                                                                                                                analyzed.324
                                                                                 state‘s EGUs
                                                 actually experienced by the state's                      EPA believes that, for operational                    for this rulemaking again results in a
                                                 in the control period relative to the                    planning purposes, it can be useful for               variability estimate of 21 percent for
                                                 assumed operating conditions reflected                   sources to know in advance of the                     most states, and although the historical
                                                        state’s budget. Setting a
                                                 in the state's                                           control period a minimum value for                    analysis indicates a higher percentage
                                                 variability limit in this manner is thus                 what the variability limit could turn out             for the covered state with the smallest
                                                 entirely consistent with the overall                     to be. Because a state's
                                                                                                                              state’s actual total heat         total heat input figures in this analysis—
                                                 purpose of including variability limits                  input for a control period is not known               New Jersey—the EPA does not consider
                                                 in the assurance provisions.                             until after the end of the control period,            it appropriate to raise the minimum
                                                    As discussed in sections VI.B.1.b.i                   this revision will have the consequence               variability limit percentage beyond 21
                                                 and VI.B.4, for the 2023–2025
                                                                      2023-2025 control                             state’s final variability limit and
                                                                                                          that the state's                                      percent for all other covered states
                                                 periods the state emissions budget for a                 assurance level for the control period                based on the analytic results for one
                                                 given control period will be the preset                  also will not be known until after the                state, where small absolute heat input
                                                 budget determined in this rule, and for                  control period. However, because the                  figures have resulted in a larger
                                                 the 2026–2029
                                                     2026-2029 control periods, the state                 rule provides that the variability limit              variability percentage.
                                                                                                                                                                            percentage.325325 (Moreover,
                                                 emissions budget for a given control                     will always be at least 21 percent, the               because of the provision allowing a
                                                 period will be the preset budget                         sources in a state will be able to rely for           state’s variability limit for a given
                                                                                                                                                                state's
                                                 determined in this rule rather than the                  planning purposes on the knowledge                    control period to be higher than 21
                                                 dynamically determined budget                            that the assurance level will always be               percent if the state's
                                                                                                                                                                               state’s actual heat input
                                                 computed in the year before the control                  at least 121 percent of the state's
                                                                                                                                         state’s                exceeds the heat input used to set the
                                                 period unless the dynamic budget is                      emissions budget for the control period.              state’s emissions budget by more than
                                                                                                                                                                state's
                                                 higher than the preset budget. If the                    Advance knowledge of the minimum                      21 percent, there is no need to set a
                                                 state emissions budget is the preset                     possible amount of the assurance level                minimum variability limit higher than
                                                 budget, the historical heat input data                   can be useful to sources, because one                 21 percent specifically for New Jersey.)
                                                 reflected in that budget will be the heat                way a fleet owner can be confident that               Based on the consistent conclusions of
                                                 input data for the 2021 control period,                  it will never incur the 3-for-1 allowance             these multiple analyses, the EPA is
                                                 adjusted to reflect projected changes in                 surrender ratio owed for emissions                    continuing to use 21 percent as the
                                                 fleet composition over time that are                     exceeding its state's
                                                                                                                          state’s assurance level is to
                                                 known at the time of this rulemaking,                    plan its operations so as to never allow                 323 Briefly, the 21 percent variability limit was
                                                                                                                                                                   323

                                                 but not adjusted to reflect changes in                   the emissions from its fleet to exceed                determined in the analysis by identifying, for all the
                                                 fleet composition that are not known at                       fleet’s aggregated share of the state's
                                                                                                          the fleet's                            state’s        states in the region covered by the ozone season
                                                                                                                                                                NOX trading program, and at a 95 percent
                                                                                                                                                                NOx
                                                 the time of the rulemaking or changes in                 assurance level for the control period.               confidence level, the maximum expected deviation
                                                 the utilization of individual units.322
                                                                                 units.322 In             Knowing that the variability limit will               in any state's
                                                                                                                                                                        state’s total heat input for any single control
                                                 this case, the variability limit for the                 always be at least 21 percent will                    period in the data sample from that state's
                                                                                                                                                                                                       state’s trend-
                                                                                                                                                                adjusted mean total heat input for all the control
                                                 control period would be the higher of 21                 provide sources with minimum values                   periods in the data sample. For details on the
                                                 percent or the percentage change in the                  they could use for such planning                      original variability analysis for 26 states over the
                                                 actual heat input for the control period                 purposes.                                             2000–2010
                                                                                                                                                                2000-2010 period, including a description of the
                                                 relative to the heat input for the 2021                     The EPA believes that 21 percent is a              methodology, see the Power Sector Variability Final
                                                 control period as adjusted to reflect the                reasonable value to use as the minimum                Rule TSD from the CSAPR (EPA–HQ–OAR–2009–
                                                                                                                                                                                              (EPA—HQ—OAR-2009-
                                                                                                                                                                0491–4454),
                                                                                                                                                                0491-4454), available in the docket for this rule.
ddrumheller on DSK120RN23PROD with RULES2




                                                 projected changes in fleet composition.                  variability limit. To determine                          324 For the updated variability analysis for twelve
                                                                                                                                                                   324
                                                 The EPA believes it is reasonable to                     appropriate variability limits for the                states for the 2000-2019
                                                                                                                                                                                2000–2019 period, see the Excel file
                                                                                                          trading programs established in CSAPR,                ‘‘Historical Variability in Heat Input 2000 to
                                                                                                                                                                "Historical
                                                    322 The total heat input amount used in
                                                    322                                                   the EPA analyzed historical state-level               2019.xls’’, available in the docket for this rule.
                                                                                                                                                                2019.xls",
                                                 computing each state's
                                                                   state’s preset emissions budget for    heat input variability over the period                   325
                                                                                                                                                                   325 See the Excel document, "OS‘‘OS Heat Input—
                                                 each control period from 2023 through 2029 is                                                                  Variability 2000 to 2021.xls’’
                                                                                                                                                                                      2021.xls" for updated data,
                                                 included in Appendix A of the Ozone Transport
                                                                                                          from 2000 through 2010 as a proxy for                 application of the CSAPR variability methodology,
                                                 Policy Analysis Final Rule TSD at column I of the        emissions variability, assuming constant              and results applied to heat input for 2000 through
                                                 ‘‘State 2023"—"State
                                                 "State  2023’’–‘‘State 2029"
                                                                        2029’’ worksheets.                emissions rates. See 76 FR 48265. Based               2021 for all states and for the region collectively.



                                            VerDate Sep<11>2014    20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00135   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 174 of 430
                                                 36788
                                                 36788                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 minimum value in the revised approach                   acquisition of allowances issued to        with reasonable accuracy shortly after
                                                 for establishing variability limits for all             sources in other states or the use of      the end of each control period what
                                                 control periods under this rule.                        banked allowances. Thus, to the extent     degree of recalibration to expect for the
                                                    The provisions of the final rule                     that the change in the variability limit   next control period, even if the
                                                 relating to assurance levels and                        provisions facilitates shifting of         recalibration would not actually be
                                                 variability limits are unchanged from                   generation from some states to other       carried out until the following August.
                                                 proposal, with the exception that the                   states, increased heat input in the first  The EPA will make an estimate of the
                                                 provision establishing a higher                         set of states would generally be offset by applicable calibration ratio for each
                                                 variability limit for a state in a given                decreased heat input in the second set     control period publicly available no
                                                 control period where the state's
                                                                              state’s actual             of states, such that any increases in      later than March 1 of the year of the
                                                 heat input exceeds the heat input used                  future dynamic budgets for the first set   control period for which the bank will
                                                 in computing the state emissions budget                 of states would be offset by decreases in  be recalibrated.
                                                 for that control period by more than 21                 future dynamic budgets for the second         Before undertaking a recalibration
                                                 percent will be implemented starting                                                               process each control period, the EPA
                                                                                                         set of states. In addition, the final rule's
                                                                                                                                               rule’s
                                                 with the 2023 control period instead of                 use of multiple years of historical heat   will first determine whether the total
                                                 the 2025 control period.                                input data to compute the dynamically-     amount of all banked Group 3
                                                    Comment:
                                                    Comment: Some commenters                             determined state budgets will moderate     allowances from previous control
                                                                  EPA’s proposal to raise a
                                                 supported the EPA's                                                              year’s heat input
                                                                                                         the effect of any single year's            periods held in all facility accounts and
                                                 state’s variability limit above 21 percent
                                                 state's                                                 on the dynamically-determined budgets      general accounts in the Allowance
                                                 for a given control period if the state's
                                                                                     state’s             for future control periods.                Management System exceeds the target
                                                 actual heat input for the control period                                                           bank amount. (For this purpose, no
                                                 was more than 121 percent of the                        6. Annual Recalibration of Allowance       distinction will be made between
                                                 historical heat input used to set the                   Bank
                                                                                                                                                    banked Group 3 allowances issued from
                                                 state’s budget for that control period.
                                                 state's                                                    As discussed in section VI.B.1.b of     the state emissions budgets for previous
                                                 These commenters agreed with the EPA                    this document, the EPA is making two       control periods and banked Group 3
                                                 that making this adjustment is                          revisions to the Group 3 trading           allowances issued through the
                                                 consistent with the assurance                           program designed to better maintain the conversion of previously banked Group
                                                 provisions’
                                                 provisions' purpose of strongly                         Step 3 emissions control stringency over 2 allowances.) If the total amount of
                                                 incentivizing each state to achieve its                 time. The first proposed revision,         banked Group 3 allowances does not
                                                 required emissions reductions within                    discussed in section VI.B.4 of this        exceed the target bank amount, the EPA
                                                 the state while also accounting for year-               document, is to adopt a dynamic            will not carry out any recalibration for
                                                 to-year variability in electric system                  budget-setting methodology that will       that control period. If the total amount
                                                 operations.                                             allow state emissions budgets in future    of unused allowances does exceed the
                                                    One commenter stated that the EPA                    years to reflect more accurate             target bank amount, the EPA will
                                                 should not finalize the proposed                        information about the composition and      determine for each account with
                                                 revision to the variability limit                       utilization of the EGU fleet. The second, holdings of banked Group 3 allowances
                                                 provisions, claiming that by allowing                   complementary, revision is to              the account-specific recalibrated
                                                 sources in some states to increase                      recalibrate the bank of unused             amount of allowances, computed as the
                                                 utilization and heat input so as to                     allowances each control period to          account’s total holdings of banked
                                                                                                                                                    account's
                                                              state’s budget by more than
                                                 exceed the state's                                      prevent allowance surpluses from           Group 3 allowances immediately before
                                                 21 percent in a given year, the                         accumulating and adversely impacting       the recalibration multiplied by the target
                                                                                       state’s
                                                 adjustment would then cause the state's                 the ability of the trading program in      bank amount and divided by the total
                                                 subsequent dynamically determined                       future control periods to maintain the     amount of banked Group 3 allowances
                                                 budgets to be higher, allowing greater                  Step 3 emissions control stringency.       in all accounts, rounded up to the
                                                 emissions over time.                                       As proposed and now finalized in this nearest allowance. Finally, the EPA will
                                                    Response: The EPA disagrees with the                 rule, the bank recalibration process will deduct from each account any banked
                                                 comment advocating against finalization                 start with the 2024 control period, after  Group 3 allowances exceeding the
                                                 of the proposed change to the variability               the compliance process for the 2023        account’s recalibrated amount of banked
                                                                                                                                                    account's
                                                 limit provisions. The Agency continues                  control period for all current and newly allowances.
                                                 to view the proposed change as useful                   added states in the Group 3 trading           As the target bank amount used in the
                                                 for accommodating instances where,                      program has been completed. The            recalibration process for each control
                                                 because of electrical system operating                  recalibration process for each control     period, the EPA will use an amount
                                                           state’s actual total heat input in
                                                 needs, a state's                                        period will be carried out on or shortly   determined as a percentage of the sum
                                                 a control period exceeds the historical                 after August 1 of that control period,     of the state emissions budgets for the
                                                 heat input used to set the state                        two months after the compliance            control period. For the control periods
                                                 emissions budget for the control period,                deadline for the previous control period, from 2024 through 2029, the target
                                                 potentially causing increased emissions                 making the date of the first recalibration percentage will be 21 percent, which is
                                                 even when all EGUs in a state are                       August 1, 2024. The recalibrations take    the sum of the states'states’ minimum
                                                 achieving emissions rates consistent                    place on August 1 each year because        variability limits.
                                                                                                                                                                   limits.326326 For control periods
                                                 with the Step 3 emissions control                       compliance for the previous control        in 2030 and later years, the target
                                                 stringency. Moreover, the EPA does not                  period would not be completed until        percentage will be 10.5 percent, or half
                                                 believe that the provision would lead to                after June 1. However, because data on
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                                                                    of the sum of the states'states’ minimum
                                                 higher overall program-wide budgets.                    the amounts of allowances held are
                                                 No extra allowances would be created                    publicly available and the total quantity    326 As discussed in section VI.B.5, an individual
                                                                                                                                                      326

                                                 by the increase in a state's
                                                                        state’s variability              of allowances needed for compliance for state's
                                                                                                                                                    state’s variability limit can be higher than 21
                                                 limit, so with or without the adjustment,               the previous control period will be        percent in a given control period if the state's
                                                                                                                                                                                              state’s actual
                                                                                                                                                    heat input for that control period is more than 121
                                                 any allowances to cover the emissions                   known shortly after the end of that        percent of the historical heat input used in
                                                                   state’s budget would
                                                 in excess of the state's                                control period, sources and other market computing the state emissions budget for the
                                                 still need to be obtained through                       participants will be able to ascertain     control period.



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00136   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023                Page 175 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                                  36789
                                                                                                                                                                                                          36789

                                                 variability limits. In the proposal, the                enhancement to the trading program                    of the reasons for bank recalibration, see
                                                 EPA cited two reasons for proposing the                 that will help maintain the control                   section VI.B.1.b.ii of this document.
                                                 10.5 percentage amount. First, in the                   stringency determined to be necessary                    The bank recalibration mechanism
                                                 transition from CSAPR to the CSAPR                                    states’ good neighbor
                                                                                                         to address states'                                    finalized in this rule is unchanged from
                                                 Update, where the EPA set a target bank                 obligations for the 2015 ozone NAAQS                  the proposal except for the final rule's
                                                                                                                                                                                                  rule’s
                                                 amount 1.5 times the sum of the                         over time. Moreover, the recalibrations               adoption of a target percentage of 21
                                                 variability limits, and in the transition               are less complex than alternative                     percent rather than 10.5 percent for the
                                                 from the CSAPR Update to the Revised                    approaches would be. For example, the                 control periods from 2024 through 2029.
                                                 CSAPR Update, where the EPA set a                       NOX Budget Trading Program
                                                                                                         NOx                                                        EPA’s responses to comments on
                                                                                                                                                               The EPA's
                                                 target bank amount of 1.0 times the sum                 established in the NOx NOX SIP Call also              the bank recalibration mechanism are
                                                 of the variability limits, in each case the             contained provisions designed to                      discussed in the remainder or this
                                                 initial bank proved larger than                         prevent excessive accumulations of                    section and in section 5 of the RTC
                                                 necessary, as total emissions of all                    banked allowances on program                          document. Further discussion of the
                                                 sources in the program were less than                   stringency, but those provisions—under                reasons for adopting a higher target
                                                 the budgets. Second, an analysis of year-                           ‘‘progressive flow control’’—
                                                                                                         the name "progressive            control"—            percentage for the 2024–2029
                                                                                                                                                                                   2024-2029 control
                                                 to-year variability of heat input for the               introduced uncertainty as to whether                  periods is included in section VI.B.1.d
                                                 region covered by this rule suggests that               banked allowances would be usable to                  of this document.
                                                 the regional heat input for an individual                                                                        Comment:
                                                                                                                                                                  Comment: Some commenters
                                                                                                         offset one ton of emissions or less than
                                                 year can be expected to vary by up to                                                                         acknowledged the EPA's
                                                                                                                                                                                   EPA’s authority to
                                                                                                         one ton of emissions in the current
                                                 10.5 percent above or below the central                                                                       manage the quantities of allowances
                                                                                                         control period. As a consequence of this
                                                 trend with 95 percent confidence. This                                                                        carried over from one control period to
                                                                                                         uncertainty, in some control periods,                 the next as banked allowances,
                                                 variability analysis is an application to               allowances banked from earlier control
                                                 the entire region of the variability                                                                          including some commenters who as a
                                                                                                         periods traded at lower prices than                   policy matter did not support such an
                                                 analysis EPA has performed for                          allowances issued for the current
                                                 individual states to establish the                                                                            approach. Other commenters claimed
                                                                                                         control period.
                                                                                                                  period.328328 The EPA considers
                                                                                                                                                               that any removal from the program of
                                                 minimum variability limit of 21 percent                 the recalibration mechanism established
                                                 for the states in the trading program.  327
                                                                                program.327                                                                    allowances banked in earlier control
                                                                                                         in this rule to be simpler with less                  periods would constitute an unlawful
                                                 When the analysis is performed at the                   associated uncertainty. Following each
                                                 regional level, the data show less year-                                                                      taking of property or would constitute
                                                                                                         bank recalibration, all allowances usable             unlawful overcontrol.
                                                 to-year variation than when the analysis                for compliance in the control period                     Response: The EPA disagrees with
                                                 is performed at the individual state                    will have known, equal compliance                     comments contending that the proposed
                                                 level. Within the trading program                       values for the remainder of the control               bank recalibration provisions would be
                                                 structure, it is reasonable to use                      period and until the deadline for                     unlawful, either as asserted takings of
                                                 variability analyzed at the level of                    surrendering allowances after the                     property or as over-control for purposes
                                                 individual states to set the variability                control period.                                       of the Good Neighbor provision. With
                                                 limits, which apply at the level of                                                                           respect to the claim that removing
                                                                                                            Finally, the EPA observes that the
                                                 individual states, while using variability
                                                                                                         recalibration mechanism is entirely                   allowances would constitute takings of
                                                 analyzed at the level of the overall                                                                          property, the commenters misconstrue
                                                                                                                                  Agency’s existing
                                                                                                         consistent with the Agency's
                                                 region to set a target level for a bank,                                                                      the nature of an allowance. The
                                                                                                         authority under 40 CFR 97.1006(c)(6) to
                                                 which will apply at the level of the                                                                          allowances used in the Group 3 trading
                                                                                                         ‘‘terminate or limit the use and
                                                                                                         "terminate
                                                 overall program.                                                                                              program are created under the program’s
                                                                                                                                                                                                program's
                                                    In the final rule, in response to                    duration’’
                                                                                                         duration" of any Group 3 allowance "to   ‘‘to
                                                                                                         the extent the Administrator determines               regulations, which expressly provide
                                                 comments, the EPA has determined to
                                                                                                         is necessary or appropriate to                        that the allowances are not property
                                                 maintain the 10.5 target percentage for                                                                       rights but are limited authorizations to
                                                 the reasons discussed in previous                       implement any provision of the Clean
                                                                                                         Air Act."
                                                                                                              Act.’’ The Administrator is                            NOX in accordance with the
                                                                                                                                                               emit NOx
                                                 paragraphs, but to defer application of                                                                       provisions of the Group 3 trading
                                                 this target percentage until the 2030                   determining that the recalibrations are
                                                                                                         both necessary and appropriate to                     program.  329 These provisions of the
                                                                                                                                                               program.329
                                                 control period. For the control periods                                                                       Group 3 trading program regulations
                                                 from 2024 through 2029, the EPA will                    ensure that the control stringency
                                                                                                         selected in this rulemaking is                        have been in existence since the Revised
                                                 instead use a target percentage of 21                                                                         CSAPR Update and were not reopened
                                                 percent. The reason for using a higher                                       states’ good neighbor
                                                                                                         maintained and states'
                                                                                                         obligations with respect to the 2015                  in this action. This approach of creating
                                                 target percentage for the 2024–2029
                                                                             2024-2029                                                                         limited authorizations to engage in
                                                 control periods is to provide additional                ozone NAAQS are addressed. The
                                                                                                         recalibration process will complement                 particular forms of conduct within a
                                                 support for allowance market liquidity                                                                        regulatory program extends back to the
                                                 during these years, which both the EPA                  the revised budget-setting process by
                                                                                                         preventing any surplus of allowances                  Acid Rain Program, where the approach
                                                 and commenters view as an important                                                                           was mandated by Congress, and has
                                                 period of generating fleet transition for               created in one control period from
                                                                                                         diminishing the intended stringency                   been followed by EPA in each
                                                 the power industry.                                                                                           subsequent allowance trading program
                                                    The annual bank recalibrations, at                   and resulting emissions reductions of
                                                                                                         the emissions budgets for subsequent                  for the electric power sector.33°
                                                                                                                                                                                       sector.330
                                                 either ratio, are an important                                                                                Moreover, as noted earlier in this
                                                                                                         control periods. For further discussion
                                                                                                                                                               section, the Group 3 trading program
ddrumheller on DSK120RN23PROD with RULES2




                                                   327
                                                    327 See the Power Sector Variability Final Rule
                                                 TSD from CSAPR, available at https://www.epa.gov/          328 For more discussion of the progressive flow
                                                                                                            328
                                                                                                                                                               regulations provide the EPA
                                                 csapr/power-sector-variability-final-rule-tsd for a     control mechanism, as well as allowance price data
                                                 description of the methodology. Also see the Excel      showing a discounted value for banked allowances,       329 40 CFR 97.1006(c)(6)–(7).
                                                                                                                                                                 328 40  CFR 97.1006(c)(6)—(7).
                                                 document "OS‘‘OS Heat Input—Variability 2000 to              ‘‘NOX Budget Trading Program: 2005 Program
                                                                                                         see "NOx                                                338 See, e.g., 42 U.S.C. 7651b(f) and 40 CFR
                                                                                                                                                                 330 See, e.g., 42 U.S.C. 7651b(f) and 40 CFR
                                                 2021.xls’’ for updated data, application of the
                                                 2021.xls"                                                                                 Results’’
                                                                                                         Compliance and Environmental Results"                 72.9(c)(6)–(7)
                                                                                                                                                               72.9(c)(6)—(7) (Acid Rain Program example); 40 CFR
                                                 CSAPR variability methodology, and results applied      (September 2006) at 28-30,
                                                                                                                               28–30, https://www.epa.gov/     97.6(c)(6)–(7) (Federal NOx
                                                                                                                                                               97.6(c)(6)—(7)           NOX Budget Trading
                                                 to heat input for 2000 through 2021 for all states      sites/default/files/2015-08/documents/2005-nbp-       Program example); 40 CFR 97.106(c)(5)–(6)
                                                                                                                                                                                            97.106(c)(5)—(6) (CAIR
                                                 and for the region collectively.                        compliance-report.pdf.                                NOX Annual Trading Program example).
                                                                                                                                                               NOx



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00137   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 176 of 430
                                                 36790
                                                 36790                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 Administrator with the authority to                     notes that the NAAQS apply                            stringency regardless of the quantities of
                                                 terminate or limit the use and duration                 continuously, and the possibility that                banked allowances are similarly
                                                 of such authorization to the extent the                 the sources in a state may have done                  mistaken, because rather than reducing
                                                 Administrator determines is necessary                   more than the minimum necessary to                    overall emissions of all sources in the
                                                 or appropriate to implement any                                   state’s Good Neighbor
                                                                                                         meet the state's                                      trading program, the backstop rate
                                                 provision of the Clean Air Act, and the                 obligations in one control period does                provisions are designed to ensure that
                                                 Administrator is making such a                          not create a right for the state to do less           the largest individual sources of
                                                 determination in this rule.                                                             state’s
                                                                                                         than is necessary to meet the state's                 potential emissions operate their
                                                    The EPA also disagrees that bank                     Good Neighbor obligations in                          controls consistently. If the quantities of
                                                 recalibration would constitute                          subsequent control periods.                           banked allowances are allowed to grow
                                                 overcontrol. The emissions that are                        Comment:
                                                                                                            Comment: Some commenters                           to the point where sources collectively
                                                 permissible in a given control period                   expressed concern that excessive                      can plan to emit above the collective
                                                 consistent with the Step 3 control                      quantities of banked allowances, like                 state emissions budgets, the backstop
                                                 stringency are quantified in the state                  excessive quantities of budgeted                      rate provisions would do nothing to
                                                 emissions budgets for the control                       allowances, can lead to lower allowance               constrain emissions from the sources
                                                 period. Banked allowances from                          prices. The commenters observed that                  not subject to the backstop rate.
                                                 previous control periods are necessarily                with lower allowance prices, some units                  With respect to the suggestion that
                                                 surplus to the state emissions budgets                  would likely operate their controls less              state emissions budgets reflecting
                                                                                                         effectively, resulting in a greater                   sufficient control stringency can avoid
                                                 for the current control period. As noted
                                                                                                         likelihood that the emissions stringency              the need for bank recalibration, the EPA
                                                 in section VI.B.1, in an allowance
                                                                                                         found necessary in this rule would not                observes that the budget-setting and
                                                 trading program, banking provisions can
                                                                                                         be sustained. Other commenters                        bank recalibration provisions in this
                                                 serve several useful purposes, including
                                                                                                         expressed the view that other provisions              rule are complements, not substitutes. If
                                                 continuously incentivizing sources to
                                                                                                         of the rule, including more stringent                 in a given year sources collectively emit
                                                 reduce their emissions even when they                   state emissions budgets, the backstop                 against the collective state emissions
                                                 already hold sufficient allowances to                   daily NOx
                                                                                                                NOX emissions rate provisions,                 budgets such that the ending allowance
                                                 cover their expected emissions for a                    and the assurance provisions would be                 bank—that is, the allowances remaining
                                                 control period, facilitating compliance                 sufficient to incentivize EGUs to operate             after deduction of the allowances
                                                 cost minimization, accommodating                        their controls effectively, making                    required for compliance—is less than
                                                 necessary operational flexibility, and                  allowance bank recalibration                          the bank target amount, then the bank
                                                 promoting allowance market liquidity.
                                                                                                         superfluous for this purpose.                         will not be recalibrated for the following
                                                 However, these useful purposes do not                      Response: The EPA agrees with the
                                                                                                            Response:                                          control period. However, in the event
                                                 include allowing sources to plan to emit                comments explaining that without bank                 that sources collectively emit against the
                                                 in excess of the Step 3 control                         recalibration, the quantities of banked               collective state emissions budgets such
                                                 stringency as represented by the state                  allowances can grow, leading to lower                 that the ending allowance bank is above
                                                 emissions budgets for the control                       allowance prices, diminished incentives               the bank target amount, then the
                                                 period. Accordingly, in the overcontrol                 for sources to optimize control                       recalibration provisions will ensure that
                                                 analysis discussed in section V.D.4, the                operation, and greater risk of failure to             the recalibrated allowance bank does
                                                 EPA analyzed whether the emissions                      sustain the Step 3 control stringency,                not introduce an excessive overall
                                                 reductions necessary to meet the state                  and disagrees with the comments                       quantity of allowances into the trading
                                                 emissions budgets without relying for                   arguing that other rule provisions would              program for the following control period
                                                 compliance purposes on any allowances                   make bank recalibration unnecessary.                  when combined with the state
                                                 banked in earlier control periods would                 The suggestion that the assurance                     emissions budgets calculated for that
                                                 result in overcontrol and determined                    provisions can maintain program                       control period. Without the
                                                 there would be no overcontrol. (That is,                stringency regardless of allowance                    recalibration provisions, the trading
                                                 the modeling of the effects of the Group                quantities ignores the fact that the                  program would lack any mechanism for
                                                 3 emissions budgets in 2026 did not                     emission levels consistent with the                   removing excess allowances that are
                                                 include an assumption that there would                  Group 3 control stringency in a given                 inconsistent with maintaining the Step
                                                 be any banked allowances.) Thus, even                   control period are the state emissions                3 emissions control stringency which
                                                 if the Agency had finalized regulatory                  budgets, not the higher assurance levels.             the Step 4 trading program is designed
                                                 provisions removing all banked                          If the quantities of banked allowances in             to implement.
                                                 allowances from the trading program                     the program grow to the point where                      Comment:
                                                                                                                                                                  Comment: Some commenters claimed
                                                 between control periods—in contrast to                  sources collectively can plan to emit                 that the recalibration process itself
                                                 the actual bank recalibration provisions,               above the collective state emissions                  would have undesirable consequences.
                                                 which permit substantial quantities of                  budgets, then the trading program                     First, some said that because bank
                                                 banked allowances to remain in the                      would be unable to ensure that the                    recalibration would be executed
                                                 trading program—the information                         Group 3 control stringency is being                   partway through the control period, it
                                                 available to the Agency suggests such                   achieved, even if emissions do not rise               would introduce uncertainty concerning
                                                 provisions would not constitute over-                   further than the assurance levels.                    the quantities of allowances each source
                                                 control. With respect to some                           Further, there are now examples from                  would have available, impeding efforts
                                                 commenters’ assertions that bank
                                                 commenters'                                             the Group 2 trading program of sources                to plan. Second, some commenters
ddrumheller on DSK120RN23PROD with RULES2




                                                 recalibration would over-control by                     emitting in excess of the state-wide                  claimed that the prospect of bank
                                                 ‘‘writing off'
                                                 "writing   off’’ emission reductions that               assurance levels, because a glut of                   recalibration would create
                                                 may have gone beyond the reductions                     banked allowances which was not                       counterproductive incentives for
                                                 necessary to address the Good Neighbor                  prevented by the regulations for that                 allowance holders. According to the
                                                 provision or would make it more                         trading program rendered even the                     commenters, allowances holders would
                                                 difficult to create surplus allowances in               three-to-one surrender ratio ineffective.                                 ‘‘use or lose’’
                                                                                                                                                               be incentivized to "use      lose" their
                                                 one control period to offset excess                     Suggestions that the backstop emissions               allowances (to reduce the number of
                                                 emissions in later control periods, EPA                 rate provisions can maintain program                  allowances that would be removed from


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00138   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 177 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                         36791
                                                                                                                                                                                                 36791

                                                 their accounts in the recalibration                     recalibration mechanism in this                       adjustment for such a reason at this
                                                 process), thereby causing increased                     program will continue to incentivize                  time.
                                                 emissions, or alternatively would be                    early emissions reductions.                             With respect to the comments
                                                 incentivized to refuse to sell allowances                  Comment: Turning to the level of the               advocating for an even higher bank
                                                 (to allow the holders to have more                      bank recalibration target, some                       target percentage to facilitate trading
                                                 allowances after the next recalibration),               commenters objected to the target bank                and promote market liquidity, the
                                                 thereby reducing allowance market                       percentage of 10.5 percent, saying that               Agency observes that any such
                                                 liquidity.                                              a larger bank would be needed to ensure               advantage of larger allowance banks
                                                    Response: The EPA disagrees with                     that sufficient allowances would be                   must be balanced with the
                                                 these comments. As discussed                            available to enable sources to run as                 disadvantages of excess allowance
                                                 previously in this section, the                         needed to provide reliable electricity                supply—specifically, reduced allowance
                                                 recalibration process has been                          service, particularly with the large year-            prices, diminished incentives for
                                                 scheduled for August 1 of each control                  to-year swings in budgets that the                    sources to optimize control operation,
                                                 period because compliance for the                       commenters anticipated could occur                    and greater risk of failure to sustain the
                                                 previous control period (and the                        with dynamic budgets computed using                   Step 3 control stringency. In the final
                                                 associated allowance trading activities)                a single rolling historical year and with             rule, the EPA finds that a reasonable
                                                 would not be completed until after June                 anticipated growth in renewable                       balance between these opposing
                                                 1. However, the information needed to                   generation. Some commenters                           considerations is struck by temporarily
                                                 project the degree of recalibration will                recommended a target bank percentage                  adopting a higher bank target percentage
                                                 be available by early November of the                   of 21 percent. Some commenters stated                 of 21 percent (consistent with the initial
                                                 previous year, and the EPA will make                    that even if the overall quantity of                  bank targets used in this rule and
                                                 an estimate publicly available no later                 allowances available for use was greater              previous rules) and deferring
                                                 than March 1, two months before the                     than the total amount of emissions, a                 implementation of the 10.5 percent
                                                 start of the control period. Further, at                larger bank of allowances would                       target bank percentage identified by the
                                                 least 80 percent of the allowances for                  facilitate trading and promote greater                Agency’s analysis as a sustainable
                                                                                                                                                               Agency's
                                                 use in a given control period will be the                                                                     percentage in the longer term until the
                                                                                                         allowance market liquidity, citing
                                                 allowances allocated from the state                     reports of high allowance prices in                   2030 control period.
                                                 emissions budgets (with the recalibrated                2022.                                                 7. Unit-Specific Backstop Daily
                                                 banked allowances from the prior
                                                                                                            Response: As discussed in sections
                                                                                                            Response:                                          Emissions Rates
                                                 control period comprising the
                                                 remainder), and the emissions budgets                   VI.B.1.d and VI.B.4 and earlier in this                  While the identified EGU emissions
                                                 and unit-level allocations amounts will                 section, the EPA does not agree with                  reductions in section V of this
                                                 be known approximately a year before                    comments suggesting that annual bank                  document (i.e., the Step 3 emissions
                                                 the start of the control period.                        recalibration in itself poses a risk to               control stringency) are incentivized and
                                                    The comments claiming that the                       electric grid reliability. Nevertheless,              secured primarily through the
                                                 introduction of a bank recalibration                    the Agency has made several changes                   corresponding seasonal state emissions
                                                 process would create incentives to "use
                                                                                       ‘‘use             from proposal in the final rule designed              budgets (expressed as a seasonal
                                                 or lose"
                                                     lose’’ allowances or to hoard                       to address concerns expressed about                   tonnage limit for all covered EGUs
                                                 allowances are not persuasive. By                       reliability by increasing compliance                            state’s borders) described
                                                                                                                                                               within a state's
                                                 reducing the supply of allowances                       flexibility through the 2029 control                  earlier, the EPA is also incorporating a
                                                 carried over from previous control                      period. These changes through the 2029                backstop daily emissions rate of 0.14 lb/
                                                 periods, bank recalibration would tend                  control period include the use of a target            mmBtu applied to coal-fired steam units
                                                 to raise the price of allowances in the                 bank percentage of 21 percent and the                 serving generators with nameplate
                                                 current control period, making it more                  promulgation of preset budgets that will              capacity greater than or equal to 100
                                                                                  sources’
                                                 cost-effective and therefore in sources'                serve as the state emissions budgets                  MW in covered states, except circulating
                                                 interest to further reduce their                        unless the dynamic budgets for the                    fluidized bed units. This is important
                                                 emissions than to increase their                        control periods are higher. In addition,              for ensuring the elimination of
                                                 emissions. Higher allowance prices                      to reduce year-to-year variability under              significant contribution on a more
                                                 would also increase the cost of hoarding                the budget-setting methodology,                       consistent basis from the relevant
                                                 allowances just as higher fuel prices                   dynamic budgets will be calculated                    sources and over each day of the ozone
                                                 raise the cost of maintaining large fuel                using multiple years of historical heat               season.
                                                 inventories. Moreover, the EPA expects                  input data instead of heat input data                    Starting with the 2024 control period,
                                                 that the prospect of having banked                      from a single year. The EPA views these               a 3-for-1 allowance surrender ratio
                                                 allowances recalibrated after the end of                changes as responsive to the principal                (instead of the usual 1-for-1 surrender
                                                 the control period is much more likely                  reasons that commenters gave for their                ratio) will apply to emissions during the
                                                 to discourage hoarding than to                          claims that the target bank percentage                ozone season from any large coal-fired
                                                 encourage it. Given the choice between                  should be higher than 10.5 percent.                   EGU with existing SCR controls
                                                 holding an allowance which may be                       Regarding the claim that a higher target              exceeding by more than 50 tons a daily
                                                 removed as part of an upcoming                          bank percentage is needed because                               NOX emissions rate of 0.14 lb/
                                                                                                                                                               average NOx
                                                 recalibration process or instead selling                increased renewable generation makes                  mmBtu. The daily average emissions
                                                 the allowance for cash, the sale option                 the demand for fossil generation more                 rate provisions will apply to large coal-
                                                                                                         variable, commenters did not provide
ddrumheller on DSK120RN23PROD with RULES2




                                                 will become more attractive. By creating                                                                      fired EGUs without existing SCR
                                                   ‘‘sell or lose’’
                                                 a "sell     lose" incentive for holders of              evidence demonstrating that the overall               controls (except circulating fluidized
                                                 surplus allowances, the recalibration                   quantities of fossil generation                       bed units) starting with the second
                                                 process should increase allowance                       throughout the multi-state region                     control period in which newly installed
                                                 market liquidity. At the same time, by                  covered by this rule—as opposed to the                SCR controls are operational at the unit,
                                                 ensuring a banked allowance will                        operating patterns of some individual                 but not later than the 2030 control
                                                 always have some value for use in a                     units—are becoming more variable, and                 period. See Appendix A of the Ozone
                                                 future control period, the bank                         the Agency declines to make an                        Transport Policy Analysis Final Rule


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00139   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                              Document #2009836                               Filed: 07/27/2023               Page 178 of 430
                                                 36792
                                                 36792                  Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 TSD for a list of coal-fired steam units                   EPA first conducted an empirical                          the most important example being the
                                                 serving generators larger than or equal                    exercise using reported daily emissions                   emissions during unit startup before
                                                 to 100 MW in covered states for which                      rate data from existing, SCR-controlled                   SCR equipment can be brought into
                                                 the identified backstop emissions rate                     coal units that were emitting at or below                 service, and to a lesser extent the
                                                 will apply.                                                0.08 lb/mmBtu on a seasonal average                       emissions during unit shutdown. The
                                                    For each unit subject to the backstop                   basis. This seasonal rate reflects the                    analysis used by the EPA to derive the
                                                 daily emissions rate provisions for a                                          unit’s range of varying
                                                                                                            average across a unit's                                   50-ton threshold is described in detail
                                                 given control period, the amount of                        daily rates reflecting different operation                in the Ozone Transport Policy Analysis
                                                 emissions subject to the 3-for-1                           conditions. When the EPA examined the                     Final Rule TSD. Briefly, for a set of 164
                                                 surrender ratio will be determined as                      daily emissions rate pattern for these                    SCR-equipped units with seasonal
                                                 follows, generally on an automated basis                   units considered to be optimizing their                            NOX emissions rates at or below
                                                                                                                                                                      average NOx
                                                            unit’s data acquisition and
                                                 using the unit's                                           SCRs on a seasonal basis, the EPA                         0.08 lb/mmBtu in 2021, the EPA
                                                 handling system (DAHS) required under                      observed that over 95 percent of the                      evaluated the total amounts of
                                                 40 CFR part 75. For each day of the                        time, their daily rates were below 0.14                   emissions that would have been
                                                 control period where the unit's
                                                                             unit’s average                 lb/mmBtu.
                                                                                                            lb/minBtu. In addition, for these units,                  determined to exceed a daily average
                                                 emissions rate for that day was higher                     less than 1 percent of their seasonal                     emissions rate of 0.14 lb/minBtu
                                                                                                                                                                                              lb/mmBtu in the
                                                 than 0.14 lb/mmBtu,
                                                            lb/minBtu, the owner or                         emissions would exceed this daily rate                    2021
                                                                                                                                                                      2021 and 2022 ozone seasons. In the
                                                                                     unit’s
                                                 operator will compute what the unit's                      limit.                                                    2021 ozone season, only 572 tons out of
                                                 reported emissions on that day would                          The EPA conducted this analysis to be                         units’ total emissions of 60,350
                                                                                                                                                                      these units'
                                                 have been (given the unit's
                                                                        unit’s reported                     consistent with the methodology                           tons, or 0.9 percent, would have been
                                                 heat input for the day) at an emissions                    developed in the 2014 1-hr SO   SO22                      considered exceedances, with an
                                                 rate of 0.14 lb/minBtu.
                                                              lb/mmBtu. The difference                      attainment area guidance for identifying                  average exceedance per unit of less than
                                                               unit’s emissions for the day
                                                 between the unit's                                         ‘‘comparably stringent"
                                                                                                            "comparably     stringent’’ emissions rates               4 tons. The highest amount for any of
                                                 as actually reported and the emissions                                    time-periods.333 Appendix
                                                                                                            over varying time-periods.333                             the 164 individual units in either ozone
                                                 that would have been reported if the                       C of that guidance describes a series of                  season was 48 tons. Based on this
                                                 unit’s emissions rate was 0.14 lb/mmBtu
                                                 unit's                                                     steps that involve: (1) compiling                         analysis, the EPA concludes that adding
                                                 is the unit's
                                                        unit’s daily exceedance. The                        emissions data to reflect a distribution                  a 50-ton threshold to the backstop daily
                                                 amount of emissions subject to the 3-for-                  of emissions rates with various                           emissions rate provisions will ensure
                                                 1 surrender ratio for the control period                   averaging times, (2) determining the                      that substantially all emissions outside
                                                                    unit’s daily
                                                 is the sum of the unit's                                   99th percentile of the average emissions                  the control of an SCR-equipped unit's
                                                                                                                                                                                                         unit’s
                                                 exceedances for all days of the control                    values compiled in the previous step,                     operator will not be subject to the 3-for-
                                                 period minus 50 tons (but not less than                                              ‘‘adjustment
                                                                                                            and then (3) applying "adjustment                         1 surrender ratio. Because there is no
                                                 zero).331 All calculations will rely on
                                                 zero).331                                                  factors’’
                                                                                                            factors" or ratios of the 99th percentile                 reason to expect the range of emissions
                                                 the data monitored and reported for the                    values to emissions rates to convert                      during conditions when SCR controls
                                                 unit in accordance with 40 CFR part 75.                    them (usually from a short-term rate to                   cannot be operated to differ between
                                                    The EGU NOxNOX Mitigation Strategies                    a longer-term rate). In this case, the EPA                SCR-equipped units and units without
                                                 Final Rule TSD describes the                               applied the methodology in reverse to                     SCR, inclusion of the 50-ton threshold
                                                 methodology for deriving the 0.14 lb/                      convert a longer-term limit (the seasonal                 effectively prevents application of the 3-
                                                 mmBtu daily rate limit in more detail.                     rate of 0.08 lb/mmBtu which was                           for-1 ratio to emissions during startup
                                                 The methodology is summarized as                           assumed to be equivalent to a 30-day                      and shutdown by units without SCR as
                                                 follows. First, consistent with                            rate of 0.08 lb/mmBtu for purposes of                     well.
                                                 stakeholders’ focus on providing daily
                                                 stakeholders'                                              this comparison of rates across                             At the same time, the EPA believes
                                                 assurance of control operation, which is                   averaging times) to a comparably                          the 50-ton threshold is not large enough
                                                 consistent with the 8-hour form of the                     stringent short-term limit (a daily rate of               to eliminate the intended incentive to
                                                 2015 ozone NAAQS and the tendency                          0.14 lb/mmBtu).                                           achieve emissions rates consistent with
                                                 for ozone levels to spike on a diurnal                        The inclusion of a 50-ton threshold                    good SCR performance under conditions
                                                 cycle, the EPA determined that daily (as                   for emissions exceeding the backstop                      other than startup and shutdown. For a
                                                 opposed to hourly or monthly) was an                       daily emissions rate before the 3-for-1                   set of 124 SCR-equipped units with
                                                 appropriate time metric for backstop                       surrender applies is a change from the                    seasonal average NOxNOX emissions rates
                                                 emissions rate limits instituted to                        proposal. As discussed in section                         above 0.08 lb/mmBtu,
                                                                                                                                                                                   lb/minBtu, the total amount
                                                 ensure operation of controls on high                       VI.B.1.d of this document, the EPA                        of emissions exceeding a daily average
                                                 ozone days. The EPA derived the 0.14                       made this change in response to                           emissions rate of 0.14 lb/minBtu
                                                                                                                                                                                              lb/mmBtu in the
                                                 lb/mmBtu daily rate limit by                               comments concerning the possibility                       2021 ozone season was 18,629 tons. Of
                                                 determining the particular level of a                      that the 3-for-1 surrender ratio could                    this total amount, 15,374 tons would
                                                 daily rate that would be comparable in                                                                               have been in excess of the 50-ton
                                                                                                            otherwise have applied to emissions
                                                 stringency to the 0.08 lb/minBtu
                                                                         lb/mmBtu
                                                                                                            outside an EGU operator’s
                                                                                                                               operator's control, with               thresholds for the various units,
                                                 seasonal emissions rate that the Agency                                                                              indicating that even after application of
                                                 has identified as reflecting SCR                           www.epa.gov/sites/default/files/2016-06/
                                                                                                            www.epa.govIsitesIdefaultlfiles/2016-061                  the threshold, the 3-for-1 surrender ratio
                                                                            units.332 The
                                                 optimization at existing units.332                         documents/20140423guidance_nonattainment_
                                                                                                            documents/20140423guidance nonattainment                  would have applied to over 80 percent
                                                                                                            sip.pdf. "A
                                                                                                            sip.pdf  ‘‘A limit based on the 30-day average of         of the daily exceedance amounts.
                                                    331 In the regulatory text at 40 CFR 97.1024
                                                    3311n                                                   emissions, for example, at a particular level is likely      The backstop daily NOx
                                                                                                                                                                                              NOX emissions
                                                 defining the total quantity of allowances that must        to be a less stringent limit than a 1-hour limit at
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                            the same level 1 since the control level needed to
                                                                                                                                                                      rate provisions finalized in this rule are
                                                 be surrendered for a source's
                                                                          source’s emissions in a control
                                                 period, these amounts of emissions for all the units               1-hour limit every hour is likely to be greater
                                                                                                            meet a 1-hour                                             unchanged from the proposal except for
                                                 at the source are subject to a requirement to              than the control level needed to achieve the same         the inclusion of a 50-ton threshold for
                                                 surrender two extra allowances per ton in addition         limit on a 30-day average basis."
                                                                                                                                        basis.’’                      emissions exceeding the backstop
                                                 to the usual 1-for-1
                                                                1-for-1 allowance surrender                   333 See Guidance for 1-Hour SO2
                                                                                                              333                            SO2 Nonattainment        emissions rate before the 3-for-1
                                                 requirement, yielding a total surrender ratio of 3-        Area SIP Submissions available at https://
                                                 for-1 for emissions over the 50-ton threshold.             www.epa.gov/sites/default/files/2016-06/
                                                                                                            www.epa.govIsitesIdefaultlfiles/2016-061
                                                                                                                                                                      surrender ratio applies and the deferral
                                                    332 See page 24 of "Guidance
                                                    332                  ‘‘Guidance for 1-hour SO2
                                                                                                SO2         documents/20140423guidance_nonattainment_
                                                                                                            documents/20140423guidance nonattainment                  of the application of the provisions to
                                                 Nonattainment Area SIP Submission"
                                                                              Submission’’ at https://      sip.pdf.
                                                                                                            sip.pdf                                                   units without existing SCR controls


                                            VerDate Sep<11>2014    20:14 Jun 02, 2023    Jkt 259001   PO 00000   Frm 00140   Fmt 4701    Sfmt 4700   E:\FR\FM\05JNR2.SGM    05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023               Page 179 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                                 36793
                                                                                                                                                                                                         36793

                                                 until the 2030 control period or, if                    with comments suggesting that the need                units to operate and optimize their
                                                 earlier, the second control period in                   for the backstop daily emissions rate                 controls for entire ozone seasons.
                                                 which new SCR controls are operated at                  provisions is contradicted by previous                   The EPA acknowledges that some
                                                 a unit. The EPA's
                                                              EPA’s responses to                         EPA analyses or is already adequately                 SCR-equipped units are likely already
                                                 comments on the backstop daily NOx NOX                  addressed by other provisions of this                 subject to other legal requirements
                                                 emissions rate provisions, including the                rule or other legal requirements. As                  calling for their SCR controls to be
                                                 reasons for these changes, are discussed                discussed in sections V.D.1 and VI.B.1.c              operated and optimized such that their
                                                 in the remainder of this section and in                 of this document, the EPA has                                            NOX emissions rates
                                                                                                                                                               seasonal average NOx
                                                 section 5 of the RTC
                                                                  RTC document.                          determined that a control stringency                  will generally not exceed 0.08 lb/
                                                    Comment:
                                                    Comment: Some commenters strongly                    reflecting universal installation and                 mmBtu (the level of seasonal SCR
                                                 supported the backstop daily emissions                  operation of SCR technology at large                  performance that the EPA used to derive
                                                 rate provisions, noting their benefit to                coal-fired EGUs is appropriate. There                 the equivalent 0.14 lb/mmBtu level of
                                                 downwind receptors on potential                                                                               daily SCR performance for the backstop
                                                                                                         are several important differences
                                                 nonattainment days, their benefit to                    between this rule and previous actions
                                                                                                                                                                      NOX emissions rate). However,
                                                                                                                                                               daily NOx
                                                 neighboring communities, and evidence                                                                         commenters do not claim, and the EPA
                                                                                                         addressing interstate ozone transport
                                                 of deterioration in SCR performance in                                                                        does not believe, that all SCR-equipped
                                                                                                         where the Agency did not include such
                                                 the absence of such provisions. Other                                                                         units are subject to other legal
                                                                                                         provisions. First, this rule constitutes a
                                                 commenters stated that the backstop                                                                           requirements calling for an equivalent
                                                 daily emissions rate provisions are                     full remedy, unlike some prior actions.               degree of SCR operation and
                                                 unnecessary, either because SCR-                        Second, this rule is the first rule in                optimization. In the context of a multi-
                                                 equipped EGUs would already be                          which the EPA is addressing good                      state trading program, it is more
                                                 sufficiently incentivized to operate and                neighbor obligations with respect to the              efficient and equitable, and far more
                                                 optimize their controls by the stringency               more protective 2015
                                                                                                                            2015 ozone NAAQS.                  transparent, for the EPA to establish rule
                                                 of the state emissions budgets and the                  Third, the EPA has examined the most                  provisions uniformly incentivizing all
                                                 resulting allowance prices or because                   recent data over a broader geographic                 large coal-fired EGUs to install and
                                                 most SCR-equipped EGUs are already                      and temporal footprint specific to the                operate SCR controls than to attempt to
                                                 required to operate and optimize their                  coverage of this rule, and it illustrates a           establish differentiated requirements for
                                                 SCRs by conditions in their operating                   greater degree of SCR performance                                                      EPA’s
                                                                                                                                                               various units according to the EPA's
                                                 permits. Some commenters cited                          erosion than in the prior years in which              analysis of the effectiveness of their pre-
                                                 previous EPA analyses showing that it                   EPA conducted such analysis. Fourth,                  existing permit conditions. Further, to
                                                 is unusual for SCR-equipped units to                    nonattainment and maintenance for this                the extent that a given unit's
                                                                                                                                                                                        unit’s permits
                                                 turn off their SCRs only on high                        NAAQS are projected to persist well                   already require SCR performance that
                                                 electricity demand days (HEDD).                         into the future in EPA's
                                                                                                                             EPA’s baseline,                   would meet the backstop emissions rate
                                                    Commenters suggested diverse                         making enhancements and safeguards                    established in this rule, or to the extent
                                                 possible changes to the types of EGUs                   such as the backstop daily emissions                  that allowance prices would incentivize
                                                 that would be covered by the backstop                   rate provisions essential for securing                the unit to operate the SCR anyway, the
                                                 daily emissions rate provisions. Some                   elimination of significant contribution               EPA expects that the backstop daily
                                                 commenters stated that the provisions                   in future periods for which fleet                     emissions rate provisions (as finalized
                                                 should apply to all EGUs or to all SCR-                 configuration is inherently more                      with a 50-ton threshold to address
                                                 equipped EGUs, including non-coal-                      uncertain.                                            emissions outside an EGU's
                                                                                                                                                                                      EGU’s control
                                                 fired units. Other commenters stated                       With respect to claims that inclusion              before the 3-for-1 surrender ratio
                                                 that exemptions should be provided for                  of the backstop daily emissions rate                  applies) will cause no incremental cost
                                                 units operating at capacity factors below                                                                     for the unit.
                                                                                                         provisions is contradicted by the EPA's
                                                                                                                                              EPA’s
                                                 10 percent or for emissions during                                                                               The EPA disagrees with the suggested
                                                                                                         earlier analyses concerning SCR
                                                 emergencies.                                                                                                  changes to applicability of the backstop
                                                    Some commenters stated that                          operational changes specific to high                  emissions rate provisions. With respect
                                                 implementation of the backstop daily                    electricity demand days, the EPA
                                                                                                                                                               to the comments advocating broader
                                                 emissions rate provisions would cause                   disagrees. Historical data reported to the            coverage, the EPA discusses its reasons
                                                 unintended and counterproductive                        EPA show that multiple SCR-equipped                   for applying the provisions only to coal-
                                                 consequences. Some of these                             units across the states covered by this               fired EGUs in section VI.B.1.c of this
                                                 commenters claimed that by requiring                    action have chosen not to operate their               document, including the fact that
                                                 the surrender of extra allowances, the                  SCRs, or to operate them at materially                operation of SCR controls is a well-
                                                 backstop emissions rate provisions                      less than their full removal capability,              established practice among the best
                                                 would create shortages of allowances for                for entire ozone seasons. The apparent                performing coal-fired boilers but not for
                                                 the program overall. Other commenters                   infrequency of one type of behavior—                                  units.334 The comments
                                                                                                                                                               non-coal-fired units.334
                                                 claimed that the disincentives to operate               i.e., instances of units running their                indicate a preference for a less flexible
                                                 units subject to the backstop emissions                 controls on most days but turning the                 trading program design than the EPA
                                                 rate provisions would cause load to shift               controls off specifically on high                     has found appropriate but do not
                                                 to higher-emitting generators not                       electricity demand days—does not                      demonstrate that EPA's
                                                                                                                                                                                  EPA’s decision to
                                                 covered by the trading program (such as                 contradict the evidence concerning                    allow greater flexibility is either
                                                 sources in states outside the program’s
                                                                               program's                 another type of behavior—i.e., non-                   impermissible or unreasonable; our
                                                                                                         operation or suboptimal operation of
ddrumheller on DSK120RN23PROD with RULES2




                                                 geographic region, EGUs smaller than 25                                                                       reasoning in this regard is further
                                                 MW, and sources considered demand-                      controls for entire ozone seasons. The                explained in section VI.B.1.c.i of this
                                                 side resources, including end-user-sited                evidence from previous trading
                                                 diesel generator units), potentially                    programs demonstrates that reliance                           Nationwide and among operating units in
                                                                                                                                                                  334 Nationwide

                                                 resulting in higher overall emissions.                  solely on the incentives created by                   2021, EPA identified the best performing quartile
                                                                                                         allowance prices and corresponding                    (i.e., lowest ozone season emissions rate) of coal-
                                                    Response: The EPA agrees that                                                                              fired EGU boilers (excluding CFB units). Nearly 100
                                                 backstop daily emissions rate provisions                static state emissions budgets has been               percent of these units (159 of 160 units) were
                                                 should be implemented and disagrees                     insufficient to cause all SCR-equipped                equipped with SCR controls.



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00141   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 180 of 430
                                                 36794
                                                 36794                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 document. With respect to the                           received the most attention in                           Response: With respect to the topic of
                                                                                                                                                                  Response:
                                                 comments advocating narrower                            comments was how emissions outside                    emissions outside an operator's
                                                                                                                                                                                       operator’s control,
                                                 coverage, the commenters have                                operator’s control should be treated.
                                                                                                         the operator's                                        as a general matter the EPA agrees that
                                                 provided no information indicating that                 Multiple commenters expressed concern                 the backstop daily emissions rate
                                                 the sources for which exemptions are                    that the backstop daily emissions rate                provisions are intended to incentivize
                                                 sought could not comply with the                        would be exceeded on days when the                    good SCR operation and that it was not
                                                 provisions, including through the                       SCR equipment cannot be operated for                       Agency’s intent to apply a higher
                                                                                                                                                               the Agency's
                                                 surrender of additional allowances if                   all or a portion of the day. The most                 surrender ratio to emissions that are
                                                 necessary. The EPA notes that emissions                 commonly cited example of a situation                 truly unavoidable, such as emissions
                                                 from coal-fired units operating at low                  where SCR equipment cannot be                         occurring before an operator could
                                                 capacity factors may be concentrated                    operated was unit startups, although                  reasonably initialize SCR operation
                                                 around days of high electricity demand                  some commenters also mentioned unit                   when a unit is started up. As explained
                                                 when incentives to minimize such                        shutdowns, boiler or emissions control                elsewhere in this section, the EPA
                                                 emissions may be most helpful in                        malfunctions, and unit maintenance or                 selected the level of the backstop rate
                                                 mitigating downwind air quality                         tests. The commenters expressed the                   based on analysis of 2021 emissions
                                                 problems. The EPA also notes that to the                view that emissions that cannot be                    data showing that for SCR-equipped
                                                 extent the comments are intended to                     controlled by SCR equipment should be                 coal-fired units achieving seasonal
                                                 support exemptions for units without                    exempted from the backstop emissions                           NOX emissions rates at or below
                                                                                                                                                               average NOx
                                                 existing SCR controls, the final rule                   rate provisions and suggested a variety               0.08 lb/mmBtu, more than 99 percent of
                                                 defers application of the backstop                      of approaches for implementing an                          units’ emissions would fall below a
                                                                                                                                                               the units'
                                                 emissions rate provisions to such units                 exemption.                                            backstop daily emissions rate of 0.14 lb/
                                                 until the 2030 control period, providing                   Some commenters also stated that the               mmBtu. In response to the comments
                                                 additional flexibility to develop                       backstop emissions rate provisions                    summarized previously, the EPA has
                                                 alternatives to the use of such units if                would not sufficiently accommodate                    further analyzed 2021 and 2022
                                                 the owners choose not to equip them                     sustained low-load operation, such as                 emissions data to determine what if any
                                                 with SCR controls.                                      where an SCR-equipped unit operates                   modifications to the proposal might be
                                                    Finally, the EPA also disagrees with                 for extended periods at a load level too              appropriate to limit the imposition of a
                                                 the comments asserting that the                         low to permit SCR operation so that the               3-to-1 allowance surrender requirement
                                                 backstop emissions rate provisions                      unit is ready to ramp up to higher load               for emissions caused by circumstances
                                                 would cause unintended and                              levels in less time than would be                                  operator’s control while
                                                                                                                                                               outside an operator's
                                                 counterproductive consequences. With                    required for a startup. The commenters                preserving the intended incentive to
                                                 respect to units already equipped with                  suggested that implementation of a                    operate and optimize SCR controls
                                                 SCR controls, the EPA expects that by                   backstop daily rate would reduce the                  whenever possible. The analysis
                                                 far the most important effect of the                    ability to operate the units in this                  showed that for the same set of units
                                                 provisions will be to incentivize the                   manner, generally reducing system                     achieving seasonal average emissions
                                                 units to operate and optimize their                     flexibility. Some noted that the need for             rates at or below 0.08 lb/mmBtu, the
                                                 controls. The EPA sees no basis for                     flexibility of this nature is increasing
                                                                                                                                                               highest total amount of emissions
                                                 speculation that such units would                       because of the rapid growth in                        exceeding the backstop daily emissions
                                                 choose to operate in a manner that                      intermittent renewable generation.
                                                                                                                                                               rate in either the 2021 or 2022 control
                                                 would result in large amounts of                           Additional comments on the backstop
                                                                                                                                                               period for any unit was 48 tons. The
                                                 emissions becoming subject to the 3-for-                daily emissions rate provisions for units
                                                                                                         with existing SCR controls addressed                  Agency views this amount as a
                                                 1 allowance surrender ratio or in
                                                                                                         the level of the daily emissions rate and             reasonable upper bound on the quantity
                                                 generation being shifted to sources
                                                                                                         the implementation timing. With                       of emissions that might contribute to an
                                                 outside the trading program. The results
                                                        EPA’s modeling of benefits and                   respect to the rate level, various                    exceedance of the backstop emissions
                                                 of the EPA's
                                                                                                         commenters suggested rates from 0.08 to               rate arising from circumstances outside
                                                 costs of the rule show little leakage of
                                                                                                         0.20 lb/mmBtu. With respect to                            operator’s control for any coal-fired
                                                                                                                                                               an operator's
                                                 emissions to non-covered sources, and
                                                 commenters have presented no analysis                   implementation timing, some                           unit, not just the well-controlled units
                                                 to the contrary. For instance, as shown                 commenters stated that because                        in the data set analyzed, because the
                                                 in Table 4.6 of the RIA, non-covered                    immediate compliance was possible, the                amount generally encompasses all of a
                                                                     NOX emissions                       good neighbor provision required                      unit’s emissions occurring in hours
                                                                                                                                                               unit's
                                                 state ozone season NOx
                                                 increased on average by 1 percent over                  implementation as of the 2023 control                 when an SCR could not be operated
                                                 the 2023–2030
                                                      2023-2030 time period between the                  period rather than the 2024 control                   over an ozone season.
                                                 base and final rule scenarios, while                    period as proposed. Other commenters                     Based on this analysis, the backstop
                                                 covered state emissions fell by 14                      expressed the view that units with                    daily emissions rate provisions in this
                                                 percent on average over the same                        existing SCR controls should not be                   final rule exclude the first 50 tons of a
                                                 period. With respect to units without                   required to comply with the backstop                  unit’s emissions in a given control
                                                                                                                                                               unit's
                                                 existing SCR controls, the EPA expects                  emissions rate provisions earlier than                period exceeding the backstop daily
                                                 the backstop emissions rate provisions,                 units without existing SCR controls.                  emissions rate from incremental
                                                 when they would take effect for such                    Some owners of SCR-equipped EGUs                      allowance surrender requirements. The
                                                 units, to provide a strong incentive                    that exhaust to stacks shared with EGUs               EPA finds that establishing a threshold
                                                                                                                                                               of this nature will provide an
ddrumheller on DSK120RN23PROD with RULES2




                                                 against extensive operation (unless and                 without SCR suggested that their
                                                 until such controls are installed), again               particular units with existing SCR                    appropriate maximum exclusion to all
                                                 not resulting in large amounts of                       controls should not be required to                    coal-fired units for unavoidable
                                                 emissions becoming subject to the 3-for-                comply with the backstop emissions                    emissions caused by circumstances
                                                 1 allowance surrender ratio.                            rate provisions earlier than units                                  operator’s control while
                                                                                                                                                               outside the operator's
                                                    Comment:
                                                    Comment: For units with existing SCR                 without existing SCR controls in order                maintaining the incentives for less well-
                                                 controls, the aspect of the backstop                    to avoid the cost of upgrading their                  controlled units to improve their
                                                 daily emissions rate provisions that                    emissions monitoring equipment.                       emissions performance on all days of


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00142   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 181 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                         36795
                                                                                                                                                                                                 36795

                                                 the ozone season. Well-controlled units                 higher, the unit cycled down to a load                implementation of the provisions in the
                                                 will likely have no emissions over the                  level of approximately 540 MW                         2023 control period feasible because it
                                                 threshold that will be subject to                       overnight and did operate its SCR.                    is currently unknown whether the
                                                 incremental allowance surrender                         Despite the higher nighttime generation               necessary updates to the emissions
                                                 requirements, while for SCR-equipped                    levels, the result was a decrease of                  recordkeeping and reporting software
                                                 units not already achieving a seasonal                  roughly 50 percent in the unit's
                                                                                                                                      unit’s seasonal          for all the affected sources could be
                                                 average emissions rates sufficiently low                         NOX emissions rate, from
                                                                                                         average NOx                                           completed and tested before July 30,
                                                 to routinely operate at daily average                   approximately 0.14 lb/mmBtu to                        2023, which is the first quarterly
                                                 emissions rates of 0.14 lb/mmBtu or                     approximately 0.07 lb/mmBtu, and a                    reporting deadline for the 2023 control
                                                 less, the incentive to reduce daily                     comparable reduction in NOx NOX mass                  period. Moreover, as discussed in
                                                 emissions rates will remain in place,                   emissions. This unit is not uniquely                  section VI.B.1.c.i of this document,
                                                 because the 50-ton threshold is not                     situated; operating data for several other            implementing the requirements starting
                                                 expected to encompass all emissions                     large SCR-equipped EGUs in                            in 2024 will provide a window for EGUs
                                                 exceeding the backstop daily emissions                  Pennsylvania show the same past                       to improve the consistency of SCR
                                                 rate for such units. In contrast to more                pattern of cycling down to low load                   operation or in some cases to optionally
                                                 complicated exceptions suggested by                     levels at which the SCR controls cannot               install additional emissions monitoring
                                                 commenters, the 50-ton threshold can                    be operated, and these other units have               equipment. As for the suggestion that
                                                 be easily integrated into the overall                   similar opportunities to cycle down to                implementation timing of the backstop
                                                 trading program structure with minimal                  somewhat higher load levels                           daily emissions rate provisions for units
                                                 additional recordkeeping and reporting                  (necessarily subject to the needs and                 with existing SCR controls should be
                                                 requirements.                                           constraints of the integrated electric                synchronized with the later
                                                    With respect to the comments                         system) at which their SCR controls can               implementation timing for units without
                                                 claiming that the inability of some SCR-                   operated.335 No commenter has
                                                                                                         be operated.335                                       existing SCR controls, the EPA is not
                                                 equipped units to operate their SCR                     submitted data to the contrary.                       persuaded that there is any inequity in
                                                 controls at sustained low load levels                   Furthermore, this example demonstrates                implementing provisions intended to
                                                 likewise merits alteration of the                       the need for this rule's
                                                                                                                            rule’s backstop                    incentivize operation of SCR controls
                                                 backstop daily emissions rate                           emissions rate provision, which (had it               first at sources that already have such
                                                 provisions, the EPA disagrees. There is                 been in place) would have motivated                   controls and later at sources that do not
                                                 no dispute concerning the technical                     this facility to operate its SCR overnight            already have such controls, allowing
                                                 need for a unit to attain and maintain a                during the 2021 ozone season when the                 time for the latter sources to install the
                                                 certain range of exhaust gas                            prevailing allowance price provided an                controls. In any event, in this instance,
                                                 temperatures at the SCR inlet in order                  insufficient incentive to do so.                      where some upwind sources have an
                                                                                                            The EPA disagrees with the comments                immediate and highly cost-effective
                                                 to achieve optimal SCR performance
                                                 and no dispute concerning the general                   advocating for a backstop daily                       option for controlling their emissions,
                                                                                                         emissions rate lower or higher than 0.14              the statutory requirement for significant
                                                                           unit’s load level
                                                 relationship between a unit's
                                                                                                         lb/mmBtu.
                                                                                                         lb/minBtu. In general, these comments                 contribution to be eliminated as
                                                 in a given hour and its ability to attain
                                                 and maintain that exhaust gas                           simply represent disagreements with the               expeditiously as practicable so as to
                                                                                                         EPA’s conclusions regarding the
                                                                                                         EPA's                                                 provide downwind states with the
                                                 temperature range in that hour.
                                                                                                         identification of required emissions                  protection intended by the Good
                                                 However, the EPA is also aware that at
                                                 least in some cases, units whose role in                reductions under this rule, as reflected              Neighbor provision overrides these
                                                                                                         in part by the EPA's
                                                                                                                         EPA’s conclusion that a               sources’ claim of inequity relative to
                                                                                                                                                               sources'
                                                 the integrated electric system currently
                                                                                                         seasonal average emissions rate of 0.08               sources whose emissions control
                                                 calls for them to operate at low load
                                                                                                         lb/mmBtu
                                                                                                         lb/minBtu reasonably reflects the                     options would take longer and have
                                                 levels for sustained periods (such as
                                                                                                         seasonal average emissions rate                       higher cost. We conclude that the
                                                 overnight) in fact may be able to operate
                                                                                                         achievable through optimization of                    backstop daily emissions rate is an
                                                 at slightly higher load levels that would
                                                 accommodate SCR operation during                        controls by existing SCR-equipped units               important aspect of the elimination of
                                                                                                         that are not already achieving a lower                significant contribution and should be
                                                 those periods and still meet the needs
                                                                                                         seasonal average emissions rate.                      applied at the relevant units. It is only
                                                 of the integrated electric system, thereby
                                                 avoiding operation of the unit for                      Comments concerning the selection of                  out of recognition of unique
                                                                                                         the 0.08 lb/mmBtu seasonal average                    circumstances associated with
                                                 sustained periods with the SCR out of
                                                                                                         emissions rate are addressed in section               facilitating power-sector transition as
                                                 service. Figure B.5 in the EGU NOxNOX
                                                 Mitigation Strategies Final Rule TSD                    V of this document. Commenters did                    identified by commenters, that we defer
                                                                                                                             EPA’s analysis
                                                                                                         not challenge the EPA's                               the application of the rate for the
                                                 illustrates this opportunity using data
                                                                                                         identifying a daily emissions rate of 0.14            minority of units that have not yet
                                                 reported for the 2021 and 2022 ozone
                                                                                                         lb/mmBtu
                                                                                                         lb/minBtu as comparable in stringency                 installed SCR controls.
                                                 seasons by a large SCR-equipped EGU in
                                                 Pennsylvania. In both ozone seasons,
                                                                                                         to a seasonal average emissions rate of                  Finally, with respect to the SCR-
                                                                                                         0.08 lb/minBtu
                                                                                                               lb/mmBtu (see further discussion
                                                 the unit often cycled daily between its                                                                       equipped units that share common
                                                                                                         elsewhere in this section).
                                                 maximum load of approximately 900                          The EPA also disagrees with the                    stacks with units that do not have SCR,
                                                 MW during the daytime and a lower                       comments stating that the backstop                    the EPA disagrees that monitoring cost
                                                 load level overnight, and in both ozone                 daily emissions rate provisions should                considerations merit a later
                                                               unit’s typical daytime                                                                          implementation date for the backstop
ddrumheller on DSK120RN23PROD with RULES2




                                                 seasons the unit's                                      apply to units with existing SCR
                                                 emissions rate was between 0.05 and                                                                           daily emissions rate provisions. As
                                                                                                         controls starting in a control period
                                                 0.07 lb/mmBtu. However, while in the                                                                          discussed in section VI.B.10 of this
                                                                                                         earlier or later than the 2024 control
                                                 2021 ozone season, the unit cycled                                                                            document, five plants with this
                                                                                                         period. The EPA does not consider
                                                 down to a load level of approximately                                                                         configuration are covered by the rule
                                                 440 MW overnight and did not operate                                              ‘‘Conemaugh and
                                                                                                           335 See the spreadsheet "Conemaugh
                                                                                                           335
                                                                                                                                                               (one of which has announced plans to
                                                 its SCR, in the 2022 ozone season, when                 Keystone unit 2021 to 2022 hourly ozone season        retire in 2023). Under this rule, as
                                                 allowance prices were considerably                      data’’
                                                                                                         data" in the docket.                                  proposed, the owner of a plant with this


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00143   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023               Page 182 of 430
                                                 36796
                                                 36796                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 configuration can choose between either                 such units to operate as needed to back               noted in section VI.B.1.c of this
                                                 upgrading the plant’s
                                                                 plant's monitoring                      up intermittent renewable generation.                 document, the backstop daily emissions
                                                 systems so as to obtain unit-specific                   Some commenters claimed that                          rate provisions are structured as
                                                 NOX emissions rate data for each unit
                                                 NOx                                                     inclusion of the backstop daily                       incremental allowance surrender
                                                 subject to the backstop daily emissions                 emissions rate provisions would                       requirements rather than as directly
                                                 rate or else using the NOx
                                                                         NOX emissions                   substantially eliminate the potential                 enforceable emissions limits to
                                                 rate data from the common stack,                        benefits of allowance trading, because                incentivize improved emissions
                                                 recognizing that the common stack                       all units would have to meet the same                 performance at the individual unit level
                                                 emissions rate would generally be                       emissions rate.                                       while continuing to preserve, to the
                                                 biased upwards relative to the emissions                   Some commenters stated that the                    extent possible, the advantages that the
                                                 rate that could be reported for the SCR-                proposed application of the daily                     flexibility of a trading program brings to
                                                 equipped unit if that unit's
                                                                         unit’s emissions                backstop emissions rate provisions in                 the electric power sector. The EPA
                                                 were monitored separately. Commenters                   the 2027 control period in some cases                 appreciates that, in comparison to
                                                 have suggested a third option of a                      would occur only slightly before the                  previous transport rules using a trading
                                                 temporary exemption from the backstop                   units’ otherwise planned retirement
                                                                                                         units'                                                program mechanism for the power
                                                 emissions rate to avoid the cost of                     dates, and that short-term reliability                sector, the degree of flexibility available
                                                 upgrading their monitoring systems.                     considerations could create the need to               under this rule is reduced both by the
                                                 With the timing for implementation of                   make substantial investments in new                   greater stringency of the overall
                                                 the backstop emissions rate provisions                  controls at the units, which in turn                  emissions reduction requirements,
                                                 for currently uncontrolled units in the                 could result in deferral of the units’
                                                                                                                                          units'               which leave less room to accommodate
                                                 proposal, the temporary exemption for                   retirement plans. In the proposal, the                emissions from high-emitting units such
                                                 the SCR-equipped units would have                       EPA requested comment on the                          as uncontrolled coal-fired units, and by
                                                 been in place for three control periods,                possibility of deferring the application              the backstop daily emissions rate
                                                 from 2024 through 2026. With the final                  of the backstop emissions rate                        provisions. However, the EPA maintains
                                                 rule’s deferral of the implementation of
                                                 rule's                                                  provisions to units without existing SCR              that the trading program structure still
                                                 the backstop emissions rate provisions                  controls until the 2029 control period if             is significantly more flexible than an
                                                 for the uncontrolled units for up to three              the owners provided the EPA with                      array of directly enforceable emissions
                                                 years, the suggested temporary                          information indicating with sufficient                limits imposed on all EGUs or even on
                                                 exemption for the SCR-equipped units                    certainty that the units would retire by              all coal-fired EGUs, and the comments
                                                 would be in effect for up to six control                the end of 2028. Commenters in favor of               do not show otherwise.
                                                 periods, from 2024 through 2029. The                    this concept suggested longer deferral                   With respect to the comments
                                                 EPA does not consider it reasonable to                  periods, ranging from 2029 through                    concerning the timing for application of
                                                 allow these SCR-equipped units an                       2032, and some also suggested that the                the backstop daily emissions rate
                                                 exemption from the backstop rate                        EPA should simultaneously enlarge the                 provisions to EGUs without existing
                                                 provisions for six years to avoid the cost              emissions budgets to provide more                     SCR controls, in the final rule the
                                                 of upgrading their monitoring systems,                  allowances for units subject to the                   provisions will apply to these units
                                                 particularly given that the additional                  deferred requirement. Other                           starting with the second control period
                                                 costs of monitoring at the individual-                  commenters opposed any deferral of the                in which newly installed SCR controls
                                                 unit level are already borne by the large               applicability of the backstop rate                    are operational at the unit, but not later
                                                 majority of other plants and the rule                   provisions.                                           than the 2030 control period. As
                                                 already provides these plants with an                      Response: The EPA disagrees that
                                                                                                            Response:                                          discussed in section VI.B.1.d of this
                                                 alternative to the monitoring system                    implementation of the backstop daily                  document, the purpose of this change
                                                 upgrades, if desired, by allowing the                   emissions rate provisions for EGUs                    from the proposal is to address concerns
                                                 plants to use the emissions rate data                   without existing SCR controls                         expressed by RTOs and other
                                                                     stack.336
                                                 from the common stack.336                               constitutes a mandate for such units to               commenters that application of the
                                                    Comment:
                                                    Comment: With respect to units                       install controls or retire but agrees that,           backstop daily NOxNOX emissions rate to
                                                 without existing SCRs, some                             as intended, the provisions would create              EGUs without existing SCR controls
                                                 commenters viewed the backstop daily                    strong incentives to minimize operation               starting in the 2027 control period
                                                 emissions rate provisions as likely to                  of the units unless and until controls are            would provide insufficient time for
                                                 make units without SCR altogether                       installed, and further agrees that in                 planning and investments needed to
                                                 unwilling or unable to operate and                      some instances retirement and                         facilitate the unit retirements they
                                                 characterized the provisions as a                       replacement may be a more                             viewed as likely to be a preferred
                                                 mandate for such units to install such                  economically attractive option for the                compliance pathway for some owners.
                                                 controls or retire as of the control period             unit’s customers and/or owners than
                                                                                                         unit's                                                The EPA recognizes that retrofitting new
                                                 when the provisions are implemented.                    installation of new controls. The EPA's
                                                                                                                                             EPA’s             emissions controls on aging coal-fired
                                                 Other commenters acknowledged that                      rationale for determining at Step 3 that              EGUs may be less environmentally
                                                 the provisions are not actually hard                    the control stringency required to                    efficient than the alternative of
                                                 limits but stated that the higher                                states’ good neighbor
                                                                                                         address states'                                       retirement and replacement, which
                                                 allowance surrender ratio for emissions                 obligations includes achievement of                   could yield lower cumulative emissions
                                                 in excess of the backstop daily rate                    emissions rates consistent with good                  of NOx
                                                                                                                                                                  NOX and multiple other pollutants
                                                 would nevertheless reduce the ability of                SCR performance at all large coal-fired               over time. The EPA also recognizes that
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                         EGUs (other than circulating fluidized                several coal-fired EGUs have already
                                                    336 The owner of one of the five plants with
                                                    336                                                  bed boilers) is discussed in section                  been considering retirement in 2028 (or
                                                 common stacks submitted comments stating that no        V.D.1 of this document, and the EPA's
                                                                                                                                            EPA’s              earlier) under compliance pathways
                                                 location in the plant’s
                                                                  plant's ductwork could meet the        rationale for determining at Step 4 that              available under the Clean Water Act
                                                 criteria for a unit-specific monitoring location. As    the trading program should include                                          337 and the coal
                                                                                                                                                               effluent guidelines 337
                                                 discussed in section VI.B.10 of this document, EPA
                                                 staff have reviewed the comment and do not believe
                                                                                                         strong unit-level incentives to                       combustion residuals rule under the
                                                 the commenter has provided sufficient information       implement these controls is discussed
                                                 to reach such a conclusion.                             in section VI.B.1.c. of this document. As               337 See 40 CFR 423.11(w).
                                                                                                                                                                 337See 40 CFR 423.11(w).



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00144   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023                Page 183 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                                   36797
                                                                                                                                                                                                           36797

                                                 Resource Conservation and Recovery                      neighbor obligations as expeditiously as              transition period identified by
                                                 Act.338 The year 2028 also represents
                                                 Act.338                                                 practicable and is based on a                         commenters can be justified on the basis
                                                 the end of the second planning period                   demonstration that emissions                          of the greater long-term environmental
                                                 under the Regional Haze program, and                    reductions commensurate with the                      benefits obtained through greater
                                                 thus is a significant year in states'
                                                                                states’                  overall emissions control strategy at                 compliance flexibility.
                                                 planning of strategies to make                          Step 33 can be achieved beginning in the              8. Unit-Specific Emissions Limitations
                                                 reasonable progress towards natural                     2027 ozone season (following a two-year               Contingent on Assurance Level
                                                 visibility at Class I areas.339
                                                                       areas.339 In addition,            phase in of emissions reductions                      Exceedances
                                                 other regulatory actions at the state or                associated with installation of SCR
                                                 Federal level are being or recently have                retrofits). In the RIA, we demonstrate                   As emphasized by the D.C. Circuit in
                                                 been proposed. This includes among                      that EGUs will have multiple pathways                 its decision invalidating CAIR, under
                                                 other things a proposed revision to the                 to meeting the state budgets even if they                  CAA’s good neighbor provision,
                                                                                                                                                               the CAA's
                                                 PM NAAQS for which transport SIPs                       choose not to install the SCR controls—               emissions "within
                                                                                                                                                                           ‘‘within the State’’
                                                                                                                                                                                         State" that
                                                 would be due later in the 2020s. We                                                                           contribute significantly to
                                                                                                         thus no relaxation in the stringency of
                                                 understand that EGUs may wish to take                                                                         nonattainment or interfere with
                                                                                                         these budgets has been demonstrated to
                                                 the entire regulatory and market                                                                              maintenance of a NAAQS in another
                                                                                                         be warranted based on feasibility,
                                                 landscape into account when deciding                                                                          state must be prohibited. North Carolina
                                                                                                         necessity, or impossibility. The EGU
                                                 whether to invest in SCR or pursue                                                                            v. EPA, 531 F.3d 896, 906–08
                                                                                                                                                                                        906-08 (D.C. Cir.
                                                                                                         economic modeling discussed in the
                                                 other NOx
                                                        NOX reduction strategies. To                                                                           2008). The CAIR trading programs
                                                                                                         RIA illustrates that many sources                     contained no provisions limiting the
                                                 facilitate a unit-level compliance                      identified as currently having SCR
                                                 alternative under this rule that                                                                              degree to which a state could rely on net
                                                                                                         retrofit potential elect not to install a             purchased allowances as a substitute for
                                                                 NOX reductions
                                                 maintains the NOx                                       SCR, and those that do retrofit SCR
                                                 corresponding to SCR-level emissions                                                                          making in-state emissions reductions,
                                                                                                         make no such installation until 2030.                 an omission which the court found was
                                                 control performance required by the
                                                                                                         Yet, the fleet is able to comply with                 inconsistent with the requirements of
                                                 state budgets from 2026 forward and                     2026 state emissions budgets (whose
                                                 that is potentially superior both                                                                             the good neighbor provision. Id. In
                                                                                                         emissions reductions are premised in                  response to that holding, the EPA
                                                 economically and environmentally
                                                                                                         large part on assumed SCR retrofits)                  established the CSAPR trading
                                                 across multiple regulatory programs                     through reduced utilization (many of
                                                 than installation of new, capital-                                                                            programs’
                                                                                                                                                               programs' assurance provisions to
                                                                                                         these units are projected to retire, and              ensure that, in the context of a flexible
                                                 intensive, post-combustion controls, the
                                                                                                         thus reduce emissions). While these                   trading program, the emissions
                                                 EPA is providing the fleet more
                                                                                                         changes in coal fleet utilization are not             reductions required under the good
                                                 flexibility in how to achieve those
                                                 emissions reductions in the years
                                                                                                         required or imposed through the EPA'sEPA’s            neighbor provision in fact will take
                                                 through 2029. Relatedly, the deferral of                state emissions budgets, they are                     place within the state. The EPA believes
                                                                                                         projected to be an economic preference                the assurance provisions have generally
                                                 the application of the backstop
                                                                                                         for a substantial portion of the                      been successful in achieving that
                                                 emissions rate provisions to
                                                 uncontrolled units also addresses                       unretrofitted fleet owing to future                   objective, as evidenced by the fact that
                                                 commenters’
                                                 commenters' concerns that the                           market and policy conditions. If sources              since the assurance provisions took
                                                 provisions otherwise would reduce the                   do ultimately elect this pathway, then                effect in 2017, out of the nearly 300
                                                 ability of uncontrolled units to operate                compliance will occur with significantly              instances where a given state's
                                                                                                                                                                                           state’s
                                                 as needed to back up intermittent                       less demand on SCR retrofit labor and                 compliance with the assurance
                                                 renewable generation (subject of course                 material markets than assumed at Step                 provisions of a given CSAPR trading
                                                 to the allowance-holding requirements                   3. The daily emissions rates are a                    program for a given control period has
                                                 to cover emissions). The deferral                       backstop to the broader emissions                                        state’s collective
                                                                                                                                                               been assessed, a state's
                                                 addresses this concern directly for the                 reduction requirements, which we view                 emissions have exceeded the applicable
                                                 period through 2029, by eliminating                     as an important and necessary                         assurance level only four times.
                                                 application of the backstop provisions                  component to the elimination of                          Unfortunately, the EPA also
                                                 to uncontrolled EGUs through this                       significant contribution. But we also                 recognizes that the assurance
                                                 period, and also indirectly after 2029, by              recognize that the objectives to be                   provisions’
                                                                                                                                                               provisions' very good historical
                                                 ensuring the availability of sufficient                 accomplished by the backstop must be                  compliance record is not good enough.
                                                 time for owners and operators to                        balanced with larger economic and                     The four past exceedances all occurred
                                                 complete other investments that may be                  environmental conditions facing EGUs                  under the Group 2 trading program:
                                                 needed to back up renewable generation                  for which a deferral of the backstop rate             sources in Mississippi collectively
                                                 after that point.                                       ultimately is the most reasonable                     exceeded their applicable assurance
                                                    The EPA disagrees with the comments                  approach given these competing                        levels in the 2019 and 2020 control
                                                 stating that application of the backstop                concerns. See Wisconsin,
                                                                                                                           Wisconsin, 938 F.3d at              periods, and sources in Missouri
                                                 daily emissions rate provisions to                      320 (‘‘EPA,
                                                                                                              ("EPA, though, possesses a measure               collectively exceeded their applicable
                                                 uncontrolled units should not be                        of latitude in defining which upwind                  assurance levels in the 2020 and 2021
                                                 deferred and also disagrees with the                    contribution ‘amounts’
                                                                                                                         `amounts' count as                                      340 Both of the
                                                                                                                                                               control periods.340
                                                 comments stating that deferral should                   ‘significant[  ]’ and thus must be
                                                                                                         `significant[ ]'                                      exceedances by Missouri sources could
                                                 be accompanied by increases in the state                abated.’’). As noted in section VI.B.1.d
                                                                                                         abated.").                                            easily have been avoided if the owner
                                                                                                         of this document, the EPA finds that as
ddrumheller on DSK120RN23PROD with RULES2




                                                 emissions budgets reflecting higher                                                                           and operator of several SCR-equipped,
                                                 assumed emissions rates for these units.                long as state emissions budgets continue
                                                 The responses to these two comments                     to reflect the required degree of                       348 Information on the assurance level
                                                                                                                                                                 340

                                                 are related. This rule complies with the                emissions reductions at least for an                  exceedances in the 2019, 2020, and 2021 control
                                                                                                         interim period until the backstop rate                periods is available in the final notices concerning
                                                 mandate for the EPA to address good                                                                           EPA’s administration of the assurance provisions
                                                                                                                                                               EPA's
                                                                                                         would apply more uniformly, deferral of               for those control periods. 85 FR 53364 (August 28,
                                                   338 See 40 CFR 257.103(b).
                                                   338                                                   the backstop rate requirement for                     2020); 86 FR 52674 (September 22, 2021); 87 FR
                                                   339 See 40 CFR 51.308(f).
                                                   339                                                   uncontrolled units in recognition of the              57695 (September 21, 2022).



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00145   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                             Document #2009836                             Filed: 07/27/2023              Page 184 of 430
                                                 36798
                                                 36798                 Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 coal-fired steam units had not chosen to                    The two historical emissions-related               new unit-level requirement as the
                                                          units’ controls and rely instead
                                                 idle the units'                                          compliance requirements in the Group 3                ‘‘secondary emissions limitation.’’
                                                                                                                                                                "secondary                 limitation." (The
                                                 on net out-of-state purchased                            trading program regulations are both                  regulations label the designated
                                                 allowances. The exceedances were                         structured in the form of requirements                representative-level requirement as
                                                 large, and ample quantities of                           to hold allowances. The first                         ‘‘compliance with the . . . assurance
                                                                                                                                                                "compliance
                                                 allowances to cover the resulting 3-for-                 requirement applies at the source level:              provisions.’’)
                                                                                                                                                                provisions.")
                                                 1 allowance surrender requirements                       specifically, at the compliance deadline                 Because the purpose of the new unit-
                                                 were purchased in advance, suggesting                    after each control period, the owners                 level secondary emissions limitation is
                                                 that the assurance level exceedances                     and operators of each source covered by               to deter conduct causing exceedances of
                                                 may have been anticipated as a                           the program must surrender a quantity                   state’s assurance level, the EPA is
                                                                                                                                                                a state's
                                                 possibility. In the case of the                          of allowances that is determined based                conditioning applicability of the new
                                                 Mississippi exceedances, the                             on the emissions from the units at the                limitation on (1) the occurrence of an
                                                 exceedances were smaller, operational                    source during the control period. The                 exceedance of the state's
                                                                                                                                                                                      state’s assurance level
                                                 variability (manifesting as increased                    second requirement applies at the                     for the control period, and (2) the
                                                 heat input) appears to have been a                       designated representative level (which                apportionment of at least some of the
                                                 material contributing factor, and the                    typically is the owner or operator level):            responsibility for the assurance level
                                                 EPA has not concluded that the owners                    if the state's
                                                                                                                 state’s sources collectively emit in           exceedance to the set of units
                                                 and operators anticipated the                            excess of the state's
                                                                                                                          state’s assurance level, the          represented by the unit's
                                                                                                                                                                                       unit’s designated
                                                 exceedances. However, an additional                      owners and operators of each set of                   representative. Apportionment of
                                                 contributing factor was the fact that                    sources determined to have contributed                responsibility for the assurance level
                                                 several large, gas-fired steam units                     to the exceedance must surrender an                   exceedance will be carried out
                                                 without SCR controls emitted NOx  NOX at                 additional quantity of allowances. As                 according to the existing assurance
                                                 average rates much higher than the                       long as a source's
                                                                                                                     source’s owners and operators              provision procedures and will therefore
                                                 average emissions rates the same units                   comply with these two allowance                       depend on the designated
                                                 had achieved in previous control                         surrender requirements (and meet                      representative’s
                                                                                                                                                                representative's shares of both the
                                                 periods. In short, while the Missouri                    certain other requirements not related to             state’s total emissions for the control
                                                                                                                                                                state's
                                                 exceedances appear far more significant,                 the amounts of the sources'
                                                                                                                                 sources’ emissions),           period and the state's
                                                                                                                                                                                 state’s assurance level for
                                                     EPA’s analysis indicates that all four
                                                 the EPA's                                                they are in compliance with the                       the control period. To ensure that the
                                                 past exceedances could have been                         program.                                              secondary emissions limitation is
                                                 avoided if the units most responsible                       In light of the operation of the                   focused on units where the need for
                                                 had achieved emissions rates more                        Missouri sources, the EPA is doubtful                 improved incentives is greatest, and also
                                                 comparable to the same units’
                                                                            units' previous               that strengthening the assurance                      to ensure that the limitation will not
                                                 performance. In the EPA's
                                                                       EPA’s view, the                    provisions by increasing allowance                    apply to units used only to meet peak
                                                 operation of the Missouri units in                       surrender requirements at the unit,                   electricity demand, the limitation
                                                 particular—although not prohibited by                    source, or designated representative                  applies only to units that are equipped
                                                 the current regulatory requirements—                     level would create a sufficient deterrent.            with post-combustion controls (i.e., SCR
                                                 cannot be reconciled with the statutory                  Accordingly, the EPA is instead adding                or SNCR) and that operated for at least
                                                 requirements of the good neighbor                        a new, unit-level emissions limitation                ten percent of the hours in the control
                                                 provision. The fact that such operation                  structured as a prohibition to emit NOxNOX            period in question and in at least one
                                                 is not prohibited by the current                         in excess of a defined amount. A                      previous control period.
                                                 regulations therefore indicates a                        violation of the prohibition will not                    For units to which a secondary
                                                 deficiency in the current regulatory                     trigger additional allowance surrender                emissions limitation applies in a given
                                                 requirements.                                            requirements beyond the surrender                     control period based on the conditions
                                                    To correct the deficiency in the                      requirements that would otherwise                     just summarized, the limitation is
                                                 regulatory requirements, the EPA in this                 apply, but will trigger the possible                  defined by a formula in the regulations.
                                                 rulemaking is revising the Group 3                                             CAA’s enforcement
                                                                                                          application of the CAA's                              The formula is generally designed to
                                                 trading program regulations to establish                 authorities. The new emissions                        compute the potential amount the unit
                                                 an additional emissions limitation to                    limitation will be in addition to, not in             would have emitted during the control
                                                 more effectively deter avoidable                         lieu of, the other requirements of the                period, given its actual heat input
                                                 assurance level exceedances starting                     Group 3 trading program. This point is                during the control period, if the unit
                                                 with the 2024 control period. Because                    being made explicit by relabeling the                 had achieved an average emissions rate
                                                 the pollutant involved is ozone season                   source-level allowance holding                        equal to the unit’s
                                                                                                                                                                               unit's lowest average
                                                 NOX and the particular sources for
                                                 NOx                                                      requirement, currently called the                     emissions rate in a previous control
                                                 which deterrence is most needed are                      ‘‘emissions limitation,’’
                                                                                                          "emissions                        ‘‘primary
                                                                                                                        limitation," as the "primary            period plus a margin of 25 percent. To
                                                 located in states that are transitioning                 emissions limitation’’
                                                                                                                      limitation" and labeling the              ensure that the data used to establish
                                                 from the Group 2 trading program to the                                                                             unit’s lowest previous average
                                                                                                                                                                the unit's
                                                 Group 3 trading program, the EPA is                      the same revisions to the assurance provisions for    emissions rate are representative and of
                                                 promulgating the strengthening                           all the other CSAPR trading programs. The EPA is      high quality, only past control periods
                                                                                                          not doing so at this time because the Agency has      where the unit participated in a CSAPR
                                                 provisions as revisions to the Group 3                   seen no reason to expect exceedances of the
                                                 trading program regulations rather than                  assurance levels under any of the other CSAPR         trading program for ozone season NOx   NOX
                                                 the Group 2 trading program                              trading programs by any of the states that will       and operated in at least ten percent of
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                          remain subject to the respective trading programs     the hours in the control period are
                                                 regulations. 341
                                                 regulations.341                                          after this rulemaking, except possibly by Missouri
                                                                                                          under the CSAPR NOxNOX Annual Trading Program.
                                                                                                                                                                considered. Further, to avoid causing
                                                   341 The EPA believes that the occurrence of
                                                   341
                                                                                                          The EPA expects that reductions in Missouri's
                                                                                                                                               Missouri’s       units that achieve emissions rates lower
                                                 avoidable assurance level exceedances under the                    NOX emissions sufficient to comply with
                                                                                                          seasonal NOx                                          than 0.08 lb/mmBtu
                                                                                                                                                                            lb/minBtu from becoming
                                                 Group 2 trading program, combined with the               the proposed provisions of the revised Group 3        subject to more stringent secondary
                                                 express statutory directive that good neighbor           trading program, including the secondary emissions
                                                                                  ‘‘within the state,"
                                                 obligations must be addressed "within         state,’’   limitations, would also prevent exceedances of
                                                                                                                                                                emissions limitations in subsequent
                                                               ‘‘prohibition,’’ would also provide a
                                                 and through "prohibition,"                               Missouri’s currently applicable assurance level for
                                                                                                          Missouri's                                            control periods, the secondary
                                                 sufficient legal basis for the Agency to promulgate               NOX emissions.
                                                                                                          annual NOx                                            emissions limitation formula uses a


                                            VerDate Sep<11>2014    20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00146   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                                       Document #2009836                                             Filed: 07/27/2023                 Page 185 of 430
                                                                            Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                    Register/Vol.                                                                                                                                   36799
                                                                                                                                                                                                                                    36799

                                                 floor emissions rate of 0.10 lb/mmBtu                                    units represented by the unit's
                                                                                                                                                    unit’s                                 if the limitations and formula had been
                                                 (which is 0.08 lb/minBtu
                                                                 lb/mmBtu plus the                                        designated representative, the unit is                           in effect for the Group 2 trading program
                                                 formula’s 25 percent margin). In
                                                 formula's                                                                equipped with post-combustion                                    in 2020 and 2021 when assurance level
                                                 addition to making sure that                                             controls, and the unit operated for at                           exceedances occurred in Missouri.
                                                 performance better than 0.08 lb/minBtu
                                                                                lb/mmBtu                                  least ten percent of the hours in the                            Following consideration of comments,
                                                 is not disincentivized, the inclusion of                                 control period. Where a secondary                                the EPA believes that in each case the
                                                 the floor emissions rate also ensures that                               emissions limitation applies to a unit for                       formula functions in a reasonable
                                                 no unit achieving an average emissions                                   a given control period, the amount of                            manner, and the Missouri units
                                                 rate of 0.10 lb/minBtu
                                                              lb/mmBtu or less in a given                                 the limitation is computed as the sum                            identified as exceeding their respective
                                                 control period will exceed a secondary                                   of 50 tons plus the product of (1) the                           secondary emissions limitations are
                                                 emissions limitation in that control                                     unit’s heat input for the control period
                                                                                                                          unit's                                                           sources for which an enforcement
                                                 period. Finally, the formula includes a                                  times (2) a NOx
                                                                                                                                      NOX emissions rate of 0.10                           deterrent under CAA sections 113 and
                                                 50-ton threshold, which will avert                                       lb/mmBtu
                                                                                                                          lb/minBtu or, if higher, 125 percent                             304 would have been appropriate to
                                                 violations for small performance                                                                             NOX
                                                                                                                          times the lowest seasonal average NOx                            compel better control of NOx
                                                                                                                                                                                                                     NOX emissions.
                                                 deviations at large EGUs and also ensure                                 emissions rate achieved by the unit in                           Table VI.B.8-1
                                                                                                                                                                                                   VI.B.8–1 does not show any units
                                                 that no unit emitting less than 50 tons                                  a previous control period when the unit                          that would have been identified as
                                                 in a given control period will exceed a                                  participated in a CSAPR trading                                  subject to secondary emissions
                                                 secondary emissions limitation in that                                   program for ozone season NOxNOX                                  limitations in the case of the 2019 and
                                                 control period.                                                          emissions and operated in at least ten                           2020 assurance level exceedances in
                                                    In summary, a secondary emissions                                     percent of the hours in the control                              Mississippi because no units in the state
                                                 limitation is applicable to a unit for a                                 period. 342
                                                                                                                          period.342                                                       meeting all conditions for
                                                 given control period only if the state's
                                                                                   state’s                                         VI.B.8–1 shows the secondary
                                                                                                                            Table VI.B.8-1                                                 applicability—including the
                                                 assurance level is exceeded,                                             emissions limitations that the formula                           requirement to be equipped with post-
                                                 responsibility for the exceedance is                                     would have produced and which units                              combustion controls—exceeded their
                                                 apportioned at least in part to the set of                               would have exceeded those limitations                            respective limitations.
                                                   TABLE VI.B.8-1
                                                   TABLE VI.B.8–1—I
                                                                  —ILLUSTRATIVE RESULTS OF APPLYING
                                                                    LLUSTRATIVE RESULTS    APPLYING S ECONDARY E
                                                                                                    SECONDARY  EMISSIONS LIMITATION IN PREVIOUS
                                                                                                                MISSIONS LIMITATION    PREVIOUS INSTANCES
                                                                                                                                                INSTANCES OF
                                                                                        ASSURANCE LEVEL
                                                                                        ASSURANCE   LEVEL E
                                                                                                          EXCEEDANCES
                                                                                                           XCEEDANCES

                                                                                                                                                                    125% of Lowest         Actual                      Actual
                                                                                                                                                                       previously           NOX
                                                                                                                                                                                            NOx         Secondary
                                                                                                                                                                                                        emissions       NOx
                                                                                                                                                                                                                        NOX       Exceedance
                                                                 Owner/operator                                                 Unit                                 achieved NO
                                                                                                                                                                              NOx X      emissions
                                                                                                                                                                     emissions rate         rate         limitation   emissions      (tons)
                                                                                                                                                                      (lb/mmBtu)
                                                                                                                                                                      (Ib/mmBtu)        (lb/mmBtu)
                                                                                                                                                                                        (Ib/mmBtu)         (tons)      (tons)

                                                                                                                                                   Missouri—2020
                                                                                                                                                   Missouri-2020

                                                 Assoc. Elec. Coop ..................................   New Madrid 11 .........................................                0.135          0.670             961       4,524         3,563
                                                 Assoc. Elec. Coop ..................................   New Madrid 2 .........................................                 0.131          0.497             866       3,108         2,242
                                                 Assoc. Elec. Coop ..................................   Thomas Hill 1 .........................................                0.123          0.526             374       1,384         1,010
                                                 Assoc. Elec. Coop ..................................   Thomas Hill 2 .........................................                0.122          0.537             548       2,187         1,639
                                                 Assoc. Elec. Coop ..................................   Thomas Hill 3 .........................................                0.104          0.195             780       1,374           594

                                                                                                                                                   Missouri-2021
                                                                                                                                                   Missouri—2021

                                                 Assoc. Elec. Coop ..................................   New Madrid 11 .........................................                0.135          0.652             353       1,466         1,113
                                                 Assoc. Elec. Coop ..................................   New Madrid 2 .........................................                 0.131          0.611           1,054       4,700         3,646
                                                 Assoc. Elec. Coop ..................................   Thomas Hill 1 .........................................                0.123          0.146             421         440            19
                                                 Assoc. Elec. Coop ..................................   Thomas Hill 2 .........................................                0.122          0.400             600       1,801         1,201



                                                    For further illustrations of the                                      apportionment of responsibility for a                            experience shows that exceedances of
                                                 application of the secondary emissions                                   share of the exceedance to the unit                              the assurance level have been rare, and
                                                 limitation formula to other units in the                                 under the assurance provisions.                                  where exceedances of a state's
                                                                                                                                                                                                                       state’s assurance
                                                 states to be subject to the expanded                                        The secondary emissions limitation                            level have occurred, the 3-for-1
                                                 Group 3 trading program in the control                                   provisions are being finalized as                                surrender ratio under the existing
                                                 periods from 2016 through 2021, see the                                  proposed except for the addition of the                          regulations has applied, providing a
                                                               ‘‘Illustrative Calculations
                                                 spreadsheet "Illustrative                                                condition that a unit to which the                               sufficient remedy.
                                                 Using Proposed Secondary Emissions                                       provisions apply must be equipped with                              Response: The EPA disagrees with
                                                                                                                                                                                              Response:
                                                 Limitation Formula,’’
                                                             Formula," available in the                                   post-combustion controls. The EPA's
                                                                                                                                                          EPA’s                            these comments. The purpose of the
                                                 docket. The EPA notes that, with the                                     responses to comments concerning the                             assurance provisions in the CSAPR
                                                 exception of the units listed in Table                                   secondary emissions limitation                                   trading programs is to ensure that the
                                                 VI.B.8–1, no unit shown in the
                                                 VI.B.8-1,                                                                provisions, including the comments                               emissions reductions required to
                                                 spreadsheet as having emissions                                          giving rise to the change just mentioned,                        address a state's
                                                                                                                                                                                                       state’s obligations under the
                                                 exceeding the illustrative secondary                                     are in the remainder of this section and                         Good Neighbor Provision occur "within‘‘within
ddrumheller on DSK120RN23PROD with RULES2




                                                 emissions limitation calculated for the                                  section 5 of the RTC document.                                   the state"
                                                                                                                                                                                               state’’ as mandated by the CAA. See
                                                 unit would have violated the                                                Comment:
                                                                                                                             Comment: Some commenters stated                               North Carolina v. EPA, 531 F.3d 896,
                                                 prohibition because no violation would                                   that the secondary emissions limitation                          906–08
                                                                                                                                                                                           906-08 (D.C. Cir. 2008). Prior to this
                                                 occur in the absence of an exceedance                                    is not necessary, or would be a                                  action, the sole consequence for an
                                                 of the assurance level and                                               disproportionate remedy, because                                 exceedance of a state's
                                                                                                                                                                                                              state’s assurance level


                                                   342 For the actual regulatory language, see 40 CFR
                                                   342

                                                 97.1025(c) as added by this rule.


                                            VerDate Sep<11>2014        20:14 Jun 02, 2023        Jkt 259001      PO 00000        Frm 00147        Fmt 4701        Sfmt 4700   E:\FR\FM\05JNR2.SGM    05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 186 of 430
                                                 36800
                                                 36800                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 has been a requirement to surrender two                 control periods is caused by factors in               EPA views as inappropriate when that
                                                 additional allowances for each ton of                   that control period beyond the                        exceedance could have been avoided.
                                                 the exceedance. The repeated, large,                    operator’s control, such as being
                                                                                                         operator's                                               The asserted possible consequences of
                                                 foreseeable, and easily avoidable                       mandated by a regulator to combust a                  uncertainty about whether the
                                                                  Missouri’s assurance
                                                 exceedances of Missouri's                               higher proportion of oil or operating for             limitation would apply rest on
                                                 level under the Group 2 trading program                 a higher proportion of hours at load                  mischaracterizations of the provision.
                                                 in 2020 and 2021
                                                              2021 have made clear that                  levels where the unit has a higher NOx
                                                                                                                                              NOX              The formula for the limitation reflects
                                                 a remedy based solely on additional                     emissions rate for reasons other than                     unit’s actual heat input for the
                                                                                                                                                               the unit's
                                                 allowance surrenders is insufficient to                 non-operation of emissions controls.                  control period, so there is no penalty for
                                                 address this statutory requirement and                     Comment:
                                                                                                            Comment: Some commenters asserted                  increased operation as long as the unit's
                                                                                                                                                                                                      unit’s
                                                 that a materially stronger deterrent is                 that because it is not known if a state's
                                                                                                                                            state’s                      NOX average emissions rate
                                                                                                                                                               seasonal NOx
                                                 needed.                                                 assurance level has been exceeded until               stays below the level just referenced.
                                                    Comment:
                                                    Comment: Some commenters stated                      after the end of the control period, EGU              Finally, nothing about the secondary
                                                 that the secondary emissions limitation                 operators would be unable to know                     emissions limitation disincentivizes an
                                                 could apply to exceedances caused by                    whether the secondary emissions                       EGU fleet owner from transferring
                                                 factors outside the control of the EGU                  limitation would apply to them during                                                     fleet’s
                                                                                                                                                               allocated allowances among the fleet's
                                                                              EPA’s intent
                                                 operator, going beyond the EPA's                        the control period. Some of these                     EGUs, because apportionment of
                                                 of deterring exceedances that are                       commenters suggested that where a unit                responsibility for an assurance level
                                                 foreseeable and avoidable. For example,                 has been found to have contributed to                 exceedance—one of the conditions for
                                                 commenters pointed out that some units                  an assurance level exceedance, the EPA                application of the secondary emissions
                                                 that typically combust gas may                          should apply a secondary emissions                    limitation—is determined at the level of
                                                 sometimes be ordered to combust oil at                  limitation to the unit not in that control            the group of units represented by a
                                                 times when supplies of gas are                          period but instead in the following                   common designated representative
                                                 constrained and expressed concern that                  control period.                                       (typically the set of all units operated by
                                                 the resulting higher NOx
                                                                       NOX emissions                                                                           a particular owner) rather than the
                                                                                                           Commenters suggested that
                                                 could cause a unit to exceed its                                                                              individual unit.
                                                                                                         uncertainty about whether a unit would                   Comment:
                                                                                                                                                                  Comment: Some commenters stated
                                                 secondary emissions limitation. Another
                                                                                                         be subject to a secondary emissions                   that the EPA should revise the
                                                 commenter stated that it is not                         limitation could have a variety of
                                                 uncommon for units'
                                                                  units’ seasonal average                                                                      secondary emissions limitation formula
                                                                                                         undesirable consequences. For example,                so that where a limitation applies to a
                                                 NOX emissions rate to vary by more
                                                 NOx
                                                                                                         they asserted that some EGUs could                              unit’s previous NOx
                                                                                                                                                               unit, the unit's           NOX emissions
                                                 than 25 percent across control periods.
                                                    Response: The EPA agrees that the                    become unwilling to operate when                      rate used in the formula would not be
                                                 secondary emissions limitation is                       needed for reliability because they                   subject to any floor. These commenters
                                                 intended to apply to units in a position                would be concerned that merely                        also recommended that if the secondary
                                                 to avert an exceedance of a state's
                                                                              state’s                    operating more than in previous control               emissions limitation provisions are not
                                                 assurance level. The contention that                    periods could cause a unit to exceed its              finalized, the EPA instead should raise
                                                 year-to-year variability of 25 percent in               limitation. One commenter asserted that               the allowance surrender ratio applied to
                                                 units’
                                                 units' seasonal average emissions rates                 the uncertainty would make it difficult               exceedances of the assurance level in
                                                 is common is not in itself a persuasive                 for an owner of multiple EGUs to use                  this final rule.
                                                 reason to omit the secondary emissions                  allowances allocated to one EGU to                       Response: The EPA disagrees with the
                                                                                                                                                                  Response:
                                                 limitation from the final rule, because                                 EGU’s surrender
                                                                                                         meet another EGU's                                    suggestion to remove the emissions rate
                                                 the mere existence of such variability                  requirements, possibly leading to                     floor from the secondary emissions
                                                 says nothing about whether the                          operating restrictions on multiple EGUs.              limitation formula, which would have
                                                 operators of those units could reduce                      Response: The EPA disagrees with
                                                                                                           Response:                                           the effect of making the limitation more
                                                 that variability through their operational              these comments. While an operator                     stringent for any unit that has achieved
                                                 decisions, and the commenter provided                   cannot be certain that the secondary                                       NOX emissions rate
                                                                                                                                                               a seasonal average NOx
                                                 no data regarding the extent to which                   emissions limitation will apply to a                  lower than 0.08 lb/minBtu
                                                                                                                                                                                 lb/mmBtu in a past
                                                 the historical variability was avoidable.               particular EGU until after the end of a               control period. As indicated by their
                                                 However, the EPA agrees that a                          control period, the operator can be                   label, the secondary emissions
                                                 secondary emissions limitation should                   certain that the limitation will not apply            limitation provisions play a secondary
                                                 be designed to avoid application to a                   to a particular EGU simply by ensuring                role in the Group 3 trading program
                                                 unit whose increase in emissions rate                            unit’s seasonal average NOx
                                                                                                         that the unit's                   NOX                 regulations, specifically to provide the
                                                 was caused by mandated combustion of                    emissions rate does not exceed the                    strongest possible deterrent against
                                                 a higher-NO
                                                   higher-NOx X fuel than the unit's
                                                                              unit’s                     higher of 0.10 lb/mmBtu or 125 percent                conduct leading to foreseeable and
                                                 normal fuel. Moreover, based on the                            unit’s lowest seasonal average
                                                                                                         of the unit's                                                                        state’s
                                                                                                                                                               avoidable exceedances of a state's
                                                 analysis of the secondary emissions                     NOX emissions rate in a previous
                                                                                                         NOx                                                   assurance level. The distinguishing
                                                 limitation formula prepared for the                     control period under a CSAPR trading                  feature of the secondary emissions
                                                 proposal, the EPA has reviewed the                      program (excluding control periods                    limitation provisions is therefore the
                                                 applicability of the limitation more                    where the unit operated for less than 10              remedy for an exceedance, which is
                                                 generally and has determined that it                    percent of the hours). Because any                    potential application of the CAA's
                                                                                                                                                                                              CAA’s
                                                 should apply only to units with post-                   operator of a unit with post-combustion               enforcement authorities. The trading
                                                                                                         controls can readily avoid being subject
ddrumheller on DSK120RN23PROD with RULES2




                                                 combustion controls, which are the                                                                            program’s
                                                                                                                                                               program's primary role of achieving
                                                 units with the greatest ability to manage               to the limitation, there is no need for               required emissions reductions in a more
                                                 their emissions rates through their                     application of the limitation to be                   flexible and cost-effective manner than
                                                 operating behavior. This modification                   deferred to the following control period.             command-and-control regulation is
                                                 will avoid application of a secondary                   Deferral of the limitation’s
                                                                                                                          limitation's application             played by the primary emissions
                                                 emissions limitation in situations where                would also have the effect of excusing                limitation provisions, which are
                                                   unit’s increase in seasonal average
                                                 a unit's                                                  unit’s first contribution to an
                                                                                                         a unit's                                              structured as allowance surrender
                                                 NOX emissions rate relative to past
                                                 NOx                                                     assurance level exceedance, which the                 requirements. Within this overall


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00148   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023                   Page 187 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                                     36801
                                                                                                                                                                                                             36801

                                                 trading program structure, the EPA                    areas of Indian country not subject to a                   rulemaking, will update the regulations
                                                 considers it sufficient for the operation             state’s CAA implementation planning
                                                                                                       state's                                                    for the Group 3 trading program 346 to    to
                                                 of units at emissions rates lower than                                       ‘‘new’’ units
                                                                                                       authority as well as "new"                                                    Circuit’s holding in
                                                                                                                                                                  reflect the D.C. Circuit's
                                                 0.08 lb/mmBtu to be incentivized                                            state’s borders.345
                                                                                                       anywhere within a state's      borders.345                 ODEQ v. EPA that the relevant states
                                                 through the allowance surrender                       Second, in advance of each control                         have initial CAA implementation
                                                 requirements instead of being mandated                period, the unreserved portion of the                      planning authority in non-reservation
                                                 through potential application of the                  state budget is allocated among the                        areas of Indian country until displaced
                                                 CAA’s enforcement authorities.
                                                 CAA's                                                 state’s eligible existing units, any
                                                                                                       state's                                                    by a demonstration of tribal jurisdiction
                                                    The recommendation to raise the                    portion of the state budget reserved for                   over such an area.347
                                                                                                                                                                                  area.347 Consistent with
                                                 allowance surrender ratio applicable to               existing units in Indian country not                       this holding, the EPA is revising
                                                 exceedances of the assurance level if the                             state’s CAA
                                                                                                       subject to the state's                                     language in the Group 3 trading program
                                                 secondary emissions limitation is not                 implementation planning authority is                       regulations that prior to this rule, for
                                                 finalized is moot because the secondary               allocated among those units, and the                       purposes of allocating allowances from
                                                 emissions limitation is being finalized.              allocations are recorded in the                                      state’s emissions budget,
                                                                                                                                                                  a given state's
                                                 9. Unit-Level Allowance Allocation and respective sources'         sources’ compliance                           distinguished between (1) the set of
                                                 Recordation Procedures                                accounts. Finally, after the control                                           state’s borders that are
                                                                                                                                                                  units within the state's
                                                                                                       period but before the compliance                           not in Indian country and (2) the set of
                                                     In this rule, the EPA is establishing             deadline by which sources must hold                                            state’s borders that are
                                                                                                                                                                  units within the state's
                                                 default procedures for allocating CSAPR allowances to cover their emissions for                                  in Indian country. As revised, the
                                                 NOX Ozone Season Group 3 allowances the control period, allowances from the
                                                 NOx                                                                                                              provisions now distinguish between (1)
                                                 (‘‘Group       allowances’’) in amounts
                                                 ("Group 3 allowances")                                portion of the budget reserved for new                                                    state’s borders
                                                                                                                                                                  the set of units within the state's
                                                 equal to each state emissions budget for units are allocated to qualifying units,                                that are not in Indian country or are in
                                                 each control period among the sources                 any remaining reserved allowances not                      areas of Indian country covered by the
                                                 in the state for use in complying with                allocated to qualifying units are                          state’s CAA implementation planning
                                                                                                                                                                  state's
                                                 the Group 3 trading program. Like the                                         state’s existing
                                                                                                       allocated among the state's                                authority and (2) the set of units within
                                                 allocation processes established in                   units, and the allocations are recorded                         state’s borders that are in areas of
                                                                                                                                                                  the state's
                                                 CSAPR, the CSAPR Update, and the                                          sources’ compliance
                                                                                                       in the respective sources'                                 Indian country not covered by the
                                                 Revised CSAPR Update, the revised                     accounts.                                                  state’s CAA implementation planning
                                                                                                                                                                  state's
                                                 allocation process finalized in this rule                While the overall three-step allocation                 authority. The revised language more
                                                 is designed to provide default allowance process summarized in this section was                                  accurately distinguishes which units
                                                 allocations to all units that are subject             also followed in CSAPR, the CSAPR                                                           state’s CAA
                                                                                                                                                                  are, or are not, covered by a state's
                                                 to allowance holding requirements. The Update, and the Revised CSAPR                                             implementation planning authority,
                                                 EPA’s allocations and allocation
                                                 EPA's                                                 Update, in this rule the EPA is making                     which is the underlying purpose for
                                                 procedures apply for the 2023 control                 revisions to each step to better address                                      ‘‘Indian country"
                                                                                                                                                                  which the term "Indian       country’’ is
                                                 period 343343 and, by default, for                    units in Indian country and to better                      currently used in the allowance
                                                 subsequent control periods unless and                 coordinate the unit-level allocation                       allocation provisions. The effect of the
                                                 until a state or tribe provides state-                process with the dynamic budget-setting                    revision is that any units located in
                                                 determined or tribe-determined                        process discussed in section VI.B.4 of                               ‘‘Indian country"
                                                                                                                                                                  areas of "Indian    country’’ as defined in
                                                 allowance allocations under an                        this document. The revisions to the                        18 U.S.C. 1151 that are covered by a
                                                 approved SIP revision or tribal                       three steps are discussed in sections                      state’s CAA implementation planning
                                                                                                                                                                  state's
                                                 implementation plan.         344
                                                                        plan.344                       VI.B.9.a, VI.B.9.b, and VI.B.9.c,                          authority will be treated for allowance
                                                     The default allocation process for the            respectively.                                              allocation purposes in the same manner
                                                 Group 3 trading program as updated in
                                                                                                       a. Set-Asides of Portions of State                         as units in areas of the state that are not
                                                 this rule involves three main steps.
                                                                                                       Emissions Budgets                                          Indian country, consistent with the
                                                 First, portions of each state emissions
                                                                                                                                                                  ODEQ holding.348
                                                                                                                                                                           holding.348
                                                 budget for each control period are                       The first step of the overall unit-level                   The remaining revisions, which are
                                                 reserved for potential allocation to units allocation process for a given control                                interrelated, concern the types of set-
                                                 that are subject to allowance holding                 period involves reserving portions of                      asides that in the context of this rule
                                                 requirements and that might not                       each state's
                                                                                                             state’s budget for the control                       will best accomplish the goal of
                                                 otherwise receive allowance allocations period in "set-asides."  ‘‘set-asides.’’ In this rule, the               ensuring the availability of allocations
                                                 in the overall allocation process,                    EPA is making several revisions                            to units that are subject to allowance
                                                 including both "existing"
                                                                      ‘‘existing’’ units in any        affecting the establishment of set-asides.                 holding requirements and that would
                                                                                                       The first revision, which is largely
                                                    343 The rule does not include an option for states
                                                    343

                                                 to replace the EPA’s unit-level allocations for the
                                                 to replace the EPA's unit-level allocations for the
                                                                                                       unrelated to the other aspects of this                        346 As discussed in section VI.B.13, the EPA is
                                                                                                                                                                     346

                                                 2023 control period because the Agency believes a                                                                also making this revision to the regulations for the
                                                 process for obtaining appropriately authorized             345 Under this rule, the unit-level allocations to
                                                                                                            345                                                   other CSAPR trading programs in addition to the
                                                 allowance allocations determined by a state or tribe    ‘‘existing’’ units are generally computed in the year
                                                                                                         "existing"                                               Group 3 trading program.
                                                 could not be completed in time for those allocations    before the year of each control period, and the             347 For additional discussion of the ODEQ v. EPA
                                                                                                                                                                     347 For

                                                 to be recorded before the end of the 2023 control       determination of whether to treat a particular unit      decision and other issues related to the CAA
                                                 period.                                                 as existing for purposes of that control period's
                                                                                                                                                   period’s       implementation planning authority of states, tribes,
                                                    344 The options for states to submit SIP revisions
                                                    344                                                  allocations is made as part of the allocation process,   and the EPA in various areas of Indian country, see
                                                 that would replace the EPA’s
                                                                          EPA's default allowance        generally based on whether the Agency has the data       section III.C.2.
                                                                                                         needed to compute an allocation for the unit as an          345 The EPA notes that the units that will be
                                                                                                                                                                     348
ddrumheller on DSK120RN23PROD with RULES2




                                                 allocations are discussed in sections VI.D.1, VI.D.2,
                                                 and VI.D.3 of this document. Similarly, for a           existing unit. A unit that is subject to allowance       treated for allocation purposes in the same manner
                                                 covered area of Indian country not subject to a         holding requirements for a given control period and      as units not in Indian country will include units in
                                                 state’s CAA implementation planning authority, a
                                                 state's                                                 that did not receive an allocation for that control      any areas of Indian country subject to a state's
                                                                                                                                                                                                            state’s CAA
                                                 tribe could elect to work with the EPA under the        period as an existing unit is generally eligible to      implementation planning authority, whether those
                                                 Tribal Authority Rule to develop a full or partial      receive an allocation from the portion of the budget     are non-reservation areas (consistent with ODEQ) or
                                                 tribal implementation plan under which the tribe                      ‘‘new’’ units. For further discussion of
                                                                                                         reserved for "new"                                       reservation areas (such as areas of Indian country
                                                 would determine allowance allocations that would        which units are considered eligible for allocations      within Oklahoma’s
                                                                                                                                                                           Oklahoma's borders covered by the EPA's
                                                                                                                                                                                                                EPA’s
                                                             EPA’s default allocations for subsequent
                                                 replace the EPA's                                       as existing units or new units in particular control                                   Oklahoma’s request
                                                                                                                                                                  October 1, 2020 approval of Oklahoma's
                                                 control periods.                                        periods, see sections VI.B.9.b and VI.B.9.c.             under SAFETEA, as discussed in section III.C.2).



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00149   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM     05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023                   Page 188 of 430
                                                 36802
                                                 36802                Federal Register / Vol. 88, No. 107/Monday,
                                                                                                      107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules

                                                 not otherwise receive allowance                         accounts at the same time as the                        new unit set-asides is to avoid
                                                 allocations. One revision to the types of               allocations to other sources not in                     unnecessary and potentially inequitable
                                                 set-asides addresses allocations to                     Indian country. The existence of the                    changes to the degree to which
                                                 existing units in Indian country. The                   Indian country existing unit set-aside                  individual existing units contribute to,
                                                 revised geographic scope of the Group 3                 thus will have no substantive effect                    or benefit from, the new unit set-asides.
                                                 trading program under this rule will for                unless and until the relevant state                     The allowances used to establish these
                                                 the first time include an existing EGU in                                        EPA’s default
                                                                                                         chooses to replace the EPA's                            set-asides are reserved from each state
                                                                                       state’s
                                                 Indian country not covered by a state's                 allowance allocations through a SIP                     emissions budget before determination
                                                 CAA implementation planning                             revision, in which case the state would                 of the allocations from the unreserved
                                                 authority—the Bonanza coal-fired unit                   have the ability to establish state-                    portion of the budget to existing units,
                                                 in the Uintah and Ouray Reservation                     determined allocations for the units                    so that certain existing units—generally
                                                 within Utah’s
                                                          Utah's borders. To provide an                  subject to the state's
                                                                                                                        state’s CAA                              those receiving the largest allocations—
                                                 option for Utah (or a similarly situated                implementation planning authority                       contribute to creation of the set-asides
                                                 state in the future) to replace the                     while the EPA would continue to                         through roughly proportional reductions
                                                 Agency’s default allowance allocations
                                                 Agency's                                                administer the Indian country existing                  in their allocations. Later, if any
                                                 to most existing units with state-                      unit set-aside for the units in Indian                  allowances in a set-aside are not
                                                 determined allocations through a SIP                                                   state’s CAA
                                                                                                         country not covered by the state's                      allocated to qualifying new units, the
                                                 revision while continuing to ensure the                 implementation planning authority.350
                                                                                                                                      authority.350              remaining allowances are reallocated to
                                                 availability of a default allocation to the             The EPA believes the establishment of                   the existing units in proportion to their
                                                 Bonanza unit, which is not subject to                   Indian country existing unit set-asides                 initial allocations from the unreserved
                                                      state’s jurisdiction or control (or
                                                 the state's                                             accomplishes the objective of allowing                  portion of the budget, so that certain
                                                 similarly situated units in the future),                states to control allowance allocations to              existing units—again, generally those
                                                 the EPA is revising the Group 3 trading                 units covered by their CAA                              receiving the largest allocations—benefit
                                                 program regulations to provide for                      implementation planning authority                       from the reallocations in rough
                                                 ‘‘Indian country existing unit set-
                                                 "Indian                                                 while ensuring that the allocations to                  proportion to their previous
                                                 asides.’’ Specifically, for each state and
                                                 asides."                                                units in Indian country not covered by                  contributions.  351 The EPA believes
                                                                                                                                                                 contributions.351
                                                 for each control period where the set of                such authority remain under Federal                     maintaining this symmetry, where the
                                                                   state’s borders eligible to
                                                 units within a state's                                  authority (unless replaced by a tribal                  same existing units—whether in Indian
                                                 receive allocations as existing units                   implementation plan).                                   country or not—both contribute to and
                                                 includes one or more units 349  349 in an area
                                                                                                            The remaining revisions to the types                 potentially benefit from the set-asides, is
                                                 of Indian country not covered by the                    of set-asides address the set-asides used               a reasonable policy objective, and doing
                                                 state’s CAA implementation planning
                                                 state's                                                 to ensure availability of allowance                     so requires that the EPA continue to
                                                 authority, the EPA will reserve a portion                               new units in light of the
                                                                                                         allocations to new                                      administer the new unit set-asides in
                                                 of the state's
                                                         state’s emissions budget in an                  division of the budget for existing units               the event a state chooses to replace the
                                                 Indian country existing unit set-aside                  into a reserved portion for existing units              EPA’s default allocations to existing
                                                                                                                                                                 EPA's
                                                 for the unit or units. The amount of each               in Indian country and an unreserved                     units with state-determined allocations,
                                                 Indian country existing unit set-aside                  portion for other existing units. Under                 because otherwise the EPA would be
                                                 will equal the sum of the default                       the Group 3 trading program regulations                 unable to maintain Federal
                                                 allocations that the units covered by the               as in effect before this rule, allowances               implementation authority and ensure
                                                                                                         for new units have been provided from                   that the units in Indian country would
                                                 set-aside would receive if the
                                                                                                         separate new unit set-asides and Indian                 receive an appropriate share of any
                                                 allocations to all existing units within
                                                      state’s borders were computed
                                                 the state's                                             country new unit set-asides. Under this                 reallocated allowances.352
                                                                                                                                                                              allowances.352 The principal
                                                                 EPA’s default allocation
                                                 according to EPA's                                      rule, the EPA is combining these two                    difference between the new unit set-
                                                 procedure (which is discussed in
                                                                                                         types of set-asides starting with the 2023              asides and the Indian country new unit
                                                 section VI.B.9.b of this document).                     control period by eliminating the Indian                set-asides under the regulations in effect
                                                 Immediately after determining the                       country new unit set-asides and                         before this rule was that, if a state chose
                                                                                                         expanding eligibility for allocations                                   EPA’s default allocations
                                                                                                                                                                 to replace the EPA's
                                                                state’s emissions budget for
                                                 amount of a state's
                                                                                                         from the new unit set-asides to include                 with state-determined allocations, the
                                                 a control period (and after reserving a
                                                 portion for potential allocation to new                 units anywhere within the relevant                      state would take over administration of
                                                                                                         states’ borders. However, as with the
                                                                                                         states'                                                 the new unit set-aside, but not any
                                                 units, as discussed later in this section),
                                                                                                         Indian country new unit set-asides                      Indian country new unit set-aside.
                                                 the EPA will first determine the default
                                                 allocations for all existing units within               under the current regulations, the EPA
                                                      state’s borders, then allocate the                 will continue to administer the new unit                   351 Under the regulations in effect before this final
                                                                                                                                                                    351
                                                 the state's                                                                                                     rule, allowances from an Indian country new unit
                                                 appropriate quantity of allowances to                   set-asides in the event a state chooses to              set-aside that are not allocated to qualifying new
                                                                                                                      EPA’s default allocations to
                                                                                                         replace the EPA's                                       units in Indian country are first transferred to the
                                                 the Indian country existing unit set-
                                                                                                         existing units with state-determined                    state’s new unit set-aside, and if the allowances are
                                                                                                                                                                 state's
                                                 aside, then allocate the allowances from                                                                        not allocated to qualifying new units elsewhere
                                                 the set-aside to the covered units in                   allocations, thereby ensuring the
                                                                                                                                                                              state’s borders, the allowances are then
                                                                                                                                                                 within the state's
                                                 Indian country, and finally record the                  availability of allocations to any new                  reallocated to the state's
                                                                                                                                                                                      state’s existing units.
                                                                                                                                  state’s CAA
                                                                                                         units not covered by a state's                             352 If units in Indian country were unable to share
                                                                                                                                                                    352
                                                                       sources’ compliance
                                                 allocations in the sources'
                                                                                                         implementation planning authority.                      in the benefits of reallocation of allowances from
                                                                                                            The reason for the revisions to the                  the new unit set-asides, it would be possible to
                                                    349 In coordination with the dynamic budgeting
                                                    349
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                         new unit set-asides and Indian country                  achieve a different form of symmetry by
                                                 process discussed in section VI.B.4, each unit                                                                  simultaneously exempting the units in Indian
                                                 included in the unit inventory used to determine                                                                country from the obligation to share in the
                                                   state’s dynamic emissions budget for a given
                                                 a state's                                                  350 As noted in section VI.D, a tribe could elect
                                                                                                            359                                                  contribution of allowances to the new unit set-
                                                 control period in 2026 or a later year will be          to work with EPA under the Tribal Authority Rule        asides. However, some stakeholders might view this
                                                                 ‘‘existing’’ unit for that control
                                                 considered an "existing"                                to develop a full or partial tribal implementation      alternative as potentially inequitable because
                                                 period for purposes of the determination of unit-       plan under which the tribe would determine              existing units in Indian country would then make
                                                 level allowance allocations. In other words, there      allowance allocations for units in the relevant area    no contributions toward the new unit set-aside
                                                 will no longer be a single fixed date that divides      of Indian country that would replace EPA's
                                                                                                                                                 EPA’s default   while other existing units would still be required
                                                 ‘‘existing’’ from "new"
                                                 "existing"        ‘‘new’’ units.                        allocations for subsequent control periods.             to do so.



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00150   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM    05JNR2
                                                       USCA Case #23-1157                                            Document #2009836                                                 Filed: 07/27/2023                   Page 189 of 430
                                                                              Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                      Register/Vol.                                                                                                                                              36803
                                                                                                                                                                                                                                                 36803

                                                 Under the revised regulations finalized                                      new unit set-aside for the state would be                                 York’s preferences as reflected in an
                                                                                                                                                                                                        York's
                                                 in this rule, states will not be able to                                     set at 6 percent, which is the sum of the                                 approved SIP addressing allowance
                                                 take over administration of the new unit                                     4 percent for planned units plus the                                      allocations for the Group 2 trading
                                                 set-asides in this situation. Therefore,                                     base 2 percent for unknown new units.                                     program.
                                                 there is no longer any reason to                                             Alternatively, if planned new units are                                      The final regulations issued under
                                                 establish separate Indian country new                                        projected to emit only 1 percent of the                                   this rule specify the new unit set-aside
                                                 unit set-asides in order to preserve                                         state’s budget, the new unit set-aside
                                                                                                                              state's                                                                   amounts in terms of the percentages of
                                                 Federal (and potentially tribal) authority                                   would be set at the minimum 5 percent                                     the state emissions budgets. The
                                                 to implement the rule in areas of Indian                                     amount. Except for the addition of the                                    amounts are shown in Tables VI.B.9.a-
                                                                                                                                                                                                                                         VI.B.9.a–
                                                 country subject to tribal jurisdiction.                                      5 percent minimum, which is a change                                         VI.B.9.a–2, and VI.B.9.a-3
                                                                                                                                                                                                        1, VI.B.9.a-2,      VI.B.9.a–3 of this
                                                    With respect to the total amounts of                                      being made in response to comments,                                       document show the tonnage amounts of
                                                 allowances that will be set aside for                                        the approach to setting the new unit set-                                 the new unit set-asides for the control
                                                 potential allocation to new units from                                       aside amounts is generally the same                                       periods in 2023 through 2025 that are
                                                 the emissions budgets for each state, for                                    approach previously used to establish                                     computed by multiplying the new unit
                                                 the control periods in 2023 through                                          the amounts of new unit set-asides in                                     set-aside percentages by the preset
                                                 2025 (but not for subsequent control                                         CSAPR, the CSAPR Update, and the                                          budgets finalized in this rule for those
                                                 periods, as discussed later in this                                          Revised CSAPR Update for all the                                          control periods. The amounts of the
                                                 section), the EPA is establishing total                                      CSAPR trading programs. See, e.g., 76                                     2023 new unit set-asides are illustrative
                                                 set-aside amounts equal to the projected                                     FR 48292 (August 8, 2011).                                                because they do not reflect the impact
                                                 amounts of emissions from any planned                                          As under the Revised CSAPR Update,                                      of transitional adjustments included in
                                                 units in the state for the control period,                                   the EPA is making an exception for New                                    the rule that that are likely to affect the
                                                 plus an additional base 2 percent of the                                     York for the 2023 through 2025 control                                    2023 budgets as implemented.353
                                                                                                                                                                                                                          implemented.353 The
                                                 state emissions budget to address any                                        periods, establishing a total new unit                                    amounts of the 2024 and 2025 new unit
                                                 unknown new units, with a minimum                                            set-aside amount for each control period                                  set-asides are the actual amounts,
                                                 total amount of 5 percent. For example,                                      of 5 percent of the state's
                                                                                                                                                  state’s emissions                                     because the 2024 and 2025 budgets
                                                 if planned units in a state are projected                                    budget, with no additional                                                computed in this rule are the budgets
                                                 to emit 4 percent of the state's
                                                                            state’s NOx
                                                                                    NOX                                       consideration for planned units, because                                  that will be implemented, without any
                                                 ozone season emissions budget, then the                                      this approach is consistent with New                                      need for transitional adjustments.
                                                  TABLE VI.B.9.a-1—ILLUSTRATIVE
                                                  TABLE VI.B.9.a–1—ILLUSTRATIVE CSAPR NO
                                                                                      NOx OZONE S
                                                                                        X OZONE   EASON G
                                                                                                SEASON   ROUP 3 N
                                                                                                        GROUP        UNIT S
                                                                                                                  EW UNIT
                                                                                                                 NEW       ET-ASIDE (NUSA) AMOUNTS
                                                                                                                          SET-ASIDE        AMOUNTS FOR
                                                                                                 CONTROL PERIOD
                                                                                        THE 2023 CONTROL  PERIOD
                                                                                                                                                                                                                           New unit          New unit
                                                                                                                                                                                                        Emissions          set-aside         set-aside
                                                                                                                      State                                                                              budgets                              amount
                                                                                                                                                                                                          (tons)            amount
                                                                                                                                                                                                                           (percent)           (tons)

                                                 Alabama .......................................................................................................................................              6,379                    5              319
                                                 Arkansas ......................................................................................................................................              8,927                    5              446
                                                 Illinois ...........................................................................................................................................         7,474                    5              374
                                                 Indiana .........................................................................................................................................           12,440                    5              622
                                                 Kentucky ......................................................................................................................................             13,601                    5              680
                                                 Louisiana ......................................................................................................................................             9,363                    5              468
                                                 Maryland ......................................................................................................................................              1,206                    5               60
                                                 Michigan .......................................................................................................................................            10,727                    5              536
                                                 Minnesota ....................................................................................................................................               5,504                    5              275
                                                 Mississippi ....................................................................................................................................             6,210                    5              311
                                                 Missouri ........................................................................................................................................           12,598                    5              630
                                                 Nevada .........................................................................................................................................             2,368                    9              213
                                                 New Jersey ..................................................................................................................................                  773                    5               39
                                                 New York .....................................................................................................................................               3,912                    5              196
                                                 Ohio .............................................................................................................................................           9,110                    6              547
                                                 Oklahoma .....................................................................................................................................              10,271                    5              514
                                                 Pennsylvania ................................................................................................................................                8,138                    5              407
                                                 Texas ...........................................................................................................................................           40,134                    5            2,007
                                                 Utah .............................................................................................................................................          15,755                    5              788
                                                 Virginia .........................................................................................................................................           3,143                    5              157
                                                 West Virginia ................................................................................................................................              13,791                    5              690
                                                 Wisconsin .....................................................................................................................................              6,295                    5              315
ddrumheller on DSK120RN23PROD with RULES2




                                                    353 As discussed in section VI.B.12, the EPA
                                                    353                                                                        rule’s transitional provisions so as to ensure that the
                                                                                                                               rule's                                                                   adjusted budgets, but the 2023 budget amounts
                                                 expects that this final rule will become effective                                                                     rule’s
                                                                                                                               new budgets will apply only after the rule's                             shown in Table VI.B.9.a-1
                                                                                                                                                                                                                       VI.B.9.a–1 do not reflect these
                                                 after May 1, 2023, causing the emissions budgets for                          effective date. The actual new unit set-asides for the                   adjustments.
                                                 the 2023 control period to be adjusted under the                              2023 control period will be computed using the



                                            VerDate Sep<11>2014          20:14 Jun 02, 2023         Jkt 259001        PO 00000        Frm 00151        Fmt 4701       Sfmt 4700       E:\FR\FM\05JNR2.SGM      05JNR2
                                                       USCA Case #23-1157                                            Document #2009836                                                 Filed: 07/27/2023                Page 190 of 430
                                                 36804
                                                 36804                        Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                      Register/Vol.

                                                     TABLE VI.B.9.a-2-CSAPR
                                                     TABLE VI.B.9.a–2—CSAPR NOx
                                                                            NOX OZONE
                                                                                OZONE SEASON G
                                                                                      SEASON  ROUP 3 N
                                                                                             GROUP       UNIT S
                                                                                                      EW UNIT
                                                                                                     NEW       ET-ASIDE (NUSA) AMOUNTS
                                                                                                              SET-ASIDE        AMOUNTS FOR THE 2024
                                                                                            CONTROL P
                                                                                            CONTROL  ERIOD
                                                                                                    PERIOD

                                                                                                                                                                                                                        New unit        New unit
                                                                                                                                                                                                        Emissions
                                                                                                                                                                                                                        set-aside       set-aside
                                                                                                                      State                                                                              budgets                         amount
                                                                                                                                                                                                                         amount
                                                                                                                                                                                                          (tons)        (percent)         (tons)

                                                 Alabama .......................................................................................................................................              6,489                 5           324
                                                 Arkansas ......................................................................................................................................              8,927                 5           446
                                                 Illinois ...........................................................................................................................................         7,325                 5           366
                                                 Indiana .........................................................................................................................................           11,413                 5           571
                                                 Kentucky ......................................................................................................................................             12,999                 5           650
                                                 Louisiana ......................................................................................................................................             9,363                 5           468
                                                 Maryland ......................................................................................................................................              1,206                 5            60
                                                 Michigan .......................................................................................................................................            10,275                 5           514
                                                 Minnesota ....................................................................................................................................               4,058                 5           203
                                                 Mississippi ....................................................................................................................................             5,058                 5           253
                                                 Missouri ........................................................................................................................................           11,116                 5           556
                                                 Nevada .........................................................................................................................................             2,589                 9           233
                                                 New Jersey ..................................................................................................................................                  773                 5            39
                                                 New York .....................................................................................................................................               3,912                 5           196
                                                 Ohio .............................................................................................................................................           7,929                 6           476
                                                 Oklahoma .....................................................................................................................................               9,384                 5           469
                                                 Pennsylvania ................................................................................................................................                8,138                 5           407
                                                 Texas ...........................................................................................................................................           40,134                 5         2,007
                                                 Utah .............................................................................................................................................          15,917                 5           796
                                                 Virginia .........................................................................................................................................           2,756                 5           138
                                                 West Virginia ................................................................................................................................              11,958                 5           598
                                                 Wisconsin .....................................................................................................................................              6,295                 5           315


                                                     TABLE VI.B.9.a-3-CSAPR
                                                     TABLE VI.B.9.a–3—CSAPR NOx
                                                                            NOX OZONE
                                                                                OZONE SEASON G
                                                                                      SEASON  ROUP 3 N
                                                                                             GROUP       UNIT S
                                                                                                      EW UNIT
                                                                                                     NEW       ET-ASIDE (NUSA) AMOUNTS
                                                                                                              SET-ASIDE        AMOUNTS FOR THE 2025
                                                                                            CONTROL P
                                                                                            CONTROL  ERIOD
                                                                                                    PERIOD

                                                                                                                                                                                                                        New unit        New unit
                                                                                                                                                                                                        Emissions       set-aside       set-aside
                                                                                                                      State                                                                              budgets                         amount
                                                                                                                                                                                                                         amount
                                                                                                                                                                                                          (tons)        (percent)         (tons)

                                                 Alabama .......................................................................................................................................              6,489                 5           324
                                                 Arkansas ......................................................................................................................................              8,927                 5           446
                                                 Illinois ...........................................................................................................................................         7,325                 5           366
                                                 Indiana .........................................................................................................................................           11,413                 5           571
                                                 Kentucky ......................................................................................................................................             12,472                 5           624
                                                 Louisiana ......................................................................................................................................             9,107                 5           455
                                                 Maryland ......................................................................................................................................              1,206                 5            60
                                                 Michigan .......................................................................................................................................            10,275                 5           514
                                                 Minnesota ....................................................................................................................................               4,058                 5           203
                                                 Mississippi ....................................................................................................................................             5,037                 5           252
                                                 Missouri ........................................................................................................................................           11,116                 5           556
                                                 Nevada .........................................................................................................................................             2,545                 9           229
                                                 New Jersey ..................................................................................................................................                  773                 5            39
                                                 New York .....................................................................................................................................               3,912                 5           196
                                                 Ohio .............................................................................................................................................           7,929                 6           476
                                                 Oklahoma .....................................................................................................................................               9,376                 5           469
                                                 Pennsylvania ................................................................................................................................                8,138                 5           407
                                                 Texas ...........................................................................................................................................           38,542                 5         1,927
                                                 Utah .............................................................................................................................................          15,917                 5           796
                                                 Virginia .........................................................................................................................................           2,756                 5           138
                                                 West Virginia ................................................................................................................................              11,958                 5           598
                                                 Wisconsin .....................................................................................................................................              5,988                 5           299



                                                   For control periods in 2026 and later                                      control period. The procedure for                                         the dynamic budget-setting process that
                                                 years, the EPA will allocate a total of 5                                    determining the amounts of the set-                                       may be used to determine budgets
                                                 percent of each state emissions budget                                       asides based on the amounts of the state                                  beginning with the 2026 control period.
ddrumheller on DSK120RN23PROD with RULES2




                                                 to a new unit set-aside, with no                                             emissions budgets is being codified in                                    As discussed in section VI.B.4 of this
                                                 additional amount for planned new                                            the Group 3 trading program regulations                                   document, under the dynamic budget-
                                                 units. The amounts of the set-asides for                                     and will reflect the same percentage of                                   setting process, each state's
                                                                                                                                                                                                                              state’s budget for
                                                 each state and control period will be                                        the emissions budget for all states.                                      each control period will be computed
                                                 computed when the emissions budgets                                            The purpose of the change to the                                        using fleet composition information and
                                                 for the control period are established, by                                   procedure for establishing the amounts                                    the total ozone season heat input
                                                 May 1 of the year before the year of the                                     of the set-asides is to coordinate with                                   reported by all affected units in the state


                                            VerDate Sep<11>2014          20:14 Jun 02, 2023         Jkt 259001        PO 00000        Frm 00152        Fmt 4701       Sfmt 4700       E:\FR\FM\05JNR2.SGM     05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 191 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                           36805
                                                                                                                                                                                                   36805

                                                 for the most recent control periods                     rule for areas of Indian country subject               of the methodology used in the Revised
                                                 before the budget-setting computations.                 to tribal jurisdiction. The comments and               CSAPR Update to reflect more recent
                                                 (For example, 2026 emissions budgets                         EPA’s responses are discussed in
                                                                                                         the EPA's                                              data (for example, the unit inventories
                                                 would be based on 2022–2024
                                                                        2022-2024 state-                 greater detail in section 1 of the RTC
                                                                                                                                            RTC                 used to compute 2026 budgets and
                                                 level heat input data.) Moreover, as                    document.                                              allocations will reflect reported data up
                                                 discussed in section VI.B.9.b of this
                                                                                                         b. Allocations to Existing Units,                      through the 2024 control period). These
                                                 document, the set of units eligible to                  Including Units That Cease Operation                   inventories, which are generally the
                                                                           ‘‘existing’’ units in
                                                 receive allocations as "existing"                                                                              same as the inventories used to compute
                                                 a given control period will generally be                   In conjunction with the new and                     dynamic budgets for each control
                                                 the set of units that operated in the                   revised state emissions budget-setting                 period, include any unit whose monitor
                                                 control period two years earlier (with                  methodology for the Group 3 trading                    certification deadline was no later than
                                                 the exception of any units whose                        program finalized in this rulemaking,                  the start of the relevant historical
                                                 monitor certification deadlines fell after              the EPA is necessarily establishing a                  control period and that reported
                                                 the start of that earlier control period).              revised procedure for making unit-level                emissions data during the relevant
                                                 Consequently, by the 2025 control                       allocations of Group 3 allowances to                   historical control period. The EPA notes
                                                 period, all or almost all units that                    existing units.354
                                                                                                                   units.354 The procedure that the             that basing the list of eligible units on
                                                 commenced commercial operation                          EPA is employing to compute the unit-                  the list of units that reported heat input
                                                 before issuance of this rule will be                    level allocations is very similar but not              in the control period two years earlier
                                                               ‘‘existing’’ units for purposes
                                                 considered "existing"                                   identical to the procedure used to                     than the control period for which
                                                 of budget-setting and allocations, and                  compute unit-level allocations for units               allocations are being determined
                                                 units commencing commercial                             subject to the Group 3 trading program                 represents a revision to the Group 3
                                                 operation after issuance of this rule                   in the Revised CSAPR Update. The                       trading program regulations as in effect
                                                 generally will be considered "existing"
                                                                                   ‘‘existing’’          steps of the procedure for determining                 before this rule concerning the
                                                 units for all but their first two full                  allocations from each state emissions                  treatment of allocations to retired units.
                                                 control periods of operation (and                       budget for each control period are                     Under the prior regulations, units that
                                                 possibly a preceding partial control                    described in detail in the Unit-Level                  cease operations for two consecutive
                                                 period). Given that new units will not                  Allowance Allocations Final Rule TSD.                  control periods would continue to
                                                 be relying on the new unit set-asides as                The steps are summarized in the                        receive allocations as existing units for
                                                 a permanent source of allowances, as is                 following paragraphs, with changes                     three additional years (that is, a total of
                                                 the case for "new"
                                                                ‘‘new’’ units under the other            from the procedure followed in the                     five years) before the allowances they
                                                 CSAPR trading programs, the EPA                         Revised CSAPR Update noted.                            would otherwise have received are
                                                                                                            In the first step, the EPA identifies the
                                                 believes it is unnecessary to establish                                                                        reallocated to the new unit set-aside for
                                                                                                         list of units eligible to receive
                                                 set-aside percentages for some states                                                                          the state. Under the regulations as
                                                 that are permanently larger than 5                      allocations for the control period. The                revised in this rule, units that cease
                                                 percent based solely on the fact that                   unit inventories used to compute unit-
                                                                                                                                                                operation will receive allocations for
                                                                                                         level allocations for the control periods
                                                 projected emissions from planned new                                                                           only two full control periods of non-
                                                                                                         in 2023 through 2025 are the same
                                                 units happen to be a somewhat larger                                                                           operation. While the EPA has in prior
                                                                                                         inventories that have been used to
                                                 proportion of those states'
                                                                        states’ overall                                                                         transport rulemakings noted a
                                                                                                         determine the preset emissions budget
                                                 budgets at the time of this rule’s
                                                                                rule's                                                                          qualitative concern that ceasing
                                                                                                         for these control periods. These
                                                 issuance.                                                                                                      allowance allocations prematurely
                                                                                                         inventories have been determined in
                                                    The changes to the structure and                                                                            could distort the economic incentives of
                                                                                                         this rulemaking in essentially the same                EGUs to continue operating when
                                                 amounts of set-asides in this rule largely              manner as in the Revised CSAPR
                                                 follow the proposal. The EPA received                                                                          retirement is more economical, the EPA
                                                                                                         Update. The procedures for updating
                                                 few comments on these topics. As noted                                                                         believes that anticipated market
                                                                                                         the unit inventories for these control                 conditions (in particular, the incentives
                                                 previously, one commenter expressed                     periods are discussed in section VI.B.4
                                                 the view that if the amounts of the new                                                                        toward power sector transition to
                                                                                                         of this document, and the criteria that                cleaner generating sources), particularly
                                                 unit set-asides were based on 2 percent                 the EPA has applied to determine
                                                 of the respective states'
                                                                     states’ budgets, the set-                                                                  in the later 2020s, are such that a
                                                                                                                      unit’s scheduled retirement is
                                                                                                         whether a unit's
                                                 asides would be too small in certain                                                                           continuation of allowance allocations to
                                                                                                         sufficiently certain to serve as a basis for           retiring units likely has no more than a
                                                 circumstances, and in response the final                adjusting emissions budgets and unit-
                                                 rule bases the amounts of the set-asides                                                                       de minimis effect on the consideration
                                                                                                         level allocations, are discussed in
                                                 on a floor percentage of 5 percent                                                                             of an EGU whether to retire or not.
                                                                                                         section V.B of this document and in the
                                                 instead of 2 percent. The remaining                     Ozone Transport Policy Analysis Final                     In the second step of the procedure
                                                 commenters expressed a concern that                     Rule TSD.                                              for determining allocations to existing
                                                 the final rule's
                                                           rule’s provisions regarding set-                 The unit inventories used to compute                units, the EPA will compile a database
                                                 asides should ensure that any tribal                    unit-level allocations for control periods             containing for each eligible unit the
                                                 decisions relating to allowance                         in 2026 and later years will be                        unit’s historical heat input and total
                                                                                                                                                                unit's
                                                 allocations would not be constrained by                 determined in the year before the                      NOX emissions data for the five most
                                                                                                                                                                NOx
                                                 state decisions. The EPA had this same                  control period in question based on the                recent ozone seasons. For each unit, the
                                                 concern in mind when designing the                      latest reported emissions and                          EPA will compute an average heat input
ddrumheller on DSK120RN23PROD with RULES2




                                                 rule and believes that the final set-aside              operational data, which is an extension                value based on the three highest non-
                                                 structure—encompassing Indian                                                                                  zero heat input values over the 5-year
                                                 country existing unit set-asides as well                   354 The revisions to the procedures for computing
                                                                                                            354
                                                                                                                                                                period, or as the average of all the non-
                                                 as EPA-administered new unit set-                       unit-level allowance allocations in this rulemaking    zero values in the period if there are
                                                 asides for sources in all areas within                  apply only to the Group 3 trading program. In this     fewer than three non-zero values. For
                                                                                                         rulemaking, the EPA is not reopening the
                                                       state’s borders—fully addresses the
                                                 each state's                                            methodology for computing the amounts of
                                                                                                                                                                each unit, the EPA will also determine
                                                 concern, is equitable, and preserves                    allowances allocated to any unit under any other       the maximum total NOx NOX emissions
                                                 Federal and tribal authority under this                 CSAPR trading program.                                 value over the 5-year period. For coal-


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00153   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023                Page 192 of 430
                                                 36806
                                                 36806                Federal Register / Vol. 88, No. 107/Monday,
                                                                                                      107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules

                                                 fired units of 100 MW or larger, the EPA                proportion to the share each unit's
                                                                                                                                          unit’s               while the 2025 allocations will be
                                                 will further determine a "maximum
                                                                             ‘‘maximum                   average heat input value represents of                recorded by July 1, 2024.   355
                                                                                                                                                                                     2024.355
                                                             baseline’’ NOx
                                                 controlled baseline"     NOX emissions                  the total of the average heat input values               The default unit-level allocations for
                                                 value, computed as the unit's
                                                                            unit’s maximum               for all the state's
                                                                                                                     state’s eligible units, but not           each control period in 2026 or a later
                                                 heat input over the 5-year period times                 more than the unit’s
                                                                                                                          unit's maximum total                 year will be computed immediately
                                                   NOX emissions rate of 0.08 lb/mmBtu.
                                                 a NOx                                                   NOX value or, if applicable, the unit's
                                                                                                         NOx                                  unit’s           following the determination of the state
                                                 The maximum controlled baseline will                    maximum controlled baseline. If the                   emissions budgets for the control
                                                 serve as an additional cap on unit-level                allocations to one or more units are                  period. The EPA will perform the
                                                 allocations for all such coal-fired units                                           units’
                                                                                                         curtailed because of the units'                       computations and issue a notice of data
                                                 starting with the control periods in                    applicable caps, the EPA will iterate the             availability concerning the preliminary
                                                 which the assumed use of SCR controls                   calculation procedure as needed to                    unit-level allocations for each control
                                                 at the units is reflected in the state                  allocate the remaining allowances,                    period by March 1 of the year before the
                                                 emissions budgets. Thus, the maximum                    excluding from each successive iteration              control period. There will be a 30-day
                                                 controlled baseline will apply for                      any units whose allocations have
                                                 purposes of allocations to units with                                                                         period in which objections to the data
                                                                                                         already reached their caps. (If all units             and preliminary computations may be
                                                 existing SCR controls for all control                   in a state reach their caps, any
                                                 periods starting with the 2024 control                                                                        submitted, and the EPA will then make
                                                                                                         remaining allowances are allocated in                 any appropriate revisions and issue
                                                 period and for all other coal-fired units               proportion to the units'
                                                                                                                              units’ average heat
                                                 of 100 MW or more (except circulating                                                                         another notice of data availability by
                                                                                                         input values, notwithstanding the caps.)              May 1 of the year before the control
                                                 fluidized bed units) starting with the                  This calculation procedure is identical
                                                 2027 control period. These procedures                                                                         period. The EPA will then record the
                                                                                                         to the calculation procedure used in the              allocations by July 1 of the year before
                                                 are nearly identical to the procedures                  Revised CSAPR Update (as well as the
                                                 used in the Revised CSAPR Update,                                                                             the control period.  356
                                                                                                                                                                            period.356
                                                                                                         CSAPR Update and CSAPR), but using
                                                 with three exceptions. First, instead of                caps that reflect both the units’
                                                                                                                                      units'                      All covered states also have options to
                                                 using only the data available at the time               maximum historical NOx   NOX values and               establish state-determined allowance
                                                 of the rulemaking, for each control                     also, where applicable, the maximum                   allocations for control periods in 2024
                                                 period the EPA will use data from the                   controlled baseline values.                           and later years. As discussed in section
                                                 most recent five control periods for                                                                          VI.D.1 of this rule, a state choosing to
                                                 which data had been reported. (For                         Illustrative unit-level allocations for
                                                                                                                                                               establish state-determined allocations
                                                 example, for the 2026 control period,                   the 2023 control period and final unit-
                                                                                                         level allocations for the 2024 and 2025               for the 2024 control period would need
                                                 the EPA will use data for the 2020–2024
                                                                                  2020-2024                                                                    to submit a letter of intent to the EPA
                                                 control periods.) Second, to simplify the               control periods are being determined in
                                                                                                         this rulemaking based on the emissions                by August 4, 2023, and would need to
                                                 data compilation process, the EPA will                                                                        submit the SIP revision with the
                                                 use only a five-year period for NOxNOX                  budgets for those control periods also
                                                                                                         determined in the rulemaking and are                  allocations by September 1, 2023. The
                                                 mass emissions, in contrast to the 8-year                                                                     EPA would defer recordation of the
                                                 period used in the Revised CSAPR                        included in the docket. The 2023
                                                                                                                                                               2024 allocations for the state's
                                                                                                                                                                                          state’s sources
                                                 Update for NOx
                                                              NOX mass emissions. Third,                 allocations are only illustrative because,
                                                                                                         as discussed in section VI.B.12.a, the                until March 1, 2024, to provide time for
                                                 the use of the maximum controlled                                                                             this process to be completed. As
                                                 baseline as an additional cap on                        EPA expects the effective date of the
                                                                                                                                                               discussed in sections VI.D.2 and VI.D.3
                                                 emissions is a change adopted in this                   rule to occur after the start of the 2023
                                                                                                                                                               of this rule, a state choosing to establish
                                                 rule in response to comments received                   control period and consequently expects
                                                                                                         the 2023 control period to be a                       state-determined allocations for control
                                                 on the proposal. Specifically,                                                                                periods in 2025 and later years would
                                                 commenters observed that if a state's
                                                                                    state’s              transitional period in which the
                                                                                                         emissions budgets determined in this                  need to submit a SIP revision by
                                                 emissions budget is decreased to reflect                                                                      December 1 of the year two years before
                                                 an assumption that a particular unit in                 rulemaking apply only for the portion of
                                                                                                         the control period occurring on and                   the first year for which state-determined
                                                 the state is capable of reducing its                                                                          allocations are being established—e.g.,
                                                 emissions through the installation of                   after the rule’s
                                                                                                                    rule's effective date, while any
                                                                                                         previously determined emissions                       by December 1, 2023, for allocations for
                                                 new SCR controls, but the historical                                                                          the 2025 control period—and would
                                                 emissions cap applied to that unit in the               budgets apply for the portion of the
                                                                                                         control period before the rule's
                                                                                                                                      rule’s effective         need to submit the allocations for each
                                                 unit-level allocation methodology does                                                                        control period by June 1 of the year
                                                 not reflect use of the new controls, then               date. The rule’s
                                                                                                                     rule's effective date will
                                                                                                         become known when the rule is                         before the control period—e.g., by June
                                                 the allocation methodology could have                                                                         1, 2024, for allocations for the 2025
                                                 the effect of reducing unit-level                       published in the Federal Register. As
                                                 allocations to the other units in the state             soon as practicable thereafter, the EPA
                                                                                                                                                                  355 The recordation schedule for the 2023 and
                                                                                                                                                                  355
                                                 whose historical emissions already                      will calculate the final prorated or                  2024 allocations represents an expected
                                                 reflect use of existing controls rather                 blended 2023 state emissions budgets                  acceleration of the recordation schedule in effect
                                                 than the unit assumed to install new                    and 2023 unit-level allocations based on              immediately before this final rule, which called for
                                                 controls. The EPA agrees with the                       the transitional formulas finalized in                allocations of 2023 and 2024 Group 3 allowances
                                                                                                                                                               to existing units to be recorded by September 1,
                                                 comment and in this rule has added the                  this action (see section VI.B.12.a of this            2023. See Deadlines for Submission and
                                                 maximum controlled baseline provision                   document) and will communicate the                    Recordation of Allowance Allocations Under the
                                                 to the allocation methodology to                        information to the public through a                   Cross-State Air Pollution Rule (CSAPR) Trading
ddrumheller on DSK120RN23PROD with RULES2




                                                 mitigate the potential effect identified                notice of data availability. The 2023 and             Programs and the Texas SO2 SO2 Trading Program (the
                                                                                                                                                               ‘‘Recordation Rule"),
                                                                                                                                                               "Recordation   Rule’’), 87 FR 52473 (August 26,
                                                 by the commenters.                                      2024 allocations will then be recorded                2022).
                                                    In the third step of the procedure for               30 days after the effective date of the                  356
                                                                                                                                                                  356 The current recordation schedule, which

                                                 determining allocations to existing units               final rule (to provide an interval in                 provides for almost all allowance allocations to
                                                                                                         which to execute the recall of 2023 and               existing units for a given control period under all
                                                 in each state, the EPA will allocate the                                                                      the CSAPR trading programs to be recorded by July
                                                 available allowances for that state                     2024 Group 2 allowances, as discussed                 1 of the year before the year of that control period,
                                                                                                                                                               1
                                                              state’s eligible units in
                                                 among the state's                                       in section VI.B.12.c of this document),               was adopted in the Recordation Rule.



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00154   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 193 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                         36807
                                                                                                                                                                                                 36807

                                                 control period.  357 The EPA would
                                                          period.357                                     condition, which will facilitate the                  EPA issues a notice of data availability
                                                 record any state-determined allocations                 continued functioning of the Group 2                  concerning the proposed allocations by
                                                 for control periods in 2025 and later                   trading program, to be an appropriate                 March 1 following the control period,
                                                 years by July 1 of the year before the                  exercise of the Agency's
                                                                                                                         Agency’s authority under              provides an opportunity for submission
                                                 control period, simultaneously with the                 CAA section 301 (42 U.S.C. 7601) to                   of objections, and issues a final notice
                                                 recordation of allocations to units in                  prescribe such regulations as are                     of data availability and record the
                                                 states where the EPA determines the                     necessary to carry out its functions                  allocations by May 1 following the
                                                 unit-level allocations.                                 under the Act.                                        control period, one month before the
                                                    The EPA notes that for the three states                 The provisions governing allocations               June 1 compliance deadline.
                                                 with approved SIP revisions                             to existing units are being finalized                    This EPA notes that the revisions to
                                                 establishing their own methodologies                    substantially as proposed, except for the             other provisions of the Group 3 trading
                                                 for allocating Group 2 allowances—                      addition of an additional cap on unit-                program regulations discussed
                                                 Alabama, Indiana, and New York—the                      level allocations in response to                      elsewhere in this document will reduce
                                                 EPA will follow the states'
                                                                        states’                          comments. The EPA's
                                                                                                                          EPA’s responses to                   the portions of the state emissions
                                                 methodologies to the extent possible in                 comments on the unit-level allocation                 budgets that are allocated through the
                                                 developing the EPA's
                                                                   EPA’s allocations of                  provisions for existing units are in                  new unit set-asides. Specifically,
                                                 Group 3 allowances to the units in those                section 5 of the RTC document.                        because the new unit set-asides will no
                                                 states for the control periods in 2023                                                                        longer receive any additional
                                                                                                         c. Allocations From Portions of State
                                                 through 2025.   358 The EPA will not
                                                           2025.358                                                                                            allowances when units retire, for control
                                                                                                         Emissions Budgets Set Aside for New
                                                 follow any state-specific methodologies                                                                       periods in 2025 and later years the
                                                                                                         Units
                                                 as part of the procedures for                                                                                 amounts of allowances in the new unit
                                                 determining default unit-level                             The Group 3 trading program                        set-asides will always be 5 percent of
                                                 allocations of Group 3 allowances for                   regulations provide for the EPA to                    the respective state emissions budgets
                                                 control periods in 2026 or later years.                 allocate allowances from each new unit                for the respective control periods. This
                                                 However, like other states, these three                 set-aside after the end of the control                limit on growth of the new unit set-
                                                 states have options to replace the EPA's
                                                                                     EPA’s               period at issue. An eligible new unit for             asides is appropriate given that the
                                                 default allocations with state-                         purposes of allocations from a set-aside              number of consecutive control periods
                                                 determined allocations through SIP                      for a given control period is generally               for which any particular unit is likely to
                                                 revisions starting with the 2024 control                any unit in the relevant area that                    receive allocations from a state's
                                                                                                                                                                                            state’s new
                                                 period.                                                 reported emissions subject to allowance               unit set-aside will be reduced to two full
                                                    As an exception to all of the                        surrender requirements during the                     control periods (and possibly a partial
                                                 recordation deadlines that would                        control period and that was not eligible              control period before those two control
                                                 otherwise apply, the EPA will not                       to receive an allowance allocation as an              periods) before the unit becomes eligible
                                                 record any allocations of Group 3                       ‘‘existing’’ unit for the control period.
                                                                                                         "existing"                                                                          ‘‘existing’’
                                                                                                                                                               to receive allocations as an "existing"
                                                                    source’s compliance
                                                 allowances in a source's                                Thus, in addition to units that have not              unit from the unreserved portion of the
                                                 account unless that source has complied                 yet completed two full control periods                state’s emissions budget. This approach
                                                                                                                                                               state's
                                                 with the requirements to surrender                      of operation since their monitor                      contrasts with the approach under the
                                                 previously allocated 2023–2024
                                                                         2023-2024 Group 2               certification deadlines, units eligible for           other CSAPR trading programs where a
                                                 allowances. The surrender requirements                  allocations from the new unit set-asides              new unit never becomes eligible to
                                                 are necessary to maintain the previously                may also include existing coal-fired                  receive allocations from the unreserved
                                                 established levels of stringency of the                 units that first lose their eligibility for           portion of the emissions budget and
                                                 Group 2 trading program for the states                  allocations from the unreserved portion               where the new unit set-aside therefore
                                                 and sources that remain subject to that                 of the applicable state budget by ceasing             needs to grow to accommodate an ever-
                                                 program under this final rule. The EPA                  operation, and then resume operation in               increasing share of the state's
                                                                                                                                                                                        state’s total
                                                 finds that it is reasonable to condition                a later control period. The regulations               emissions.
                                                 the recordation of Group 3 allowances                   call for the EPA to allocate allowances                  The EPA also notes that, as discussed
                                                 on compliance with the surrender                        to any eligible "new"
                                                                                                                          ‘‘new’’ units in the state           in sections VI.D.2 and VI.D.3 of this
                                                 requirements because the condition will                 generally in proportion to their                      document, in the event that a state
                                                 spur compliance and will not impose an                  respective emissions during the control               chooses to replace EPA's
                                                                                                                                                                                    EPA’s default
                                                 inappropriate burden on sources. The                    period, up to the amounts of those                    allowance allocations under the Group
                                                 EPA considers establishment of this                     emissions if the relevant set-aside                   3 trading program with state-determined
                                                                                                         contains sufficient allowances, and not               allocations through a SIP revision, the
                                                    357 The current deadlines for states to submit
                                                    357                                                  exceeding those emissions. However, in                EPA will continue to administer the
                                                 state-determined allowance allocations to the EPA       the case of a unit whose allocation for               portion of each state emissions budget
                                                 were adopted in the Recordation Rule and are
                                                 coordinated with the schedule for computation of
                                                                                                         the control period would have been                    reserved in a new unit set-aside to
                                                 state emissions budgets for control periods in 2026     subject to a maximum controlled                       ensure the availability of allowance
                                                 and later years. For example, for the 2026 control      baseline if the unit was eligible to                  allocations to new units in any areas of
                                                 period, by May 1, 2025, the EPA will publish the        receive allocations as an existing unit,              Indian country within the state not
                                                 final state emissions budgets and the EPA’s
                                                                                         EPA's default
                                                 unit-level allocations; by June 1, 2025, states will    the unit's
                                                                                                             unit’s allocation from the new unit               covered by the state's
                                                                                                                                                                               state’s CAA
                                                 submit any state-determined unit-level allocations      set-aside will not exceed a cap equal to              implementation planning authority.
                                                 that would replace the default allocations; and by      the unit's
                                                                                                             unit’s reported heat input for the                   The final rule's
                                                                                                                                                                            rule’s provisions concerning
                                                 July 1, 2025, the EPA will record the default unit-                                                           unit-level allocations from the new unit
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                         control period times an emissions rate
                                                 level allocations or the state-determined unit-level
                                                                                sources’ compliance
                                                 allocations, as applicable, in sources'                 of 0.08 lb/mmBtu.                                     set-asides are unchanged from the
                                                 accounts.                                                  Any allowances remaining in a new                  proposal except for the addition of the
                                                    358 For discussion of how the EPA is using the
                                                    358                                                  unit set-aside after the allocations to               allocation cap in a given control period
                                                 previously approved allocation methodologies for        new units are reallocated to the existing             for any unit that would have been
                                                 Alabama, Indiana, and New York to determine
                                                 allocations to units in these states for the 2023-
                                                                                              2023–
                                                                                                         units in the state in proportion to those             subject to a maximum controlled
                                                 2025 control periods, see the Allowance Allocation      units’ previous allocations for the
                                                                                                         units'                                                baseline if the unit was eligible to
                                                 Final Rule TSD.                                         control period as existing units. The                 receive an allocation as an existing unit


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00155   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023                Page 194 of 430
                                                 36808
                                                 36808                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 for that control period.359 This change
                                                                  period.359                             revisions to provide that, starting with              requirements under the Group 3 trading
                                                 was made to address the same                            allowances allocated for the 2024                     program starting with the 2024 control
                                                 comments discussed in section VI.B.9.b                  control period, any incorrectly allocated             period. Second, to implement the
                                                 of this document that caused the                        allowances that are recovered after the               trading program enhancements, the EPA
                                                 Agency to add the maximum controlled                    deadline for allocating allowances from               is adding certain new recordkeeping
                                                 baseline provision to the procedure for                 the new unit set-aside for that control               and reporting requirements, which will
                                                 allocating allowances to existing units.                period (i.e., May 1 of the year following             be implemented through amendments to
                                                 The Agency did not receive any other                    the control period) will be transferred to            the regulations in 40 CFR part 75 and
                                                 comments on the proposed provisions                     a surrender account instead of being                  will apply starting January 1, 2024.
                                                 concerning unit-level allocations of                    reallocated to other units in the state.              Sources generally will be able to meet
                                                 allowances from the new unit set-asides.                The EPA received no comments on this                  the additional recordkeeping and
                                                                                                         proposed revision, which is being                     reporting requirements using the data
                                                 d. Incorrectly Allocated Allowances
                                                                                                         finalized as proposed.                                that are already collected by their
                                                    The Group 3 trading program                                                                                current monitoring systems, and the
                                                 regulations as promulgated in the                       10. Monitoring and Reporting
                                                                                                                                                               EPA is not requiring the installation of
                                                 Revised CSAPR Update include                            Requirements
                                                                                                                                                               additional monitoring systems at any
                                                 provisions addressing incorrectly                          The Group 3 trading program requires               source. However, a small number of
                                                 allocated allowances. With regard to any                monitoring and reporting of emissions                 sources with common stacks could find
                                                 allowances that were incorrectly                        and heat input data in accordance with                it advantageous to upgrade their
                                                 allocated and are subsequently                          the provisions of 40 CFR part 75. Under               monitoring systems so as to monitor at
                                                 recovered, the provisions as in effect                  40 CFR part 75, a given unit may have                 the individual units instead of
                                                 prior to this rule have generally called                several options for monitoring and                    monitoring at the common stack. The
                                                 for the recovered allowances to be                      reporting. Any unit can use CEMS.                     Group 3 trading program monitor
                                                 reallocated to other units in the relevant              Qualifying gas- or oil-fired units can use            certification deadline revisions and the
                                                 state (or Indian country within the                     certain excepted monitoring                           additional recordkeeping and reporting
                                                 borders of the state) through the process               methodologies that rely in part on fuel-              requirements are discussed in sections
                                                 for allocating allowances from the new                  flow metering in combination with                                                           360
                                                                                                                                                               VI.B.10.a and VI.B.10.b, respectively.360
                                                 unit set-aside (or Indian country new                   CEMS-based or testing-based NOx NOX
                                                 unit set-aside) for the state. If the                   emissions rate data. Certain non-coal-                 a. Monitor Certification Deadlines
                                                 procedures for allocating allowances                    fired, low-emitting units can use a low                   In general, a unit subject to the Group
                                                 from the set-asides have already been                   mass emissions (LME) methodology,                      3 trading program must monitor and
                                                 carried out for the control period for                  and sources can seek approval of                       report emissions data using certified
                                                 which the recovered allowances were                     alternative monitoring systems                         monitoring systems starting as of the
                                                 issued, the allowances would be                         approved by the Administrator through                  date the unit enters the trading program
                                                 allocated through the set-asides for                    a petition process. Each CEMS must                     or, if later, 180 days after the unit
                                                 subsequent control periods.                             undergo rigorous initial certification                 commences commercial operation.
                                                    The EPA continues to view the                        testing and periodic quality assurance                 Where an EGU has already certified and
                                                 current provisions for disposition of                   testing thereafter, including the use of               maintained monitoring systems in
                                                 recovered allowances as reasonable in                   relative accuracy test audits and 24-hour              accordance with 40 CFR part 75 for
                                                 the case of any allowances that are                     calibrations. In addition, when a                      purposes of another trading program, no
                                                 recovered before the deadline for                       monitoring system is not operating                     recertification solely for purposes of
                                                 recording allocations of allowances from                properly, standard substitute data                     entering the Group 3 trading program is
                                                 the new unit set-aside for the control                  procedures are applied to produce a                    required. Under these pre-existing
                                                 period for which the recovered                          conservative estimate of emissions for                 provisions of the Group 3 trading
                                                 allowances were issued. However, in                     the period involved. Further, 40 CFR                   program regulations, nearly all currently
                                                 the case of any allowances that are                     part 75 requires electronic submission                 operating EGUs transitioning to the
                                                 recovered after that deadline, adding the               of quarterly emissions reports to the                  trading program under this rule are
                                                 recovered allowances to the new unit                    Administrator, in a format prescribed by               positioned to begin monitoring and
                                                 set-aside for a subsequent control                      the Administrator. The quarterly reports               reporting under the trading program as
                                                 period, as provided in the current                      will contain all the data required                     of their dates of entry (or if later, 180
                                                 regulations, would be inconsistent with                 concerning ozone season NOx NOX emissions              days after they commence commercial
                                                 the trading program enhancements                        under the Group 3 trading program.                     operation) because of the units’
                                                                                                                                                                                             units' previous
                                                 discussed elsewhere in this document,                      In this rulemaking, as proposed, the                requirements to monitor and report
                                                 where the amounts of allowances                         EPA is making two changes to the                       emissions under other programs
                                                 provided in the state emissions budgets                 Group 3 trading program’s
                                                                                                                           program's previous                   including the CSAPR NOx  NOX Ozone
                                                 for each control period are designed to                 requirements related to monitoring,                    Season Group 2 Trading Program (for
                                                 reflect the most current available                      recordkeeping, and reporting. First, the
                                                 information on fleet composition and                    EPA is revising the monitor certification               360 The EPA is not amending the existing

                                                 utilization and where the quantities of                 deadline in the Group 3 trading program               provisions of the Group 3 trading program
                                                                                                                                                               regulations that govern whether units covered by
                                                 banked allowances available for use in                  regulations applicable to certain units               the program must record and report required data
                                                 each control period are recalibrated for                that have not already certified                       on a year-round basis or may elect to record and
                                                                                                         monitoring systems for use under 40
ddrumheller on DSK120RN23PROD with RULES2




                                                 consistency with the state emissions                                                                          report required data on an ozone season-only basis.
                                                                                                         CFR part 75. This revision is expected                See 40 CFR 97.1034(d)(1); see also 40 CFR 75.74(a)-
                                                 budgets. The EPA is therefore finalizing                                                                      (b). Thus, for units that are required or elect to
                                                                                                         to provide approximately 15 EGUs in                   report other data on a year-round basis, the
                                                   359 As discussed in section IX.B of this rule, the
                                                   359                                                   Nevada and Utah with 180 days                         additional recordkeeping and reporting
                                                 EPA is relocating some of the regulatory provisions     following the rule's
                                                                                                                        rule’s effective date to               requirements will also apply year-round, while for
                                                 relating to administration of the new unit set-asides                                                         units that are allowed and elect to report other data
                                                 and is also removing certain provisions that are
                                                                                                         certify monitoring systems, with the                  on an ozone season-only basis, the additional
                                                 made obsolete by revisions to other provisions of       consequence that the units are expected               requirements will also apply for the ozone season
                                                 the Group 3 trading program regulations.                to become subject to allowance holding                only.



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00156   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023                Page 195 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                                 36809
                                                                                                                                                                                                         36809

                                                 units in Alabama, Arkansas,                             fuel in their monitoring plans, serving               emissions rates for certain coal-fired
                                                 Mississippi, Missouri, Oklahoma, Texas,                 generators of 100 MW or larger, and                   units, and secondary emissions
                                                 and Wisconsin), the CSAPR NOx    NOX                    equipped with SCR controls on or                      limitations for units contributing to
                                                 Annual Trading Program (for units in                    before the end of the previous control                assurance level exceedances all require
                                                 Minnesota), and the Acid Rain Program                   period (except circulating fluidized bed              the use of unit-level reported data on
                                                 (for most units in Nevada and Utah).                    units) will be required to record and                 NOX mass emissions (or unit-level NOx
                                                                                                                                                               NOx                                   NOX
                                                    As discussed in section VI.B.3 of this               report total daily NOx
                                                                                                                             NOX emissions and                 emissions rates computed in part based
                                                 document, the EPA has identified 15                     total daily heat input, daily average NOx
                                                                                                                                               NOX             on unit-level reported data on NOx
                                                                                                                                                                                                NOX mass
                                                 potentially affected units in Nevada and                emissions rate, and daily NOxNOX emissions            emissions). To facilitate the
                                                 Utah that commenced commercial                          exceeding the backstop daily NOx  NOX                 implementation of these provisions, the
                                                 operation more than 180 days before the                 emissions rate. The units will also be                final rule requires all units covered by
                                                 effective date of this rule and that do not             required to record and report                         the Group 3 trading program exhausting
                                                 currently report emissions data to the                  cumulative NOxNOX emissions exceeding                 to common stacks to record and report
                                                 Agency under 40 CFR part 75.      361 To
                                                                                75.361                   the backstop daily NOxNOX emissions rate              unit-level hourly and cumulative NOxNOX
                                                 ensure that units in this situation have                for the ozone season and any portion of               mass emissions data starting January 1,
                                                 sufficient time to certify monitoring                   such cumulative NOx NOX emissions                     2024. To obtain the necessary unit-level
                                                 systems as required under this rule, the                exceeding 50 tons. Starting January 1,                hourly mass emissions values, the
                                                 final rule establishes a monitoring                     2030, the same recordkeeping and                      revised regulations rule allow the units
                                                 certification deadline of 180 days after                reporting requirements will apply to all              to apportion hourly mass emissions
                                                 the effective date of the rule for affected             units listing coal as a fuel in their                 values determined at the common stack
                                                 units that are not already required to                  monitoring plans and serving generators               in proportion to the individual units'
                                                                                                                                                                                                 units’
                                                 report emissions under 40 CFR part 75                   of 100 MW or larger (except circulating               recorded hourly heat input. The
                                                 under another program, equivalent to                    fluidized bed units), including units not             apportionment procedure is very similar
                                                 the 180-day window already provided                     equipped with SCR controls. These data                to the apportionment procedure that
                                                 to units commencing commercial                          will be used to determine the allowance               most such units already apply to
                                                 operation after (or less than 180 days                  surrender requirements related to the                 compute reported unit-level heat input
                                                 before) the final rule's
                                                                    rule’s effective date.               backstop daily NOx
                                                                                                                          NOX emissions rates.                 data. Where sources choose to obtain
                                                 The 180th day for units in this situation               Implementation of these additional                    the additional required data values
                                                 will likely fall after the end of the 2023              recordkeeping and reporting                           through apportionment, implementation
                                                 ozone season, with the result that the                  requirements would necessitate a one-                 of the additional recordkeeping and
                                                 certification deadline will be extended                                       units’ data
                                                                                                         time update to the units'                             reporting requirements will necessitate
                                                 until May 1, 2024, the first day of the                 acquisition and handling systems but                  a one-time update to the units'
                                                                                                                                                                                          units’ data
                                                 2024 ozone season. Because the Group                    would not require any changes to the                  acquisition and handling systems but
                                                 3 trading program’s
                                                            program's allowance holding                  monitoring systems already needed to                  will not require any changes to the
                                                 requirements apply to a given unit only                 meet other requirements under 40 CFR                  monitoring systems already needed to
                                                            unit’s monitor certification
                                                 after that unit's                                       part 75.                                              meet other requirements under 40 CFR
                                                 deadline, the units in this situation                      The second type of additional                      part 75.
                                                 consequently will become subject to                     recordkeeping and reporting
                                                 allowance holding requirements as of                    requirements applies to units                            For most units sharing common
                                                 the 2024 ozone season rather than the                   exhausting to common stacks. For these                stacks, the EPA expects that the
                                                 2023
                                                 2023 ozone season.                                      units, 40 CFR part 75 includes options                reported unit-specific hourly NOx
                                                                                                                                                                                               NOX
                                                    The EPA received no comments on                      that often allow monitoring to be                     emissions values computed through the
                                                 the provisions establishing a monitor                   conducted at the common stack on a                    apportionment procedures will
                                                 certification deadline 180 days after the               combined basis for all the units as an                reasonably approximate the values that
                                                 effective date of this rule for affected                alternative to installing separate                    could be obtained through installation
                                                 units that are not already required to                  monitoring systems for the individual                 and operation of separate monitoring
                                                 report emissions under 40 CFR part 75,                  units in the ductwork leading to the                  systems for the individual units,
                                                 and the provisions are being finalized as               common stack. The units then keep                     because the units exhausting to the
                                                 proposed.                                               records and report hourly and                         common stack would be expected to
                                                                                                         cumulative NOxNOX mass emissions and in                             NOX emissions rates.
                                                                                                                                                               have similar NOx
                                                 b. Additional Recordkeeping and                                                                               However, the EPA also recognizes that
                                                                                                         many cases heat input data on a
                                                 Reporting Requirements                                                                                        at some plants, particularly those where
                                                                                                         combined basis for all units exhausting
                                                    To facilitate implementation of the                  to the common stack. With respect to                  SCR-equipped and non-SCR-equipped
                                                 backstop daily NOxNOX emissions rates for               heat input data, but not NOx
                                                                                                                                    NOX mass                   coal-fired units share a common stack,
                                                 certain coal-fired units, the secondary                 emissions data, most such units have                  unit-level values determined through
                                                 emissions limitations for units                         also been required historically to record             apportionment based on electricity or
                                                 contributing to assurance level                         and report hourly and cumulative data                 steam output could overstate the
                                                 exceedances, and the revised default                    on an individual-unit basis, and where                reported NOx
                                                                                                                                                                         NOX mass emissions for the
                                                 unit-level allowance allocation                         necessary they typically have computed                SCR-equipped units and
                                                 procedures, the final rule amends 40                    the necessary unit-level hourly heat                  correspondingly understate the reported
                                                 CFR part 75 to establish two sets of                    input values by apportioning the                      NOX mass emissions for the non-SCR-
                                                                                                                                                               NOx
ddrumheller on DSK120RN23PROD with RULES2




                                                 additional recordkeeping and reporting                  combined hourly heat input values for                 equipped units.362
                                                                                                                                                                          units.362 As proposed, the
                                                 requirements. The first set of additional               the common stack in proportion to the
                                                 recordkeeping and reporting                             individual units'
                                                                                                                      units’ recorded hourly                          The EPA is aware of five plants in the states
                                                                                                                                                                  362 The

                                                 requirements is specific to the backstop                output of electricity or steam. See                   covered by this rule where SCR-equipped and non-
                                                 daily emissions rate provisions. Starting               generally 40 CFR 75.72.
                                                                                                         generally                                             SCR-equipped coal-fired units exhaust to a common
                                                                                                                                                               stack: Clifty Creek in Indiana; Cooper, Ghent, and
                                                 January 1, 2024, units listing coal as a                   In this rulemaking, the provisions                 Shawnee in Kentucky; and Sammis in Ohio. The
                                                                                                         governing default unit-level allowance                owners of the Sammis plant have announced plans
                                                   361 The units are listed in Table VI.B.3–1.
                                                   361 Theunits are listed in Table VI.B.3-1.            allocations, backstop daily NOxNOX                    to retire the plant in 2023.



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00157   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 196 of 430
                                                 36810
                                                 36810                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 final rule leaves in place the existing                 owners of some units sharing common                   11. Designated Representative
                                                 options under 40 CFR part 75 for plants                 stacks might find it advantageous to                  Requirements
                                                 to upgrade their monitoring equipment                   upgrade their monitoring systems, the                    As noted in section VI.B.1.a of this
                                                 to monitor on a unit-specific basis                     final rule does not mandate such                      document, a core design element of all
                                                 instead of at the common stack. Plant                   upgrades and explicitly provides a                    the CSAPR trading programs is the
                                                 owners may find this option attractive if               reporting option that can be used if a                requirement that each source must have
                                                 they believe it would reduce the                        plant owner continues to monitor only                 a designated representative who is
                                                 quantities of reported emissions                        at the common stack. For example, a                   authorized to represent all of the
                                                 exceeding the backstop daily emissions                  plant owner might choose not to                       source’s owners and operators and is
                                                                                                                                                               source's
                                                 rate.                                                   upgrade monitoring systems if the                     responsible for certifying the accuracy
                                                    The EPA is finalizing the additional
                                                                                                         owner does not plan to operate the non-               of the source's
                                                                                                                                                                       source’s reports to the EPA and
                                                 recordkeeping and reporting
                                                 requirements generally as proposed,                     SCR-equipped units sharing the stack                  overseeing the source's
                                                                                                                                                                                source’s Allowance
                                                 with modifications as needed to                         frequently. Regarding the contention                  Management System account. The
                                                 accommodate the changes in the                          that the cost of additional monitoring                necessary authorization of a designated
                                                 backstop daily emissions rate provisions                systems should be considered a cost of                representative is certified to the EPA in
                                                 from proposal discussed in sections                     the rule, the EPA notes that the                      a certificate of representation.
                                                 VI.B.1.c.i and VI.B.1.7. No comments                    monitoring cost estimates that the                       The existing designated representative
                                                 were received on the recordkeeping and                  Agency regularly develops for 40 CFR                  provisions in the Group 3 trading
                                                 reporting requirements added to                         part 75 already reflect the conservative              program regulations already provide
                                                 facilitate implementation of the                        assumption that all affected units                    that the EPA will interpret references to
                                                 backstop daily emissions rate.                          perform monitoring on a unit-specific                 the Group 2 trading program in certain
                                                 Comments on the requirement to report                                                                         documents—including a certificate of
                                                                                                         basis.
                                                                NOX emissions data for
                                                 unit-specific NOx                                                                                             representation as well as a notice of
                                                                                                            With respect to the comment asserting              delegation to an agent or an application
                                                 units sharing common stacks are
                                                 addressed in the following paragraphs.                  an inability to install unit-specific                 for a general account—as if the
                                                    Comment:
                                                    Comment: Some commenters claimed                     monitoring equipment because of a lack                documents referenced the Group 3
                                                 that for plants where SCR-equipped and                  of suitable locations, the EPA does not               trading program instead of the Group 2
                                                 non-SCR-equipped coal-fired units                       believe the commenter has provided                    trading program. For these reasons,
                                                 share common stacks, the rule as                        sufficient information to support the                 sources that have participated in the
                                                 proposed would have effectively                         assertion. Although the commenter cites               Group 2 trading program and that are
                                                 mandated installation of unit-specific                  the EPA Method 1 location criteria, the               transitioning to the Group 3 trading
                                                 monitoring systems in order to comply                   CEMS location provisions in 40 CFR                    program under this rule will not need to
                                                 with the backstop daily emissions rate                  part 75 do not reference those location               submit any new forms as part of the
                                                 provisions. The commenters generally                    criteria but instead reference the EPA                transition, because previously submitted
                                                 requested that application of the                       Performance Specification 2 location                  forms will be valid for purposes of the
                                                 backstop daily rate provisions be                       criteria, which recommend that a CEMS                 Group 3 trading program.
                                                 delayed for plants with common stacks                   be located at least two duct diameters                   For a source that is newly affected
                                                 until all units sharing the stacks were                 downstream and a half duct diameter                   under the Group 3 trading program and
                                                 subject to the provisions. Alternatively,               upstream from a point at which a                      that is not currently affected under the
                                                 they claimed that the EPA should                                                                              Group 2 trading program, a designated
                                                                                                         change in pollutant concentration may
                                                 consider the cost of the additional unit-                                                                     representative who has been duly
                                                                                                         occur.363 Thus, while the commenter
                                                                                                         occur.363
                                                 specific monitoring system to be a cost                                                                                           source’s owners and
                                                                                                                                                               authorized by the source's
                                                                                                         states that its units do not have straight            operators must submit a new or updated
                                                 of the rule.
                                                    One commenter claimed that the                       runs of ductwork ten duct diameters                   certificate of representation to the EPA.
                                                 option to install unit-specific                         long, the relevant siting criteria actually           The EPA will not record any Group 3
                                                 monitoring systems for the units sharing                call for straight runs of ductwork only               allowances allocated to a source in the
                                                 a common stack at its plant was not                     2.5 duct diameters long, and the                      source’s compliance account until a
                                                                                                                                                               source's
                                                 feasible because of a lack of locations in              commenter has not provided                            certificate of representation has been
                                                     units’ ductwork suitable for
                                                 the units'                                              information indicating that these criteria            submitted for the source. If a source is
                                                 installation of the monitoring                          could not be met. Moreover, even EPA                  also affected under other CSAPR trading
                                                 equipment. Specifically, the commenter                  Method 1 does not require monitoring                  programs or the Acid Rain Program, the
                                                 claimed that EPA Method 1 requires                      equipment to be located eight duct                                                    source’s
                                                                                                                                                               same individual must be the source's
                                                 monitoring equipment to be located at                   diameters upstream and two duct                       designated representative for purposes
                                                 least eight duct diameters downstream                   diameters downstream of any flow                      of all the programs.
                                                 and two duct diameters upstream of any                  disturbance. While the method                            The EPA did not propose and is not
                                                 flow disturbance and stated that the                    recommends those distances as the first               finalizing any changes to the designated
                                                 units had no straight runs of ductwork                  option, the method also allows for                    representative requirements. The EPA
                                                 sufficiently long to meet these criteria.               locations two duct diameters upstream                 received no comments on the provisions
                                                    Response: The EPA's
                                                                    EPA’s response to                    and a half duct diameter upstream from                of the proposal relating to these
                                                 comments about the application of                       any flow disturbance, as well as other                requirements.
                                                 backstop rate requirements to units
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                         locations if certain performance criteria             12. Transitional Provisions
                                                 sharing common stacks is in section                             met.364
                                                                                                         can be met.364
                                                 VI.B.7 of this document. With respect to                                                                        This section discusses several
                                                 assertions that the rule effectively                      363 Appendix B to 40 CFR part 60, Performance
                                                                                                                                                               provisions that the EPA will implement
                                                                                                           363
                                                 mandates installation of unit-specific                  Specification 2, sec. 8.1.2; see also appendix A to
                                                                                                                                                               to address the transition of sources into
                                                 monitoring systems, the EPA disagrees.                  40 CFR part 75, section 1.1.                          the Group 3 trading program as revised.
                                                 Although the EPA pointed out the                                         A–1 to 40 CFR part 60, Method 1,
                                                                                                           364 Appendix A-1
                                                                                                           3"                                                  The purposes of the transitional
                                                 option in the proposal, anticipating that               sec. 11.1.                                            provisions are generally the same as the


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00158   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                              Filed: 07/27/2023               Page 197 of 430
                                                                      Federal Register / Vol. 88, No. 107/Monday,
                                                                                                      107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules                                                                 36811
                                                                                                                                                                                                       36811

                                                 purposes of the analogous transitional                   limits, assurance levels, and unit-level               allocations for both the 2023 and 2024
                                                 provisions promulgated in the Revised                    allocations for 2023 will all be                       control periods will be recorded in
                                                 CSAPR Update: first, addressing the                      computed using the appropriately                       facilities’
                                                                                                                                                                 facilities' compliance accounts
                                                 likelihood that the effective date of this               prorated emissions budgets amounts.367    367          approximately 30 days after the rule'srule’s
                                                 rule will fall after the starting date of the               As discussed in section VI.B.2 of this              effective date, as discussed in section
                                                 first affected ozone season (which in                    document, in the case of the three states              VI.B.9.b of this document.
                                                 this case is, May 1, 2023); second,                                                          states’
                                                                                                          (and Indian country within the states'                    In the case of the states (and Indian
                                                 establishing an appropriately-sized                      borders) whose sources do not currently                country within the states'
                                                                                                                                                                                        states’ borders)
                                                 initial allowance bank through the                       participate in either the Group 2 trading              whose sources currently participate in
                                                 conversion of previously banked                          program or the Group 3 trading                         the Group 3 trading program—Illinois,
                                                 allowances; and third, preserving the                    program—Minnesota, Nevada, and                         Indiana, Kentucky, Louisiana,
                                                 intended stringency of the Group 2                       Utah—the sources will begin                            Maryland, Michigan, New Jersey, New
                                                 trading program for the sources that will                participating in the Group 3 trading                   York, Ohio, Pennsylvania, Virginia, and
                                                 continue to be subject to that                           program on the later of May 1, 2023, or                West Virginia—the sources will
                                                 program.
                                                 program.365365 However, the sources that                      rule’s effective date. For these states,
                                                                                                          the rule's                                             continue to participate in the Group 3
                                                 will be participants in the revised Group                in the rulemaking the EPA has                          trading program for the 2023 control
                                                 3 trading program under this rule are                    computed the full-season emissions                     period, subject to prorating procedures
                                                 transitioning from several different                     budgets that would have applied for the                designed to ensure that the changes in
                                                 starting points—with some sources                        entire 2023 control period if the final                2023 emissions budgets and assurance
                                                 already in the existing Group 3 trading                  rule had become effective no later than                levels will not substantively affect the
                                                 program, some sources coming from the                    May 1, 2023, and were therefore in                     sources’ requirements prior to the rule'srule’s
                                                                                                                                                                 sources'
                                                 Group 2 trading program, and some                        effect for the entire 153-day control
                                                                                                                                                                 effective date. For these states, in the
                                                 sources not currently participating in                   period from May 1, 2023, through
                                                                                                                                                                 rulemaking the EPA has computed the
                                                 any seasonal NOxNOX trading program. The                 September 30, 2023. Assuming that the
                                                                                                                                                                 full-season emissions budgets that
                                                 EPA is therefore finalizing transitional                 final rule becomes effective after May 1,
                                                                                                                                                                 would have applied for the entire 2023
                                                 provisions that differ across the sets of                2023, as expected, the EPA will
                                                                                                                                                                 control period if the final rule had
                                                 potentially affected sources based on the                determine prorated emissions budgets
                                                                                                          for the 2023 control period by                         become effective no later than May 1,
                                                 sources’ different starting points.
                                                 sources'                                                                                                        2023, but the EPA has also retained in
                                                                                                          multiplying each full-season emissions
                                                 a. Prorating Emissions Budgets,                          budget by the number of days from the                  the regulations the full-season emissions
                                                 Assurance Levels, and Unit-Level                         rule’s effective date through September
                                                                                                          rule's                                                 budgets for the 2023 control period that
                                                 Allowance Allocations in the Event of                    30, 2023, dividing by 153 days, and                    were established in the Revised CSAPR
                                                 an Effective Date After May 1, 2023                      rounding to the nearest allowance. The                 Update rulemaking. The EPA has added
                                                    The EPA expects that the effective                    prorated variability limits for the 2023               a provision to the regulations indicating
                                                 date of this rule will fall after the start              control period will be computed by first               that the emissions budgets promulgated
                                                 of the Group 3 trading program’s
                                                                          program's 2023                  determining for each state the                         in the Revised CSAPR Update will
                                                 control period on May 1, 2023, because                   percentage by which the state's
                                                                                                                                      state’s reported           apply on a prorated basis for the portion
                                                 the effective date of the rule will be 60                heat input for the full 2023 ozone                     of the 2023 control period before the
                                                 days after the date of the final rule's
                                                                                    rule’s                season (i.e., May 1, 2023 through                      final rule's
                                                                                                                                                                        rule’s effective date and the
                                                 publication in the Federal Register. The                 September 30, 2023) exceeds the heat                   emissions budgets established in this
                                                 EPA is addressing this circumstance by                                                 state’s full-
                                                                                                          input used to compute the state's                      rulemaking will apply on a prorated
                                                 determining the amounts of emissions                     season 2023 emissions budget under                     basis for the portion of the 2023 control
                                                 budgets and unit-level allowance                         this rule and then multiplying the                     period on and after the final rule's
                                                                                                                                                                                                   rule’s
                                                 allocations on a full-season basis in the                higher of this percentage or 21 percent                effective date. Under this provision, the
                                                 rulemaking and by also including                                 state’s prorated emissions budget
                                                                                                          by the state's                                         EPA will determine a blended emissions
                                                 provisions in the revised regulations to                 and rounding to the nearest allowance,                 budget for each state for the 2023
                                                 prorate the full-season amounts as                       yielding prorated assurance levels that                control period, computed as the sum of
                                                 needed to ensure that no sources                         equal a minimum of 121 percent of the                  the appropriately prorated amounts of
                                                 become subject to new or more stringent                  prorated emissions budgets. To                              state’s previous and revised
                                                                                                                                                                 the state's
                                                 regulatory requirements before the final                 determine unit-level allocation amounts                emissions budgets. (For example, if the
                                                 rule’s
                                                 rule's effective date.366 Variability
                                                                  date.366                                from the prorated emissions budgets,                   final rule becomes effective on the
                                                                                                          the EPA will apply the unit-level                      eleventh day of the 153-day 2023
                                                    365 As discussed in section VI.B.1.d, the EPA is
                                                    365
                                                                                                          allocation procedure described in                      control period, the blended emissions
                                                                ‘‘safety valve"
                                                 not creating a "safety  valve’’ mechanism in this rule                                                          budget will equal the sum of 10/153
                                                 analogous to the voluntary supplemental allowance        section VI.B.9 to the prorated budgets.
                                                 conversion mechanism established under the               All calculations required to determine                 times the previous emissions budget
                                                 Revised CSAPR Update, but intends in the near            the prorated emissions budgets, the                    plus 143/153 times the revised
                                                 future to propose and take comment on potential          minimum 21 percent variability limits,                 emissions budget, rounded to the
                                                 amendments to the Group 3 trading program that                                                                  nearest allowance.) Blended variability
                                                 would add an auction mechanism to the regulations        and the unit-level allocations for the
                                                 for the purpose of further increasing allowance          2023 control period will be carried out                limits for the 2023 control period will
                                                 market liquidity in conjunction with other               as soon as possible after the EPA learns               be computed by first determining for
                                                 appropriate changes to ensure program stringency              rule’s effective date. The unit-level
                                                                                                          the rule's                                             each state the percentage by which the
                                                 is maintained. While these changes may provide an                                                               state’s reported heat input for the full
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                                                                                 state's
                                                 additional measure of assurance to the market that
                                                 allowances will be available for compliance to a         emissions rates and, for units contributing to         2023 ozone season exceeds the heat
                                                 degree consistent with the Step 3 emissions control      assurance level exceedances, secondary unit-           input used to compute the state's
                                                                                                                                                                                                 state’s full-
                                                 stringency, the EPA does not anticipate that market      specific emissions limitations, will not take effect   season 2023 emissions budget under
                                                 liquidity concerns pose a challenge to the feasibility   until the 2024 control period or later.                this rule and then multiplying the
                                                 of sources to comply with the Group 3 trading              367 The EPA notes that transitional provisions
                                                 program as finalized in this action.
                                                                                                            367
                                                                                                          similar to the prorating provisions being finalized
                                                                                                                                                                 higher of this percentage or 21 percent
                                                    366 As discussed in sections VI.B.7 and VI.B.8, the
                                                    366                                                   in this rule were finalized and implemented                     state’s prorated emissions budget
                                                                                                                                                                 by the state's
                                                 revisions establishing unit-specific backstop daily      without issue under the Revised CSAPR Update.          and rounding to the nearest allowance,


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00159   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 198 of 430
                                                 36812
                                                 36812                Federal Register / Vol. 88, No. 107/Monday,
                                                                                                      107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules

                                                 yielding blended assurance levels that                  timing for the recordation of unit-level              Group 2 trading program to the Group
                                                 equal a minimum of 121 percent of the                   allocations, are the same as for the states           3 trading program. Thus, the EPA
                                                 blended emissions budgets. Unit-level                   currently in the Group 3 trading                      believes that no substantive concerns
                                                 allocations will be determined by                       program.                                              regarding retroactivity arise from
                                                 applying the allocation procedure                          Beginning administrative                           transitioning the sources currently in
                                                 described in section VI.B.9 to the                      implementation of the Group 3 trading                 the Group 2 trading program to the
                                                 blended budgets. Again, all calculations                program starting on May 1, 2023, for                  Group 3 trading program starting on
                                                 required to determine the prorated                      sources currently in the Group 2 trading              May 1, 2023, as long as those aspects of
                                                 emissions budgets, the minimum 21                       program imposes no new or different                   the revised Group 3 trading program for
                                                 percent variability limits, and the unit-               requirements on these sources. It would               the 2023 control period that do
                                                 level allocations for the 2023 control                  serve the public interest and greatly aid             meaningfully differ from the analogous
                                                 period will be carried out as soon as                   in administrative efficiency for most                 aspects of the Group 2 trading
                                                 possible after the EPA learns the                       elements of the Group 3 trading                       program—that is, the relative
                                                 effective date of this rule. The unit-level             program—specifically, all elements of                 stringencies of the two trading
                                                 allocations for both the 2023 and 2024                  the trading program other than the                    programs, as reflected in the emissions
                                                 control periods will be recorded in                     elements designed to establish more                   budgets and associated assurance
                                                 facilities’ compliance accounts
                                                 facilities'                                             stringent emissions limitations for the               levels—are applied only as of the
                                                 approximately 30 days after the final                   sources coming from the Group 2                       effective date of the final rule.
                                                 rule’s effective date, as discussed in
                                                 rule's                                                                                                           In all respects other than prorating the
                                                                                                         trading program—to apply to the
                                                 section VI.B.9.b of this document.                                                                            emissions budgets, variability limits and
                                                                                                         sources starting on May 1, 2023. This is
                                                    In the case of the states (and Indian                how the EPA handled the earlier                       assurance levels, and unit-level
                                                                       states’ borders)
                                                                                                                                                               allowance allocations, with respect to
                                                 country within the states'                              transition of twelve states from the
                                                                                                                                                               the sources currently participating in
                                                 whose sources currently participate in                  Group 2 to the Group 3 trading program
                                                                                                                                                               the Group 2 trading program or the
                                                 the Group 2 trading program—Alabama,                    in the Revised CSAPR Update, which
                                                                                                                                                               Group 3 trading program, the EPA will
                                                 Arkansas, Mississippi, Missouri,                        was accomplished successfully and                     implement the revised Group 3 trading
                                                 Oklahoma, Texas, and Wisconsin—the                      without incident. See 86 FR 23133–34.
                                                                                                                                        23133-34.              program for the 2023 control period in
                                                 sources will begin to participate in the                This approach would facilitate
                                                                                                                                                               a uniform manner for the entire control
                                                 Group 3 trading program as of May 1,                    implementation of the Group 3 trading
                                                                                                                                                               period. Thus, emissions will be
                                                 2023, regardless of the rule’s
                                                                           rule's effective              program in an orderly manner for the
                                                                                                                                                               monitored and reported for the entire
                                                 date, as discussed in section VI.B.2 of                 entire 2023 ozone season and reduce                   2023 ozone season (i.e., May 1, 2023,
                                                 this document, subject to prorating                     compliance burdens and potential                      through September 30, 2023), and as of
                                                 procedures designed to ensure that the                  confusion. Each of the CSAPR trading                  the allowance transfer deadline for the
                                                 transition from the Group 2 trading                     programs for ozone season NOxNOX is                   2023 control period (i.e., June 1, 2024)
                                                 program to the Group 3 trading program                  designed to be implemented over an                    each source will be required to hold in
                                                                                      sources’
                                                 will not substantively affect the sources'              entire ozone season. Implementing the                 its compliance account vintage-year
                                                 requirements prior to the rule’s
                                                                              rule's effective           transition from the Group 2 trading                   2023 Group 3 allowances not less than
                                                 date. The prorating procedures for these                program to the Group 3 trading program                     source’s emissions of NOx
                                                                                                                                                               the source's                NOX during
                                                 states mirror the procedures for the                    in a manner that required the covered                 the entire 2023 ozone season. Any
                                                 states currently in the Group 3 trading                 sources to participate in the Group 2                 efforts undertaken by one of these
                                                 program, except that because no                         trading program for part of the 2023                  sources to reduce its emissions during
                                                 emissions budgets currently appear in                   ozone season and the Group 3 trading                  the portion of the 2023 ozone season
                                                 the Group 3 trading program regulations                 program for the remainder of that ozone               before the effective date of the rule will
                                                 for the states that are currently covered               season would be complex and                           aid the source's
                                                                                                                                                                        source’s compliance by reducing
                                                 by the Group 2 trading program, the                     burdensome for sources. Attempting to                 the amount of Group 3 allowances that
                                                 EPA has added two sets of emissions                     address the issue by splitting the Group              the source would need to hold in its
                                                 budgets for these states to the Group 3                 2 and Group 3 requirements for these                  compliance account as of the allowance
                                                 trading program regulations: first, the                 sources into separate years is not a                  transfer deadline, increasing the range
                                                 states’ emissions budgets for the 2023
                                                 states'                                                 viable approach, because the EPA has                  of options available to the source for
                                                 control period that currently appear in                 no legal basis for releasing the                      meeting its compliance obligations
                                                 the Group 2 trading program                             transitioning Group 2 sources from the                under the revised Group 3 trading
                                                 regulations, which are being included in                emissions reduction requirements found                program.
                                                 the revised Group 3 trading program                     to be necessary in the CSAPR Update for                  In the case of the sources in the three
                                                                                 states’
                                                 regulations to represent the states'                    a portion of the 2023 ozone season, and               states that do not currently participate
                                                 emissions budgets for the portion of the                the EPA similarly has no legal basis for              in the Group 2 trading program or the
                                                 2023 control period before the rule's
                                                                                    rule’s               deferring implementation of the 2023                  Group 3 trading program, the 2023
                                                 effective date, and second, the                         emissions reduction requirements found                control period will begin on the
                                                 emissions budgets for the 2023 control                  to be necessary under this rule for the               effective date of the rule, and because
                                                 period established for the states in this               transitioning Group 2 sources until                   the effective date of the rule is expected
                                                 rulemaking, which are being included                    2024. Moreover, the requirements of the               to fall after May 1, 2023, the 2023
                                                 in the revised Group 3 trading program                  current Group 2 trading program and                   control period for the sources in these
                                                                                 state’s                 the revised Group 3 trading program for
ddrumheller on DSK120RN23PROD with RULES2




                                                 regulations to represent the state's                                                                          states will be shorter than the 153-day
                                                 emissions budgets for the portion of the                the 2023 control period are                           length of the 2023 control period for the
                                                 2023 control period on and after the                    substantively identical as to almost all              sources in the remaining states.
                                                 rule’s effective date. The procedures and
                                                 rule's                                                  provisions, such that with respect to                 However, the EPA similarly will
                                                 timing for determining blended                          those provisions, a source will not need              implement the revised Group 3 trading
                                                 emissions budgets, variability limits and               to alter its operations in any manner or              program for the sources in these states
                                                 assurance levels, and unit-level                        face different compliance obligations as              in a uniform manner for the entire
                                                 allowance allocations, as well as the                   a consequence of a transition from the                shorter control period.


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00160   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023                Page 199 of 430
                                                                      Federal Register / Vol. 88, No. 107/Monday,
                                                                                                      107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules                                                                    36813
                                                                                                                                                                                                          36813

                                                    The prorating provisions are being                   2023 and later years. Because the EPA                 accounts, including other accounts
                                                 finalized as proposed. The EPA received                 is transitioning over 80 percent of the               controlled by source owners as well as
                                                 no comments on the portion of the                       remaining sources in the Group 2                      accounts controlled by non-source
                                                 proposal discussing these provisions.                   trading program to the Group 3 trading                entities such as allowance brokers).
                                                                                                         program—much closer to the situation                  Creating the new Group 3 allowances
                                                 b. Creation of Additional Group 3
                                                                                                         in the CSAPR Update than the situation                through conversion of previously
                                                 Allowance Bank for 2023 Control Period
                                                                                                         in the Revised CSAPR Update—in this                   banked Group 2 allowances will also
                                                    In the CSAPR Update, where the EPA                   rule the EPA is applying a conversion                 help preserve the stringency of the
                                                 established the Group 2 trading program                 procedure similar to the procedure                    Group 2 trading program for the states
                                                 and transitioned over 95 percent of the                 followed in the CSAPR Update. Under                   that remain covered by that trading
                                                 sources that had been participating in                  the conversion procedure in this rule,                program at levels consistent with the
                                                 what is now the CSAPR NO   NOx
                                                                              X Ozone                    the EPA has not set a predetermined                   stringency found to be appropriate to
                                                 Season Group 1 Trading Program (the                     conversion ratio in the regulations (as                               states’ good neighbor
                                                                                                                                                               address those states'
                                                 ‘‘Group 1 trading program’’)
                                                 "Group             program") to the new                 was done in the Revised CSAPR                         obligations with respect to the 2008
                                                 program, the EPA determined that it                     Update) but instead has established                   ozone NAAQS in the CSAPR Update.
                                                 was reasonable to establish an initial                  provisions identifying the target amount                 With respect to the denominator of
                                                 bank of allowances for the Group 2                      of new Group 3 allowances that will be                the conversion ratio—that is, the target
                                                 trading program by converting almost                    created and defining the types of                     amount of Group 3 allowances that will
                                                 all allowances banked under the Group                   accounts whose holdings of Group 2                    be created in the conversion process—
                                                 1 trading program at a conversion ratio                 allowances will be converted to Group                 the EPA has followed the same
                                                 determined by a formula. In the Revised                 3 allowances (as was done in the CSAPR                approach for setting the target amount
                                                 CSAPR Update, where the EPA                             Update). The conversion date will be                  that was used in the Revised CSAPR
                                                 established the Group 3 trading program                 carried out by September 18, 2023,                    Update for creation of the initial Group
                                                 and transitioned approximately 55                       which is expected to be approximately                 3 allowance bank. Specifically, the
                                                 percent of the sources that had been                    2 months after the compliance deadline                target amount of Group 3 allowances to
                                                 participating in the Group 2 trading                    for the 2022 control period under the                 be created in this rule will be computed
                                                 program to the new program, the EPA                     Group 2 trading program and                           as the sum of the minimum 21 percent
                                                 similarly determined that it was                        approximately ten months before the                   variability limits for the 2024 control
                                                 reasonable to provide for an initial bank               compliance deadline for the 2023                      period 369
                                                                                                                                                                       369 established for the ten states

                                                 of allowances for the Group 3 trading                   control period under the Group 3                      being added to the Group 3 trading
                                                 program by converting allowances                        trading program. The actual conversion                program, prorated to reflect the portion
                                                 banked under the Group 2 trading                        ratio will be determined as of the                    of the 2023 control period occurring on
                                                 program at a conversion ratio                           conversion date and will be the ratio of              and after the effective date of the final
                                                 determined by a formula, using a                        the total amount of Group 2 allowances                rule. Based on the amounts of the state
                                                 conversion procedure that was modified                  held in the identified types of accounts              emissions budgets and variability limits,
                                                 to leave much of the Group 2 allowance                  prior to the conversion to the total                  the full-season target amount for the
                                                 bank available for use by the                           amount of Group 3 allowances being                    conversion would be 23,094 Group 3
                                                 approximately 45 percent of sources                                                                           allowances. The quantity of banked
                                                                                                         created.
                                                 then in the Group 2 trading program                        With respect to the numerator of the               Group 2 allowances currently held in
                                                 that would remain in that program. Any                  conversion ratio—that is, the total                   accounts other than the facility accounts
                                                 conversion of banked allowances from a                  amount of Group 2 allowances being                    of sources in Iowa, Kansas, and
                                                 previous trading program for use in a                   converted—the EPA has defined the                     Tennessee exceeding the quantity of
                                                 new trading program must ensure that                    types of accounts included in the                     allowances likely to be needed for 2022
                                                 implementation of the new trading                       conversion to include all accounts                    compliance is approximately 149,386
                                                                         NOX emissions
                                                 program will result in NOx                                                                                    allowances. Thus, if the quantities of
                                                                                                         except the facility accounts of sources in
                                                 reductions sufficient to address                                                                              banked Group 2 allowances held in the
                                                                                                         states that will remain in the Group 2
                                                 significant contribution by all states that             trading program, consistent with the                  accounts being included in the
                                                 would be participating in the new                                                                             conversion do not change between now
                                                                                                         approach taken in the CSAPR
                                                 trading program, while also providing                                                                         and the conversion date, and if there
                                                                                                         Update.  368 Thus, the accounts whose
                                                                                                         Update.368
                                                 industry certainty (and obtaining an                                                                          was no prorating adjustment, the
                                                 environmental benefit) through                          holdings of Group 2 allowances will be
                                                                                                         converted to Group 3 allowances will                  conversion ratio would be
                                                 continued recognition of the value of                                                                         approximately 6.5-to-1, meaning that
                                                                                                         include (1) the facility accounts of all
                                                 saving allowances through early                                                                               one Group 3 allowance would be
                                                 reductions in emissions. The EPA's
                                                                                EPA’s                    sources in the states transitioning from
                                                                                                         the Group 2 trading program to the                    created for every 6.5 Group 2
                                                 approach to balancing these concerns in                                                                       allowances deducted in the conversion
                                                 the CSAPR Update through the                            Group 3 trading program, (2) the facility
                                                                                                                                                               process. 370
                                                                                                                                                               process.37°
                                                 conversion of banked allowances from                    accounts of all sources in the states                    As noted in section VI.B.12.a of this
                                                 the Group 1 trading program to the                      already participating in the Group 3                  document, the EPA expects that the
                                                 Group 2 trading program was upheld in                   trading program, (3) the facility                     effective date of this rule will occur after
                                                 Wisconsin
                                                 Wisconsin v. EPA, 938 F.3d at 321.                      accounts of all sources in any other
                                                    Under this final rule, applying the                  states not covered by the Group 2                       368 Similar to the approach taken in the Revised
                                                                                                                                                                 369

                                                 same balancing principle as in the                      trading program that happen to hold                   CSAPR Update, because emissions reductions from
ddrumheller on DSK120RN23PROD with RULES2




                                                 CSAPR Update and the Revised CSAPR                      Group 2 allowances as of the conversion               some of the emissions controls that EPA has
                                                                                                         date, and (4) all general accounts (that              identified as appropriate to use in setting budgets
                                                 Update, the EPA will carry out a further                                                                      are first reflected in the 2024 state budgets rather
                                                 conversion of allowances banked for                     is, accounts that are not facility                    than the 2023 state budgets, the EPA is basing the
                                                 control periods before 2023 under the                                                                         bank target amount on the sum of the states'
                                                                                                                                                                                                        states’ 2024
                                                                                                           368 The states whose sources will continue to
                                                                                                           368                                                 variability limits rather than the 2023 variability
                                                 Group 2 trading program into                            participate in the Group 2 trading program for the    limits.
                                                 allowances usable in the Group 3                        2023 control period will be Iowa, Kansas, and           37° By comparison, the analogous conversion ratio
                                                                                                                                                                 370

                                                 trading program in control periods in                   Tennessee.                                            under the Revised CSAPR Update was 8-to-1.



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00161   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 200 of 430
                                                 36814
                                                 36814                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 the start of the 2023 ozone season, and                 compelling reasons in this instance to                 conversion results in a larger bank of
                                                 prorating provisions are being                          use a bank target higher than the                      allowances remaining after the 2023
                                                 promulgated in this rule to ensure that                 minimum practicable level.                             control period than is considered
                                                 the increased stringency of this rule’s
                                                                                       rule's               First, making an allowance bank                     necessary to sustain a well-functioning
                                                 state budgets and state assurance levels                available for use in the 2023 control                  trading program in subsequent control
                                                 (i.e., the sums of the budgets and                      period that is somewhat higher than the                periods, the excess will be removed
                                                 variability limits) will take effect only               minimum practicable level will help to                 from the program in the bank
                                                            rule’s effective date. Consistent
                                                 after the rule's                                        address concerns that might otherwise                  recalibration process that will be
                                                 with these other procedures, the EPA                    arise regarding the transition to a new                implemented starting with the 2024
                                                 will similarly prorate the bank target                  set of compliance requirements, for                    control period and therefore will not
                                                 amount used in the conversion process.                  some sources, and the transition to                             sources’ incentives to control
                                                                                                                                                                weaken sources'
                                                 For example, if the effective date of the               compliance requirements based on                       emissions on a permanent basis.
                                                 final rule is the eleventh day of the 153-              revised emissions budgets different from                  The rule's
                                                                                                                                                                       rule’s provisions relating to the
                                                 day 2023 ozone season, the full-season                  the emissions budgets that the sources                 creation of an incremental Group 3
                                                 initial bank target amount of 23,094                    had reason to anticipate under previous                allowance bank are being finalized as
                                                 allowances would be prorated to an                      rulemakings, for the remaining sources.                proposed. Comments on the creation of
                                                 initial bank target amount of 21,585                    Although the EPA is confident that the                 the incremental allowance bank are
                                                 allowances.371 The EPA notes that
                                                 allowances.371                                          emissions budgets being established in                 discussed in section 5 of the RTC.
                                                 prorating the bank amount in this                       this rulemaking for the 2023 control                  c. Recall of Group 2 Allowances
                                                                              sources’
                                                 manner will not reduce sources'                         period are readily achievable, the EPA                Allocated for Control Periods After 2022
                                                 compliance flexibility for the 2023                     also believes that the existence of a
                                                 ozone season, because the amounts of                                                                             To maintain the previously
                                                                                                         somewhat larger allowance bank at this                established levels of stringency of the
                                                 Group 3 allowances that sources will                    transition point will promote sources'
                                                                                                                                         sources’
                                                 receive for the portion of the 2023 ozone                                                                     Group 2 trading program for the states
                                                                                                         confidence in their ability to meet their             and sources that remain subject to that
                                                                       rule’s effective date
                                                 season before the rule's                                2023 compliance obligations in general
                                                 will be based on the trading program                                                                          program, the EPA is recalling CSAPR
                                                                                                         and in a liquid allowance market in                   NOX Ozone Season Group 2 allowances
                                                                                                                                                               NOx
                                                 budgets for the 2023 control period that                particular. Second, because the large
                                                 were in effect before this rulemaking.                                                                        equivalent in amount and usability to
                                                                                                         majority of the remaining Group 2                     all vintage year 2023–2024
                                                                                                                                                                                2023-2024 CSAPR NOx NOX
                                                 These trading program budgets exceed
                                                                                                         allowances that will be converted to                  Ozone Season Group 2 allowances
                                                      sources’ collective 2022 emissions
                                                 the sources'
                                                                                                         Group 3 allowances in this rulemaking                 previously allocated to sources in states
                                                 by approximately 29,789 tons,
                                                                                                         are held by the sources currently in the              and areas of Indian country
                                                 indicating potentially surplus
                                                 allowances roughly 1.3 times the full-
                                                                                                         Group 2 trading program, while the                    transitioning to the Group 3 trading
                                                                                                         large majority of the initial bank of                 program and recorded in the sources'
                                                                                                                                                                                              sources’
                                                 season bank conversion target amount of
                                                 23,094 allowances. Thus, although the                   Group 3 allowances previously created                 compliance accounts. The recall
                                                 prorating procedure will reduce the                     in the conversion under the Revised                   provisions apply to all sources in
                                                 amount of Group 3 allowances that                       CSAPR Update are held by the sources                  jurisdictions newly added to the Group
                                                 would be available to sources in the                    already in the Group 3 trading program,               3 trading program in whose compliance
                                                 form of an initial bank, the reduction in               basing the conversion in this                         accounts CSAPR NOx NOX Ozone Season
                                                 the quantity of these allowances will be                rulemaking on a target bank amount set                Group 2 allowances for a control period
                                                 more than offset by the quantities of                   in the same manner as the target bank                 in 2023 or 2024 were recorded,
                                                 Group 3 allowances that will be                         amount used in the Revised CSAPR                      including sources where some or all
                                                 allocated in excess of sources'
                                                                           sources’ recent               Update is expected to result in a less                units have permanently retired or where
                                                 historical emissions levels for the                     concentrated distribution of holdings of              the previously recorded 2023–2024
                                                                                                                                                                                         2023-2024
                                                 portion of the ozone season before the                  banked Group 3 allowances following                   allowances have been transferred out of
                                                 final rule's
                                                        rule’s effective date.                           the conversion than would be the case                 the compliance account. The recall
                                                    As in the CSAPR Update and the                       if a more stringent target bank amount                provisions provide a flexible
                                                 Revised CSAPR Update, the EPA's   EPA’s                 were used under this rulemaking than                  compliance schedule intended to
                                                 overall objective in establishing the                   was used in the Revised CSAPR Update.                 accommodate any sources that have
                                                 target amount for the allowance                         A lower concentration of holdings of                  already transferred the previously
                                                 conversion is to achieve a total target                 banked Group 3 allowances would                       recorded 2023–2024
                                                                                                                                                                         2023-2024 allowances out of
                                                 amount for the bank at a level high                     generally be expected to help ensure                  their compliance accounts and allow
                                                 enough to accommodate year-to-year                      allowance market liquidity. Third, the                Group 2 allowances of earlier vintages
                                                 variability in operations and emissions,                EPA considers it equitable to treat the               to be surrendered to achieve
                                                                   states’ variability limits,
                                                 as reflected in states'                                 sources in the states transitioning from              compliance. Like the similar recall
                                                 but not high enough to allow sources                    the Group 2 trading program to the                    provisions finalized in the Revised
                                                 collectively to plan to emit in excess of               Group 3 trading program in this                       CSAPR Update, the recall provisions
                                                 the collective state budgets. The EPA                   rulemaking roughly similarly to the                   include specifications for how the recall
                                                 believes that a well-established trading                sources in the states that transitioned               provisions apply in instances where a
                                                 program should be able to function with                 between the same two trading programs                 source and its allowances have been
                                                 an allowance bank lower than the full                   in the Revised CSAPR Update with                      transferred to different parties and for
ddrumheller on DSK120RN23PROD with RULES2




                                                                             states’ variability
                                                 amount of the covered states'                           respect to the benefit they would receive             the procedures that the EPA will follow
                                                 limits, as discussed in section VI.B.6 of               under the Group 3 trading program for                 to implement the recall.
                                                 this document with respect to the bank                  any efforts they may have made to make                   Under the Group 2 trading program
                                                 recalibration process that will begin                   emissions reductions under the Group 2                regulations, each Group 2 allowance is
                                                 with the 2024 control period. However,                  trading program beyond the minimum                      ‘‘limited authorization to emit one ton
                                                                                                                                                               a "limited
                                                 the EPA also believes there are several                 efforts that were required to comply                  of NOx
                                                                                                                                                                  NOX during the control period in one
                                                                                                         with the emissions budgets under that                 year,’’ where the relevant limitations
                                                                                                                                                               year,"
                                                   371        × (153-10)4-
                                                       23,094 x
                                                   37123,094    (153¥10) ÷ 153 = 21,585.                 program. Finally, to the extent that the                                Administrator’s
                                                                                                                                                               include the EPA Administrator's


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00162   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023                    Page 201 of 430
                                                                      Federal Register / Vol. 88, No. 107/Monday,
                                                                                                      107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules                                                                         36815
                                                                                                                                                                                                               36815

                                                             ‘‘to terminate or limit the use
                                                 authority "to                                           compliance account, one Group 2                          requirement with regard to a 2024
                                                 and duration of such authorization to                   allowance of equivalent usability under                  Group 2 allowance could be met
                                                 the extent the Administrator determines                 the Group 2 trading program. The                         through the surrender of any 2017–2024
                                                                                                                                                                                                  2017-2024
                                                 is necessary or appropriate to                          surrender requirements apply to the                      Group 2 allowance.
                                                 implement any provision of the Clean                    owners and operators of the Group 3                         Owners and operators subject to the
                                                      Act.’’ 40 CFR 97.806(c)(6)(ii). The
                                                 Air Act."                                               sources in whose compliance account                      surrender requirements can choose from
                                                 Administrator is determining that, to                   the excess 2023–2024
                                                                                                                      2023-2024 Group 2                           two possible deadlines for meeting the
                                                 effectively implement the Group 2                       allowances were initially recorded. In                   requirements. The optional first
                                                 trading program as a compliance                         general, each source's
                                                                                                                         source’s current owners                  deadline will be 15 days after the
                                                 mechanism through which states not                      and operators are required to comply                     effective date of this rule.374
                                                                                                                                                                                         rule.374 As soon as
                                                 subject to the Group 3 trading program                  with the surrender requirements for the                  practicable or after this date, the EPA
                                                 may continue to meet their obligations                  source by ensuring that sufficient                       will make a first attempt to complete the
                                                 under CAA section 110(a)(2)(D)(i)(I)                    allowances to complete the deductions                    deductions of Group 2 allowances
                                                 with regard to the 2008 ozone NAAQS,                    are available in the source's
                                                                                                                               source’s compliance                required for each Group 3 source from
                                                 it is necessary to limit the use of Group               account by one of two possible                                source’s compliance account. The
                                                                                                                                                                  the source's
                                                 2 allowances equivalent in quantity and                 deadlines discussed later in this section.               EPA will deduct Group 2 allowances
                                                 usability to all Group 2 allowances                     However, an exception is provided if a                   first to address any surrender
                                                 previously allocated for the 2023–2024
                                                                                 2023-2024               source’s current owners and operators
                                                                                                         source's                                                 requirements for the 2023 control period
                                                 control periods and recorded in the                     obtained ownership and operational                       and then to address any surrender
                                                 compliance accounts of sources in the                   control of the source in a transaction                   requirements for the 2024 control
                                                 newly added Group 3 jurisdictions. The                  that did not include rights to direct the                period. When deducting Group 2
                                                 Group 2 allowances that have already                    use and transfer of some or all of the                   allowances to address the surrender
                                                 been allocated to sources in the newly                  2023–2024
                                                                                                         2023-2024 Group 2 allowances                             requirements for each control period,
                                                 added Group 3 states for the 2023–2024
                                                                                  2023-2024              allocated and recorded (either before or                 EPA will first deduct allowances
                                                 control periods and recorded in the                     after that transaction) in the source's
                                                                                                                                        source’s                  allocated for that control period and
                                                 sources’ compliance accounts represent
                                                 sources'                                                compliance account. The rule provides                    then will deduct allowances allocated
                                                 the substantial majority of the total                   that in such a circumstance, with                        for each successively earlier control
                                                 remaining quantity of Group 2                           respect to the 2023–2024
                                                                                                                         2023-2024 Group 2                        period. This order of deductions is
                                                 allowances that have been allocated and                 allowances for which rights were not                     intended to ensure that whatever Group
                                                 recorded for the 2023–2024
                                                                     2023-2024 control                   included in the transaction, the                         2 allowances are available in the
                                                 periods and that were not already made                  surrender requirements apply to the                      account are applied to the surrender
                                                 subject to recall when other                            most recent former owners and                            requirements in a manner that both
                                                 jurisdictions were transferred from the                 operators of the source before any such                  maximizes the extent to which all of the
                                                 Group 2 trading program to the Group                    transactions occurred. Because in this                   source’s surrender requirements will be
                                                                                                                                                                  source's
                                                 3 trading program in the Revised CSAPR                               source’s former owners and
                                                                                                         situation a source's                                     met and also ensures that any Group 2
                                                 Update. Because allowances can be                       operators might lack the ability to access               allowances left in the source's
                                                                                                                                                                                          source’s
                                                 freely traded, if the use of the 2023–
                                                                                   2023-                     source’s compliance account for
                                                                                                         the source's                                             compliance account after completion of
                                                 2024 Group 2 allowances previously                      purposes of complying with the                           all required deductions will be the
                                                 recorded in newly added Group 3                         surrender requirements, the former                       earliest allocated, and therefore most
                                                 sources’ compliance accounts (or
                                                 sources'                                                owners and operators would instead be                    useful, Group 2 allowances possible.
                                                 equivalent Group 2 allowances) were                     allowed to meet the surrender                            Among the Group 2 allowances
                                                 not limited, the effect would be the                    requirements with Group 2 allowances                     allocated for a given control period, The
                                                 same as if the EPA had issued to sources                                   account.372
                                                                                                         held in a general account.372                            EPA will first deduct allowances that
                                                                                                            To provide as much flexibility as                     were initially recorded in that account,
                                                 in the states that will remain covered by               possible consistent with the need to
                                                 the Group 2 trading program a quantity                                                                           in the order of recordation, and will
                                                                                                         limit the use of the excess Group 2                      then deduct allowances that were
                                                 of allowances available for compliance
                                                                                                         allowances, for each 2023–2024
                                                                                                                                2023-2024 Group 2                 transferred into that account after
                                                 under the 2023–2024
                                                              2023-2024 control periods                  allowance recorded in a Group 3
                                                 many times the levels that the EPA                                                                               having been initially recorded in some
                                                                                                         source’s compliance account, the EPA
                                                                                                         source's                                                 other account, in the order of
                                                 determined to be appropriate emissions
                                                                                                         will accept the surrender of either the                  recordation.
                                                 budgets for these states in the CSAPR                   same specific 2023–2024
                                                                                                                         2023-2024 Group 2
                                                 Update. Through the use of banked                                                                                   Following the first attempt to deduct
                                                                                                         allowance or any other Group 2                           Group 2 allowances to address Group 3
                                                 allowances, the excess Group 2                          allowance with equivalent (or greater)
                                                 allowances would affect compliance                                                                               sources’ surrender requirements, the
                                                                                                                                                                  sources'
                                                                                                         usability under the Group 2 trading
                                                 under the Group 2 trading program in                    program. Thus, a surrender requirement                      374 As discussed later in this section and in
                                                                                                                                                                     374
                                                 control periods after 2024 as well.                     with regard to a Group 2 allowance                       section VI.B.9.b, the EPA has conditioned
                                                 Continued implementation of the Group                   allocated for the 2023 control period                    recordation of any allocations of Group 3
                                                 2 trading program at levels of stringency               could be met through the surrender of                    allowances in a source's
                                                                                                                                                                                   source’s compliance account on the
                                                 consistent with the levels contemplated                                                                          source’s prior compliance with the recall
                                                                                                                                                                  source's
                                                                                                         any Group 2 allowance allocated for the                  requirements for Group 2 allowances. The purpose
                                                 under the CSAPR Update therefore                        2023 control period or the control                       of providing an optional first deadline for the recall
                                                 requires that the EPA limit the use of                  period in any earlier year—in other                      provisions 15 days after a final rule’s
                                                                                                                                                                                                    rule's effective is to
                                                 the excess allowances, as the EPA is                                                                             ensure that sources have an early opportunity to
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                         words, any 2017–2023
                                                                                                                       2017-2023 Group 2
                                                 doing through the recall provisions.                                                                             comply with the recall provisions to be eligible to
                                                                                                         allowance.373 Similarly, the surrender
                                                                                                         allowance.373                                            have allocations of Group 3 allowances recorded in
                                                    In this rule, the EPA is implementing                                                                         their accounts 30 days after the final rule’s
                                                                                                                                                                                                          rule's effective
                                                 limitations on the use of the excess                      372 The EPA is currently unaware of any source
                                                                                                           372                                                    date. Because the vast majority of sources subject
                                                 2023–2024
                                                 2023-2024 Group 2 allowances through                    that would need to use this flexibility but has          to the recall provisions already hold sufficient
                                                                                                         included the option in the rule to address the           Group 2 allowances to comply with the recall
                                                 requirements to surrender, for each                     theoretical possibility of such a situation.             provisions, the EPA anticipates that the sources will
                                                 2023–2024
                                                 2023-2024 Group 2 allowance recorded                      373 The first control period for the Group 2 trading
                                                                                                           373                                                    easily be able to comply with the optional first
                                                 in a newly added Group 3 source's
                                                                               source’s                  program was in 2017.                                     recall deadline.



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00163   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM     05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023               Page 202 of 430
                                                 36816
                                                 36816                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 EPA will send a notification to the                     directly or indirectly under common                    of each Group 3 source are required to
                                                 designated representative for each such                 ownership with an owner or operator of                 surrender under the recall provisions,
                                                 source (as well as any alternate                            source.375 Before making any
                                                                                                         the source.375                                         the EPA has prepared a list of the
                                                 designated representative) indicating                   deduction under this provision, the EPA                sources in the additional Group 3 states
                                                 whether all required deductions were                    will send a notification to the                        and areas of Indian country in whose
                                                 completed and, if not, the additional                   authorized account representative for                  compliance accounts allocations of
                                                 amounts of Group 2 allowances usable                    the account in which the allowance is                  2023–2024
                                                                                                                                                                2023-2024 Group 2 allowances were
                                                 in the 2023 or 2024 control periods that                held and will provide an opportunity                   recorded, with the amounts of the
                                                 must be held in the appropriate account                 for submission of objections concerning                allocations recorded in each such
                                                 by the second surrender deadline of                     the data upon which the EPA is relying.                compliance account for the 2023 and
                                                 September 15, 2023. Each notification                   In EPA's
                                                                                                            EPA’s view, this provision does not                 2024 control periods. An additional list
                                                 will be sent to the email addresses most                unduly interfere with the legitimate                   shows, for each newly added Group 3
                                                 recently provided to the EPA for the                    expectations of participants in the                    source, the specific Group 2 allowances
                                                 recipients and will include information                 allowance markets because the                          (batched by serial number) allocated for
                                                 on how to contact the EPA with any                      provision will not be invoked in the                   each control period and recorded in the
                                                 questions. The EPA has provided that                    case of any allowance that was                         source’s compliance account and
                                                                                                                                                                source's
                                                 no allocations of Group 3 allowances                    transferred to an independent party in                 indicates whether, as of April 30, 2022,
                                                 will be recorded in a source's
                                                                        source’s                                                             EPA’s
                                                                                                         an arms-length transaction before EPA's                that batch of allowances was held in the
                                                 compliance account until all the                        intent to recall 2023–2024
                                                                                                                          2023-2024 Group 2                     source’s compliance account, in an
                                                                                                                                                                source's
                                                 source’s surrender requirements with
                                                 source's                                                allowances became widely known. The                    account believed to be partially or fully
                                                 regard to 2023–2024
                                                             2023-2024 Group 2                           provision would apply only to a Group                  controlled by a related party (i.e., an
                                                 allowances have been met. For this                      2 allowance that, as of April 30, 2022,                owner or operator of the source or an
                                                 reason, the principal consequence to a                  was still controlled either by the owners              affiliate of an owner or operator of the
                                                 source of failure to fully comply with                  and operators of the source in whose                   source), or in an account believed to be
                                                 the surrender requirements by 15 days                   compliance account it was initially                    fully controlled by independent parties.
                                                 after the effective date of this rule will              recorded or by an entity affiliated with               The lists are in a spreadsheet titled,
                                                 be that any Group 3 allowances                          such an owner or operator. The EPA                     ‘‘Recall of Additional CSAPR NOx
                                                                                                                                                                "Recall                         NOX
                                                 allocated to the units at the source for                believes that by April 30, 2022, all                   Ozone Season Group 2 Allowances,"
                                                                                                                                                                                          Allowances,’’
                                                 the 2023 and 2024 control periods that                  market participants had ample                          available in the docket for this rule.
                                                 would otherwise have been recorded in                   opportunity to become informed of the                  After the first and second surrender
                                                      source’s compliance account by 30
                                                 the source's                                            proposed rule provisions to recall 2023–
                                                                                                                                              2023-             deadlines, the EPA intends to update
                                                 days after the effective date of a final                2024 Group 2 allowances recorded in                    the lists to indicate for each Group 3
                                                 rule will not be recorded as of that                    Group 3 sources'
                                                                                                                   sources’ compliance accounts,                source whether the surrender
                                                 recordation date.                                       particularly since the EPA implemented                 requirements for the source under the
                                                    If all surrender requirements of 2023–
                                                                                       2023-             a closely analogous recall of Group 2                  recall provisions have been fully
                                                 2024 Group 2 allowances for a source                    allowances in the Revised CSAPR                        satisfied. The EPA will post the updated
                                                 have not been met in EPA's
                                                                         EPA’s first                     Update.
                                                                                                         Update.3376
                                                                                                                   76                                           lists on a publicly accessible website to
                                                 attempt, the EPA will make a second                        The final revised regulations provide               ensure that all market participants have
                                                 attempt to complete the required                        that failure of a source's
                                                                                                                           source’s owners and                  the ability to determine which specific
                                                 deductions from the source's
                                                                        source’s                         operators to comply with the surrender                 2023–2024
                                                                                                                                                                2023-2024 Group 2 allowances initially
                                                 compliance account (or from a specified                 requirements will be subject to possible               recorded in any given Group 3 source's
                                                                                                                                                                                                 source’s
                                                 general account, in the limited                         enforcement as a violation of the CAA,                 compliance account do or do not remain
                                                 circumstance noted previously) as soon                  with each allowance and each day of the                subject to potential deduction to address
                                                 as practicable on or after September 15,                control period constituting a separate                      source’s surrender requirements
                                                                                                                                                                the source's
                                                 2023. The order in which Group 2                        violation.                                             under the recall provisions.
                                                 allowances are deducted will be the                        To eliminate any possible uncertainty                  The recall provisions have been
                                                 same as described previously for the                    regarding the amounts of Group 2                       finalized without change from the
                                                 first attempt.                                          allowances allocated for the 2023–2024
                                                                                                                                       2023-2024                proposal. The EPA received no
                                                    If the second attempt to deduct Group                control periods (or earlier control                    comments on the proposed provisions.
                                                 2 allowances to meet the surrender                      periods) that the owners and operators
                                                 requirements through deductions from                                                                           13. Conforming Revisions to Regulations
                                                      source’s compliance account (or                                                                           for Other CSAPR Trading Programs
                                                 the source's                                              375
                                                                                                           375  The provision under which the EPA will not
                                                 from a specified general account) is                    deduct Group 2 allowances transferred to unrelated        As noted in section VI.B.1.a of this
                                                                                                         parties before April 30, 2022 from the transferees'
                                                                                                                                                 transferees’   document, in addition to the Group 3
                                                 unsuccessful for a given source, as soon                accounts does not relieve the source to which the
                                                 as practicable on or after November 15,                 Group 2 allowances were originally allocated from      trading program, EPA currently
                                                 2023, to the extent necessary to address                the obligation to comply with the recall               administers five other CSAPR trading
                                                 the unsatisfied surrender requirements                  requirements. Specifically, the source would be        programs, all of which have provisions
                                                                                                         required to comply with the recall requirements by     that in most respects parallel the
                                                 for the source, the EPA will deduct the                 obtaining and surrendering other Group 2
                                                 2023–2024
                                                 2023-2024 Group 2 allowances that                       allowances.                                            provisions of the Group 3 trading
                                                 were initially recorded in the source's
                                                                                  source’s                  376 Even before publication of the proposed rule,
                                                                                                            376
                                                                                                                                                                program.  377 In this rulemaking, in
                                                                                                                                                                program.377
                                                 compliance account from whatever                        the EPA posted information on its websites to notify   addition to the revisions to the Group 3
                                                                                                         market participants that a pending rulemaking          trading program, the EPA is finalizing a
ddrumheller on DSK120RN23PROD with RULES2




                                                 accounts the allowances are held in as
                                                                                                         could have consequences for the value and usability
                                                 of the date of the deduction, except for                of Group 2 allowances. The posted locations
                                                                                                                                                                set of conforming revisions that concern
                                                 any allowances where, as of April 30,                   included the electronic portal that authorized         how various areas of Indian country are
                                                 2022, no person with an ownership                       account representatives use to enter allowance
                                                 interest in the allowances was an owner                 transfers for recordation by the EPA in the              377 The regulations for the Group 3 Trading
                                                                                                                                                                  377

                                                                                                         Allowance Management System. Additionally, the         Program are at 40 CFR part 97, subpart GGGGG. The
                                                 or operator of the source, was a direct                 EPA emailed a notice identifying the possibility of    regulations for the other five CSAPR trading
                                                 or indirect parent or subsidiary of an                  such consequences to the representatives for all       programs are at 40 CFR part 97, subparts AAAAA,
                                                 owner or operator of the source, or was                 Allowance Management System accounts.                  BBBBB, CCCCC, DDDDD, and EEEEE.



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00164   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                             Document #2009836                             Filed: 07/27/2023              Page 203 of 430
                                                                       Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                          36817
                                                                                                                                                                                                   36817

                                                 treated for purposes of the allowance                     to nonattainment
                                                                                                              nonattainrnent or interfering with                industry groups generally supported
                                                 allocation provisions of the regulations                  maintenance in other states. The                     other monitoring options over CEMS,
                                                 for all the CSAPR trading programs.    378
                                                                              programs.378                 emissions control requirements of these              such as parametric monitoring,
                                                    As discussed in section VI.B.9.a of                    FIPs for non-EGU sources apply only                  performance testing, and predictive
                                                 this document, to reflect the D.C.                        during the ozone season (May through                 emissions monitoring systems (PEMS).
                                                 Circuit’s holding in ODEQ v. EPA that
                                                 Circuit's                                                 September) each year, beginning in                   Additional commenters voiced concern
                                                 states have initial CAA implementation                    2026.                                                with the expense and burden of
                                                 planning authority in non-reservation                        To achieve the necessary non-EGU                  continuous parametric monitoring and
                                                 areas of Indian country until displaced                   emissions reductions for these 20 states,            semi-annual performance tests.
                                                 by a demonstration of tribal jurisdiction                 the EPA is finalizing the proposed                   Specifically, commenters explained that
                                                 over such an area, the EPA is revising                    emissions limitations with some                      semi-annual testing should not be
                                                 the allowance allocation provisions in                    adjustments as a result of information               required when the emissions limits only
                                                 the Group 3 trading program regulations                   received during the public comment                   apply during the ozone season.
                                                 so that, instead of distinguishing                        period. The final emissions limits apply             Commenters also noted that many non-
                                                 between the sets of units within a given                  to the most impactful types of units in              EGU boilers have recently been relieved
                                                 state’s borders that either are not or are
                                                 state's                                                   the relevant industries and are                      from meeting the CEMS requirements
                                                 in Indian country, the revised                            achievable with the control technologies             under the 1998 NOxNOX SIP Call and that
                                                 regulations distinguish between (1) the                   identified in this preamble and further              implementing CEMS on many of the
                                                 set of units within the state's
                                                                          state’s borders                  discussed in the Final Non-EGU Sectors               non-EGU sources would be difficult and
                                                 that are not in Indian country or are in                  TSD. The non-EGU regulatory                          unnecessary.
                                                 areas of Indian country covered by the                    requirements unique to each industry
                                                                                                                                                                   Response: The EPA is finalizing a
                                                 state’s CAA implementation planning
                                                 state's                                                   that EPA is finalizing after considering
                                                                                                                                                                unit-specific approach with rate-based
                                                 authority and (2) the set of units within                 public comments are discussed in
                                                                                                                                                                emissions limitations set on a uniform
                                                     state’s borders that are in areas of
                                                 the state's                                               sections VI.C.1 through VI.C.6 of this
                                                                                                           document.
                                                                                                                                                                basis for the different segments of non-
                                                 Indian country not covered by the                                                                              EGU emissions units using applicability
                                                 state’s CAA implementation planning
                                                 state's                                                      These final FIP requirements apply to
                                                                                                           both new and existing emissions units.               criteria based on size and type of unit
                                                 authority. For the same reasons stated in
                                                                                                           The non-EGU emissions limits and                     and, in some cases, emissions
                                                 section VI.B.9.a of this document for the                                                                      thresholds. In response to public
                                                 Group 3 trading program, the EPA is                       compliance requirements will apply in
                                                                                                           all 20 states (and, as discussed in                  comments, the EPA has adjusted these
                                                 revising the allowance allocation
                                                                                                           section III.C.2 of this document, in areas           requirements as necessary to ensure that
                                                 provisions in the regulations for all the
                                                                                                           of Indian country within the borders of              the emissions control requirements are
                                                 other CSAPR trading programs                                                                                   achievable while ensuring that the FIPs
                                                 establishing the same substantive                         those states), even if some of those states
                                                                                                           do not currently have emissions units in             achieve the necessary emissions
                                                 distinction among the sets of units
                                                                                                           a particular source category. This                   reductions from the covered units to
                                                               state’s borders. The specific
                                                 within each state's
                                                                                                           approach is consistent with the                      eliminate significant contribution to
                                                 regulatory provisions that are affected                                                                        nonattainment and interference with
                                                                                                           approach that the EPA proposed, and                  nonattainrnent
                                                 are identified in section IX.D of this                                                                         maintenance as discussed in section V
                                                 document. The EPA is unaware of any                       the EPA did not receive any comments
                                                                                                           specifically objecting to our proposal to            of this document. The EPA has
                                                 currently operating units that would be
                                                                                                           regulate new units. This approach will               concluded that a unit-specific approach
                                                 affected by this revision to the                                                                               is more appropriate for non-EGUs at this
                                                 regulations for the other CSAPR trading                   ensure that all new sources constructed
                                                                                                           in any of the 20 states will be subject to           time than implementing a trading
                                                 programs.
                                                                                                           the same good neighbor requirements                  program and requiring all units to
                                                    The conforming revisions to the
                                                 regulations for the other CSAPR trading                   that apply to existing units under this              implement rigorous part 75 monitoring
                                                 programs concerning Indian country are                    final rule. This will also avoid creating            and reporting requirements. As
                                                 being finalized as proposed with no                       incentives to move production from an                explained in the proposal, to be
                                                 changes. The EPA received no                              existing non-EGU source to a new non-                considered for a trading program, non-
                                                 comments on this portion of the                           EGU source of the same type but lacking              EGU sources would have to comply
                                                 proposal.                                                 the relevant emissions control                       with requirements for monitoring and
                                                                                                           requirements either within a linked                  reporting of hourly mass emissions in
                                                 C. Regulatory
                                                    Regulatory Requirements for for                        state or in another linked state.                    accordance with 40 CFR part 75 as we
                                                 Stationary Industrial Sources
                                                 Stationary                                                   Comment:
                                                                                                              Comment: The EPA received several                 have required for all previous trading
                                                    The EPA is finalizing FIPs with                        comments regarding the proposed                      programs. Monitoring and reporting
                                                 requirements for certain non-EGU                          approach of establishing unit-specific               under part 75 include CEMS (or an
                                                 industry sources for 20 of the states                     emissions limitations for non-EGUs                   approved alternative method), rigorous
                                                 covered in this final rule. See section                   instead of an emissions trading program.             initial certification testing, and periodic
                                                 II.B of this document for the list of                     Some commenters suggested that a                     quality assurance testing thereafter,
                                                 states. The FIPs include new emissions                    trading program for non-EGUs could                   such as relative accuracy test audits and
                                                 limitations for units in nine non-EGU                     provide for operational flexibility and              daily calibrations. Consistent and
                                                 industries that the EPA finds (as                         that EPA should allow sources to work                accurate measurement of emissions is
                                                 discussed in sections IV and V of this                    with regulatory authorities to develop a             necessary to ensure that each allowance
                                                                                                           trading program. Other commenters                    actually represents one ton of emissions
ddrumheller on DSK120RN23PROD with RULES2




                                                 final rule) are significantly contributing
                                                                                                                                  EPA’s proposed
                                                                                                           generally supported EPA's                            and that one ton of reported emissions
                                                    378 Additional conforming revisions concerning
                                                    378                                                    approach and the decision to not                     from one source would be equivalent to
                                                 the schedules for the EPA to record allowance             include non-EGUs in an emissions                     one ton of reported emissions from
                                                                source’s compliance accounts and for
                                                 allocations in source's                                   trading program, because the EPA                     another source. See 75 FR 45325
                                                 states to submit state-determined allowance
                                                 allocations to the EPA for subsequent recordation
                                                                                                           would not need to require sources to                 (August 2, 2010). Moreover, these
                                                 were finalized in an earlier final rule in this docket.   unnecessarily install CEMS.                          monitoring requirements generally
                                                 See 87 FR 52473 (August 26, 2022).                        Commenters from several states and                   would need to be in place for at least


                                            VerDate Sep<11>2014    20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00165   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023               Page 204 of 430
                                                 36818
                                                 36818                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 one full ozone season to establish                      provisions require controls on the most               have resulted in relatively small
                                                 baseline data before it would be                        impactful non-EGU industrial sources                  reductions in emissions. Finally, the
                                                 appropriate to rely on a trading program                while providing the flexibility needed to             EPA has modified the monitoring and
                                                 as the mechanism to achieve the                         accommodate unique circumstances on                   recordkeeping requirements for all non-
                                                 required emissions reductions. Many                     a case-by-case basis.                                 EGU industries where possible to
                                                 industry and state commenters provided                     Comment:
                                                                                                            Comment: Commenters from several                   reduce the testing frequency to once a
                                                 information confirming that many non-                   non-EGU industries and states raised                  year and to provide for alternative
                                                 EGU units subject to this rulemaking do                 general concerns regarding the ability                monitoring protocols where appropriate,
                                                 not currently utilize CEMS and                          for all sources to comply with the                    which should further reduce the costs of
                                                 specifically requested that EPA avoid                   proposed emissions limits. Some                       compliance on non-EGU sources. With
                                                 requiring CEMS for all non-EGU                          commenters suggested that the EPA                     these modifications to the final rule in
                                                 industries. The EPA generally agrees                    allow for case-by-case limits where                   response to comments, the non-EGU
                                                 that CEMS is not necessary for all non-                 necessary, similar to case-by-case RACT               sources subject to this rule should be
                                                 EGU industries under the approach of                    determinations. Specifically,                         able to meet the applicable control
                                                 this final rule and is finalizing other                 commenters operating boilers, furnaces,               requirements established in this final
                                                 continuous monitoring, recordkeeping,                   and MWCs provided general                             rule.
                                                 and reporting requirements, as                          explanations of how some units might                     The EPA also recognizes, however,
                                                 appropriate, that are specific to each                  not be able to meet the proposed                      that there may be unique circumstances
                                                 non-EGU industry. The EPA has                           emissions limits and requested that EPA               the Agency cannot anticipate that
                                                 determined that establishing unit-                      provide for compliance flexibility where              would, for a particular source, render
                                                 specific emissions limitations for non-                 a source can demonstrate technical and                the final emissions control requirements
                                                 EGUs is a preferable approach in part                   economical infeasibility.                             technically impossible or impossible
                                                 because it avoids the rigorous                             Response: As explained more in
                                                                                                            Response:                                          without extreme economic hardship. To
                                                 monitoring requirements that would be                   sections VI.C.1 through VI.C.6, the EPA               address these limited circumstances, the
                                                 applied to non-EGUs for the first time                  has made several adjustments to the                   EPA is finalizing a provision that allows
                                                 under a trading program.                                proposed applicability criteria,                      a source to request EPA approval of a
                                                    Furthermore, to address commenters'
                                                                               commenters’               emissions limits, and compliance                      case-by-case emissions limit based on a
                                                 concerns regarding non-EGU                              requirements in response to public                    showing that an emissions unit cannot
                                                 requirements for performance testing on                 comments and to reduce the costs of                   meet the applicable standard due to
                                                 a semi-annual basis, the EPA has also                   compliance with the final rule. For                   technical impossibility or extreme
                                                 reduced the frequency of all required                   Pipeline Transportation and Natural                   economic hardship. The EPA has
                                                 performance testing for non-EGU                         Gas, the EPA is finalizing emissions                  modeled the case-by-case emissions
                                                 sources to once per calendar year. As                   averaging provisions and exemptions for               limit mechanism on case-by-case RACT
                                                 commenters correctly pointed out, the                   emergency engines to allow facilities to              requirements and certain facility-
                                                 emissions limits in these final FIPs
                                                                                   FlPs only             avoid installing controls on units with               specific emissions limits under 40 CFR
                                                 apply during the ozone season and                       lower actual emissions where the                      part 60 identified by commenters.379
                                                                                                                                                                                      commenters.379
                                                 testing once per calendar year should be                installation of controls would be less                The owner or operator of a source
                                                 sufficient to confirm the accuracy of the               cost effective compared to higher-                    seeking a case-by-case emissions limit
                                                 parameters being monitored to                           emitting units. For Cement and Concrete               must submit a request meeting specific
                                                 demonstrate continuous compliance                       Product Manufacturing, the EPA has                    requirements to the EPA by August 5,
                                                 during the ozone season. The EPA also                   removed the daily source cap that                     2024, one year after the effective date of
                                                 agrees with commenters that the annual                  would have resulted in an artificially                this final rule. The applicable emissions
                                                 testing requirements need not occur                                  NOX emissions limit for
                                                                                                         restrictive NOx                                       limits established in this final rule
                                                 during the ozone season.                                affected cement kilns that have operated              remain in effect until the EPA approves
                                                    In addition, the EPA is modifying the                at lower levels due to the COVID-19
                                                                                                                                       COVID–19                  source’s request for a case-by-case
                                                                                                                                                               a source's
                                                 applicability criteria and other                        pandemic. For Iron and Steel and                      emissions limit. Given the May 1, 2026
                                                 regulatory requirements in response to                  Ferroalloy Manufacturing, the EPA is                  compliance date that generally applies
                                                 public comments to provide certain                      finalizing a "test-and-set"
                                                                                                                       ‘‘test-and-set’’ requirement            to all affected units in the non-EGU
                                                 compliance flexibilities for non-EGU                    for reheat furnaces that will require the             industries covered by this final rule, we
                                                 industries where appropriate. As                        installation of low-NO
                                                                                                                           low-NOx X burners or                encourage owners and operators of
                                                 discussed further in section V.C.1 of this              equivalent technology. The EPA has                    affected units who believe they must
                                                 document, the EPA is modifying the                      addressed the economic concerns raised                seek case-by-case emissions limits to
                                                 requirements for Pipeline                               by commenters regarding installation of               submit their requests to the EPA before
                                                 Transportation of Natural Gas by                        controls at Iron and Steel facilities by              the one-year deadline for such requests,
                                                 finalizing an exemption for emergency                   not finalizing the other ten proposed                 if possible, to ensure adequate time for
                                                 engines and allowing any owner or                       emissions limits that were intended to                EPA review and to install the necessary
                                                 operator of an affected unit to propose                 require the installation of SCR at these              controls.
                                                   ‘‘Facility-Wide Averaging Plan"
                                                 a "Facility-Wide               Plan’’ that              facilities. For Glass and Glass Product                  For a source requesting a case-by-case
                                                 would, if approved by EPA, provide an                   Manufacturing, the EPA is finalizing                  limit due to technical impossibility, the
                                                 alternative means for compliance with                   alternative standards that apply during               final rule requires that the request
                                                 the emissions limits in this final rule.                startup, shutdown, and idling                         include emissions data obtained
ddrumheller on DSK120RN23PROD with RULES2




                                                 Further, as discussed in section VI.C.5                 conditions. For boilers in Basic                      through CEMS or stack tests, an analysis
                                                 of this document, the EPA is finalizing                 Chemical Manufacturing, Petroleum and
                                                 a low-use exemption for non-EGU                         Coal Products Manufacturing, Pulp,                      379 For examples of case-by-case RACT provisions
                                                                                                                                                                 379

                                                 boilers that operates less than 10                      Paper, and Paperboard Mills, Metal Ore                and source specific limits for boilers in subpart Db
                                                 percent per year on an hourly basis,                    Mining, and the Iron and Steel Industry,              of the EPA’s
                                                                                                                                                                      EPA's NSPS, see 40 CFR 60.44b(f);
                                                                                                                                                               Regulations of Connecticut State Agencies section
                                                 based on the three most recent years of                 the EPA is finalizing a low-use                       22a–174–22e; Code of Maryland Regulations section
                                                                                                                                                               22a-174-22e;
                                                 use and no more than 20 percent in any                  exemption to eliminate the need to                    26.11.09.08(B)(3); and Code of Maine Rules section
                                                 one of the three years. These final rule                install controls on boilers that would                096–138–3, subsection (I).
                                                                                                                                                               096-138-3,



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00166   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                             Document #2009836                             Filed: 07/27/2023              Page 205 of 430
                                                                       Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                           36819
                                                                                                                                                                                                    36819

                                                 of all available control technologies                    be met to qualify for a case-by-case limit            constructing the list of potential sources
                                                 based on an engineering assessment by                    are designed to meet this statutory                   subject to the final rule, the EPA relied
                                                 a professional engineer or data from a                   mandate.                                              on available information to identify the
                                                 representative sample of similar                            Comment:
                                                                                                             Comment: Several commenters raised                 PTE of the emissions units in the
                                                 sources, and a recommendation                                                  EPA’s differing
                                                                                                          concerns about the EPA's                              various non-EGU industries that are
                                                 concerning the most stringent emissions                  applicability criteria for the various                captured by the applicability criteria.
                                                 limit the source can technically achieve.                non-EGU industries. Specifically, the                 See Memo to Docket titled Summary
                                                                                                                                                                                              Summary of
                                                    For a source requesting a case-by-case                commenters questioned why EPA set                                  Applicability Criteria and
                                                                                                                                                                Final Rule Applicability
                                                 limit on the basis of extreme economic                   applicability criteria for engines in                                         Non-EGU
                                                                                                                                                                Emissions Limits for Non-EGU
                                                 hardship, the final rule requires that the               Pipeline Transportation of Natural Gas                Emissions Units,
                                                                                                                                                                             Units, Assumed Control
                                                 request include at least three vendor                    and non-EGU boilers based on design                   Technologies for Meeting the Final
                                                 estimates from three separate vendors                    capacity instead of potential to emit                 Emissions Limits, and Estimated
                                                 that do not have a corporate or business-                (PTE). Commenters also requested that                 Emissions Units,
                                                                                                                                                                             Units, Emissions Reductions,
                                                 affiliation with the source of the costs of              the EPA allow each non-EGU category                   and Costs. Thus, the EPA's
                                                                                                                                                                                        EPA’s Step 3
                                                 installing the control technology                        to rely on operating permits or other                 analysis takes into account available
                                                 necessary to meet the applicable                         federally enforceable instruments to                  information about currently enforceable
                                                 emissions limit and other information                    avoid being subject to the rule, such as              emissions limits and physical and
                                                 that demonstrates, to the satisfaction of                limits to the PTE or limits on fuels used.            operational limitations identified in
                                                 the Administrator, that the cost of                         Response: The 100 tpy PTE threshold
                                                                                                             Response:                                          existing permits. The EPA finds it
                                                 compliance with the applicable                           and comparable design capacity                        necessary to define PTE consistent with
                                                 emissions limit for that particular                      thresholds of 1,000 horsepower (hp) for               its use in the title V and NSR permit
                                                 source would present an extreme                          engines and 100 mrnBtu/hr
                                                                                                                             mmBtu/hr for boilers               programs to ensure that the
                                                 economic hardship relative to the costs                  are appropriate to ensure that the final              requirements of the final FIPs apply to
                                                 borne by other comparable sources in                     rule reduces emissions from the most                  the most impactful units identified in
                                                 the industry under this rule. In                         impactful units. The EPA finds the                    Step 3 of our analysis. However, to
                                                               source’s request for a case-
                                                 evaluating a source's                                    control technologies assumed to be                    ensure that these FIPs achieve the
                                                 by-case limit due to extreme economic                    installed to meet the final emissions                 emissions reductions necessary to
                                                 hardship, the EPA will consider the                      limits would not be as readily available              eliminate significant contribution or
                                                 emissions reductions and costs                           or cost effective for emissions units with            interference with maintenance as
                                                 identified in this final rulemaking (and                 PTE or design capacities lower than the               described in this final rule, the
                                                 related support documents) for other                     applicability thresholds in this final                applicability criteria for the Cement and
                                                 sources in the relevant industry and                     rule.                                                 Concrete Manufacturing, Iron and Steel
                                                                                                             With regard to the selection of design
                                                 whether the costs of compliance for the                                                                        and Ferroalloy Manufacturing, and
                                                 source seeking the case-by-case limit                    capacity thresholds for boilers and
                                                                                                                                                                Glass and Glass Product Manufacturing
                                                                                                          engines, the EPA finds that most RACT
                                                 would significantly exceed the highest                                                                         industries take into account only those
                                                                                                          requirements and other standards
                                                 representative end of the range of                                                                             enforceable PTE limits in effect as of the
                                                                                                          reviewed by the EPA establish
                                                 estimated cost-per-ton figures identified                                                                      effective date of this final rule. Thus,
                                                                                                          applicability criteria for engines and
                                                 for any source in the relevant industry                                                                        any emissions unit in these three
                                                                                                          boilers based on design capacity rather
                                                 as discussed in section V of this                                                                              industries that has a PTE equal to or
                                                                                                          than PTE. We further explain our basis
                                                 document.                                                                                                      greater than 100 tons per year and thus
                                                                                                          for establishing applicability thresholds
                                                    As discussed in section VI.A of this                                                                        meets the definition of an "affected
                                                                                                                                                                                             ‘‘affected
                                                 document, in Wisconsin
                                                                 Wisconsin the court held                 based on design capacity for these two
                                                                                                          source categories in sections VI.C.1. and             unit’’
                                                                                                                                                                unit" as of August 4, 2023, will remain
                                                 that some deviation from the CAA's
                                                                                 CAA’s                                                                          subject to the applicable FIPs, without
                                                                                                          VI.C.5. For consistency with preexisting
                                                 mandate to eliminate prohibited                                                                                regard to any PTE limit that the
                                                                                                          requirements for engines and boilers
                                                 transport by downwind attainment                                                                               emissions unit may subsequently
                                                                                                          and to capture the sizes of units
                                                 deadlines may be allowed only "under
                                                                                   ‘‘under                                                                      become subject to. Each affected unit in
                                                                                                          identified in Step 3 of our analysis, the
                                                 particular circumstances and upon a                                                                            these three industries must submit an
                                                                                                          EPA selected design capacities of 1,000
                                                                         necessity,’’ e.g.,
                                                 sufficient showing of necessity,"                                                                              initial notification of applicability to the
                                                                                                          hp for engines and 100 mmBtu/hr for
                                                 when compliance with the statutory                       boilers. The EPA recognizes that these                EPA by December 4, 2023, that
                                                                           impossibility.380
                                                 mandate amounts to an impossibility.380                  applicability thresholds captured more                identifies its PTE as of the effective date
                                                 Given these directives, the EPA cannot                                                                         of this final rule. Additionally, any
                                                                                                          units than the EPA intended,
                                                 allow a covered source to avoid                          particularly some low-use units.                      owner or operator of an existing
                                                 complying with the emissions limits                      Therefore, as explained in sections                   emissions unit that is not an affected
                                                 established in this final rule unless the                VI.C.1 and VI.C.5., the EPA is                        unit as of August 4, 2023, but
                                                 source can demonstrate that compliance                   establishing exemptions for low-use                   subsequently meets the applicability
                                                 with the limit would either be                           boilers and emergency engines, as well                criteria (e.g., due to a change in fuel use
                                                 impossible as a technical matter or                                                                                                 unit’s PTE) will
                                                                                                                                                                that increases the unit's
                                                                                                          as new emissions averaging provisions
                                                 result in an extreme economic                            for engines, to ensure that this final rule           become an affected unit subject to the
                                                 hardship—i.e., exceed the high end of                    focuses on larger, more impactful units.              applicable requirements of this final
                                                 the cost-effectiveness estimates that                       The EPA also agrees with commenters                rule at that time.
                                                 informed the EPA's
                                                                EPA’s Step 3                                                                                       Comment:                           EPA’s
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                          that the applicability criteria should                   Comment: In responding to the EPA's
                                                 determination of significant                             allow for sources to rely on enforceable              request for comment on whether some
                                                 contribution, as discussed in section V                                              source’s PTE
                                                                                                          requirements that limit a source's                    non-EGU units would need to run
                                                 of this document. The criteria that must                 and is finalizing a regulatory definition             controls required by the final FIP year-
                                                                                                          of PTE that is generally consistent with              round, one commenter anticipated that
                                                   380 Wisconsin, 938 F.3d
                                                   380                 F.3d at 316 and 319–320
                                                                                         319-320
                                                 (noting that any such deviation must be "rooted
                                                                                           ‘‘rooted in
                                                                                                          the definitions of that term in the EPA's
                                                                                                                                               EPA’s            control equipment would be operated as
                                                       I’s framework"
                                                 Title I's framework’’ and "provide
                                                                           ‘‘provide a sufficient level   title V and NSR permit programs. See,                 necessary to achieve applicable
                                                                              States’’).
                                                 of protection to downwind States").                      e.g., 40 CFR 51.165(a)(1)(iii), 70.2. In              emissions limits, but that operational


                                            VerDate Sep<11>2014    20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00167   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 206 of 430
                                                 36820
                                                 36820                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 flexibility, cost considerations and                    performance test results collected using        Impacts, and Costs from Non-EGU
                                                                                                                                                                                      Non-EGU
                                                 equipment longevity would warrant                       test methods that are supported by the          Emissions Units
                                                                                                                                                                       Units for 2026, as described
                                                 operation of certain control equipment                  EPA’s Electronic Reporting Tool (ERT)
                                                                                                         EPA's                                           in section V.B of this document.
                                                 on a schedule such that the equipment                   as listed on the ERT website 381
                                                                                                                                        381 at the          The EPA is also modifying certain
                                                 would not be used when unnecessary to                   time of the test be submitted in the            provisions in response to public
                                                 meet emissions limits and/or outside of                 format generated through the use of the         comments to provide compliance
                                                 ozone season (i.e., during winter                       ERT or an electronic file consistent with       flexibilities for the Pipeline
                                                 months). The commenter further                          the XML schema on the ERT website               Transportation of Natural Gas industry
                                                 explained that flexibility in the                       and that other performance test results         sector in order to focus emissions
                                                 operation of certain control equipment                  be submitted in portable document               reduction efforts on the highest emitting
                                                 when unnecessary to meet emissions                      format (PDF) using the attachment               units. Specifically, the EPA is finalizing
                                                 limits will allow for routine                           module of the ERT. Similarly, the EPA           an exemption for emergency engines,
                                                 maintenance and repairs without                         is finalizing a requirement that                and establishing provisions that allow
                                                 requiring variances or similar                          performance evaluation results of CEMS          any owner or operator of an affected
                                                 exemptions from continuous operation                    measuring relative accuracy test audit          unit to propose a Facility-Wide
                                                 requirements.                                           (RATA) pollutants that are supported by         Averaging Plan that would, if approved
                                                    Response: Based on the feedback                      the ERT at the time of the test be              by EPA, provide an alternative means
                                                 received during the public comment                      submitted in the format generated               for compliance with the emissions
                                                 period, the EPA is finalizing                           through the use of the ERT or an                limits in this final rule.
                                                 requirements for non-EGU sources that                   electronic file consistent with the XML            For purposes of this rule, the EPA is
                                                 will apply only during the ozone                        schema on the ERT website, and a                clarifying and narrowing the definition
                                                 season, which runs annually from May                    requirement that other performance                 ‘‘pipeline transportation of natural
                                                                                                                                                         of "pipeline
                                                 to September. As discussed in the                       evaluation results be submitted in PDF          gas’’ to mean the transport or storage of
                                                                                                                                                         gas"
                                                 proposed rule, this is consistent with                  using the attachment module of the              natural gas prior to delivery to a local
                                                 EPA’s prior practice in Federal actions
                                                 EPA's                                                   ERT. The final rule also requires that          distribution company custody transfer
                                                 to eliminate significant contribution of                initial notifications of applicability,         station or to a final end-user (if there is
                                                 ozone in the 1998 NOxNOX SIP Call, CAIR,                annual compliance reports, and excess           no local distribution company custody
                                                 CSAPR, CSAPR Update, and the                            emissions reports be submitted in PDF           transfer station). The revised definition
                                                 Revised CSAPR Update. In addition, the                  uploaded in CEDRI.                              of this term in § 52.41(a) is consistent
                                                 EPA did not receive any information                        Furthermore, the EPA is finalizing, as                 EPA’s regulatory definition of
                                                                                                                                                         with the EPA's
                                                 during the public comment period                        proposed, provisions that allow owners          ‘‘natural gas transmission and storage
                                                                                                                                                         "natural
                                                 suggesting that sources would have to                   and operators to seek extensions of time        segment’’ in 40 CFR 60.5430(a) (subpart
                                                                                                                                                         segment"
                                                 run the necessary controls year-round                   to submit electronic reports due to             OOOOa, Standards of Performance for
                                                                                                                                                         0000a,
                                                 due to the nature of those controls. We                 circumstances beyond the control of the         Crude Oil and Natural Gas Facilities for
                                                 note, however, that certain emissions-                  owner or operator (e.g., due to a possible      Which Construction, Modification, or
                                                 control technologies, such as                           outage in CDX or CEDRI or a force               Reconstruction Commenced After
                                                 combustion controls that are integrated                 majeure event) in the time just prior to        September 18, 2015).
                                                 into the unit itself, would likely                        report’s due date, as well as provisions
                                                                                                         a report's                                         The EPA is also adding definitions of
                                                 function to reduce NOxNOX emissions year-               specifying how to submit such a claim.                      ‘‘local distribution company’’
                                                                                                                                                         the terms "local                  company"
                                                 round as a practical engineering matter.                Public commenters supported these                    ‘‘local distribution company
                                                                                                                                                         and "local
                                                    Comment:
                                                    Comment: Regarding electronic                        proposed provisions.                                                station’’ that are
                                                                                                                                                         custody transfer station"
                                                 reporting through the Compliance and                       The EPA agrees with commenters that          consistent with the definitions found in
                                                 Emissions Data Reporting Interface                      the CEDRI reporting requirements could          40 CFR 98.400 (subpart NN, Suppliers
                                                 (CEDRI), one commenter requested that                   be centralized and has moved the CEDRI          of Natural Gas and Natural Gas Liquids)
                                                 CEDRI reporting requirements be                         reporting requirements to 40 CFR 52.40.         and 40 CFR 60.5430(a) (subpart 0000a,OOOOa,
                                                 consolidated in one location rather than                                                                Standards of Performance for Crude Oil
                                                 repeated in each section. Another                       1. Pipeline Transportation of Natural           and Natural Gas Facilities for Which
                                                 commenter requested that EPA include                    Gas                                             Construction, Modification, or
                                                 electronic reporting requirements for                   Applicability                                   Reconstruction Commenced After
                                                 MWCs and specifically require that                          The EPA is finalizing regulatory            September 18, 2015), respectively.
                                                 MWCs report CEMS data to CEDRI.                                                                            Comment:
                                                                                                                                                            Comment: Several commenters asked
                                                                                                         requirements for the Pipeline
                                                 Another commenter requested that EPA                    Transportation of Natural Gas industry          EPA   to exclude emergency engines in
                                                 allow for extensions of time for                        that apply to stationary, natural gas-          the final rule and one commenter
                                                 electronic reports due to technical                     fired, spark ignited reciprocating              recommended that the EPA revise the
                                                 glitches.                                                                                               definition of affected unit to specifically
                                                                                                         internal combustion engines
                                                    Response: To increase the ease and                                                                   exempt   emergency engines.
                                                                                                         (‘‘stationary SI engines")
                                                                                                         ("stationary        engines’’) within these
                                                 efficiency of data submittal and data                   facilities that have a maximum rated            Commenters stated that doing so would
                                                 accessibility, the EPA is finalizing, as                capacity of 1,000 hp or greater. Based on not only be consistent with other
                                                 proposed, a requirement that owners                                                                     regulations applicable to stationary SI
                                                                                                         our review of the potential emissions
                                                 and operators of non-EGU sources                        from stationary SI engines, we find that        engines, but it would also be more
                                                 subject to the final FIPs,
                                                                       FlPs, including                                                                                      EPA’s applicability
                                                                                                                                                         consistent with EPA's
                                                                                                         use of a maximum rated capacity of
                                                 MWCs, submit electronic copies of                                                                                          assumes stationary SI
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                         1,000 hp reasonably approximates the            analysis,  which
                                                 required initial notifications of                       100 tpy PTE threshold used in the               engines will operate for 7,000 hours a
                                                 applicability, performance test reports,                Screening Assessment of Potential               year, something emergency engines are
                                                 performance evaluation reports,                                                                         prohibited from doing by Federal
                                                                                                         Emissions Reductions, Air Quality   Quality
                                                 quarterly and semi-annual reports, and                                                                  regulation. Commenters also stated that
                                                                                     EPA’s
                                                 excess emissions reports through EPA's                     381 The ERT website is located at https://
                                                                                                            381
                                                                                                                                                         emergency generators are currently
                                                 Central Data Exchange (CDX) using the                   www.epa.gov/electronic-reporting-air-emissions/
                                                                                                         www.epa.govIelectronic-reporting-air-emissions/ exempt from requirements applicable to
                                                 CEDRI. The final rule requires that                     electronic-reporting-tool-ert.                  non-emergency RICE covered by both


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00168   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 207 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                         36821
                                                                                                                                                                                                 36821

                                                 the relevant NSPS rule (subpart BRJJJJ), as                Comment:
                                                                                                            Comment: Several commenters raised                 use units and some units with emissions
                                                 well as the relevant NESHAP rule                                              EPA’s proposal to
                                                                                                         concerns about the EPA's                              of less than 100 tons per year. However,
                                                 (subpart ZZZZ), and that although the                   establish applicability criteria for                  it is also not possible to guarantee
                                                 NSPS and NESHAP standards EPA has                       engines in Pipeline Transportation of                 without an effective emissions control
                                                 adopted for emergency RICE do not                       Natural Gas based on design capacity                  program that all such units could not
                                                 limit the amount of time they may run                   rather than PTE. Other commenters                     increase emissions in the future. As
                                                 for emergency purposes, EPA has                         asserted that the horsepower rating of an             discussed in section V of this document,
                                                 recognized in the past that states may                  engine does not necessarily correspond                we continue to find that collectively
                                                 assume a maximum of 500 hours of                        to its annual emissions and that engines              engines with a design capacity of 1,000
                                                 operation to estimate the "potential
                                                                            ‘‘potential to               with a rated capacity of more than 1,000              hp or higher in the states and industries
                                                 emit’’ in issuing air permits for
                                                 emit"                                                   hp in this industry sector may operate                covered by this final rule emit
                                                 emergency RICE. One commenter                           at low load and/or infrequently and be                substantial amounts of NOxNOX that
                                                 asserted that emergency engines                         associated with limited NOxNOX emissions.             significantly contribute to downwind air
                                                 operating under other standards                         One commenter stated that most of the                 quality problems.
                                                 currently only operate for emergencies                  subject facilities in their state that have              However, in response to concerns
                                                 or for a few hours at a time to                         natural gas fired SI engines with a
                                                                                                                                                               raised by commenters while continuing
                                                 periodically conduct regular                            nameplate capacity rating of 1,000 hp or
                                                                                                                                                               to ensure that this rule establishes an
                                                 maintenance, that their emissions are                   greater have annual NOxNOX emissions less
                                                                                                                                                               effective emissions control program for
                                                 low, and that their contribution to the                 than 100 tpy, with nearly 25 percent of
                                                                                                                                                               these units that is consistent with our
                                                                          EPA’s proposal
                                                 ozone transport issues EPA's                            them less than 25 tpy. The commenter                  Step 3 determinations, the EPA is
                                                 seeks to address is negligible. Another                 suggested that the 1,000 hp applicability
                                                                                                                                                               establishing a compliance alternative
                                                 commenter stated that the EPA has                       threshold would result in overcontrol.                using facility-wide emissions averaging,
                                                 traditionally exempted emergency                        According to one commenter, the EPA
                                                                                                                                                               which will allow facilities to prioritize
                                                 engines in past standards because the                   has overestimated the emissions rates
                                                                                                                                                               emissions reductions from larger,
                                                 EPA has typically found that the use of                 and operating hours of engines with a
                                                                                                                                                               higher-emitting units. (As previously
                                                 add-on emissions controls cannot be                     rated capacity of more than 1,000 hp                  discussed, we are also establishing an
                                                 justified due to the cost of the                        and thus underestimated the size of
                                                                                                                                                               exemption for emergency engines,
                                                 technology relative to the emissions                    pipeline RICE that would be expected to
                                                                                                                                                               which also helps ensure that this final
                                                 reduction that would be obtained.                       emit more than 100 tpy of NOx NOX
                                                                                                                                                               rule focuses on larger, more impactful
                                                    Response: With respect to stationary                 annually. According to this commenter,                units in this industry.) The facility-wide
                                                 SI emergency engines, the EPA has                       only engines much larger than 1,000 hp
                                                                                                                                                               emissions averaging alternative is
                                                 reviewed the information submitted by                   are likely to emit at the level EPA                   explained in the following paragraphs.
                                                 the commenters and has decided to                       deemed appropriate for regulation.
                                                 exempt such engines from the                               Another commenter suggested that                   Emissions Limitations and Rationale
                                                 requirements of the final rule.                         the EPA should use a 150 ton per year
                                                 Exemption of emergency engines is                       threshold that the commenter alleges                    In developing the emissions limits for
                                                                                 EPA’s
                                                 generally consistent with the EPA's                     was used in the Revised CSAPR Update                  the Pipeline Transportation of Natural
                                                 treatment of emergency engines in other                 rulemaking so that stationary SI engines              Gas industry, the EPA reviewed RACT
                                                 CAA rulemakings. See, e.g., 40 CFR                      are regulated on equal footing with                   NOX rules, air permits, and OTC model
                                                                                                                                                               NOx
                                                 63.6585(f).
                                                 63.6585W. The EPA expects that this                     EGUs and raise the 1,000 hp threshold                 rules. While some permits and rules
                                                 change from the proposed rule                           to 2,000 hp, which according to the                   express engine emissions limits in parts
                                                 addresses the concerns expressed by the                 commenter would not sacrifice the                     per million by volume (ppmv), the
                                                 commenters about the requirements for                   emissions reductions to be achieved.                  majority of rules and source-specific
                                                 stationary emergency engines.                              Response: As explained in the
                                                                                                            Response:                                          requirements express the emissions
                                                    The final rule defines emergency                     proposal, the EPA found that most                     limits in grams per horsepower per hour
                                                 engines as engines that are stationary                  RACT requirements and other standards                 (g/hp-hr). The EPA has historically set
                                                 and operated to provide electrical power                reviewed by the EPA establish                         emissions limits for these types of
                                                 or mechanical work during an                            applicability criteria for engines based              engines using g/hp-hr and finds that
                                                 emergency situation. These engines are                  on design capacity rather than PTE. For               method appropriate for this final FIP
                                                                                                                                                                                                  FlP as
                                                 typically used only a few hours per                     consistency with preexisting                          well.
                                                 year, and the costs of emissions control                requirements for engines, the EPA                       Based on the available information for
                                                 are not warranted when compared to the                  selected a design capacity of 1,000 hp                this industry, including applicable State
                                                 emissions reductions that would be                      for engines to capture the sizes of units             and local air agency rules and active air
                                                 achieved.                                               identified in Step 3 of our analysis.                 permits issued to sources with similar
                                                    In the final rule, emergency engines                 Based on the Non-EGU Screening                        engines, the EPA is finalizing the
                                                 are subject to certain compliance                       Assessment memorandum, engines with                   following emissions limits for stationary
                                                 requirements on a continuous basis.                     a potential to emit of 100 tpy or greater             SI engines in the covered states.
                                                 Continuous compliance requirements                      had the most significant potential for                Beginning in the 2026 ozone season and
                                                 include operating limitations that apply                NOX emissions reductions. The EPA
                                                                                                         NOx                                                   in each ozone season thereafter, the
                                                 during non-emergency use but do not                     recognizes that the use of a 1,000 hp                 following emissions limits apply, based
ddrumheller on DSK120RN23PROD with RULES2




                                                 include emissions testing of emergency                  design capacity as part of the                        on a 30-day rolling average emissions
                                                 engines.                                                applicability criteria may capture low-               rate during the ozone season:




                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00169   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                                    Document #2009836                                          Filed: 07/27/2023                           Page 208 of 430
                                                 36822
                                                 36822                     Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                   Register/Vol.

                                                          TABLE VI.C-1—SUMMARY
                                                          TABLE VI.C–1—SUMMARY OF FINAL NO
                                                                                  FINAL   X E
                                                                                        NOx  MISSIONS L
                                                                                            EMISSIONS  IMITS FOR P
                                                                                                      LIMITS     PIPELINE TRANSPORTATION OF N
                                                                                                                  IPELINE TRANSPORTATION     ATURAL G
                                                                                                                                            NATURAL GAS
                                                                                                                                                     AS

                                                                                                                                                                                                                                   Final NOx
                                                                                                                                                                                                                                         NOX
                                                                                                                        Engine type and fuel                                                                                     emissions limit
                                                                                                                                                                                                                                    (g/hp-hr)
                                                 Natural Gas Fired Four Stroke Rich Burn .....................................................................................................................................                1.0
                                                 Natural Gas Fired Four Stroke Lean Burn ....................................................................................................................................                 1.5
                                                 Natural Gas Fired Two Stroke Lean Burn .....................................................................................................................................                 3.0


                                                    The EPA anticipates that, in some                                appropriate for four stroke lean burn                               provisions and criteria for establishing
                                                 cases, affected engines will need to                                engines.                                                            case-by-case alternative emissions limits
                                                         NOX controls to comply with the
                                                 install NOx                                                            Comment:
                                                                                                                        Comment: One commenter stated that                               in response to the concerns raised by
                                                 final emissions limits in Table VI.C-1.
                                                                                   VI.C–1.                           the limits as proposed were not                                     commenters. NSCR can achieve NOx   NOX
                                                 The emissions limits for four stroke rich                           technically feasible in all circumstances.                          reductions of 90 to 99 percent, and
                                                 burn engines, four stroke lean burn                                 The commenter explained that its                                    engines in California, Colorado,
                                                 engines and two stroke lean burn                                    company has 150 four stroke rich burn                               Pennsylvania and Texas have achieved
                                                 engines are designed to be achievable by                            engines in its fleet and that some of                               the emissions limits that the EPA had
                                                 installing Non-Selective Catalytic                                  those engines cannot achieve the                                    proposed. Based on this information
                                                 Reduction (NSCR) on existing four                                   proposed 1.0 g/hp-hr limit even with                                and the emissions limits and NOx NOX
                                                 stroke rich burn engines; installing SCR                            both NSCR and layered combustion due                                controls analysis developed by the OTC
                                                 on existing four stroke lean burn                                   to the vintage design of the individual                             in a report entitled Technical
                                                 engines; and retrofitting layer                                     cylinder geometry and the fact that most                            Information Oil and Gas Sector
                                                 combustion on existing two stroke lean                              of these engines are not in production                                           Stationary Sources of NOx
                                                                                                                                                                                         Significant Stationary              NOX
                                                 burn engines as identified in the Final                             today, which limits availability of parts                           Emissions (October 17, 2012), the EPA
                                                 Non-EGU Sectors TSD. Sources have the                               and retrofit technologies. The                                      is finalizing a 1.0 g/hp-hr emissions
                                                 flexibility to install any other control                            commenter asserted that 10 of its four                              limit for four stroke rich burn engines
                                                 technologies that enable the affected                               stroke rich burn engines have all                                   and a 1.5 g/hp-hr emissions limit for
                                                 units to meet the applicable emissions                              available controls on them and half of                              four stroke lean burn engines. The Final
                                                 limit on a continuous basis.                                        those still exceed the proposed limits.                             Non-EGU Sectors TSD provides a more
                                                    The EPA is establishing provisions                               The commenter estimated that 10 of its                              detailed explanation of the basis for
                                                                                                                     four stroke lean burn engines would                                 these emissions limits.
                                                 that allow any owner or operator of an
                                                 affected unit in the Pipeline                                       require SCR to meet the 1.5 g/hp-hr                                    To address the concerns raised by
                                                                                                                     limit and that this control installation                            some commenters that not all engines
                                                 Transportation of Natural Gas Industry
                                                 to propose a Facility-Wide Averaging                                would require custom retrofit due to the                            may be able to achieve the emissions
                                                                                                                     age of these engines. Furthermore, the                              limits as proposed due to engine vintage
                                                 Plan that would, if approved by EPA,
                                                 provide an alternative means for                                    commenter stated that if current limits                             and technical constraints, the final rule
                                                 compliance with the emissions limits in                             are not achievable in all circumstances,                            allows any owner or operator of an
                                                 this final rule. These provisions will                              then lower limits are likewise                                      affected unit to request a Facility-Wide
                                                 provide some flexibility to owners and                              impossible for four stroke rich burn                                Averaging Plan that would, if approved
                                                                                                                     engines and four stroke lean burn                                   by EPA, provide an alternative means
                                                 operators of affected units to determine
                                                                                                                     engines in even more circumstances.                                 for compliance with the emissions
                                                 which engines to control and at what
                                                                                                                     The commenter stated that the technical                             limits in the final rule. An approved
                                                 level, so long as the average emissions
                                                                                                                     feasibility of installing controls on any                           Facility-Wide Averaging Plan would
                                                 across all covered units, on a weighted
                                                 basis, meet the applicable emissions                                single existing engine varies and                                   allow the owner or operator of the
                                                                                                                     depends, in part, on site-specific and                              facility to identify the most cost-
                                                 limits for each engine type. This
                                                                                                                     engine-specific considerations such as                              effective means for installing the
                                                 approach allows facilities to target the
                                                                                                                     space for the installation of the control,                          necessary controls (i.e., by installing
                                                 most cost-effective emissions reductions
                                                 and to avoid installing controls on                                 the availability of sufficient power, the                           controls on the subset of engines that
                                                                                                                     emissions reductions required to meet                               provide the greatest emissions reduction
                                                 equipment that is infrequently operated.
                                                                                                                     the applicable standards, and the                                   potential at lowest costs). In addition to
                                                    We provide a more detailed                                       vintage, make, and model of a particular                            the Facility-Wide Averaging Plan
                                                 discussion of the basis for the final                               engine. Another commenter                                           provisions, the final rule allows owners
                                                 emissions limits and the anticipated                                recommended tightening the proposed                                 and operators to seek EPA approval of
                                                 control technologies to be installed in                             emissions standards for four stroke lean                            alternative emissions limits, on a case-
                                                 the Final Non-EGU Sectors TSD.                                      burn engines to an emissions limit                                  by-case basis, where necessary due to
                                                 Four Stroke Rich Burn and Four Stroke                                           Colorado’s limit of 1.2 g/hp-
                                                                                                                     similar to Colorado's                                               technical impossibility or to avoid
                                                 Lean Burn Engines                                                   hr. A third commenter noted that the                                extreme economic hardship. The
                                                                                                                     District of Columbia Department of                                  provisions governing case-by-case
                                                   The EPA requested comment on                                      Energy and Environment has NOx  NOX                                 alternative limits are explained in more
                                                 whether a lower emissions limit is
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                                     emissions limits for both rich- and lean                            detail in section VI.0
                                                                                                                                                                                                            VI.C of this document.
                                                 appropriate for four stroke rich burn                               burn engines burning natural gas at 0.7
                                                 engines since even an assumed                                       g/hp-hr.                                                            Two Stroke Lean Burn Engines
                                                 reduction of 95 percent would result in                                Response: The EPA is finalizing the
                                                                                                                        Response:                                                          The EPA requested comment on
                                                 most engines being able to achieve an                               emissions limits for both four stroke                               whether a lower emissions limit would
                                                 emissions rate of 0.5 g/hp-hr. The EPA                              rich burn engines and four stroke lean                              be achievable with layered combustion
                                                 also requested comment on whether a                                 burn engines as proposed but also                                   alone for the two stroke lean burn
                                                 lower or higher emissions limit is                                  establishing alternative compliance                                 engines covered by this final rule. The


                                            VerDate Sep<11>2014       20:14 Jun 02, 2023      Jkt 259001     PO 00000      Frm 00170      Fmt 4701      Sfmt 4700     E:\FR\FM\05JNR2.SGM          05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023               Page 209 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                                36823
                                                                                                                                                                                                        36823

                                                 EPA also sought comment on whether                      that a 3.0 g/hp-hr emissions limit                    installation of controls on equipment
                                                 these engines could install additional                  generally reflects a level of control that            that is infrequently operated or
                                                 control technology at or below the                      is cost-effective for the majority of the             otherwise less cost-effective to control).
                                                 marginal cost threshold to achieve a                    affected units and sufficient to achieve              So long as all of the emissions units
                                                 lower emissions rate.                                   the necessary emissions reductions. As                covered by the Facility-Wide Averaging
                                                    Comment:
                                                    Comment: Commenters did not                          explained in the proposed rule and                    Plan collectively emit less than or equal
                                                 specifically address whether a lower                    expressed by public commenters, if the                                         NOX emissions (in
                                                                                                                                                               to the total amount of NOx
                                                 emissions limit would be achievable                     EPA were to establish an emissions                    tons per day) that would be emitted if
                                                 with layered combustion alone at two                    limit lower than 3.0 g/hp-hr, some two                each covered unit individually met the
                                                 stroke lean burn engines. However, one                  stroke lean burn engines would not be                              NOX emissions limitations,
                                                                                                                                                               applicable NOx
                                                 commenter stated that older two stroke                  able to meet the emissions limit with                 the covered units will be in compliance
                                                 lean burn engines generally would not                   the installation of layered combustion                with the final rule. Under this
                                                 be able to achieve the proposed NOxNOX                  control alone. In that case, the lower                alternative compliance option, facilities
                                                 emissions limits. The commenter stated                  limit might require the installation of               have the flexibility to prioritize
                                                 that conversion kits are available for                  SCR, which the EPA did not find to be                 emissions reductions from larger, dirtier
                                                 several models that can reduce                          cost-effective for two stroke lean burn               engines.
                                                 emissions but that such kits are not                    engines in its Step 3 analysis.382
                                                                                                                                analysis.382 The                  Comment:
                                                                                                                                                                  Comment: Several commenters
                                                 made for all models, especially older                   Final Non-EGU Sectors TSD provides a                  recommended that the EPA promulgate
                                                 stationary engines. Commenters further                  more detailed explanation of the basis                emissions averaging provisions, as it did
                                                 stated that where conversion kits are not               for this emissions limit.                             in the 2004 NOx
                                                                                                                                                                             NOX SIP Call Phase 2 rule
                                                 available, a company would likely have                                     commenters’ concerns
                                                                                                            In response to commenters'                         (69 FR 21604), in which the EPA
                                                 no choice but to replace the older four                 about the difficulties involved in                    evaluated and supported reliance on
                                                 stroke or two stroke stationary engines,                retrofitting or replacing older stationary            emissions averaging for RICE in the
                                                 typically at a cost of $2 million to $4                 engines to achieve the EPA's
                                                                                                                                  EPA’s proposed               Pipeline Transportation of Natural Gas
                                                 million each.                                           emissions limit, the final rule allows                industry sector. The commenter stated
                                                    Two commenters stated that they are                  any owner or operator of an affected                            EPA’s guidance to states on
                                                                                                                                                               that the EPA's
                                                 required by their state agency to have                  unit to request a Facility-Wide                       developing an appropriate SIP in
                                                 RACT, BACT, or BART controls, at                        Averaging Plan that would, if approved                response to the SIP Call provided
                                                 minimum. Commenters stated that                         by EPA, provide an alternative means                                   ‘‘flexibility’’ to use a
                                                                                                                                                               companies the "flexibility"
                                                 requiring additional controls at facilities             for compliance with the emissions                     number of control options, as long as
                                                 already equipped with RACT, BACT or                     limits in the final rule. In addition to the          the collective result achieved the
                                                 BART control technologies would not                     Facility-Wide Averaging Plan                                     NOX reductions, and that many
                                                                                                                                                               required NOx
                                                 achieve the anticipated emissions                       provisions, the final rule allows owners              states built their revised SIPs around the
                                                 reductions due to operational factors                                                                         emissions averaging approach addressed
                                                                                                         and operators to seek EPA approval of
                                                 inherent in the preexisting and pre-                                                                          in this guidance document.
                                                                                                                                                                                   document.383383 One
                                                                                                         alternative emissions limits, on a case-
                                                 controlled equipment and that the                                                                             commenter recommended that the EPA
                                                                                                         by-case basis, where necessary due to
                                                 achievability of targeted control levels is                                                                   allow intra-state emissions averaging
                                                                                                         technical impossibility or to avoid
                                                 highly dependent upon a number of                                                                             across all pipeline RICE owned or
                                                                                                         extreme economic hardship. However,
                                                 variables at each facility.                                                                                   operated by the same company. Another
                                                    Another commenter suggested that                     in the context of older or "vintage,"
                                                                                                                                     ‘‘vintage,’’
                                                                                                         high-emitting engines in this industry                commenter asserted that units of certain
                                                 the EPA set lower limits for two stroke                                                                       vintages and units from certain
                                                 lean burn engines similar to the OTC-                   for which commenters claim emissions
                                                                                                         control technology retrofit is not                    manufacturers will not be able to meet
                                                 recommended limits in the range of 1.5-1.5–                                                                   the emissions rate limits the EPA had
                                                 2.0
                                                 2.0 g/hp-hr.
                                                                                                         feasible, the Agency anticipates taking
                                                                                                                                                               proposed. The commenter claimed that,
                                                    Response: Information currently                      into consideration the cost associated
                                                                                                         with alternative compliance strategies,               absent a system based on source-specific
                                                 available to the EPA indicates that the                                                                       emissions limits, emissions averaging is
                                                 amount of emissions reductions                          such as replacement with new, far more
                                                                                                         efficient and less polluting engines, in              one of the only practical mechanisms
                                                 achievable with layered combustion                                                                            for addressing these challenges.
                                                 controls is unit specific and can range                 evaluating claims of extreme economic
                                                                                                                                                                  One commenter stated that it had
                                                 from a 60  to 90
                                                         60 to 90 percent reduction in                   hardship.                                             evaluated the cost of controls for
                                                 NOX emissions. The EPA estimates that
                                                 NOx                                                     Facility-Wide Averaging Plan                          engines in its fleet and that the variety
                                                 existing uncontrolled two stroke lean                                                                         in cost-per-ton for each potential project
                                                 burn engines would need to reduce                         The EPA is finalizing regulatory text
                                                                                                         that provides for an emissions limit                  counsels for a more flexible approach,
                                                 emissions by up to 80 percent to comply                                                                       like an averaging program. Another
                                                 with a 3.0 g/hp-hr emissions limit. The                 compliance alternative using facility-
                                                                                                         level emissions averaging. An approved                commenter advocated for an emissions
                                                 EPA has found that engines in                                                                                 averaging plan that would allow an
                                                 California, Colorado, Pennsylvania and                  Facility-Wide Averaging Plan will allow
                                                                                                         the owner or operator of the facility to              engine-by-engine showing of economic
                                                 Texas have achieved these emissions                                                                           infeasibility to ensure a cost-effective
                                                 rates. Based on this information and the                average emissions across all
                                                                                                         participating units and thus to select the            application of the emissions standards,
                                                 emissions limits and NOxNOX controls                                                                          a reduced impact on natural gas
                                                 analysis developed by the OTC in a                      most cost-effective means for installing
                                                                                                         the necessary controls (i.e., by installing           capacity, and a means for addressing the
ddrumheller on DSK120RN23PROD with RULES2




                                                 report entitled Technical Information                                                                         problem presented by achieving
                                                 Oil and Gas Sector Significant                          controls on the subset of engines that
                                                 Stationary Sources of NOx
                                                 Stationary              NOX Emissions                   provide the greatest emissions reduction
                                                                                                                                                                  383 The commenter refers to an August 22, 2002
                                                                                                                                                                 383

                                                           17, 2012),
                                                 (October 17,  2012), the EPA is finalizing              potential at lowest costs and avoiding                memorandum from Lydia N. Wegman, Director,
                                                 a 3.0 g/hp-hr emissions limit for two                                                                         EPA, Air Quality Strategies and Standards Division
                                                                                                                87 FR
                                                                                                            382 87 FR 20036, 20143 (noting that an emissions   to EPA Air Division Directors, entitled "State
                                                                                                                                                                                                       ‘‘State
                                                 stroke lean burn engines. Although                      limit below 3.0 g/hp-hr may require some two          Implementation Plan (SIP) Call for Reducing
                                                 some affected units may be able to                      stroke lean burn engines to install additional        Nitrogen Oxides (NO  X)—Stationary Reciprocating
                                                                                                                                                                               (NOx)—Stationary
                                                 achieve a lower emissions rate, we find                 controls beyond the EPA’s
                                                                                                                              EPA's cost threshold).           Internal Combustion Engines."
                                                                                                                                                                                    Engines.’’



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00171   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                             Document #2009836                             Filed: 07/27/2023              Page 210 of 430
                                                 36824
                                                 36824                 Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 compliance on engines that are                            Wide Averaging Plan provisions, and                  emissions control installations for
                                                 technically impossible to retrofit.                       the number of affected units that would              certain stationary SI engines, by
                                                    One commenter stated that the EPA                      install controls under such an emissions             allowing facility owners and operators
                                                 should also consider allowing                             averaging plan, the EPA conducted an                 to average emissions across all
                                                 companies to choose a mass-based                          analysis on a subset of the estimated                participating units and thus to select the
                                                 alternative that would ensure emissions                   3,005 stationary IC engines subject to               most cost-effective means for installing
                                                 reductions align with the tons per year                   the final rule. The EPA evaluated the                the necessary controls (i.e., by installing
                                                 reductions upon which the EPA based                                         NOX emissions data in
                                                                                                           reported actual NOx                                  controls on the subset of engines that
                                                 its significant contribution and over-                    tpy from a subset of facilities in the               provide the greatest emissions reduction
                                                 control analyses.                                         covered states using 2019 NEI data for               potential at lowest costs and avoiding
                                                    Response: Based upon the EPA's EPA’s 2019              stationary IC engines with design                    installation of controls on equipment
                                                 NEI emissions inventory data, the EPA                     capacities of 1,000 hp or greater. The               that is infrequently operated or
                                                 estimates that a total of 3,005 stationary                EPA then identified a number of                      otherwise less cost-effective to control).
                                                 SI engines are subject to the final rule.                 facilities that have more than one                     An owner or operator of a facility
                                                 The EPA recognizes that many low-use                      affected engine, calculated each                     containing more than one affected unit
                                                 engines are captured by the 1,000 hp                      facility’s            ‘‘cap’’ as the total
                                                                                                           facility's emissions "cap"                           may elect to use an EPA-approved
                                                 design capacity applicability threshold.                  NOX emissions (in tpy) allowed facility-
                                                                                                           NOx                                                  Facility-Wide Averaging Plan as an
                                                 In the process of reviewing public                        wide based on the unit-specific NOx NOX              alternative means of compliance with
                                                 comments, the EPA reviewed emissions                      emissions limits applicable to all                       NOX emissions limits in § 52.41(c).
                                                                                                                                                                the NOx
                                                 averaging plans found in state air                        affected units at the facility, and                  The owner or operator of such a facility
                                                 quality rules for Colorado, Illinois,                     identified a number of higher-emitting               must submit a request to the EPA that,
                                                 Louisiana, New Jersey, and                                engines at each facility that were                   among other things, specifies the
                                                 Tennessee.384 Based on these additional
                                                 Tennessee.384                                             candidates for having controls installed.            affected units that will be covered by
                                                 reviews, the EPA is finalizing in                         For engines that EPA identified were                 the plan, provides facility and unit-level
                                                 § 52.41(c) of this final rule an emissions                likely to install controls, the EPA                  identification information, identifies the
                                                 limit compliance alternative using                        assumed that four stroke rich burn                                             ‘‘cap’’ (in tpd)
                                                                                                                                                                facility-wide emissions "cap"
                                                 facility-level emissions averaging.                       engines, four stroke lean burn engines,              that the facility must comply with on a
                                                 Emissions averaging plans will allow                      and two stroke lean burn engines could               30-day rolling average basis, and
                                                 facility owners and operators to                                      NOX emissions rate of 0.5 g/
                                                                                                           achieve a NOx                                        provides the calculation methodology
                                                 determine how to best achieve the                         hp-hr with the installation of SCR based             used to demonstrate compliance with
                                                 necessary emissions reductions by                         on data obtained from the Ozone                      the identified emissions cap. The EPA
                                                 installing controls on the affected                       Transport Commission report entitled                 will approve a request for a Facility-
                                                 engines with the greatest emissions                       Technical Information Oil and Gas                    Wide Averaging Plan if the EPA
                                                 reduction potential rather than on units                  Sector Significant Stationary
                                                                                                                                Stationary Sources of           determines that the facility-wide
                                                 with lower actual emissions where the                     NOX Emissions (October 17, 2012). For
                                                                                                           NOx                                                  emissions total (in tpd), based on a 30-
                                                 installation of controls would be less                    the remaining engines identified as                  day rolling emissions average basis
                                                 cost effective. The final rule defines                    uncontrolled, the EPA assumed a NOx   NOX            during the ozone season, is less than the
                                                 ‘‘facility’’ consistent with the definition
                                                 "facility"                                                emissions rate of 16 g/hp-hr for all                 emissions cap (in tpd) and the plan
                                                 of this term as it generally applies in the               engine types. Thus, under the assumed                establishes satisfactory means for
                                                 EPA’s NSR and title V permitting
                                                 EPA's                                                     averaging scenarios, engines with                    determining initial and continuous
                                                 regulations,  385 with one addition to
                                                 regulations,385                                           controls installed would achieve                     compliance, including appropriate
                                                 make clear that, for purposes of this                     emissions levels below the emissions                 testing, monitoring, and recordkeeping
                                                 final rule, a "facility"
                                                                ‘‘facility’’ may not extend                limits in the final rule and would offset            requirements.
                                                 beyond the boundaries of the 20 states                    the higher emissions from the remaining              Compliance Assurance Requirements
                                                 covered by the FIP for industrial                         uncontrolled units.
                                                 sources, as identified in § 52.40(b)(2).                     The EPA then calculated the total                   The EPA is requiring owners and
                                                 Because a facility cannot extend beyond                   facility-wide emissions (in tpy) under               operators of affected units to conduct
                                                 this geographic area, a Facility-Wide                     various assumed averaging scenarios                  annual performance tests in accordance
                                                 Averaging Plan also cannot extend                         and compared those totals to each                    with 40 CFR 60.8 to demonstrate
                                                 beyond the 20-state area covered by the                   facility’s
                                                                                                           facility's calculated emissions cap (in              compliance with the NOx NOX emissions
                                                 FIP.                                                      tpy) to estimate the number of affected              limit in this final rule. The EPA is also
                                                    To estimate the number of facilities                   units at each facility that would need to            requiring owners and operators to
                                                 that may take advantage of the Facility-                  install controls to ensure that total                monitor and record hours of operation
                                                                                                           facility-wide emissions remained below               and fuel consumption and to use
                                                    384
                                                    384 See Code of Colorado Regulations, Regulation       the emissions cap. Based on these                    continuous parametric monitoring
                                                 Number 7 (5 CCR 1001-9),
                                                                      1001–9), Part E, Section I.D.5.c.,   analyses, the EPA found that emissions               systems to demonstrate ongoing
                                                 Illinois Administrative Code, Title 35, Section           averaging should allow most facilities to            compliance with the applicable NOxNOX
                                                 217.390, Louisiana Administrative Code, Title 33,                                                              emissions limit. For example, owners
                                                 Section 2201, New Jersey Administrative Code,             install controls on approximately one-
                                                 Title 7, Chapter 27, Section 19.6, and Rules of the       third of the engines at their sites, on              and operators of engines that utilize
                                                 Tennessee Dept. of Environment and Conservation,          average, while complying with the                    layered combustion controls will need
                                                        1200–03–27–.09.
                                                 Rule 1200-03-27—.09.                                                   NOX emissions cap on a
                                                                                                           applicable NOx                                       to monitor and record temperature, air
                                                    385 See 40 CFR 51.165(a)(1)(ii)(A), 51.166(b)(6)(i),
                                                    385
                                                                                                                                                                to fuel ratio, and other parameters as
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                           facility-wide basis. For a more detailed
                                                 and 52.21(b)(6)(i) (defining "building,
                                                                                ‘‘building, structure,
                                                 facility, or installation’’
                                                              installation" for Nonattainment New          discussion of the EPA's
                                                                                                                               EPA’s analysis and               appropriate to ensure that combustion
                                                 Source Review and Prevention of Significant               related assumptions, see the Final Non-              conditions are optimized to reduce NOxNOX
                                                 Deterioration permits) and Natural Resources              EGU Sectors TSD.                                     emissions and assure compliance with
                                                 Defense Council v. EPA, 725 F.2d 761 (D.C. Cir.              The Facility-Wide Averaging Plan                  the emissions limit. For engines using
                                                 1984) (vacating and remanding EPA's EPA’s categorial
                                                 exclusion of vessel activities from this definition);
                                                                                                           provisions that the EPA is finalizing                SCR or NSCR, owners and operators
                                                 see also 40 CFR 70.2 (defining "major
                                                                                    ‘‘major source"
                                                                                            source’’ for   provide the flexibility needed to address            must monitor and record parameters
                                                 title V operating permits).                               the concerns about the costs of                      such as inlet temperature to the catalyst


                                            VerDate Sep<11>2014    20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00172   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 211 of 430
                                                                      Federal Register / Vol. 88, No. 107/Monday,
                                                                                                      107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules                                                             36825
                                                                                                                                                                                                   36825

                                                 and pressure drop across the catalyst.                  EPA is revising the frequency of                       units in the Pipeline Transportation of
                                                 For affected engines that meet the                      required performance tests from a semi-                Natural Gas industry and agrees that it
                                                 certification requirements of                           annual basis to once per calendar year.                is not necessary to require CEMS for
                                                 § 60.4243(a), however, the facility-wide                As commenters correctly pointed out,                   purposes of compliance with the
                                                 emissions calculations may be based on                  the emissions limits in these final FIPs               requirements of this final rule for this
                                                 certified engine emissions standards                    only apply during the 5-month ozone                    industry. Accordingly, the EPA is not
                                                 data pursuant to § 60.4243(a), instead of               season and testing once per calendar                   finalizing requirements for affected
                                                 performance tests.                                      year should be sufficient to confirm the               units in this industry sector to install or
                                                   In calculating the facility-wide                      accuracy of the parameters being                       operate CEMS. Instead, the EPA is
                                                 emissions total during the ozone season,                monitored to determine continuous                      requiring parametric monitoring
                                                 affected engines covered by the Facility-               compliance during the ozone season.                    protocols, as described earlier, coupled
                                                 Wide Averaging Plan must be identified                  The EPA also agrees with commenters                    with an annual performance test, which
                                                 by each engine’s
                                                           engine's nameplate capacity in                that the annual tests required under the               will ensure that the emissions limits are
                                                 horsepower, its actual operating hours                  final rule need not occur during the                   legally and practically enforceable on a
                                                 during the ozone season, and its                        ozone season. However, where sources                   continuous basis, and that data are
                                                 emissions rates in g/hp-hr from certified               are able to do so, we recommend                        recorded, reported, and can be made
                                                 engine data or from the most recent                     conducting a stack test in the period                  publicly available, ensuring the ability
                                                 performance test results for non-                       relatively soon before the start of the                of state and Federal regulators and other
                                                 certified engines according to § 52.41(e).              ozone season. This would provide the                   persons under CAA sections 113 and
                                                   Comment:
                                                    Comment: Several commenters stated                   greatest assurance that the emissions                  304 to enforce the requirements of the
                                                 that semi-annual performance testing                    control systems are working as intended                Act.
                                                 would not be appropriate due to its high                and the applicable emissions limit will
                                                                                                                                                                2. Cement and Concrete Product
                                                 costs and limited benefits. One                         be met when the ozone season starts.
                                                                                                                                                                Manufacturing
                                                 commenter proposed a "step-down"
                                                                            ‘‘step-down’’                   Comment: Commenters generally
                                                 testing alternative that could be                       stated that requiring CEMS would add                   Applicability
                                                 conducted after establishing an engine’s
                                                                                     engine's            an unnecessary cost and complexity,
                                                 initial compliance via performance                      would provide no emissions reduction                    For cement kilns in the Cement and
                                                 testing. Under this approach, owners                    benefit for the affected units the                    Cement Product Manufacturing
                                                 and operators would conduct one                         proposed FIP
                                                                                                                    FlP intends to control and are             industry, the EPA is finalizing the
                                                 performance test and would only need                    not warranted due to the availability of              proposed applicability provisions
                                                 to conduct a second performance test                    other established methods of                          without change. The affected units in
                                                 within a given year if the first                        compliance assurance, such as                         this industry are cement kilns that emit
                                                 performance test demonstrated that an                   parametric monitoring and periodic                    or have a PTE of 100 tpy or more of
                                                 engine was not meeting the applicable                   testing. One commenter stated that                    NOX. The EPA received comments
                                                                                                                                                               NOx.
                                                 emissions standards.                                    requiring CEMS would add unnecessary                  regarding the definition of PTE, which
                                                   Another commenter asserted that to                    CEMS testing obligations. Another                     we address in section VI.C, but no
                                                 test all of its 950 units, a minimum of                 commenter stated that the costs                       comments concerning the 100 tpy PTE
                                                 12 months would be needed rather than                   associated with CEMS and frequent                     threshold for applicability purposes.
                                                 the six months the EPA had proposed to                  performance testing on affected RICE                  Emissions Limitations and Rationale
                                                 provide (or five months if the EPA                      would be as much, if not more, than the
                                                 would require one of the semi-annual                    costs associated with installation and                   As explained in the proposal, the EPA
                                                 tests to be conducted during the ozone                  operation of some of the control                      based the proposed emissions limits for
                                                 season). The commenter stated that the                  technologies EPA has considered in                    cement kilns on the types of limits being
                                                 EPA had accounted for these                             setting the proposed emissions limits.                met across the nation in RACT NOx NOX
                                                 operational realities in the past and that              According to one commenter, the EPA                   rules, NSPS, air permits, and consent
                                                 under the NSPS and NESHAP, testing is                   has traditionally agreed with this                    decrees. Based on these requirements,
                                                 generally required only once for every                  viewpoint on the high cost of CEMS, as                the EPA proposed emissions limits in
                                                 8,760 hours of run time. The commenter                  most stationary engines are not                       the form of mass of pollutant emitted (in
                                                 asserted that there is no reason to                     currently required under the NSPS or                  pounds) per kiln’s
                                                                                                                                                                              kiln's clinker output (in
                                                 require more frequent testing than those                NESHAP to install or operate CEMS.                    tons), i.e., pounds of NOx
                                                                                                                                                                                       NOX emitted per
                                                 required under the NSPS and NESHAP.                        Another commenter stated that in                   ton of clinker produced during a 30-
                                                   Several commenters requested that                     addition to cost, there are other barriers            operating day rolling average period.
                                                 the EPA allow for reduction in the                      to installing CEMS on RICE across the                 Further, the EPA proposed specific
                                                 frequency of testing to once every two                  Pipeline Transportation of Natural Gas                emissions limits for long wet, long dry,
                                                 years if testing shows that NOxNOX                      industry. Many RICE in the Pipeline                   preheater, precalciner, and combined
                                                 emissions are no more than 75 percent                   Transportation of Natural Gas industry                preheater/precalciner kilns. The EPA
                                                 of permitted NOxNOX emissions limits. In                are located at remote, unstaffed                      also proposed a daily source cap limit
                                                 addition, several commenters stated that                locations, meaning that there would be                that would apply to all units at a
                                                 since the rule is intended to address the               no staff available to respond and react               facility. Based on information received
                                                 ozone season, a single, annual test is                  to communication or alarms from                       from public comments, the EPA is
ddrumheller on DSK120RN23PROD with RULES2




                                                 more feasible than semi-annual testing                  CEMS.                                                 removing the daily source cap limit but
                                                 and reporting.                                             Response: The EPA acknowledges the
                                                                                                            Response:                                          finalizing the emissions limits as
                                                   Response: For the stationary SI                       costs associated with the installation                proposed in all other respects, as shown
                                                 engines subject to this final rule, the                 and maintenance of CEMS at affected                   in Table VI.C-2.
                                                                                                                                                                          VI.C–2.




                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00173   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                                          Document #2009836                                                Filed: 07/27/2023                                Page 212 of 430
                                                 36826
                                                 36826                        Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                      Register/Vol.

                                                            TABLE VI.C-2—SUMMARY
                                                            TABLE VI.C–2—SUMMARY OF NOX E
                                                                                    NOx  MISSIONS L
                                                                                        EMISSIONS  IMITS FOR K
                                                                                                  LIMITS     KILN TYPES IN CEMENT
                                                                                                              ILN TYPES    CEMENT AND CONCRETE
                                                                                                                                      CONCRETE PRODUCT
                                                                                                                                               PRODUCT
                                                                                                 M
                                                                                                 MANUFACTURING
                                                                                                   ANUFACTURING

                                                                                                                                      Kiln type                                                                                              NOx
                                                                                                                                                                                                                                             NOX emissions limit
                                                                                                                                                                                                                                              (lb/ton of clinker)

                                                 Long Wet ...............................................................................................................................................................................                      4.0
                                                 Long Dry ................................................................................................................................................................................                     3.0
                                                 Preheater ...............................................................................................................................................................................                     3.8
                                                 Precalciner .............................................................................................................................................................................                     2.3
                                                 Preheater/Precalciner ............................................................................................................................................................                            2.8


                                                   Comment:
                                                    Comment: Numerous commenters                                             ozone season emissions limits for                                           sources is provided in section VI.A.
                                                 raised concerns about designing a                                           individual kiln types listed in Table                                       Regarding the comment that certain
                                                 source cap limit based on average                                           VI.C–2 will achieve the necessary
                                                                                                                             VI.C-2                                                                      facilities may already have SNCR
                                                 annual production in tons of clinker and                                    emissions reductions for purposes of                                        control technology installed, we
                                                 kiln type. Commenters stated that the                                       eliminating significant contribution as                                     recognize that many sources throughout
                                                 source cap limit equation as used in a                                      defined in section V and is, therefore,                                     the EGU sector and non-EGU industries
                                                 prior action applied to long wet and dry                                    finalizing these emissions limitations                                      covered by this rule may already be
                                                 preheater-precalciner or precalciner                                        without change.                                                             achieving enforceable emissions
                                                 kilns and did not include other kiln                                           Comment:
                                                                                                                                Comment: One commenter supported                                         performance commensurate with the
                                                 types. Commenters expressed concern                                         retirement of existing long wet kilns and                                   requirements of this action. This is
                                                 that the CAP2015 Ozone Transport                                            replacement of these kilns with modern                                      entirely consistent with the logic of our
                                                 equation the EPA proposed in this rule                                      kilns. Other commenters opposed the
                                                                                                                                                                                                         4-step interstate transport framework,
                                                 could lead to artificially low and                                          phase out and retiring of these kilns,
                                                 restrictive daily emissions caps for                                        stating that many of the screened kilns                                     which is designed to bring all covered
                                                 facilities that experienced a temporary                                     have SNCR already installed and                                             sources within the region of linked
                                                 decrease in production due to the                                           questioning whether replacement of                                          upwind states up to a uniform level of
                                                 COVID–19 pandemic, during the
                                                 COVID-19                                                                    existing long wet kilns is cost-effective.                                  NOX emissions performance during the
                                                                                                                                                                                                         NOx
                                                 historical three-year period proposed for                                   Some commenters also stated that                                            ozone season. See EME Homer City, 572
                                                 use in determining the NOx
                                                                          NOX source cap.                                                  EPA’s "NOx
                                                                                                                             according to EPA's   ‘‘NOX Control                                          U.S. at 519. Sources that are already
                                                 Also, commenters expressed concern                                          Technologies for the Cement Industry,                                       achieving that level of performance will
                                                 that the proposed daily emissions cap                                       Final Report,"
                                                                                                                                   Report,’’ SNCR is not an                                              face relatively limited compliance costs
                                                 limit originated as a local or regional                                                  NOX control technique for
                                                                                                                             appropriate NOx                                                             associated with this rule.
                                                 limit for a single county and would not                                     long wet kilns.
                                                 be appropriate for national application                                                                                                                 Compliance Assurance Requirements
                                                                                                                                Response: The EPA appreciates the
                                                                                                                                Response:
                                                 without further evaluation taking into                                      challenges identified by commenters,                                           The EPA received no comments on
                                                 account the specific characteristics of                                     such as site-specific technical                                             the proposed test methods and
                                                 cement kilns in other states. One                                           evaluation and review and significant                                       procedures provisions for the cement
                                                 commenter suggested more stringent                                          capital investment associated with                                          industry. Therefore, we are finalizing
                                                 emissions limits than those the EPA had                                     undertaking kiln conversions or to                                          the proposed test methods and
                                                 proposed for individual kiln types.                                         install new kilns and is not finalizing
                                                   Response: The EPA is not finalizing
                                                   Response:                                                                                                                                             procedures for affected cement kilns
                                                                                                                             any requirements to replace existing
                                                 the proposed daily source cap limit as                                                                                                                  without change.
                                                                                                                             long wet kilns in this rule.
                                                 the Agency agrees with the commenters                                          Comment:
                                                                                                                                Comment: Several commenters                                                 Comment:
                                                                                                                                                                                                            Comment: Commenters generally
                                                 that this proposed limit would be                                           expressed concern about the supply                                          supported requiring performance testing
                                                 unnecessarily restrictive and was based                                     chain issues relevant to the                                                or installation of CEMS on affected
                                                 on a formula that did not include all                                       procurement, design, construction, and                                      cement kilns. Some commenters
                                                 kiln types. Given the unusual reduction                                     installation of control devices, as well as                                 suggested that no performance testing
                                                 in cement production activities due to                                      securing related contracts, for the                                         should be required and others suggested
                                                     COVID–19 pandemic, production
                                                 the COVID-19                                                                cement industry, particularly when                                          that performance testing should only be
                                                 rates during the 2019–2021
                                                                   2019-2021 period are                                      cement sources will be competing with                                       required when a title V permit is due for
                                                 not representative of cement plants                                         the EGU and other industrial sectors for                                    renewal (every 5 years). One commenter
                                                 activities generally. Accordingly, use of                                   similar services. One commenter stated                                      suggested requiring sources to conduct
                                                 the proposed daily source cap limit                                         that many preheater/precalciner kilns                                       stack tests during the ozone season.
                                                 would result in an artificially restrictive                                 are already equipped with SNCR and
                                                 NOX emissions limit for affected cement
                                                 NOx                                                                         that one facility not equipped with                                            Response: Affected kilns that operate
                                                 kilns, particularly when this sector                                        SNCR is already meeting NOx NOX emissions                                     NOX CEMS may use CEMS data
                                                                                                                                                                                                         a NOx
                                                 operates longer hours during the spring                                     levels of 1.95 lb/ton of clinker or less.                                   consistent with the requirements of 40
                                                 and summer construction season. With                                        The commenter stated that the EPA                                           CFR 60.13 in lieu of performance tests
                                                                                                                                                                                                         to demonstrate compliance with the
ddrumheller on DSK120RN23PROD with RULES2




                                                 respect to those comments supporting                                        should revise its assessment of potential
                                                 more stringent emissions limits than                                        NOX reductions and cost estimates by
                                                                                                                             NOx                                                                         requirements of this final rule. For
                                                 those the EPA proposed for individual                                       accurately accounting for existing                                          affected kilns subject to this final rule
                                                 kiln types, we disagree given the                                           operating efficiencies and control                                          that do not employ NOx
                                                                                                                                                                                                                              NOX CEMS, the EPA
                                                 significant differences among different                                     devices at cement kilns.                                                    is adjusting the performance testing
                                                 kilns in design, configuration, age, fuel                                      Response: The EPA's
                                                                                                                                Response:       EPA’s response to                                        frequency and requiring kilns to
                                                 capabilities, and raw material                                              comments on the time needed for                                             conduct a performance test on an
                                                 composition. The EPA finds that the                                         installation of controls for non-EGU                                        annual basis during a given calendar


                                            VerDate Sep<11>2014         20:14 Jun 02, 2023         Jkt 259001       PO 00000        Frm 00174       Fmt 4701       Sfmt 4700       E:\FR\FM\05JNR2.SGM              05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 213 of 430
                                                                      Federal Register / Vol. 88, No. 107 //Monday,
                                                                                                            Monday, June 5, 2023 //Rules
                                                                                                                                   Rules and Regulations                                           36827
                                                                                                                                                                                                   36827

                                                 year.386 The EPA finds that annual
                                                 year.386                                                tpy or more of NOx.
                                                                                                                          NOX. After review of all             furnaces (oxy-fuel burners), and many
                                                 performance testing and recordkeeping                   available information received during                 other examples at refineries and other
                                                 of cement production and fuel                           public comment, the EPA has                           large industrial facilities. The EPA
                                                 consumption during the ozone season                     determined that there is sufficient                   anticipates that with adequate time,
                                                 will assure compliance with the                         information to determine that low-NO
                                                                                                                                         low-NOx X             modeling, and optimization efforts, such
                                                 emissions limits during the ozone                       burners can be installed on reheat                    NOX reduction technology may be
                                                                                                                                                               NOx
                                                 season (May through September) each                     furnaces. As explained further in the                 achievable and cost-effective for these
                                                 year for purposes of this rule. The                     Final Non-EGU Sectors TSD, the EPA                    emissions units in the Iron and Steel
                                                 required annual performance test may                    identified 32 reheat furnaces with low-               Mills and Ferroalloy Manufacturing
                                                 be performed at any time during the                     NOX burners installed and has
                                                                                                         NOx                                                   sector as well. However, the data we
                                                 calendar year. However, where sources                                     low-NOX burners are a
                                                                                                         concluded that low-NOx                                have reviewed is insufficient at this
                                                 are able to do so, we recommend                         readily available and widely                          time to support a generalized
                                                 conducting a stack test in the period                   implemented emissions reduction                       conclusion that the application of NOx NOX
                                                 relatively soon before the start of the                 strategy.387 This rule defines reheat
                                                                                                         strategy.387                                          controls, including SCR or other NOx  NOX
                                                 ozone season. This would provide the                    furnaces to include all furnaces used to              control technologies such as LNB, is
                                                 greatest assurance that the emissions                   heat steel product—metal ingots, billets,             currently both technically feasible and
                                                 control systems are working as intended                 slabs, beams, blooms and other similar                cost effective on a fleetwide basis for
                                                 and the applicable emissions limit will                 products—to temperatures at which it                  these emission source types in this
                                                 be met when the ozone season starts.                    will be suitable for deformation and                  industry. We provide a more detailed
                                                    Comment:
                                                    Comment: One commenter stated that                   further processing.                                   discussion of the economic and
                                                 CEMS has been used successfully at its                     Comment:
                                                                                                            Comment: Several industry                          technical issues associated with
                                                 facility. Another commenter explained                   commenters requested that the EPA not                 implementation of NOxNOX control
                                                 that the inside of a cement kiln is an                  include certain iron and steel emissions              technologies on these emissions units,
                                                 extremely challenging environment for                   units—including blast furnaces, basic                 including information provided by
                                                 making any kind of continuous                           oxygen furnaces (BOFs), ladle and                     commenters, in section 4 of the Final
                                                 measurement as temperatures are high,                   tundish preheaters, annealing furnaces,               Non-EGU Sectors TSD.
                                                 and there is a lot of dust and tumbling                 vacuum degassers, taconite kilns, coke                   Reheat furnaces are the only type of
                                                 clinker can damage in situ measuring                    ovens, and electric arc furnaces                      emissions unit within the Iron and Steel
                                                 instruments.                                            (EAFs)—in the final rule as proposed                  Mills and Ferroalloy Manufacturing
                                                    Response: The majority of cement                     due to, among other things, the                       industry that this final rule applies to.
                                                 kilns in the United States are already                  uniqueness of each emissions unit,                    Low-NO
                                                                                                                                                               Low-NOx  X controls (e.g., low-NO
                                                                                                                                                                                          low-NOx   X
                                                 equipped with CEMS. However, in                         various design-related challenges, and
                                                 response to commenters concerns                                                                               burners) are a demonstrated control
                                                                                                         expected impossibility of successful
                                                 regarding the installation of CEMS, the                                                                       technology that many reheat furnaces
                                                                                                         implementation of add-on NOx NOX control
                                                 EPA is finalizing alternative compliance                                                                      have successfully employed.
                                                                                                         technology. Commenters expressed
                                                 requirements in lieu of CEMS. Owners                                                                             Comment:
                                                                                                                                                                  Comment: One commenter claimed
                                                                                                         concern about requirements to install
                                                 or operators of affected emissions units                SCR for all iron and steel units for                  that the proposed definition of "reheat
                                                                                                                                                                                                  ‘‘reheat
                                                 without CEMS installed must conduct                                                                           furnaces’’
                                                                                                                                                               furnaces" is overly vague and requested
                                                                                                         which the EPA proposed emissions
                                                 annual performance testing and                          limits. The commenters stated that iron               that the EPA amend the definition.
                                                 continuous parametric monitoring to                     and steel units had not installed SCR                 Specifically, the commenter asserted
                                                 demonstrate compliance with the                         except in a few rare instances for                             EPA’s proposed definition does
                                                                                                                                                               that the EPA's
                                                 emissions limits in this final rule.                    experimental reasons and that SCR                     not indicate what counts as "steel
                                                                                                                                                                                              ‘‘steel
                                                 Specifically, owners or operators of                    technology was not readily available or               product’’
                                                                                                                                                               product" and whether this includes
                                                 affected units without CEMS must                        known for the iron and steel industry,                only products that have already been
                                                 monitor and record stack exhaust gas                    unlike the control technologies expected              manufactured into some form before
                                                 flow rate, hourly production rate, and                  to be installed in other non-EGU                      being introduced to a reheat furnace, or
                                                 stack exhaust temperature during the                    industries. Furthermore, commenters                   whether it also includes steel that has
                                                 initial performance test and subsequent                 stated that SCR had not been applied for              never left the original production
                                                 annual performance tests to assure                      RACT, BACT, or LAER purposes on iron                  process, such as hot steel coming
                                                 compliance with the applicable                          and steel units.                                      directly from a connected casting
                                                 emissions limit. The owner or operator                     Response: In light of the comments
                                                                                                            Response:                                          process which has not yet been formed
                                                 must then continuously monitor and                      we received on the complex economic                   into a definitive product. The
                                                 record those parameters to demonstrate                  and, in some cases, technical challenges              commenter referenced the definition of
                                                 continuous compliance with the NOx NOX                  associated with implementation of NOxNOX              reheat furnaces in Ohio's
                                                                                                                                                                                   Ohio’s RACT
                                                 emissions limits.                                       control technologies on certain                       regulations as an example to consider.
                                                                                                         emissions units in this sector, the EPA                  Response: In response to these
                                                 3. Iron and Steel Mills and Ferroalloy                  is not finalizing the proposed emissions              comments, the EPA is finalizing a
                                                 Manufacturing                                           limits for blast furnaces, BOFs, ladle                definition of reheat furnaces that is
                                                 Applicability                                           and tundish preheaters, annealing                     consistent with the definition in Ohio's
                                                                                                                                                                                                     Ohio’s
                                                                                                         furnaces, vacuum degassers, taconite                  NOX RACT regulations. See Ohio
                                                                                                                                                               NOx
                                                    The EPA is establishing emissions
                                                 control requirements for the Iron and                   kilns, coke ovens, or EAFs.                           Admin. Code 3745–110–01(b)(35)
                                                                                                                                                                              3745-110-01(b)(35)
ddrumheller on DSK120RN23PROD with RULES2




                                                 Steel Mills and Ferroalloy                                 The EPA is aware of many examples                  (March 25, 2022). Specifically, the EPA
                                                                                                         of low-NO
                                                                                                            low-NOx  X technology utilized at                  is defining reheat furnaces to mean "all‘‘all
                                                 Manufacturing source category that
                                                                                                         furnaces, kilns, and other emissions                  furnaces used to heat steel product,
                                                 apply to reheat furnaces that directly
                                                 emit or have the potential to emit 100                  units in other sectors with similar                   including metal ingots, billets, slabs,
                                                                                                         stoichiometry, including taconite kilns,              beams, blooms and other similar
                                                   366 40 CFR 63.11237 "Calendar
                                                   386                   ‘‘Calendar year"
                                                                                    year’’ defined as    blast furnace stoves, electric arc                    products, to temperatures at which it
                                                 the period between January 1 and December 31,                                                                 will be suitable for deformation and
                                                 inclusive, for a given year.                              387
                                                                                                           387   See Final Non-EGU Sectors TSD, Section 4.     further processing.’’
                                                                                                                                                                       processing."


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00175   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 214 of 430
                                                 36828
                                                 36828                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 Emissions Control Requirements,                         installed low-NOx
                                                                                                                    low-NOX burners and are                     installed, high-efficiency low-NO
                                                                                                                                                                                            low-NOx X
                                                 Testing, and Rationale                                                                  rates.388
                                                                                                         achieving various emissions rates.388                  burners. Many sources throughout the
                                                                                                            Due to variations in the emissions                  EGU sector and non-EGU industries
                                                   Based on the available information for                rates that different types of reheat                   covered by this rule may already be
                                                 this industry, applicable Federal and                   furnaces can achieve, the EPA is not                   achieving enforceable emissions
                                                 state rules, and active air permits or                  finalizing one emissions limit for all                 performance commensurate with the
                                                 enforceable orders issued to affected                   reheat furnaces and is instead requiring               requirements of this action. This is
                                                 facilities in the iron and steel and                    the installation of low-NO
                                                                                                                             low-NOx  X burners or              entirely consistent with the logic of our
                                                 ferroalloy manufacturing industry, the                  equivalent low-NOx
                                                                                                                      low-NOX technology                        4-step interstate transport framework,
                                                 EPA is finalizing requirements for each                 designed to achieve a minimum 40                       which is designed to bring all covered
                                                 facility with an affected reheat furnace                percent reduction from baseline NOx NOX                sources within the region of linked
                                                 to design, fabricate and install high-                  emission levels, together with source                  upwind states up to a uniform level of
                                                              low-NOX burners designed to
                                                 efficiency low-NOx                                      specific emissions limits to be set                    NOX emissions performance during the
                                                                                                                                                                NOx
                                                          NOX emissions from pre-
                                                 reduce NOx                                              thereafter based on performance testing.               ozone season. See EME Homer City, 572
                                                 installation emissions rates by at least                Specifically, the final rule requires that             U.S. at 519. Sources that are already
                                                 40 percent by volume, and to conduct                    each owner or operator of an affected                  achieving that level of performance will
                                                 performance testing before and after                    unit submit to the EPA, within one year                face relatively limited compliance costs
                                                 burner installation to set emissions                    after the effective date of the final rule,            associated with this rule.
                                                 limits and verify emissions reductions                  a work plan that identifies the low-NO
                                                                                                                                           low-NOx  X              The EPA is finalizing requirements for
                                                 from pre-installation emissions rates.                  burner or alternative low-NO
                                                                                                                                low-NOx  X                      reheat furnaces to install high-efficiency
                                                 Each low-NO
                                                       low-NOx   X burner shall be designed
                                                                                                         technology selected, the phased                        low-NO
                                                                                                                                                                low-NOx  X burners designed to reduce

                                                 to achieve at least 40 percent NOx
                                                                                  NOX                    construction timeframe by which the                    NOX emissions from pre-installation
                                                                                                                                                                NOx
                                                 reduction from existing reheat furnace                  owner or operator will design, install,                emissions rates by 40 percent by
                                                 exhaust emissions rates. Each facility                  and consistently operate the control                   volume, and to perform pre- and post-
                                                                                                         device, an emissions limit reflecting the              installation performance testing at
                                                 with an affected reheat furnace shall,
                                                                                                         required 40 percent reduction in NOx NOX               exhaust outlets to determine rate-based
                                                 within 60 days of conclusion of the
                                                                                                         emission levels, and, where applicable,                emissions limits for reheat furnaces in
                                                 post-installation performance test,
                                                                                                         performance test results obtained no                   lb/hour, lb/mmBtu, or lb/ton on a
                                                 submit testing results to the EPA to                    more than five years before the effective              rolling 30-operating day average.
                                                 establish NOx
                                                            NOX emissions limits over a                  date of the final rule to be used as                   Owners and operators of affected units
                                                 30-day rolling average. Each proposed                   baseline emissions testing data                        must also monitor NOxNOX emissions from
                                                 emissions limit must be supported by                    providing the basis for the required                   reheat furnaces using CEMS or annual
                                                 performance test data and analysis.                     emissions reductions. If no such data                  performance testing and recordkeeping
                                                   In evaluating potential emissions                     exist, then the owner or operator must                 and operate low-NO
                                                                                                                                                                              low-NOx  X burners in
                                                 limits for the Iron and Steel and                       perform pre-installation testing to                    accordance with work practice
                                                 Ferroalloy Manufacturing industry, the                  establish baseline emissions data.                     standards set forth in the regulatory text.
                                                 EPA reviewed RACT NOx    NOX rules,                        Comment:
                                                                                                            Comment: One commenter stated that                  Due to the many types of emissions
                                                 NESHAP rules, air permits and related                   the standard practice for setting NOx
                                                                                                                                             NOX                units within the Iron and Steel Mills
                                                 emissions tests, technical support                      limits for iron and steel sources often                and Ferroalloy Manufacturing industry,
                                                 documents, and consent decrees. These                   requires consideration of site or unit-                and the limited information available at
                                                 rules and source-specific requirements                  specific issues. Similarly, another                    this time regarding NOx
                                                                                                                                                                                     NOX control options
                                                 most commonly express emissions                         commenter stated that a single limit                   that are achievable for these units, the
                                                 limits for this industry in terms of mass               would not provide an adequate basis for                EPA is finalizing requirements only for
                                                 of pollutant emitted (pounds) per                       establishing NOx
                                                                                                                        NOX emissions limits that               reheat furnaces at this time.
                                                 operating hour (hour) (i.e., pounds of                  will universally apply to multiple,                       Comment:
                                                                                                                                                                   Comment: Commenters expressed
                                                 NOX emitted per production hour),
                                                 NOx                                                     unique facilities. The same commenter                  concern that the proposed emissions
                                                 pounds per energy unit (i.e., million                                NOX reduction in certain
                                                                                                         stated that NOx                                        limits identified both a 3-hour and a 30-
                                                 British thermal unit (mmBtu)), or                       furnaces is routinely achievable by                    day averaging time for the same limits
                                                 pounds of NOxNOX per ton of steel                       combustion controls or measures other                  and requested that the EPA clarify the
                                                 produced. Regulated iron and steel                      than SCR.                                              averaging time in the final rule.
                                                                                                            Response: The EPA acknowledges the
                                                                                                            Response:                                           Commenters requested that the EPA
                                                 facilities, including facilities operating
                                                                                                         difficulty in crafting one emissions limit             finalize limits with a 30-day averaging
                                                 reheat furnaces in this sector, routinely               for multiple iron and steel facilities and             time consistent with the requirements
                                                 monitor and keep track of production in                 units of varying size, age, and design, in             for other non-EGU industries.
                                                 terms of tons of steel produced per hour                light of the unique issues associated                     Response: In determining the
                                                 (heat rate) as it pertains to each facility's
                                                                                    facility’s           with varying unit types in this                        appropriateness of 30-day rolling
                                                 rate of iron and steel production.                      particular industry. We also                           averaging times, the EPA initially
                                                 Several facilities, including Steel                     acknowledge that in some cases, reheat                 reviewed the NESHAP for Iron and Steel
                                                 Dynamics, Columbia, Indiana,                            furnaces are equipped with recently                    Foundries codified at 40 CFR part 63,
                                                 Cleveland-Cliffs, Cleveland, Ohio, and                                                                         subpart EEEEE, the NESHAP for
                                                 Cleveland-Cliffs, Burns Harbor, Indiana,                  388 Specifically, through a review of title V
                                                                                                           388                                                  Integrated Iron and Steel manufacturing
                                                 are already operating various types of                  permits, the EPA identified reheat furnaces with       facilities codified at 40 CFR part 63,
ddrumheller on DSK120RN23PROD with RULES2




                                                 reheat furnaces with low-NOx
                                                                         low-NOX burners                 low-NO
                                                                                                         low-NOx X burners installed at Steel Dynamics in
                                                                                                                                                                subpart FFFFF, the NESHAP for
                                                 and achieving emissions rates as low as                 Columbia City, Indiana (two furnaces), Steel
                                                                                                         Dynamics in Butler, Indiana (one furnace),             Ferroalloys Production: Ferromanganese
                                                 0.11 lb/mmBtu of NOx.NOX. The EPA                       Cleveland Cliffs in Burns Harbor, Indiana (four        and Silicomanganese codified at 40 CFR
                                                 identified at least nine reheat furnaces                furnaces), Cleveland Cliffs in East Chicago, Indiana   part 63, subpart XXX, and the NESHAP
                                                 with a PTE greater than 100 tpy,                        (one furnace), and Cleveland Cliffs in Cleveland,
                                                                                                         Ohio (one furnace). For a further discussion of the
                                                                                                                                                                for Ferroalloys Production Facilities
                                                 including slab, rotary hearth, and                      limits and information on these facilities, see the    codified at 40 CFR part 63, subpart
                                                 walking beam furnaces, that have                        Final Non-EGU Sectors TSD.                             YYYYYY. The EPA also reviewed


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00176   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 215 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                          36829
                                                                                                                                                                                                  36829

                                                                NOX rules from states
                                                 various RACT NOx                          regarding their concerns of affected                                finalizing the proposed applicability
                                                 located within the OTR, several of        units within the iron and steel mills and                           provisions without change.
                                                 which have chosen to implement OTC        ferroalloy manufacturing sector being                                  Comment:
                                                                                                                                                                  Comment: One commenter requested
                                                 model rules and recommendations.          required to demonstrate compliance                                  that the applicability threshold for glass
                                                 Based on this information and the         through CEMS. The EPA acknowledges                                  manufacturing furnaces should be based
                                                 information provided by public            the cost associated with the installation                           on a unit’s
                                                                                                                                                                     unit's design production capacity
                                                 commenters, the EPA is requiring a 30-    and maintenance of CEMS to                                          instead of the proposed applicability
                                                 operating day rolling average period as   demonstrate compliance with the                                     criteria (i.e., units that directly emit or
                                                 the averaging timeframe for reheat        finalized emissions standards for reheat                            have the potential to emit 100 TPY or
                                                 furnaces. The EPA finds that a 30-        furnaces. In this final rule, the EPA is                                      NOX). The commenter stated
                                                                                                                                                               more of NOx)•
                                                 operating day rolling average period      revising the compliance assurance                                   that the production capacity for glass
                                                 provides a reasonable balance between     requirements to provide flexibility to                              manufacturing furnaces is a more
                                                 short term (hourly or daily) and long     owners or operators of affected units.                              relevant basis for applicability and
                                                 term (annual) averaging periods, while    Compliance may be demonstrated                                      would focus the EPA analysis on cost-
                                                 providing the flexibility needed to       through CEMS or annual performance                                  effective regulations.
                                                 address fluctuations in operations and                                                                                                    EPA’s
                                                                                                                                                                  Response: During the EPA's
                                                                                           testing and continuous parametric
                                                 production.                                                                                                   development of the proposed emissions
                                                                                           monitoring to demonstrate compliance
                                                                                           with the emissions limits in this final                             limits, the EPA reviewed the
                                                 Compliance Assurance Requirements                                                                             applicability provisions in various state
                                                    The EPA is finalizing requirements for
                                                                                           rule. If an affected unit does not use
                                                                                                                                                               RACT NOxNOX rules, air permits, consent
                                                 each owner or operator of an affected     CEMS, the final rule requires the owner                             decrees, and Federal regulations
                                                 unit in the Iron and Steel Mills and      or operator to monitor and record stack                             applicable to glass manufacturing
                                                 Ferroalloy Manufacturing industry to      exhaust gas flow rate, hourly production
                                                                                                                                                               furnaces. Most of these applicability
                                                 use CEMS or annual performance tests      rate, and stack exhaust temperature                                 provisions were expressed in terms of
                                                 and continuous parametric monitoring      during the initial performance test and                             actual emissions or PTE. Given the
                                                 to determine compliance with the 30-      subsequent annual performance tests to                              significant differences in the types,
                                                 day rolling average emissions limit       assure compliance with the applicable                               designs, configurations, ages, and fuel
                                                 during the ozone season. Facilities       emissions limit. The owner or operator                              capabilities among glass furnaces, and
                                                 choosing to use CEMS must perform an      must then continuously monitor and                                  differences in raw material
                                                 initial RATA per CEMS and maintain        record those parameters to demonstrate                              compositions within the sector, the EPA
                                                 and operate the CEMS according to the     continuous compliance with the NOx  NOX                             finds that applicability criteria based on
                                                 applicable performance specifications in  emissions   limits. Affected units that                             emissions or potential to emit are the
                                                 40 CFR part 60, appendix B. Facilities              NOX CEMS meeting specified
                                                                                           operate NOx                                                         most appropriate way to capture higher-
                                                 choosing to use testing and continuous    requirements may use CEMS data in                                   emitting glass manufacturing furnaces
                                                 parametric monitoring for compliance      lieu of performance testing and                                                       NOX emissions to
                                                                                                                                                               that contribute NOx
                                                 purposes must use the test methods and monitoring of operating parameters. For                                downwind receptors.
                                                 procedures in 40 CFR part 60, appendix sources relying on annual performance
                                                 A–4, Method 7E, or other EPA-approved tests and continuous parametric
                                                 A-4,                                                                                                          Emissions Limitations and Rationale
                                                 (federally enforceable) test methods and monitoring to assure compliance, the                                    The EPA is finalizing the proposed
                                                 procedures.                               EPA is requiring that sources keep                                  NOX emissions limits for furnaces
                                                                                                                                                               NOx
                                                    Comment:
                                                    Comment: Several commenters raised records of production and fuel usage                                    within the Glass and Glass Product
                                                 concerns with the requirement to install during the ozone season to assure                                    Manufacturing industry, except that for
                                                 and operate CEMS to monitor NOx NOX       compliance with the emissions limits on                             flat glass manufacturing furnaces the
                                                 emissions. Commenters cited the high      a 30-day rolling average basis. To avoid                            EPA is finalizing an emissions limit
                                                 relative costs of installing CEMS,        challenges in scheduling and                                        slightly lower than the limit we had
                                                 especially for smaller units with lower   availability of testing firms, the annual                           proposed, based on a correction to a
                                                 actual emissions, and the complexities    performance test required under this                                factual error in our proposal. For further
                                                 with installing CEMS on mobile reheat     final rule does not have to be performed                            discussion of the basis for the form and
                                                 furnaces. Further, commenters             during the ozone season. However,                                   level of the final emissions limits, see
                                                 explained that due to the unique          where sources are able to do so, we                                 the proposed rule, 87 FR 20036, 20146
                                                 configuration of certain facilities, it   recommend conducting a stack test in                                (April 6, 2022) (discussing EPA review
                                                 would be impossible for a CEMS to         the period relatively soon before the                               of state RACT rules, NSPS, and other
                                                 differentiate emissions from a reheat     start of the ozone season. This would                               regulations applicable to the Glass and
                                                 furnace and other units, like waste heat  provide the greatest assurance that the                             Glass Product Manufacturing industry).
                                                 boilers. As an alternative to CEMS,       emissions control systems are working                               Several comments supported the EPA's
                                                                                                                                                                                                  EPA’s
                                                 commenters requested that the EPA         as intended and the applicable                                      effort to regulate sources within the
                                                 finalize similar monitoring and           emissions limit will be met when the                                Glass and Glass Product Manufacturing
                                                 recordkeeping requirements as proposed ozone season starts.                                                   industry but also requested that the EPA
                                                 for the Cement and Concrete Product                                                                           establish more stringent emissions
                                                 Manufacturing industry in the proposed 4. Glass and Glass Product                                             limits for this industry.
                                                 rule, which allow for CEMS or             Manufacturing                                                          Comment:
                                                                                                                                                                  Comment: One commenter stated that
                                                                                                                                                               NOX emissions from the Glass and Glass
ddrumheller on DSK120RN23PROD with RULES2




                                                 performance testing and recordkeeping. Applicability                                                          NOx
                                                 Commenters explained that for reheat                                                                          Product Manufacturing industry are not
                                                 furnaces that are natural gas-fired,         The EPA is finalizing regulatory                                 currently subject to any Federal NSPS
                                                 emissions can be tracked by relying on    requirements for the Glass and Glass                                and that the industry is expected to
                                                 vendor guarantees and emissions factors Product Manufacturing source category                                 grow in the coming years. The
                                                 and natural gas throughput.               that apply to furnaces that directly emit                           commenter stated that while the EPA's
                                                                                                                                                                                                  EPA’s
                                                    Response: The EPA reviewed             or have a PTE of 100 tpy or more of                                 proposed limits on glass furnaces fell
                                                 comments received from the industry       NOX. For this industry, the EPA is
                                                                                           NOx.                                                                within the ranges of limits required by


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00177   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                                    Document #2009836                                           Filed: 07/27/2023                           Page 216 of 430
                                                 36830
                                                 36830                     Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                   Register/Vol.

                                                 various states and air districts, they fell                          determine the appropriate NOx NOX                                     states to meet CAA RACT requirements,
                                                 at the weakest levels within those                                   emissions limits for the different types                              and that some of these programs have
                                                 ranges. For example, the commenter                                   of glass manufacturing furnaces. Based                                implemented more stringent emissions
                                                 stated that the EPA had proposed a 4.0                               on these reviews and given the                                        limits than those the EPA is finalizing
                                                        NOX emissions limit for container
                                                 lb/ton NOx                                                           significant differences in the types,                                 in these FIPs.
                                                                                                                                                                                                      FlPs. However, as noted in the
                                                 glass manufacturing furnaces, while                                  designs, configurations, ages, and fuel                               preamble to the proposed rule and
                                                 state and local NOx
                                                                  NOX emissions limits for                            capabilities among glass furnaces, and                                related TSD, many OTR states do not
                                                 these emissions units range from 1 to 4                              differences in raw material                                           establish specific NOx
                                                                                                                                                                                                                NOX emissions limits
                                                 lb/ton. Similarly, the commenter stated                              compositions within the sector, the EPA                               for glass manufacturing sources.39°
                                                                                                                                                                                                                       sources.390 See
                                                 that the EPA had proposed a 4.0 lb/ton                               has concluded that it is appropriate to                               87 FR 20146. In addition to state RACT
                                                 NOX emissions limit for pressed/blown
                                                 NOx                                                                  finalize the emissions limits for this                                rules, air permits, ACT documents, and
                                                 glass manufacturing furnaces, while                                  industry as proposed, except for the                                  consent decrees applicable to this
                                                 state and local NOx
                                                                  NOX emissions limits for                            limit proposed for flat glass                                         industry, the EPA reviewed reports and
                                                 these emissions units range from 1.36 to                             manufacturing furnaces. For flat glass                                recommendations from the National
                                                 4 lb/ton, and that EPA had proposed a                                manufacturing furnaces, the EPA had                                   Association of Clean Air Agencies
                                                 9.2 lb/ton NOx
                                                            NOX emissions limit for flat                              proposed a NOx
                                                                                                                                   NOX emissions limit of 9.2                               (NACAA), the European Union
                                                 glass manufacturing furnaces, while                                  pounds (lbs) per ton of glass pulled but
                                                                                                                                                                                                                EPA’s Menu of
                                                                                                                                                                                            Commission, and EPA's
                                                       NOX emissions limits for these
                                                 state NOx                                                            is finalizing a limit of 7.0 lbs/ton of
                                                                                                                                                                                            Control Measures (MCM) to identify
                                                 emissions units range from 5–9.2
                                                                               5-9.2 lb/ton.                          glass pulled on a 30-day rolling average
                                                                                                                                                                                            potentially available control measures
                                                 The commenter urged the EPA to                                       basis. This is based on our review of
                                                 establish emissions limits lower than                                specific state RACT NOxNOX regulations                                for reducing NOx
                                                                                                                                                                                                          NOX emissions from the
                                                 those the EPA had proposed.                                          that contain a 9.2 lbs/ton limit averaged                             glass manufacturing industry. The EPA
                                                    Response: The EPA is finalizing the                               over a single day but contain a 7.0 lbs/                              also reviewed permit data for existing
                                                 emissions limits for affected units in the                           ton limit over a 30-day averaging period.                             glass manufacturing furnaces to identify
                                                 glass and glass product manufacturing                                This change aligns the final limit for flat                           control devices currently in use at these
                                                 industry as proposed for all but flat                                glass manufacturing furnaces with the                                 sources. Based on these reviews, we
                                                 glass manufacturing furnaces, for which                              correct averaging time and is consistent                              find that the final emissions limits for
                                                 the EPA is finalizing a slightly lower                               with both the state RACT regulations                                  the Glass and Glass Product
                                                 emissions limit to reflect a correction to                           that we reviewed 389
                                                                                                                                         389 and our evaluation
                                                                                                                                                                                            Manufacturing industry provided in
                                                 a factual error in our proposal. During                              of cost-effective controls for this                                   Table VI.C.3-1
                                                                                                                                                                                                   VI.C.3–1 generally reflect a level
                                                 the EPA's
                                                     EPA’s development of the proposed                                industry in the supporting documents                                  of control that is cost-effective for the
                                                 emissions limits, the EPA reviewed the                               for the proposed and final rule.                                      majority of the affected units and
                                                 control requirements or                                                 The EPA acknowledges that NOx  NOX                                 sufficient to achieve the necessary
                                                 recommendations and related analyses                                 emissions from some glass                                             emissions reductions. The Final Non-
                                                 in various RACT NOxNOX rules, air permits,                           manufacturing furnaces are subject to                                 EGU Sectors TSD provides a more
                                                 Alternative Control Techniques (ACT)                                 control under other regulatory                                        detailed explanation of the basis for
                                                 documents, and consent decrees to                                    programs, such as those adopted by                                    these emissions limits.

                                                      TABLE VI.C.3-1—SUMMARY
                                                      TABLE VI.C.3–1—SUMMARY OF FINALIZED
                                                                                FINALIZED NO
                                                                                          NOx  EMISSIONS L
                                                                                             X EMISSIONS LIMITS     FURNACE UNIT
                                                                                                          IMITS FOR FURNACE UNIT TYPES
                                                                                                                                 TYPES IN GLASS AND G
                                                                                                                                          GLASS     GLASS
                                                                                                                                                     LASS
                                                                                           PRODUCT M
                                                                                           PRODUCT  MANUFACTURING
                                                                                                      ANUFACTURING

                                                                                                                                                                                                                             NOx
                                                                                                                                                                                                                             NOX emissions limit
                                                                                                                                                                                                                              (lbs/ton of glass
                                                                                                                            Furnace type                                                                                           produced,
                                                                                                                                                                                                                              30 operating-day
                                                                                                                                                                                                                               rolling average)

                                                 Container Glass Manufacturing Furnace ...............................................................................................................................                        4.0
                                                 Pressed/Blown Glass Manufacturing Furnace or Fiberglass Manufacturing Furnace ..........................................................                                                     4.0
                                                 Flat Glass Manufacturing Furnace ........................................................................................................................................                    7.0


                                                 Alternative Emissions Standards During                               abnormally low production rate),                                      would be technologically infeasible to
                                                 Periods of Start-Up, Shutdown, and                                   furnace start-up days, furnace                                                             NOX control
                                                                                                                                                                                            equip furnaces with NOx
                                                 Idling                                                               maintenance days, and malfunction                                     devices including SCR. Commenters
                                                                                                                      days from the definition of "operating
                                                                                                                                                  ‘‘operating                               also stated that because control
                                                    Comment:
                                                    Comment: Numerous commenters
                                                                                                                      day’’
                                                                                                                      day" to allow for exclusion of these                                  equipment cannot be operated during
                                                 urged the EPA to provide additional
                                                                                                                      days from the calculation of an                                       these periods without damaging the
                                                                            NOX emissions
                                                 flexibilities, alternative NOx
                                                 limits, or exceptions to the NOx
                                                                              NOX                                     emissions unit's
                                                                                                                                 unit’s 30-operating day                                    equipment, it would be very difficult or
                                                 emissions limits for glass manufacturing                             rolling average emissions. The                                        impossible to meet the proposed NOx
                                                                                                                                                                                                                             NOX
                                                 furnaces during periods of startup,                                  commenters argued that because the                                    limits during these periods.
                                                 shutdown and idling. Commenters                                      glass furnace temperature is much lower                                 Response: After review of the
ddrumheller on DSK120RN23PROD with RULES2




                                                 requested that the EPA consider                                      during these periods than they are                                    comments received and the EPA's
                                                                                                                                                                                                                         EPA’s
                                                 excluding days with low glass pull (e.g.,                            during normal operating conditions, it                                assessment of current practices within

                                                   389 For example, Pennsylvania's
                                                   389               Pennsylvania’s RACT NOx NOX                      regulation/pennsylvania-code-rules-and-                               control-of-nox-emissions-from-glass-melting-
                                                 emission limits for flat glass furnaces are 7.0 lbs of               regulations/title-25-environmental-protection/part-
                                                                                                                      regulationsItitle-25-environmental-protection/part-                   furnaces/section-129304-emission-requirements.
                                                                                                                                                                                            furnaces/section-129304-emission-requirements.
                                                 NO
                                                 NOxX per ton of glass produced on 30-day rolling                     i-department-of-environmental-protection/subpart-                       399 See Proposed Non-EGU Sectors TSD at 56,
                                                                                                                                                                                              390
                                                 average. See Title 25, Part I, Subpart C, Article III,               c-protection-of-natural-resources/article-iii-air-
                                                                                                                      c-protection-of-natural-resourceslarticle-iii-air-                    EPA–HQ–OAR–2021–0668–0145.
                                                                                                                                                                                            EPA—HQ—OAR-2021-0668-0145.
                                                 Section 129.304, available at https://casetext.com/                  resources/chapter-129-standards-for-sources/
                                                                                                                      resourcesIchapter-129-standards-for-sources/



                                            VerDate Sep<11>2014       20:14 Jun 02, 2023       Jkt 259001     PO 00000       Frm 00178      Fmt 4701     Sfmt 4700      E:\FR\FM\05JNR2.SGM           05JNR2
                                                      USCA Case #23-1157                            Document #2009836                              Filed: 07/27/2023               Page 217 of 430
                                                                      Federal Register / Vol. 88, No. 107/Monday,
                                                                                                      107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules                                                                  36831
                                                                                                                                                                                                        36831

                                                 the glass manufacturing industry, the                   operation as soon as technologically                     operated continuously for as long as
                                                 EPA is establishing provisions for                      feasible to minimize emissions. For                      fifteen to twenty years between
                                                 alternative work practice standards and                 shutdowns, the owner or operator must                    rebricking events. The commenter also
                                                 emissions limits that may apply in lieu                 operate the emissions control system                     states that electric furnaces for
                                                 of the emissions limits in § 52.44(c)                   whenever technologically feasible to                     manufacture of glass containers are
                                                 during periods of start-up, shutdown,                   minimize emissions.                                      limited to a maximum glass production
                                                 and idling. The emissions limits for                      For periods of idling, the owner or                    of about 120 tons per day, which is a
                                                 glass melting furnaces in §52.44(c)
                                                                            § 52.44(c) do                operator of an affected unit may comply                  stark contrast to large natural gas fired
                                                 not apply during periods of start-up,                   with an alternative emissions limit                      glass melting furnaces, which are
                                                 shutdown, and/or idling at affected                     calculated in accordance with a specific                 capable of producing over 400 tons of
                                                 units that comply instead with the                      equation to limit emissions to an                        glass per day. The commenter also
                                                 alternative requirements for start-up,                  amount (in pounds per day) that reflects                 stated that the cullet percentage is
                                                 shutdown, and/or idling periods                             furnace’s permitted production
                                                                                                         the furnace's                                            greatly reduced in all-electric furnaces
                                                 specified in § 52.44(d), (e), and/or (f),               capacity in tons of glass produced per                   which increases energy consumption in
                                                 respectively. The EPA has modeled                       day. Additionally, the owner or operator                 the affected facility.
                                                 these alternative requirements that                     must maintain operating records as                          Response: At proposal, the EPA
                                                                                                                                                                     Response:
                                                 apply during startup, shutdown, and                     necessary to demonstrate compliance                      solicited comment on whether it is
                                                 idling to some extent on State RACT                     with the alternative emissions                           feasible or appropriate for owners or
                                                 requirements identified by                              limitations during idling periods.                       operators of existing glass
                                                 commenters.391 These alternative work
                                                 commenters.391                                          During idling, the owner or operator                     manufacturing furnaces to phase out
                                                 practice standards adequately address                   must operate the emissions control                       and retire their units and replace them
                                                 the seven criteria that the EPA has                     system to minimize emissions whenever                    with less emitting units like all-electric
                                                 recommended states consider when                        technologically feasible.                                furnace installations. As explained in
                                                 establishing appropriate alternative                                                                             the Final Non-EGU Sectors TSD, over
                                                                                                         All-Electric Glass Furnaces
                                                 emissions limitations for periods of                                                                             the last few decades the demand for flat,
                                                              shutdown.392 We provide a
                                                 startup and shutdown.392                                   The EPA solicited comment on                          container, and pressed/blown glass has
                                                 more detailed evaluation of these                       whether it is feasible or appropriate to                 continued to grow annually. Nitrogen
                                                 provisions in the TSD supporting this                   phase out and retire existing glass                      oxides remain one of the primary air
                                                 final rule.                                             manufacturing furnaces in the affected                   pollutants emitted during the
                                                    Specifically, each owner or operator                 states and replace them with more                        production and manufacturing of glass
                                                 of an affected unit seeking to comply                   energy efficient and less emitting units                 products. However, no current Federal
                                                 with alternative work practice standards                like all-electric melter installations. The              CAA regulation controls NOxNOX emissions
                                                 in lieu of emissions limits during                      EPA also requested comment on the                        from the industry on a category-wide
                                                 startup or shutdown periods must                        time needed to complete such a task.                     basis.394 Therefore, the glass
                                                                                                                                                                  basis.394
                                                 submit specific information to the                      All-electric melters are glass melting                   manufacturing industry has conducted
                                                 Administrator no later than 30 days                     furnaces in which all the heat required                  various pollution prevention and
                                                 prior to the anticipated date of startup                for melting is provided by electric                      research efforts to help identify
                                                 or shutdown. The required information                   current from electrodes submerged in                     preferred techniques for the control of
                                                 is necessary to ensure that the furnace                              glass.393 The EPA received
                                                                                                         the molten glass.393                                     NOX. Some of these studies revealed
                                                                                                                                                                  NOR.
                                                 will be properly operated during the                    numerous comments from the glass                                                   NOX emissions
                                                                                                                                                                  recent trends to control NOx
                                                 startup or shutdown period, as                          industry regarding their concerns with                   in the glass industry, including the use
                                                 applicable. The final rule establishes                  replacing an existing glass                              of all-electric glass furnaces. We
                                                 limits on the number of days when the                   manufacturing furnace with an all-                       understand based on the comments
                                                 owner or operator may comply with                       electric melter. The commenters stated                   received from the glass manufacturing
                                                 alternative work practice standards in                  that various operational restrictions                    industry that significant differences
                                                 lieu of emissions limits during startup                 present within all-electric furnaces                     exist in the design, configuration, age,
                                                 and shutdown, depending on the type of                  prevent these units from being                           and replacement cost of glass furnaces
                                                 glass furnace. Additionally, the owner                  implemented throughout the industry,                     and in the feasibility of controls and raw
                                                 or operator must maintain operating                     including limited glass production                       material compositions. These
                                                 records and additional documentation                    output, reduced glass furnace life, and                  differences as well as the production
                                                 as necessary to demonstrate compliance                  increased glass plant operating cost due                 limitations present with all-electric
                                                 with the alternative requirements during                to high levels of electric current usage.                furnaces create difficulties in
                                                 startup or shutdown periods. For                        Based on the EPA's
                                                                                                                        EPA’s review of comments                  implementing all-electric furnaces
                                                 startups, the owner or operator must                    submitted on this issue, the EPA has                     across the industry while keeping up
                                                 place the emissions control system in                   decided not to establish any                             with glass product demands. Therefore,
                                                                                                         requirements to replace existing glass                   the EPA is not mandating any
                                                    391 See Pennsylvania Code, Title 25, Part I,
                                                    391                                                  manufacturing furnaces with all-electric                 requirement for owners or operators of
                                                 Subpart C, Article III, Sections 129.305-129.307
                                                                                  129.305–129.307        furnaces at this time. We provide in the                 existing glass manufacturing furnaces to
                                                 (effective June 19, 2010), available at https://
                                                 www.pacodeandbulletin.gov/Display/pacode?file=/
                                                 www.pacodeandbulletin.gov/Displaylpacodeffile=/
                                                                                                         following paragraphs a summary of the                    replace their units with all-electric
                                                 secure/pacode/data/025/chapter129/
                                                 securelpacodeldata/025/chapter129/                                           EPA’s responses
                                                                                                         comments and the EPA's                                   furnaces.
                                                 chap129toc.html&d=reduce and San Joaquin Valley         thereto.
                                                 Unified Air Pollution Control District, Rule 4354,                                                               Combustion Modification and Post-
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                            Comment:
                                                                                                            Comment: One commenter stated that
                                                 ‘‘Glass Melting Furnaces,"
                                                 "Glass          Furnaces,’’ sections 5.5-5.7
                                                                                       5.5–5.7
                                                                                                         the lifetime of an all-electric glass                    Combustion Modification Control
                                                 (amended May 19, 2011), available at https://
                                                 www.valleyair.org/rules/currntrules/R4354
                                                 www.valleyair.orglruleslcurrntrules/R4354               melting furnace is only about three to                   Devices
                                                 %20051911.pdf.                                          five years before it must be rebricked,                                     EPA’s "Alternative
                                                                                                                                                                    According to the EPA's ‘‘Alternative
                                                    392 See 80 FR 33840, 33914 (June 12, 2015)
                                                    392
                                                                                                         compared to well-maintained natural                      Control Techniques Document—NOx
                                                                                                                                                                                      Document—NOX
                                                                  EPA’s recommended criteria for
                                                 (identifying the EPA's
                                                 developing and evaluating alternative emissions
                                                                                                         gas or hybrid furnace that may be                        Emissions from Glass
                                                 limitations applicable during startup and
                                                 shutdown).                                                393
                                                                                                           393   See definitions in 40 CFR part 60, subpart CC.    394
                                                                                                                                                                   394 See Final Non-EGU Sectors TSD.




                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00179    Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 218 of 430
                                                 36832
                                                 36832                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 Manufacturing,’’ 395
                                                 Manufacturing,"    395 glass manufacturing              finalizing the limits as proposed to offer provide flexibility to owners or
                                                 furnaces may utilize combustion                         sources some flexibility to choose the     operators of affected units. Compliance
                                                                                low-NOX
                                                 modifications equivalent to low-NOx                     control technology that works best for     with the emissions limits in this final
                                                 burners and oxy-firing. At proposal, the                their unique circumstances.                rule may be demonstrated through
                                                 EPA solicited comments on whether it                                                               CEMS or via annual performance test
                                                                                                         Compliance Assurance Requirements
                                                 is feasible or appropriate to require                                                              and continuous parametric monitoring.
                                                 sources with existing glass                                The EPA proposed to require owners      If an affected unit does not use CEMS,
                                                 manufacturing furnaces in affected                      or operators of an affected facility that  the final rule requires the owner or
                                                 states that currently utilize these                                       NOX emissions
                                                                                                         is subject to the NOx                      operator to monitor and record stack
                                                 combustion modifications to add or                      standards for glass manufacturing          exhaust gas flow rate, hourly production
                                                 operate a post-combustion                               furnaces to install, calibrate, maintain   rate, and stack exhaust temperature
                                                 modifications control device like SNCR                  and operate a CEMS for the                 during the initial performance test and
                                                 or SCR to further improve their NOx
                                                                                   NOX                   measurement of NOxNOX emissions            subsequent annual performance tests to
                                                 removal efficiency. The EPA received                    discharged. The EPA also solicited         assure compliance with the applicable
                                                 numerous comments from the glass                        comments on alternative monitoring         emissions limit. The owner or operator
                                                 industry that detailed the differences                  systems or methods that are equivalent     must then continuously monitor and
                                                 present in glass furnace designs,                       to CEMS to demonstrate compliance          record those parameters to demonstrate
                                                 operations and finished product that                    with the emissions limits. The EPA         continuous compliance with the NOx  NOX
                                                 influenced the type of combustion                       received numerous comments from the        emissions limits. Affected units that
                                                 modification or post-combustion                         glass industry expressing concern with     operate NOx
                                                                                                                                                             NOX CEMS meeting specified
                                                 modification control device that is                     any requirement to use CEMS at affected requirements may use CEMS data in
                                                 feasible for such unit. Several                         units. After review of the comments        lieu of performance testing and
                                                 commenters have requested that the                                     EPA’s assessment of
                                                                                                         received and EPA's                         monitoring of operating parameters. To
                                                 EPA focus on establishing an emissions                  practices conducted within the glass       avoid challenges in scheduling and
                                                 limit rather than specifying the use of a               manufacturing industry, the EPA is         availability of testing firms, the annual
                                                 particular control technology given the                 finalizing compliance assurance            performance test required under this
                                                 significant differences across glass                    requirements that allow affected glass     final rule does not have to be performed
                                                 furnaces. As a result of the comments                   manufacturing furnaces to demonstrate      during the ozone season.
                                                 received, the EPA is not specifically                   compliance through annual testing or
                                                 requiring affected units to install                     use CEMS, or similar alternative           5. Boilers at Basic Chemical
                                                 combustion modification and post-                       monitoring system data in lieu of a        Manufacturing, Petroleum and Coal
                                                 combustion controls to meet the                         performance test. The EPA is also          Products Manufacturing, Pulp, Paper,
                                                 finalized emissions limits. The EPA is                  establishing recordkeeping provisions      and Paperboard Mills, Iron and Steel
                                                 finalizing the emissions limits as                      that require owners or operators of        and Ferroalloys Manufacturing, and
                                                 proposed, which may be met with                         affected units to conduct parametric       Metal Ore Mining facilities
                                                 combustion modifications (e.g., low-                    monitoring of fuel use and glass           Applicability
                                                 NOX burners, oxy-firing), process
                                                 NOx                                                     production during performance testing
                                                                                                         to assure continuous compliance on a          The EPA is finalizing regulatory
                                                 modifications (e.g., modified furnace,                                                             requirements for the Iron and Steel
                                                 cullet preheat), and/or post-combustion                 30-operating day rolling average.
                                                                                                            Comment:
                                                                                                            Comment: Commenters representing        Mills and Ferroalloy Manufacturing
                                                 controls (SNCR or SCR) and thus                                                                    industry, Basic Chemical Manufacturing
                                                 provide sources some flexibility to                     the glass industry stated that a
                                                                                                         requirement to install and operate         industry, Petroleum and Coal Products
                                                 choose the control technology that                                                                 Manufacturing industry, Pulp, Paper,
                                                 works best for their unique                             CEMS would present significant costs
                                                                                                         and technical complexities in a            and Paperboard Mills industry, and the
                                                 circumstances.                                                                                     Metal Ore Mining industry that apply to
                                                    Comment:
                                                    Comment: Multiple commenters                         situation where emissions can be
                                                 responded to EPA's
                                                                 EPA’s request for                       effectively monitored using stack testing boilers that have a design capacity of
                                                                                                         rather than continuous monitoring.         100 mmBtu/hr or greater. The Non-EGU
                                                 comments by stating it is unnecessary
                                                                                                                                             EPA’s
                                                                                                         Commenters also objected to the EPA's      Screening Assessment memorandum
                                                 and unhelpful for the proposed rule to
                                                                                                         proposal to require CEMS together with developed in support of Step 3 of our
                                                 specify use of particular post-                                                                    proposal identified emissions from large
                                                 combustion control device. The                          semi-annual stack testing. Commenters
                                                 commenters note that various flat glass                 stated that a requirement to both operate boilers in certain industries (i.e., those
                                                 furnaces have a variety of combustion                   CEMS and conduct semi-annual testing projected to emit more than 100 tpy of
                                                                                                         would be unnecessary and excessive         NOX in 2026) as having adverse impacts
                                                                                                                                                    NOx
                                                 and post-combustion control options.                                                               on downwind receptors. As discussed
                                                 Each furnace is different in its design,                and would not provide commensurate
                                                                                                         benefit unless a facility’s
                                                                                                                           facility's emissions are in the proposed rule, we developed
                                                 operations, and finished product
                                                                                                         near or above the proposed emissions       applicability criteria for boilers based on
                                                 produced. The commenters state that it
                                                                                                         limit. Commenters requested that           design capacity (i.e., heat input), rather
                                                 is more appropriate for EPA to establish
                                                                                                         owners or operators of affected units be   than on potential emissions, because
                                                 an emissions limit in the proposed rule                                                            use of a boiler design capacity of 100
                                                                                                         allowed to use alternative monitoring
                                                 than it is for the EPA to specify use of
                                                                                                         systems, e.g., parametric emissions        mmBtu/hr reasonably approximates the
                                                 a particular control technology.
                                                    Response: In response to these                       monitoring. The commenters stated that 100 tpy threshold used in the Non-EGU
                                                                                                                                                    Screening Assessment memorandum to
ddrumheller on DSK120RN23PROD with RULES2




                                                 comments, the EPA is not establishing                   parametric monitoring requires less
                                                                                                         initial and ongoing manpower               identify impactful boilers. In this final
                                                 any requirements for affected units to
                                                 install specific control technologies to                requirements, has lower capital and        rule, we are establishing the heat input-
                                                 meet the emissions limits. The EPA is                   operating costs than CEMS, does not        based applicability criteria described in
                                                                                                         require spare parts, and is accurate over our proposal, with some adjustments as
                                                   395
                                                   395 EPA, Alternative Control Techniques
                                                                                                         a mapped range.                            explained further in this section.
                                                 Document—NOX Emissions from Glass
                                                 Document—NOx                                               Response: The EPA is establishing
                                                                                                            Response:                               Additionally, we have determined that
                                                                 EPA–453/R–94–037, June 1994.
                                                 Manufacturing, EPA-453/R-94-037,                        compliance assurance requirements that boilers meeting these applicability


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00180   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                                        Document #2009836                                               Filed: 07/27/2023                               Page 219 of 430
                                                                             Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                     Register/Vol.                                                                                                                                                   36833
                                                                                                                                                                                                                                                     36833

                                                 criteria exist within the following five                                  impactful boilers within the Non-EGU                                      and provisions for EPA approval of
                                                 industries: Basic Chemical                                                Screening Assessment memorandum.                                          alternative emissions limits on a case-
                                                 Manufacturing, Petroleum and Coal                                                            NOX emissions limits
                                                                                                                           We are finalizing NOx                                                     by-case basis, where specific criteria are
                                                 Products Manufacturing, Pulp, Paper,                                      that apply to boilers with design                                         met. Additionally, only boilers that
                                                 and Paperboard Mills, Metal Ore                                           capacities of 100 mmBTU/hr or greater                                     combust, on a BTU basis, 90 percent or
                                                 Mining, and Iron and Steel Mills and                                      located at any of the five identified                                     more of coal, residual or distillate oil,
                                                 Ferroalloy Manufacturing.                                                 industries in any of the 20 covered                                       natural gas, or combinations of these
                                                   As we explained in the proposed rule,                                   states with non-EGU emissions                                             fuels are subject to the requirements of
                                                 the potential emissions from industrial
                                                                                                                           reduction obligations. In response to                                     these final FIPs.
                                                                                                                                                                                                                 FlPs.
                                                 boilers with a design capacity of 100
                                                                                                                           comments on our proposed rule,                                               The EPA has determined that boilers
                                                 mmBtu/hr or greater burning coal,
                                                 residual or distillate oil, or natural gas                                however, the EPA is finalizing a low-use                                  meeting the applicability criteria of this
                                                 can equal or exceed the 100 tpy                                           exemption for industrial boilers that                                     section exist within the five industrial
                                                 threshold that we used to identify                                        operate less than 10 percent per year                                     sectors identified in Table VI.C.5-1:
                                                                                                                                                                                                                                 VI.C.5–1:

                                                                       TABLE VI.C.5-1:
                                                                       TABLE VI.C.5—1: NON-EGU INDUSTRIES
                                                                                       NON-EGU INDUSTRIES WITH
                                                                                                          WITH L
                                                                                                               LARGE BOILERS AND ASSOCIATED
                                                                                                                ARGE BOILERS     ASSOCIATED NAICS CODES
                                                                                                                                                  CODES
                                                                                                                                        Industry                                                                                                NAICS code

                                                 Basic Chemical Manufacturing ......................................................................................................................................................                  3251xx
                                                 Petroleum and Coal Products Manufacturing ...............................................................................................................................                            3241xx
                                                 Pulp, Paper, and Paperboard Mills ...............................................................................................................................................                    3221xx
                                                 Iron and Steel and Ferroalloys Manufacturing ..............................................................................................................................                          3311xx
                                                 Metal Ore Mining ...........................................................................................................................................................................         2122xx


                                                    Comment:
                                                    Comment: Several commenters                                            indicated by the manufacture on the                                       that some industrial boilers burn natural
                                                 requested that the EPA establish PTE-                                     unit’s nameplate.
                                                                                                                           unit's                                                                    gas in conjunction with other gaseous
                                                 based applicability criteria for boilers as                                  In response to the comments                                            fuels, such as hydrogen/methane off-gas
                                                 it had proposed to do for other non-EGU                                   expressing concern that infrequently-                                     and vent gas from various on-site
                                                 sectors and stated that using heat input                                  operated boilers would be captured by                                     processes, and may not be able to meet
                                                 as the basis for determining                                                   EPA’s proposed applicability
                                                                                                                           the EPA's                                                                      EPA’s proposed 0.08 lb/minBtu
                                                                                                                                                                                                     the EPA's                   lb/mmBtu NOxNOX
                                                 applicability would result in low-                                        criteria, the EPA is finalizing a low-use                                 emissions limit for boilers burning
                                                 emitting boilers being subject to the                                     exemption for industrial boilers that                                     natural gas. One commenter stated that
                                                       rule’s control requirements.
                                                 final rule's                                                              operate less than 10 percent per year on                                  it operated a boiler that burns hazardous
                                                 Commenters stated that the EPA should                                     an hourly basis, based on the three most                                  waste and is subject to 40 CFR part 63,
                                                 provide a low-use exemption for                                           recent years of use and no more than 20                                   subpart EEE, National Emission
                                                 infrequently run units because these                                      percent in any one of the three years.                                    Standards for Hazardous Air Pollutants
                                                 units produce a lower amount of                                           Such boilers will be exempt from the                                      from Hazardous Waste Combustors, and
                                                 emissions.                                                                emissions limits in these FIPs
                                                                                                                                                       FlPs provided                                 that this boiler uses natural gas for start-
                                                                                                                           they operate less than 10 percent per                                     up and at other times to stabilize
                                                    Response: The EPA is finalizing                                        year, on an hourly basis, based on the                                    operations but also combusts other fuels
                                                 applicability criteria for boilers based on                               three most recent years of use and no                                     such as liquid waste. The commenter
                                                 boiler design capacity for a number of                                    more than 20 percent in any one of the                                    asserted that such boilers should not be
                                                 reasons. First, Federal emissions                                         three years, but will have recordkeeping                                  covered by the final rule.
                                                 standards applicable to boilers 396
                                                                                   396 and                                 obligations. The EPA finds it                                                Response: In recognition and
                                                 all of the state RACT rules that we                                       appropriate to exempt such low-use                                        consideration of comments received on
                                                 reviewed contain applicability criteria                                   boilers from the emissions limits in this                                 our proposal, the EPA is finalizing
                                                 based on boiler design capacity. Second,                                  final rule because the amount of air                                      requirements for boilers that apply only
                                                 as explained in the Final Non-EGU                                         pollution emitted from a boiler is                                        to boilers burning 90 percent or more
                                                 Sectors TSD, most boilers with design                                     directly related to its operational hours,                                coal, residual or distillate oil, or natural
                                                 capacities of 100 mrnBTU/hr
                                                                    mmBTU/hr or greater                                    and installation of controls on                                           gas or combinations of these fuels on a
                                                 that are fueled by coal, oil, or gas have                                 infrequently operated units results in                                    heat-input basis. Public commenters
                                                 the potential to emit 100 tpy or more of                                  reduced air quality benefits.                                             presented information indicating that
                                                 NOX. Thus, use of a boiler design
                                                 NOR.                                                                         Comment:
                                                                                                                              Comment: Commenters asked                                              the burning of fuels other than coal,
                                                 capacity of 100 mmBtu/hr for                                                            EPA’s proposed emissions
                                                                                                                           whether the EPA's                                                         residual or distillate oil, or natural gas
                                                 applicability purposes reasonably                                         limits for boilers would apply to                                         at levels exceeding 10 percent may
                                                 approximates the 100 tpy threshold                                        emissions units that burn fuels other                                     interfere with the functions of the
                                                 used in the Non-EGU Screening                                             than coal, residual or distillate oil, or                                 control technologies that may be
                                                 Assessment memorandum to identify                                         natural gas. For example, one                                             necessary to the meet the final rule, like
                                                 impactful boilers. Finally, use of a                                      commenter stated that some biomass                                        SCR. The EPA does not have sufficient
ddrumheller on DSK120RN23PROD with RULES2




                                                 boiler’s design capacity for applicability
                                                 boiler's                                                                  boilers start up by co-firing oil or gas                                  information at this time to conclude that
                                                 purposes facilitates applicability                                                        NOX controls such as
                                                                                                                           and that some NOx                                                         units burning more than 10 percent
                                                 determinations given that a boiler's
                                                                                boiler’s                                   low-NO
                                                                                                                           low-NOx  X burners (LNB) cannot be used                                   fuels other than coal, residual or
                                                 design capacity is, in most cases, clearly                                on biomass boilers. The commenter                                         distillate oil, or natural gas can operate
                                                                                                                           requested clarification on whether                                        the necessary controls effectively and at
                                                   396
                                                   396 See, e.g., 40 CFR 60.44b (subpart Db,
                                                                                                                           boilers burning biomass would be                                          a reasonable cost. Therefore, boilers that
                                                 Standards of Performance for Industrial-                                                   EPA’s proposed
                                                                                                                           covered by the EPA's                                                      burn greater than 10 percent fuels other
                                                 Commercial-Institutional Steam Generating Units).                         requirements. Other commenters noted                                      than coal, residual or distillate oil,


                                            VerDate Sep<11>2014         20:14 Jun 02, 2023        Jkt 259001      PO 00000        Frm 00181       Fmt 4701      Sfmt 4700       E:\FR\FM\05JNR2.SGM             05JNR2
                                                       USCA Case #23-1157                                          Document #2009836                                           Filed: 07/27/2023              Page 220 of 430
                                                 36834
                                                 36834                        Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                      Register/Vol.

                                                 natural gas, or combinations of these     these boilers and agrees with                                                                    multiplied by 0.15. Thus calculated, the
                                                 three fuels are not subject to the        commenters who stated that the EPA's EPA’s                                                       NOX emissions limits for boilers
                                                                                                                                                                                            NOx
                                                 emissions limits and other requirements proposed emissions limits can be                                                                   burning combinations of coal, residual
                                                 of this final rule.                       extended to such boilers provided the                                                            or distillate oil, or natural gas are
                                                    Comment: Some commenters claimed EPA provides criteria for doing so. The
                                                    Comment:                                                                                                                                consistent with the NOxNOX emissions
                                                 that the EPA cannot include emissions     applicability criteria in the final rule                                                         limits identified in our proposed rule
                                                 limits for boilers that burn combinations cover boilers burning combinations of                                                            for each of these individual fuels.
                                                 of coal, residual or distillate oil, and  coal, residual or distillate oil, or natural
                                                                                                                                                                                            Emissions Limitations and Rationale
                                                 natural gas, because the EPA did not      gas and include a methodology for
                                                 propose limits for such boilers. Other    determining the emissions limits for                                                                The EPA is finalizing all of the
                                                 commenters suggested it would be          such units based on a simple formula                                                                        NOX emissions limits for
                                                                                                                                                                                            proposed NOx
                                                 appropriate to establish emissions limits that correlates the amount of heat input                                                         industrial boilers and adding a formula
                                                 for such boilers as long as the EPA       expended while burning each fuel with                                                            for calculating emissions limits for
                                                 provides criteria for establishing such   the corresponding emissions limit for                                                            multi-fueled units as shown in Table
                                                 emissions limits.                         that particular fuel. For example, a                                                             VI.C.5–2. The emissions limits apply to
                                                                                                                                                                                            VI.C.5-2.
                                                   Response: The EPA disagrees with the boiler with a heat input of 85 percent                                                              boilers with design capacities of 100
                                                 claim that boilers burning combinations natural gas and 15 percent distillate oil                                                          mmBtu/hr or greater located at any of
                                                 of coal, residual or distillate oil, or   would be subject to an emissions limit                                                           the five industries identified in Table
                                                 natural gas cannot be covered by the      derived by multiplying the natural gas                                                           II.A–1 within any of the 20 states
                                                                                                                                                                                            II.A-1
                                                 final FIP
                                                       FlP because the EPA did not         emissions limit by 0.85 and adding to                                                            covered by the non-EGU requirements
                                                 propose specific emissions limits for     that the distillate oil emissions limit                                                          of this final rule.
                                                                                              TABLE VI.C.5-2—NOx
                                                                                              TABLE VI.C.5–2—NOX E             LIMITS FOR BOILERS
                                                                                                                   MISSIONS LIMITS
                                                                                                                  EMISSIONS                  BOILERS >100 mmBtu/hr
                                                                                                               [Based on a 30-day rolling average]

                                                                                                 Unit type                                                                                       Emissions limit
                                                                                                                                                                                               (lbs NOx/mmBtu)
                                                                                                                                                                                                    NOX/mmBtu)

                                                 Coal ..........................................................................................................   0.20.
                                                 Residual oil ...............................................................................................      0.20.
                                                 Distillate oil ...............................................................................................    0.12.
                                                 Natural gas ...............................................................................................       0.08.
                                                 Multi-fueled unit ........................................................................................        Limit derived by formula based on heat input contribution from each
                                                                                                                                                                     fuel.



                                                   Additional information on the EPA'sEPA’s                                    Regarding RACT controls, some of the                         distillate oil, and natural gas-fired
                                                 derivation of these proposed emissions                                      sources covered by the final rule are not                      industrial boilers on RACT limits that
                                                 rates for boilers is provided in the Final                                  subject to RACT requirements because                           are already in place in many areas of the
                                                 Non-EGU Sectors TSD.                                                        RACT is only applicable to sources                             country.
                                                   Comment:
                                                    Comment: Some commenters noted                                           located in ozone nonattainment areas                             Regarding NSR control requirements,
                                                 that many boilers are already subject to                                    and in the OTR, and many sources                               we note that the NSR program was
                                                 other state and Federal controls, and                                       covered by the final rule are not located                      created by the 1977 amendments to the
                                                 that programs such as RACT, NSR,                                            within such jurisdictions. Regarding                           CAA and applies only to new or
                                                 BACT, NSPS, and maximum achievable                                          sources that are subject to RACT, we                           modified stationary sources. Many of
                                                 control technology (MACT) are all                                           note that unlike RACT requirements                             the boilers covered by the applicability
                                                 achieving emissions reductions from                                         applicable to sources of VOCs, where a                         requirement of this final rule were
                                                 boilers.                                                                    majority of such sources are covered by                        initially installed or last modified prior
                                                   Response: The EPA acknowledges                                            state RACT rules adopted to conform                            to 1977 and have not undergone NSR
                                                 that some affected units may already be                                                    ‘‘presumptive’’ limits
                                                                                                                             with uniform "presumptive"                                     analysis, such as a BACT analysis for
                                                 meeting the emissions limits established                                                           EPA’s Control
                                                                                                                             contained within the EPA's                                     sources located within an attainment
                                                 in this rule as a result of controls                                        Technique Guidelines (CTGs), in most                           area or a LAER analysis for sources
                                                 installed to comply with other                                              cases presumptive NOxNOX emissions limits                      located within nonattainment
                                                                                                                                                                                                              nonattainrnent areas.
                                                 regulatory programs, such as the CAA's
                                                                                      CAA’s                                  have not been established for industrial                       Additionally, BACT and LAER
                                                 RACT requirements. However,                                                 sources of this pollutant. In light of this,                   determinations made many years ago
                                                 emissions from the universe of boilers                                      NOX RACT requirements are primarily
                                                                                                                             NOx                                                            are not likely to be as stringent as more
                                                 subject to the applicability requirements                                   determined on a state-by-state basis and                       recent determinations.
                                                 of this final rule are not being uniformly                                  exhibit a range of stringencies as                               Regarding NSPS requirements, 40
                                                 reduced by these programs to the same                                       determined by each state. Additionally,                        CFR part 60, subpart Db, Standards of
                                                 extent that the limits we are adopting                                      RACT requirements tend to become                               Performance for Industrial-Commercial-
                                                 will require, nor for the same reason,                                      more stringent with the passage of time                        Institutional Steam Generating Units,
                                                                                                                             as existing control options are                                           NOX emissions limits for
ddrumheller on DSK120RN23PROD with RULES2




                                                 which is to mitigate the impact of                                                                                                         contains NOx
                                                 emissions from upwind sources on                                            improved, and new options become                               boilers with capacities of 100 mmBTU/
                                                 downwind locations that are                                                 available. Thus, older RACT                                    hr or greater that were constructed or
                                                 experiencing air quality problems. The                                      determinations may not be as stringent                         modified after June 19, 1984, and so
                                                 EPA has determined that the limits we                                       as more recent determinations made for                         boilers constructed or modified prior to
                                                 are finalizing in this action are readily                                   similar equipment types. As noted in                           that date are not subject to its
                                                 achievable and are already required in                                      our proposal, we based our NOx
                                                                                                                                                          NOX                               requirements. Additionally, the limits
                                                 practice in many parts of the country.                                      emissions limits for coal, residual or                         for coal, residual or distillate oil, and


                                            VerDate Sep<11>2014         20:14 Jun 02, 2023         Jkt 259001       PO 00000        Frm 00182       Fmt 4701       Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 221 of 430
                                                                      Federal Register / Vol. 88, No. 107/Monday,
                                                                                                      107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules                                                       36835
                                                                                                                                                                                             36835

                                                 gas-fired units are not as stringent as                 did not select the most stringent limits      appear achievable for industrial coal-
                                                 more recent limits adopted by states                    because such limits may reflect case-         fired boilers that experience load swings
                                                 pursuant to RACT control obligations.                   specific technological and economic           unless SCR is installed. Other
                                                    Lastly, MACT controls are primarily                  feasibility considerations that do not        commenters stated that while there have
                                                 designed to reduce emissions of                         apply more broadly across the industry.       been recent advancements in SNCR
                                                 hazardous air pollutants, not to reduce                 Furthermore, although the EPA                 technology, such as the setting up of
                                                 NOX emissions. We anticipate the
                                                 NOx                                                     acknowledges that some industrial             multiple injection grids and the
                                                 MACT program’s
                                                         program's boiler tune-up                        boilers powered by coal, residual or          addition of sophisticated CEMs-based
                                                 requirement should reduce NOx  NOX                      distillate oil, natural gas, or               feedback loops, implementing SNCR on
                                                 emissions to some extent, but not to the                combinations of these fuels can meet          industrial load-following boilers
                                                 extent that compliance with the limits                             NOX emissions limits as noted
                                                                                                         very low NOx                                  continues to pose several technical
                                                 adopted within this final rule will                     by the commenter, it is unlikely that all     challenges, including lack of
                                                 achieve.                                                such units could meet these limits given      achievement of optimal temperature
                                                    Comment:
                                                    Comment: One commenter noted that                    case-specific considerations such as          range for the reduction reactions to
                                                 a 2017 OTC survey found that boilers,                   boiler design and operation, some of          successfully complete, and inadequate
                                                 including those used in the paper                       which limit the types of control              reagent dispersion in the injection
                                                 products, chemical, and petroleum                       technology that may be available to a         region due to boiler design which can
                                                 industries, are already required to                     particular unit.                              lead to significant amounts of unreacted
                                                 achieve more stringent limits, and                                                                    ammonia exhausted to the atmosphere
                                                 pointed to limits for distillate oil that               a. Coal-Fired Industrial Boilers
                                                                                                                                                       (i.e., large ammonia slip). The
                                                 are lower than what the EPA considered                     As we proposed, coal-fired industrial      commenter noted that at least one pulp
                                                 in developing the proposal. The                         boilers subject to the applicability          mill boiler had to abandon its SNCR
                                                 commenter also noted that California's
                                                                               California’s              requirements of this section are required system due to problems caused by poor
                                                 South Coast Air Quality Management                                 NOX emissions limit of 0.2 lb/ dispersion of the reagent within the
                                                                                                         to meet a NOx
                                                                                        NOX
                                                 District has adopted a facility-wide NOx                mmBtu on a 30-day rolling average
                                                                                                         mrnBtu                                        boiler, and that SNCR has yet to be
                                                 emissions limit of 0.03 lb/mmBtu
                                                                           lb/mrnBtu at                  basis. Various forms of combustion and        successfully demonstrated for a pulp
                                                 petroleum refineries. The commenter                     post-combustion NOxNOX control                mill boiler with constant swing loads.
                                                 noted that CEMs data shows a residual                   technology exist that should enable
                                                 oil-fired boiler at the Ravenswood                      most facilities to retrofit with equipment       Response: To the extent the
                                                 Steam Plant in New York achieves an                     to meet this emissions limit. As we           commenter’s
                                                                                                                                                       commenter's    concerns pertain primarily
                                                           NOX emissions rate of 0.0716 lb
                                                 average NOx                                             explained in our proposal, many states        to SNCR control technology, we note
                                                 NOX/MMBtu and that CEMS data shows
                                                 NOx/MMBtu                                               containing ozone nonattainment areas          that the final rule does not mandate the
                                                 that a gas-fired boiler in Johnsonville,                or located within the OTR have already use of any particular type of control
                                                 Tennessee, achieves an average NOx NOX                  adopted RACT emissions limits similar         technology and that other types of
                                                 emissions rate of 0.0058 lb NOx/
                                                                               NOX/                      to or more stringent than the limits in       control equipment such as SCR should
                                                 mmBTU. Regarding coal-fired boilers,                    this final rule, and most of those RACT       be examined as a means for meeting the
                                                 the commenter stated that a coal boiler                 limits apply statewide and extend to          final emissions limits. The EPA
                                                 at the Ingredion Incorporated Argo Plant                boilers located at commercial and             acknowledges that some coal-fired
                                                 in Illinois achieves an average NOx
                                                                                  NOX                    institutional facilities, not just to boilers industrial boilers subject to this section
                                                 emissions rate of 0.1153 lb NOx/MMBtu
                                                                               NOX/MMBtu                 located in the industrial sector.             of the final rule may need to install SCR
                                                 with selective non-catalytic control                       Comment: One commenter noted that to meet the NOx
                                                                                                            Comment:                                                 NOX emissions limits. This
                                                 technology, and the Axiall Corporation                  the coal-fired boilers it operates already is reflected in our evaluation of costs for
                                                 facility in West Virginia achieves a                    use combustion controls to reduce NOx  NOX the non-EGU sector contained within
                                                 0.1162 lb/mmBtu using low-NO
                                                                            low-NOx X burner             emissions and contended that the              the Non-EGU Screening Assessment
                                                 technology with overfire air. The                       effectiveness of SNCR on these boilers is memorandum and the cost calculations
                                                 commenter also noted that more than                     unknown but would likely be on the            for the final rule discussed in section V
                                                 half of the gas-fired boilers included in               low end of the control effectiveness          and the Memo to Docket—Non-ECU
                                                                                                                                                                          Docket—Non-EGU
                                                 the air markets program database                        range because they experience variable        Applicability Requirements and
                                                                                                                                                       Applicability
                                                 already emit NOx
                                                                NOX at rates below the                   loads, which would compromise the             Estimate Emissions Reductions and
                                                 EPA’s proposed emissions rate, and that
                                                 EPA's                                                   proper functioning of an SNCR control         Costs. We note that although the RBLC
                                                 the RACT/BACT/LAER Clearinghouse                        system. The commenter stated that the         contains information on emissions
                                                 (RBLC) shows more stringent limits for                  only way their coal-fired boilers would       limits and control technology for some
                                                 gas boilers than the limits the EPA                     be able to comply with the EPA's
                                                                                                                                        EPA’s          units, it only provides information on a
                                                 proposed, with many facilities being                    proposed NOx
                                                                                                                    NOX limit would be to install      relatively small number of units subject
                                                                      NOX limit of less
                                                 required to meet a NOx                                  SCR. The commenter added that for                NOX emissions limits and operating
                                                                                                                                                       to NOx
                                                 than 0.0400 lb/mmBtu.                                   coal-fired industrial boilers with a heat     NOX controls. Additionally, our final
                                                                                                                                                       NOx
                                                    Response: The EPA's
                                                    Response:        EPA’s intent was not to             input rating of 100 MMBtu/hr or more,         rule provides an exemption for units
                                                         NOX emissions limits for coal,
                                                 set the NOx                                             a review of the available RBLC records        that operate infrequently (i.e., "low-use
                                                                                                                                                                                        ‘‘low-use
                                                 residual or distillate oil, and natural gas-                                                          boilers’’), and also allows a facility
                                                                                                         indicates that out of the 23 RBLC entries boilers"),
                                                 fired boilers to match the lowest levels                identified, nine units (less than half)       owner or operator to submit a request
                                                 required elsewhere by state or local                    were subject to an emissions limit at or      for a case-by-case alternative emissions
                                                                                                         below 0.2 lb/mmBtu, and eight of these        limit in cases where compliance with
ddrumheller on DSK120RN23PROD with RULES2




                                                 authorities, but rather to establish limits
                                                 that are commensurate with broadly                      nine units were equipped with SNCR.           the emissions limit in this final rule is
                                                 applicable RACT limits currently in                     The commenter stated that based on a          technically impossible or would result
                                                 place in a number of states as noted                    review of the available data in the RBLC in extreme economic hardship. We note
                                                 within our proposal. The limits we                      and given the technical difficulties and      that non-EGU boilers share many
                                                 selected were not the most stringent of                 low control efficiencies when applying        similarities with EGU boilers, many of
                                                 the state RACT rules we reviewed but                    SNCR to swing boilers, the EPA's
                                                                                                                                        EPA’s          which already operate SCR to control
                                                 were relatively close to that value. We                 proposed limit for coal firing does not       NOX emissions or will be required to
                                                                                                                                                       NOx


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00183   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 222 of 430
                                                 36836
                                                 36836                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 install and operate SCR systems under                   numerous combustion and post-                            Comment:
                                                                                                                                                                  Comment: One commenter stated that
                                                 the requirements for EGUs contained in                  combustion NOxNOX control technologies                the proposed reporting obligations
                                                 this final rule. Lastly, we note that                   exist that should generally enable                    require the submittal of excess
                                                 information collected during the                        facilities meeting the applicability                  emissions reports, continuous
                                                 development of updates to the EPA's
                                                                                   EPA’s                 criteria of this section to meet this                 monitoring, and quarterly emissions
                                                 MACT requirements for industrial,                       emissions limit. Additionally, many                   reports. The commenter suggested that
                                                 commercial, and institutional (ICI)                     states have already adopted emissions                            NOX emissions standards only
                                                                                                                                                               since the NOx
                                                 boilers indicates that over 150 ICI                     limits similar to the emissions limit in              apply during the ozone season (May 1—  1–
                                                 boilers have installed SCR control                      this final rule, and some natural gas-                September 30), the reporting
                                                 systems to reduce their NOx
                                                                           NOX emissions.                fired industrial boilers may be able to               requirements should only apply during
                                                 This information is available in the                    meet the 0.08 lb/mrnBtu
                                                                                                                         lb/mmBtu emissions limit              the second and third quarters of the year
                                                 docket for this final rule.                             by modifying existing NOxNOX control                  and should require that only emissions
                                                   All affected units must install and                   equipment installed to meet the                       and monitoring data from this time
                                                 operate NOx
                                                           NOX control equipment as                      requirements in 40 CFR 60.44b (subpart                period be included in these reports.
                                                 necessary to meet the applicable                        Db of 40 CFR part 60, Standards of                       Response: In response to these
                                                 emissions limits in the final rule, except              Performance for Industrial-Commercial-                comments, the EPA is finalizing
                                                 that if the owner or operator requests,                 Institutional Steam Generating Units),                recordkeeping, monitoring, and
                                                 and the EPA approves, a case-by-case                    which already requires that natural gas-              reporting requirements that are designed
                                                 emissions limit based on a showing of                   fired units meet a NOx
                                                                                                                             NOX emissions limit               to ensure compliance with the
                                                 technical impossibility or extreme                      of between 0.1 to 0.2 lbs/MMBtu.
                                                                                                                                 lbs/MNIBtu.                   applicable emissions limits only during
                                                 economic hardship, the affected unit                   Compliance Assurance Requirements                      the ozone season. Additionally, the final
                                                 would be required to comply with the                                                                          rule requires annual reports rather than
                                                 EPA-approved case-by-case emissions                       We proposed compliance provisions                   the proposed quarterly reports as annual
                                                 limit instead.                                         for boilers subject to the requirements of             reports are adequate to determine
                                                                                                        this section similar to the emissions                  compliance with the emissions limits
                                                 b. Residual or Distillate Oil-Fired                    monitoring requirements found in 40
                                                 Industrial Boilers                                                                                            during the ozone season.
                                                                                                        CFR 60.45 (subpart D of 40 CFR part 60,                   Comment:
                                                                                                                                                                  Comment: A number of commenters
                                                     Most oil-fired boilers are fueled by               Standards of Performance for Fossil-                   stated that some of their boilers that
                                                 either residual (heavy) oil or distillate              Fuel-Fired Steam Generators). Those                    may potentially be subject to a final FIP
                                                 (light) oil. We proposed a NOx      NOX                requirements include, among other                                      NOX CEMS installed and
                                                                                                                                                               already have a NOx
                                                 emissions limit of 0.2 lb/mmBtulb/mrnBtu 397 397 for   provisions, the performance of an initial              requested that the EPA clarify whether
                                                 residual oil-fired boilers and proposed a compliance test and installation of a                               a 30-day initial compliance test is
                                                 NOX emissions limit of 0.12 lb/mmBtu
                                                 NOx                                                    CEMS unless the initial performance                    required in such cases.
                                                 for distillate oil-fired boilers. We are               test indicates the unit’s
                                                                                                                            unit's emissions rate is              Response: The EPA's
                                                                                                                                                                                 EPA’s final rule
                                                 finalizing both limits as proposed, based 70 percent or less of the emissions limit                           provides that in instances where a boiler
                                                 on a 30-day rolling average. As with                   in this final rule. We received a number
                                                                                                                                                               meeting the applicability requirements
                                                 coal-fired industrial boilers, a number of of comments on this portion of our                                 of this section has already installed a
                                                 combustion and post-combustion NOx             NOX     proposal and provide responses to some
                                                                                                                                                               NOX CEMs that meets the requirements
                                                                                                                                                               NOx
                                                 control technologies exist that should                 of these comments in the following                     for such equipment located within 40
                                                 generally enable facilities meeting the                paragraphs. Our full responses to
                                                                                                                                                               CFR 60.13 or 40 CFR part 75,
                                                 applicability criteria of this section to              comments are provided in the response
                                                                                                                                                               Continuous Emissions Monitoring,
                                                 meet these emissions limits, and the                   to comments document included in the
                                                                                                                                                               pursuant to a federally enforceable
                                                 Final Non-EGU Sectors TSD identifies                   docket for this action.
                                                                                                           Comment:
                                                                                                           Comment: A number of commenters                     requirement, a 30-day initial
                                                 numerous states that have already                                                                             compliance test is not required.
                                                 adopted emissions limits similar to the                stated that CEMS monitoring is too
                                                                                                        expensive and unnecessary for ensuring                    Comment:
                                                                                                                                                                  Comment: One commenter stated that
                                                 limits in this final rule. There are                                                                          § 52.45(d) of the EPA's
                                                                                                                                                                                 EPA’s proposed rule
                                                 relatively few boilers fueled by residual compliance with the emissions limits                                included requirements to complete an
                                                 or distillate oil within the industries                for boilers and requested that alternative
                                                                                                        monitoring techniques be allowed.                      initial 30-day compliance test within 90
                                                 affected by this final rule that meet the                                                                     days of installing pollution control
                                                                                                           Response: The EPA acknowledges
                                                                                                           Response:
                                                 applicability criteria of this section, and                                                                   equipment but did not specify whether
                                                 we received relatively few comments                    that the installation and operation of
                                                                                                                         is                                    the test must be complete prior to the
                                                 regarding our proposed emissions limits CEMs systems more expensive than                                      May 1, 2026, ozone season or by some
                                                 for them.                                              other monitoring techniques and may
                                                                                                        not be necessary for smaller sized                     later date.
                                                 c. Natural Gas-Fired Industrial Boilers                boilers that typically produce less                       Response: In response to this
                                                                                                        emissions than larger ones. In response                comment, the EPA is finalizing
                                                     We proposed a NOx    NOX emissions limit
                                                                                                                                                               provisions requiring that initial
                                                 of 0.08 lb/mmBtu based on a 30-day                     to these comments, we have modified
                                                                                                        the monitoring requirements in the final               compliance tests occur prior to the May
                                                 rolling average for natural gas-fired                                                                         1, 2026 compliance date.
                                                 boilers meeting the applicability criteria rule such that boilers rated with heat-
                                                 of this section, and we are finalizing this input capacities less than 250 mrnBTU/      mmBTU/                 6. Municipal Waste Combustors
                                                 emissions limit and averaging time as                  hr can demonstrate compliance by
                                                                                                                                                               Applicability
ddrumheller on DSK120RN23PROD with RULES2




                                                 proposed. As explained in our proposal, conducting an annual stack test as an
                                                                                                        alternative to monitoring using a CEMs                   The EPA is finalizing regulatory
                                                    397 Section 52.45(c) of the regulatory text in our
                                                   397                                                  system and by complying with the                       requirements that apply to municipal
                                                 proposed rule identified a proposed emissions limit provisions of a monitoring plan meeting                   solid waste combustors located in a
                                                 of 0.15 lb/mmBtu
                                                          lb/mml3tu for residual oil-fired boilers, but specific criteria that enables the facility            state subject to the non-EGU
                                                 the emissions limit that we intended to propose for
                                                 this equipment and discussed both in the preamble
                                                                                                        owner or operator to demonstrate                       requirements of this final rule (i.e., the
                                                 to the proposed rule and in the TSD supporting the     continuous compliance with the                         20 states with linkages that persist in
                                                 proposed rule was 0.20 lb/mmfitu.
                                                                           lb/mmBtu.                    emissions limits of this final rule.                   2026 as identified in section II.B) and


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00184   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 223 of 430
                                                                      Federal Register / Vol. 88, No. 107/Monday,
                                                                              Register/Vol.           107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules                                                            36837
                                                                                                                                                                                                  36837

                                                 that combust greater than or equal to                        range from 165 to 250 ppm depending              threshold that the EPA identified at
                                                 250 tons per day of municipal solid                          on the combustor design type. The NOx  NOX       proposal. Some commenters confirmed
                                                 waste (‘‘affected units’’). See 40 CFR
                                                        ("affected units").                                   limits for large MWCs constructed after                                     workgroup’s
                                                                                                                                                               the accuracy of the OTC workgroup's
                                                 52.46(d) for guidelines on calculating                       September 20, 1994 or for which                  estimated cost of controls for reducing
                                                 municipal waste combustor unit                               modification or reconstruction is                NOX emissions from MWCs of $2,900 to
                                                                                                                                                               NOx
                                                 capacity. This applicability threshold                       commenced after June 19, 1996 under              $6,600 while others stated that the cost
                                                 was supported by commenters and is                           NSPS subpart Eb are found at 40 CFR              of controls is well below $7,500. One
                                                 consistent with the applicability criteria                   60.52b(d) and are 180 ppm during a               commenter asserted that the EPA should
                                                 in 40 CFR part 60, subpart Eb, Standards                     unit’s first year of operation and 150
                                                                                                              unit's                                           set a 24-hour NOx
                                                                                                                                                                               NOX emissions limit of 50
                                                 of Performance for New Stationary                            ppm afterwards, applicable across all            ppmvd for MWCs, which could be
                                                 Sources and Emission Guidelines for                          combustor types. These limits                    achieved by the installation of SCR
                                                 Existing Sources: Large Municipal                            correspond to NOxNOX emissions rates of          technology. Alternatively, the
                                                 Waste Combustors. State RACT rules for                       0.31 and 0.26 lb/mmBtu, respectively.            commenters stated that the EPA should
                                                 MWCs and the OTC MWC report                                  In reviewing active air permits for              set a 24-hour emissions limit no higher
                                                 similarly define large MWC units as                          MWCs, the EPA found that most MWCs               than 110 ppm based on less effective,
                                                 units with a combustion capacity greater                     are meeting emissions limits similar to          though still widely available, control
                                                 than or equal to 250 tons per day.                           those reflected in the applicable                technology. Although some commenters
                                                   Across the 20 states subject to the                        NSPS.400
                                                                                                              NSPS   400
                                                                                                                                                               stated that MWCs should not be
                                                 non-EGU requirements, this                                     The EPA also cited the OTC's
                                                                                                                                          OTC’s MWC            included in the rulemaking, no
                                                 applicability threshold captures 28                          report that evaluated the emissions              commenters specifically identified units
                                                 MWC facilities with a total of 80                            reduction potential of large MWCs                or categories of units that could not
                                                 affected units. The identified affected                      located in the OTR from two different            achieve emissions limits of 105 ppmvd
                                                 units include mass burn waterwall                                                             NOX
                                                                                                              control levels, one based on a NOx               on a 30-day rolling averaging basis and
                                                 units, mass burn rotary waterwall units,                     concentration of 105 to 110 ppm, and             110 ppmvd on a 24-hour block
                                                 refuse derived fuel (RDF) units, and one                     another based on a limit of 130 ppm.             averaging basis.
                                                 CLEERGASTM (‘‘Covanta
                                                 CLEERGASTM      ("Covanta Low Emissions                      The OTC MWC report found that a
                                                                                                              control level of 105 ppmvd on a 30-day             Response: The EPA recognizes that
                                                                   Gasification’’) modular
                                                 Energy Recovery Gasification")                                                                                there have been instances where MWCs
                                                 system.398 The EPA analyzed actual
                                                 system.398                                                   rolling average basis and a 110 ppmvd
                                                                                                              on a 24-hour block averaging period              have installed SCR and achieved
                                                 emissions from the facilities captured by                                                                     emissions rates of 50 ppmvd on a 24-hr
                                                 this threshold and found that on                             would reduce NOx NOX emissions from
                                                                                                              MWCs by approximately 7,300 tons                 averaging basis and 45 ppmvd on a 30-
                                                 average, a unit with a design capacity of                                                                     day rolling averaging basis with cost
                                                 250 tons per day has a PTE of                                annually, and that a limit of 130 ppmvd
                                                                                                              on a 30 day-average could achieve a              effectiveness estimates around $10,296/
                                                 approximately 138 tons per year,399
                                                                                year,399                                                                                               NOX reduced.
                                                                                                                                                               ton to $12,779/ton of NOx
                                                 which is similar to the PTE threshold                        4,000 ton reduction. The OTR MWC
                                                                                                              Report noted that at the time of                 Given uncertainties pertaining to
                                                 applied to other non-EGU sources under                                                                        whether SCR can be installed on all
                                                 this rulemaking.                                             publication, eight MWC units were
                                                                                                              already subject to permit limits of 110          types of MWCs, the EPA has decided
                                                 Emissions Limitations and Rationale                          ppm, seven in Virginia, and one in               not to establish emissions limits as low
                                                                                                                                                               as 50 ppmvd for MWCs using SCR at
                                                    Based on the available information for Florida. In consideration of control
                                                                                                              costs, the report cited multiple studies         this time. However, as generally
                                                 this industry, including information                                                                          supported by most commenters, the
                                                 provided during the public comment                           evaluating MWCs similar in design to
                                                                                                              the large MWCs in the OTR and found              EPA is finalizing emissions limits of 105
                                                 period, the OTC MWC Report, a review
                                                                                                              NOX reductions could be achieved at              ppmvd at 7 percent oxygen (02)(O2) on a 30-
                                                 of State and local RACT rules that apply NOx
                                                                                                              costs ranging from $2,900 to $6,600 per          day rolling average and 110 ppmvd at 7
                                                 to MWCs, and active air permits issued                                                                        percent O0 22 on a 24-hour block average
                                                 to MWCs, the EPA is finalizing the                           ton of NOx
                                                                                                                     NOX reduced.
                                                                                                                To further inform the EPA's
                                                                                                                                         EPA’s                 that apply at all times except during
                                                 following emissions limits for
                                                                                                              consideration of emissions limits for            periods of startup and shutdown. The
                                                 municipal solid waste combustors.                                                                             EPA recognizes that the final emissions
                                                                                                              MWCs, the EPA requested comment on
                                                                                                              the emissions limit and averaging time           limits for steady-state operations cannot
                                                     TABLE VI.C.6-1—NOx
                                                     TABLE       VI.C.6–1—NOX EMISSIONS          EMISSIONS                                                     be achieved during periods of startup,
                                                    L
                                                    LIMITS
                                                      IMITS         FOR L         LARGE
                                                                                    ARGE           MUNICIPAL MWCs should be required to meet, and
                                                                                                   MUNICIPAL                                                   shutdown, and malfunction. This is
                                                    WASTE COMBUSTORS
                                                    WASTE        COMBUSTORS                                   specifically whether the EPA should
                                                                                                              adopt emissions rates of 105 ppmvd on            primarily due to the fact that during
                                                                                                              a 30-day rolling averaging basis and 110         periods of startup and shutdown,
                                                                NOx
                                                                NOX Limit
                                                                                                    Averaging ppmvd on a 24-hour block averaging               additional ambient air is introduced
                                                                 (ppmvd)                              period
                                                  corrected to 7 percent oxygen                               basis.                                           into the units, resulting in higher
                                                                                                                Comment:
                                                                                                                 Comment: The agency received                  oxygen concentrations. Therefore, the
                                                 110 ............................................. 24-hour.   several comments regarding emissions             EPA is finalizing provisions applicable
                                                 105 ............................................. 30-day.    limits and averaging time for MWCs.              during periods of startup and shutdown
                                                                                                              Many   commenters asserted that the EPA          that do not require correction of CEMS
                                                    At proposal, the EPA noted that the                                                                        data to 7 percent oxygen but do require
                                                 NOX limits for large MWCs constructed
                                                 NOx                                                          should   set a 24-hour emissions limit no
                                                                                                              higher  than  110 ppm, noting that recent        that such data be measured at stack
                                                 on or before September 20, 1994 under                                                                         oxygen content. This approach is
ddrumheller on DSK120RN23PROD with RULES2




                                                 NSPS subpart Cb are found within                             studies  have  shown that there are a
                                                                                                              variety  of technologies  that can help a        consistent with EPA regulations
                                                 Tables 1 and 2 of 40 CFR 60.39b and                                                                           applicable during startup and shutdown
                                                                                                              wide range of MWC types achieve this
                                                                                                              limit at costs that are significantly below      periods for other solid-waste
                                                   398 See the Final Non-EGU Sectors TSD for
                                                   398
                                                                                                              the $7,500/ton cost effectiveness                incinerators under the NSPS for
                                                 additional information on this inventory.
                                                    399 See the Final Non-EGU Sectors TSD for
                                                    399                                                                                                        Commercial and Industrial Solid Waste
                                                 additional information on the calculation of PTE for      400 For further discussion of the permits
                                                                                                           400                                                 Incineration Units. See 40 CFR part 60,
                                                 large MWCs.                                             reviewed, see the Final Non-EGU Sectors TSD.          subparts CCCC and DDDD.


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00185   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023               Page 224 of 430
                                                 36838
                                                 36838                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                   Information received from public                      basis. Studies show that these limits can             under the final rule should be required
                                                 commenters generally aligned with the                   be achieved through a variety of                                 NOX CEMS data electronically
                                                                                                                                                               to report NOx
                                                 results from studies showing that the                   emissions controls, including ASNCR                   at least annually to the EPA's
                                                                                                                                                                                         EPA’s CEDRI
                                                 emissions limits of 105 ppmvd on a 30-                  and the addition of low NOx
                                                                                                                                   NOX technology              and any other database that the EPA
                                                 day rolling averaging basis and 110                     to existing SNCR.  402 Of the 80 MWC
                                                                                                                     SNCR.402                                  will utilize when considering revisions
                                                 ppmvd on a 24-hour block averaging                      units subject to this rule, 55 units                  to the NSPS for large MWCs. The
                                                 basis can be reached using ASNCR or                     already have SNCR installed, 16 units                 commenters asserted that MWC
                                                      NOX technology in addition to
                                                 low NOx                                                 already have SNCR and low NOx  NOX                    operators should be required to report
                                                 SNCR.401 The EPA recognizes that not
                                                 SNCR.401                                                technology installed, and three units                 NOX CEMS data to the EPA's
                                                                                                                                                               NOx                       EPA’s Clean Air
                                                 all units can implement low NOx NOX                     already have ASNCR installed.                         Markets database, to allow the public
                                                 technology, including those using Aireal                Applying the cost values provided in                  access to MWC CEMS data on a large
                                                 grate technology, those operating RFD                   the OTC's
                                                                                                             OTC’s MWC report to the MWC                       scale for the first time.
                                                 units, and those with rotary combustor                  inventory in section 7 of the Final Non-                 Response: The EPA is finalizing
                                                 units. Of the 80 affected MWC units that                EGU Sectors TSD, the estimated                        provisions that require MWCs subject to
                                                 the EPA identified, nine units across                   weighted average cost effectiveness of                the requirements of this section to
                                                 two facilities are classified as rotary                 applying advanced SNCR to units with                  install, calibrate, maintain, and operate
                                                 combustors, four units at a single                      and without existing SNCR and adding                  a CEMS for the measurement of NOx  NOX
                                                 facility are classified as RDF, and no                  low NOx
                                                                                                              NOX technology to eligible units                 emissions discharged into the
                                                 units captured are classified as using                  with SNCR was found to be                             atmosphere from the affected facility.
                                                 Aireal grate technology. One affected                                   $7,929.02/ton.403 This
                                                                                                         approximately $7,929.02/ton.403                       This is consistent with NSPS
                                                 unit is classified as CLEERGAS                          value is in line with the control                     requirements for large MWCs under 40
                                                 gasification while the remaining 64                     technology costs for other non-EGU                    CFR part 60, subparts Ea and Eb, and
                                                 affected units are classified as mass                   sectors and the EGU costs associated                  state RACT rules that are applicable to
                                                 burn waterwall combustors, which have                   with this final rule.                                 MWCs in many of the states covered
                                                 not been explicitly identified as units                                                                       under this rulemaking.    404 Additionally,
                                                                                                                                                                            rulemaking.4°4
                                                                                                         Compliance Assurance Requirements                     each emissions unit will be required to
                                                 unable to install low NOx
                                                                         NOX technology.
                                                 For those units unable to install low                     In this final rule, the EPA is                      conduct an initial performance test.
                                                 NOX technology or SNCR, the EPA has                     establishing compliance requirements                  With regard to electronic reporting, the
                                                 NOx
                                                 identified ASCNR as an alternative                      for MWCs similar to the NSPS                          final rule requires performance tests and
                                                 control technology that has been shown                  requirements for large MWCs under 40                  reports, including CEMS data, to be
                                                 to enable units to achieve emissions                    CFR part 60, subpart Eb. Those                        submitted to CEDRI, as required for all
                                                 limits of 105 ppmvd on a 30-day rolling
                                                                                                         requirements include, among other                     non-EGU industries covered by this
                                                                                                         provisions, the performance of an initial             final rule.
                                                 averaging basis and 110 ppmvd on a 24-
                                                                                                         performance test and installation of a
                                                 hour block averaging basis, either as a                                                                       D. Submitting a SIP
                                                                                                         CEMS. At proposal, the EPA requested
                                                 new retrofit technology or as a                                                                                  A state may submit a SIP at any time
                                                                                                         comment on whether it would be
                                                 significant upgrade to existing SNCR.                                                                         to address CAA requirements that are
                                                                                                         appropriate to rely on existing testing,
                                                 The EPA finds that the availability of                                                                        covered by a FIP, and if the EPA
                                                                                                         monitoring, recordkeeping, and
                                                 ASNCR or SNCR and low NOx    NOX burners
                                                                                                         reporting requirements for MWCs under                 approves the SIP it would replace the
                                                 provides sufficient flexibility for MWCs                                                                      FIP, in whole or in part, as appropriate.
                                                                                                         applicable NSPS or other requirements.
                                                 to meet the emissions limits in the final                 Comment:
                                                                                                            Comment: Some commenters noted                     As discussed in this section, states may
                                                 rule, especially considering 74 of the 80               that all large MWCs are already required              opt for one of several alternatives that
                                                 affected units already have SNCR                        to use CEMS to demonstrate compliance                 the EPA has provided to take over all or
                                                 installed. Although there is uncertainty                      NOX limits under the NSPS
                                                                                                         with NOx                                              portions of the FIP. However, as
                                                 on the cost effectiveness of ASNCR for                  program. These commenters asserted                    discussed in greater detail further in this
                                                                         NOX reductions in
                                                 achieving significant NOx                               that the EPA should improve electronic                section, the EPA also recognizes that
                                                 small MWCs, small MWCs that combust                     reporting requirements beyond current                 states retain the discretion to develop
                                                 less than 250 tons per day of municipal                 requirements in the NSPS. The                         SIPs to replace a FIP under approaches
                                                 solid waste are not included in this                    commenters suggested that an owner or                 that differ from those the EPA has
                                                 rulemaking.                                             operator of an MWC subject to a limit                 finalized.
                                                   While commenters noted                                                                                         The EPA has established certain
                                                 discrepancies across cost effectiveness                   402 See OTC MWC Report at 6-7;
                                                                                                                                        6–7; Trinity           specialized provisions for replacing FIPs
                                                 values for specific types of control                    Consultants, Project Report Covanta Alexandria/       with SIPs within all the CSAPR trading
                                                 technology, no commenters specifically                                   Reasonably Available Control
                                                                                                         Arlington, Inc., Reasonably                           programs, including the use of so-called
                                                 indicated that emissions control                        Technology                     NOX (September
                                                                                                         Technology Determination for NOx
                                                                                                         2017); Trinity Consultants, Project Report Covanta    ‘‘abbreviated SIPs’’
                                                                                                                                                               "abbreviated                ‘‘full SIPs,’’
                                                                                                                                                                                SIPs" and "full   SIPs," see
                                                 technology could not be cost effectively                               Reasonably Available Control
                                                                                                         Fairfax, Inc., Reasonably                             40 CFR 52.38(a)(4) and (5) and (b)(4),
                                                 installed on large MWCs to achieve an                   Technology                     NOX (September
                                                                                                         Technology Determination for NOx                      (5), (8), (9), (11), and (12); 40 CFR
                                                 emissions limit of 105 ppmvd on a 30-                   2017); Babcock Power Environmental, Waste to          52.39(e), (f), (h), and (i). For a state to
                                                 day rolling averaging basis and 110                     Energy  NOX Feasibility Study, Prepared for:
                                                                                                         Energy NOx
                                                                                                         Wheelabrator Technologies Baltimore Waste to
                                                                                                                                                               remove all FIP provisions through an
                                                 ppmvd on a 24-hour block averaging                      Energy Facility Baltimore, MD (February 20, 2020);    approved SIP revision, a state would
                                                                                                         White, M., Goff, S., Deduck, S., Gohlke, O., New
                                                                                                                                                  0., New      need to address all of the required
                                                    401 The only demonstrated use of low NOx
                                                    401                                     NOX                   for Achieving Very
                                                                                                         Process for                 Low NO
                                                                                                                                Very Low     X, Proceedings
                                                                                                                                          NOx,                 reductions addressed by the FIP for that
ddrumheller on DSK120RN23PROD with RULES2




                                                 technology in addition to SNCR at MWC facilities        of the 17th Annual North American Waste-to-
                                                                                                                                              Waste-to-
                                                                                                         Energy Conference, NAWTEC17 (May 2009); Letter
                                                                                                         Energy
                                                                                                                                                               state, i.e., reductions achieved through
                                                 is at Covanta facilities using Covanta's
                                                                                Covanta’s proprietary
                                                      NOX combustion system (LN
                                                 low NOx                             TM). For the
                                                                                 (LNTm).                 from the State of New Jersey to Michael Klein, In     both EGU control and non-EGU control,
                                                 purpose of this rule, EPA is assuming Covanta           Rreference to Covanta Energy Group, Inc. Essex
                                                 facilities will take advantage of this technology and   County Resource Recovery Facility, Newark Annual        404 For examples of RACT provisions applicable

                                                 others will use ASNCR. However, other iterations        Stack Test Program (March 14, 2019).                  to MWCs that require CEMS, see Regulations of
                                                         NOX technology could become available, or
                                                 of low NOx                                                403 See Final Non-EGU Sectors TSD for more          Connecticut State Agencies section 22a-174-22e;
                                                                                                                                                                                                  22a–174–22e;
                                                 facilities could work with Covanta to apply this        information on these cost effectiveness estimates     and Virginia Administrative Code section 5–40–
                                                                                                                                                                                                        5-40-
                                                 technology to their units.                              were generated.                                       6730, subsection (D).



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00186   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023                Page 225 of 430
                                                                      Federal Register / Vol. 88, No. 107/Monday,
                                                                                                      107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules                                                                     36839
                                                                                                                                                                                                           36839

                                                 as applicable to that state. Additionally,              their SIPs at any point. The EPA has                  with a SIP that takes an alternative
                                                 tribes in Indian country within the                     repeatedly emphasized that states are                 approach would need to establish, at a
                                                 geographic scope of this rule may elect                 free to develop a SIP revision to replace             minimum, an equivalent level of
                                                 to work with EPA under the Tribal                       a transport FIP and submit that to the                emissions reduction to what the FIP
                                                 Authority Rule to replace the FIP for                   EPA for approval, and this remains true.              requires at Step 3, and any such
                                                 areas of Indian country, in whole or in                 See 87 FR 20036, 20051 (April 6, 2022);               replacement SIP will need to comply
                                                 part, with a tribal implementation plan                 86 FR 23054, 23062 (April 30, 2021); 81                                   110(l).
                                                                                                                                                               with CAA section 110(1).
                                                 or reasonably severable portions of a                   FR 74504, 74506 (Oct. 26, 2016). In the                 The concept of equivalency is
                                                 tribal implementation plan.                             FIP proposal, as in prior transport                   important for the state to consider.
                                                    Under the FIPs
                                                               FlPs for the 22 states whose              actions, the EPA discussed a number of                Under CAA section 110(1),
                                                                                                                                                                                     110(l), "the
                                                                                                                                                                                             ‘‘the
                                                 EGUs are required to participate in the                 ways in which states could take over or               Administrator shall not approve a
                                                 CSAPR NOxNOX Ozone Season Group 3                       replace a FIP, see 87 FR 20036, 20149–
                                                                                                                                             20149-            revision of a plan if the revision would
                                                 Trading Program with the modifications                  51 (section VII.D: "Submitting
                                                                                                                             ‘‘Submitting A SIP’’);
                                                                                                                                               SIP");          interfere with any applicable
                                                 finalized in this rule, EPA continues to                see also id. at 20040 (noting as one                  requirement concerning attainment . . .
                                                       ‘‘abbreviated’’ and "full"
                                                 offer "abbreviated"        ‘‘full’’ SIP                 purpose in proposing the FIP that "this‘‘this         or any other applicable requirement of
                                                 options for states. An "abbreviated
                                                                         ‘‘abbreviated SIP’’
                                                                                         SIP"            proposal will provide states with as                       chapter.’’ Section 110(1)
                                                                                                                                                               this chapter."          110(l) applies to
                                                 allows a state to submit a SIP revision                 much information as the EPA can                       all CAA requirements, including
                                                 that establishes state-determined                       supply at this time to support their                  110(a)(2)(D) requirements relating to
                                                 allowance allocation provisions                         ability to submit SIP revisions to                    interstate transport. The EPA interprets
                                                 replacing the default FIP allocation                    achieve the emissions reductions the                           110(l) such that states have two
                                                                                                                                                               section 110(1)
                                                 provisions but leaving the remaining                    EPA believes necessary to eliminate                   main options to make a noninterference
                                                 FIP provisions in place. A "full
                                                                               ‘‘full SIP"
                                                                                      SIP’’                           contribution’’). The EPA
                                                                                                         significant contribution").                           demonstration. First, the state could
                                                 allows a state to adopt a trading program               provides further guidance on submitting               demonstrate that emissions reductions
                                                 meeting certain requirements that allow                 SIPs in this section. If, and when, the               removed from the SIP are replaced with
                                                 sources in the state to continue to use                 EPA receives a SIP submission that                    new control measures that achieve
                                                 the EPA-administered trading program                    satisfies the requirements of CAA                     equivalent or greater emissions
                                                 through an approved SIP revision,                                                       110(l), the
                                                                                                         section 110(a)(2)(D)(i)(I) and 110(1),                reductions. Thus, a 110(1)
                                                                                                                                                                                     110(l) analysis
                                                 rather than a FIP. In addition, as under                Agency will take action to approve                    would generally need to show that the
                                                 past CSAPR rulemakings, states have                     those SIP submissions and withdraw the                SIP revision, or, in this case, a potential
                                                 the option to adopt state-determined                    FIP.                                                  SIP submission replacing an existing
                                                 allowance allocations for existing units                   At the outset, we note that the Agency             FIP, will not interfere with any area's
                                                                                                                                                                                                   area’s
                                                 for the second control period under this                does not anticipate revisiting its                    ability to continue to attain or maintain
                                                 rule—in this case, the 2024 control                     findings at Steps 1 or 2 of the transport             the affected NAAQS or other CAA
                                                 period—through streamlined SIP                          framework. Those findings establish                   requirements. The EPA further has
                                                 revisions. See 76 FR 48326–48332
                                                                        48326-48332 for                  that the projected baseline                           interpreted section 110(1)
                                                                                                                                                                                    110(l) as requiring
                                                 additional discussion of full and                       anthropogenic emissions from these                    such substitute measures to be
                                                 abbreviated SIP options; see also 40 CFR                states contribute to downwind                         quantifiable, permanent, and
                                                 52.38(b).                                               nonattainment or maintenance receptors                enforceable, among other
                                                    Comments: Some commenters alleged                    in 2023, and, for certain states, that                considerations. For section 110(1)
                                                                                                                                                                                              110(l)
                                                 that by taking this action, EPA is                      contribution continues through 2026.                  purposes, "permanent"
                                                                                                                                                                           ‘‘permanent’’ means the state
                                                 depriving states of the ability to develop              Those represent critical analytical years             cannot modify or remove the substitute
                                                 SIPs to implement good neighbor                         for downwind areas as they are the last               measure without EPA review and
                                                 obligations for the 2015 ozone NAAQS                    full ozone season before the Moderate                 approval. Second, the state could
                                                 or from choosing their own compliance                   and Serious area attainment dates.                    conduct air quality modeling or develop
                                                 strategies. Commenters also claimed                     Those findings, for those years, establish            an attainment or maintenance
                                                 that the EPA cannot require states to                   the basis for an upwind state's
                                                                                                                                    state’s linkage,           demonstration based on the EPA'sEPA’s most
                                                 implement emissions reductions                          from which we proceed to evaluate                     recent technical guidance to show that,
                                                 equivalent to the emissions control                     emissions control opportunities and                   even without the control measure or
                                                 stringency that the EPA determined at                   their implementation at Steps 3 and 4.                with the control measure in its modified
                                                 Step 3 if their proposed SIPs are                          We cannot prejudge now whether                     form, significant contribution from the
                                                 otherwise shown to be adequate to                       state submissions to replace the EPA's
                                                                                                                                              EPA’s            state would continue to be prohibited as
                                                 eliminate significant contribution. Other               FIP will be approvable, but we note a                 the Act requires. As discussed further in
                                                 commenters raised concerns that the                     number of statutory and implementation                this section, for purposes of interstate
                                                 trading program enhancements for EGUs                   considerations states should be aware of              ozone transport, such an analysis entails
                                                 made it too uncertain what a state could                if designing a replacement SIP. We have               important questions of consistency and
                                                 develop as an approvable replacement                    demonstrated that the EPA's
                                                                                                                                  EPA’s transport              equity among states for resolving air
                                                 SIP. At least one commenter argued that                 FIP is adequate to eliminate significant              quality problems that the EPA would
                                                 the EPA must give states a single, mass-                contribution to downwind air quality                  need to carefully evaluate.405
                                                                                                                                                                                  evaluate.405
                                                 based emissions budget so that they can                 problems for purposes of the 2015 ozone
                                                 understand how to replace the FIP with                  NAAQS, and that the FIP does not result                  405 For instance, future circumstances in which
                                                                                                                                                                  405

                                                 a SIP.                                                  in overcontrol. The level of reductions               the receptor or receptors to which a state is linked
                                                    Response: The EPA disagrees that it is                                                                     come fully into attainment or to which the upwind
ddrumheller on DSK120RN23PROD with RULES2




                                                    Response:                                            required by the FIP therefore provides
                                                                                                                                                               state’s linkage drops below 1 percent of the NAAQS
                                                                                                                                                               state's
                                                 depriving States of the opportunity to                  an important benchmark for states in                  would likely not, solely on those grounds, be
                                                 replace the FIP with a SIP or preventing                evaluating the equivalency of possible                sufficient to relax transport requirements
                                                 states from targeting alternative                       replacement SIPs. As discussed in more                established by the FIP or justify approving a less
                                                 emissions reductions strategies that can                detail in this section, in order to comply            stringent SIP. First, the emissions reductions
                                                                                                                                                               achieved by the FIP are part of the reason that a
                                                 be shown to be equivalent to the FIP.                   with their obligation under CAA section               receptor may come into attainment or a linkage may
                                                 States have always possessed the                        110(a)(2)(D)(i)(I), we generally anticipate           drop below 1 percent of the NAAQS. Simply
                                                 authority and the opportunity to revise                 that states seeking to replace the FIP                                                             Continued



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00187   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 226 of 430
                                                 36840
                                                 36840                Federal Register / Vol. 88, No. 107/Monday,
                                                                                                      107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules

                                                    In the EPA's
                                                           EPA’s experience implementing                               ‘‘permanent and
                                                                                                          considered "permanent                                ozone season. As explained in section
                                                 the CAA criteria pollutant program,                      enforceable’’
                                                                                                          enforceable" under the statute); Sierra              V.D.4 of this document, these aspects of
                                                 reductions arising from the good                         Club v. EPA, 793 F.3d 656, 665–68
                                                                                                                                        665-68 (6th            the trading program do not in
                                                 neighbor provision have been critically                  Cir. 2015) (same). States seeking area               themselves introduce an overcontrol
                                                 important to the improvement of air                      redesignations are also required under               concern. Nonetheless, consistent with
                                                 quality in downwind areas struggling                     CAA section 107(d)(3)(E)(iv) to develop              the more general principles discussed in
                                                 with attainment and maintenance of the                   revisions to their state implementation              this section with respect to the potential
                                                                states’ reliance on good
                                                 NAAQS, and states'                                       plans that provide for maintenance of                bases on which states may replace the
                                                 neighbor FIP reductions will need to be                  the NAAQS. In so doing, states develop               FIP with SIPs, we reserve judgment at
                                                 taken into account in any replacement                    air quality modeling, in which they                  this time on whether some future
                                                 SIP. In order for a nonattainment area to                project future air quality based on                  demonstration could successfully
                                                 be redesignated to attainment, the CAA                   emissions inputs that account for                    establish that revision of the FIP or its
                                                 requires not only that an area attain the                enforceable emissions reductions, or                 replacement with a SIP could be
                                                 standard, but also the Administrator                     states project emissions in the future               acceptable even if the way that
                                                 must determine "that
                                                                   ‘‘that the improvement                 relative to emissions in an attainment               significant contribution is eliminated is
                                                 in air quality is due to permanent and                   year, showing that the future emissions              through means that differ from the
                                                 enforceable reductions in emissions                      (which, again, account for on-the-books,             trading program enhancements included
                                                 resulting from implementation of the                     enforceable emissions limits) do not                 for EGUs in this action. As discussed
                                                 applicable implementation plan and                       exceed emissions in the baseline                     further in this section, a state may
                                                 applicable Federal air pollutant control                                        ‘‘Procedures for
                                                                                                          attainment year. See "Procedures                     choose to withdraw its EGUs from the
                                                 regulations and other permanent and                      Processing Requests to Redesignate                   trading program and instead subject
                                                 enforceable reductions.’’
                                                              reductions." CAA section                              Attainment,’’ Memo from John
                                                                                                          Areas to Attainment,"                                those EGUs to daily emissions rates
                                                 107(d)(3)(E)(i) and (iii). Many                          Calcagni to EPA Regions, September 4,                commensurate with installation and
                                                 nonattainment areas across the country                   1992, at 9. Reductions required by                   optimization of state-of-the-art
                                                                               PM2.5 and
                                                 that have attained various PM2.5                         Federal good neighbor programs may                   combustion and post-combustion
                                                 ozone NAAQS have done so in part due                     therefore also be relied upon by states              controls as the EPA determined at Step
                                                 to the imposition of Federal good                        seeking area redesignations in the                   3. Likewise, states are free to explore an
                                                 neighbor emissions control measures,                     context of how states demonstrate that               alternative set of emissions controls on
                                                 and, per CAA section 107(d)(3)(E)(iii),                  areas will maintain the NAAQS.                       non-EGU industrial sources (or other
                                                 states have specifically relied on the                      We anticipate that air quality in areas           sources in the state), so long as they can
                                                 emissions reductions required by those                   struggling to attain and maintain the                demonstrate that an equivalent amount
                                                 programs in order to be redesignated to                  2015 ozone NAAQS will improve due to                 of emissions is eliminated. In any case,
                                                 attainment. See, e.g., 84 FR 8422, 8425                  the emissions reductions required by                 we need not resolve these questions
                                                 (March 8, 2019) (noting that "[a]t
                                                                                 ‘‘[a]t least             EPA’s FIP. We also anticipate that,
                                                                                                          EPA's                                                here. The EPA, in promulgating a FIP,
                                                 140 EPA final actions redesignating                                        EPA’s historical
                                                                                                          consistent with EPA's                                is not obligated to identify each way a
                                                 areas in 20 states to attainment with an                 experience implementing the NAAQS                    state could replace it with a SIP
                                                 ozone NAAQS or a fine particulate                        and acting on state requests for                     revision. Several options are discussed
                                                         (PM2.5) NAAQS
                                                 matter (PM2.5)  NAAQS—because
                                                                           because NOx  NOX is            nonattainment area redesignations,                   further in this section, and, as always,
                                                 a precursor to PM2.5
                                                                 PM2.5 as well as ozone—                  emissions reductions associated with                 EPA Regional Offices will work closely
                                                 have relied in part on the NOx
                                                                              NOX SIP Call’s
                                                                                          Call's          EPA’s transport FIP for the 2015 ozone
                                                                                                          EPA's                                                with states who wish to explore these
                                                 emissions reductions’’);
                                                            reductions"); see also Sierra                 NAAQS are likely to be a critical                    options or other alternatives.
                                                 Club v. EPA, 774 F.3d 383, 397-99
                                                                                397–99 (7th               component in those requests for
                                                                                                          redesignation. Where states have relied              1. SIP Option To Modify Allocations for
                                                 Cir. 2014) (upholding EPA's
                                                                          EPA’s approval of
                                                                                                          and are relying on the FIP’s                         2024 Under EGU Trading Program
                                                 a redesignation, and specifically EPA's
                                                                                       EPA’s                                       FIP's reductions
                                                 determination that reductions from                       in order to attain and maintain the                     As with the start of past CSAPR
                                                 Federal good neighbor transport trading                  NAAQS, EPA will look very critically at              rulemakings, the EPA is finalizing the
                                                 programs could reasonably be                             any replacement SIP that appears to fall             option to allow a state to use a similar
                                                                                                          short of equivalent emissions                        process to submit a SIP revision
                                                 removing emissions control requirements the              reductions—in terms of the level of                  establishing allowance allocations for
                                                 moment this occurs is illogical, since those             reductions or the permanence of those                existing EGU units in the state for the
                                                 reductions are part of the solution by which the                                                              second control period of the new
                                                 attaining air quality was achieved or the linkage
                                                                                                          reductions.
                                                 was resolved. See CAA section 107(d)(3)(E)(iii)             Finally, we disagree with commenters              requirements, i.e., in 2024, to replace
                                                 (areas cannot be redesignated unless based on            that the absence of fixed, mass-based                the EPA-determined default allocations.
                                                 permanent and enforceable reductions); see also          emissions budgets for each state make it             A state must submit a letter to EPA by
                                                 Wisconsin, 938 F.3d at 324–25
                                                                          324-25 (explaining that                                                              August 4, 2023, indicating its intent to
                                                 upwind states are held to a contribution standard,
                                                                                                          impossible to replace the FIP with an
                                                 not a but-for causation standard and thus cannot         equivalent SIP. In the case of the trading           submit a complete SIP revision by
                                                 escape good neighbor obligations on the basis that       program enhancements for EGUs, the                   September 1, 2023. The SIP would
                                                 other emissions "cause"
                                                                   ‘‘cause’’ the NAAQS to be              EPA recognizes that the dynamic                      provide in an EPA-prescribed format a
                                                 exceeded). There is a risk of inconsistency and          budgeting methodology will generally                 list of existing units within the state and
                                                 inequity in removing any requirements in this
                                                 manner in that any increase in emissions that could      function to impose a continuous                      their allocations for the 2024 control
                                                 occur in one upwind state would likely need to be        incentive on relevant EGUs to continue               period. If a state does not submit a letter
ddrumheller on DSK120RN23PROD with RULES2




                                                 reviewed in relation to the obligations other            to implement the emissions control                   of intent to submit a SIP revision, the
                                                 upwind states would continue to meet. Further, any
                                                 such relaxation in upwind state requirements could
                                                                                                          strategies determined at Step 3. Further,            EPA-determined default allocations will
                                                 then unreasonably shift the burden for maintaining       the backstop rate and banking                        be recorded by September 5, 2023. If a
                                                 air quality onto the downwind states where               recalibration enhancements also are                  state submits a timely letter of intent but
                                                 receptors are located. These issues may entail           designed to ensure that EGUs                         fails to submit a SIP revision, the EPA-
                                                 complex state- or case-specific analyses that would
                                                 need to be evaluated at the time such a SIP revision
                                                                                                          implement emissions controls                         determined default allocations will be
                                                 is submitted; these issues are not ripe for resolution   consistent with Step 3 determinations                recorded by September 15, 2023. If a
                                                 in this action.                                          on a continuous basis throughout each                state submits a timely letter of intent


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00188   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 227 of 430
                                                                      Federal Register / Vol. 88, No. 107/Monday,
                                                                                                      107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules                                                           36841
                                                                                                                                                                                                 36841

                                                 followed by a timely SIP revision that is  Season Group 3 Trading Program                                     program with an integrated State EGU
                                                 approved, the approved SIP allocations     applicability, which the EPA would                                 trading program through an approved
                                                 will be recorded by March 1, 2024.         evaluate on a case-by-case basis. The                              SIP revision. Under this option, a state
                                                    The EPA received no comments on         SIP revision would need to address                                 can submit a SIP revision that makes
                                                 the proposed option to modify              critical program elements, and include:                            changes only to modify the EPA-
                                                 allowance allocations under the Group      (1) high-quality baseline data, (2)                                determined default allocations and that
                                                 3 trading program for EGUs for the 2024    ongoing Part 75 monitoring, and (3)                                adopts identical provisions for the
                                                 control period through a SIP revision      provisions to update the non-EGU                                   remaining portions of the EGU trading
                                                 and is finalizing the provisions as        portion of the budget to appropriately                             program. This SIP option allows states
                                                 proposed.                                  reflect changes to the fleet over time.                            to replace these FIP provisions with
                                                                                               For states that want to modify the                              state-based SIP provisions while
                                                 2. SIP Option To Modify Allocations for
                                                                                            EPA-determined     default allocations, the                        continuing participation in the larger
                                                 2025 and Beyond Under EGU Trading
                                                                                            EPA proposed that a state could submit                             regional trading program. As with the
                                                 Program
                                                                                            a SIP revision that makes changes only                             abbreviated SIP option discussed
                                                    For the 2025 control period and later, to that provision while relying on the                              previously, to ensure the availability of
                                                 states in the CSAPR NOx NOX Ozone Season FIP for the remaining provisions of the                              allowance allocations for units in any
                                                 Group 3 Trading Program can modify         EGU trading program. This abbreviated                              Indian country within a state not
                                                 the EPA-determined default allocations     SIP option allows states to tailor the FIP                         covered by the state's
                                                                                                                                                                               state’s CAA
                                                 with an approved SIP revision. For the     to their individual choices while                                  implementation planning authority, if
                                                 2025 control period and later, SIPs can    maintaining the FIP-based structure of                             the state chooses to replace the EPA's
                                                                                                                                                                                                EPA’s
                                                 be full or abbreviated SIPs. See 76 FR     the trading program. To ensure the                                 default allocations with state-
                                                 48326–48332
                                                 48326-48332 for additional discussion      availability of allowance allocations for                          determined allocations, the EPA would
                                                 of full and abbreviated SIP options; see   units in any Indian country within a                               continue to administer any portion of
                                                 also 40 CFR 52.38(b).                      state not covered by the state's
                                                                                                                      state’s CAA                              each state emissions budget reserved as
                                                    In this final rule, the EPA is removing implementation planning authority, if                              a new unit set-aside or an Indian
                                                 the previous regulatory text defining      the state chose to replace the EPA's
                                                                                                                            EPA’s                              country existing unit set-aside. Also, for
                                                 specific options for states to expand      default allocations with state-                                    the same reasons discussed with respect
                                                 CSAPR NOxNOX Ozone Season Group 3          determined allocations, the EPA would                              to the abbreviated SIP option, the EPA
                                                 trading program applicability to include continue to administer any portion of                                is removing the option for states to
                                                 EGUs between 15 MWe and 25 MWe or, each state emissions budget reserved as                                    expand CSAPR NOx NOX Ozone Season
                                                 in the case of states subject to the NOx
                                                                                      NOX   a new unit set-aside or an Indian                                  Group 3 trading program applicability to
                                                 SIP Call, large non-EGU boilers and        country existing unit set-aside.                                   include EGUs between 15 MWe and 25
                                                 combustion turbines. These options for        The SIP submittal deadline for this                             MWe or, in the case of states subject to
                                                 expanding trading program applicability type of revision is December 1, 2023, if                                   NOX SIP Call, large non-EGU boilers
                                                                                                                                                               the NOx
                                                 through SIP revisions have been            the state intends for the SIP revision to                          and combustion turbines.
                                                 available to states since the start of the be effective beginning with the 2025                                  Deadlines for this type of SIP revision
                                                 CSAPR trading programs for small EGUs control period. For states that submit                                  are the same as the deadlines for
                                                 and since the CSAPR Update for large       this type of SIP revision, the deadline to                         abbreviated SIP revisions. For the SIP-
                                                 non-EGU boilers and combustion             submit state-determined allocations                                based program to start with the 2025
                                                 turbines, and no state has chosen to use beginning with the 2025 control period                               control period, the SIP deadline is
                                                 the SIP process for this purpose.          under an approved SIP is June 1, 2024,                             December 1, 2023, the deadline to
                                                 Additionally, the EPA did not receive      and the deadline for the EPA to record                             submit state-determined allocations for
                                                 comment supporting these expansion         those allocations is July 1, 2024.                                 the 2025 control period under an
                                                 options during the comment period for      Similarly, a state can submit a SIP                                approved SIP is June 1, 2024, and the
                                                 this rule. The EPA is finalizing a         revision beginning with the 2026                                   deadline for the EPA to record those
                                                 methodology for updating the affected      control period and beyond by December                              allocations is July 1, 2024, and so on.
                                                 EGU portion of the budget in this rule,    1, 2024, with state allocations for the                               The EPA received no comment on the
                                                 and the regulatory text defining the       2026 control period due June 1, 2025,                              option to replace the Federal trading
                                                 applicability expansion to non-EGUs        and EPA recordation of the allocations                             program for EGUs with an integrated
                                                 did not include a mechanism for            by July 1, 2025.                                                   state trading program for EGUs for
                                                 updating the incremental non-EGU              The EPA received no comment on the                              control periods in 2025 and later years
                                                 portion of a state's
                                                               state’s budget based on      option to replace certain allowance                                through a SIP revision and is finalizing
                                                 changes over time of the non-EGU fleet; allocation provisions under the Group 3                               the provisions generally as proposed,
                                                 therefore, continuation of the option to   trading program for EGUs for control                               with the exception that any potential
                                                 expand applicability to certain non-       periods in 2025 and later years through                            expansion of trading program
                                                 EGUs subject to the NOx NOX SIP Call would a SIP revision and is finalizing the                               applicability under a SIP revision would
                                                 be inconsistent with the trading           provisions generally as proposed, with                             be evaluated on a case-by-case basis.
                                                 program as applied to EGUs in this rule. the exception that any potential
                                                    However, the EPA recognizes that                                                                           4. SIP Revisions That Do Not Use the
                                                                                            expansion of trading program
                                                 states may seek to include non-EGUs                                                                           Trading Program
                                                                                            applicability under a SIP revision would
                                                 covered in this action in an emissions     be evaluated on a case-by-case basis.                                 States can submit SIP revisions to
                                                 trading program, subject to important                                                                         replace the FIP that achieve the
ddrumheller on DSK120RN23PROD with RULES2




                                                 considerations to ensure equivalency in 3. SIP Option To Replace the Federal                                  necessary EGU emissions reductions but
                                                 emissions reductions is maintained.        EGU Trading Program With an                                        do not use the CSAPR NOx
                                                                                                                                                                                      NOX Ozone
                                                 While the EPA is not offering specific     Integrated State EGU Trading Program                               Season Group 3 Trading Program. For a
                                                 regulatory text to implement an option        For the 2025 control period and later,                          transport SIP revision that does not use
                                                 to expand the trading program                                    NOX Ozone Season
                                                                                            states in the CSAPR NOx                                                        NOX Ozone Season Group 3
                                                                                                                                                               the CSAPR NOx
                                                 applicability, a state could submit a SIP Group 3 Trading Program can choose to                               Trading Program, the EPA would
                                                 to expand the CSAPR NOx  NOX Ozone         replace the Federal EGU trading                                    evaluate the transport SIP based on the


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00189   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 228 of 430
                                                 36842
                                                 36842                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 particular control strategies selected and              requirements of the FIP with state                    emissions projections and air quality
                                                 whether the strategies as a whole                       requirements. To replace the non-EGU                  modeling conducted at Steps 1 and 2.
                                                 provide adequate and enforceable                        portion of the FIP in a state, the state's
                                                                                                                                               state’s         Such reductions must also be achieved
                                                 provisions ensuring that the necessary                  SIP must provide adequate provisions to               by the 2026 ozone season.
                                                 emissions reductions (i.e., reductions                  prohibit NOx
                                                                                                                   NOX emissions that contribute                  EPA further acknowledges that a
                                                 equal to or greater than what the Group                 significantly to nonattainment or                     demonstration of equivalency using
                                                 3 trading program will achieve) will be                 interfere with maintenance of the 2015                other control strategies is complicated
                                                 achieved. To address the applicable                     ozone NAAQS in any other state. The                   by the fact that the final emissions
                                                 CAA requirements, the SIP revision                      state SIP submittal must demonstrate                  limits for non-EGU sources are generally
                                                 should include the following general                    that the emissions reductions required                unit-specific and expressed in a variety
                                                 elements: (1) a comprehensive baseline                  by the SIP would continue to ensure                   of forms; comparative analysis with
                                                 2023 statewide NOx
                                                                  NOX emissions                          that significant contribution from that               alternative control requirements to
                                                 inventory (which includes existing                      state has been eliminated through                     determine equivalency would need to
                                                 control requirements), which should be                  permanent and enforceable measures.                   take this into account. Similarly, we
                                                 consistent with the 2023 emissions                      The non-EGU requirements of the FIP                   recognize that the emissions trading
                                                 inventory that the EPA used to calculate                would remain in place in each covered                 program for EGUs in this action
                                                 the required state budget in this final                                state’s SIP has been
                                                                                                         state until a state's                                 includes a number of enhancements to
                                                 rule (unless the state can explain the                  approved by the EPA to replace the FIP.               ensure that the Step 3 determination of
                                                 discrepancy); (2) a list and description                   The most straightforward method for                                        ‘‘significant’’ and
                                                                                                                                                               which emissions are "significant"
                                                 of control measures to satisfy the state                a state to submit a presumptively                     must be eliminated continues to be
                                                 emissions reduction obligation and a                    approvable SIP revision to replace the                implemented over time. Although there
                                                 demonstration showing when each                         non-EGU portion of the FIPs for the                   is not a fixed, mass-based emissions
                                                 measure would be implemented to meet                    state would be to provide a SIP that                  budget established for each state in this
                                                 the 2023 and successive control periods;                includes emissions limits at an                       action, there are other objective metrics
                                                 (3) fully-adopted state rules providing                 equivalent or greater level of stringency             that could guide states in developing
                                                 for such NOx
                                                           NOX controls during the ozone                 than is specified for non-EGU sources                 replacement SIPs. For example, for non-
                                                 season; (4) for EGUs greater than 25                    meeting the applicability criteria and                EGUs, states may choose to conduct an
                                                 MWe, monitoring and reporting under                     associated compliance assurance                       analysis of their industrial stationary
                                                 40 CFR part 75, and for other units,                    provisions for each of the unit types                 sources and present an alternative set of
                                                 monitoring and reporting procedures                     identified in section VI.0
                                                                                                                                  VI.C of this                 emissions limits applying to specific
                                                 sufficient to demonstrate that sources                  document.                                             units that it believes would achieve an
                                                 are complying with the SIP (see 40 CFR                     Comment:
                                                                                                            Comment: One commenter stated that                 equivalent level of emissions reduction.
                                                 part 51, subpart K (‘‘source
                                                                     ("source                                             EPA’s assertion in the
                                                                                                         they believed EPA's                                   States could apply cost-effectiveness
                                                 surveillance’’ requirements)); and (5) a
                                                 surveillance"                                           proposal that any SIP submittal would                 thresholds for emissions control
                                                 projected inventory demonstrating that                  have to achieve equal or greater                      technologies that could be applied to
                                                 state measures along with Federal                       reductions for non-EGUs than the FIP                  establish that some alternative
                                                 measures will achieve the necessary                     was unlawful. The commenter asserted                  emissions control strategy results in
                                                 emissions reductions in time to meet the                that a state's
                                                                                                                state’s ability to replace the FIP             equivalent or greater improvement at
                                                 2023 and successive compliance                          must be tied to whether it has addressed              downwind receptors. The EPA
                                                 deadlines (e.g., enforceable reductions                 the underlying nonattainment/                         anticipates that such a comparison may
                                                 commensurate with installation of SCR                   maintenance concerns by reducing                      entail review of both baseline emissions
                                                 on coal-fired EGUs by the 2027 ozone                    significant contribution from sources in              information and growth projections
                                                 season). The SIPs must meet procedural                  the state below the significance                      between the different sets of units to
                                                 requirements under the Act, such as the                 threshold, (as opposed to whether it                  ensure that a truly equivalent or greater
                                                 requirements for public hearing, be                     prohibits equivalent emissions to the                 degree of emissions reduction is
                                                 adopted by the appropriate state board                  FIP).                                                 achieved; additionality and emissions
                                                 or authority, and establish by a                           Response: The EPA recognizes that
                                                                                                            Response:                                          shifting potential may also need to be
                                                 practically enforceable regulation or                   states may select emissions reductions                considered. We note that the CAMx
                                                 permit(s) a schedule and date for each                  strategies that differ from the emissions             policy case run for 2026 provides a
                                                 affected source or source category to                   limitations included in the proposed                  benchmark for assessing the level of air
                                                 achieve compliance. Once the state has                  non-EGU FIP; this is discussed in                     quality improvement anticipated at
                                                 made a SIP submission, the EPA will                     response to comments earlier in this                  receptors with implementation of the
                                                 evaluate the submission(s) for                          section. For example, some states may                 FIP. This data may be of use to states as
                                                 completeness before acting on the SIP.                  desire to include non-EGUs in a trading               part of a demonstration that a
                                                 EPA’s criteria for determining
                                                 EPA's                                                   program. This may be possible subject                 replacement SIP achieves an equivalent
                                                 completeness of a SIP submission are                    to taking into account a number of                    or greater level of air quality
                                                 codified at 40 CFR part 51, appendix V.                 considerations as discussed earlier in                improvement to the FIP; however, the
                                                    For further background information                   this section to ensure equivalency                    use of such modeling in such a
                                                 on considerations for replacing a FIP                   between the different approaches. But                 demonstration would need to be more
                                                 with a SIP, see the discussion in the                   the state must still demonstrate that the             fully evaluated at the time of such a SIP
                                                 final CSAPR rulemaking (76 FR 48326).                   replacement SIP provides an equivalent                revision.
                                                                                                         or greater amount of emissions
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                                                                                  In all cases, a SIP submitted by a state
                                                 5. SIP Revision Requirements for Non-                   reductions as the proposed FIP to be                  to replace the non-EGU components of
                                                 EGU or Industrial Source Control                        presumptively approvable. The EPA                     the FIPs would very likely need to rely
                                                 Requirements                                            anticipates that such emissions                       on permanent and practically
                                                    EPA’s promulgation of a non-EGU
                                                    EPA's                                                reductions strategies would have to                   enforceable controls measures that are
                                                 transport FIP would in no way affect the                achieve reductions equivalent to or                   included in the SIP and, once approved
                                                 ability of states to submit, for review                 beyond those emissions reductions                     by the EPA, rendered federally
                                                 and approval, a SIP that replaces the                   already projected to occur in EPA's
                                                                                                                                           EPA’s               enforceable. So-called "demonstration-
                                                                                                                                                                                         ‘‘demonstration-


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00190   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023               Page 229 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                            36843
                                                                                                                                                                                                    36843

                                                 only’’ or "non-regulatory"
                                                 only"     ‘‘non-regulatory’’ SIPs would                 to the provisions for reopening for cause                shall be required under any approved
                                                 very likely be insufficient; see                        (40 CFR 70.7(f) and 71.7(f)), significant                . . . emissions trading and other similar
                                                 discussion in response to comments                      modifications (40 CFR 70.7(e)(4)) or the                 programs or processes for changes that
                                                 earlier in this section. Further, the EPA               standard permit renewal provisions (40                   are provided for in the permit.’’
                                                                                                                                                                                            permit." 40 CFR
                                                 anticipates that states would bear the                  CFR 70.7(c) and 71.7(c)). 407 For sources
                                                                                                                          71.7(c)).407                            70.6(a)(8) and 71.6(a)(8). Consistent
                                                 burden of establishing that the state's
                                                                                   state’s               newly subject to title V that are affected               with these provisions in the title V
                                                 alternative approach achieves at least an               sources under the FIPs, the initial title                regulations, in CSAPR, the CSAPR
                                                 equivalent level of emissions reduction                 V permit issued pursuant to 40 CFR                       Update and the Revised CSAPR Update,
                                                 as the FIP.                                             70.7(a) should address the final FIP                     the EPA included a provision stating
                                                                                                         requirements.                                            that no permit revision is necessary for
                                                 E. Title V  Permitting
                                                           V Permitting                                    As was the case in the CSAPR, the                      the allocation, holding, deduction, or
                                                    This final rule, like CSAPR, the                     CSAPR Update and the Revised CSAPR                       transfer of allowances. 40 CFR
                                                 CSAPR Update, and the Revised CSAPR                     Update, the new and amended FIPs                         97.506(d)(1), 97.806(d)(1) and
                                                 Update does not establish any                           impose no independent permitting                         97.1006(d)(1). This provision is also
                                                 permitting requirements independent of                  requirements and the title V permitting                  included in each title V permit for an
                                                 those under Title V of the CAA and the                  process will impose no additional                        affected source. This final rule
                                                 regulations implementing Title V, 40                    burden on sources already required to                    maintains the approach taken under
                                                 CFR parts 70 and 71.     406 All major
                                                                      71.4°6                             be permitted under title V.                              CSAPR, the CSAPR Update and the
                                                 stationary sources of air pollution and                 1. Title V Permitting Considerations for                 Revised CSAPR Update that allows
                                                 certain other sources are required to                   EGUs                                                     allowances to be traded (or allocated,
                                                 apply for title V operating permits that                                                                         held, or deducted) without a revision to
                                                 include emissions limitations and other                    Title V of the CAA establishes the
                                                                                                                                                                  the title V permit of any of the sources
                                                 conditions as necessary to ensure                       basic requirements for state title V                     involved.
                                                 compliance with the applicable                          permitting programs, including, among
                                                                                                         other things, provisions governing                          Similarly, this final rule would also
                                                 requirements of the CAA, including the                                                                           continue to support the means by which
                                                 requirements of the applicable SIP. CAA                 permit applications, permit content, and
                                                                                                         permit revisions that address applicable                 a source in the final trading program can
                                                 sections 502(a) and 504(a), 42 U.S.C.                                                                            use the title V minor modification
                                                 7661a(a) and 7661c(a). The "applicable
                                                                                 ‘‘applicable            requirements under final FIPs in a
                                                                                                         manner that provides the flexibility                     procedure to change its approach for
                                                 requirements’’
                                                 requirements" that must be addressed in                                                                          monitoring and reporting emissions, in
                                                 title V permits are defined in the title V              necessary to implement market-based
                                                                                                         programs such as the trading programs                    certain circumstances. Specifically,
                                                 regulations (40 CFR 70.2 and 71.2                                                                                sources may use the minor modification
                                                 (definition of "applicable
                                                                  ‘‘applicable                           established in CSAPR, the CSAPR
                                                                                                         Update, the Revised CSAPR Update and                     procedure so long as the new
                                                 requirement’’)).
                                                 requirement")).                                                                                                  monitoring and reporting approach is
                                                    The EPA anticipates that, given the                  this final rule. 42 U.S.C. 7661a(b); 40
                                                                                                         CFR 70.6(a)(8) & (10); 40 CFR 71.6(a)(8)                 one of the prior-approved approaches
                                                 nature of the units subject to this final                                                                        under CSAPR, the CSAPR Update and
                                                 rule, most if not all of the sources at                 & (10).
                                                                                                            In CSAPR, the CSAPR Update and the                    the Revised CSAPR Update (i.e.,
                                                 which the units are located are already                                                                          approaches using a continuous
                                                 subject to title V permitting                           Revised CSAPR Update, the EPA
                                                                                                         established standard requirements                        emissions monitoring system under
                                                 requirements and already possess a title                                                                         subparts B and H of 40 CFR part 75, an
                                                 V operating permit. For sources subject                 governing how sources covered by those
                                                                                                         rules would comply with title V and its                  excepted monitoring system under
                                                 to title V, the interstate transport                                                                             appendices D and E to 40 CFR part 75,
                                                 requirements for the 2015 ozone                         regulations.408 40 CFR 97.506(d),
                                                                                                         regulations.408
                                                                                                         97.806(d) and 97.1006(d). For any new                    a low mass emissions excepted
                                                 NAAQS that are applicable to them                                                                                monitoring methodology under 40 CFR
                                                 under the FIPs finalized in this action                 or existing sources subject to this rule,
                                                                                                         identical title V compliance provisions                  75.19, or an alternative monitoring
                                                             ‘‘applicable requirements"
                                                 would be "applicable      requirements’’                                                                         system under subpart E of 40 CFR part
                                                                                                         will apply with respect to the CSAPR
                                                 under title V and therefore must be                                                                              75), and the permit already includes a
                                                                                                         NOX Ozone Season Group 3 Trading
                                                                                                         NOx
                                                 addressed in the title V permits. For                                                                            description of the new monitoring and
                                                                                                         Program. For example, the title V
                                                 example, EGU requirements concerning                                                                             reporting approach to be used. See 40
                                                                                                         regulations provide that a permit issued
                                                 designated representatives, monitoring,                                                                          CFR 97.506(d)(2), 97.806(d)(2) and
                                                                                                                                      ‘‘[a]
                                                                                                         under title V must include "[a]
                                                 reporting, and recordkeeping, the                                                                                97.1006(d)(2); 40 CFR 70.7(e)(2)(i)(B)
                                                                                                         provision stating that no permit revision
                                                 requirement to hold allowances                                                                                   and 71.7(e)(1)(i)(B). As described in
                                                 covering emissions, the compliance                        407 A permit is reopened for cause if any new
                                                                                                           407                                                    EPA’s 2015 Title V Guidance, sources
                                                                                                                                                                  EPA's
                                                 assurance provisions, and liability, and                applicable requirements (such as those under a FIP)      may comply with this requirement by
                                                 for non-EGUs, the emissions limits and                  become applicable to an affected source with a
                                                                                                                                                                  including a table of all of the approved
                                                 compliance requirements are, to the                     remaining permit term of 3 or more years. If the
                                                                                                         remaining permit term is less than 3 years, such         monitoring and reporting approaches
                                                 extent relevant to each source,                         new applicable requirements will be added to the         under CSAPR, the CSAPR Update and
                                                 ‘‘applicable requirements’’
                                                 "applicable    requirements" that must be               permit during permit renewal. See 40 CFR                 the Revised CSAPR Update trading
                                                 addressed in the permits.                               70.7(f)(1)(i) and 71.7(f)(1)(i).
                                                                                                                                                                  programs in which the source is
                                                                       EPA’s approach
                                                    Consistent with EPA's                                  408 The EPA has also issued a guidance document
                                                                                                                                                                  required to participate, and the
                                                 under CSAPR, the CSAPR Update and                       and template that includes instructions for how to
                                                                                                         incorporate the applicable requirements into a           applicable requirements governing each
                                                 the Revised CSAPR Update, the                           source’s Title V permit. See Memorandum dated
                                                                                                         source's                                                 of those approaches.409
                                                                                                                                                                            approaches.409 Inclusion of
ddrumheller on DSK120RN23PROD with RULES2




                                                 applicable requirements resulting from                  May 13, 2015, from Anna Marie Wood, Director, Air        such a table in a source's
                                                                                                                                                                                     source’s title V permit
                                                 the FIPs generally will have to be                      Quality Policy Division, and Reid P. Harvey,
                                                                                                                                                                  therefore allows a covered unit that
                                                 incorporated into affected sources'
                                                                                sources’                 Director, Clean Air Market Division, EPA, to
                                                                                                         Regional Air Division Directors, Subject: "Title
                                                                                                                                                     ‘‘Title V    seeks to change or add to its chosen
                                                 existing title V permits either pursuant                Permit Guidance and Template for the Cross-State         monitoring and recordkeeping approach
                                                                                                         Air Pollution Rule’’
                                                                                                                         Rule" (‘‘2015          Guidance’’),
                                                                                                                                ("2015 Title V Guidance"),        to easily comply with the regulations
                                                   4" Part 70 addresses requirements for state title
                                                   406                                                                 https://www.epa.gov/sites/default/files/
                                                                                                         available at https://www.epa.govIsitesIdefaultIfiles/
                                                 V programs, and part 71 governs the Federal title       2016–10/documents/csapr_title_v_permit_
                                                                                                         2016-10/documentsksapr         title vpermit
                                                 V program.                                              guidance.pdf.
                                                                                                         guidance.pdf                                              409 Id.
                                                                                                                                                                   409 Id.



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00191   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM    05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023                Page 230 of 430
                                                 36844
                                                 36844                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 governing the use of the title V minor      emissions reduction requirements under                            been met by participation of the state's
                                                                                                                                                                                                   state’s
                                                 modification procedure.                          NOX SIP Call for these large EGUs.
                                                                                             the NOx                                                           large EGUs in the CSAPR NOx  NOX Ozone
                                                    Under CSAPR, the CSAPR Update               With respect to the large non-EGU                              Season Group 2 Trading Program (or
                                                 and the Revised CSAPR Update, to            boilers and combustion turbines that                              earlier by the CSAPR NOxNOX Ozone
                                                 employ a monitoring or reporting            formerly participated in the NOx     NOX Budget                   Season Group 1 Trading Program), the
                                                 approach different from the prior-          Trading Program under the NOx       NOX SIP                       EPA will deem those obligations to be
                                                 approved approaches discussed               Call, the EPA provided options under                              satisfied by the participation of the same
                                                 previously, unit owners and operators       both the CSAPR Update and the Revised                             sources in the CSAPR NOx NOX Ozone
                                                 must submit monitoring system               CSAPR Update for states to address                                Season Group 3 Trading Program.
                                                 certification applications to the EPA              sources’ ongoing NOx
                                                                                             these sources'                 NOX SIP Call                       Specifically, for all states covered by the
                                                 establishing the monitoring and             requirements by expanding applicability                           Group 3 trading program under this rule
                                                 reporting approach actually to be used      of the relevant CSAPR trading programs                            except Minnesota, Nevada, and Utah,
                                                 by the unit, or, if the owners and          for ozone season NOx  NOX emissions to                            participation of the state's
                                                                                                                                                                                     state’s EGUs in the
                                                 operators choose to employ an               include the sources, and no state chose                           Group 3 trading program will be
                                                 alternative monitoring system, to submit to use these options. As discussed in                                deemed to satisfy not only the EGU-
                                                 petitions for that alternative to the EPA. sections VI.D.2 and VI.D.3, in this rule                           related portion of the state's
                                                                                                                                                                                       state’s good
                                                 These applications and petitions are        the EPA is removing the previous                                  neighbor obligations with respect to the
                                                 subject to the EPA review and approval      regulatory text defining specific options                         2015 ozone NAAQS but also the state's
                                                                                                                                                                                                   state’s
                                                 to ensure consistency in monitoring and for states to expand trading program                                  good neighbor obligations with respect
                                                 reporting among all trading program         applicability to include these sources                            to the 2008 ozone NAAQS. In addition,
                                                 participants. EPA's
                                                                EPA’s responses to any       and instead will evaluate any SIP                                 for Alabama, Arkansas, Illinois, Indiana,
                                                 petitions for alternative monitoring        revisions seeking to include these                                Kentucky, Louisiana, Michigan,
                                                 systems or for alternatives to specific     sources in the Group 3 trading program                            Mississippi, Missouri, Oklahoma, and
                                                 monitoring or reporting requirements                               basis.411
                                                                                             on a case-by-case basis.411                                       Wisconsin, participation of the state's
                                                                                                                                                                                                  state’s
                                                 are posted on EPA's
                                                                 EPA’s website.410
                                                                        website.410 The                                                                        EGUs in the Group 3 trading program
                                                 EPA maintains the same approach for         2. Acid Rain Program                                              will also be deemed to satisfy the state's
                                                                                                                                                                                                     state’s
                                                 the trading program in this final rule.        This rule does not affect any SO2     SO2 and                  good neighbor obligations with respect
                                                 2. Title V Permitting Considerations for    NOX requirements under the Acid Rain
                                                                                             NOx                                                                                   NAAQS.412
                                                                                                                                                               to the 1997 ozone NAAQS.412
                                                 Industrial Stationary Sources               Program, which are established
                                                                                                                                                               VII. Environmental Justice Analytical
                                                                                             separately under 40 CFR parts 72                                  Considerations and Stakeholder
                                                    For non-EGU sources, affected sources through 78 and will continue to apply
                                                 will need to work with their local, state, independently of this rule’s                                       Outreach and Engagement
                                                                                                                           rule's provisions.
                                                 or tribal permitting authority to           Sources subject to the Acid Rain                                                      EPA’s commitment to
                                                                                                                                                                 Consistent with EPA's
                                                 determine if the new applicable             Program will continue to be required to                           integrating environmental justice in the
                                                 requirements should be incorporated         comply with all requirements of that                              agency’s actions, and following the
                                                                                                                                                               agency's
                                                 into their existing title V permit under    program, including the requirement to                             directives set forth in multiple
                                                 the reopening for cause, significant        hold sufficient allowances issued under                           Executive orders, the Agency has
                                                 modification, or permit renewal             the Acid Rain Program to cover their                              analyzed the impacts of this final rule
                                                 procedures of the approved permitting       SO
                                                                                             SO22 emissions after the end of each                              on communities with environmental
                                                 program. Title V permits for existing       control period.                                                   justice concerns and engaged with
                                                 sources will need to be updated to                                                                            stakeholders representing these
                                                 include the applicable requirements of      3. Other CSAPR Trading Programs                                   communities to seek input and
                                                 this final rule and any necessary              This rule does not substantively affect                        feedback. Executive Order 12898 is
                                                 preconstruction permits obtained in         any provisions of the CSAPR NOx       NOX                         discussed in section X.J of this final rule
                                                 order to comply with this final rule.       Annual, CSAPR SO     SO22 Group 1, CSAPR                          and analytical results are available in
                                                 F. Relationship to Other Emissions          SO
                                                                                             SO22 Group 2, CSAPR NOx      NOX Ozone                            Chapter 7 of the RIA. This analysis is
                                                 Trading and Ozone Transport Programs Season Group 1, or CSAPR NOx
                                                 Trading                                                                         NOX Ozone                     being provided for informational
                                                                                             Season Group 2 trading programs for                               purposes only.
                                                 1. NOx
                                                    NOX SIP Call                             sources that continue to participate in                           A. Introduction
                                                    Sources in states affected by both the   those programs. Sources subject to any
                                                 NOX SIP Call for the 1979 ozone
                                                 NOx                                         of the CSAPR trading programs will                                  Executive Order 12898 directs EPA to
                                                 NAAQS and the requirements                  continue to be required to comply with                            identify the populations of concern who
                                                 established in this final rule for the 2015 all requirements of all such trading                              are most likely to experience unequal
                                                 ozone NAAQS will be required to             programs to which they are subject,                               burdens from environmental harms;
                                                 comply with the requirements of both        including the requirement to hold                                 specifically, minority populations, low-
                                                 rules. With respect to EGUs larger than     sufficient allowances issued under the                            income populations, and indigenous
                                                 25 MW, in this rule the EPA is requiring respective programs to cover emissions                               peoples. 413 Additionally, Executive
                                                                                                                                                               peoples.413
                                                 NOX ozone season emissions reductions after the end of each control period.
                                                 NOx                                                                                                              412 For the remaining state transitioning from the
                                                                                                                                                                  412
                                                 from these sources in many of the NOxNOX       The EPA also notes that where a                                Group 2 trading program to the Group 3 trading
                                                                                             state’s good neighbor obligations with
                                                 SIP Call states, and at greater stringency state's                                                            program under this rule—Texas—as well as the
                                                 than required by the NOxNOX SIP Call, by    respect to the 1997 ozone NAAQS or the                            remaining states that transitioned from the Group
ddrumheller on DSK120RN23PROD with RULES2




                                                                                             2008 ozone NAAQS have previously                                  2 trading program to the Group 3 trading program
                                                 requiring the EGUs to participate in the                                                                      under the Revised CSAPR Update—Maryland, New
                                                 CSAPR NOxNOX Ozone Season Group 3                                                                             Jersey, New York, Ohio, Pennsylvania, Virginia, and
                                                 Trading Program. The emissions                411 Only one NOx
                                                                                                            NOX SIP Call state—Tennessee—                      West Virginia—participation of the states'
                                                                                                                                                                                                     states’ EGUs in
                                                 reductions required under this rule are     continues to participate in the Group 2 trading                   the Group 2 trading program as required by the
                                                                                             program, and the EPA has already approved other                   CSAPR Update was addressing good neighbor
                                                 therefore sufficient to satisfy the                                                NOX SIP Call
                                                                                             SIP provisions addressing the ongoing NOx                         obligations of the states with respect to only the
                                                                                                                         Tennessee’s large non-EGU boilers
                                                                                                         obligations for Tennessee's                           2008 ozone NAAQS, not the 1997 ozone NAAQS.
                                                   410 https://www.epa.gov/airmarkets/part-75-
                                                   410 https://www.epa.govlairmarkets/part-75-           and combustion turbines. See 84 FR 7998 (March        See 81 FR 74523–74526.
                                                                                                                                                                           74523-74526.
                                                 petition-responses.                                     6, 2019); 86 FR 12092 (March 2, 2021).                       59 FR 7629, February 16, 1994.
                                                                                                                                                                  413 59




                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00192   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 231 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                         36845
                                                                                                                                                                                                 36845

                                                 Order 13985 is intended to advance               For the final rule, we employ two                             associated with unique limitations and
                                                 racial equity and support underserved         types of analytics to respond to the                             uncertainties.
                                                 communities through Federal                   previous three questions: proximity                                 Baseline demographic proximity
                                                                actions.414 The EPA
                                                 Government actions.414                        analyses and exposure analyses. Both                             analyses can be relevant for identifying
                                                 defines environmental justice as the fair     types of analyses can inform whether                             populations that may be exposed to
                                                 treatment and meaningful involvement          there are potential EJ concerns for                                                          NO2 emitted
                                                                                                                                                                local pollutants, such as NO2
                                                 of all people regardless of race, color,      population groups of concern in the                              from affected sources in this final rule.
                                                 national origin, or income, with respect                           1).417
                                                                                               baseline (question 1).  417 In contrast,                         However, such analyses are less useful
                                                 to the development, implementation,           only the exposure analyses, which are                            here as they do not account for the
                                                 and enforcement of environmental laws,        based on future air quality modeling,                            potential impacts of this final rule on
                                                 regulations, and policies. The EPA            can inform whether there will be                                 long-range concentration changes.
                                                 further defines the term fair treatment to    potential EJ concerns after                                      Baseline demographic proximity
                                                             ‘‘no group of people should
                                                 mean that "no                                 implementation of the regulatory                                 analysis presented in the RIA suggest
                                                 bear a disproportionate burden of             options under consideration (question                            that larger percentages of Hispanics,
                                                 environmental harms and risks,                2) and whether potential EJ concerns                             African Americans, people below the
                                                 including those resulting from the            will be created or mitigated compared to                         poverty level, people with less
                                                 negative environmental consequences of        the baseline (question 3). While the                             educational attainment, and people
                                                 industrial, governmental, and                 exposure analysis can respond to all                             linguistically isolated are living within
                                                 commercial operations or programs and         three questions, several caveats should                          5 km and 10 km of an affected EGU,
                                                 policies.’’ 415 In recognizing that
                                                 policies." 415                                be noted. For example, the air pollutant                         compared to national averages. It also
                                                 minority and low-income populations           exposure metrics are limited to those                            finds larger percentages of African
                                                 often bear an unequal burden of               used in the benefits assessment. For                             Americans, people below the poverty
                                                 environmental harms and risks, the EPA        ozone, that is the maximum daily 8-                              level, and with less educational
                                                 continues to consider ways of protecting      hour average, averaged across the April                          attainment living within 5 km and 10
                                                 them from adverse public health and           through September warm season (AS–   (AS—                        km of an affected non-EGU facility.
                                                 environmental effects of air pollution.       MO3) and for PM2.5
                                                                                                               PM2.5 that is the annual                         Relating these results to question 1 from
                                                                                               average. This ozone metric likely                                section 7.2 of the RIA, we conclude that
                                                 B. Analytical Considerations                  smooths potential daily ozone gradients                          there may be potential EJ concerns
                                                    The EPA's
                                                         EPA’s environmental justice (EJ)      and is not directly relatable to the                             associated with directly emitted
                                                 technical guidance 416416 states that:        National Ambient Air Quality Standard                            pollutants that are affected by the
                                                                                               (NAAQS), whereas the PM2.5PM2.5 metric is                                                 NO2) for certain
                                                                                                                                                                regulatory action (e.g., NO2)
                                                   The analysis of potential EJ concerns for
                                                                                               more similar to the long term PM PM2.5
                                                                                                                                   2.5                          population groups of concern in the
                                                 regulatory actions should address three
                                                 questions:                                    standard. The air quality modeling                               baseline. However, as proximity to
                                                   1. Are there potential EJ concerns          estimates are also based on state level                          affected facilities does not capture
                                                 associated with environmental stressors       emissions data paired with facility-level                        variation in baseline exposure across
                                                 affected by the regulatory action for         baseline emissions, and provided at a                            communities, nor does it indicate that
                                                                                                              12km2. Additionally, here
                                                 population groups of concern in the baseline? resolution of 12km2.                                             any exposures or impacts will occur,
                                                   2. Are there potential EJ concerns          we focus on air quality changes due to                           these results do not in themselves
                                                 associated with environmental stressors       this final rulemaking and infer post-                            demonstrate disproportionate impacts of
                                                 affected by the regulatory action for         policy exposure burden impacts.                                  affected facilities in the baseline and
                                                 population groups of concern for the             Exposure analytic results are provided                        should not be interpreted as a direct
                                                 regulatory option(s) under consideration?
                                                                                               in two formats: aggregated and                                   measure of exposure or impact.
                                                   3. For the regulatory option(s) under
                                                 consideration, are potential EJ concerns      distributional. The aggregated results                              Whereas proximity analyses are
                                                 created or mitigated compared to the          provide an overview of potential ozone                           limited to evaluating the
                                                 baseline?                                     exposure differences across populations                          representativeness of populations
                                                                                               at the national- and state-levels, while                         residing nearby affected facilities, the
                                                    To address these questions in the          the distributional results show detailed                                     PM2.5 exposure analyses can
                                                                                                                                                                ozone and PM2.5
                                                 EPA’s first quantitative EJ analysis in
                                                 EPA's                                         information about ozone concentration                            provide insight into all three EJ
                                                 the context of a transport rule, the EPA      changes experienced by everyone                                  questions. Even though both the
                                                 developed a unique analytical approach within each population.                                                 proximity and exposure analyses can
                                                 that considers the purpose and specifics         In Chapter 7 of the RIA we utilize the                        potentially improve understanding of
                                                 of the final rulemaking, as well as the       two types of analytics to address the                            baseline EJ concerns (question 1), the
                                                 nature of known and potential                 three EJ questions by quantitatively                             two should not be directly compared.
                                                 exposures and impacts. However, due to evaluating: (1) the proximity of affected                               This is because the demographic
                                                 data limitations, it is possible that our     facilities to potentially disadvantaged                          proximity analysis does not include air
                                                 analysis failed to identify disparities       populations (section 7.3); and (2) the                           quality information and is based on
                                                 that may exist, such as potential             potential for disproportionate ozone and                         current, not future, population
                                                 environmental justice characteristics         PM2.5 concentrations in the baseline and
                                                                                               PM2.5                                                            information.
                                                 (e.g., residence of historically red lined    concentration changes after rule                                    The baseline analysis of ozone and
                                                 areas), environmental impacts (e.g.,          implementation across different                                  PM2.5 concentration burden responds to
                                                                                                                                                                PM2.5
                                                 other ozone metrics), and more granular demographic groups (section 7.4). Each                                 question 1 from EPA's
                                                                                                                                                                                  EPA’s environmental
                                                 spatial resolutions (e.g., neighborhood
ddrumheller on DSK120RN23PROD with RULES2




                                                                                               of these analyses depends on mutually                            justice technical guidance document
                                                 scale) that were not evaluated.               exclusive assumptions, was performed                             more directly than the proximity
                                                                                               to answer separate questions, and is                             analyses, as it evaluates a form of the
                                                   414 86 FR 7009, January 20, 2021.
                                                   414 86                                                                                                       environmental stressor targeted by the
                                                   415 https://www.epa.gov/environmentaljustice.
                                                   415 https://www.epa.govIenvironmentaljustice.           417 The baseline for proximity analyses is current
                                                                                                           417                                                  regulatory action. Baseline ozone and
                                                   416 U.S. Environmental Protection Agency (EPA),
                                                   416
                                                                                                         population information (e.g., 2021), whereas the
                                                 2015. Guidance on Considering Environmental
                                                                                                                                                                PM2.5 analyses show that certain
                                                                                                                                                                PM2.5
                                                                                                         baseline for ozone exposure analyses are the future
                                                 Justice During the Development of Regulatory            years in which the regulatory options will be          populations, such as Hispanics, Asians,
                                                 Actions.                                                implemented (e.g., 2023 and 2026).                     those linguistically isolated, those less


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00193   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                                    Document #2009836                                          Filed: 07/27/2023                           Page 232 of 430
                                                 36846
                                                 36846                    Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                  Register/Vol.

                                                 educated, and children may experience                              public to submit written comments to
                                                                                                                                    (2016$) in 2026. The EPA also analyzed
                                                 somewhat higher ozone and PM  PM2.5
                                                                                   2.5                              the regulatory docket for this
                                                                                                                                    a more and a less stringent alternative.
                                                 concentrations compared to the national                            rulemaking.420 The EPA also invited the
                                                                                                                    rulemaking.42°  The more and less stringent alternatives
                                                 average. Therefore, also in response to                                            differ from the rule in that they set
                                                                                                                    public to participate in a public hearing
                                                 question 1, there likely are potential                                             different NOx
                                                                                                                                               NOX ozone season emissions
                                                                                                                    held on April 21, 2022. A transcript of
                                                 environmental justice concerns                                     the public hearing is available in the
                                                                                                                                    budgets for the affected EGUs and
                                                                              PM2.5
                                                 associated with ozone and PM2.5                                    docket for this rulemaking.
                                                                                                                                    different dates for large, coal-fired
                                                 exposures affected by the regulatory                               Additionally, on March 31, 2022, the
                                                                                                                                    EGUs’ compliance with the backstop
                                                                                                                                    EGUs'
                                                 action for population groups of concern                            EPA hosted an informational webinar
                                                                                                                                    emissions rate.
                                                 in the baseline. However, these baseline                                              For non-EGUs, the EPA developed an
                                                                                                                    with non-governmental groups and
                                                 exposure results have not been fully                               environmental justice stakeholders to
                                                                                                                                    analytical framework to determine
                                                 explored and additional analyses are                               answer questions and share information
                                                                                                                                    which industries and emissions unit
                                                 likely needed to understand potential                              about the proposed rule. A record of this
                                                                                                                                    types to include in a proposed
                                                 implications. In addition, we infer that                           webinar, including the informational
                                                                                                                                    Transport FIP for the 2015 ozone
                                                 disparities in the ozone and PM2.5
                                                                               PM2.5                                power point shared at the webinar is
                                                                                                                                    NAAQS transport obligations. A
                                                 concentration burdens are likely to                                available in the docket for this
                                                                                                                                    February 28, 2022 memorandum, titled
                                                 persist after implementation of the                                rulemaking.     ‘‘Screening Assessment of Potential
                                                                                                                                    "Screening
                                                 regulatory action or alternatives under                                            Emissions Reductions, Air Quality
                                                                                           VIII. Costs, Benefits, and Other Impacts
                                                 consideration due to similar modeled                                               Impacts, and Costs from Non-EGU
                                                                                           of the Final Rule
                                                 concentration reductions across                                                    Emissions Units for 2026,’’
                                                                                                                                                          2026," documents
                                                 population demographics (question 2).        In the RIA for the Federal Good       the analytical framework used to
                                                    Question 3 asks whether potential EJ   Neighbor Plan Addressing Regional        identify industries and emissions unit
                                                 concerns will be created or mitigated as  Ozone Transport for the 2015 Ozone       types included in the proposed FIP. To
                                                 compared to the baseline. Due to the      National Ambient Air Quality             further evaluate the industries and
                                                 very small differences observed in the    Standards, the EPA estimated the health emissions unit types identified and to
                                                 distributional analyses of post-policy    and climate benefits, compliance costs,  establish the proposed emissions limits,
                                                 ozone and PM2.5
                                                             PM2.5 exposure impacts        and emissions changes that may result    the EPA reviewed Reasonably RACT
                                                 across populations, we do not find        from the final rule for the analysis     rules, NSPS rules, NESHAP rules,
                                                 evidence that potential EJ concerns       period 2023 to 2042. The estimated       existing technical studies, rules in
                                                 related to ozone and PM2.5
                                                                       PM2.5               health and climate benefits and          approved SIP submittals, consent
                                                 concentrations will be created or         compliance costs are presented in detail decrees, and permit limits. That
                                                 mitigated as compared to the              in this RIA. The EPA notes that for      evaluation is detailed in the Proposed
                                                 baseline.418
                                                 baseline.418                              EGUs the estimated benefits and          Non-EGU Sectors TSD prepared for the
                                                                                           compliance costs are directly associated proposed FIP. The EPA is retaining the
                                                 C. Outreach and Engagement                with fully operating existing SCRs       industries and many of the emissions
                                                    Prior to proposal, the EPA hosted an   during ozone season; fully operating     unit types included in the proposal in
                                                 outreach webinar with environmental       existing SNCRs during ozone season;      this final action. For the non-EGU
                                                 justice stakeholders to share information installing state-of-the-art combustion   industries, in the final rule we made
                                                 about the proposed rule and solicit       controls; imposing a backstop emissions some minor changes to the non-EGU
                                                 feedback about potential environmental rate on certain units that lack SCR         emissions units covered, the
                                                 justice considerations. The webinar was controls; and installing SCR and SNCR      applicability criteria, as well as
                                                 attended by representatives of state      post-combustion controls. The EPA also provided for facility-wide emissions
                                                 governments, federally recognized         notes that for non-EGUs the estimated    averaging for engines and for a low-use
                                                 tribes, environmental NGOs, higher        health benefits and compliance costs are exemption to eliminate the need to
                                                 education institutions, industry, and the directly associated with installing      install controls on low-use boilers.
                                                 EPA.419 Participants were invited to
                                                 EPA.419                                                         NOX emissions
                                                                                           controls to meet the NOx                    Table VIII-1
                                                                                                                                              VIII–1 provides the projected
                                                 comment on pre-proposal                   requirements presented in section I.B of 2023 through 2027, 2030, 2035, and
                                                 environmental justice considerations      this document.                           2042 EGU NOx,
                                                                                                                                                NOX, SO  2, PM2.5,
                                                                                                                                                      SO2,  PM2.5, and CO2
                                                                                                                                                                        CO2
                                                 during the webinar or submit written         For EGUs, the EPA analyzed this       emissions reductions for the evaluated
                                                 comments to a pre-proposal non-           action’s emissions budgets using
                                                                                           action's                                 regulatory control alternatives. For
                                                 regulatory docket.                        uniform control stringency represented   additional information on emissions
                                                    After proposal, the EPA opened a       by $1,800 per ton of NOx
                                                                                                                 NOX (2016$) in     changes, see Table 4–6
                                                                                                                                                         4-6 and Table 4–7
                                                                                                                                                                         4-7 in
                                                 public comment period to invite the       2023 and $11,000 per ton of NOxNOX       Chapter 4 of the RIA.
                                                 TABLE VIII-1—EGU
                                                 TABLE VIII–1—EGU OZONE
                                                                   OZONE S EASON NO
                                                                          SEASON NOx  EMISSIONS CHANGES
                                                                                    X EMISSIONS CHANGES AND ANNUAL
                                                                                                            ANNUAL EMISSIONS
                                                                                                                   EMISSIONS R
                                                                                                                             REDUCTIONS (TONS) FOR NOR,
                                                                                                                              EDUCTIONS (TONS)     NOX,
                                                              SO2, PM2.5,
                                                              SO2, PM2.5, AND CO2
                                                                              CO2 FOR THE REGULATORY
                                                                                          REGULATORY CONTROL
                                                                                                     CONTROL ALTERNATIVES
                                                                                                              ALTERNATIVES F
                                                                                                                           FROM 2023–2042
                                                                                                                            ROM 2023-2042

                                                                                                                                                                                  Final rule             Less stringent              More stringent
                                                                                                                                                                                                          alternative                 alternative
                                                 2023:
                                                 2023:
                                                      NOX (ozone season) ..................................................................................................            10,000                       10,000                       10,000
ddrumheller on DSK120RN23PROD with RULES2




                                                      NOx
                                                      NOR
                                                      NOX (annual) ..............................................................................................................      15,000                       15,000                       15,000
                                                      SO2 (annual) ...............................................................................................................
                                                      SO2                                                                                                                                1,000                        3,000                        1,000
                                                      Co:
                                                      CO.-: 2 (annual.
                                                              (annual, thousand metric tons) .......................................................................... .......................... ............................ ............................

                                                   419 Please note, exposure results should not be
                                                   418                                                                419 This does not constitute EPA's
                                                                                                                      419                          EPA’s tribal                             420
                                                                                                                                                                                            429 Comments and responses regarding
                                                 extrapolated to other air pollutant. Detailed                      consultation under E.O. 13175, which is described                     environmental justice considerations are available
                                                 environmental justice analytical results can be                    in section XI.F of this rule.                                         in Section 6 of the RTC
                                                                                                                                                                                                              RTC document for this
                                                 found in Chapter 7 of the RIA.                                                                                                           rulemaking.



                                            VerDate Sep<11>2014      20:14 Jun 02, 2023      Jkt 259001      PO 00000      Frm 00194      Fmt 4701     Sfmt 4700      E:\FR\FM\05JNR2.SGM           05JNR2
                                                       USCA Case #23-1157                                            Document #2009836                                        Filed: 07/27/2023                              Page 233 of 430
                                                                              Federal
                                                                              Federal Register / Vol. 88,
                                                                                      Register/Vol.   88, No.
                                                                                                          No. 107/Monday,
                                                                                                              107 / Monday, June
                                                                                                                            June 5,
                                                                                                                                 5, 2023 / Rules and
                                                                                                                                    2023/Rules   and Regulations
                                                                                                                                                     Regulations                                                                                             36847
                                                                                                                                                                                                                                                             36847


                                                 TABLE VIII-1-EGU
                                                 TABLE VIII–1—EGU OZONE
                                                                   OZONE S        NOX EMISSIONS
                                                                           EASON NOx
                                                                          SEASON      EMISSIONS CHANGES
                                                                                                CHANGES AND ANNUAL
                                                                                                            ANNUAL EMISSIONS
                                                                                                                    EMISSIONS R          (TONS) FOR NOx,
                                                                                                                               EDUCTIONS (TONS)
                                                                                                                              REDUCTIONS            NOX,
                                                         SO2, PM2.5,
                                                         SO2, PM2.5, AND CO2
                                                                         CO2 FOR THE REGULATORY
                                                                                     REGULATORY CONTROL
                                                                                                 CONTROL ALTERNATIVES
                                                                                                         ALTERNATIVES FROM
                                                                                                                      FROM 2023-2042-Continued
                                                                                                                            2023–2042—Continued

                                                                                                                                                                                        Final rule                Less stringent                 More stringent
                                                                                                                                                                                                                   alternative                    alternative

                                                    PM2.5 (annual) ............................................................................................................
                                                    PM2.5                                                                                                                          ..........................   ............................   ............................
                                                 2024:
                                                    NOx
                                                    NOX (ozone season) ..................................................................................................                        21,000                          10,000                        33,000
                                                    NOX (annual) ..............................................................................................................
                                                    NOx                                                                                                                                          25,000                          15,000                        57,000
                                                    SO2 (annual) ...............................................................................................................
                                                    SO2                                                                                                                                          19,000                            5,000                       59,000
                                                    CO2 (annual, thousand metric tons) ..........................................................................
                                                    CO2                                                                                                                                          10,000                            4,000                       20,000
                                                    PM2.5 (annual) ............................................................................................................
                                                    PM2.5                                                                                                                                         1,000         ............................                    1,000
                                                 2025:
                                                    NOx
                                                    NOX (ozone season) ..................................................................................................                        32,000                         10,000                        56,000
                                                    NOX (annual) ..............................................................................................................
                                                    NOx                                                                                                                                          35,000                         15,000                        99,000
                                                    SO2 (annual) ...............................................................................................................
                                                    SO2                                                                                                                                          38,000                          7,000                       118,000
                                                    CO2 (annual, thousand metric tons) ..........................................................................
                                                    CO2                                                                                                                                          21,000                          8,000                        40,000
                                                    PM2.5 (annual) ............................................................................................................
                                                    PM2.5                                                                                                                                         2,000                          1,000                         2,000
                                                 2026:
                                                    NOx
                                                    NOX (ozone season) ..................................................................................................                        25,000                            8,000                      49,000
                                                    NOX (annual) ..............................................................................................................
                                                    NOx                                                                                                                                          29,000                          12,000                       88,000
                                                    SO2 (annual) ...............................................................................................................
                                                    SO2                                                                                                                                          29,000                            5,000                     104,000
                                                    CO2 (annual, thousand metric tons) ..........................................................................
                                                    CO2                                                                                                                                          16,000                            6,000                      34,000
                                                    PM2.5 (annual) ............................................................................................................
                                                    PM2.5                                                                                                                                         1,000         ............................                   2,000
                                                 2027:
                                                    NOx
                                                    NOX (ozone season) ..................................................................................................                        19,000                            6,000                       43,000
                                                    NOX (annual) ..............................................................................................................
                                                    NOx                                                                                                                                          22,000                            9,000                       78,000
                                                    SO2 (annual) ...............................................................................................................
                                                    SO2                                                                                                                                          21,000                            4,000                       91,000
                                                    CO2 (annual, thousand metric tons) ..........................................................................
                                                    CO2                                                                                                                                          10,000                            3,000                       28,000
                                                    PM2.5 (annual) ............................................................................................................
                                                    PM2.5                                                                                                                                         1,000         ............................                    2,000
                                                 2030:
                                                    NOx
                                                    NOX (ozone season) ..................................................................................................                        34,000                         33,000                          31,000
                                                    NOX (annual) ..............................................................................................................
                                                    NOx                                                                                                                                          62,000                         59,000                          50,000
                                                    SO2 (annual) ...............................................................................................................
                                                    SO2                                                                                                                                          93,000                         98,000                          51,000
                                                    CO2 (annual, thousand metric tons) ..........................................................................
                                                    CO2                                                                                                                                          26,000                         23,000                            8,000
                                                    PM2.5 (annual) ............................................................................................................
                                                    PM2.5                                                                                                                                         1,000                          1,000         ............................
                                                 2035:
                                                    NOx
                                                    NOX (ozone season) ..................................................................................................                        29,000                         30,000                          27,000
                                                    NOX (annual) ..............................................................................................................
                                                    NOx                                                                                                                                          46,000                         46,000                          41,000
                                                    SO2 (annual) ...............................................................................................................
                                                    SO2                                                                                                                                          21,000                         19,000                          15,000
                                                    CO2 (annual, thousand metric tons) ..........................................................................
                                                    CO2                                                                                                                                          16,000                         15,000                            8,000
                                                    PM2.5 (annual) ............................................................................................................
                                                    PM2.5                                                                                                                                         1,000                          1,000         ............................
                                                 2042:
                                                    NOx
                                                    NOX (ozone season) ..................................................................................................                        22,000                         22,000                         22,000
                                                    NOX (annual) ..............................................................................................................
                                                    NOx                                                                                                                                          23,000                         22,000                         21,000
                                                    SO2 (annual) ...............................................................................................................
                                                    SO2                                                                                                                                          15,000                         15,000                          7,000
                                                    CO2 (annual, thousand metric tons) ..........................................................................
                                                    CO2                                                                                                                                           9,000                          8,000                          4,000
                                                    PM2.5 (annual).
                                                    PM2.5

                                                    Emissions changes for NOx,
                                                                          NOX, SO2,
                                                                               SO2, and PM2.5
                                                                                        PM2.5 are in tons.


                                                   Table VIII-2
                                                         VIII–2 provides a summary of                                          starting in 2026, along with the                                  in the RIA
                                                                                                                                                                                                        RIA assumes that the estimated
                                                                  NOX emissions for
                                                 the ozone season NOx                                                          estimated ozone season NOx
                                                                                                                                                        NOX reductions                           reductions in 2026 will be the same in
                                                 non-EGUs for the 20 states subject to the                                     for 2026 for the rule and the less and                            later years.
                                                 non-EGU emissions requirements                                                more stringent alternatives. The analysis

                                                    TABLE VIII-2-OZONE
                                                    TABLE VIII–2—OZONE S      NOX EMISSIONS
                                                                        EASON NOx
                                                                       SEASON     EMISSIONS AND EMISSIONS
                                                                                                EMISSIONS R           (TONS) FOR NON-EGOS
                                                                                                            EDUCTIONS (TONS)
                                                                                                          REDUCTIONS             NON-EGUS FOR THE FINAL
                                                                                                                                                  FINAL
                                                                            RULE AND THE LESS
                                                                            RULE         LESS AND MORE
                                                                                                  MORE S
                                                                                                       STRINGENT  ALTERNATIVES
                                                                                                         TRINGENT ALTERNATIVES

                                                                                                                                                             2019 Ozone                   rule—
                                                                                                                                                                                    Final rule-                      stringent—
                                                                                                                                                                                                                Less stringent-                More stringent—
                                                                                                                                                                                                                                                    stringent-
                                                                                                 State                                                         season              ozone season                  ozone season                   ozone season
                                                                                                                                                             emissions aa          NOx
                                                                                                                                                                                   NOX reductions               NOX reductions
                                                                                                                                                                                                                NOx                            NOX reductions
                                                                                                                                                                                                                                               NOx

                                                 AR ....................................................................................................                8,790                      1,546                            457                          1,690
                                                 CA ....................................................................................................               16,562                      1,600                          1,432                          4,346
ddrumheller on DSK120RN23PROD with RULES2




                                                 IL ......................................................................................................             15,821                      2,311                            751                          2,991
                                                 IN .....................................................................................................              16,673                      1,976                          1,352                          3,428
                                                 KY ....................................................................................................               10,134                      2,665                            583                          3,120
                                                 LA .....................................................................................................              40,954                      7,142                          1,869                          7,687
                                                 MD ...................................................................................................                 2,818                        157                            147                          1,145
                                                 MI .....................................................................................................              20,576                      2,985                            760                          5,087
                                                 MO ...................................................................................................                11,237                      2,065                            579                          4,716
                                                 MS ....................................................................................................                9,763
                                                                                                                                                                        9.763                      2,499
                                                                                                                                                                                                   2.499                            507                          2,650
                                                                                                                                                                                                                                                                 2.650



                                            VerDate Sep<11>2014          20:14 Jun 02, 2023          Jkt 259001       PO 00000        Frm 00195        Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM           05JNR2
                                                       USCA Case #23-1157                                           Document #2009836                                              Filed: 07/27/2023                                Page 234 of 430
                                                 36848
                                                 36848                        Federal Register / Vol. 88, No. 107/Monday,
                                                                                      Register/Vol.           107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                                    2023/Rules

                                                    TABLE VIII-2-OZONE
                                                    TABLE VIII–2—OZONE SEASON NO
                                                                       SEASON NOx  EMISSIONS AND EMISSIONS
                                                                                 X EMISSIONS     EMISSIONS R          (TONS) FOR NON-EGOS
                                                                                                            EDUCTIONS (TONS)
                                                                                                           REDUCTIONS            NON-EGUS FOR THE FINAL
                                                                                                                                                  FINAL
                                                                       RULE AND THE L
                                                                       RULE           ESS AND M
                                                                                    LESS       ORE S
                                                                                              MORE           ALTERNATIVES—Continued
                                                                                                    TRINGENT ALTERNATIVES-Continued
                                                                                                   STRINGENT

                                                                                                                                                              2019 Ozone                   Final rule-
                                                                                                                                                                                                 rule—                 Less stringent-
                                                                                                                                                                                                                            stringent—                More stringent—
                                                                                                                                                                                                                                                           stringent-
                                                                                                State                                                           season                    ozone season                  ozone season                   ozone season
                                                                                                                                                              emissions aa                NOx
                                                                                                                                                                                          NOX reductions               NOX reductions
                                                                                                                                                                                                                       NOx                            NOX reductions
                                                                                                                                                                                                                                                      NOx

                                                 NJ .....................................................................................................                  2,078                            242                            242                            258
                                                    421 ...............................................................................................
                                                 NV 421                                                                                                                    2,544                              0                              0                              0
                                                 NY ....................................................................................................                   5,363                            958                            726                          1,447
                                                 OH ....................................................................................................                  18,000                          3,105                          1,031                          4,006
                                                 OK ....................................................................................................                  26,786                          4,388                          1,376                          5,276
                                                 PA ....................................................................................................                  14,919                          2,184                          1,656                          4,550
                                                 TX ....................................................................................................                  61,099                          4,691                          1,880                          9,963
                                                 UT ....................................................................................................                   4,232                            252                             52                            615
                                                 VA ....................................................................................................                   7,757                          2,200                            978                          2,652
                                                 WV ...................................................................................................                    6,318                          1,649                            408                          2,100

                                                       Totals ........................................................................................                  302,425                         44,616                         16,786                         67,728
                                                    aa The 2019 ozone season emissions are calculated as 5/12 of the annual emissions from the following two emissions inventory files: nonegu_
                                                 SmokeFlatFile 2019NEI_POINT_20210721_controlupdate_13sep2021_v0 and oilgas_SmokeFlatFile_2019NEI_POINT_20210721_controlupdate_
                                                 SmokeFlatFile_2019NEI_POINT_20210721_controlupdate_13sep2021_v0
                                                 13sep2021_v0.
                                                 13sep2021_vO7


                                                    For EGUs, the EPA analyzed ozone                                          complying with the emissions                                              into the forecast period, since future
                                                         NOX emissions reductions and
                                                 season NOx                                                                   requirements for non-EGUs. The costs                                      costs are discounted more heavily than
                                                 the associated costs to the power sector                                     presented in Table VIII-3
                                                                                                                                                  VIII–3 do not include                                 near term costs. This can result in a
                                                 using the Integrated Planning Model                                          monitoring and reporting costs, which                                     policy scenario showing single year
                                                 (IPM) and its underlying data and                                            EPA summarizes in section X.B.2 of this                                   costs that are lower than the Baseline,
                                                 inputs. For non-EGUs, the EPA prepared                                       document. The monitoring and                                              but over the entire forecast horizon, the
                                                 an assessment summarized in the                                              reporting costs presented in section                                                                      costs.422
                                                                                                                                                                                                        policy scenario shows higher costs.422
                                                                        Summary of Final
                                                 memorandum titled Summary                                                    X.B.2 are $0.35 million per year for                                      For a detailed description of these cost
                                                       Applicability Criteria and
                                                 Rule Applicability                                                           EGUs and $3.8 million per year for non-                                   trends, please see Chapter 4, section
                                                                        Non-EGU
                                                 Emissions Limits for Non-ECU                                                 EGUs. For EGUs, compliance costs are                                      4.5.2, of the RIA. For a detailed
                                                 Emissions Units,
                                                             Units, Assumed Control
                                                                                                                              negative in 2026. While seemingly                                         description of the methods and results
                                                 Technologies for Meeting the Final
                                                                                                                              counterintuitive, estimating negative                                     from the memorandum titled Summary
                                                                                                                                                                                                                                        Summary
                                                 Emissions Limits, and Estimated
                                                 Emissions Units,
                                                             Units, Emissions Reductions,                                     compliance costs in a single year is                                      of Final Rule Applicability
                                                                                                                                                                                                                       Applicability Criteria and
                                                 and Costs, and the memorandum                                                possible given IPM’s
                                                                                                                                             IPM's objective function                                                         Non-EGU
                                                                                                                                                                                                        Emissions Limits for Non-EGU
                                                 includes estimated emissions reductions                                      is to minimize the discounted net                                         Emissions Units,
                                                                                                                                                                                                                    Units, Assumed Control
                                                 by state for the rule.421
                                                                  rule.421                                                    present value (NPV) of a stream of                                        Technologies for Meeting the Final
                                                    Table VIII-3
                                                          VIII–3 reflects the estimates of                                    annual total cost of generation over a                                    Emissions Limits, and Estimated
                                                 the changes in the cost of supplying                                         multi-decadal time period. As such the                                    Emissions Units,
                                                                                                                                                                                                                    Units, Emissions Reductions,
                                                 electricity for the regulatory control                                       model may undertake a compliance                                          and Costs, see Chapter 4, sections 4.4
                                                 alternatives for EGUs and estimates of                                       pathway that pushes higher costs later                                    and 4.5.4 of the RIA.
                                                                                   TABLE VIII-3-TOTAL
                                                                                   TABLE VIII–3—TOTAL ESTIMATED
                                                                                                      ESTIMATED COMPLIANCE
                                                                                                                COMPLIANCE COSTS
                                                                                                                           COSTS (MILLION
                                                                                                                                 (MILLION 2016$), 2023-2042
                                                                                                                                                  2023–2042
                                                                                                                                                                                                                         Less-stringent                 More-stringent
                                                                                                                                                                                               Final rule
                                                                                                                                                                                                                          alternative                    alternative

                                                 2023:
                                                     EGUs ..........................................................................................................................                            57                             56                             49
                                                     Non-EGUs ..................................................................................................................          ..........................   ............................   ............................

                                                     Total ............................................................................................................................                        57                             56                             49
                                                 2024:
                                                     EGUs ..........................................................................................................................                            (5)
                                                                                                                                                                                                                (5)                          (35)                           840
                                                     Non-EGUs ..................................................................................................................          ..........................   ............................   ............................

                                                     Total ............................................................................................................................                        (5)
                                                                                                                                                                                                               (5)                          (35)                           840
                                                 2025:
                                                     EGUs ..........................................................................................................................                            (5)
                                                                                                                                                                                                                (5)                          (35)                           840
                                                     Non-EGUs ..................................................................................................................          ..........................   ............................   ............................
ddrumheller on DSK120RN23PROD with RULES2




                                                     Total ............................................................................................................................                        (5)
                                                                                                                                                                                                               (5)                          (35)                           840
                                                 2026:

                                                    421 We are not aware of existing non-EGU
                                                    421                                                                       Nevada that meets the applicability criteria in the                       resulted in annualized 2023–42
                                                                                                                                                                                                                                 2023-42 costs under the
                                                 emissions units in Nevada that meet the                                      final rule will be subject to the final rule's
                                                                                                                                                                      rule’s                            final rule increasing from $448.6 million to $449.5
                                                 applicability criteria for non-EGUs in the final rule.                                                    III.B.1.d.
                                                                                                                              requirements. See section M.B.1.d.                                        million (less than 1%) and did not change the
                                                 If any such units in fact exist, they would be subject                          422 As a sensitivity, the EPA re-calculated costs                      conclusions of the RIA. See Section 4.5.2 of the RIA
                                                                                                                                 422
                                                 to the requirements of the rule just as in any other
                                                                                                                              assuming annual costs cannot be negative. This                            for more information.
                                                 state. In addition, any new emissions unit in



                                            VerDate Sep<11>2014          20:14 Jun 02, 2023         Jkt 259001       PO 00000        Frm 00196        Fmt 4701    Sfmt 4700       E:\FR\FM\05JNR2.SGM              05JNR2
                                                       USCA Case #23-1157                                         Document #2009836                                                Filed: 07/27/2023             Page 235 of 430
                                                                             Federal Register / Vol. 88, No. 107/Monday,
                                                                                                             107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                                   2023/Rules                                                                                       36849

                                                                      TABLE VIII-3-TOTAL
                                                                      TABLE VIII–3—TOTAL E         COMPLIANCE COSTS
                                                                                          STIMATED COMPLIANCE
                                                                                         ESTIMATED            COSTS (MILLION
                                                                                                                    (MILLION 2016$), 2023-2042-Continued
                                                                                                                                     2023–2042—Continued
                                                                                                                                                                                                           Less-stringent    More-stringent
                                                                                                                                                                                          Final rule        alternative       alternative

                                                       EGUs ..........................................................................................................................              (5)
                                                                                                                                                                                                    (5)               (35)               840
                                                       Non-EGUs ..................................................................................................................                 570                140              1,300

                                                     Total ............................................................................................................................            570                110             2,100
                                                 2027:
                                                     EGUs ..........................................................................................................................                24                (47)               760
                                                     Non-EGUs ..................................................................................................................                   570                140              1,300

                                                     Total ............................................................................................................................            600                  97            2,000
                                                 2028:
                                                     EGUs ..........................................................................................................................                24                (47)               760
                                                     Non-EGUs ..................................................................................................................                   570                140              1,300

                                                     Total ............................................................................................................................            600                  97            2,000
                                                 2029:
                                                     EGUs ..........................................................................................................................                24                (47)               760
                                                     Non-EGUs ..................................................................................................................                   570                140              1,300

                                                     Total ............................................................................................................................            600                  97            2,000
                                                 2030:
                                                     EGUs ..........................................................................................................................               710                770                840
                                                     Non-EGUs ..................................................................................................................                   570                140              1,300

                                                     Total ............................................................................................................................          1,300                920             2,100
                                                 2031:
                                                     EGUs ..........................................................................................................................               710                770                840
                                                     Non-EGUs ..................................................................................................................                   570                140              1,300

                                                     Total ............................................................................................................................          1,300                920             2,100
                                                 2032:
                                                     EGUs ..........................................................................................................................               820                850                590
                                                     Non-EGUs ..................................................................................................................                   570                140              1,300

                                                     Total ............................................................................................................................          1,400                990              1,900
                                                 2033:
                                                     EGUs ..........................................................................................................................               820                850                590
                                                     Non-EGUs ..................................................................................................................                   570                140              1,300

                                                     Total ............................................................................................................................          1,400                990              1,900
                                                 2034:
                                                     EGUs ..........................................................................................................................               820                850                590
                                                     Non-EGUs ..................................................................................................................                   570                140              1,300

                                                     Total ............................................................................................................................          1,400                990              1,900
                                                 2035:
                                                     EGUs ..........................................................................................................................               820                850                590
                                                     Non-EGUs ..................................................................................................................                   570                140              1,300

                                                     Total ............................................................................................................................          1,400                990              1,900
                                                 2036:
                                                     EGUs ..........................................................................................................................               820                850                590
                                                     Non-EGUs ..................................................................................................................                   570                140              1,300

                                                     Total ............................................................................................................................          1,400                990              1,900
                                                 2037:
                                                     EGUs ..........................................................................................................................               820                850                590
                                                     Non-EGUs ..................................................................................................................                   570                140              1,300

                                                     Total ............................................................................................................................          1,400                990              1,900
                                                 2038:
                                                     EGUs ..........................................................................................................................               820                830                600
                                                     Non-EGUs ..................................................................................................................                   570                140              1,300
ddrumheller on DSK120RN23PROD with RULES2




                                                     Total ............................................................................................................................          1,400                970              1,900
                                                 2039:
                                                     EGUs ..........................................................................................................................               820                830                600
                                                     Non-EGUs ..................................................................................................................                   570                140              1,300

                                                     Total ............................................................................................................................          1,400                970              1,900
                                                 2040:
                                                     EGUs ..........................................................................................................................               820                 830              600



                                            VerDate Sep<11>2014         20:14 Jun 02, 2023         Jkt 259001       PO 00000       Frm 00197       Fmt 4701       Sfmt 4700       E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                                          Document #2009836                                                 Filed: 07/27/2023                  Page 236 of 430
                                                 36850
                                                 36850                        Federal Register / Vol. 88, No. 107/Monday,
                                                                                                              107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                                    2023/Rules

                                                                          TABLE VIII-3-TOTAL
                                                                          TABLE VIII–3—TOTAL E         COMPLIANCE COSTS
                                                                                              STIMATED COMPLIANCE
                                                                                             ESTIMATED            COSTS (MILLION
                                                                                                                        (MILLION 2016$), 2023-2042-Continued
                                                                                                                                         2023–2042—Continued
                                                                                                                                                                                                                 Less-stringent       More-stringent
                                                                                                                                                                                              Final rule
                                                                                                                                                                                                                  alternative          alternative

                                                        Non-EGUs ..................................................................................................................                       570                 140                 1,300

                                                     Total ............................................................................................................................                 1,400                 970                 1,900
                                                 2041:
                                                     EGUs ..........................................................................................................................                      820                 830                   600
                                                     Non-EGUs ..................................................................................................................                          570                 140                 1,300

                                                     Total ............................................................................................................................                 1,400                 970                 1,900
                                                 2042:
                                                     EGUs ..........................................................................................................................                      820                 830                   600
                                                     Non-EGUs ..................................................................................................................                          570                 140                 1,300

                                                       Total ............................................................................................................................               1,400                 970                 1,900



                                                   Tables VIII-4
                                                           VIII–4 and VIII-5
                                                                       VIII–5 report the                                     the 95 percent confidence interval. In                                    reflecting alternative ozone and PM2.5
                                                                                                                                                                                                                                        PM2.5
                                                 estimated economic value of avoided                                         each of these tables, for each discount                                   mortality risk estimates. For additional
                                                 premature deaths and illness in each                                        rate and regulatory control alternative,                                  information on these benefits, see
                                                 year relative to the baseline along with                                    two benefits estimates are presented                                      Chapter 5 of the RIA.
                                                    TABLE VIII-4-ESTIMATED
                                                    TABLE VIII–4—ESTIMATED DISCOUNTED
                                                                           DISCOUNTED E        VALUE OF AVOIDED
                                                                                       CONOMIC VALUE
                                                                                      ECONOMIC          AVOIDED OZONE-RELATED
                                                                                                                OZONE-RELATED PREMATURE
                                                                                                                              PREMATURE MORTALITY AND
                                                                                                                                        MORTALITY
                                                                             ILLNESS FOR THE FINAL
                                                                             ILLNESS         FINAL RULE
                                                                                                    RULE AND THE LESSLESS AND M      ORE S
                                                                                                                                   MORE     STRINGENT        ALTERNATIVES IN 2023
                                                                                                                                              TRINGENT ALTERNATIVES          2023
                                                                                                                                                2016$] aa bb
                                                                                                   [95 Percent confidence interval; millions of 2016C

                                                     Disc rate                     Pollutant                                    Final rule                                            Less stringent                          More stringent
                                                                                                                                                                                       alternative                             alternative

                                                 3% ................... Ozone Benefits ........... $100 [$27 to $220] Cc and
                                                                                                                         and $820 [$91 to $100 [$27 to $220] Cc and
                                                                                                                                                                and $810 [$91 to $110 [$28 to $230] Cc and
                                                                                                                                                                                                       and $840 [$94 to
                                                                                                     $2,100] d.
                                                                                                     $2,100]d.                              $2,100] d.
                                                                                                                                            $2,100]d.                                      d.
                                                                                                                                                                                   $2,200] d.
                                                 7% ................... Ozone Benefits ........... $93 [$17 to 210]c
                                                                                                                210] c and                             $210] c and
                                                                                                                        and $730 [$75 to $93 [$17 to $210]c                                   $210] c and
                                                                                                                                                               and $730 [$75 to $96 [$18 to $210]c    and $750 [$77 to
                                                                                                             d.
                                                                                                     $1,900] d.                                     d.
                                                                                                                                            $1,900] d.                                     d.
                                                                                                                                                                                   $2,000] d.
                                                    a Values rounded to two significant figures. The two benefits estimates are separated by the word "and"
                                                    aValues                                                                                            ‘‘and’’ to signify that they are two separate estimates. The esti-
                                                 mates do not represent lower- and upper-bound estimates and should not be summed.
                                                    b We estimated ozone benefits for changes in NO
                                                    bWe                                            NOx X for the ozone season. This table does not include benefits from reductions for non-EGUs because reductions
                                                 from these sources are not expected prior to 2026 when the final standards would apply to these sources.
                                                    c
                                                    c Using the pooled  short-term ozone exposure  mortality risk estimate.
                                                    d Using the long-term ozone exposure mortality risk estimate.
                                                    d


                                                         TABLE VIII-5-ESTIMATED
                                                         TABLE VIII–5—ESTIMATED DISCOUNTED
                                                                                DISCOUNTED E        VALUE OF AVOIDED
                                                                                            CONOMIC VALUE
                                                                                           ECONOMIC          AVOIDED O         PM2.5-RELATED P
                                                                                                                      ZONE AND PM2.5-RELATED
                                                                                                                     OZONE                    REMATURE
                                                                                                                                             PREMATURE
                                                             MORTALITY AND ILLNESS
                                                             MORTALITY     ILLNESS FOR THE FINAL
                                                                                           FINAL R ULE AND THE L
                                                                                                 RULE                ESS AND M
                                                                                                                    LESS            ORE S
                                                                                                                                  MORE                 ALTERNATIVES IN 2026
                                                                                                                                              TRINGENT ALTERNATIVES
                                                                                                                                             STRINGENT                 2026
                                                                                           [95% Confidence interval; millions of 2016$] aa bb

                                                     Disc rate                     Pollutant                                    Final rule                                            Less stringent                          More stringent
                                                                                                                                                                                       alternative                             alternative

                                                 3% ...................                                              $2,400] c and
                                                                        Ozone Benefits ........... $1,100 [$280 to $2,400]c     and $9,400                                          $900] c and
                                                                                                                                                                    $420 [$110 to $900]c    and $3,400                           $4,000] c and
                                                                                                                                                                                                                  $1,900 [470 to $4,000]c   and $15,000
                                                                                                                            d.
                                                                                                       [$1,000 to $25,000] d.                                                           d.
                                                                                                                                                                      [$380 to $8,900] d.                                               d.
                                                                                                                                                                                                                    [$1,700 to $40,000] d.
                                                                        PM Benefits ................ $2,000 [$220 to $5,300] and
                                                                                                                               and $4,400                           $530 [$57 to $1,400] andand $1,100 [$110                                 and $14,000
                                                                                                                                                                                                                  $6,400 [$690 to $17,000] and
                                                                                                       [$430 to $12,000].                                             to $3,100].                                   [$1,300 to $37,000]
                                                                        Ozone plus PM Bene- $3,200 [$500 to $7,700]C $7,700] c and
                                                                                                                                and $14,000                                         $2,300] c and
                                                                                                                                                                    $950 [$160 to $2,300]c    and $4,600                            $21,000] c and
                                                                                                                                                                                                                  $8,300 [$1,200 to $21,000]c   and
                                                                                                                            d.
                                                                                                       [$1,500 to $36,000] d.                                                            d.
                                                                                                                                                                      [$490 to $12,000] d.                          $29,000 [$3,000 to $77,000] d.d.
                                                                         fits.
                                                 7% ................... Ozone Benefits ........... $1,000 [$180 to $2,300] Cc and
                                                                                                                                and $8,400                          $380 [$68 to $850] Cc and
                                                                                                                                                                                           and $3,100 [$310       $1,700 [$300 to $3,800] Cc and
                                                                                                                                                                                                                                             and $14,000
                                                                                                                         d.
                                                                                                       [$850 to $22,000] d.                                                      d.
                                                                                                                                                                      to $8,100] d.                                                      d.
                                                                                                                                                                                                                    [$1,400 to $36,000] d.
                                                                        PM Benefits ................ $1,800 [$190 to $4,700] and
                                                                                                                               and $3,900                                                 and $1,000 [$100
                                                                                                                                                                    470 [$50 to $1,200] and                                                  and $12,000
                                                                                                                                                                                                                  $5,800 [$600 to $15,000] and
                                                                                                       [$380 to $11,000].                                             to $2,800].                                   [$1,200 to $33,000].
                                                                        Ozone plus PM Bene- $2,800 [$370 to $7,000]c $7,000] c and
                                                                                                                                and $12,000                                         $2,100] c and
                                                                                                                                                                    $850 [$120 to $2,100]c    and $4,100                          $19,000] c and
                                                                                                                                                                                                                  $7,500 [$910 to $19,000]c   and
                                                                                                                            d.
                                                                                                       [$1,200 to $33,000] d.                                                            d.
                                                                                                                                                                      [$410 to $11,000] d.                          $26,000 [$2,600 to $69,000] d.d.
                                                                         fits.
                                                   a Values rounded to two significant figures. The two benefits estimates are separated by the word "and"
                                                  aValues                                                                                               ‘‘and’’ to signify that they are two separate estimates. The esti-
                                                 mates do not represent lower- and upper-bound estimates and should not be summed.
                                                  bWe
                                                   b We estimated changes in NOxNOX for the ozone season and annual changes in PM2.5
                                                                                                                                 PM2.5 and PM   2.5 precursors in 2026.
                                                                                                                                            PM2.5
                                                  cc Sum of ozone mortality estimated using the pooled short-term ozone exposure risk estimate and the Di et al. (2017) long-term PM2.5 PM2.5 exposure mortality risk esti-
                                                 mate.
                                                   d Sum of the Turner et al. (2016) long-term ozone exposure risk estimate and the Di et al. (2017) long-term PM        exposure  mortality risk estimate.
                                                  d                                                                                                              PM2.5
                                                                                                                                                                     2.5
ddrumheller on DSK120RN23PROD with RULES2




                                                   In Tables VIII-6,
                                                             VIII–6, VIII-7,
                                                                     VIII–7, and VIII-8,
                                                                                  VIII–8,                                    benefits and health benefits associated                                   monetized climate benefits are
                                                 the EPA presents a summary of the                                           with reductions in concentrations of air                                  presented for purposes of providing a
                                                 monetized health and climate benefits,                                      pollutants other than ozone and PMPM2.5
                                                                                                                                                                   2.5                                 complete economic impact analysis
                                                 costs, and net benefits of the rule and                                     that are not quantified. Discussion of the                                under E.O. 12866 and other relevant
                                                 the more and less stringent alternatives                                    non-monetized health, welfare, and                                        Executive orders. The estimates of GHG
                                                 for 2023, 2026, and 2030, respectively.                                     water quality benefits is found in                                        emissions changes and the monetized
                                                 There are important water quality                                           Chapter 5 of the RIA. In this action,                                     benefits associated with those changes


                                            VerDate Sep<11>2014           20:14 Jun 02, 2023       Jkt 259001       PO 00000        Frm 00198        Fmt 4701       Sfmt 4700       E:\FR\FM\05JNR2.SGM      05JNR2
                                                       USCA Case #23-1157                                        Document #2009836                                               Filed: 07/27/2023                            Page 237 of 430
                                                                             Federal Register/Vol.
                                                                             Federal Register / Vol. 88,
                                                                                                     88, No.
                                                                                                         No. 107
                                                                                                             107 // Monday,
                                                                                                                    Monday, June
                                                                                                                            June 5,
                                                                                                                                 5, 2023
                                                                                                                                    2023 // Rules
                                                                                                                                            Rules and
                                                                                                                                                  and Regulations
                                                                                                                                                      Regulations                                                                                  36851
                                                                                                                                                                                                                                                   36851

                                                 is not part of the record basis for this                                 110(a)(2)(D)(i)(I), for the 2015 ozone
                                                 action, which is taken to implement the                                  NAAQS.
                                                 good neighbor provision, CAA section

                                                  TABLE VIII-6-MONETIZED
                                                  TABLE VIII–6—MONETIZED BENEFITS,
                                                                         BENEFITS, COSTS,
                                                                                   COSTS, AND N         BENEFITS OF THE FINAL
                                                                                                    ET BENEFITS
                                                                                                  NET                           FINAL RULERULE AND LESS AND M
                                                                                                                                                   LESS     MORE STRINGENT
                                                                                                                                                             ORE STRINGENT
                                                                                     ALTERNATIVES FOR 2023 FOR THE U.S.
                                                                                     ALTERNATIVES
                                                                                   [3% Discount rate for benefits, millions of 2016$] aa bb

                                                                                                                            Final rule                                          Less stringent                                    More stringent
                                                                                                                                                                                 alternative                                       alternative

                                                 Health Benefits cc ............................         $100 and $820 .............................             $100 and $810 .............................             $110 and $840.
                                                 Climate Benefits .............................          $5 ..................................................   $4 ..................................................   $5.
                                                 Total Benefits .................................        $100 and $820 .............................             $100 and $820 .............................             $110 and $840.
                                                 Costs dd ............................................   $57 ................................................    $56 ................................................    $49.
                                                 Net Benefits ...................................        $48 and $760 ...............................            $48 and $760 ...............................            $66 and $800.
                                                   aa We focus results to provide a snapshot of costs and benefits in 2023, using the best available information to approximate social costs and so-
                                                 cial benefits recognizing uncertainties and limitations in those estimates.
                                                    b Rows may not appear to add correctly due to rounding.
                                                    b
                                                    c The health benefits are associated with two point estimates from two different epidemiologic studies. For the purposes of presenting the val-
                                                   cThe
                                                 ues in this table the health and climate benefits are discounted at 3 percent.
                                                    d The costs presented in this table are 2023 annual estimates for each alternative analyzed. For EGUs, an NPV of costs was calculated using
                                                   dThe
                                                                                                                      IPM’s objective function for cost-minimization. For further information on the dis-
                                                 a 3.76 percent real discount rate consistent with the rate used in IPM's
                                                 count rate use, please see Chapter 4, Table 4-84–8 in the RIA.

                                                  TABLE VIII-7-MONETIZED
                                                  TABLE VIII–7—MONETIZED BENEFITS,
                                                                         BENEFITS, COSTS,
                                                                                   COSTS, AND N   NET   BENEFITS OF THE FINAL
                                                                                                    ET BENEFITS                 FINAL RULERULE AND LESS AND M
                                                                                                                                                   LESS     MORE STRINGENT
                                                                                                                                                             ORE STRINGENT
                                                                                     ALTERNATIVES FOR 2026 FOR THE U.S.
                                                                                     ALTERNATIVES
                                                                                   [3% Discount rate for benefits, millions of 2016$] aa bb

                                                                                                                            Final rule                                          Less stringent                                    More stringent
                                                                                                                                                                                 alternative                                       alternative

                                                 Health Benefits Cc ............................         $3,200 and $14,000 .....................                $950 and $4,600 ..........................              $8,300 and $29,000.
                                                 Climate Benefits .............................          $1,100 ...........................................      $420 ..............................................     $2,100.
                                                 Total Benefits .................................        $4,300 and $15,000 .....................                $1,400 and $5,000 .......................               $10,000 and $31,000.
                                                 Costs dd ............................................   $570 ..............................................     $110 ..............................................     $2,100.
                                                 Net Benefits ...................................        $3,700 and $14,000 .....................                $1,300 and $4,900 .......................               $8,300 and $29,000.
                                                   aa We focus results to provide a snapshot of costs and benefits in 2026, using the best available information to approximate social costs and so-
                                                 cial benefits recognizing uncertainties and limitations in those estimates.
                                                    b Rows may not appear to add correctly due to rounding.
                                                    b
                                                    c The health benefits are associated with two point estimates from two different epidemiologic studies. For the purposes of presenting the val-
                                                   cThe
                                                 ues in this table the health and climate benefits are discounted at 3 percent.
                                                    d The costs presented in this table are 2026 annual estimates for each alternative analyzed. For EGUs, an NPV of costs was calculated using
                                                   dThe
                                                                                                                      IPM’s objective function for cost-minimization. For further information on the dis-
                                                 a 3.76 percent real discount rate consistent with the rate used in IPM's
                                                 count rate use, please see Chapter 4, Table 4-84–8 in the RIA.

                                                  TABLE VIII-8-MONETIZED
                                                  TABLE VIII–8—MONETIZED BENEFITS,
                                                                         BENEFITS, COSTS,
                                                                                   COSTS, AND N   NET   BENEFITS OF THE FINAL
                                                                                                    ET BENEFITS                 FINAL RULERULE AND LESS AND M
                                                                                                                                                   LESS     MORE STRINGENT
                                                                                                                                                             ORE STRINGENT
                                                                                     ALTERNATIVES FOR 2030 FOR THE U.S.
                                                                                     ALTERNATIVES
                                                                                   [3% Discount rate for benefits, millions of 2016$] aa bb

                                                                                                                            Final rule                                          Less stringent                                    More stringent
                                                                                                                                                                                 alternative                                       alternative

                                                 Health Benefits cc ............................         $3,400 and $15,000 .....................                $1,000 and $4,900 .......................               $9,000 and $31,000.
                                                 Climate Benefits .............................          $1,500 ...........................................      $1,300 ...........................................      $500.
                                                 Total Benefits .................................        $4,900 and $16,000 .....................                $2,300 and $6,200 .......................               $9,500 and $31,000.
                                                 Costs dd ............................................   $1,300 ...........................................      $920 ..............................................     $2,100.
                                                 Net Benefits ...................................        $3,600 and $15,000 .....................                $1,400 and $5,300 .......................               $7,400 and $29,000.
                                                   aa We focus results to provide a snapshot of costs and benefits in 2030, using the best available information to approximate social costs and so-
                                                 cial benefits recognizing uncertainties and limitations in those estimates.
                                                    b Rows may not appear to add correctly due to rounding.
                                                    b
                                                    c The health benefits are associated with two point estimates from two different epidemiologic studies. For the purposes of presenting the val-
                                                   cThe
                                                 ues in this table the health and climate benefits are discounted at 3 percent.
                                                    d The costs presented in this table are 2030 annual estimates for each alternative analyzed. For EGUs, an NPV of costs was calculated using
                                                   dThe
                                                                                                                      IPM’s objective function for cost-minimization. For further information on the dis-
                                                 a 3.76 percent real discount rate consistent with the rate used in IPM's
                                                 count rate use, please see Chapter 4, Table 4-84–8 in the RIA.
ddrumheller on DSK120RN23PROD with RULES2




                                                   In addition, Table VIII-9
                                                                      VIII–9 presents                                      the net benefits consistent with the                                       recommended by OMB’s
                                                                                                                                                                                                                       OMB's Circular A-4
                                                                                                                                                                                                                                        A–4
                                                 estimates of the present value (PV) of                                    present value, over the twenty-year                                        and are presented in 2016 dollars
                                                 the monetized benefits and costs and                                      period of 2023 to 2042. The estimates of                                   discounted to 2023.
                                                 the equivalent annualized value (EAV),                                    the PV and EAV are calculated using
                                                 an estimate of the annualized value of                                    discount rates of 3 and 7 percent as


                                            VerDate Sep<11>2014         20:14 Jun 02, 2023        Jkt 259001      PO 00000       Frm 00199        Fmt 4701       Sfmt 4700      E:\FR\FM\05JNR2.SGM              05JNR2
                                                       USCA Case #23-1157                                         Document #2009836                                            Filed: 07/27/2023              Page 238 of 430
                                                 36852
                                                 36852                       Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                  TABLE VIII
                                                  TABLE VIII–9—M   ONETIZED E
                                                             -9 -MONETIZED   STIMATED H
                                                                            ESTIMATED                 CLIMATE B
                                                                                        EALTH AND CLIMATE
                                                                                      HEALTH                      ENEFITS, COMPLIANCE
                                                                                                                BENEFITS,    COMPLIANCE COSTS,
                                                                                                                                        COSTS, AND NET
                                                                                                                                                   NET BENEFITS OF THE
                                                                                                                                                       BENEFITS
                                                                    FINAL RULE
                                                                    FINAL RULE AND LESS AND M
                                                                                   LESS         ORE S
                                                                                             MORE                  ALTERNATIVES, 2023 THROUGH
                                                                                                        TRINGENT ALTERNATIVES,
                                                                                                      STRINGENT                         THROUGH 2042
                                                                                            [Millions 2016$, discounted to 2023]

                                                                                                                                                                             3 Percent discount rate          7 Percent discount rate
                                                                                                                                                                              PV              EAV               PV              EAV

                                                                                                                                                   Health benefits

                                                 Final Rule .........................................................................................................         $200,000          $13,000        $130,000           $12,000
                                                 Less Stringent Alternative ................................................................................                    67,000            4,500          40,000             3,800
                                                 More Stringent Alternative ...............................................................................                    410,000           28,000         240,000            23,000

                                                                                                                                                 Climate Benefits aa

                                                 Final Rule .........................................................................................................           15,000                 970        15,000                970
                                                 Less Stringent Alternative ................................................................................                    11,000                 770        11,000                770
                                                 More Stringent Alternative ...............................................................................                     14,000                 920        14,000                920

                                                                                                                                                Compliance Costs

                                                 Final Rule .........................................................................................................           14,000                 910         9,400              770
                                                 Less Stringent Alternative ................................................................................                     8,700                 590         5,300              500
                                                 More Stringent Alternative ...............................................................................                     25,000               1,700        17,000            1,600

                                                                                                                                                     Net Benefits

                                                 Final Rule .........................................................................................................          200,000              13,000      140,000            12,000
                                                 Less Stringent Alternative ................................................................................                    70,000               4,700       42,000             4,000
                                                 More Stringent Alternative ...............................................................................                    400,000              27,000      240,000            22,000
                                                   aa Climate benefits are calculated using four different estimates of the social cost of carbon (SC-0O2)
                                                                                                                                                  (SC–CO2) (model average at 2.5 percent, 3 percent,
                                                 and 5 percent discount rates; 95th percentile at 3 percent discount rate). For presentational purposes in this table, the climate benefits associ-
                                                                         SC–CO22 at a 3-percent discount rate are used in the columns displaying results of other costs and benefits that are dis-
                                                 ated with the average SC-CO
                                                 counted at either a 3-percent or 7-percent discount rate.


                                                    As shown in Table VIII-9,
                                                                        VIII–9, the PV of                                  control emissions reductions in this                             ozone design values at identified
                                                 the monetized health benefits of this                                     final rule. These results do not replace                         receptors are predicted to occur in the
                                                 rule, discounted at a 3-percent discount                                  the AQAT-generated estimates used for                            Houston-Galveston-Brazoria, Texas area.
                                                 rate, is estimated to be about $200                                       our Step 3 determinations, and the EPA                           In this area the reductions from the final
                                                 billion ($200,000 million), with an EAV                                   needed to continue to use AQAT for                               rule case range from 0.7 to 0.9 ppb. At
                                                 of about $13 billion ($13,000 million).                                   Step 3 determinations in order to                                most of the receptors in both the Dallas/
                                                 At a 7-percent discount rate, the PV of                                   characterize various potential control                           Ft Worth and the New York/Coastal
                                                 the monetized health benefits is                                          scenarios to inform these regulatory                             Connecticut areas the reductions in
                                                 estimated to be $130 billion ($130,000                                    determinations. Nonetheless, though                              ozone range from 0.4 to 0.5 ppb. At
                                                 million), with an EAV of about $12                                        they differ slightly from the AQAT-                              receptors in Indiana, Michigan, and
                                                 billion ($12,000 million). The PV of the                                  generated air quality estimates of the                           Wisconsin near the shoreline of Lake
                                                 monetized climate benefits of this rule,                                  final rule control scenario conducted for                        Michigan, ozone is projected to decline
                                                 discounted at a 3-percent discount rate,                                  purposes of our Step 3 analysis (as                              by 0.3 to 0.4 ppb, but by as much as 0.5
                                                 is estimated to be about $15 billion                                      presented in section V.D of this                                 ppb at the receptor in Muskegon, MI.
                                                 ($15,000 million), with an EAV of about                                   document), these results using full-scale                        Reductions of 0.1 ppb are predicted in
                                                 $970 million. The PV of the monetized                                     photochemical grid modeling                                      the urban and near-urban receptors in
                                                 compliance costs, discounted at a 3-                                      complement those estimates and                                   Chicago. In the West, ozone reductions
                                                 percent rate, is estimated to be about                                    confirm in all cases the regulatory                              just under 0.2 ppb are predicted at
                                                 $14 billion ($14,000 million), with an                                                                    AQAT.423
                                                                                                                           conclusions reached applying AQAT.423                            receptors in Denver with slightly greater
                                                 EAV of about $910 million. At a 7-                                        Appendix 3A of the RIA presents the                              reductions, just above 0.2 ppb, at
                                                 percent discount rate, the PV of the                                      full results of the projected impacts of                         receptors in Salt Lake City. At receptors
                                                 compliance costs is estimated to be                                       the final rule control scenario on ozone                         in Phoenix, California, El Paso/Las
                                                                                                                           levels using CAMx. To briefly                                    Cruces, and southeast New Mexico the
                                                 about $9.4 billion ($9,400 million), with
                                                                                                                           summarize, the largest reductions in                             reductions in ozone are predicted to be
                                                 an EAV of about $770 million.
                                                                                                                                                                                            less than 0.1 ppb.
                                                    In addition to the analysis of costs                                      423 Note that the EPA's
                                                                                                                              423               EPA’s "overcontrol"
                                                                                                                                                        ‘‘overcontrol’’ analysis
                                                 and benefits as described above, for the                                  relies primarily on a "Step    3" control scenario
                                                                                                                                                   ‘‘Step 3’’                               IX. Summary of Changes to the
                                                 final rule, the EPA was able to conduct                                                    ‘‘full geography"
                                                                                                                           rather than the "full   geography’’ scenario. The                Regulatory Text for the Federal
ddrumheller on DSK120RN23PROD with RULES2




                                                 a full-scale photochemical grid                                           CAMx modeling described here captures the effects                Implementation Plans and Trading
                                                                                                                           of the rule as a whole and so is more akin to the                Programs for EGUs
                                                 modeling run of the effects of the "final
                                                                                     ‘‘final                               ‘‘full geography"
                                                                                                                           "full  geography’’ scenario, which the EPA does not
                                                 rule’’ emissions control scenario in
                                                 rule"                                                                     believe is the appropriate method for conducting                   This section describes the
                                                 2026. This modeling can be used to                                        overcontrol analysis. Nonetheless, as explained in               amendments to the regulatory text that
                                                                                                                           the Ozone Transport Policy Analysis Final Rule
                                                 estimate the impacts on projected 2026                                    TSD, the results under either scenario establish no
                                                                                                                                                                                            implement the findings and remedy
                                                 ozone design values that are expected                                     overcontrol, and the CAMx results presented here                 discussed elsewhere in this rule with
                                                 from the combined EGU and non-EGU                                         do not call those conclusions into question.                     respect to EGUs. The primary CFR


                                            VerDate Sep<11>2014         20:14 Jun 02, 2023         Jkt 259001      PO 00000       Frm 00200        Fmt 4701      Sfmt 4700    E:\FR\FM\05JNR2.SGM    05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023                 Page 239 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                                  36853

                                                 amendments are revisions to the FIP                     52.39(a) with respect to the CSAPR FIP                   § 52.38(b)(10) to replace allowance
                                                 provisions addressing states'
                                                                         states’ good                    requirements relating to annual NOx NOX                  allocations for a single control period is
                                                 neighbor obligations related to ozone in                emissions, SO2
                                                                                                                      SO2 emissions, and                          being amended to be available for the
                                                 40 CFR part 52 as well as the revisions                 transported fine particulate pollution.                  2024 control period, with attendant
                                                 to the regulations for the CSAPR NOx
                                                                                    NOX                     The states whose EGU sources are                      revisions to the years and dates shown
                                                 Ozone Season Group 3 Trading Program                    required to participate in the CSAPR                     in § 52.38(b)(10) (multiple paragraphs)
                                                 in 40 CFR part 97, subpart GGGGG. In                    NOX Ozone Season Group 1, Group 2,
                                                                                                         NOx                                                      and (b)(17)(i) as well as the Group 3
                                                 conjunction with the amendments to the                  and Group 3 trading programs under the                   trading program regulations, as
                                                 Group 3 trading program, the                            FIPs established in CSAPR, the CSAPR                     discussed in section IX.B. The options
                                                 monitoring, recordkeeping, and                          Update, and the Revised CSAPR                            under § 52.38(b)(11) and (12) to adopt
                                                 reporting regulations in 40 CFR part 75                 Update, as well as the control periods                   abbreviated or full SIP revisions are
                                                 are being amended to reflect the                        for which those requirements apply, are                  being amended to be available starting
                                                 addition of certain new reporting                       identified in § 52.38(b)(2). The                         with the 2025 control period, with
                                                 requirements associated with the                        amendments to this paragraph expand                      attendant revisions to § 52.38(b)(11)(iii),
                                                 amended trading program and the                         the applicability of the Group 3 trading                                     (b)(17)(ii).426
                                                                                                                                                                  (b)(12)(iii), and (b)(17)(ii).      The
                                                                                                                                                                                                  426 The

                                                 administrative appeal provisions in 40                  program to sources in the ten additional                 removal of the previous options for
                                                 CFR part 78 are being amended to                        states that the EPA is adding to the                     states to expand applicability of the
                                                 identify certain additional types of                    Group 3 trading program starting with                    trading programs for ozone season NOx       NOX
                                                 appealable decisions of the EPA                         the 2023 control period and end the                      emissions to certain non-EGUs and
                                                 Administrator under the amended                         applicability of the Group 2 trading                     smaller EGUs, discussed in sections
                                                 trading program. The provisions to                      program (with the exception of certain                   VI.D.2 and VI.D.3, is accomplished by
                                                 address the transition of the EGUs in                   provisions) for sources in seven of the                  the removal or revision of multiple
                                                 certain states from the Group 2 trading                 ten states after the 2022 control period,                paragraphs of § 52.38(b), including most
                                                 program to the Group 3 trading program                  as discussed in section VI.B.2.424
                                                                                                                                   VI.B.2.424 The                 notably the removal of § 52.38(b)(4)(i),
                                                 are implemented in part through                         paragraphs within § 52.38(b)(2) are                      (b)(5)(i), (3)(8)(i)—(M,
                                                                                                                                                                  (3)(5)(0,  (b)(8)(i)–(ii), (b)(9)(i)–(ii),
                                                                                                                                                                                             (3)(9)(i)—(M,
                                                 revisions to the regulations noted                      being renumbered to clarify the                          (b)(11)(i)–(iii), and (b)(12)(i)—(iii).
                                                                                                                                                                  (b)(11)(i)—(iii),       (b)(12)(i)–(iii).
                                                 previously and in part through revisions                organization of the provisions and to                       The changes with respect to set-asides
                                                 to the regulations for the Group 2                      facilitate cross-references from other                   and the treatment of units in Indian
                                                 trading program in 40 CFR part 97,                      regulatory provisions. Regarding the two                 country discussed in section VI.B.9,
                                                 subpart EEEEE.                                          states currently participating in the                    although implemented largely through
                                                    In addition to these primary                         Group 2 trading program through                          amendments to the Group 3 trading
                                                 amendments, certain revisions are being                 approved SIP revisions that replaced the                 program regulations, are also
                                                 made to the regulations for the other                   previous FIPs issued under the CSAPR                     implemented in part through
                                                 CSAPR trading programs in 40 CFR part                   Update (Alabama and Missouri), a                         amendments to § 52.38(b)(11) and (12).
                                                 97, subparts AAAAA through EEEEE,                       provision indicating that the EPA will                   First, the text in § 52.38(b)(11)(iii)(A)
                                                 for conformity with the amended                         no longer administer the state trading                   and (b)(12)(iii)(A) identifying the
                                                 provisions of the Group 3 trading                       programs adopted under those SIP                         portion of each state trading budget for
                                                 program, as discussed in section                        revisions after the 2022 control period is               which a state may establish state-
                                                 VI.B.13. Documents have been included                   being added at § 52.38(b)(16)(ii)(B).                    determined allowance allocations is
                                                 in the docket for this rule showing all                    In the Revised CSAPR Update, the                      being revised to exclude any allowances
                                                 of the revisions in redline-strikeout                   EPA established several options for                      in a new unit set-aside or Indian
                                                 format.                                                 states to revise their SIPs to modify or                 country existing unit set-aside. Second,
                                                                                                         replace the FIPs applicable to their                     the text in § 52.38(b)(12)(vi) identifying
                                                 A. Amendments to FIP Provisions in 40
                                                                                                         sources while continuing to use the                      provisions that states may not adopt
                                                 CFR Part 52
                                                                                                         Group 3 trading program as the                           into their SIPs (because the provisions
                                                   The CSAPR, CSAPR Update, and                                                                                   concern regulation of sources in Indian
                                                                                                         mechanism for meeting the states'
                                                                                                                                        states’ good
                                                 Revised CSAPR Update FIP                                                                                                                       state’s CAA
                                                                                                                                                                  country not subject to a state's
                                                                                                         neighbor obligations. As in effect before
                                                 requirements related to ozone season                                                                             implementation planning authority) are
                                                                                                         this rule, § 52.38(b)(10), (11), and (12)
                                                 NOX emissions are set forth in 40 CFR
                                                 NOx                                                                                                              being revised to include the provisions
                                                                                                         established options to replace allowance
                                                 52.38(b) as well as other sections of part                                                                       of the amended Group 3 trading
                                                                                                         allocations for the 2022 control period,
                                                 52 specific to each covered state. The                                                                           program addressing allocation and
                                                                                                         to adopt an abbreviated SIP revision for
                                                 existing text of § 52.38(b)(1) identifies                                                                        recordation of allowances from all types
                                                                                                         control periods in 2023 or later years,
                                                 the trading program regulations in 40                                                                            of set-asides. Finally, the text in
                                                                                                         and to adopt a full SIP revision for
                                                 CFR part 97, subparts BBBBB, EEEEE,                                                                              § 52.38(b)(12)(vii) authorizing the EPA
                                                                                                         control periods in 2023 or later years,
                                                 and GGGGG, as constituting the relevant                                                                          to modify the previous approval of a SIP
                                                                                                         respectively.425 As discussed in section
                                                                                                         respectively.425
                                                 FIP provisions relating to seasonal NOx
                                                                                       NOX                                                                        revision with regard to the assurance
                                                                                                         VI.D, the EPA is retaining these SIP
                                                 emissions and transported ozone                                                                                  provisions "if‘‘if and when a covered unit
                                                 pollution. Because in this rulemaking                   revision options and is making them
                                                                                                         available for all states covered by the                  is located in Indian country’’
                                                                                                                                                                                           country" are being
                                                 the EPA is establishing new or amended                                                                           revised to account for the fact that at
                                                 FIP requirements not only for the types                 Group 3 trading program after the
                                                                                                         geographic expansion. The option under                   least one covered unit is already located
                                                 of EGUs covered by the trading                                                                                   in Indian country not subject to a state's state’s
                                                 programs but also for certain types of
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                           424 Like the previous text of § 52.38(b)(2), the final
                                                                                                           424
                                                                                                                                                                  CAA planning authority.
                                                 industrial sources, an amendment to                     amended text expressly encompasses sources in               The transitional provisions discussed
                                                 § 52.38(b)(1) clarifies that the trading                                                       states’ borders. in sections VI.B.12.b and VI.B.12.c to
                                                                                                         Indian country within the respective states'
                                                 programs constitute the FIP provisions                     425 Revisions to the deadlines for states with
                                                                                                            425

                                                 only for the sources meeting the                        approved SIP revisions to submit their state-            426 No state currently in the Group 3 trading
                                                                                                                                                                  426
                                                                                                         determined allowance allocations to the EPA for        program has submitted a SIP revision to make use
                                                 applicability requirements of the trading               subsequent recordation were finalized in an earlier    of these options in control periods before the
                                                 programs. A parallel clarification is                   final rule in this docket. See 87 FR 52473 (August     control periods in which the options can be used
                                                                  §§ 52.38(a)(1) and
                                                 being added to §§52.38(a)(1)                            26, 2022).                                             under the amended provisions.



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00201   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023                 Page 240 of 430
                                                 36854                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 convert certain 2017–2022
                                                                  2017-2022 Group 2                      repeating the substance of                              limits and assurance levels discussed in
                                                 allowances to Group 3 allowances and                    § 52.38(b)(14)(iii), which identifies                   section VI.B.5 is implemented at
                                                 to recall certain 2023–2024
                                                                   2023-2024 Group 2                     certain provisions that continue to                     § 97.1010(e). The Group 3 allowance
                                                 allowances, although promulgated as                     apply to sources and allowances                         bank recalibration process discussed in
                                                 amendments to the Group 2 trading                       notwithstanding discontinuation of a                    sections VI.B.1.b.ii and VI.B.6 is
                                                 program regulations, will necessarily be                trading program with respect to a                       implemented at § 97.1026(d). The
                                                 implemented after the end of the 2022                               state.428 In addition, for the
                                                                                                         particular state.428                                    backstop daily NOx NOX emissions rate
                                                 control period. Amendments clarifying                   five states that during their time in the               component of the primary emissions
                                                 that these provisions continue to apply                 Group 2 trading program have not                        limitation discussed in sections
                                                 to the relevant sources and holders of                  exercised the option to adopt full SIP                  VI.B.1.c.i and VI.B.7 is implemented at
                                                 allowances notwithstanding the                          revisions to replace the FIPs issued                    §§ 97.1006(c)(1)(i) and 97.1024(b)(1) and
                                                                                                                                                                 §§97.1006(c)(1)(i)
                                                 transition of certain states out of the                 under the CSAPR Update (all but                         (3), accompanied by the addition of a
                                                 Group 2 trading program after the 2022                  Alabama and Missouri), obsolete                         definition of "backstop
                                                                                                                                                                                 ‘‘backstop daily NOxNOX
                                                 control period are being added at                       provisions concerning the unexercised                   emissions rate’’
                                                                                                                                                                              rate" and modification of the
                                                 § 52.38(b)(14)(iii). Cross-references                   SIP revision option are being removed.                  definition of "CSAPR
                                                                                                                                                                                 ‘‘CSAPR NOx NOX Ozone
                                                                      EPA’s allocations of
                                                 clarifying that the EPA's                                  No amendments with respect to FIP                    Season Group 3 allowance"
                                                                                                                                                                                      allowance’’ in
                                                 the converted Group 3 allowances are                    requirements for EGUs are being made                    §§ 97.1002 and 97.1006(c)(6). The
                                                 not subject to modification through SIP                 to the state-specific CFR subparts for the              secondary emissions limitation for
                                                 revisions are also being added to the                   twelve states whose sources currently                   sources found responsible for
                                                 existing provisions at                                  participate in the Group 3 trading                      exceedances of the assurance levels
                                                 § 52.38(b)(11)(iii)(D) and (b)(12)(iii)(D).             program  429 except as needed to update
                                                                                                         program429                                              discussed in sections VI.B.1.c.ii and
                                                    The general FIP provisions applicable                cross-references or to implement the                    VI.B.8 is implemented at
                                                 to all states covered by this rule as set               changes related to the treatment of                     §§ 97.1006(c)(1)(iii) and (iv) and
                                                                                                                                                                 §§97.1006(c)(1)(iii)
                                                 forth in § 52.38(b)(2) are being                        Indian country, as discussed in section                 (c)(3)(ii) and 97.1025(c), accompanied
                                                 replicated in the state-specific subparts               IX.D.                                                   by the addition of a definition of
                                                 of 40 CFR part 52 for each of the ten                                                                           ‘‘CSAPR NOx
                                                                                                                                                                 "CSAPR     NOX Ozone Season Group 3
                                                                                                         B. Amendments to Group 3 Trading
                                                 states that the EPA is adding to the                                                                            secondary emissions limitation’’
                                                                                                                                                                                           limitation" in
                                                                                                         Program and Related Regulations
                                                 Group 3 trading program.    427 In each
                                                                   program.427                                                                                   § 97.1002.
                                                 such state-specific CFR subpart,                           To implement the geographic                             The changes relating to set-asides, the
                                                 provisions are being added indicating                   expansion of the Group 3 trading
                                                                                                                                                                 treatment of Indian country, and unit-
                                                 that sources in the state are required to               program and the revised trading budgets
                                                                                                                                                                 level allowance allocations discussed in
                                                 participate in the CSAPR NOxNOX Ozone                   that are being established under the new
                                                                                                                                                                 section VI.B.9 of this document are
                                                 Season Group 3 Trading Program with                     and amended FIPs in this rulemaking,
                                                                                                                                                                 implemented through revisions to
                                                 respect to emissions starting in 2023.                  several sections of the Group 3 trading
                                                                                                                                                                 multiple paragraphs of §§ 97.1010,
                                                 Provisions are also being added                         program regulations are being amended.
                                                                                                                                                                 97.1011, and 97.1012, as well as limited
                                                 repeating the substance of                              Revisions identifying the applicable
                                                                                                                                                                 revisions to §§ 97.1002 (definition of
                                                 § 52.38(b)(13)(i), which generally                      control periods, deadlines for
                                                                                                                                                                 ‘‘allocate or allocation")
                                                                                                                                                                 "allocate      allocation’’) and
                                                 provides that the Administrator's
                                                                     Administrator’s full                certification of monitoring systems, and
                                                                                                                                                                 97.1006(b)(2). In § 97.1010, paragraphs
                                                 and unconditional approval of a full SIP                deadlines for commencement of
                                                                                                                                                                 (b), (c), and (d) address the amounts for
                                                 revision correcting the same SIP                        quarterly reporting for sources not
                                                                                                         previously covered by the Group 3                       each   control period of the Indian
                                                 deficiency that is the basis for a FIP                                                                          country existing unit set-asides, new
                                                 promulgated in this rulemaking would                    trading program are being made at
                                                                                                         §§ 97.1006(c)(3)(i), 97.1030(b)(1), and
                                                                                                         §§97.1006(c)(3)(i),                                     unit set-asides, and Indian country new
                                                 cause the FIP to no longer apply to                                                                                                               430
                                                                                                         97.1034(d)(2)(i), respectively. Revisions unit set-asides, respectively.
                                                                                                                                                                                                   430
                                                                         state’s CAA
                                                 sources subject to the state's                                                                                  Paragraphs    (b)  and  (d) reflect the
                                                 implementation planning authority, and                  identifying the new or revised budgets
                                                                                                         and new unit set-asides for the control                 establishment of Indian country existing
                                                 § 52.38(b)(14)(ii), which generally
                                                                                                         periods after 2022 for all covered states               unit set-asides starting with the 2023
                                                 provides the EPA with authority to
                                                                                                         are being made at § 97.1010(a)(1) and                   control period and the discontinuation
                                                 complete recordation of EPA-
                                                                                                         (c)(2), respectively.                                   of Indian country new unit set-asides
                                                 determined allowance allocations for
                                                                                                            Each ofof the enhancements to the                    after the 2022 control period.
                                                 any control period for which EPA has                                                                               A newly added definition at § 97.1002
                                                 already started such recordation                        Group 3 trading program discussed in
                                                                                                         section VI.B is also implemented                        for ‘‘coal-derived fuel"
                                                                                                                                                                     "coal-derived     fuel’’ (based on the
                                                 notwithstanding the approval of a state's
                                                                                       state’s
                                                                                                         primarily through revisions to the                      existing definition in 40 CFR 72.2) helps
                                                 SIP revision establishing state-
                                                                                                         trading program regulations. The                        in implementation of both the backstop
                                                 determined allowance allocations.                                                                               daily NOx
                                                                                                                                                                        NOX emissions rate provisions and
                                                    For each of the seven states that the                dynamic budget-setting process
                                                 EPA is removing from the Group 2                        discussed in sections VI.B.1.b.i and                    the  unit-level   allocation provisions by
                                                 trading program, the provisions of the                  VI.B.4 is implemented at § 97.1010(a)(2) clarifying that the provisions apply
                                                                                                         through (4), and the associated revised                 without regard to how any coal
                                                 state-specific CFR subparts indicating
                                                 that sources in the state are required to               process for determining variability                     combusted by a unit might have been
                                                 participate in that trading program are                                                                         processed before combustion. Another
                                                 being revised to end that requirement                     428 See §§ 52.54(b) (Alabama), 52.184(a)
                                                                                                               See §§                                            newly added definition at § 97.1002 for
                                                                                                         (Arkansas), 52.1824(a) (Mississippi), 52.1326(b)        ‘‘historical control period’’
                                                                                                                                                                 "historical             period" helps in
ddrumheller on DSK120RN23PROD with RULES2




                                                 with respect to emissions after 2022,                   (Missouri), 52.1930(a) (Oklahoma), 52.2283(d)
                                                 and a further provision is being added                                                                          implementation of the dynamic budget-
                                                                                                         (Texas), and 52.2587(e) (Wisconsin).
                                                                                                           429 See §§ 52.731(b) (Illinois), 52.789(b) (Indiana),
                                                                                                                                                                 setting provisions, the secondary
                                                                                                           429
                                                   427     §§ 52.54(b) (Alabama), 52.184(a)
                                                   427 See §§52.54(b)                                    52.940(b) (Kentucky), 52.984(d) (Louisiana),            emissions limitation provisions, and the
                                                 (Arkansas), 52.1240(d) (Minnesota), 52.1824(a)          52.1084(b) (Maryland), 52.1186(e) (Michigan),
                                                 (Mississippi), 52.1326(b) (Missouri), 52.1492           52.1584(e) (New Jersey), 52.1684(b) (New York),          439 The former § 97.1011(c), which addresses the
                                                                                                                                                                  430

                                                 (Nevada), 52.1930(a) (Oklahoma), 52.2283(d)             52.1882(b) (Ohio), 52.2040(b) (Pennsylvania),         relationships of set-asides and variability limits to
                                                 (Texas), 52.2356 (Utah), and 52.2587(e)                 52.2440(b) (Virginia), and 52.2540(b) (West           state trading budgets, is being relocated to
                                                 (Wisconsin).                                            Virginia).                                            § 97.1011(f).
                                                                                                                                                               §97.1011(1).



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00202   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                             Document #2009836                               Filed: 07/27/2023             Page 241 of 430
                                                                       Federal Register / Vol. 88, No. 107/Monday,
                                                                                                       107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                             2023/Rules                                                               36855
                                                                                                                                                                                                      36855

                                                 unit-level allocation provisions by                        state but instead would be transferred to                 Implementation of the revisions to the
                                                 facilitating references to data reported                   a surrender account.                                   Group 3 trading program is also
                                                 by a unit for periods before the unit's
                                                                                   unit’s                      The revisions to § 97.1012 retain the               accomplished in part through
                                                 entry into the Group 3 trading program.                    section’s current focus on allocations to
                                                                                                            section's                                              amendments to regulations in other CFR
                                                    The revisions to § 97.1011 refocus the                  ‘‘new’’ units, generally combining the
                                                                                                            "new"                                                  parts. In 40 CFR part 75, which contains
                                                 section exclusively on allocation to                       former provisions at § 97.1012 with the                detailed monitoring, recordkeeping, and
                                                 ‘‘existing’’ units from the portion of
                                                 "existing"                                                 former provisions at § 97.1011(b) and (c)              reporting requirements applicable to
                                                 each state emissions budget not reserved                   that address new units. The text of                    sources covered by the Group 3 trading
                                                 in a new unit set-aside or Indian                          multiple paragraphs in both § 97.1012(a)               program, the additional recordkeeping
                                                 country new unit set-aside. In                             and (b) is being revised as needed to                  and reporting requirements discussed in
                                                 § 97.1011(a), the provision formerly in                    reflect the change in treatment of Indian              section VI.B.10 of this document are
                                                 § 97.1011(a)(1) requiring allocations to                   country discussed in section VI.B.9.a,                 implemented through the addition of
                                                 existing units to be made in the amounts                   under which the new unit set-asides                    §§ 75.72(f) and 75.73(f)(1)(ix) and (x)
                                                 provided in NODAs issued by the EPA                        will be used to provide allowance                      and revisions to § 75.75, and the
                                                 is being split into two separate                           allocations to new units both in non-                  procedures for calculating daily total
                                                 provisions, with paragraph (a)(1)                          Indian country and Indian country                      heat input and daily total NOx
                                                                                                                                                                                              NOX
                                                 applying to existing units in the state                    within the borders of the respective                   emissions and the procedures for
                                                 and areas of Indian country covered by                     states for control periods starting in                                NOX mass emissions
                                                                                                                                                                   apportioning NOx
                                                 the state's
                                                     state’s CAA implementation                             2023. 432 The timing and notice
                                                                                                            2023.432                                               monitored at a common stack among the
                                                 planning authority and paragraph (a)(2)                    provisions in § 97.1012(a)(13) and                     individual units using the common
                                                 applying to existing units in areas of                     (b)(13) are relocated from former                      stack are being added at sections 5.3.3,
                                                 Indian country not covered by the                          § 97.1011(b)(1) and (2). The text of                   8.4(c), and 8.5.3 of appendix F to part
                                                 state’s CAA implementation planning
                                                 state's                                                    § 97.1012(c), addressing incorrect                     75. In 40 CFR part 78, which contains
                                                 authority.431 This split will facilitate the
                                                 authority.431                                              allocations to new units, is largely                   the administrative appeal procedures
                                                 submission and approval of SIP                             relocated from § 97.1011(c) (which                     applicable to decisions of the EPA
                                                 revisions by states interested in                          addresses incorrect allocations to                     Administrator under the Group 3
                                                 submitting state-determined allowance                      existing units) and reflects a parallel                trading program, § 78.1(b)(19) is being
                                                 allocations for the units over which they                  revision addressing the disposition of                 amended to add calculation of the
                                                 exercise CAA implementation authority,                     recovered allowances, as discussed in                  dynamic budgets to the list of
                                                 while leaving allocations to any units                     section VI.B.9.d.                                      administrative decisions under the
                                                 outside their authority to be addressed                       The amendments to § 97.1021                         trading program regulations that will be
                                                 either by the EPA or by the relevant                       implement two distinct sets of changes                 appealable under those procedures.
                                                 tribe under an approved tribal                             discussed in sections VI.B.9 and VI.D.1.               C. Transitional Provisions
                                                 implementation plan. The process for                       First, revisions to § 97.1021(b) through
                                                                                                                                                                      As discussed in section VI.B.12, the
                                                 determining default allocations to                         (e) replace the previous schedule for
                                                                                                                                                                   EPA is establishing several transitional
                                                 existing units of allowances from state                    recording Group 3 allowances for the
                                                                                                                                                                   provisions for sources entering the
                                                 trading budgets starting with the 2026                     2023 and 2024 control periods
                                                                                                                                                                   Group 3 trading program. The
                                                 control period is set forth in revised                     established in the August 2022
                                                                                                                                                                   provisions discussed in section
                                                 § 97.1011(b), while the former                             Recordation Rule with an updated
                                                                                                                                                                   VI.B.12.a of this document, concerning
                                                 provisions of § 97.1011(b), which                          recordation schedule tailored to the                   the prorating of state emissions budgets,
                                                 concern timing and notice procedures                       effective date of this rule. The updated               assurance levels, and unit-level
                                                 for allocations to new units, are being                    schedule also eliminates the unused                    allocations for the 2023 control period,
                                                 relocated to § 97.1012. The provisions                     former option for states to provide state-             are implemented through the Group 3
                                                 addressing incorrectly allocated                           determined allowance allocations for                   trading program regulations.
                                                 allowances at § 97.1011(c) are being                       the 2022 control period and establishes                Specifically, the state emissions budgets
                                                 streamlined by relocating the portions                     a substantively equivalent new option                  for the 2023 control period will be
                                                 applicable to new units to § 97.1012(c).                   for states to provide state-determined                 prorated according to procedures set out
                                                 In addition, as discussed in section                       allowance allocations for the 2024                     at § 97.1010(a)(1)(ii). Variability limits
                                                 VI.B.9.d, § 97.1011(c)(5) is being revised                 control period. Second, revisions to                   for the 2023 control period, and the
                                                 to provide that, starting with the 2024                    § 97.1021(g) through (j) begin                         resulting assurance levels, will be
                                                 control period, any incorrectly allocated                  recordation for Indian country existing                computed under § 97.1010(e) from the
                                                 allowances recovered after May 1 of the                    unit set-asides starting with allocations              prorated state emissions budgets. Unit-
                                                 year following the control period will                     for the 2023 control period, modify the                level allocations to existing units for the
                                                 not be reallocated to other units in the                   text to eliminate references to state-                 2023 control period will be computed
                                                                                                            determined allocations of allowances                   from the prorated state emissions
                                                    431 An additional provision currently in
                                                    431                                                     from new unit set-asides, and end                      budgets according to procedures
                                                 § 97.1011(a)(1), which clarifies that an allocation or
                                                 §97.1011(a)(1),                                            recordation for Indian country new unit                substantively the same as the
                                                 lack of allocation to a unit in a NODA does not            set-asides after allocations for the 2022
                                                 constitute a determination by the EPA that the unit                                                               procedures codified in § 97.1011(b) for
                                                                        NOX Ozone Season Group 3
                                                 is or is not a CSAPR NOx
                                                                                                            control period.                                        calculating default allocations to
                                                 unit, is being relocated to § 97.1011(a)(3). The                                                                  existing units for later control periods,
                                                 former § 97.1011(a)(2), which provides for certain            432 Revisions are also being made to the text of
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                              432
                                                                                                                                                                   as discussed in section VI.B.9.b, and
                                                 existing units that cease operations to receive            § 97.1012(a) and (b) for the control periods in 2021
                                                 allocations for their first five control periods of non-   and 2022 consistent with the revisions to the          will be announced in the notice of data
                                                 operation and provides for the allowances for              parallel provisions in the regulations for the other   availability issued under § 97.1011(a)(1)
                                                 subsequent control periods to be allocated to the          CSAPR trading programs, generally calling for          and (2) for the 2023 through 2025
                                                 relevant state's
                                                           state’s new unit set-asides, is inconsistent     allocations to units in areas of Indian country        control periods.
                                                 with the proposed revisions to the set-asides and                       state’s CAA implementation planning
                                                                                                            subject to a state's
                                                 the default allowance allocation process, as               authority to be made from the new unit set-asides
                                                                                                                                                                      The remaining transitional provisions
                                                 discussed in section VI.B.9, and is being removed          instead of from the Indian country new unit set-       are being implemented through the
                                                 as obsolete.                                               asides.                                                Group 2 trading program regulations.


                                            VerDate Sep<11>2014    20:14 Jun 02, 2023   Jkt 259001   PO 00000    Frm 00203   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 242 of 430
                                                 36856
                                                 36856                Federal Register / Vol. 88, No. 107/Monday,
                                                                                                      107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules

                                                 The creation of an additional Group 3                   Indian country new unit set-asides, and                have been removed from the programs,
                                                 allowance bank for the 2023 control                     variability limits for states that the EPA             consistent with the text of the latter
                                                 period through the conversion of                        is transitioning out of the Group 2                    provisions.
                                                 banked 2017–2022
                                                          2017-2022 Group 2 allowances                   trading program are being modified to                    Finally, the EPA is updating cross-
                                                 as discussed in section VI.B.12.b of this               indicate that the amounts are applicable               references throughout 40 CFR parts 52
                                                 document is implemented at                              under that program only for control                    and 97 for consistency with the other
                                                 § 97.826(e).433 Related provisions
                                                 §97.826(e).433                                          periods through 2022.                                  amendments being made in this
                                                 addressing the use of Group 3                              Second, as noted in sections VI.D.2                 rulemaking.
                                                 allowances to satisfy after-arising                     and VI.D.3, the existing options for
                                                                                                         states subject to the NOx NOX SIP Call to              X. Statutory and Executive Orders
                                                 compliance obligations under the Group
                                                                                                         expand applicability of the Group 2                    Reviews
                                                 2 trading program or the Group 1
                                                 trading program are implemented at                      trading program to include certain non-                 Additional information about these
                                                 §§ 97.826(f)(2) and 97.526(e)(3),
                                                 §§97.826(f)(2)                                          EGUs and smaller EGUs are being                                                     (‘‘E.O.’’)
                                                                                                                                                               statutes and Executive orders ("E.0.")
                                                 respectively, and related provisions                    eliminated. While the most directly                   can be found at https://www2.epa.gov/
                                                 addressing recordation of late-arising                  affected provisions are the provisions                laws-regulations/laws-and-executive-
                                                 allocations of Group 1 allowances are                   setting forth the SIP options at                      orders.
                                                 implemented at § 97.526(d)(2)(iii). The                 § 52.38(b)(4), (5), (8), (9), (12), and (13),
                                                                                                         as discussed in section IX.A of this                   A. Executive Order 12866:
                                                                                                                                                                                   12866: Regulatory
                                                                                                                                                                                          Regulatory
                                                 recall of Group 2 allowances previously                                                                        Planning and Review
                                                                                                                                                                Planning      Review and Executive
                                                 issued for the 2023 and 2024 control                    document, the changes also render
                                                                                                                          ‘‘base’’ units and "base"
                                                                                                         references to "base"                  ‘‘base’’         Order 13563:
                                                                                                                                                                      13563: Improving Regulation and
                                                 periods as discussed in section VI.B.12.c                                                                      Regulatory Review
                                                                                                                                                                Regulatory Review
                                                 of this document is implemented at                      sources in the regulations for the Group
                                                 § 97.811(e).                                            2 trading program and the Group 3                       This action is a significant regulatory
                                                    Decisions of the Administrator related               trading program obsolete. Removal of                  action within the scope of section 3(f)(1)
                                                 to the allowance bank creation                                                ‘‘base’’ units and
                                                                                                         the references to "base"                              of Executive Order 12866 that was
                                                 provisions and the allowance recall                     ‘‘base’’ sources affects multiple
                                                                                                         "base"                                                submitted to the Office of Management
                                                 provisions are identified as appealable                 paragraphs of §§ 97.802, 97.806, 97.825,              and Budget (OMB) for review. Any
                                                 decisions under 40 CFR part 78 through                  97.1002, 97.1006, and 97.1025.                        changes made in response to Executive
                                                 revisions to § 78.1(b)(17)(viii) and (ix).                 Third, to clarify the regulatory text,             Order 12866 review have been
                                                                                                         the EPA is removing the language in the               documented in the docket. The EPA
                                                 D. Clarifications and Conforming                        Group 3 trading program regulations                   prepared an analysis of the potential
                                                 Revisions                                               that formerly appeared at §§ 97.1002                  costs and benefits associated with this
                                                    As discussed in section VI.B.13 of this              (definition of "common
                                                                                                                           ‘‘common designated                 action. This analysis, which is
                                                 document, the EPA is revising the                       representative’s assurance level’’),
                                                                                                         representative's                 level"),             contained in the "Regulatory
                                                                                                                                                                                 ‘‘Regulatory Impact
                                                 provisions regarding allowance                          97.1006(c)(2)(iii), 97.1010(d), and                   Analysis for Final Federal Good
                                                 allocations for units in Indian country                 97.1011(a)(1) referencing supplemental                Neighbor Plan Addressing Regional
                                                 in all the CSAPR trading programs so                    amounts of allowances issued for the                  Ozone Transport for the 2015 Ozone
                                                 that instead of distinguishing among                    2021 control period and associated                    National Ambient Air Quality
                                                 units based on whether they are or are                  increments to the 2021 assurance levels               Standard’’ [EPA–452–R–23–001], is
                                                                                                                                                               Standard" [EPA-452—R-23-001],
                                                 not located in Indian country, the                              state’s assurance level increment
                                                                                                         (each state's                                         available in the docket and is briefly
                                                 revised provisions distinguish among                    was described as 21 percent of the                    summarized in section VIII of this
                                                                                                         state’s supplemental amount of
                                                                                                         state's                                               document.
                                                 units based on whether they are or are
                                                 not covered by a state's
                                                                    state’s CAA                          allowances). In place of the removed
                                                                                                         language, the EPA is restating the                     B. Paperwork Reduction Act (PRA)
                                                 implementation planning authority. The
                                                 revisions are implemented in multiple                   amounts of the 2021 state emissions                   1. Information Collection Request for
                                                                                                         budgets in § 97.1010(a)(1)(i) so as to                Electric Generating Units
                                                 paragraphs of §§97.411(b),
                                                                 §§ 97.411(b), 97.412,
                                                                                                         include the supplemental amounts of
                                                 97.511(b), 97.512, 97.611(b), 97.612,                                                                           The information collection activities
                                                                                                         allowances and is restating the amounts
                                                 97.711(b), 97.712, 97.811(b), and 97.812.                                                                     in this rule have been submitted for
                                                                                                         of the 2021 variability limits in
                                                 The associated revisions to states'
                                                                               states’                                                                         approval to the Office of Management
                                                                                                         § 97.1010(e)(1) so as to include the
                                                 options regarding SIP revisions to                                                                            and Budget (OMB) under the PRA. The
                                                                                                         associated assurance level increments.
                                                 establish state-determined allowance                                                                          Information Collection Request (ICR)
                                                                                                         The revised language is substantively
                                                 allocations for units covered by their                  equivalent to and simpler than the                    document that the EPA prepared has
                                                 CAA implementation planning                                                                                   been assigned EPA ICR number 2709.01.
                                                                                                         previous language.
                                                 authority are implemented in multiple                      Fourth, in 40 CFR part 75, the EPA is              The EPA has placed a copy of the ICR
                                                 paragraphs of §§52.38(a)
                                                                 §§ 52.38(a) and (b) and                 removing obsolete text in § 75.73(c) and              in the docket for this rule, and it is
                                                 52.39 as well as the state-specific                     (f) to clarify the context for other text             briefly summarized here.
                                                 subparts of 40 CFR part 52.                             being added to the section, as discussed                The EPA is finalizing an information
                                                    Certain other revisions to the                       in section IX.B of this document.                     collection request (ICR), related
                                                 regulatory text in the FIP and trading                     Fifth, in 40 CFR part 52, the EPA is               specifically to electric generating units
                                                 program regulations are minor                                     §§ 52.38(a)(7)(iii) and 52.39(k)(3)
                                                                                                         adding §§52.38(a)(7)(iii)                             (EGU), for the Federal "Good
                                                                                                                                                                                        ‘‘Good Neighbor
                                                 simplifications and clarifications. First,              to clarify in §§52.38
                                                                                                                        §§ 52.38 and 52.39 that the            Plan’’ for the 2015 Ozone National
                                                                                                                                                               Plan"
                                                 in the Group 2 trading program                          Allowance Management System                           Ambient Air Quality Standards. The
ddrumheller on DSK120RN23PROD with RULES2




                                                 regulations, the paragraphs in § 97.810                 housekeeping provisions added by the                  rule would amend the Cross-State Air
                                                 setting forth the amounts of state                      Revised CSAPR Update at §§ 97.426(c),                 Pollution Rule (CSAPR) NOx NOX Ozone
                                                 emissions budgets, new unit set-asides,                 97.626(c), and 97.726(c) in the                       Season Group 3 trading program
                                                                                                         regulations for the CSAPR NOx    NOX Annual,                                NOX emissions in
                                                                                                                                                               addressing seasonal NOx
                                                   433 The provision formerly at § 97.826(e)(1) is
                                                   433

                                                 being relocated to § 97.826(f)(1), and the provision
                                                                                                         SO
                                                                                                         SO22 Group 1, and SO    SO22 Group 2 trading          various states. Under the amendments,
                                                 formerly at § 97.826(e)(2) is being removed as no       programs, respectively, continue to                   all EGU sources in the original twelve
                                                 longer necessary.                                       apply after the sources in a given state              Group 3 states (Illinois, Indiana,


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00204   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 243 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                        36857
                                                                                                                                                                                                36857

                                                 Kentucky, Louisiana, Maryland,                          already accounted for in both the ARP                   Total estimated additional burden:
                                                                                                                                                                                               burden:
                                                 Michigan, New Jersey, New York, Ohio,                   and CSAPR ICRs.                                       2,289 hours (per year). Burden is
                                                 Pennsylvania, Virginia, and West                           For most sources already reporting                 defined at 5 CFR 1320.03(b).
                                                 Virginia) would remain. Additionally,                   data under the CSAPR NOx  NOX Ozone                     Total estimated additional cost:
                                                                                                                                                                                               cost:
                                                 EGU sources in seven states (Alabama,                   Season Group 3 or the CSAPR NOx   NOX                 $356,623 (per year); includes $182,379
                                                 Arkansas, Mississippi, Missouri,                        Ozone Group 2 trading programs, the                   annualized capital or operation &
                                                 Oklahoma, Texas, and Wisconsin)                         reporting requirements will remain                    maintenance costs.
                                                 currently covered by the CSAPR NOx  NOX                 identical so there will be no incremental               An agency may not conduct or
                                                 Ozone Season Group 2 Trading Program                    burden or cost. Certain sources                       sponsor, and a person is not required to
                                                 would transition from the Group 2                       currently reporting data will be subject              respond to, a collection of information
                                                 program to the revised Group 3 trading                  to additional emissions reporting                     unless it displays a currently valid OMB
                                                 program beginning with the 2023 ozone                   requirements under the rule requiring                 control number. The OMB control
                                                 season. Further, sources in three states                these sources to make a one-time                      numbers for the EPA's
                                                                                                                                                                                EPA’s regulations in 40
                                                 not currently covered by any CSAPR                      monitoring plan and DAHS update.                      CFR are listed in 40 CFR part 9. When
                                                 NOX ozone season trading program
                                                 NOx                                                     These sources include those with a                    OMB approves this ICR, the Agency will
                                                 would join the revised Group 3 trading                  common stack configuration and/or                     announce that approval in the Federal
                                                 program: Minnesota, Nevada, and Utah.                   those that are large, coal-fired EGUs.                Register and publish a technical
                                                 In total, EGU sources in 22 states would                Additionally, sources with a common                   amendment to 40 CFR part 9 to display
                                                 now be covered by the Group 3                           stack configuration have the option to                the OMB control number for the
                                                 program.                                                install additional monitoring equipment               approved information collection
                                                    There is an existing ICR (OMB Control                to measure emissions at each individual               activities contained in this final rule.
                                                 Number 2060–0667),
                                                            2060-0667), that includes                    unit within the facility, and for                     2. Information Collection Request for
                                                 information collection requirements                     purposes of estimating information                    Non-Electric Generating Units
                                                 placed on EGU sources for the six Cross-                collection costs and burden, the EPA
                                                                                                         assumes certain sources will utilize this                The information collection activities
                                                 State Air Pollution Rule (CSAPR)                                                                              in this final rule have been submitted
                                                 trading programs addressing sulfur                      option. Finally, the assessment of
                                                                                                         incremental cost and burden are                       for approval to the Office of
                                                 dioxide (SO   2) emissions, annual
                                                           (SO2)                                                                                               Management and Budget (OMB) under
                                                                   (NOX) emissions, or
                                                 nitrogen oxides (NOx)                                   required for those sources in the three
                                                                                                         states not currently reporting data under             the PRA. The Information Collection
                                                 seasonal NOx
                                                            NOX emissions in various sets                                                                      Request (ICR) document that the EPA
                                                 of states, and the Texas SO
                                                                           SO22 trading                  a CSAPR NOxNOX Ozone Season program.
                                                                                                         Sources in Minnesota are already                      prepared has been assigned EPA ICR
                                                 program which is modeled after CSAPR.                                                                         number 2705.02. The EPA has filed a
                                                 This ICR accounts for the additional                    reporting data for the CSAPR NOx NOX
                                                                                                         Annual program with almost identical                  copy of the non-EGU ICR in the docket
                                                 respondent burden related to the                                                                              for this rule, and it is briefly
                                                                                                         information collection requirements,
                                                 amendments to the CSAPR NOx   NOX Ozone                                                                       summarized here.
                                                 Group 3 trading program.                                requiring only a one-time monitoring
                                                                                                         plan and DAHS update. Most of the                        ICR No. 2705.02 is a new request and
                                                    The principal information collection                 affected sources in Nevada and Utah are               it addresses the burden associated with
                                                 requirements under the CSAPR and                        already reporting data as part of the                 new regulatory requirements under the
                                                 Texas trading programs relate to the                    Acid Rain Program, thus only requiring                final rule. Owners and operators of
                                                 monitoring and reporting of emissions                   a monitoring plan and DAHS update as                  certain non-Electric Generating Unit
                                                 and associated data in accordance with                  well. There are a small number of                     (non-EGU) industry stationary sources
                                                 40 CFR part 75. Other information                       sources in Nevada and Utah that do not                will potentially modify or install new
                                                 collection requirements under the                       report emissions data to the EPA under                emissions controls and associated
                                                 programs concern the submittal of                       40 CFR part 75 and will need to                       monitoring systems to meet the nitrogen
                                                 information necessary to allocate and                   implement a Part 75 monitoring                                (NOX) emissions limits of this
                                                                                                                                                               oxides (NOx)
                                                 transfer emissions allowances and the                   methodology which includes burdens                    final rule. The burden in this ICR
                                                 submittal of certificates of                            related to installation, certification, and           reflects the new monitoring, calibrating,
                                                 representation and other typically one-                 necessary updates.                                    recordkeeping, reporting and testing
                                                 time registration forms.                                   Respondents/affected entities:
                                                                                                                                    entities:                  activities required of covered industrial
                                                    Affected sources under the CSAPR                     Industry respondents are stationary,                  sources. This information is being
                                                 and Texas trading programs are                          fossil fuel-fired boilers and combustion              collected to assure compliance with the
                                                 generally stationary, fossil fuel-fired                 turbines serving electricity generators               final rule. In accordance with the Clean
                                                 boilers and combustion turbines serving                 subject to the CSAPR and Texas trading                Air Act Amendments of 1990, any
                                                 generators larger than 25 megawatts                     programs, as well as non-source entities              monitoring information to be submitted
                                                 (MW) producing electricity for sale.                    voluntarily participating in allowance                by sources is a matter of public record.
                                                 Most of these affected sources are also                 trading activities. Potential state                   Information received and identified by
                                                 subject to the Acid Rain Program (ARP).                 respondents are states that can elect to              owners or operators as confidential
                                                 The information collection requirements                 submit state-determined allowance                     business information (CBI) and
                                                 under the CSAPR and Texas trading                       allocations for sources located in their              approved as CBI by the EPA, in
                                                 programs and the ARP substantially                      states.                                               accordance with 40 CFR chapter I, part
                                                 overlap and are fully integrated. The                      Respondent’s obligation to respond:
                                                                                                            Respondent's                  respond:             2, subpart B, shall be maintained
                                                 burden and costs of overlapping
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                         Industry respondents: voluntary and                   appropriately (see 40 CFR part 2; 41 FR
                                                 requirements are accounted for in the                   mandatory (sections 110(a) and 301(a) of              36902, September 1, 1976; amended by
                                                 ARP ICR (OMB Control Number 2060–   2060-               the Clean Air Act).                                   43 FR 39999, September 8, 1978; 43 FR
                                                 0258). Thus, this ICR accounts for                         Estimated number of respondents:
                                                                                                                                   respondents:                42251, September 28, 1978; 44 FR
                                                 information collection burden and costs                 The EPA estimates that there would be                 17674, March 23, 1979).
                                                 under the CSAPR NOx NOX Ozone Season                    120 industry respondents.                                Respondents/affected entities:
                                                                                                                                                                                           entities: The
                                                 Group 3 trading program that are                           Frequency of response:
                                                                                                            Frequency      response: on occasion,              respondents/affected entities are the
                                                 incremental to the burden and costs                     quarterly, and annually.                              owners/operators of certain non-EGU


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00205   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 244 of 430
                                                 36858
                                                 36858                Federal Register / Vol. 88, No. 107/Monday,
                                                                                                      107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules

                                                 industry sources in the following                       the EPA identified a total of 29 small                 F. Executive Order 13175:
                                                                                                                                                                                   13175: Consultation
                                                 industry sectors: furnaces in Glass and                 entities affected by the rule. Of these, 2             and Coordination With
                                                                                                                                                                                  With Indian Tribal
                                                 Glass Product Manufacturing; boilers                    small entities may experience costs of                 Governments
                                                 and furnaces in Iron and Steel Mills and                greater than 1 percent of revenues. In
                                                 Ferroalloy Manufacturing; kilns in                                                                    This final action has tribal
                                                                                                         2026 for EGUs, the EPA identified 19
                                                 Cement and Cement Product                                                                          implications. However, it would neither
                                                                                                         small entities. The EPA's
                                                                                                                              EPA’s decision to
                                                 Manufacturing; reciprocating internal                                                              impose substantial direct compliance
                                                                                                         exclude units smaller than 25 MW
                                                 combustion engines in Pipeline                                                                     costs on federally recognized tribal
                                                                                                         capacity from the final rule, and          governments, nor preempt tribal law.
                                                 Transportation of Natural Gas; and                      exclusion of uncontrolled units smaller
                                                 boilers in Metal Ore Mining, Basic                      than 100 MW from backstop emissions           The EPA is finalizing a finding that
                                                 Chemical Manufacturing, Petroleum and                   rates significantly reduced the burden     interstate transport of ozone precursor
                                                 Coal Products Manufacturing, and Pulp,                                                             emissions from 23 upwind states
                                                                                                         on small entities by reducing the
                                                 Paper, and Paperboard Mills; and                                                                   (Alabama, Arkansas, California, Illinois,
                                                                                                         number of affected small entity-owned
                                                 combustors and incinerators in Solid                                                               Indiana, Kentucky, Louisiana,
                                                                                                         units. Further, in 2026 for non-EGUs,
                                                 Waste Combustors and Incinerators.                                                                 Maryland, Michigan, Minnesota,
                                                   Respondent’s obligation to respond:
                                                   Respondent's                  respond:                there are ten small entities, and two
                                                                                                                                                    Mississippi, Missouri, Nevada, New
                                                 Voluntary and mandatory. (Sections                      small entities are estimated to have a
                                                                                                                                                    Jersey, New York, Ohio, Oklahoma,
                                                 110(a) and 301(a) of the Clean Air Act.)                cost-to-sales impact between 1.7 and 2.4
                                                                                                                                                    Pennsylvania, Texas, Utah, Virginia,
                                                 All data that is recorded or reported by                percent of their revenues.
                                                                                                                                                    West Virginia, and Wisconsin) is
                                                 respondents is required by the final                       The Agency has not determined that      significantly contributing to downwind
                                                              ‘‘Federal "Good
                                                 rule, titled "Federal  ‘‘Good Neighbor                  a significant number of small entities     nonattainment
                                                                                                                                                    nonattainrnent or interfering with
                                                 Plan’’ for the 2015 Ozone National
                                                 Plan"                                                   potentially affected by the rule will have maintenance of the 2015 ozone NAAQS
                                                 Ambient Air Quality Standards.’’
                                                                         Standards."                     compliance costs greater than 1 percent    in other states. The EPA is promulgating
                                                   Estimated number of respondents:
                                                                            respondents:                 of annual revenues during the              FIP requirements to eliminate interstate
                                                 3,328.                                                  compliance period. The EPA has             transport of ozone precursors from these
                                                   Frequency of response:
                                                   Frequency       response: The specific                concluded that there will be no            23 states. Under CAA section 301(d)(4),
                                                 frequency for each information                          significant economic impact on a           the EPA is extending FIP requirements
                                                 collection activity within the non-EGU                  substantial number of small entities (No   to apply in Indian country located
                                                 ICR is shown at the end of the ICR                      SISNOSE) for this rule overall. Details of within the upwind geography of the
                                                 document in Tables 1 through 18. In                     this analysis are presented in Chapter 6   final rule, including Indian reservation
                                                 general, the frequency varies across the                       RIA, which is in the public
                                                                                                         of the MA,                                 lands and other areas of Indian country
                                                 monitoring, recordkeeping, and                          docket.                                    over which the EPA or a tribe has
                                                 reporting activities. Some recordkeeping                                                           demonstrated that a tribe has
                                                 such as work plan preparation is a one-                 D. Unfunded
                                                                                                            Unfunded Mandates Reform Act            jurisdiction. The EPA's
                                                                                                                                                                        EPA’s determinations
                                                 time activity whereas pipeline engine                   (UMRA)                                     in this regard are described further in
                                                 maintenance recordkeeping is                                                                       section III.C.2 of this document,
                                                 conducted quarterly. Reporting                            This action contains no unfunded
                                                                                                         Federal mandate for State, local, or       Application of Rule in Indian Country
                                                                                                                                                                                     Country
                                                 frequency is on an annual basis.                                                                   and Necessary
                                                                                                                                                         Necessary or Appropriate Finding.
                                                   Total estimated burden: 11,481 hours                  Tribal governments as described in
                                                                                                                                                    The EPA finds that all covered existing
                                                 (per year). Burden is defined at 5 CFR                  UMRA, 2 U.S.C. 1531-1538,
                                                                                                                           1531–1538, and does
                                                                                                                                                    and new EGU and non-EGU sources that
                                                 1320.3(b).                                              not significantly or uniquely affect small
                                                                                                                                                    are located in the "301(d)
                                                                                                                                                                        ‘‘301(d) FIP’’
                                                                                                                                                                                 FIP" areas
                                                   Total estimated cost:
                                                                      cost: $3,823,000                   governments. This action imposes no
                                                                                                                                                    within the geographic boundaries of the
                                                 (average per year); includes $2,400,000                 enforceable duty on any State, local, or
                                                                                                                                                    covered states, and which would be
                                                 annualized capital or operation &                       Tribal government. This action contains
                                                                                                                                                    subject to this rule if located within
                                                 maintenance costs.                                      a Federal mandate under UMRA, 2            areas subject to state CAA planning
                                                   An agency may not conduct or                          U.S.C. 1531-1538,
                                                                                                                1531–1538, that may result in       authority, should be included in this
                                                 sponsor, and a person is not required to                expenditures of $100 million or more in rule. To the EPA's
                                                                                                                                                                  EPA’s knowledge, only one
                                                 respond to, a collection of information                 any one year for the private sector.       covered existing EGU or non-EGU
                                                 unless it displays a currently valid OMB                Accordingly, the costs and benefits        source is located within the 301(d) FIP
                                                 control number. The OMB control                         associated with this action are discussed areas: the Bonanza Power Plant, an EGU
                                                 numbers for the EPA's
                                                                    EPA’s regulations in 40              in section VIII of this preamble and in    source, located on the Uintah and Ouray
                                                 CFR are listed in 40 CFR part 9. When                       RIA, which is in the docket for this
                                                                                                         the MA,                                    Reservation, geographically located
                                                 OMB approves this ICR, the Agency will                  rule. Additional details are presented in within the borders of Utah. This final
                                                 announce that approval in the Federal                       RIA. This action is not subject to the action has tribal implication because of
                                                                                                         the MA.
                                                 Register and publish a technical                        requirements of UMRA section 203           the extension of FIP requirements into
                                                 amendment to 40 CFR part 9 to display                   because it contains no regulatory          Indian country and because, in general,
                                                 the OMB control number for the                          requirements that might significantly or tribes have a vested interest in how this
                                                 approved information collection                         uniquely affect small governments.         final rule would affect air quality.
                                                 activities contained in this final rule.
                                                                                                         E. Executive Order 13132:
                                                                                                                              13132: Federalism        The EPA hosted an environmental
                                                 C. Regulatory
                                                     Regulatory Flexibility
                                                                 Flexibility Act (RFA)                                                              justice webinar on October 26, 2021,
                                                    I certify that this action will not have               This action does not have federalism
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                                                                    that was attended by state regulatory
                                                 a significant economic impact on a                      implications. It will not have substantial authorities, environmental groups,
                                                 substantial number of small entities                    direct effects on the states, on the       federally recognized tribes, and small
                                                 under the RFA. The small entities                       relationship between the National          business stakeholders. The EPA issued
                                                 subject to the requirements of this                     Government and the states, or on the       tribal consultation letters addressed to
                                                 action are small businesses, which                      distribution of power and                  574 tribes in February 2022 after the
                                                 includes EGUs and non-EGUs and are                      responsibilities among the various         proposed rule was signed. The EPA
                                                 described in more detail below. In 2026,                levels of government.                      received no further requests to facilitate


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00206   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023                Page 245 of 430
                                                                      Federal Register / Vol. 88, No. 107/Monday,
                                                                                                      107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules                                                                   36859
                                                                                                                                                                                                         36859

                                                 additional tribal consultation for the        J.
                                                                                               j. Executive Order 12898:
                                                                                                                    12898: Federal                             exposures will be meaningfully
                                                 final rule.                                   Actions To Address Environmental                                exacerbated or mitigated in the
                                                                                               Justice    Minority Populations and
                                                                                               justice in Minority                                             regulatory alternatives under
                                                 G. Executive Order 13045:
                                                                       13045: Protection of    Low-Income Populations                                          consideration as compared to the
                                                 Children From Environmental Health                                                                            baseline. We infer that baseline
                                                 Risks and Safety
                                                             Safety Risks                         Executive Order 12898 (59 FR 7629,
                                                                                               February 16, 1994) directs Federal                              disparities in the ozone and PM2.5
                                                                                                                                                                                             PM2.5
                                                    The EPA interprets Executive Order         agencies, to the greatest extent                                concentration burdens are likely to
                                                                                               practicable and permitted by law, to                            persist after implementation of the
                                                 13045 as applying only to those
                                                                                               make environmental justice part of their                        regulatory action or alternatives under
                                                 regulatory actions that concern                                                                               consideration, due to similar modeled
                                                 environmental health or safety risks that mission by identifying and addressing,                              concentration reductions across
                                                 the EPA has reason to believe may             as appropriate, disproportionately high
                                                                                               and adverse human health or                                     population demographics. Importantly,
                                                 disproportionately affect children, per                                                                       the action described in this rule is
                                                 the definition of "covered
                                                                    ‘‘covered regulatory       environmental effects of their programs,
                                                                                               policies, and activities on minority                            expected to lower ozone and PM2.5
                                                                                                                                                                                              PM2.5 in
                                                 action’’ in section 2–202
                                                 action"              2-202 of the                                                                             many areas, including in ozone
                                                 Executive order. This action is not           populations (people of color and/or
                                                                                               indigenous peoples) and low-income                              nonattainment areas, and thus mitigate
                                                                                                                                                               nonattainrnent
                                                 subject to Executive Order 13045                                                                              some pre-existing health risks across all
                                                                                               populations.
                                                 because it implements a previously               The EPA believes that the human                              populations evaluated.
                                                 promulgated health-based Federal              health or environmental conditions that                           The EPA additionally identified and
                                                 standard. This action's
                                                                  action’s health and risk     exist prior to this action result in or                         addressed environmental justice
                                                 assessments are contained in Chapter 5        have the potential to result in                                 concerns by providing the public,
                                                 and 6 of the RIA. The EPA believes that disproportionate and adverse human                                    including those communities
                                                 the ozone-related benefits, PM    2.5-related
                                                                               PM2.5-related   health or environmental effects on                              disproportionately impacted by the
                                                                CO2- related benefits from
                                                 benefits, and CO2-                            people of color, low-income populations                         burdens of pollution, opportunities for
                                                 this final rule will further improve          and/or Indigenous peoples. The                                  meaningful engagement with the EPA
                                                 children’s
                                                 children's health. Additionally, the          documentation for this decision is                              on this action through outreach
                                                             PM2.5 EJ exposure analyses in contained in section VII of this
                                                 ozone and PM2.5                                                                                               activities conducted by the Agency. The
                                                 Chapter 7 of the RIA suggests that            document, Environmental justice
                                                                                                                            Justice                            information supporting this Executive
                                                 nationally, children (ages 0–17)
                                                                              0-17) will       Analytical Considerations and                                   order review is contained in section VII
                                                 experience at least as great a reduction      Stakeholder Outreach and Engagement,                            of this document.
                                                 in ozone and PM2.5
                                                                PM2.5 exposures as adults      and in Chapter 7, Environmental Justice
                                                                                                                                    justice                    K. Congressional Review
                                                                                                                                                                                  Review Act
                                                        18–64) in 2023 and 2026 under all Impacts of the MA,
                                                 (ages 18-64)                                                   RIA, which is in the                             This action is subject to the CRA, and
                                                 regulatory alternatives of this               public document. Briefly, proximity
                                                                                                                                                               the EPA will submit a rule report to
                                                 rulemaking.                                   demographic analyses found larger                               each House of the Congress and to the
                                                                                               percentages of Hispanics, African
                                                 H. Executive Order 13211:
                                                                       13211: Actions                                                                          Comptroller General of the United
                                                                                               Americans, people below the poverty                             States. Because this action falls within
                                                 Concerning Regulations That                   level, people with less educational
                                                 Significantly Affect Energy
                                                 Significantly          Energy Supply,                                                                         the definition provided by 5 U.S.C.
                                                                                               attainment, and people linguistically                           804(2), the rule's
                                                                                                                                                                           rule’s effective date is
                                                 Distribution or Use
                                                                   Use                         isolated are living within 5 km and 10
                                                                                                                                                               consistent with 5 U.S.C. 801(a)(3).
                                                                                               km of an affected EGU, compared to
                                                    This action is not a "significant
                                                                         ‘‘significant         national averages. It also finds larger                         L. Determinations Under
                                                                                                                                                                                     Under CAA Section
                                                         action’’ because it is not likely to percentages of African Americans,
                                                 energy action"                                                                                                307(b)(1) and (d)
                                                 have a significant adverse effect on the      people below the poverty level, and                                Section 307(b)(1) of the CAA governs
                                                 supply, distribution, or use of energy.       with less educational attainment living                         judicial review of final actions by the
                                                 The EPA has prepared a Statement of           within 5 km and 10 km of an affected                            EPA. This section provides, in part, that
                                                 Energy Effects for the final regulatory       non-EGU facility. Considering the                               petitions for review must be filed in the
                                                 control alternative as follows. The           known limitations of proximity                                  D.C. Circuit: (i) when the agency action
                                                 Agency estimates a 1 percent change in        analyses, including the inability to                                        ‘‘nationally applicable
                                                                                                                                                               consists of "nationally
                                                 retail electricity prices on average across assess policy-specific impacts, we also                           regulations promulgated, or final actions
                                                 the contiguous U.S. in the 2025 run           performed analysis of baseline EJ ozone                                        Administrator,’’ or (ii)
                                                                                                                                                               taken, by the Administrator,"
                                                 year, a 4 percent reduction (28 GWh) in and PM2.5  PM2.5 exposures. Baseline ozone                            when such action is locally or regionally
                                                 coal-fired electricity generation, a 2             PM2.5 exposure analyses show that
                                                                                               and PM2.5                                                                         ‘‘such action is based on
                                                                                                                                                               applicable, but "such
                                                 percent increase (21 GWh) in natural          certain populations, such as Hispanics,                         a determination of nationwide scope or
                                                 gas-fired electricity generation, and a 1     Asians, those linguistically isolated,                          effect and if in taking such action the
                                                 percent increase (8 GWh) in renewable         those less educated, and children may                           Administrator finds and publishes that
                                                 electricity generation as a result of this    experience disproportionately higher                            such action is based on such a
                                                 final rule. The EPA projects that utility     ozone       PM2.5 exposures as compared
                                                                                                      and PM2.5                                                determination.’’
                                                                                                                                                               determination." For locally or regionally
                                                 power sector delivered natural gas            to the national average. American                               applicable final actions, the CAA
                                                 prices will change by less than 1 percent Indians may also experience                                         reserves to the EPA complete discretion
                                                 in 2025. Details of the estimated energy disproportionately higher ozone                                      whether to invoke the exception in
ddrumheller on DSK120RN23PROD with RULES2




                                                 effects are presented in Chapter 4 of the concentrations than the reference group.                            (ii).434
                                                                                                                                                               (11).
                                                                                                  The EPA believes that this action is
                                                 RIA, which is in the public docket.
                                                 MA,
                                                                                               not likely to change existing                                      434 In deciding whether to invoke the exception
                                                                                                                                                                  434

                                                 I. National Technology
                                                              Technology Transfer and          disproportionate and adverse effects on                         by making and publishing a finding that an action
                                                 Advancement Act (NTTAA)                       people of color, low-income populations                         is based on a determination of nationwide scope or
                                                                                                                                                               effect, the Administrator takes into account a
                                                                                               and/or Indigenous peoples. Specifically,                        number of policy considerations, including his
                                                    This rulemaking does not involve           we do not find evidence that potential                          judgment balancing the benefit of obtaining the D.C.
                                                 technical standards.                          EJ concerns related to ozone or PM2.5
                                                                                                                                  PM2.5                                                                   Continued




                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00207   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023                  Page 246 of 430
                                                 36860
                                                 36860                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                    This rulemaking is "nationally
                                                                          ‘‘nationally                   geographic area covered by this final                    List of Subjects
                                                 applicable’’ within the meaning of CAA
                                                 applicable"                                             rule.435
                                                                                                         rule.435                                                 40 CFR Part 52
                                                 section 307(b)(1). In this final action, the               The Administrator finds that this is a
                                                 EPA is applying a uniform legal                                                                                    Environmental protection,
                                                                                                         matter on which national uniformity in                   Administrative practice and procedure,
                                                 interpretation and common, nationwide                   judicial resolution of any petitions for
                                                 analytical methods with respect to the                                                                           Air pollution control, Incorporation by
                                                                                                         review is desirable, to take advantage of                reference, Intergovernmental relations,
                                                 requirements of CAA section                                        Circuit’s administrative law
                                                                                                         the D.C. Circuit's
                                                 110(a)(2)(D)(i)(I) concerning interstate                                                                         Nitrogen oxides, Ozone, Particulate
                                                                                                         expertise, and to facilitate the orderly                 matter, Sulfur dioxide.
                                                 transport of pollution (i.e., "good
                                                                                ‘‘good                   development of the basic law under the
                                                 neighbor’’ requirements) to promulgate
                                                 neighbor"                                               Act. The Administrator also finds that                   40 CFR Part 75
                                                                                                                                                                               75
                                                 FIPs that satisfy these requirements for                consolidated review of this action in the                  Environmental protection,
                                                 the 2015 ozone NAAQS. Based on these                    D.C. Circuit will avoid piecemeal                        Administrative practice and procedure,
                                                 analyses, the EPA is promulgating FIPs                  litigation in the regional circuits, further             Air pollution control, Continuous
                                                 for 23 states located across a wide                     judicial economy, and eliminate the risk                 emissions monitoring, Electric power
                                                 geographic area in eight of the ten EPA                 of inconsistent results for different                    plants, Nitrogen oxides, Ozone,
                                                 regions and ten Federal judicial circuits.              states, and that a nationally consistent                 Particulate matter, Reporting and
                                                 Given that this action addresses                                            CAA’s mandate
                                                                                                         approach to the CAA's                                    recordkeeping requirements, Sulfur
                                                 implementation of the good neighbor                     concerning interstate transport of ozone                 dioxide.
                                                 requirements of CAA section                             pollution constitutes the best use of                    40 CFR Part 78
                                                 110(a)(2)(D)(i)(I) in a large number of                 agency resources. The EPA's
                                                                                                                                   EPA’s responses
                                                 states located across the country, and                                                                             Environmental protection,
                                                                                                         to comments on the appropriate venue                     Administrative practice and procedure,
                                                 given the interdependent nature of                      for petitions for review are contained in
                                                 interstate pollution transport and the                                                                           Air pollution control, Electric power
                                                                                                         section 1.10 of the RTC document.                        plants, Nitrogen oxides, Ozone,
                                                 common core of knowledge and analysis
                                                                                                            For these reasons, this final action is               Particulate matter, Sulfur dioxide.
                                                 involved in promulgating these FIPs,
                                                                                                         nationally applicable or, alternatively,                 40 CFR Part 97
                                                           ‘‘nationally applicable"
                                                 this is a "nationally  applicable’’ action                                                                                    97
                                                                                                         the Administrator is exercising the
                                                 within the meaning of CAA section                                                                                  Environmental protection,
                                                                                                         complete discretion afforded to him by
                                                 307(b)(1).                                                                                                       Administrative practice and procedure,
                                                                                                         the CAA and finds that this final action
                                                    In the alternative, to the extent a court            is based on a determination of                           Air pollution control, Electric power
                                                 finds this action to be locally or                                                                               plants, Nitrogen oxides, Ozone,
                                                                                                         nationwide scope or effect for purposes
                                                 regionally applicable, the Administrator                                                                         Particulate matter, Reporting and
                                                                                                         of CAA section 307(b)(1) and is
                                                 is exercising the complete discretion                                                                            recordkeeping requirements, Sulfur
                                                                                                         publishing that finding in the Federal
                                                 afforded to him under the CAA to make                                                                            dioxide.
                                                                                                         Register. Under section 307(b)(1) of the
                                                 and publish a finding that this action is               CAA, petitions for judicial review of                    Michael S. Regan,
                                                 based on a determination of                             this action must be filed in the United                  Administrator.
                                                 ‘‘nationwide scope or effect"
                                                 "nationwide               effect’’ within the           States Court of Appeals for the District                    For the reasons stated in the
                                                 meaning of CAA section 307(b)(1). In                    of Columbia Circuit by August 4, 2023.                   preamble, parts 52, 75, 78, and 97 of
                                                 this final action, the EPA is interpreting                                                                       title 40 of the Code of Federal
                                                                                                            This action is subject to the
                                                 and applying section 110(a)(2)(d)(i)(I) of                                                                       Regulations are amended as follows:
                                                                                                         provisions of section 307(d). CAA
                                                 the CAA for the 2015 ozone NAAQS
                                                                                                         section 307(d)(1)(B) provides that
                                                 based on a common core of nationwide                                                                             PART 52—APPROVAL AND
                                                 policy judgments and technical analysis
                                                                                                         section 307(d) applies to, among other
                                                                                                                                                                  PROMULGATION OF
                                                                                                                  ‘‘the promulgation or revision of
                                                                                                         things, "the
                                                 concerning the interstate transport of                                                                           IMPLEMENTATION PLANS
                                                 pollutants throughout the continental                   an implementation plan by the
                                                 U.S. In particular, the EPA is applying                 Administrator under [CAA section                         ■
                                                                                                                                                                  ■ 1. The authority citation for part 52
                                                                                                         110(c)].’’ 42 U.S.C. 7407(d)(1)(B). This
                                                                                                         110(c)]."                                                continues to read as follows:
                                                 here the same, nationally consistent 4-
                                                 step framework for assessing good                       action, among other things, promulgates                    Authority: 42 U.S.C. 7401 et seq.
                                                 neighbor obligations for the 2015 ozone                 new Federal implementation plans
                                                 NAAQS that it has applied in other                      pursuant to the authority of section                     Subpart A—General Provisions
                                                 nationally applicable rulemakings, such                 110(c). To the extent any portion of this
                                                                                                         final action is not expressly identified                 ■ 2. Amend §
                                                                                                                                                                    2. Amend   § 52.38 by:
                                                 as CSAPR, the CSAPR Update, and the                                                                              ■
                                                                                                                                                                  ■ a. In paragraph (a)(1), removing
                                                 Revised CSAPR Update. The EPA is                        under section 307(d)(1)(B), the
                                                                                                         Administrator determines that the                        ‘‘(NOX), except"
                                                                                                                                                                  "(NOx),  except’’ and adding in its place
                                                 relying on the results from nationwide                                                                           ‘‘(NOX) for sources meeting the
                                                                                                                                                                  "(NOx)
                                                 photochemical grid modeling using a                     provisions of section 307(d) apply to
                                                                                                                                                                  applicability criteria set forth in subpart
                                                 2016 base year and 2023 projection year                 such final action. See CAA section
                                                                                                                                                                             except’’;
                                                                                                                                                                  AAAAA, except";
                                                 as the primary basis for its assessment                 307(d)(1)(V) (the provisions of section                  ■
                                                                                                                                                                  ■ b. In paragraph (a)(3) introductory
                                                 of air quality conditions and pollution                 307(d) apply to "such
                                                                                                                            ‘‘such other actions as               text:
                                                 contribution levels at Step 1 and Step 2                the Administrator may determine’’).
                                                                                                                                    determine").                  ■               ‘‘(a)(2)(i) or (ii)"
                                                                                                                                                                  ■ i. Removing "(a)(2)(i)       (ii)’’ and
ddrumheller on DSK120RN23PROD with RULES2




                                                 of that 4-step framework and applying a                                                                          adding in its place "(a)(2)";
                                                                                                                                                                                        ‘‘(a)(2)’’; and
                                                 nationally uniform approach to the
                                                                                                           435 In the report on the 1977 Amendments that
                                                                                                           435                                                    ■                ‘‘the State and’’
                                                                                                                                                                  ■ ii. Removing "the           and" and
                                                                                                         revised section 307(b)(1) of the CAA, Congress           adding in its place "sources
                                                                                                                                                                                        ‘‘sources in the State
                                                 identification of nonattainment
                                                                    nonattainrnent and                   noted that the Administrator's
                                                                                                                         Administrator’s determination that
                                                 maintenance receptors across the entire                                                                          and areas of Indian country within the
                                                                                                             ‘‘nationwide scope or effect"
                                                                                                         the "nationwide             effect’’ exception applies
                                                                                                         would be appropriate for any action that has a           borders of the State subject to the State’s
                                                                                                                                                                                                           State's
                                                 Circuit’s authoritative centralized review versus
                                                 Circuit's                                               scope or effect beyond a single judicial circuit. See    SIP authority for’’;
                                                                                                                                                                                 for";
                                                 allowing development of the issue in other contexts                    95–294 at 323,
                                                                                                         H.R. Rep. No. 95-294            324, reprinted in 1977
                                                                                                                                   323,324,                       ■
                                                                                                                                                                  ■ c. In paragraph (a)(3)(i), removing
                                                 and the best use of agency resources.                                  1402–03.
                                                                                                         U.S.C.C.A.N. 1402-03.                                    ‘‘State and"
                                                                                                                                                                  "State  and’’ and adding in its place


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00208   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM    05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023               Page 247 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                               36861
                                                                                                                                                                                                       36861

                                                 ‘‘State and areas of Indian country
                                                 "State                                                  subparts BBBBB, EEEEE, and GGGGG,                     the State not subject to the State’s
                                                                                                                                                                                                 State's SIP
                                                 within the borders of the State subject                 except’’;
                                                                                                         except";                                              authority’’;
                                                                                                                                                               authority";
                                                 to the State’s
                                                          State's SIP authority and that";
                                                                                         that’’;         ■
                                                                                                         ■ q. Redesignating paragraphs (b)(2)(i)               ■
                                                                                                                                                               ■ ii. Revising paragraphs (b)(9)(vii) and
                                                 ■
                                                 ■ d. In paragraph (a)(4) introductory                   and (ii) as paragraphs (b)(2)(i)(A) and               (viii), (b)(10) introductory text, (b)(10)(i)
                                                 text, removing "for ‘‘for the State’s
                                                                               State's sources,          (B), respectively, paragraphs (b)(2)(iii)             and (ii), (b)(10)(v)(A) and (B), and
                                                 and’’
                                                 and" and adding in its place "with   ‘‘with             and (iv) as paragraphs (b)(2)(ii)(A) and              (b)(11) introductory text;
                                                 regard to sources in the State and areas                (B), respectively, and paragraph (b)(2)(v)            ■
                                                                                                                                                               ■ jj. Removing and reserving paragraphs
                                                 of Indian country within the borders of                 as paragraph (b)(2)(iii)(A);                          (b)(11)(i) and (ii);
                                                 the State subject to the State’s
                                                                               State's SIP               ■
                                                                                                         ■ r. In newly redesignated paragraph                  ■
                                                                                                                                                               ■ kk. In paragraph (b)(11)(iii)
                                                 authority, and’’;
                                                                and";                                    (b)(2)(ii)(A), removing "Alabama,
                                                                                                                                      ‘‘Alabama,               introductory text, removing
                                                 ■
                                                 ■ e. Revising table 1 to paragraph                      Arkansas, Iowa, Kansas, Mississippi,                  ‘‘§§ 97.1011(a) and (b)(1) and
                                                                                                                                                               "§§
                                                 (a)(4)(i)(B);                                           Missouri, Oklahoma, Tennessee, Texas,                 97.1012(a)’’
                                                                                                                                                               97.1012(a)" and adding in its place
                                                 ■
                                                 ■ f. In paragraph (a)(4)(ii), removing                        Wisconsin.’’ and adding in its place
                                                                                                         and Wisconsin."                                       ‘‘§ 97.1011(a)(1)’’;
                                                                                                                                                               "§97.1011(a)(1)";
                                                 ‘‘deadlines for submission of allocations
                                                 "deadlines                                              ‘‘Iowa, Kansas, and Tennessee.";
                                                                                                         "Iowa,                   Tennessee.’’;                ■  ll. Revising paragraph (b)(11)(iii)(A);
                                                                                                                                                               ■ 11.
                                                 or auction results under paragraphs                     ■
                                                                                                         ■ s. Adding paragraphs (b)(2)(ii)(C) and                 mm. In paragraph (b)(11)(iii)(B):
                                                                                                                                                                  nun.
                                                 (a)(4)(i)(B) and (C)’’
                                                                     (C)" and adding in its              (b)(2)(iii)(B) and (C);                               ■                  ‘‘§ 97.1011(a)’’ and
                                                                                                                                                               ■ i. Removing "§97.1011(a)"
                                                 place "deadline
                                                         ‘‘deadline for submission of                    ■
                                                                                                         ■ t. In paragraph (b)(3) introductory                 adding in its place "§97.1011(a)(1)";
                                                                                                                                                                                        ‘‘§ 97.1011(a)(1)’’;
                                                 allocations or auction results under                    text:                                                 and
                                                 paragraph (a)(4)(i)(B)’’;
                                                                (a)(4)(i)(B)";                           ■
                                                                                                         ■ i. Removing "or‘‘or (ii)’’;
                                                                                                                               (ii)"; and                      ■               ‘‘and’’ after the semicolon;
                                                                                                                                                               ■ ii. Adding "and"
                                                 ■
                                                 ■ g. In paragraph (a)(5) introductory                   ■
                                                                                                         ■ ii. Removing "the
                                                                                                                           ‘‘the State and"
                                                                                                                                         and’’ and             ■
                                                                                                                                                               ■ nn. Removing and reserving
                                                 text, removing "State
                                                                     ‘‘State (but not sources in         adding in its place "sources
                                                                                                                                ‘‘sources in the State         paragraph (b)(11)(iii)(C);
                                                 any Indian country within the borders                   and areas of Indian country within the                ■
                                                                                                                                                               ■ oo. Revising paragraphs (b)(11)(iii)(D),

                                                 of the State), regulations"
                                                                   regulations’’ and adding in           borders of the State subject to the State’s
                                                                                                                                                  State's      (b)(11)(iv), and (b)(12) introductory text;
                                                 its place "State
                                                             ‘‘State and areas of Indian                 SIP authority for’’;
                                                                                                                         for";                                 ■
                                                                                                                                                               ■ pp. Removing and reserving

                                                 country within the borders of the State                 ■
                                                                                                         ■ u. In paragraph (b)(3)(i), removing                 paragraphs (b)(12)(i) and (ii);
                                                 subject to the State’s                                  ‘‘State and’’
                                                                                                         "State  and" and adding in its place                  ■
                                                                                                                                                               ■ qq. In paragraph (b)(12)(iii)
                                                                    State's SIP authority,
                                                                                                         ‘‘State and areas of Indian country
                                                                                                         "State                                                introductory text, removing
                                                 regulations’’;
                                                 regulations";
                                                                                                         within the borders of the State subject               ‘‘§§ 97.1011(a) and (b)(1) and
                                                                                                                                                               "§§
                                                 ■
                                                 ■ h. Revising table 2 to paragraph
                                                                                                         to the State’s
                                                                                                                 State's SIP authority and that";
                                                                                                                                                that’’;        97.1012(a)’’
                                                                                                                                                               97.1012(a)" and adding in its place
                                                 (a)(5)(i)(B);
                                                 ■
                                                 ■ i. In paragraph (a)(5)(iv), removing
                                                                                                         ■
                                                                                                         ■ v. Revising paragraph (b)(4)                        ‘‘§ 97.1011(a)(1)’’;
                                                                                                                                                               "§97.1011(a)(1)";
                                                                                                         introductory text;                                    ■
                                                                                                                                                               ■ rr. Revising paragraph (b)(12)(iii)(A);
                                                 ‘‘Indian country within the borders of
                                                 "Indian                                                                                                       ■
                                                                                                         ■
                                                                                                         ■ w. Removing and reserving paragraph                 ■ ss. In paragraph (b)(12)(iii)(B):
                                                 the State’’
                                                       State" and adding in its place "areas‘‘areas                                                            ■                  ‘‘§ 97.1011(a)’’ and
                                                                                                                                                               ■ i. Removing "§97.1011(a)"
                                                                                                         (b)(4)(i);
                                                                                                         (3)(4)(i);
                                                 of Indian country within the borders of
                                                                                                         ■
                                                                                                         ■ x. Revising table 3 to paragraph                    adding in its place "§97.1011(a)(1)";
                                                                                                                                                                                        ‘‘§ 97.1011(a)(1)’’;
                                                 the State not subject to the State’s
                                                                                    State's SIP          (b)(4)(ii)(B) and paragraphs (b)(4)(iii)              and
                                                 authority’’;
                                                 authority";                                                                                                   ■               ‘‘and’’ after the semicolon;
                                                                                                                                                               ■ ii. Adding "and"
                                                                                                         and (b)(5) introductory text;
                                                 ■
                                                 ■ j. In paragraph (a)(5)(v), removing
                                                                                                         ■
                                                                                                         ■ y. Removing and reserving paragraph                 ■
                                                                                                                                                               ■ tt. Removing and reserving paragraph
                                                 ‘‘Indian country within the borders of
                                                 "Indian                                                 (b)(5)(i);                                            (b)(12)(iii)(C);
                                                                                                         (3)(5)(1);
                                                 the State, the"
                                                               the’’ and adding in its place             ■
                                                                                                         ■ z. Revising table 4 to paragraph                    ■
                                                                                                                                                               ■ uu. Revising paragraphs (b)(12)(iii)(D),
                                                 ‘‘areas of Indian country within the
                                                 "areas                                                  (b)(5)(ii)(B);                                        (b)(12)(vi) through (viii), (b)(13)
                                                                                                         (3)(5)(11)(B);
                                                 borders of the State not subject to the                 ■
                                                                                                         ■ aa. In paragraph (b)(5)(v), removing                introductory text, and (b)(13)(i);
                                                 State’s
                                                 State's SIP authority, the";the’’;                      ‘‘Indian country within the borders of
                                                                                                         "Indian                                               ■
                                                                                                                                                               ■ vv. In paragraph (b)(13)(ii), removing
                                                 ■
                                                 ■ k. In paragraph (a)(5)(vi), removing                       State’’ and adding in its place "areas
                                                                                                         the State"                                ‘‘areas     ‘‘regulations, including any sources
                                                                                                                                                               "regulations,
                                                 ‘‘deadlines for submission of allocations
                                                 "deadlines                                              of Indian country within the borders of               made subject to such regulations
                                                 or auction results under paragraphs                     the State not subject to the State’s
                                                                                                                                           State's SIP         pursuant to paragraph (b)(9)(ii) or
                                                 (a)(5)(i)(B) and (C)’’
                                                                     (C)" and adding in its              authority’’;
                                                                                                         authority";                                           (b)(12)(ii) of this section, the"
                                                                                                                                                                                               the’’ and
                                                 place "deadline
                                                         ‘‘deadline for submission of                    ■
                                                                                                         ■ bb. In paragraph (b)(5)(vi), removing               adding in its place "regulations
                                                                                                                                                                                        ‘‘regulations the";
                                                                                                                                                                                                       the’’;
                                                 allocations or auction results under                    ‘‘Indian country within the borders of
                                                                                                         "Indian                                               ■
                                                                                                                                                               ■ ww. In paragraph (b)(14)(i)(F),
                                                 paragraph (a)(5)(i)(B)’’;
                                                                (a)(5)(i)(B)";                                       the’’ and adding in its place
                                                                                                         the State, the"                                                    ‘‘§ 97.825(b)’’ and adding in
                                                                                                                                                               removing "§97.825(b)"
                                                 ■  l. Revising paragraphs (a)(6) and
                                                 ■ 1.                                                    ‘‘areas of Indian country within the
                                                                                                         "areas                                                its place "§§97.806(c)(2)
                                                                                                                                                                          ‘‘§§ 97.806(c)(2) and (3) and
                                                 (a)(7)(ii);
                                                 (a)(7)(11);                                             borders of the State not subject to the               97.825(b)’’;
                                                                                                                                                               97.825(b)";
                                                 ■
                                                 ■ m. Adding paragraph (a)(7)(iii);                      State’s
                                                                                                         State's SIP authority, the";
                                                                                                                                    the’’;                     ■
                                                                                                                                                               ■ xx. In paragraph (b)(14)(i)(G),
                                                 ■
                                                 ■ n. In paragraphs (a)(8)(i) and (ii),                  ■
                                                                                                         ■ cc. Revising paragraphs (b)(5)(vii),                             ‘‘§ 97.826(e)’’ and adding in
                                                                                                                                                               removing "§97.826(e)"
                                                 removing "the ‘‘the State and"
                                                                            and’’ and adding in          (b)(7) introductory text, (b)(7)(i), and              its place "§97.826(f)";
                                                                                                                                                                          ‘‘§ 97.826(f)’’;
                                                 its place "sources
                                                             ‘‘sources in the State and areas            (b)(8) introductory text;                             ■
                                                                                                                                                               ■ yy. Revising paragraphs (b)(14)(ii) and
                                                 of Indian country within the borders of                 ■
                                                                                                         ■ dd. Removing and reserving                          (iii);
                                                 the State subject to the State’s
                                                                               State's SIP               paragraphs (b)(8)(i) and (ii);                        ■
                                                                                                                                                               ■ zz. In paragraph (b)(15)(i), removing
                                                 authority for’’;
                                                              for";                                      ■
                                                                                                         ■ ee. Revising paragraph (b)(8)(iii)(A),              ‘‘the State and"
                                                                                                                                                               "the          and’’ and adding in its place
                                                 ■
                                                 ■ o. In paragraph (a)(8)(iii), removing                 table 5 to paragraph (b)(8)(iii)(B), and              ‘‘sources in the State and areas of Indian
                                                                                                                                                               "sources
                                                 ‘‘State (but not sources in any Indian
                                                 "State                                                  paragraphs (b)(8)(iv) and (b)(9)                      country within the borders of the State
                                                 country within the borders of the                       introductory text;                                    subject to the State’s
                                                                                                                                                                                 State's SIP authority for";
                                                                                                                                                                                                          for’’;
                                                 State):’’
                                                 State):" and adding in its place "State ‘‘State         ■                                                     ■
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                         ■ ff. Removing and reserving paragraphs               ■ aaa. Revising paragraph (b)(15)(ii);
                                                 and areas of Indian country within the                  (b)(9)(i) and (ii);                                   ■
                                                                                                                                                               ■ bbb. In paragraph (b)(15)(iii),
                                                 borders of the State subject to the State’sState's      ■
                                                                                                         ■ gg. Revising paragraph (b)(9)(iii)(A)                            ‘‘State (but not sources in any
                                                                                                                                                               removing "State
                                                 SIP authority:";
                                                       authority:’’;                                     and table 6 to paragraph (b)(9)(iii)(B);              Indian country within the borders of the
                                                 ■
                                                 ■ p. In paragraph (b)(1), removing                      ■
                                                                                                         ■ hh. In paragraph (b)(9)(vi), removing               State):’’
                                                                                                                                                               State):" and adding in its place "State‘‘State
                                                 ‘‘year), except"
                                                 "year),   except’’ and adding in its place              ‘‘Indian country within the borders of
                                                                                                         "Indian                                               and areas of Indian country within the
                                                 ‘‘year) for sources meeting the
                                                 "year)                                                       State’’ and adding in its place "areas
                                                                                                         the State"                                ‘‘areas     borders of the State subject to the State’s
                                                                                                                                                                                                         State's
                                                 applicability criteria set forth in                     of Indian country within the borders of               SIP authority:";
                                                                                                                                                                     authority:’’;


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00209   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                                          Document #2009836                                           Filed: 07/27/2023              Page 248 of 430
                                                 36862
                                                 36862                        Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 ■
                                                 ■ ccc. In paragraph (b)(16)(i)(A),                                          and, in newly redesignated paragraph                           § 52.38 What are the requirements of the
                                                             ‘‘the State and"
                                                 removing "the           and’’ and adding in                                 (b)(16)(ii)(A), removing "(b)(2)(iv)"
                                                                                                                                                       ‘‘(b)(2)(iv)’’ and                   Federal Implementation Plans (FIPs) for the
                                                 its place "sources
                                                           ‘‘sources in the State and areas                                  adding in its place "(b)(2)(ii)(B)";
                                                                                                                                                 ‘‘(b)(2)(ii)(B)’’;                         Cross-State Air Pollution Rule (CSAPR)
                                                 of Indian country within the borders of                                                                                                    relating to emissions of nitrogen oxides?
                                                                                                                             ■
                                                                                                                             ■ fff. Adding paragraph (b)(16)(ii)(B);
                                                 the State subject to the State’s
                                                                           State's SIP                                       and                                                               (a) * * *
                                                 authority for’’;
                                                             for";
                                                 ■
                                                 ■ ddd. Revising paragraphs (b)(16)(i)(B)                                    ■
                                                                                                                             ■ ggg. Revising paragraphs (b)(17)(i)                             (4) * * *
                                                 and (C);                                                                    through (iii).                                                    (i) * * *
                                                 ■
                                                 ■ eee. Redesignating paragraph                                                The revisions and additions read as                             (B) * * *
                                                 (b)(16)(ii) as paragraph (b)(16)(ii)(A),                                    follows:

                                                                                                                                TABLE 1 TO PARAGRAPH
                                                                                                                                TABLE      PARAGRAPH (a)(4)(i)(B)
                                                     Year of the control period for which CSAPR NOxNOX Annual allowances                                                   Deadline for submission of allocations or auction results
                                                                           are allocated or auctioned                                                                                       to the administrator

                                                 2017 or 2018 ............................................................................................         June 1, 2016.
                                                 2019 or 2020 ............................................................................................         June 1, 2017.
                                                 2021 or 2022 ............................................................................................         June 1, 2018.
                                                 2023 ..........................................................................................................   June 1, 2019.
                                                 2024 ..........................................................................................................   June 1, 2020.
                                                 2025 or any year thereafter ......................................................................                June 1 of the year before the year of the control period.



                                                 *        **       **         *         *                                        (B) * * *
                                                     (5)
                                                     (5) *
                                                          * * *
                                                                 *
                                                                 *

                                                     (i) * *
                                                     (i) *   *
                                                                *
                                                                *



                                                                                                                                TABLE 2 TO PARAGRAPH
                                                                                                                                TABLE      PARAGRAPH (a)(5)(i)(B)
                                                     Year of the control period for which CSAPR NOxNOX Annual allowances                                                   Deadline for submission of allocations or auction results
                                                                           are allocated or auctioned                                                                                       to the administrator

                                                 2017 or 2018 ............................................................................................         June 1, 2016.
                                                 2019 or 2020 ............................................................................................         June 1, 2017.
                                                 2021 or 2022 ............................................................................................         June 1, 2018.
                                                 2023 ..........................................................................................................   June 1, 2019.
                                                 2024 ..........................................................................................................   June 1, 2020.
                                                 2025 or any year thereafter ......................................................................                June 1 of the year before the year of the control period.



                                                 *      *
                                                        *    *
                                                             *      *
                                                                    *     *
                                                                          *                                                  State to address interstate air pollution,                     (a)(2)(ii) or (a)(6) of this section of the
                                                    (6) Withdrawal of CSAPR FIP                                              the SIP revision likewise will constitute                      applicability of subpart AAAAA of part
                                                                         NOX annual
                                                 provisions relating to NOx                                                  a partial rather than full remedy for the                      97 of this chapter to the sources in a
                                                 emissions. Except as provided in                                            State’s
                                                                                                                             State's obligation unless provided                             State and areas of Indian country within
                                                 paragraph (a)(7) of this section,                                           otherwise in the Administrator's
                                                                                                                                                Administrator’s                             the borders of the State subject to the
                                                 following promulgation of an approval                                       approval of the SIP revision.                                  State’s
                                                                                                                                                                                            State's SIP authority with regard to
                                                                                                                               (7)
                                                                                                                               (7) ** *
                                                                                                                                      * **                                                  emissions occurring in any control
                                                                              State’s SIP
                                                 by the Administrator of a State's
                                                 revision as correcting the SIP’s
                                                                              SIP's                                            (ii) Notwithstanding the provisions of                       period, the following provisions shall
                                                 deficiency that is the basis for the                                        paragraph (a)(6) of this section, if, at the                   continue to apply with regard to all
                                                 CSAPR Federal Implementation Plan set                                       time of any approval of a State’s
                                                                                                                                                         State's SIP                        CSAPR NOx NOX Annual allowances at any
                                                 forth in paragraphs (a)(1), (a)(2)(i), and                                  revision under this section, the                               time allocated for any control period to
                                                 (a)(3) and (4) of this section for sources                                  Administrator has already started                              any source or other entity in the State
                                                 in the State and Indian country within                                      recording any allocations of CSAPR                             and areas of Indian country within the
                                                 the borders of the State subject to the                                     NOX Annual allowances under subpart
                                                                                                                             NOx                                                            borders of the State subject to the State’s
                                                                                                                                                                                                                                   State's
                                                 State’s SIP authority, the provisions of
                                                 State's                                                                     AAAAA of part 97 of this chapter to                            SIP authority and shall apply to all
                                                 paragraph (a)(2)(i) of this section will no                                 units in the State and areas of Indian                         entities, wherever located, that at any
                                                 longer apply to sources in the State and                                    country within the borders of the State                        time held or hold such allowances:
                                                 areas of Indian country within the                                          subject to the State’s
                                                                                                                                            State's SIP authority for a                       (A) The provisions of § 97.426(c) of
                                                 borders of the State subject to the State’s
                                                                                       State's                               control period in any year, the                                this chapter (concerning the transfer of
                                                 SIP authority, unless the                                                   provisions of subpart AAAAA                                    CSAPR NOx NOX Annual allowances
                                                 Administrator’s approval of the SIP
                                                 Administrator's                                                             authorizing the Administrator to                               between certain Allowance Management
                                                 revision is partial or conditional, and                                     complete the allocation and recordation                        System accounts under common
ddrumheller on DSK120RN23PROD with RULES2




                                                 will continue to apply to sources in                                        of such allowances to such units for                           control).
                                                 areas of Indian country within the                                          each such control period shall continue                          (B) [Reserved]
                                                 borders of the State not subject to the                                     to apply, unless provided otherwise by                         *      *
                                                                                                                                                                                                   *     *      *     *
                                                 State’s SIP authority, provided that if
                                                 State's                                                                     such approval of the State’s
                                                                                                                                                    State's SIP
                                                                                                                             revision.                                                        (b) * * *
                                                 the CSAPR Federal Implementation
                                                 Plan was promulgated as a partial rather                                      (iii) Notwithstanding any                                      (2) * * *
                                                 than full remedy for an obligation of the                                   discontinuation pursuant to paragraph                            (ii) * * *


                                            VerDate Sep<11>2014         20:14 Jun 02, 2023         Jkt 259001       PO 00000        Frm 00210       Fmt 4701       Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                                          Document #2009836                                           Filed: 07/27/2023              Page 249 of 430
                                                                              Federal Register //Vol.
                                                                                                 Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                                                   36863
                                                                                                                                                                                                                                   36863

                                                   (C) The provisions of subpart EEEEE                                       borders of such States with regard to                          Federal CSAPR NOx NOX Ozone Season
                                                 of part 97 of this chapter apply to                                         emissions occurring in 2023 and each                           Group 1 Trading Program. A State listed
                                                 sources in each of the following States                                     subsequent year: Alabama, Arkansas,                            in paragraph (b)(2)(i)(A) of this section
                                                 and Indian country located within the                                       Mississippi, Missouri, Oklahoma, Texas,                        may adopt and include in a SIP
                                                 borders of such States with regard to                                       and Wisconsin.                                                 revision, and the Administrator will
                                                 emissions occurring in 2017 through                                            (C) The provisions of subpart GGGGG                         approve, regulations replacing specified
                                                 2022 only, except as provided in                                            of part 97 of this chapter apply to                            provisions of subpart BBBBB of part 97
                                                 paragraph (b)(14)(iii) of this section:                                     sources in each of the following States                        of this chapter with regard to sources in
                                                 Alabama, Arkansas, Mississippi,                                             and Indian country located within the                          the State and areas of Indian country
                                                 Missouri, Oklahoma, Texas, and                                              borders of such States with regard to                          within the borders of the State subject
                                                 Wisconsin.                                                                  emissions occurring on and after August                        to the State’s
                                                                                                                                                                                                    State's SIP authority, and not
                                                   (iii) * * *                                                               4, 2023, and in each subsequent year:                          substantively replacing any other
                                                   (B) The provisions of subpart GGGGG                                       Minnesota, Nevada, and Utah.                                   provisions, as follows:
                                                 of part 97 of this chapter apply to                                         *      *
                                                                                                                                    *    *
                                                                                                                                         *     *
                                                                                                                                               *    *
                                                                                                                                                    *                                       *
                                                                                                                                                                                            *      *
                                                                                                                                                                                                   *     *     *
                                                                                                                                                                                                               *    *
                                                                                                                                                                                                                    *
                                                 sources in each of the following States                                        (4) Abbreviated SIP revisions                                 (ii) * * *
                                                 and Indian country located within the                                       replacing certain provisions of the                              (B) * * *

                                                                                                                               TABLE 3 TO P
                                                                                                                               TABLE      PARAGRAPH
                                                                                                                                           ARAGRAPH (b)(4)(ii)(B)

                                                 Year of the control period for which CSAPR NOx
                                                                                             NOX Ozone Season Group                                                        Deadline for submission of allocations or auction results
                                                                 1 allowances are allocated or auctioned                                                                                    to the administrator

                                                 2017 or 2018 ............................................................................................         June 1, 2016.
                                                 2019 or 2020 ............................................................................................         June 1, 2017.
                                                 2021 or 2022 ............................................................................................         June 1, 2018.
                                                 2023 ..........................................................................................................   June 1, 2019.
                                                 2024 ..........................................................................................................   June 1, 2020.
                                                 2025 or any year thereafter ......................................................................                June 1 of the year before the year of the control period.


                                                 *      *    *     *     *                                                     (5) Full SIP revisions adopting
                                                                                                                                                       adopting State country within the borders of the State
                                                   (iii) Provided that the State must                                        CSAPR NOx
                                                                                                                                     NOX Ozone Season Group 1         subject to the State’s
                                                                                                                                                                                     State's SIP authority,
                                                 submit a complete SIP revision meeting                                      Trading Programs. A State listed in      regulations that are substantively
                                                 the requirements of paragraph (b)(4)(ii)                                    paragraph (b)(2)(i)(A) of this section   identical to the provisions of the CSAPR
                                                 of this section by December 1 of the year                                   may adopt and include in a SIP           NOX Ozone Season Group 1 Trading
                                                                                                                                                                      NOx
                                                 before the year of the deadline for                                         revision, and the Administrator will     Program set forth in §§ 97.502 through
                                                 submission of allocations or auction                                        approve, as correcting the deficiency in 97.535 of this chapter, except that the
                                                 results under paragraph (b)(4)(ii)(B) of                                    the SIP that is the basis for the CSAPR  SIP revision:
                                                 this section applicable to the first                                        Federal Implementation Plan set forth in *
                                                                                                                                                                      *      *
                                                                                                                                                                             *    *     *     *
                                                 control period for which the State wants                                    paragraphs (b)(1), (b)(2)(i), and (b)(3)
                                                 to make allocations or hold an auction                                      and (4) of this section with regard to     (ii) * *  *
                                                 under paragraph (b)(4)(ii) of this section.                                 sources in the State and areas of Indian   (B) * * *
                                                                                                                               TABLE 4 TO P
                                                                                                                               TABLE      PARAGRAPH
                                                                                                                                           ARAGRAPH (b)(5)(ii)(B)

                                                  Year of the control period for which CSAPR NOx
                                                                                             NOX Ozone Season group                                                        Deadline for submission of allocations or auction results
                                                                 1 allowances are allocated or auctioned                                                                                    to the administrator
                                                 2017 or 2018 ............................................................................................         June 1, 2016.
                                                 2019 or 2020 ............................................................................................         June 1, 2017.
                                                 2021 or 2022 ............................................................................................         June 1, 2018.
                                                 2023 ..........................................................................................................   June 1, 2019.
                                                 2024 ..........................................................................................................   June 1, 2020.
                                                 2025 or any year thereafter ......................................................................                June 1 of the year before the year of the control period.


                                                 *     *      *     *     *                                                     (7) State-determined allocations of                         NOX Ozone Season Group 2 units and
                                                                                                                                                                                            NOx
                                                   (vii) Provided that the State must                                        CSAPR NOxNOX Ozone Season Group 2                              the amount of CSAPR NOx  NOX Ozone
                                                 submit a complete SIP revision meeting                                      allowances for 2018. A State listed in                         Season Group 2 allowances allocated to
                                                 the requirements of paragraphs (b)(5)(ii)                                   paragraph (b)(2)(ii) of this section may                       each unit on such list, provided that the
                                                 through (v) of this section by December                                     adopt and include in a SIP revision, and                       list of units and allocations meets the
                                                 1 of the year before the year of the                                        the Administrator will approve, as                             following requirements:
                                                 deadline for submission of allocations                                               NOX Ozone Season Group 2
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                                             CSAPR NOx                                                         (i) All of the units on the list must be
                                                 or auction results under paragraph                                          allowance allocation provisions
                                                 (b)(5)(ii)(B) of this section applicable to                                                                                                units that are in the State and areas of
                                                                                                                             replacing the provisions in § 97.811(a)
                                                 the first control period for which the                                                                                                     Indian country within the borders of the
                                                                                                                             of this chapter with regard to sources in
                                                 State wants to make allocations or hold                                     the State and areas of Indian country                          State subject to the State's
                                                                                                                                                                                                                  State’s SIP authority
                                                 an auction under paragraph (b)(5)(ii) of                                    within the borders of the State subject                        and that commenced commercial
                                                 this section.                                                               to the State’s
                                                                                                                                     State's SIP authority for the                          operation before January 1, 2015;
                                                 *     *      *     *     *                                                  control period in 2018, a list of CSAPR                        *      *
                                                                                                                                                                                                   *      *    *
                                                                                                                                                                                                               *     *
                                                                                                                                                                                                                     *


                                            VerDate Sep<11>2014         20:14 Jun 02, 2023         Jkt 259001       PO 00000        Frm 00211       Fmt 4701       Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                                      Document #2009836                                         Filed: 07/27/2023              Page 250 of 430
                                                 36864
                                                 36864                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                    Register/Vol.

                                                   (8) Abbreviated SIP revisions                                         within the borders of the State subject                      not exceeding the amount, under
                                                 replacing certain provisions of the                                     to the State’s
                                                                                                                                  State's SIP authority, and not                      §§ 97.810(a) and 97.821 of this chapter
                                                 Federal CSAPR NOxNOX Ozone Season                                       substantively replacing any other                            for the State and such control period, of
                                                 Group 2 Trading Program. A State listed                                 provisions, as follows:                                      the CSAPR NOxNOX Ozone Season Group 2
                                                 in paragraph (b)(2)(ii) of this section                                 *       *
                                                                                                                                 *     *
                                                                                                                                       *     *
                                                                                                                                             *    *
                                                                                                                                                  *                                   trading budget minus the sum of the
                                                 may adopt and include in a SIP                                             (iii) * * *                                               Indian country new unit set-aside and
                                                 revision, and the Administrator will                                       (A) Requires the State or the                             the amount of any CSAPR NOxNOX Ozone
                                                 approve, regulations replacing specified                                permitting authority to allocate and, if                     Season Group 2 allowances already
                                                 provisions of subpart EEEEE of part 97                                  applicable, auction a total amount of                        allocated and recorded by the
                                                 of this chapter with regard to sources in                               CSAPR NOx NOX Ozone Season Group 2                           Administrator;
                                                 the State and areas of Indian country                                   allowances for any such control period                          (B) * * *
                                                                                                                          TABLE 5 TO PARAGRAPH
                                                                                                                          TABLE      PARAGRAPH (b)(8)(iii)(B)
                                                 Year of the control period for which CSAPR NOx
                                                                                            NOX Ozone Season Group                                                   Deadline for submission of allocations or auction results
                                                                2 allowances are allocated or auctioned                                                                               to the administrator
                                                 2019 or 2020 ............................................................................................   June 1, 2018.
                                                 2021 or 2022 ............................................................................................   June 1, 2019.
                                                 2023 or 2024 ............................................................................................   June 1, 2020.
                                                 2025 or any year thereafter ......................................................................          June 1 of the year before the year of the control period.


                                                 *     *     *     *     *                                               adopt and include in a SIP revision, and                        (iii) * * *
                                                   (iv) Provided that the State must                                     the Administrator will approve, as                              (A) Requires the State or the
                                                 submit a complete SIP revision meeting                                  correcting the deficiency in the SIP that                    permitting authority to allocate and, if
                                                 the requirements of paragraph (b)(8)(iii)                               is the basis for the CSAPR Federal                           applicable, auction a total amount of
                                                 of this section by December 1 of the year                               Implementation Plan set forth in                             CSAPR NOx NOX Ozone Season Group 2
                                                 before the year of the deadline for                                     paragraphs (b)(1), (b)(2)(ii), and (b)(7)                    allowances for any such control period
                                                 submission of allocations or auction                                    and (8) of this section with regard to                       not exceeding the amount, under
                                                 results under paragraph (b)(8)(iii)(B) of                               sources in the State and areas of Indian                     §§ 97.810(a) and 97.821 of this chapter
                                                 this section applicable to the first                                    country within the borders of the State                      for the State and such control period, of
                                                 control period for which the State wants                                subject to the State’s
                                                                                                                                        State's SIP authority,                        the CSAPR NOxNOX Ozone Season Group 2
                                                 to make allocations or hold an auction                                  regulations that are substantively                           trading budget minus the sum of the
                                                 under paragraph (b)(8)(iii) of this                                     identical to the provisions of the CSAPR                     Indian country new unit set-aside and
                                                 section.                                                                NOX Ozone Season Group 2 Trading
                                                                                                                         NOx                                                          the amount of any CSAPR NOx NOX Ozone
                                                   (9) Full SIP revisions adopting State                                 Program set forth in §§ 97.802 through                       Season Group 2 allowances already
                                                 CSAPR NOxNOX Ozone Season Group 2                                       97.835 of this chapter, except that the                      allocated and recorded by the
                                                 Trading
                                                 Trading Programs. A State listed in                                     SIP revision:                                                Administrator;
                                                 paragraph (b)(2)(ii) of this section may                                *     *
                                                                                                                               *     *
                                                                                                                                     *      *    *                                       (B) * * *
                                                                                                                          TABLE 6 TO PARAGRAPH
                                                                                                                          TABLE      PARAGRAPH (b)(9)(iii)(B)
                                                 Year of the control period for which CSAPR NOx
                                                                                            NOX Ozone Season Group                                                   Deadline for submission of allocations or auction results
                                                                2 allowances are allocated or auctioned                                                                               to the administrator
                                                 2019 or 2020 ............................................................................................   June 1, 2018.
                                                 2021 or 2022 ............................................................................................   June 1, 2019.
                                                 2023 or 2024 ............................................................................................   June 1, 2020.
                                                 2025 or any year thereafter ......................................................................          June 1 of the year before the year of the control period.


                                                 *     **    *
                                                             *     *
                                                                   *     *
                                                                         *                                              97.825 and may modify any portion of                             (10) State-determined allocations of
                                                   (vii) Provided that, if and when any                                 the CSAPR Federal Implementation                              CSAPR NOx NOX Ozone Season Group 3
                                                 covered unit is located in areas of                                    Plan that is not replaced by the SIP                          allowances for
                                                                                                                                                                                                   for 2024. A State listed in
                                                 Indian country within the borders of the                               revision to include these provisions;                         paragraph (b)(2)(iii) of this section may
                                                 State not subject to the State’s
                                                                           State's SIP                                  and                                                           adopt and include in a SIP revision, and
                                                 authority, the Administrator may                                         (viii) Provided that the State must                         the Administrator will approve, as
                                                 modify his or her approval of the SIP                                  submit a complete SIP revision meeting                        CSAPR NOx NOX Ozone Season Group 3
                                                 revision to exclude the provisions in                                  the requirements of paragraphs (b)(9)(iii)                    allowance allocation provisions
                                                 §§ 97.802 (definitions of "common
                                                                             ‘‘common                                   through (vi) of this section by December                      replacing the provisions in
                                                 designated representative",
                                                              representative’’, "common
                                                                                 ‘‘common                               1 of the year before the year of the                          § 97.1011(a)(1) of this chapter with
ddrumheller on DSK120RN23PROD with RULES2




                                                 designated representative's
                                                              representative’s assurance                                deadline for submission of allocations                        regard to sources in the State and areas
                                                 level’’, and "common
                                                 level",      ‘‘common designated                                       or auction results under paragraph                            of Indian country within the borders of
                                                 representative’s share"),
                                                 representative's  share’’), 97.806(c)(2),                              (b)(9)(iii)(B) of this section applicable to                  the State subject to the State’s
                                                                                                                                                                                                                State's SIP
                                                 and 97.825 of this chapter and the                                     the first control period for which the                        authority for the control period in 2024,
                                                 portions of other provisions of subpart                                State wants to make allocations or hold                                         NOX Ozone Season
                                                                                                                                                                                      a list of CSAPR NOx
                                                 EEEEE of part 97 of this chapter                                       an auction under paragraph (b)(9)(iii) of                     Group 3 units and the amount of CSAPR
                                                 referencing §§ 97.802, 97.806(c)(2), and                               this section.                                                 NOX Ozone Season Group 3 allowances
                                                                                                                                                                                      NOx


                                            VerDate Sep<11>2014        20:14 Jun 02, 2023        Jkt 259001     PO 00000       Frm 00212       Fmt 4701      Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 251 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                           36865
                                                                                                                                                                                                   36865

                                                 allocated to each unit on such list,                       (D) Does not provide for any change,               the Administrator under subpart
                                                 provided that the list of units and                     after the submission deadlines in                     GGGGG of part 97 of this chapter or
                                                 allocations meets the following                         paragraph (b)(11)(iii)(B) of this section,            § 97.526(d) or § 97.826(d) or (e) of this
                                                 requirements:                                           in the allocations submitted to the                   chapter;
                                                    (i) All of the units on the list must be             Administrator by such deadlines and                   *
                                                                                                                                                               *      *
                                                                                                                                                                      *     *     *     *
                                                 units that are in the State and areas of                does not provide for any change in any                   (vi) Must not include any of the
                                                 Indian country within the borders of the                allocation determined and recorded by                 requirements imposed on any unit in
                                                                        State’s SIP authority
                                                 State subject to the State's                            the Administrator under subpart                       areas of Indian country within the
                                                 and that commenced commercial                           GGGGG of part 97 of this chapter or                   borders of the State not subject to the
                                                 operation before January 1, 2021;                       § 97.526(d) or § 97.826(d) or (e) of this             State’s
                                                                                                                                                               State's SIP authority in the provisions in
                                                    (ii) The total amount of CSAPR NOx NOX               chapter; and                                          §§ 97.1002 through 97.1035 of this
                                                 Ozone Season Group 3 allowance                             (iv) Provided that the State must                  chapter and must not include the
                                                 allocations on the list must not exceed                 submit a complete SIP revision meeting                provisions in §§97.1011(a)(2),
                                                                                                                                                                               §§ 97.1011(a)(2), 97.1012,
                                                 the amount, under § 97.1010 of this                     the requirements of paragraph                         and 97.1021(g) through (j) of this
                                                 chapter for the State and the control                   (b)(11)(iii) of this section by December              chapter, all of which provisions will
                                                 period in 2024, of the CSAPR NOx  NOX                   1 of the year before the year of the                  continue to apply under any portion of
                                                 Ozone Season Group 3 trading budget                     deadline for submission of allocations                the CSAPR Federal Implementation
                                                 minus the sum of the Indian country                     or auction results under paragraph                    Plan that is not replaced by the SIP
                                                 existing unit set-aside and the new unit                (b)(11)(iii)(B) of this section applicable            revision;
                                                 set-aside;                                              to the first control period for which the                (vii) Provided that, if before the
                                                 *
                                                 *       *
                                                         *     *     *     *                             State wants to make allocations or hold               Administrator’s approval of the SIP
                                                                                                                                                               Administrator's
                                                                                                         an auction under paragraph (b)(11)(iii)               revision any covered unit is located in
                                                    (v) * * *
                                                                                                         of this section.                                      areas of Indian country within the
                                                    (A) By August 4, 2023, the State must                   (12) Full SIP revisions adopting
                                                                                                                                      adopting State
                                                 notify the Administrator electronically                                                                       borders of the State not subject to the
                                                                                                         CSAPR NOx NOX Ozone Season Group 3                    State’s
                                                                                                                                                               State's SIP authority before the
                                                 in a format specified by the                            Trading Programs. A State listed in
                                                                         State’s intent to
                                                 Administrator of the State's                                                                                  Administrator’s approval of the SIP
                                                                                                                                                               Administrator's
                                                                                                         paragraph (b)(2)(iii) of this section may             revision, the SIP revision must exclude
                                                 submit to the Administrator a complete                  adopt and include in a SIP revision, and
                                                 SIP revision meeting the requirements                                                                         the provisions in §§ 97.1002 (definitions
                                                                                                         the Administrator will approve, as                    of "common
                                                                                                                                                                  ‘‘common designated representative",
                                                                                                                                                                                           representative’’,
                                                 of paragraphs (b)(10)(i) through (iv) of                correcting the deficiency in the SIP that
                                                 this section by September 1, 2023; and                                                                        ‘‘common designated representative's
                                                                                                                                                               "common                  representative’s
                                                                                                         is the basis for the CSAPR Federal                                level’’, and "common
                                                                                                                                                               assurance level",        ‘‘common
                                                    (B) The State must submit to the                     Implementation Plan set forth in
                                                 Administrator a complete SIP revision                                                                         designated representative's
                                                                                                                                                                             representative’s share"),
                                                                                                                                                                                              share’’),
                                                                                                         paragraphs (b)(1), (b)(2)(iii), and (b)(10)           97.1006(c)(2), and 97.1025 of this
                                                 described in paragraph (b)(10)(v)(A) of                 and (11) of this section with regard to
                                                 this section by September 1, 2023.                                                                            chapter and the portions of other
                                                                                                         sources in the State and areas of Indian              provisions of subpart GGGGG of part 97
                                                    (11) Abbreviated SIP revisions                       country within the borders of the State               of this chapter referencing §§ 97.1002,
                                                 replacing certain provisions of the                     subject to the State’s
                                                                                                                          State's SIP authority,               97.1006(c)(2), and 97.1025, and further
                                                 Federal CSAPR NOx  NOX Ozone Season                     regulations that are substantively                    provided that, if and when after the
                                                 Group 3 Trading Program. A State listed                 identical to the provisions of the CSAPR              Administrator’s approval of the SIP
                                                                                                                                                               Administrator's
                                                 in paragraph (b)(2)(iii) of this section                NOX Ozone Season Group 3 Trading
                                                                                                         NOx                                                   revision any covered unit is located in
                                                 may adopt and include in a SIP                          Program set forth in §§ 97.1002 through
                                                 revision, and the Administrator will                                                                          areas of Indian country within the
                                                                                                         97.1035 of this chapter, except that the              borders of the State not subject to the
                                                 approve, regulations replacing specified                SIP revision:                                         State’s
                                                                                                                                                               State's SIP authority, the Administrator
                                                 provisions of subpart GGGGG of part 97                  *
                                                                                                         *       *    *      *     *                           may modify his or her approval of the
                                                 of this chapter with regard to sources in                  (iii) * * *                                        SIP revision to exclude these provisions
                                                 the State and areas of Indian country                      (A) Requires the State or the                      and may modify any portion of the
                                                 within the borders of the State subject                 permitting authority to allocate and, if              CSAPR Federal Implementation Plan
                                                 to the State’s
                                                          State's SIP authority, and not                 applicable, auction a total amount of
                                                 substantively replacing any other                                                                             that is not replaced by the SIP revision
                                                                                                         CSAPR NOx NOX Ozone Season Group 3                    to include these provisions; and
                                                 provisions, as follows:                                 allowances for any such control period                   (viii) Provided that the State must
                                                 *       *
                                                         *     *
                                                               *     *
                                                                     *     *
                                                                           *                             not exceeding the amount, under                       submit a complete SIP revision meeting
                                                    (iii) * * *                                          §§ 97.1010 and 97.1021 of this chapter                the requirements of paragraphs
                                                    (A) Requires the State or the                        for the State and such control period, of             (b)(12)(iii) through (vi) of this section by
                                                 permitting authority to allocate and, if                the CSAPR NOx NOX Ozone Season Group 3                December 1 of the year before the year
                                                 applicable, auction a total amount of                   trading budget minus the sum of the                   of the deadline for submission of
                                                 CSAPR NOx NOX Ozone Season Group 3                      Indian country existing unit set-aside,               allocations or auction results under
                                                 allowances for any such control period                  the new unit set-aside, and the amount                paragraph (b)(12)(iii)(B) of this section
                                                 not exceeding the amount, under                         of any CSAPR NOx  NOX Ozone Season                    applicable to the first control period for
                                                 §§ 97.1010 and 97.1021 of this chapter                  Group 3 allowances already allocated                  which the State wants to make
                                                 for the State and such control period, of               and recorded by the Administrator;                    allocations or hold an auction under
                                                 the CSAPR NOx  NOX Ozone Season Group 3                 *       *    *      *     *                           paragraph (b)(12)(iii) of this section.
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                         *       *    *      *     *
                                                 trading budget minus the sum of the                        (D) Does not provide for any change,                  (13) Withdrawal of CSAPR FIP
                                                 Indian country existing unit set-aside,                 after the submission deadlines in                     provisions relating to NOx
                                                                                                                                                                                        NOX ozone season
                                                 the new unit set-aside, and the amount                  paragraph (b)(12)(iii)(B) of this section,            emissions;
                                                                                                                                                               emissions; satisfaction of NOx
                                                                                                                                                                                            NOX SIP Call
                                                 of any CSAPR NOx  NOX Ozone Season                      in the allocations submitted to the                   requirements. Following promulgation
                                                 Group 3 allowances already allocated                    Administrator by such deadlines and                   of an approval by the Administrator of
                                                 and recorded by the Administrator;                      does not provide for any change in any                  State’s SIP revision as correcting the
                                                                                                                                                               a State's
                                                 *
                                                 *       *
                                                         *     *
                                                               *     *
                                                                     *     *
                                                                           *                             allocation determined and recorded by                 SIP’s deficiency that is the basis for the
                                                                                                                                                               SIP's


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00213   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 252 of 430
                                                 36866
                                                 36866                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 CSAPR Federal Implementation Plan set                   subject to the State’s
                                                                                                                         State's SIP authority with            regard to sources in the State and areas
                                                 forth in paragraphs (b)(1), (b)(2)(i), and              regard to emissions occurring in any                  of Indian country within the borders of
                                                 (b)(3) and (4) of this section, paragraphs              control period, the following provisions              the State subject to the State’s
                                                                                                                                                                                          State's SIP
                                                 (b)(1), (b)(2)(ii), and (b)(7) and (8) of this          shall continue to apply with regard to                authority for the control period in 2019
                                                 section, or paragraphs (b)(1), (b)(2)(iii),             all CSAPR NOxNOX Ozone Season Group 1                 or any subsequent year: New York.
                                                 and (b)(10) and (11) of this section for                allowances and CSAPR NOx   NOX Ozone                     (C) For each of the following States,
                                                 sources in the State and areas of Indian                Season Group 2 allowances at any time                 the Administrator has approved a SIP
                                                 country within the borders of the State                 allocated for any control period to any               revision under paragraph (b)(9) of this
                                                 subject to the State’s
                                                                  State's SIP authority—                 source or other entity in the State and               section as correcting the SIP’s
                                                                                                                                                                                            SIP's
                                                    (i) Except as provided in paragraph                  areas of Indian country within the                    deficiency that is the basis for the
                                                 (b)(14) of this section, the provisions of                                                    State’s
                                                                                                         borders of the State subject to the State's           CSAPR Federal Implementation Plan set
                                                 paragraph (b)(2)(i), (ii), or (iii) of this             SIP authority and shall apply to all                  forth in paragraphs (b)(1), (b)(2)(ii), and
                                                 section, as applicable, will no longer                  entities, wherever located, that at any               (b)(7) and (8) of this section with regard
                                                 apply to sources in the State and areas                 time held or hold such allowances:                    to sources in the State and areas of
                                                 of Indian country within the borders of                    (A) The provisions of §§ 97.526(c) and             Indian country within the borders of the
                                                 the State subject to the State’s
                                                                             State's SIP                 97.826(c) of this chapter (concerning the                                    State’s SIP authority:
                                                                                                                                                               State subject to the State's
                                                 authority, unless the Administrator's
                                                                          Administrator’s                transfer of CSAPR NOxNOX Ozone Season                 Alabama, Indiana, and Missouri.
                                                                                                                                                                  (ii) *
                                                                                                                                                                  (ii) * ** **
                                                 approval of the SIP revision is partial or              Group 1 allowances and CSAPR NOx    NOX
                                                 conditional, and will continue to apply                 Ozone Season Group 2 allowances                          (B) Notwithstanding any provision of
                                                 to sources in areas of Indian country                   between certain Allowance Management                  subpart EEEEE of part 97 of this chapter
                                                 within the borders of the State not                     System accounts under common                          or any State’s
                                                                                                                                                                         State's SIP, with regard to any
                                                 subject to the State’s
                                                                  State's SIP authority,                 control);                                             State listed in paragraph (b)(2)(ii)(C) of
                                                 provided that if the CSAPR Federal                         (B) The provisions of §§ 97.526(d) and             this section and any control period that
                                                 Implementation Plan was promulgated                     97.826(d) and (e) of this chapter                     begins after December 31, 2022, the
                                                 as a partial rather than full remedy for                (concerning the conversion of unused                  Administrator will not carry out any of
                                                 an obligation of the State to address                   CSAPR NOx NOX Ozone Season Group 1                    the functions set forth for the
                                                 interstate air pollution, the SIP revision              allowances allocated for specified                    Administrator in subpart EEEEE of part
                                                                                                                                                               97 of this chapter, except §§ 97.811(e)
                                                 likewise will constitute a partial rather               control periods to different amounts of
                                                                                                                                                               and 97.826(c) and (e) of this chapter, or
                                                 than full remedy for the State’s
                                                                              State's                    CSAPR NOx NOX Ozone Season Group 2
                                                                                                                                                               in any emissions trading program
                                                 obligation unless provided otherwise in                 allowances or CSAPR NOx  NOX Ozone
                                                                                                                                                               provisions in a State’s
                                                                                                                                                                                  State's SIP approved
                                                      Administrator’s approval of the SIP
                                                 the Administrator's                                     Season Group 3 allowances and the
                                                                                                                                          NOX
                                                                                                                                                               under paragraph (b)(8) or (9) of this
                                                 revision; and                                           conversion of unused CSAPR NOx
                                                                                                                                                               section.
                                                 *
                                                 *
                                                         **   **      *    *                             Ozone Season Group 2 allowances                          (17) * * *
                                                    (14) * * *                                           allocated for specified control periods to               (i) For each of the following States,
                                                    (ii) Notwithstanding the provisions of               different amounts of CSAPR NOx  NOX Ozone             the Administrator has approved a SIP
                                                 paragraph (b)(13)(i) of this section, if, at            Season Group 3 allowances); and                       revision under paragraph (b)(10) of this
                                                 the time of any approval of a State’s
                                                                                    State's SIP             (C) The provisions of § 97.811(d) and              section as replacing the CSAPR NOx  NOX
                                                 revision under this section, the                        (e) of this chapter (concerning the recall            Ozone Season Group 3 allowance
                                                 Administrator has already started                       of CSAPR NOx NOX Ozone Season Group 2                 allocation provisions in § 97.1011(a)(1)
                                                 recording any allocations of CSAPR                      allowances equivalent in quantity and                 of this chapter with regard to sources in
                                                 NOX Ozone Season Group 1 allowances
                                                 NOx                                                     usability to all CSAPR NOxNOX Ozone                   the State and areas of Indian country
                                                 under subpart BBBBB of part 97 of this                  Season Group 2 allowances allocated for               within the borders of the State subject
                                                 chapter, or allocations of CSAPR NOx    NOX             specified control periods and recorded                         State’s SIP authority for the
                                                                                                                                                               to the State's
                                                 Ozone Season Group 2 allowances                         in specified Allowance Management                     control period in 2024: [none].
                                                 under subpart EEEEE of part 97 of this                  System accounts).                                        (ii) For each of the following States,
                                                 chapter, or allocations of CSAPR NOx    NOX                (15) * * *                                         the Administrator has approved a SIP
                                                 Ozone Season Group 3 allowances                            (ii) For each of the following States,             revision under paragraph (b)(11) of this
                                                 under subpart GGGGG of part 97 of this                  the Administrator has approved a SIP                  section as replacing the CSAPR NOx  NOX
                                                 chapter, to units in the State and areas                revision under paragraph (b)(4) of this               Ozone Season Group 3 allowance
                                                 of Indian country within the borders of                 section as replacing the CSAPR NOx NOX                allocation provisions in § 97.1011(a)(1)
                                                 the State subject to the State’s
                                                                             State's SIP                 Ozone Season Group 1 allowance                        of this chapter with regard to sources in
                                                 authority for a control period in any                   allocation provisions in §§ 97.511(a) and             the State and areas of Indian country
                                                 year, the provisions of such subpart                    (b)(1) and 97.512(a) of this chapter with             within the borders of the State subject
                                                 authorizing the Administrator to                        regard to sources in the State and areas              to the State's
                                                                                                                                                                        State’s SIP authority for the
                                                 complete the allocation and recordation                 of Indian country within the borders of               control period in 2025 or any
                                                 of such allowances to such units for                    the State subject to the State’s
                                                                                                                                   State's SIP                 subsequent year: [none].
                                                 each such control period shall continue                 authority for the control period in 2017                 (iii) For each of the following States,
                                                 to apply, unless provided otherwise by                  or any subsequent year: [none].                       the Administrator has approved a SIP
                                                                          State’s SIP
                                                 such approval of the State's                            *       *
                                                                                                                 *     *
                                                                                                                       *    *
                                                                                                                            *     *
                                                                                                                                  *                            revision under paragraph (b)(12) of this
                                                 revision.                                                  (16) * * *                                         section as correcting the SIP’s
                                                                                                                                                                                            SIP's
                                                                                                            (i) * *
                                                                                                            (i) *  * *
                                                                                                                     *                                         deficiency that is the basis for the
ddrumheller on DSK120RN23PROD with RULES2




                                                    (iii) Notwithstanding any
                                                 discontinuation pursuant to paragraph                      (B) For each of the following States,              CSAPR Federal Implementation Plan set
                                                 (b)(2)(i)(B), (b)(2)(ii)(B) or (C), or                  the Administrator has approved a SIP                  forth in paragraphs (b)(1), (b)(2)(iii), and
                                                 (b)(13)(i) of this section of the                       revision under paragraph (b)(8) of this               (b)(10) and (11) of this section with
                                                 applicability of subpart BBBBB or                       section as replacing the CSAPR NOx NOX                regard to sources in the State and areas
                                                 EEEEE of part 97 of this chapter to the                 Ozone Season Group 2 allowance                        of Indian country within the borders of
                                                 sources in a State and areas of Indian                  allocation provisions in §§ 97.811(a) and             the State subject to the State’s
                                                                                                                                                                                          State's SIP
                                                 country within the borders of the State                 (b)(1) and 97.812(a) of this chapter with             authority: [none].


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00214   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                                          Document #2009836                                           Filed: 07/27/2023                Page 253 of 430
                                                                              Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                                                       36867
                                                                                                                                                                                                                                       36867

                                                 •■ 3. Amend § 52.39 by:                                                     borders of the State not subject to the                        •■ t. In paragraph (i)(5), removing
                                                 •■ a. In paragraph (a), removing "(SO2), ‘‘(SO2),                            State’s
                                                                                                                              State's SIP authority, the"; the’’;                            ‘‘Indian country within the borders of
                                                                                                                                                                                             "Indian
                                                  except’’
                                                  except" and adding in its place "(SO2)    ‘‘(SO2)                          •■ k. In paragraph (f)(6), removing                             the State, the"
                                                                                                                                                                                                           the’’ and adding in its place
                                                  for sources meeting the applicability                                       ‘‘deadlines for submission of allocations
                                                                                                                             "deadlines                                                      ‘‘areas of Indian country within the
                                                                                                                                                                                             "areas
                                                  criteria set forth in subparts CCCCC and                                    or auction results under paragraphs                           borders of the State not subject to the
                                                  DDDDD, except’’;
                                                              except";                                                        (f)(1)(ii) and (iii)"
                                                                                                                                               (iii)’’ and adding in its                     State’s
                                                                                                                                                                                             State's SIP authority, the";  the’’;
                                                 •■ b. In paragraph (d) introductory text,                                    place "deadline
                                                                                                                                      ‘‘deadline for submission of                          •■ u. In paragraph (i)(6), removing
                                                  removing "the ‘‘the State and"
                                                                              and’’ and adding in                            allocations or auction results under                            ‘‘deadlines for submission of allocations
                                                                                                                                                                                             "deadlines
                                                  its place "sources
                                                              ‘‘sources in the State and areas                                paragraph (f)(1)(ii)";
                                                                                                                                            (f)(1)(ii)’’;                                    or auction results under paragraphs
                                                  of Indian country within the borders of                                        l. In paragraph (g) introductory text:
                                                                                                                             •■ 1.                                                           (i)(1)(ii) and (iii)"
                                                                                                                                                                                                               (iii)’’ and adding in its
                                                  the State subject to the State’s
                                                                                 State's SIP                                 •■ i. Removing "(c)(1)
                                                                                                                                                  ‘‘(c)(1) or (2)"
                                                                                                                                                              (2)’’ and adding               place "deadline
                                                                                                                                                                                                    ‘‘deadline for submission of
                                                  authority for’’;
                                                               for";                                                          in its place "(c)";
                                                                                                                                             ‘‘(c)’’; and
                                                                                                                                                                                             allocations or auction results under
                                                 •■ c. In paragraph (d)(1), removing "State    ‘‘State                       •■ ii. Removing "the  ‘‘the State and"
                                                                                                                                                                and’’ and
                                                                                                                                                                                             paragraph (i)(1)(ii)’’;
                                                                                                                                                                                                            (i)(1)(ii)";
                                                  and’’ and adding in its place "State
                                                  and"                                  ‘‘State and                          adding in its place "sources
                                                                                                                                                        ‘‘sources in the State
                                                                                                                             and areas of Indian country within the                         •■ v. Revising paragraphs (j) and (k)(2);
                                                  areas of Indian country within the                                                                                                        •■ w. Adding paragraph (k)(3);
                                                 borders of the State subject to the State’s   State's                       borders of the State subject to the State's State’s
                                                  SIP authority and that"; that’’;                                            SIP authority for";for’’;                                     •■ x. In paragraphs (1)(1) (l)(1) and (2),
                                                 •■ d. In paragraph (e) introductory text,                                   •■ m. In paragraph (g)(1), removing                             removing "the ‘‘the State and"
                                                                                                                                                                                                                          and’’ and adding in
                                                  removing "for ‘‘for the State’s               and’’                         ‘‘State and"
                                                                                                                             "State    and’’ and adding in its place                         its place "sources
                                                                                                                                                                                                         ‘‘sources in the State and areas
                                                                            State's sources, and"
                                                                                                                              ‘‘State and areas of Indian country
                                                                                                                             "State                                                          of Indian country within the borders of
                                                  and adding in its place "with  ‘‘with regard to
                                                  sources in the State and areas of Indian                                   within the borders of the State subject                         the State subject to the State’s State's SIP
                                                  country within the borders of the State
                                                                                                                             to the State’s
                                                                                                                                       State's SIP authority and that";that’’;               authority for’’;
                                                                                                                                                                                                          for";
                                                                                                                             •■ n. In paragraph (h) introductory text,                      •■ y. In paragraph (l)(3),(1)(3), removing "State
                                                                                                                                                                                                                                         ‘‘State
                                                  subject to the State’s
                                                                     State's SIP authority,                                   removing "for‘‘for the State's
                                                                                                                                                       State’s sources, and"
                                                                                                                                                                          and’’
                                                  and’’;
                                                  and";                                                                                                                                      (but not sources in any Indian country
                                                                                                                             and adding in its place "with   ‘‘with regard to                within the borders of the State):’’State):" and
                                                 •■ e. Revising table 1 to paragraph                                         sources in the State and areas of Indian
                                                  (e)(1)(ii);                                                                                                                                adding in its place "State ‘‘State and areas of
                                                                                                                              country within the borders of the State                        Indian country within the borders of the
                                                 •■ f. In paragraph (e)(2), removing                                         subject to the State’s
                                                                                                                                                 State's SIP authority,
                                                  ‘‘deadlines for submission of allocations
                                                  "deadlines                                                                                                                                 State subject to the State'sState’s SIP
                                                                                                                              and’’;
                                                                                                                             and";                                                           authority:’’.
                                                                                                                                                                                             authority:".
                                                  or auction results under paragraphs                                        •■ o. Revising table 3 to paragraph
                                                  (e)(1)(ii) and (iii)"
                                                                    (iii)’’ and adding in its                                                                                               •■ z. In paragraphs (m)(1) and (2),
                                                                                                                              (h)(1)(ii);
                                                  place "deadline
                                                         ‘‘deadline for submission of                                        •■ p. In paragraph (h)(2), removing                             removing "the ‘‘the State and"
                                                                                                                                                                                                                          and’’ and adding in
                                                  allocations or auction results under                                        ‘‘deadlines for submission of allocations
                                                                                                                             "deadlines                                                      its place "sources
                                                                                                                                                                                                         ‘‘sources in the State and areas
                                                  paragraph (e)(1)(ii)’’;
                                                                 (e)(1)(ii)";                                                 or auction results under paragraphs                            of Indian country within the borders of
                                                 •■ g. In paragraph (f) introductory text,                                    (h)(1)(ii) and (iii)’’
                                                                                                                                                (iii)" and adding in its                     the State subject to the State’s State's SIP
                                                  removing "State
                                                                ‘‘State (but not sources in any                               place "deadline
                                                                                                                                      ‘‘deadline for submission of                           authority for’’;
                                                                                                                                                                                                          for"; and
                                                  Indian country within the borders of the                                   allocations or auction results under                           •■ aa. In paragraph (m)(3), removing
                                                  State), regulations"
                                                           regulations’’ and adding in its                                    paragraph (h)(1)(ii)";
                                                                                                                                            (h)(1)(ii)’’;                                    ‘‘State (but not sources in any Indian
                                                                                                                                                                                             "State
                                                  place "State
                                                         ‘‘State and areas of Indian country                                 •■ q. In paragraph (i) introductory text,                       country within the borders of the
                                                  within the borders of the State subject                                                  ‘‘State (but not sources in any
                                                                                                                              removing "State                                                State):’’
                                                                                                                                                                                             State):" and adding in its place "State   ‘‘State
                                                  to the State’s
                                                          State's SIP authority,                                              Indian country within the borders of the                       and areas of Indian country within the
                                                  regulations’’;
                                                  regulations";                                                               State), regulations’’
                                                                                                                                        regulations" and adding in its                      borders of the State subject to the State’s   State's
                                                 •■ h. Revising table 2 to paragraph                                          place "State
                                                                                                                                      ‘‘State and areas of Indian country                    SIP authority:".
                                                                                                                                                                                                  authority:’’.
                                                  (f)(1)(ii);                                                                within the borders of the State subject                            The revisions and addition read as
                                                 •■ i. In paragraph (f)(4), removing                                         to the State’s
                                                                                                                                       State's SIP authority,                                follows:
                                                  ‘‘Indian country within the borders of
                                                  "Indian                                                                     regulations’’;
                                                                                                                              regulations";
                                                  the State’’
                                                       State" and adding in its place "areas    ‘‘areas                      •■ r. Revising table 4 to paragraph                            § 52.39 What are the requirements of the
                                                  of Indian country within the borders of                                     (i)(1)(ii);                                                   Federal Implementation Plans (FIPs) for the
                                                                                                                             •■ s. In paragraph (i)(4), removing                            Cross-State Air Pollution Rule (CSAPR)
                                                  the State not subject to the State'sState’s SIP                                                                                           relating to emissions of sulfur dioxide?
                                                  authority’’;
                                                  authority";                                                                 ‘‘Indian country within the borders of
                                                                                                                             "Indian                                                        *      *     *     *     *
                                                 •■ j. In paragraph (f)(5), removing                                                State’’ and adding in its place "areas
                                                                                                                             the State"                                   ‘‘areas           *      *     *     *     *
                                                  ‘‘Indian country within the borders of
                                                  "Indian                                                                     of Indian country within the borders of                          (e) * * *
                                                  the State, the"
                                                                the’’ and adding in its place                                the State not subject to the State’s State's SIP                  (1) * * *
                                                  ‘‘areas of Indian country within the
                                                  "areas                                                                      authority’’;
                                                                                                                             authority";                                                       (ii) * * *

                                                                                                                                  TABLE 1 TO PARAGRAPH
                                                                                                                                  TABLE      PARAGRAPH (e)(1)(ii)
                                                   Year of the control period for which CSAPR SO2SO2 group 1 allowances                                                    Deadline for submission of allocations or auction results
                                                                         are allocated or auctioned                                                                                         to the administrator

                                                 2017 or 2018 ............................................................................................         June 1, 2016.
                                                 2019 or 2020 ............................................................................................         June 1, 2017.
                                                 2021 or 2022 ............................................................................................         June 1, 2018.
ddrumheller on DSK120RN23PROD with RULES2




                                                 2023 ..........................................................................................................   June 1, 2019.
                                                 2024 ..........................................................................................................   June 1, 2020.
                                                 2025 or any year thereafter ......................................................................                June 1 of the year before the year of the control period.




                                            VerDate Sep<11>2014         20:14 Jun 02, 2023         Jkt 259001       PO 00000        Frm 00215       Fmt 4701       Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                        USCA Case #23-1157                                         Document #2009836                                           Filed: 07/27/2023              Page 254 of 430
                                                 36868                       Federal Register //Vol.
                                                                                                Vol. 88, No. 107/Monday,
                                                                                                             107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                                   2023/Rules

                                                 *        **     *
                                                                 *
                                                                              *         *                                        (ii) * * *
                                                      (f) * * *
                                                      (f)   ** *

                                                      (1) * * *

                                                                                                                                   TABLE 2 TO PARAGRAPH
                                                                                                                                   TABLE      PARAGRAPH (f)(1)(ii)
                                                     Year of the control period for which CSAPR SO2SO2 group 1 allowances                                                  Deadline for submission of allocations or auction results
                                                                           are allocated or auctioned                                                                                       to the administrator

                                                 2017 or 2018 ............................................................................................         June 1, 2016.
                                                 2019 or 2020 ............................................................................................         June 1, 2017.
                                                 2021 or 2022 ............................................................................................         June 1, 2018.
                                                 2023 ..........................................................................................................   June 1, 2019.
                                                 2024 ..........................................................................................................   June 1, 2020.
                                                 2025 or any year thereafter ......................................................................                June 1 of the year before the year of the control period.



                                                 *        *
                                                          *    *
                                                               *              *         *                                        (ii) * * *
                                                      (h) *
                                                      (h) * * *
                                                      (1) *
                                                      (1) * * *

                                                                                                                                  TABLE 3 TO PARAGRAPH
                                                                                                                                  TABLE      PARAGRAPH (h)(1)(ii)
                                                     Year of the control period for which CSAPR SO2SO2 group 2 allowances                                                  Deadline for submission of allocations or auction results
                                                                           are allocated or auctioned                                                                                       to the administrator

                                                 2017 or 2018 ............................................................................................         June 1, 2016.
                                                 2019 or 2020 ............................................................................................         June 1, 2017.
                                                 2021 or 2022 ............................................................................................         June 1, 2018.
                                                 2023 ..........................................................................................................   June 1, 2019.
                                                 2024 ..........................................................................................................   June 1, 2020.
                                                 2025 or any year thereafter ......................................................................                June 1 of the year before the year of the control period.



                                                 *         **     **          *         *                                        (ii) * * *
                                                      (i) * *
                                                      (i) *   *
                                                                *
                                                                *

                                                      (1) * * *

                                                                                                                                   TABLE 4 TO PARAGRAPH
                                                                                                                                   TABLE      PARAGRAPH (i)(1)(ii)
                                                     Year of the control period for which CSAPR SO2SO2 group 2 allowances                                                  Deadline for submission of allocations or auction results
                                                                           are allocated or auctioned                                                                                       to the administrator

                                                 2017 or 2018 ............................................................................................         June 1, 2016.
                                                 2019 or 2020 ............................................................................................         June 1, 2017.
                                                 2021 or 2022 ............................................................................................         June 1, 2018.
                                                 2023 ..........................................................................................................   June 1, 2019.
                                                 2024 ..........................................................................................................   June 1, 2020.
                                                 2025 or any year thereafter ......................................................................                June 1 of the year before the year of the control period.



                                                 *      *
                                                        *    *
                                                             *      *
                                                                    *     *
                                                                          *                                                              Administrator’s approval of
                                                                                                                             unless the Administrator's                                     Administrator has already started
                                                    (j) Withdrawal
                                                        Withdrawal of CSAPR FIP                                              the SIP revision is partial or conditional,                    recording any allocations of CSAPR SO  SO22
                                                 provisions relating to SOSO22 emissions.                                    and will continue to apply to sources in                       Group 1 allowances under subpart
                                                 Except as provided in paragraph (k) of                                      areas of Indian country within the                             CCCCC of part 97 of this chapter, or
                                                 this section, following promulgation of                                     borders of the State not subject to the                        allocations of CSAPR SOSO22 Group 2
                                                 an approval by the Administrator of a                                       State’s
                                                                                                                             State's SIP authority, provided that if                        allowances under subpart DDDDD of
                                                 State’s
                                                 State's SIP revision as correcting the                                      the CSAPR Federal Implementation                               part 97 of this chapter, to units in the
                                                 SIP’s
                                                 SIP's deficiency that is the basis for the                                  Plan was promulgated as a partial rather                       State and areas of Indian country within
                                                 CSAPR Federal Implementation Plan set                                       than full remedy for an obligation of the                      the borders of the State subject to the
                                                 forth in paragraphs (a), (b), (d), and (e)                                  State to address interstate air pollution,                     State’s
                                                                                                                                                                                            State's SIP authority for a control period
                                                 of this section or paragraphs (a), (c)(1),                                  the SIP revision likewise will constitute                      in any year, the provisions of such
                                                 (g), and (h) of this section for sources in                                 a partial rather than full remedy for the                      subpart authorizing the Administrator to
                                                 the State and Indian country within the                                     State’s
                                                                                                                             State's obligation unless provided                             complete the allocation and recordation
ddrumheller on DSK120RN23PROD with RULES2




                                                 borders of the State subject to the State’s
                                                                                      State's                                otherwise in the Administrator's
                                                                                                                                                Administrator’s                             of such allowances to such units for
                                                 SIP authority, the provisions of                                            approval of the SIP revision.                                  each such control period shall continue
                                                 paragraph (b) or (c)(1) of this section, as                                   (k) * * *                                                    to apply, unless provided otherwise by
                                                 applicable, will no longer apply to                                           (2) Notwithstanding the provisions of                                              State’s SIP
                                                                                                                                                                                            such approval of the State's
                                                 sources in the State and areas of Indian                                    paragraph (j) of this section, if, at the                      revision.
                                                 country within the borders of the State                                     time of any approval of a State’s
                                                                                                                                                         State's SIP                           (3) Notwithstanding any
                                                 subject to the State’s
                                                                 State's SIP authority,                                      revision under this section, the                               discontinuation pursuant to paragraph


                                            VerDate Sep<11>2014         20:14 Jun 02, 2023         Jkt 259001       PO 00000        Frm 00216       Fmt 4701       Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 255 of 430
                                                                      Federal Register / Vol. 88, No. 107/Monday,
                                                                                                      107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules                                                       36869
                                                                                                                                                                                             36869

                                                 (c)(2) or (j) of this section of the                          nitrogen oxides from Municipal Waste  average of all the hourly averages of the
                                                 applicability of subpart CCCCC or                             Combustors?                           specific operating parameter. For
                                                 DDDDD of part 97 of this chapter to the                 *       *
                                                                                                                 *     *
                                                                                                                       *     *
                                                                                                                             *     *                 demonstration of compliance with an
                                                 sources in a State and areas of Indian                                                              emissions limit based on pollutant
                                                 country within the borders of the State                 §52.40
                                                                                                         § 52.40 What are the requirements of the    concentration, a 30-day rolling average
                                                                                                         Federal Implementation Plans (FIPs)
                                                 subject to the State’s
                                                                  State's SIP authority with                                                         is comprised of the average of all the
                                                                                                         relating to ozone season emissions of
                                                 regard to emissions occurring in any                    nitrogen oxides from sources not subject to hourly average concentrations over the
                                                 control period, the following provisions                the CSAPR ozone season trading program? previous 30 operating days. For
                                                 shall continue to apply with regard to                                                              demonstration of compliance with an
                                                                                                            (a) Purpose. This section establishes
                                                 all CSAPR SO  SO22 Group 1 allowances and                                                           emissions limit based on lbs-pollutant
                                                                                                         Federal Implementation Plan
                                                 CSAPR SO  SO22 Group 2 allowances at any                                                            per production unit, the 30-day rolling
                                                                                                         requirements for new and existing units
                                                 time allocated for any control period to                                                            average is calculated by summing the
                                                                                                         in the industries specified in paragraph
                                                 any source or other entity in the State                                                             hourly mass emissions over the
                                                                                                         (b) of this section to eliminate
                                                 and areas of Indian country within the                                                              previous 30 operating days, then
                                                                                                         significant contribution to
                                                 borders of the State subject to the State’s
                                                                                        State's                                                      dividing that sum by the total
                                                                                                         nonattainment, or interference with         production during the same period.
                                                 SIP authority and shall apply to all                    maintenance, of the 2015 8-hour ozone
                                                 entities, wherever located, that at any                                                                (c) General requirements. (1) The NOx
                                                                                                                                                                                            NOX
                                                                                                         National Ambient Air Quality Standards emissions limitations or emissions
                                                 time held or hold such allowances:                      in other states pursuant to 42 U.S.C.
                                                    (i) The provisions of §§ 97.626(c) and                                                           control requirements and associated
                                                                                                         7410(a)(2)(D)(i)(I).                        compliance requirements for the
                                                 97.726(c) of this chapter (concerning the                  (b) Definitions. The terms used in this following listed source categories not
                                                 transfer of CSAPR SO   SO22 Group 1                                   §§ 52.41 through § 52.46 are subject to the CSAPR ozone season
                                                                                                         section and §§52.41
                                                 allowances and CSAPR SO      SO22 Group 2               defined as follows:
                                                 allowances between certain Allowance                                                                trading program constitute the Federal
                                                                                                            Calendar year means the period           Implementation Plan provisions that
                                                 Management System accounts under                        between January 1 and December 31,
                                                 common control).                                                                                                            NOX during the
                                                                                                                                                     relate to emissions of NOx
                                                                                                         inclusive, for a given year.                ozone season (defined as May 1 through
                                                    (ii) [Reserved]                                         Existing affected unit means any
                                                 *                   *                                                                               September 30 of a calendar year):
                                                 *       *
                                                         *     *
                                                               *     *      *                            affected unit for which construction        §§ 52.41 for engines in the Pipeline
                                                                                                                                                     §§52.41
                                                 ■
                                                 ■ 4.  Add   §§ 52.40
                                                            §§52.40    through  52.46 to                 commenced before August 4, 2023.            Transportation of Natural Gas Industry,
                                                 subpart A to read as follows:                              New affected unit means any affected
                                                                                                            New                                      52.42 for kilns in the Cement and
                                                                                                         unit for which construction commenced Concrete Product Manufacturing
                                                 Sec.                                                    on or after August 4, 2023.
                                                 *                                                                                                   Industry, 52.43 for reheat furnaces in
                                                 *       *     *     *      *                               Operator means any person who            the Iron and Steel Mills and Ferroalloy
                                                 52.40 What are the requirements of the                  operates, controls, or supervises an
                                                      Federal Implementation Plans (FIPs)                                                            Manufacturing Industry, 52.44 for
                                                                                                         affected unit and shall include, but not    furnaces in the Glass and Glass Product
                                                      relating to ozone season emissions of              be limited to, any holding company,
                                                      nitrogen oxides from sources not subject                                                       Manufacturing Industry, 52.45 for
                                                      to the CSAPR ozone season trading
                                                                                                         utility system, or plant manager of such boilers in the Iron and Steel Mills and
                                                      program?                                           affected unit.                              Ferroalloy Manufacturing, Metal Ore
                                                 52.41 What are the requirements of the                     Owner means any holder of any            Mining, Basic Chemical Manufacturing,
                                                      Federal Implementation Plans (FIPs)                portion of the legal or equitable title in  Petroleum and Coal Products
                                                      relating to ozone season emissions of              an affected unit.                           Manufacturing, and Pulp, Paper, and
                                                      nitrogen oxides from the Pipeline                     Potential to emit means the maximum Paperboard Mills industries, and 52.46
                                                      Transportation of Natural Gas Industry?            capacity of a unit to emit a pollutant      for Municipal Waste Combustors.
                                                 52.42 What are the requirements of the                  under its physical and operational             (2) The provisions of this section or
                                                      Federal Implementation Plans (FIPs)                design. Any physical or operational
                                                      relating to ozone season emissions of                                                          § 52.41, § 52.42, § 52.43, § 52.44, § 52.45,
                                                                                                         limitation on the capacity of the unit to   or § 52.46 apply to affected units located
                                                      nitrogen oxides from the Cement and
                                                      Concrete Product Manufacturing                     emit a pollutant, including air pollution in each of the following States,
                                                      Industry?                                          control equipment and restrictions on       including Indian country located within
                                                 52.43 What are the requirements of the                  hours of operation or on the type or        the borders of such States, beginning in
                                                      Federal Implementation Plans (FIPs)                amount of material combusted, stored,       the 2026 ozone season and in each
                                                      relating to ozone season emissions of              or processed, shall be treated as part of   subsequent ozone season: Arkansas,
                                                      nitrogen oxides from the Iron and Steel            its design only if the limitation or the    California, Illinois, Indiana, Kentucky,
                                                      Mills and Ferroalloy Manufacturing                 effect it would have on emissions is        Louisiana, Maryland, Michigan,
                                                      Industry?                                          federally enforceable. Secondary            Mississippi, Missouri, Nevada, New
                                                 52.44 What are the requirements of the
                                                      Federal Implementation Plans (FIPs)
                                                                                                         emissions do not count in determining       Jersey, New York, Ohio, Oklahoma,
                                                      relating to ozone season emissions of              the potential to emit of a unit.            Pennsylvania, Texas, Utah, Virginia,
                                                      nitrogen oxides from the Glass and Glass              Rolling average means the weighted       and West Virginia.
                                                      Product Manufacturing Industry?                    average of all data, meeting quality           (3) The testing, monitoring,
                                                 52.45 What are the requirements of the                  assurance and quality control (QA/QC)       recordkeeping, and reporting
                                                      Federal Implementation Plans (FIPs)                requirements in this part or otherwise      requirements of this section or § 52.41,
                                                      relating to ozone season emissions of              normalized, collected during the            § 52.42, § 52.43, § 52.44, § 52.45, or
                                                      nitrogen oxides from the Basic Chemical            applicable averaging period. The period § 52.46 only apply during the ozone
ddrumheller on DSK120RN23PROD with RULES2




                                                      Manufacturing, Petroleum and Coal                  of a rolling average stipulates the         season, except as otherwise specified in
                                                      Products Manufacturing, the Pulp, Paper,           frequency of data averaging and             these sections. Additionally, if an owner
                                                      and Paperboard Mills Industries, Metal
                                                      Ore Mining, and the Iron and Steel and             reporting. To demonstrate compliance        or operator of an affected unit chooses
                                                      Ferroalloy Manufacturing Industries?               with an operating parameter a 30-day        to conduct a performance or compliance
                                                 52.46 What are the requirements of the                  rolling average period requires             test outside of the ozone season, all
                                                      Federal Implementation Plans (FIPs)                calculation of a new average value each recordkeeping, reporting, and
                                                      relating to ozone season emissions of              operating day and shall include the         notification requirements associated


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00217   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 256 of 430
                                                 36870
                                                 36870                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 with that test shall apply, without                     specify a proposed compliance date no                 be provided by notification via the
                                                 regard to whether they occur during the                 later than May 1, 2029, and identify                  CEDRI or analogous electronic
                                                 ozone season.                                           additional actions taken by the owner or              submission system provided by the EPA
                                                    (d) Requests forfor extension of                     operator to ensure that the affected                  and publicly available, and will identify
                                                 compliance. (1) The owner or operator                   unit(s) will be in compliance with the                each affected unit covered by the
                                                 of an existing affected unit under                      applicable requirements in this section               extension; specify the termination date
                                                 § 52.41, § 52.42, § 52.43, § 52.44, § 52.45,            by that proposed compliance date;                     of the extension; and specify any
                                                 or § 52.46 that cannot comply with the                     (vi) Include all information obtained              additional conditions that the
                                                 applicable requirements in those                        from control technology vendors                       Administrator deems necessary to
                                                 sections by May 1, 2026, due to                         demonstrating that the identified                     ensure timely installation of the
                                                 circumstances entirely beyond the                       controls cannot be installed by the                   necessary controls (e.g., the date(s) by
                                                              operator’s control, may request
                                                 owner or operator's                                     applicable compliance date;                           which on-site construction, installation
                                                 an initial compliance extension to a date                  (vii) Include any and all contract(s)              of control equipment, and/or process
                                                 certain no later than May 1, 2027. The                  entered into for the installation of the              changes will be initiated).
                                                 extension request must contain a                        identified controls or an explanation as                 (7) The Administrator will provide
                                                 demonstration of necessity consistent                   to why no contract is necessary or                    notification via the CEDRI or analogous
                                                 with the requirements of paragraph                      obtainable; and                                       electronic submission system provided
                                                 (d)(3) of this section.                                    (viii) Include any permit(s) obtained              by the EPA to the owner or operator of
                                                    (2) If, after the EPA has granted a                  for the installation of the identified                an affected unit who has requested a
                                                 request for an initial compliance                       controls or, where a required permit has              compliance extension under this
                                                 extension, the source remains unable to                 not yet been issued, a copy of the permit             paragraph (d)(7) whether the submitted
                                                 comply with the applicable                              application submitted to the permitting               request is complete, that is, whether the
                                                 requirements in § 52.41, § 52.42, § 52.43,              authority and a statement from the                    request contains sufficient information
                                                 § 52.44, § 52.45, or § 52.46 by the                     permitting authority identifying its                  to make a determination, within 60
                                                 extended compliance date due to                         anticipated timeframe for issuance of                 calendar days after receipt of the
                                                 circumstances entirely beyond the                       such permit(s).                                       original request and within 60 calendar
                                                 owner or operator's
                                                              operator’s control, the owner                 (4) Each request for a compliance                  days after receipt of any supplementary
                                                 or operator may apply for a second                      extension shall be submitted via the                  information.
                                                 compliance extension to a date certain                  Compliance and Emissions Data                            (8) The Administrator will provide
                                                 no later than May 1, 2029. The                          Reporting Interface (CEDRI) or                        notification via the CEDRI or analogous
                                                 extension request must contain an                       analogous electronic submission system                electronic submission system provided
                                                 updated demonstration of necessity                      provided by the EPA no later than 180                 by the EPA, which shall be publicly
                                                 consistent with the requirements of                     days prior to the applicable compliance               available, to the owner or operator of a
                                                 paragraph (d)(3) of this section.                       date. Until an extension has been                     decision to grant or intention to deny a
                                                    (3) Each request for a compliance                    granted by the Administrator under this               request for a compliance extension
                                                 extension shall demonstrate that the                    section, the owner or operator of an                  within 60 calendar days after providing
                                                 owner or operator has taken all steps                   affected unit shall comply with all                   written notification pursuant to
                                                 possible to install the controls necessary              applicable requirements of this section               paragraph (d)(7) of this section that the
                                                 for compliance with the applicable                      and shall remain subject to the May 1,                submitted request is complete.
                                                 requirements in § 52.41, § 52.42, § 52.43,              2026 compliance date or the initial                      (9) Before denying any request for an
                                                 § 52.44, § 52.45, or § 52.46 by the                     extended compliance date, as                          extension of compliance, the
                                                 applicable compliance date and shall:                   applicable. A denial will be effective as             Administrator will provide notification
                                                    (i) Identify each affected unit for                  of the date of denial.                                via the CEDRI or analogous electronic
                                                 which the owner or operator is seeking                     (5) The owner or operator of an                    submission system provided by the EPA
                                                 the compliance extension;                               affected unit who has requested a                     to the owner or operator in writing of
                                                    (ii) Identify and describe the controls              compliance extension under this                            Administrator’s intention to issue
                                                                                                                                                               the Administrator's
                                                 to be installed at each affected unit to                paragraph (d)(5) and is required to have              the denial, together with:
                                                 comply with the applicable                              a title V permit shall apply to have the                 (i) Notice of the information and
                                                 requirements in § 52.41, § 52.42, § 52.43,              relevant title V permit revised to                    findings on which the intended denial
                                                 § 52.44, § 52.45, or § 52.46;                           incorporate the conditions of the                     is based; and
                                                    (iii) Identify the circumstances                     extension of compliance. The                             (ii) Notice of opportunity for the
                                                                                   operator’s
                                                 entirely beyond the owner or operator's                 conditions of a compliance extension                  owner or operator to present via the
                                                 control that necessitate additional time                granted under this paragraph (d)(5) will              CEDRI or analogous electronic
                                                 to install the identified controls;                     be incorporated into the affected unit's
                                                                                                                                             unit’s            submission system provided by the
                                                    (iv) Identify the date(s) by which on-               title V permit according to the                       EPA, within 15 calendar days after he/
                                                 site construction, installation of control              provisions of an EPA-approved state                   she is notified of the intended denial,
                                                 equipment, and/or process changes will                  operating permit program or the Federal               additional information or arguments to
                                                 be initiated;                                           title V regulations in 40 CFR part 71,                the Administrator before further action
                                                    (v) Identify the owner or operator's
                                                                                operator’s               whichever apply.                                      on the request.
                                                 proposed compliance date. A request for                    (6) Based on the information provided                 (10) The Administrator's
                                                                                                                                                                            Administrator’s final
                                                 an initial compliance extension under                   in any request made under paragraph                   decision to deny any request for an
                                                 paragraph (d)(1) of this section must                   (d) of this section or other information,             extension will be provided via the
ddrumheller on DSK120RN23PROD with RULES2




                                                 specify a proposed compliance date no                   the Administrator may grant an                        CEDRI or analogous electronic
                                                 later than May 1, 2027, and state                       extension of time to comply with                      submission system provided by the EPA
                                                 whether the owner or operator                           applicable requirements in § 52.41,                   and publicly available, and will set forth
                                                 anticipates a need to request a second                  § 52.42, § 52.43, § 52.44, § 52.45, or                the specific grounds on which the
                                                 compliance extension. A request for a                   § 52.46 consistent with the provisions of             denial is based. The final decision will
                                                 second compliance extension under                       paragraph (d)(1) or (2) of this section.              be made within 60 calendar days after
                                                 paragraph (d)(2) of this section must                   The decision to grant an extension will               presentation of additional information


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00218   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 257 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                         36871
                                                                                                                                                                                                 36871

                                                 or argument (if the request is complete),               emissions limit even with available                   applicable emissions limit in § 52.41,
                                                 or within 60 calendar days after the                    control technology, including:                        § 52.42, § 52.43, § 52.44, § 52.45, or
                                                 deadline for the submission of                             (i)
                                                                                                            (I) Stack test data or other emissions             § 52.46. The decision to approve a case-
                                                 additional information or argument                      data for the affected unit; or                        by-case emissions limit will be provided
                                                 under paragraph (d)(9)(ii) of this                         (ii) A third-party engineering                     via the CEDRI or analogous electronic
                                                 section, if no such submission is made.                 assessment demonstrating that the                     submission system provided by the EPA
                                                   (11) The granting of an extension                     affected unit cannot meet the applicable              in paragraph (d) of this section and
                                                 under this section shall not abrogate the               emissions limit with available control                publicly available, and will identify
                                                 Administrator’s authority under section
                                                 Administrator's                                         technology.                                           each affected unit covered by the case-
                                                 114 of the Clean Air Act (CAA or the                       (B) A demonstration of extreme                     by-case emissions limit.
                                                 Act).                                                   economic hardship shall include at least                 (5) The Administrator will provide
                                                   (e) Requests for
                                                                  for case-by-case                       three vendor estimates of the costs of                notification via the CEDRI or analogous
                                                 emissions limits. (1) The owner or                      installing control technology necessary               electronic submission system provided
                                                 operator of an existing affected unit                   to meet the applicable emissions limit                by the EPA in paragraph (d) of this
                                                 under § 52.41, § 52.42, § 52.43, § 52.44,               and other information that                            section to the owner or operator of an
                                                 § 52.45, or § 52.46 that cannot comply                  demonstrates, to the satisfaction of the              affected unit who has requested a case-
                                                 with the applicable requirements in                     Administrator, that the cost of                       by-case emissions limit under this
                                                 those sections due to technical                         complying with the applicable                         paragraph (e)(5) whether the submitted
                                                 impossibility or extreme economic                       emissions limit would present an                      request is complete, that is, whether the
                                                 hardship may submit to the                              extreme economic hardship relative to                 request contains sufficient information
                                                 Administrator, by August 5, 2024, a                     the costs borne by other comparable                   to make a determination, within 60
                                                 request for approval of a case-by-case                  sources in the industry.                              calendar days after receipt of the
                                                 emissions limit. The request shall                         (ii) An analysis of available control              original request and within 60 calendar
                                                 contain information sufficient for the                  technology options and a proposed case-               days after receipt of any supplementary
                                                 Administrator to confirm that the                       by-case emissions limit that represents               information.
                                                 affected unit is unable to comply with                  the lowest emissions limitation                          (6) The Administrator will provide
                                                 the applicable emissions limit, due to                  technically achievable by the affected                notification via the CEDRI or analogous
                                                 technical impossibility or extreme                      unit without causing extreme economic                 electronic submission system described
                                                 economic hardship, and to establish an                  hardship relative to the costs borne by               by the EPA in paragraph (d) of this
                                                 appropriate alternative case-by-case                    other comparable sources in the                       section, which shall be publicly
                                                 emissions limit for the affected unit.                  industry. The owner or operator may                   available, to the owner or operator of a
                                                 Until a case-by-case emissions limit has                propose additional measures to reduce                 decision to approve or intention to deny
                                                 been approved by the Administrator                      NOX emissions, such as operational
                                                                                                         NOx                                                   the request within 60 calendar days
                                                 under this section, the owner or                        standards or work practice standards.                 after providing notification pursuant to
                                                 operator shall remain subject to all                       (iii) Calculations of the NOx
                                                                                                                                      NOX                      paragraph (e)(5) of this section that the
                                                 applicable requirements in § 52.41,                     emissions reduction to be achieved                    submitted request is complete.
                                                 § 52.42, § 52.43, § 52.44, § 52.45, or                  through implementation of the proposed                   (7) Before denying any request for a
                                                 § 52.46. A denial will be effective as of               case-by-case emissions limit and any                  case-by-case emissions limit, the
                                                 the date of denial.                                     additional proposed measures, the                     Administrator will provide notification
                                                   (2) Each request for a case-by-case                   difference between this NOxNOX emissions              via the CEDRI or analogous electronic
                                                 emissions limit shall include, but not be               reduction level and the NOxNOX emissions              submission system provided by the EPA
                                                 limited to, the following:                              reductions that would have occurred if                to the owner or operator in writing of
                                                   (i) A demonstration that the affected                 the affected unit complied with the                        Administrator’s intention to issue
                                                                                                                                                               the Administrator's
                                                 unit cannot achieve the applicable                      applicable emissions limitations in                   the denial, together with:
                                                 emissions limit with available control                  § 52.41, § 52.42, § 52.43, § 52.44, § 52.45,             (i) Notice of the information and
                                                 technology due to technical                             or § 52.46, and a description of the                  findings on which the intended denial
                                                 impossibility or extreme economic                       methodology used for these                            is based; and
                                                 hardship.                                               calculations.                                            (ii) Notice of opportunity for the
                                                   (A) A demonstration of technical                         (3) The owner or operator of an                    owner or operator to present via the
                                                 impossibility shall include:                            affected unit who has requested a case-               CEDRI or analogous electronic
                                                   (1) Uncontrolled NOx
                                                   (/)                 NOX emissions for                 by-case emissions limit under this                    submission system provided by the
                                                 the affected unit established with a                    paragraph (e)(3) and is required to have              EPA, within 15 calendar days after he/
                                                 CEMS, or stack tests obtained during                    a title V permit shall apply to have the              she is notified of the intended denial,
                                                 steady state operation in accordance                    relevant title V permit revised to                    additional information or arguments to
                                                 with the applicable reference test                      incorporate the case-by-case emissions                the Administrator before further action
                                                 methods of 40 CFR part 60, appendix                     limit. Any case-by-case emissions limit               on the request.
                                                 A–4, any alternative test method
                                                 A-4,                                                    approved under this paragraph (e)(3)                     (8) The Administrator's
                                                                                                                                                                           Administrator’s final decision
                                                 approved by the EPA as of June 5, 2023,                 will be incorporated into the affected                to deny any request for a case-by-case
                                                 under 40 CFR 59.104(f), 60.8(b)(3),                     unit’s title V permit according to the
                                                                                                         unit's                                                emissions limit will be provided by
                                                 61.13(h)(1)(ii), 63.7(e)(2)(ii)(2), or                  provisions of an EPA-approved state                   notification via the CEDRI or analogous
                                                 65.158(a)(2) and available at the EPA's
                                                                                      EPA’s              operating permit program or the Federal               electronic submission system provided
                                                                                                                                                               by the EPAand publicly available, and
ddrumheller on DSK120RN23PROD with RULES2




                                                 website (https://www.epa.gov/emc/                       title V regulations in 40 CFR part 71,
                                                 broadly-applicable-approved-                            whichever apply.                                      will set forth the specific grounds on
                                                 alternative-test-methods), or other                        (4) Based on the information provided              which the denial is based. The final
                                                 methods and procedures approved by                      in any request made under this                        decision will be made within 60
                                                 the EPA through notice-and-comment                      paragraph (e)(4) or other information,                calendar days after presentation of
                                                 rulemaking; and                                         the Administrator may approve a case-                 additional information or argument (if
                                                   (2) A demonstration that the affected                 by-case emissions limit that will apply               the request is complete), or within 60
                                                 unit cannot meet the applicable                         to an affected unit in lieu of the                    calendar days after the deadline for the


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00219   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 258 of 430
                                                 36872
                                                 36872                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 submission of additional information or                    (ii) Data collected using test methods                (F) All CBI claims must be asserted at
                                                 argument under paragraph (e)(7)(ii) of                                                   EPA’s ERT
                                                                                                         that are not supported by the EPA's                   the time of submission. Anything
                                                 this section, if no such submission is                  as listed on the EPA's
                                                                                                                            EPA’s ERT website at               submitted using CEDRI cannot later be
                                                 made.                                                   the time of the test. The results of the              claimed CBI. Furthermore, under CAA
                                                    (9) The approval of a case-by-case                   performance test must be included as an               section 114(c), emissions data is not
                                                 emissions limit under this section shall                attachment in the ERT or an alternate                 entitled to confidential treatment, and
                                                                    Administrator’s
                                                 not abrogate the Administrator's                        electronic file consistent with the XML               the EPA is required to make emissions
                                                 authority under section 114 of the Act.                                         EPA’s ERT
                                                                                                         schema listed on the EPA's                            data available to the public. Thus,
                                                    (f) Recordkeeping
                                                        Recordkeeping requirements. (1)                  website. Submit the ERT generated                     emissions data will not be protected as
                                                 The owner or operator of an affected                    package or alternative file to the EPA via            CBI and will be made publicly available.
                                                 unit subject to the provisions of this                  CEDRI.                                                   (G) You must submit the same file
                                                 section or § 52.41, § 52.42, § 52.43,                      (iii)(A) The EPA will make all the                 submitted to the CBI office with the CBI
                                                 § 52.44, § 52.45, or § 52.46 shall                      information submitted through CEDRI                   omitted to the EPA via the EPA's
                                                                                                                                                                                              EPA’s CDX
                                                 maintain files of all information                       available to the public without further               as described in paragraphs (g)(1) and (2)
                                                 (including all reports and notifications)               notice to you. Do not use CEDRI to                    of this section.
                                                 required by these sections recorded in a                submit information you claim as                          (2) Annual reports must be submitted
                                                 form suitable and readily available for                 confidential business information (CBI).              via CEDRI or analogous electronic
                                                 expeditious inspection and review. The                  Although we do not expect persons to                  reporting approach provided by the EPA
                                                 files shall be retained for at least 5 years            assert a claim of CBI, if you wish to                 to report data required by § 52.41,
                                                 following the date of each occurrence,                  assert a CBI claim for some of the                    § 52.42, § 52.43, § 52.44, § 52.45, or
                                                 measurement, maintenance, corrective                    information submitted under paragraph                 § 52.46.
                                                 action, report, or record. At minimum,                  (g)(1) or (2) of this section, you should                (3) If you are required to
                                                 the most recent 2 years of data shall be                submit a complete file, including                     electronically submit a report through
                                                 retained on site. The remaining 3 years                 information claimed to be CBI, to the                 CEDRI in the EPA's
                                                                                                                                                                               EPA’s CDX, you may
                                                 of data may be retained off site. Such                  EPA.                                                  assert a claim of EPA system outage for
                                                                                                            (B) The file must be generated using               failure to timely comply with that
                                                 files may be maintained on microfilm,
                                                                                                              EPA’s ERT or an alternate electronic
                                                                                                         the EPA's
                                                 on a computer, on computer floppy                                                                             reporting requirement. To assert a claim
                                                                                                         file consistent with the XML schema
                                                 disks, on magnetic tape disks, or on                                                                          of EPA system outage, you must meet
                                                                                                         listed on the EPA's
                                                                                                                        EPA’s ERT website.
                                                 microfiche.                                                (C) Clearly mark the part or all of the            the requirements outlined in paragraphs
                                                    (2) Any records required to be                       information that you claim to be CBI.                 (g)(3)(i) through (vii) of this section.
                                                 maintained by § 52.41, § 52.42, § 52.43,                Information not marked as CBI may be                     (i) You must have been or will be
                                                 § 52.44, § 52.45, or § 52.46 that are                   authorized for public release without                 precluded from accessing CEDRI and
                                                 submitted electronically via the EPA's
                                                                                      EPA’s              prior notice. Information marked as CBI               submitting a required report within the
                                                 Compliance and Emissions Data                           will not be disclosed except in                       time prescribed due to an outage of
                                                 Reporting Interface (CEDRI) may be                      accordance with procedures set forth in               either the EPA's
                                                                                                                                                                           EPA’s CEDRI or CDX systems.
                                                 maintained in electronic format. This                   40 CFR part 2.                                           (ii) The outage must have occurred
                                                 ability to maintain electronic copies                      (D) The preferred method to receive                within the period of time beginning five
                                                 does not affect the requirement for                     CBI is for it to be transmitted                       business days prior to the date that the
                                                 facilities to make records, data, and                   electronically using email attachments,               submission is due.
                                                 reports available upon request to the                   File Transfer Protocol, or other online                  (iii) The outage may be planned or
                                                 EPA as part of an on-site compliance                    file sharing services. Electronic                     unplanned.
                                                 evaluation.                                             submissions must be transmitted                          (iv) You must submit notification to
                                                    (g) CEDRI
                                                        CEDRI reporting
                                                               reporting requirements. (1)               directly to the Office of Air Quality                 the Administrator in writing as soon as
                                                 You shall submit the results of the                     Planning and Standards (OAQPS) CBI                    possible following the date you first
                                                 performance test following the                          Office at the email address oaqpscbi@                 knew, or through due diligence should
                                                 procedures specified in paragraphs                      epa.gov, and as described in this                     have known, that the event may cause
                                                 (g)(1)(i) through (iii) of this section:                paragraph (g), should include clear CBI               or has caused a delay in reporting.
                                                    (i) Data collected using test methods                markings and be flagged to the attention                 (v) You must provide to the
                                                                     EPA’s Electronic
                                                 supported by the EPA's                                  of Lead of 2015 Ozone Transport FIP. If               Administrator a written description
                                                 Reporting Tool (ERT) as listed on the                   assistance is needed with submitting                  identifying:
                                                 EPA’s
                                                 EPA's ERT website (https://                             large electronic files that exceed the file              (A) The date(s) and time(s) when CDX
                                                 www.epa.gov/electronic-reporting-air-                   size limit for email attachments, and if              or CEDRI was accessed and the system
                                                 emissions/electronic-reporting-tool-ert)                you do not have your own file sharing                 was unavailable;
                                                 at the time of the test. Submit the results             service, please email oaqpscbi@epa.gov
                                                                                                                                  oaqpscbi@epa.gov                (B) A rationale for attributing the
                                                 of the performance test to the EPA via                  to request a file transfer link.                      delay in reporting beyond the regulatory
                                                 the CEDRI or analogous electronic                          (E) If you cannot transmit the file                deadline to EPA system outage;
                                                 reporting approach provided by the EPA                  electronically, you may send CBI                         (C) A description of measures taken or
                                                 to report data required by § 52.41,                     information through the postal service                to be taken to minimize the delay in
                                                 § 52.42, § 52.43, § 52.44, § 52.45, or                  to the following address: OAQPS                       reporting; and
                                                 § 52.46, which can be accessed through                  Document Control Officer (C404–02),
                                                                                                                                       (C404-02),                 (D) The date by which you propose to
                                                      EPA’s Central Data Exchange (CDX)                  OAQPS, U.S. Environmental Protection                  report, or if you have already met the
ddrumheller on DSK120RN23PROD with RULES2




                                                 the EPA's
                                                 (https://cdx.epa.gov/). The data must be                Agency, Research Triangle Park, North                 reporting requirement at the time of the
                                                 submitted in a file format generated                    Carolina 27711, Attention Lead of 2015                notification, the date you reported.
                                                 using the EPA's
                                                             EPA’s ERT. Alternatively, you               Ozone Transport FIP. The mailed CBI                      (vi) The decision to accept the claim
                                                 may submit an electronic file consistent                material should be double wrapped and                 of EPA system outage and allow an
                                                 with the extensible markup language                     clearly marked. Any CBI markings                      extension to the reporting deadline is
                                                 (XML) schema listed on the EPA's EPA’s ERT              should not show through the outer                     solely within the discretion of the
                                                 website.                                                envelope.                                             Administrator.


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00220   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 259 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                          36873
                                                                                                                                                                                                  36873

                                                    (vii) In any circumstance, the report                §52.41
                                                                                                         § 52.41 What are the requirements of the              not extend beyond the 20 states
                                                 must be submitted electronically as                     Federal Implementation Plans (FIPs)                   identified in § 52.40(b)(2).
                                                 soon as possible after the outage is                    relating to ozone season emissions of                    Four stroke means any type of engine
                                                                                                         nitrogen oxides from the Pipeline                     which completes the power cycle in two
                                                 resolved.                                               Transportation of Natural Gas Industry?               crankshaft revolutions, with intake and
                                                    (4) If you are required to                              (a) Definitions. All terms not defined             compression strokes in the first
                                                 electronically submit a report through                  in this paragraph (a) shall have the                  revolution and power and exhaust
                                                                 EPA’s CDX, you may
                                                 CEDRI in the EPA's                                      meaning given to them in the Act and                  strokes in the second revolution.
                                                 assert a claim of force majeure for                     in subpart A of 40 CFR part 60.                          ISO conditions means 288 Kelvin (15
                                                 failure to timely comply with that                         Affected unit means an engine                      °C), 60 percent relative humidity, and
                                                                                                                                                               °C),
                                                 reporting requirement. To assert a claim                meeting the applicability criteria of this            101.3 kilopascals pressure.
                                                 of force majeure, you must meet the                     section.                                                 Lean burn means any two-stroke or
                                                 requirements outlined in paragraphs                        Cap means the total amount of NOxNOX               four-stroke spark ignited reciprocating
                                                 (g)(4)(i) through (v) of this section.                  emissions, in tons per day on a 30-day                internal combustion engine that does
                                                                                                         rolling average basis, that is collectively           not meet the definition of a rich burn
                                                    (i) You may submit a claim if a force                allowed from all of the affected units                engine.
                                                 majeure event is about to occur, occurs,                covered by a Facility-Wide Averaging                     Local Distribution Companies (LDCs)
                                                 or has occurred or there are lingering                  Plan and is calculated as the sum each                are companies that own or operate
                                                 effects from such an event within the                              unit’s NOx
                                                                                                         affected unit's   NOX emissions at the                distribution pipelines, but not interstate
                                                 period of time beginning five business                  emissions limit applicable to such unit               pipelines or intrastate pipelines, that
                                                 days prior to the date the submission is                under paragraph (c) of this section,                  physically deliver natural gas to end
                                                 due. For the purposes of this section, a                converted to tons per day in accordance               users and that are within a single state
                                                 force majeure event is defined as an                    with paragraph (d)(3) of this section.                that are regulated as separate operating
                                                 event that will be or has been caused by                   Emergency engine means any
                                                                                                            Emergency                                          companies by State public utility
                                                 circumstances beyond the control of the                 stationary reciprocating internal                     commissions or that operate as
                                                 affected unit, its contractors, or any                  combustion engine (RICE) that meets all               independent municipally-owned
                                                 entity controlled by the affected unit                  of the criteria in paragraphs (i) and (ii)            distribution systems. LDCs do not
                                                 that prevents you from complying with                   of this definition. All emergency                     include pipelines (both interstate and
                                                 the requirement to submit a report                      stationary RICE must comply with the                  intrastate) delivering natural gas directly
                                                 electronically within the time period                   requirements specified in paragraph                   to major industrial users and farm taps
                                                 prescribed. Examples of such events are                 (b)(1) of this section in order to be                 upstream of the local distribution
                                                 acts of nature (e.g., hurricanes,                       considered emergency engines. If the                  company inlet.
                                                 earthquakes, or floods), acts of war or                 engine does not comply with the                          Local Distribution Company
                                                                                                                                                                                     Company (LDC)
                                                                                                         requirements specified in paragraph                   custody
                                                                                                                                                               custody transfer station means a
                                                 terrorism, or equipment failure or safety
                                                                                                         (b)(1), it is not considered an emergency             metering station where the LDC receives
                                                 hazard beyond the control of the
                                                                                                         engine under this section.                            a natural gas supply from an upstream
                                                 affected unit (e.g., large scale power
                                                                                                            (i) The stationary engine is operated              supplier, which may be an interstate
                                                 outage).                                                to provide electrical power or                        transmission pipeline or a local natural
                                                    (ii) You must submit notification to                 mechanical work during an emergency                   gas producer, for delivery to customers
                                                 the Administrator in writing as soon as                 situation. Examples include stationary                through the LDC’s
                                                                                                                                                                            LDC's intrastate
                                                 possible following the date you first                   RICE used to produce power for critical               transmission or distribution lines.
                                                 knew, or through due diligence should                   networks or equipment (including                         Nameplate rating means the
                                                 have known, that the event may cause                    power supplied to portions of a facility)             manufacturer’s maximum design
                                                                                                                                                               manufacturer's
                                                 or has caused a delay in reporting.                     when electric power from the local                    capacity in horsepower (hp) at the
                                                                                                         utility (or the normal power source, if               installation site conditions. Starting
                                                    (iii) You must provide to the
                                                                                                         the facility runs on its own power                    from the completion of any physical
                                                 Administrator:                                                                                                change in the engine resulting in an
                                                                                                         production) is interrupted, or stationary
                                                    (A) A written description of the force               RICE used to pump water in the case of                increase in the maximum output (in hp)
                                                 majeure event;                                          fire or flood, etc.                                   that the engine is capable of producing
                                                    (B) A rationale for attributing the                     (ii) The stationary RICE is operated               on a steady state basis and during
                                                 delay in reporting beyond the regulatory                under limited circumstances for                       continuous operation, such increased
                                                 deadline to the force majeure event;                    purposes other than those identified in               maximum output shall be as specified
                                                                                                         paragraph (i) of this definition, as                  by the person conducting the physical
                                                    (C) A description of measures taken or               specified in paragraph (b)(1) of this                 change.
                                                 to be taken to minimize the delay in                    section.                                                 Natural gas means a fluid mixture of
                                                 reporting; and                                             Facility means all of the pollutant-
                                                                                                            Facility                                           hydrocarbons (e.g., methane, ethane, or
                                                    (D) The date by which you propose to                 emitting activities which belong to the               propane) or non-hydrocarbons,
                                                 report, or if you have already met the                  same industrial grouping, are located on              composed of at least 70 percent methane
                                                 reporting requirement at the time of the                one or more contiguous or adjacent                    by volume or that has a gross calorific
                                                 notification, the date you reported.                    properties, and are under the control of              value between 35 and 41 megajoules
                                                                                                         the same person (or persons under                     (MJ) per dry standard cubic meter (950
                                                    (iv) The decision to accept the claim
                                                                                                                                                               and 1,100 Btu per dry standard cubic
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                         common control). Pollutant-emitting
                                                 of force majeure and allow an extension                 activities shall be considered as part of             foot), that maintains a gaseous state
                                                 to the reporting deadline is solely                     the same industrial grouping if they                  under ISO conditions. Natural gas does
                                                 within the discretion of the                                                  ‘‘Major Group’’
                                                                                                         belong to the same "Major     Group" (i.e.,           not include the following gaseous fuels:
                                                 Administrator.                                          which have the same first two digit code              Landfill gas, digester gas, refinery gas,
                                                    (v) In any circumstance, the reporting               as described in the Standard Industrial               sour gas, blast furnace gas, coal-derived
                                                 must occur as soon as possible after the                Classification Manual, 1987). For                     gas, producer gas, coke oven gas, or any
                                                 force majeure event occurs.                             purposes of this section, a facility may              gaseous fuel produced in a process


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00221   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 260 of 430
                                                 36874
                                                 36874                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 which might result in highly variable                   technology for nitrogen oxides (NO (NOx)X)            for maintenance checks and readiness
                                                 CO2 content or heating value.
                                                 CO2                                                     (such as pre-combustion chambers) will                testing for a maximum of 100 hours per
                                                    Natural gas-fired means that greater                 be considered lean burn engines.                      calendar year, provided that the tests are
                                                 than or equal to 90% of the engine’s
                                                                                 engine's                Existing affected unit where there are no             recommended by a Federal, state, or
                                                 heat input, excluding recirculated or                   manufacturer’s recommendations
                                                                                                         manufacturer's                                        local government agency, the
                                                 recuperated exhaust heat, is derived                    regarding air/fuel ratio will be                      manufacturer, the vendor, or the
                                                 from the combustion of natural gas.                     considered rich burn engines if the                   insurance company associated with the
                                                    Natural gas processing plant means                   excess oxygen content of the exhaust at               engine. Any operation for non-
                                                 any processing site engaged in the                      full load conditions is less than or equal            emergency situations as allowed by
                                                 extraction of natural gas liquids from                  to 2 percent.                                         paragraph (b)(1)(iii) of this section
                                                 field gas, fractionation of mixed natural                 Spark ignition means a reciprocating                counts as part of the 100 hours per
                                                 gas liquids to natural gas products, or                 internal combustion engine utilizing a                calendar year allowed by paragraph
                                                 both. A Joule-Thompson valve, a dew                     spark plug (or other sparking device) to              (b)(1)(ii) of this section. The owner or
                                                 point depression valve, or an isolated or               ignite the air/fuel mixture and with                  operator may petition the Administrator
                                                 standalone Joule-Thompson skid is not                   operating characteristics significantly               for approval of additional hours to be
                                                 a natural gas processing plant.                         similar to the theoretical Otto                       used for maintenance checks and
                                                                               facility means
                                                    Natural gas production facility                      combustion cycle.                                     readiness testing, but a petition is not
                                                 all equipment at a single stationary                      Stoichiometric means the theoretical                required if the owner or operator
                                                 source directly associated with one or                  air-to-fuel ratio required for complete               maintains records confirming that
                                                 more natural gas wells upstream of the                  combustion.                                           Federal, state, or local standards require
                                                 natural gas processing plant. This                        Two
                                                                                                            Two stroke means a type of                         maintenance and testing of emergency
                                                 equipment includes, but is not limited                  reciprocating internal combustion                     RICE beyond 100 hours per calendar
                                                 to, equipment used for storage,                         engine which completes the power
                                                                                                                                                               year. Any approval of a petition for
                                                 separation, treating, dehydration,                      cycle in a single crankshaft revolution               additional hours granted by the
                                                 artificial lift, combustion, compression,               by combining the intake and                           Administrator under 40 CFR part 63,
                                                 pumping, metering, monitoring, and                      compression operations into one stroke                subpart ZZZZ, shall constitute approval
                                                 flowline.                                               (one-half revolution) and the power and
                                                    Operating
                                                    Operating day day means a 24-hour                                                                          by the Administrator of the same
                                                                                                         exhaust operations into a second stroke.
                                                 period beginning at 12:00 midnight                                                                            petition under this paragraph (b)(1)(ii).
                                                                                                         This system requires auxiliary exhaust
                                                 during which any fuel is combusted at                                                                            (iii) Emergency stationary RICE may
                                                                                                         scavenging of the combustion products
                                                 any time in the engine.                                                                                       be operated for up to 50 hours per
                                                                                                         and inherently runs lean (excess of air)
                                                    Pipeline transportation of natural gas                                                                     calendar year in non-emergency
                                                                                                         of stoichiometry.
                                                 means the movement of natural gas                         (b) Applicability. You are subject to               situations. The 50 hours of operation in
                                                 through an interconnected network of                    the requirements under this section if                non-emergency situations are counted
                                                 compressors and pipeline components,                    you own or operate a new or existing                  as part of the 100 hours per calendar
                                                 including the compressor and pipeline                   natural gas-fired spark ignition engine,              year for maintenance and testing
                                                 network used to transport the natural                   other than an emergency engine, with a                provided in paragraph (b)(1)(ii) of this
                                                 gas from processing plants over a                       nameplate rating of 1,000 hp or greater               section.
                                                 distance (intrastate or interstate) to and              that is used for pipeline transportation                 (2) If you own or operate a natural
                                                 from storage facilities, to large natural               of natural gas and is located within any              gas-fired two stroke lean burn spark
                                                 gas end-users, and prior to delivery to                 of the States listed in § 52.40(c)(2),                ignition engine manufactured after July
                                                   ‘‘local distribution company custody
                                                 a "local                                                including Indian country located within               1, 2007 that is meeting the applicable
                                                           station’’ (as defined in this
                                                 transfer station"                                       the borders of any such State(s).                     emissions limits in 40 CFR part 60,
                                                 section) of an LDC that provides the                      (1) For purposes of this section, the               subpart JJJJ, table 1, the engine is not an
                                                 natural gas to end-users. Pipeline                      owner or operator of an emergency                     affected unit under this section and you
                                                 transportation of natural gas does not                  stationary RICE must operate the RICE                 do not have to comply with the
                                                 include natural gas production facilities,              according to the requirements in                      requirements of this section.
                                                 natural gas processing plants, or the                   paragraphs (b)(1)(i) through (iii) of this               (3) If you own or operate a natural
                                                 portion of a compressor and pipeline                    section to be treated as an emergency                 gas-fired four stroke lean or rich burn
                                                 network that is upstream of a natural gas               stationary RICE. In order for stationary              spark ignition engine manufactured
                                                 processing plant.                                       RICE to be treated as an emergency RICE               after July 1, 2010, that is meeting the
                                                    Reciprocating internal combustion
                                                    Reciprocating                                        under this subpart, any operation other               applicable emissions limits in 40 CFR
                                                 engine (RICE) means a reciprocating                     than emergency operation, maintenance                 part 60, subpart JJJJ, table 1, the engine
                                                 engine in which power, produced by                      and testing, and operation in non-                    is not an affected unit under this section
                                                 heat and/or pressure that is developed                  emergency situations for up to 50 hours               and you do not have to comply with the
                                                 in the engine combustion chambers by                    per year, as described in paragraphs                  requirements of this section.
                                                 the burning of a mixture of air and fuel,               (b)(1)(i) through (iii), is prohibited. If               (c) Emissions limitations. If you are
                                                 is subsequently converted to mechanical                 you do not operate the RICE according                 the owner or operator of an affected
                                                 work.                                                   to the requirements in paragraphs                     unit, you must meet the following
                                                    Rich burn
                                                          bum means any four-stroke                      (b)(1)(i) through (iii), the RICE will not            emissions limitations on a 30-day
                                                 spark ignited reciprocating internal                    be considered an emergency engine                     rolling average basis during the 2026
                                                 combustion engine where the                                                                                   ozone season and in each ozone season
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                         under this section and must meet all
                                                 manufacturer’s recommended operating
                                                 manufacturer's                                          requirements for affected units in this               thereafter:
                                                 air/fuel ratio divided by the                           section.                                                 (1) Natural gas-fired four stroke rich
                                                 stoichiometric air/fuel ratio at full load                (i) There is no time limit on the use               burn spark ignition engine: 1.0 grams
                                                 conditions is less than or equal to 1.1.                of emergency stationary RICE in                       per hp-hour (g/hp-hr);
                                                 Internal combustion engines originally                  emergency situations.                                    (2) Natural gas-fired four stroke lean
                                                 manufactured as rich burn engines but                     (ii) The owner or operator may                      burn spark ignition engine: 1.5 g/hp-hr;
                                                 modified with passive emissions control                 operate your emergency stationary RICE                and


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00222   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 261 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                        36875
                                                                                                                                                                                                36875

                                                   (3) Natural gas-fired two stroke lean                 reporting requirements. You may only                  Facility-Wide Averaging Plan will be
                                                 burn spark ignition engine: 3.0 g/hp-hr.                include affected units (i.e., engines                 subject to during the ozone season,
                                                   (d) Facility-Wide Averaging Plan. If                  meeting the applicability criteria in                 together with all assumptions included
                                                 you are the owner or operator of a                      paragraph (b) of this section) in a                   in such calculation; and
                                                 facility containing more than one                       Facility-Wide Averaging Plan. Upon                       (iv) Adequate provisions for testing,
                                                 affected unit, you may submit a request                 EPA approval of a proposed Facility-                  monitoring, recordkeeping, and
                                                 via the CEDRI or analogous electronic                   Wide Averaging Plan, you cannot                       reporting for each affected unit.
                                                 submission system provided by the EPA                   withdraw any affected unit listed in                     (2) Upon the Administrator's
                                                                                                                                                                                Administrator’s approval
                                                 to the Administrator for approval of a                  such plan, and the terms of the plan                  of a proposed Facility-Wide Averaging
                                                 proposed Facility-Wide Averaging Plan                   may not be changed unless approved in                 Plan, the owner or operator of the
                                                 as an alternative means of compliance                   writing by the Administrator.                         affected units covered by the Facility-
                                                 with the applicable emissions limits in                    (1) Each request for approval of a                 Wide Averaging Plan shall comply with
                                                 paragraph (c) of this section. Any such                 proposed Facility-Wide Averaging Plan                 the cap identified in the plan in lieu of
                                                 request shall be submitted to the                       shall include, but not be limited to:                 the emissions limits in paragraph (c) of
                                                 Administrator on or before October 1st                     (i) The address of the facility;                   this section. You will be in compliance
                                                 of the year prior to each emissions                        (ii) A list of all affected units at the           with the cap if the sum of NOx
                                                                                                                                                                                           NOX
                                                 averaging year. The Administrator will                  facility that will be covered by the plan,            emissions from all units covered by the
                                                 approve a proposed Facility-Wide                        identified by unit identification number,             Facility-Wide Averaging Plan, in tons
                                                 Averaging Plan submitted under this                                   manufacturer’s name, and
                                                                                                         the engine manufacturer's                             per day on a 30-day rolling average
                                                 paragraph (d) if the Administrator                      model;                                                basis, is less than or equal to the cap.
                                                 determines that the proposed Facility-                     (iii) For each affected unit, a                       (3) The owner or operator will
                                                 Wide Averaging Plan meets the                           description of any existing NOx NOX                   calculate the cap according to equation
                                                 requirements of this paragraph (d), will                emissions control technology and the                  1 to this paragraph (d)(3). You will
                                                 provide total emissions reductions                      date of installation, and a description of            monitor and record daily hours of
                                                 equivalent to or greater than those                           NOX emissions control technology
                                                                                                         any NOx                                               engine operation for use in calculating
                                                 achieved by the applicable emissions                    to be installed and the projected date of             the cap on a 30-day rolling average
                                                 limits in paragraph (c), and identifies                 installation;                                         basis. You will base the hours of
                                                 satisfactory means for determining                        (iv) Identification of the emissions                operation on hour readings from a non-
                                                 initial and continuous compliance,                      cap, calculated in accordance with                    resettable hour meter or an equivalent
                                                 including appropriate testing,                          paragraph (d)(3) of this section, that all            monitoring device.
                                                 monitoring, recordkeeping, and                          affected units covered by the proposed                   Equation 1 to Paragraph (d)(3)

                                                                                                                                                       N

                                                                               Cap (tons per day) = 907,184.74 xI(R ii x DC x Hi)
                                                                                                                                                      i =1

                                                 Where:                                         tons per day on a 30-day rolling average following requirements for using CEMS
                                                 Hi = = the average daily operating hours based basis, exceeds the cap. Each day of        to monitor NOx
                                                                                                                                                       NOX emissions:
                                                       on the highest consecutive 30-day period noncompliance by each affected unit          (i) You shall install, calibrate,
                                                       during the ozone season of the two most  covered by the Facility-Wide Averaging maintain, and operate a continuous
                                                       recent years preceding the emissions     Plan shall be a violation of the cap until emissions monitoring system (CEMS)
                                                       averaging year (hours).                                                             for measuring NOx
                                                                                                                                                           NOX emissions and either
                                                 i = each affected unit included in the Cap.    corrective action is taken to achieve
                                                 N = number of affected units.                  compliance.                                oxygen (02)
                                                                                                                                                    (O2) or carbon dioxide (CO  2).
                                                                                                                                                                             (CO2).
                                                 DC = the engine manufacturer's
                                                                     manufacturer’s design        (e) Testing and monitoring                 (ii) The CEMS    shall be operated and
                                                       maximum capacity in horsepower (hp) at requirements. (1) If you are the owner or data recorded during all periods of
                                                       the installation site conditions.        operator of an affected unit subject to a  operation during the ozone season of the
                                                 Rhli = the emissions limit for each affected
                                                 R
                                                                                                NO
                                                                                                NOx    emissions  limit under paragraph    affected unit except for CEMS
                                                                                                    X
                                                       unit from paragraph (c) of this section                                             breakdowns and repairs. Data shall be
                                                       (grams/hp-hr).                           (c) of this section, you must keep a
                                                                                                                                           recorded during calibration checks and
                                                                                                maintenance plan and records of
                                                     (i) Any affected unit for which less                                                  zero and span adjustments.
                                                                                                conducted maintenance and must, to
                                                 than two years of operating data are                                                        (iii) The 1-hour average NOx
                                                                                                                                                                        NOX
                                                                                                the extent practicable, maintain and
                                                 available shall not be included in the                                                    emissions rates measured by the CEMS
                                                                                                operate the engine in a manner             shall be used to calculate the average
                                                 Facility-Wide Averaging Plan unless the
                                                                                                consistent with good air pollution         emissions rates to demonstrate
                                                 owner or operator extrapolates the
                                                                                                control practice for minimizing            compliance with the applicable
                                                 available operating data for the affected
                                                                                                emissions.                                 emissions limits in this section.
                                                 unit to two years of operating data, for
                                                 use in calculating the emissions cap in           (2) If you are the owner or operator of   (iv) The procedures under 40 CFR
                                                 accordance with paragraph (d)(3) of this an affected unit and are operating a NOx    NOX 60.13 shall be followed for installation,
ddrumheller on DSK120RN23PROD with RULES2




                                                 section.                                       continuous emissions monitoring            evaluation, and operation of the
                                                     (ii) [Reserved]                            system (CEMS) that monitors NOx NOX        continuous monitoring systems.
                                                     (4) The owner or operator of an            emissions from the affected unit, you        (v) When NOx
                                                                                                                                                        NOX emissions data are not
                                                 affected units covered by an EPA-              may use the CEMS data in lieu of the       obtained because of CEMS breakdowns,
                                                 approved Facility-Wide Averaging Plan annual performance tests and                        repairs, calibration checks, and zero and
                                                 will be in violation of the cap if the sum parametric monitoring required under           span adjustments, emissions data will
                                                      NOX emissions from all such units, in this section. You must meet the                be obtained by using standby
                                                                                                                                                                                                           ER05JN23.006</GPH>




                                                 of NOx


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00223   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 262 of 430
                                                 36876
                                                 36876                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 monitoring systems, Method 7 of 40                      accordance with the requirements of 40                   (v) You must conduct performance
                                                 CFR part 60, appendix A-4,A–4, Method 7A                CFR 60.4244(d).                                       evaluations, system accuracy audits, or
                                                 of 40 CFR part 60, appendix A-4,A–4, or                    (4) If you are the owner or operator of            other audit procedures specified in your
                                                 other approved reference methods to                     an affected unit that has a non-selective             site-specific monitoring plan at least
                                                 provide emissions data for a minimum                    catalytic reduction (NSCR) control                    annually.
                                                 of 75 percent of the operating hours in                 device to reduce emissions, you must:                    (vi) You must conduct a performance
                                                 each affected unit operating day, in at                    (i) Monitor the inlet temperature to               evaluation of each parametric
                                                 least 22 out of 30 successive operating                 the catalyst daily and conduct                        monitoring device in accordance with
                                                 days.                                                   maintenance if the temperature is not                 your site-specific monitoring plan.
                                                    (3)(i) If you are the owner or operator              within the observed inlet temperature
                                                 of a new affected unit, you must                        range from the most recent performance                   (6) If you are the owner or operator of
                                                 conduct an initial performance test                     test or the temperatures specified by the             an affected unit that is only operated
                                                 within six months of engine startup and                 manufacturer if no performance test was               during peak periods outside of the
                                                 conduct subsequent performance tests                    required by this section; and                         ozone season and your hours of
                                                 every twelve months thereafter to                          (ii) Measure the pressure drop across              operation during the ozone season are 0,
                                                 demonstrate compliance. If pollution                    the catalyst monthly and conduct                      you are not subject to the testing and
                                                 control equipment is installed to                       maintenance if the pressure drop across               monitoring requirements of this
                                                 comply with a NOx NOX emissions limit in                the catalyst changes by more than 2                   paragraph (e)(6) so long as you record
                                                 paragraph (c) of this section, however,                 inches of water at 100 percent load plus              and report your hours of operation
                                                 the initial performance test shall be                   or minus 10 percent from the pressure                 during the ozone season in accordance
                                                 conducted within 90 days of such                        drop across the catalyst measured                     with paragraphs (f) and (g) of this
                                                 installation.                                           during the most recent performance test.              section.
                                                    (ii) If you are the owner or operator                   (5) If you are the owner of operator of               (f) Recordkeeping requirements. If you
                                                 of an existing affected unit, you must                  an affected unit not using an NSCR                    are the owner or operator of an affected
                                                 conduct an initial performance test                     control device to reduce emissions, you               unit, you must keep records of:
                                                 within six months of becoming subject                   are required to conduct continuous
                                                 to an emissions limit under paragraph                                                                            (1) Performance tests conducted
                                                                                                         parametric monitoring to assure
                                                 (c) of this section and conduct                                                                               pursuant to paragraph (e)(2) of this
                                                                                                         compliance with the applicable
                                                 subsequent performance tests every                      emissions limits according to the
                                                                                                                                                               section, including the date, engine
                                                 twelve months thereafter to demonstrate                 requirements in paragraphs (e)(5)(i)                  settings on the date of the test, and
                                                 compliance. If pollution control                                                                              documentation of the methods and
                                                                                                         through (vi) of this section.
                                                 equipment is installed to comply with a                    (i) You must prepare a site-specific               results of the testing.
                                                 NOX emissions limit in paragraph (c) of
                                                 NOx                                                     monitoring plan that includes all of the                 (2) Catalyst monitoring required by
                                                 this section, however, the initial                      following monitoring system design,                   paragraph (e)(3) of this section, if
                                                 performance test shall be conducted                     data collection, and quality assurance                applicable, and any actions taken to
                                                 within 90 days of such installation.                    and quality control elements:                         address monitored values outside the
                                                    (iii) If you are the owner or operator                  (A) The performance criteria and                   temperature or pressure drop
                                                 of a new or existing affected unit that is              design specifications for the monitoring              parameters, including the date and a
                                                 only operated during peak demand                        system equipment, including the sample                description of actions taken.
                                                 periods outside of the ozone season and                 interface, detector signal analyzer, and                 (3) Parameters monitored pursuant to
                                                 the engine’s
                                                      engine's hours of operation during                 data acquisition and calculations.                    the facility’s
                                                                                                                                                                    facility's site-specific parametric
                                                 the ozone season are 50 hours or less,                     (B) Sampling interface (e.g.,
                                                 the affected unit is not subject to the                                                                       monitoring plan.
                                                                                                         thermocouple) location such that the
                                                 testing and monitoring requirements of                  monitoring system will provide                           (4) Hours of operation on a daily
                                                 this paragraph (e)(3)(iii) as long as you               representative measurements.                          basis.
                                                 record and report your hours of                            (C) Equipment performance                             (5) Tuning, adjustments, or other
                                                 operation during the ozone season in                    evaluations, system accuracy audits, or               combustion process adjustments and the
                                                 accordance with paragraphs (f) and (g)                  other audit procedures.                               date of the adjustment(s).
                                                 of this section.                                           (D) Ongoing operation and
                                                    (iv) If you are the owner or operator                                                                         (6) For any Facility-Wide Averaging
                                                                                                         maintenance procedures in accordance                  Plan approved by the Administrator
                                                 of an affected unit, you must conduct all               with the requirements of paragraph
                                                 performance tests consistent with the                                                                         under paragraph (d) of this section,
                                                                                                         (e)(1) of this section.                               daily calculations of total NOx
                                                                                                                                                                                             NOX
                                                 requirements of 40 CFR 60.4244 in                          (E) Ongoing recordkeeping and
                                                 accordance with the applicable                                                                                emissions to demonstrate compliance
                                                                                                         reporting procedures in accordance with
                                                 reference test methods identified in                                                                          with the cap during the ozone season.
                                                                                                         the requirements of paragraphs (f) and
                                                 table 2 to subpart JJJJ of 40 CFR part 60,                                                                    You must use the equation in this
                                                                                                         (g) of this section.
                                                 any alternative test method approved by                    (ii) You must continuously monitor                 paragraph (f)(6) to calculate total NOx
                                                                                                                                                                                                    NOX
                                                 the EPA as of June 5, 2023, under 40                    the selected operating parameters                     emissions from all affected units
                                                 CFR 59.104(f),
                                                        59.104W, 60.8(b)(3), 61.13(h)(1)(ii),                                                                  covered by the Facility-Wide Averaging
                                                                                                         according to the procedures in your site-
                                                 63.7(e)(2)(ii), or 65.158(a)(2) and                     specific monitoring plan.                             Plan, in tons per day on a 30-day rolling
                                                                    EPA’s website (https://
                                                 available at the EPA's                                     (iii) You must collect parametric                  average basis, for purposes of
                                                 www.epa.gov/emc/broadly-applicable-                                                                           determining compliance with the cap
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                         monitoring data at least once every 15
                                                 approved-alternative-test-methods), or                  minutes.                                              during the ozone season. A new 30-day
                                                 other methods and procedures approved                      (iv) When measuring temperature                    rolling average emissions rate in tpd is
                                                 by the EPA through notice-and-                          range, the temperature sensor must have               calculated for each operating day during
                                                 comment rulemaking. To determine                        a minimum tolerance of 2.8 degrees                    the ozone season, using the 30-day
                                                 compliance with the NOx  NOX emissions                  Celsius (5 degrees Fahrenheit) or 1                   rolling average daily operating hours for
                                                 limit in paragraph (c) of this section, the             percent of the measurement range,                     the preceding 30 operating days.
                                                 emissions rate shall be calculated in                   whichever is larger.                                     Equation 2 to Paragraph (f)(6)


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00224   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 263 of 430
                                                                      Federal Register / Vol. 88, No. 107/Monday,
                                                                                                      107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules                                                              36877
                                                                                                                                                                                                    36877

                                                                                              N


                                                                                            I
                                                                                            i=1
                                                                                                    (Rai X DC x Hai) ≤ Cap (tons per day)


                                                 Where:                                                  with good air pollution control practices             requirements of this section even if that
                                                 Ha
                                                 Hai = the consecutive 30-day rolling average            for minimizing emissions;                             unit later becomes subject to a physical
                                                      daily operating hours for the preceding              (vii) The date and results of the                   or operational limitation that lowers its
                                                      30 operating days during ozone season              performance test conducted pursuant to                potential to emit below 100 tons per
                                                      (hours).                                           paragraph (e) of this section;                        year of NOx.
                                                                                                                                                                        NOX.
                                                 i = each affected unit.                                   (viii) Any records required by                         (c) Emissions limitations. If you are
                                                 N = number of affected units.                           paragraph (f) of this section, including
                                                 DC = the engine manufacturer's
                                                                   manufacturer’s maximum                                                                      the owner or operator of an affected
                                                      design capacity in horsepower (hp) at the
                                                                                                         records of parametric monitoring data,                unit, you must meet the following
                                                      installation site conditions.                      to demonstrate compliance with the                    emissions limitations on a 30-day
                                                 Ra
                                                 Rai = the actual emissions rate for each                applicable emissions limit under                      rolling average basis during the 2026
                                                      affected unit based on the most recent             paragraph (c) of this section or a                    ozone season and in each ozone season
                                                      performance test results, (grams/hp-hr).           Facility-Wide Averaging Plan under                    thereafter:
                                                    (g) Reporting requirements. (1) If you               paragraph (d) of this section, if                        (1) Long wet kilns: 4.0 lb/ton of
                                                 are the owner or operator of an affected                applicable;                                           clinker;
                                                 unit, you must submit the results of the                  (ix) If applicable, a statement                        (2) Long dry kilns: 3.0 lb/ton of
                                                                                                         documenting any change in the                         clinker;
                                                 performance test or performance
                                                 evaluation of the CEMS following the                    operating characteristics of the subject                 (3) Preheater kilns: 3.8 lb/ton of
                                                 procedures specified in § 52.40(g)                      engine; and                                           clinker;
                                                                                                           (x) A statement certifying that the                    (4) Precalciner kilns: 2.3 lb/ton of
                                                 within 60 days after completing each
                                                                                                         information included in the annual                    clinker; and
                                                 performance test required by this
                                                                                                         report is complete and accurate.                         (5) Preheater/Precalciner kilns: 2.8 lb/
                                                 section.
                                                    (2) If you are the owner or operator of                                                                    ton of clinker.
                                                                                                         §52.42
                                                                                                         § 52.42 What are the requirements of the
                                                                                                                                                                  (d) Testing and monitoring
                                                 an affected unit, you are required to                   Federal Implementation Plans (FIPs)
                                                 submit excess emissions reports for any                 relating to ozone season emissions of                 requirements. (1) If you are the owner or
                                                 excess emissions that occurred during                   nitrogen oxides from the Cement and                   operator of an affected unit you must
                                                 the reporting period. Excess emissions                  Concrete Product Manufacturing Industry?              conduct performance tests, on an annual
                                                 are defined as any calculated 30-day                       (a) Definitions. All terms not defined             basis, in accordance with the applicable
                                                 rolling average NOxNOX emissions rate that              in this paragraph (a) shall have the                  reference test methods of 40 CFR part
                                                 exceeds the applicable emissions limit                  meaning given to them in the Act and                  60, appendix A-4,
                                                                                                                                                                              A–4, any alternative test
                                                 in paragraph (c) of this section. Excess                in subpart A of 40 CFR part 60.                       method approved by the EPA as of June
                                                 emissions reports must be submitted in                     Affected unit means a cement kiln                  5, 2023, under 40 CFR 59.104(f),
                                                                                                                                                                                        59.104W,
                                                 PDF format to the EPA via CEDRI or                      meeting the applicability criteria of this            60.8(b)(3), 61.13(h)(1)(ii), 63.7(e)(2)(ii),
                                                 analogous electronic reporting approach                 section.                                              or 65.158(a)(2) and available at the
                                                 provided by the EPA to report data                         Cement kiln means an installation,                 EPA’s website (https://www.epa.gov/
                                                                                                                                                               EPA's
                                                 required by this section following the                  including any associated pre-heater or                emc/broadly-applicable-approved-
                                                 procedures specified in § 52.40(g).                     pre-calciner devices, that produces                   alternative-test-methods), or other
                                                    (3) If you are the owner or operator of              clinker by heating limestone and other                methods and procedures approved by
                                                 an affected unit, you must submit an                    materials to produce Portland cement.                 the EPA through notice-and-comment
                                                 annual report in PDF format to the EPA                     Cement plant means any facility                    rulemaking. The annual performance
                                                 by January 30th of each year via CEDRI                  manufacturing cement by either the wet                test does not have to be performed
                                                 or analogous electronic reporting                       or dry process.                                       during the ozone season. You must
                                                 approach provided by the EPA to report                     Clinker means the product of a                     calculate and record the 30-operating
                                                 data required by this section. Annual                   cement kiln from which finished                       day rolling average emissions rate of
                                                 reports shall be submitted following the                cement is manufactured by milling and                 NOX as the total of all hourly emissions
                                                                                                                                                               NOx
                                                 procedures in paragraph (g) of this                     grinding.                                             data for a cement kiln in the preceding
                                                 section. The report shall contain the                      Operating day
                                                                                                                        day means a 24-hour                    30 days, divided by the total tons of
                                                 following information:                                  period beginning at 12:00 midnight                    clinker produced in that kiln during the
                                                    (i) The name and address of the owner                during which the kiln produces clinker                same 30-operating day period, using
                                                 and operator;                                           at any time.                                          equation 1 to this paragraph (d)(1):
                                                    (ii) The address of the subject engine;                 (b) Applicability. You are subject to                 Equation 1 to Paragraph (d)(1)
                                                    (iii) Longitude and latitude                         the requirements of this section if you
                                                 coordinates of the subject engine;                      own or operate a new or existing cement                                                   Ql
                                                                                                                                                                   E30D = k (I\1=1Ci
                                                    (iv) Identification of the subject                   kiln that emits or has the potential to
                                                 engine;                                                 emit 100 tons per year or more of NOx
                                                                                                                                             NOX
ddrumheller on DSK120RN23PROD with RULES2




                                                    (v) Statement of compliance with the                 on or after August 4, 2023, and is
                                                                                                                                                               Where:
                                                 applicable emissions limit under                        located within any of the States listed in
                                                 paragraph (c) of this section or a                      § 52.40(c)(2), including Indian country               E30D = 30 kiln operating day average
                                                                                                                                                               E30D =
                                                                                                                                                                                                                ER05JN23.002</GPH>




                                                                                                                                                                    emissions rate of NO
                                                                                                                                                                                      NOR,
                                                                                                                                                                                         X, in lbs/ton of
                                                 Facility-Wide Averaging Plan under                      located within the borders of any such                     clinker.
                                                 paragraph (d) of this section;                          State(s). Any existing cement kiln with               Ci = Concentration of NOx
                                                                                                                                                                                      NOX for hour i, in ppm.
                                                    (vi) Statement of compliance                         a potential to emit of 100 tons per year              Qi = Volumetric flow rate of effluent gas for
                                                 regarding the conduct of maintenance                                 NOX on August 4, 2023, will
                                                                                                         or more of NOx                                             hour i, where Ci and Qi are on the same
                                                 and operations in a manner consistent
                                                                                                                                                                                                                ER05JN23.007</GPH>




                                                                                                         continue to be subject to the                             basis (either wet or dry), in scf/hr.


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00225   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 264 of 430
                                                 36878
                                                 36878                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 P = 30 days of clinker production during the            and kiln stack exhaust temperature                    affected unit, you shall maintain records
                                                      same Time period as the NOx
                                                                               NOX emissions             during the initial performance test and               of the following information for each
                                                      measured, in tons.                                 subsequent annual performance tests to                day the affected unit operates:
                                                                              × 10-7
                                                 k = Conversion factor, 1.194 X 10¥7 for NOx,
                                                                                         NOX,            demonstrate continuous compliance                       (1) Calendar date;
                                                      in lb/scf/ppm.                                     with your NOxNOX emissions limits.                      (2) The average hourly NOxNOX emissions
                                                 n = Number of kiln operating hours over 30
                                                      kiln operating days.                                  (ii) You must determine hourly                     rates measured or predicted;
                                                                                                         clinker production by one of two                        (3) The 30-day average NOxNOX emissions
                                                    (2) If you are the owner or operator of              methods:                                              rates calculated at the end of each
                                                 an affected unit and are operating a NOx  NOX              (A) Install, calibrate, maintain, and              affected unit operating day from the
                                                 continuous emissions monitoring                         operate a permanent weigh scale system                measured or predicted hourly NOx NOX
                                                 system (CEMS) that monitors NOx   NOX                   to record weight rates of the amount of               emissions rates for the preceding 30
                                                 emissions from the affected unit, you                   clinker produced in tons of mass per                  operating days;
                                                 may use the CEMS data in lieu of the                    hour. The system of measuring hourly                    (4) Identification of the affected unit
                                                 annual performance tests and                            clinker production must be maintained                 operating days when the calculated 30-
                                                 parametric monitoring required under                    within ±5 ±5 percent accuracy; or                     day average NOx
                                                                                                                                                                             NOX emissions rates are in
                                                 this section. You must meet the                            (B) Install, calibrate, maintain, and              excess of the applicable site-specific
                                                 following requirements for using CEMS                   operate a permanent weigh scale system                NOX emissions limit with the reasons
                                                                                                                                                               NOx
                                                 to monitor NOxNOX emissions:                            to measure and record weight rates of                 for such excess emissions as well as a
                                                    (i) You shall install, calibrate,                    the amount of feed to the kiln in tons                description of corrective actions taken;
                                                 maintain, and operate a continuous                      of mass per hour. The system of                         (5) Identification of the affected unit
                                                 emissions monitoring system (CEMS)                      measuring feed must be maintained                     operating days for which pollutant data
                                                 for measuring NOxNOX emissions and either               within ±5 ±5 percent accuracy. Calculate              have not been obtained, including
                                                 oxygen (02)
                                                           (O2) or carbon dioxide (CO    2).
                                                                                     (CO2).              your hourly clinker production rate                   reasons for not obtaining sufficient data
                                                    (ii) The CEMS shall be operated and                  using a kiln specific feed-to-clinker ratio           and a description of corrective actions
                                                 data recorded during all periods of                     based on reconciled clinker production                taken;
                                                 operation during the ozone season of the                rates determined for accounting                         (6) Identification of the times when
                                                 affected unit except for CEMS                           purposes and recorded feed rates. This                emissions data have been excluded from
                                                 breakdowns and repairs. Data shall be                   ratio should be updated monthly. Note                 the calculation of average emissions
                                                 recorded during calibration checks and                  that if this ratio changes at clinker                 rates and the reasons for excluding data;
                                                 zero and span adjustments.                              reconciliation, you must use the new                    (7) If a CEMS is used to verify
                                                    (iii) The 1-hour average NOx
                                                                               NOX                       ratio going forward, but you do not have              compliance:
                                                 emissions rates measured by the CEMS                    to retroactively change clinker                         (i) Identification of the times when
                                                 shall be expressed in terms of lbs/ton of               production rates previously estimated.                the pollutant concentration exceeded
                                                 clinker and shall be used to calculate                     (C) For each kiln operating hour for               full span of the CEMS;
                                                 the average emissions rates to                          which you do not have data on clinker                   (ii) Description of any modifications
                                                 demonstrate compliance with the                         production or the amount of feed to the               to the CEMS that could affect the ability
                                                 applicable emissions limits in this                     kiln, use the value from the most recent              of the CEMS to comply with
                                                 section.                                                previous hour for which valid data are                Performance Specification 2 or 3 in
                                                    (iv) The procedures under 40 CFR                     available.                                            appendix B to 40 CFR part 60; and
                                                 60.13 shall be followed for installation,                  (D) If you measure clinker production                (iii) Results of daily CEMS drift tests
                                                 evaluation, and operation of the                        directly, record the daily clinker                    and quarterly accuracy assessments as
                                                 continuous monitoring systems.                          production rates; if you measure the                  required under Procedure 1 of 40 CFR
                                                    (v) When NOxNOX emissions data are not               kiln feed rates and calculate clinker                 part 60, appendix F;
                                                 obtained because of CEMS breakdowns,                    production, record the daily kiln feed                  (8) Operating parameters required
                                                 repairs, calibration checks and zero and                and clinker production rates.                         under paragraph (d) of this section to
                                                 span adjustments, emissions data will                      (iii) You must use the kiln stack                  demonstrate compliance during the
                                                 be obtained by using standby                            exhaust gas flow rate, hourly kiln                    ozone season;
                                                 monitoring systems, Method 7 of 40                      production rate or kiln feed rate, and                  (9) Each fuel type, usage, and heat
                                                 CFR part 60, appendix A-4,A–4, Method 7A                kiln stack exhaust temperature during                 content; and
                                                 of 40 CFR part 60, appendix A-4, A–4, or                the initial performance test and                        (10) Clinker production rates.
                                                 other approved reference methods to                     subsequent annual performance tests as                  (f) Reporting requirements. (1) If you
                                                 provide emissions data for a minimum                    indicators of NOx
                                                                                                                         NOX operating parameters              are the owner or operator of an affected
                                                 of 75 percent of the operating hours in                 to demonstrate continuous compliance                  unit, you shall submit the results of the
                                                 each affected unit operating day, in at                 and establish site-specific indicator                 performance test or performance
                                                 least 22 out of 30 successive operating                 ranges for these operating parameters.                evaluation of the CEMS following the
                                                 days.                                                      (iv) You must repeat the performance               procedures specified in § 52.40(g)
                                                    (3) If you are the owner or operator of              test annually to reassess and adjust the              within 60 days after the date of
                                                 an affected unit not operating NOx NOX                  site-specific operating parameter                     completing each performance test
                                                 CEMS, you must conduct an initial                       indicator ranges in accordance with the               required by this section.
                                                 performance test before the 2026 ozone                  results of the performance test.                        (2) If you are the owner or operator of
                                                 season to establish appropriate indicator                  (v) You must report and include your               an affected unit, you are required to
ddrumheller on DSK120RN23PROD with RULES2




                                                 ranges for operating parameters and                     ongoing site-specific operating                       submit excess emissions reports for any
                                                 continuously monitor those operator                     parameter data in the annual reports                  excess emissions that occurred during
                                                 parameters consistent with the                          required under paragraph (e) of this                  the reporting period. Excess emissions
                                                 requirements of paragraphs (d)(3)(i)                    section and semi-annual title V                       are defined as any calculated 30-day
                                                 through (v) of this section.                            monitoring reports to the relevant                    rolling average NOx
                                                                                                                                                                                NOX emissions rate that
                                                    (i) You must monitor and record kiln                 permitting authority.                                 exceeds the applicable emissions limit
                                                 stack exhaust gas flow rate, hourly                        (e) Recordkeeping requirements. If                 established under paragraph (c) of this
                                                 clinker production rate or kiln feed rate,              you are the owner or operator of an                   section. Excess emissions reports must


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00226   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 265 of 430
                                                                      Federal Register / Vol. 88, No. 107/Monday,
                                                                                                      107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules                                                            36879
                                                                                                                                                                                                  36879

                                                 be submitted in PDF format to the EPA                      Affected unit means any reheat                     affected unit by August 5, 2024. The
                                                 via CEDRI or analogous electronic                       furnace meeting the applicability                     work plan must be submitted via CEDRI
                                                 reporting approach provided by the EPA                  criteria of this section.                             or analogous electronic reporting
                                                 to report data required by this section                    Day means a calendar day unless
                                                                                                            Day                                                approach provided by the EPA to report
                                                 following the procedures specified in                   expressly stated to be a business day. In             data required by this section following
                                                 § 52.40(g).                                             computing any period of time for                      the procedures specified in § 52.40(g).
                                                    (3) If you are the owner or operator of              recordkeeping and reporting purposes                  Each work plan must include a
                                                 an affected unit, you shall submit an                   where the last day would fall on a                    description of the affected unit and
                                                 annual report in PDF format to the EPA                  Saturday, Sunday, or Federal holiday,                 rated production and energy capacities,
                                                 by January 30th of each year via CEDRI                  the period shall run until the close of               identification of the low-NO
                                                                                                                                                                                      low-NOR X burner or
                                                 or analogous electronic reporting                       business of the next business day.                    alternative low NOR
                                                                                                                                                                                 NOX technology
                                                 approach provided by the EPA to report                     Low NOx
                                                                                                            Low  NOX burner means a burner                     selected, and the phased construction
                                                 data required by this section. Annual                   designed to reduce flame turbulence by                timeframe by which you will design,
                                                 reports shall be submitted following the                the mixing of fuel and air and by                     install, and consistently operate the
                                                 procedures in § 52.40(g). The report                    establishing fuel-rich zones for initial              device. Each work plan shall also
                                                 shall include records all records                       combustion, thereby reducing the                      include, where applicable, performance
                                                 required by paragraph (d) of this                       formation of NOR.
                                                                                                                        NOX.                                   test results obtained no more than five
                                                                                                            Low-NOX technology
                                                                                                           Low-NOx     technology means any post-              years before August 4, 2023, to be used
                                                 section, including record of CEMS data
                                                                                                         combustion NORNOX control technology                  as baseline emissions testing data
                                                 or operating parameters required by                                            NOX emissions by
                                                                                                         capable of reducing NOR                               providing the basis for required
                                                 paragraph (d) to demonstrate
                                                                                                         40% from baseline emission levels as                  emissions reductions. If no such data
                                                 continuous compliance the applicable
                                                                                                         measured during pre-installation                      exist, then the owner or operator must
                                                 emissions limits under paragraph (c) of
                                                                                                         testing.                                              perform pre-installation testing as
                                                 this section.                                              Operating day
                                                                                                                        day means a 24-hour                    described in paragraph (e)(3) of this
                                                    (g) Initial notification requirements                period beginning at 12:00 midnight
                                                 for existing affected units. (1) The
                                                                                                                                                               section.
                                                 for                                                     during which any fuel is combusted at                    (2) The owner or operator of an
                                                 requirements of this paragraph (g) apply                any time in the reheat furnace.                       affected unit shall design each low-NO
                                                                                                                                                                                                 low-NOR X
                                                 to the owner or operator of an existing                   Reheat furnace means a furnace used                 burner or alternative low-NO
                                                                                                                                                                                        low-NORX
                                                 affected unit.                                          to heat steel product—including metal                 technology identified in the work plan
                                                    (2) The owner or operator of an                      ingots, billets, slabs, beams, blooms and                          NOX emission reductions by
                                                                                                                                                               to achieve NOR
                                                 existing affected unit that emits or has                other similar products—for the purpose                a minimum of 40% from baseline
                                                 a potential to emit 100 tons per year or                of deformation and rolling.                           emission levels measured during
                                                 greater as of August 4, 2023, shall notify                 (b) Applicability. The requirements of             performance testing that meets the
                                                 the Administrator via the CEDRI or                      this section apply to each new or                     criteria set forth in paragraph (e)(1) of
                                                 analogous electronic submission system                  existing reheat furnace at an iron and                this section, or during pre-installation
                                                 provided by the EPA that the unit is                    steel mill or ferroalloy manufacturing                testing as described in paragraph (e)(3)
                                                 subject to this section. The notification,              facility that directly emits or has the               of this section. Each low-NO
                                                                                                                                                                                       low-NORX burner or
                                                 which shall be submitted not later than                 potential to emit 100 tons per year or                alternative low-NO
                                                                                                                                                                            low-NOR  X technology shall be
                                                 December 4, 2023, shall be submitted in                           NOX on or after August 4, 2023,
                                                                                                         more of NOR                                           continuously operated during all
                                                 PDF format to the EPA via CEDRI,                        does not have low-NOR
                                                                                                                          low-NOX burners                      production periods according to
                                                 which can be accessed through the                       installed, and is located within any of               paragraph (c) of this section.
                                                 EPA’s CDX (https://cdx.epa.gov/). The
                                                 EPA's                                                   the States listed in § 52.40(c)(2),                      (3) The owner or operator of an
                                                 notification shall provide the following                including Indian country located within               affected unit shall establish an
                                                 information:                                            the borders of any such State(s). Any                 emissions limit in the work plan that
                                                    (i) The name and address of the owner                existing reheat furnace with a potential              the affected unit must comply with in
                                                 or operator;                                            to emit of 100 tons per year or more of               accordance with paragraph (c) of this
                                                    (ii) The address (i.e., physical                     NOX on August 4, 2023, will continue
                                                                                                         NOR                                                   section.
                                                 location) of the affected unit;                         to be subject to the requirements of this                (4) The EPA's
                                                                                                                                                                           EPA’s action on work plans:
                                                    (iii) An identification of the relevant              section even if that unit later becomes                  (i) The Administrator will provide via
                                                 standard, or other requirement, that is                 subject to a physical or operational                  the CEDRI or analogous electronic
                                                 the basis for the notification and the                  limitation that lowers its potential to               submission system provided by the EPA
                                                 unit’s compliance date; and
                                                 unit's                                                  emit below 100 tons per year of NOR.NOX.              notification to the owner or operator of
                                                                                                            (c) Emissions control requirements. If             an affected unit if the submitted work
                                                    (iv) A brief description of the nature,
                                                                                                         you are the owner or operator of an                   plan is complete, that is, whether the
                                                 size, design, and method of operation of
                                                                                                         affected unit without low-NOR
                                                                                                                                  low-NOX burners              request contains sufficient information
                                                 the facility and an identification of the
                                                                                                         already installed, you must install and               to make a determination, within 60
                                                 types of emissions points (units) within
                                                                                                                   low-NOX burners or equivalent
                                                                                                         operate low-NOR                                       calendar days after receipt of the
                                                 the facility subject to the relevant
                                                                                                         alternative low-NO
                                                                                                                      low-NOR  X technology                    original work plan and within 60
                                                 standard.
                                                                                                         designed to achieve at least a 40%                    calendar days after receipt of any
                                                 § 52.43 What are the requirements of the                reduction from baseline NORNOX emissions              supplementary information.
                                                 Federal Implementation Plans (FIPs)                     in accordance with the work plan                         (ii) The Administrator will provide
ddrumheller on DSK120RN23PROD with RULES2




                                                 relating to ozone season emissions of                   established pursuant to paragraph (d) of              notification via the CEDRI or analogous
                                                 nitrogen oxides from the Iron and Steel                 this section. You must meet the                       electronic submission system provided
                                                 Mills and Ferroalloy Manufacturing                      emissions limit established under                     by the EPA, which shall be publicly
                                                 Industry?                                               paragraph (d) on a 30-day rolling                     available, to the owner or operator of a
                                                   (a) Definitions. All terms not defined                average basis.                                        decision to approve or intention to
                                                 in this paragraph (a) shall have the                      (d) Work
                                                                                                                Work plan requirements. (1) The                disapprove the work plan within 60
                                                 meaning given to them in the Act and                    owner or operator of each affected unit               calendar days after providing written
                                                 in subpart A of 40 CFR part 60.                         must submit a work plan for each                      notification pursuant to paragraph


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00227   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 266 of 430
                                                 36880
                                                 36880                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 (d)(4)(i) of this section that the                      emissions from the affected unit, you                    (iii) You must repeat the performance
                                                 submitted work plan is complete.                        may use the CEMS data in lieu of the                  test annually to reassess and adjust the
                                                    (iii) Before disapproving a work plan,               annual performance tests and                          site-specific operating parameter
                                                 the Administrator will notify the owner                 parametric monitoring required under                  indicator ranges in accordance with the
                                                 or operator via the CEDRI or analogous                  this section. You must meet the                       results of the performance test.
                                                 electronic submission system provided                   following requirements for using CEMS                    (iv) You must report and include your
                                                                      Administrator’s
                                                 by the EPA of the Administrator's                                    NOX emissions:
                                                                                                         to monitor NOx                                        ongoing site-specific operating
                                                 intention to issue the disapproval,                        (i) You shall install, calibrate,                  parameter data in the annual reports
                                                 together with:                                          maintain, and operate a continuous                    required under paragraph (f) of this
                                                    (A) Notice of the information and                    emissions monitoring system (CEMS)                    section and semi-annual title V
                                                 findings on which the intended                          for measuring NOxNOX emissions and either             monitoring reports to the relevant
                                                 disapproval is based; and                                         (O2) or carbon dioxide (CO2).
                                                                                                         oxygen (02)                       (CO2).              permitting authority.
                                                    (B) Notice of opportunity for the                       (ii) The CEMS shall be operated and                   (f) Recordkeeping requirements. If you
                                                 owner or operator to present in writing,                data recorded during all periods of                   are the owner or operator of an affected
                                                 within 15 calendar days after he/she is                 operation during the ozone season of the              unit, you shall maintain records of the
                                                 notified of the intended disapproval,                   affected unit except for CEMS                         following information for each day the
                                                 additional information or arguments to                  breakdowns and repairs. Data shall be                 affected unit operates:
                                                 the Administrator before further action                 recorded during calibration checks and                   (1) Calendar date;
                                                 on the work plan.                                       zero and span adjustments.                               (2) The average hourly NOxNOX emissions
                                                    (iv) The Administrator's
                                                              Administrator’s final decision                                                                   rates measured or predicted;
                                                 to disapprove a work plan will be via                      (iii) The 1-hour average NOx
                                                                                                                                       NOX
                                                                                                         emissions rates measured by the CEMS                     (3) The 30-day average NOxNOX emissions
                                                 the CEDRI or analogous electronic                                                                             rates calculated at the end of each
                                                 submission system provided by the EPA                   shall be expressed in form of the
                                                                                                         emissions limit established in the work               affected unit operating day from the
                                                 and publicly available, and will set forth                                                                    measured or predicted hourly NOx  NOX
                                                 the specific grounds on which the                       plan and shall be used to calculate the
                                                                                                         average emissions rates to demonstrate                emissions rates for the preceding 30
                                                 disapproval is based. The final decision                                                                      operating days;
                                                 will be made within 60 calendar days                    compliance with the applicable
                                                                                                         emissions limits established in the work                 (4) Identification of the affected unit
                                                 after presentation of additional                                                                              operating days when the calculated 30-
                                                 information or argument (if the                         plan.
                                                                                                                                                               day average NOxNOX emissions rates are in
                                                 submitted work plan is complete), or                       (iv) The procedures under 40 CFR
                                                                                                                                                               excess of the applicable site-specific
                                                 within 60 calendar days after the                       60.13 shall be followed for installation,
                                                                                                                                                               NOX emissions limit with the reasons
                                                                                                                                                               NOx
                                                 deadline for the submission of                          evaluation, and operation of the
                                                                                                                                                               for such excess emissions as well as a
                                                 additional information or argument                      continuous monitoring systems.
                                                                                                                                                               description of corrective actions taken;
                                                 under paragraph (d)(5)(iii)(B) of this                     (v) When NOx
                                                                                                                       NOX emissions data are not
                                                                                                                                                                  (5) Identification of the affected unit
                                                 section, if no such submission is made.                 obtained because of CEMS breakdowns,                  operating days for which pollutant data
                                                    (v) If the Administrator disapproves                 repairs, calibration checks and zero and              have not been obtained, including
                                                 the submitted work plan for failure to                  span adjustments, emissions data will                 reasons for not obtaining sufficient data
                                                 satisfy the requirements of paragraphs                  be obtained by using standby                          and a description of corrective actions
                                                 (c) and (d)(1) through (3) of this section,             monitoring systems, Method 7 of 40                    taken;
                                                 or if the owner or operator of an affected              CFR part 60, appendix A-4,A–4, Method 7A                 (6) Identification of the times when
                                                 unit fails to submit a work plan by                     of 40 CFR part 60, appendix A-4,A–4, or               emissions data have been excluded from
                                                 August 5, 2024, the owner or operator                   other approved reference methods to                   the calculation of average emissions
                                                 will be in violation of this section. Each              provide emissions data for a minimum                  rates and the reasons for excluding data;
                                                 day that the affected unit operates                     of 75 percent of the operating hours in                  (7) If a CEMS is used to verify
                                                 following such disapproval or failure to                each affected unit operating day, in at               compliance:
                                                 submit shall constitute a violation.                    least 22 out of 30 successive operating                  (i) Identification of the times when
                                                    (e) Testing
                                                         Testing and monitoring                          days.                                                 the pollutant concentration exceeded
                                                 requirements. (1) If you are the owner or                  (3) If you are the owner or operator of            full span of the CEMS;
                                                 operator of an affected unit you must                   an affected unit not operating NOxNOX                    (ii) Description of any modifications
                                                 conduct performance tests, on an annual                 CEMS, you must conduct an initial                     to the CEMS that could affect the ability
                                                 basis, in accordance with the applicable                performance test before the 2026 ozone                of the CEMS to comply with
                                                 reference test methods of 40 CFR part                   season to establish appropriate indicator             Performance Specification 2 or 3 in
                                                 60, appendix A-4,
                                                                 A–4, any alternative test               ranges for operating parameters and                   appendix B to 40 CFR part 60; and
                                                 method approved by the EPA as of June                   continuously monitor those operator                      (iii) Results of daily CEMS drift tests
                                                 5, 2023, under 40 CFR 59.104(f),
                                                                           59.104W,                      parameters consistent with the                        and quarterly accuracy assessments as
                                                 60.8(b)(3), 61.13(h)(1)(ii), 63.7(e)(2)(ii),            requirements of paragraphs (e)(3)(i)                  required under Procedure 1 of 40 CFR
                                                 or 65.158(a)(2) and available at the                    through (iv) of this section.                         part 60, appendix F;
                                                 EPA’s website (https://www.epa.gov/
                                                 EPA's                                                      (i) You must monitor and record stack                 (8) Operating parameters required
                                                 emc/broadly-applicable-approved-                        exhaust gas flow rate and temperature                 under paragraph (d) of this section to
                                                 alternative-test-methods), or other                     during the initial performance test and               demonstrate compliance during the
                                                 methods and procedures approved by                      subsequent annual performance tests to                ozone season; and
                                                                                                         demonstrate continuous compliance
ddrumheller on DSK120RN23PROD with RULES2




                                                 the EPA through notice-and-comment                                                                               (9) Each fuel type, usage, and heat
                                                 rulemaking. The annual performance                                  NOX emissions limits.
                                                                                                         with your NOx                                         content.
                                                 test does not have to be performed                         (ii) You must use the stack exhaust                   (g) Reporting requirements. (1) If you
                                                 during the ozone season.                                gas flow rate and temperature during the              are the owner or operator of an affected
                                                    (2) If you are the owner or operator of              initial performance test and subsequent               unit, you shall submit a final report via
                                                 an affected unit and are operating a NOxNOX             annual performance tests to establish a               the CEDRI or analogous electronic
                                                 continuous emissions monitoring                         site-specific indicator for these                     submission system provided by the
                                                 system (CEMS) that monitors NOx  NOX                    operating parameters.                                 EPA, by no later than March 30, 2026,


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00228   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 267 of 430
                                                                      Federal Register / Vol. 88, No. 107/Monday,
                                                                                                      107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules                                                       36881
                                                                                                                                                                                             36881

                                                 certifying that installation of each                    cdx.epa.gov/). The notification shall         Idling means the operation of a glass
                                                 selected control device has been                        provide the following information:         melting furnace at less than 25% of the
                                                 completed. You shall include in the                        (i) The name and address of the owner permitted production capacity or fuel
                                                 report the dates of final construction                  or operator;                               use capacity as stated in the operating
                                                 and relevant performance testing, where                    (ii) The address (i.e., physical        permit.
                                                 applicable, demonstrating compliance                    location) of the affected unit;               Lead recipe means glass product
                                                 with the selected emission limits                          (iii) An identification of the relevant composition of the following ranges of
                                                 pursuant to paragraphs (c) and (d) of                   standard, or other requirement, that is    weight proportions: 50 to 60 percent
                                                 this section.                                           the basis for the notification and the     silicon dioxide, 18 to 35 percent lead
                                                   (2) If you are the owner or operator of               unit’s compliance date; and
                                                                                                         unit's                                     oxides, 5 to 20 percent total R2O
                                                                                                                                                                                    R2O (e.g.,
                                                 an affected unit, you must submit the                      (iv) A brief description of the nature, Na22O and K22O), 0 to 8 percent total R2O3
                                                                                                                                                                                           R2O3
                                                 results of the performance test or                      size, design, and method of operation of (e.g., Al22O3),
                                                                                                                                                               O3), 0 to 15 percent total RO
                                                 performance evaluation of the CEMS                      the facility and an identification of the  (e.g., CaO, MgO), other than lead oxide,
                                                 following the procedures specified in                   types of emissions points (units) within and 5 to 10 percent other oxides.
                                                 § 52.40(g) within 60 days after the date                the facility subject to the relevant          Operating dayday means a 24-hr period
                                                                                                         standard.                                  beginning at 12:00 midnight during
                                                 of completing each performance test
                                                 required by this section.                               §52.44
                                                                                                                                                    which the furnace combusts fuel at any
                                                                                                         § 52.44 What are the requirements of the
                                                   (3) If you are the owner or operator of               Federal Implementation Plans (FIPs)        time   but excludes any period of startup,
                                                 an affected unit, you are required to                   relating to ozone season emissions of      shutdown, or idling during which the
                                                 submit excess emissions reports for any                 nitrogen oxides from the Glass and Glass   affected unit complies with the
                                                 excess emissions that occurred during                   Product Manufacturing Industry?            requirements in paragraphs (d) through
                                                 the reporting period. Excess emissions                     (a) Definitions. All terms not defined  (f) of this section, as applicable.
                                                                                                         in this paragraph (a) shall have the          Pressed and blown glass means glass
                                                 are defined as any calculated 30-day
                                                                                                         meaning given to them in the Act and       which is pressed, blown, or both,
                                                                  NOX emissions rate that
                                                 rolling average NOx
                                                                                                         in subpart A of 40 CFR part 60.            including textile fiberglass,
                                                 exceeds the applicable emissions limit
                                                                                                            Affected units means a glass            noncontinuous flat glass, noncontainer
                                                 established under paragraphs (c) and (d)
                                                                                                         manufacturing furnace meeting the          glass, and other products listed in SIC
                                                 of this section. Excess emissions reports
                                                                                                         applicability criteria of this section.    3229. It is separated into: Glass of
                                                 must be submitted in PDF format to the                                                             borosilicate recipe, Glass of soda-lime
                                                 EPA via CEDRI or analogous electronic                      Borosilicate recipe means glass
                                                                                                         product composition of the following       and lead recipes, and Glass of opal,
                                                 reporting approach provided by the EPA
                                                                                                         approximate ranges of weight               fluoride, and other recipes.
                                                 to report data required by this section                                                               Raw material means minerals, such as
                                                                                                                                                       Raw
                                                                                                         proportions: 60 to 80 percent silicon
                                                 following the procedures specified in                                                              silica sand, limestone, and dolomite;
                                                                                                         dioxide, 4 to 10 percent total R22O (e.g.,
                                                 § 52.40(g).                                                                                        inorganic chemical compounds, such as
                                                                                                         Na2O and K
                                                                                                         Na2O          2O), 5 to 35 percent boric
                                                                                                                     K2O),
                                                   (4) If you are the owner or operator of
                                                                                                         oxides, and 0 to 13 percent other oxides. soda ash (sodium carbonate), salt cake
                                                 an affected unit, you shall submit an                      Container glass means glass made of     (sodium sulfate), and potash (potassium
                                                 annual report in PDF format to the EPA                  soda-lime recipe, clear or colored,        carbonate); metal oxides and other
                                                 by January 30th of each year via CEDRI                  which is pressed and/or blown into         metal-based compounds, such as lead
                                                 or analogous electronic reporting                       bottles, jars, ampoules, and other         oxide, chromium oxide, and sodium
                                                 approach provided by the EPA to report                  products listed in Standard Industrial     antimonate; metal ores, such as
                                                 data required by this section. Annual                   Classification (SIC) 3221 (SIC 3221).      chromite and pyrolusite; and other
                                                 reports shall be submitted following the                   Flat glass means glass made of soda-    substances that are intentionally added
                                                 procedures in § 52.40(g). The report                    lime recipe and produced into              to a glass manufacturing batch and
                                                 shall include records all records                       continuous flat sheets and other           melted in a glass melting furnace to
                                                 required by paragraphs (e) and (f) of this              products listed in SIC 3211.               produce glass. Metals that are naturally-
                                                 section, including record of CEMS data                     Glass melting furnace means a unit      occurring trace constituents or
                                                 or operating parameters required by                     comprising a refractory vessel in which    contaminants of other substances are
                                                 paragraph (e) to demonstrate                            raw materials are charged, melted at       not considered to be raw materials.
                                                 compliance the applicable emissions                     high temperature, refined, and                Shutdown means the period of time
                                                 limits established under paragraphs (c)                 conditioned to produce molten glass.       during which a glass melting furnace is
                                                 and (d) of this section.                                The unit includes foundations,             taken from an operational to a non-
                                                   (h) Initial notification requirements                 superstructure and retaining walls, raw    operational status by allowing it to cool
                                                 for existing affected units. (1) The                    material charger systems, heat             down from its operating temperature to
                                                 requirements of this paragraph (h) apply                exchangers, melter cooling system,         a cold or ambient temperature as the
                                                 to the owner or operator of an existing                 exhaust system, refractory brick work,     fuel supply is turned off.
                                                 affected unit.                                          fuel supply and electrical boosting           Soda-lime recipe means glass product
                                                   (2) The owner or operator of an                       equipment, integral control systems and composition of the following ranges of
                                                 existing affected unit that emits or has                instrumentation, and appendages for        weight proportions: 60 to 75 percent
                                                 a potential to emit 100 tons per year or                conditioning and distributing molten       silicon dioxide, 10 to 17 percent total
                                                           NOX as of August 4, 2023, shall
                                                 more of NOx                                             glass to forming apparatuses. The          R2O (e.g., Na2O
                                                                                                                                                    R2O         Na2O and K   2O), 8 to 20
                                                                                                                                                                            K2O),
                                                 notify the Administrator via the CEDRI                  forming apparatuses, including the float percent total RO but not to include any
ddrumheller on DSK120RN23PROD with RULES2




                                                 or analogous electronic submission                      bath used in flat glass manufacturing      PbO (e.g., CaO, and MgO), 0 to 8 percent
                                                 system provided by the EPA that the                     and flow channels in wool fiberglass              R2O3 (e.g., Al2O3),
                                                                                                                                                    total R2O3         Al2O3), and 1 to 5
                                                 unit is subject to this section. The                    and textile fiberglass manufacturing, are percent other oxides.
                                                 notification, which shall be submitted                  not considered part of the glass melting      Startup means the period of time,
                                                 not later than December 4, 2023, shall                  furnace.                                   after initial construction or a furnace
                                                 be submitted in PDF format to the EPA                      Glass produced means the weight of      rebuild, during which a glass melting
                                                 via CEDRI, which can be accessed                        the glass pulled from the glass melting    furnace is heated to operating
                                                               EPA’s CDX (https://
                                                 through the EPA's                                       furnace.                                   temperatures by the primary furnace


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00229   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 268 of 430
                                                 36882
                                                 36882                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 combustion system, and systems and                         (ii) A description of the material                    (2) The duration of a shutdown, as
                                                 instrumentation are brought to                          process flow rates, system operating                  measured from the time the furnace
                                                 stabilization.                                          parameters, and other information that                operations drop below 25% of the
                                                    Textile fiberglass means fibrous glass               the owner or operator shall monitor and               permitted production capacity or fuel
                                                 in the form of continuous strands                       record during the startup period.                     use capacity to when all emissions from
                                                 having uniform thickness.                                  (iii) Identification of the control                the furnace cease, may not exceed 20
                                                    Wool fiberglass
                                                           fiberglass means fibrous glass of             technologies or strategies to be utilized.            days.
                                                 random texture, including accoustical                      (iv) A description of the physical                    (3) If you are the owner or operator of
                                                 board and tile (mineral wool), fiberglass               conditions present during startup                     an affected unit, you shall operate the
                                                 insulation, glass wool, insulation (rock                periods that prevent the controls from                emissions control system whenever
                                                 wool, fiberglass, slag, and silicia                     being effective.                                      technologically feasible during
                                                 minerals), and mineral wool roofing                        (v) A reasonably precise estimate as to            shutdown to minimize emissions.
                                                 mats.                                                   when physical conditions will have                       (f) Idling requirements. (1) If you are
                                                    (b) Applicability. You are subject to                reached a state that allows for the                   the owner or operator of an affected
                                                 the requirements under this section if                  effective control of emissions.                       unit, you shall operate the emissions
                                                 you own or operate a new or existing                       (2) The length of startup following                control system whenever
                                                 glass manufacturing furnace that                        activation of the primary furnace                     technologically feasible during idling to
                                                 directly emits or has the potential to                  combustion system may not exceed:                     minimize emissions.
                                                 emit 100 tons per year or more of NOx  NOX                 (i) Seventy days for a container,                     (2) If you are the owner or operator of
                                                 on or after August 4, 2023, and is                      pressed or blown glass furnace;                                               NOX emissions
                                                                                                                                                               an affected unit, your NOx
                                                 located within any of the States listed in                 (ii) Forty days for a fiberglass furnace;          during idling may not exceed the
                                                 § 52.40(c)(2), including Indian country                 and                                                   amount calculated using the following
                                                 located within the borders of any such                     (iii) One hundred and four days for a              equation: Pounds per day emissions
                                                 State(s). Any existing glass                            flat glass furnace and for all other glass            limit of NOx
                                                                                                                                                                         NOX = (Applicable NOxNOX
                                                 manufacturing furnace with a potential                  melting furnaces not covered under                    emissions limit specified in paragraph
                                                 to emit of 100 tons per year or more of                 paragraphs (d)(2)(i) and (ii) of this                 (c) of this section expressed in pounds
                                                 NOX on August 4, 2023, will continue
                                                 NOx                                                     section.                                              per ton of glass produced) x  × (Furnace
                                                 to be subject to the requirements of this                  (3) During the startup period, the                 permitted production capacity in tons of
                                                 section even if that unit later becomes                 owner or operator of an affected unit                 glass produced per day).
                                                 subject to a physical or operational                    shall maintain the stoichiometric ratio                  (3) To demonstrate compliance with
                                                 limitation that lowers its potential to                 of the primary furnace combustion                     the alternative daily NOx
                                                                                                                                                                                      NOX emissions
                                                 emit below 100 tons per year of NOx. NOX.               system so as not to exceed 5 percent                  limit identified in paragraph (f)(2) of
                                                    (c) Emissions limitations. If you are                excess oxygen, as calculated from the                 this section during periods of idling, the
                                                 the owner or operator of an affected                    actual fuel and oxidant flow                          owners or operators of an affected unit
                                                 unit, you must meet the emissions                       measurements for combustion in the                    shall maintain records consistent with
                                                 limitations in paragraphs (c)(1) and (2)                affected unit.                                        paragraph (h)(3) of this section.
                                                 of this section on a 30-day rolling                        (4) The owner or operator of an                       (g) Testing
                                                                                                                                                                       Testing and monitoring
                                                 average basis during the 2026 ozone                     affected unit shall place the emissions               requirements. (1) If you own or operate
                                                 season and in each ozone season                         control system in operation as soon as                                                  NOX
                                                                                                                                                               an affected unit subject to the NOx
                                                 thereafter. For the 2026 ozone season,                  technologically feasible during startup               emissions limits under paragraph (c) of
                                                 the emissions limitations in paragraphs                 to minimize emissions.                                this section you must conduct
                                                 (c)(1) and (2) do not apply during                         (e) Shutdown requirements. (1) If you              performance tests, on an annual basis,
                                                 shutdown and idling if the affected unit                are the owner or operator of an affected              in accordance with the applicable
                                                 complies with the requirements in                       unit, you shall submit via the CEDRI or               reference test methods of 40 CFR part
                                                 paragraphs (e) and (f) of this section, as              analogous electronic submission system                60, appendix A-4,
                                                                                                                                                                               A–4, any alternative test
                                                 applicable. For the 2027 and subsequent                 provided by the EPA to the                            method approved by the EPA as of June
                                                 ozone seasons, the emissions limitations                Administrator, no later than 30 days                  5, 2023, under 40 CFR 59.104(f),
                                                                                                                                                                                        59.104W,
                                                 in paragraphs (c)(1) and (2) do not apply               prior to the anticipated date of                      60.8(b)(3), 61.13(h)(1)(ii), 63.7(e)(2)(ii),
                                                 during startup, shutdown, and idling, if                shutdown, the following information to                or 65.158(a)(2) and available at the
                                                 the affected unit complies with the                     assure proper operation of the furnace:               EPA’s website (https://www.epa.gov/
                                                                                                                                                               EPA's
                                                 requirements in paragraphs (d) through                     (i) A detailed list of activities to be            emc/broadly-applicable-approved-
                                                 (f) of this section, as applicable.                     performed during shutdown and                         alternative-test-methods), or other
                                                    (1) Container glass, pressed/blown                   explanations to support the length of                 methods and procedures approved by
                                                 glass, or fiberglass manufacturing                      time needed to complete each activity.                the EPA through notice-and-comment
                                                 furnace: 4.0
                                                            4.O lb/ton of glass; and                        (ii) A description of the material                 rulemaking. The annual performance
                                                    (2) Flat glass manufacturing furnace:                process flow rates, system operating                  test does not have to be performed
                                                 7.0
                                                 7.O lb/ton of glass.                                    parameters, and other information that                during the ozone season. Owners or
                                                    (d) Startup requirements. (1) If you are             the owner or operator shall monitor and               operators of affected units must
                                                 the owner or operator of an affected                    record during the shutdown period.                    calculate and record the 30-day rolling
                                                 unit, you shall submit via the CEDRI or                    (iii) Identification of the control                average emissions rate of NOxNOX as the
                                                 analogous electronic submission system                  technologies or strategies to be utilized.            total of all hourly emissions data for an
ddrumheller on DSK120RN23PROD with RULES2




                                                 provided by the EPA, no later than 30                      (iv) A description of the physical                 affected unit in the preceding 30 days,
                                                 days prior to the anticipated date of                   conditions present during shutdown                    divided by the total tons of glass
                                                 startup, the following information to                   periods that prevent the controls from                produced in that affected unit during
                                                 assure proper operation of the furnace:                 being effective.                                      the same 30-day period. Direct
                                                    (i) A detailed list of activities to be                 (v) A reasonably precise estimate as to            measurement or material balance using
                                                 performed during startup and                            when physical conditions will have                    good engineering practice shall be used
                                                 explanations to support the length of                   reached a state that allows for the                   to determine the amount of glass
                                                 time needed to complete each activity.                  effective control of emissions.                       produced during the performance test.


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00230   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 269 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                         36883
                                                                                                                                                                                                 36883

                                                 The rate of glass produced is defined as                performance tests to demonstrate                        (vii) If a CEMS is used to verify
                                                 the weight of glass pulled from the                     continuous compliance with your NOx   NOX             compliance:
                                                 affected unit during the performance                    emissions limits.                                       (A) Identification of the times when
                                                 test divided by the number of hours                        (ii) You must use the stack exhaust                the pollutant concentration exceeded
                                                 taken to perform the performance test.                  gas flow rate, hourly glass production,               full span of the CEMS;
                                                   (2) If you are the owner or operator of               and stack exhaust gas temperature                       (B) Description of any modifications
                                                                                  NOX
                                                 an affected unit subject to the NOx                     during the initial performance test and               to the CEMS that could affect the ability
                                                 emissions limits under paragraph (c)(1)                 subsequent annual performance tests as                of the CEMS to comply with
                                                 of this section and are operating a NOx
                                                                                      NOX                NOX CEMS indicators to demonstrate
                                                                                                         NOx                                                   Performance Specification 2 or 3 in
                                                 CEMS that monitors NOxNOX emissions                     continuous compliance and establish a                 appendix B to 40 CFR part 60; and
                                                 from the affected unit, you may use the                 site-specific indicator ranges for these                (C) Results of daily CEMS drift tests
                                                 CEMS data in lieu of the annual                         operating parameters.                                 and quarterly accuracy assessments as
                                                 performance tests and parametric                           (iii) You must repeat the performance              required under Procedure 1 of 40 CFR
                                                 monitoring required under this section.                 test annually to reassess and adjust the              part 60, appendix F;
                                                 You must meet the following                             site-specific operating parameter                       (D) Operating parameters required
                                                 requirements for using CEMS to monitor                  indicator ranges in accordance with the               under paragraph (g) to demonstrate
                                                 NOX emissions:
                                                 NOx                                                     results of the performance test.                      compliance during the ozone season;
                                                   (i) You shall install, calibrate,                        (iv) You must report and include your                (viii) Each fuel type, usage, and heat
                                                 maintain, and operate a continuous                                                                            content; and
                                                                                                         ongoing site-specific operating                         (ix) Glass production rate.
                                                 emissions monitoring system (CEMS)                      parameter data in the annual reports
                                                 for measuring NOx
                                                                 NOX emissions and either                                                                        (2) If you are the owner or operator of
                                                                                                         required under paragraph (h) of this                  an affected unit, you shall maintain all
                                                 oxygen (02)
                                                          (O2) or carbon dioxide (CO  2).
                                                                                   (CO2).                section and semi-annual title V
                                                   (ii) The CEMS shall be operated and                                                                         records necessary to demonstrate
                                                                                                         monitoring reports to the relevant                    compliance with the startup and
                                                 data recorded during all periods of
                                                                                                         permitting authority.                                 shutdown requirements in paragraphs
                                                 operation during the ozone season of the                   (4) If you are the owner or operator of
                                                 affected unit except for CEMS                                                                                 (d) and (e) of this section, including but
                                                                                                         an affected unit seeking to comply with               not limited to records of material
                                                 breakdowns and repairs. Data shall be                   the requirements for startup under
                                                 recorded during calibration checks and                                                                        process flow rates, system operating
                                                                                                         paragraph (d) of this section or                      parameters, the duration of each startup
                                                 zero and span adjustments.                              shutdown under paragraph (e) of this
                                                   (iii) The 1-hour average NOx
                                                                              NOX                                                                              and shutdown period, fuel throughput,
                                                 emissions rates measured by the CEMS                    section in lieu of the applicable                     oxidant flow rate, and any additional
                                                                                                         emissions limit under paragraph (c) of                records necessary to determine whether
                                                 shall be expressed in terms of lbs/ton of
                                                 glass and shall be used to calculate the                this section, you must monitor material               the stoichiometric ratio of the primary
                                                                                                         process flow rates, fuel throughput,                  furnace combustion system exceeded 5
                                                 average emissions rates to demonstrate
                                                 compliance with the applicable                          oxidant flow rate, and the selected                   percent excess oxygen during startup.
                                                 emissions limits in this section.                       system operating parameters in                          (3) If you are the owner or operator of
                                                   (iv) The procedures under 40 CFR                      accordance with paragraphs (d)(1)(ii)                 an affected unit, you shall maintain
                                                 60.13 shall be followed for installation,               and (e)(1)(ii) of this section.                       records of daily NOx
                                                                                                                                                                                 NOX emissions in
                                                 evaluation, and operation of the                           (h) Recordkeeping
                                                                                                                 Recordkeeping requirements. (1) If            pounds per day for purposes of
                                                 continuous monitoring systems.                          you are the owner or operator of an                   determining compliance with the
                                                   (v) When NOx
                                                              NOX emissions data are not                 affected unit, you shall maintain records             applicable emissions limit for idling
                                                 obtained because of CEMS breakdowns,                    of the following information for each                 periods under paragraph (f)(2) of this
                                                 repairs, calibration checks and zero and                day the affected unit operates:                       section. Each owner or operator shall
                                                 span adjustments, emissions data will                      (i) Calendar date;                                 also record the duration of each idling
                                                 be obtained by using standby                               (ii) The average hourly NOx
                                                                                                                                      NOX emissions            period.
                                                 monitoring systems, Method 7 of 40                      rates measured or predicted;                            (i) Reporting requirements. (1) If you
                                                 CFR part 60, appendix A-4,
                                                                          A–4, Method 7A                    (iii) The 30-day average NOx
                                                                                                                                       NOX                     are the owner or operator of an affected
                                                 of 40 CFR part 60, appendix A-4,
                                                                                A–4, or                  emissions rates calculated at the end of              unit, you must submit the results of the
                                                 other approved reference methods to                     each affected unit operating day from                 performance test or performance
                                                 provide emissions data for a minimum                    the measured or predicted hourly NOx  NOX             evaluation of the CEMS following the
                                                 of 75 percent of the operating hours in                 emissions rates for the preceding 30                  procedures specified in § 52.40(g)
                                                 each affected unit operating day, in at                 operating days;                                       within 60 days after the date of
                                                 least 22 out of 30 successive operating                    (iv) Identification of the affected unit           completing each performance test
                                                 days.                                                   operating days when the calculated 30-                required by this section.
                                                   (3) If you are the owner or operator of               day average NOx
                                                                                                                       NOX emissions rates are in                (2) If you are the owner or operator of
                                                 an affected unit not operating NOx
                                                                                  NOX                    excess of the applicable site-specific                an affected unit, you are required to
                                                 CEMS, you must conduct an initial                       NOX emissions limit with the reasons
                                                                                                         NOx                                                   submit excess emissions reports for any
                                                 performance test before the 2026 ozone                  for such excess emissions as well as a                excess emissions that occurred during
                                                 season to establish appropriate indicator               description of corrective actions taken;              the reporting period. Excess emissions
                                                 ranges for operating parameters and                        (v) Identification of the affected unit            are defined as any calculated 30-day
                                                 continuously monitor those operator                     operating days for which pollutant data                                NOX emissions rate that
                                                                                                                                                               rolling average NOx
                                                                                                         have not been obtained, including
ddrumheller on DSK120RN23PROD with RULES2




                                                 parameters consistent with the                                                                                exceeds the applicable emissions limit
                                                 requirements of paragraphs (g)(3)(i)                    reasons for not obtaining sufficient data             in paragraph (c) of this section. Excess
                                                 through (iv) of this section.                           and a description of corrective actions               emissions reports must be submitted in
                                                   (i) You must monitor and record stack                 taken;                                                PDF format to the EPA via CEDRI or
                                                 exhaust gas flow rate, hourly glass                        (vi) Identification of the times when              analogous electronic reporting approach
                                                 production, and stack exhaust gas                       emissions data have been excluded from                provided by the EPA to report data
                                                 temperature during the initial                          the calculation of average emissions                  required by this section following the
                                                 performance test and subsequent annual                  rates and the reasons for excluding data;             procedures specified in § 52.40(g).


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00231   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 270 of 430
                                                 36884
                                                 36884                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                    (3) If you own or operate an affected                recovering thermal energy in the form of              via the low-use exemption provisions
                                                 unit, you shall submit an annual report                 steam or hot water. Controlled flame                  and must meet the applicable emissions
                                                 in PDF format to the EPA by January                     combustion refers to a steady-state, or               limits and other applicable provisions
                                                 30th of each year via CEDRI or                          near steady-state, process wherein fuel               as soon as possible but not later than
                                                 analogous electronic reporting approach                 and/or oxidizer feed rates are                        one year from the date eligibility as a
                                                 provided by the EPA to report data                      controlled.                                           low-use boiler was negated by
                                                 required by this section. Annual reports                   Coal means "coal"
                                                                                                                          ‘‘coal’’ as defined in 40            exceedance of the low-use boiler
                                                 shall be submitted following the                        CFR 60.41b.                                           criteria.
                                                 procedures in § 52.40(g). The report                       Distillate oil means "distillate
                                                                                                                                    ‘‘distillate oil"
                                                                                                                                                 oil’’ as         (ii) [Reserved]
                                                 shall include records all records                       defined in 40 CFR 60.41b.                                (c) Emissions limitations. If you are
                                                 required by paragraph (g) of this section,                 Maximum heat input capacitycapacity means          the owner or operator of an affected
                                                 including record of CEMS data or                        means the ability of a steam generating               unit, you must meet the following
                                                 operating parameters to demonstrate                     unit to combust a stated maximum                      emissions limitations on a 30-day
                                                 continuous compliance the applicable                    amount of fuel on a steady state basis,               rolling average basis during the 2026
                                                 emissions limits under paragraphs (c) of                as determined by the physical design                  ozone season and in each ozone season
                                                 this section.                                           and characteristics of the steam                      thereafter:
                                                    (j) Initial notification requirements for
                                                                                          for            generating unit.                                         (1) Coal-fired industrial boilers: 0.20
                                                 existing affected units. (1) The                                                  ‘‘natural gas"
                                                                                                            Natural gas means "natural        gas’’ as
                                                                                                                                                               lbs NOx/mmBtu;
                                                                                                                                                                    NOX/mmBtu;
                                                 requirements of this paragraph (j) apply                defined in 40 CFR 60.41.
                                                                                                            Operating day                                         (2) Residual oil-fired industrial
                                                 to the owner or operator of an existing                                 day means a 24-hour
                                                                                                         period between 12:00 midnight and the                 boilers: 0.20 lbs NOx/mmBtu;
                                                                                                                                                                                  NOX/mmBtu;
                                                 affected unit.                                                                                                   (3) Distillate oil-fired industrial
                                                    (2) The owner or operator of an                      following midnight during which any
                                                                                                         fuel is combusted at any time in the                  boilers: 0.12 lbs NOx/mmBtu;
                                                                                                                                                                                  NOX/mmBtu;
                                                 existing affected unit that emits or has                                                                         (4) Natural gas-fired industrial boilers:
                                                 a potential to emit greater than 100 tons               steam generating unit. It is not necessary
                                                                                                         for fuel to be combusted continuously                 0.08 lbs NOx/minBtu;
                                                                                                                                                                         NOX/mmBtu; and
                                                 per year or greater as of August 4, 2023,                                                                        (5) Boilers using combinations of fuels
                                                 shall notify the Administrator via the                  for the entire 24-hour period.
                                                                                                            Residual oil means "residual
                                                                                                                                    ‘‘residual oil’’
                                                                                                                                                oil" as        listed in paragraphs (c)(1) through (4) of
                                                 CEDRI or analogous electronic                                                                                 this section: such units shall comply
                                                 submission system provided by the EPA                   defined in 40 CFR 60.41c.
                                                                                                            (b) Applicability. (1) The requirements                     NOX emissions limit derived by
                                                                                                                                                               with a NOx
                                                 that the unit is subject to this section.                                                                     summing the products of each fuel’sfuel's
                                                 The notification, which shall be                        of this section apply to each new or
                                                                                                         existing boiler with a design capacity of             heat input and respective emissions
                                                 submitted not later than June 23, 2023,                                                                       limit and dividing by the sum of the
                                                                                                               mmBtu/hr or greater that receives
                                                                                                         100 nunBtu/hr
                                                 shall be submitted in PDF format to the                                                                       heat input contributed by each fuel.
                                                 EPA via CEDRI, which can be accessed                    90% or more of its heat input from coal,
                                                                                                         residual oil, distillate oil, natural gas, or            (d) Testing and monitoring
                                                                 EPA’s CDX (https://
                                                 through the EPA's                                                                                             requirements. (1) If you are the owner or
                                                 cdx.epa.gov/). The notification shall                   combinations of these fuels in the
                                                                                                         previous ozone season, is located at                  operator of an affected unit, you shall
                                                 provide the following information:                                                                            conduct an initial compliance test as
                                                    (i) The name and address of the owner                sources that are within the Basic
                                                                                                         Chemical Manufacturing industry, the                  described in 40 CFR 60.8 using the
                                                 or operator;                                                                                                  continuous system for monitoring NOx   NOX
                                                    (ii) The address (i.e., physical                     Petroleum and Coal Products
                                                 location) of the affected unit;                         Manufacturing industry, the Pulp,                     specified by EPA Test Method 7E of 40
                                                    (iii) An identification of the relevant              Paper, and Paperboard industry, the                   CFR part 60, appendix A-4, A–4, to
                                                 standard, or other requirement, that is                 Metal Ore Mining industry, and the Iron               determine compliance with the
                                                 the basis for the notification and the                  and Steel and Ferroalloys                             emissions limits for NOxNOX identified in
                                                 unit’s compliance date; and
                                                 unit's                                                  Manufacturing industry and which is                   paragraph (c) of this section. In lieu of
                                                    (iv) A brief description of the nature,              located within any of the States listed in            the timing of the compliance test
                                                 size, design, and method of operation of                § 52.40(c)(2), including Indian country               described in 40 CFR 60.8(a), you shall
                                                 the facility and an identification of the               located within the borders of any such                conduct the test within 90 days from the
                                                 types of emissions points (units) within                State(s). The requirements of this                    installation of the pollution control
                                                 the facility subject to the relevant                    section do not apply to an emissions                  equipment used to comply with the
                                                 standard.                                               unit that meets the requirements for a                NOX emissions limits in paragraph (c) of
                                                                                                                                                               NOx
                                                                                                         low-use exemption as provided in                      this section and no later than May 1,
                                                 § 52.45 What are the requirements of the                paragraph (b)(2) of this section.                     2026.
                                                 Federal Implementation Plans (FIPs)                        (2) If you are the owner or operator of               (i) For the initial compliance test, you
                                                 relating to ozone season emissions of                                                                         shall monitor NOxNOX emissions from the
                                                 nitrogen oxides from the Basic Chemical
                                                                                                         a boiler meeting the applicability
                                                 Manufacturing, Petroleum and Coal                       criteria of paragraph (b)(1) of this                  affected unit for 30 successive operating
                                                 Products Manufacturing, the Pulp, Paper,                section that operates less than 10% per               days and the 30-day average emissions
                                                 and Paperboard Mills Industries, Metal Ore              year on an hourly basis, based on the                 rate will be used to determine
                                                 Mining, and the Iron and Steel and                      three most recent years of use and no                 compliance with the NOx  NOX emissions
                                                 Ferroalloy Manufacturing Industries?                    more than 20% in any one of the three                 limits in paragraph (c) of this section.
                                                   (a) Definitions. All terms not defined                years, you are exempt from meeting the                You shall calculate the 30-day average
                                                 in this paragraph (a) shall have the                    emissions limits of this section and are              emission rate as the average of all
                                                                                                                                                               hourly emissions data recorded by the
ddrumheller on DSK120RN23PROD with RULES2




                                                 meaning given to them in the Act and                    only subject to the recordkeeping and
                                                 in subpart A of 40 CFR part 60.                         reporting requirements of paragraph                   monitoring system during the 30-day
                                                   Affected unit means an industrial                     (f)(2) of this section.                               test period.
                                                 boiler meeting the applicability criteria                  (i) If you are the owner or operator of               (ii) You are not required to conduct an
                                                 of this section.                                        an affected unit that exceeds the 10%                 initial compliance test if the affected
                                                   Boiler means an enclosed device                       per year hour of operation over three                 unit is subject to a pre-existing,
                                                 using controlled flame combustion and                   years or the 20% hours of operation per               federally enforceable requirement to
                                                 having the primary purpose of                           year criteria, you can no longer comply                             NOX emissions using a
                                                                                                                                                               monitor its NOx


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00232   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 271 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                           36885
                                                                                                                                                                                                   36885

                                                 CEMS in accordance with 40 CFR 60.13                    and zero and span adjustments, you will               to 40 CFR part 60, Method 320 of
                                                 or 40 CFR part 75.                                      obtain emissions data by using standby                appendix A to 40 CFR part 63, or other
                                                    (2) If you are the owner or operator of              monitoring systems, Method 7 of 40                    approved reference methods. The
                                                 an affected unit with a heat input                      CFR part 60, appendix A-4,
                                                                                                                                  A–4, Method 7A               annual performance test must be
                                                 capacity of 250 mrnBTU/Iir
                                                                    mmBTU/hr or greater,                 of 40 CFR part 60, appendix A-4,A–4, or               conducted before the affected units
                                                 you are subject to the following                        other approved reference methods to                   operates more than 400 hours in a given
                                                 monitoring requirements:                                provide emissions data for a minimum                  year.
                                                    (i) You shall install, calibrate,                    of 75 percent of the operating hours in                  (iii) You must develop and comply
                                                 maintain, and operate a continuous                      each affected unit operating day, in at               with a monitoring plan that relates the
                                                 emissions monitoring system (CEMS)                      least 22 out of 30 successive operating               operational parameters to emissions of
                                                 for measuring NOxNOX emissions and either               days.                                                 the affected unit. The owner or operator
                                                 oxygen (02)
                                                           (O2) or carbon dioxide (CO  2),
                                                                                    (CO2),                  (vii) You may delay installing a CEMS              of each affected unit shall develop a
                                                 unless the Administrator has approved                   for NOx
                                                                                                              NOX until after the initial                      monitoring plan that identifies the
                                                 a request from you to use an alternative                performance test has been conducted. If               operating conditions of the affected unit
                                                 monitoring technique under paragraph                    you demonstrate during the                            to be monitored and the records to be
                                                 (d)(2)(vii) of this section. If you have                performance test that emissions of NOxNOX             maintained in order to reliably predict
                                                 previously installed a NOx
                                                                          NOX emissions                  are less than 70 percent of the                       NOX emissions and determine
                                                                                                                                                               NOx
                                                 rate CEMS to meet the requirements of                   applicable emissions limit in paragraph               compliance with the applicable
                                                 40 CFR 60.13 or 40 CFR part 75 and                      (c) of this section, you are not required             emissions limits of this section on a
                                                 continue to meet the ongoing                            to install a CEMS for measuring NOx.
                                                                                                                                            NOX. If            continuous basis. You shall include the
                                                 requirements of 40 CFR 60.13 or 40 CFR                  you demonstrate your affected unit                    following information in the plan:
                                                 part 75, that CEMS may be used to meet                  emits less than 70 percent of the                        (A) You shall identify the specific
                                                 the monitoring requirements of this                     applicable emissions limit chooses to                 operating parameters to be monitored
                                                 section.                                                not install a CEMS, you must submit a                 and the relationship between these
                                                    (ii) You shall operate the CEMS and                  written request to the Administrator that             operating parameters and the applicable
                                                 record data during all periods of                       documents the results of the initial                  NOX emission rates. Operating
                                                                                                                                                               NOx
                                                 operation during the ozone season of the                performance test and includes an                      parameters of the affected unit include,
                                                 affected unit except for CEMS                           alternative monitoring procedure that                 but are not limited to, the degree of
                                                 breakdowns and repairs. You shall                       will be used to track compliance with                 staged combustion (i.e., the ratio of
                                                 record data during calibration checks                                    NOX emissions limit(s) in
                                                                                                         the applicable NOx                                    primary air to secondary and/or tertiary
                                                 and zero and span adjustments.                          paragraph (c) of this section. The                    air) and the level of excess air (i.e., flue
                                                    (iii) You shall express the 1-hour                   Administrator may consider the request                gas O0 22 level).
                                                 average NOxNOX emissions rates measured                 and, following public notice and                         (B) You shall include the data and
                                                 by the CEMS in terms of lbs/mmBtu                       comment, may approve the alternative                  information used to identify the
                                                 heat input and shall be used to calculate               monitoring procedure with or without                                         NOX emission
                                                                                                                                                               relationship between NOx
                                                 the average emissions rates under                       revision, or disapprove the request.                  rates and these operating conditions.
                                                 paragraph
                                                 par raph (c) of this section.                           Upon receipt of a disapproved request,                   (C) You shall identify: how these
                                                    (iv) Following the date on which the                 you will have one year to install a                   operating parameters, including steam
                                                 initial compliance test is completed,                   CEMS.                                                 generating unit load, will be monitored
                                                 you shall determine compliance with                        (3) If you are the owner or operator of            on an hourly basis during periods of
                                                 the applicable NOxNOX emissions limit in                an affected unit with a heat input                    operation of the affected unit; the
                                                 paragraph (c) of this section during the                capacity less than 250 mrnBTU/hr,
                                                                                                                                  mmBTU/hr, you                quality assurance procedures or
                                                 ozone season on a continuous basis                      must monitor NOxNOX emission via the                  practices that will be employed to
                                                 using a 30-day rolling average emissions                requirements of paragraph (e)(1) of this              ensure that the data generated by
                                                 rate unless you monitor emissions by                    section or you must monitor NOx NOX                   monitoring these operating parameters
                                                 means of an alternative monitoring                      emissions by conducting an annual test                will be representative and accurate; and
                                                 procedure approved pursuant to                          in conjunction with the implementation                the type and format of the records of
                                                 paragraph (d)(2)(vii) of this section. You              of a monitoring plan meeting the                      these operating parameters, including
                                                 shall calculate a new 30-day rolling                    following requirements:                               steam generating unit load, that you will
                                                 average emissions rate for each                            (i) You must conduct an initial                    maintain.
                                                 operating day as the average of all the                 performance test over a minimum of 24                    (4) You shall submit the monitoring
                                                 hourly NOxNOX emissions data for the                    consecutive steam generating unit                     plan to the EPA via the CEDRI reporting
                                                 preceding 30 operating days.                            operating hours at maximum heat input                 system, and request that the relevant
                                                    (v) You shall follow the procedures                  capacity to demonstrate compliance                    permitting agency incorporate the
                                                 under 40 CFR 60.13 for installation,                    with the NOx
                                                                                                                    NOX emission standards under               monitoring plan into the facility's
                                                                                                                                                                                          facility’s title
                                                 evaluation, and operation of the                        paragraph (c) of this section using                   V permit.
                                                 continuous monitoring systems.                          Method 7, 7A, or 7E of appendix A-4 A–4                  (e) Recordkeeping requirements. (1) If
                                                 Additionally, you shall use a span value                to 40 CFR part 60, Method 320 of                      you are the owner or operator of an
                                                 of 1000 ppm NOx NOX for affected units                  appendix A to 40 CFR part 63, or other                affected unit, which is not a low-use
                                                 combusting coal and span value of 500                   approved reference methods.                           boiler, you shall maintain records of the
                                                 ppm NOxNOX for units combusting oil or                     (ii) You must conduct annual                       following information for each day the
                                                                                                         performance tests once per calendar
ddrumheller on DSK120RN23PROD with RULES2




                                                 gas. As an alternative to meeting these                                                                       affected unit operates during the ozone
                                                 span values, you may elect to use the                   year to demonstrate compliance with                   season:
                                                 NOX span values determined according
                                                 NOx                                                          NOX emission standards under
                                                                                                         the NOx                                                  (i) Calendar date;
                                                 to section 2.1.2 in appendix A to 40 CFR                paragraph (c) of this section over a                     (ii) The average hourly NOx
                                                                                                                                                                                           NOX emissions
                                                 part 75.                                                minimum of 3 consecutive steam                        rates (expressed as lbs NO2/mrnBtu
                                                                                                                                                                                        NO2/mmBtu heat
                                                    (vi) When you are unable to obtain                   generating unit operating hours at                    input) measured or predicted;
                                                 NOX emissions data because of CEMS
                                                 NOx                                                     maximum heat input capacity using                        (iii) The 30-day average NOx
                                                                                                                                                                                           NOX
                                                 breakdowns, repairs, calibration checks                 Method 7, 7A, or 7E of appendix A-4 A–4               emissions rates calculated at the end of


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00233   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 272 of 430
                                                 36886
                                                 36886                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 each affected unit operating day from                   excess emissions that occurred during      waterwall furnace or on a tumbling-tile
                                                 the measured or predicted hourly NOx    NOX             the reporting period. Excess emissions     grate.
                                                 emissions rates for the preceding 30                    are defined as any calculated 30-day          Mass burn
                                                                                                                                                              bum waterwall municipal waste
                                                 steam generating unit operating days;                                    NOX emissions rate, as
                                                                                                         rolling average NOx                        combustor means a field-erected
                                                    (iv) Identification of the affected unit             determined under paragraph (e)(1)(iii) of  combustor that combusts municipal
                                                 operating days when the calculated 30-                  this section, that exceeds the applicable  solid waste in a waterwall furnace.
                                                 day rolling average NOxNOX emissions rates              emissions limit in paragraph (c) of this      Municipal waste combustor, MWC, or
                                                 are in excess of the applicable NOx NOX                 section. Excess emissions reports must     municipal waste combustor unit means:
                                                 emissions limit in paragraph (c) of this                be submitted in PDF format to the EPA         (i) Means any setting or equipment
                                                 section with the reasons for such excess                via CEDRI or analogous electronic          that combusts solid, liquid, or gasified
                                                 emissions as well as a description of                   reporting approach provided by the EPA     MSW including, but not limited to,
                                                 corrective actions taken;                               to report data required by this section    field-erected incinerators (with or
                                                    (v) Identification of the affected unit              following the procedures specified in      without heat recovery), modular
                                                 operating days for which pollutant data                 § 52.40(g).                                incinerators (starved-air or excess-air),
                                                 have not been obtained, including                         (3) If you are the owner or operator an  boilers (i.e., steam-generating units),
                                                 reasons for not obtaining sufficient data               affected unit subject to the continuous    furnaces (whether suspension-fired,
                                                 and a description of corrective actions                 monitoring requirements for NOxNOX under   grate-fired, mass-fired, air curtain
                                                 taken;                                                  paragraph (d) of this section, you shall   incinerators, or fluidized bed-fired), and
                                                    (vi) Identification of the times when                submit reports containing the              pyrolysis/combustion units. Municipal
                                                 emissions data have been excluded from                  information recorded under paragraph       waste combustors do not include
                                                 the calculation of average emissions                    (d) of this section as described in        pyrolysis/combustion units located at
                                                 rates and the reasons for excluding data;               paragraph (e)(1) of this section. You      plastics/rubber recycling units.
                                                    (vii) Identification of "F"
                                                                            ‘‘F’’ factor used            shall submit compliance reports for        Municipal waste combustors do not
                                                 for calculations, method of                             continuous monitoring in PDF format to     include internal combustion engines,
                                                 determination, and type of fuel                         the EPA via CEDRI or analogous             gas turbines, or other combustion
                                                 combusted;                                              electronic reporting approach provided     devices that combust landfill gases
                                                    (viii) Identification of the times when              by the EPA to report data required by      collected by landfill gas collection
                                                 the pollutant concentration exceeded                    this section following the procedures      systems.
                                                 full span of the CEMS;                                  specified in § 52.40(g).                      (ii) The boundaries of a MWC are
                                                    (ix) Description of any modifications                  (4) If you are the owner or operator of  defined as follows. The MWC unit
                                                 to the CEMS that could affect the ability               an affected unit, you shall submit an      includes, but is not limited to, the MSW
                                                 of the CEMS to comply with                              annual report in PDF format to the EPA     fuel feed system, grate system, flue gas
                                                 Performance Specification 2 or 3 in                     by January 30th of each year via CEDRI     system, bottom ash system, and the
                                                 appendix B to 40 CFR part 60;                           or analogous electronic reporting          combustor water system. The MWC
                                                    (x) Results of daily CEMS drift tests                approach provided by the EPA to report     boundary starts at the MSW pit or
                                                 and quarterly accuracy assessments as                   data required by this section. Annual      hopper and extends through:
                                                 required under Procedure 1 of 40 CFR                    reports shall be submitted following the      (A) The combustor flue gas system,
                                                 part 60, appendix F; and                                procedures in § 52.40(g).                  which ends immediately following the
                                                    (xi) The type and amounts of each                                                               heat recovery equipment or, if there is
                                                 fuel combusted.                                         § 52.46 What are the requirements of the
                                                                                                         §52.46                                     no heat recovery equipment,
                                                    (2) If you are the owner or operator of              Federal Implementation Plans (FIPs)        immediately following the combustion
                                                 an affected unit complying as a low-use                 relating to ozone season emissions of      chamber;
                                                 boiler, you must maintain the following                 nitrogen oxides from Municipal Waste          (B) The combustor bottom ash system,
                                                 records consistent with the                             Combustors?                                which ends at the truck loading station
                                                 requirements of § 52.40(g):                                (a) Definitions. All terms not defined  or similar ash handling equipment that
                                                    (i) Identification and location of the               in this paragraph (a) shall have the       transfer the ash to final disposal,
                                                 boiler;                                                 meaning given them in the Act and in       including all ash handling systems that
                                                    (ii) Nameplate capacity;                             subpart A of 40 CFR part 60.               are connected to the bottom ash
                                                    (iii) The fuel or fuels used by the                     Affected unit means a municipal         handling system; and
                                                 boiler;                                                 waste combustor meeting the                   (C) The combustor water system,
                                                    (iv) For each operating day, the type                applicability criteria of this section.    which starts at the feed water pump and
                                                 and amount of fuel combusted, and the                      Chief facility
                                                                                                                   facility operator means the      ends at the piping exiting the steam
                                                 date and total number of hours of                       person in direct charge and control of     drum or superheater.
                                                 operation; and                                          the operation of a municipal waste            (iii) The MWC unit does not include
                                                    (v) the annual hours of operation for                combustor and who is responsible for       air pollution control equipment, the
                                                 each of the prior 3 years, and the 3-year               daily onsite supervision, technical        stack, water treatment equipment, or the
                                                 average hours or operation.                             direction, management, and overall         turbine generator set.
                                                    (f) Reporting requirements. (1) If you               performance of the facility.                  Municipal waste combustor unit
                                                 are the owner or operator of an affected                   Mass burn refractory
                                                                                                                         refractory municipal waste capacity
                                                                                                                                                    capacity means the maximum charging
                                                 unit, you must submit the results of the                combustor means a field-erected            rate of a municipal waste combustor
                                                 performance test or performance                         combustor that combusts municipal          unit expressed in tons per day of
ddrumheller on DSK120RN23PROD with RULES2




                                                 evaluation of the CEMS following the                    solid waste in a refractory wall furnace. municipal solid waste combusted,
                                                 procedures specified in § 52.40(g)                      Unless otherwise specified, this           calculated according to the procedures
                                                 within 60 days after the date of                        includes combustors with a cylindrical     under paragraph (e)(4) of this section.
                                                 completing each performance test                        rotary refractory wall furnace.               Shift- supervisor means the person
                                                 required by this section.                                               rotary waterwall municipal who is in direct charge and control of
                                                                                                            Mass burn rotary
                                                    (2) If you are the owner or operator of              waste combustor means a field-erected      the operation of a municipal waste
                                                 an affected unit, you are required to                   combustor that combusts municipal          combustor and who is responsible for
                                                 submit excess emissions reports for any                 solid waste in a cylindrical rotary        onsite supervision, technical direction,


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00234   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 273 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                         36887
                                                                                                                                                                                                 36887

                                                 management, and overall performance                     consistent with the technological                     performance test for nitrogen oxides
                                                 of the facility during an assigned shift.               limitations, manufacturers'
                                                                                                                        manufacturers’                         consistent with 40 CFR 60.8.
                                                   (b) Applicability. The requirements of                specifications, good engineering and                     (ii) You shall install and operate the
                                                 this section apply to each new or                       maintenance practices, and good air                   NOX CEMS according to Performance
                                                                                                                                                               NOx
                                                 existing municipal waste combustor                      pollution control practices for                       Specification 2 in 40 CFR part 60,
                                                 unit with a combustion capacity greater                 minimizing emissions (as defined in 40                appendix B, and shall follow the
                                                 than 250 tons per day (225 megagrams                    CFR 60.11(d)) for such equipment and                  requirements of 40 CFR 60.58b(h)(10).
                                                 per day) of municipal solid waste and                   the unit at all times the unit is in                    (iii) Quarterly accuracy
                                                 which is located within any of the                      operation.                                            determinations and daily calibration
                                                 States listed in § 52.40(c)(2), including                  (e) Testing and monitoring                         drift tests for the CEMS shall be
                                                 Indian country located within the                       requirements. (1) If you are the owner or             performed in accordance with
                                                 borders of any such State(s).                           operator of an affected unit, you shall               Procedure 1 in 40 CFR part 60,
                                                   (c) Emissions limitations. If you are                 install, calibrate, maintain, and operate             appendix F.
                                                 the owner or operator of an affected                    a continuous emissions monitoring                        (iv) When NOx
                                                                                                                                                                              NOX continuous emissions
                                                 unit, you must meet the following                       system (CEMS) for measuring the                       data are not obtained because of CEMS
                                                 emissions limitations at all times,                     oxygen or carbon dioxide content of the               breakdowns, repairs, calibration checks,
                                                 except during startup and shutdown, on                  flue gas at each location where NOxNOX are            and zero and span adjustments,
                                                 a 30-day rolling average basis during the               monitored and record the output of the                emissions data shall be obtained using
                                                 2026 ozone season and in each ozone                     system. You shall comply with the                     other monitoring systems as approved
                                                 season thereafter:                                      following test procedures and test                    by the EPA or EPA Reference Method 19
                                                   (1) 110 ppmvd at 7 percent oxygen on                  methods:                                              in 40 CFR part 60, appendix A-7,
                                                                                                                                                                                              A–7, to
                                                 a 24-hour block averaging period; and                      (i) You shall use a span value of 25               provide, as necessary, valid emissions
                                                   (2) 105 ppmvd at 7 percent oxygen on                  percent oxygen for the oxygen monitor                 data for a minimum of 90 percent of the
                                                 a 30-day rolling averaging period.                      or 20 percent carbon dioxide for the                  hours per calendar quarter and 95
                                                   (d) Startup and shutdown                              carbon dioxide monitor;                               percent of the hours per calendar year
                                                 requirements. If you are the owner or                      (ii) You shall install, evaluate, and              the unit is operated and combusting
                                                 operator of an affected unit, you must                  operate the CEMS in accordance with 40                municipal solid waste.
                                                 comply with the following requirements                  CFR 60.13;                                               (v) You shall use EPA Reference
                                                 during startup and shutdown:                               (iii) You shall complete the initial               Method 19, section 4.1, in 40 CFR part
                                                   (1) During periods of startup and                     performance evaluation no later than                  60, appendix A-7,
                                                                                                                                                                               A–7, for determining the
                                                 shutdown, you shall meet the following                  180 days after the date of initial startup            daily arithmetic average NOxNOX emissions
                                                 emissions limits at stack oxygen                        of the affected unit, as specified under              concentration.
                                                 content:                                                40 CFR 60.8;                                             (A) You may request that compliance
                                                   (i) 110 ppmvd at stack oxygen content                    (iv) You shall operate the monitor in                         NOX emissions limit be
                                                                                                                                                               with the NOx
                                                 on a 24-hour block averaging period;                    conformance with Performance                          determined using carbon dioxide
                                                 and                                                     Specification 3 in 40 CFR part 60,                    measurements corrected to an
                                                   (ii) 105 ppmvd at stack oxygen                        appendix B, except for section 2.3                    equivalent of 7 percent oxygen. The
                                                 content on a 30-day rolling averaging                   (relative accuracy requirement);                      relationship between oxygen and carbon
                                                 period.                                                    (v) You shall operate the monitor in               dioxide levels for the affected unit shall
                                                   (2) Duration of startup and shutdown,                 accordance with the quality assurance                 be established as specified in paragraph
                                                 periods are limited to 3 hours per                      procedures of 40 CFR part 60, appendix                (e)(1)(vi) of this section.
                                                 occurrence.                                             F, except for section 5.1.1 (relative                    (B) [Reserved]
                                                   (3) The startup period commences                      accuracy test audit); and                                (vi) At a minimum, you shall obtain
                                                 when the affected unit begins the                          (vi) If you select carbon dioxide for              valid CEMS hourly averages for 90
                                                 continuous burning of municipal solid                   use in diluent corrections, you shall                 percent of the operating hours per
                                                 waste and does not include any warmup                   establish the relationship between                    calendar quarter and for 95 percent of
                                                 period when the affected unit is                        oxygen and carbon dioxide levels                      the operating hours per calendar year
                                                 combusting fossil fuel or other                         during the initial performance test                   that the affected unit is combusting
                                                 nonmunicipal solid waste fuel, and no                   according to the following procedures                 municipal solid waste:
                                                 municipal solid waste is being fed to the               and methods:                                             (A) At least 2 data points per hour
                                                 combustor.                                                 (A) This relationship may be                       shall be used to calculate each 1-hour
                                                   (4) Continuous burning is the                         reestablished during performance                      arithmetic average.
                                                 continuous, semicontinuous, or batch                    compliance tests; and                                    (B) Each NOx
                                                                                                                                                                            NOX 1-hour arithmetic
                                                 feeding of municipal solid waste for                       (B) You shall submit the relationship              average shall be corrected to 7 percent
                                                 purposes of waste disposal, energy                      between carbon dioxide and oxygen                     oxygen on an hourly basis using the 1-
                                                 production, or providing heat to the                    concentrations to the EPA as part of the              hour arithmetic average of the oxygen
                                                 combustion system in preparation for                    initial performance test report and as                (or carbon dioxide) continuous
                                                 waste disposal or energy production.                    part of the annual test report if the                 emissions monitoring system data.
                                                 The use of municipal solid waste solely                 relationship is reestablished during the                 (vii) The 1-hour arithmetic averages
                                                 to provide thermal protection of the                    annual performance test.                              section shall be expressed in parts per
                                                 grate or hearth during the startup period                  (2) If you are the owner or operator of            million by volume (dry basis) and used
ddrumheller on DSK120RN23PROD with RULES2




                                                 when municipal solid waste is not being                 an affected unit, you shall use the                   to calculate the 24-hour daily arithmetic
                                                 fed to the grate is not considered to be                following procedures and test methods                 average concentrations. The 1-hour
                                                 continuous burning.                                     to determine compliance with the NOx  NOX             arithmetic averages shall be calculated
                                                   (5) The owner and operator of an                      emission limits in paragraph (c) of this              using the data points required under 40
                                                 affected unit shall minimize NOxNOX                     section:                                              CFR 60.13(e)(2).
                                                 emissions by operating and optimizing                      (i) If you are not already operating a               (viii) All valid CEMS data must be
                                                 the use of all installed pollution control              CEMS in accordance with 40 CFR 60.13,                 used in calculating emissions averages
                                                 technology and combustion controls                      you shall conduct an initial                          even if the minimum CEMS data


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00235   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 274 of 430
                                                 36888
                                                 36888                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 requirements of paragraph (e)(2)(iv) of                 calculated as the maximum design                        (ii) Records showing the names of the
                                                 this section are not met.                               amount of municipal solid waste that                  municipal waste combustor chief
                                                    (ix) The procedures under 40 CFR                     can be charged per batch multiplied by                facility operator, shift supervisors, and
                                                 60.13 shall be followed for installation,               the maximum number of batches that                    control room operators who have been
                                                 evaluation, and operation of the CEMS.                  could be processed in a 24-hour period.               fully certified by the American Society
                                                 The initial performance evaluation shall                The maximum number of batches that                    of Mechanical Engineers or an
                                                 be completed no later than 180 days                     could be processed in a 24-hour period                equivalent State-approved certification
                                                 after the date of initial startup of the                is calculated as 24 hours divided by the              program as required by 40 CFR
                                                 municipal waste combustor unit.                         design number of hours required to                    60.54b(b) including the dates of initial
                                                    (3) If you are the owner or operator of              process one batch of municipal solid                  and renewal certifications and
                                                 an affected unit, you must determine                    waste, and may include fractional                     documentation of current certification;
                                                 compliance with the startup and                         batches (e.g., if one batch requires 16                 (iii) Records showing the names of the
                                                 shutdown requirements of paragraph (d)                  hours, then 24/16, or 1.5 batches, could              municipal waste combustor chief
                                                 of this section by following the                        be combusted in a 24-hour period). For                facility operator, shift supervisors, and
                                                 requirements in paragraphs (e)(3)(i) and                batch combustors that are designed                    control room operators who have
                                                 (ii) of this section:                                   based on heat capacity, the design                    completed the EPA municipal waste
                                                    (i) You can measure CEMS data at                     heating value of 12,800 kilojoules per                combustor operator training course or a
                                                 stack oxygen content. You can dismiss                   kilogram for combustors firing refuse-                State-approved equivalent course as
                                                 or exclude CEMS data from compliance                    derived fuel and a heating value of                   required by 40 CFR 60.54b(d) including
                                                 calculations, but you shall record and                  10,500 kilojoules per kilogram for                    documentation of training completion;
                                                 report CEMS data in accordance with                     combustors firing municipal solid waste               and
                                                 the provisions of 40 CFR 60.59b(d)(7).                  that is not refuse-derived fuel shall be                (iv) Records of when a certified
                                                    (ii) You shall determine compliance                  used in calculating the municipal waste               operator is temporarily off site. Include
                                                            NOX mass loading emissions
                                                 with the NOx                                            combustor unit capacity in megagrams                  two main items:
                                                 limitation for periods of startup and                   per day of municipal solid waste.                       (A) If the certified chief facility
                                                 shutdown by calculating the 24-hour                        (f) Recordkeeping requirements. If you             operator and certified shift supervisor
                                                 average of all hourly average NOx
                                                                                 NOX                     are the owner or operator of an affected              are off site for more than 12 hours, but
                                                 emissions concentrations from                           unit, you shall maintain records of the               for 2 weeks or less, and no other
                                                 continuous emissions monitoring                         following information, as applicable, for             certified operator is on site, record the
                                                 systems.                                                each affected unit consistent with the                dates that the certified chief facility
                                                    (A) You shall perform this                           requirements of § 52.40(g).                           operator and certified shift supervisor
                                                 calculations using stack flow rates                        (1) The calendar date of each record.              were off site.
                                                 derived from flow monitors, for all the                                                                         (B) When all certified chief facility
                                                                                                            (2) The emissions concentrations and
                                                 hours during the 3-hour startup or                      parameters measured using continuous                  operators and certified shift supervisors
                                                 shutdown period and the remaining 21                    monitoring systems.                                   are off site for more than 2 weeks and
                                                 hours of the 24-hour period.                                                       NOX emissions
                                                                                                            (i) All 1-hour average NOx                         no other certified operator is on site,
                                                    (B) [Reserved]                                                                                             keep records of four items:
                                                    (4) If you are the owner or operator of              concentrations.
                                                                                                                                                                 (1) Time of day that all certified
                                                 an affected unit, you shall calculate                      (ii) The average concentrations and
                                                                                                                                                               persons are off site.
                                                 municipal waste combustor unit                          percent reductions, as applicable,                      (2) The conditions that cause those
                                                 capacity using the following procedures:                including all 24-hour daily arithmetic                people to be off site.
                                                    (i) For municipal waste combustor                    average NOx
                                                                                                                   NOX emissions concentrations.                 (3) The corrective actions taken by the
                                                 units capable of combusting municipal                      (3) Identification of the calendar dates           owner or operator of the affected unit to
                                                 solid waste continuously for a 24-hour                  and times (hours) for which valid                     ensure a certified chief facility operator
                                                 period, municipal waste combustor unit                           NOX emissions, including
                                                                                                         hourly NOx                                            or certified shift supervisor is on site as
                                                 capacity shall be calculated based on 24                reasons for not obtaining the data and a              soon as practicable.
                                                 hours of operation at the maximum                       description of corrective actions taken.                (4) Copies of the reports submitted
                                                 charging rate. The maximum charging                        (4) Identification of each occurrence              every 4 weeks that summarize the
                                                 rate shall be determined as specified in                      NOX emissions data, or operational
                                                                                                         that NOx                                              actions taken by the owner or operator
                                                 paragraphs (e)(4)(i)(A) and (B) of this                 data (i.e., unit load) have been excluded             of the affected unit to ensure that a
                                                 section as applicable.                                  from the calculation of average                       certified chief facility operator or
                                                    (A) For combustors that are designed                 emissions concentrations or parameters,               certified shift supervisor will be on site
                                                 based on heat capacity, the maximum                     and the reasons for excluding the data.               as soon as practicable.
                                                 charging rate shall be calculated based                    (5) The results of daily drift tests and             (7) Records showing the names of
                                                 on the maximum design heat input                        quarterly accuracy determinations for                 persons who have completed a review
                                                 capacity of the unit and a heating value                CEMS, as required under 40 CFR part                   of the operating manual as required by
                                                 of 12,800 kilojoules per kilogram for                   60, appendix F, Procedure 1.                          40 CFR 60.54b(f) including the date of
                                                 combustors firing refuse-derived fuel                      (6) The following records:                         the initial review and subsequent
                                                 and a heating value of 10,500 kilojoules                   (i) Records showing the names of the               annual reviews.
                                                 per kilogram for combustors firing                      municipal waste combustor chief                         (8) Records of steps taken to minimize
                                                 municipal solid waste that is not refuse-               facility operator, shift supervisors, and             emissions during startup and shutdown
ddrumheller on DSK120RN23PROD with RULES2




                                                 derived fuel.                                           control room operators who have been                  as required by paragraph (d)(5) of this
                                                    (B) For combustors that are not                      provisionally certified by the American               section.
                                                 designed based on heat capacity, the                    Society of Mechanical Engineers or an                   (g) Reporting requirements. (1) If you
                                                 maximum charging rate shall be the                      equivalent State-approved certification               are the owner or operator of an affected
                                                 maximum design charging rate.                           program as required by 40 CFR                         unit, you must submit the results of the
                                                    (ii) For batch feed municipal waste                  60.54b(a) including the dates of initial              performance test or performance
                                                 combustor units, municipal waste                        and renewal certifications and                        evaluation of the CEMS following the
                                                 combustor unit capacity shall be                        documentation of current certification;               procedures specified in § 52.40(g)


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00236   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 275 of 430
                                                                     Federal Register / Vol. 88, No. 107/Monday,
                                                                                                     107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                           2023/Rules                                                              36889

                                                 within 60 days after the date of                        requirements are set forth under the                  Group 2 allowances equivalent in
                                                 completing each performance test                        CSAPR NOx NOX Ozone Season Group 3                    quantity and usability to all such
                                                 required by this section.                               Trading Program in subpart GGGGG of                   allowances allocated to units in the
                                                   (2) If you are the owner or operator of               part 97 of this chapter must comply                   State and Indian country within the
                                                 an affected unit, you shall submit an                   with such requirements with regard to                 borders of the State for control periods
                                                 annual report in PDF format to the EPA                  emissions occurring in 2023 and each                  after 2022) shall continue to apply.
                                                 by January 30th of each year via CEDRI                  subsequent year. The obligation to
                                                 or analogous electronic reporting                       comply with such requirements with                    Subpart E—Arkansas
                                                 approach provided by the EPA to report                  regard to sources and units in the State
                                                 data required by this section. Annual                   and areas of Indian country within the                ■
                                                                                                                                                               ■ 6. Amend § 52.184 by:
                                                 reports shall be submitted following the                                                      State’s         ■
                                                                                                                                                               ■ a. Redesignating paragraphs (a)
                                                                                                         borders of the State subject to the State's
                                                 procedures in § 52.40(g). The report                    SIP authority will be eliminated by the               through (c) as paragraphs (a)(1) through
                                                 shall include all information required                                                                        (3);
                                                                                                         promulgation of an approval by the
                                                 by paragraph (e) of this section,                                                                             ■
                                                                                                                                                               ■ b. In newly redesignated paragraph
                                                                                                         Administrator of a revision to Alabama's
                                                                                                                                           Alabama’s
                                                                                                                                                               (a)(2):
                                                 including CEMS data to demonstrate                      State Implementation Plan (SIP) as                    ■                ‘‘2017 and each
                                                                                                                                                               ■ i. Removing "2017
                                                 compliance with the applicable                          correcting the SIP’s
                                                                                                                         SIP's deficiency that is              subsequent year"
                                                                                                                                                                             year’’ and adding in its
                                                 emissions limits under paragraph (c) of                 the basis for the CSAPR Federal                       place "2017
                                                                                                                                                                       ‘‘2017 through 2022’’;
                                                                                                                                                                                       2022"; and
                                                 this section.                                           Implementation Plan (FIP) under                       ■
                                                                                                                                                               ■ ii. Removing the second sentence;
                                                                                                         § 52.38(b)(1) and (b)(2)(iii) for those               ■
                                                                                                                                                               ■ c. Revising newly redesignated
                                                 Subpart B—Alabama                                       sources and units, except to the extent               paragraph (a)(3); and
                                                                                                              Administrator’s approval is partial
                                                                                                         the Administrator's                                   ■
                                                                                                                                                               ■ d. Adding paragraphs (a)(4) and (5)
                                                 ■
                                                 ■ 5. Amend § 52.54 by revising
                                                 paragraphs (b)(2) and (3) and adding                    or conditional. The obligation to comply              and (b).
                                                 paragraphs (b)(4) and (5) to read as                    with such requirements with regard to                   The revision and additions read as
                                                 follows:                                                sources and units located in areas of                 follows:
                                                                                                         Indian country within the borders of the
                                                 §52.54
                                                 § 52.54 Interstate pollutant transport                  State not subject to the State's
                                                                                                                                   State’s SIP                 § 52.184 Interstate pollutant transport
                                                 provisions; What are the FIP requirements               authority will not be eliminated by the               provisions; What are the FIP requirements
                                                 for decreases in emissions of nitrogen                  promulgation of an approval by the                    for decreases in emissions of nitrogen
                                                 oxides?                                                                                                       oxides?
                                                                                                         Administrator of a revision to Alabama's
                                                                                                                                           Alabama’s
                                                 *
                                                 *      *
                                                        *    *
                                                             *     *     *                               SIP.                                                     (a) * * *
                                                    (b) *
                                                    (b) * *
                                                          * *
                                                            *                                               (4) Notwithstanding the provisions of                 (3) The owner and operator of each
                                                    (2) The owner and operator of each                   paragraphs (b)(2) and (3) of this section,            source and each unit located in the State
                                                 source and each unit located in the State               if, at the time of the approval of                    of Arkansas and for which requirements
                                                 of Alabama and Indian country within                    Alabama’s SIP revision described in
                                                                                                         Alabama's                                             are set forth under the CSAPR NOx NOX
                                                 the borders of the State and for which                  paragraph (b)(2) or (3) of this section,              Ozone Season Group 3 Trading Program
                                                 requirements are set forth under the                    the Administrator has already started                 in subpart GGGGG of part 97 of this
                                                 CSAPR NOxNOX Ozone Season Group 2                       recording any allocations of CSAPR                    chapter must comply with such
                                                 Trading Program in subpart EEEEE of                     NOX Ozone Season Group 2 allowances
                                                                                                         NOx                                                   requirements with regard to emissions
                                                 part 97 of this chapter must comply                     or CSAPR NOx NOX Ozone Season Group 3                 occurring in 2023 and each subsequent
                                                 with such requirements with regard to                   allowances under subpart EEEEE or                     year. The obligation to comply with
                                                 emissions occurring in 2017 through                     GGGGG, respectively, of part 97 of this               such requirements will be eliminated by
                                                 2022. The obligation to comply with                     chapter to units in the State and areas               the promulgation of an approval by the
                                                 such requirements with regard to                        of Indian country within the borders of               Administrator of a revision to Arkansas'
                                                                                                                                                                                                Arkansas’
                                                 sources and units in the State and areas                the State subject to the State’s
                                                                                                                                   State's SIP                 State Implementation Plan (SIP) as
                                                 of Indian country within the borders of                 authority for a control period in any                 correcting the SIP’s
                                                                                                                                                                               SIP's deficiency that is
                                                 the State subject to the State’s
                                                                           State's SIP                   year, the provisions of such subpart                  the basis for the CSAPR Federal
                                                 authority will be eliminated by the                     authorizing the Administrator to                      Implementation Plan (FIP) under
                                                 promulgation of an approval by the                      complete the allocation and recordation               § 52.38(b)(1) and (b)(2)(iii), except to the
                                                                                   Alabama’s
                                                 Administrator of a revision to Alabama's                of such allowances to such units for                  extent the Administrator's
                                                                                                                                                                           Administrator’s approval is
                                                 State Implementation Plan (SIP) as                      each such control period shall continue               partial or conditional.
                                                 correcting the SIP’s
                                                                 SIP's deficiency that is                to apply, unless provided otherwise by                   (4) Notwithstanding the provisions of
                                                 the basis for the CSAPR Federal                         such approval of the State’s
                                                                                                                                 State's SIP                   paragraph (a)(3) of this section, if, at the
                                                 Implementation Plan (FIP) under                         revision.                                                                       Arkansas’ SIP
                                                                                                                                                               time of the approval of Arkansas'
                                                 § 52.38(b)(1) and (b)(2)(ii) for those                     (5) Notwithstanding the provisions of              revision described in paragraph (a)(3) of
                                                 sources and units, except to the extent                 paragraph (b)(2) of this section, after               this section, the Administrator has
                                                      Administrator’s approval is partial
                                                 the Administrator's                                     2022 the provisions of § 97.826(c) of this            already started recording any allocations
                                                 or conditional. The obligation to comply                chapter (concerning the transfer of                   of CSAPR NOxNOX Ozone Season Group 3
                                                 with such requirements with regard to                   CSAPR NOx NOX Ozone Season Group 2                    allowances under subpart GGGGG of
                                                 sources and units located in areas of                   allowances between certain accounts                   part 97 of this chapter to units in the
                                                 Indian country within the borders of the                under common control), the provisions                 State for a control period in any year,
                                                 State not subject to the State’s
                                                                           State's SIP                   of § 97.826(e) of this chapter                        the provisions of subpart GGGGG of part
                                                                                                                                                               97 of this chapter authorizing the
ddrumheller on DSK120RN23PROD with RULES2




                                                 authority will not be eliminated by the                 (concerning the conversion of amounts
                                                 promulgation of an approval by the                      of unused CSAPR NOx  NOX Ozone Season                 Administrator to complete the
                                                                                   Alabama’s
                                                 Administrator of a revision to Alabama's                Group 2 allowances allocated for control              allocation and recordation of CSAPR
                                                 SIP.                                                    periods before 2023 to different amounts              NOX Ozone Season Group 3 allowances
                                                                                                                                                               NOx
                                                    (3) The owner and operator of each                   of CSAPR NOx NOX Ozone Season Group 3                 to such units for each such control
                                                 source and each unit located in the State               allowances), and the provisions of                    period shall continue to apply, unless
                                                 of Alabama and Indian country within                    § 97.811(e) of this chapter (concerning               provided otherwise by such approval of
                                                 the borders of the State and for which                  the recall of CSAPR NOxNOX Ozone Season               the State’s
                                                                                                                                                                    State's SIP revision.


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00237   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 276 of 430
                                                 36890               Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                    (5) Notwithstanding the provisions of                Subpart P—Indiana                                     of Indian country within the borders of
                                                 paragraph (a)(2) of this section, after                                                                       the State subject to the State’s
                                                                                                                                                                                         State's SIP
                                                 2022 the provisions of § 97.826(c) of this              •■ 9. Amend § 52.789 by:                              authority will be eliminated by the
                                                 chapter (concerning the transfer of                     •■ a. In paragraph (b)(2), removing                   promulgation of an approval by the
                                                 CSAPR NOxNOX Ozone Season Group 2                        ‘‘(b)(2)(iv), except’’
                                                                                                         "(b)(2)(iv),   except" and adding in its              Administrator of a revision to
                                                 allowances between certain accounts                      place "(b)(2)(ii),
                                                                                                                 ‘‘(b)(2)(ii), except";
                                                                                                                               except’’;                       Louisiana’s
                                                                                                                                                               Louisiana's State Implementation Plan
                                                 under common control), the provisions                   •■ b. In paragraph (b)(3), removing                   (SIP) as correcting the SIP's
                                                                                                                                                                                        SIP’s deficiency
                                                 of § 97.826(e) of this chapter                           ‘‘(b)(2)(v), except’’
                                                                                                         "(b)(2)(v),   except" and adding in its               that is the basis for the CSAPR Federal
                                                 (concerning the conversion of amounts                    place "(b)(2)(iii),
                                                                                                                 ‘‘(b)(2)(iii), except’’;
                                                                                                                                except"; and                   Implementation Plan (FIP) under
                                                 of unused CSAPR NOx NOX Ozone Season                    •■ c. Adding paragraph (c).                           § 52.38(b)(1) and (b)(2)(iii) for those
                                                 Group 2 allowances allocated for control                    The addition reads as follows:                    sources and units, except to the extent
                                                 periods before 2023 to different amounts                                                                      the Administrator's
                                                                                                                                                                    Administrator’s approval is partial
                                                                                                         § 52.789 Interstate pollutant transport
                                                            NOX Ozone Season Group 3
                                                 of CSAPR NOx                                            provisions; What are the FIP requirements             or conditional. The obligation to comply
                                                 allowances), and the provisions of                      for decreases in emissions of nitrogen                with such requirements with regard to
                                                 § 97.811(e) of this chapter (concerning                 oxides?                                               sources and units located in areas of
                                                 the recall of CSAPR NOx
                                                                       NOX Ozone Season                  *
                                                                                                         *      *
                                                                                                                *    *     *     *                             Indian country within the borders of the
                                                 Group 2 allowances equivalent in                                                                              State not subject to the State’s
                                                                                                                                                                                          State's SIP
                                                                                                            (c) The owner and operator of each
                                                 quantity and usability to all such                      source located in the State of Indiana                authority will not be eliminated by the
                                                 allowances allocated to units in the                                                                          promulgation of an approval by the
                                                                                                         and for which requirements are set forth
                                                 State for control periods after 2022)                   in § 52.40 and § 52.41, § 52.42, § 52.43,             Administrator of a revision to
                                                 shall continue to apply.                                                                                      Louisiana’s
                                                                                                                                                               Louisiana's SIP.
                                                    (b) The owner and
                                                                    and operator of each                 § 52.44, § 52.45, or § 52.46 must comply                 (4) Notwithstanding the provisions of
                                                                                                         with such requirements with regard to
                                                 source located in the State of Arkansas                                                                       paragraph (d)(3) of this section, if, at the
                                                                                                         emissions occurring in 2026 and each
                                                 and for which requirements are set forth                                                                      time of the approval of Louisiana’s
                                                                                                                                                                                          Louisiana's SIP
                                                 in § 52.40 and § 52.41, § 52.42, § 52.43,               subsequent year.                                      revision described in paragraph (d)(3) of
                                                 § 52.44, § 52.45, or § 52.46 must comply                Subpart S—Kentucky                                    this section, the Administrator has
                                                 with such requirements with regard to                                                                         already started recording any allocations
                                                 emissions occurring in 2026 and each                    •■ 10. Amend § 52.940 by:                             of CSAPR NOxNOX Ozone Season Group 3
                                                 subsequent year.                                        •■ a. In paragraph (b)(3), removing                   allowances under subpart GGGGG of
                                                                                                          ‘‘(b)(2)(v), except’’
                                                                                                         "(b)(2)(v),   except" and adding in its               part 97 of this chapter to units in the
                                                 Subpart F—California                                     place "(b)(2)(iii),
                                                                                                                 ‘‘(b)(2)(iii), except’’;
                                                                                                                                except"; and                   State and areas of Indian country within
                                                                                                         •■ b. Adding paragraph (c).                           the borders of the State subject to the
                                                 •■ 7. Add § 52.284 to read as follows:                                                                        State’s
                                                                                                             The addition reads as follows:                    State's SIP authority for a control period
                                                 § 52.284 Interstate pollutant transport                                                                       in any year, the provisions of subpart
                                                 provisions; What are the FIP requirements               § 52.940 Interstate pollutant transport               GGGGG of part 97 of this chapter
                                                 for decreases in emissions of nitrogen                  provisions; What are the FIP requirements             authorizing the Administrator to
                                                 oxides?                                                 for decreases in emissions of nitrogen                complete the allocation and recordation
                                                                                                         oxides?
                                                    The owner and operator of each                              *    *     *     *                             of CSAPR NOxNOX Ozone Season Group 3
                                                 source located in the State of California               *      *    *     *     *                             allowances to such units for each such
                                                 and Indian country within the borders                      (c) The owner and operator of each                 control period shall continue to apply,
                                                 of the State and for which requirements                 source located in the State of Kentucky               unless provided otherwise by such
                                                 are set forth in § 52.40 and § 52.41,                   and for which requirements are set forth              approval of the State’s
                                                                                                                                                                                 State's SIP revision.
                                                 § 52.42, § 52.43, § 52.44, § 52.45, or                  in § 52.40 and § 52.41, § 52.42, § 52.43,             *
                                                                                                                                                               *      *
                                                                                                                                                                      *     *     *
                                                                                                                                                                                  *     *
                                                                                                                                                                                        *
                                                 § 52.46 must comply with such                           § 52.44, § 52.45, or § 52.46 must comply                 (e) The owner and operator of each
                                                 requirements with regard to emissions                   with such requirements with regard to                 source located in the State of Louisiana
                                                 occurring in 2026 and each subsequent                   emissions occurring in 2026 and each                  and Indian country within the borders
                                                 year.                                                   subsequent year.                                      of the State and for which requirements
                                                                                                                                                               are set forth in § 52.40 and § 52.41,
                                                         O—Illinois
                                                 Subpart 0 —Illinois                                     Subpart T—Louisiana
                                                                                                                                                               § 52.42, § 52.43, § 52.44, § 52.45, or
                                                                                                         •■ 11. Amend § 52.984 by:                             § 52.46 must comply with such
                                                 •■ 8. Amend § 52.731 by:
                                                                                                         •■ a. In paragraph (d)(3), revising the               requirements with regard to emissions
                                                 •■ a. In paragraph (b)(3), removing
                                                  ‘‘(b)(2)(v), except’’
                                                  "(b)(2)(v),  except" and adding in its                 second and third sentences;                           occurring in 2026 and each subsequent
                                                  place "(b)(2)(iii),
                                                         ‘‘(b)(2)(iii), except’’;
                                                                        except"; and                     •■ b. Revising paragraph (d)(4);                      year.
                                                 •■ b. Adding paragraph (c).                             •■ c. In paragraph (d)(5), adding "and
                                                                                                                                            ‘‘and
                                                     The addition reads as follows:                       Indian country within the borders of the              Subpart V—Maryland
                                                                                                          State’’      ‘‘in the State’’;
                                                                                                          State" after "in      State"; and                    •■ 12. Amend § 52.1084 by:
                                                 § 52.731 Interstate pollutant transport                 •■ d. Adding paragraph (e).
                                                 provisions; What are the FIP requirements                                                                     •■ a. In paragraph (b)(3), removing
                                                                                                            The revision and addition read as                   ‘‘(b)(2)(v), except’’
                                                                                                                                                                "(b)(2)(v),  except" and adding in its
                                                 for decreases in emissions of nitrogen
                                                 oxides?                                                  follows:                                              place "(b)(2)(iii),
                                                                                                                                                                       ‘‘(b)(2)(iii), except’’;
                                                                                                                                                                                      except"; and
                                                 *
                                                 *      *
                                                        *    *     *     *                                                                                     •■ b. Adding paragraph (c).
                                                                                                         §52.984
                                                                                                         § 52.984 Interstate pollutant transport
                                                                                                                                                                   The addition reads as follows:
ddrumheller on DSK120RN23PROD with RULES2




                                                    (c) The owner and operator of each                   provisions; What are the FIP requirements
                                                 source located in the State of Illinois                 for decreases in emissions of nitrogen                § 52.1084 Interstate pollutant transport
                                                 and for which requirements are set forth                oxides?                                               provisions; What are the FIP requirements
                                                 in § 52.40 and § 52.41, § 52.42, § 52.43,               *
                                                                                                         *      *
                                                                                                                *    *     *     *                             for decreases in emissions of nitrogen
                                                 § 52.44, § 52.45, or § 52.46 must comply                   (d) * * *                                          oxides?
                                                 with such requirements with regard to                      (3) * * * The obligation to comply                 *
                                                                                                                                                               *      *
                                                                                                                                                                      *    *
                                                                                                                                                                           *     *     *
                                                 emissions occurring in 2026 and each                    with such requirements with regard to                    (c) The owner and operator of each
                                                 subsequent year.                                        sources and units in the State and areas              source located in the State of Maryland


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00238   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 277 of 430
                                                                     Federal Register / Vol. 88, No. 107/Monday,
                                                                                                     107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                           2023/Rules                                                             36891
                                                                                                                                                                                                  36891

                                                 and for which requirements are set forth                unless provided otherwise by such                      State’s
                                                                                                                                                                State's SIP authority for a control period
                                                 in § 52.40 and § 52.41, § 52.42, § 52.43,                                State’s SIP revision.
                                                                                                         approval of the State's                                in any year, the provisions of subpart
                                                 § 52.44, § 52.45, or § 52.46 must comply                *
                                                                                                         *     *
                                                                                                               *     *
                                                                                                                     *      *
                                                                                                                            *    *
                                                                                                                                 *                              GGGGG of part 97 of this chapter
                                                 with such requirements with regard to                     (f) The owner and operator of each                   authorizing the Administrator to
                                                 emissions occurring in 2026 and each                    source located in the State of Michigan                complete the allocation and recordation
                                                 subsequent year.                                        and Indian country within the borders                  of CSAPR NOx
                                                                                                                                                                           NOX Ozone Season Group 3
                                                                                                         of the State and for which requirements                allowances to such units for each such
                                                 Subpart X—Michigan                                      are set forth in § 52.40 and § 52.41,                  control period shall continue to apply,
                                                                                                         § 52.42, § 52.43, § 52.44, § 52.45, or                 unless provided otherwise by such
                                                 ■
                                                 ■ 13. Amend § 52.1186 by:
                                                                                                                                                                approval of the State’s
                                                                                                                                                                                State's SIP revision.
                                                 ■
                                                 ■ a. In paragraph (e)(3), revising the
                                                                                                         § 52.46 must comply with such
                                                 second and third sentences;                             requirements with regard to emissions
                                                                                                         occurring in 2026 and each subsequent                  Subpart Z—Mississippi
                                                 ■
                                                 ■ b. Revising paragraph (e)(4);
                                                                                                         year.                             ■
                                                                                                                                           ■ 15. Amend § 52.1284 by:
                                                 ■
                                                 ■ c. In paragraph (e)(5), adding "and
                                                                                   ‘‘and
                                                 Indian country within the borders of the                                                  ■
                                                                                                                                           ■ a. Redesignating paragraphs (a)
                                                                                              Subpart Y—Minnesota                          through (c) as paragraphs (a)(1) through
                                                 State’’
                                                 State" after "in
                                                              ‘‘in the State’’;
                                                                       State"; and
                                                 ■
                                                 ■ d. Adding paragraph (f).                   ■
                                                                                              ■ 14. Amend § 52.1240 by adding
                                                                                                                                           (3);
                                                   The revision and addition read as                                                       ■
                                                                                                                                           ■ b. In newly redesignated paragraph
                                                                                              paragraph (d) to read as follows:
                                                 follows:                                                                                  (a)(2):
                                                                                              §52.1240
                                                                                              § 52.1240 Interstate pollutant transport     ■                ‘‘2017 and each
                                                                                                                                           ■ i. Removing "2017
                                                 § 52.1186 Interstate pollutant transport     provisions; What are the FIP requirements    subsequent year"
                                                                                                                                                         year’’ and adding in its
                                                 provisions; What are the FIP requirements    for decreases in emissions of nitrogen       place "2017
                                                                                                                                                   ‘‘2017 through 2022’’;
                                                                                                                                                                   2022"; and
                                                 for decreases in emissions of nitrogen       oxides?                                      ■
                                                                                                                                           ■ ii. Removing the second and third
                                                 oxides?                                      *      *
                                                                                                     *    *     *     *                    sentences;
                                                 *
                                                 *      *
                                                        *     *     *     *                      (d)(1) The owner and operator of each ■   ■ c. Revising newly redesignated
                                                    (e) * * *                                 source and each unit located in the State paragraph (a)(3); and
                                                    (3) * * * The obligation to comply        of Minnesota and Indian country within ■     ■ d. Adding paragraphs (a)(4) and (5)
                                                 with such requirements with regard to        the borders of the State and for which       and (b).
                                                 sources and units in the State and areas requirements are set forth under the                The revision and additions read as
                                                 of Indian country within the borders of      CSAPR NOxNOX Ozone Season Group 3            follows:
                                                 the State subject to the State’s
                                                                           State's SIP        Trading Program in subpart GGGGG of          §52.1284
                                                                                                                                           § 52.1284 Interstate pollutant transport
                                                 authority will be eliminated by the          part 97 of this chapter must comply          provisions; What are the FIP requirements
                                                 promulgation of an approval by the           with such requirements with regard to        for decreases in emissions of nitrogen
                                                 Administrator of a revision to               emissions occurring in 2023 and each         oxides?
                                                 Michigan’s State Implementation Plan
                                                 Michigan's                                   subsequent year. The obligation to              (a) * * *
                                                 (SIP) as correcting the SIP's
                                                                          SIP’s deficiency    comply with such requirements with              (3) The owner and operator of each
                                                 that is the basis for the CSAPR Federal      regard to sources and units in the State     source and each unit located in the State
                                                 Implementation Plan (FIP) under              and areas of Indian country within the       of Mississippi and Indian country
                                                 § 52.38(b)(1) and (b)(2)(iii) for those                                           State’s within the borders of the State and for
                                                                                              borders of the State subject to the State's
                                                 sources and units, except to the extent      SIP authority will be eliminated by the      which requirements are set forth under
                                                      Administrator’s approval is partial
                                                 the Administrator's                          promulgation of an approval by the           the CSAPR NOx NOX Ozone Season Group 3
                                                 or conditional. The obligation to comply Administrator of a revision to                   Trading Program in subpart GGGGG of
                                                 with such requirements with regard to        Minnesota’s State Implementation Plan
                                                                                              Minnesota's                                  part 97 of this chapter must comply
                                                 sources and units located in areas of        (SIP) as correcting the SIP’s
                                                                                                                      SIP's deficiency     with such requirements with regard to
                                                 Indian country within the borders of the that is the basis for the CSAPR Federal          emissions occurring in 2023 and each
                                                 State not subject to the State’s
                                                                            State's SIP       Implementation Plan (FIP) under              subsequent year. The obligation to
                                                 authority will not be eliminated by the      § 52.38(b)(1) and (b)(2)(iii) for those      comply with such requirements with
                                                 promulgation of an approval by the           sources and units, except to the extent      regard to sources and units in the State
                                                 Administrator of a revision to                    Administrator’s approval is partial
                                                                                              the Administrator's                          and areas of Indian country within the
                                                 Michigan’s SIP.
                                                 Michigan's                                   or conditional. The obligation to comply borders of the State subject to the State’s
                                                                                                                                                                                 State's
                                                    (4) Notwithstanding the provisions of with such requirements with regard to            SIP authority will be eliminated by the
                                                 paragraph (e)(3) of this section, if, at the sources and units located in areas of        promulgation of an approval by the
                                                                            Michigan’s SIP
                                                 time of the approval of Michigan's           Indian country within the borders of the Administrator of a revision to
                                                 revision described in paragraph (e)(3) of State not subject to the State's
                                                                                                                       State’s SIP         Mississippi’s State Implementation Plan
                                                                                                                                           Mississippi's
                                                 this section, the Administrator has          authority will not be eliminated by the      (SIP) as correcting the SIP's
                                                                                                                                                                    SIP’s deficiency
                                                 already started recording any allocations promulgation of an approval by the              that is the basis for the CSAPR Federal
                                                 of CSAPR NOxNOX Ozone Season Group 3         Administrator of a revision to               Implementation Plan (FIP) under
                                                 allowances under subpart GGGGG of            Minnesota’s SIP.
                                                                                              Minnesota's                                  § 52.38(b)(1) and (b)(2)(iii) for those
                                                 part 97 of this chapter to units in the         (2) Notwithstanding the provisions of sources and units, except to the extent
                                                 State and areas of Indian country within paragraph (d)(1) of this section, if, at the the Administrator's
                                                                                                                                                Administrator’s approval is partial
                                                 the borders of the State subject to the      time of the approval of Minnesota's
                                                                                                                       Minnesota’s SIP     or conditional. The obligation to comply
                                                 State's SIP authority for a control period revision described in paragraph (d)(1) of with such requirements with regard to
                                                 State’s
ddrumheller on DSK120RN23PROD with RULES2




                                                 in any year, the provisions of subpart       this section, the Administrator has          sources and units located in areas of
                                                 GGGGG of part 97 of this chapter             already started recording any allocations Indian country within the borders of the
                                                 authorizing the Administrator to             of CSAPR NOxNOX Ozone Season Group 3         State not subject to the State’s
                                                                                                                                                                     State's SIP
                                                 complete the allocation and recordation allowances under subpart GGGGG of                 authority will not be eliminated by the
                                                 of CSAPR NOxNOX Ozone Season Group 3         part 97 of this chapter to units in the      promulgation of an approval by the
                                                 allowances to such units for each such       State and areas of Indian country within Administrator of a revision to
                                                 control period shall continue to apply,      the borders of the State subject to the      Mississippi’s SIP.
                                                                                                                                           Mississippi's


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00239   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 278 of 430
                                                 36892               Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                    (4) Notwithstanding the provisions of  are set forth under the CSAPR NOx NOX                               of CSAPR NOx
                                                                                                                                                                          NOX Ozone Season Group 3
                                                 paragraph (a)(3) of this section, if, at the
                                                                                           Ozone Season Group 2 Trading Program                                allowances), and the provisions of
                                                                          Mississippi’s SIP
                                                 time of the approval of Mississippi's     in subpart EEEEE of part 97 of this                                 § 97.811(e) of this chapter (concerning
                                                 revision described in paragraph (a)(3) of chapter must comply with such                                       the recall of CSAPR NOx
                                                                                                                                                                                     NOX Ozone Season
                                                 this section, the Administrator has       requirements with regard to emissions                               Group 2 allowances equivalent in
                                                 already started recording any allocations occurring in 2017 through 2022. The                                 quantity and usability to all such
                                                            NOX Ozone Season Group 3
                                                 of CSAPR NOx                              obligation to comply with such                                      allowances allocated to units in the
                                                 allowances under subpart GGGGG of         requirements will be eliminated by the                              State for control periods after 2022)
                                                 part 97 of this chapter to units in the   promulgation of an approval by the                                  shall continue to apply.
                                                 State and areas of Indian country within  Administrator of a revision to Missouri's
                                                                                                                            Missouri’s                            (c) The owner and operator of each
                                                 the borders of the State subject to the   State Implementation Plan (SIP) as                                  source located in the State of Missouri
                                                 State’s
                                                 State's SIP authority for a control periodcorrecting the SIP’s
                                                                                                           SIP's deficiency that is                            and for which requirements are set forth
                                                 in any year, the provisions of subpart    the basis for the CSAPR Federal                                     in § 52.40 and § 52.41, § 52.42, § 52.43,
                                                 GGGGG of part 97 of this chapter          Implementation Plan (FIP) under                                     § 52.44, § 52.45, or § 52.46 must comply
                                                 authorizing the Administrator to          § 52.38(b)(1) and (b)(2)(ii), except to the                         with such requirements with regard to
                                                 complete the allocation and recordation   extent the Administrator's
                                                                                                        Administrator’s approval is                            emissions occurring in 2026 and each
                                                 of CSAPR NOx
                                                            NOX Ozone Season Group 3       partial or conditional.                                             subsequent year.
                                                 allowances to such units for each such       (3) The owner and operator of each
                                                 control period shall continue to apply,   source and each unit located in the State                            Subpart DD—Nevada
                                                 unless provided otherwise by such         of Missouri and for which requirements
                                                                                                                                                               ■
                                                                                                                                                               ■ 17. Add § 52.1492 to read as follows:
                                                 approval of the State’s
                                                                  State's SIP revision.    are set forth under the CSAPR NOx NOX
                                                    (5) Notwithstanding the provisions of  Ozone Season Group 3 Trading Program                                § 52.1492 Interstate pollutant transport
                                                 paragraph (a)(2) of this section, after   in subpart GGGGG of part 97 of this                                 provisions; What are the FIP requirements
                                                 2022 the provisions of § 97.826(c) of thischapter must comply with such                                       for decreases in emissions of nitrogen
                                                 chapter (concerning the transfer of       requirements with regard to emissions                               oxides?
                                                 CSAPR NOxNOX Ozone Season Group 2         occurring in 2023 and each subsequent                                  (a)(1) The owner and operator of each
                                                 allowances between certain accounts       year. The obligation to comply with                                 source and each unit located in the State
                                                 under common control), the provisions     such requirements will be eliminated by                             of Nevada and Indian country within
                                                 of § 97.826(e) of this chapter            the promulgation of an approval by the                              the borders of the State and for which
                                                 (concerning the conversion of amounts     Administrator of a revision to Missouri's
                                                                                                                            Missouri’s                         requirements are set forth under the
                                                 of unused CSAPR NOx NOX Ozone Season      State Implementation Plan (SIP) as                                  CSAPR NOx NOX Ozone Season Group 3
                                                 Group 2 allowances allocated for control  correcting the SIP’s
                                                                                                           SIP's deficiency that is                            Trading Program in subpart GGGGG of
                                                 periods before 2023 to different amounts  the basis for the CSAPR Federal                                     part 97 of this chapter must comply
                                                            NOX Ozone Season Group 3
                                                 of CSAPR NOx                              Implementation Plan (FIP) under                                     with such requirements with regard to
                                                 allowances), and the provisions of        § 52.38(b)(1) and (b)(2)(iii), except to the                        emissions occurring in 2023 and each
                                                 § 97.811(e) of this chapter (concerning   extent the Administrator's
                                                                                                        Administrator’s approval is                            subsequent year. The obligation to
                                                 the recall of CSAPR NOx
                                                                       NOX Ozone Season    partial or conditional.                                             comply with such requirements with
                                                 Group 2 allowances equivalent in             (4) Notwithstanding the provisions of                            regard to sources and units in the State
                                                 quantity and usability to all such        paragraphs (b)(2) and (3) of this section,                          and areas of Indian country within the
                                                 allowances allocated to units in the      if, at the time of the approval of                                  borders of the State subject to the State’s
                                                                                                                                                                                                    State's
                                                 State and Indian country within the       Missouri’s SIP revision described in
                                                                                           Missouri's                                                          SIP authority will be eliminated by the
                                                 borders of the State for control periods  paragraph (b)(2) or (3) of this section,                            promulgation of an approval by the
                                                 after 2022) shall continue to apply.      the Administrator has already started                                                                 Nevada’s
                                                                                                                                                               Administrator of a revision to Nevada's
                                                    (b) The owner and operator of each     recording any allocations of CSAPR                                  State Implementation Plan (SIP) as
                                                 source located in the State of            NOX Ozone Season Group 2 allowances
                                                                                           NOx                                                                 correcting the SIP’s
                                                                                                                                                                               SIP's deficiency that is
                                                 Mississippi and Indian country within     or CSAPR NOx NOX Ozone Season Group 3                               the basis for the CSAPR Federal
                                                 the borders of the State and for which    allowances under subpart EEEEE or                                   Implementation Plan (FIP) under
                                                 requirements are set forth in § 52.40 and GGGGG, respectively, of part 97 of this                             § 52.38(b)(1) and (b)(2)(iii) for those
                                                                                           chapter to units in the State for a control
                                                 § 52.41, § 52.42, § 52.43, § 52.44, § 52.45,                                                                  sources and units, except to the extent
                                                 or § 52.46 must comply with such          period in any year, the provisions of                                    Administrator’s approval is partial
                                                                                                                                                               the Administrator's
                                                 requirements with regard to emissions     such subpart authorizing the                                        or conditional. The obligation to comply
                                                 occurring in 2026 and each subsequent     Administrator to complete the                                       with such requirements with regard to
                                                 year.                                     allocation and recordation of such                                  sources and units located in areas of
                                                                                           allowances to such units for each such                              Indian country within the borders of the
                                                 Subpart AA—Missouri                       control period shall continue to apply,                             State not subject to the State’s
                                                                                                                                                                                        State's SIP
                                                                                           unless provided otherwise by such                                   authority will not be eliminated by the
                                                 ■
                                                 ■ 16. Amend § 52.1326 by revising
                                                                                           approval of the State's
                                                                                                             State’s SIP revision.                             promulgation of an approval by the
                                                 paragraph (b)(2) and (3) and adding          (5) Notwithstanding the provisions of                                                              Nevada’s
                                                                                                                                                               Administrator of a revision to Nevada's
                                                 paragraphs (b)(4) and (5) and (c) to read paragraph (b)(2) of this section, after                             SIP.
                                                 as follows:                               2022 the provisions of § 97.826(c) of this                             (2) Notwithstanding the provisions of
                                                 § 52.1326 Interstate pollutant transport  chapter (concerning the transfer of                                 paragraph (a)(1) of this section, if, at the
ddrumheller on DSK120RN23PROD with RULES2




                                                 provisions; What are the FIP requirements CSAPR NOx NOX Ozone Season Group 2                                                           Nevada’s SIP
                                                                                                                                                               time of the approval of Nevada's
                                                 for decreases in emissions of nitrogen    allowances between certain accounts                                 revision described in paragraph (a)(1) of
                                                 oxides?                                   under common control), the provisions                               this section, the Administrator has
                                                 *
                                                 *
                                                        **    **   *     *                 of § 97.826(e) of this chapter                                      already started recording any allocations
                                                    (b) *
                                                    (b) * ** *
                                                             *                             (concerning the conversion of amounts                               of CSAPR NOxNOX Ozone Season Group 3
                                                    (2) The owner and operator of each     of unused CSAPR NOx  NOX Ozone Season                               allowances under subpart GGGGG of
                                                 source and each unit located in the State Group 2 allowances allocated for control                            part 97 of this chapter to units in the
                                                 of Missouri and for which requirements periods before 2023 to different amounts                               State and areas of Indian country within


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00240   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 279 of 430
                                                                     Federal Register / Vol. 88, No. 107/Monday,
                                                                                                     107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                           2023/Rules                                                              36893

                                                 the borders of the State subject to the     promulgation of an approval by the                                § 52.44, § 52.45, or § 52.46 must comply
                                                 State’s SIP authority for a control period
                                                 State's                                     Administrator of a revision to New                                with such requirements with regard to
                                                 in any year, the provisions of subpart      York’s State Implementation Plan (SIP)
                                                                                             York's                                                            emissions occurring in 2026 and each
                                                 GGGGG of part 97 of this chapter            as correcting the SIP's
                                                                                                                   SIP’s deficiency that is                    subsequent year.
                                                 authorizing the Administrator to            the basis for the CSAPR Federal
                                                 complete the allocation and recordation     Implementation Plan (FIP) under                                    Subpart LL—Oklahoma
                                                 of CSAPR NOxNOX Ozone Season Group 3        § 52.38(b)(1) and (b)(2)(iii) for those
                                                                                                                                                               ■
                                                                                                                                                               ■ 21. Amend § 52.1930 by:
                                                 allowances to such units for each such      sources and units, except to the extent                           ■
                                                                                                                                                               ■ a. Redesignating paragraphs (a)
                                                 control period shall continue to apply,          Administrator’s approval is partial
                                                                                             the Administrator's                                               through (c) as paragraphs (a)(1) through
                                                 unless provided otherwise by such           or conditional. The obligation to comply                          (3);
                                                                                                                                                               (3);
                                                 approval of the State’s
                                                                   State's SIP revision.     with such requirements with regard to                             ■
                                                                                                                                                               ■ b. In newly redesignated paragraph
                                                    (b) The owner and operator of each       sources and units located in areas of                             (a)(2):
                                                 source located in the State of Nevada       Indian country within the borders of the                          ■                ‘‘2017 and each
                                                                                                                                                               ■ i. Removing "2017
                                                 and Indian country within the borders       State not subject to the State's
                                                                                                                          State’s SIP                          subsequent year"
                                                                                                                                                                             year’’ and adding in its
                                                 of the State and for which requirements     authority will not be eliminated by the                           place "2017
                                                                                                                                                                       ‘‘2017 through 2022’’;
                                                                                                                                                                                       2022"; and
                                                 are set forth in § 52.40 and § 52.41,       promulgation of an approval by the                                ■
                                                                                                                                                               ■ ii. Removing the second and third
                                                 § 52.42, § 52.43, § 52.44, § 52.45, or      Administrator of a revision to New                                sentences;
                                                 § 52.46 must comply with such               York’s SIP.
                                                                                             York's                                                            ■
                                                                                                                                                               ■ c. Revising newly redesignated
                                                 requirements with regard to emissions          (4) Notwithstanding the provisions of                          paragraph (a)(3); and
                                                 occurring in 2026 and each subsequent       paragraph (b)(3) of this section, if, at the                      ■
                                                                                                                                                               ■ d. Adding paragraphs (a)(4) and (5)
                                                 year.                                       time of the approval of New York'sYork’s SIP                      and (b).
                                                                                             revision described in paragraph (b)(3) of                           The revision and additions read as
                                                 Subpart FF—New Jersey                       this section, the Administrator has                               follows:
                                                                                             already started recording any allocations
                                                 ■
                                                 ■ 18. Amend § 52.1584 by:
                                                                                             of CSAPR NOx NOX Ozone Season Group 3                             § 52.1930 Interstate pollutant transport
                                                 ■
                                                 ■ a. In paragraph (e)(3), removing                                                                            provisions; What are the FIP requirements
                                                                                             allowances under subpart GGGGG of                                 for decreases in emissions of nitrogen
                                                 ‘‘(b)(2)(v), except’’
                                                 "(b)(2)(v),   except" and adding in its     part 97 of this chapter to units in the
                                                 place "(b)(2)(iii),
                                                         ‘‘(b)(2)(iii), except";
                                                                        except’’; and                                                                          oxides?
                                                                                             State and areas of Indian country within                             (a) * * *
                                                 ■
                                                 ■ b. Adding paragraph (f).
                                                                                             the borders of the State subject to the
                                                    The addition reads as follows:                                                                                (3) The owner and operator of each
                                                                                             State’s
                                                                                             State's SIP authority for a control period                        source and each unit located in the State
                                                 § 52.1584 Interstate pollutant transport    in any year, the provisions of subpart                            of Oklahoma and Indian country within
                                                 provisions; What are the FIP requirements   GGGGG of part 97 of this chapter                                  the borders of the State and for which
                                                 for decreases in emissions of nitrogen      authorizing the Administrator to                                  requirements are set forth under the
                                                 oxides?                                     complete the allocation and recordation                           CSAPR NOxNOX Ozone Season Group 3
                                                 *
                                                 *      *
                                                        *       *
                                                                *      *
                                                                       *     *
                                                                             *               of CSAPR NOx NOX Ozone Season Group 3                             Trading Program in subpart GGGGG of
                                                    (f) The owner and operator of each       allowances to such units for each such                            part 97 of this chapter must comply
                                                 source located in the State of New Jersey control period shall continue to apply,                             with such requirements with regard to
                                                 and for which requirements are set forth unless provided otherwise by such                                    emissions occurring in 2023 and each
                                                 in § 52.40 and § 52.41, § 52.42, § 52.43,                      State’s SIP revision.
                                                                                             approval of the State's                                           subsequent year. The obligation to
                                                 § 52.44, § 52.45, or § 52.46 must comply *  *      *
                                                                                                    *      *
                                                                                                           *      *
                                                                                                                  *     *
                                                                                                                        *                                      comply with such requirements with
                                                 with such requirements with regard to          (c) The owner and operator of each                             regard to sources and units in the State
                                                 emissions occurring in 2026 and each        source located in the State of New York                           and areas of Indian country within the
                                                 subsequent year.                            and Indian country within the borders                             borders of the State subject to the State’s
                                                                                                                                                                                                     State's
                                                                                             of the State and for which requirements                           SIP authority will be eliminated by the
                                                 Subpart HH—New York                         are set forth in § 52.40 and § 52.41,                             promulgation of an approval by the
                                                                                             § 52.42, § 52.43, § 52.44, § 52.45, or                            Administrator of a revision to
                                                 ■
                                                 ■ 19. Amend § 52.1684 by:
                                                                                             § 52.46 must comply with such                                     Oklahoma’s State Implementation Plan
                                                                                                                                                               Oklahoma's
                                                 ■
                                                 ■ a. In paragraph (b)(3), revising the
                                                                                             requirements with regard to emissions                             (SIP) as correcting the SIP's
                                                                                                                                                                                        SIP’s deficiency
                                                 second and third sentences;
                                                                                             occurring in 2026 and each subsequent                             that is the basis for the CSAPR Federal
                                                 ■
                                                 ■ b. Revising paragraph (b)(4);
                                                                                             year.                                                             Implementation Plan (FIP) under
                                                 ■
                                                 ■ c. In paragraph (b)(5), adding "and ‘‘and
                                                 Indian country within the borders of the Subpart KK—Ohio                                                      § 52.38(b)(1) and (b)(2)(iii) for those
                                                 State’’
                                                 State" after "in‘‘in the State’’;
                                                                          State"; and                                                                          sources and units, except to the extent
                                                 ■                                                                                                                  Administrator’s approval is partial
                                                                                                                                                               the Administrator's
                                                 ■ d. Adding paragraph (c).                  ■
                                                                                             ■ 20. Amend § 52.1882 by:
                                                                                                                                                               or conditional. The obligation to comply
                                                    The revision and addition read as        ■
                                                                                             ■ a. In paragraph (b)(3), removing
                                                 follows:                                    ‘‘(b)(2)(v), except"
                                                                                                          except’’ and adding in its                           with such requirements with regard to
                                                                                             "(b)(2)(v),
                                                                                                    ‘‘(b)(2)(iii), except’’;                                   sources and units located in areas of
                                                                                             place "(b)(2)(iii),   except"; and
                                                 § 52.1684 Interstate pollutant transport    ■
                                                                                             ■ b. Adding paragraph (c).
                                                                                                                                                               Indian country within the borders of the
                                                 provisions; What are the FIP requirements                                                                     State not subject to the State’s
                                                                                                                                                                                         State's SIP
                                                 for decreases in emissions of nitrogen         The addition reads as follows:
                                                                                                                                                               authority will not be eliminated by the
                                                 oxides?                                     § 52.1882 Interstate pollutant transport                          promulgation of an approval by the
                                                 *      *       *
ddrumheller on DSK120RN23PROD with RULES2




                                                 *      *       *      *     *               provisions; What are the FIP requirements                         Administrator of a revision to
                                                    (b) *   *
                                                    (b) * * *  *                             for decreases in emissions of nitrogen                            Oklahoma’s SIP.
                                                                                                                                                               Oklahoma's
                                                    (3) * * * The obligation to comply       oxides?                                                              (4) Notwithstanding the provisions of
                                                 with such requirements with regard to       *      *
                                                                                                    *      *      *     *                                      paragraph (a)(3) of this section, if, at the
                                                 sources and units in the State and areas       (c) The owner and operator of each                                                       Oklahoma’s SIP
                                                                                                                                                               time of the approval of Oklahoma's
                                                 of Indian country within the borders of     source located in the State of Ohio and                           revision described in paragraph (a)(3) of
                                                 the State subject to the State’s
                                                                              State's SIP    for which requirements are set forth in                           this section, the Administrator has
                                                 authority will be eliminated by the         § 52.40 and § 52.41, § 52.42, § 52.43,                            already started recording any allocations


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00241   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 280 of 430
                                                 36894               Federal Register / Vol. 88, No. 107/Monday,
                                                                                                     107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                           2023/Rules

                                                 of CSAPR NOxNOX Ozone Season Group 3                    occurring in 2026 and each subsequent
                                                                                                                                             in any year, the provisions of subpart
                                                 allowances under subpart GGGGG of                       year.                               GGGGG of part 97 of this chapter
                                                 part 97 of this chapter to units in the                                                     authorizing the Administrator to
                                                 State and areas of Indian country within     Subpart SS—Texas                               complete the allocation and recordation
                                                 the borders of the State subject to the                                                     of CSAPR NOxNOX Ozone Season Group 3
                                                                                              ■
                                                                                              ■ 23. Amend § 52.2283 by:
                                                 State’s
                                                 State's SIP authority for a control period   ■
                                                                                              ■ a. In paragraph (d)(2):
                                                                                                                                             allowances    to such units for each such
                                                 in any year, the provisions of subpart       ■
                                                                                              ■ i. Removing "2017
                                                                                                              ‘‘2017 and each                control period shall continue to apply,
                                                 GGGGG of part 97 of this chapter                          year’’ and adding in its
                                                                                              subsequent year"                               unless provided otherwise by such
                                                 authorizing the Administrator to                    ‘‘2017 through 2022’’;
                                                                                              place "2017             2022"; and             approval of the State’s
                                                                                                                                                               State's SIP revision.
                                                 complete the allocation and recordation      ■
                                                                                              ■ ii. Removing the second and third
                                                                                                                                                (5) Notwithstanding the provisions of
                                                 of CSAPR NOxNOX Ozone Season Group 3         sentences;                                     paragraph (d)(2) of this section, after
                                                 allowances to such units for each such       ■
                                                                                              ■ b. Revising paragraph (d)(3); and            2022 the provisions of § 97.826(c) of this
                                                 control period shall continue to apply,      ■
                                                                                              ■ c. Adding paragraphs (d)(4) and (5)          chapter (concerning the transfer of
                                                 unless provided otherwise by such            and (e).                                       CSAPR NOx NOX Ozone Season Group 2
                                                 approval of the State’s
                                                                   State's SIP revision.         The revision and additions read as          allowances between certain accounts
                                                    (5) Notwithstanding the provisions of     follows:                                       under common control), the provisions
                                                 paragraph (a)(2) of this section, after                                                     of § 97.826(e) of this chapter
                                                 2022 the provisions of § 97.826(c) of this   § 52.2283 Interstate pollutant transport       (concerning the conversion of amounts
                                                                                              provisions; What are the FIP requirements      of unused CSAPR NOx  NOX Ozone Season
                                                 chapter (concerning the transfer of          for decreases in emissions of nitrogen
                                                 CSAPR NOxNOX Ozone Season Group 2                                                           Group 2 allowances allocated for control
                                                                                              oxides?                                        periods before 2023 to different amounts
                                                 allowances between certain accounts          *
                                                                                              *      *
                                                                                                     *    *
                                                                                                          *      *
                                                                                                                 *     *
                                                                                                                       *
                                                 under common control), the provisions                                                       of CSAPR NOxNOX Ozone Season Group 3
                                                                                                 (d) * * *                                   allowances), and the provisions of
                                                 of § 97.826(e) of this chapter                  (3) The owner and operator of each
                                                 (concerning the conversion of amounts                                                       § 97.811(e) of this chapter (concerning
                                                                                              source and each unit located in the State the recall of CSAPR NOx     NOX Ozone Season
                                                 of unused CSAPR NOx NOX Ozone Season         of Texas and Indian country within the
                                                 Group 2 allowances allocated for control                                                    Group 2 allowances equivalent in
                                                                                              borders of the State and for which             quantity and usability to all such
                                                 periods before 2023 to different amounts     requirements are set forth under the
                                                 of CSAPR NOxNOX Ozone Season Group 3                                                        allowances allocated to units in the
                                                                                              CSAPR NOx NOX Ozone Season Group 3             State and Indian country within the
                                                 allowances), and the provisions of           Trading Program in subpart GGGGG of
                                                 § 97.811(e) of this chapter (concerning                                                     borders of the State for control periods
                                                                                              part 97 of this chapter must comply            after 2022) shall continue to apply.
                                                 the recall of CSAPR NOxNOX Ozone Season      with such requirements with regard to             (e) The owner and operator of each
                                                 Group 2 allowances equivalent in             emissions occurring in 2023 and each           source located in the State of Texas and
                                                 quantity and usability to all such           subsequent year. The obligation to             Indian country within the borders of the
                                                 allowances allocated to units in the         comply with such requirements with             State and for which requirements are set
                                                 State and Indian country within the          regard to sources and units in the State       forth in § 52.40 and § 52.41, § 52.42,
                                                 borders of the State for control periods     and areas of Indian country within the         § 52.43, § 52.44, § 52.45, or § 52.46 must
                                                 after 2022) shall continue to apply.                                                State’s comply with such requirements with
                                                                                              borders of the State subject to the State's
                                                    (b) The owner and operator of each        SIP authority will be eliminated by the        regard to emissions occurring in 2026
                                                 source located in the State of Oklahoma      promulgation of an approval by the             and each subsequent year.
                                                 and Indian country within the borders        Administrator of a revision to Texas’
                                                                                                                                 Texas'
                                                 of the State and for which requirements      State Implementation Plan (SIP) as             Subpart TT—Utah
                                                 are set forth in § 52.40 and § 52.41,        correcting the SIP’s
                                                                                                              SIP's deficiency that is
                                                 § 52.42, § 52.43, § 52.44, § 52.45, or       the basis for the CSAPR Federal                ■
                                                                                                                                             ■ 24. Add § 52.2356 to read as follows:
                                                 § 52.46 must comply with such                Implementation Plan (FIP) under                § 52.2356 Interstate pollutant transport
                                                 requirements with regard to emissions        § 52.38(b)(1) and (b)(2)(iii) for those        provisions; What are the FIP requirements
                                                 occurring in 2026 and each subsequent        sources and units, except to the extent        for decreases in emissions of nitrogen
                                                 year.                                             Administrator’s approval is partial
                                                                                              the Administrator's                            oxides?
                                                                                              or conditional. The obligation to comply          (a)(1) The owner and operator of each
                                                 Subpart NN—Pennsylvania
                                                                                              with such requirements with regard to          source and each unit located in the State
                                                 ■
                                                 ■ 22. Amend § 52.2040 by:
                                                                                              sources and units located in areas of          of Utah and Indian country within the
                                                 ■
                                                 ■ a. In paragraph (b)(3), removing
                                                                                              Indian country within the borders of the borders of the State and for which
                                                 ‘‘(b)(2)(v), except’’
                                                 "(b)(2)(v),  except" and adding in its       State not subject to the State's
                                                                                                                         State’s SIP         requirements are set forth under the
                                                 place "(b)(2)(iii),
                                                        ‘‘(b)(2)(iii), except";
                                                                       except’’; and          authority  will not  be eliminated   by  the   CSAPR     NOX Ozone Season Group 3
                                                                                                                                                       NOx
                                                 ■
                                                 ■  b. Adding    paragraph  (c).              promulgation    of an  approval  by  the       Trading   Program in subpart GGGGG of
                                                    The addition reads as follows:            Administrator    of a revision to  Texas’
                                                                                                                                 Texas'      part  97 of this chapter must comply
                                                                                              SIP.                                           with such requirements with regard to
                                                 § 52.2040 Interstate pollutant transport        (4) Notwithstanding the provisions of emissions occurring in 2023 and each
                                                 provisions; What are the FIP requirements    paragraph (d)(3) of this section, if, at the subsequent year. The obligation to
                                                 for decreases in emissions of nitrogen       time of the approval of Texas'
                                                                                                                         Texas’ SIP          comply with such requirements with
                                                 oxides?                                      revision described in paragraph (d)(3) of regard to sources and units in the State
                                                 *
                                                 *      *
                                                        *      *      *    *
ddrumheller on DSK120RN23PROD with RULES2




                                                                                              this section, the Administrator has            and areas of Indian country within the
                                                    (c) The owner and operator of each        already started recording any allocations borders of the State subject to the State’s
                                                                                                                                                                                  State's
                                                 source located in the State of               of CSAPR NOxNOX Ozone Season Group 3           SIP authority will be eliminated by the
                                                 Pennsylvania and for which                   allowances under subpart GGGGG of              promulgation of an approval by the
                                                 requirements are set forth in § 52.40 and part 97 of this chapter to units in the                                             Utah’s
                                                                                                                                             Administrator of a revision to Utah's
                                                 § 52.41, § 52.42, § 52.43, § 52.44, § 52.45, State and areas of Indian country within State Implementation Plan (SIP) as
                                                 or § 52.46 must comply with such             the borders of the State subject to the        correcting the SIP’s
                                                                                                                                                              SIP's deficiency that is
                                                 requirements with regard to emissions        State's SIP authority for a control period the basis for the CSAPR Federal
                                                                                              State’s


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00242   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 281 of 430
                                                                     Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                      36895

                                                 Implementation Plan (FIP) under                         ■
                                                                                                         ■ a. In paragraph (b)(3), removing           authority will not be eliminated by the
                                                 § 52.38(b)(1) and (b)(2)(iii) for those                 ‘‘(b)(2)(v), except"
                                                                                                         "(b)(2)(v),  except’’ and adding in its      promulgation of an approval by the
                                                 sources and units, except to the extent                        ‘‘(b)(2)(iii), except’’;
                                                                                                         place "(b)(2)(iii),   except"; and           Administrator of a revision to
                                                      Administrator’s approval is partial
                                                 the Administrator's                                     ■
                                                                                                         ■ b. Adding paragraph (c).                   Wisconsin’s SIP.
                                                                                                                                                      Wisconsin's
                                                 or conditional. The obligation to comply                   The addition reads as follows:               (4) Notwithstanding the provisions of
                                                 with such requirements with regard to                                                                paragraph (e)(3) of this section, if, at the
                                                                                                         §52.2540
                                                                                                         § 52.2540 Interstate pollutant transport
                                                                                                                                                                                 Wisconsin’s SIP
                                                 sources and units located in areas of                   provisions; What are the FIP requirements    time of the approval of Wisconsin's
                                                 Indian country within the borders of the                for decreases in emissions of nitrogen       revision  described   in paragraph  (e)(3) of
                                                 State not subject to the State’s
                                                                          State's SIP                    oxides?                                      this section, the Administrator has
                                                 authority will not be eliminated by the                 *      *
                                                                                                                *     *      *    *                   already started recording any allocations
                                                 promulgation of an approval by the                         (c) The owner and operator of each        of CSAPR NOx NOX Ozone Season Group 3
                                                 Administrator of a revision to Utah’s
                                                                                   Utah's                source located in the State of West          allowances    under subpart GGGGG of
                                                 SIP.                                                    Virginia and for which requirements are part 97 of this chapter to units in the
                                                    (2) Notwithstanding the provisions of                                                             State and areas of Indian country within
                                                                                                         set forth in § 52.40 and § 52.41, § 52.42,
                                                 paragraph (a)(1) of this section, if, at the
                                                                                                         § 52.43, § 52.44, § 52.45, or § 52.46 must the borders of the State subject to the
                                                 time of the approval of Utah’s
                                                                          Utah's SIP                                                                  State’s
                                                                                                                                                      State's SIP authority for a control period
                                                                                                         comply with such requirements with
                                                 revision described in paragraph (a)(1) of                                                            in any year, the provisions of subpart
                                                                                                         regard to emissions occurring in 2026
                                                 this section, the Administrator has                     and each subsequent year.                    GGGGG of part 97 of this chapter
                                                 already started recording any allocations                                                            authorizing the Administrator to
                                                 of CSAPR NOxNOX Ozone Season Group 3                    Subpart YY—Wisconsin                         complete the allocation and recordation
                                                 allowances under subpart GGGGG of                                                                    of CSAPR NOx NOX Ozone Season Group 3
                                                 part 97 of this chapter to units in the                 ■
                                                                                                         ■ 27. Amend § 52.2587 by:                    allowances to such units for each such
                                                 State and areas of Indian country within                ■
                                                                                                         ■ a. In paragraph (e)(2):                    control period shall continue to apply,
                                                 the borders of the State subject to the                 ■
                                                                                                         ■ i. Removing "2017
                                                                                                                          ‘‘2017 and each             unless provided otherwise by such
                                                 State’s
                                                 State's SIP authority for a control period                            year’’ and adding in its
                                                                                                         subsequent year"                             approval of the State’s
                                                                                                                                                                        State's SIP revision.
                                                 in any year, the provisions of subpart                  place "2017
                                                                                                                 ‘‘2017 through 2022’’;
                                                                                                                                 2022"; and              (5) Notwithstanding the provisions of
                                                 GGGGG of part 97 of this chapter                        ■
                                                                                                         ■ ii. Removing the second and third          paragraph (e)(2) of this section, after
                                                 authorizing the Administrator to                        sentences;                                   2022 the provisions of § 97.826(c) of this
                                                 complete the allocation and recordation                 ■
                                                                                                         ■ b. Revising paragraph (e)(3); and          chapter (concerning the transfer of
                                                 of CSAPR NOxNOX Ozone Season Group 3                    ■
                                                                                                         ■ c. Adding paragraphs (e)(4) and (5).       CSAPR NOx NOX Ozone Season Group 2
                                                 allowances to such units for each such                     The revision and additions read as        allowances between certain accounts
                                                 control period shall continue to apply,                 follows:                                     under common control), the provisions
                                                 unless provided otherwise by such                       § 52.2587 Interstate pollutant transport     of § 97.826(e) of this chapter
                                                 approval of the State’s
                                                                  State's SIP revision.                  provisions; What are the FIP requirements    (concerning the conversion of amounts
                                                    (b) The owner and operator of each                   for decreases in emissions of nitrogen       of unused CSAPR NOx   NOX Ozone Season
                                                 source located in the State of Utah and                 oxides?                                      Group 2 allowances allocated for control
                                                 Indian country within the borders of the                *
                                                                                                         *      *
                                                                                                                *     *      *    *                   periods before 2023 to different amounts
                                                 State and for which requirements are set                   (e) * * *                                 of CSAPR NOx NOX Ozone Season Group 3
                                                 forth in § 52.40 and § 52.41, § 52.42,                     (3) The owner and operator of each        allowances), and the provisions of
                                                 § 52.43, § 52.44, § 52.45, or § 52.46 must              source and each unit located in the State § 97.811(e) of this chapter (concerning
                                                 comply with such requirements with                      of Wisconsin and Indian country within the recall of CSAPR NOx      NOX Ozone Season
                                                 regard to emissions occurring in 2026                   the borders of the State and for which       Group 2 allowances equivalent in
                                                 and each subsequent year.                               requirements are set forth under the         quantity and usability to all such
                                                                                                         CSAPR NOx  NOX Ozone Season Group 3          allowances allocated to units in the
                                                         VV—Virginia
                                                 Subpart W—Virginia                                                                                   State and Indian country within the
                                                                                                         Trading Program in subpart GGGGG of
                                                 ■
                                                 ■ 25. Amend § 52.2440 by:                               part 97 of this chapter must comply          borders of the State for control periods
                                                 ■
                                                 ■ a. In paragraph (b)(3), removing                      with such requirements with regard to        after 2022) shall continue to apply.
                                                 ‘‘(b)(2)(v), except’’
                                                 "(b)(2)(v),  except" and adding in its                  emissions occurring in 2023 and each
                                                                                                                                                      PART 75—CONTINUOUS EMISSION
                                                 place "(b)(2)(iii),
                                                        ‘‘(b)(2)(iii), except";
                                                                       except’’; and                     subsequent year. The obligation to
                                                                                                                                                      MONITORING
                                                 ■
                                                 ■ b. Adding paragraph (c).                              comply with such requirements with
                                                    The addition reads as follows:                       regard to sources and units in the State     ■
                                                                                                                                                      ■ 28. The authority citation for part 75
                                                                                                         and areas of Indian country within the       is revised to read as follows:
                                                 §52.2440
                                                 § 52.2440 Interstate pollutant transport                                                     State’s
                                                                                                         borders of the State subject to the State's
                                                 provisions; What are the FIP requirements                                                               Authority: 42 U.S.C. 7401–7671q
                                                                                                                                                                              7401-7671q and
                                                 for decreases in emissions of nitrogen                  SIP authority will be eliminated by the
                                                                                                                                                      7651k note.
                                                 oxides?                                                 promulgation of an approval by the
                                                 *      *                                                Administrator of a revision to                          H—NOX Mass Emissions
                                                                                                                                                      Subpart H—NOx
                                                 *      *    *     *     *
                                                                                                         Wisconsin’s State Implementation Plan
                                                                                                         Wisconsin's                                  Provisions
                                                    (c) The owner and operator of each
                                                                                                         (SIP) as correcting the SIP’s
                                                                                                                                  SIP's deficiency
                                                 source located in the State of Virginia
                                                 and for which requirements are set forth
                                                                                                         that is the basis for the CSAPR Federal      ■
                                                                                                                                                      ■ 29. Amend § 75.72 by:

                                                 in § 52.40 and § 52.41, § 52.42, § 52.43,
                                                                                                         Implementation Plan (FIP) under              ■
                                                                                                                                                      ■ a. In paragraph (c)(3), removing
                                                                                                         § 52.38(b)(1) and (b)(2)(iii) for those
ddrumheller on DSK120RN23PROD with RULES2




                                                 § 52.44, § 52.45, or § 52.46 must comply                                                             ‘‘appendix B of this part’’
                                                                                                                                                      "appendix              part" and adding in
                                                 with such requirements with regard to
                                                                                                         sources and units, except to the extent      its place "appendix
                                                                                                                                                                 ‘‘appendix B to this part’’;
                                                                                                                                                                                      part";
                                                 emissions occurring in 2026 and each
                                                                                                              Administrator’s approval is partial
                                                                                                         the Administrator's                          ■
                                                                                                                                                      ■ b. In paragraph (e)(1)(ii), removing
                                                                                                         or conditional. The obligation to comply "heat
                                                                                                                                                      ‘‘heat input from"
                                                                                                                                                                     from’’ and adding in its
                                                 subsequent year.
                                                                                                         with such requirements with regard to        place "heat
                                                                                                                                                             ‘‘heat input rate to";
                                                                                                                                                                                to’’;
                                                 Subpart XX—West Virginia                                sources and units located in areas of        ■
                                                                                                                                                      ■ c. In paragraph (e)(2), removing
                                                                                                         Indian country within the borders of the "appendix
                                                                                                                                                      ‘‘appendix D of this part"
                                                                                                                                                                             part’’ and adding in
                                                 ■
                                                 ■ 26. Amend § 52.2540 by:                               State not subject to the State's
                                                                                                                                   State’s SIP        its place "appendix
                                                                                                                                                                 ‘‘appendix D to this part’’;
                                                                                                                                                                                       part"; and


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00243   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 282 of 430
                                                 36896
                                                 36896                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 ■
                                                 ■ d. Adding paragraph (f).                              information in § 75.53(h)(1)(ii) and                  or before September 30 of the previous
                                                   The addition reads as follows:                        (h)(2)(ii) in hardcopy format. For units              year:
                                                                                                         using the low mass emissions excepted                    (A) Daily NOx
                                                                                                                                                                             NOX emissions (lbs) for each
                                                 §75.72
                                                 § 75.72 Determination of NOx
                                                                          NOX mass                                                                             day of the reporting period;
                                                 emissions for common stack and multiple
                                                                                                         methodology under § 75.19, the
                                                                                                         monitoring plan shall include the                        (B) Daily heat input (mmBtu) for each
                                                 stack configurations.
                                                                                                         additional information in § 75.53(h)(4)(i)            day of the reporting period;
                                                 *
                                                 *     *
                                                       *     *
                                                             *     *
                                                                   *   *
                                                                                                         and (ii). The monitoring plan also shall                 (C) Daily average NOx
                                                                                                                                                                                     NOX emission rate
                                                    (f) Procedures for apportioning    hourly
                                                                        apportioning hourly                                                                    (lb/mmBtu, rounded to the nearest
                                                                                                         include a seasonal controls indicator
                                                 NO
                                                 NOx  X mass emission rate to the unit                                                                         thousandth) for each day of the
                                                                                                         and an ozone season fuel-switching flag.
                                                 level. If the owner or operator of a unit                                                                     reporting period;
                                                                                                         *      *
                                                                                                                *      *
                                                                                                                       *   *
                                                                                                                           *      *
                                                                                                                                  *
                                                 determining hourly NOx NOX mass emission                  (f) * ** **                                            (D) Daily NOx
                                                                                                                                                                             NOX emissions (lbs)
                                                 rate at a common stack under this                         (f) *
                                                                                                           (1) Electronic submission. The                      exceeding the applicable backstop daily
                                                 section is subject to a State or Federal                                                                      NOX emission rate for each day of the
                                                                                                                                                               NOx
                                                 NOX mass emissions reduction program
                                                 NOx                                                     designated representative for an affected
                                                                                                         unit shall electronically report the data             reporting period;
                                                 under subpart GGGGG of part 97 of this                                                                           (E) Cumulative NOx
                                                                                                                                                                                   NOX emissions (tons,
                                                 chapter or under a state implementation                 and information in this paragraph (f)(1)
                                                                                                         and in paragraphs (f)(2) and (3) of this              rounded to the nearest tenth) exceeding
                                                 plan approved pursuant to                                                                                     the applicable backstop daily NOxNOX
                                                 § 52.38(b)(12) of this chapter, then on                 section to the Administrator quarterly,
                                                                                                         unless the unit has been placed in long-              emission rate during the ozone season;
                                                 and after January 1, 2024, the owner or                                                                       and
                                                 operator shall apportion the hourly NOx  NOX            term cold storage (as defined in § 72.2
                                                                                                                                                                  (F) Cumulative NOx
                                                                                                                                                                                   NOX emissions (tons,
                                                 mass emissions rate at the common                       of this chapter). Each electronic report
                                                                                                                                                               rounded to the nearest tenth) exceeding
                                                 stack to each unit using the common                     must be submitted to the Administrator
                                                                                                         within 30 days following the end of                   the applicable backstop daily NOxNOX
                                                 stack based on the ratio of the hourly                                                                        emission rate during the ozone season
                                                 heat input rate for each such unit to the               each calendar quarter. Each electronic
                                                                                                                                                               by more than 50 tons, calculated as the
                                                 total hourly heat input rate for all such               report shall include the information
                                                                                                                                                               remainder of the amount calculated
                                                 units, in conjunction with the                          provided in paragraphs (f)(1)(i) through
                                                                                                                                                               under paragraph (f)(1)(x)(E) of this
                                                 appropriate unit and stack operating                    (x) of this section and shall also include
                                                                                                         the date of report generation. A unit                 section minus 50, but not less than zero.
                                                 times, according to the procedures in                                                                            (2) Verification of identification codes
                                                 section 8.5.3 of appendix F to this part.               placed into long-term cold storage is
                                                                                                                                                               and formulas.
                                                                                                                                                                    formulas. * * *
                                                 *      *      *     *    *                              exempted from submitting quarterly                       (4) Electronic format, method of
                                                 *      *      *     *    *                              reports beginning with the calendar
                                                 ■
                                                 ■ 30. Amend § 75.73 by:                                                                                       submission, and explanatory
                                                                                                                                                                                  explanatory
                                                                                                         quarter following the quarter in which
                                                 ■
                                                 ■ a. Revising paragraph (a)(3);                                                                               information. The designated
                                                                                                         the unit is placed into long-term cold                representative shall comply with all of
                                                 ■
                                                 ■ b. In paragraph (c)(1), removing "NOx
                                                                                       ‘‘NOX             storage, provided that the owner or
                                                 emissions’’ and adding in its place
                                                 emissions"                                                                                                    the quarterly reporting requirements in
                                                                                                         operator shall submit quarterly reports               § 75.64(d), (f), and (g).
                                                 ‘‘NOX emissions";
                                                 "NOx    emissions’’;                                    for the unit beginning with the data
                                                 ■
                                                 ■ c. Adding a heading to paragraph
                                                                                                         from the quarter in which the unit                    ■
                                                                                                                                                               ■ 31. Revise § 75.75 to read as follows:
                                                 (c)(2);                                                 recommences operation (where the                      § 75.75 Additional ozone season
                                                                                                                                                               §75.75
                                                 ■
                                                 ■ d. Revising paragraphs (c)(3) and (f)(1)
                                                                                                         initial quarterly report contains hourly              calculation procedures.
                                                 introductory text;                                      data beginning with the first hour of
                                                 ■
                                                 ■ e. Removing and reserving paragraph                                                                           (a) The owner or operator of a unit
                                                                                                         recommenced operation of the unit).                   that is required to calculate daily or
                                                 (f)(1)(i)(B);
                                                 ■
                                                 ■ f. In paragraph (f)(1)(ii)(G), removing               *      *
                                                                                                                *      *
                                                                                                                       *   *
                                                                                                                           *      *
                                                                                                                                  *                            ozone season heat input shall do so by
                                                 ‘‘appendix D;"
                                                 "appendix     D;’’ and adding in its place                (ix) On and after on January 1, 2024,               summing the unit’s
                                                                                                                                                                              unit's hourly heat input
                                                 ‘‘appendix D to this part";
                                                 "appendix               part;’’;                        for a unit subject to subpart GGGGG of                determined according to the procedures
                                                 ■
                                                 ■ g. Adding paragraphs (f)(1)(ix) and (x);              part 97 of this chapter or a state                    in this part for all hours in which the
                                                 ■
                                                 ■ h. Adding a heading to paragraph                      implementation plan approved under                    unit operated during the day or ozone
                                                 (f)(2); and                                             § 52.38(b)(12) of this chapter and                    season.
                                                 ■
                                                 ■ i. Revising paragraph (f)(4).                         determining NOx NOX mass emission rate at               (b) The owner or operator of a unit
                                                    The revisions and additions read as                  a common stack, apportioned hourly                    that is required to determine daily or
                                                 follows:                                                NOX mass emission rate for the unit, lb/
                                                                                                         NOx                                                                  NOX emission rate (in lbs/
                                                                                                                                                               ozone season NOx
                                                                                                         hr.                                                   mmBtu) shall do so by dividing daily or
                                                 § 75.73 Recordkeeping and reporting.                       (x) On and after January 1, 2024, for              ozone season NOx
                                                                                                                                                                              NOX mass emissions (in
                                                   (a) * * *                                             a unit that is subject to subpart GGGGG               lbs) determined in accordance with this
                                                   (3) For each hour when the unit is                    of part 97 of this chapter or a state                 subpart, by daily or ozone season heat
                                                              NOX mass emission rate,
                                                 operating, NOx                                          implementation plan approved under                    input determined in accordance with
                                                 calculated in accordance with section 8                 § 52.38(b)(12) of this chapter, that lists            paragraph (a) of this section.
                                                 of appendix F to this part.                             coal or a solid coal-derived fuel as a fuel           ■
                                                                                                                                                               ■ 32. Amend appendix F to part 75 by:
                                                 *
                                                 *     *
                                                       *      *
                                                              *     *
                                                                    *     *
                                                                          *                                      unit’s monitoring plan under
                                                                                                         in the unit's                                         ■
                                                                                                                                                               ■ a. Adding section 5.3.3;
                                                   (c) * * *                                             § 75.53 for any portion of the ozone                  ■
                                                                                                                                                               ■ b. In section 8.1.2, revising the
                                                   (2) Monitoring plan updates. * * *                    season in the year for which data are                 introductory text preceding Equation F– F-
                                                   (3) Contents of the monitoring plan.                  being reported, that serves a generator of            25;
                                                                                                         100 MW or larger nameplate capacity,
ddrumheller on DSK120RN23PROD with RULES2




                                                 Each monitoring plan shall contain the                                                                        ■ c. In section 8.4, revising the
                                                 information in § 75.53(g)(1) in electronic              and that is not a circulating fluidized               introductory text, paragraph (a)
                                                 format and the information in                           bed boiler, provided that through                     introductory text (preceding Equation
                                                 § 75.53(g)(2) in hardcopy format. In                    December 31, 2029, the requirements                   F–27),
                                                                                                                                                               F-27), and paragraph (b) introductory
                                                 addition, to the extent applicable, each                under this paragraph (f)(1)(x) shall                  text (preceding Equation F–27a)
                                                                                                                                                                                           F-27a) and
                                                 monitoring plan shall contain the                       apply to a unit in a given calendar year              adding paragraph (c);
                                                 information in § 75.53(h)(1)(i) and                     only if the unit also was equipped with               ■
                                                                                                                                                               ■ d. In section 8.5.2, removing "the
                                                                                                                                                                                                 ‘‘the
                                                 (h)(2)(i) in electronic format and the                  selective catalytic reduction controls on                      NOX mass emissions at each
                                                                                                                                                               hourly NOx


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00244   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                             Document #2009836                             Filed: 07/27/2023                Page 283 of 430
                                                                       Federal Register / Vol.
                                                                                          Vol. 88,
                                                                                               88, No.
                                                                                                   No. 107
                                                                                                       107 //Monday,
                                                                                                             Monday, June
                                                                                                                     June 5,
                                                                                                                          5, 2023
                                                                                                                             2023 //Rules
                                                                                                                                    Rules and
                                                                                                                                          and Regulations
                                                                                                                                              Regulations                                               36897

                                                 unit’’ and adding in its place "hourly
                                                 unit"                          ‘‘hourly                  Appendix F to Part 75—Conversion                         5.3 Heat Input Summation (for Heat Input
                                                 NOX mass emissions at the common
                                                 NOx                                                      Procedures                                               Determined Using a Flow Monitor and
                                                 stack’’; and
                                                 stack";                                                                                                           Diluent Monitor)
                                                                                                          *      *      *       *      *                           *
                                                                                                                                                                   *      *
                                                                                                                                                                          *     *
                                                                                                                                                                                *     *
                                                                                                                                                                                      *     *
                                                                                                                                                                                            *
                                                 •■ e. Adding section 8.5.3.                                                                                         5.3.3 Calculate total daily heat input for
                                                                                                          5. Procedures for Heat Input
                                                   The additions and revisions read as                    *     *     *     *      *                               a unit using a flow monitor and diluent
                                                                                                          *     *     *     *      *                               monitor to calculate heat input, using the
                                                 follows:
                                                                                                                                                                   following equation:

                                                                                                                                                               24

                                                                                                                                                    Hid =           H Ihth
                                                                                                                                                              h=1


                                                                                            (Eq. F-18c)

                                                 Where:                                                                      NOX Mass Emissions
                                                                                                          8. Procedures for NOx                                    to calculate quarterly, cumulative ozone
                                                 HId = Total heat input for a unit for the day,
                                                 HId                                                      *
                                                                                                          *      *
                                                                                                                 *     *
                                                                                                                       *      *
                                                                                                                              *     *
                                                                                                                                    *                                                                   NOX
                                                                                                                                                                   season, and cumulative year-to-date NOx
                                                      mmBtu.                                                         NOX emission rate is measured at
                                                                                                            8.1.2 If NOx                                           mass emissions in tons.
                                                 HIhn = Heat input rate for the unit for hour "h"
                                                                                              ‘‘h’’       a common stack and heat input rate is                    *
                                                                                                                                                                   *      *
                                                                                                                                                                          *     *
                                                                                                                                                                                *     *
                                                                                                                                                                                      *      *
                                                                                                                                                                                             *
                                                      from Equation F–15,
                                                                      F-15, F–16,
                                                                             F-16, F–17,
                                                                                   F-17, F–18,
                                                                                          F-18,           measured at the unit level, calculate the                   (b) When hourly NOx
                                                                                                                                                                                       NOX mass emission rate
                                                      F–21a,
                                                      F-21a, or F–21b
                                                                 F-21b to this appendix,                  hourly heat input rate at the common stack               is reported in lb/hr, use Eq. F–27a
                                                                                                                                                                                                 F-27a to this
                                                                                                          according to the following formula:
                                                      mmBtu/hr.                                           *      *     *      *     *                              appendix to calculate quarterly, cumulative
                                                 th = Unit operating time, fraction of the hour
                                                 th                                                       *      *     *      *     *                              ozone season, and cumulative year-to-date
                                                      (0.00 to 1.00, in equal increments from               8.4 Use the following equations to                     NO
                                                                                                                                                                   NOx X mass emissions in tons.
                                                                                                          calculate daily, quarterly, cumulative ozone
                                                      one hundredth to one quarter of an hour,                                                                     *
                                                                                                                                                                   *      *
                                                                                                                                                                          *     *
                                                                                                                                                                                *     **     **
                                                                                                          season, and cumulative year-to-date NOxNOX
                                                      at the option of the owner or operator).                                                                       (c) To calculate daily NOx
                                                                                                                                                                                            NOX mass emissions
                                                                                                          mass emissions:
                                                 h = Designation of a particular hour.                                        NOX mass emissions are               for a unit in pounds, use Eq. F–27b
                                                                                                                                                                                                 F-27b to this
                                                                                                             (a) When hourly NOx
                                                 *
                                                 *
                                                        *
                                                        *
                                                               *
                                                               *
                                                                       *
                                                                       *
                                                                              *
                                                                              *
                                                                                                          reported in lb., use Eq. F–27
                                                                                                                                   F-27 to this appendix           appendix.


                                                                                                                                                              24

                                                                                                                                           M(Nox)d       =   h=1
                                                                                                                                                                    E(NOX)h th



                                                                                        (Eq. F-27b)

                                                 Where:                                                   th = Unit operating time, fraction of the hour
                                                                                                          th                                                         8.5.3 Where applicable, the owner or
                                                 M (NOX)d =
                                                 M(NOX)d   = NOx
                                                             NOX mass emissions for a unit for                 (0.00 to 1.00, in equal increments from             operator of a unit that determines hourly
                                                     the day, pounds.                                          one hundredth to one quarter of an hour,            NOX mass emission rate at a common stack
                                                                                                                                                                   NOx
                                                                                                               at the option of the owner or operator).                                     NOX mass emissions
                                                                                                                                                                   shall apportion hourly NOx
                                                 E(NOX)h == NOx
                                                 E(Nox)h    NOX mass emission rate for the unit
                                                                                                          h = Designation of a particular hour.                    rate to the units using the common stack
                                                     for hour "h"
                                                               ‘‘h’’ from Equation F–24a,
                                                                                    F-24a, F–
                                                                                           F-
                                                                                                                 *      *      *     *                             based on the hourly heat input rate, using
                                                     26a, F–26b,
                                                            F-26b, or F–28,
                                                                       F-28, lb/hr.                       *      *      *      *     *                             Equation F–28
                                                                                                                                                                              F-28 to this appendix:



                                                                                                                              E(NOx)ti = E(NOX)cs
                                                                                                                                                             (tcs)[       Hli ti    I
                                                                                                                                                                         .1 HI-t-
                                                                                                                                                                      E 1t=1  t


                                                                                  (Eq. F-28)

                                                 Where:                                                        quarter of an hour, at the option of the                 78—APPEAL PROCEDURES
                                                                                                                                                                   PART 78—APPEAL
                                                 E(NOX)i =
                                                 Easrox)  = Apportioned NO  NOxX mass emission
                                                                                                               owner or operator).
                                                                                                                                                                                                                  ER05JN23.005</GPH>




                                                      rate for the hour for unit "i",
                                                                                   ‘‘i’’, lb/hr.          tCS = Common stack operating time, fraction
                                                                                                          tcs                                                      •■ 33. The authority citation for part 78
                                                 E (NOX)CS =    NOX mass emission rate for the
                                                             = NOx                                             of the hour (0.00 to 1.00, in equal
                                                 E(Nox)cs                                                                                                           continues to read as follows:
ddrumheller on DSK120RN23PROD with RULES2




                                                      hour at the common stack, lb/hr.                         increments from one hundredth to one
                                                 HIi = Heat input rate for the hour for unit
                                                 1111                                                          quarter of an hour, at the option of the              Authority: 42 U.S.C. 7401–7671q.
                                                                                                                                                                                          7401-7671q.
                                                      ‘‘i’’,’’ from Equation F–15,
                                                      "i","                   F-15, F–16,
                                                                                      F-16, F–17,
                                                                                              F-17,            owner or operator).
                                                                                                                                                                                                                  ER05JN23.004</GPH>




                                                                                                                                                                   •■ 34. Amend § 78.1 by:
                                                      F–18,
                                                      F-18, F–21a,
                                                                F-21a, or F–21b
                                                                          F-21b to this appendix,         n = Number of units using the common stack.
                                                      mmBtu/hr.                                           i = Designation of a particular unit.                    •■ a. In paragraphs (b)(13)(i), (b)(14)(i),
                                                 ti = Operating time for unit "i",
                                                                                ‘‘i’’, fraction of               *     *      *      *                              (b)(15)(i), (b)(16)(i), and (b)(17)(i),
                                                                                                          *      *     *      *      *
                                                      the hour (0.00 to 1.00, in equal                                                                              removing "decision
                                                                                                                                                                                ‘‘decision on the"
                                                                                                                                                                                               the’’ and adding
                                                                                                                                                                    in its place "calculation
                                                                                                                                                                                  ‘‘calculation of an";
                                                                                                                                                                                                   an’’;
                                                                                                                                                                                                                  ER05JN23.003</GPH>




                                                      increments from one hundredth to one


                                            VerDate Sep<11>2014    20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00245   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023                Page 284 of 430
                                                 36898                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 •■ b. In paragraph (b)(17)(viii), adding                 Program’’, removing "(b)(2)(iii)
                                                                                                         Program",                ‘‘(b)(2)(iii) and (iv),       Subpart BBBBB—CSAPR NOx NOX Ozone
                                                  ‘‘or (e)"
                                                  "or   (e)’’ after "§97.826(d)";
                                                                    ‘‘§ 97.826(d)’’;                      and’’ and adding in its place "(b)(2)(ii),
                                                                                                         and"                               ‘‘(b)(2)(ii),                    1 Trading Program
                                                                                                                                                                Season Group 1
                                                 •■ c. In paragraph (b)(17)(ix), adding "or ‘‘or          and’’; and
                                                                                                         and";
                                                  (e)’’        ‘‘§ 97.811(d)’’;
                                                  (e)" after "§97.811(d)";                                                                                     § 97.502 [Amended]
                                                                                                         •■ c. In the definition of "CSAPR
                                                                                                                                     ‘‘CSAPR NOxNOX
                                                 •■ d. In paragraph (b)(18)(i), removing                  Ozone Season Group 3 Trading                         •■ 40. Amend § 97.502 by:
                                                  ‘‘decision on the"
                                                  "decision         the’’ and adding in its               Program’’, removing "(b)(2)(v),
                                                                                                         Program",                ‘‘(b)(2)(v), and"
                                                                                                                                               and’’ and       •■ a. In the definition of "CSAPR
                                                                                                                                                                                              ‘‘CSAPR NOx NOX
                                                  place "calculation
                                                          ‘‘calculation of an";
                                                                             an’’; and                   adding in its place "(b)(2)(iii),
                                                                                                                               ‘‘(b)(2)(iii), and".
                                                                                                                                              and’’.            Ozone Season Group 1 Trading
                                                 •■ e. Revising paragraph (b)(19).                                                                              Program’’,
                                                                                                                                                                Program", removing "(b)(2)(i)
                                                                                                                                                                                           ‘‘(b)(2)(i) and (ii),
                                                     The revision reads as follows:                      § 97.411 [Amended]                                     and’’ and adding in its place "(b)(2)(i),
                                                                                                                                                                and"                                  ‘‘(b)(2)(i),
                                                 § 78.1 Purpose and scope.                                                                                      and’’;
                                                                                                                                                                and";
                                                                                                         •■ 37. Amend § 97.411 by:                             •■ b. In the definition of "CSAPR
                                                                                                                                                                                              ‘‘CSAPR NOx NOX
                                                 *       *    *     *    *                               •■ a. In paragraphs (b)(1)(i)(A) and (B),              Ozone Season Group 2 Trading
                                                    (b) *
                                                    (b)  * *
                                                           * *
                                                             *                                                       ‘‘State, in accordance"
                                                                                                          removing "State,        accordance’’ and              Program’’,
                                                                                                                                                                Program", removing "(b)(2)(iii)
                                                                                                                                                                                           ‘‘(b)(2)(iii) and (iv),
                                                    (19) Under subpart GGGGG of part 97                  adding in its place "State
                                                                                                                                ‘‘State and areas of
                                                 of this chapter:                                                                                               and’’ and adding in its place "(b)(2)(ii),
                                                                                                                                                                and"                                  ‘‘(b)(2)(ii),
                                                                                                          Indian country within the borders of the              and’’;
                                                                                                                                                                and";
                                                    (i) The calculation of a dynamic
                                                                                                          State subject to the State’s
                                                                                                                                 State's SIP authority,        •■ c. In the definition of "CSAPR
                                                                                                                                                                                              ‘‘CSAPR NOx NOX
                                                 trading budget under § 97.1010(a)(4) of
                                                                                                             accordance’’; and
                                                                                                          in accordance";                                       Ozone Season Group 3 allowance":
                                                                                                                                                                                              allowance’’:
                                                 this chapter.
                                                    (ii) The calculation of an allocation of             •■ b. In paragraphs (b)(2)(i)(A) and (B),                            ‘‘or (e)’’
                                                                                                                                                               •■ i. Adding "or                 ‘‘§ 97.826(d)’’;
                                                                                                                                                                                   (e)" after "§97.826(d)";
                                                 CSAPR NOx NOX Ozone Season Group 3                                  ‘‘Indian country within the
                                                                                                          removing "Indian                                      and
                                                 allowances under § 97.1011 or § 97.1012                 borders of a State, in accordance"
                                                                                                                                   accordance’’ and                            ‘‘or less’’
                                                                                                                                                               •■ ii. Adding "or                   ‘‘one ton";
                                                                                                                                                                                    less" after "one      ton’’;
                                                                                                         adding in its place "areas
                                                                                                                                ‘‘areas of Indian              •■ d. In the definition of "CSAPR
                                                                                                                                                                                              ‘‘CSAPR NOx NOX
                                                 of this chapter.
                                                    (iii) The decision on the transfer of                 country within the borders of a State not             Ozone Season Group 3 Trading
                                                 CSAPR NOx NOX Ozone Season Group 3                      subject to the State’s
                                                                                                                          State's SIP authority, in             Program’’,
                                                                                                                                                                Program", removing "(b)(2)(v),
                                                                                                                                                                                           ‘‘(b)(2)(v), and"
                                                                                                                                                                                                         and’’ and
                                                 allowances under § 97.1023 of this                       accordance’’.
                                                                                                         accordance".                                           adding in its place "(b)(2)(iii),
                                                                                                                                                                                        ‘‘(b)(2)(iii), and";
                                                                                                                                                                                                        and’’; and
                                                                                                                                                               •■ e. In the definition of "State",
                                                                                                                                                                                              ‘‘State’’,
                                                 chapter.
                                                    (iv) The decision on the deduction of                § 97.412 [Amended]                                     removing "(b)(2)(i)
                                                                                                                                                                           ‘‘(b)(2)(i) and (ii), and"and’’ and
                                                 CSAPR NOx NOX Ozone Season Group 3                                                                             adding in its place "(b)(2)(i),
                                                                                                                                                                                        ‘‘(b)(2)(i), and".
                                                                                                                                                                                                      and’’.
                                                                                                         •■ 38. Amend § 97.412 by:
                                                 allowances under § 97.1024, § 97.1025,                                                                        § 97.511 [Amended]
                                                                                                         •■ a. In paragraph (a) introductory text,
                                                 or § 97.1026(d) of this chapter.
                                                    (v) The correction of an error in an                  removing "State,
                                                                                                                      ‘‘State, the Administrator"
                                                                                                                                   Administrator’’             •■ 41. Amend § 97.511 by:
                                                 Allowance Management System account                     and adding in its place "State
                                                                                                                                    ‘‘State and areas          •■ a. In paragraphs (b)(1)(i)(A) and (B),
                                                 under § 97.1027 of this chapter.                         of Indian country within the borders of               removing "State,
                                                                                                                                                                           ‘‘State, in accordance"
                                                                                                                                                                                        accordance’’ and
                                                    (vi) The adjustment of information in                the State subject to the State’s
                                                                                                                                    State's SIP                 adding in its place "State
                                                                                                                                                                                      ‘‘State and areas of
                                                 a submission and the decision on the                     authority, the Administrator";
                                                                                                                           Administrator’’;                     Indian country within the borders of the
                                                 deduction and transfer of CSAPR NOx  NOX                •■ b. In paragraphs (a)(3)(iii) and (a)(5),            State subject to the State's
                                                                                                                                                                                       State’s SIP authority,
                                                 Ozone Season Group 3 allowances                                   ‘‘and areas of Indian country
                                                                                                         adding "and                                            in accordance";
                                                                                                                                                                   accordance’’; and
                                                 based on the information as adjusted                    within the borders of the State subject               •■ b. In paragraphs (b)(2)(i)(A) and (B),
                                                 under § 97.1028 of this chapter.                        to the State’s
                                                                                                                  State's SIP authority"
                                                                                                                               authority’’ after "in
                                                                                                                                                 ‘‘in the       removing "Indian
                                                                                                                                                                           ‘‘Indian country within the
                                                    (vii) The finalization of control period              State’’;
                                                                                                          State";                                              borders of a State, in accordance"
                                                                                                                                                                                         accordance’’ and
                                                 emissions data, including retroactive                                                                          adding in its place "areas
                                                                                                                                                                                      ‘‘areas of Indian
                                                                                                         •■ c. In paragraph (a)(10), removing                   country within the borders of a State not
                                                 adjustment based on audit.                               ‘‘State, is allocated"
                                                                                                         "State,      allocated’’ and adding in its
                                                    (viii) The approval or disapproval of                                                                      subject to the State’s
                                                                                                                                                                                State's SIP authority, in
                                                                                                          place "State
                                                                                                                 ‘‘State and areas of Indian country            accordance’’.
                                                 a petition under § 97.1035 of this                                                                             accordance".
                                                                                                         within the borders of the State subject
                                                 chapter.                                                to the State’s
                                                                                                                  State's SIP authority, is                    § 97.512 [Amended]
                                                 *
                                                 *       *
                                                         *    *     *    *                                allocated’’;
                                                                                                         allocated";                                           •■ 42. Amend § 97.512 by:
                                                 PART 97—FEDERAL NOx
                                                                  NOX BUDGET                             •■ d. In paragraph (b) introductory text,             •■ a. In paragraph (a) introductory text,
                                                 TRADING PROGRAM, CAIR NOx
                                                                       NOX AND                                        ‘‘Indian country within the
                                                                                                          removing "Indian                                      removing "State,
                                                                                                                                                                            ‘‘State, the Administrator"
                                                                                                                                                                                         Administrator’’
                                                 SO2 TRADING PROGRAMS, CSAPR                             borders of each State, the                             and adding in its place "State
                                                                                                                                                                                          ‘‘State and areas
                                                 SO2
                                                 NOx     SO2 TRADING PROGRAMS,
                                                 NOX AND SO2                                              Administrator’’ and adding in its place
                                                                                                         Administrator"                                         of Indian country within the borders of
                                                 AND TEXAS SO2
                                                           SO2 TRADING PROGRAM                            ‘‘areas of Indian country within the
                                                                                                         "areas                                                 the State subject to the State’s
                                                                                                                                                                                          State's SIP
                                                                                                         borders of each State not subject to the                                Administrator’’;
                                                                                                                                                                authority, the Administrator";
                                                 •■ 35. The authority citation for part 97                State’s
                                                                                                          State's SIP authority, the                           •■ b. In paragraphs (a)(3)(iii) and (a)(5),
                                                  continues to read as follows:                           Administrator’’; and
                                                                                                         Administrator";                                                 ‘‘and areas of Indian country
                                                                                                                                                                adding "and
                                                    Authority: 42 U.S.C. 7401, 7403, 7410,               •■ e. In paragraph (b)(5), removing                    within the borders of the State subject
                                                  7426, 7491, 7601, and 7651, et seq.                     ‘‘Indian country within the borders of
                                                                                                         "Indian                                                to the State’s
                                                                                                                                                                        State's SIP authority"
                                                                                                                                                                                     authority’’ after "in
                                                                                                                                                                                                       ‘‘in the
                                                                                                               State’’ and adding in its place "areas
                                                                                                         the State"                               ‘‘areas       State’’;
                                                                                                                                                                State";
                                                                     NOX Annual
                                                 Subpart AAAAA—CSAPR NOx                                  of Indian country within the borders of              •■ c. In paragraph (a)(10), removing
                                                 Trading Program                                         the State not subject to the State’s
                                                                                                                                         State's SIP            ‘‘State, is allocated"
                                                                                                                                                                "State,     allocated’’ and adding in its
                                                                                                          authority’’.
                                                                                                         authority".                                            place "State
                                                                                                                                                                       ‘‘State and areas of Indian country
                                                 § 97.402 [Amended]                                                                                             within the borders of the State subject
                                                                                                         § 97.426 [Amended]
ddrumheller on DSK120RN23PROD with RULES2




                                                 •■ 36. Amend § 97.402 by:                                                                                      to the State’s
                                                                                                                                                                        State's SIP authority, is
                                                 •■ a. In the definition of "CSAPR
                                                                            ‘‘CSAPR NOxNOX                                                                      allocated’’;
                                                                                                                                                                allocated";
                                                                                                         •■ 39. In § 97.426, amend paragraph (c)
                                                  Ozone Season Group 1 Trading                                                                                 •■ d. In paragraph (b) introductory text,
                                                                                                         by:
                                                  Program’’,
                                                  Program", removing "(b)(2)(i)
                                                                         ‘‘(b)(2)(i) and (ii),                                                                  removing "Indian
                                                                                                                                                                            ‘‘Indian country within the
                                                  and’’ and adding in its place "(b)(2)(i),
                                                  and"                             ‘‘(b)(2)(i),                            ‘‘set forth in"
                                                                                                         •■ a. Removing "set           in’’ and adding         borders of each State, the
                                                  and’’;
                                                  and";                                                   in its place "established
                                                                                                                       ‘‘established under";
                                                                                                                                       under’’; and             Administrator’’ and adding in its place
                                                                                                                                                                Administrator"
                                                 •■ b. In the definition of "CSAPR
                                                                            ‘‘CSAPR NOxNOX                                 ‘‘State (or Indian’’
                                                                                                         •■ b. Removing "State         Indian" and              ‘‘areas of Indian country within the
                                                                                                                                                                "areas
                                                  Ozone Season Group 2 Trading                           adding in its place "State
                                                                                                                                 ‘‘State (and Indian".
                                                                                                                                              Indian’’.        borders of each State not subject to the


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00246   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 285 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                             36899
                                                                                                                                                                                                     36899

                                                 State’s SIP authority, the
                                                 State's                                                 2017 computed as the quotient, rounded                Program’’, removing "(b)(2)(i)
                                                                                                                                                               Program",               ‘‘(b)(2)(i) and (ii),
                                                 Administrator’’; and
                                                 Administrator";                                         up to the nearest allowance, of such                  and’’
                                                                                                                                                               and" and adding in its place "(b)(2)(i),
                                                                                                                                                                                                 ‘‘(b)(2)(i),
                                                 ■
                                                 ■ e. In paragraph (b)(5), removing                      given number of CSAPR NOx   NOX Ozone                 and’’;
                                                                                                                                                               and";
                                                 ‘‘Indian country within the borders of
                                                 "Indian                                                 Season Group 1 allowances divided by                  ■
                                                                                                                                                               ■ b. In the definition of "CSAPR
                                                                                                                                                                                          ‘‘CSAPR NOx NOX
                                                 the State’’                              ‘‘areas
                                                      State" and adding in its place "areas              the conversion factor determined under                Ozone Season Group 2 Trading
                                                 of Indian country within the borders of                 paragraph (d)(1)(ii) of this section.                 Program’’, removing "(b)(2)(iii)
                                                                                                                                                               Program",               ‘‘(b)(2)(iii) and (iv),
                                                 the State not subject to the State’s
                                                                                  State's SIP            *       *
                                                                                                                 *     *
                                                                                                                       *    *
                                                                                                                            *     *
                                                                                                                                  *                            and’’
                                                                                                                                                               and" and adding in its place "(b)(2)(ii),
                                                                                                                                                                                                 ‘‘(b)(2)(ii),
                                                 authority’’.
                                                 authority".                                                (iii) After the Administrator has                  and’’;
                                                                                                                                                               and"; and
                                                 ■
                                                 ■ 43. Amend § 97.526 by:                                carried out the procedures set forth in               ■
                                                                                                                                                               ■ c. In the definition of "CSAPR
                                                                                                                                                                                          ‘‘CSAPR NOxNOX
                                                 ■
                                                 ■ a. In paragraph (c):                                  paragraph (d)(1) of this section and                  Ozone Season Group 3 Trading
                                                 ■                ‘‘set forth in"
                                                 ■ i. Removing "set           in’’ and adding            § 97.826(e)(1), upon any determination                Program’’, removing "(b)(2)(v),
                                                                                                                                                               Program",               ‘‘(b)(2)(v), and’’
                                                                                                                                                                                                    and" and
                                                 in its place "established
                                                              ‘‘established under";
                                                                               under’’; and              that would otherwise result in the initial            adding in its place "(b)(2)(iii),
                                                                                                                                                                                    ‘‘(b)(2)(iii), and’’.
                                                                                                                                                                                                   and".
                                                 ■                 ‘‘State (or Indian’’
                                                 ■ ii. Removing "State         Indian" and               recordation of a given number of CSAPR
                                                 adding in its place "State
                                                                        ‘‘State (and Indian’’;
                                                                                      Indian";           NOX Ozone Season Group 1 allowances
                                                                                                         NOx                                                   § 97.611 [Amended]
                                                 ■
                                                 ■ b. In paragraph (d)(1) introductory                   in the compliance account for a source                ■
                                                                                                                                                               ■ 45. Amend § 97.611 by:
                                                 text, removing "§52.38(b)(2)(i)
                                                                   ‘‘§ 52.38(b)(2)(i) of this            in a State listed in § 52.38(b)(2)(iii)(B) of         ■
                                                                                                                                                               ■ a. In paragraphs (b)(1)(i)(A) and (B),
                                                 chapter (or’’
                                                          (or" and adding in its place                   this chapter (and Indian country within               removing "State,
                                                                                                                                                                          ‘‘State, in accordance’’
                                                                                                                                                                                       accordance" and
                                                 ‘‘§ 52.38(b)(2)(i)(A) of this chapter
                                                 "§52.38(b)(2)(i)(A)                                     the borders of such a State), the                     adding in its place "State
                                                                                                                                                                                     ‘‘State and areas of
                                                 (and’’;
                                                 (and";                                                  Administrator will not record such                    Indian country within the borders of the
                                                 ■
                                                 ■ c. In paragraph (d)(1)(ii), removing                  CSAPR NOx NOX Ozone Season Group 1                    State subject to the State’s
                                                                                                                                                                                      State's SIP authority,
                                                 ‘‘except a State listed in § 52.38(b)(2)(i)’’
                                                 "except                         52.38(b)(2)(i)"         allowances but instead will allocate and              in accordance";
                                                                                                                                                                  accordance’’; and
                                                 and adding in its place "listed
                                                                             ‘‘listed in                 record in such account an amount of                   ■
                                                                                                                                                               ■ b. In paragraphs (b)(2)(i)(A) and (B),
                                                 § 52.38(b)(2)(ii)’’;
                                                    52.38(b)(2)(ii)";                                    CSAPR NOx NOX Ozone Season Group 3                    removing "Indian
                                                                                                                                                                          ‘‘Indian country within the
                                                 ■
                                                 ■ d. In paragraph (d)(1)(iv), removing                  allowances for the control period in                  borders of a State, in accordance"
                                                                                                                                                                                        accordance’’ and
                                                 ‘‘§ 52.38(b)(2)(iii) or (iv) of this chapter
                                                 "§52.38(b)(2)(iii)                                      2023 computed as the quotient, rounded                adding in its place "areas
                                                                                                                                                                                     ‘‘areas of Indian
                                                 (or’’
                                                 (or" and adding in its place                            up to the nearest allowance, of such                  country within the borders of a State not
                                                 ‘‘§ 52.38(b)(2)(ii) of this chapter (and’’;
                                                 "§52.38(b)(2)(ii)                     (and";            given number of CSAPR NOx   NOX Ozone                 subject to the State’s
                                                                                                                                                                               State's SIP authority, in
                                                 ■
                                                 ■ e. Revising paragraph (d)(2)(i);                      Season Group 1 allowances divided by                  accordance’’.
                                                                                                                                                               accordance".
                                                 ■
                                                 ■ f. In paragraph (d)(2)(ii), removing                  the conversion factor determined under
                                                 ‘‘§ 52.38(b)(2)(v) of this chapter (or’’
                                                 "§52.38(b)(2)(v)                      (or" and          paragraph (d)(1)(ii) of this section and              § 97.612 [Amended]
                                                 adding in its place "§52.38(b)(2)(iii)(A)
                                                                        ‘‘§ 52.38(b)(2)(iii)(A)          further divided by the conversion factor
                                                                                                                                         ■
                                                                                                                                         ■ 46. Amend § 97.612 by:
                                                 of this chapter (and";
                                                                   (and’’;                               determined under § 97.826(e)(1)(ii).
                                                                                                                                         ■
                                                                                                                                         ■ a. In paragraph (a) introductory text,
                                                 ■
                                                 ■ g. Adding paragraph (d)(2)(iii);                         (e) * * *                                ‘‘State, the Administrator"
                                                                                                                                                                  Administrator’’
                                                 ■
                                                 ■ h. In paragraph (e)(1), removing
                                                                                                                                         removing "State,
                                                                                                            (3) After the Administrator has carried
                                                                                                                                         and adding in its place "State
                                                                                                                                                                   ‘‘State and areas
                                                 ‘‘§ 52.38(b)(2)(ii) of this chapter (or
                                                 "§52.38(b)(2)(ii)                                       out the procedures set forth in
                                                                                                                                         of Indian country within the borders of
                                                 Indian’’
                                                 Indian" and adding in its place                         paragraph (d)(1) of this section and
                                                 ‘‘§ 52.38(b)(2)(i)(B) of this chapter (and                                              the State subject to the State’s
                                                                                                                                                                   State's SIP
                                                 "§52.38(b)(2)(i)(B)                                     § 97.826(e)(1), the owner or operator of
                                                                                                                                         authority, the Administrator";
                                                                                                                                                          Administrator’’;
                                                 Indian’’;
                                                 Indian";                                                a CSAPR NOx NOX Ozone Season Group 1
                                                 ■
                                                 ■ i. In paragraph (e)(2), removing                      source in a State listed in     ■
                                                                                                                                         ■ b. In paragraphs (a)(3)(iii) and (a)(5),

                                                 ‘‘§ 52.38(b)(2)(iv) of this chapter (or"
                                                                                        (or’’                                            adding "and
                                                                                                                                                  ‘‘and areas of Indian country
                                                 "§52.38(b)(2)(iv)                                       § 52.38(b)(2)(ii)(C) of this chapter (and
                                                                                                         §52.38(b)(2)(ii)(C)
                                                 and adding in its place                                                                 within the borders of the State subject
                                                                                                         Indian country within the borders of
                                                 ‘‘§ 52.38(b)(2)(ii)(B) of this chapter
                                                 "§52.38(b)(2)(ii)(B)                                                                    to the State’s
                                                                                                         such a State) may satisfy a requirement State's SIP authority’’       ‘‘in the
                                                                                                                                                              authority" after "in
                                                 (and’’;                                                                                 State’’;
                                                                                                                                         State";
                                                 (and"; and                                              to hold a given number of CSAPR NOx   NOX
                                                 ■
                                                 ■ j. Adding paragraph (e)(3).                                                           ■
                                                                                                                                         ■ c. In paragraph (a)(10), removing
                                                                                                         Ozone Season Group 1 allowances for
                                                    The revisions and additions read as                                                  ‘‘State, is allocated’’
                                                                                                                                         "State,     allocated" and adding in its
                                                                                                         the control period in 2015 or 2016 by
                                                 follows:                                                                                place "State
                                                                                                                                                ‘‘State and areas of Indian country
                                                                                                         holding instead, in a general account
                                                                                                                                         within the borders of the State subject
                                                                                                         established for this sole purpose, an
                                                 § 97.526 Banking and conversion.
                                                                                                         amount of CSAPR NOx             to the State’s
                                                                                                                              NOX Ozone Season   State's SIP authority, is
                                                 *
                                                 *
                                                        **    **    **    **                                                             allocated’’;
                                                                                                                                         allocated";
                                                                                                         Group 3 allowances for the control
                                                    (d) * * *                                                                            ■
                                                                                                                                         ■ d. In paragraph (b) introductory text,
                                                                                                         period in 2023 (or any later control
                                                    (2)(i) Except as provided in                                                                     ‘‘Indian country within the
                                                                                                                                         removing "Indian
                                                                                                         period for which the allowance transfer
                                                 paragraphs (d)(2)(ii) and (iii) of this                                                 borders of each State, the
                                                                                                         deadline defined in § 97.1002 has
                                                 section, after the Administrator has                                                    Administrator’’ and adding in its place
                                                                                                                                         Administrator"
                                                                                                         passed) computed as the quotient,
                                                 carried out the procedures set forth in                                                 ‘‘areas of Indian country within the
                                                                                                                                         "areas
                                                                                                         rounded up to the nearest allowance, of
                                                 paragraph (d)(1) of this section, upon                  such given number of CSAPR NOx  borders of each State not subject to the
                                                                                                                                          NOX
                                                 any determination that would otherwise                                                  State’s
                                                                                                                                         State's SIP authority, the
                                                                                                         Ozone Season Group 1 allowances
                                                 result in the initial recordation of a                  divided by the conversion factorAdministrator’’; and
                                                                                                                                         Administrator";
                                                 given number of CSAPR NOx   NOX Ozone                                                   ■
                                                                                                                                         ■ e. In paragraph (b)(5), removing
                                                                                                         determined under paragraph (d)(1)(ii) of
                                                 Season Group 1 allowances in the                                                        ‘‘Indian country within the borders of
                                                                                                                                         "Indian
                                                                                                         this section and further divided by the
                                                 compliance account for a source in a                                                    the State’’
                                                                                                         conversion factor determined under                                     ‘‘areas
                                                                                                                                              State" and adding in its place "areas
                                                 State listed in § 52.38(b)(2)(ii) of this               § 97.826(e)(1)(ii).             of Indian country within the borders of
                                                                                                                                         the State not subject to the State’s
                                                                                                                                                                       State's SIP
ddrumheller on DSK120RN23PROD with RULES2




                                                 chapter (and Indian country within the
                                                 borders of such a State), the                                                         1 authority’’.
                                                                                                                             SO2 Group 1
                                                                                                         Subpart CCCCC—CSAPR SO2         authority".
                                                 Administrator will not record such                      Trading Program
                                                 CSAPR NOx NOX Ozone Season Group 1                                                      § 97.626 [Amended]
                                                 allowances but instead will allocate and                § 97.602 [Amended]                                    ■
                                                                                                                                                               ■ 47. In § 97.626, amend paragraph (c)
                                                 record in such account an amount of                     ■
                                                                                                         ■ 44. Amend § 97.602 by:                              by:
                                                 CSAPR NOx NOX Ozone Season Group 2                      ■
                                                                                                         ■ a. In the definition of "CSAPR
                                                                                                                                   ‘‘CSAPR NOx
                                                                                                                                           NOX                 ■                ‘‘set forth in"
                                                                                                                                                               ■ a. Removing "set           in’’ and adding
                                                 allowances for the control period in                    Ozone Season Group 1 Trading                          in its place "established
                                                                                                                                                                            ‘‘established under";
                                                                                                                                                                                            under’’; and


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00247   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 286 of 430
                                                 36900
                                                 36900                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 ■              ‘‘State (or Indian’’
                                                 ■ b. Removing "State       Indian" and              country within the borders of a State not "base      ‘‘base CSAPR"
                                                                                                                                                                  CSAPR’’ and adding in its place
                                                 adding in its place "State
                                                                     ‘‘State (and Indian’’.
                                                                                  Indian".           subject to the State’s
                                                                                                                       State's SIP authority, in          ‘‘CSAPR’’;
                                                                                                                                                          "CSAPR";
                                                                                                     accordance’’.
                                                                                                     accordance".                                         ■
                                                                                                                                                          ■ d. In the definition of "Common‘‘Common
                                                 Subpart DDDDD—CSAPR SO2            SO2 Group 2                                                           designated representative's
                                                                                                                                                                         representative’s assurance
                                                 Trading Program                                     § 97.712 [Amended]                                   level’’,
                                                                                                                                                          level", revising paragraph (1);
                                                                                                     ■ 50. Amend § 97.712 by:                             ■
                                                                                                                                                          ■ e. In the definition of "Common‘‘Common
                                                 ■ 48. Amend § 97.702 by:                            ■
                                                                                                     ■ a. In paragraph (a) introductory text,             designated representative's
                                                                                                                                                                         representative’s share", share’’,
                                                 ■
                                                 ■ a. In the definition of "Alternate
                                                                               ‘‘Alternate                       ‘‘State, the Administrator"
                                                                                                     removing "State,            Administrator’’                       ‘‘base CSAPR"
                                                                                                                                                          removing "base        CSAPR’’ and adding in
                                                 designated representative",
                                                               representative’’, removing            and adding in its place "State ‘‘State and areas its place "CSAPR"
                                                                                                                                                                     ‘‘CSAPR’’ each time it appears;
                                                 ‘‘or CSAPR NOx
                                                 "or            NOX Ozone Season Group 2
                                                                                                     of Indian country within the borders of              ■
                                                                                                                                                          ■ f. In the definition of "CSAPR‘‘CSAPR NOx  NOX
                                                 Trading Program, then"then’’ and adding in          the State subject to the State’s
                                                                                                                                   State's SIP            Ozone    Season     Group     2 Trading
                                                 its place "CSAPR
                                                           ‘‘CSAPR NOx NOX Ozone Season                                Administrator’’;
                                                                                                     authority, the Administrator";                       Program’’, removing "(b)(2)(iii)
                                                                                                                                                          Program",                    ‘‘(b)(2)(iii) and (iv),
                                                 Group 2 Trading Program, or CSAPR                   ■
                                                                                                     ■ b. In paragraphs (a)(3)(iii) and (a)(5),           and’’
                                                                                                                                                          and"   and   adding     in  its place "(b)(2)(ii),
                                                                                                                                                                                                   ‘‘(b)(2)(ii),
                                                 NOX Ozone Season Group 3 Trading
                                                 NOx                                                          ‘‘and areas of Indian country
                                                                                                     adding "and                                          and’’;
                                                                                                                                                          and";
                                                            then’’;
                                                 Program, then";                                     within the borders of the State subject
                                                 ■
                                                 ■ b. In the definition of "CSAPR
                                                                               ‘‘CSAPR NOx NOX                                                            ■
                                                                                                                                                          ■ g. In the definition of "CSAPR ‘‘CSAPR NOx NOX
                                                                                                     to the State’s
                                                                                                             State's SIP authority"
                                                                                                                           authority’’ after "in ‘‘in the Ozone Season Group 3 allowance": allowance’’:
                                                 Ozone Season Group 1 Trading                        State’’;
                                                                                                     State";
                                                 Program’’, removing "(b)(2)(i)
                                                 Program",                  ‘‘(b)(2)(i) and (ii),                                                         ■
                                                                                                                                                          ■ i. Adding "or ‘‘or (e)’’
                                                                                                                                                                               (e)" after "§97.826(d)";
                                                                                                                                                                                             ‘‘§ 97.826(d)’’;
                                                                                                     ■
                                                                                                     ■ c. In paragraph (a)(10), removing                  and
                                                 and’’
                                                 and" and adding in its place "(b)(2)(i),
                                                                                      ‘‘(b)(2)(i),   ‘‘State, is allocated"
                                                                                                     "State,     allocated’’ and adding in its
                                                 and’’;
                                                 and";                                                                                                    ■
                                                                                                                                                          ■ ii. Adding "or ‘‘or less"
                                                                                                                                                                                less’’ after "one
                                                                                                                                                                                                ‘‘one ton";
                                                                                                                                                                                                       ton’’;
                                                                                                     place "State
                                                                                                            ‘‘State and areas of Indian country ■         ■ h. In the definition of "CSAPR ‘‘CSAPR NOx NOX
                                                 ■
                                                 ■ c. In the definition of "CSAPR
                                                                               ‘‘CSAPR NOxNOX
                                                                                                     within the borders of the State subject
                                                 Ozone Season Group 2 Trading                                                                             Ozone Season Group 3 Trading
                                                                                                     to the State’s
                                                                                                             State's SIP authority, is                    Program’’, removing "(b)(2)(v),
                                                                                                                                                          Program",                    ‘‘(b)(2)(v), and’’
                                                                                                                                                                                                      and" and
                                                 Program’’, removing "(b)(2)(iii)
                                                 Program",                  ‘‘(b)(2)(iii) and (iv), allocated’’;
                                                                                                     allocated";                                          adding in its place "(b)(2)(iii),
                                                                                                                                                                                    ‘‘(b)(2)(iii), and’’;
                                                                                                                                                                                                     and"; and
                                                 and’’
                                                 and" and adding in its place "(b)(2)(ii),
                                                                                      ‘‘(b)(2)(ii),  ■
                                                                                                     ■ d. In paragraph (b) introductory text,
                                                 and’’;
                                                 and";                                                                                                    ■
                                                                                                                                                          ■ i. In the definition of "State",
                                                                                                                                                                                          ‘‘State’’,
                                                                                                                 ‘‘Indian country within the
                                                                                                     removing "Indian                                                  ‘‘(b)(2)(iii) and (iv), and"
                                                                                                                                                          removing "(b)(2)(iii)                     and’’ and
                                                 ■
                                                 ■ d. Adding in alphabetical order a
                                                                                                     borders of each State, the
                                                 definition for "CSAPR
                                                                  ‘‘CSAPR NOx  NOX Ozone                                                                  adding in its place "(b)(2)(ii),
                                                                                                                                                                                    ‘‘(b)(2)(ii), and".
                                                                                                                                                                                                    and’’.
                                                                                                     Administrator’’ and adding in its place
                                                                                                     Administrator"                                          The revision reads as follows:
                                                 Season Group 3 Trading Program";Program’’; and      ‘‘areas of Indian country within the
                                                                                                     "areas
                                                 ■
                                                 ■ e. In the definition of "Designated
                                                                               ‘‘Designated
                                                                                                     borders of each State not subject to the             § 97.802 Definitions.
                                                                                                                                                          §97.802
                                                 representative’’, removing "or
                                                 representative",                  ‘‘or CSAPR                                                             *      *       *      *        *
                                                                                                     State’s
                                                                                                     State's SIP authority, the                           *      *       *       *       *
                                                 NOX Ozone Season Group 2 Trading
                                                 NOx
                                                                                                     Administrator’’; and
                                                                                                     Administrator";                                         Common       designated       representative’s
                                                                                                                                                                                           representative's
                                                            then’’ and adding in its place
                                                 Program, then"                                      ■
                                                                                                     ■ e. In paragraph (b)(5), removing                   assurance     level   *  *   *
                                                 ‘‘CSAPR NOx
                                                 "CSAPR    NOX Ozone Season Group 2
                                                                                                     ‘‘Indian country within the borders of
                                                                                                     "Indian                                                 (1) The amount (rounded to the
                                                 Trading Program, or CSAPR NOx        NOX Ozone
                                                                                                          State’’ and adding in its place "areas  ‘‘areas nearest allowance) equal to the sum of
                                                                                                     the State"
                                                 Season Group 3 Trading Program, then".      then’’.
                                                                                                     of Indian country within the borders of              the total amount of CSAPR NOx          NOX Ozone
                                                    The addition reads as follows:
                                                                                                     the State not subject to the State’sState's SIP      Season Group 2 allowances allocated for
                                                 § 97.702 Definitions.
                                                 §97.702                                             authority’’.
                                                                                                     authority".                                          such control period to the group of one
                                                 *
                                                 *     *
                                                       *       *
                                                               *     *
                                                                     *        *
                                                                              *                                                                           or more CSAPR NOx     NOX Ozone Season
                                                                                                     § 97.726 [Amended]
                                                    CSAPR NOxNOX Ozone Season Group 3                                                                     Group 2 units in such State (and such
                                                 Trading
                                                 Trading Program means a multi-state                 ■
                                                                                                     ■ 51. In § 97.726, amend paragraph (c)               Indian country) having the common
                                                 NO
                                                 NOx X air pollution    control    and  emission     by:                                                  designated representative for such
                                                 reduction program established in                    ■
                                                                                                     ■ a. Removing "set ‘‘set forth in"
                                                                                                                                      in’’ and adding     control period and the total amount of
                                                 accordance with subpart GGGGG of this in its place "established   ‘‘established under";
                                                                                                                                      under’’; and        CSAPR NOx NOX Ozone Season Group 2
                                                 part and § 52.38(b)(1), (b)(2)(iii), and            ■                  ‘‘State (or Indian’’
                                                                                                     ■ b. Removing "State             Indian" and         allowances purchased by an owner or
                                                 (b)(10) through (14) and (17) of this               adding in its place "State
                                                                                                                              ‘‘State (and Indian’’.
                                                                                                                                             Indian".     operator of such CSAPR NOx         NOX Ozone
                                                 chapter (including such a program that              § 97.734 [Amended]                                   Season   Group      2 units    in  an   auction for
                                                 is revised in a SIP revision approved by                                                                 such control period and submitted by
                                                 the Administrator under § 52.38(b)(10)              ■ 52. In § 97.734, amend paragraph                   the State or the permitting authority to
                                                 or (11) of this chapter or that is                  (d)(3) by removing "or   ‘‘or CSAPR NOx NOX          the Administrator for recordation in the
                                                 established in a SIP revision approved              Ozone Season Group 2 Trading                         compliance accounts for such CSAPR
                                                 by the Administrator under                          Program, quarterly"
                                                                                                                 quarterly’’ and adding in its            NOX Ozone Season Group 2 units in
                                                                                                                                                          NOx
                                                 § 52.38(b)(12) of this chapter), as a
                                                 §52.38(b)(12)                                              ‘‘CSAPR NOx
                                                                                                     place "CSAPR       NOX Ozone Season                  accordance with the CSAPR NOx            NOX Ozone
                                                 means of mitigating interstate transport            Group 2 Trading Program, or CSAPR                    Season Group 2 allowance auction
                                                 of ozone and NOx.
                                                                 NOX.                                NOX Ozone Season Group 3 Trading
                                                                                                     NOx                                                  provisions in a SIP revision approved by
                                                 *     *       *     *        *                      Program, quarterly".
                                                                                                                 quarterly’’.                             the Administrator under § 52.38(b)(8) or
                                                 *     *       *     *        *
                                                                                                                                                          (9) of this chapter, multiplied by the
                                                                                                     Subpart EEEEE—CSAPR NOx            NOX Ozone
                                                 § 97.711 [Amended]                                                                                       sum of the State NOx   NOX Ozone Season
                                                                                                     Season Group 2 Trading Program
                                                 ■
                                                 ■ 49. Amend § 97.711 by:                                                                                 Group 2 trading budget under
                                                 ■
                                                 ■ a. In paragraphs (b)(1)(i)(A) and (B),            ■ 53. Amend § 97.802 by:                             § 97.810(a) and the State’sState's variability
                                                             ‘‘State, in accordance’’
                                                 removing "State,          accordance" and           ■
                                                                                                     ■ a. In the definition of "Assurance
                                                                                                                                   ‘‘Assurance            limit under § 97.810(b) for such control
                                                                                                                                                          period, and divided by such State NOx           NOX
ddrumheller on DSK120RN23PROD with RULES2




                                                 adding in its place "State
                                                                         ‘‘State and areas of        account’’, removing "base
                                                                                                     account",                  ‘‘base CSAPR"
                                                                                                                                        CSAPR’’ and
                                                 Indian country within the borders of the adding in its place "CSAPR";        ‘‘CSAPR’’;                  Ozone Season Group 2 trading budget;
                                                                          State's SIP authority, ■
                                                 State subject to the State’s                        ■ b. Removing the definitions for "Base    ‘‘Base    *
                                                                                                                                                          *      *
                                                                                                                                                                 *       *
                                                                                                                                                                         *      **       *
                                                                                                                                                                                         *
                                                 in accordance";
                                                    accordance’’; and                                CSAPR NOx NOX Ozone Season Group 2
                                                                                                                                                          § 97.806 [Amended]
                                                 ■
                                                 ■ b. In paragraphs (b)(2)(i)(A) and (B),            source’’ and "Base
                                                                                                     source"         ‘‘Base CSAPR NOx    NOX Ozone
                                                             ‘‘Indian country within the
                                                 removing "Indian                                    Season Group 2 unit";unit’’;                         ■
                                                                                                                                                          ■ 54. Amend § 97.806 by:
                                                 borders of a State, in accordance"
                                                                             accordance’’ and        ■
                                                                                                     ■ c. In the definition of "Common
                                                                                                                                   ‘‘Common               ■
                                                                                                                                                          ■ a. In paragraphs (c)(2)(i) introductory
                                                 adding in its place "areas
                                                                         ‘‘areas of Indian           designated representative",
                                                                                                                   representative’’, removing             text, (c)(2)(i)(B), and (c)(2)(iii) and (iv),


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00248   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 287 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                           36901
                                                                                                                                                                                                   36901

                                                 removing "base‘‘base CSAPR"
                                                                       CSAPR’’ and adding in     allowance remains in such compliance                          corresponding surrender requirements
                                                 its place "CSAPR"
                                                             ‘‘CSAPR’’ each time it appears;     account or has been transferred to                            for the source under paragraph (e)(2)(i)
                                                 ■
                                                 ■ b. In paragraph (c)(3)(i), removing           another Allowance Management System                           of this section.
                                                 ‘‘paragraph (c)(1)’’
                                                 "paragraph       (c)(1)" and adding in its      account.                                                         (ii) As soon as practicable on or after
                                                 place "paragraphs
                                                        ‘‘paragraphs (c)(1) and (2)’’;
                                                                                   (2)"; and        (2)(i) For each CSAPR NOx
                                                                                                                            NOX Ozone                          August 21, 2023, the Administrator will
                                                 ■
                                                 ■ c. Removing and reserving paragraph           Season Group 2 allowance described in                         deduct from the compliance account for
                                                 (c)(3)(ii).                                     paragraph (e)(1) of this section that was                     each source described in paragraph
                                                                                                 allocated for a given control period and                      (e)(1) of this section CSAPR NOxNOX Ozone
                                                 § 97.810 [Amended]                              initially recorded in a given source's
                                                                                                                                 source’s                      Season Group 2 allowances eligible to
                                                 ■
                                                 ■ 55. In § 97.810, amend paragraphs             compliance account, one CSAPR NOx    NOX                      satisfy the surrender requirements for
                                                 (a)(1)(i) through (iii), (a)(2)(i) and (ii),    Ozone Season Group 2 allowance that                           the source under paragraph (e)(2)(i) of
                                                 (a)(12)(i) through (iii), (a)(13)(i) and (ii),  was allocated for the same or an earlier                      this section until all such surrender
                                                 (a)(17)(i) through (iii), (a)(20)(i) through control period and initially recorded in                         requirements for the source are satisfied
                                                 (iii), (a)(23)(i) through (iii), and (b)(1),    the same or any other Allowance                               or until no more CSAPR NOx   NOX Ozone
                                                 (2), (12), (13), (17), (20), and (23) by        Management System account must be                             Season Group 2 allowances eligible to
                                                 removing "and‘‘and thereafter"
                                                                     thereafter’’ and adding     surrendered in accordance with the                            satisfy such surrender requirements
                                                 in its place "through
                                                                ‘‘through 2022’’.
                                                                            2022".               procedures in paragraphs (e)(3) and (4)                       remain in such compliance account.
                                                 ■
                                                 ■ 56. Amend § 97.811 by:                        of this section.                                                 (iii) As soon as practicable after
                                                 ■
                                                 ■ a. In paragraphs (b)(1)(i)(A) and (B),           (ii)(A) The surrender requirement                          completion of the deductions under
                                                 removing "State,
                                                              ‘‘State, in accordance’’
                                                                           accordance"   and     under   paragraph (e)(2)(i) of this section                   paragraph (e)(3)(ii) of this section, the
                                                 adding in its place "State
                                                                         ‘‘State and areas of    corresponding to each CSAPR NOx   NOX                         Administrator will identify for each
                                                 Indian country within the borders of the Ozone Season Group 2 allowance                                       source described in paragraph (e)(1) of
                                                                          State's SIP authority, described in paragraph (e)(1) of this
                                                 State subject to the State’s                                                                                  this section the amounts, if any, of
                                                 in accordance";
                                                     accordance’’;                               section initially recorded in a given                         CSAPR NOx NOX Ozone Season Group 2
                                                 ■
                                                 ■ b. In paragraphs (b)(2)(i)(A) and (B),        source’s compliance account shall apply
                                                                                                 source's                                                      allowances allocated for each control
                                                              ‘‘Indian country within the
                                                 removing "Indian                                          source’s current owners and
                                                                                                 to such source's                                              period after 2022 and recorded in the
                                                 borders of a State, in accordance"
                                                                            accordance’’ and     operators, except as provided in                              source’s compliance account for which
                                                                                                                                                               source's
                                                 adding in its place "areas
                                                                         ‘‘areas of Indian       paragraph (e)(2)(ii)(B) of this section.                      the corresponding surrender
                                                 country within the borders of a State not          (B) If the owners and operators of a                       requirements under paragraph (e)(2)(i)
                                                 subject to the State’s
                                                                   State's SIP authority, in     given source as of a given date assumed                       of this section have not been satisfied
                                                 accordance’’;
                                                 accordance";                                    ownership and operational control of                          and will send a notification concerning
                                                 ■
                                                 ■ c. In paragraph (d)(1), removing              the source through a transaction that did                     such identified amounts to the
                                                 ‘‘§ 52.38(b)(2)(iv) of this chapter (or"
                                                 "§52.38(b)(2)(iv)                      (or’’    not  also provide rights to direct the use                    designated representative for the source.
                                                 and adding in its place                         or transfer of a given CSAPR NOx NOX Ozone                       (iv) With regard to each source for
                                                 ‘‘§ 52.38(b)(2)(ii)(B) of this chapter
                                                 "§52.38(b)(2)(ii)(B)                            Season    Group  2 allowance  described   in                  which unsatisfied surrender
                                                 (and’’;
                                                 (and"; and                                      paragraph (e)(1) of this section with                         requirements under paragraph (e)(2)(i)
                                                 ■
                                                 ■ d. Adding paragraph (e).                      regard to such source (whether                                of this section remain after the
                                                    The addition reads as follows:               recordation of such CSAPR NOx  NOX Ozone                      deductions under paragraph (e)(3)(ii) of
                                                                                                 Season Group 2 allowance in the                               this section:
                                                 § 97.811 Timing requirements for CSAPR          source’s compliance account occurred
                                                                                                 source's                                                         (A) Except as provided in paragraph
                                                 NOX Ozone Season Group 2 allowance
                                                 NOx                                             before such transaction or was                                (e)(3)(iv)(B) of this section, not later
                                                 allocations.                                    anticipated to occur after such                               than September 15, 2023, the owners
                                                 *
                                                 *       *
                                                         *      *     *      *                   transaction), then the surrender                              and operators of the source shall hold
                                                    (e) Recall of CSAPR NOx  NOX Ozone           requirement under paragraph (e)(2)(i) of                      sufficient CSAPR NOx NOX Ozone Season
                                                 Season Group 2 allowances allocated             this section corresponding to such                            Group 2 allowances eligible to satisfy
                                                 for control periods after 2022. (1)             CSAPR NOx NOX Ozone Season Group 2                            such unsatisfied surrender requirements
                                                 Notwithstanding any other provision of allowance shall apply to the most recent                               under paragraph (e)(2)(i) of this section
                                                 this subpart, part 52 of this chapter, or       former owners and operators of the                            in the source's
                                                                                                                                                                        source’s compliance account.
                                                 any SIP revision approved under                 source before the occurrence of such a                           (B) With regard to any portion of such
                                                 § 52.38(b) of this chapter, the provisions transaction.                                                       unsatisfied surrender requirements that
                                                 of this paragraph (e)(1) and paragraphs            (C) The Administrator will not                             apply to former owners and operators of
                                                 (e)(2) through (7) of this section shall        adjudicate any private legal dispute                          the source pursuant to paragraph
                                                 apply with regard to each CSAPR NOx      NOX    among the owners and operators of a                           (e)(2)(ii)(B) of this section, not later than
                                                 Ozone Season Group 2 allowance that             source or among the former owners and                         September 15, 2023, such former
                                                 was allocated for a control period after        operators of a source, including any                          owners and operators shall hold
                                                 2022 to any unit (including a                   disputes relating to the requirements to                      sufficient CSAPR NOx NOX Ozone Season
                                                 permanently retired unit qualifying for         surrender CSAPR NOx  NOX Ozone Season                         Group 2 allowances eligible to satisfy
                                                 an exemption under § 97.805) in a State Group 2 allowances for the source under                               such portion of the unsatisfied
                                                 listed in § 52.38(b)(2)(ii)(C) of this          paragraph (e)(2)(i) of this section.                          surrender requirements under paragraph
                                                 chapter (and Indian country within the             (3)(i) As soon as practicable on or                        (e)(2)(i) of this section either in the
                                                 borders of such a State) and that was           after August 4, 2023, the Administrator                       source’s compliance account or in
                                                                                                                                                               source's
                                                 initially recorded in the compliance
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                 will send a notification to the                               another Allowance Management System
                                                 account for the source that includes the designated representative for each                                   account identified to the Administrator
                                                 unit, whether such CSAPR NOx      NOX Ozone     source described in paragraph (e)(1) of                       on or before such date in a submission
                                                 Season Group 2 allowance was allocated this section identifying the amounts of                                by the authorized account
                                                 pursuant to this subpart or pursuant to         CSAPR NOx NOX Ozone Season Group 2                            representative for such account.
                                                 a SIP revision approved under § 52.38(b) allowances allocated for each control                                   (C) As soon as practicable on or after
                                                 of this chapter and whether such                period after 2022 and recorded in the                         September 15, 2023, the Administrator
                                                 CSAPR NOx  NOX Ozone Season Group 2             source’s compliance account and the
                                                                                                 source's                                                      will deduct from the Allowance


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00249   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 288 of 430
                                                 36902
                                                 36902                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 Management System account identified                    Season Group 2 allowances have been                   with any other remedy imposed under
                                                 in accordance with paragraph                            deducted, except as provided in                       the Clean Air Act; and
                                                 (e)(3)(iv)(A) or (B) of this section CSAPR              paragraph (e)(4)(ii) of this section.                    (ii) Each such CSAPR NOx  NOX Ozone
                                                 NOX Ozone Season Group 2 allowances
                                                 NOx                                                        (ii) If no person with an ownership                Season Group 2 allowance, and each
                                                 eligible to satisfy the surrender                       interest in a given CSAPR NOx NOX Ozone               day in such control period, shall
                                                 requirements for the source under                       Season Group 2 allowance as of April                  constitute a separate violation of this
                                                 paragraph (e)(2)(i) of this section until               30, 2022, was an owner or operator of                 subpart and the Clean Air Act.
                                                 all such surrender requirements for the                 the source in whose compliance account                   (6) The Administrator will record in
                                                 source are satisfied or until no more                   such CSAPR NOx  NOX Ozone Season Group                the appropriate Allowance Management
                                                 CSAPR NOx NOX Ozone Season Group 2                      2 allowance was initially recorded, was               System accounts all deductions of
                                                 allowances eligible to satisfy such                     a direct or indirect parent or subsidiary             CSAPR NOx NOX Ozone Season Group 2
                                                 surrender requirements remain in such                   of an owner or operator of such source,               allowances under paragraphs (e)(3) and
                                                 account.                                                or was directly or indirectly under                   (4) of this section.
                                                    (v) When making deductions under                     common ownership with an owner or                        (7)(i) Each submission, objection, or
                                                 paragraph (e)(3)(ii) or (iv) of this section            operator of such source, the                          other written communication from a
                                                 to address the surrender requirements                   Administrator will not deduct such                    designated representative, authorized
                                                 under paragraph (e)(2)(i) of this section               CSAPR NOx  NOX Ozone Season Group 2                   account representative, or other person
                                                 for a given source:                                     allowance under paragraph (e)(4)(i) of                to the Administrator under paragraph
                                                    (A) The Administrator will make                      this section. For purposes of this                    (e)(2), (3), or (4) of this section shall be
                                                 deductions to address any surrender                     paragraph (e)(4)(ii), each owner or                   sent electronically to the email address
                                                 requirements with regard to first the                   operator of a source shall be deemed to               CSAPR@epa.gov. Each such
                                                 2023 control period and then the 2024                   be a person with an ownership interest                communication from a designated
                                                 control period.                                         in any CSAPR NOx  NOX Ozone Season                    representative must contain the
                                                    (B) When making deductions to
                                                                                                         Group 2 allowance held in that source's
                                                                                                                                            source’s           certification statement set forth in
                                                 address the surrender requirements with
                                                                                                         compliance account. The limitation                    § 97.814(a), and each such
                                                 regard to a given control period, the
                                                                                                         established by this paragraph (e)(4)(ii)              communication from the authorized
                                                 Administrator will first deduct CSAPR
                                                 NOX Ozone Season Group 2 allowances
                                                 NOx                                                     on the deductibility of certain CSAPR                 account representative for a general
                                                                                                         NOX Ozone Season Group 2 allowances
                                                                                                         NOx                                                   account must contain the certification
                                                 allocated for such given control period
                                                 and will then deduct CSAPR NOx   NOX                    under paragraph (e)(4)(i) of this section             statement set forth in § 97.820(c)(2)(ii).
                                                 Ozone Season Group 2 allowances                         shall not be construed as a waiver of the                (ii) Each notification from the
                                                 allocated for each successively earlier                 surrender requirements under paragraph                Administrator to a designated
                                                 control period in sequence.                             (e)(2)(i) of this section corresponding to            representative or authorized account
                                                    (C) When deducting CSAPR NOx    NOX                  such CSAPR NOx  NOX Ozone Season Group                representative under paragraph (e)(3) or
                                                 Ozone Season Group 2 allowances                         2 allowances.                                         (4) of this section will be sent
                                                 allocated for a given control period from                  (iii) Not less than 45 days before the             electronically to the email address most
                                                 a given Allowance Management System                     planned date for any deductions under                 recently received by the Administrator
                                                 account, the Administrator will first                   paragraph (e)(4)(i) of this section, the              for such representative. In any such
                                                 deduct CSAPR NOx  NOX Ozone Season                      Administrator will send a notification to             notification, the Administrator may
                                                 Group 2 allowances initially recorded in                the authorized account representative                 provide information by means of a
                                                 the account under § 97.821 (if the                      for the Allowance Management System                   reference to a publicly accessible
                                                 account is a compliance account) in the                 account from which such deductions                    website where the information is
                                                 order of recordation and will then                      will be made identifying the CSAPR                    available.
                                                 deduct CSAPR NOx  NOX Ozone Season                      NOX Ozone Season Group 2 allowances
                                                                                                         NOx
                                                                                                                                                               § 97.812 [Amended]
                                                 Group 2 allowances recorded in the                      to be deducted and the data upon which
                                                 account under § 97.526(d) or § 97.823 in                the Administrator has relied and                      ■ 57. Amend § 97.812 by:
                                                 the order of recordation.                               specifying a process for submission of                ■
                                                                                                                                                               ■ a. In paragraph (a) introductory text,
                                                    (4)(i) To the extent the surrender                   any objections to such data. Any                                  ‘‘State, the Administrator"
                                                                                                                                                               removing "State,         Administrator’’
                                                 requirements under paragraph (e)(2)(i)                  objections must be submitted to the                   and adding in its place "State
                                                                                                                                                                                         ‘‘State and areas
                                                 of this section corresponding to any                    Administrator not later than 15 days                  of Indian country within the borders of
                                                 CSAPR NOx NOX Ozone Season Group 2                      before the planned date for such                      the State subject to the State’s
                                                                                                                                                                                         State's SIP
                                                 allowances allocated for a control                      deductions as indicated in such                       authority, the Administrator";
                                                                                                                                                                                Administrator’’;
                                                 period after 2022 and initially recorded                notification.                                         ■
                                                                                                                                                               ■ b. In paragraphs (a)(3)(iii) and (a)(5),
                                                             source’s compliance account
                                                 in a given source's                                        (5) To the extent the surrender                    adding "and
                                                                                                                                                                        ‘‘and areas of Indian country
                                                 have not been fully satisfied through the               requirements under paragraph (e)(2)(i)                within the borders of the State subject
                                                 deductions under paragraph (e)(3) of                    of this section corresponding to any                  to the State’s
                                                                                                                                                                       State's SIP authority’’       ‘‘in the
                                                                                                                                                                                    authority" after "in
                                                 this section, as soon as practicable on or              CSAPR NOx  NOX Ozone Season Group 2                   State’’;
                                                                                                                                                               State";
                                                 after November 15, 2023, the                            allowances allocated for a control                    ■
                                                                                                                                                               ■ c. In paragraph (a)(10), removing
                                                 Administrator will deduct such initially                period after 2022 and initially recorded              ‘‘State, is allocated’’
                                                                                                                                                               "State,     allocated" and adding in its
                                                 recorded CSAPR NOx  NOX Ozone Season                    in a given source's
                                                                                                                      source’s compliance account              place "State
                                                                                                                                                                      ‘‘State and areas of Indian country
                                                 Group 2 allowances from any                             have not been fully satisfied through the             within the borders of the State subject
                                                                                                         deductions under paragraphs (e)(3) and                to the State’s
                                                                                                                                                                       State's SIP authority, is
ddrumheller on DSK120RN23PROD with RULES2




                                                 Allowance Management System
                                                 accounts in which such CSAPR NOx    NOX                 (4) of this section:                                  allocated’’;
                                                                                                                                                               allocated";
                                                 Ozone Season Group 2 allowances are                        (i) The persons identified in                      ■
                                                                                                                                                               ■ d. In paragraph (b) introductory text,
                                                 held, making such deductions in any                     accordance with paragraph (e)(2)(ii) of                           ‘‘Indian country within the
                                                                                                                                                               removing "Indian
                                                 order determined by the Administrator,                  this section with regard to such source               borders of each State, the
                                                 until all such surrender requirements                   and each such CSAPR NOx   NOX Ozone                   Administrator’’ and adding in its place
                                                                                                                                                               Administrator"
                                                 for such source have been satisfied or                  Season Group 2 allowance shall pay any                ‘‘areas of Indian country within the
                                                                                                                                                               "areas
                                                 until all such CSAPR NOx NOX Ozone                      fine, penalty, or assessment or comply                borders of each State not subject to the


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00250   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 289 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                           36903
                                                                                                                                                                                                   36903

                                                  State’s SIP authority, the
                                                  State's                                                submitted under § 97.822 and, before                  may record such CSAPR NOx   NOX Ozone
                                                  Administrator’’; and
                                                 Administrator";                                         resuming acceptance of such transfers,                Season Group 3 allowances in a general
                                                 •■ e. In paragraph (b)(5), removing                     will take the following actions with                  account identified or established by the
                                                  ‘‘Indian country within the borders of
                                                  "Indian                                                regard to every general account and                   Administrator with the designated
                                                  the State’’
                                                      State" and adding in its place "areas
                                                                                       ‘‘areas           every compliance account except a                     representative as the authorized account
                                                  of Indian country within the borders of                compliance account for a CSAPR NOx    NOX             representative and with the owners and
                                                  the State not subject to the State's
                                                                               State’s SIP               Ozone Season Group 2 source in a State                operators of such source (as indicated
                                                  authority’’.
                                                  authority".                                            listed in § 52.38(b)(2)(ii)(A) of this                on the certificate of representation for
                                                                                                         chapter (and Indian country within the                the source) as the persons represented
                                                 § 97.825 [Amended]                                      borders of such a State):                             by the authorized account
                                                 •■ 58. In § 97.825, amend paragraphs (a)                   (i) The Administrator will deduct all              representative.
                                                  introductory text, (a)(2), (b)(1)(i),                  CSAPR NOx NOX Ozone Season Group 2                       (v)(A) In computing any amounts of
                                                  (b)(1)(ii)(A) and (B), (b)(3), (b)(4)(i),              allowances allocated for the control                  CSAPR NOx NOX Ozone Season Group 3
                                                  (b)(5), (b)(6)(i), (b)(6)(iii) introductory            periods in 2017 through 2022 from each                allowances to be allocated to and
                                                  text, and (b)(6)(iii)(A) and (B) by                    such account.                                         recorded in general accounts under
                                                  removing "base
                                                               ‘‘base CSAPR"
                                                                        CSAPR’’ and adding in               (ii) The Administrator will determine              paragraph (e)(1)(iii) of this section, the
                                                  its place "CSAPR"
                                                             ‘‘CSAPR’’ each time it appears.             a conversion factor equal to the greater              Administrator may group multiple
                                                                                                         of 1.0000 or the quotient, expressed to               general accounts whose ownership
                                                 •■ 59. Amend § 97.826 by:                               four decimal places, of—
                                                 •■ a. In paragraph (b), removing "(c)    ‘‘(c) or                                                             interests are held by the same or related
                                                                                                            (A) The sum of all CSAPR NOx NOX Ozone             persons or entities and treat the group
                                                  (d)’’
                                                  (d)" and adding in its place "(c),  ‘‘(c), (d), or     Season Group 2 allowances deducted
                                                  (e)’’;
                                                                                                                                                               of accounts as a single account for
                                                  (e)";                                                  from all such accounts under paragraph                purposes of such computation.
                                                 •■ b. In paragraph (c):                                 (e)(1)(i) of this section; divided by                    (B) Following a computation for a
                                                 •■ i. Removing "set ‘‘set forth in"
                                                                                 in’’ and adding            (B) The product of the sum of the                  group of general accounts in accordance
                                                  in its place "established
                                                                 ‘‘established under";
                                                                                  under’’; and           variability limits for the control period             with paragraph (e)(1)(v)(A) of this
                                                                      ‘‘State (or Indian’’
                                                 •■ ii. Removing "State           Indian" and            in 2024 under § 97.1010(e) for all States             section, the Administrator will allocate
                                                  adding in its place "State
                                                                           ‘‘State (and Indian’’;
                                                                                          Indian";       listed in § 52.38(b)(2)(iii)(B) and (C) of            to and record in each individual
                                                 •■ c. In paragraphs (d)(1)(i)(A) and (B),               this chapter multiplied by a fraction                 account in such group a proportional
                                                  removing "§52.38(b)(2)(iv)"
                                                               ‘‘§ 52.38(b)(2)(iv)’’ and adding          whose numerator is the number of days                 share of the quantity of CSAPR NOx NOX
                                                  in its place "§52.38(b)(2)(ii)(B)";
                                                                 ‘‘§ 52.38(b)(2)(ii)(B)’’;               from August 4, 2023 through September                 Ozone Season Group 3 allowances
                                                 •■ d. Revising paragraph (d)(1)(i)(C);                  30, 2023, inclusive, and whose                        computed for such group, basing such
                                                 •■ e. In paragraph (d)(1)(ii) introductory              denominator is 153.                                   shares on the respective quantities of
                                                  text, removing "§52.38(b)(2)(v)"
                                                                      ‘‘§ 52.38(b)(2)(v)’’ and              (iii) The Administrator will allocate              CSAPR NOx NOX Ozone Season Group 2
                                                  adding in its place                                    and record in each such account an                    allowances removed from such
                                                  ‘‘§ 52.38(b)(2)(iii)(A)’’;
                                                  "§52.38(b)(2)(iii)(A)";                                amount of CSAPR NOx   NOX Ozone Season                individual accounts under paragraph
                                                 •■ f. In paragraphs (d)(2)(i) and (d)(3),               Group 3 allowances for the control                    (e)(1)(i) of this section.
                                                  removing "§52.38(b)(2)(v)
                                                               ‘‘§ 52.38(b)(2)(v) of this                period in 2023 computed as the                           (C) In determining the proportional
                                                  chapter (or"
                                                            (or’’ and adding in its place                quotient, rounded up to the nearest                   shares under paragraph (e)(1)(v)(B) of
                                                  ‘‘§ 52.38(b)(2)(iii)(A) of this chapter
                                                  "§52.38(b)(2)(iii)(A)                                  allowance, of the number of CSAPR                     this section, the Administrator may
                                                  (and’’;
                                                  (and";                                                 NOX Ozone Season Group 2 allowances
                                                                                                         NOx                                                   employ any reasonable adjustment
                                                 •■ g. Redesignating paragraph (e) as                    deducted from such account under                      methodology to truncate or round each
                                                  paragraph (f) and adding a new                         paragraph (e)(1)(i) of this section                   such share up or down to a whole
                                                  paragraph (e); and                                     divided by the conversion factor                      number and to cause the total of such
                                                 •■ h. Revising newly redesignated                       determined under paragraph (e)(1)(ii) of              whole numbers to equal the amount of
                                                  paragraphs (f)(1) and (2).                             this section, except as provided in                   CSAPR NOx NOX Ozone Season Group 3
                                                     The revisions and additions read as                 paragraph (e)(1)(iv) or (v) of this section.          allowances computed for such group of
                                                  follows:                                                  (iv) Where, pursuant to paragraph                  accounts in accordance with paragraph
                                                                                                         (e)(1)(i) of this section, the                        (e)(1)(v)(A) of this section, even where
                                                 § 97.826 Banking and conversion.
                                                                                                         Administrator deducts CSAPR NOx    NOX                such adjustments cause the numbers of
                                                 *
                                                 *
                                                        **     **  **    **                              Ozone Season Group 2 allowances from                  CSAPR NOx NOX Ozone Season Group 3
                                                    (d) * * *                                            the compliance account for a source in                allowances allocated to some individual
                                                    (1) * * *                                            a State not listed in § 52.38(b)(2)(iii) of           accounts to equal zero.
                                                    (i) *
                                                    (i) * ** *
                                                             *
                                                                                                         this chapter (and Indian country within                  (2) After the Administrator has carried
                                                    (C) The full-season CSAPR NOxNOX                     the borders of such a State), the                     out the procedures set forth in
                                                 Ozone Season Group 3 allowance bank                     Administrator will not record CSAPR                   paragraph (e)(1) of this section, upon
                                                 target, computed as the sum for all                     NOX Ozone Season Group 3 allowances
                                                                                                         NOx                                                   any determination that would otherwise
                                                 States listed in § 52.38(b)(2)(iii)(A) of               in that compliance account but instead                result in the initial recordation of a
                                                 this chapter of the variability limits                  will allocate and record the amount of                given number of CSAPR NOx  NOX Ozone
                                                 under § 97.1010(e) for such States for                  CSAPR NOx NOX Ozone Season Group 3                    Season Group 2 allowances in the
                                                 the control period in 2022.                             allowances for the control period in                  compliance account for a source in a
                                                 *
                                                 *      *
                                                        *     **   *
                                                                   *     *
                                                                         *                               2023 computed for such source in                      State listed in § 52.38(b)(2)(iii)(B) of this
                                                    (e) Notwithstanding any other
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                         accordance with paragraph (e)(1)(iii) of              chapter (and Indian country within the
                                                 provision of this subpart, part 52 of this              this section in a general account                     borders of such a State), the
                                                 chapter, or any SIP revision approved                   identified by the designated                          Administrator will not record such
                                                 under § 52.38(b)(8) or (9) of this chapter:             representative for such source, provided              CSAPR NOx NOX Ozone Season Group 2
                                                    (1) By September 18, 2023, the                       that if the designated representative fails           allowances but instead will allocate and
                                                 Administrator will temporarily suspend                  to identify such a general account in a               record in such account an amount of
                                                 acceptance of CSAPR NOx NOX Ozone                       submission to the Administrator by                    CSAPR NOx NOX Ozone Season Group 3
                                                 Season Group 2 allowance transfers                      September 18, 2023, the Administrator                 allowances for the control period in


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00251   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023                  Page 290 of 430
                                                 36904
                                                 36904                Federal Register / Vol. 88, No. 107/Monday,
                                                                                                      107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules

                                                 2023 computed as the quotient, rounded                   Program, or CSAPR NOx NOX Ozone Season               •■ e. Adding in alphabetical order a
                                                 up to the nearest allowance, of such                     Group 3 Trading Program, then";
                                                                                                                                        then’’;                 definition for "Backstop
                                                                                                                                                                                    ‘‘Backstop daily NOx      NOX
                                                 given number of CSAPR NOx   NOX Ozone                   •■ b. In the definition of "CSAPR
                                                                                                                                    ‘‘CSAPR NOx NOX             emissions rate’’;
                                                                                                                                                                              rate";
                                                 Season Group 2 allowances divided by                     Ozone Season Group 2 Trading                         •■ f. Removing the definitions for "Base          ‘‘Base
                                                 the conversion factor determined under                   Program’’, removing "(b)(2)(iii)
                                                                                                          Program",              ‘‘(b)(2)(iii) and (iv),        CSAPR NOx NOX Ozone Season Group 3
                                                 paragraph (e)(1)(ii) of this section.                    and’’ and adding in its place "(b)(2)(ii),
                                                                                                         and"                              ‘‘(b)(2)(ii),        source’’ and "Base
                                                                                                                                                               source"            ‘‘Base CSAPR NOx       NOX Ozone
                                                    (f) * *
                                                    (f) * *
                                                            *
                                                            *                                             and’’;
                                                                                                         and";                                                  Season Group 3 unit";  unit’’;
                                                    (1) After the Administrator has carried              •■ c. Adding in alphabetical order a                  •■ g. Adding in alphabetical order a
                                                                                                          definition for "CSAPR
                                                                                                                         ‘‘CSAPR NOxNOX Ozone                   definition for "Coal-derived
                                                                                                                                                                                    ‘‘Coal-derived fuel’’; fuel";
                                                 out the procedures set forth in
                                                                                                          Season Group 3 Trading Program";
                                                                                                                                      Program’’; and           •■ h. In the definition of "Common  ‘‘Common
                                                 paragraph (d)(1) of this section, the
                                                                                                         •■ d. In the definition of "Designated
                                                                                                                                    ‘‘Designated                designated representative",
                                                                                                                                                                               representative’’, removing
                                                 owner or operator of a CSAPR NOx   NOX                                                                         ‘‘base CSAPR’’
                                                                                                          representative’’, removing "Program
                                                                                                          representative",              ‘‘Program or            "base   CSAPR" and adding in its place
                                                 Ozone Season Group 2 source in a State                                                                         ‘‘CSAPR’’;
                                                                                                                                                                "CSAPR";
                                                 listed in § 52.38(b)(2)(ii)(B) of this                   CSAPR NOxNOX Ozone Season Group 2
                                                                                                          Trading Program, then"
                                                                                                                              then’’ and adding in             •■ i. Revising the definition of "Common     ‘‘Common
                                                 chapter (and Indian country within the                                                                         designated representative's
                                                                                                                                                                               representative’s assurance
                                                 borders of such a State) may satisfy a                   its place "Program,
                                                                                                                    ‘‘Program, CSAPR NOx  NOX Ozone
                                                                                                          Season Group 2 Trading Program, or                    level’’;
                                                                                                                                                                level";
                                                 requirement to hold a given number of                                                                         •■ j. In the definition of "Common‘‘Common
                                                 CSAPR NOx NOX Ozone Season Group 2                       CSAPR NOxNOX Ozone Season Group 3
                                                                                                          Trading Program, then".
                                                                                                                              then’’.                           designated representative's
                                                                                                                                                                               representative’s share",   share’’,
                                                 allowances for a control period in 2017                                                                        removing "base
                                                                                                                                                                             ‘‘base CSAPR"
                                                                                                                                                                                       CSAPR’’ and adding in
                                                 through 2020 by holding instead, in a                       The addition reads as follows:
                                                                                                                                                                its place "CSAPR"
                                                                                                                                                                           ‘‘CSAPR’’ each time it appears;
                                                 general account established for this sole               §97.902
                                                                                                         § 97.902 Definitions.                                 •■ k. In the definition of "Compliance
                                                                                                                                                                                                  ‘‘Compliance
                                                 purpose, an amount of CSAPR NOx    NOX                  *
                                                                                                         *     *
                                                                                                               *      *
                                                                                                                      *    *
                                                                                                                           *     *
                                                                                                                                 *                              account’’, adding "primary"
                                                                                                                                                                account",                ‘‘primary’’ before
                                                 Ozone Season Group 3 allowances for                        CSAPR NOxNOX Ozone Season Group 3                   ‘‘emissions limitation";
                                                                                                                                                                "emissions      limitation’’;
                                                 the control period in 2021 (or any later                Trading Program means a multi-state                       l. Adding in alphabetical order a
                                                                                                                                                               •■ 1.
                                                 control period for which the allowance                  NOX air pollution control and emission
                                                                                                         NOx                                                    definition for "CSAPR
                                                                                                                                                                                    ‘‘CSAPR NOx   NOX Ozone
                                                 transfer deadline defined in § 97.1002                  reduction program established in                       Season Group 1 Trading Program";     Program’’;
                                                 has passed) computed as the quotient,                   accordance with subpart GGGGG of this                 •■ m. In the definition of "CSAPR    ‘‘CSAPR NOx   NOX
                                                 rounded up to the nearest allowance, of                 part and § 52.38(b)(1), (b)(2)(iii), and               Ozone Season Group 2 Trading
                                                 such given number of CSAPR NOx    NOX                   (b)(10) through (14) and (17) of this                  Program’’,
                                                                                                                                                                Program", removing "(b)(2)(iii)
                                                                                                                                                                                              ‘‘(b)(2)(iii) and (iv),
                                                 Ozone Season Group 2 allowances                                                                                and’’ and adding in its place "(b)(2)(ii),
                                                                                                                                                                and"                                        ‘‘(b)(2)(ii),
                                                                                                         chapter (including such a program that
                                                 divided by the conversion factor                        is revised in a SIP revision approved by               and’’;
                                                                                                                                                                and";
                                                 determined under paragraph (d)(1)(i)(D)                                                                       •■ n. In the definition of "CSAPR   ‘‘CSAPR NOx  NOX
                                                                                                         the Administrator under § 52.38(b)(10)                 Ozone Season Group 3 allowance":   allowance’’:
                                                 of this section.                                        or (11) of this chapter or that is
                                                    (2) After the Administrator has carried                                                                    •■ i. Adding "or ‘‘or (e)’’           ‘‘§ 97.826(d)’’;
                                                                                                                                                                                      (e)" after "§97.826(d)";
                                                                                                         established in a SIP revision approved                 and
                                                 out the procedures set forth in                         by the Administrator under
                                                 paragraph (e)(1) of this section, the                                                                         •■ ii. Adding "or ‘‘or less’’
                                                                                                                                                                                       less" after "one ‘‘one ton";
                                                                                                                                                                                                                ton’’;
                                                                                                         § 52.38(b)(12) of this chapter), as a
                                                                                                         §52.38(b)(12)                                         •■ o. In the definitions of "CSAPR   ‘‘CSAPR NOx   NOX
                                                 owner or operator of a CSAPR NOx   NOX                  means of mitigating interstate transport               Ozone Season Group 3 allowance
                                                 Ozone Season Group 2 source in a State                  of ozone and NOx.
                                                                                                                        NOX.                                    deduction’’
                                                                                                                                                                deduction" and "CSAPR  ‘‘CSAPR NOx    NOX Ozone
                                                 listed in § 52.38(b)(2)(ii)(C) of this                  *
                                                                                                         *     *
                                                                                                               *      *
                                                                                                                      *    *
                                                                                                                           *     *
                                                                                                                                 *                              Season Group 3 emissions limitation",   limitation’’,
                                                 chapter (and Indian country within the
                                                                                                                                                                         ‘‘primary’’ before "emissions
                                                                                                                                                               adding "primary"                       ‘‘emissions
                                                 borders of such a State) may satisfy a                  § 97.934 [Amended]                                     limitation’’;
                                                                                                                                                                limitation";
                                                 requirement to hold a given number of                   •■ 61. In § 97.934, amend paragraph                   •■ p. Adding in alphabetical order a
                                                 CSAPR NOx NOX Ozone Season Group 2                       (d)(3) by removing "Program
                                                                                                                               ‘‘Program or CSAPR               definition for "CSAPR
                                                                                                                                                                                    ‘‘CSAPR NOx   NOX Ozone
                                                 allowances for a control period in 2017                  NOX Ozone Season Group 2 Trading
                                                                                                         NOx                                                    Season Group 3 secondary emissions
                                                 through 2022 by holding instead, in a                               quarterly’’ and adding in its
                                                                                                          Program, quarterly"                                   limitation’’;
                                                                                                                                                                limitation";
                                                 general account established for this sole                place "Program,
                                                                                                                 ‘‘Program, CSAPR NOxNOX Ozone                 •■ q. In the definition of "CSAPR  ‘‘CSAPR NOx   NOX
                                                 purpose, an amount of CSAPR NOx    NOX                   Season Group 2 Trading Program, or                    Ozone Season Group 3 Trading
                                                 Ozone Season Group 3 allowances for                      CSAPR NOx NOX Ozone Season Group 3                    Program’’,
                                                                                                                                                                Program", removing "(b)(2)(v),‘‘(b)(2)(v), and"and’’ and
                                                 the control period in 2023 (or any later                 Trading Program, quarterly".
                                                                                                                              quarterly’’.                      adding in its place "(b)(2)(iii),
                                                                                                                                                                                           ‘‘(b)(2)(iii), and";
                                                                                                                                                                                                              and’’;
                                                 control period for which the allowance                                                                        •■ r. Adding in alphabetical order a
                                                 transfer deadline defined in § 97.1002                  Subpart GGGGG—CSAPR NOx NOX Ozone                      definition for "CSAPR
                                                                                                                                                                                    ‘‘CSAPR SO    SO22 Group 2
                                                 has passed) computed as the quotient,                   Season Group 3 Trading Program                         Trading Program";
                                                                                                                                                                           Program’’;
                                                 rounded up to the nearest allowance, of                                                                       •■ s. In the definition of "Designated
                                                                                                                                                                                                  ‘‘Designated
                                                 such given number of CSAPR NOx    NOX                   •■ 62. Amend § 97.1002 by:                             representative’’,
                                                                                                                                                                representative", removing "or           ‘‘or CSAPR
                                                 Ozone Season Group 2 allowances                         •■ a. Revising the definition of "Allocate
                                                                                                                                             ‘‘Allocate         SO
                                                                                                                                                                SO22 Group 1 Trading Program, then"            then’’
                                                 divided by the conversion factor                            allocation’’;
                                                                                                          or allocation";                                       and adding in its place "CSAPR     ‘‘CSAPR SO    SO22
                                                 determined under paragraph (e)(1)(ii) of                •■ b. In the definition of "Allowance
                                                                                                                                     ‘‘Allowance                Group 1 Trading Program, or CSAPR
                                                 this section.                                           transfer deadline’’,             ‘‘primary’’
                                                                                                                    deadline", adding "primary"                 SO
                                                                                                                                                                SO22 Group 2 Trading Program, then".           then’’.
                                                                                                                  ‘‘emissions limitation";
                                                                                                         before "emissions     limitation’’;                   •■ t. In the definition of "Excess‘‘Excess
                                                 Subpart FFFFF—Texas SO2
                                                                     SO2 Trading                         •■ c. In the definition of "Alternate
                                                                                                                                     ‘‘Alternate                emissions’’,
                                                                                                                                                                emissions", adding "primary"‘‘primary’’ before
                                                 Program                                                  designated representative’’,
                                                                                                                       representative", removing                ‘‘emissions limitation";
                                                                                                                                                                "emissions      limitation’’;
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                          ‘‘or CSAPR SO
                                                                                                         "or           SO22 Group 1 Trading                    •■ u. Adding in alphabetical order a
                                                 •■ 60. Amend § 97.902 by:                                           then’’ and adding in its place
                                                                                                          Program, then"                                        definition for "Historical
                                                                                                                                                                                    ‘‘Historical control
                                                 •■ a. In the definition of "Alternate
                                                                            ‘‘Alternate                   ‘‘CSAPR SO
                                                                                                         "CSAPR      SO22 Group 1 Trading Program,              period’’;
                                                                                                                                                                period"; and
                                                  designated representative",
                                                               representative’’, removing                 or CSAPR SO SO22 Group 2 Trading                     •■ v. In the definition of "State",‘‘State’’,
                                                  ‘‘Program or CSAPR NOx
                                                  "Program               NOX Ozone Season                            then’’;
                                                                                                          Program, then";                                       removing "(b)(2)(v),
                                                                                                                                                                             ‘‘(b)(2)(v), and"
                                                                                                                                                                                             and’’ and adding in
                                                  Group 2 Trading Program, then"then’’ and               •■ d. In the definition of "Assurance
                                                                                                                                      ‘‘Assurance               its place "(b)(2)(iii),
                                                                                                                                                                           ‘‘(b)(2)(iii), and".
                                                                                                                                                                                             and’’.
                                                 adding in its place "Program,
                                                                       ‘‘Program, CSAPR                   account’’, removing "base
                                                                                                         account",                ‘‘base CSAPR"
                                                                                                                                         CSAPR’’ and               The
                                                                                                                                                                    - revisions and additions read as
                                                  NOX Ozone Season Group 2 Trading
                                                 NOx                                                     adding in its place "CSAPR";
                                                                                                                                ‘‘CSAPR’’;                      follows:


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00252   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 291 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                            36905

                                                 §97.1002
                                                 § 97.1002 Definitions.                                  CSAPR NOxNOX Ozone Season Group 3                     interstate transport of fine particulates
                                                 *
                                                 *      *
                                                        *     *
                                                              *     *
                                                                    *     *                              allowances purchased by an owner or                         SO2.
                                                                                                                                                               and SO2.
                                                    Allocate or allocation means, with                   operator of such CSAPR NOx  NOX Ozone                 *
                                                                                                                                                               *      *     *      *      *
                                                 regard to CSAPR NOx NOX Ozone Season                    Season Group 3 units in an auction for                   Historical control period means, for a
                                                 Group 3 allowances, the determination                   such control period and submitted by                  unit as of a given calendar year, the
                                                 by the Administrator, State, or                         the State or the permitting authority to              period starting May 1 of a previous
                                                 permitting authority, in accordance with                the Administrator for recordation in the              calendar year and ending September 30
                                                 this subpart, §§ 97.526(d) and 97.826(d)                compliance accounts for such CSAPR                    of that previous calendar year,
                                                 and (e), and any SIP revision submitted                 NOX Ozone Season Group 3 units in
                                                                                                         NOx                                                   inclusive, without regard to whether the
                                                 by the State and approved by the                        accordance with the CSAPR NOx   NOX Ozone             unit was subject to requirements under
                                                 Administrator under § 52.38(b)(10), (11),               Season Group 3 allowance auction                      the CSAPR NOxNOX Ozone Season Group 3
                                                 or (12) of this chapter, of the amount of               provisions in a SIP revision approved by              Trading Program during such period.
                                                 such CSAPR NOx NOX Ozone Season Group                   the Administrator under § 52.38(b)(11)                *
                                                                                                                                                               *      *
                                                                                                                                                                      *     *      *
                                                                                                                                                                                   *      *
                                                                                                                                                                                          *
                                                 3 allowances to be initially credited, at               or (12) of this chapter, multiplied by the
                                                                                                         sum of the State NOx
                                                                                                                            NOX Ozone Season                   ■
                                                                                                                                                               ■ 63. Amend § 97.1006 by:
                                                 no cost to the recipient, to:
                                                    (1) A CSAPR NOxNOX Ozone Season                      Group 3 trading budget under                          ■
                                                                                                                                                               ■ a. Revising paragraph (b)(2),
                                                                                                                                                               paragraph (c)(1) heading, paragraph
                                                 Group 3 unit;                                           § 97.1010(a) and the State’s
                                                                                                                                State's variability
                                                    (2) A new unit set-aside;                            limit under § 97.1010(e) for such control             (c)(1)(i), and paragraph (c)(1)(ii)
                                                    (3) An Indian country new unit set-                  period, and divided by such State NOx NOX             introductory text;
                                                                                                                                                               ■
                                                                                                                                                               ■ b. Adding paragraphs (c)(1)(iii) and
                                                 aside;                                                  Ozone Season Group 3 trading budget;
                                                    (4) An Indian country existing unit                     (2) Provided that the allocations of               (iv);
                                                 set-aside; or                                           CSAPR NOxNOX Ozone Season Group 3                     ■
                                                                                                                                                               ■ c. In paragraphs (c)(2)(i) introductory
                                                    (5) An entity not listed in paragraphs               allowances for any control period taken               text and (c)(2)(i)(B), removing "base‘‘base
                                                 (1) through (4) of this definition;                     into account for purposes of this                     CSAPR’’ and adding in its place
                                                                                                                                                               CSAPR"
                                                    (6) Provided that, if the                            definition shall exclude any CSAPR                    ‘‘CSAPR’’ each time it appears;
                                                                                                                                                               "CSAPR"
                                                 Administrator, State, or permitting                     NOX Ozone Season Group 3 allowances
                                                                                                         NOx                                                   ■
                                                                                                                                                               ■ d. Revising paragraph (c)(2)(iii);
                                                 authority initially credits, to a CSAPR                 allocated for such control period under               ■
                                                                                                                                                               ■ e. In paragraph (c)(2)(iv), removing
                                                 NOX Ozone Season Group 3 unit
                                                 NOx                                                     § 97.526(d) or § 97.826(d) or (e).                    ‘‘base CSAPR"
                                                                                                                                                               "base   CSAPR’’ and adding in its place
                                                 qualifying for an initial credit, a credit                                                                    ‘‘CSAPR’’ each time it appears;
                                                                                                                                                               "CSAPR"
                                                                                                         *      *     *     *     *
                                                 in the amount of zero CSAPR NOx  NOX                                                                          ■
                                                                                                                                                               ■ f. Revising paragraph (c)(3); and
                                                                                                            CSAPR NOxNOX Ozone Season Group 1
                                                 Ozone Season Group 3 allowances, the                                                                          ■
                                                                                                                                                               ■ g. In paragraph (c)(6) introductory
                                                                                                         Trading Program means a multi-state
                                                 CSAPR NOxNOX Ozone Season Group 3 unit                                                                        text, adding "or
                                                                                                                                                                              ‘‘or less"
                                                                                                                                                                                   less’’ after "one
                                                                                                                                                                                                ‘‘one ton".
                                                                                                                                                                                                       ton’’.
                                                                                                         NOX air pollution control and emission
                                                                                                         NOx
                                                 will be treated as being allocated an                                                                            The revisions and additions read as
                                                                                                         reduction program established in                      follows:
                                                 amount (i.e., zero) of CSAPR NOxNOX                     accordance with subpart BBBBB of this
                                                 Ozone Season Group 3 allowances.                        part and § 52.38(b)(1), (b)(2)(i), and                § 97.1006 Standard requirements.
                                                 *
                                                 *      *
                                                        *     *
                                                              *     *
                                                                    *     *
                                                                          *                              (b)(3) through (5) and (13) through (15)              *      *     *    *     *
                                                    Backstop daily   NOX emissions rate
                                                               daily NOx                                 of this chapter (including such a                        (b) *
                                                                                                                                                                  (b) * *
                                                                                                                                                                        * **
                                                           NOX emissions rate used in the
                                                 means a NOx                                             program that is revised in a SIP revision                (2) The emissions and heat input data
                                                 determination of the CSAPR NOx  NOX Ozone               approved by the Administrator under                   determined in accordance with
                                                 Season Group 3 primary emissions                        § 52.38(b)(3) or (4) of this chapter or that          §§ 97.1030 through 97.1035 shall be
                                                 limitation for a CSAPR NOx NOX Ozone                    is established in a SIP revision approved             used to calculate allocations of CSAPR
                                                 Season Group 3 source in accordance                     by the Administrator under § 52.38(b)(5)              NOX Ozone Season Group 3 allowances
                                                                                                                                                               NOx
                                                 with § 97.1024(b).                                      of this chapter), as a means of mitigating            under §§ 97.1011 and 97.1012 and to
                                                 *
                                                 *      *
                                                        *     *
                                                              *     *
                                                                    *     *                              interstate transport of ozone and NOx.
                                                                                                                                              NOX.             determine compliance with the CSAPR
                                                    Coal-derived fuel
                                                                  fuel means any fuel,                   *      *     *     *     *                            NOX Ozone Season Group 3 primary
                                                                                                                                                               NOx
                                                 whether in a solid, liquid, or gaseous                     CSAPR NOxNOX Ozone Season Group 3                  and secondary emissions limitations
                                                 state, produced by the mechanical,                      secondary emissions limitation means,
                                                                                                         secondary                                             and assurance provisions under
                                                 thermal, or chemical processing of coal.                for a CSAPR NOxNOX Ozone Season Group                 paragraph (c) of this section, provided
                                                 *
                                                 *      *
                                                        *     *
                                                              *     *
                                                                    *     *
                                                                          *                              3 unit to which such a limitation                     that, for each monitoring location from
                                                    Common designated representative’s
                                                                            representative's             applies under § 97.1025(c)(1) for a                   which mass emissions are reported, the
                                                 assurance level means, with regard to a                 control period in a given year, the                   mass emissions amount used in
                                                 specific common designated                              tonnage of NOx
                                                                                                                      NOX emissions calculated for             calculating such allocations and
                                                 representative and a State (and Indian                  the unit in accordance with                           determining such compliance shall be
                                                 country within the borders of such                      § 97.1025(c)(2) for such control period.              the mass emissions amount for the
                                                 State) and control period in a given year               *      *     *     *     *                            monitoring location determined in
                                                 for which the State assurance level is                     CSAPR SO SO22 Group 2 Trading Program              accordance with §§ 97.1030 through
                                                 exceeded as described in                                means a multi-state SOSO22 air pollution              97.1035 and rounded to the nearest ton,
                                                 § 97.1006(c)(2)(iii):                                   control and emission reduction program                with any fraction of a ton less than 0.50
                                                    (1) The amount (rounded to the                       established in accordance with subpart                being deemed to be zero.
                                                 nearest allowance) equal to the sum of                  DDDDD of this part and § 52.39(a), (c),                  (c) * * *
                                                                                NOX Ozone                                                                         (1) CSAPR NOx
                                                                                                                                                                              NOX Ozone Season Group
ddrumheller on DSK120RN23PROD with RULES2




                                                 the total amount of CSAPR NOx                           (g) through (k), and (m) of this chapter
                                                 Season Group 3 allowances allocated for                 (including such a program that is                       primary and secondary
                                                                                                                                                               3 primary       secondary emissions
                                                 such control period to the group of one                 revised in a SIP revision approved by                                  Primary emissions
                                                                                                                                                               limitations—(i) Primary
                                                 or more CSAPR NOx NOX Ozone Season                      the Administrator under § 52.39(g) or (h)             limitation. As of the allowance transfer
                                                 Group 3 units in such State (and such                   of this chapter or that is established in             deadline for a control period in a given
                                                 Indian country) having the common                       a SIP revision approved by the                        year, the owners and operators of each
                                                 designated representative for such                      Administrator under § 52.39(i) of this                CSAPR NOxNOX Ozone Season Group 3
                                                 control period and the total amount of                  chapter), as a means of mitigating                    source and each CSAPR NOx NOX Ozone


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00253   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                                           Document #2009836                                               Filed: 07/27/2023                   Page 292 of 430
                                                 36906                               Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations
                                                                             Federal Register/Vol.

                                                 Season Group 3 unit at the source shall                                    calculated in accordance with                                              of this section or the deadline for
                                                               source’s compliance
                                                 hold, in the source's                                                      § 97.1025(c)(2).                                                                          unit’s monitor certification
                                                                                                                                                                                                       meeting the unit's
                                                 account, CSAPR NOx NOX Ozone Season                                           (iv) Exceedances of secondary
                                                                                                                                                      secondary                                        requirements under § 97.1030(b) and for
                                                 Group 3 allowances available for                                           emissions limitation. If total NOx
                                                                                                                                                            NOX                                        each control period thereafter:
                                                 deduction for such control period under                                    emissions during a control period in a                                        (A) May 1, 2021, for a unit in a State
                                                 § 97.1024(a) in an amount not less than                                    given year from a CSAPR NOx  NOX Ozone                                     (and Indian country within the borders
                                                 the amount determined under                                                Season Group 3 unit are in excess of the                                   of such State) listed in
                                                 § 97.1024(b), comprising the sum of- of—                                   amount of a CSAPR NOx  NOX Ozone Season                                    § 52.38(b)(2)(iii)(A) of this chapter;
                                                    (A) The tons of total NOx
                                                                          NOX emissions                                     Group 3 secondary emissions limitation                                       (B) May 1, 2023, for a unit in a State
                                                 for such control period from all CSAPR                                     applicable to the unit for the control                                     (and Indian country within the borders
                                                 NOX Ozone Season Group 3 units at the
                                                 NOx                                                                        period under paragraph (c)(1)(iii) of this                                 of such State) listed in
                                                 source; plus                                                               section, then the owners and operators                                     § 52.38(b)(2)(iii)(B) of this chapter; or
                                                    (B) Two times the excess, if any, over                                  of the unit and the source at which the                                       (C) August 4, 2023, for a unit in a
                                                 50 tons of the sum, for all CSAPR NOxNOX                                   unit is located shall pay any fine,                                        State (and Indian country within the
                                                 Ozone Season Group 3 units at the                                          penalty, or assessment or comply with                                      borders of such State) listed in
                                                 source and all calendar days of the                                        any other remedy imposed, for the same                                     § 52.38(b)(2)(iii)(C) of this chapter.
                                                 control period, of any NOx
                                                                         NOX emissions                                      violations, under the Clean Air Act, and                                      (ii) A CSAPR NOx
                                                                                                                                                                                                                         NOX Ozone Season
                                                 from such a unit on any calendar day of                                    each ton of such excess emissions and                                      Group 3 unit shall be subject to the
                                                 the control period exceeding the NOxNOX                                    each day of such control period shall                                      requirements under paragraphs
                                                 emissions that would have occurred on                                      constitute a separate violation of this                                    (c)(1)(iii) and (iv) of this section for the
                                                 that calendar day if the unit had                                          subpart and the Clean Air Act.                                             control period starting on the later of
                                                 combusted the same daily heat input                                           (2) * * *                                                               May 1, 2024, or the deadline for meeting
                                                 and emitted at any backstop daily NOx NOX                                     (iii) Total NOx
                                                                                                                                           NOX emissions from all                                           unit’s monitor certification
                                                                                                                                                                                                       the unit's
                                                 emissions rate applicable to the unit for                                  CSAPR NOx NOX Ozone Season Group 3                                         requirements under § 97.1030(b) and for
                                                 that control period.                                                       units at CSAPR NOxNOX Ozone Season                                         each control period thereafter.
                                                    (ii) Exceedances of primary
                                                                         primary emissions                                  Group 3 sources in a State (and Indian                                     *
                                                                                                                                                                                                       *
                                                                                                                                                                                                               **   *     *
                                                                                                                                                                                                                          *
                                                                                                                                                                                                                                 *
                                                                                                                                                                                                                                 *

                                                                      NOX emissions during
                                                 limitation. If total NOx                                                   country within the borders of such
                                                 a control period in a given year from the                                  State) during a control period in a given                                  ■
                                                                                                                                                                                                       ■ 64. Revise § 97.1010 to read as

                                                           NOX Ozone Season Group 3                                                                                                                    follows:
                                                 CSAPR NOx                                                                  year exceed the State assurance level if
                                                 units at a CSAPR NOxNOX Ozone Season                                                    NOX emissions exceed the
                                                                                                                            such total NOx                                                             § 97.1010 State NOx NOX Ozone Season Group
                                                 Group 3 source are in excess of the                                        sum, for such control period, of the                                       3 trading budgets, set-asides, and
                                                 CSAPR NOx NOX Ozone Season Group 3                                         State NOx
                                                                                                                                    NOX Ozone Season Group 3                                           variability limits.
                                                 primary emissions limitation set forth in                                  trading budget under § 97.1010(a) and                                         (a) State NOx
                                                                                                                                                                                                                    NOX Ozone Season Group 3
                                                 paragraph (c)(1)(i) of this section, then:                                      State’s variability limit under
                                                                                                                            the State's                                                                trading budgets. (1)(i) The State NOx
                                                                                                                                                                                                                                          NOX
                                                 *
                                                 *       *
                                                         *    *
                                                              *     *
                                                                    *    *
                                                                         *                                                  § 97.1010(e).                                                              Ozone Season Group 3 trading budgets
                                                    (iii) Secondary
                                                          Secondary emissions limitation.                                   *       *
                                                                                                                                    *    *
                                                                                                                                         *     *      *                                                                           NOX Ozone
                                                                                                                                                                                                       for allocations of CSAPR NOx
                                                 The owner or operator of a CSAPR NOx  NOX                                     (3) Compliance periods. (i) A CSAPR                                     Season Group 3 allowances for the
                                                 Ozone Season Group 3 unit subject to an                                    NOX Ozone Season Group 3 unit shall
                                                                                                                            NOx                                                                        control periods in 2021 through 2025
                                                 emissions limitation under                                                 be subject to the requirements under                                       shall be as indicated in table 1 to this
                                                 § 97.1025(c)(1) shall not discharge, or                                    paragraphs (c)(1)(i) and (ii) and (c)(2) of                                paragraph (a)(1)(i), subject to prorating
                                                 allow to be discharged, emissions of                                       this section for the control period                                        for the control period in 2023 as
                                                 NOX to the atmosphere during a control
                                                 NOx                                                                        starting on the later of the applicable                                    provided in paragraph (a)(1)(ii) of this
                                                 period in excess of the tonnage amount                                     date in paragraph (c)(3)(i)(A), (B), or (C)                                section:
                                                      TABLE 1 TO P
                                                      TABLE       ARAGRAPH (a)(1)(i)—STATE NO
                                                                 PARAGRAPH                   X O
                                                                                           NOx      (a)(1)(0-STATE
                                                                                                     SEASON G
                                                                                                ZONE SEASON
                                                                                               OZONE                TRADING BUDGETS
                                                                                                             ROUP 3 TRADING
                                                                                                            GROUP           BUDGETS BY CONTROL
                                                                                                                                       CONTROL PERIOD,
                                                                                                                                               PERIOD,
                                                                                                                                                      2021–2025
                                                                                                                                                      2021-2025
                                                                                                                                                            [Tons]

                                                                                                                                                                            Portion of                  Portion of
                                                                                                                                                                           2023 control               2023 control
                                                                            State                                          2021                       2022                 period before             period on and       2024            2025
                                                                                                                                                                             August 4,               after August 4,
                                                                                                                                                                           2023, before               2023, before
                                                                                                                                                                             prorating                  prorating

                                                 Alabama ...................................................        ........................   ........................                13,211                 6,379          6,489           6,489
                                                 Arkansas ..................................................        ........................   ........................                  9,210                8,927          8,927           8,927
                                                 Illinois .......................................................                11,223                       9,102                      8,179                7,474          7,325           7,325
                                                 Indiana .....................................................                   17,004                     12,582                     12,553                12,440         11,413          11,413
                                                 Kentucky ..................................................                     17,542                     14,051                     14,051                13,601         12,999          12,472
                                                 Louisiana ..................................................                    16,291                     14,818                     14,818                 9,363          9,363           9,107
                                                 Maryland ..................................................                       2,397                      1,266                      1,266                1,206          1,206           1,206
                                                 Michigan ...................................................                    14,384                     12,290                       9,975               10,727         10,275          10,275
ddrumheller on DSK120RN23PROD with RULES2




                                                 Minnesota .................................................        ........................   ........................   ........................            5,504          4,058           4,058
                                                 Mississippi ................................................       ........................   ........................                  6,315                6,210          5,058           5,037
                                                 Missouri ....................................................      ........................   ........................                15,780                12,598         11,116          11,116
                                                 Nevada .....................................................       ........................   ........................   ........................            2,368          2,589           2,545
                                                 New Jersey ..............................................                         1,565                      1,253                      1,253                  773            773             773
                                                 New York .................................................                        4,079                      3,416                      3,421                3,912          3,912           3,912
                                                 Ohio ..........................................................                 13,481                       9,773                      9,773                9,110          7,929           7,929
                                                 Oklahoma .................................................         ........................   ........................                11,641
                                                                                                                                                                                       11.641                10,271
                                                                                                                                                                                                             10.271          9,384
                                                                                                                                                                                                                             9.384           9,376
                                                                                                                                                                                                                                             9.376



                                            VerDate Sep<11>2014         20:14 Jun 02, 2023         Jkt 259001       PO 00000       Frm 00254        Fmt 4701       Sfmt 4700       E:\FR\FM\05JNR2.SGM        05JNR2
                                                       USCA Case #23-1157                                           Document #2009836                                                 Filed: 07/27/2023                  Page 293 of 430
                                                                                      Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations
                                                                              Federal Register/Vol.                                                                                                                                       36907

                                                      TABLE 1 TO P
                                                      TABLE                (a)(1)(i)—STATE NO
                                                                  ARAGRAPH (a)(1)(i)-STATE
                                                                 PARAGRAPH                   X O
                                                                                           NOx       SEASON G
                                                                                                ZONE SEASON
                                                                                               OZONE                TRADING BUDGETS
                                                                                                             ROUP 3 TRADING
                                                                                                            GROUP           BUDGETS BY CONTROL
                                                                                                                                       CONTROL PERIOD,
                                                                                                                                               PERIOD,
                                                                                                                                            2021–2025—Continued
                                                                                                                                            2021-2025-Continued
                                                                                                                                                              [Tons]

                                                                                                                                                                              Portion of                  Portion of
                                                                                                                                                                             2023 control               2023 control
                                                                                                                             2021                        2022                period before             period on and      2024
                                                                             State                                                                                             August 4,               after August 4,                   2025
                                                                                                                                                                             2023, before               2023, before
                                                                                                                                                                               prorating                  prorating

                                                 Pennsylvania ............................................                         12,071                       8,373                      8,373                8,138        8,138          8,138
                                                 Texas .......................................................        ........................   ........................                52,301                40,134       40,134         38,542
                                                 Utah ..........................................................      ........................   ........................   ........................           15,755       15,917         15,917
                                                 Virginia .....................................................                      6,331                      3,897                      3,980                3,143        2,756          2,756
                                                 West Virginia ............................................                        15,062                     12,884                     12,884                13,791       11,958         11,958
                                                 Wisconsin .................................................          ........................   ........................                  7,915                6,295        6,295          5,988



                                                    (ii) For the control period in 2023, the                                  2023 control period for the State)                                         August 4, 2023, through September 30,
                                                         NOX Ozone Season Group 3
                                                 State NOx                                                                    multiplied by a fraction whose                                             2023, inclusive, and whose denominator
                                                 trading budget for each State shall be                                       numerator is the number of days from                                       is 153.
                                                 calculated as the sum, rounded to the                                        May 1, 2023, through the day before                                           (2)(i) The State NOx
                                                                                                                                                                                                                             NOX Ozone Season
                                                 nearest allowance, of the following                                          August 4, 2023, inclusive, and whose
                                                                                                                                                                                                         Group 3 trading budget for each State
                                                 prorated amounts:                                                            denominator is 153; plus
                                                    (A) The product of the non-prorated                                          (B) The product of the non-prorated                                     and each control period in 2026 through
                                                 trading budget for the portion of the                                        trading budget for the portion of the                                      2029 shall be the preset trading budget
                                                 2023 control period before August 4,                                         2023 control period on and after August                                    indicated for the State and control
                                                 2023, shown for the State in table 1 to                                      4, 2023, shown for the State in table 1                                    period in table 2 to this paragraph
                                                 paragraph (a)(1)(i) of this section (or                                      to paragraph (a)(1)(i) of this section                                     (a)(2)(i), except as provided in
                                                 zero if table 1 to paragraph (a)(1)(i)                                       multiplied by a fraction whose                                             paragraph (a)(2)(ii) of this section.
                                                 shows no amount for such portion of the                                      numerator is the number of days from
                                                                       TABLE 2 TO P
                                                                       TABLE                (a)(2)(i)—PRESET TRADING
                                                                                   ARAGRAPH (a)(2)(i)-PRESET
                                                                                  PARAGRAPH                  TRADING B           CONTROL PERIOD,
                                                                                                                       UDGETS BY CONTROL
                                                                                                                      BUDGETS            PERIOD, 2026-2029
                                                                                                                                                 2026–2029
                                                                                                               [Tons]

                                                                                                        State                                                                      2026                    2027           2028           2029

                                                 Alabama ...........................................................................................................                     6,339                  6,236        6,236          5,105
                                                 Arkansas ..........................................................................................................                     6,365                  4,031        4,031          3,582
                                                 Illinois ...............................................................................................................                5,889                  5,363        4,555          4,050
                                                 Indiana .............................................................................................................                   8,363                  8,135        7,280          5,808
                                                 Kentucky ..........................................................................................................                     9,697                  7,908        7,837          7,392
                                                 Louisiana ..........................................................................................................                    6,370                  3,792        3,792          3,639
                                                 Maryland ..........................................................................................................                       842                    842          842            842
                                                 Michigan ...........................................................................................................                    6,743                  5,691        5,691          4,656
                                                 Minnesota ........................................................................................................                      4,058                  2,905        2,905          2,578
                                                 Mississippi ........................................................................................................                    3,484                  2,084        1,752          1,752
                                                 Missouri ............................................................................................................                   9,248                  7,329        7,329          7,329
                                                 Nevada .............................................................................................................                    1,142                  1,113        1,113            880
                                                 New Jersey ......................................................................................................                         773                    773          773            773
                                                 New York .........................................................................................................                      3,650                  3,388        3,388          3,388
                                                 Ohio .................................................................................................................                  7,929                  7,929        6,911          6,409
                                                 Oklahoma .........................................................................................................                      6,631                  3,917        3,917          3,917
                                                 Pennsylvania ....................................................................................................                       7,512                  7,158        7,158          4,828
                                                 Texas ...............................................................................................................                  31,123                 23,009       21,623         20,635
                                                 Utah .................................................................................................................                  6,258                  2,593        2,593          2,593
                                                 Virginia .............................................................................................................                  2,565                  2,373        2,373          1,951
                                                 West Virginia ....................................................................................................                     10,818                  9,678        9,678          9,678
                                                 Wisconsin .........................................................................................................                     4,990                  3,416        3,416          3,416



                                                    (ii) If the preset trading budget                                         budget for the State and control period                                    thereafter shall be the dynamic trading
                                                 indicated for a given State and control                                      shall be the dynamic trading budget for                                    budget for the State and control period
ddrumheller on DSK120RN23PROD with RULES2




                                                 period in table 2 to paragraph (a)(2)(i) of                                  the State and control period referenced                                    referenced in the applicable notice
                                                 this section is less than the dynamic                                        in the applicable notice promulgated                                       promulgated under paragraph
                                                 trading budget for the State and control                                     under paragraph (a)(4)(v)(C) of this                                       (a)(4)(v)(C) of this section.
                                                 period referenced in the applicable                                          section.                                                                      (4) The Administrator will calculate
                                                 notice promulgated under paragraph                                                           NOX Ozone Season
                                                                                                                                (3) The State NOx                                                        the dynamic trading budget for each
                                                 (a)(4)(v)(C) of this section, then the State                                 Group 3 trading budget for each State                                      State and each control period in 2026
                                                 NOX Ozone Season Group 3 trading
                                                 NOx                                                                          and each control period in 2030 and


                                            VerDate Sep<11>2014          20:14 Jun 02, 2023         Jkt 259001       PO 00000        Frm 00255        Fmt 4701       Sfmt 4700       E:\FR\FM\05JNR2.SGM        05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 294 of 430
                                                 36908
                                                 36908                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 and thereafter in the year before the year                 (B) For the State, the Administrator                  (B) For a unit not listed in the
                                                 of the control period as follows:                       will determine the following state-level              document referenced in paragraph
                                                    (i) The Administrator will include a                 amounts:                                              (a)(4)(iii)(A) of this section, the NOx
                                                                                                                                                                                                   NOX
                                                 unit in a State (and Indian country                        (1) The sum for all units in the State             emissions rate used in the calculation
                                                 within the borders of the State) in the                 meeting the criterion under paragraph                 for the control period shall be identified
                                                                      State’s dynamic
                                                 calculation of the State's                              (a)(4)(i)(A) of this section, without                 according to the type of unit and the
                                                 trading budget for a control period if—                 regard to whether such units also meet                type of fuel combusted by the unit
                                                    (A) To the best of the Administrator's
                                                                            Administrator’s              the criteria under paragraphs (a)(4)(i)(B)            during the control period beginning
                                                 knowledge, the unit qualifies as a                      and (C) of this section, of the total heat            May 1 on or immediately after the unit's
                                                                                                                                                                                                      unit’s
                                                 CSAPR NOx NOX Ozone Season Group 3 unit                 input amounts reported in accordance                  deadline for certification of monitoring
                                                 under § 97.1004, without regard to                      with part 75 of this chapter for the                  systems under § 97.1030(b) as follows:
                                                 whether the unit has permanently                        historical control periods in the years                  (1) 0.011 lb/mmBtu, for a simple cycle
                                                 retired, provided that including a unit                 two, three, and four years before the                 combustion turbine or a combined cycle
                                                 in the calculation of a dynamic trading                 year of the control period for which the              combustion turbine other than an
                                                 budget does not constitute a                            dynamic trading budget is being                       integrated coal gasification combined
                                                 determination that the unit is a CSAPR                  calculated, provided that for the                     cycle unit;
                                                 NOX Ozone Season Group 3 unit, and
                                                 NOx                                                     historical control periods in 2022 and                   (2) 0.030 lb/mmBtu, for a boiler
                                                 not including a unit in the calculation                 2023, the total reported heat input                   combusting only fuel oil or gaseous fuel
                                                 of a dynamic trading budget does not                    amounts for Nevada and Utah as                        (other than coal-derived fuel) during
                                                 constitute a determination that the unit                otherwise determined under this                       such control period; or
                                                                                                         paragraph (a)(4)(ii)(B)(1) shall be                      (3) 0.050 lb/mmBtu, for a boiler
                                                 is not a CSAPR NOx NOX Ozone Season
                                                 Group 3 unit;                                           increased by 13,489,332 mmBtu for                     combusting any amount of coal or coal-
                                                                                                                                                               derived fuel during such control period
                                                    (B) The unit's
                                                             unit’s deadline for                         Nevada and by 1,888,174 mmBtu for
                                                                                                         Utah;
                                                                                                                                                               or any other unit not covered by
                                                 certification of monitoring systems
                                                                                                                                                               paragraph (a)(4)(iii)(B)(1) or (2) of this
                                                 under § 97.1030(b) is on or before May                     (2) The average of the three state-level
                                                                                                                                                               section.
                                                 1 of the year two years before the year                 total heat input amounts calculated for                  (iv) The Administrator will calculate
                                                 of the control period for which the                     the State under paragraph (a)(4)(ii)(B)(1)            the State’s
                                                                                                                                                                    State's dynamic trading budget for
                                                 dynamic trading budget is being                         of this section; and                                  the control period as the sum (converted
                                                 calculated; and                                            (3) The sum for all units identified for           to tons at a conversion factor of 2,000
                                                    (C) The owner or operator reported                   inclusion in the calculation of the                   lb/ton and rounded to the nearest ton),
                                                 heat input greater than zero for the unit               State’s
                                                                                                         State's dynamic trading budget for the                for all units identified for inclusion in
                                                 in accordance with part 75 of this                      control period under paragraph (a)(4)(i)              the calculation under paragraph (a)(4)(i)
                                                 chapter for the historical control period               of this section of the unit-level average             of this section, of the product for each
                                                 in the year two years before the year of                heat input amounts calculated under                   such unit of the heat input amount in
                                                 the control period for which the                        paragraph (a)(4)(ii)(A)
                                                                                                                      (a)(4)(ii)(A)(2)
                                                                                                                                   (2) of this section.        mmBtu calculated for the unit under
                                                 dynamic trading budget is being                            (C) The heat input amount for a unit               paragraph (a)(4)(ii) of this section
                                                 calculated.                                             used in the calculation of the State's
                                                                                                                                            State’s            multiplied by the NOxNOX emissions rate in
                                                    (ii) For each unit identified for                    dynamic trading budget shall be the                   lb/mmBtu identified for the unit under
                                                 inclusion in the calculation of the                     product of the unit-level average total               paragraph (a)(4)(iii) of this section.
                                                 State’s
                                                 State's dynamic trading budget for a                    heat input amount calculated for the                     (v)(A) By March 1, 2025 and March 1
                                                 control period under paragraph (a)(4)(i)                unit under paragraph (a)(4)(ii)(A)(2) of              of each year thereafter, the
                                                 of this section, the Administrator will                 this section multiplied by a fraction                 Administrator will calculate the
                                                 calculate the heat input amount in                      whose numerator is the state-level                    dynamic trading budget for each State,
                                                 mmBtu to be used in the budget                          average total heat input amount                       in accordance with paragraphs (a)(4)(i)
                                                 calculation as follows:                                 calculated under paragraph                            through (iv) of this section and
                                                    (A) For each such unit, the                          (a)(4)(ii)(B)(2) of this section and whose            §§ 97.1006(b)(2) and 97.1030 through
                                                                                                                                                               §§97.1006(b)(2)
                                                 Administrator will determine the                        denominator is the state-level sum of                 97.1035, for the control period in the
                                                 following unit-level amounts:                           the unit-level average heat input                     year after the year of the applicable
                                                    (1) The total heat input amounts                     amounts calculated under paragraph                    calculation deadline under this
                                                 reported in accordance with part 75 of                  (a)(4)(ii)(B)(3) of this section.                     paragraph (a)(4)(v)(A) and will
                                                 this chapter for the unit for the                          (iii) For each unit identified for                 promulgate a notice of data availability
                                                 historical control periods in the years                 inclusion in the calculation of the                   of the results of the calculations.
                                                 two, three, four, five, and six years                   State’s
                                                                                                         State's dynamic trading budget for a                     (B) For each notice of data availability
                                                 before the year of the control period for               control period under paragraph (a)(4)(i)              required in paragraph (a)(4)(v)(A) of this
                                                 which the dynamic trading budget is                     of this section, the Administrator will               section, the Administrator will provide
                                                 being calculated, except any historical                 identify the NOx
                                                                                                                        NOX emissions rate in lb/              an opportunity for submission of
                                                 control period that commenced before                    mmBtu to be used in the calculation as                objections to the calculations referenced
                                                      unit’s first deadline under any
                                                 the unit's                                              follows:                                              in such notice. Objections shall be
                                                 regulatory program to begin recording                      (A) For a unit listed in the document              submitted by the deadline specified in
                                                 and reporting heat input in accordance                  entitled "Unit-Specific
                                                                                                                   ‘‘Unit-Specific Ozone Season                such notice and shall be limited to
                                                 with part 75 of this chapter; and                       NOX Emissions Rates for Dynamic
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                         NOx                                                   addressing whether the calculations
                                                    (2) The average of the three highest                 Budget Calculations"
                                                                                                                   Calculations’’ posted at                    (including the identification of the units
                                                 unit-level total heat input amounts                     www.regulations.gov
                                                                                                         www.regulations.gov in docket EPA—   EPA–             included in the calculations) are in
                                                 identified for the unit under paragraph                 HQ–OAR–2021–0668, the NOx
                                                                                                         HQ—OAR-2021-0668,              NOX                    accordance with the provisions
                                                 (a)(4)(iv)(A)(1) of this section or, if fewer           emissions rate used in the calculation                referenced in paragraph (a)(4)(v)(A) of
                                                 than three non-zero amounts are                         for the control period shall be the NOx NOX           this section.
                                                 identified for the unit, the average of all             emissions rate shown for the unit and                    (C) The Administrator will adjust the
                                                 such non-zero total heat input amounts.                 control period in that document.                      calculations to the extent necessary to


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00256   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                       USCA Case #23-1157                                     Document #2009836                                       Filed: 07/27/2023                       Page 295 of 430
                                                                             Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                                                           36909
                                                                                                                                                                                                                                          36909

                                                 ensure that they are in accordance with accordance with paragraph (a) of this                                                       TABLE 5 TO PARAGRAPH
                                                                                                                                                                                     TABLE      PARAGRAPH (e)(1)—VARI-
                                                                                                                                                                                                              (e)(1)—VARI-
                                                 the provisions referenced in paragraph      section multiplied by—                                                                           LIMITS BY CONTROL
                                                                                                                                                                                      ABILITY LIMITS        CONTROL PE-
                                                                                                                                                                                                                      PE-
                                                 (a)(4)(v)(A) of this section. By May 1         (i) 0.09, for Nevada for the control                                                  RIOD—Continued
                                                                                                                                                                                      RIOD—Continued
                                                 immediately after the promulgation of       periods in 2023 through 2025;
                                                                                                                                                                                              [2021-2022 (tons)]
                                                                                                                                                                                              [2021–2022
                                                 each notice of data availability required      (ii) 0.06, for Ohio for the control
                                                 in paragraph (a)(4)(v)(A) of this section, periods in 2023 through 2025;                                                                            State                        2021     2022
                                                 the Administrator will promulgate a            (iii) 0.05, for each State other than
                                                 notice of data availability of the results  Nevada and Ohio for the control periods                                                Ohio ......................................   2,831    2,052
                                                 of the calculations incorporating any       in 2023 through 2025; or                                                               Pennsylvania ........................         2,535    1,758
                                                 adjustments that the Administrator             (iv) 0.05, for each State for each                                                  Virginia ..................................   1,329      818
                                                 determines to be necessary and the          control period in 2026 and thereafter.                                                 West Virginia ........................        3,163    2,706
                                                 reasons for accepting or rejecting any         (d) Indian countrycountry new    new unit set-asides
                                                 objections submitted in accordance with for for the control periods in 2021 and                                                       (2) The variability limit for the State
                                                 paragraph (a)(4)(v)(B) of this section.     2022. The Indian country new unit set-                                                 NOX Ozone Season Group 3 trading
                                                                                                                                                                                    NOx
                                                    (b) Indian country
                                                                country existing unit set-   asides for allocations of CSAPR NOx                    NOX                             budget for each State for each control
                                                         for the control periods in 2023
                                                 asides for                                  Ozone Season Group 3 allowances for                                                    period in 2023 and thereafter shall be
                                                 and thereafter. The Indian country          the control periods in 2021 and 2022 for                                               calculated as the product (rounded to
                                                 existing unit set-aside for allocations of  each State with CSAPR NOx                 NOX Ozone                                    the nearest ton) of the State NOx
                                                                                                                                                                                                                    NOX Ozone
                                                 CSAPR NOxNOX Ozone Season Group 3           Season Group 3 trading budgets for such                                                Season Group 3 trading budget for the
                                                 allowances for each State for each          control periods shall be as indicated in                                               State and control period established in
                                                 control period in 2023 and thereafter       table 4 to this paragraph (d):                                                         accordance with paragraph (a) of this
                                                 shall be calculated as the sum of all                                                                                              section multiplied by the greater of—
                                                 allowance allocations to units in areas       TABLE 4 TO PARAGRAPH
                                                                                               TABLE                 PARAGRAPH (G)—INDIAN   (d)—INDIAN                                 (i) 0.21; or
                                                 of Indian country within the borders of        COUNTRY NEW
                                                                                                COUNTRY            NEW U         NIT S
                                                                                                                              UNIT         ET-ASIDES BY
                                                                                                                                         SET-ASIDES                                    (ii) Any excess over 1.00 of the
                                                 the State not subject to the State’s
                                                                               State's SIP      CONTROL PERIOD
                                                                                                CONTROL            PERIOD                                                           quotient (rounded to two decimal
                                                 authority as provided in the applicable                                                                                            places) of—
                                                                                                                 [2021-2022
                                                                                                                 [2021–2022 (tons)]
                                                 notice of data availability for the control                                                                                           (A) The sum for all CSAPR NOx  NOX
                                                 period referenced in § 97.1011(a)(2).                        State                          2021 2022                              Ozone Season Group 3 units in the State
                                                    (c) New
                                                        New unit set-asides. (1) The new                                                                                            and Indian country within the borders
                                                 unit set-asides for allocations of CSAPR Illinois .................................... .......... ..........                       of the State of the total heat input
                                                 NOX Ozone Season Group 3 allowances Indiana .................................. .......... ..........
                                                 NOx                                                                                                                                reported for the control period in
                                                 for the control periods in 2021 and 2022 Kentucky ............................... .......... ..........                            mmBtu, provided that, for purposes of
                                                 for each State with CSAPR NOx NOX Ozone     Louisiana ..............................             15         15
                                                                                                                                                                                    this paragraph (e)(2)(ii)(A), the 2023
                                                 Season Group 3 trading budgets for such Maryland ............................... .......... ..........                             control period for all States shall be
                                                 control periods shall be as indicated in    Michigan ...............................             13         12
                                                                                             New Jersey ........................... .......... ..........                           deemed to be the period from May 1,
                                                 table 3 to this paragraph (c)(1):                                                                                                  2023 through September 30, 2023,
                                                                                             New York ..............................                3          3
                                                                                             Ohio   ......................................  .......... ..........                   inclusive; divided by
                                                  TABLE 3 TO PARAGRAPH
                                                  TABLE          PARAGRAPH (C)(1)—NEW
                                                                               (c)(1)—NEW
                                                                                             Pennsylvania ........................ .......... ..........                               (B) The state-level total heat input
                                                 UNIT S
                                                 UNIT     ET-ASIDES BY CONTROL
                                                        SET-ASIDES        CONTROL PERIOD
                                                                                     PERIOD Virginia .................................. .......... ..........                       amount used in the calculation of the
                                                               [2021-2022 (tons)]
                                                               [2021–2022                    West Virginia ........................ .......... ..........                           State NOx
                                                                                                                                                                                            NOX Ozone Season Group 3
                                                                                                                                                                                    trading budget for the State and control
                                                                   State                         2021     2022        (e) Variability
                                                                                                                           Variability limits. (1) The                              period in mrnBtu,
                                                                                                                                                                                                mmBtu, as identified in
                                                                                                                    variability limits for the State NOx
                                                                                                                                                     NOX                            accordance with paragraph (e)(3) of this
                                                 Illinois ....................................    265         265
                                                 Indiana ..................................       262         254   Ozone Season Group 3 trading budgets                            section.
                                                 Kentucky ...............................         309         283   for the control periods in 2021 and 2022                           (3) For purposes of paragraph
                                                 Louisiana ..............................         430         430   for each State with such trading budgets                        (e)(2)(ii)(B) of this section, the state-
                                                 Maryland ...............................         135         115   for such control periods shall be as                            level total heat input amount used in
                                                 Michigan ...............................         500         482   indicated in table 5 to this paragraph                          the calculation of a State NOx
                                                                                                                                                                                                                 NOX Ozone
                                                 New Jersey ...........................            27          27   (e)(1).                                                         Season Group 3 trading budget for a
                                                 New York ..............................          168         168
                                                 Ohio ......................................      291         290                                                                   given control period shall be identified
                                                                                                                     TABLE 5 TO P
                                                                                                                     TABLE         PARAGRAPH     (e)(1)—VARI-
                                                                                                                                     ARAGRAPH (e)(1)—VARI-                          as follows:
                                                 Pennsylvania ........................            335         339     ABILITY L
                                                                                                                              LIMITS     CONTROL P
                                                                                                                                IMITS BY CONTROL     PERIOD
                                                                                                                                                       ERIOD
                                                 Virginia ..................................      185         161                                                                      (i) For a control period in 2023
                                                 West Virginia ........................           266         261                [2021-2022
                                                                                                                                 [2021–2022 (tons)]                                 through 2025, and for a control period
                                                                                                                                                                                    in 2026 through 2029 if the State NOx NOX
                                                    (2) The new unit set-aside for                                                    State                         2021    2022    Ozone Season Group 3 trading budget
                                                                        NOX Ozone
                                                 allocations of CSAPR NOx                                                                                                           for the State and control period under
                                                                                                                    Illinois ....................................   2,356   1,911
                                                 Season Group 3 allowances for each                                 Indiana ..................................      3,571   2,642   paragraph (a)(2) of this section is the
                                                 State for each control period in 2023                              Kentucky ...............................        3,684   2,951   preset trading budget set forth for the
                                                 and thereafter shall be calculated as the                          Louisiana ..............................        3,421   3,112   State and control period in table 2 to
ddrumheller on DSK120RN23PROD with RULES2




                                                 product (rounded to the nearest                                    Maryland ...............................          504     266   paragraph (a)(2)(i) of this section, the
                                                                         NOX Ozone
                                                 allowance) of the State NOx                                        Michigan ...............................        3,021   2,581   state-level total heat input amounts
                                                 Season Group 3 trading budget for the                              New Jersey ...........................            329     263   shall be as indicated in table 6 to this
                                                 State and control period established in                            New York ..............................           856     717   paragraph (e)(3)(i).




                                            VerDate Sep<11>2014         20:14 Jun 02, 2023       Jkt 259001   PO 00000    Frm 00257        Fmt 4701      Sfmt 4700    E:\FR\FM\05JNR2.SGM     05JNR2
                                                        USCA Case #23-1157                                                Document #2009836                                 Filed: 07/27/2023                Page 296 of 430
                                                 36910
                                                 36910                            Federal Register / Vol. 88, No. 107/Monday,
                                                                                                                  107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                                        2023/Rules

                                                         TABLE 6 TO PARAGRAPH
                                                         TABLE      PARAGRAPH (e)(3)(i)—STATE-LEVEL
                                                                              (e)(3)(i)—STATE-LEVEL TOTAL
                                                                                                    TOTAL HEAT
                                                                                                           HEAT INPUT
                                                                                                                INPUT U
                                                                                                                      USED     CALCULATIONS OF PRESET
                                                                                                                        SED IN CALCULATIONS    PRESET TRADING
                                                                                                                                                      TRADING
                                                                                             BUDGETS BY CONTROL
                                                                                             BUDGETS     CONTROL PERIOD
                                                                                                                   PERIOD
                                                                                                  [2023-2029
                                                                                                  [2023–2029 (mmBtu)]

                                                                               State                                        2023            2024               2025             2026            2027            2028            2029

                                                 Alabama ........................................................          313,037,541     333,030,691        333,030,691      330,396,046     328,650,653     328,650,653     307,987,882
                                                 Arkansas .......................................................          192,843,561     192,843,561        192,843,561      190,921,052     190,921,052     190,921,052     190,921,052
                                                 Illinois ............................................................     274,005,935     286,568,112        286,568,112      253,219,463     253,219,463     214,086,655     193,900,867
                                                 Indiana ...........................................................       356,047,916     330,175,944        330,175,944      302,245,332     302,245,332     277,218,546     236,611,101
                                                 Kentucky ........................................................         301,161,750     301,161,750        295,857,697      295,857,697     295,857,697     293,016,485     274,595,978
                                                 Louisiana .......................................................         280,592,592     280,592,592        278,766,253      278,461,807     277,262,840     277,262,840     277,262,840
                                                 Maryland ........................................................          70,725,007      70,725,007         70,725,007       70,725,007      70,725,007      70,725,007      70,725,007
                                                 Michigan ........................................................         313,846,533     299,124,688        299,124,688      258,225,107     258,225,107     258,225,107     222,314,181
                                                 Minnesota ......................................................          128,893,685     107,821,236        107,821,236      107,821,236      93,890,928      93,890,928      85,707,385
                                                 Mississippi .....................................................         192,978,295     189,415,018        189,279,160      189,279,160     189,279,160     176,004,820     176,004,820
                                                 Missouri .........................................................        284,308,851     249,153,661        249,153,661      249,153,661     248,413,545     248,413,545     248,413,545
                                                 Nevada ..........................................................         103,489,785     116,979,117        114,729,782      105,018,415     100,193,805     100,193,805      96,378,269
                                                 New Jersey ...................................................            112,233,231     112,233,231        112,233,231      112,233,231     112,233,231     112,233,231     112,233,231
                                                 New York .......................................................          242,853,661     242,853,661        242,853,661      242,853,661     242,853,661     242,853,661     242,853,661
                                                 Ohio ...............................................................      412,292,609     386,560,212        386,560,212      386,560,212     386,560,212     358,992,155     342,075,946
                                                 Oklahoma ......................................................           212,903,386     211,187,283        211,165,691      211,145,820     196,160,642     196,160,642     196,160,642
                                                 Pennsylvania .................................................            550,993,363     550,993,363        550,993,363      550,993,363     550,993,363     550,993,363     487,590,728
                                                 Texas .............................................................     1,395,116,925   1,395,116,925      1,389,251,813    1,389,251,813   1,356,192,532   1,320,040,162   1,280,014,875
                                                 Utah ...............................................................      164,519,648     166,407,822        166,407,822      127,217,396     127,217,396     127,217,396     127,217,396
                                                 Virginia ..........................................................       202,953,791     194,015,719        194,015,719      194,015,719     194,015,719     194,015,719     186,848,587
                                                 West Virginia .................................................           306,845,495     273,151,957        273,151,957      273,151,957     273,151,957     273,151,957     273,151,957
                                                 Wisconsin ......................................................          220,794,282     220,792,155        213,038,308      185,469,476     151,343,287     151,343,287     151,343,287



                                                    (ii) For a control period in 2026                                           under paragraph (b)(11)(iii) of this        set-aside for the control period under
                                                 through 2029 if the State NOx
                                                                             NOX Ozone                                          section.                                    § 97.1010(c).
                                                 Season Group 3 trading budget for the                                             (2) For the control periods in 2023         (2) The Administrator will calculate a
                                                 State and control period under                                                 and each year thereafter, CSAPR NOx  NOX    default allocation of CSAPR NOx NOX Ozone
                                                 paragraph (a)(2) of this section is the                                        Ozone Season Group 3 allowances will        Season Group 3 allowances for each
                                                 dynamic trading budget for the State                                           be allocated to units in areas of Indian    CSAPR NOx NOX Ozone Season Group 3 unit
                                                 and control period referenced in the                                           country within the borders of each State in the State and Indian country within
                                                 applicable notice promulgated under                                            not subject to the State’s
                                                                                                                                                     State's SIP authority  the borders of the State meeting the
                                                 paragraph (a)(4)(v)(C) of this section,                                        as provided in notices of data              following criteria:
                                                 and for a control period in 2030 and                                           availability issued by the Administrator.      (i) To the best of the Administrator's
                                                                                                                                                                                                      Administrator’s
                                                 thereafter, the state-level total heat input                                   Starting with the control period in 2026, knowledge, the unit qualifies as a
                                                 amount shall be the amount for the State                                       the notices of data availability will be    CSAPR NOx NOX Ozone Season Group 3 unit
                                                 and control period calculated under                                            the notices issued under paragraph          under § 97.1004, without regard to
                                                 paragraph (a)(4)(ii)(B)(2) of this section.                                    (b)(11)(iii) of this section.               whether the unit has permanently
                                                    (f) Relationship of trading budgets,                                           (3) Providing an allocation to a unit in retired;
                                                 set-asides, and variability
                                                                   variability limits. Each                                     a notice of data availability does not         (ii) The unit's
                                                                                                                                                                                        unit’s deadline for
                                                         NOX Ozone Season Group 3
                                                 State NOx                                                                      constitute a determination that the unit    certification of monitoring systems
                                                 trading budget in this section includes                                        is a CSAPR NOxNOX Ozone Season Group        under § 97.1030(b) is on or before May
                                                 any tons in an Indian country existing                                         3 unit, and not providing an allocation     1 of the year two years before the year
                                                 unit set-aside, a new unit set-aside, or                                       to a unit in such notice does not           of the control period for which the
                                                 an Indian country new unit set-aside but                                       constitute a determination that the unit    allowances are being allocated; and
                                                 does not include any tons in a                                                 is not a CSAPR NOx NOX Ozone Season            (iii) The owner or operator reported
                                                 variability limit.                                                             Group 3 unit.                               heat input greater than zero for the unit
                                                 ■
                                                 ■ 65. Amend § 97.1011 by revising the
                                                                                                                                   (b) Calculation of default allocations   in accordance with part 75 of this
                                                 section heading and paragraphs (a), (b),                                       to existing units for control periods in    chapter for the historical control period
                                                 paragraph (c) heading, and paragraphs                                          2026 and thereafter. For each control       in the year two years before the year of
                                                 (c)(1) and (5) to read as follows:                                             period in 2026 and thereafter, and for      the control period for which the
                                                                                                                                the CSAPR NOx NOX Ozone Season Group 3 allowances are being allocated.
                                                 § 97.1011 CSAPR NOx
                                                                 NOX Ozone Season                                               units in each State and areas of Indian        (3) For each CSAPR NOxNOX Ozone
                                                 Group 3 allowance allocations to existing                                      country within the borders of the State,    Season Group 3 unit for which a default
                                                 units.                                                                         the Administrator will calculate default allocation is being calculated for a
                                                   (a) Allocations to existing units in                                         allocations of CSAPR NOx  NOX Ozone         control period, the Administrator will
                                                 general. (1) For the control periods in                                        Season Group 3 allowances to the            calculate an average heat input amount
                                                 2021 and each year thereafter, CSAPR                                           CSAPR NOxNOX Ozone Season Group 3           to be used in the allocation calculations
                                                 NOX Ozone Season Group 3 allowances
                                                 NOx                                                                            units as follows:                           as follows:
ddrumheller on DSK120RN23PROD with RULES2




                                                 will be allocated to units in each State                                          (1) For each State and control period,      (i) The Administrator will identify the
                                                 and areas of Indian country within the                                         the total amount of CSAPR NOx  NOX Ozone    total heat input amounts reported for
                                                 borders of the State subject to the State’s
                                                                                     State's                                    Season Group 3 allowances for which         the unit in accordance with part 75 of
                                                 SIP authority as provided in notices of                                        the Administrator will calculate default this chapter for the historical control
                                                 data availability issued by the                                                allocations shall be the remainder of the periods in the years two, three, four,
                                                 Administrator. Starting with the control                                       State NOx
                                                                                                                                       NOX Ozone Season Group 3             five, and six years before the year of the
                                                 period in 2026, the notices of data                                            trading budget for the control period       control period for which the allowances
                                                 availability will be the notices issued                                        under § 97.1010(a) minus the new unit       are being allocated, except any


                                            VerDate Sep<11>2014             20:14 Jun 02, 2023            Jkt 259001      PO 00000   Frm 00258   Fmt 4701    Sfmt 4700   E:\FR\FM\05JNR2.SGM    05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 297 of 430
                                                                      Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations                                          36911
                                                                                                                                                                                                  36911

                                                 historical control period that                          derived fuel during the historical                    in paragraphs (b)(9) and (10) of this
                                                 commenced before the unit'sunit’s first                 control period for which the unit's
                                                                                                                                          unit’s heat          section.
                                                 deadline under any regulatory program                   input was most recently reported and                     (7) If the unrounded default allocation
                                                 to begin recording and reporting heat                   that serves a generator with nameplate                determined in the previous round of the
                                                 input in accordance with part 75 of this                capacity of 100 MW or more, except a                  calculation procedure for at least one
                                                 chapter.                                                circulating fluidized bed boiler.                     CSAPR NOx  NOX Ozone Season Group 3 unit
                                                    (ii) The average heat input amount                      (5) The Administrator will calculate               is less than the unit's
                                                                                                                                                                                  unit’s tentative
                                                 used in the allocation calculations shall               the initial unrounded default allocations             maximum allocation amount
                                                 be the average of the three highest total               for each CSAPR NOx   NOX Ozone Season                 determined under paragraph (b)(4)(ii) of
                                                 heat input amounts identified for the                   Group 3 unit according to the procedure               this section, the Administrator will
                                                 unit under paragraph (b)(3)(i) of this                  in paragraph (b)(6) of this section and               recalculate the unrounded default
                                                 section or, if fewer than three non-zero                will recalculate the unrounded default                allocations as follows:
                                                 amounts are identified for the unit, the                allocations according to the procedures                  (i) The Administrator will calculate
                                                 average of all such non-zero total heat                 in paragraph (b)(7) or (8) of this section,           the additional pool of allowances to be
                                                 input amounts.                                          as applicable, iterating the                          allocated as the remainder of the total
                                                    (4) For each CSAPR NOx NOX Ozone                     recalculations as necessary until the                 amount of allowances determined for
                                                 Season Group 3 unit for which a default                 total of the unrounded default                        the State and control period under
                                                 allocation is being calculated for a                    allocations to all eligible units equals              paragraph (b)(1) of this section minus
                                                 control period, the Administrator will                  the amount of allowances determined                   the sum of the unrounded default
                                                 calculate a tentative maximum                           for the State under paragraph (b)(1) of               allocations from the previous round of
                                                 allocation amount to be used in the                     this section.                                         the calculation procedure for all units
                                                 allocation calculations as follows:                        (6) The Administrator will calculate               determined under paragraph (b)(2) of
                                                    (i) The Administrator will identify the              the initial unrounded default allocations             this section to be eligible to receive
                                                        NOX emissions amounts reported
                                                 total NOx                                               to CSAPR NOx  NOX Ozone Season Group 3                default allocations.
                                                 for the unit in accordance with part 75                 units as follows:                                        (ii) The Administrator will calculate
                                                 of this chapter for the historical control                 (i) The Administrator will calculate               the sum, for all units whose unrounded
                                                 periods in the years two, three, four,                  the sum, for all units determined under               default allocations determined in the
                                                 five, and six years before the year of the              paragraph (b)(2) of this section to be                previous round of the calculation
                                                 control period for which the allowances                 eligible to receive default allocations, of           procedure were less than the respective
                                                 are being allocated.                                         units’ average heat input amounts
                                                                                                         the units'                                            units’ tentative maximum allocation
                                                                                                                                                               units'
                                                    (ii) The tentative maximum allocation                determined under paragraph (b)(3)(ii) of              amounts determined under paragraph
                                                 amount used in the allocation                           this section.                                                                            units’
                                                                                                                                                               (b)(4)(ii) of this section, of the units'
                                                 calculations shall be the highest of the                   (ii) For each unit determined under                average heat input amounts determined
                                                        NOX emissions amounts identified
                                                 total NOx                                               paragraph (b)(2) of this section to be                under paragraph (b)(3)(ii) of this section.
                                                 for the unit under paragraph (b)(4)(i) of               eligible to receive a default allocation,                (iii) For each unit whose unrounded
                                                 this section or, if less, any applicable                the Administrator will calculate the                  default allocation determined in the
                                                 amount calculated under paragraph                       unit’s unrounded default allocation as
                                                                                                         unit's                                                previous round of the calculation
                                                 (b)(4)(iii) of this section.                            the lesser of—                                        procedure was less than the unit's
                                                                                                                                                                                                unit’s
                                                    (iii)(A) The tentative maximum                          (A) The product of the total amount                tentative maximum allocation amount
                                                 allocation amount under paragraph                       of allowances determined for the State                determined under paragraph (b)(4)(ii) of
                                                 (b)(4)(ii) of this section for a unit                   and control period under paragraph                    this section, the Administrator will
                                                 described in paragraph (b)(4)(iii)(B) or                (b)(1) of this section multiplied by a                                  unit’s unrounded default
                                                                                                                                                               recalculate the unit's
                                                 (C) of this section may not exceed a                    fraction whose numerator is the unit's
                                                                                                                                             unit’s            allocation as the lesser of—
                                                 maximum controlled baseline                             average heat input amount determined                     (A) The sum of the unit's
                                                                                                                                                                                         unit’s unrounded
                                                 calculated as the product (converted to                 under paragraph (b)(3)(ii) of this section            default allocation determined in the
                                                 tons at a conversion factor of 2,000 lb/                and whose denominator is the sum                      previous round of the calculation
                                                 ton and rounded to the nearest ton) of                  determined under paragraph (b)(6)(i) of               procedure plus the product of the
                                                 the highest total heat input amount                     this section; and                                     additional pool of allowances
                                                 identified for the unit under paragraph                    (B) The unit's
                                                                                                                       unit’s tentative maximum                determined under paragraph (b)(7)(i) of
                                                                              mmBtu
                                                 (b)(3)(i) of this section in mrnBtu                     allocation amount determined under                    this section multiplied by a fraction
                                                 multiplied by a NOxNOX emissions rate of                paragraph (b)(4)(ii) of this section.                 whose numerator is the unit's
                                                                                                                                                                                           unit’s average
                                                 0.08 lb/mmBtu.                                             (iii) If the sum of the unrounded                  heat input amount determined under
                                                    (B) For the control period in 2026, a                default allocations determined under                  paragraph (b)(3)(ii) of this section and
                                                 maximum controlled baseline under                       paragraph (b)(6)(ii) of this section is less          whose denominator is the sum
                                                 paragraph (b)(4)(iii)(A) of this section                than the total amount of allowances                   determined under paragraph (b)(7)(ii) of
                                                 shall apply to any unit that combusted                  determined for the State and control                  this section; and
                                                 any coal or solid coal-derived fuel                     period under paragraph (b)(1) of this                    (B) The unit's
                                                                                                                                                                            unit’s tentative maximum
                                                 during the historical control period for                section, the Administrator will follow                allocation amount determined under
                                                 which the unit's
                                                              unit’s heat input was most                 the procedures in paragraph (b)(7) or (8)             paragraph
                                                                                                                                                               par raph (b)(4)(ii) of this section.
                                                 recently reported, that serves a generator              of this section, as applicable.                          (iv) Except as provided in paragraph
                                                 with nameplate capacity of 100 MW or                       (iv) If the sum of the unrounded                   (b)(7)(iii) of this section, a unit's
                                                                                                                                                                                              unit’s
                                                                                                         default allocations determined under
ddrumheller on DSK120RN23PROD with RULES2




                                                 more, and that is equipped with                                                                               unrounded default allocation shall
                                                 selective catalytic reduction controls,                 paragraph (b)(6)(ii) of this section equals           equal the amount determined in the
                                                 except a circulating fluidized bed boiler.              the total amount of allowances                        previous round of the calculation
                                                    (C) For each control period in 2027                  determined for the State and control                  procedure.
                                                 and thereafter, a maximum controlled                    period under paragraph (b)(1) of this                    (v) If the sum of the unrounded
                                                 baseline under paragraph (b)(4)(iii)(A) of              section, the Administrator will                       default allocations determined under
                                                 this section shall apply to any unit that               determine the rounded default                         paragraphs (b)(7)(iii) and (iv) of this
                                                 combusted any coal or solid coal-                       allocations according to the procedures               section is less than the total amount of


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00259   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 298 of 430
                                                 36912
                                                 36912                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 allowances determined for the State and                 section, the Administrator will adjust                   (c) Incorrect allocations of CSAPR
                                                 control period under paragraph (b)(1) of                the default allocations as follows. The               NOX Ozone Season Group 3 allowances
                                                                                                                                                               NOx
                                                 this section, the Administrator will                    Administrator will list the CSAPR NOx  NOX            to existing units. (1) For each control
                                                 iterate the procedures in paragraph                     Ozone Season Group 3 units in                         period in 2021 and thereafter, if the
                                                 (b)(7) of this section or follow the                    descending order based on such units'units’           Administrator determines that CSAPR
                                                 procedures in paragraph (b)(8) of this                  allocation amounts under paragraph                    NOX Ozone Season Group 3 allowances
                                                                                                                                                               NOx
                                                 section, as applicable.                                 (b)(9) of this section and, in cases of               were allocated for the control period to
                                                    (vi) If the sum of the unrounded                     equal allocation amounts, in                          a recipient covered by the provisions of
                                                 default allocations determined under                    alphabetical order of the relevant                    paragraph (c)(1)(i), (ii), or (iii) of this
                                                 paragraphs (b)(7)(iii) and (iv) of this                 sources’ names and numerical order of
                                                                                                         sources'                                              section, then the Administrator will
                                                 section equals the total amount of                                     units’ identification
                                                                                                         the relevant units'                                   notify the designated representative of
                                                 allowances determined for the State and                 numbers, and will adjust each unit's
                                                                                                                                            unit’s             the recipient and will act in accordance
                                                 control period under paragraph (b)(1) of                allocation amount upward or downward                  with the procedures set forth in
                                                 this section, the Administrator will                    by one CSAPR NOx NOX Ozone Season                     paragraphs (c)(2) through (5) of this
                                                 determine the rounded default                           Group 3 allowance (but not below zero)                section:
                                                 allocations according to the procedures                 in the order in which the units are                      (i) The recipient is not actually a
                                                 in paragraphs (b)(9) and (10) of this                   listed, and will repeat this adjustment               CSAPR NOx  NOX Ozone Season Group 3 unit
                                                 section.                                                process as necessary, until the total of              under § 97.1004 as of the first day of the
                                                    (8) If the unrounded default allocation              the adjusted default allocations equals               control period and is allocated CSAPR
                                                 determined in the previous round of the                 the total amount of allowances                        NOX Ozone Season Group 3 allowances
                                                                                                                                                               NOx
                                                 calculation procedure for every CSAPR                   determined for the State and control                  for such control period under paragraph
                                                 NOX Ozone Season Group 3 unit equals
                                                 NOx                                                     period under paragraph (b)(1) of this                 (a)(1) or (2) of this section;
                                                      unit’s tentative maximum allocation
                                                 the unit's                                              section.                                                 (ii) The recipient is not actually a
                                                 amount determined under paragraph                          (11)(i) By March 1, 2025 and March 1               CSAPR NOx  NOX Ozone Season Group 3 unit
                                                 (b)(4)(ii) of this section, the                         of each year thereafter, the                          under § 97.1004 as of the first day of the
                                                 Administrator will recalculate the                      Administrator will calculate the default              control period and is allocated CSAPR
                                                 unrounded default allocations as                        allocation of CSAPR NOx NOX Ozone Season              NOX Ozone Season Group 3 allowances
                                                                                                                                                               NOx
                                                 follows:                                                Group 3 allowances to each CSAPR NOx     NOX          for such control period under a
                                                    (i) The Administrator will calculate                 Ozone Season Group 3 unit in a State                  provision of a SIP revision approved
                                                 the additional pool of allowances to be                 and Indian country within the borders                 under §52.38(b)(10),
                                                                                                                                                                        § 52.38(b)(10), (11), or (12) of this
                                                 allocated as the remainder of the total                 of the State, in accordance with                      chapter that the SIP revision provides
                                                 amount of allowances determined for                     paragraphs (b)(1) through (10) of this                should be allocated only to recipients
                                                 the State and control period under                                    §§ 97.1006(b)(2) and
                                                                                                         section and §§97.1006(b)(2)                           that are CSAPR NOx NOX Ozone Season
                                                 paragraph (b)(1) of this section minus                  97.1030 through 97.1035, for the control              Group 3 units as of the first day of such
                                                 the sum of the unrounded default                        period in the year after the year of the              control period; or
                                                 allocations from the previous round of                  applicable calculation deadline under                    (iii) The recipient is not located as of
                                                 the calculation procedure for all units                 this paragraph (b)(11)(i) and will                    the first day of the control period in the
                                                 determined under paragraph (b)(2) of                    promulgate a notice of data availability
                                                                                                                                                               State (and Indian country within the
                                                 this section to be eligible to receive                  of the results of the calculations.                   borders of the State) from whose NOx   NOX
                                                 default allocations.                                       (ii) For each notice of data availability
                                                                                                                                                               Ozone Season Group 3 trading budget
                                                    (ii) The Administrator will recalculate              required in paragraph (b)(11)(i) of this
                                                                                                                                                               CSAPR NOx  NOX Ozone Season Group 3
                                                 the unrounded default allocation for                    section, the Administrator will provide
                                                                                                         an opportunity for submission of                      allowances were allocated to the
                                                 each eligible unit as the sum of—
                                                    (A) The unit's
                                                              unit’s unrounded default                   objections to the calculations referenced             recipient for such control period under
                                                                                                                                                               paragraph (a)(1) or (2) of this section or
                                                 allocation as determined in the previous                in such notice. Objections shall be
                                                 round of the calculation procedure; plus                submitted by the deadline specified in                under a provision of a SIP revision
                                                    (B) The product of the additional pool               such notice and shall be limited to                   approved under § 52.38(b)(10), (11), or
                                                 of allowances determined under                          addressing whether the calculations                   (12) of this chapter.
                                                 paragraph (b)(8)(i) of this section                     (including the identification of the                  *
                                                                                                                                                               *       *
                                                                                                                                                                       *     *     *
                                                                                                                                                                                   *     *
                                                 multiplied by a fraction whose                          CSAPR NOx NOX Ozone Season Group 3                       (5) With regard to any CSAPR NOx    NOX
                                                 numerator is the unit's
                                                                     unit’s average heat                 units) are in accordance with the                     Ozone Season Group 3 allowances that
                                                 input amount determined under                           provisions referenced in paragraph                    are not recorded, or that are deducted as
                                                 paragraph (b)(3)(ii) of this section and                (b)(11)(i) of this section.                           an incorrect allocation, in accordance
                                                 whose denominator is the sum                               (iii) The Administrator will adjust the            with paragraphs (c)(2) and (3) of this
                                                 determined under paragraph (b)(6)(i) of                 calculations to the extent necessary to               section:
                                                 this section.                                           ensure that they are in accordance with                  (i) If the non-recordation decision
                                                    (9) The Administrator will round the                 the provisions referenced in paragraph                under paragraph (c)(2) of this section or
                                                 default allocation for each eligible unit               (b)(11)(i) of this section. By May 1                  the deduction under paragraph (c)(3) of
                                                 determined under paragraph (b)(6), (7),                 immediately after the promulgation of                 this section occurs on or before May 1,
                                                 or (8) of this section to the nearest                   each notice of data availability required             2024, the Administrator will transfer the
                                                 allowance and make any adjustments                      in paragraph (b)(11)(i) of this section,              CSAPR NOx  NOX Ozone Season Group 3
ddrumheller on DSK120RN23PROD with RULES2




                                                 required under paragraph (b)(10) of this                the Administrator will promulgate a                   allowances to the new unit set-aside for
                                                 section.                                                notice of data availability of the results            2021, 2022, or 2023 for the State from
                                                    (10) If the sum of the default                       of the calculations incorporating any                 whose NOx NOX Ozone Season Group 3
                                                 allocations after rounding under                        adjustments that the Administrator                    trading budget the CSAPR NOx   NOX Ozone
                                                 paragraph (b)(9) of this section does not               determines to be necessary and the                    Season Group 3 allowances were
                                                 equal the total amount of allowances                    reasons for accepting or rejecting any                allocated.
                                                 determined for the State and control                    objections submitted in accordance with                  (ii) If the non-recordation decision
                                                 period under paragraph (b)(1) of this                   paragraph (b)(11)(ii) of this section.                under paragraph (c)(2) of this section or


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00260   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 299 of 430
                                                                      Federal Register / Vol. 88, No. 107/Monday,
                                                                                                      107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules                                                             36913
                                                                                                                                                                                                   36913

                                                 the deduction under paragraph (c)(3) of         2023 and thereafter for a State listed in                     (iii) of this section and for each control
                                                 this section occurs after May 1, 2024,          § 52.38(b)(2)(iii)(B) or (C) of this chapter,                 period described in paragraph (a)(3) of
                                                 and on or before May 1 of the year              and for the CSAPR NOx  NOX Ozone Season                       this section will be an amount equal to
                                                 following the year of the control period        Group 3 units in each State and areas of                           unit’s total tons of NOx
                                                                                                                                                               the unit's                NOX emissions
                                                 for which the CSAPR NOx   NOX Ozone             Indian country within the borders of the                      during the control period or, if less, any
                                                 Season Group 3 allowances were                  State (except, for the control periods in                     applicable amount calculated under
                                                 allocated, the Administrator will               2021 and 2022, areas of Indian country                        paragraph (a)(4)(ii) of this section.
                                                 transfer the CSAPR NOx  NOX Ozone Season        within the borders of the State not                              (ii)(A) The allocation under paragraph
                                                 Group 3 allowances to the new unit set- subject to the State’s   State's SIP authority), the                  (a)(4)(i) of this section to a unit
                                                 aside for such control period for the           Administrator will allocate CSAPR NOx    NOX                  described in paragraph (a)(4)(ii)(B) or
                                                 State from whose NOx  NOX Ozone Season          Ozone Season Group 3 allowances to                            (C) of this section may not exceed a
                                                 Group 3 trading budget the CSAPR NOx      NOX the CSAPR NOx    NOX Ozone Season Group 3                       maximum controlled baseline
                                                 Ozone Season Group 3 allowances were units as follows:                                                        calculated as the product (converted to
                                                 allocated.                                         (1) * * *                                                  tons at a conversion factor of 2,000 lb/
                                                    (iii) If the non-recordation decision           (i) CSAPR NOxNOX Ozone Season Group                        ton and rounded to the nearest ton) of
                                                 under paragraph (c)(2) of this section or 3 units that are not allocated an amount                                 unit’s total heat input during the
                                                                                                                                                               the unit's
                                                 the deduction under paragraph (c)(3) of         of CSAPR NOx NOX Ozone Season Group 3                         control period in mrnBtu
                                                                                                                                                                                    mmBtu multiplied by
                                                 this section occurs after May 1, 2024,          allowances for such control period in                           NOX emissions rate of 0.08 lb/mmBtu.
                                                                                                                                                               a NOx
                                                 and after May 1 of the year following the the applicable notice of data availability                             (B) For a control period in 2024
                                                 year of the control period for which the        referenced in § 97.1011(a)(1) or (2) and                      through 2026, a maximum controlled
                                                 CSAPR NOx  NOX Ozone Season Group 3             that have deadlines for certification of                      baseline under paragraph (a)(4)(ii)(A) of
                                                 allowances were allocated, the                  monitoring systems under § 97.1030(b)                         this section shall apply to any unit
                                                 Administrator will transfer the CSAPR           not later than September 30 of the year                       combusting any coal or solid coal-
                                                 NOX Ozone Season Group 3 allowances of the control period; or
                                                 NOx                                                                                                           derived fuel during the control period,
                                                 to a surrender account.                            (ii) CSAPR NOx
                                                                                                                 NOX Ozone Season Group                        serving a generator with nameplate
                                                 ■
                                                 ■ 66. Amend § 97.1012 by:                       3 units whose allocation of an amount                         capacity of 100 MW or more, and
                                                 ■
                                                 ■ a. Revising paragraphs (a)                    of CSAPR NOx NOX Ozone Season Group 3                         equipped with selective catalytic
                                                 introductory text and (a)(1)(i) and (ii);       allowances for such control period in                         reduction controls on or before
                                                 ■
                                                 ■ b. Removing paragraphs (a)(1)(iii) and        the applicable notice of data availability                    September 30 of the preceding control
                                                 (iv);                                           referenced in § 97.1011(a)(1) or (2) is                       period, except a circulating fluidized
                                                 ■
                                                 ■ c. Revising paragraphs (a)(2) and             covered by § 97.1011(c)(2) or (3).                            bed boiler.
                                                 (a)(3)(i);
                                                 (a)(3)(1);                                         (2) The Administrator will establish a                        (C) For a control period in 2027 and
                                                 ■
                                                 ■ d. In paragraph (a)(3)(ii), adding            separate new unit set-aside for the State                     thereafter, a maximum controlled
                                                 ‘‘and’’ after the semicolon;
                                                 "and"                                           for each such control period. Each such                       baseline under paragraph (a)(4)(ii)(A) of
                                                 ■
                                                 ■ e. Revising paragraph (a)(3)(iii);            new unit set-aside will be allocated                          this section shall apply to any unit
                                                 ■
                                                 ■ f. Removing paragraph (a)(3)(iv);             CSAPR NOx NOX Ozone Season Group 3                            combusting any coal or solid coal-
                                                 ■
                                                 ■ g. Revising paragraph (a)(4)(i);              allowances in an amount equal to the                          derived fuel during the control period
                                                 ■
                                                 ■ h. Redesignating paragraph (a)(4)(ii) as      applicable amount of tons of NOx  NOX                         and serving a generator with nameplate
                                                 paragraph (a)(4)(iii) and adding a new          emissions as set forth in § 97.1010(c)                        capacity of 100 MW or more, except a
                                                 paragraph (a)(4)(ii);                           and will be allocated additional CSAPR                        circulating fluidized bed boiler.
                                                 ■
                                                 ■ i. Revising paragraphs (a)(5) and (10):       NOX Ozone Season Group 3 allowances
                                                                                                 NOx                                                           *
                                                                                                                                                               *       *
                                                                                                                                                                       *     *     *
                                                                                                                                                                                   *    *
                                                                                                                                                                                        *
                                                 ■
                                                 ■ j. In paragraph (a)(11), removing             (if any) in accordance with                                      (5) The Administrator will calculate
                                                 ‘‘§ 97.1011(b)(1)(i), (ii), and (v), of’’
                                                 "§97.1011(b)(1)(i),                  of" and    § 97.1011(c)(5) and paragraphs (b)(10)                        the sum of the allocation amounts of
                                                 adding in its place "paragraph
                                                                        ‘‘paragraph (a)(13) of and (c)(5) of this section.                                     CSAPR NOx NOX Ozone Season Group 3
                                                 this section, ofof’’;
                                                                    ';                              (3) *
                                                                                                    (3)  * *
                                                                                                           * **                                                allowances determined for all such
                                                 ■
                                                 ■ k. Adding paragraph (a)(13);                     (i) The control period in 2021, for a                      CSAPR NOx NOX Ozone Season Group 3
                                                 ■  l. Revising paragraphs (b) introductory State listed in § 52.38(b)(2)(iii)(A) of this
                                                 ■ 1.
                                                                                                                                                               units under paragraph (a)(4)(i) of this
                                                 text and (b)(1) and (2);                        chapter, or the control period in 2023,                       section in the State and Indian country
                                                 ■
                                                 ■ m. In paragraph (b)(5), removing              for a State listed in § 52.38(b)(2)(iii)(B)                   within the borders of the State (except,
                                                 ‘‘Indian country within the borders of
                                                 "Indian                                         or (C) of this chapter;                                       for the control periods in 2021 and
                                                 the State’’                             ‘‘areas *
                                                       State" and adding in its place "areas             *     *     *                                         2022, areas of Indian country within the
                                                                                                 *       *     *     *     *
                                                 of Indian country within the borders of                                                                       borders of the State not subject to the
                                                                                                    (iii) For a unit described in paragraph
                                                 the State not subject to the State’s
                                                                                State's SIP                                                                    State’s SIP authority) for such control
                                                                                                                                                               State's
                                                                                                 (a)(1)(ii) of this section, the first control
                                                 authority’’;
                                                 authority";                                                                                                   period.
                                                 ■
                                                 ■ n. Revising paragraph (b)(10);
                                                                                                 period in which the CSAPR NOx    NOX Ozone
                                                                                                 Season    Group   3 unit operates  in the                     *
                                                                                                                                                               *       *
                                                                                                                                                                       *     *     *    *
                                                 ■
                                                 ■ o. In paragraph (b)(11), removing
                                                 ‘‘§ 97.1011(b)(2)(i), (ii), and (v), of’’
                                                 "§97.1011(b)(2)(i),                  of" and    State and Indian country within the                              (10)(i) For a control period in 2021 or
                                                                        ‘‘paragraph (b)(13) of borders of the State (except, for the
                                                 adding in its place "paragraph                                                                                2022, if, after completion of the
                                                 this section, of’’;
                                                                 of"; and                        control periods in 2021 and 2022, areas                       procedures under paragraphs (a)(2)
                                                 ■
                                                 ■ p. Adding paragraphs (b)(13) and (c).         of  Indian country within the borders of                      through (7) and (12) of this section for
                                                    The revisions and additions read as          the State not subject to the State’s
                                                                                                                                 State's SIP                   a control period, any unallocated
                                                                                                                                                                         NOX Ozone Season Group 3
ddrumheller on DSK120RN23PROD with RULES2




                                                 follows:                                        authority)   after operating  in another                      CSAPR NOx
                                                                                                 jurisdiction and for which the unit is                        allowances remain in the new unit set-
                                                 § 97.1012 CSAPR NOx   NOX Ozone Season          not already allocated one or more                             aside for the State for such control
                                                 Group 3 allowance allocations to new units. CSAPR NOx     NOX Ozone Season Group 3                            period, the Administrator will allocate
                                                    (a) Allocations from newnew unit set-        allowances.                                                   to each CSAPR NOx  NOX Ozone Season
                                                 asides. For each control period in 2021            (4)(i) The allocation to each CSAPR                        Group 3 unit that is in the State and
                                                 and thereafter for a State listed in            NOX Ozone Season Group 3 unit
                                                                                                 NOx                                                           areas of Indian country within the
                                                 § 52.38(b)(2)(iii)(A) of this chapter, or       described in paragraphs (a)(1)(i) through                     borders of the State subject to the State’s
                                                                                                                                                                                                    State's


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00261   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 300 of 430
                                                 36914
                                                 36914                Federal Register / Vol. 88, No. 107/Monday,
                                                                                                      107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules

                                                 SIP authority and is allocated an                       2021 and 2022, areas of Indian country                aside for the State for each such control
                                                 amount of CSAPR NOx    NOX Ozone Season                 within the State not subject to the                   period. Each such Indian country new
                                                 Group 3 allowances for the control                      State’s
                                                                                                         State's SIP authority), in accordance                 unit set-aside will be allocated CSAPR
                                                 period in the applicable notice of data                 with paragraphs (a)(2) through (7), (10),             NOX Ozone Season Group 3 allowances
                                                                                                                                                               NOx
                                                 availability referenced in § 97.1011(a)(1)              and (12) of this section and                          in an amount equal to the applicable
                                                 an amount of CSAPR NOx    NOX Ozone                     §§ 97.1006(b)(2) and 97.1030 through
                                                                                                         §§97.1006(b)(2)                                       amount of tons of NOx NOX emissions as set
                                                 Season Group 3 allowances equal to the                  97.1035, for the control period in the                forth in § 97.1010(d) and will be
                                                 following: The total amount of such                     year before the year of the applicable                allocated additional CSAPR NOx  NOX Ozone
                                                 remaining unallocated CSAPR NOx     NOX                 calculation deadline under this                       Season Group 3 allowances (if any) in
                                                 Ozone Season Group 3 allowances in                      paragraph (a)(13)(i) and will promulgate              accordance with paragraph (c)(5) of this
                                                 such new unit set-aside, multiplied by                  a notice of data availability of the results          section.
                                                      unit’s allocation under
                                                 the unit's                                              of the calculations.                                  *
                                                                                                                                                               *       *
                                                                                                                                                                       *     *     *    *
                                                 § 97.1011(a)(1) for such control period,                   (ii) For each notice of data availability             (10) If, after completion of the
                                                 divided by the remainder of the amount                  required in paragraph (a)(13)(i) of this              procedures under paragraphs (b)(2)
                                                 of tons in the applicable State NOxNOX                  section, the Administrator will provide               through (7) and (12) of this section for
                                                 Ozone Season Group 3 trading budget                     an opportunity for submission of                      a control period, any unallocated
                                                 minus the sum of the amounts of tons                    objections to the calculations referenced             CSAPR NOx NOX Ozone Season Group 3
                                                 in such new unit set-aside and the                      in such notice. Objections shall be                   allowances remain in the Indian country
                                                 Indian country new unit set-aside for                   submitted by the deadline specified in                new unit set-aside for the State for such
                                                 the State for such control period, and                  such notice and shall be limited to                   control period, the Administrator will
                                                 rounded to the nearest allowance.                       addressing whether the calculations                   transfer such unallocated CSAPR NOx  NOX
                                                    (ii) For a control period in 2023 or                 (including the identification of the                  Ozone Season Group 3 allowances to
                                                 thereafter, if, after completion of the                 CSAPR NOx NOX Ozone Season Group 3
                                                                                                                                                               the new unit set-aside for the State for
                                                 procedures under paragraphs (a)(2)                      units) are in accordance with the                     such control period.
                                                 through (7) and (12) of this section for                provisions referenced in paragraph
                                                                                                                                                               *
                                                                                                                                                               *       *
                                                                                                                                                                       *     *     *
                                                                                                                                                                                   *    *
                                                 a control period, any unallocated                       (a)(13)(i) of this section.
                                                                                                            (iii) The Administrator will adjust the               (13)(i) By March 1, 2022, and March
                                                 CSAPR NOx  NOX Ozone Season Group 3                                                                           1, 2023, the Administrator will calculate
                                                 allowances remain in the new unit set-                  calculations to the extent necessary to
                                                                                                         ensure that they are in accordance with               the CSAPR NOx  NOX Ozone Season Group 3
                                                 aside for the State for such control                                                                          allowance allocation to each CSAPR
                                                 period, the Administrator will allocate                 the provisions referenced in paragraph
                                                                                                         (a)(13)(i) of this section. By May 1                  NOX Ozone Season Group 3 unit in
                                                                                                                                                               NOx
                                                 to each CSAPR NOx   NOX Ozone Season                                                                          areas of Indian country within the
                                                                                                         immediately after the promulgation of
                                                 Group 3 unit that is in the State and                                                                         borders of a State not subject to the
                                                                                                         each notice of data availability required
                                                 Indian country within the borders of the                                                                      State’s
                                                                                                                                                               State's SIP authority, in accordance with
                                                                                                         in paragraph (a)(13)(i) of this section,
                                                 State and is allocated an amount of                                                                           paragraphs (b)(2) through (7), (10), and
                                                            NOX Ozone Season Group 3
                                                                                                         the Administrator will promulgate a
                                                 CSAPR NOx                                                                                                     (12) of this section and §§97.1006(b)(2)
                                                                                                                                                                                          §§ 97.1006(b)(2)
                                                                                                         notice of data availability of the results
                                                 allowances for the control period by the                                                                      and 97.1030 through 97.1035, for the
                                                                                                         of the calculations incorporating any
                                                 Administrator in the applicable notice                                                                        control period in the year before the
                                                                                                         adjustments that the Administrator
                                                 of data availability referenced in                      determines to be necessary and the                    year of the applicable calculation
                                                 § 97.1011(a)(1) or (2), or under a                                                                            deadline under this paragraph (b)(13)(i)
                                                                                                         reasons for accepting or rejecting any
                                                 provision of a SIP revision approved                                                                          and will promulgate a notice of data
                                                                                                         objections submitted in accordance with
                                                          § 52.38(b)(10), (11), or (12) of this
                                                 under §52.38(b)(10),                                                                                          availability of the results of the
                                                                                                         paragraph (a)(13)(ii) of this section.
                                                 chapter, an amount of CSAPR NOx    NOX                                      from Indian country
                                                                                                            (b) Allocations from          country              calculations.
                                                 Ozone Season Group 3 allowances equal                   new unit set-asides. For the control
                                                                                                         new                                                      (ii) For each notice of data availability
                                                 to the following: The total amount of                   periods in 2021 and 2022, for a State                 required in paragraph (b)(13)(i) of this
                                                 such remaining unallocated CSAPR                        listed in § 52.38(b)(2)(iii)(A) of this               section, the Administrator will provide
                                                 NOX Ozone Season Group 3 allowances
                                                 NOx                                                     chapter, and for the CSAPR NOx NOX Ozone              an opportunity for submission of
                                                 in such new unit set-aside, multiplied                  Season Group 3 units in areas of Indian               objections to the calculations referenced
                                                           unit’s allocation under
                                                 by the unit's                                           country within the borders of each such               in such notice. Objections shall be
                                                 § 97.1011(a)(1) or (2) or a provision of a              State not subject to the State's
                                                                                                                                   State’s SIP                 submitted by the deadline specified in
                                                 SIP revision approved under                             authority, the Administrator will                     such notice and shall be limited to
                                                 § 52.38(b)(10), (11), or (12) of this
                                                 §52.38(b)(10),                                          allocate CSAPR NOx NOX Ozone Season                   addressing whether the calculations
                                                 chapter for such control period, divided                Group 3 allowances to the CSAPR NOx    NOX            (including the identification of the
                                                 by the remainder of the amount of tons                  Ozone Season Group 3 units as follows:                CSAPR NOx NOX Ozone Season Group 3
                                                 in the applicable State NOxNOX Ozone                       (1) The CSAPR NOx NOX Ozone Season                 units) are in accordance with the
                                                 Season Group 3 trading budget minus                     Group 3 allowances will be allocated to               provisions referenced in paragraph
                                                 the amount of tons in such new unit set-                CSAPR NOx NOX Ozone Season Group 3                    (b)(13)(i) of this section.
                                                 aside for the State for such control                    units that are not allocated an amount                   (iii) The Administrator will adjust the
                                                 period, and rounded to the nearest                      of CSAPR NOx NOX Ozone Season Group 3                 calculations to the extent necessary to
                                                 allowance.                                              allowances for such control period in                 ensure that they are in accordance with
                                                 *
                                                 *       *
                                                         *     *      *    *                             the applicable notice of data availability            the provisions referenced in paragraph
                                                    (13)(i) By March 1, 2022, and March
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                         referenced in § 97.1011(a)(1) and that                (b)(13)(i) of this section. By May 1
                                                 1 of each year thereafter, the                          have deadlines for certification of                   immediately after the promulgation of
                                                 Administrator will calculate the CSAPR                  monitoring systems under § 97.1030(b)                 each notice of data availability required
                                                 NOX Ozone Season Group 3 allowance
                                                 NOx                                                     not later than September 30 of the year               in paragraph (b)(13)(i) of this section,
                                                 allocation to each CSAPR NOx   NOX Ozone                of the control period, except as provided             the Administrator will promulgate a
                                                 Season Group 3 unit in a State and                      in paragraph (b)(10) of this section.                 notice of data availability of the results
                                                 Indian country within the borders of the                   (2) The Administrator will establish a             of the calculations incorporating any
                                                 State (except, for the control periods in               separate Indian country new unit set-                 adjustments that the Administrator


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00262   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 301 of 430
                                                                      Federal Register / Vol. 88, No. 107/Monday,
                                                                                                      107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules                                                           36915
                                                                                                                                                                                                 36915

                                                 determines to be necessary and the                      with paragraphs (c)(2) and (3) of this                CSAPR NOx  NOX Ozone Season Group 3
                                                 reasons for accepting or rejecting any                  section:                                              source’s compliance account the CSAPR
                                                                                                                                                               source's
                                                 objections submitted in accordance with                     (i) If the non-recordation decision               NOX Ozone Season Group 3 allowances
                                                                                                                                                               NOx
                                                 paragraph (b)(13)(ii) of this section.                  under paragraph (c)(2) of this section or             allocated to the CSAPR NOx  NOX Ozone
                                                    (c) Incorrect allocations of CSAPR                   the deduction under paragraph (c)(3) of               Season Group 3 units at the source in
                                                 NOX Ozone Season Group 3 allowances
                                                 NOx                                                     this section occurs on or before May 1,               accordance with § 97.1011(a)(1) for the
                                                 to new
                                                    new units. (1) For each control period               2023, the Administrator will transfer the             control period in 2022.
                                                 in 2021 and thereafter, if the                          CSAPR NOx   NOX Ozone Season Group 3                  *
                                                                                                                                                               *      *
                                                                                                                                                                      *      *     *
                                                                                                                                                                                   *     *
                                                 Administrator determines that CSAPR                     allowances to the new unit set-aside, in                 (d) By September 5, 2023, the
                                                 NOX Ozone Season Group 3 allowances
                                                 NOx                                                     the case of allowances allocated under                Administrator will record in each
                                                 were allocated for the control period                   paragraph (a) of this section, or the                 CSAPR NOx  NOX Ozone Season Group 3
                                                 under paragraphs (a)(2) through (7) and                 Indian country new unit set-aside, in                 source’s compliance account the CSAPR
                                                                                                                                                               source's
                                                 (12) of this section or paragraphs (b)(2)               the case of allowances allocated under                NOX Ozone Season Group 3 allowances
                                                                                                                                                               NOx
                                                 through (7) and (12) of this section to a               paragraph (b) of this section, for the                allocated to the CSAPR NOx  NOX Ozone
                                                 recipient that is not actually a CSAPR                  control period in 2021 or 2022 for the                Season Group 3 units at the source in
                                                 NOX Ozone Season Group 3 unit under
                                                 NOx                                                     State from whose NOx    NOX Ozone Season              accordance with § 97.1011(a)(1) for the
                                                 § 97.1004 as of the first day of such                   Group 3 trading budget the CSAPR NOx        NOX       control period in 2023.
                                                 control period, then the Administrator                  Ozone Season Group 3 allowances were                     (e) By September 5, 2023, the
                                                 will notify the designated representative               allocated.                                            Administrator will record in each
                                                 of the recipient and will act in                            (ii) If the non-recordation decision              CSAPR NOx  NOX Ozone Season Group 3
                                                 accordance with the procedures set                      under paragraph (c)(2) of this section or             source’s compliance account the CSAPR
                                                                                                                                                               source's
                                                 forth in paragraphs (c)(2) through (5) of               the deduction under paragraph (c)(3) of               NOX Ozone Season Group 3 allowances
                                                                                                                                                               NOx
                                                 this section.                                           this section occurs after May 1, 2023,                allocated to the CSAPR NOx  NOX Ozone
                                                    (2) Except as provided in paragraph                  and on or before May 1, 2024, the                     Season Group 3 units at the source in
                                                 (c)(3) or (4) of this section, the                      Administrator will transfer the CSAPR                 accordance with § 97.1011(a)(1) for the
                                                 Administrator will not record such                      NOX Ozone Season Group 3 allowances
                                                                                                         NOx                                                   control period in 2024, unless the State
                                                 CSAPR NOx  NOX Ozone Season Group 3                     to the new unit set-aside for the control             in which the source is located notifies
                                                 allowances under § 97.1021.                             period in 2023 for the State from whose               the Administrator in writing by August
                                                    (3) If the Administrator already                     NOX Ozone Season Group 3 trading
                                                                                                         NOx                                                   4, 2023, of the State’s
                                                                                                                                                                                 State's intent to submit
                                                 recorded such CSAPR NOx   NOX Ozone                     budget the CSAPR NOx     NOX Ozone Season             to the Administrator a complete SIP
                                                 Season Group 3 allowances under                         Group 3 allowances were allocated.                    revision by September 1, 2023, meeting
                                                 § 97.1021 and if the Administrator                          (iii) If the non-recordation decision             the requirements of § 52.38(b)(10)(i)
                                                 makes the determination under                           under paragraph (c)(2) of this section or             through (iv) of this chapter.
                                                 paragraph (c)(1) of this section before                 the deduction under paragraph (c)(3) of                  (1) If, by September 1, 2023, the State
                                                 making deductions for the source that                   this section occurs after May 1, 2024,                does not submit to the Administrator
                                                 includes such recipient under                           the Administrator will transfer the                   such complete SIP revision, the
                                                 § 97.1024(b) for such control period,                   CSAPR NOx   NOX Ozone Season Group 3                  Administrator will record by September
                                                 then the Administrator will deduct from                 allowances to a surrender account.                    15, 2023, in each CSAPR NOx   NOX Ozone
                                                 the account in which such CSAPR NOx  NOX                ■
                                                                                                         ■ 67. Amend § 97.1021 by:                             Season Group 3 source's
                                                                                                                                                                                  source’s compliance
                                                 Ozone Season Group 3 allowances were                    ■
                                                                                                         ■ a. In paragraph (a), removing                       account the CSAPR NOx   NOX Ozone Season
                                                 recorded an amount of CSAPR NOx    NOX                  ‘‘§ 97.1011(a)’’ and adding in its place
                                                                                                         "§97.1011(a)"                                         Group 3 allowances allocated to the
                                                 Ozone Season Group 3 allowances                         ‘‘§ 97.1011(a)(1)’’;
                                                                                                         "§97.1011(a)(1)";                                     CSAPR NOx  NOX Ozone Season Group 3
                                                 allocated for the same or a prior control               ■
                                                                                                         ■ b. Revising paragraph (b);                          units at the source in accordance with
                                                 period equal to the amount of such                      ■
                                                                                                         ■ c. Removing and reserving paragraph                 § 97.1011(a)(1) for the control period in
                                                 already recorded CSAPR NOx   NOX Ozone                  (c);                                                  2024.
                                                 Season Group 3 allowances. The                          ■
                                                                                                         ■ d. Adding paragraphs (d) and (e);                      (2) If the State submits to the
                                                 authorized account representative shall                 ■
                                                                                                         ■ e. In paragraph (f), removing
                                                                                                                                                               Administrator by September 1, 2023,
                                                 ensure that there are sufficient CSAPR                  ‘‘§ 97.1011(a), or’’
                                                                                                         "§                  or" and adding in its             and the Administrator approves by
                                                 NOX Ozone Season Group 3 allowances
                                                 NOx                                                              ‘‘§ 97.1011(a)(1), or’’;
                                                                                                         place "§97.1011(a)(1),       or";                     March 1, 2024, such complete SIP
                                                 in such account for completion of the                   ■
                                                                                                         ■ f. Redesignating paragraphs (g) and (h)
                                                                                                                                                               revision, the Administrator will record
                                                 deduction.                                              as paragraphs (i) and (j), respectively,              by March 1, 2024, in each CSAPR NOx    NOX
                                                    (4) If the Administrator already                     and adding new paragraphs (g) and (h);                Ozone Season Group 3 source's
                                                                                                                                                                                           source’s
                                                 recorded such CSAPR NOx   NOX Ozone                     ■
                                                                                                         ■ g. Revising newly redesignated
                                                                                                                                                               compliance account the CSAPR NOx     NOX
                                                 Season Group 3 allowances under                         paragraph (i);                                        Ozone Season Group 3 allowances
                                                                                                         ■
                                                                                                         ■ h. In newly redesignated paragraph (j),
                                                 § 97.1021 and if the Administrator                                                                            allocated to the CSAPR NOx  NOX Ozone
                                                                                                         removing "and  ‘‘and May 1 of each year
                                                 makes the determination under                                                                                 Season Group 3 units at the source as
                                                 paragraph (c)(1) of this section after                  thereafter, the"the’’ and adding in its place
                                                                                                                                                               provided in such approved, complete
                                                                                                         ‘‘, and May 1, 2023, the";
                                                                                                         ",                        the’’; and
                                                 making deductions for the source that                                                                         SIP revision for the control period in
                                                                                                         ■
                                                                                                         ■ i. In paragraph (m), adding "or  ‘‘or (e)’’
                                                                                                                                                 (e)"
                                                 includes such recipient under                                                                                 2024.
                                                                                                         after "§97.811(d)"
                                                                                                                 ‘‘§ 97.811(d)’’ each time it appears.
                                                 § 97.1024(b) for such control period,                                                                            (3) If the State submits to the
                                                                                                             The revisions and addition read as
                                                                                                                                                               Administrator by September 1, 2023,
ddrumheller on DSK120RN23PROD with RULES2




                                                 then the Administrator will not make
                                                                                                         follows:
                                                 any deduction to take account of such                                                                         and the Administrator does not approve
                                                 already recorded CSAPR NOx   NOX Ozone                  § 97.1021 Recordation of CSAPR NOx
                                                                                                         §97.1021                         NOX                  by March 1, 2024, such complete SIP
                                                 Season Group 3 allowances.                              Ozone Season Group 3 allowance                        revision, the Administrator will record
                                                    (5) With regard to any CSAPR NOx NOX                 allocations and auction results.                      by March 1, 2024, in each CSAPR NOx    NOX
                                                 Ozone Season Group 3 allowances that                    *
                                                                                                         *      *
                                                                                                                *    *
                                                                                                                     *     **    *
                                                                                                                                 *                             Ozone Season Group 3 source's
                                                                                                                                                                                           source’s
                                                 are not recorded, or that are deducted as                  (b) By July 29, 2021, the                          compliance account the CSAPR NOx     NOX
                                                 an incorrect allocation, in accordance                  Administrator will record in each                     Ozone Season Group 3 allowances


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00263   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 302 of 430
                                                 36916
                                                 36916                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                 allocated to the CSAPR NOx  NOX Ozone                   calendar days in the control period and   emissions limitation established under
                                                 Season Group 3 units at the source in                   all CSAPR NOxNOX Ozone Season Group 3     this paragraph (c)(1) shall apply to a
                                                 accordance with § 97.1011(a)(1) for the                 units at the source to which the          unit for a control period only if:
                                                 control period in 2024.                                 backstop daily NOx NOX emissions rate        (i) The unit is included for the control
                                                 *
                                                 *      *
                                                        *     *
                                                              *     *
                                                                    *     *                              applies for the control period under      period in a group of CSAPR NOx  NOX Ozone
                                                    (g) By September 5, 2023, the                        paragraph (b)(3) of this section, of any  Season Group 3 units at CSAPR NOx   NOX
                                                 Administrator will record in each                       amount by which a unit'sunit’s NOx
                                                                                                                                         NOX       Ozone Season Group 3 sources in a
                                                 CSAPR NOxNOX Ozone Season Group 3                       emissions for a given calendar day in     State (and Indian country within the
                                                 source’s compliance account the CSAPR
                                                 source's                                                pounds exceed the product in pounds of    borders of such State) having a common
                                                 NOX Ozone Season Group 3 allowances
                                                 NOx                                                          unit’s total heat input in mmBtu for
                                                                                                         the unit's                                designated representative and the
                                                 allocated to the CSAPR NOx  NOX Ozone                   that calendar day multiplied by 0.14 lb/  owners and operators of such units and
                                                 Season Group 3 units at the source in                   mmBtu; or                                 sources are subject to a requirement for
                                                 accordance with § 97.1011(a)(2) for the                 *      *
                                                                                                                *     *       *     *              such control period to hold one or more
                                                 control periods in 2023 and 2024.                         (3) The backstop daily NOx              CSAPR NOx
                                                                                                                                        NOX emissions        NOX Ozone Season Group 3
                                                    (h) By July 1, 2024, and July 1 of each              rate of 0.14 lb/mmBtu applies as          allowances under § 97.1006(c)(2)(i) and
                                                 year thereafter, the Administrator will                 follows:                                  paragraph (b) of this section with
                                                 record in each CSAPR NOx  NOX Ozone                        (i) For each control period in 2024    respect to such group; and
                                                 Season Group 3 source's
                                                                    source’s compliance                  through 2029, the backstop daily NOx     NOX (ii) The unit was required to report
                                                 account the CSAPR NOx  NOX Ozone Season                 emissions rate shall apply to each        NOX emissions and heat input data for
                                                                                                                                                   NOx
                                                 Group 3 allowances allocated to the                     CSAPR NOx NOX Ozone Season Group 3 unit   all or portions of at least 367 operating
                                                 CSAPR NOxNOX Ozone Season Group 3                       combusting any coal or solid coal-        hours during the control period and all
                                                 units at the source in accordance with                  derived fuel during the control period,   or portions of at least 367 operating
                                                 § 97.1011(a)(2) for the control period in               serving a generator with nameplate        hours during at least one historical
                                                                                                         capacity of 100 MW or more, and           control period under the CSAPR NOx   NOX
                                                 the year after the year of the applicable
                                                                                                         equipped with selective catalytic         Ozone Season Group 1 Trading
                                                 recordation deadline under this
                                                 paragraph (h).                                          reduction controls on or before           Program, CSAPR NOx  NOX Ozone Season
                                                    (i) By May 1, 2022, and May 1 of each                September 30 of the preceding control     Group 2 Trading Program, or CSAPR
                                                 year thereafter, the Administrator will                 period, except a circulating fluidized    NOX Ozone Season Group 3 Trading
                                                                                                                                                   NOx
                                                 record in each CSAPR NOx  NOX Ozone                     bed boiler.                               Program.
                                                                                                           (ii) For each control in 2030 and          (2) The amount of the emissions
                                                 Season Group 3 source's
                                                                    source’s compliance
                                                                                                         thereafter, the backstop daily NOx   NOX  limitation applicable to a CSAPR NOx NOX
                                                 account the CSAPR NOx  NOX Ozone Season
                                                                                                         emissions rate shall apply to each        Ozone Season Group 3 unit for a control
                                                 Group 3 allowances allocated to the
                                                                                                         CSAPR NOx NOX Ozone Season Group 3 unit   period under paragraph (c)(1) of this
                                                 CSAPR NOxNOX Ozone Season Group 3
                                                                                                         combusting any coal or solid coal-                             NOX, shall be
                                                                                                                                                   section, in tons of NOx,
                                                 units at the source in accordance with                                                            calculated as the sum of 50 plus the
                                                 § 97.1012(a) for the control period in the              derived fuel during the control period
                                                                                                         and serving a generator with nameplate    product (converted to tons at a
                                                 year before the year of the applicable                                                            conversion factor of 2,000 lb/ton and
                                                 recordation deadline under this                         capacity of 100 MW or more, except a
                                                                                                         circulating fluidized bed boiler.         rounded to the nearest ton) of
                                                 paragraph (i).                                                                                    multiplying—
                                                 *
                                                 *      *
                                                        *     *
                                                              *     *
                                                                    *     *
                                                                          *                              *      *
                                                                                                                *     *
                                                                                                                      *       *
                                                                                                                              *     *
                                                                                                                                    *                 (i) The total heat input in mmBtu
                                                 ■
                                                 ■ 68. Amend § 97.1024 by:                               ■
                                                                                                         ■ 69. Amend § 97.1025 by:                 reported for the unit for the control
                                                 ■
                                                 ■ a. Revising the section heading;                      ■
                                                                                                         ■ a. Revising the section heading;        period in accordance with §§ 97.1030
                                                 ■
                                                 ■ b. In paragraphs (a) introductory text                ■
                                                                                                         ■ b. In paragraphs (a) introductory text, through 97.1035; and
                                                 and (b) introductory text, adding                       (a)(2), (b)(1)(i), (b)(1)(ii)(A) and (B),    (ii) A NOx
                                                                                                                                                             NOX emission rate of 0.10 lb/
                                                 ‘‘primary’’ before "emissions
                                                 "primary"           ‘‘emissions                         (b)(3), (b)(4)(i), (b)(5), (b)(6)(i), (b)(6)(iii)
                                                                                                                                                   mmBtu or, if higher, the product of 1.25
                                                 limitation’’;
                                                 limitation";                                            introductory text, and (b)(6)(iii)(A) and times the lowest seasonal average NOx NOX
                                                 ■
                                                 ■ c. Revising paragraph (b)(1);                         (B), removing "base
                                                                                                                          ‘‘base CSAPR"
                                                                                                                                  CSAPR’’ and adding
                                                                                                                                                   emission rate in lb/mmBtu achieved by
                                                 ■
                                                 ■ d. Adding paragraph (b)(3); and                       in its place "CSAPR"
                                                                                                                       ‘‘CSAPR’’ each time it      the unit in any historical control period
                                                 ■
                                                 ■ e. In paragraph (c)(2)(ii), adding "or
                                                                                      ‘‘or               appears; and                              for which the unit was required to
                                                 (e)’’      ‘‘§ 97.826(d)’’.
                                                 (e)" after "§  97.826(d)".                              ■
                                                                                                         ■ c. Adding paragraph (c).                         NOX emissions and heat input
                                                                                                                                                   report NOx
                                                    The revisions and addition read as                      The revision and addition read as      data for all or portions of at least 367
                                                 follows:                                                follows:                                  operating hours under the CSAPR NOx   NOX
                                                 §97.1024
                                                 § 97.1024 Compliance with CSAPR NOx NOX                 § 97.1025 Compliance with CSAPR NOx
                                                                                                         §97.1025                            NOX   Ozone Season Group 1 Trading
                                                 Ozone Season Group 3 primary emissions                  Ozone Season Group 3 assurance            Program, CSAPR NOx  NOX Ozone Season
                                                 limitation; backstop daily NOx
                                                                            NOX emissions                provisions; CSAPR NOxNOX Ozone Season     Group 2 Trading Program, or CSAPR
                                                 rate.                                                   Group 3 secondary emissions limitation.   NOX Ozone Season Group 3 Trading
                                                                                                                                                   NOx
                                                 *
                                                 *       *
                                                         *    *
                                                              *     *     *                              *      *
                                                                                                                *     *
                                                                                                                      *     *
                                                                                                                            *     *
                                                                                                                                  *                Program, where the unit's
                                                                                                                                                                          unit’s seasonal
                                                    (b) *
                                                    (b)  * *
                                                           * *
                                                             *                                              (c) CSAPR NOxNOX Ozone Season Group    average NOx
                                                                                                                                                             NOX emission rate for each such
                                                    (1) Until the amount of CSAPR NOxNOX                   secondary emissions limitation. (1)
                                                                                                         3 secondary                               historical control period shall be
                                                 Ozone Season Group 3 allowances                         The owner or operator of a CSAPR NOx  NOX calculated from such reported data as
                                                 deducted equals the sum of:                             Ozone Season Group 3 unit equipped        the quotient (converted to lb/mmBtu at
                                                                                                                                                   a conversion factor of 2,000 lb/ton, and
ddrumheller on DSK120RN23PROD with RULES2




                                                    (i) The number of tons of total NOx
                                                                                    NOX                  with selective catalytic reduction
                                                 emissions from all CSAPR NOx NOX Ozone                  controls or selective non-catalytic       rounded to the nearest 0.0001 lb/
                                                 Season Group 3 units at the source for                  reduction controls shall not discharge,   mmBtu) of the unit's
                                                                                                                                                                    unit’s total NOx
                                                                                                                                                                                 NOX
                                                 such control period; plus                               or allow to be discharged, emissions of   emissions in tons for the historical
                                                    (ii) Two times the excess, if any, over              NOX to the atmosphere during a control control period divided by the unit's
                                                                                                         NOx                                                                        unit’s
                                                 50 tons of the sum (converted to tons at                period in excess of the tonnage amount    total heat input in mmBtu for the
                                                 a conversion factor of 2,000 lb/ton and                 calculated in accordance with paragraph historical control period.
                                                 rounded to the nearest ton), for all                    (c)(2) of this section, provided that the ■
                                                                                                                                                   ■ 70. Amend § 97.1026 by:



                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00264   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 303 of 430
                                                                      Federal Register / Vol. 88, No. 107/Monday,
                                                                                                      107 / Monday, June 5, 2023 / Rules and Regulations
                                                                                                                            2023/Rules                                                             36917
                                                                                                                                                                                                   36917

                                                 •■ a. Revising the section heading and                     (B) 0.105, for a control period in 2030            account for purposes of such
                                                  paragraph (b);                                         and thereafter.                                        computation.
                                                 •■ b. In paragraph (c):                                    (3) If the total amount of CSAPR NOxNOX                (ii) Following a computation for a
                                                                  ‘‘set forth in"
                                                 •■ i. Removing "set          in’’ and adding            Ozone Season Group 3 allowances                       group of general accounts in accordance
                                                  in its place "established
                                                               ‘‘established under";
                                                                               under’’; and              determined under paragraph (d)(2)(i) of               with paragraph (d)(4)(i) of this section,
                                                                   ‘‘State (or Indian’’
                                                 •■ ii. Removing "State        Indian" and               this section exceeds the CSAPR NOx  NOX               the Administrator will deduct from and
                                                  adding in its place "State
                                                                        ‘‘State (and Indian’’;
                                                                                      Indian";           Ozone Season Group 3 allowance bank                    record in each individual account in
                                                  and                                                    ceiling target determined under                       such group a proportional share of the
                                                 •■ c. Adding paragraph (d).                             paragraph (d)(2)(ii) of this section, then             quantity of CSAPR NOx  NOX Ozone Season
                                                    The revision and addition read as                    for each compliance account or general                 Group 3 allowances computed for such
                                                  follows:                                               account holding CSAPR NOx   NOX Ozone                 group, basing such shares on the
                                                                                                         Season Group 3 allowances issued for                   respective quantities of CSAPR NOx NOX
                                                 § 97.1026 Banking; bank recalibration.                  control periods in years before the year               Ozone Season Group 3 allowances
                                                 *
                                                 *     *
                                                       *    *
                                                            *    *
                                                                 *     *
                                                                       *                                 of the deadline under paragraph (d)(1)                 determined for such individual
                                                    (b) Any CSAPR NOx NOX Ozone Season                   of this section, the Administrator will:               accounts under paragraph (d)(3)(i) of
                                                 Group 3 allowance that is held in a                        (i) Determine the total amount of                   this section.
                                                 compliance account or a general                         CSAPR NOx  NOX Ozone Season Group 3                       (iii) In determining the proportional
                                                 account will remain in such account                     allowances issued for control periods in               shares under paragraph (d)(4)(ii) of this
                                                 unless and until the CSAPR NOx NOX Ozone                years before the year of the deadline                  section, the Administrator may employ
                                                 Season Group 3 allowance is deducted                    under paragraph (d)(1) of this section                 any reasonable adjustment methodology
                                                 or transferred under § 97.1011(c),                      and held in the account.                               to truncate or round each such share up
                                                 § 97.1012(c), § 97.1023, § 97.1024,                                             account’s share of
                                                                                                            (ii) Determine the account's                        or down to a whole number and to
                                                 § 97.1025, § 97.1027, or § 97.1028 or                   the CSAPR NOx  NOX Ozone Season Group 3
                                                                                                                                                                cause the total of such whole numbers
                                                 paragraph (c) or (d) of this section.                   allowance bank ceiling target for the
                                                                                                                                                                to equal the amount of CSAPR NOx  NOX
                                                 *       *    *     *     *                              control period, calculated as the
                                                 *       *    *     *     *                                                                                     Ozone Season Group 3 allowances
                                                                                                         product, rounded up to the nearest
                                                    (d) Before the allowance transfer                                                                           computed for such group of accounts in
                                                                                                         allowance, of the CSAPR NOx  NOX Ozone
                                                 deadline for each control period in 2024                Season Group 3 allowance bank ceiling                  accordance with paragraph (d)(4)(i) of
                                                 and thereafter, the Administrator will                  target determined under paragraph                      this section, even where such
                                                 deduct amounts of CSAPR NOx   NOX Ozone                 (d)(2)(ii) of this section multiplied by a             adjustments cause the numbers of
                                                 Season Group 3 allowances issued for                    fraction whose numerator is the total                  CSAPR NOx  NOX Ozone Season Group 3
                                                 the control periods in previous years                   amount of CSAPR NOx   NOX Ozone Season                allowances remaining in some
                                                 exceeding the CSAPR NOx  NOX Ozone                      Group 3 allowances held in the account                 individual accounts following the
                                                 Season Group 3 allowance bank ceiling                   determined under paragraph (d)(3)(i) of                deductions to equal zero.
                                                 target for the control period in                        this section and whose denominator is                 •■ 71. Amend § 97.1030 by:
                                                 accordance with paragraphs (d)(1)                       the total amount of CSAPR NOx NOX Ozone               •■ a. Revising paragraph (b)(1); and
                                                 through (4) of this section.                            Season Group 3 allowances held in all                 •■ b. In paragraph (b)(3), removing
                                                    (1) As soon as practicable on or after               compliance and general accounts                        ‘‘(b)(2)’’ and adding in its place "(b)(1)
                                                                                                                                                                "(b)(2)"                           ‘‘(b)(1)
                                                 August 1, 2024, and August 1 of each                    determined under paragraph (d)(2)(i) of                or (2)"
                                                                                                                                                                    (2)’’ each time it appears.
                                                 year thereafter, the Administrator will                 this section.                                             The revision reads as follows:
                                                 temporarily suspend acceptance of                          (iii) Deduct an amount of CSAPR NOx  NOX
                                                 CSAPR NOx NOX Ozone Season Group 3                      Ozone Season Group 3 allowances                       § 97.1030 General monitoring,
                                                 allowance transfers submitted under                                                                           recordkeeping, and reporting requirements.
                                                                                                         issued for control periods in years                   *     *    *     *     *
                                                 § 97.1022 and, before resuming                          before the year of the deadline under                 *     *    *     *    *
                                                                                                                                                                  (b) * * *
                                                 acceptance of such transfers, will take                 paragraph (d)(1) of this section equal to                (b)  * * *
                                                 the actions in paragraphs (d)(2) through                any positive remainder of the total                      (1)(i) May 1, 2021, for a unit in a State
                                                                                                                                                                  (1)(i) May
                                                 (4) of this section.                                    amount of CSAPR NOx   NOX Ozone Season                (and Indian country within the borders
                                                    (2) The Administrator will determine                 Group 3 allowances held in the account                of such State) listed in
                                                 each of the following values:                           determined under paragraph (d)(3)(i) of               § 52.38(b)(2)(iii)(A) of this chapter;
                                                    (i) The total amount of CSAPR NOxNOX                                           account’s share of
                                                                                                         this section minus the account's                         (ii) May 1, 2023, for a unit in a State
                                                 Ozone Season Group 3 allowances                         the CSAPR NOx  NOX Ozone Season Group 3               (and Indian country within the borders
                                                 issued for control periods in years                     allowance bank ceiling target for the                 of such State) listed in
                                                 before the year of the deadline under                   control period determined under                       § 52.38(b)(2)(iii)(B) of this chapter;
                                                 paragraph (d)(1) of this section and held               paragraph (d)(3)(ii) of this section. The                (iii) August 4, 2023, for a unit in a
                                                 in all compliance and general accounts.                 allowances will be deducted on a first-               State (and Indian country within the
                                                    (ii) The CSAPR NOxNOX Ozone Season                   in, first-out basis in the order set forth            borders of such State) listed in
                                                 Group 3 allowance bank ceiling target                   in § 97.1024(c)(2)(i) and (ii).                       § 52.38(b)(2)(iii)(C) of this chapter,
                                                 for the control period in the year of the                  (iv) Record the deductions under                   where the unit is required to report NOxNOX
                                                 deadline under paragraph (d)(1) of this                 paragraph (d)(3)(iii) of this section in              mass emissions data or NOx NOX emissions
                                                 section, calculated as the product,                     the account.                                          rate data according to 40 CFR part 75 to
                                                 rounded to the nearest allowance, of the                   (4)(i) In computing any amounts of                 address other regulatory requirements;
                                                 sum for all States listed in                                       NOX Ozone Season Group 3                   or
ddrumheller on DSK120RN23PROD with RULES2




                                                                                                         CSAPR NOx                                             or
                                                 § 52.38(b)(2)(iii) of this chapter of the               allowances to be deducted from general                   (iv) January 31, 2024, for a unit in a
                                                         NOX Ozone Season Group 3
                                                 State NOx                                               accounts under paragraph (d)(3) of this               State (and Indian country within the
                                                 trading budgets under § 97.1010(a) for                  section, the Administrator may group                  borders of such State) listed in
                                                 such States for such control period                     multiple general accounts whose                       § 52.38(b)(2)(iii)(C) of this chapter,
                                                 multiplied by—                                          ownership interests are held by the                   where the unit is not required to report
                                                    (A) 0.210, for a control period in 2024              same or related persons or entities and               NOX mass emissions data or NOx
                                                                                                                                                               NOx                             NOX
                                                 through 2029; or                                        treat the group of accounts as a single               emissions rate data according to 40 CFR


                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00265   Fmt 4701   Sfmt 4700   E:\FR\FM\05JNR2.SGM   05JNR2
                                                      USCA Case #23-1157                            Document #2009836                             Filed: 07/27/2023              Page 304 of 430
                                                 36918                Federal Register / Vol. 88, No. 107 / Monday, June 5, 2023 / Rules and Regulations

                                                  part 75 to address other regulatory                    §97.1034
                                                                                                         § 97.1034 Recordkeeping and reporting.    within the borders of such State) listed
                                                  requirements.                                          **     **   *
                                                                                                                     *
                                                                                                                           **
                                                                                                                                  *
                                                                                                                                  *
                                                                                                                                                   in § 52.38(b)(2)(iii)(B) of this chapter; or
                                                  *
                                                  *      *
                                                         *    *
                                                              *     *
                                                                    *    *
                                                                         *                                  (d) * * *                                 (C) The calendar quarter covering
                                                 •■  72. Amend   § 97.1034 by:                              (2) * * *                              August 4, 2023, through June 30, 2023,
                                                 •■ a. Revising paragraph (d)(2)(i); and                    (i)(A) The calendar quarter covering   for a unit in a State (and Indian country
                                                 •■ b. In paragraph (d)(4), removing "or
                                                                                      ‘‘or               May 1, 2021, through June 30, 2021, for   within the borders of such State) listed
                                                  CSAPR SO SO22 Group 1 Trading Program,                 a unit in a State (and Indian country     in § 52.38(b)(2)(iii)(C) of this chapter;
                                                  quarterly’’ and adding in its place
                                                  quarterly"                                             within the borders of such State) listed
                                                  ‘‘CSAPR SO
                                                 "CSAPR     SO22 Group 1 Trading Program,                in § 52.38(b)(2)(iii)(A) of this chapter; **     **     *      *
                                                                                                                                                                        *
                                                                                                                                                                                *
                                                                                                                                                                                *

                                                                                                                                                   [FR Doc. 2023–05744
                                                                                                                                                             2023-05744  Filed 6-2-23;
                                                                                                                                                                        Filed  6–2–23; 8:45 am]
                                                 or CSAPR SO2SO2 Group 2 Trading                            (B) The calendar quarter covering May
                                                 Program, quarterly’’.
                                                            quarterly".                                  1, 2023, through June 30, 2023, for a     BILLING CODE 6560-50-P
                                                                                                                                                                 6560–50–P
                                                     The revision reads as follows:                      unit in a State (and Indian country
ddrumheller on DSK120RN23PROD with RULES2




                                            VerDate Sep<11>2014   20:14 Jun 02, 2023   Jkt 259001   PO 00000   Frm 00266   Fmt 4701   Sfmt 9990   E:\FR\FM\05JNR2.SGM   05JNR2
USCA Case #23-1157   Document #2009836   Filed: 07/27/2023   Page 305 of 430




                           Appendix B
USCA Case #23-1157             Document #2009836                  Filed: 07/27/2023          Page 306 of 430




                        KINDER,,A1/1ORGAVI
 June 21, 2022

                                           a-and-r-docket@epa.gov
 Filed Via https://www.regulations.gov and a-and-r-docket@cpa.gov

 Ms. Elizabeth Selbst
 Air Quality Policy Division
 Office of Air Quality Planning and Standards (C539-01)
 U.S. Environmental Protection Agency
 109 TW Alexander Drive
 Research Triangle Park, NC 27711
 (919) 541-3918
 Selbst.elizabeth@epa.gov

  Re:        Docket ID No. EPA-HQ-OAR-2021-0668: Kinder Morgan, Inc.'sInc.’s Comments on
             the United States Environmental Protection Agency's
                                                        Agency’s Federal Implementation
             Plan Addressing Regional Ozone Transport for the 2015 Ozone National Ambient
             Air Quality Standard

 Ladies and Gentlemen:

                             (“Kinder Morgan,"
        Kinder Morgan, Inc. ("Kinder  Morgan,” the "Company,"
                                                   “Company,” or "we"),
                                                                 “we”), on behalf of itself and
 its subsidiaries and affiliates, submits the following comments in response to the U.S.
 Environmental Protection Agency's
                           Agency’s ("EPA")
                                     (“EPA”) proposed Federal Implementation Plan Addressing
 Regional Ozone Transport for the 2015 Ozone National Ambient Air Quality Standard (the
            Rule”).1
 “Proposed Rule").1
 "Proposed

         Kinder Morgan operates in 14 of the 23 states that would be impacted by the Proposed
 Rule. As a result, the Proposed Rule would directly and significantly impact the Company and
 could impact the end users that the Company serves. Kinder Morgan has a long-standing record
 of being a collaborative and cooperative stakeholder with EPA on implementation of regulations
 and initiatives related to the oil and natural gas sector, including with respect to the Greenhouse
 Gas Reporting Program ("GHGRP"),
                              (“GHGRP”), the Natural Gas STAR program, prior New Source
 Performance Standards (“NSPS”)
                          ("NSPS") and National Emissions Standards for Hazardous Air Pollutants
 (“NESHAP”), as well as relevant state proposals (including but not limited to Colorado, New
 ("NESHAP"),
 Mexico, and Illinois) addressing emissions limits for larger engines. With this experience in mind,
 Kinder Morgan requests that EPA carefully consider its comments provided here. In this comment

 11 See Federal Implementation Plan Addressing Regional Ozone Transport for the 2015 Ozone National Ambient Air
                                20,036–216 (Apr. 6, 2022).
 Quality Standard, 87 Fed. Reg. 20,036-216


                                                       1
USCA Case #23-1157             Document #2009836                    Filed: 07/27/2023          Page 307 of 430



 letter, we address EPA’s
                    EPA's proposal to establish emissions limits for certain "non-Electric
                                                                             “non-Electric Generating
 Units” (“non-EGUs”),
 Units"   ("non-EGUs"), in particular, for those operating in the Pipeline Transportation of Natural
 Gas sector. Specifically, Kinder Morgan addresses EPA’s    EPA's proposed emissions limits for
 stationary, natural gas-fired, spark ignited reciprocating internal combustion engines ("RICE")
                                                                                            (“RICE”)
 with a maximum rated capacity of 1,000 horsepower ("hp")(“hp”) or greater (collectively, "Engines")
                                                                                           “Engines”)
               Proposal”).2
      “Engine Proposal").2
 (the "Engine

         Several trade organizations have submitted extensive comments in response to the
 Proposed Rule. Kinder Morgan endorses the comments of the Interstate Natural Gas Association
             (“INGAA”), the Gas Processors Association ("GPA"),
 of America ("INGAA"),                                  (“GPA”), the Texas Pipeline Association
 (“TPA”), and the joint comments of the Association of Electric Companies of Texas, BCCA
 ("TPA"),
 Appeal Group, Texas Chemical Council, and Texas Oil & Gas Association ("Texas
                                                                             (“Texas Transport
                    3
           Group”). The Texas Transport Working Group, in particular, presents persuasive
 Working Group").3
 technical analysis on modeling flaws that run through EPA’s
                                                       EPA's analysis in support of its Proposed
 Rule. Kinder Morgan also appreciates the opportunity to comment separately on certain elements
 of the Proposed Rule.

 I.       EXECUTIVE SUMMARY

         EPA’s
         EPA's Proposed Rule is extensive, with a variety of proposals that impact multiple
 industries. Kinder Morgan focuses its comments on the Engine Proposal where EPA is proposing
 to establish stringent emissions limits for certain large engines operated across 23 states within the
 Pipeline Transportation of Natural Gas industry (summarized in further detail in Section III.A,
 below). Kinder Morgan recognizes the importance of continued emissions reductions, and the
 Company supports reasonable regulation that considers both technical feasibility and cost-
 effectiveness. As one of the largest energy infrastructure companies in North America, Kinder
 Morgan provides a unique and important perspective on the technical and cost impacts of adopting
            NOx emissions thresholds, especially in the transmission segment of the oil and gas
 stringent NOx
 industry. The Company has significant experience deploying various technologies to achieve cost-
 effective emissions reductions, and we have gained important knowledge regarding the limitations
 of certain technologies as applied to certain engines. The Company shares its experiences in this
 comment letter. While we submit these comments, supported by detailed technical and cost
 analyses, the Company requests that EPA engage in dialogue with Kinder Morgan and other
 stakeholders to work through the complexities of the Proposed Rule.

        Kinder Morgan recognizes the importance of clean air and of the mandates of the Clean
         (“CAA”). Nevertheless, Kinder Morgan respectfully notes that EPA’s
 Air Act ("CAA").                                                       EPA's Engine Proposal
 has many significant legal and factual shortcomings and EPA cannot move forward with the rule
 as proposed. The Engine Proposal is based on materially inaccurate data, resulting in erroneous

 2
 2 See id. at 20,142-143.
              20,142–143.
 3
                                      Morgan’s endorsement of the INGAA, GPA, TPA, and Texas Transport
 3 For the avoidance of doubt, Kinder Morgan's
 Working Group comments includes all content, attachments, exhibits, citations, and documents associated with such
 submissions.


                                                        2
USCA Case #23-1157              Document #2009836                     Filed: 07/27/2023          Page 308 of 430



 and consequential conclusions that are inconsistent with both good policy and with the CAA's
                                                                                           CAA’s
 Good Neighbor Provision. It is unclear how EPA could make the necessary findings for a final
 rule given the inaccurate data it relies upon. Should EPA choose to move forward with a version
 of the Engine Proposal, the agency must develop the proposal based on updated and accurate data;
 republish a proposed rule and supporting technical papers, including with respect to target and
 anticipated emissions reductions; and provide a renewed opportunity for public comment on the
 draft rule. A failure to do so would be directly contrary to EPA’s
                                                                EPA's obligations to the public for
                                    4
                              CAA and the Administrative Procedures Act.5
 rulemaking under both the CAA4                                           Act.5 Here, EPA has not
 provided the requisite data from which it proposes to base its regulation.

         The Engine Proposal is inadequate and contrary to law for several important reasons.

      1. EPA is relying on an inaccurate set of data in support of the Engine Proposal. In particular,
                                                 Morgan’s Engines would be affected by the Engine
         according to EPA, only 77 of Kinder Morgan's
         Proposal. Further, this count of 77 includes 20 turbines, which are explicitly not subject
         to the Engine Proposal. Consequently, EPA’sEPA's proposal assumes that only 57 of Kinder
         Morgan’s Engines are subject to the Engine Proposal. In stark contrast to that number—
         Morgan's
         and calling into significant doubt EPA’s
                                             EPA's underlying data—Kinder Morgan's
                                                                               Morgan’s records show
         that approximately 950 of its Engines would be affected by the Engine Proposal.
         Therefore, EPA has underestimated the impacts to Kinder Morgan by more than a factor
         of 16. EPA has also underestimated the impacts to the sector more broadly, as summarized
         in more detail in the INGAA comments, which show that the Proposed Rule would require
                                                                               estimated.6 Using such
                                         five times more units than EPA had estimated.6
         costly modifications to nearlyfive
         inaccurate and under-representative data provides an inadequate basis for reasoned
         decision making and results in over-control. In brief, the agency has materially
         underestimated the number of subject Engines, thereby underestimating the anticipated
         emissions by nearly half. A proposal of this nature that is built on inaccurate data is simply
         unreasonable; EPA must re-publish a new proposed draft rule based on an accurate factual
         basis before pursuing any version of the Engine Proposal.

      2. EPA also underestimates concerns around the technical feasibility involved with the
         proposed emissions limits. Plainly stated, it is not technically feasible to achieve the
         proposed emissions limits in all cases. The technologies available are limited when
         applied to certain type of engines, and even after exhausting layered technologies, the
         emissions limits may not be achievable. Any final rule must account for this, and EPA’s
                                                                                           EPA's
         proposal fails to do so.


 4
 4 See 42 U.S.C. § 7607(d)(3) (setting forth requirements under the CAA for rulemaking in this context, among others,
 including the requirement that EPA identify the factual data it relies on).
 5
 5 See 5 U.S.C. § 706(2)(A) (requiring reasoned decision-making); Motor Vehicles Mfrs. Ass'n
                                                                                           Ass’n v. State Farm Mut.
 Auto. Ins. Co., 463 U.S. 29, 43 (1983) (same).
 6
 6 See INGAA comments, Section II and Table 2 showing INGAA’sINGAA's count of its members units needing controls is
 1,199, along with another 180 units that include emissions controls but would need additional controls. By contrast,
 EPA has undercounted the number at 307.


                                                          3
USCA Case #23-1157        Document #2009836                Filed: 07/27/2023       Page 309 of 430



    3. Assuming a given technology (or technologies) is technically feasible, achieving the
       standard could nonetheless be cost-prohibitive. In fact, the cost to Kinder Morgan alone
       to implement the Engine Proposal would be approximately, and on average, $4.3 million
       per Engine without the reasonable modifications Kinder Morgan proposes. In fact,
       Kinder Morgan's
               Morgan’s costs alone exceed EPA’s
                                             EPA's estimated cost of implementationforfor the entire
       Pipeline Transportation of  of Natural Gas sector to implement the Engine Proposal.
       Furthermore, based on site-specific studies of Engines operated by Kinder Morgan
       (discussed in further detail below), we are seeing the cost-per-ton of NOx
                                                                              NOx reduced in excess
       of $500,000 in some circumstances, which far exceeds EPA’s
                                                                EPA's own proposed cost threshold
                              NOx reduced. The costs are largely driven by the fact that control
       of $7,500 per ton of NOx
       technologies are limited, and where they are feasible, it is no small task to address after-
       market retrofit technologies on these Engines. When considering that Kinder Morgan
       alone operates approximately 950 Engines that would be subject to the Engine Proposal—
       and the majority would require retrofitting to meet the proposal—it is clear that the actual
       costs of the Proposed Rule were not accurately accounted for and considered.

    4. EPA has not fully contemplated other foundationally important considerations necessary
       to make a final
                    fmal rule successful. For example, EPA fails to consider that the proposed
       timeline for compliance is unreasonable, if not impossible. Based on its significant and
       real-world experience of deploying NOx NOx emissions reduction technologies on large
       engines, Kinder Morgan can say with confidence that it would likely take at least until
       2045 to implement the Engine Proposal across all of its Engines that currently exceed the
       proposed emissions limits. In discussions with manufacturers—of which (to our
                                                                       Company’s (and others')
       knowledge) there are only two that can manage certain of the Company's            others’)
                        Morgan’s understanding is that manufacturers would only be able to
       units—Kinder Morgan's
                                                Morgan’s units per year that exceed the proposed
       address twenty to twenty-five of Kinder Morgan's
       thresholds. This rate assumes that manufacturers expand their capacity to work on other
       companies’ Engines as well. Simply put, the proposed 2026 compliance year is
       companies'
       unrealistic.

    5. EPA requests comment on whether NOx  NOx controls would be operated seasonally. Once
       NOx controls are installed for the ozone season, they cannot be uninstalled or simply
       NOx
       turned off. Rather, they will become an integral part of each Engine and would be
       employed throughout the year and not on a seasonal basis. To the extent EPA’s
                                                                                 EPA's cost
                                                                      NOx controls, such an
       analyses reduced its cost assumptions based on seasonal use of NOx
       approach is unrealistic and must be revised.

    6. EPA has not proposed an exemption for Engines used only in emergencies, which is
       inconsistent with other relevant federal and state engine rules.

    7. The Engine Proposal includes a semi-annual testing requirement that is onerous,
       unnecessary, and does not consider the need for the Pipeline Transportation sector of the
       Natural Gas Industry to keep natural gas flowing throughout the country for the benefit of


                                                 4
USCA Case #23-1157              Document #2009836                     Filed: 07/27/2023           Page 310 of 430



          the end users. To ease these burdens, while still ensuring adequate performance testing
          frequency and monitoring, Kinder Morgan suggests an alternative approach whereby
          testing frequency depends in part on past testing performance of a particular Engine.

         To address the deficiencies in the Engine Proposal, Kinder Morgan respectfully
 recommends that EPA re-publish a proposed rule—supported by updated and accurate data—that
 would serve as a model rule that individual states can adopt as a part of their SIPs in furtherance
    EPA’s goals. To be clear, the model rule would only be a model, and states should still be
 of EPA's
 afforded the flexibility to take another approach—so long as the resulting emissions reductions are
 sufficient. EPA’s
              EPA's model rule should include the following core elements (1) an emissions
                                                     operator’s7 fleet of Engines to offer flexibility in
 averaging program to allow averaging across an operator's
 implementation to address cost, technical, and other constraints; (2) a site-specific Reasonable
 Available Control Technology ("RACT")
                                    (“RACT”) analysis to address those individual circumstances
 where achieving the emissions limits is not cost-effective; (3) an exemption for emergency
 Engines; and (4) refined performance testing requirements. As Kinder Morgan explains in these
 comments, averaging allows regulated entities to leverage their operational expertise to achieve
 significant emissions reductions at the lowest cost and through the most technically feasible
 approach. Installing additional controls for certain types of Engines could be prohibitively
 expensive, even with averaging. To address this reality, the model rule must also include the
 option for owners and operators to show—on an Engine-by-Engine basis—that attaining the
 specific emissions limit would be economically infeasible. Such an option for individualized
 determination of economic infeasibility is critically important to accommodate circumstances in
 which a particular Engine cannot meet the emissions standards of the Proposed Rule due to unit-
 and/or site-specific considerations, and this option would operate in addition to (and before) any
 emissions averaging. If the Proposed Rule is not modified to provide a more flexible and cost-
 effective approach, the natural gas supply chain faces a threat of shortages and constrained
 deliveries, and an increase in the price of transportation in some circumstances that may ultimately
 flow through to consumers.

         Kinder Morgan provides these comments in the interest of arriving at a reasonable and
 feasible solution in response to EPA’s
                                  EPA's obligation to address ozone transport. Kinder Morgan is
 proposing an alternative approach that would result in a feasible, cost-effective, and workable final
 rule. Again, the Company invites engagement with EPA on these highly technical issues, and
 respectfully requests EPA re-publish a new draft rule adopting the Company's   Company’s proposed
 alternative approach for the reasons discussed throughout these comments.

 II.       BACKGROUND: KINDER MORGAN, INC.

        Kinder Morgan is one of the largest energy infrastructure companies in North America and,
 more specifically, one of the largest natural gas transporters and natural gas storage operators in
 North America. Kinder Morgan has interests in approximately 70,000 miles of natural gas

 7
      “operator,” Kinder Morgan means a parent company together with any of its subsidiaries.
 7 By "operator,"                                                                                   Allowing averaging
 at the parent-company level increases flexibility, which in turn fosters cost-effective emissions solutions.


                                                          5
USCA Case #23-1157             Document #2009836                    Filed: 07/27/2023           Page 311 of 430



 pipelines and owns approximately 700 billion cubic feet of working capacity of underground
 natural gas storage. The Company operates within 44 states in the Lower 48, with natural gas
 operations in 38 states. In fact, Kinder Morgan's
                                            Morgan’s natural gas pipelines are connected to every
 important natural gas resource play in the Lower 48, including the Bakken, Eagle Ford, Marcellus,
 Permian, Utica, Uinta, Haynesville, Fayetteville, Barnett, Mississippi Lime, and Woodford, all of
 which will play a significant role in meeting the nation's nation’s long-term natural gas supply.
 Approximately 40% of the natural gas consumed in the United States is transported by Kinder
 Morgan’s pipelines. Key Kinder Morgan natural gas pipeline assets include Natural Gas Pipeline
 Morgan's
 Company of America (which serves the high-demand Chicago market); Tennessee Gas Pipeline
 (which serves New York City and Boston); Southern Natural Gas (which serves the southeastern
 United States); intrastate pipelines in Texas (Texas is the largest producer and consumer of natural
 gas in the United States); El Paso Natural Gas, Mojave Pipeline, and Ruby Pipeline (which serve
 Southwestern and California markets).

         Prioritizing the protection of public health, safety, welfare, and the environment has always
 been a priority for Kinder Morgan and is consistent with the Company's
                                                                      Company’s Vision and Mission
 statements. In particular, Kinder Morgan has been a leader and cooperative ally in state-level
 rulemakings to develop technically feasible and cost-effective programs that develop reasonable
 NOx emissions limits for certain larger engines, while ensuring operations are not disrupted and
 NOx
 operators are afforded the necessary flexibility to implement appropriate control technologies. For
 example, in Colorado, Kinder Morgan worked with the Colorado Air Pollution Control Division
 and other stakeholders during the 2019 rulemaking process on Colorado's
                                                                    Colorado’s unique "company-wide
                                                                                       “company-wide
 plan” approach to NOx
 plan"               NOx emissions reductions for engines over 1,000 hp. In New Mexico, Kinder
 Morgan was the primary transmission operator that worked closely with the New Mexico
 Environment Department and other industry members in 2021. In that rulemaking, the Company
 produced significant information and data to help inform reasonable emissions thresholds together
 with the options for alternative compliance plans and alternative emission standards in instances
 where the thresholds may be technically infeasible or not cost-effective. As a result of the expanse
            Morgan’s operations and its active involvement in this area, Kinder Morgan is well-
 of Kinder Morgan's
 versed in the complexities and challenges of cost-effectively reducing emissions from Engines,
 which are integral pieces of equipment necessary to ensure natural gas is delivered efficiently and
 safely to customers, the city gates, and homes alike. Importantly, in response to the Colorado and
 New Mexico rulemakings, as well as similar rulemakings in Arizona and Pennsylvania, Kinder
 Morgan has implemented or is in the process of implementing modifications to Engines that will
 achieve over 7,000 tons per year ("tpy")
                                    (“tpy”) in total NOx  reductions.8
                                                     NOx reductions.8

                        Company’s commitment to sustainable operations, Kinder Morgan is a
        Further, to the Company's
 founding member of ONE Future, a unique coalition made up of members across the natural gas
 industry focused on identifying policy and technical solutions that result in improvements in the

 8
 8 With regard to Colorado, as of May 1, 2022, Kinder Morgan has achieved reductions of 564.2 tpy of NOR,
                                                                                                     NOx, and once
 the plan is fully implemented, the Company's
                                    Company’s potential to emit will be reduced by 3,000 tpy of NOR.
                                                                                                NOx. Kinder Morgan
 is projected to achieve reductions of 935 tpy of NO.
                                                  NOx in Arizona, 2330 tpy of NO.
                                                                              NOx in New Mexico, and 742 tpy of NO.
                                                                                                                NOx
 in Pennsylvania.


                                                         6
USCA Case #23-1157             Document #2009836                    Filed: 07/27/2023           Page 312 of 430



 management of emissions associated with the production, gathering, processing, transmission, and
 distribution of natural gas. Members of ONE Future are committed to continuously improving
 their emissions management to achieve voluntary reductions in emissions and to assure efficient
                                      Future’s goal is to enhance the energy delivery efficiency of
 increased use of natural gas. ONE Future's
 the natural gas supply chain by limiting energy waste and achieving a total methane emission rate
 of less than one percent of gross natural gas production, well below current estimates for fugitive
 emissions in the sector. The ONE Future coalition represents the entire natural gas value chain,
 with members from some of the largest natural gas production, gathering, processing,
 transmission, and distribution companies in the United States.

         In connection with Kinder Morgan's
                                      Morgan’s membership in ONE Future, it joined EPA’s
                                                                                      EPA's Methane
 Challenge program in 2016. As part of this program, Kinder Morgan committed to achieving a
                     intensity9 target of 0.31% by 2025.10
 methane emission intensity9                         2025.10 In 2020, Kinder Morgan achieved an
                         0.04%.11 Surpassing the 0.31% intensity target by such a wide margin
 emission intensity of 0.04%.11
                            Company’s commitment to reducing emissions from its operations. For
 reflects the depth of the Company's
 the period 2018 to 2020, Kinder Morgan achieved voluntary reductions in carbon dioxide
 equivalent emissions of 6.7 million metric tons and voluntary reductions in methane emissions of
                                                                               saved.12
 14.2 billion cubic feet, resulting in an estimated $46 million in natural gas saved.12

 III.     BACKGROUND: EPA’S
                      EPA'S PROPOSED ENGINE EMISSIONS STANDARDS

         A.       Summary of EPA’s
                                 EPA's Proposed Emissions Standards for the Pipeline
                  Transportation of Natural Gas Sector.

         As part of the Proposed Rule, EPA is proposing to establish emissions limits for certain
 industrial stationary sources referred to as non-EGUs in 23 states. All subject Engines would have
 to meet the emission limits by 2026. Based on the results of its Screening Assessment of Potential
 Emissions Reductions, Air Quality Impacts, and Costs from Non-EGU Emissions Units for 2026
 (“Non-EGU Screening Assessment Memorandum"),
 ("Non-EGU                             Memorandum”), EPA identified emissions unit types in seven
 industries that it believes "provide
                              “provide opportunities for NOx
                                                          NOx emissions reductions that result in
                                                     receptors.”13 Of relevance to Kinder Morgan
 meaningful impacts on air quality at the downwind receptors."13
 is the Engine Proposal portion of the Proposed Rule, which would apply to the Pipeline
 Transportation of Natural Gas sector. As discussed below in Section IV,  W, however, EPA has not
 provided a clear definition of that sector.




 9 In
 9                  “intensity” means emissions per volume of throughput, and it is expressed as a percentage.
      this context, "intensity"
 10 Kinder Morgan, Inc., Environmental, Social, and Governance Report: A Sustainability Accounting Standards
 1° Kinder Morgan, Inc., Environmental, Social, and Governance Report: A Sustainability Accounting Standards
 Board and Task Force on Climate-related Financial Disclosure Report at pdf page 2 (2020),
 https://www.kindermorgan.com/getmedia/b87cb3e5-d8d5-4d42-8e27-dd66c895768d/2020-ESG-Report.pdf (Rev.
 https://www.kindermorgan.comigetmedia/b87cb3e5-d8d5-4d42-8e27-dd66c895768d/2020-ESG-Report.pdf
 Dec. 21, 2021).
 11
 11 See id.
 12
 12 See id. at 27 (calculation based on values given for 2018, 2019, and 2020).
 13
 13 Proposed Rule at 20,043.




                                                         7
USCA Case #23-1157                Document #2009836                      Filed: 07/27/2023             Page 313 of 430



         The Engine Proposal would apply emissions limits (expressed in grams per horsepower
            (“g/hp-hr”))14 to three broad categories of stationary, natural-gas fired, spark ignited
 per hour ("g/hp-hr"))14
                                                    Gas15 sector that have a maximum rated capacity
 engines in the Pipeline Transportation of Natural Gas15
 of 1,000 horsepower or greater: (i) natural gas fired four stroke rich burn engines ("4SRB");
                                                                                        (“4SRB”); (ii)
 natural gas fired four stroke lean burn engines ("4SLB");
                                                 (“4SLB”); and (iii) natural gas fired two stroke lean
                (“2SLB”).16 EPA stated that it reviewed RACT NOx
 burn engines ("2SLB").16                                          NOx rules, air permits, and Ozone
 Transport Commission ("OTC")
                           (“OTC”) model rules to develop the following emissions limits for these
          17
 engines:
 engines:17

  Engine Type (would apply to new and                                      NOx emissions limit
                                                                 Proposed NOx
  existing)                                                      (grams per horsepower hour)
  Nat Gas
  Nat Gas fired  4-stroke rich
           fired 4-stroke rich burn,
                               burn, >
                                     ≥ 1000
                                       1000 HP
                                            HP                   1.0 g/hp-hr
                                                                 1.0 g/hp-hr
  Nat Gas
  Nat Gas fired  4-stroke lean
           fired 4-stroke      burn, >
                          lean burn, ≥ 1000
                                       1000 HP
                                            HP                   1.5 g/hp-hr
                                                                 1.5 g/hp-hr
  Nat Gas
  Nat Gas fired  2-stroke lean
           fired 2-stroke      burn, >
                          lean burn, ≥ 1000
                                       1000 HP
                                            HP                   3.0 g/hp-hr
                                                                 3.0 g/hp-hr

          EPA states that these limits can be achieved on existing Engines using various retrofit
 technologies at the cost-per-ton threshold of less than $7,500 per ton of NOx
                                                                           NOx reduced. With regard
 to the 4SRB Engines, EPA states that its proposed limits are designed to be achievable for existing
                                                             (“NSCR”).18 EPA's
 Engines by installing Non-Selective Catalytic Reduction ("NSCR").18        EPA’s position is that the
 proposed limit for 4SLB Engines can be achieved for existing Engines by installing Selective
                         (“SCR”)—though EPA notes that in some cases it may be more cost effective
 Catalytic Reduction ("SCR")—though
 to install layered combustion controls along with SCR to achieve the necessary emissions
 reductions.19 Finally, with regard to 2SLB Engines, EPA states that the proposed limit is designed
 reductions.19
                                                                                       technologies.20
 to be achievable for existing Engines by retrofitting them with layered combustion technologies.20
 In all cases, however, EPA notes that sources are free to install another control technology as long
                                                       21
 as the unit is still able to meet the emissions limit.
                                                 limit.21

        Though EPA proposes certain limits for each type of Engine, the agency is also soliciting
 comments as to whether lower or higher limits would be more appropriate. Specifically, EPA
 requests comment on whether: (i) a lower emissions limit is more appropriate for 4SRB Engines;

 14
 14 EPA has historically set emission limits for these types of engines using g/hp-hr. Id. at 20,142.
 15
 15 As defined in the Proposed Rule, "Pipeline
                                     “Pipeline transportation of natural gas"
                                                                          gas” means "the
                                                                                      “the movement of natural gas
 through an interconnected network of compressors and pipeline components, from field gathering networks near
 wellheads to end users, including: (i) The compressor and pipeline network used for field gathering of natural gas
 from the wellheads for delivery to either processing facilities or connections to pipelines used for intrastate or
 interstate transportation of the natural gas; and (ii) The compressor and pipeline network used to transport the
 natural gas from field gathering networks or processing facilities over a distance (intrastate or interstate) to and from
 storage facilities, to large natural gas end-users, and to distribution organizations that provide the natural gas to end-
 users.” Id. at 20,176.
 users."
 16
 16 Id. at 20,142.
 17
 17 Id.
 18 Id.
    Id.
 19
 19 Id.
 20
 2° Id. at 20,143.
 21
           20,142–143.
 21 Id. at 20,142-143.




                                                             8
USCA Case #23-1157               Document #2009836                   Filed: 07/27/2023           Page 314 of 430



 (ii) whether lower or higher emissions limits are more appropriate for 4SLB Engines; (iii) whether
 a lower emissions limit would be achievable with layered combustion alone for 2SLB Engines;
 and (iv) whether additional control technology could be installed on 2SLB Engines at or below
 EPA’s                                                              rate.22 Kinder Morgan provides
 EPA's $7,500 cost-per-ton threshold to achieve a lower emissions rate.22
 responses to each of these questions in Section V.A below.

         In addition to requiring Engines to meet certain emissions limits, EPA proposes certain
 testing, monitoring, and recording requirements for these Engines. Specifically, EPA proposes:
 (i) requiring semi-annual performance testing in accordance with 40 C.F.R. § 60.8 to ensure the
                             NOx emissions limits; (ii) that affected engines monitor and record hours
 engines are meeting their NOx
 of operation and fuel consumption to calculate ongoing compliance with the applicable emissions
 limit; and (iii) the use of continuous parametric monitoring systems ("CPMS")
                                                                          (“CPMS”) to ensure that the
                                                 23
 NOx emissions limit is being met at all times.23
 NOx                                       times. With regard to monitoring, EPA seeks comment
 on whether it is feasible or appropriate to require affected engines to be equipped with continuous
                                   (“CEMS”) to measure and monitor the NOx
 emissions monitoring systems ("CEMS")                                       NOx emissions instead of
                                                  basis.24 We provide our response to this request in
 conducting performance tests on a semiannual basis.24
 Section V.F below.

 IV.        EPA VASTLY UNDERESTIMATES THE NUMBER OF AFFECTED ENGINES,
            RESULTING IN AN UNDERESTIMATE OF EMISSIONS REDUCTIONS AND
            UNLAWFUL OVER-CONTROL.

         By requiring all stationary, natural-gas fired, spark ignited engines in the Pipeline
 Transportation of Natural Gas sector that: (i) have a maximum rated capacity of 1,000 horsepower
                                                     categories25; and (iii) are located in one of the 23
 or greater; (ii) fall into one of the three covered categories25;
 states covered by the Proposed Rule, the impact to Kinder Morgan is significant. EPA estimates
 Kinder Morgan operates a mere 77 Engines that would be subject to the Engine Proposal.
 Furthermore, EPA erroneously included 20 of the Company's
                                                        Company’s turbines in the agency's
                                                                                       agency’s count of
 affected Engines. By definition, turbines are not subject to this Proposed Rule. This means that
 EPA only really considered 57 of Kinder Morgan's
                                               Morgan’s Engines as a part of the Engine Proposal. In
 support of these comments, Kinder Morgan has inventoried its engine fleet through extensive
 analyses and determined that approximately 950 of its Engines would be subject to the Proposed
 Rule, a value that is orders of magnitude larger than EPA’s
                                                         EPA's estimates. Figure 1 below is a graphic
 showing the geographic dispersion and number of Kinder Morgan Engines that would be subject
 to the Proposed Rule. Of the 950 affected units, 153 are 4SRB, 309 are 4SLB, and 488 are 2SLB.262SLB.26




 22
      Id.
 23
 23 Id. at 20,143.
 24
      Id.
 25
 25 I.e., (i) 4SRB engines; (ii) 4SLB engines; and (iii) 2SLB engines.
 26
                                Morgan’s analysis, this Engine count includes engines in the gathering and boosting,
 26 For purposes of Kinder Morgan's
 processing, and transmission segments of its business units.


                                                           9
USCA Case #23-1157                Document #2009836                      Filed: 07/27/2023            Page 315 of 430



                                 Figure 1: Affected Kinder Morgan Engines


                                                                                                       AR :36
                                                                                                       IL :37
                                                                                                       KY :65
                                                                                                       LA : 10].
                                                                                        44             MS : 133
                              22
                                                                                   39                  MO : 9
                                                                          38                           NY :44
                      38                                      37               0                       OH :38
                                                          9             65                             OK : 126
    •••
                                                                                                       PA :39
                                                126                                                    TX :260
                                                         36
                                                              133                                      UT :38
                                            260                                                        WV :2
                                                          101                                          WY 00

                                                                                                       Total = 95o



                      EPA’s estimate of the number of affected units with Kinder Morgan's
         Comparing EPA's                                                             Morgan’s on-the-
                              EPA’s estimates were off by more than a factor of 16. We expect that
 ground analysis shows that EPA's
 EPA miscounted the number of affected Engines because it relied on a NO.    NOx emission rate of 100
 tpy as a proxy for 1,000 hp Engines. This approach fails to consider utilimtion
                                                                       utilization of 1,000 hp Engines
 and results in a drastic and consequential underestimation of subject Engines, not just for Kinder
                                EPA’s reliance on such erroneous data calls into question the validity
 Morgan, but across industry. EPA's
 of the Engine Proposal, as it is apparent that EPA has significantly underestimated the impacts of
                                                                       reductions.27 The result is one
 the Proposed Rule, thereby underestimating the expected emissions reductions.'
 of over-control. Moreover, by not considering—or even demonstrating an awareness of—the vast
 majority of Engines covered by the Proposed Rule, EPA has "failed
                                                              “failed to consider an important aspect
                  problem” and failed to "examine
 of the [alleged] problem"                                      data.”28
                                         “examine the relevant data.s  28



         Not only does EPA fail to consider utilization rates of 1,000 hp Engines, but EPA's
                                                                                        EPA’s
 definition of the Pipeline Transportation of Natural Gas sector may sweep more broadly than it
 27
 27 See Sierra Club v. EPA, 671 F.3d 955, 966-68
                                          966–68 (9th Cir. 2012) (finding the EPA's
                                                                              EPA’s action arbitrary and capricious
 for not utilizing a more recent model and explaining that "we“we should not silently rubber stamp agency action that is
 arbitrary and capricious in its reliance on old data without meaningful comment on the significance of more current
            data”); Alamy, Inc. v. Califano, 569 F.2d 674, 682-83
 compiled data");                                             682–83 (D.C. Cir. 1977) (concluding agency rule was
 arbitrary and capricious in part because "statistical
                                           “statistical integrity"
                                                        integrity” of survey data was "seriously
                                                                                      “seriously questioned”);
                                                                                                 questioned"); New
 Orleans v. SEC, 969 F.2d 1163, 1167 (D.C. Cir. 1992) ("We  (“We have held that an agency's
                                                                                    agency’s reliance on a report or study
 without ascertaining the accuracy of the data contained in the study or the methodology used to collect the data ‘is `is
                                                                                                    evidence.’” (quoting
 arbitrary agency action, and the findings based on such a study are unsupported by substantial evidence.'"
 Home Health Care, Inc. v. Heckler, 727 F.2d 587, 592 (D.C. Cir. 1983))).
 28
 28 State Farm Mut,
                 Mut. Auto. Ins. Co., 463 U.S. at 43.


                                                            10
USCA Case #23-1157             Document #2009836                   Filed: 07/27/2023          Page 316 of 430



                                                        “Pipeline transportation of natural gas"
 appears EPA intended. As defined in the Proposed Rule, "Pipeline                           gas”
 means:

         [T]he movement of natural gas through an interconnected network of compressors
         and pipeline components, from field gathering networks near wellheads to end
         users, including: (i) The compressor and pipeline network used for field gathering
         of natural gas from the wellheads for delivery to either processing facilities or
         connections to pipelines used for intrastate or interstate transportation of the natural
         gas; and (ii) The compressor and pipeline network used to transport the natural gas
         from field gathering networks or processing facilities over a distance (intrastate or
         interstate) to and from storage facilities, to large natural gas end-users, and to
                                                                      end-users.29
         distribution organizations that provide the natural gas to end-users.29

         At base, this scope is unclear, which impacts everything that falls under the Proposed Rule.
 This definition could arguably include not just the transmission segment of the natural gas industry,
 but also the gathering and boosting and processing segments. However, the Proposed Rule does
 not discuss gathering and boosting or processing activities. In particular, EPA’s
                                                                             EPA's Engine count does
 not appear to consider Engines in the gathering and boosting or processing segments, and the
 various technical support documents similarly fail to consider these other segments of the oil and
 gas industry. If EPA seeks to regulate Engines in the gathering and boosting or processing
 segments, then it has fallen short of the CAA's
                                              CAA’s requirement to provide key information and
                             public.30 Before EPA can go forward with the Engine Proposal, it must
 supporting rationale to the public.30
 more clearly define the scope of its proposal, and then update its actual Engine counts accordingly.

          The U.S. Supreme Court has previously cautioned EPA to avoid "over-control,"
                                                                             “over-control,” defined
    “[t]he possibility that a State might be compelled to reduce emissions beyond the point at which
 as "[t]he
                                        attainment.”31 The Court recognized that upwind states could
 every affected downwind State is in attainment."31
 not be forced to reduce their emissions below their levels of significant contribution to downwind
 nonattainment.32 And before the D.C. Court of Appeals in the same case, then judge and (now
 nonattainment.32
 Justice) Kavanaugh, would have gone even further to hold that the Good Neighbor Provision of
 the Clean Air Act only empowers EPA to promulgate federal implementation plans ("FIPs")
                                                                                       (“FIPs”) after
                                                                               33
         “fails to make a required submission"
 a state "fails                     submission” or EPA disapproves of its SIP.
                                                                           SIP.33

        The Proposed Rule would result in significant over-control because, due to its reliance on
 inaccurate data, the number of units that would be subject to the Proposed Rule is orders of

 29
 29 Proposed Rule at 20,176.
 30
 30 See 42 U.S.C. § 7607(d)(3)(A).
 31
 31 EPA v. EME Homer City Generation, L.P., 572 U.S. 489, 521 (2014) (citing EME Homer City Generation, L.P.
 v. EPA, 696 F.3d 7, 22 (D.C. Cir. 2012)).
 32
 32 Id.
 33
 33 EME Homer City Generation, L.P., 696 F.3d at 37 n.34. Under that standard, the EPA would not be authorized to
 promulgate a FIP for Arizona, California, Montana, Nevada, and Wyoming, as those states timely submitted SIPs,
 and the EPA has not formally disapproved of those SIPs. See Consent Decree, Downwinders at Risk v. Regan (No.
 21–cv–03551, N.D. Cal.) (Jan. 12, 2022).
 21—cv-03551,


                                                       11
USCA Case #23-1157               Document #2009836                     Filed: 07/27/2023           Page 317 of 430



 magnitude larger than EPA's
                          EPA’s estimations. Specifically, EPA estimates that there are 307 total
                                                                                rule,34 only 77 (and
 engines in the Pipeline Transportation of Natural Gas sector affected by the rule,34
 really only 57 of those listed by EPA) of which belong to Kinder Morgan. However, Kinder
 Morgan alone has up to 950 Engines that would be subject to the Proposed Rule. And it appears
 EPA did not count or consider Engines operating in the gathering and boosting or processing
 segments, further undermining EPA’s
                                  EPA's analysis. Additionally, emission controls would necessarily
 operate year-round rather than only during the ozone season (as discussed in further detail in
 Section V.D, below), further compounding the degree of over-control. The Proposed Rule would
 therefore result in significantly more emissions reductions on a national and a state-by-state basis
 than EPA has assumed. While EPA is permitted some "leeway"
                                                         “leeway” to over-control in light of the risk
                      35
    “under-control,” the Supreme Court was unequivocal that there were definite limits on EPA’s
 of "under-control,"35                                                                         EPA's
             “If EPA requires an upwind State to reduce emissions by more than the amount
 discretion: "If
 necessary to achieve attainment in every downwind State to which it is linked, the EPA will have
                  authority.”36
 overstepped its authority."36

          Here, though, EPA has not disclosed what emissions reductions it is aiming to achieve with
 the Proposed Rule, effectively precluding any sort of mathematical analysis of over-control, or an
 evaluation of reasonable alternatives that could achieve the same result more efficiently. EPA’s
                                                                                                EPA's
 failure to provide this data is arbitrary and capricious, and EPA cannot rely on other data at a later
                                    37
 time to support an adopted rule.
                               rule.37  Thus, it could very well be that the Proposed Rule would fall
 into the category of over-control that the Supreme Court explicitly found would "overstep"
                                                                                    “overstep” EPA’s
                                                                                                EPA's
 authority. Pointedly, EPA has not provided the data necessary to support its Proposed Rule.
 Likewise, EPA’s
             EPA's failure to provide data on how it calculated downwind emissions or disclose its
 emission reduction targets prevents Kinder Morgan and other stakeholders from being able to
 propose a comparable and reasonable alternative set of emission thresholds that would not run
 afoul of the prohibition against over-control. Kinder Morgan further adopts and incorporates by
 reference comments submitted by INGAA that address "over-control."
                                                              “over-control.” In particular, given the
 erroneous Engine count, INGAA explains that EPA’s                          NOx emissions reductions
                                                     EPA's calculation of NOx
 from the Pipeline Transportation of Natural Gas sector is considerably lower than would occur if
 the Engine Proposal's
              Proposal’s emissions limits were incorporated into any final rule, by about double.
 This outcome results in emissions reductions far greater than EPA has proposed is required to
 eliminate significant contribution to downwind nonattainment or interference with maintenance.

       The Texas Transport Working Groups'
                                       Groups’ comments also explain that EPA has undercounted
 Engines that would be affected by the Proposed Rule and that therefore EPA did not fully account
     NOx emissions reductions resulting from emissions controls on Engines. More broadly, the
 for NOx


 34
 34 EPA, Non-EGU Screening Assessment Memorandum, Tables 5 and 6, Document ID: EPA-HQ-OAR-2021-0668-
 0150; see also EPA, Transport Proposal —NonEGU
                                         – NonEGU Results —  – 03-16-2022, Document ID: EPA-HQ-OAR-2021-0668-
 0150_attachment_2.xlsx, Tables 4 and 5.
 35
 35 See EME Homer City Generation, L.P., 572 U.S. at 523.
 36
 36 Id. at 521.
 37
 37 See State Farm Mut. Auto. Ins. Co., 463 U.S. at 50 (review of agency action must be of the basis articulated by the
 agency itself (citing SEC v. Chenery Corp., 332 U.S. 194, 196-97
                                                            196–97 (1947))).


                                                          12
USCA Case #23-1157           Document #2009836                Filed: 07/27/2023        Page 318 of 430



 Texas Transport Working Group identified multiple flaws in EPA’s EPA's photochemical modeling,
 which call into question the basis for the Proposed Rule. Kinder Morgan supports and incorporates
 by reference the Texas Transport Working Group's
                                               Group’s comments on these topics.

          To remedy these foundational issues, EPA must re-publish a proposed rule that properly
 analyzes the effects on the Pipeline Transport of Natural Gas industry. Three foundational
 elements in that pursuit are to first clearly define the sector subject to the rule, understand how
 many Engines exist (and might fall under any proposed rule) across the sector, and develop a
         for emissions reductions. Kinder Morgan is willing to work with EPA to achieve these
 target for
 initial objectives.

 V.       IN ANY SUBSEQUENTLY REVISED DRAFT RULE, IF PURSUED BY EPA,
          EPA’S
          EPA'S APPROACH MUST BE REVISED TO ENSURE ANY FINAL RULE
          IMPOSES LEGALY DEFENSIBLE, TECNICALLY FEASIBLE, AND COST-
          EFFECTIVE RULES.

          Notwithstanding the foundational legal issues that undermine the Engine Proposal, Kinder
 Morgan offers EPA additional, and more specific, feedback regarding the proposal in the hopes
 that this feedback will assist EPA with development of a revised proposal. In particular, the Engine
 Proposal (A) is not technically feasible in all circumstances; (B) is not cost-effective in all
 circumstances; (C) cannot be achieved on the proposed timetable; (D) does not understand that the
 required controls are permanent and cannot be installed for the ozone season only; (E) fails to
 exempt emergency engines; and (F) requires onerous and unreasonable performance testing. We
 address each of these in turn.

         A.      The Engine Proposal is Not Technically Feasible in All Instances.

         Kinder Morgan has serious concerns with EPA’sEPA's characterization of the ready application
 of each of the described control technologies and the feasibility of installing the proposed control
 technologies on all Engines. It will be technically impracticable to retrofit certain of the
 Company’s existing Engines to achieve the one-size-fits-all emissions standards set forth in the
 Company's
 Engine Proposal. While Kinder Morgan does not oppose emission thresholds for new Engines,
 the technical feasibility of installing controls on any single existing Engine varies and depends, in
 part, on site-specific and Engine-specific considerations such as space for the installation of the
 control, the availability of sufficient power, the emissions reductions required to meet the
 applicable standards, and the vintage, make, and model of a particular Engine.

          In explaining why some options may be technically impracticable, Kinder Morgan
 provides background on the type of control options available for each Engine type (i.e., 4SRB,
 4SLB, and 2SLB). This background demonstrates the technical complexity of the various types
 of control options contemplated by the Engine Proposal and the limitations of each. As discussed
 in this section, not all proposed technologies are available across all relevant units, due to Engine-
 and site-specific considerations. The Proposed Rule's
                                                  Rule’s one-size-fits all approach fails to reflect this
 important fact. Furthermore, and an issue not considered in EPA’s
                                                                EPA's analysis: the addition of these


                                                   13
USCA Case #23-1157             Document #2009836                   Filed: 07/27/2023          Page 319 of 430



 technologies and layered controls will inevitably increase fuel consumption, which will, in many
 cases, result in increased greenhouse gas and carbon monoxide emissions.

         4SRB Engines.

          Kinder Morgan operates approximately 150 4SRB Engines that would be subject to the
 Engine Proposal. Regarding 4SRB Engines, EPA states that its proposed limits are designed to be
                                               NSCR.38 Kinder Morgan offers that in addition to
 achievable for existing Engines by installing NSCR.38
 NSCR, layered combustion controls applicable to 4SRB Engines include turbocharging and air-
 fuel ratio controllers ("AFRC")
                        (“AFRC”) may be available. NSCR is a post-combustion approach, whereas
 layered combustion addresses the combustion process itself. Layered combustion approaches seek
 to reduce the combustion temperature because much of the NOx created by RICE results from
                                                      39
 higher combustion temperatures within the cylinder.
                                             cylinder.39

         NSCR uses the residual hydrocarbons and carbon monoxide ("CO")
                                                                    (“CO”) in the engine exhaust
 as a reducing agent for NOR.
                         NOx. In NSCR systems, hydrocarbons and CO are oxidized by oxygen and
 NOx. The excess hydrocarbons, CO, and NOx pass over a catalyst (usually a precious metal such
 NOR.
 as platinum, rhodium, or palladium) that oxidizes the excess hydrocarbons and CO to water and
                                        N2. The NSCR technique is effectively limited to engines
 carbon dioxide, while reducing NOx to N2.
 with normal exhaust oxygen levels of four percent or less. As you approach leaner operation for
 NOx reduction, the effectiveness of NSCR is reduced as exhaust temperatures decrease and exhaust
 oxygen levels increase. NSCR is generally only available for 4SRB naturally-aspirated engines
 and some 4SRB turbocharged engines. Engines operating with NSCR require tight air-fuel control
 to maintain high reduction effectiveness without high hydrocarbon emissions. Rich-burn engines
 have lower oxygen levels and higher temperatures in the engine exhaust, which allows for the use
 of NSCR.

         AFRC systems can be used to adjust and optimize operating parameters on natural gas-
 fired engines, such as air manifold pressure and temperature and fuel delivery to the combustion
 chambers. Optimizing engine operation with an AFRC system raises the heat capacity of the
 combustion mixture, which results in lower combustion temperatures and lower NOx formation.
 The feasibility of this approach depends on engine make and model.

        Similarly, Turbochargers (often in conjunction with intercooling) increase the air charge
 density and obtain leaner air-fuel ratios. These leaner air-fuel ratios raise the heat capacity of the
 mixture, which results in decreased peak combustion temperatures, in turn reducing NOR           NOx
 formation. Notably, all of Kinder Morgan's
                                       Morgan’s 4SRB Engines covered by the rule already have
 turbochargers, meaning that turbocharging is not an available control that can be added for
 additional emissions reductions.


 38
 38 Proposed Rule at 20,142.
 39
 39 Notably, lowering the combustion temperature to avoid NO„
                                                          NOx emissions also results in less complete combustion.
 Therefore, combustion control requires a tradeoff—lower temperatures reduce NO.
                                                                             NOx production but increase carbon
 monoxide resulting from incomplete combustion.


                                                       14
USCA Case #23-1157             Document #2009836           Filed: 07/27/2023       Page 320 of 430



         Importantly, however, some of Kinder Morgan's
                                                 Morgan’s 4SRB Engines cannot achieve EPA’s  EPA's
 proposed 1.0 g/hp-hr emissions rate limit even with both NSCR and layered combustion controls.
 This is primarily due to the vintage design of the individual cylinder geometry and the fact that
 most of these engines are not in production today, which limits availability of parts and retrofit
 technologies. The takeaway is that although EPA is correct that layered combustion and NSCR
 are available control technologies for 4SRB Engines, these approaches are not feasible in all
 circumstances given site- and Engine-specific considerations and would not be sufficient to reduce
 emissions to the required limit for some of Kinder Morgan's
                                                    Morgan’s Engines.

         Based on preliminary assessments, the Company anticipates that over 15 4SRB Engines
 would require application of NSCR to meet the proposed 1.0 g/hp-hr limit. Of that subset of 4SRB
 Engines, Kinder Morgan would also have to add layered technologies such as AFRC to at least
 three of these 4SRB Engines in order to meet the standard (if feasible) and will have no margin for
 error against the standard even after applying the required controls. Beyond those approximately
 15 4SRB Engines, Kinder Morgan also operates an additional approximately 25 4SRB Engines
 that already have NSCR, but that would require the Company also add AFRC to meet the 1.0 g/hp-
 hr limit. The Company also operates approximately 10 4SRB Engines that have all available
 controls on them. The Company's
                          Company’s only option is to attempt to tune those Engines to meet the
 standards, but at present, even with all available controls, nearly half of these 10 Engines exceed
 EPA’s
 EPA's proposed emissions limits. The incremental margin for reduction will undoubtedly be
 considerably more difficult to achieve, and with much less certainty. These considerations do not
 account for costs-per-ton estimates, which we discuss below. Even where NSCR or layered
 combustion is feasible, it is cost-prohibitive in some cases.

         4SLB Engines.

         Kinder Morgan operates approximately 310 4SLB Engines that would be subject to the
 Engine Proposal. EPA suggests the proposed limit for 4SLB Engines can be achieved for existing
 Engines by installing SCR, or layered combustion controls along with SCR to achieve the proposed
             limit.40 SCR is a post-combustion control system meaning that it is an "add-on"
 1.5 g/hp-hr limit.40                                                               “add-on” control
 system that is applied after combustion occurs. It removes NOR
                                                            NOx from the exhaust gas of an engine
                                          NOx, ammonia, and oxygen. The ammonia gas is added
 by causing a chemical reaction between NOR,
 prior to the exhaust reaching the SCR catalyst, and the chemical reaction occurs as the exhaust
 passes through the catalyst chamber. The result is that NOR
                                                         NOx in the exhaust gas is transformed into
 nitrogen gas and water vapor, both of which are harmless.

         SCR is frequently the only option for vintage engines because manufacturers have not
 developed (and likely will not develop) combustion technology to reduce NOR
                                                                           NOx from them. In these
 situations, SCR is the only available technology to reduce even a small amount of emissions. That
 said, SCR is rarely applied—and Kinder Morgan has never retrofitted units with SCR in its natural
 gas system—which is an important fact given that the Company is one of the largest natural gas


 40 Proposed Rule at 20,142.
   Proposed Rule


                                                 15
USCA Case #23-1157               Document #2009836                      Filed: 07/27/2023        Page 321 of 430



 infrastructure and transmission companies in the U.S. This is largely because SCR is an extremely
 expensive and complex control technology, as discussed in more detail below, that also requires
 continued performance monitoring and additional, ongoing operations and maintenance costs.
 Furthermore, for the SCR system to operate properly, the exhaust gas must be within a specific
 temperature range, and the ratio of ammonia to NOx NOx must be accurately controlled. To achieve
                        NOx output, certain combustion controls may be required. Unfortunately,
 the best control over NOx
 however, not all engines are suitable for the addition of such controls. This ultimately means that
 for some engines, SCR simply is not a feasible control technology. Again, because it bears
 repeating, certain engine-specific and site-specific factors dictate whether SCR is a feasible control
 technology—it is not technically feasible in all circumstances.

        For some engines (1990 and more recent), however, options in addition to SCR are
 available to reduce emissions to the proposed limit. These options include turbocharging, high
 pressure fuel injection, and pre-chamber ignition. Turbocharging was discussed above for 4SRB
 engines. However, high pressure fuel injection and pre-chamber ignition are not techniques
 employed for 4SRB engines, so Kinder Morgan addresses them here in discussing 4SLB engines.
 High-pressure fuel injection improves air-fuel mixture and reduces NOx
                                                                      NOx formation by inducing
 turbulence. Pre-chamber ignition is used in extremely lean combustion conditions to increase
 combustion stability while nevertheless maintaining a lean (and lower temperature) combustion
 environment. A disadvantage of pre-chamber ignition technology is the creation of a high
 temperature zone within the pre-chamber, which leads to a localized spike in NOx
                                                                              NOx formation. This
 can reduce the overall effectiveness of that control technology.

         Generally, high pressure fuel injection and pre-chamber ignition would not be used in
 conjunction; rather, one or the other would be used. But, as the Proposed Rule appears to
 acknowledge, independent unit-specific considerations can affect whether these approaches are
                                                         41
 sufficient for achieving the proposed emissions limit.
                                                   limit.41 As noted above, these approaches are
 generally only available for newer engines. Nevertheless, even for some newer engines, their
 designs may not allow for the addition of pre-chamber ignition or turbochargers because the engine
 may require such extensive modification that it would be more cost effective to replace the entire
 engine. An emissions threshold that amounts to replacement of an existing engine with a new
 engine is wholly inappropriate.

         Based on preliminary assessments, the Company anticipates that approximately 10 4SLB
 Engines would require SCR to meet the proposed 1.5 g/hp-hr limit. All of these Engines are older
 Engines, which means SCR is the only available control option. Moreover, adding SCR systems
 to these Engines would require custom retrofit because these models are no longer in production,
 and options such as turbocharging, high pressure fuel injection, and pre-chamber ignition are not
 technically feasible. These considerations do not account for costs-per-ton estimates, which we



 41
 41 See id. at 20,089 (discussing how CoST model does not consider unit-specific engineering analyses), at 20,142-043
 (noting variations in effectiveness of controls depending on unit-specific factors).


                                                           16
USCA Case #23-1157           Document #2009836                Filed: 07/27/2023        Page 322 of 430



 discuss below. In these particular cases, application of SCR is economically infeasible on a cost-
 per-ton basis.

          2SLB Engines.

         Kinder Morgan operates nearly 500 2SLB Engines that would be subject to the Engine
 Proposal. Regarding 2SLB Engines, EPA states its proposed limit of 3.0 g/hp-hr is achievable for
                                                    combustion.42 These layered combustion
 existing Engines by retrofitting them with layered combustion.42
 options are the same as those for 4SLB Engines discussed above, including turbocharging, high
 pressure fuel injection, and pre-chamber ignition. As with the discussion of these control
 technologies for 4SLB Engines offered above, Kinder Morgan emphasizes that such technologies
 are not universally feasible for all 2SLB Engines.

          In addition, SCR is a potential available control technology for 2SLB engines. However,
 for 2SLB engines, the addition of SCR is even more complicated than for 4SLB engines, and again,
 it is rarely applied given the technical complexities compounded by the overreaching costs. First,
 the relationship between engine load and exhaust flow rate is more complex than for 4SLB engines,
 which makes it more difficult to control a proper ratio of NOx
                                                              NOx to ammonia in the SCR. Second,
 SCR systems create backpressure in the exhaust system, and 2SLB engines are more susceptible
 to adverse effects caused by backpressure. Increased backpressure on a 2SLB engine reduces
 engine airflow, which reduces the efficiency of exhaust gas purging and can result in increased
 NOx output, engine knock, increased CO output, increased fuel consumption, increased cooling
 NOx
 load, and decreased engine maximum load. Third, the use of direct cylinder lubrication in 2SLB
 engines likely results in faster SCR catalyst degradation, although long-term issues like this have
 not been studied extensively for 2SLB engines. Despite these difficulties, there are instances
 where the engine-specific circumstances dictate that SCR is the only available option for a
                                                 Rule’s specified maximum emissions rate limit.
 particular 2SLB engine to meet the Proposed Rule's

          Based on preliminary assessments, the Company anticipates that approximately 110 2SLB
 Engines would require SCR to meet the proposed 3.0 g/hp-hr limit. For some 50 of these
 approximately 110 2SLB Engines Kinder Morgan has already expended significant capital costs
 in applying turbocharging, high pressure fuel injection, or pre-chamber ignition work to reduce
 emissions as required by the relevant state. For these 50 Engines, Kinder Morgan would still be
 required to apply SCR to meet the proposed standards. These considerations do not account for
 costs-per-ton estimates, which we discuss below. Even where SCR or layered control is feasible,
 it is cost-prohibitive in many cases.

          Turning back to all engine types, for all three classes of Engines, EPA notes that sources
 are free to install "another
                     “another control technology"
                                      technology” as long as the unit is still able to meet the emissions
       43
 limit.
 limit.43  However, there are no other control technologies. EPA has identified them all: NSCR,
 SCR, and layered combustion. While the Company recognizes that technologies continue to

 42 Id.
 42 Id. at 20,143.
 43 Id. at 20,142-143.
 43 Id.    20,142–143.


                                                   17
USCA Case #23-1157              Document #2009836                     Filed: 07/27/2023          Page 323 of 430



 advance, it is highly unlikely that technologies in this arena will advance faster than EPA’s
                                                                                             EPA's
 expected timeline for compliance with the proposed emissions limits. It is inaccurate to suggest
 that other technologies exist and can be cost-effectively implemented in response to the Proposed
 Rule.

         As noted above, EPA requests comment on: (i) whether a lower emissions limit is more
 appropriate for 4SRB Engines; (ii) whether lower or higher emissions limits are more appropriate
 for 4SLB Engines; (iii) whether a lower emissions limit would be achievable with layered
 combustion alone for 2SLB Engines; and (iv) whether additional control technology could be
 installed on such Engines at or below EPA’s
                                         EPA's $7,500 cost-per-ton threshold to achieve a lower
 emissions rate. As explained, the limits as currently proposed are not technically feasible in all
 circumstances. Kinder Morgan respectfully submits that if current limits are not achievable in
 some circumstances, then lower limits are likewise impossible for 4SRB Engines, 4SLB Engines,
 and 2SLB Engines in even more circumstances. Nor can additional control technology be installed
 on 2SLB Engines at or below the $7,500 cost-per-ton threshold to achieve a lower emissions rate
 in all circumstances, as discussed in more detail below. The negative consequences of EPA’s EPA's
 over-reaching and one-size-fits-all proposal are significant and underscore the need for a revised
 and alternative approach.

          Accordingly, and as discussed in further detail in Section VI.B below, rather than adopting
 the rule as currently proposed—or revising it to include more stringent emissions limits—Kinder
 Morgan respectfully requests that EPA revise the Engine Proposal as a model rule that states can
 adopt in their individual state implementation plans ("SIPs").
                                                        (“SIPs”). The model rule must incorporate
 emissions averaging for Engines together with an option to demonstrate economic infeasibility on
 an Engine-by-Engine basis.

         B.       The Engine Proposal is Not Cost-Effective In All Instances.

         EPA suggests that the proposed emissions limits can be achieved on existing Engines, by
 2026, using various retrofits at what it has determined to be a reasonable cost threshold of $7,500
            NOx reduced. As evidenced by other state and federal rulemakings, $7,500 per ton is at
 per ton of NOx
                                                                          rulemakings.44 Assuming
 the high-end of what has been determined as cost-effective in other NOx rulemakings.44
 44
 44 For example, in the recent New Mexico (2019) regional haze planning process, the New Mexico Environment
              (“Department”) determined that an appropriate cost-effectiveness threshold for requiring controls was
 Department ("Department")
 $7,000 per ton of pollutant reduced, including NOR.
                                                NOx. In the recent (2022) New Mexico ozone precursor rulemaking,
 the Department and New Mexico Environment Improvement Board determined $7,500 per ton of NO.    NOx reduced was a
 reasonable cost-effectiveness threshold. See Proposed § 20.2.50.113(B) New Mexico Code of Administrative
                               https://www.env.nm.gov/air-quality/wp-content/uploads/sites/2/2018/08/Proposed-Part-
 Regulations (May 6, 2021), https://www.env.nm.goviair-quality/wp-content/uploads/sites/2/2018/08/Proposed-Part-
                                       Colorado’s Regulation No. 7, applicable to certain rich burn RICE (2009),
 20.2.50-May-6-2021-Version.pdf. Colorado's
 established a cost-per-ton threshold for NO.
                                          NOx reduced of $5,000 per ton, which amounts to $6,400 in today's
                                                                                                     today’s dollars.
 See 5 CCR 1001-9:E.I.D.4.a.(ii) (inflation adjustment calculated using the Bureau of Labor Statistics’
                                                                                                   Statistics' online
             https://www.bls.gov/data/inflation_calculator.htm).
 calculator: https://www.bls.gov/data/inflation calculator.htm). New York established a threshold of $3,000 per ton
 of NOx reduced in 1994, which equates to approximately $5,500 per ton reduced after adjusting for inflation. See
 New York State Department of Environmental Conservation, DAR-20: Economic and Technical Analysis for
 Reasonably       Available    Control     Technology      (RACT)    Networks     (Aug.      8,   2013),      at   1,



                                                         18
USCA Case #23-1157               Document #2009836                     Filed: 07/27/2023            Page 324 of 430



 for argument's
     argument’s sake that $7,500 per ton reduced may be a reasonable threshold, it should certainly
                  “not to exceed"
 be considered a "not     exceed” threshold. More fundamentally, it is simply not cost effective to
 reduce emissions to the rates set forth in the Engine Proposal for each and every one of Kinder
 Morgan’s Engines. As a result, the Proposed Rule would impose severe costs on Kinder Morgan
 Morgan's
 and the natural gas transport sector—risking natural gas supply chain disruptions—and should be
 reconsidered.

                   1.       EPA’s
                            EPA's Cost Data is Outdated and EPA Does Not Appear to Account
                            for Inflation.

         EPA’s
         EPA's Proposed Rule uses 2016 dollars to further assess potential NOx NOx emissions control
 strategies, estimated emissions reductions, air quality improvements, and costs from the potentially
            industries.45 In doing so, EPA came up with a cost threshold of $7,500 per ton of NOx
 impactful industries.45                                                                          NOx
                                                                                            46
 reduced and identified controls for non-EGU emissions units that cost up to this amount.46
                                                                                    amount. While
 EPA states that these dollars are discounted to 2022 and they are "estimates
                                                                     “estimates of the present values
 (PV) and equivalent annualized values (EAV), calculated using discount rates of 3 and 7 percent
                 OMB’s Circular A-4,"
 as directed by OMB's             A–4,” it provides no other support for using cost data that is over
                47
            old. Even if one were to assume that EPA could justify that $7,500 per ton of NOx
 six years old.47                                                                                 NOx
 reduced is reasonable, EPA’s
                          EPA's use of 2016 dollars to evaluate the cost of technologies will not lead
 to an accurate analysis. A number of dramatic macroeconomic changes have occurred since 2016
 that have led to rising supply times and service costs, including the COVID-19 pandemic, the war
 in Ukraine, and inflation. According to a May 11, 2022 release by the Bureau of Labor Statistics,
 inflation has risen 8.6% in just the last 12 months, with the energy index surging to 34.6% year
                                                              period).48 This is the highest level of
 over year (natural gas alone increased 30.2% in the same period).48




 https://www.dec.ny.gov/docs/air_pdf/dar20.pdf. In Pennsylvania's
                                                        Pennsylvania’s RACT III program, the agency established cost-
 effectiveness benchmarks for installing RACT-level controls at $3,750 per ton of NO. NOx reduced and $7,500 per ton of
 VOC reduced. See Technical Support Document for Proposed Rulemaking (Additional RACT Requirements for
 Major Sources of NOx and VOCs for the 2015 Ozone NAAQS RACT III)), at 12,
 https://files.dep.state.pa.us/PublicParticipation/Public%20Participation%20Center/PubPartCenterPortalFiles/Environ
 mental%20Quality%20Board/2021/May%2019/02_7-561_RACT%20III%20Major%20Source/04b_7-
 mental%20Quality%20Board/2021/May%2019/02              7-561 RACT%20III%20Major%20Source/04b 7-
 561_RACT%20III%20VOC_Proposed_TSD%20w%20APPENDICES.pdf.
 561 RACT%20III%20VOC Proposed TSD%20w%20APPENDICES.pdf.
 45
                  (“[A]ll non-EGU cost estimates in the assessment and presented in the rest of this section are in 2016
 45 Id. at 20,083 ("[A]ll
 dollars.”); 20,089 ("Table
 dollars.");         (“Table VI.C.2-1
                              VI.C.2–1 summarizes the estimated reductions, total ppb improvements across all
 receptors, and annual total and average annual costs (in 2016 dollars)”;          (“Note that the average cost per ton
                                                                 dollars)"; 20,090 ("Note
                      dollars.”); 20,096 ("Using
 values are in 2016 dollars.");          (“Using a $7,500/ton (in 2016 dollars) marginal cost threshold");
                                                                                              threshold”); 20,155 ("For
                                                                                                                  (“For
 non-EGUs, EPA analyzed this proposed rule using a marginal cost threshold of up to $7,500 per ton (2016$) for
 2026”).
 2026").
 46
    Proposed Rule at 20,083.
 47
                  (“Table I.C–1
 47 Id. at 20,047 ("Table  I.C-1 presents estimates of the present values (PV) and equivalent annualized values (EAV),
 calculated using discount rates of 3 and 7 percent as directed by OMB's
                                                                    OMB’s Circular A-4,
                                                                                     A–4, of the health benefits,
 compliance costs, and net benefits of the proposed rule, in 2016 dollars, discounted to 2022.");
                                                                                          2022.”); 20,048 ("The
                                                                                                           (“The PV of
 the compliance costs, discounted at a 3-percent rate, is estimated to be about $22,000 million, with an EAV of about
 $1,500 million");
          million”); 20,159; ("2016
                              (“2016 dollars discounted to 2022");
                                                           2022”); 20,160 ("Millions
                                                                           (“Millions 2016$, discounted to 2022").
                                                                                                            2022”).
 48
 48 Bureau of Labor Statistics, Consumer prices
                                            prices up 8.6 percent
                                                          percent over year
                                                                       year ended May 2022 (June 14, 2022),
 https://www.bls.gov/opub/ted/2022/consumer-prices-up-8-6-percent-over-year-ended-may-2022.htm.
 https://www.b1s.gov/opub/ted/2022/consumer-prices-up-8-6-percent-over-year-ended-may-2022.htm.


                                                          19
USCA Case #23-1157               Document #2009836                     Filed: 07/27/2023           Page 325 of 430



                                years.49 Not accounting for these and other matters in its calculations
 inflation seen in more than 40 years.49
 of the cost of control technologies further compounds the inaccuracy of EPA’sEPA's cost data. To
 properly evaluate a proposal with such far-reaching and costly consequences, EPA should use
 present dollars to evaluate the impact of its proposal.

                   2.       Kinder Morgan's
                                   Morgan’s Cost-Analysis Demonstrates that EPA’s
                                                                            EPA's Rule is Not
                            Cost-Effective in Many Circumstances.

          On top of—or perhaps because of—its use of outdated cost data, EPA’s      EPA's estimated
 compliance costs for Engines do not reflect reality for many of Kinder Morgan's
                                                                           Morgan’s Engines. Even
 if applying one or more of the technologies described above is technically feasible, in many
 instances, it remains cost-prohibitive. The Engine Proposal and supporting information do not
 accurately reflect this fact. In fact, specific details regarding how EPA arrived at its cost-per-ton
 estimates are not available, or at least not clear. It appears that EPA rolled up cost ranges for
 Engines, which means that the costs are averaged across units. In turn, EPA’s
                                                                             EPA's Engine Proposal
 fails to appropriately account for those Engines that will, in fact, exceed a cost-per-ton threshold
 of $7,500. As outlined below, and when reviewed on a case-by-case basis, a considerable number
 of Engines will have much higher costs than EPA presumes. In addition, because EPA
 underestimates the total number of Engines that would be subject to the Engine Proposal it has not
 fully considered the total capital costs required to implement its proposal, which are far from
 insignificant.

         The economic reasonableness of installing controls on any individual engine will vary and
 depend on variety of factors, including that the demand for these various technologies will
 certainly increase market costs. In short, there is significant heterogeneity across Kinder Morgan's
                                                                                             Morgan’s
                                                                                       manufacturer.50
 approximately 950 Engines resulting from differences like site layout, vintage, and manufacturer.5°
 As a result of this variability, Kinder Morgan is unable to fully analyze the costs of the Proposed
 Rule. However, Kinder Morgan believes that the cost-analysis examples and total cost estimates
 provided below are indicative of the burdens imposed by the Proposed Rule, and these examples
 demonstrate why EPA’s
                    EPA's Proposed Rule would not be cost-effective in many circumstances. This
 concrete evidence provides strong support for EPA to develop a model rule for states to adopt to
 allow for emissions averaging and an Engine-by-Engine demonstration of economic infeasibility.
 Such an approach is imperative to respond to the noteworthy technical and cost issues that would
 arise from adopting the Engine Proposal without revisions.

        Before turning to the cost examples, Kinder Morgan provides background on the process
 it used to develop each case study. In connection with similar rulemakings and regulatory

 49
 49 NBC, Inflation    hits 40-year high of
                                         of 8.5 percent
                                                percent because of of war in Ukraine, rent hikes (Apr. 12, 2022),
 https://www.nbcnews.com/business/consumer/inflation-march-2022-hits-record-high-data-stats-details-rcna23654.
 haps://www.nbcnews.     com/business/consumer/inflation-march-2022-hits-record-high-data-stats-details-rcna23654.
 50 Notably, the Proposed Rule acknowledges such heterogeneity. See Proposed Rule at 20,076 (“Non-EGU sources,
 5°                                                                                              ("Non-EGU
 by contrast, are relatively heterogeneous, even within a single industrial category, and have far greater variation in
 existing emissions control requirements, emissions levels, and technologies to reduce emissions.”).
                                                                                         emissions."). The Proposed
 Rule’s approach for emissions reductions should reflect such heterogeneity rather than imposing a one-size-fits all
 Rule's
 emissions limit.


                                                          20
USCA Case #23-1157             Document #2009836                    Filed: 07/27/2023           Page 326 of 430



 compliance undertakings in other states, Kinder Morgan has conducted analyses and sought out
 vendor quotes to assess the potential impact of various NOxNOx emissions standards and to deploy
 NOx emissions reduction projects. The process that Kinder Morgan undertook to produce the
 NOx
 attached case study-analyses was extensive, involving several layers of review and close
 coordination with vendors. Below, we present a summary of these various analyses, which
 evidence that in many circumstances, it is not cost-effective to achieve the proposed thresholds.

         Using these site-specific estimates, Kinder Morgan then developed a cost-per-ton estimate
 applying the methodologies outlined in EPA’s
                                           EPA's Cost Control Manual. To develop a cost-per-ton
 estimate, one of the most important assumptions is how many hours of runtime a particular unit
 will experience going forward. This is because runtime is directly proportional to emissions, but
 investment in a control technology is largely a fixed, one-time cost. Kinder Morgan determined
 that using average runtime over the most recent five-year period is most reflective of past and
 future operations because year-specific events are smoothed out. EPA’s
                                                                      EPA's cost analysis used the
                        Morgan’s five-year fleet average runtime is similar in value to its 2019 fleet
 year 2019, and Kinder Morgan's
 average runtime, but dissolves any anomalies in the single year data set.

          Examples 1 & 2: SCR Added to 2SLB Worthington Engines.

        For the following two case-studies, SCR is the only compliance option for these units to
 lower the NOx
           NOx emissions rate to the proposed 3 g/hp-hr limit. As noted above, Kinder Morgan has
 never retrofitted units with SCR in its natural gas system; these remain estimates only.

          Example 1. Kinder Morgan evaluated the costs of adding SCR to a 2SLB Worthington
 Engine (in the Northeast). As demonstrated in the project cost estimate case study attached as
 Exhibit 1, the capital cost to install SCR is $5,635,359. The largest component of this cost
 ($2,083,100) is for the SCR primary construction contractor, and the second-largest component
 ($1,778,700) is for the SCR materials themselves. It is also important to note that this estimate is
 dated April 21, 2020. Given recent inflation and supply chain delays, the costs would be even
 higher, as demonstrated by a letter Kinder Morgan received from a vendor indicating that the
                   “25% pricing increase and 4-6 week longer manufacturing lead times"
 vendor is seeing "25%                                                              times” from the
                                      51
                                study. Using EPA’s
 initial quote used in the case study.51      EPA's cost calculation methodologies, Kinder Morgan
 estimates that the resulting cost-per-ton of NOx
                                              NOx reduced by adding SCR at this engine would be
 $109,301, as reflected in Table 1. This cost-per-ton value dramatically exceeds the $7,500 level
 that EPA identified as reasonable.

         Example 2. Similarly, Kinder Morgan evaluated the costs of adding SCR to a different
                                                Morgan’s project cost estimate found a capital cost
 type of 2SLB Worthington Engine, and Kinder Morgan's
                               52
 of $6,215,151 to install SCR.
                          SCR.52 Like the analysis for the unit in the Northeast, the largest
 component of this cost ($3,138,700) is for the SCR construction contractor (both the primary and

 51
 51 See Exhibit 15 (letter from vendor indicating that cost has likely risen 25% from the original quote) (emphasis
 added).
 52
 52 See Exhibit 2.




                                                        21
USCA Case #23-1157           Document #2009836                Filed: 07/27/2023        Page 327 of 430



 secondary), and the second-largest component ($1,326,500) is for the SCR materials. This
 estimate is dated September 8, 2021, meaning that the inflationary environment has likely driven
 this cost up as well. Further, the resulting cost per ton of NOx
                                                              NOx reduced by adding SCR at this
                                  53
                              ton, which is more than double the $7,500 value.
 engine would be $19,158 per ton,53

         As the foregoing case studies demonstrate, requiring Kinder Morgan to incur these costs
 to comply with the proposed emissions rate limits for 2SLB Engines would be unreasonable and
 contrary to the policy fundamentals that EPA states in its proposal. As noted above, SCR is the
 only compliance option for these units, and in total, Kinder Morgan has approximately 120 2SLB
 Engines for which SCR is the only control option to lower the NOx
                                                               NOx emissions rate to the proposed
 3 g/hp-hr limit. Kinder Morgan expects the case studies presented above would be generally
 representative of the costs for each SCR installation. Thus, using a relatively conservative $5
 million per SCR installation and assuming that SCR is technically feasible on each unit, Kinder
 Morgan would need to spend $600 million on SCRs at all these types of units to comply with the
 proposed limit. However, using the cost for the unit from Example 2 as the per-engine cost would
 require approximately $750 million to make the necessary modifications to all 120 units.

          Examples 3 —
                     – 6: Engine Combustion Alterations on 2SLB Engines.

        For the following four case-studies, engine modifications through layered control are the
 most effective options to achieve the proposed emissions rate of 3 g/hp-hr.

         Example 3. Kinder Morgan evaluated engine modifications (pre-combustion chambers,
 along with accompanying hardware) to Cooper GMVA-10 engines. Kinder Morgan's         Morgan’s detailed
 cost estimate determined that the capital cost for the entire four-unit station would be $15,433,535,
                        $3,858,384.54 Materials represented the largest cost ($2,734,275 per unit).
 for a per-unit cost of $3,858,384.54
 The resulting cost per ton of NOx
                               NOx reduced per unit would be $8,589 per ton,55 ton,55 which is above the
 $7,500 level. Kinder Morgan has nearly 270 units for which this would be the indicative cost to
 perform such upgrades. The total cost on all such units would be approximately $1.04 billion.

         Example 4. For engine modifications (upgrading intercooler and adding pre-combustion
 chambers) on a Clark TLA-6 2SLB unit, Kinder Morgan determined the upgrade cost would be
 $5,903,899.56 Kinder Morgan has over 90 units for which this would be the indicative capital cost
 $5,903,899.56
 to perform such upgrades. This would result in a cost of $5,948 per ton of NOx  reduced.57 The
                                                                            NOx reduced.57
 total cost on all such units would be approximately $530 million.

         Example 5. For a Cooper 16W330 unit, Kinder Morgan evaluated the costs of re-aeroing
 the turbocharger and pre-combustion chambers to this unit. These are the modifications necessary
 to reach the proposed 3 g/hp-hr limit. Kinder Morgan's
                                                Morgan’s analysis shows that the cost of these

 "53 See Table 1.
  54
  54 See Exhibit 3.
  55
  55 See Table 1.
  56
  56 See Exhibit 4.
  57
  57 See Table 1.




                                                   22
USCA Case #23-1157          Document #2009836               Filed: 07/27/2023       Page 328 of 430



                                  unit,58 with a resulting cost of $67,672 per ton of NOx
 upgrades would be $5,942,809 per unit,58                                             NOx reduced,59
                                                                                          reduced,59
 far above the $7,500 threshold. Kinder Morgan has several similar units.

         Example 6. For a Clark TCV-16 unit, Kinder Morgan evaluated the costs of pre-
 combustion controls, turbocharger work, along with an intercooler to reach the proposed emissions
                                                                   $6,839,263.60 Kinder Morgan has
 limit of 3 g/hp-hr. The evaluation found a total capital cost of $6,839,263.60
                                                                                       NOx reduction
 more than 20 units that are similar to this one. A project like this one would have a NOx
                                         61
                                    ton.
 cost of approximately $1,000 per ton.61

         Together, the wide variance in cost-per-ton for each potential project counsels for a more
 flexible approach, like an averaging program and an option to assess economic infeasibility on an
 Engine-by-Engine basis (discussed in further detail below).

          Examples 7 —11:
                     – 11: 4SLB SCR and Engine Combustion Alteration.

         Example 7. Kinder Morgan evaluated the cost of adding an SCR system to one of its
 Cooper Type 26 Engines to meet the proposed 1.5 g/hp-hr limit for 4SLB Engines. SCR is the
 only option for Engines of this type and vintage because vendors do not have combustion control
 packages available. Kinder Morgan estimated that the capital cost to install the SCR system and
                                                                 $6,320,443.62 The SCR addition
 make necessary upgrades to accommodate the SCR would be $6,320,443.62
                                                  NOx reduced, assuming that the units run 50% of
 project would have a cost of $9,630 per ton of NOx
 the time annually, which is conservatively high for these particular units and skews the cost-per-
                      anticipated.63 In total, Kinder Morgan has approximately 10 units for which
 ton value lower than anticipated.63
 similar costs would be expected.

         Example 8. Kinder Morgan evaluated the cost for one of its Ingersoll-Rand KVS-412
 Engines to meet a 1.5 g/hp-hr limit. For this level, high pressure fuel injection, turbo re-aeroing,
 and pre-combustion chambers were all required. These technologies are the most cost-effective
                                                                                                   64
 to install and operate. The total capital cost of these upgrades was determined to be $6,434,942.
                                                                                       $6,434,942.64
 Based on the level of emissions reductions achieved, the resulting cost per ton of NOx NOx reduced
                    65
             $5,931. This estimate is indicative of costs for many of Kinder Morgan's
 would be $5,931.65                                                             Morgan’s Ingersoll-
 Rand and Cooper 4SLB units. Kinder Morgan has approximately 25 similar units.

       Example 9. Kinder Morgan evaluated the cost of combustion controls for its Caterpillar
 3516 4EK Engines to meet the proposed 1.5 g/hp-hr limit. Caterpillar provides a low-emissions



 58
 58 See Exhibit 5.
 59
 59 See Table 1.
 60 See Exhibit 6.
 6° See Exhibit 6.
 61
 61 See Table 1.
 62
 62 See Exhibit 7.
 63
 63 See Table 1.
 64
 64 See Exhibit 8.
 65
 65 See Table 1.




                                                 23
USCA Case #23-1157             Document #2009836                   Filed: 07/27/2023         Page 329 of 430


                                                                                            66
 toolkit for such units, and the toolkit could be installed for approximately $322,000.
                                                                                  $322,000.66  The
                                                                        67
 associated cost per ton of NOx
                            NOx reduced for this kit would be $225,587.
                                                              $225,587.67 This extremely high value
 results in large part because the total emissions reductions at the unit would be modest. Kinder
 Morgan has more than 15 units like this one.

         Example 10. Kinder Morgan also evaluated the cost of combustion controls for its
 Caterpillar 3516 WPW Engines that would meet the proposed 1.5 g/hp-hr limit. Caterpillar also
 provides a low-emissions toolkit for such engines, and the toolkit could be installed for
                                        labor.68 The associated cost per ton of NOx
 approximately $196,000 in parts and labor.68                                   NOx reduced for this
                       69
               $2,152. Kinder Morgan has nearly 20 Caterpillar 3516 WPW Engines like these.
 kit would be $2,152.69
 Again, the variety in cost-per-ton for each potential project counsels for a more flexible approach,
 like an averaging program.

          Example 11. It is important to note, however, that not all of Kinder Morgan's
                                                                                Morgan’s Caterpillar
 Engines are suitable for an upgrade kit. Kinder Morgan owns three Caterpillar 3512 units, for
 which Caterpillar does not offer an upgrade kit. To satisfy the proposed 1.5 g/hp-hr emissions
 limit, these engines would either need to install SCR or be replaced. However, replacement of the
 engine at a cost of millions of dollars is cheaper than SCR for these engines. SCR would also have
 higher operating costs than a replaced Caterpillar 3512. The total replacement cost would be
 $648,890,70 for a cost per ton of NOx
 $648,890,7°                                          $10,165.71 Kinder Morgan maintains that while
                                    NOx reduced of $10,165.71
 EPA may, pursuant to the CAA, impose reasonable emissions limits, those limits cannot be so
 stringent that they require replacement of existing units. This result would be contrary to the CAA
                             72
      EPA’s interpretations.72
 and EPA's

         Examples 12 —14:
                     – 14: 4SRB Engines.

        Example 12. Kinder Morgan evaluated the costs for a 4SRB Ingersoll-Rand KVG-310 to
 meet the proposed 1 g/hp-hr limit. The project would require NSCR, AFRC, and adding
                                                                                                     73
 turbochargers to meet the proposed 1 g/hp-hr limit, resulting in a total project cost of $5,684,158.
                                                                                          $5,684,158.73
 This estimate reflects the likely costs for all three of Kinder Morgan's
                                                                     Morgan’s 4SRB Ingersoll-Rand
 Engines. Based on the level of emissions reductions achieved, the resulting cost per ton of NOx  NOx
                                                                         74
                                                                  level.
 reduced would be $684,169, which greatly exceeds the $7,500 leve1.74



 66
 66 See Exhibit 9.
 67
 67 See Table 1.
 68
 68 See Exhibit 10.
 69
 69 See Table 1.
 70
 70 See Exhibit 11.
 71
 71 See Table 1.
 72
 72 See 42 U.S.C. § 7502(c)(1) (applying RACT requirement to existing sources); see also 40 C.F.R. § 51.100(o)
                             “devices, systems, process modifications, or other apparatus or techniques that are
 (defining RACT to mean "devices,
 reasonably available [providing factors to consider]”).
                                            consider]").
 73
 73 See Exhibit 12.
 74
 74 See Table 1.




                                                       24
USCA Case #23-1157         Document #2009836               Filed: 07/27/2023       Page 330 of 430



         Example 13. For one 4SRB Waukesha 7042 Engine, Kinder Morgan estimated the cost to
 add an NSCR catalyst and an AFRC, both of which would be required to meet the proposed 1
                                                              unit.75 In total, Kinder Morgan has
 g/hp-hr limit. The total estimated cost was $278,318 per unit.75
 approximately 25 Engines like this one, for which a similar cost would be expected. Based on the
 level of emissions reductions achieved, the resulting cost per ton of NOx
                                                                       NOx reduced would be $1,466,
                         76
 below the $7,500 level.
                   leve1.76

         Example 14. For another 4SRB Waukesha 7042 Engine, Kinder Morgan also estimated
                                                                         unit.77 In total, Kinder
 the cost to add only an AFRC. The total estimated cost was $157,709 per unit.77
 Morgan has approximately 15 Engines like this one, for which a similar cost would be expected.
 Based on the level of emissions reductions achieved, the resulting cost per ton of NOx
                                                                                    NOx reduced
                                                    78
 would be $11,043, which exceeds the $7,500 level.
                                              leve1.78

         These capital costs and costs per ton of NOx
                                                  NOx reduced highlight the wide variance of control
 costs that occur, even within the same type of Engine (e.g., 4SRB Engines), as summarized in
 Table 1, below. The wide variance in costs supports Kinder Morgan's
                                                                  Morgan’s alternative proposal that
 does not use a one-size-fits-all approach, in contrast to the Engine Proposal.




 75
 75 See Exhibit 13.
 76
 76 See Table 1.
 77
 77 See Exhibit 14.
 78
 78 See Table 1.



                                                 25
                              USCA Case #23-1157                     Document #2009836                        Filed: 07/27/2023            Page 331 of 430
         Table 1: Summary of Kinder Morgan’s
                                    Morgan's Cost-Effectiveness Analyses

                                                                              # of    # of units that                                    Total
                                         Engine                                                          Estimated     Total Direct                  Total Annual   Cost Effectiveness
 Ex. #              Project                        Control Technology       similar       exceed                                        Indirect
                                         Cycle                                                          Capital Cost   Annual Costs                     Costs            ($/Ton)
                                                                             units     $7,500/ton79
                                                                                       $7,500/ton"                                    Annual Costs

             SCR added to 2SLB
   1                                     2SLB              SCR                95            95          $5,635,359       $83,532        $621,367       $704,899         $109,301
                Worthington
          SCR added to different 2SLB
   2                                     2SLB              SCR                27            27          $6,215,151       $234,392       $684,436       $918,828          $19,158
                Worthington

            Combustion controls for                    Turbo, PCC,
   3                                     2SLB                                189           142          $3,858,384       $48,027        $428,070       $476,097          $8,589
                GMVA-10                                Intercooler

         Combustion controls for Clark                 Turbo, PCC,
   4                                     2SLB                                 96            84          $5,903,899       $58,401        $651,065       $709,466          $5,948
                   TLA-6                               Intercooler

            Combustion controls for                    Turbo, PCC,
   5                                     2SLB                                 6             5           $5,942,809       $57,273        $654,811       $712,084          $67,672
               Cooper 16W330                           Intercooler

         Combustion controls for Clark                 Turbo, PCC,
   6                                     2SLB                                 21            6           $6,839,263       $63,465        $752,327       $815,792          $1,000
                  TCV-16                               Intercooler


   7     SCR added to Cooper Type 26     4SLB              SCR                9             9           $6,320,443       $176,422       $695,890       $872,312          $9,630



           Combustion controls for                  High Pressure Fuel,
   8                                     4SLB                                 26            18          $6,434,942       $60,711        $708,345       $769,056          $5,931
           Ingersoll-Rand KVS-412                 Turbo, PCC, Intercooler

            Combustion controls for
   9                                     4SLB       Low emissions kit         16            14           $322,130        $29,633        $43,400        $73,033          $225,587
             Caterpillar 3516 4EK
            Combustion controls for
   10                                    4SLB       Low emissions kit         19            15           $196,158        $29,436        $29,697        $59,133           $2,152
            Caterpillar 3516 WPW
   11       SCR for Caterpillar 3512     4SLB          Replacement            3             3            $648,890        $33,084        $78,945        $112,028          $10,165
           Combustion controls and
                                                   NSCR Catalyst, AFR
   12      NSCR for Ingersoll-Rand       4SRB                                 3             3           $5,684,158       $55,970        $626,676       $682,645         $684,169
                                                  controls, Turbocharger
                 KVG-310
          NSCR and AFRC for 4SRB                  NSCR Catalyst & AFR
   13                                    4SRB                                 25            19           $278,318        $40,125        $38,634        $78,759           $1,466
              Waukesha 7042                            controls
          AFRC for 4SRB Waukesha
   14                                    4SRB          AFR controls           15            14           $157,709        $29,270        $25,515        $54,784           $11,043
                    7042




79 Kinder Morgan reasonably applied a 5-year average for operating hours when developing its cost-effectiveness analysis, as described above.
79 Kinder Morgan reasonably applied a 5-year average for operating hours when developing its cost-effectiveness analysis, as described above.
                                                                                                 26
USCA Case #23-1157             Document #2009836             Filed: 07/27/2023        Page 332 of 430



         Estimates of Fleetwide Costs.

         From the detailed case studies developed above, Kinder Morgan then evaluated the likely
 total costs of complying with the Proposed Rule across its entire fleet of Engines. In part because
 EPA’s
 EPA's Engine Proposal does not allow for an Engine-by-Engine showing of economic infeasibility
 or emissions averaging, total costs to Kinder Morgan to implement the rule as proposed, without
 the reasonable provisions discussed in these comments, would be on average, approximately $4.3
          per Engine.
 million per

         C.       The Timetable for Installation of Controls and Meeting the Proposed
                  Emissions Thresholds is Unreasonable (if not Impossible).

          Even assuming the Engine Proposal's
                                       Proposal’s limits are technically feasible and cost-effective—
 and we respectfully submit that they are not in many circumstances—other technical limitations
 expose the shortcomings in the Engine Proposal. The chief flaw is EPA’s  EPA's failure to consider the
 realities of its proposed timeline for implementing the emissions limits on Engines. EPA is
 proposing to require compliance with the control requirements for all non-EGUs across 23 states
 no later than the 2026 ozone season (May through September) meaning that the emission controls
                                             2026.80 This is simply an unreasonable timeline. EPA
 would need to be installed by April 30, 2026.80
 states that if the Proposed Rule is finalized in early 2023, "the
                                                              “the final rule would provide more than
 three years for . . . non-EGU sources to install whatever controls they deem suitable to comply
                 emissions” and that "the
 with required emissions"            “the publication of this proposal provides roughly an additional
 year of notice to these source owners and operators that they should begin engineering and
 financial planning now to be prepared to meet this implementation timetable."81timetable.”81 EPA's
                                                                                                EPA’s
 assumptions are misplaced, and the agency must offer both a reasonable phased-in schedule, as
 well as an opportunity for an operator to request an extension of that phased-in schedule based on
 site-specific circumstances.

          As a threshold matter, EPA cannot expect operators to begin the significant undertaking of
 retrofitting their engine fleets, which requires a considerable expenditure of resources and time,
 before the standards are set through publication of a final rule. Indeed, EPA itself acknowledges
 that the standards could change by soliciting comments on whether the emissions standards should
           down.82 Additionally, the Proposed Rule is one of the most highly contentious proposed
 go up or down.82
 rules that EPA has published in the recent past and significant comments are expected—as EPA
 has conceded by extending the comment deadline to June 21, 2022. These comments are likely to
 result in numerous changes to the Proposed Rule. Accordingly, EPA cannot reasonably expect
 operators to believe they have four years to make required changes. However, even if that were
 true, an additional year is still not enough time for operators to implement the changes as they
 currently stand in the Proposed Rule, as explained in further detail below.


 80
                     20,101–102.
 80 Proposed Rule at 20,101-102.
 81
 81 Id. at 20,101.
 82
           20,142–043.
 82 Id. at 20,142-043.




                                                  27
USCA Case #23-1157          Document #2009836                Filed: 07/27/2023       Page 333 of 430



         EPA’s
         EPA's position that companies can install controls by the 2026 ozone season is undermined
        Agency’s substantial underestimation of affected units. As noted in Section IV
 by the Agency's                                                                     W above, EPA
 estimated that the Company has 77 Engines subject to the Engine Proposal—an estimate that
 includes 20 turbines not subject to the Engine Proposal. But in fact, the Company operates
 approximately 950 Engines. Moreover, EPA fails to consider the significant undertaking of
 modifying existing Engines, as well as the impact to the natural gas supply chain of taking Engines
 offline for a considerable amount of time to conduct necessary modifications.

          First, modifying existing Engines is a significant, custom, costly, and time-intensive
 undertaking. This is especially relevant for Kinder Morgan because it has approximately 950
 Engines that would be impacted by the Proposed Rule. It is important to put into context the size
 of these particular Engines. An Engine typically weighs at least 100,000 pounds, and can weigh
 as much as 365,000 pounds. Along with size, the Engines are highly complex and fully integrated
 machines. The combination of these two facts means that it is no small task to address after-market
 retrofit technologies on these Engines. In the case of an Engine located in an area with insufficient
 space to install controls, for example, the surrounding Engine site may need to be reconfigured to
 accommodate the control technology.

         Furthermore, Kinder Morgan is aware of just two companies with the capability to design,
 manufacture, and install controls which would reduce NOx    NOx emissions on certain of its Engines.
 Catalyst suppliers are similarly limited. And given that the proposed technologies are after-market
 modifications, each system must be custom designed for the relevant Engine, and the manufacturer
 can only work on one system at a time. As a result of the Proposed Rule, these limited number of
 companies will be flooded with requests by Kinder Morgan alone, let alone the rest of industry.
 As an illustration of the impossibility of meeting EPA’s
                                                      EPA's 2026 deadline, one of the companies that
 Kinder Morgan identified as capable of installing controls on its units has indicated that it would
 only be able to modify 20 or 30 Engines a year, across all of industry. Given that Kinder Morgan
 alone has 950 Engines and that Kinder Morgan would not be the only company competing for
 contracts with those suppliers, it is difficult to overstate how unrealistic EPA’s
                                                                              EPA's proposed timeline
 would be. And even if the timeline could be feasible, Kinder Morgan and similarly situated
 companies would have to bid against each other for contracts with vendors, which raises serious
 concerns about increased costs resulting from such an aggressive timeline.

         Second, Kinder Morgan uses these Engines to meet its obligation to the FERC to ensure
 the safe and efficient movement of natural gas along FERC-certificated interstate transmission
 pipelines to local distribution companies for ultimate distribution to residential, commercial, and
 other industrial consumers. To continue these operations without interruption, Kinder Morgan
 must install the required controls on each Engine one-by-one. Meaning, the Company cannot shut
 down an entire station for the six or more month period that may be required to install the control
 technologies.

        Another very important issue that EPA has failed to consider is that each and every Engine
 modification must be accompanied by a permit modification. And in nearly every state, that


                                                  28
USCA Case #23-1157            Document #2009836                   Filed: 07/27/2023          Page 334 of 430



 Engine cannot operate unless and until the permit modification is granted. In the Company'sCompany’s
 experience, it can take over a year for a state to process even the simplest permit modification. For
                              Company’s recent experience with permit modifications—while minor
 context—and based on the Company's
 modifications can take as little as 90 days, permit modifications for major changes can take 24
 months or more to process. Given the magnitude of changes that retrofitting these engines entails,
 it is reasonable to assume that the timelines applicable to modifications in response to the Proposed
 Rule will fall on the longer end, especially as state permitting agencies may be inundated with
 permit modification applications. Additionally, as explained immediately above, Kinder Morgan
 cannot shut down all of the Engines in a compressor station at once without jeopardizing the safe
 and reliable transport of natural gas; instead it must retrofit the Engines in a single facility one at
 a time. Thus, if a Kinder Morgan compressor station has three Engines subject to the Proposed
 Rule, it could take as long as six years to obtain the permit modifications alone. EPA fails to
 consider the demands on already resource-constrained state agencies, and the ultimate backlog,
 that would result from the proposed timeline. After giving this issue proper consideration, EPA
 should modify its approach to allow for greater compliance flexibility and a phased-in approach,
 as discussed below.

          In recent rulemakings, several states have recognized what a massive undertaking it is to
 retrofit engine fleets with control technology, and those states have provided a much longer
 timetable for compliance considering a much smaller overall count of      of affected engines. For
 example, New Mexico has proposed a phased compliance schedule, which allows owners or
 operators to retrofit their natural gas-fired spark-ignition engines over a period of six years, and
 Colorado also provides a phased approach over a five-year period, again, as applied to a much
                             83
 smaller count of Engines.
                    Engines.83  In addition, both states offer a "company-wide
                                                                 “company-wide plan"
                                                                                 plan” approach that
 affords the operator an opportunity to effectively average emissions reductions across its fleet in
 the most reasonable and cost-effective manner to achieve the same or similar overall reductions.
 In contrast, EPA proposes only three years for the Company to retrofit 950 engines. In other
 words, EPA expects Kinder Morgan to retrofit approximately 13 to 30 times the number of units
 as the Colorado and New Mexico rules in 1/2 the amount of time. This is simply not a reasonably
 expectation, and EPA must amend its approach to provide regulated entities ample time to make
 changes.

         Indeed, EPA appears to recognize that retrofits could take longer, specifically requesting
 “comment on whether individual non-EGU sources should be allowed to request an extension of
 "comment
 the May 1, 2026, compliance deadline by no more than one year (i.e., to May 1, 2027) based on a
                        necessity” and the specific criteria that the EPA should apply in evaluating
 sufficient showing of necessity"
                         84
 requests for extension.
              extension.84  As EPA concedes in this solicitation, the D.C. Circuit stated in Wisconsin
                                                                                             Wisconsin
 v. EPA that the Good Neighbor Provision may be read to allow for some deviation from the
 mandate to eliminate prohibited transport by downwind attainment deadlines, "'under“‘under particular

 83
 83 Proposed § 20.2.50.113(B) New Mexico Code of Administrative Regulations (May 6, 2021),
 https://www.env.nm.gov/air-quality/wp-content/uploads/sites/2/2018/08/Proposed-Part-20.2.50-May-6-2021-
 https://www.env.nm.goviair-quality/wp-content/uploads/sites/2/2018/08/Proposed-Part-20.2.50-May-6-2021-
 Version.pdf; 5 Colo. Code Regs. § 1001-9:E.I.D.5.c.
 84
    Proposed Rule at 20,104.


                                                      29
USCA Case #23-1157              Document #2009836                     Filed: 07/27/2023           Page 335 of 430



                                                     necessity,’ provided such deviation is ‘rooted
 circumstances and upon a sufficient showing of necessity,'                                 `rooted in
                                                                                                     85
 Title I's
       I’s framework [and] provide[s] a sufficient level of protection to downwind States.’”States.'"85
 Specifically, EPA notes that the criteria for an extension could include a number of matters—most
 of which Kinder Morgan submits it has already demonstrated by its comments herein:

          Such criteria could include documentation of inability, despite best efforts, to
          procure necessary materials or equipment (e.g., equipment manufacturers are
          not able to deliver equipment before a specific date) or hire labor as needed to
          install the emissions control technology by 2026; documentation of installation
          costs well in excess of the highest representative cost-per ton threshold
          identified for any source (including EGUs) discussed in Section VI of this
          proposed rule (e.g., vendor estimate showing equipment cost); . . . or
          documentation of extreme financial or technological constraints that would
          require the subject non-EGU emissions unit or facility to significantly curtail
          its operations or shut down before it could comply with the requirements of
                                 2026.86
          this proposed rule by 2026.86

          While Kinder Morgan supports a compliance deadline extension, the underlying rule
                         Engines87 cannot be drafted such that every subject operator would be
 affecting over 2,000 Engines87
 required to request an extension for each Engine. Rather, the rule must be drafted to reflect
 consideration of the technical, practical, and economic constraints on implementation at the outset,
 with a reasonable phase-in schedule. Such an approach is consistent with RACT, best available
                     (“BART”), and the Prevention of Significant Deterioration ("PSD")
 retrofit technology ("BART"),                                                  (“PSD”) program's
                                                                                          program’s
                                                               88
 best available control technology ("BACT")
                                    (“BACT”) requirements.88
                                                 requirements.


 85 Id. at 20,104
 85               (quoting Wisconsin v. EPA, 938 F3.d 303, 320 (D.C. Cir. 2019).
 86 Id. (emphasis added).
 86   (emphasis added).
 87
 87 As noted in INGAA’s
                INGAA's comments, approximately 1,199 Engines would require control, an additional approximately
 180 Engines (bringing the total to approximately 1,380) currently include emission controls but cannot meet the
 proposed limits and will therefore require incremental control, and another 678 Engines that meet the emission limits
 would incur incremental compliance costs to address Proposed Rule requirements for biannual emissions tests and
 continuous parameter monitoring (bringing the total to 2,058). INGAA Comments at Section II. Additionally, these
 estimates do not include pipeline companies that are not INGAA members. Id.
 88
 88 44 Fed. Reg. 53,761, 53,762 (Sept. 17, 1979) ("EPA
                                                   (“EPA has defined RACT as: The lowest emission limitation that a
 particular source is capable of meeting by the application of control technology that is reasonably available
 considering technological and economic feasibility.”);
                                           feasibility."); 40 C.F.R. § 51.301 ("Best
                                                                              (“Best Available Retrofit Technology
 (BART) means an emission limitation based on the degree of reduction achievable through the application of the
 best system of continuous emission reduction for each pollutant which is emitted by an existing stationary facility.
 The emission limitation must be established, on a case-by-case basis, taking into consideration the technology
 available, the costs of compliance, the energy and nonair quality environmental impacts of compliance, any
 pollution control equipment in use or in existence at the source, the remaining useful life of the source, and the
 degree of improvement in visibility which may reasonably be anticipated to result from the use of such
 technology.”); 42 U.S.C. § 7479(3) ("The
 technology.");                       (“The term ‘best                    technology’ means an emission limitation
                                                  `best available control technology'
 based on the maximum degree of reduction of each pollutant subject to regulation under this chapter emitted from or
 which results from any major emitting facility, which the permitting authority, on a case-by-case basis, taking into
 account energy, environmental, and economic impacts and other costs, determines is achievable for such facility



                                                          30
USCA Case #23-1157              Document #2009836                    Filed: 07/27/2023          Page 336 of 430



        Finally, as discussed in further detail in Section V.B.2 above, retrofitting engines is
 extremely costly, and it is not reasonable to expect operators to absorb the costs of retrofitting their
 Engine fleets on EPA’s
                   EPA's proposed timetable, especially at a time of record inflation and soaring
 energy prices.

          Kinder Morgan consulted with a manufacturer to determine how long it would take to
 retrofit the 950 Company Engines subject to the Proposed Rule that do not currently meet the
 emissions limits. Based on this information, and taking into account a reasonable schedule for
 taking units offline (to account for FERC and delivery obligations), and the timeline for required
 permit modifications, Kinder Morgan determined that even on a reasonably fast-paced schedule—
 and assuming no competition for manufacturers and no unexpected delays—it will take
 approximately 23 years to achieve full implementation of the Engine Proposal. The final projects
 would not be completed until the year 2046.

                Morgan’s ability to offer an alternative timeline (or, for that matter, alternative
         Kinder Morgan's
 emissions limits or HP threshold) for the EPA’s
                                            EPA's consideration is hampered, however, by EPA’s
                                                                                             EPA's
 decision not to identify an overall target of emission reductions. The scant data that EPA does
 provide, moreover, is unreliable considering EPA’s
                                                EPA's failure to provide an accurate account of the
 number of Engines to which the Proposed Rule would apply. This, among other foundational
 reasons, is why Kinder Morgan proposes an alternate approach outlined in Section VI below,
 which would encourage states to adopt SIPs that incorporate emissions averaging for Engines and
 allow an Engine-by-Engine showing of economic infeasibility to ensure cost-effective application
 of the emissions standards.

         D.       Requiring Controls Only in the Ozone Season is Not Practical.

          EPA’s
          EPA's Proposed Rule proposes NOx  NOx emissions limits "only
                                                                 “only during the ozone season"
                                                                                           season” (May
                     89
 11—
   – September 30).89
                 30). EPA requests comments on "whether
                                                     “whether controls on . . . reciprocating IC engines
                                                                                   season.”90 Requiring
 are likely to be run all year (e.g., 8,760 hours/year) or only during the ozone season."90
 controls only in the ozone season does not comport with practical realities. As noted above,
 retrofitting existing engines with control technology is a significant, custom, costly, and time-
 intensive undertaking. It would not make economic sense, or further our collective goal of
 meaningfully reducing emissions, to only require the emissions limits during the ozone season.
 Installation of SCR-type controls, for example, may require accompanying modifications to the
 engines’ combustion process for better system operations. It is therefore not a "bolt-on"
 engines'                                                                                      “bolt-on”
 technology that can be readily "idled" “idled” or temporarily removed out of the season in all

 through application of production processes and available methods, systems, and techniques, including fuel
 cleaning, clean fuels, or treatment or innovative fuel combustion techniques for control of each such pollutant."
                                                                                                       pollutant.”
 (emphasis added)); EPA, Guidelines for for Determining Best Available Control Technology (BACT) 4 (Dec. 1978)
 (stating that the determination of the weight to assign to energy, environmental, and economic impacts is a state
         “some flexibility in emission control requirements depending on local energy, environmental, and economic
 allows "some
 conditions and local preferences").
                       preferences”).
 89 Proposed Rule at 20,104; see
 89                               also id. at 20,045, 20,0056, 20,177.
 90
 90 Id. at 20,097.



                                                        31
USCA Case #23-1157          Document #2009836               Filed: 07/27/2023       Page 337 of 430



 circumstances. Kinder Morgan respectfully submits that given the magnitude of changes that have
 to be made to add control technologies, they will be run all year.

         EPA defends the feasibility of the cost of the Proposed Rule in part on the assumption that
 EGU and non-EGU control technologies could be put into protective lay-up during non-ozone-
         months.91 But, tellingly, this assumption is derived from apparent industry practice
 season months.91
 exclusively with EGUs:

          This timeframe is informed by many electric utilities'
                                                          utilities’ previous long-standing
          practice of utilizing SCRs to reduce EGU NOx
                                                   NOx emissions during the ozone season
          while putting the systems into protective lay-up during the non-ozone season
          months. For example, this was the long-standing practice of many EGUs that used
          SCR systems for compliance with the NOx Budget Trading Program. It was quite
          typical for SCRs to be turned off following the September 30 end of the ozone
          season control period. These controls would then be put into protective lay-up for
          several months of non-use before being returned to operation by May 1 of the
                             season.92
          following ozone season.92

         As a starting point, for the majority of Kinder Morgan's
                                                          Morgan’s units, SCR is not the most cost-
 effective and technically feasible option. So, the data point EPA summarizes above is simply not
                                      Morgan’s operations. Furthermore, it may be that the process
 relevant to the majority of Kinder Morgan's
 for installing or uninstalling SCR technology on Kinder Morgan's
                                                           Morgan’s units, which are non-EGU units,
 is not comparable to application of SCR for EGU control technologies. Converting 2SLB Engines,
 for example, would require a 10 ft2ft2 catalyst, which in many cases is so large that it can only be
 installed or uninstalled by crane, and then fluids like ammonia and urea must be drained before
 adding them back in. Those liquid compounds, in most cases, require safe handling and disposal
 in compliance with state and federal regulation to avoid harm to the environment. It is not within
     Company’s practice or protocol to unnecessarily increase the frequency of handling of products
 the Company's
 and chemicals like ammonia.

         The Engine Proposal's
                      Proposal’s exclusive reliance on EGU control data to justify a rule that would
 apply to non-EGU sources—along with the fact that is does not specifically evaluate and consider
 the challenges inherent in retrofitting a non-EGU Engine with the appropriate control
 technology—is puzzling, and calls into question the agency's
                                                       agency’s understanding of the operations and
 businesses the agency intends to regulate. We would be happy to schedule a meeting with EPA to
                                                                        Morgan’s units.
 discuss the specific application of the control technologies to Kinder Morgan's




 91
 91 Id. at 20,078.
 92
   Id.
 92 Id.




                                                 32
USCA Case #23-1157               Document #2009836                      Filed: 07/27/2023           Page 338 of 430



          E.       Emergency Engines Must be Exempted.

          The Proposed Rule does not contain an exemption for emergency Engines even though this
                                                                             regulations.93 Other
 is a standard exemption that EPA recognizes in all other relevant federal regulations.93
 states, including New Mexico and Colorado (and many other states), have also incorporated an
                                                                     rules.94 As EPA and states
 exemption for emergency engines from their engine emission limits rules.94
 recognize, emergency engines should continue to be exempted for two primary reasons. First,
 their continued operation during emergencies is critical; second, precisely because they are
 operated only in emergencies, their emissions are minimal.

         To the first, emergency engines serve a vital function in Kinder Morgan's—and
                                                                              Morgan’s—and other
 operators’—operations. When operators lose commercial power at compressor stations
 operators'—operations.
 unexpectedly, whether as a result of inclement weather or electric grid equipment failures, they
 use emergency engines to sustain the most essential system needs, such as providing power for
 control rooms, lights, and safety and security systems, until power is restored. These systems are
 necessary to protect company personnel, the public, and the environment.

        To the second, consistent with their limited uses, Kinder Morgan generally operates its
 emergency engines in only three scenarios: (i) to test the engine to ensure it is ready to operate in
 the event of an emergency and run periodically as necessary for maintenance; (ii) to complete an
 emission test; and (iii) during an emergency event. Because Kinder Morgan's
                                                                       Morgan’s emergency engines
 are used infrequently, they are responsible for a very limited amount of emissions. Accordingly,
 not exempting emergency engines would create an impediment—under threat of potential
 enforcement action for non-compliance—for operators to run their emergency Engines to properly
 respond to and redress emergency situations with minimal emission-reduction benefits.

          For these reasons, any final rule, including a model rule, must exempt emergency Engines.

          F.       Performance Testing Every Six Months is Unreasonable.

        EPA has proposed that owners and operators of stationary spark ignition Engines conduct
 semi-annual performance testing in accordance with 40 CFR § 60.8 to ensure that such Engines
                           NOx limits. This requirement would be unduly onerous. Indeed,
 are meeting the proposed NOx
                                                                         test.95 Testing Kinder
 performance testing on a single unit can cost upwards of $5,000 per test.95
 Morgan’s approximately 950 units twice a year would therefore cost approximately $9.5 million
 Morgan's

 93 See
 93     40 C.F.R. §§ 60.4219 (defining emergency stationary internal combustion engines); 60.4248 (same); 60.4205
 (designating separate compliance criteria for emergency engines); 60.4243 (same); 63.6585 ("[E]mergency
                                                                                              (“[E]mergency
 stationary RICE . . . are not subject to [the National Emission Standards for Hazardous Air Pollutants for Stationary
 Reciprocating Internal Combustion Engines].").
                                        Engines].”).
 94 5 Colo. Code Regs. § 1001-9:E.I.C.3 (“The air pollution control technology requirements . . . do not apply to: . . .
 94                                         ("The
 any emergency power generator . . . .");
                                        .”); Proposed § 20.2.50.113(B)(10) New Mexico Code of Administrative
                               https://www.env.nm.gov/air-quality/wp-content/uploads/sites/2/2018/08/Proposed-Part-
 Regulations (May 6, 2021), https://www.env.nm.goviair-quality/wp-content/uploads/sites/2/2018/08/Proposed-Part-
 20.2.50-May-6-2021-Version.pdf ("The (“The owner or operator of an emergency use engine that is operated less than 100
 hours per year is not subject to the emissions standards in this Part . . . .").
                                                                             .”).
 95
 95 See Exhibit 16 (showing invoices for $6,825, $5,000, and $11,950 for emissions testing).




                                                           33
USCA Case #23-1157               Document #2009836                     Filed: 07/27/2023            Page 339 of 430



 annually,96 with a portion of additional costs passed on to consumers in the form of higher energy
 annually,96
 prices, without a corresponding environmental benefit.

          Even apart from the financial costs, testing is operationally demanding, but the Proposed
 Rule wholly neglects that fundamental reality. For example, per current EPA regulations, units
 need to be tested when the load is between 90–100%                        load,97 a state which may
                                               90-100% of the maximum load,97
 not occur naturally. If a unit is not at that load capacity, Kinder Morgan must take steps to
 artificially increase the load prior to conducting any testing—an intensive process in both labor
 and time. And artificially increasing the load of an engine from 60% to 90% is orders of magnitude
 more complex than artificially increasing the load of an engine from 85% to 90%. Flexibility in
 timing is therefore of paramount importance. Moreover, it is not as if Kinder Morgan can simply
 pick two days in the year to conduct testing on all its units at once. There is no scenario in which
 performance testing on hundreds of units could be conducted simultaneously. The Proposed Rule
 simply does not account for the fact that Kinder Morgan would need a minimum of 12 months to
 spread out a single round of performance testing on all 950 of its units. It would therefore be
 operationally and logistically infeasible to conduct performance testing on all the affected units
 within the six months allotted (five months to the extent the EPA would require one of the semi-
 annual tests to be conducted during the ozone season as appears to be the intent of the Proposed
 Rule), as would be required for semi-annual testing.

         In the past, EPA has correctly taken note of these operational realities. Indeed, semi-annual
 testing is also anomalous compared to performance testing regulations on other emission sources,
 such as under NSPS and NESHAP, which generally require only testing every 8,760 hours of run
 time.98 There is no reason to impose more frequent testing requirements than under NSPS and
 time.98
 NESHAP.

        To be clear, the existence of the above operational and financial costs does not mean that
 operators would be better off installing CEMS. To the contrary, the cost of installing such
 monitoring technology would be exorbitant, even outpacing the costs of retrofitting units. While
 Kinder Morgan has limited experience with CEMS, that experience is illustrative. Indeed, Kinder
 Morgan had to replace CEMS at a facility in 2020, incurring around $100,000 in costs just to
 change out the analyzers while leaving alone the hard lines. A brand new installation would

 96
 96 950 x 5,000 x 2 = 9,500,000.
 97 See,
 97      e.g., 40 C.F.R § 60.4244(a) ("Each
                                     (“Each performance test must be conducted within 10 percent of 100 percent peak
 (or the highest achievable) load and according to the requirements in § 60.8 and under the specific conditions that are
                                subpart.”).
 specified by Table 2 to this subpart.").
 98                                      (“subsequent performance testing [on stationary spark ignition internal
 98 See 40 C.F.R. § 60.4243(a)(2)(iii) ("subsequent
 combustion engine greater than 500 HP] every 8,760 hours or 3 years, whichever comes first");
                                                                                             first”); 40 C.F.R.
                    (“subsequent performance testing [on stationary internal combustion engine greater than 500 HP]
 § 60.4211(g)(3) ("subsequent
 every 8,760 hours of engine operation or 3 years, which comes first”);
                                                                   first"); 40 C.F.R. § 63.6615 and Table 3 to Subpart
 ZZZZ of Part 63 (listing subsequent performance test requirements as "every
                                                                           “every 8,760 hours or 3 years, whichever
 comes first”
         first" for both limited use and non-limited use existing non-emergency non-black start CI stationary RICE
 engines). While semi-annual testing is required for some stationary RICE engines, see 40 C.F.R. § 63.6615, the
 applicability of that rule is far more limited than the number of units which would be affected by this Proposed Rule.
 And, in any event, even that rule allowed operators to reduce the frequency of testing after two successful tests. Id.


                                                          34
USCA Case #23-1157             Document #2009836                      Filed: 07/27/2023   Page 340 of 430



 require significant and additional resources to install electric equipment and tubing. The projected
 upfront installation costs are significant, and EPA should not impose any CEMS testing
 requirements as part of a final rule or model rule included therein.

         In addition to the stand-alone costs of CEMS technology, owners and operators of facilities
 would also need to build shelters for the CEMS units in order to ensure a controlled environment
 to protect the analyzer from extreme ambient conditions such as heat, cold, dust, wind,
 earthquakes, and corrosive or explosive atmospheres. They would also need to build out a whole
 new IT framework. Nor are the costs limited to the upfront fixed costs of installing CEMS.
 Owners and operators would need to hire and train CEMS operators and technicians, adding
 ongoing labor costs and forcing Kinder Morgan to compete with other companies to attract the
 scarce labor force with the appropriate training to run CEMS at their facilities. This is in addition
 to around $15,000 in annual service costs, and $5,000 per year for cylinder rentals, all per unit.

                  1.      Alternative Proposal to the Semi-Annual Performance Testing
                          Requirement.

         As an alternative to the EPA’s
                                   EPA's proposal, Kinder Morgan suggests a testing requirement in
 line with the testing requirements on stationary combustion turbines. Per 40 C.F.R. § 60.4340(a),
 annual performance tests are required to demonstrate continuous compliance with regulations, and
 where a performance test is less than or equal to 75% of the NOx
                                                               NOx emission limit for the turbine, an
 operator of the turbine can reduce the frequency of subsequent performance tests to once every
 two years. If the results of a subsequent performance test exceed 75% of the NOxNOx emission limit
 for the turbine, an operator must resume annual testing. EPA adopted this proposal in response to
 comments noting that the sophisticated controls on lean premix turbines will provide consistent
                          99
 NOx emission results,
 NOx              results,99                                                        Morgan’s units,
                             just as controls anticipated to be installed at Kinder Morgan's
 combined with the quality of FERC-regulated gas in the transmission sector, ensures consistent
 NOx emission results.
 NOx

          Here too, Kinder Morgan proposes that EPA allow for annual testing on Engines, with an
 opportunity to reduce the frequency of testing to every two years if testing shows that NOx   NOx
                                                 NOx emissions limits. Whatever testing frequency
 emissions are equal to 75% or less of permitted NOx
 EPA chooses it should, at the very least, provide an opportunity to reduce the frequency of testing
                       NOx emissions are equal to 75% or less of permitted NOx
 if testing shows that NOx                                                  NOx emission limits. If
 semi-annual testing is not selected, EPA could work with INGAA and other industry members to
 develop reasonable best management practices for Engine operation and maintenance.

         EPA should also include an option for portable testing. Use of portable gas analyzers
 equipped with electrochemical sensors has already been approved as an alternative method for
 determination of Oxygen, Carbon Monoxide, and Nitrogen Oxides from stationary sources for use
 at (1) Industrial/Commercial/Institutional Steam Generating Units subject to 40 CFR Part 60,

 99
 99 See Dkt. No. EPA-HQ-OAR-2004-0490-0322, Response to Public Comments on Proposed Standards of
                                                                                              of
             for Stationary Combustion Turbines, 88 (July 6, 2006).
 Performancefor


                                                       35
USCA Case #23-1157               Document #2009836                      Filed: 07/27/2023            Page 341 of 430



 Subpart Db; (2) stationary spark ignition internal combustion engines subject to 40 CFR Part 60,
 Subpart JJJJ; and (3) RICE subject to 40 CFR Part 63, Subpart ZZZZ. This method leverages the
 inherent linear performance of electrochemical cell-based technology to provide simplified
                         costs.100 There is no reason not to allow Engine owners and operators
 procedures that lower costs.100
 flexibility to employ this proven cost-effective and reliable method of performance testing.

          G.       As Proposed, the Engine Proposal Will Significantly Disrupt the Distribution
                   of Energy in the United States.

         Given the scale of the undertaking to retrofit approximately 950 units in order to comply
 with the Proposed Rule before the May 2026 deadline, a large-scale reduction in output of natural
 gas is unavoidable. The very few manufacturers capable of retrofitting units would be at capacity
                     Morgan’s Engines alone, let alone the thousands of additional units from other
 working on Kinder Morgan's
 natural gas suppliers operating in the same regions. The backlog will inevitably result in Engines
 remaining offline for extended periods of time and could potentially jeopardize the safe and
 reliable transmission of natural gas in the United States and/or could lead to higher costs for
 transporting gas, which costs are ultimately passed along from the transmission companies to
 customers, the local distribution companies, and large end users, to their customers: the consumers.
         EPA’s unreasonable 2026 timetable, Engines will have to be idled until the retrofitting is
 Under EPA's
 complete and millions of end-users of natural gas could face periodic outages along with higher
 energy bills.

         Moreover, EPA should consider that these impacts are likely to harm already
 disadvantaged communities including low-income communities and communities of color.
 Research has documented that households at or near the Federal Poverty Level are significantly
 more burdened by energy insecurity (and therefore impacted more by scarcity and higher prices)
                            groups.101
 than other socioeconomic groups.   101
                                        Researchers have shown that poor communities face worse
                                                                                 102
 health outcomes and worse educational outcomes in part due to energy insecurity.
                                                                      insecurity.102 A 2019 study
 found that low-income households in U.S. cities spend on average 10-20%
                                                                     10–20% of their income on
                103
         bills.
 energy bills.103   Previous research has also shown that subsidized housing recipients face an
 increased burden from outages because they are more likely to rent from private landlords who




 100
 1°° Portable Analyzer Test Method Update for Common Analyzers Phase 3 Report, Innovative Environmental
 Solutions, Inc., for the Pipeline Research Council International, Inc., Catalog PR-312-17204-R01 (Oct. 10, 2017),
 https://www.prci.org/Research/CompressorPumpStation/CPSProjects/CPS-11 6A/3241/136252/125634.aspx.
 101 Jessel
 101 Jesse'                poverty, and health in climate change: a comprehensive review of
            et al. Energy, poverty,                                                        of an emerging
 literature. Frontiers in Public Health, 357 (2019), Frontiers |lEnergy,
                                                                   Energy, Poverty, and Health in Climate Change: A
                                            Literature | Public Health (frontiersin.org).
 Comprehensive Review of an Emerging LiteraturelPublic
 102
     See generally id.
 103
 103 Kontokosta et al. Energy cost burdens for
                                             for low-income and minority households: Evidencefrom from energy
 benchmarking and audit data in fivefive US
                                         US cities, Journal of the American Planning Association, 86(1), at 95 (2020).


                                                           36
USCA Case #23-1157              Document #2009836                     Filed: 07/27/2023           Page 342 of 430



 neither weatherize nor optimize energy efficiency due to upfront costs.104
                                                                        104
                                                                            Likewise, communities
 of color are also disproportionally affected by energy insecurity.105
                                                                   105


         EPA’s
         EPA's Proposed Rule therefore will exacerbate harm to disproportionately impacted
 communities by creating energy shortages and corresponding increases in energy prices that
 historically have not been equally distributed.

 VI.       ALTERNATE PROPOSAL: EPA'S
                                 EPA’S APPROACH SHOULD MODEL PAST
           SUCCESSFUL PRACTICE TO INFORM ANY NEWLY PROPOSED RULE

         In summary, and following successful precedent, EPA must establish emissions targets for
 each state, and should publish a model rule (with core elements described below) and allow states
 to exercise their discretion to implement the model rule or other cost-effective and technically
 feasible rules through SIP implementation.

         A.                       NOx SIP Call and Subsequent Developments
                  Summary of 1998 NOx

                                               Call,”106 requiring 23 states (including the District of
                                    “NOx SIP Call,"
          In 1998, EPA issued the "NOx
 Columbia) to reduce their NOxNOx emissions in an attempt to reduce interstate ozone pollution based
 on the Good Neighbor Provision. Under the NOx  NOx SIP Call, EPA established emissions "budgets"
                                                                                            “budgets”
 for each state, designating the acceptable level of NOx
                                                     NOx emissions from that jurisdiction and a model
 cap and trade program that allowed sources to buy and sell emissions allowances. Following
 litigation, the D.C. Circuit struck down portions of the NOx
                                                           NOx SIP Call, remanding back to the EPA
 for further  rulemaking. 107
                          107


        Following consultation with stakeholders, EPA came back with the 2004 NOxNOx SIP Call
              (“2004 NOx
 Phase 2 rule ("2004  NOx Rule").
                            Rule”). The 2004 NOx
                                               NOx Rule required 21 States and the District of
                      NOx budgets for states to eliminate those amounts of NOx
 Columbia again set NOx                                                     NOx emissions that
 contribute significantly to downwind nonattainment of the 1-hour ozone standard. The
                             NOx Rule, moreover, relied on emission averaging provisions:
 implementation of the 2004 NOx

         States may establish a NOx
                                  NOx tons/season emissions decrease target for individual
         companies and then provide the companies with the opportunity to develop a plan
         that would achieve the needed emissions reductions. The companies may select
         from a variety of control measures to apply at their various emission units in the
         State or portion of the State affected under the NOx
                                                          NOx SIP call. . . . What is important
         from EPA’s
               EPA's perspective is that the State, through a SIP revision, demonstrate that


 104 Hernández
 1°4                     Energy burden
     Hernandez & Bird, Energy            and the
                                 burden and      need for
                                             the need  for integrated
                                                           integrated low‐income housing and
                                                                      low-income housing and energy
                                                                                             energy policy,
                                                                                                    policy, Poverty
 Public Policy, 2(4), at 5-25 (2010).
 105 Jesse',
     Jessel, supra note 101.
 106 Finding of Significant
 1°6                         Contribution and Rulemaking for Certain States in the Ozone Transport Assessment
 Group Region for Purposes of Reducing Regional Transport of Ozone, 63 Fed. Reg. 57,356 (Oct. 27, 1998)
               “NOx SIP Call”].
 [hereinafter "NOx       Call"].
 107 See Michigan v. EPA, 213 F.3d 663 (D.C. Cir. 2000).


                                                         37
USCA Case #23-1157              Document #2009836                     Filed: 07/27/2023          Page 343 of 430



         all the control measures contained in the SIP are collectively adequate to provide
         for compliance with the State’s NOx budget during the 2007 ozone season.108
                                 State's NOx                                        108


         EPA coupled this flexible averaging approach with the development of a model rule that
 states could adopt as part of their SIPs. The model rule gave companies credit towards their
 individualized compliance plan for decreases in NOx
                                                  NOx emissions from engines that were not even
                     NOx Rule.
 subject to the 2004 NOx       109 Amongst other advantages, the averaging approach relieved the
 EPA, state agencies, and regulated companies of the difficulty of agreeing on technical definitions
 for lean-burn and rich-burn engines, obviated the need to determine whether individual engines
 could in fact achieve certain control levels with a prescribed control technology, and allowed
 companies and states to achieve compliance with NOx   NOx SIP Call requirements with minimal
 deleterious impact on natural gas capacity and operational reliability.110
                                                                        110


        This 2004 NOx
                    NOx Rule emission averaging approach has led to significant emission
 reductions. Indeed, in light of EPA’s
                                  EPA's successful implementation of the emissions averaging
 approach in the 2004 NOxNOx Rule, individual states have recognized these advantages and
                                       rulemakings.111 EPA should therefore follow the same
 incorporated averaging into their own rulemakings.111
 approach here.

         B.       Although Each State Should Be Afforded Discretion to Develop an Effective
                  SIP, as a Part of this Proposed Rule, EPA Should Develop a Model Rule To
                  Encourage States to Adopt SIPs that Incorporate Emissions Averaging for
                  RICE and an Engine-by-Engine Showing of Economic Infeasibility.

                  1.       EPA’s
                           EPA's Model Rule Should Adopt Emissions Averaging as it Did in the
                                NOx Rule.
                           2004 NOx

        Kinder Morgan recommends that EPA adopt the emissions averaging approach it
                          NOx Rule and as proposed by INGAA in its comments on the Proposed
 incorporated in the 2004 NOx
 Rule. As EPA recognized in promulgating the 2004 NOx     NOx Rule, averaging is a reasonable
 compliance flexibility mechanism that allows for the achievement of emissions limitations with
 reduced impacts on cost, natural gas capacity, and operational reliability.112 Specifically,
 averaging provides enforceable and verifiable measures to control engines without operators
 having to work through the technical confusion of the definitions of lean- and rich-burn engines
 or determine whether individual engines can achieve certain emissions limitations with the

 108 Memorandum from Lydia N. Wegman, “State Implementation Plan (SIP) Call for Reducing Nitrogen Oxides
 108                                         "State
 (NOx) — – Stationary Reciprocating Internal Combustion Engines"
                                                         Engines” (Aug. 22, 2002) at 2,
 https://archive.epa.gov/ttn/ozone/web/pdf/ic_engine_guidance_memo_8_22_2002.pdf.
 https://archive.epa.gov/ttn/ozone/web/pdf/ic  engine guidance memo 8 22 2002.pdf.
 109 EPA Model
 109              Rule § 3(a)(5).
 110
 110 See 69 Fed. Reg. 21,604, 21,621 (Apr. 21, 2004) (discussing additional rationales for emissions averaging in
 comments on what became the 2004 NOx Rule).
 111 See, e.g.,
 111            25 Pa. Code § 129.98(a) ("[A]
                                        (“[A] major NOx emitting facility . . . that cannot meet the applicable NOx
 RACT emission limitation may elect to meet the applicable NOx RACT emission limitation . . . by averaging NOx
 emissions on either a facility-wide or system-wide basis using a 30-day rolling average").
                                                                                   average”).
 112
 112 See 69 Fed. Reg. 21,604, 21,621 (Apr. 21, 2004).




                                                         38
USCA Case #23-1157              Document #2009836                   Filed: 07/27/2023           Page 344 of 430



 prescribed control technologies. Additionally, emission averaging will help address the problem
 presented by achieving compliance on engines that are technically impossible to retrofit, as
 discussed in detail above. Because an averaging approach allows more regulatory flexibility while
 still achieving significant emissions reductions, it is a sensible policy that should be incorporated
 into the model rule. Indeed, many states, including Illinois, New York, Ohio, Pennsylvania, New
 Mexico, Colorado, and Texas have already incorporated emissions averaging into their approaches
              NOx emissions. In short, EPA should follow its own past approach—as well as those
 to reducing NOx
 taken in other states—to incorporate this reasonable and sound regulatory approach into any final
 rule adopted here.

      Kinder Morgan further adopts and incorporates by reference comments submitted by
 INGAA that address emissions averaging at the company level.

                  2.       EPA’s
                           EPA's Model Rule Must Expressly Incorporate a RACT Analysis on
                           an Engine-by-Engine Basis to Determine the Cost-Effective
                           Application of the Emissions Standards.

         The model rule that Kinder Morgan proposes should include the option for owners and
 operators to show—on an Engine-by-Engine basis—that attaining the specific emissions rate limit
 would be economically infeasible. This option should be available before calculating the
 emissions reductions required under an averaging approach because it will ensure the model rule
 can be reasonably implemented by regulated companies. Installing additional controls for certain
 types of Engines could be prohibitively expensive, even with averaging. Therefore, the model rule
 must also incorporate a RACT analysis on an engine-by-engine basis to determine a cost-effective
 application of the emissions standards. Under this approach, an owner or operator could be
 relieved of the obligation to comply with the proposed emissions limitations applicable to a
 particular existing Engine, upon a showing (and determination by the state) that compliance would
 be technically impracticable or economically infeasible, similar to the requirements EPA has
 established for RACT. For example, under RACT:

         The determination of RACT and the corresponding emission rate, ensuring the
         proper application and operation of RACT, may vary from source to source due to
         source configuration, retrofit feasibility, operation procedures, raw materials, and
         other technical or economic characteristics of an individual source or group of
         sources.113

        As discussed above in Section V.A, SCR is frequently the only control option for some
 engines to comply with the emissions-limit standards contemplated by the EPA. Yet, as Kinder
 Morgan also discussed above, Kinder Morgan's
                                          Morgan’s detailed cost case studies for the addition of
 various control technologies on some of its Engines range from $157,709 to $6,434,942.
 Converting these capital costs to costs per ton of emissions abatement demonstrates the economic
 unreasonableness of such controls. Whereas such retrofits would cost from $1,000 to $684,169

 113
 113 EPA, Guidance for
                    for Determining Acceptability of
                                                  of SIP Regulations in Non-attainment Areas 2 (Dec. 9, 1976).


                                                        39
USCA Case #23-1157                Document #2009836                      Filed: 07/27/2023            Page 345 of 430



 on a per-ton basis (assuming reasonable average run-time over a five-year period), the Proposed
 Rule identifies a cost reasonableness threshold of $7,500 per ton of emissions abated by non-
 EGUs. Although $7,500 per ton is higher than what other NOx
                                                          NOx rules have used as the cost-effective
 threshold, it could be an appropriate cost threshold for reasonableness if it is adequately
 substantiated in the rulemaking record. At minimum, $7,500 per ton reduced must be considered
    “not to exceed"
 a "not       exceed” threshold, which would be consistent with other similar state-level
 rulemakings.114 In turn, any model rule for states should be updated to contemplate that in some
 rulemakings.114
 circumstances, engines will not be able to reduce emissions at this cost threshold. Therefore, an
 engine-by-engine approach is merited and would provide an additional cost backstop for the
 aggressive emissions reductions that the Proposed Rule aims to achieve.

         Including such an option is especially important given the Proposed Rule's   Rule’s own
 acknowledgment that the cost effectiveness-analysis performed by EPA using CoST was
 “designed to be used for illustrative control strategy analyses . . . and not for unit-specific,
 "designed
                        analyses.”115 Thus, the Proposed Rule acknowledges that unit-specific,
 detailed engineering analyses."115
 engineering analyses are likely to reveal different costs for control technologies employed on a
                                EPA’s definition of RACT evaluates what a "a
 particular unit. Moreover, the EPA's                                         “a particular source
                        116
               meeting,” and thereby contemplates a particularized (i.e., case-by-case) approach
 is capable of meeting,"116
 for determining the reasonableness of a control technology given the circumstances.

         Kinder Morgan proposes that regulated entities be allowed to demonstrate—through a unit-
 specific, detailed engineering analysis like the one contemplated by the Proposed Rule and EPA’s
                                                                                              EPA's
 RACT definition—that the cost to achieve the emissions rate limits would require costs above the
 $7,500 threshold, and therefore not economically feasible. Kinder Morgan also proposes that the
 appropriate state regulator would review the engineering analysis to verify that conclusion. If the
 cost is verified to be above the $7,500 threshold, then the engine would be exempted from
 compliance, and its contribution to total emissions would be subtracted out from any total
 emissions reductions required under an emissions averaging approach a compliance option
 incorporating emissions averaging. States where Kinder Morgan has participated in rulemakings
                        approach,117 and it safeguards against unreasonably high, if not prohibitive,
 have adopted such an approach,117
 compliance costs.




 114 See
 114     supra note 44.
 115 Proposed Rule at 20,089 (emphasis added).
     Proposed Rule at 20,089 (emphasis added). See also id. at 20,090 ("The    (“The number of different industries and
 emissions unit categories and types present a challenge to defming
                                                               defining a single method to identify appropriate control
                                                                                      units.”).
 technologies, measures or strategies, and related costs across non-EGU emissions units.").
 116
 116 44 Fed. Reg. 53,761, 53,762 (Sept. 17, 1979) (emphasis added); see also Michigan v. EPA, 805 F.2d 176, 180 (6th
 Cir. 1986) ("Since
            (“Since 1976, the EPA has interpreted [RACT] to be ‘the`the lowest emission limitation that a particular source
 is capable of meeting by the application of control technology that is reasonably available considering technological
 and economic feasibility.’”).
                feasibility.').
 117
 117 For example, in New Mexico, the New Mexico Environmental Improvement Board ("EIB")    (“EIB”) has approved both an
 emissions averaging approach through an Alternative Compliance Plan and an Alternative Emissions Standard for
 individual units. The EIB is in the process of finalizing the rules and publishing them to the New Mexico Register.


                                                            40
USCA Case #23-1157          Document #2009836                Filed: 07/27/2023       Page 346 of 430



 VII.    CONCLUSION

        Kinder Morgan appreciates the opportunity to submit these comments. As a fundamental
 concern and fatal flaw to its proposal, EPA is relying on an extraordinarily inaccurate set of data
 in support of the Engine Proposal, which undermines the entire proposal. In fact, the agency has
 underestimated the number of subject Engines at such a significant magnitude that it has in turn
 dramatically underestimated the anticipated emissions by at least half. Not only is reliance on this
 inaccurate data unlawful rulemaking, but the rule itself results in over-control of emissions,
 contrary to the CAA and court precedent. EPA cannot proceed with this rulemaking and must re-
 publish a proposed draft rule with updated and accurate data and transparent analysis.

         If EPA pursues a new draft proposed rule, with a renewed public comment period, Kinder
 Morgan respectfully requests the agency consider and address each of the following concerns
 raised:

            •   EPA overestimates the technical feasibility involved with the proposed emissions
                 limits. The technologies available are limited when applied to certain types of
                 engines, and even after applying available control technologies, the emission limits
                 may not be achievable.

            •   Even if the control technologies are technically feasible, achieving the standard
                 could nonetheless be cost-prohibitive, and well in excess of EPA’s
                                                                              EPA's cost threshold
                                      NOx reduced in many cases.
                 of $7,500 per ton of NOx

            •   The proposed timeline for compliance is unreasonable if not impossible.

            •   EPA does not appear to recognize that controls cannot be installed just for the ozone
                 season, an assumption that further exacerbates concerns around over-control.

            •   Emergency engines must be exempted.

            •   The semi-annual testing requirements are onerous, unnecessary, and do not
                 consider the operational realities faced by the Pipeline Transportation of Natural
                 Gas industry. A revised approach consistent with current regulatory programs is
                 appropriate.

         In support of these comments, Kinder Morgan conducted extensive analyses of its existing
 Engine data, relevant control technologies, and actual cost-estimates. The results summarized
 herein indicate that a one-size-fits all emissions standards across 23 states is not the appropriate
 avenue for cost-effective emissions reductions to address potential ozone transport. Instead, based
 on its data and Kinder Morgan's
                          Morgan’s extensive experience in numerous states already implementing
 NOx emissions reduction programs for large engines, Kinder Morgan encourages EPA to adopt a
 NOx
 model rule that incorporates emissions averaging for Engines on a state-by-state basis, as well as



                                                  41
USCA Case #23-1157         Document #2009836               Filed: 07/27/2023       Page 347 of 430


 an Engine-by-Engine
 an                    showing of
     Engine-by-Engine showing    of economic
                                    economic infeasibility,  among other
                                             infeasibility, among    other considerations
                                                                           considerations described
                                                                                          described
 above. We
 above.  We recognize  the complexities
             recognize the complexities and
                                        and challenges
                                            challenges around
                                                        around the
                                                                 the relevant
                                                                     relevant data
                                                                              data and
                                                                                   and analysis,
                                                                                       analysis, and
                                                                                                 and
 the Company
 the Company welcomes
               welcomes further  engagement with
                         further engagement  with EPA
                                                  EPA onon this
                                                            this matter.
                                                                 matter.

 Sincerely,
 Sincerely,




 Michael Pitta
 Michael Pitta
 Vice President
 Vice President of
                of EHS
                   EHS

 (enclosures)
 (enclosures)



 EXHIBITS LIST
 EXHIBITS LIST

 Exhibit 1—
 Exhibit 1 – Example  Cost of
             Example Cost   of 2SLB
                               2SLB SCR   Addition
                                    SCR Addition
 Exhibit 2—
 Exhibit 2 – Example  Cost of
             Example Cost   of 2SLB
                               2SLB SCR   Addition
                                    SCR Addition
 Exhibit 3—
 Exhibit 3 – Example  Cost of
             Example Cost   of 2SLB
                               2SLB Combustion
                                    Combustion Modifications
                                                 Modifications
 Exhibit 4—
 Exhibit 4 – Example  Cost of
             Example Cost   of 2SLB
                               2SLB Combustion
                                    Combustion Modifications
                                                 Modifications
 Exhibit
 Exhibit 5
         5—– Example  Cost of
             Example Cost   of 2SLB
                               2SLB Combustion
                                    Combustion Modifications
                                                 Modifications
 Exhibit
 Exhibit 6
         6—– Example  Cost of
             Example Cost   of 2SLB
                               2SLB Combustion
                                    Combustion Modifications
                                                 Modifications
 Exhibit 7—
 Exhibit 7 – Example  Cost of
             Example Cost   of 4SLB
                               4SLB SCR   Addition
                                    SCR Addition
 Exhibit
 Exhibit 8
         8—– Example  Cost of
             Example Cost   of 4SLB
                               4SLB Combustion
                                    Combustion Modifications
                                                 Modifications
 Exhibit
 Exhibit 9
         9—– Example  Cost of
             Example Cost   of 4SLB
                               4SLB Combustion
                                    Combustion Modifications
                                                 Modifications
 Exhibit 10 —
 Exhibit 10 – Example  Cost of
              Example Cost   of 4SLB
                                4SLB Combustion
                                     Combustion Modifications
                                                  Modifications
 Exhibit 11 —
 Exhibit 11 – Example  Cost of
              Example Cost   of 4SLB
                                4SLB Unit
                                     Unit Replacement
                                           Replacement
 Exhibit 12 —
 Exhibit 12 – Example  Cost of
              Example Cost   of 4SRB
                                4SRB NSCR
                                      NSCR and
                                             and Combustion
                                                 Combustion Modifications
                                                             Modifications
 Exhibit 13 —
 Exhibit 13 – Example  Cost of
              Example Cost   of 4SRB
                                4SRB NSCR
                                      NSCR and
                                             and AFRC
                                                 AFRC
 Exhibit 14 —
 Exhibit 14 – Example  Cost of
              Example Cost   of 4SRB
                                4SRB AFRC
                                      AFRC
 Exhibit
 Exhibit 15 —Vendor Letter Regarding SCR
         15 –Vendor  Letter Regarding       Cost Increase
                                       SCR Cost  Increase
 Exhibit 16 —
 Exhibit 16 – Emissions
              Emissions Testing  Invoices
                        Testing Invoices




                                                 42
                                                 42
USCA Case #23-1157   Document #2009836   Filed: 07/27/2023   2SLB
                                                              Page
                                                             2SLB SCR Installation
                                                                    348
                                                                  SCR      of 430
                                                                      Installation
                                                             – Exhibit 1
                                               Kinder Morgan —




                        EXHIBIT 1
                                                                                                                                                                                   Summary
  USCA Case #23-1157                               Document #2009836                                              Filed: 07/27/2023                  2SLB
                                                                                                                                                      Page
                                                                                                                                                     2SLB SCR Installation
                                                                                                                                                            349
                                                                                                                                                          SCR      of 430
                                                                                                                                                              Installation
                                                                              KINDER MORGAN
          PROJECT NAME
        COMPANY NAME                                                                                                       COMPANY NO.
         REQUESTED BY                                                                                                      PREPARED BY
          ESTIMATE NO.                                                                                                ORIGINAL EST. DATE                     04/21/20
                                                                                                                                                             04/21/20
          REVISION NO.
                   NO.                            BASE                                                        CONSTRUCTION CONTINGENCY                         10%
         REVISION DATE                                                                                                        OVERHEAD                       13.56%
                                                                                                                                                             13.56%
     PROJECT MANAGER
                 STATE                                                                                                         GROSS UP
                                                                                                                           TAX GROSS  UP                      0.00%
               COUNTY                                                                                                      PROJECT TYPE           KM
                                                                                                                                                  KM Funded for Economics (& MC)
                                                                                                                              IN-SERVICE                      Oct-23
                                                                                                                                                              Oct-23
                                                                                                                ESTIMATE ACCURACY LEVEL                      Class 3
           Control System
  Emission Control System
                              SCR Emissions control system provided by                       . This cost is a per unit cost
                  SCOPE:


         New Aux SCOPE:       Install new AUX building and Air Compressor to be used for SCR Installation on all five units

                          ASSET CAPABILITIES: Vol @ Itifit
                                                    ### psi                                                                                                  Pressure
                                                                                                                                                             Pressure
                    Minimum                   MMCFD                                                                                    Minimum                   psig
                                                                                                                                                                 psig
                    Maximum                   MMCFD                                                                                      MAOP                    psig
                                                                                                                                                                 psig
                                                                                                                              Normal Operating                   psig
                                         Metrics:               (Inch) =
                                                           Dia (Inch)  =                                                      Delivery Pressure
                                                                                                                              Delivery Pressure                  psig
                                                                                                                                                                psig
                                                       Length (Miles) =
                                         Aggregate Base Lay (Per Ft) =
                                                   Total Cost (Per Ft) =
                                               Contractor Cost (DIM) =
                                    Directs + Contingency Cost (DIM) =

                                                                                 Emission Control
                    ESTIMATE SUMMARY                                                System
                                                                                    System
                                                                                                               New Aux                                                  TOTAL


                                    MATERIAL (INCL SALES TAX)                   $           895,400
                                                                                            895,400       $        883,300
                                                                                                                   883,300                                       $
                                                                                                                                                                 $        1,778,700
                                         COMPANY LABOR COST                     $
                                                                                $            92,900
                                                                                             92,900       $
                                                                                                          $         55,800
                                                                                                                    55,800                                       $
                                                                                                                                                                 $          148,700
                                                                                                                                                                            148,700
                              PM, ENG, LAND, ENVIRO - EXPENSE                   $            10,800       $
                                                                                                          $          5,400
                                                                                                                     5,400                                       $
                                                                                                                                                                 $           16,200
                          PRIMARY CONSTRUCTION CONTRACTOR                       $           967,000       $      1,116,100                                       $
                                                                                                                                                                 $        2,083,100
                                                  CONTRACTOR
                                     SECONDARY CONTRACTOR                       $
                                                                                $            16,200       $
                                                                                                          $            --                                        $
                                                                                                                                                                 $           16,200
                                  PROFESSIONAL ENGINEERING                      $
                                                                                $           265,500
                                                                                            265,500       $
                                                                                                          $        180,700                                       $
                                                                                                                                                                 $          446,200
                                         INSPECTION SERVICES
                                                       SERVICES                 $
                                                                                $           169,100       $
                                                                                                          $         91,300
                                                                                                                    91,300                                       $
                                                                                                                                                                 $          260,400
                                       RADIOGRAPHY SERVICES
                                                       SERVICES                 $
                                                                                $             3,800
                                                                                              3,800       $
                                                                                                          $          1,900
                                                                                                                     1,900                                       $
                                                                                                                                                                 $            5,700
                                                                                                                                                                              5,700
                                 ENVIRONMENTAL CONTRACTOR                       $            54,100
                                                                                             54,100       $
                                                                                                          $         27,000                                       $
                                                                                                                                                                 $           81,100
                                             INSTRUMENTATION
                               ELECTRICAL & INSTRUMENTATION                     $
                                                                                $               --        $
                                                                                                          $            --                                        $
                                                                                                                                                                 $              -
                                   RIGHT OF WAY CONTRACTOR
                                                  CONTRACTOR                    $
                                                                                $               --        $
                                                                                                          $            --                                        $
                                                                                                                                                                 $              -
                                         SURVEY CONTRACTOR                      $            31,800       $
                                                                                                          $         47,700                                       $
                                                                                                                                                                 $           79,500
                                                       SERVICES
                                      OUTSIDE LEGAL SERVICES                    $
                                                                                $            28,400       $
                                                                                                          $         16,600                                       $
                                                                                                                                                                 $           45,000
                                                       DAMAGES
                                               ROW & DAMAGES                    $
                                                                                $            12,500
                                                                                             12,500       $
                                                                                                          $          5,000
                                                                                                                     5,000                                       $
                                                                                                                                                                 $           17,500
                                                                                                                                                                             17,500
                                                   PERMIT FEES                  $                --       $
                                                                                                          $            --                                        $
                                                                                                                                                                 $              -
                                                       GAS LOSS
                                                       GAS LOSS                 $
                                                                                $             6,700
                                                                                              6,700       $
                                                                                                          $            --                                        $
                                                                                                                                                                 $            6,700
                                                                                                                                                                              6,700
                                                      SUBTOTAL                  $         2,554,200       $      2,430,800                                       $
                                                                                                                                                                 $        4,985,000
                                                 CONTINGENCY
                                 CONSTRUCTION CONTINGENCY                       $
                                                                                $           255,420
                                                                                            255,420       $
                                                                                                          $        243,080
                                                                                                                   243,080                                       $
                                                                                                                                                                 $          498,500
                                                                                                                                                                            498,500
                                                         AFUDC                  $
                                                                                $            78,464
                                                                                             78,464       $
                                                                                                          $         73,396                                       $
                                                                                                                                                                 $          151,859
                                                      SUBTOTAL                  $         2,888,084       $      2,747,276                                       $
                                                                                                                                                                 $        5,635,359
                              CAPITALIZED OVERHEAD (BURDEN)                     $               --        $
                                                                                                          $            -                                         $
                                                                                                                                                                 $              -
                                                      GROSS-UP
                                                 TAX GROSS-UP                   $
                                                                                $                -        $            --                                        $
                                                                                                                                                                 $              -
                                                    ESCALATION                  $                --       $
                                                                                                          $            -                                         $
                                                                                                                                                                 $              -
                                                     INSURANCE
                                               RISK INSURANCE                   $
                                                                                $                --       $
                                                                                                          $            -                                         $
                                                                                                                                                                 $              -
                                        ESTIMATED TOTAL COST                    $         2,888,084       $      2,747,276                                       $
                                                                                                                                                                 $        5,635,359
                                                                                                                                                                          5,635,359

                                                              Price/Ton:
                                    (If Applicable) Escalated Price/Ton:
                                                           Contingency:                 10%
                                                                                        10%                      10%
                                                                                                                 10%               10%
                                                                                                                                   10%               10%
                                                                                                                                                     10%
                                                        In-Service Date:               Oct-23                   Oct-23
                                                                                                                Oct-23            Oct-23            Oct-23
                                                                                                                                                    Oct-23

ASSUMPTIONS
     Include (Yes/No)       Assumptions
           Yes
           Yes              See Assumptions Tab     ** Estimate shelf life is 6 months from published date.
                                                    "*




         Revision                   Date                                  Notes                                         Approval                    Name
                                                                                                                                                    Name                Date
                                                                                                                    Project Manager
                                                                                                                Project Manager
                                                                                                                        Manager Director
                                                                                                                    Project Controls
                                                                                                                    Project Controls
                                                                                                                     Vice President

                                                                                                                                                                               n
AUTHORITY LEVELS:                                                                                                                                                   FV=PV(1+i)
                                                                                                                                                   Escalation Rates FV=PV(1+i)"
           < $25,000,000 PM, PM Director, Project Controls                                                                                              Material:      0.0%
           > $25,000,000
           > $25,000,000 PM,
                         PM, PM
                             PM Director,
                                Director, Project
                                          Project Controls, VP                                                                                            Other:       0.0%
                                                                                                                                                                       0.0%
USCA Case #23-1157   Document #2009836   Filed: 07/27/2023   2SLB
                                                              Page
                                                             2SLB SCR Installation
                                                                    350
                                                                  SCR      of 430
                                                                      Installation
                                                             – Exhibit 22
                                               Kinder Morgan —




                        EXHIBIT 22
                                                                                                                                                                                         Summary
                                                                                                                                                                                         Summary
  USCA Case #23-1157                               Document #2009836                                              Filed: 07/27/2023                     2SLB
                                                                                                                                                         Page
                                                                                                                                                        2SLB SCR Installation
                                                                                                                                                               351
                                                                                                                                                             SCR      of 430
                                                                                                                                                                 Installation
                                                                              KINDER MORGAN
          PROJECT NAME
        COMPANY NAME                                                                                                       COMPANY NO.
         REQUESTED BY                                                                                                      PREPARED BY
          ESTIMATE NO.                                                                                                ORIGINAL EST. DATE                            09/08/21
          REVISION NO.
                   NO.                            BASE                                                        CONSTRUCTION CONTINGENCY                                10%
         REVISION DATE                                                                                                        OVERHEAD                              13.17%
                                                                                                                                                                    13.17%
     PROJECT MANAGER
                 STATE                                                                                                         GROSS UP
                                                                                                                           TAX GROSS  UP                         0.00%
               COUNTY                                                                                                      PROJECT TYPE              KM Funded for Economics (& MC)
                                                                                                                              IN-SERVICE                         Oct-23
                                                                                                                                                                 Oct-23
                                                                                                                ESTIMATE ACCURACY LEVEL                         Class 3
           Control System
  Emission Control System
                              SCR Emissions
                              SCR Emissions control
                                            control system
                                                    system provided by
                                                           provided by                        . This
                                                                                                This cost is a
                                                                                                     cost is a per
                                                                                                               per unit
                                                                                                                   unit cost.
                                                                                                                        cost. Cost
                                                                                                                              Cost developed
                                                                                                                                   developed per
                                                                                                                                             per approved estimate CE2004034
                                                                                                                                                 approved estimate CE2004034
                  SCOPE:


     Aux Building SCOPE:      Install new AUX building and Air Compressor to be used for SCR Installation. Cost developed per approved estimate CE2004034


                                CAPABILITIES: Vol @ Mt
                          ASSET CAPABILITIES:       ### psi                                                                                                         Pressure
                    Minimum                   MMCFD                                                                                   Minimum                           psig
                                                                                                                                                                        psig
                    Maximum                   MMCFD                                                                                     MAOP                            psig
                                                                                                                             Normal Operating
                                                                                                                             Normal  Operating                          psig
                                                                                                                                                                        psig
                                         Metrics:          Dia (Inch) =                                                      Delivery Pressure                         psig
                                                       Length (Miles) =
                                         Aggregate Base Lay (Per Ft) =
                                                   Total Cost
                                                   Total Cost (Per
                                                              (Per Ft)
                                                                   Ft) =
                                                                       =
                                               Contractor Cost
                                               Contractor Cost (DIM) =
                                    Directs +
                                    Directs + Contingency
                                              Contingency Cost
                                                          Cost (DIM)
                                                                (DIM) ==

                                                                                                                             Emission Control
                    ESTIMATE SUMMARY                                                                                            System
                                                                                                                                System
                                                                                                                                                     Aux Building              TOTAL


                                    MATERIAL (INCL SALES TAX)                                                               $         676,100
                                                                                                                                      676,100    $         650,400
                                                                                                                                                           650,400     $         1,326,500
                                                                                                                                                                                 1,326,500
                                         COMPANY LABOR COST                                                                 $          71,200    $          44,800     $           116,000
                              PM, ENG, LAND, ENVIRO - EXPENSE                                                               $           3,000    $           2,800     $             5,800
                          PRIMARY CONSTRUCTION CONTRACTOR                                                                   $       1,187,800    $         678,900
                                                                                                                                                           678,900     $         1,866,700
                                     SECONDARY CONTRACTOR                                                                   $       1,272,000    $             -       $         1,272,000
                                  PROFESSIONAL ENGINEERING                                                                  $         198,700    $         183,800     $           382,500
                                         INSPECTION SERVICES                                                                $         265,300
                                                                                                                                      265,300    $          68,000
                                                                                                                                                            68,000     $           333,300
                                                                                                                                                                                   333,300
                                       RADIOGRAPHY SERVICES                                                                 $           3,700
                                                                                                                                        3,700    $           2,800     $             6,500
                                 ENVIRONMENTAL CONTRACTOR                                                                   $          33,700
                                                                                                                                       33,700    $          20,200
                                                                                                                                                            20,200     $            53,900
                                                                                                                                                                                    53,900
                               ELECTRICAL & INSTRUMENTATION                                                                 $             -      $             -       $               -
                                   RIGHT OF WAY CONTRACTOR                                                                  $             -      $          21,200     $            21,200
                                         SURVEY CONTRACTOR                                                                  $          10,700    $          10,700     $            21,400
                                      OUTSIDE LEGAL SERVICES                                                                $             -      $             -       $               -
                                              ROW & DAMAGES                                                                 $          15,000    $          15,000     $            30,000
                                                                                                                                                                                    30,000
                                                  PERMIT FEES                                                               $             -      $             -       $               -
                                                     GAS LOSS                                                               $           9,600    $             -       $             9,600
                                                    SUBTOTAL                                                                $
                                                                                                                            $       3,746,800
                                                                                                                                    3,746,800    $       1,698,600
                                                                                                                                                         1,698,600     $         5,445,400
                                                                                                                                                                                 5,445,400
                                 CONSTRUCTION CONTINGENCY                                                                   $         374,680
                                                                                                                                      374,680    $         169,860     $           544,540
                                                        AFUDC                                                               $          98,547    $         126,664     $           225,211
                                                    SUBTOTAL                                                                $       4,220,027    $       1,995,124     $         6,215,151
                              CAPITALIZED OVERHEAD (BURDEN)                                                                 $             -      $             -       $               -
                                                TAX GROSS-UP                                                                $             -      $             -       $               -
                                                   ESCALATION                                                               $             -      $             -       $               -
                                              RISK INSURANCE                                                                $             -      $             -       $               -
                                        ESTIMATED TOTAL COST                                                                $       4,220,027    $       1,995,124     $         6,215,151

                                                              Price/Ton:
                                        Applicable) Escalated
                                    (If Applicable) Escalated Price/Ton:
                                                           Contingency:                 10%                      10%               10%                  10%
                                                                   Date:
                                                        In-Service Date:               Oct-23
                                                                                       Oct-23                   Oct-23
                                                                                                                Oct-23            Oct-23
                                                                                                                                  Oct-23               Oct-23
                                                                                                                                                       Oct-23

ASSUMPTIONS
     Include (Yes/No)       Assumptions
           Yes              See Assumptions
                            See Assumptions Tab
                                            Tab     ** Estimate
                                                    "* Estimate shelf
                                                                shelf life
                                                                      life is
                                                                           is 6
                                                                              6 months
                                                                                months from
                                                                                       from published
                                                                                            published date.
                                                                                                      date.




         Revision                   Date
                                    Date                                  Notes                                         Approval                       Name
                                                                                                                                                       Name                    Date
                                                                                                                                                                               Date
                                                                                                                    Project Manager
                                                                                                                Project Manager
                                                                                                                Project Manager Director
                                                                                                                    Project Controls
                                                                                                                     Vice President

                                                                                                                                                                                  n
AUTHORITY LEVELS:                                                                                                                                     Escalation Rates FV=PV(1+i)"
                                                                                                                                                      Escalation       FV=PV(1+i)
           < $25,000,000
           < $25,000,000 PM,
                         PM, PM
                             PM Director,
                                Director, Project
                                          Project Controls                                                                                                 Material:      0.0%
                                                                                                                                                                          0.0%
           > $25,000,000 PM, PM Director, Project Controls, VP                                                                                               Other:       0.0%
USCA Case #23-1157   Document #2009836                  2SLB Turbo
                                         Filed: 07/27/2023
                                                        2SLB Turbo & PCC
                                                                Page
                                                                   & PCC Installation
                                                                       352    of 430
                                                                         Installation
                                                               – Exhibit 33
                                                 Kinder Morgan —




                        EXHIBIT 33
                                                                                                                                                                                             Summary
USCA Case #23-1157                                Document #2009836                                                                2SLB Turbo
                                                                                                                    Filed: 07/27/2023
                                                                                                                                   2SLB Turbo & PCC
                                                                                                                                           Page
                                                                                                                                              & PCC Installation
                                                                                                                                                  353    of 430
                                                                                                                                                    Installation
                                                                               KINDER MORGAN
                  NAME
          PROJECT NAM .
        COMPANY NAME                                                                                                         COMPANY NO.
         REQUESTED BY                                                                                                        PREPARED BY
          ESTIMATE NO.                                                                                                  ORIGINAL EST. DATE                       08/02/21
          REVISION NO.                            BASE                                                          CONSTRUCTION CONTINGENCY                           10%
         REVISION DATE                                                                                                          OVERHEAD                          0.00%
     PROJECT MANAGER




                            .
                STATE II                                                                                                     TAX GROSS UP                         0.00%
               COUNTY •                                                                                                      PROJECT TYPE                    Sustaining Capital
                                                                                                                                IN-SERVICE                        May-24
                                                                                                                  ESTIMATE ACCURACY LEVEL                         Class 3
                                Install new combustion modification equipment
                                                                    - . .ment (pre-combustion
                                                                               .re-combustion chambers), ancillary hardware, and automation on 4-Cooper GMVA10
             RWIP SCOPE:
                                compressor units at



                                Isolate and tear down compressor driver and exhaust on 4-Cooper GMVA10 compressor units                                                           Prep for
             CWIP SCOPE:
                                installation of new combustion modification equipment (pre-combustion chambers), ancillary hardware, and automation.



                          ASSET CAPABILITIES: Vol @ ### psi                                                                                                      Pressure
                    Minimum                   MMCFD                                                                                     Minimum                      psig
                    Maximum                   MMCFD                                                                                       MAOP                       psig
                                                                                                                               Normal Operating                      psig
                                          Metrics:           Dia (Inch) =                                                      Delivery Pressure                     psig
                                                         Length (Miles) =
                                          Aggregate Base Lay (Per Ft) =
                                                     Total Cost (Per Ft) =
                                                 Contractor Cost (DIM) =
                                      Directs + Contingency Cost (DIM) =


                    ESTIMATE SUMMARY                                                    Tab 12                    Tab 13            RWIP                CWIP                TOTAL


                                     MATERIAL (INCL SALES TAX)                   $                 -      $                -   $           -       $    10,937,100   $        10,937,100
                                         COMPANY LABOR COST                      $                 -      $                -   $           -       $       161,900   $           161,900
                              PM, ENG, LAND, ENVIRO - EXPENSE                    $                 -      $                -   $           -       $        23,100   $            23,100
                          PRIMARY CONSTRUCTION CONTRACTOR                        $                 -      $                -   $       120,000     $     1,230,500   $         1,350,500
                                     SECONDARY CONTRACTOR                        $                 -      $                -   $        10,000     $       910,000   $           920,000
                                   PROFESSIONAL ENGINEERING                      $                 -      $                -   $           -       $        58,500   $            58,500
                                         INSPECTION SERVICES                     $                 -      $                -   $         9,000     $       178,600   $           187,600
                                       RADIOGRAPHY SERVICES                      $                 -      $                -   $           -       $         1,800   $             1,800
                                 ENVIRONMENTAL CONTRACTOR                        $                 -      $                -   $           -       $        15,000   $            15,000
                               ELECTRICAL & INSTRUMENTATION                      $                 -      $                -   $           -       $           -     $               -
                                   RIGHT OF WAY CONTRACTOR                       $                 -      $                -   $           -       $           -     $               -
                                         SURVEY CONTRACTOR                       $                 -      $                -   $           -       $           -     $               -
                                      OUTSIDE LEGAL SERVICES                     $                 -      $                -   $           -       $           -     $               -
                                              ROW & DAMAGES                      $                 -      $                -   $           -       $           -     $               -
                                                  PERMIT FEES                    $                 -      $                -   $           -       $           -     $               -
                                                      GAS LOSS                   $                 -      $                -   $           -       $           -     $               -
                                                     SUBTOTAL                    $                 -      $                -   $       139,000     $    13,516,500   $        13,655,500
                                 CONSTRUCTION CONTINGENCY                        $                 -      $                -   $        13,900     $     1,351,650   $         1,365,550
                                                        AFUDC                    $                 -      $                -   $           -       $       412,485   $           412,485
                                                     SUBTOTAL                    $                 -      $                -   $       152,900     $    15,280,635   $        15,433,535
                              CAPITALIZED OVERHEAD (BURDEN)                      $                 -      $                -   $           -       $           -     $               -
                                                 TAX GROSS-UP                    $                 -      $                -   $           -       $           -     $               -
                                                   ESCALATION                    $                 -      $                -   $           -       $           -     $               -
                                               RISK INSURANCE                    $                 -      $                -   $           -       $           -     $               -
                                       ESTIMATED TOTAL COST                      $                 -      $                -   $       152,900     $    15,280,635   $        15,433,535

                                                                Price/Ton:
                                      (If Applicable) Escalated Price/Ton:
                                                             Contingency:                10%                       10%              10%                 10%
                                                          In-Service Date:              May-24                    May-24           May-24              May-24

ASSUMPTIONS
     Include (Yes/No)       Assumptions
           Yes              See Assumptions Tab      "** Estimate shelf life is 6 months from published date.




         Revision                     Date                                 Notes                                          Approval                      Name                 Date
                                                                                                                      Project Manager
                                                                                                                  Project Manager Director
                                                                                                                      Project Controls
                                                                                                                       Vice President

AUTHORITY LEVELS:                                                                                                                                                       FV=PV(1+i)n
                                                                                                                                                       Escalation Rates FV=PV(1+i)"
           < $25,000,000 PM, PM Director, Project Controls                                                                                                  Material:      0.0%
           > $25,000,000 PM, PM Director, Project Controls, VP                                                                                                Other:       0.0%
USCA Case #23-1157   Document #2009836                  2SLB Turbo
                                         Filed: 07/27/2023
                                                        2SLB Turbo & PCC
                                                                Page
                                                                   & PCC Installation
                                                                       354    of 430
                                                                         Installation
                                                                         4
                                                               – Exhibit 4
                                                 Kinder Morgan —




                        EXHIBIT 44
                                                                                                                                                                                             Summary
                                                                                                                                                                                             Summary
USCA Case #23-1157                                Document #2009836                                                               2SLB Turbo
                                                                                                                   Filed: 07/27/2023
                                                                                                                                  2SLB Turbo & PCC
                                                                                                                                          Page
                                                                                                                                             & PCC Installation
                                                                                                                                                 355    of 430
                                                                                                                                                   Installation
                                                                              KINDER MORGAN
          PROJECT NAME
        COMPANY NAME                                                                                                       COMPANY NO.
        REQUESTED BY                                                                                                       PREPARED BY
          ESTIMATE NO.                      CE2109038
                                            CE2109038                                                                 ORIGINAL EST. DATE                        11/02/21
                   NO.
          REVISION NO.                        BASE                                                            CONSTRUCTION CONTINGENCY                            10%
                                                                                                                                                                  10%
         REVISION DATE                                                                                                        OVERHEAD                           0.00%
                                                                                                                                                                 0.00%
     PROJECT MANAGER
                 STATE                                                                                                         GROSS UP
                                                                                                                           TAX GROSS  UP                         0.00%
               COUNTY                                                                                                      PROJECT TYPE                     Sustaining Capital
                                                                                                                                                            Sustaining
                                                                                                                              IN-SERVICE                         Nov-25
                                                                                                                ESTIMATE ACCURACY LEVEL                          Class 3
                                                                                                                                                                 Class 3

             RWIP SCOPE:                  existing equipment
                               Removal of existing equipment for
                                                             for retrofit
                                                                 retrofit



                              Retrofits to
                              Retrofits to meet
                                           meet proposed
                                                  proposed standards
                                                             standards for
                                                                       for existing
                                                                           existing reciprocating
                                                                                    reciprocating unit
                                                                                                    unit • using
                                                                                                              using combustion
                                                                                                                    combustion modifications
                                                                                                                                modifications (PCCs,
                                                                                                                                              (PCCs, turbochargers,
                                                                                                                                                     turbochargers, control
                                                                                                                                                                    control panel
                                                                                                                                                                            panel
                  SCOPE:
             CWIP SCOPE:      upgrade, etc.,
                              upgrade,   etc., as
                                               as needed)
                                                  needed) and
                                                            and oxidation
                                                                oxidation catalyst.
                                                                          catalyst. All
                                                                                    All ancillaries
                                                                                        ancillaries and
                                                                                                    and infrastructure
                                                                                                          infrastructure must
                                                                                                                         must be
                                                                                                                              be considered  and modified
                                                                                                                                 considered and  modified as
                                                                                                                                                          as needed
                                                                                                                                                             needed to
                                                                                                                                                                     to support
                                                                                                                                                                        support the
                                                                                                                                                                                the
                                      modifications for
                              engine modifications    for ongoing
                                                          ongoing compliant  operation.
                                                                  compliant operation.



                                CAPABILITIES: Vol @ ### psi
                          ASSET CAPABILITIES:                                                                                                                   Pressure
                                                                                                                                                                Pressure
                    Minimum                   MMCFD                                                                                    Minimum                      psig
                    Maximum                   MMCFD                                                                                      MAOP                       psig
                                                                                                                              Normal Operating
                                                                                                                                      Operating                     psig
                                         Metrics:           Dia (Inch) =                                                               Pressure
                                                                                                                              Delivery Pressure                     psig
                                                       Length (Miles) =
                                         Aggregate Base
                                         Aggregate  Base Lay
                                                          Lay (Per
                                                              (Per Ft)
                                                                   Ft) =
                                                                       =
                                                   Total Cost
                                                   Total Cost (Per
                                                              (Per Ft)
                                                                   Ft) =
                                               Contractor Cost
                                               Contractor  Cost (DIM) =
                                    Directs +
                                    Directs + Contingency
                                              Contingency Cost
                                                           Cost (DIM)
                                                                (DIM) ==


                    ESTIMATE SUMMARY                                                   Tab 12                   Tab 13
                                                                                                                Tab 13             RWIP                CWIP                TOTAL


                                    MATERIAL (INCL SALES TAX)                   $                -      $                -   $
                                                                                                                             $             --     $
                                                                                                                                                  $     3,172,100
                                                                                                                                                        3,172,100   $
                                                                                                                                                                    $            3,172,100
                                                                                                                                                                                 3,172,100
                                         COMPANY LABOR COST                     $                -      $                -   $
                                                                                                                             $             --     $
                                                                                                                                                  $       161,900
                                                                                                                                                          161,900   $
                                                                                                                                                                    $              161,900
                                                                                                                                                                                   161,900
                              PM, ENG, LAND, ENVIRO - EXPENSE                   $                -      $                -   $
                                                                                                                             $             --     $
                                                                                                                                                  $        23,100   $
                                                                                                                                                                    $               23,100
                          PRIMARY CONSTRUCTION CONTRACTOR                       $                -      $                -   $
                                                                                                                             $          64,700
                                                                                                                                        64,700    $
                                                                                                                                                  $       680,300
                                                                                                                                                          680,300   $
                                                                                                                                                                    $              745,000
                                                                                                                                                                                   745,000
                                     SECONDARY CONTRACTOR                       $                -      $                -   $
                                                                                                                             $          10,800
                                                                                                                                        10,800    $
                                                                                                                                                  $       981,900
                                                                                                                                                          981,900   $
                                                                                                                                                                    $              992,700
                                                                                                                                                                                   992,700
                                  PROFESSIONAL ENGINEERING                      $                -      $                -   $
                                                                                                                             $             --     $
                                                                                                                                                  $        50,500
                                                                                                                                                           50,500   $
                                                                                                                                                                    $               50,500
                                                                                                                                                                                    50,500
                                         INSPECTION SERVICES                    $                -      $                -   $
                                                                                                                             $           4,800
                                                                                                                                         4,800    $
                                                                                                                                                  $        69,800
                                                                                                                                                           69,800   $
                                                                                                                                                                    $               74,600
                                                                                                                                                                                    74,600
                                       RADIOGRAPHY SERVICES                     $                -      $                -   $
                                                                                                                             $             --     $
                                                                                                                                                  $         1,900
                                                                                                                                                            1,900   $
                                                                                                                                                                    $                1,900
                                                                                                                                                                                     1,900
                                 ENVIRONMENTAL CONTRACTOR                       $                -      $                -   $
                                                                                                                             $             --     $
                                                                                                                                                  $        16,200   $
                                                                                                                                                                    $               16,200
                               ELECTRICAL & INSTRUMENTATION                     $                -      $                -   $
                                                                                                                             $             --     $
                                                                                                                                                  $           --    $
                                                                                                                                                                    $                  -
                                   RIGHT OF WAY CONTRACTOR                      $                -      $                -   $
                                                                                                                             $             --     $
                                                                                                                                                  $           --    $
                                                                                                                                                                    $                  -
                                         SURVEY CONTRACTOR                      $                -      $                -   $
                                                                                                                             $             -      $           --    $
                                                                                                                                                                    $                  -
                                      OUTSIDE LEGAL SERVICES                    $                -      $                -   $
                                                                                                                             $             -      $           -     $                  --
                                              ROW
                                              ROW & DAMAGES                     $                -      $                -   $
                                                                                                                             $             --     $
                                                                                                                                                  $           --    $
                                                                                                                                                                    $                  --
                                                  PERMIT FEES                   $                -      $                -   $
                                                                                                                             $             --     $
                                                                                                                                                  $           --    $
                                                                                                                                                                    $                  --
                                                     GAS LOSS
                                                     GAS LOSS                   $                -      $                -   $
                                                                                                                             $             --     $
                                                                                                                                                  $           --    $
                                                                                                                                                                    $                   -
                                                    SUBTOTAL                    $                -      $                -   $
                                                                                                                             $          80,300
                                                                                                                                        80,300    $
                                                                                                                                                  $     5,157,700
                                                                                                                                                        5,157,700   $
                                                                                                                                                                    $            5,238,000
                                                                                                                                                                                 5,238,000
                                 CONSTRUCTION CONTINGENCY                       $                -      $                -   $
                                                                                                                             $           8,030
                                                                                                                                         8,030    $
                                                                                                                                                  $       511,300
                                                                                                                                                          511,300   $
                                                                                                                                                                    $              519,330
                                                                                                                                                                                   519,330
                                                        AFUDC
                                                        AFUDC                   $                -      $                -   $
                                                                                                                             $             --     $
                                                                                                                                                  $       146,569
                                                                                                                                                          146,569   $
                                                                                                                                                                    $              146,569
                                                                                                                                                                                   146,569
                                                    SUBTOTAL                    $                -      $                -   $
                                                                                                                             $          88,330
                                                                                                                                        88,330    $
                                                                                                                                                  $     5,815,569
                                                                                                                                                        5,815,569   $
                                                                                                                                                                    $            5,903,899
                                                                                                                                                                                 5,903,899
                              CAPITALIZED OVERHEAD (BURDEN)                     $                -      $                -   $
                                                                                                                             $             --     $
                                                                                                                                                  $           --    $
                                                                                                                                                                    $                  -
                                                    GROSS-UP
                                                TAX GROSS-UP                    $                -      $                -   $
                                                                                                                             $             --     $
                                                                                                                                                  $           --    $
                                                                                                                                                                    $                  -
                                                   ESCALATION                   $                -      $                -   $
                                                                                                                             $             --     $
                                                                                                                                                  $           --    $
                                                                                                                                                                    $                  -
                                              RISK INSURANCE                    $                -      $                -   $
                                                                                                                             $             --     $
                                                                                                                                                  $           --    $
                                                                                                                                                                    $                  -
                                                         COST
                                        ESTIMATED TOTAL COST                    $                -      $                -   $
                                                                                                                             $          88,330
                                                                                                                                        88,330    $
                                                                                                                                                  $     5,815,569
                                                                                                                                                        5 815 569   $
                                                                                                                                                                    $            5,903,899
                                                                                                                                                                                 5,903,899

                                                              Price/Ton:
                                    (If Applicable) Escalated Price/Ton:
                                                           Contingency:                10%
                                                                                       10%                       10%
                                                                                                                 10%                10%
                                                                                                                                    10%                10%
                                                                                                                                                       10%
                                                                   Date:
                                                        In-Service Date:              Nov-25                    Nov-25             Nov-25             Nov-25


ASSUMPTIONS
      Include (Yes/No)
      Include (Yes/No)      Assumptions
                            Assumptions
            Yes
            Yes             See Assumptions Tab     ** Estimate shelf life is 6 months from published date.




         Revision                   Date
                                    Date                                 Notes
                                                                         Notes                                           Approval                      Name
                                                                                                                                                       Name                 Date
                                                                                                                                                                            Date
                                                                                                                     Project Manager
                                                                                                                 Project Manager
                                                                                                                 Project Manager Director
                                                                                                                                 Director
                                                                                                                     Project Controls
                                                                                                                     Project Controls
                                                                                                                           President
                                                                                                                      Vice President

                                                                                                                                                                                  n
AUTHORITY LEVELS:                                                                                                                                     Escalation Rates FV=PV(1+1)"
                                                                                                                                                      Escalation       FV=PV(1+i)
             $25,000,000 PM, PM Director,
           < $25,000,000        Director, Project
                                          Project Controls
                                                  Controls                                                                                                 Material:      0.0%
                                                                                                                                                                          0.0%
             $25,000,000 PM, PM Director,
           > $25,000,000        Director, Project Controls, VP                                                                                               Other:       0.0%
                                                                                                                                                                          0.0%
USCA Case #23-1157   Document #2009836                  2SLB Turbo
                                         Filed: 07/27/2023
                                                        2SLB Turbo & PCC
                                                                Page
                                                                   & PCC Installation
                                                                       356    of 430
                                                                         Installation
                                                                         5
                                                               – Exhibit 5
                                                 Kinder Morgan —




                        EXHIBIT 55
                                                                                                                                                                                          Summary
                                                                                                                                                                                          Summary
 USCA Case #23-1157                               Document #2009836                                                               2SLB Turbo
                                                                                                                   Filed: 07/27/2023
                                                                                                                                  2SLB Turbo & PCC
                                                                                                                                          Page
                                                                                                                                             & PCC Installation
                                                                                                                                                 357    of 430
                                                                                                                                                   Installation
                                                                              KINDER MORGAN
          PROJECT NAME
        COMPANY NAME
        COMPANY   NAME                                                                                                     COMPANY NO.
                                                                                                                           COMPANY   NO.
         REQUESTED BY                                                                                                      PREPARED BY
          ESTIMATE NO.                                                                                                ORIGINAL EST. DATE                         08/24/21
                    NO.
          REVISION NO.                            BASE
                                                  BASE                                                        CONSTRUCTION CONTINGENCY                             10%
                                                                                                                                                                   10%
         REVISION DATE
         REVISION DATE                                                                                                        OVERHEAD
                                                                                                                              OVERHEAD                           13.26%
                                                                                                                                                                 13.26%
     PROJECT MANAGER
                 STATE                                                                                                         GROSS UP
                                                                                                                           TAX GROSS  UP                          0.00%
                                                                                                                                                                  0.00%
               COUNTY                                                                                                      PROJECT TYPE               KM Funded
                                                                                                                                                      KM        for Economics
                                                                                                                                                         Funded for Economics (&
                                                                                                                                                                              (& MC)
                                                                                                                                                                                 MC)
                                                                                                                              IN-SERVICE                         May-24
                                                                                                                ESTIMATE ACCURACY
                                                                                                                ESTIMATE ACCURACY LEVEL
                                                                                                                                   LEVEL                         Class 3
                                                                                                                                                                 Class 3

             RWIP SCOPE:      Removal of
                              Removal of existing
                                         existing equipment
                                                  equipment to
                                                            to be
                                                               be replaced.
                                                                  replaced.




             CWIP SCOPE:
             CWIP SCOPE:      This unit
                              This unit is
                                        is a
                                           a 2SLB
                                             2SLB unit
                                                  unit that
                                                       that needs
                                                            needs to
                                                                  to meet
                                                                     meet 3 g/hp-hr of
                                                                          3 g/hp-hr of NOx. To achieve
                                                                                       NOx. To achieve this
                                                                                                       this a
                                                                                                            a the
                                                                                                              the turbocharger will need
                                                                                                                  turbocharger will need to be re-aeroed
                                                                                                                                         to be re-aeroed and
                                                                                                                                                         and ePCC's
                                                                                                                                                             ePCC's added.
                                                                                                                                                                    added.




                                CAPABILITIES: Vol @ ###
                          ASSET CAPABILITIES:       ### psi                                                                                                      Pressure
                                                                                                                                                                 Pressure
                    Minimum                   MMCFD                                                                                    Minimum                       psig
                    Maximum                   MMCFD                                                                                      MAOP                        psig
                                                                                                                              Normal Operating
                                                                                                                              Normal  Operating                      psig
                                         Metrics:
                                         Metrics:           Dia (Inch) =                                                      Delivery Pressure
                                                                                                                              Delivery Pressure                      psig
                                                               (Miles) =
                                                       Length (Miles)  =
                                         Aggregate Base
                                        Aggregate   Base Lay
                                                          Lay (Per Ft) =
                                                   Total Cost
                                                   Total      (Per Ft)
                                                         Cost (Per Ft) =
                                                                       =
                                               Contractor Cost
                                               Contractor  Cost (DIM)
                                                                (DIM) ==
                                    Directs +
                                    Directs + Contingency
                                              Contingency Cost
                                                           Cost (DIM)
                                                                (DIM) ==


                    ESTIMATE SUMMARY                                                   Tab 12                   Tab 13
                                                                                                                Tab 13             RWIP                 CWIP                TOTAL


                                     MATERIAL (INCL SALES TAX)                  $                 -      $               -   $            -       $
                                                                                                                                                  $        841,800
                                                                                                                                                           841,800   $          841,800
                                                                                                                                                                                841,800
                                         COMPANY LABOR
                                         COMPANY   LABOR COST
                                                           COST                 $                 -      $               -   $            -       $         55,800
                                                                                                                                                            55,800   $           55,800
                                                                                                                                                                                 55,800
                              PM, ENG,
                              PM, ENG, LAND,
                                       LAND, ENVIRO
                                              ENVIRO -- EXPENSE
                                                        EXPENSE                 $                 -      $               -   $            -       $          3,200
                                                                                                                                                             3,200   $            3,200
                                                                                                                                                                                  3,200
                          PRIMARY CONSTRUCTION
                          PRIMARY CONSTRUCTION CONTRACTOR
                                                  CONTRACTOR                    $                 -      $               -   $        162,400
                                                                                                                                      162,400     $        682,700
                                                                                                                                                           682,700   $          845,100
                                                                                                                                                                                845,100
                                     SECONDARY CONTRACTOR
                                     SECONDARY    CONTRACTOR                    $                 -      $               -   $            -       $
                                                                                                                                                  $      3,139,300
                                                                                                                                                         3,139,300   $        3,139,300
                                                                                                                                                                              3,139,300
                                   PROFESSIONAL ENGINEERING                     $                 -      $               -   $            -       $        157,000
                                                                                                                                                           157,000   $          157,000
                                                                                                                                                                                157,000
                                         INSPECTION SERVICES
                                         INSPECTION    SERVICES                 $                 -      $               -   $         29,600
                                                                                                                                       29,600     $        221,900
                                                                                                                                                           221,900   $          251,500
                                                                                                                                                                                251,500
                                       RADIOGRAPHY SERVICES
                                       RADIOGRAPHY     SERVICES                 $                 -      $               -   $            -       $          4,700
                                                                                                                                                             4,700   $            4,700
                                                                                                                                                                                  4,700
                                 ENVIRONMENTAL CONTRACTOR
                                 ENVIRONMENTAL    CONTRACTOR                    $                 -      $               -   $            -       $         21,700
                                                                                                                                                            21,700   $           21,700
                                                                                                                                                                                 21,700
                               ELECTRICAL
                               ELECTRICAL && INSTRUMENTATION
                                             INSTRUMENTATION                    $                 -      $               -   $            -       $             -    $               -
                                   RIGHT OF WAY CONTRACTOR                      $                 -      $               -   $            -       $             -    $               -
                                         SURVEY CONTRACTOR
                                         SURVEY   CONTRACTOR                    $                 -      $               -   $            -       $             -    $               -
                                      OUTSIDE LEGAL
                                      OUTSIDE  LEGAL SERVICES
                                                       SERVICES                 $                 -      $               -   $            -       $             -    $               -
                                               ROW &
                                               ROW  & DAMAGES
                                                       DAMAGES                  $                 -      $               -   $            -       $         10,000
                                                                                                                                                            10,000   $           10,000
                                                                                                                                                                                 10,000
                                                   PERMIT FEES
                                                   PERMIT  FEES                 $                 -      $               -   $            -       $             -    $               -
                                                       GAS LOSS
                                                       GAS LOSS                 $                 -      $               -   $            -       $             -    $               -
                                                     SUBTOTAL
                                                     SUBTOTAL                   $                 -      $               -   $        192,000
                                                                                                                                      192,000     $
                                                                                                                                                  $      5,138,100
                                                                                                                                                         5,138,100   $
                                                                                                                                                                     $        5,330,100
                                                                                                                                                                              5,330,100
                                 CONSTRUCTION CONTINGENCY
                                 CONSTRUCTION    CONTINGENCY                    $                 -      $               -   $         19,200
                                                                                                                                       19,200     $        513,810
                                                                                                                                                           513,810   $
                                                                                                                                                                     $          533,010
                                                                                                                                                                                533,010
                                                          AFUDC
                                                          AFUDC                 $                 -      $               -   $            -       $         79,699
                                                                                                                                                            79,699   $
                                                                                                                                                                     $           79,699
                                                                                                                                                                                 79,699
                                                     SUBTOTAL
                                                     SUBTOTAL                   $                 -      $               -   $        211,200
                                                                                                                                      211,200     $
                                                                                                                                                  $      5,731,609
                                                                                                                                                         5,731,609   $
                                                                                                                                                                     $        5,942,809
                                                                                                                                                                              5,942,809
                              CAPITALIZED OVERHEAD
                              CAPITALIZED  OVERHEAD (BURDEN)
                                                       (BURDEN)                 $                 -      $               -   $            -       $
                                                                                                                                                  $            --    $
                                                                                                                                                                     $              --
                                                      GROSS-UP
                                                 TAX GROSS-UP                   $                 -      $               -   $            -       $
                                                                                                                                                  $            --    $
                                                                                                                                                                     $              --
                                                   ESCALATION                   $                 -      $               -   $            -       $
                                                                                                                                                  $            --    $
                                                                                                                                                                     $              --
                                               RISK INSURANCE                   $                 -      $               -   $            -       $
                                                                                                                                                  $            --    $
                                                                                                                                                                     $              -
                                        ESTIMATED TOTAL
                                       ESTIMATED   TOTAL COST
                                                           COST                 $                 -      $               -   $
                                                                                                                             $        211,200
                                                                                                                                      211,200     $      5,731,609
                                                                                                                                                         5,731,609   $
                                                                                                                                                                     $        5,942,809
                                                                                                                                                                              5,942,809

                                                              Price/Ton:
                                        Applicable) Escalated
                                    (If Applicable) Escalated Price/Ton:
                                                           Contingency:                 10%
                                                                                        10%                      10%
                                                                                                                 10%               10%
                                                                                                                                   10%                  10%
                                                                                                                                                        10%
                                                        In-Service Date:
                                                                   Date:               May-24                   May-24            May-24               May-24


ASSUMPTIONS
ASSUMPTIONS
      Include (Yes/No)
      Include (Yes/No)      Assumptions
                            Assumptions
            Yes
            Yes             See Assumptions Tab     ** Estimate shelf life is 6 months from published date.




         Revision
         Revision                   Date
                                    Date                                  Notes
                                                                          Notes                                          Approval
                                                                                                                         Approval                       Name
                                                                                                                                                        Name                Date
                                                                                                                                                                            Date
                                                                                                                     Project Manager
                                                                                                                     Project Manager
                                                                                                                 Project Manager Director
                                                                                                                 Project Manager Director
                                                                                                                     Project Controls
                                                                                                                     Project Controls
                                                                                                                      Vice President
                                                                                                                      Vice President

                                                                                                                                                                                   n
AUTHORITY LEVELS:
AUTHORITY LEVELS:                                                                                                                                      Escalation Rates
                                                                                                                                                       Escalation Rates FV=PV(1+i)
                                                                                                                                                                        FV=PV(1+i)"
             $25,000,000 PM, PM Director,
           < $25,000,000        Director, Project
                                          Project Controls
                                                  Controls                                                                                                  Material:      0.0%
                                                                                                                                                                           0.0%
             $25,000,000 PM, PM Director,
           > $25,000,000        Director, Project
                                          Project Controls, VP                                                                                                Other:       0.0%
                                                                                                                                                                           0.0%
USCA Case #23-1157   Document #2009836                  2SLB Turbo
                                         Filed: 07/27/2023
                                                        2SLB Turbo & PCC
                                                                Page
                                                                   & PCC Installation
                                                                       358    of 430
                                                                         Installation
                                                                         6
                                                               – Exhibit 6
                                                 Kinder Morgan —




                        EXHIBIT 66
                                                                                                                                                                                             Summary
USCA Case #23-1157                                Document #2009836                                                               2SLB Turbo
                                                                                                                   Filed: 07/27/2023
                                                                                                                                  2SLB Turbo & PCC
                                                                                                                                          Page
                                                                                                                                             & PCC Installation
                                                                                                                                                 359    of 430
                                                                                                                                                   Installation
                                                                              KINDER MORGAN
          PROJECT NAME
        COMPANY NAME                                                                                                        COMPANY NO.
         REQUESTED BY                                                                                                       PREPARED BY
          ESTIMATE NO.                                                                                                 ORIGINAL EST. DATE                       06/04/22
          REVISION NO.                            BASE                                                         CONSTRUCTION CONTINGENCY                           10%
         REVISION DATE                                                                                                         OVERHEAD                          0.00%
     PROJECT MANAGER
                STATE                                                                                                       TAX GROSS UP                         0.00%
               COUNTY                                                                                                       PROJECT TYPE                    Sustaining Capital
                                                                                                                               IN-SERVICE                        Nov-25
                                                                                                                 ESTIMATE ACCURACY LEVEL                         Class 3

             RWIP SCOPE:     Removal of existing equipment for retrofit



                             Retrofits to meet proposed standards for existing reciprocating unit      using combustion modifications (PCCs, turbochargers, control panel
             CWIP SCOPE:     upgrade, etc., as needed) and oxidation catalyst. All ancillaries and infrastructure must be considered and modified as needed to support the
                             engine modifications for ongoing compliant operation.



                          ASSET CAPABILITIES: Vol @ ### psi                                                                                                     Pressure
                    Minimum                   MMCFD                                                                                    Minimum                      psig
                    Maximum                   MMCFD                                                                                      MAOP                       psig
                                                                                                                              Normal Operating                      psig
                                         Metrics:          Dia (Inch) =                                                       Delivery Pressure                     psig
                                                       Length (Miles) =
                                        Aggregate Base Lay (Per Ft) =
                                                   Total Cost (Per Ft) =
                                               Contractor Cost (DIM) =
                                    Directs + Contingency Cost (DIM) =


                    ESTIMATE SUMMARY                                                   Tab 12                    Tab 13            RWIP                CWIP                TOTAL


                                     MATERIAL (INCL SALES TAX)                  $                 -      $                -   $            -      $     4,004,900   $            4,004,900
                                         COMPANY LABOR COST                     $                 -      $                -   $            -      $       161,900   $              161,900
                              PM, ENG, LAND, ENVIRO - EXPENSE                   $                 -      $                -   $            -      $        23,100   $               23,100
                          PRIMARY CONSTRUCTION CONTRACTOR                       $                 -      $                -   $         64,200    $       674,600   $              738,800
                                     SECONDARY CONTRACTOR                       $                 -      $                -   $         10,700    $       973,700   $              984,400
                                   PROFESSIONAL ENGINEERING                     $                 -      $                -   $            -      $        50,100   $               50,100
                                         INSPECTION SERVICES                    $                 -      $                -   $          4,800    $        69,200   $               74,000
                                       RADIOGRAPHY SERVICES                     $                 -      $                -   $            -      $         1,900   $                1,900
                                 ENVIRONMENTAL CONTRACTOR                       $                 -      $                -   $            -      $        16,100   $               16,100
                               ELECTRICAL & INSTRUMENTATION                     $                 -      $                -   $            -      $           -     $                  -
                                   RIGHT OF WAY CONTRACTOR                      $                 -      $                -   $            -      $           -     $                  -
                                         SURVEY CONTRACTOR                      $                 -      $                -   $            -      $           -     $                  -
                                      OUTSIDE LEGAL SERVICES                    $                 -      $                -   $            -      $           -     $                  -
                                              ROW & DAMAGES                     $                 -      $                -   $            -      $           -     $                  -
                                                  PERMIT FEES                   $                 -      $                -   $            -      $           -     $                  -
                                                      GAS LOSS                  $                 -      $                -   $            -      $           -     $                  -
                                                     SUBTOTAL                   $                 -      $                -   $         79,700    $     5,975,500   $            6,055,200
                                 CONSTRUCTION CONTINGENCY                       $                 -      $                -   $          7,970    $       597,550   $              605,520
                                                        AFUDC                   $                 -      $                -   $            -      $       178,543   $              178,543
                                                     SUBTOTAL                   $                 -      $                -   $         87,670    $     6,751,593   $            6,839,263
                              CAPITALIZED OVERHEAD (BURDEN)                     $                 -      $                -   $            -      $           -     $                  -
                                                 TAX GROSS-UP                   $                 -      $                -   $            -      $           -     $                  -
                                                   ESCALATION                   $                 -      $                -   $            -      $           -     $                  -
                                               RISK INSURANCE                   $                 -      $                -   $            -      $           -     $                  -
                                       ESTIMATED TOTAL COST                     $                 -      $                -   $         87,670    $     6,751,593   $            6,839,263

                                                              Price/Ton:
                                    (If Applicable) Escalated Price/Ton:
                                                           Contingency:                 10%                       10%              10%                 10%
                                                        In-Service Date:               Nov-25                    Nov-25           Nov-25              Nov-25

ASSUMPTIONS
     Include (Yes/No)       Assumptions
           Yes              See Assumptions Tab     "** Estimate shelf life is 6 months from published date.




         Revision                   Date                                  Notes                                          Approval                      Name                 Date
                                                                                                                     Project Manager
                                                                                                                 Project Manager Director
                                                                                                                     Project Controls
                                                                                                                      Vice President

AUTHORITY LEVELS:                                                                                                                                                      FV=PV(1+i)n
                                                                                                                                                      Escalation Rates FV=PV(1+i)"
           < $25,000,000 PM, PM Director, Project Controls                                                                                                 Material:      0.0%
           > $25,000,000 PM, PM Director, Project Controls, VP                                                                                               Other:       0.0%
USCA Case #23-1157   Document #2009836   Filed: 07/27/2023   4SLB
                                                              Page
                                                             4SLB SCR Installation
                                                                    360
                                                                  SCR      of 430
                                                                      Installation
                                                             – Exhibit 77
                                               Kinder Morgan —




                        EXHIBIT 77
                                                                                                                                                                                           Summary
                                                                                                                                                                                           Summary
  USCA Case #23-1157                               Document #2009836                                              Filed: 07/27/2023                       4SLB
                                                                                                                                                           Page
                                                                                                                                                          4SLB SCR Installation
                                                                                                                                                                 361
                                                                                                                                                               SCR      of 430
                                                                                                                                                                   Installation
                                                                              KINDER MORGAN
          PROJECT NAME
        COMPANY NAME                                                                                                       COMPANY NO.
        REQUESTED BY                                                                                                       PREPARED BY
          ESTIMATE NO.                                                                                                ORIGINAL EST. DATE                              09/08/21
          REVISION NO.                            BASE                                                        CONSTRUCTION CONTINGENCY                                  10%
         REVISION DATE                                                                                                        OVERHEAD                                13.10%
     PROJECT MANAGER
                 STATE                                                                                                     TAX GROSS UP                            0.00%
                                                                                                                                                                   0.00%
               COUNTY                                                                                                      PROJECT TYPE                              Economics (&
                                                                                                                                                       KM Funded for Economics (& MC)
                                                                                                                                                                                  MC)
                                                                                                                              IN-SERVICE                           Oct-23
                                                                                                                                                                   Oct-23
                                                                                                                ESTIMATE ACCURACY LEVEL                           Class 3
  Emission Control System
                              SCR Emissions control
                                            control system provided by                         This cost
                                                                                                    cost is a per unit cost.
                                                                                                                       cost.
                  SCOPE:


     Aux Building SCOPE:                      building and
                              Install new AUX building     Air Compressor
                                                       and Air            to be
                                                               Compressor to be used
                                                                                used for
                                                                                     for SCR Installation.
                                                                                         SCR Installation.


                          ASSET CAPABILITIES: Vol @ Mt
                                                    ### psi                                                                                                           Pressure
                                                                                                                                                                      Pressure
                    Minimum                   MMCFD                                                                                     Minimum                           psig
                                                                                                                                                                          psig
                    Maximum                   MMCFD                                                                                       MAOP                            psig
                                                                                                                                                                          psig
                                                                                                                               Normal Operating                           psig
                                         Metrics:           Dia (Inch) =                                                       Delivery Pressure                         psig
                                                       Length (Miles) =
                                         Aggregate Base
                                         Aggregate  Base Lay
                                                          Lay (Per
                                                              (Per Ft) =
                                                   Total Cost (Per Ft) =
                                               Contractor Cost (DIM) =
                                    Directs + Contingency Cost (DIM) =

                                                                                                                                        Control
                                                                                                                               Emission Control
                    ESTIMATE SUMMARY                                                                                              System
                                                                                                                                                       Aux Building              TOTAL


                                    MATERIAL (INCL SALES TAX)                                                                  $       687,900     $         661,800     $         1,349,700
                                         COMPANY LABOR COST                                                                    $        71,200
                                                                                                                                        71,200     $          44,800
                                                                                                                                                              44,800     $           116,000
                                                                                                                                                                                     116,000
                              PM, ENG, LAND, ENVIRO - EXPENSE                                                                  $         3,000
                                                                                                                                         3,000     $           2,800     $             5,800
                          PRIMARY CONSTRUCTION CONTRACTOR                                                                      $     1,208,600
                                                                                                                                     1,208,600     $         690,800
                                                                                                                                                             690,800     $         1,899,400
                                                                                                                                                                                   1,899,400
                                     SECONDARY CONTRACTOR                                                                      $     1,294,300     $             -       $         1,294,300
                                  PROFESSIONAL ENGINEERING                                                                     $       202,200
                                                                                                                                       202,200     $         187,000
                                                                                                                                                             187,000     $           389,200
                                                                                                                                                                                     389,200
                                         INSPECTION SERVICES                                                                   $       269,900     $          69,200
                                                                                                                                                              69,200     $           339,100
                                       RADIOGRAPHY SERVICES                                                                    $         3,800
                                                                                                                                         3,800     $           2,800
                                                                                                                                                               2,800     $             6,600
                                                                                                                                                                                       6,600
                                 ENVIRONMENTAL CONTRACTOR                                                                      $        34,300
                                                                                                                                        34,300     $          20,600     $            54,900
                               ELECTRICAL & INSTRUMENTATION                                                                    $           -       $             -       $               -
                                   RIGHT OF WAY CONTRACTOR                                                                     $           -       $          21,600
                                                                                                                                                              21,600     $            21,600
                                                                                                                                                                                      21,600
                                         SURVEY CONTRACTOR                                                                     $        10,800
                                                                                                                                        10,800     $          10,800
                                                                                                                                                              10,800     $            21,600
                                                                                                                                                                                      21,600
                                      OUTSIDE LEGAL SERVICES                                                                   $           -       $             -       $               -
                                              ROW & DAMAGES                                                                    $        15,000
                                                                                                                                        15,000     $          15,000
                                                                                                                                                              15,000     $            30,000
                                                                                                                                                                                      30,000
                                                  PERMIT FEES                                                                  $           -       $             -       $               -
                                                     GAS LOSS                                                                  $         9,600     $             -       $             9,600
                                                    SUBTOTAL                                                                   $
                                                                                                                               $     3,810,600
                                                                                                                                     3,810,600     $       1,727,200     $         5,537,800
                                                                                                                                                                                   5,537,800
                                 CONSTRUCTION CONTINGENCY                                                                      $       381,060
                                                                                                                                       381,060     $         172,720     $           553,780
                                                                                                                                                                                     553,780
                                                        AFUDC
                                                        AFUDC                                                                  $       100,167     $         128,696
                                                                                                                                                             128,696     $           228,863
                                                                                                                                                                                     228,863
                                                    SUBTOTAL                                                                   $     4,291,827     $       2,028,616
                                                                                                                                                           2,028,616     $         6,320,443
                              CAPITALIZED OVERHEAD (BURDEN)                                                                    $           -       $             -       $               -
                                                TAX GROSS-UP                                                                   $           -       $             -       $               -
                                                   ESCALATION                                                                  $           -       $             -       $               -
                                              RISK INSURANCE                                                                   $           -       $             -       $               -
                                        ESTIMATED TOTAL COST
                                                         COST                                                                  $     4,291,827     $
                                                                                                                                                   $       2,028,616     $         6,320,443
                                                                                                                                                                                   6,320,443

                                                              Price/Ton:
                                    (If Applicable) Escalated Price/Ton:
                                                           Contingency:                 10%                      10%                10%                   10%
                                                                   Date:
                                                        In-Service Date:               Oct-23
                                                                                       Oct-23                   Oct-23
                                                                                                                Oct-23             Oct-23
                                                                                                                                   Oct-23                Oct-23
                                                                                                                                                         Oct-23

ASSUMPTIONS
      Include (Yes/No)
      Include (Yes/No)      Assumptions
                            Assumptions
            Yes
            Yes             See Assumptions
                            See Assumptions Tab
                                            Tab     ** Estimate
                                                    "* Estimate shelf
                                                                shelf life
                                                                      life is
                                                                           is 6
                                                                              6 months
                                                                                months from
                                                                                       from published
                                                                                            published date.
                                                                                                      date.




         Revision                   Date                                  Notes                                         Approval                         Name
                                                                                                                                                         Name                    Date
                                                                                                                    Project Manager
                                                                                                                    Project Manager
                                                                                                                Project Manager
                                                                                                                        Manager Director
                                                                                                                    Project Controls
                                                                                                                     Vice President

                                                                                                                                                                                    n
AUTHORITY LEVELS:                                                                                                                                                        FV=PV(1+i)
                                                                                                                                                        Escalation Rates FV=PV(1+i)"
           < $25,000,000
           < $25,000,000 PM,
                         PM, PM
                             PM Director,
                                Director, Project
                                          Project Controls
                                                  Controls                                                                                                   Material:      0.0%
                                                                                                                                                                            0.0%
           > $25,000,000 PM, PM Director, Project Controls, VP                                                                                                 Other:       0.0%
USCA Case #23-1157   Document #2009836                   4SLB HPF
                                         Filed: 07/27/2023
                                                         4SLB HPF & PCC
                                                               Page
                                                                  & PCC Installation
                                                                      362    of 430
                                                                        Installation
                                                              – Exhibit 88
                                                Kinder Morgan —




                        EXHIBIT 88
                                                                                                                                                                                          Summary
                                                                                                                                                                                          Summary
USCA Case #23-1157                                Document #2009836                                                                4SLB HPF
                                                                                                                   Filed: 07/27/2023
                                                                                                                                   4SLB HPF & PCC
                                                                                                                                         Page
                                                                                                                                            & PCC Installation
                                                                                                                                                363    of 430
                                                                                                                                                  Installation
                                                                              KINDER MORGAN
          PROJECT NAME
        COMPANY NAME                                                                                                       COMPANY NO.
        REQUESTED BY                                                                                                       PREPARED BY
          ESTIMATE NO.                                                                                                ORIGINAL EST. DATE                         08/24/21
                   NO.
          REVISION NO.                            BASE                                                        CONSTRUCTION CONTINGENCY                             10%
         REVISION DATE                                                                                                        OVERHEAD                           12.97%
                                                                                                                                                                 12.97%
     PROJECT MANAGER
                 STATE                                                                                                     TAX GROSS UP                           0.00%
                                                                                                                                                                  • • c ,,
               COUNTY                                                                                                      PROJECT TYPE               KM Funded
                                                                                                                                                      KM Funded for
                                                                                                                                                                for Economics
                                                                                                                                                                    Economics (&
                                                                                                                                                                              (& MC)
                                                                                                                                                                                 MC)
                                                                                                                              IN-SERVICE                          Oct-23
                                                                                                                                                                  Oct-23
                                                                                                                ESTIMATE ACCURACY LEVEL                          Class 3
                                                                                                                                                                 Class   3

             RWIP SCOPE:               of existing equipment to be replaced.
                               Removal of



                               This unit is a 4SLB Ingersoll-Rand KVS-412 unit that will need to meet 1.5 g/hp-hr Nox. To achieve this reduction high pressure fuel and ePCC's
             CWIP SCOPE:
                               will need
                               will need to
                                          to be
                                             be added
                                                added plus
                                                      plus the
                                                           the turbocharger
                                                               turbocharger re-aeroed.
                                                                            re-aeroed.



                                CAPABILITIES: Vol @ ### psi
                          ASSET CAPABILITIES:                                                                                                                    Pressure
                                                                                                                                                                 Pressure
                    Minimum                   MMCFD                                                                                    Minimum                       psig
                                                                                                                                                                    psig
                    Maximum                   MMCFD                                                                                      MAOP                        psig
                                                                                                                                                                    psig
                                                                                                                              Normal Operating
                                                                                                                                      Operating                      psig
                                                                                                                                                                    psig
                                        Metrics:
                                        Metrics:            Dia (Inch) =                                                      Delivery Pressure
                                                                                                                              Delivery Pressure                      psig
                                                                                                                                                                    psig
                                                               (Miles) =
                                                       Length (Miles)  =
                                         Aggregate Base
                                        Aggregate   Base Lay
                                                          Lay (Per
                                                              (Per Ft) =
                                                   Total Cost
                                                   Total Cost (Per
                                                              (Per Ft)
                                                                   Ft) =
                                                                       =
                                               Contractor Cost (DIM) =
                                               Contractor
                                    Directs +
                                    Directs + Contingency Cost (DIM) =


                    ESTIMATE SUMMARY                                                   Tab 12                   Tab 13
                                                                                                                Tab 13             RWIP                 CWIP                TOTAL


                                     MATERIAL (INCL SALES TAX)                  $                -       $               -   $            -       $      1,288,300
                                                                                                                                                         1,288,300   $
                                                                                                                                                                     $        1,288,300
                                                                                                                                                                              1,288,300
                                          COMPANY LABOR COST                    $                -       $               -   $
                                                                                                                             $            -       $         55,800
                                                                                                                                                            55,800   $
                                                                                                                                                                     $           55,800
                                                                                                                                                                                 55,800
                              PM, ENG, LAND, ENVIRO - EXPENSE                   $                -       $               -   $
                                                                                                                             $            --      $
                                                                                                                                                  $          3,200
                                                                                                                                                             3,200   $
                                                                                                                                                                     $            3,200
                                                                                                                                                                                  3,200
                          PRIMARY CONSTRUCTION CONTRACTOR                       $                -       $               -   $
                                                                                                                             $        162,400
                                                                                                                                      162,400     $
                                                                                                                                                  $        684,000
                                                                                                                                                           684,000   $
                                                                                                                                                                     $          846,400
                                                                                                                                                                                846,400
                                      SECONDARY CONTRACTOR                      $                -       $               -   $            --      $
                                                                                                                                                  $      3,085,100
                                                                                                                                                         3,085,100   $
                                                                                                                                                                     $        3,085,100
                                   PROFESSIONAL ENGINEERING                     $                -       $               -   $            --      $
                                                                                                                                                  $        157,000
                                                                                                                                                           157,000   $
                                                                                                                                                                     $          157,000
                                                                                                                                                                                157,000
                                           INSPECTION SERVICES                  $                -       $               -   $         29,600
                                                                                                                                       29,600     $
                                                                                                                                                  $        221,900
                                                                                                                                                           221,900   $
                                                                                                                                                                     $          251,500
                                                                                                                                                                                251,500
                                        RADIOGRAPHY SERVICES                    $                -       $               -   $            -       $          4,700
                                                                                                                                                             4,700   $
                                                                                                                                                                     $            4,700
                                                                                                                                                                                  4,700
                                 ENVIRONMENTAL CONTRACTOR                       $                -       $               -   $            -       $         21,700
                                                                                                                                                            21,700   $
                                                                                                                                                                     $           21,700
                                                                                                                                                                                 21,700
                               ELECTRICAL & INSTRUMENTATION                     $                -       $               -   $            --      $
                                                                                                                                                  $            --    $
                                                                                                                                                                     $              -
                                    RIGHT OF WAY CONTRACTOR                     $                -       $               -   $            --      $
                                                                                                                                                  $            --    $
                                                                                                                                                                     $              -
                                          SURVEY CONTRACTOR                     $                -       $               -   $
                                                                                                                             $            -       $            --    $
                                                                                                                                                                     $              -
                                       OUTSIDE LEGAL SERVICES                   $                -       $               -   $
                                                                                                                             $            -       $            --    $
                                                                                                                                                                     $              --
                                                ROW & DAMAGES
                                                ROW                             $                -       $               -   $
                                                                                                                             $            --      $
                                                                                                                                                  $         10,000
                                                                                                                                                            10,000   $
                                                                                                                                                                     $           10,000
                                                                                                                                                                                 10,000
                                                   PERMIT FEES                  $                -       $               -   $
                                                                                                                             $            --      $
                                                                                                                                                  $            --    $
                                                                                                                                                                     $              --
                                                       GAS LOSS
                                                       GAS LOSS                 $                -       $               -   $
                                                                                                                             $            --      $
                                                                                                                                                  $            --    $
                                                                                                                                                                     $              --
                                                      SUBTOTAL                  $                -       $               -   $
                                                                                                                             $        192,000
                                                                                                                                      192,000     $
                                                                                                                                                  $      5,531,700
                                                                                                                                                         5,531,700   $
                                                                                                                                                                     $        5,723,700
                                                                                                                                                                              5,723,700
                                 CONSTRUCTION CONTINGENCY                       $                -       $               -   $
                                                                                                                             $         19,200
                                                                                                                                       19,200     $
                                                                                                                                                  $        553,170
                                                                                                                                                           553,170   $
                                                                                                                                                                     $          572,370
                                                                                                                                                                                572,370
                                                         AFUDC
                                                         AFUDC                  $                -       $               -   $
                                                                                                                             $            --      $
                                                                                                                                                  $        138,872   $          138,872
                                                      SUBTOTAL                  $                -       $               -   $
                                                                                                                             $        211,200
                                                                                                                                      211,200     $
                                                                                                                                                  $      6,223,742   $        6,434,942
                              CAPITALIZED OVERHEAD (BURDEN)                     $                -       $               -   $
                                                                                                                             $            --      $
                                                                                                                                                  $            --    $
                                                                                                                                                                     $              -
                                                      GROSS-UP
                                                  TAX GROSS-UP                  $                -       $               -   $
                                                                                                                             $            --      $
                                                                                                                                                  $            --    $
                                                                                                                                                                     $              -
                                                    ESCALATION                  $                -       $               -   $
                                                                                                                             $            --      $
                                                                                                                                                  $            --    $
                                                                                                                                                                     $              -
                                                RISK INSURANCE                  $                -       $               -   $
                                                                                                                             $            --      $
                                                                                                                                                  $            --    $
                                                                                                                                                                     $              -
                                                           COST
                                         ESTIMATED TOTAL COST                   $                -       $               -   $
                                                                                                                             $        211,200
                                                                                                                                      211,200     $
                                                                                                                                                  $      6,223,742   $        6,434,942

                                                              Price/Ton:
                                    (If Applicable) Escalated Price/Ton:
                                                           Contingency:                 10%
                                                                                        10%                      10%
                                                                                                                 10%                10%
                                                                                                                                    10%                  10%
                                                                                                                                                         10%
                                                        In-Service Date:               Oct-23                   Oct-23             Oct-23               Oct-23


ASSUMPTIONS
      Include (Yes/No)
      Include (Yes/No)      Assumptions
                            Assumptions
            Yes             See Assumptions Tab     ** Estimate shelf life is 6 months from published date.




         Revision                   Date
                                    Date                                 Notes
                                                                         Notes                                           Approval                       Name
                                                                                                                                                        Name                Date
                                                                                                                                                                            Date
                                                                                                                     Project Manager
                                                                                                                     Project Manager
                                                                                                                 Project Manager
                                                                                                                 Project Manager Director
                                                                                                                     Project Controls
                                                                                                                     Project Controls
                                                                                                                           President
                                                                                                                      Vice President

                                                                                                                                                                                   n
AUTHORITY LEVELS:                                                                                                                                      Escalation Rates FV=PV(1+1)"
                                                                                                                                                       Escalation       FV=PV(1+i)
           < $25,000,000
             $25,000,000 PM, PM Director, Project Controls
                                Director, Project Controls                                                                                                  Material:      0.0%
                                                                                                                                                                           0.0%
           > $25,000,000
             $25,000,000 PM, PM Director, Project Controls, VP
                                Director, Project                                                                                                             Other:       0.0%
                                                                                                                                                                           0.0%
USCA Case #23-1157   Document #2009836                  4SLB Clean
                                         Filed: 07/27/2023
                                                        4SLB Clean
                                                               PageBurn364
                                                                   Burn Modification
                                                                              of 430
                                                                        Modification
                                                              – Exhibit 99
                                                Kinder Morgan —




                        EXHIBIT 99
                                                                                                                                                                      Summary




USCA Case #23-1157                          Document #2009836                                                    4SLB Clean
                                                                                                  Filed: 07/27/2023
                                                                                                                 4SLB Clean
                                                                                                                        PageBurn365
                                                                                                                            Burn Modification
                                                                                                                                       of 430
                                                                                                                                 Modification
                                                       KINDER MORGAN - MIDSTREAM
       PROJECT NAME
      COMPANY NAME                                                                                   COMPANY NO.
       REQUESTED BY                                                                                  PREPARED BY
        ESTIMATE NO.                                                                            ORIGINAL EST. DATE                           06/09/22
        REVISION NO.                         1.0                                        CONSTRUCTION CONTINGENCY                              10.0%
       REVISION DATE                       06/09/22                                                     OVERHEAD                              16.0%
       PROJ MANAGER
                                                                                                                 GROSS UP                        9.0%
                                                                                                                                                 •. o'
                                                                              SCOPE
    CAT Low
    CAT Low emissions
            emissions       Installation cleanburn
                            Installation           modifications to
                                         cleanbum modifications     Caterpillar unit
                                                                 to Caterpillar unit with serial number
                                                                                     with serial number starting
                                                                                                        starting with
                                                                                                                 with 4EK,
                                                                                                                      4EK, as
                                                                                                                           as well
                                                                                                                              well as
                                                                                                                                   as miscellaneous
                                                                                                                                      miscellaneous ancillary
                                                                                                                                                    ancillary
           kit SCOPE:       equipment to allow unit to meet 1.5 g/hp-hr NOx limit required by the Good
                                                                                                     Good Neighbor Rule.

          Tab 2 SCOPE:


          Tab 3
          Tab 3 SCOPE:


          Tab 4
          Tab 4 SCOPE:


          Tab 5
          Tab 5 SCOPE:


                                                                     ASSET CAPABILITIES:




  ESTIMATE SUMMARY                       CAT Low emissions kit             Tab 2              Tab 3               Tab 4              Tab 5               TOTAL
                                     PIPE $           -     $                      -     $            -     $             -    $             -      $
                                                                                                                                                    $          -
                                 VALVES $  $          --    $                      -     $            -     $             -    $             -      $
                                                                                                                                                    $          -
                                FITTINGS $ $          --    $                      -     $            -     $             -    $             -      $
                                                                                                                                                    $          -
              MEASUREMENT EQUIPMENT $                 -     $                      -     $            -     $             -    $             -      $
                                                                                                                                                    $          -
                           EFM & SCADA $              -     $                      -     $            -     $             -    $             -      $
                                                                                                                                                    $          -
               COMPRESSION EQUIPMENT $            241,516 $                        -     $            -     $             -    $             -      $      241,516
         PROCESS / TREATING EQUIPMENT $
         PROCESS/TREATING                             -     $                      -     $            -     $             -    $             -      $          -
                                VESSELS $
                     PRESSURE VESSELS      $          --    $                      -     $            -     $             -    $             -      $          -
                  DIRECT FIRED HEATERS $              -     $                      -     $            -     $             -    $             -      $
                                                                                                                                                    $          -
                      HEAT EXCHANGERS $               -     $                      -     $            -     $             -    $             -      $
                                                                                                                                                    $          -
                                   TANKS $ $          --    $                      -     $            -     $             -    $             -      $
                                                                                                                                                    $          -
                                  PUMPS $  $          -     $                      -     $            -     $             -    $             -      $
                                                                                                                                                    $          -
             PLC HARDWARE / SOFTWARE $                -     $                      -     $            -     $             -    $             -      $
                                                                                                                                                    $          -
             MISC MATERIALS & SUPPLIES $   $          --    $                      -     $            -     $             -    $             -      $
                                                                                                                                                    $          -
                  TOTAL MATERIAL COST $    $      241,516 $
                                                  241,516                          -     $            -     $             -    $             -      $      241,516
                                                                                                                                                           241,516
                                    COST $
                   TOTAL COMPANY COST      $       11,760 $
                                                   11,760                          -     $            -     $             -    $             -      $       11,760
                                                                                                                                                            11,760
   PIPELINE CONSTRUCTION CONTRACTOR $                 -     $                      -     $            -     $             -    $             -      $
                                                                                                                                                    $          -
   FACILITY CONSTRUCTION CONTRACTOR
                           CONTRACTOR $    $          --    $                      -     $            -     $             -    $             -      $
                                                                                                                                                    $          -
                    CONSTRUCTION COST
             TOTAL CONSTRUCTION     COST $ $           --   $                      -     $            -     $             -    $             -      $
                                                                                                                                                    $          -
            PROFESSIONAL ENGINEERING $     $       10,000 $                        -     $            -     $             -    $             -      $
                                                                                                                                                    $       10,000
                              SERVICES $
                   INSPECTION SERVICES     $       11,916 $                        -     $            -     $             -    $             -      $
                                                                                                                                                    $       11,916
                 RADIOGRAPHY SERVICES $               -     $                      -     $            -     $             -    $             -      $
                                                                                                                                                    $          -
           ENVIRONMENTAL CONTRACTOR $                 -     $                      -     $            -     $             -    $             -      $
                                                                                                                                                    $          -
         ELECTRICAL & INSTRUMENTATION $            16,323 $                        -     $            -     $             -    $             -      $
                                                                                                                                                    $       16,323
                           CONTRACTOR $
             RIGHT OF WAY CONTRACTOR       $          --    $                      -     $            -     $             -    $             -      $
                                                                                                                                                    $          -
                   SURVEY CONTRACTOR $                -     $                      -     $            -     $             -    $             -      $
                                                                                                                                                    $          -
                OUTSIDE LEGAL SERVICES
                              SERVICES $   $          --    $                      -     $            -     $             -    $             -      $
                                                                                                                                                    $          -
                TOTAL OUTSIDE SERVICES
                              SERVICES $   $       38,239
                                                   38,239 $                        -     $            -     $             -    $             -      $
                                                                                                                                                    $       38,239
                                                                                                                                                            38,239
                               DAMAGES $
                        ROW & DAMAGES      $          --    $                      -     $            -     $             -    $             -      $
                                                                                                                                                    $          -
                            PERMITTING $   $          --    $                      -     $            -     $             -    $             -      $
                                                                                                                                                    $          -
                              GAS LOSS $              -     $                      -     $            -     $             -    $             -      $
                                                                                                                                                    $          -
                              SUBTOTAL $          291,515 $
                                                  291,515                          -     $            -     $             -    $             -      $      291,515
                                                                                                                                                           291,515
                          CONTINGENCY $
           CONSTRUCTION CONTINGENCY        $       29,152 $                        -     $            -     $             -    $             -      $
                                                                                                                                                    $       29,152
                                  AFUDC $  $        1,463 $                        -     $            -     $             -    $             -      $
                                                                                                                                                    $        1,463
                              SUBTOTAL $          322,130
                                                  322,130 $                        -     $            -     $             -    $             -      $      322,130
                                                                                                                                                           322,130
        CAPITALIZED OVERHEAD (BURDEN) $               -     $                      -     $            -     $             -    $             -      $
                                                                                                                                                    $          -
                              GROSS UP
                          TAX GROSS    UP $$          --    $                      -     $            -     $             -    $             -      $
                                                                                                                                                    $          -
                 GROSS ESTIMATED COST $           322,130 $                        -     $            -     $             -    $             -      $      322,130

  ASSUMPTIONS
     Include (Yes/No)    Assumptions
           Yes
           Yes           See
                         See Scoping Tab



        Revision                  Date
                                  Date                                     Notes
                                                                           Notes                               Approval              Name
                                                                                                                                     Name                Date
                                                                                                                                                         Date
                                                                                                           PM                                             1/27/2021
                                                                                                           Director
                                                                                                           VP

  AUTHORITY LEVELS:
              < $100,000 PROJECT MANAGER
  $100,000 to $5,000,000 MANAGER
            > $5,000,000 DIRECTOR AND VP
            >
USCA Case #23-1157   Document #2009836                  4SLB Clean
                                         Filed: 07/27/2023
                                                        4SLB Clean
                                                               PageBurn366
                                                                   Burn Modification
                                                                              of 430
                                                                        Modification
                                                              – Exhibit 10
                                                Kinder Morgan —




                        EXHIBIT 10
                                                                                                                                                                         Summary
USCA Case #23-1157                            Document #2009836                                                      4SLB Clean
                                                                                                      Filed: 07/27/2023
                                                                                                                     4SLB Clean
                                                                                                                            PageBurn367
                                                                                                                                Burn Modification
                                                                                                                                           of 430
                                                                                                                                     Modification


                                                         KINDER MORGAN - MIDSTREAM
        PROJECT NAME
        COMPANY NAME                                                                                    COMPANY NO.
        REQUESTED BY                                                                                    PREPARED BY
          ESTIMATE NO.                                                                             ORIGINAL EST. DATE                            06/09/22
           REVISION NO.
                    NO.                          1.0
                                                1.0                                        CONSTRUCTION CONTINGENCY                               10.0%
                                                                                                                                                  10.0%
         REVISION DATE                        06/09/22                                                     OVERHEAD                               16.0%
         PROJ MANAGER
           STATE                                      COUNTY
                                                    MEOMIT'M                                                 I       GROSS UP                       9.0%
                                                                                SCOPE
    CAT Low emissions kit                  cleanburn modifications to Caterpillar unit, as well as miscellaneous ancillary equipment to allow unit to meet 1.5 g/hp-hr
                              Installation cleanbum
                SCOPE:        NOx limit required by the Good Neighbor Rule.

            Tab 2 SCOPE:


            Tab 3
            Tab 3 SCOPE:


            Tab 4
            Tab 4 SCOPE:


            Tab 5
            Tab 5 SCOPE:


                                                                        ASSET CAPABILITIES:




    ESTIMATE SUMMARY                               emissions kit
                                           CAT Low emissions                  Tab 2
                                                                              Tab                Tab 3
                                                                                                 Tab 3                Tab 4             Tab 5
                                                                                                                                        Tab 5               TOTAL
                                       PIPE $            -    $                       -     $            -       $            -    $            -     $             -
                                   VALVES $  $          --    $                       -     $            -       $            -    $            -     $
                                                                                                                                                      $            -
                                  FITTINGS $
                                  FITTINGS   $          --    $                       -     $            -       $            -    $            -     $
                                                                                                                                                      $            --
                MEASUREMENT EQUIPMENT $                 -     $                       -     $            -       $            -    $            -     $            -
                             EFM & SCADA $              -     $                       -     $            -       $            -    $            -     $            -
                 COMPRESSION EQUIPMENT $            127,516 $                         -     $            -       $            -    $            -     $        127,516
           PROCESS / TREATING EQUIPMENT $                -    $                       -     $            -       $            -    $            -     $             -
                                  VESSELS $
                       PRESSURE VESSELS      $          --    $                       -     $            -       $            -    $            -     $
                                                                                                                                                      $            -
                                 HEATERS $
                    DIRECT FIRED HEATERS     $          --    $                       -     $            -       $            -    $            -     $            -
                        HEAT EXCHANGERS $               -     $                       -     $            -       $            -    $            -     $
                                                                                                                                                      $            -
                                     TANKS $
                                    TANKS    $          --    $                       -     $            -       $            -    $            -     $
                                                                                                                                                      $            --
                                    PUMPS $  $          -     $                       -     $            -       $            -    $            -     $
                                                                                                                                                      $            -
               PLC
               PLC HARDWARE   / SOFTWARE     $          -     $                       -     $            -       $            -    $            -     $            -
               MISC MATERIALS & SUPPLIES $   $          --    $                       -     $            -       $            -    $            -     $
                                                                                                                                                      $            -
                    TOTAL MATERIAL COST $           127,516 $                         -     $            -       $            -    $            -     $        127,516
                    TOTAL COMPANY COSTCOST $ $       11,760 $
                                                     11,760                           -     $            -       $            -    $            -     $         11,760
                                                                                                                                                                11,760
     PIPELINE CONSTRUCTION CONTRACTOR $      $          -     $                       -     $            -       $            -    $            -     $            -
     FACILITY CONSTRUCTION CONTRACTOR $                 -     $                       -     $            -       $            -    $            -     $            -
               TOTAL CONSTRUCTION COST $                 -    $                       -     $            -       $            -    $            -     $             -
              PROFESSIONAL ENGINEERING $     $       10,000 $                         -     $            -       $            -    $            -     $         10,000
                                 SERVICES $
                     INSPECTION SERVICES     $       11,916 $
                                                     11,916                           -     $            -       $            -    $            -     $         11,916
                                                                                                                                                                11,916
                   RADIOGRAPHY SERVICES $               -     $                       -     $            -       $            -    $            -     $
                                                                                                                                                      $             -
             ENVIRONMENTAL CONTRACTOR $                 -     $                       -     $            -       $            -    $            -     $            -
           ELECTRICAL & INSTRUMENTATION $            16,323 $                         -     $            -       $            -    $            -     $         16,323
               RIGHT OF WAY CONTRACTOR $                -     $                       -     $            -       $            -    $            -     $            -
                     SURVEY CONTRACTOR $                -     $                       -     $            -       $            -    $            -     $            -
                                 SERVICES $
                  OUTSIDE LEGAL SERVICES     $          --    $                       -     $            -       $            -    $            -     $
                                                                                                                                                      $            --
                 TOTAL OUTSIDE SERVICES
                                 SERVICES $  $       38,239 $
                                                     38,239                           -     $            -       $            -    $            -     $
                                                                                                                                                      $         38,239
                                                                                                                                                                38,239
                                 DAMAGES $
                          ROW & DAMAGES      $          --    $                       -     $            -       $            -    $            -     $
                                                                                                                                                      $             -
                              PERMITTING $   $          --    $                       -     $            -       $            -    $            -     $
                                                                                                                                                      $            -
                                 GAS LOSS
                                 GAS  LOSS $ $          -     $                       -     $            -       $            -    $            -     $
                                                                                                                                                      $            --
                                SUBTOTAL $          177,515 $
                                                    177,515                           -     $            -       $            -    $            -     $        177,515
                                                                                                                                                               177,515
             CONSTRUCTION CONTINGENCY $              17,752 $                         -     $            -       $            -    $            -     $         17,752
                                    AFUDC $  $          891 $                         -     $            -       $            -    $            -     $
                                                                                                                                                      $            891
                                SUBTOTAL $          196,158 $                         -     $            -       $            -    $            -     $        196,158
          CAPITALIZED OVERHEAD (BURDEN) $               -     $                       -     $            -       $            -    $            -     $            -
                            TAX GROSS UP $              -     $                       -     $            -       $            -    $            -     $
                                                                                                                                                      $            -
                   GROSS ESTIMATED COST $           196,158 $                         -     $            -       $            -    $            -     $        196,158

    ASSUMPTIONS
               (Yes/No)
       Include (Yes/No)     Assumptions
                           'Assumptions             I
             Yes
             Yes                Scoping Tab
                            See Saving


          Revision                   Date
                                     Date                                    Notes
                                                                             Notes                                   Approval           Name
                                                                                                                                        Name                Date
                                                                                                                                                            Date
                                                                                                                 PM                                          1/27/2021
                                                                                                                 Director
                                                                                                                 VP

   AUTHORITY LEVELS:
                < $100,000 PROJECT MANAGER
    $100,000 to
    $100,000 to $5,000,000
                $5,000,000 MANAGER
              > $5,000,000 DIRECTOR AND VP
              >
USCA Case #23-1157   Document #2009836   Filed: 07/27/2023    4SLB Replacement
                                                             Page
                                                              4SLB Replacement
                                                                   368 of 430
                                                             – Exhibit 11
                                               Kinder Morgan —




                        EXHIBIT 11
                                                                                                                                                                    Summary



USCA Case #23-1157                         Document #2009836                                      Filed: 07/27/2023                          4SLB Replacement
                                                                                                                                            Page
                                                                                                                                             4SLB Replacement
                                                                                                                                                  369 of 430
                                                       KINDER MORGAN - MIDSTREAM
       PROJECT NAME
       COMPANY NAME                                                                                   COMPANY NO.
       REQUESTED BY                                                                                  PREPARED BY
         ESTIMATE NO.                                                                           ORIGINAL EST. DATE                          06/09/22
                                                                                                                                            06/09/22
         REVISION NO.                         1.0                                       CONSTRUCTION CONTINGENCY                             10.0%
        REVISION DATE                      06/09/22                                                     OVERHEAD                             16.0%
        PROJ MANAGER                         TBD
          STATE                                       COUNTY                                                    GROSS UP
                                                                                                                GROSS UP                        9.0%
                                                                                                                                                9.0%
                                                                             SCOPE
       CAT replacement      The Caterpillar 3512 unit at this location does not have a low emissions upgrade available to allow it to meet the Good Neighbor rule
               SCOPE:       limit of
                            limit of 1.5
                                     1.5 g/hp-hr.
                                         g/hp-hr. This
                                                  This option
                                                       option is
                                                              is to
                                                                 to replace
                                                                    replace the
                                                                            the engine
                                                                                engine with a newer
                                                                                       with a newer model
                                                                                                    model 3512 that can
                                                                                                          3512 that can achieve the lower emissions.


          Tab 2 SCOPE:


          Tab 3 SCOPE:


          Tab 4 SCOPE:


          Tab 5 SCOPE:


                                                                     ASSET CAPABILITIES:




   ESTIMATE SUMMARY                               CAT replacement          Tab 2              Tab 3              Tab 4              Tab 5              TOTAL
                                       PIPE       $            -     $             -    $             -    $             -    $             -     $           -
                                   VALVES         $
                                                  $           -      $             -    $             -    $             -    $             -     $
                                                                                                                                                  $           -
                                  FITTINGS        $
                                                  $           -      $             -    $             -    $             -    $             -     $
                                                                                                                                                  $           -
                MEASUREMENT EQUIPMENT             $           -      $             -    $             -    $             -    $             -     $           -
                             EFM & SCADA          $           -      $             -    $             -    $             -    $             -     $           -
                 COMPRESSION EQUIPMENT            $       553,545
                                                          553,545    $             -    $             -    $             -    $             -     $
                                                                                                                                                  $       553,545
                                                                                                                                                          553,545
                    / TREATING EQUIPMENT
           PROCESS /TREATING                      $            -     $             -    $             -    $             -    $             -     $             -
                                  VESSELS
                       PRESSURE VESSELS           $
                                                  $           -      $             -    $             -    $             -    $             -     $
                                                                                                                                                  $           -
                    DIRECT FIRED HEATERS          $           -      $             -    $             -    $             -    $             -     $
                                                                                                                                                  $           -
                        HEAT EXCHANGERS           $           -      $             -    $             -    $             -    $             -     $
                                                                                                                                                  $           -
                                     TANKS
                                    TANKS         $
                                                  $            --    $             -    $             -    $             -    $             -     $
                                                                                                                                                  $           --
                                    PUMPS         $
                                                  $           -      $             -    $             -    $             -    $             -     $
                                                                                                                                                  $           -
               PLC HARDWARE / SOFTWARE            $           -      $             -    $             -    $             -    $             -     $           -
               MISC MATERIALS & SUPPLIES          $
                                                  $           -      $             -    $             -    $             -    $             -     $
                                                                                                                                                  $           -
                    TOTAL MATERIAL COST           $       553,545    $             -    $             -    $             -    $             -     $
                                                                                                                                                  $       553,545
                    TOTAL COMPANY COST            $        11,760    $             -    $             -    $             -    $             -     $        11,760
     PIPELINE CONSTRUCTION CONTRACTOR             $           -      $             -    $             -    $             -    $             -     $           -
     FACILITY CONSTRUCTION CONTRACTOR             $           -      $             -    $             -    $             -    $             -     $           -
               TOTAL CONSTRUCTION COST            $            -     $             -    $             -    $             -    $             -     $            --
              PROFESSIONAL ENGINEERING            $
                                                  $        10,000    $             -    $             -    $             -    $             -     $        10,000
                     INSPECTION SERVICES
                                 SERVICES         $
                                                  $        11,916    $             -    $             -    $             -    $             -     $        11,916
                   RADIOGRAPHY SERVICES           $             -    $             -    $             -    $             -    $             -     $
                                                                                                                                                  $             -
             ENVIRONMENTAL CONTRACTOR             $           -      $             -    $             -    $             -    $             -     $           -
           ELECTRICAL & INSTRUMENTATION           $           -      $             -    $             -    $             -    $             -     $           -
               RIGHT OF WAY CONTRACTOR            $           -      $             -    $             -    $             -    $             -     $           -
                     SURVEY CONTRACTOR            $           -      $             -    $             -    $             -    $             -     $           -
                  OUTSIDE LEGAL SERVICES
                                 SERVICES         $
                                                  $           -      $             -    $             -    $             -    $             -     $           -
                                 SERVICES
                 TOTAL OUTSIDE SERVICES           $
                                                  $        21,916    $             -    $             -    $             -    $             -     $        21,916
                                 DAMAGES
                          ROW & DAMAGES           $
                                                  $           --     $             -    $             -    $             -    $             -     $           --
                              PERMITTING          $
                                                  $           -      $             -    $             -    $             -    $             -     $           -
                                 GAS
                                 GAS LOSS         $            -     $             -    $             -    $             -    $             -     $           -
                                SUBTOTAL          $       587,221    $             -    $             -    $             -    $             -     $       587,221
             CONSTRUCTION CONTINGENCY             $        58,722    $             -    $             -    $             -    $             -     $        58,722
                                    AFUDC
                                    AFUDC         $
                                                  $         2,947    $             -    $             -    $             -    $             -     $         2,947
                                SUBTOTAL          $       648,890
                                                          648,890    $             -    $             -    $             -    $             -     $
                                                                                                                                                  $       648,890
          CAPITALIZED OVERHEAD (BURDEN)           $           -      $             -    $             -    $             -    $             -     $           -
                            TAX GROSS UP UP       $           -      $             -    $             -    $             -    $             -     $
                                                                                                                                                  $           -
                   GROSS ESTIMATED COST           $       648,890    $             -    $             -    $             -    $             -     $       648,890

   ASSUMPTIONS
      Include (Yes/No)   Assumptions
            Yes
            Yes              Scoping Tab
                         See Saving


         Revision                 Date                                    Notes                               Approval                                 Date
                                                                                                          PM                                            1/27/2021
                                                                                                          Director
                                                                                                          VP

   AUTHORITY LEVELS:
                < $100,000 PROJECT MANAGER
    $100,000 to $5,000,000 MANAGER
              > $5,000,000 DIRECTOR AND VP
              >
USCA Case #23-1157   Document #2009836   Filed: 07/27/2023   4SRB NSCR
                                                                    370&& AFRC
                                                             PageNSCR
                                                             4SRB         AFRC
                                                                          of 430
                                                             – Exhibit 12
                                               Kinder Morgan —




                        EXHIBIT 12
                                 USCA Case #23-1157               Document #2009836                      Filed: 07/27/2023     Page 371 of 430                                   4SRB NSCR
                                                                                                                                                                                 4SRB NSCR &
                                                                                                                                                                                           & AFRC
                                                                                                                                                                                             AFRC
                                                                                                                                                                                           Summary
                                                                                                                                                                                           Summary


                                                                            KINDER MORGAN
                                                                            KINDER MORGAN
         PROJECT NAME
         PROJECT NAME
        COMPANY   NAME
        COMPANY NAME                                                                                                 COMPANY NO.
                                                                                                                    COMPANY   NO.                             5100
                                                                                                                                                              5100
        REQUESTED BY
        REQUESTED   BY                                                                                              PREPARED BY
                                                                                                                    PREPARED   BY
          ESTIMATE NO.
          ESTIMATE  NO.                                                                                        ORIGINAL EST. DATE
                                                                                                               ORIGINAL EST. DATE                            08/24/21
                                                                                                                                                             08/24/21
          REVISION  NO.
          REVISION NO.                        BASE
                                              BASE                                                     CONSTRUCTION CONTINGENCY
                                                                                                       CONSTRUCTION CONTINGENCY                                10%
                                                                                                                                                               10%
         REVISION DATE
         REVISION DATE                                                                                                 OVERHEAD
                                                                                                                       OVERHEAD                              13.49%
                                                                                                                                                             13.49%
     PROJECT MANAGER
     PROJECT MANAGER
                 STATE
                 STATE                                                                                                  TAX
                                                                                                                        TAX GROSS  UP
                                                                                                                            GROSS UP                          0.00%
                                                                                                                                                              0.00%
               COUNTY
               COUNTY                                                                                                   PROJECT TYPE
                                                                                                                        PROJECT  TYPE             KM Funded
                                                                                                                                                  KM Funded for
                                                                                                                                                            for Economics
                                                                                                                                                                Economics (&
                                                                                                                                                                          (& MC)
                                                                                                                                                                             MC)
                                                                                                                           IN-SERVICE
                                                                                                                           IN-SERVICE                        May-24
                                                                                                                                                             May-24
                                                                                                             ESTIMATE ACCURACY
                                                                                                             ESTIMATE ACCURACY LEVEL
                                                                                                                                LEVEL                        Class 3
                                                                                                                                                             Class 3

            RWIP SCOPE:
            RWIP SCOPE:      Removal of
                             Removal of existing
                                        existing equipment
                                                 equipment to
                                                           to be replaced.
                                                              be replaced.



                             This unit
                             This unit is
                                        is a
                                           a 4SRB
                                             4SRB unit
                                                    unit that
                                                         that needs
                                                              needs to
                                                                    to meet
                                                                       meet 1
                                                                            1 g/hp-hr
                                                                              g/hp-hr of
                                                                                      of NOx.
                                                                                         NOx. To
                                                                                              To achieve
                                                                                                 achieve this
                                                                                                         this a
                                                                                                              a NSCR
                                                                                                                NSCR catalyst will be
                                                                                                                     catalyst will    installed alonf
                                                                                                                                   be installed alonf with
                                                                                                                                                      with AFR
                                                                                                                                                           AFR controls. The
                                                                                                                                                               controls. The
            CWIP SCOPE:
            CWIP SCOPE:
                             unit will
                             unit      also be
                                  will also     turbocharged.
                                             be turbocharged.



                         ASSET CAPABILITIES:
                         ASSET               Vol @
                               CAPABILITIES: Vol   ### psi
                                                 @ N:4 psi                                                                                                   Pressure
                                                                                                                                                             Pressure
                    Minimum
                    Minimum                  MMCFD
                                             MMCFD                                                                                 Minimum
                                                                                                                                   Minimum                       psig
                                                                                                                                                                 psig
                    Maximum
                    Maximum                  MMCFD
                                             MMCFD                                                                                   MAOP
                                                                                                                                     MAOP                        psig
                                                                                                                                                                 psig
                                                                                                                          Normal Operating
                                                                                                                          Normal  Operating                      psig
                                                                                                                                                                 psig
                                        Metrics:
                                        Metrics:           Dia (Inch)
                                                           Dia (Inch) =
                                                                      =                                                   Delivery Pressure
                                                                                                                          Delivery Pressure                      psig
                                                                                                                                                                 psig
                                                      Length (Miles)
                                                      Length  (Miles) =
                                                                      =
                                        Aggregate Base
                                        Aggregate  Base Lay
                                                         Lay (Per
                                                             (Per Ft)
                                                                  Ft) =
                                                                      =
                                                  Total Cost
                                                  Total Cost (Per
                                                             (Per Ft)
                                                                  Ft) =
                                                                      =
                                              Contractor Cost
                                              Contractor       (DIM) =
                                                          Cost (DIM)  =
                                   Directs +
                                   Directs + Contingency
                                             Contingency Cost  (DIM) =
                                                          Cost (DIM)  =


                 ESTIMATE SUMMARY
                 ESTIMATE SUMMARY                                                    Tab 12
                                                                                     Tab 12                  Tab 13
                                                                                                             Tab 13            RWIP
                                                                                                                               RWIP                 CWIP
                                                                                                                                                    CWIP                 TOTAL
                                                                                                                                                                         TOTAL


                                    MATERIAL (INCL
                                    MATERIAL   (INCL SALES
                                                      SALES TAX)
                                                             TAX)                                                        $
                                                                                                                         $             --     $
                                                                                                                                              $        841,800
                                                                                                                                                       841,800       $
                                                                                                                                                                     $       841,800
                                                                                                                                                                             841,800
                                         COMPANY LABOR
                                         COMPANY    LABOR COST
                                                            COST                                                         $
                                                                                                                         $             --     $
                                                                                                                                              $         55,800
                                                                                                                                                        55,800       $
                                                                                                                                                                     $        55,800
                                                                                                                                                                              55,800
                             PM, ENG,
                             PM, ENG, LAND,
                                       LAND, ENVIRO
                                              ENVIRO -- EXPENSE
                                                         EXPENSE                                                         $
                                                                                                                         $             --     $
                                                                                                                                              $          3,200
                                                                                                                                                         3,200       $
                                                                                                                                                                     $         3,200
                                                                                                                                                                               3,200
                         PRIMARY CONSTRUCTION
                         PRIMARY CONSTRUCTION CONTRACTOR
                                                   CONTRACTOR                                                            $
                                                                                                                         $        162,400
                                                                                                                                  162,400     $
                                                                                                                                              $        682,700
                                                                                                                                                       682,700       $
                                                                                                                                                                     $       845,100
                                                                                                                                                                             845,100
                                     SECONDARY CONTRACTOR
                                     SECONDARY     CONTRACTOR                                                            $
                                                                                                                         $             --     $
                                                                                                                                              $      2,868,600
                                                                                                                                                     2,868,600       $
                                                                                                                                                                     $     2,868,600
                                                                                                                                                                           2,868,600
                                  PROFESSIONAL ENGINEERING
                                 PROFESSIONAL      ENGINEERING                                                           $
                                                                                                                         $             --     $
                                                                                                                                              $        157,000
                                                                                                                                                       157,000       $
                                                                                                                                                                     $       157,000
                                                                                                                                                                             157,000
                                         INSPECTION SERVICES
                                         INSPECTION    SERVICES                                                          $
                                                                                                                         $         29,600
                                                                                                                                   29,600     $
                                                                                                                                              $        221,900
                                                                                                                                                       221,900       $
                                                                                                                                                                     $       251,500
                                                                                                                                                                             251,500
                                       RADIOGRAPHY SERVICES
                                       RADIOGRAPHY     SERVICES                                                          $
                                                                                                                         $             --     $
                                                                                                                                              $          4,700
                                                                                                                                                         4,700       $
                                                                                                                                                                     $         4,700
                                                                                                                                                                               4,700
                                ENVIRONMENTAL CONTRACTOR
                                ENVIRONMENTAL      CONTRACTOR                                                            $
                                                                                                                         $             --     $
                                                                                                                                              $         21,700
                                                                                                                                                        21,700       $
                                                                                                                                                                     $        21,700
                                                                                                                                                                              21,700
                              ELECTRICAL &
                              ELECTRICAL   & INSTRUMENTATION
                                             INSTRUMENTATION                                                             $
                                                                                                                         $             --     $
                                                                                                                                              $             --       $
                                                                                                                                                                     $            --
                                   RIGHT OF
                                   RIGHT  OF WAY
                                             WAY CONTRACTOR
                                                   CONTRACTOR                                                            $
                                                                                                                         $             --     $
                                                                                                                                              $            --        $
                                                                                                                                                                     $            --
                                         SURVEY CONTRACTOR
                                         SURVEY    CONTRACTOR                                                            $
                                                                                                                         $             --     $
                                                                                                                                              $            --        $
                                                                                                                                                                     $             --
                                      OUTSIDE LEGAL
                                      OUTSIDE  LEGAL SERVICES
                                                       SERVICES                                                          $
                                                                                                                         $             --     $
                                                                                                                                              $             --       $
                                                                                                                                                                     $             --
                                               ROW &
                                               ROW   & DAMAGES
                                                       DAMAGES                                                           $
                                                                                                                         $             --     $
                                                                                                                                              $         10,000
                                                                                                                                                        10,000       $
                                                                                                                                                                     $        10,000
                                                                                                                                                                              10,000
                                                    PERMIT FEES
                                                    PERMIT  FEES                                                         $
                                                                                                                         $             --     $
                                                                                                                                              $             --       $
                                                                                                                                                                     $            --
                                                       GAS  LOSS
                                                       GAS LOSS                                                          $
                                                                                                                         $             --     $
                                                                                                                                              $             --       $
                                                                                                                                                                     $            --
                                                      SUBTOTAL
                                                      SUBTOTAL                                                           $
                                                                                                                         $        192,000
                                                                                                                                  192,000     $
                                                                                                                                              $      4,867,400
                                                                                                                                                     4,867,400       $
                                                                                                                                                                     $     5,059,400
                                                                                                                                                                           5,059,400
                                CONSTRUCTION CONTINGENCY
                                CONSTRUCTION      CONTINGENCY                                                            $
                                                                                                                         $         19,200
                                                                                                                                   19,200     $
                                                                                                                                              $        486,740
                                                                                                                                                       486,740       $
                                                                                                                                                                     $       505,940
                                                                                                                                                                             505,940
                                                           AFUDC
                                                           AFUDC                                                         $
                                                                                                                         $             --     $
                                                                                                                                              $        118,818
                                                                                                                                                       118,818       $
                                                                                                                                                                     $       118,818
                                                                                                                                                                             118,818
                                                      SUBTOTAL
                                                      SUBTOTAL                                                           $
                                                                                                                         $        211,200
                                                                                                                                  211,200     $
                                                                                                                                              $      5,472,958
                                                                                                                                                     5,472,958       $
                                                                                                                                                                     $     5,684,158
                                                                                                                                                                           5,684,158
                             CAPITALIZED
                             CAPITALIZED OVERHEAD       (BURDEN)
                                           OVERHEAD (BURDEN)                                                             $
                                                                                                                         $             --     $
                                                                                                                                              $            --        $
                                                                                                                                                                     $            --
                                                  TAX
                                                  TAX GROSS-UP
                                                       GROSS-UP                                                          $
                                                                                                                         $            --      $
                                                                                                                                              $            --        $
                                                                                                                                                                     $            --
                                                    ESCALATION
                                                    ESCALATION                                                           $
                                                                                                                         $            --      $
                                                                                                                                              $            --        $
                                                                                                                                                                     $            --
                                               RISK INSURANCE
                                               RISK  INSURANCE                                                           $
                                                                                                                         $            --      $
                                                                                                                                              $            --        $
                                                                                                                                                                     $           --
                                        ESTIMATED TOTAL
                                        ESTIMATED           COST
                                                    TOTAL COST                                                           $
                                                                                                                         $        211,200
                                                                                                                                  211,200     $
                                                                                                                                              $      5,472,958
                                                                                                                                                     5,472,958       $
                                                                                                                                                                     $     5,684,158
                                                                                                                                                                           5,684,158

                                                             Price/Ton:
                                                             Price/Ton:
                                   (If Applicable)
                                   (If Applicable) Escalated
                                                   Escalated Price/Ton:
                                                             Price/Ton:
                                                          Contingency:
                                                          Contingency:               10%
                                                                                     10%                      10%
                                                                                                              10%              10%
                                                                                                                               10%                   10%
                                                                                                                                                     10%
                                                       In-Service Date:
                                                       In-Service Date:             May-24
                                                                                    May-24                   May-24
                                                                                                             May-24           May-24
                                                                                                                              May-24                May-24
                                                                                                                                                    May-24

ASSUMPTIONS
ASSUMPTIONS
     Include (Yes/No)
     Include (Yes/No)       Assumptions
                            Assumptions
           Yes
           Yes              See Assumptions
                            See Assumptions Tab
                                            Tab    ** Estimate
                                                   ** Estimate shelf
                                                               shelf life
                                                                     life is
                                                                          is 6
                                                                             6 months
                                                                               months from
                                                                                      from published date.
                                                                                           published date.




         Revision
         Revision                   Date
                                    Date                                Notes
                                                                        Notes                                        Approval
                                                                                                                     Approval                       Name
                                                                                                                                                    Name                 Date
                                                                                                                                                                         Date
                                                                                                                 Project Manager
                                                                                                                 Project Manager                                 1
                                                                                                             Project Manager
                                                                                                             Project Manager Director
                                                                                                                             Director                            1
                                                                                                                 Project Controls
                                                                                                                 Project Controls                                1
                                                                                                                  Vice President
                                                                                                                  Vice President

                                                                                                                                                                              n
AUTHORITY LEVELS:
AUTHORITY LEVELS:                                                                                                                                  Escalation Rates
                                                                                                                                                   Escalation Rates FV=PV(1+i)"
                                                                                                                                                                    FV=PV(1+i)
           < $25,000,000
           < $25,000,000 PM,
                         PM, PM
                             PM Director,
                                Director, Project
                                          Project Controls
                                                  Controls                                                                                              Material:
                                                                                                                                                        Material:      0.0%
                                                                                                                                                                       0.0%
           > $25,000,000
           > $25,000,000 PM,
                         PM, PM
                             PM Director,
                                Director, Project
                                          Project Controls,
                                                  Controls, VP
                                                            VP                                                                                            Other:
                                                                                                                                                          Other:       0.0%
                                                                                                                                                                       0.0%
USCA Case #23-1157   Document #2009836   Filed: 07/27/2023   4SRB NSCR
                                                                    372&& AFRC
                                                             PageNSCR
                                                             4SRB         AFRC
                                                                          of 430
                                                             – Exhibit 13
                                               Kinder Morgan —




                        EXHIBIT 13
                                                                                                                                                                        Summary
                                                                                                                                                                        Summary


                             USCA Case #23-1157           Document #2009836              Filed: 07/27/2023       Page 373 of 430                                     4SRB NSCR
                                                                                                                                                                     4SRB NSCR &
                                                                                                                                                                               & AFRC
                                                                                                                                                                                 AFRC




                                                      KINDER MORGAN
                                                      KINDER MORGAN -- MIDSTREAM
                                                                       MIDSTREAM
    PROJECT NAME
    PROJECT   NAME
    COMPANY NAME
    COMPANY   NAME                                                                                    COMPANY  NO.
                                                                                                      COMPANY NO.
    REQUESTED BY
    REQUESTED    BY                                                                                   PREPARED BY
                                                                                                      PREPARED  BY
      ESTIMATE NO.
      ESTIMATE  NO.                                                                             ORIGINAL EST.
                                                                                                ORIGINAL EST. DATE
                                                                                                              DATE                           01/18/21
                                                                                                                                             01/18/21
       REVISION NO.
      REVISION  NO.                       1.0
                                          1.0                                           CONSTRUCTION CONTINGENCY
                                                                                        CONSTRUCTION CONTINGENCY                              10.0%
                                                                                                                                              10.0%
     REVISION DATE
     REVISION DATE                                                                                      OVERHEAD —
                                                                                                        OVERHEAD                              16.0%
                                                                                                                                              16.0%
     PROJ MANAGER
     PROJ MANAGER                         TBD
                                          TBD                                                               AFUDC
                                                                                                            AFUDC
      STATE
      STATE                                         COUNTY
                                                    COUNTY                                               GROSS UP
                                                                                                         GROSS  UP                            9.0%
                                                                                                                                              9.0%
                                                                            SCOPE
                                                                            SCOPE
                        Installation of
                        Installation of catalyst,
                                        catalyst, housing,
                                                  housing, exhaust
                                                           exhaust modifications,
                                                                   modifications, Air
                                                                                  Air Fuel
                                                                                      Fuel Ratio
                                                                                           Ratio Controller and required
                                                                                                 Controller and required instruments,
                                                                                                                         instruments, as
                                                                                                                                      as well
                                                                                                                                         well as
                                                                                                                                              as miscellaneous
                                                                                                                                                 miscellaneous
Wauk Cat-AFR
Wauk Cat-AFR SCOPE:
             SCOPE:
                        ancillary equipment.
                        ancillary  equipment.


        Tab 2 SCOPE:
        Tab 2 SCOPE:


        Tab 3 SCOPE:
        Tab 3 SCOPE:


        Tab 4 SCOPE:
        Tab 4 SCOPE:


        Tab
        Tab 5 SCOPE:
            5 SCOPE:


                                                                   ASSET CAPABILITIES:
                                                                   ASSET CAPABILITIES:




ESTIMATE SUMMARY
ESTIMATE SUMMARY                                 Wauk Cat-AFR
                                                 Wauk Cat-AFR            Tab 2
                                                                         Tab 2               Tab 3
                                                                                             Tab 3               Tab 4
                                                                                                                 Tab 4              Tab 5
                                                                                                                                    Tab 5               TOTAL
                                                                                                                                                        TOTAL
                                        PIPE
                                        PIPE    $
                                                $            --                                                                                   $
                                                                                                                                                  $            --
                                    VALVES
                                    VALVES      $
                                                $            --                                                                                   $
                                                                                                                                                  $            --
                                   FITTINGS
                                   FITTINGS     $
                                                $            --                                                                                   $
                                                                                                                                                  $            --
               MEASUREMENT EQUIPMENT
               MEASUREMENT     EQUIPMENT        $
                                                $            --                                                                                   $
                                                                                                                                                  $            --
                              EFM &
                             EFM   & SCADA
                                     SCADA      $
                                                $            --                                                                                   $
                                                                                                                                                  $            --
                COMPRESSION EQUIPMENT
                COMPRESSION    EQUIPMENT        $
                                                $        108,658
                                                         108,658                                                                                  $
                                                                                                                                                  $        108,658
                                                                                                                                                           108,658
         PROCESS // TREATING
         PROCESS     TREATING EQUIPMENT
                               EQUIPMENT        $
                                                $            --                                                                                   $
                                                                                                                                                  $            --
                       PRESSURE VESSELS
                       PRESSURE    VESSELS      $
                                                $            --                                                                                   $
                                                                                                                                                  $            --
                   DIRECT FIRED
                   DIRECT  FIRED HEATERS
                                   HEATERS      $
                                                $            --                                                                                   $
                                                                                                                                                  $            --
                        HEAT EXCHANGERS
                        HEAT EXCHANGERS         $
                                                $            --                                                                                   $
                                                                                                                                                  $            --
                                      TANKS
                                      TANKS     $
                                                $            --                                                                                   $
                                                                                                                                                  $            --
                                     PUMPS
                                     PUMPS      $
                                                $            --                                                                                   $
                                                                                                                                                  $            --
              PLC HARDWARE
              PLC HARDWARE // SOFTWARE
                                SOFTWARE        $
                                                $            --                                                                                   $
                                                                                                                                                  $            --
              MISC MATERIALS
              MISC MATERIALS &  & SUPPLIES
                                  SUPPLIES      $
                                                $            --                                                                                   $
                                                                                                                                                  $            --
                   TOTAL MATERIAL
                   TOTAL   MATERIAL COST
                                       COST     $
                                                $        108,658
                                                         108,658                                                                                  $
                                                                                                                                                  $        108,658
                                                                                                                                                           108,658
                   TOTAL   COMPANY COST
                   TOTAL COMPANY       COST     $
                                                $         20,520
                                                          20,520                                                                                  $
                                                                                                                                                  $         20,520
                                                                                                                                                            20,520
   PIPELINE CONSTRUCTION
   PIPELINE CONSTRUCTION CONTRACTOR
                             CONTRACTOR         $
                                                $            --                                                                                   $
                                                                                                                                                  $            --
   FACILITY CONSTRUCTION
   FACILITY CONSTRUCTION CONTRACTOR
                             CONTRACTOR         $
                                                $         57,188
                                                          57,188                                                                                  $
                                                                                                                                                  $         57,188
                                                                                                                                                            57,188
             TOTAL   CONSTRUCTION COST
             TOTAL CONSTRUCTION        COST     $
                                                $         57,188
                                                          57,188                                                                                  $
                                                                                                                                                  $         57,188
                                                                                                                                                            57,188
             PROFESSIONAL ENGINEERING
            PROFESSIONAL     ENGINEERING        $
                                                $         25,000
                                                          25,000                                                                                  $
                                                                                                                                                  $         25,000
                                                                                                                                                            25,000
                    INSPECTION SERVICES
                    INSPECTION   SERVICES       $
                                                $         23,365
                                                          23,365                                                                                  $
                                                                                                                                                  $         23,365
                                                                                                                                                            23,365
                  RADIOGRAPHY SERVICES
                  RADIOGRAPHY    SERVICES       $
                                                $            --                                                                                   $
                                                                                                                                                  $            --
           ENVIRONMENTAL CONTRACTOR
           ENVIRONMENTAL     CONTRACTOR         $
                                                $            --                                                                                   $
                                                                                                                                                  $            --
         ELECTRICAL &
         ELECTRICAL   & INSTRUMENTATION
                        INSTRUMENTATION         $
                                                $         16,004
                                                          16,004                                                                                  $
                                                                                                                                                  $         16,004
                                                                                                                                                            16,004
             RIGHT OF
             RIGHT      WAY CONTRACTOR
                    OF WAY   CONTRACTOR         $
                                                $            --                                                                                   $
                                                                                                                                                  $            --
                    SURVEY CONTRACTOR
                    SURVEY   CONTRACTOR         $
                                                $            --                                                                                   $
                                                                                                                                                  $            --
                 OUTSIDE LEGAL
                 OUTSIDE  LEGAL SERVICES
                                 SERVICES       $
                                                $            --                                                                                   $
                                                                                                                                                  $            --
                TOTAL OUTSIDE
                TOTAL   OUTSIDE SERVICES
                                  SERVICES      $
                                                $         64,369
                                                          64,369                                                                                  $
                                                                                                                                                  $         64,369
                                                                                                                                                            64,369
                          ROW &
                          ROW  & DAMAGES
                                  DAMAGES       $
                                                $            --                                                                                   $
                                                                                                                                                  $            --
                               PERMITTING
                               PERMITTING       $
                                                $            --                                                                                   $
                                                                                                                                                  $            --
                                 GAS LOSS
                                 GAS   LOSS     $
                                                $            --                                                                                   $
                                                                                                                                                  $            --
                                SUBTOTAL
                                SUBTOTAL        $
                                                $        250,735
                                                         250,735                                                                                  $
                                                                                                                                                  $        250,735
                                                                                                                                                           250,735
           CONSTRUCTION
           CONSTRUCTION CONTINGENCY
                            CONTINGENCY         $
                                                $         25,074
                                                          25,074                                                                                  $
                                                                                                                                                  $         25,074
                                                                                                                                                            25,074
                                     AFUDC
                                     AFUDC      $
                                                $          2,509
                                                           2,509                                                                                  $
                                                                                                                                                  $          2,509
                                                                                                                                                             2,509
                                SUBTOTAL
                                SUBTOTAL        $
                                                $        278,318
                                                         278,318                                                                                  $
                                                                                                                                                  $        278,318
                                                                                                                                                           278,318
        CAPITALIZED
        CAPITALIZED OVERHEAD      (BURDEN)
                      OVERHEAD (BURDEN)         $
                                                $            --                                                                                   $
                                                                                                                                                  $            --
                            TAX GROSS
                            TAX  GROSS UP UP    $
                                                $            --                                                                                   $
                                                                                                                                                  $            --
                  GROSS ESTIMATED
                  GROSS   ESTIMATED COST
                                       COST     $
                                                $        278,318
                                                         278,318                                                                                  $        278,318
                                                                                                                                                           278,318


ASSUMPTIONS
ASSUMPTIONS
   Include (Yes/No)
   Include (Yes/No)    Assumptions
                       Assumptions
         Yes
         Yes           See Scoping
                       See Scoping Tab
                                   Tab



      Revision
      Revision                   Date
                                 Date                                    Notes
                                                                         Notes                                Approval
                                                                                                              Approval              Name
                                                                                                                                    Name                Date
                                                                                                                                                        Date
                                                                                                          PM
                                                                                                          PM                                             1/27/2021
                                                                                                                                                         1/27/2021
                                                                                                          Director
                                                                                                          Director
                                                                                                          VP
                                                                                                          VP

AUTHORITY LEVELS:
AUTHORITY    LEVELS:
             < $100,000
             < $100,000 PROJECT
                        PROJECT MANAGER
                                MANAGER
 $100,000 to $5,000,000
 $100,000 to $5,000,000 MANAGER
                        MANAGER
           > $5,000,000
           > $5,000,000 DIRECTOR
                        DIRECTOR AND
                                 AND VP
                                     VP
USCA Case #23-1157   Document #2009836   Filed: 07/27/2023        4SRB
                                                             Page 374
                                                                  4S   AFRC
                                                                       of
                                                                    RB AF  430
                                                                          RC
                                                             – Exhibit 14
                                               Kinder Morgan —




                        EXHIBIT 14
                                                                                                                                                                   Summary
                                                                                                                                                                   Summary


                             USCA Case #23-1157          Document #2009836               Filed: 07/27/2023       Page 375 of 430                                      4SRB AFRC
                                                                                                                                                                      4SRB AFRC




                                                      KINDER MORGAN
                                                      KINDER MORGAN -- MIDSTREAM
                                                                       MIDSTREAM
    PROJECT NAME
    PROJECT   NAME
    COMPANY NAME
    COMPANY   NAME                                                                                    COMPANY  NO.
                                                                                                      COMPANY NO.
    REQUESTED BY
    REQUESTED    BY                                                                                   PREPARED BY
                                                                                                      PREPARED  BY
      ESTIMATE NO.
      ESTIMATE  NO.                                                                             ORIGINAL EST.
                                                                                                ORIGINAL EST. DATE
                                                                                                              DATE                          01/18/21
                                                                                                                                            01/18/21
       REVISION NO.
      REVISION  NO.                         1.0
                                            1.0                                         CONSTRUCTION CONTINGENCY
                                                                                        CONSTRUCTION CONTINGENCY                             10.0%
                                                                                                                                             10.0%
     REVISION DATE
     REVISION DATE                       01/27/21
                                         01/27/21                                                       OVERHEAD
                                                                                                        OVERHEAD                             16.0%
                                                                                                                                             16.0%
     PROJ MANAGER
     PROJ MANAGER                          TBD
                                           TBD                                                              AFUDC
                                                                                                            AFUDC
      STATE
      STATE                                                                                              GROSS UP
                                                                                                         GROSS  UP                           9.0%
                                                                                                                                             9.0%
                                                                            SCOPE
                                                                            SCOPE

   Wauk AFR
   Wauk AFR SCOPE:
            SCOPE:      Installation of
                        Installation of Air
                                        Air Fuel
                                            Fuel Ratio
                                                 Ratio Controller
                                                       Controller and
                                                                  and required
                                                                      required instruments, as well
                                                                               instruments, as well as
                                                                                                    as miscellaneous
                                                                                                       miscellaneous ancillary
                                                                                                                     ancillary equipment.
                                                                                                                               equipment.


        Tab 2 SCOPE:
        Tab 2 SCOPE:


        Tab 3 SCOPE:
        Tab 3 SCOPE:


        Tab 4 SCOPE:
        Tab 4 SCOPE:


        Tab
        Tab 5 SCOPE:
            5 SCOPE:


                                                                   ASSET CAPABILITIES:
                                                                   ASSET CAPABILITIES:




ESTIMATE SUMMARY
ESTIMATE SUMMARY                                    Wauk AFR
                                                    Wauk AFR             Tab 2
                                                                         Tab 2               Tab 3
                                                                                             Tab 3              Tab 4
                                                                                                                Tab 4               Tab 5
                                                                                                                                    Tab 5              TOTAL
                                                                                                                                                       TOTAL
                                        PIPE
                                        PIPE    $
                                                $            --                                                                                 $
                                                                                                                                                $            --
                                    VALVES
                                    VALVES      $
                                                $            --                                                                                 $
                                                                                                                                                $            --
                                   FITTINGS
                                   FITTINGS     $
                                                $            --                                                                                 $
                                                                                                                                                $            --
               MEASUREMENT EQUIPMENT
               MEASUREMENT     EQUIPMENT        $
                                                $            --                                                                                 $
                                                                                                                                                $            --
                              EFM &
                             EFM   & SCADA
                                     SCADA      $
                                                $            --                                                                                 $
                                                                                                                                                $            --
                COMPRESSION EQUIPMENT
                COMPRESSION    EQUIPMENT        $
                                                $         21,086
                                                          21,086                                                                                $
                                                                                                                                                $         21,086
                                                                                                                                                          21,086
         PROCESS // TREATING
         PROCESS     TREATING EQUIPMENT
                               EQUIPMENT        $
                                                $            --                                                                                 $
                                                                                                                                                $            --
                       PRESSURE VESSELS
                       PRESSURE    VESSELS      $
                                                $            --                                                                                 $
                                                                                                                                                $            --
                   DIRECT FIRED
                   DIRECT  FIRED HEATERS
                                   HEATERS      $
                                                $            --                                                                                 $
                                                                                                                                                $            --
                        HEAT EXCHANGERS
                        HEAT EXCHANGERS         $
                                                $            --                                                                                 $
                                                                                                                                                $            --
                                      TANKS
                                      TANKS     $
                                                $            --                                                                                 $
                                                                                                                                                $            --
                                     PUMPS
                                     PUMPS      $
                                                $            --                                                                                 $
                                                                                                                                                $            --
              PLC HARDWARE
              PLC HARDWARE // SOFTWARE
                                SOFTWARE        $
                                                $            --                                                                                 $
                                                                                                                                                $            --
              MISC MATERIALS
              MISC MATERIALS &  & SUPPLIES
                                  SUPPLIES      $
                                                $            --                                                                                 $
                                                                                                                                                $            --
                   TOTAL MATERIAL
                   TOTAL   MATERIAL COST
                                       COST     $
                                                $         21,086
                                                          21,086                                                                                $
                                                                                                                                                $         21,086
                                                                                                                                                          21,086
                   TOTAL   COMPANY COST
                   TOTAL COMPANY       COST     $
                                                $         11,760
                                                          11,760                                                                                $
                                                                                                                                                $         11,760
                                                                                                                                                          11,760
   PIPELINE CONSTRUCTION
   PIPELINE CONSTRUCTION CONTRACTOR
                             CONTRACTOR         $
                                                $            --                                                                                 $
                                                                                                                                                $            --
   FACILITY CONSTRUCTION
   FACILITY CONSTRUCTION CONTRACTOR
                             CONTRACTOR         $
                                                $         57,188
                                                          57,188                                                                                $
                                                                                                                                                $         57,188
                                                                                                                                                          57,188
             TOTAL   CONSTRUCTION COST
             TOTAL CONSTRUCTION        COST     $
                                                $         57,188
                                                          57,188                                                                                $
                                                                                                                                                $         57,188
                                                                                                                                                          57,188
             PROFESSIONAL ENGINEERING
            PROFESSIONAL     ENGINEERING        $
                                                $         25,000
                                                          25,000                                                                                $
                                                                                                                                                $         25,000
                                                                                                                                                          25,000
                    INSPECTION SERVICES
                    INSPECTION   SERVICES       $
                                                $         11,683
                                                          11,683                                                                                $
                                                                                                                                                $         11,683
                                                                                                                                                          11,683
                  RADIOGRAPHY SERVICES
                  RADIOGRAPHY    SERVICES       $
                                                $            --                                                                                 $
                                                                                                                                                $            --
           ENVIRONMENTAL CONTRACTOR
           ENVIRONMENTAL     CONTRACTOR         $
                                                $            --                                                                                 $
                                                                                                                                                $            --
         ELECTRICAL &
         ELECTRICAL   & INSTRUMENTATION
                        INSTRUMENTATION         $
                                                $         16,004
                                                          16,004                                                                                $
                                                                                                                                                $         16,004
                                                                                                                                                          16,004
             RIGHT OF
             RIGHT      WAY CONTRACTOR
                    OF WAY   CONTRACTOR         $
                                                $            --                                                                                 $
                                                                                                                                                $            --
                    SURVEY CONTRACTOR
                    SURVEY   CONTRACTOR         $
                                                $            --                                                                                 $
                                                                                                                                                $            --
                 OUTSIDE LEGAL
                 OUTSIDE  LEGAL SERVICES
                                 SERVICES       $
                                                $            --                                                                                 $
                                                                                                                                                $            --
                TOTAL OUTSIDE
                TOTAL   OUTSIDE SERVICES
                                  SERVICES      $
                                                $         52,687
                                                          52,687                                                                                $
                                                                                                                                                $         52,687
                                                                                                                                                          52,687
                          ROW &
                          ROW  & DAMAGES
                                  DAMAGES       $
                                                $            --                                                                                 $
                                                                                                                                                $            --
                               PERMITTING
                               PERMITTING       $
                                                $            --                                                                                 $
                                                                                                                                                $            --
                                 GAS LOSS
                                 GAS   LOSS     $
                                                $            --                                                                                 $
                                                                                                                                                $            --
                                SUBTOTAL
                                SUBTOTAL        $
                                                $        142,721
                                                         142,721                                                                                $
                                                                                                                                                $        142,721
                                                                                                                                                         142,721
           CONSTRUCTION
           CONSTRUCTION CONTINGENCY
                            CONTINGENCY         $
                                                $         14,272
                                                          14,272                                                                                $
                                                                                                                                                $         14,272
                                                                                                                                                          14,272
                                     AFUDC
                                     AFUDC      $
                                                $            716
                                                             716                                                                                $
                                                                                                                                                $            716
                                                                                                                                                             716
                                SUBTOTAL
                                SUBTOTAL        $
                                                $        157,709
                                                         157,709                                                                                $
                                                                                                                                                $        157,709
                                                                                                                                                         157,709
        CAPITALIZED
        CAPITALIZED OVERHEAD      (BURDEN)
                      OVERHEAD (BURDEN)         $
                                                $            --                                                                                 $
                                                                                                                                                $            --
                            TAX GROSS
                            TAX  GROSS UP UP    $
                                                $            --                                                                                 $
                                                                                                                                                $            --
                  GROSS ESTIMATED
                  GROSS   ESTIMATED COST
                                       COST     $
                                                $        157,709
                                                         157,709                                                                                $        157,709
                                                                                                                                                         157,709


ASSUMPTIONS
ASSUMPTIONS
   Include (Yes/No)
   Include (Yes/No)    Assumptions
                       Assumptions
         Yes
         Yes           See Scoping
                       See Scoping Tab
                                   Tab



      Revision
      Revision                   Date
                                 Date                                    Notes
                                                                         Notes                                Approval
                                                                                                              Approval              Name
                                                                                                                                    Name               Date
                                                                                                                                                       Date
                                                                                                          PM
                                                                                                          PM
                                                                                                          Director
                                                                                                          Director
                                                                                                          VP
                                                                                                          VP

AUTHORITY LEVELS:
AUTHORITY    LEVELS:
             < $100,000
             < $100,000 PROJECT
                        PROJECT MANAGER
                                MANAGER
 $100,000 to $5,000,000
 $100,000 to $5,000,000 MANAGER
                        MANAGER
           > $5,000,000
           > $5,000,000 DIRECTOR
                        DIRECTOR AND
                                 AND VP
                                     VP
USCA Case #23-1157   Document #2009836             Vendor Letter
                                         Filed: 07/27/2023
                                                   Vendor Letter RE
                                                                 RE Increased
                                                                    Page 376
                                                                    Increased SCR of
                                                                              SCR Costs
                                                                                     430
                                                                                  Costs
                                                               – Exhibit 15
                                                 Kinder Morgan —




                        EXHIBIT 15
USCA Case #23-1157            Document #2009836                         Vendor Letter
                                                              Filed: 07/27/2023
                                                                        Vendor Letter RE
                                                                                      RE Increased
                                                                                         Page 377
                                                                                         Increased SCR of
                                                                                                   SCR Costs
                                                                                                          430
                                                                                                       Costs




  Date:        June 6, 2022

  To:

  Subject:                                  –
                              Kinder Morgan —                     SCR System Budgetary Proposal
                                            –
                              Kinder Morgan —                    SCR System Budgetary Proposal

          ,


           has been experiencing both pricing and lead time changes on all of our active projects as well as
  proposals issued. To date, we are seeing a nominal 25% pricing increase and 4-6 week longer
  manufacturing lead times based on the subject projects noted above. We anticipate that later this year or
  early next year that lead times and hopefully pricing will stabilize and possibly decrease.




  Sincerely,




                                                     1 of 1
                                                Page 1
USCA Case #23-1157   Document #2009836                    Performance
                                         Filed: 07/27/2023Performance Testing
                                                                 PageTesting  Invoice
                                                                        378Invoice
                                                                               of 430
                                                                         16
                                                               – Exhibit 16
                                                 Kinder Morgan —




                        EXHIBIT 16
                                16
     USCA Case #23-1157              Document #2009836                   Filed: 07/27/2023Performance
                                                                                                 PageTesting
                                                                                                       379Invoice
                                                                                                             of 430




Kinder Morgan Operating LP "0"                                           March 13, 2021
370 Van Gordon Street                                                    Project No:
Lakewood, CO 80228                                                       Invoice No:
                                                                         Project Manager:
Project                                  Kinder Morgan - 2021



Email authorization by:

          Compressor Station

TRC Environmental provided emission testing on a compressor engine at the Colorado Interstate Gas
                                        Three test runs were conducted on the unit to determine the emission rates of
NOx, VOC and CO for the CDPHE Regulation No. 7 requests. A formal report was created that documented the result
of the testing and suitable for submittal to the state and federal agencies.


Emission Testing of            Compressor -$5,000
Invoice Total Amount - $5,000

Email invoice to:




Professional Services through: March 5, 2021
Fee
    Total Fee                            5,000.00

    Percent Complete                       100.00 Total Earned                              5,000.00
                                                  Previous Fee Billing                          0.00
                                                  Current Fee Billing                       5,000.00
                                                  Total Fee                                             5,000.00

                                                                          Total this Invoice           $5,000.00
     USCA Case #23-1157               Document #2009836                   Filed: 07/27/2023Performance
                                                                                                  PageTesting
                                                                                                        380Invoice
                                                                                                              of 430




Kinder Morgan Operating LP "0"                                            March 13, 2021
370 Van Gordon Street                                                     Project No:
Lakewood, CO 80228                                                        Invoice No:
                                                                          Project Manager:
Project



Email authorization by

Compressor Station

TRC Environmental provided emission testing on two Waukesha compressor engines at the Kinder Morgan Texas
Pipeline, LLC Compressor Station                          . Three test runs were conducted on the unit to determine
the emission of NOx, VOC and CO over three test runs and to determine the compliance status with the federal and
state limits. A formal test report was created that documented the result of the testing and suitable for submittal to the
federal and state agencies.

Emission Testing of Compressor s- $11,950

Invoice Total: $11,950

Email invoice to:


Professional Services through: March 5, 2021
Fee
    Total Fee                            11,950.00

    Percent Complete                        100.00 Total Earned                            11,950.00
                                                   Previous Fee Billing                         0.00
                                                   Current Fee Billing                     11,950.00
                                                   Total Fee                                              11,950.00

                                                                           Total this Invoice            $11,950.00
     USCA Case #23-1157               Document #2009836                   Filed: 07/27/2023Performance
                                                                                                  PageTesting
                                                                                                        381Invoice
                                                                                                              of 430




Kinder Morgan Operating LP "D"                                            April 14, 2021
370 Van Gordon Street                                                     Project No:
Lakewood, CO 80228                                                        Invoice No:
                                                                          Project Manager:
Project


Email authorization by

Client Name:
Location:
Testing Date

TRC Invoice Description: TRC Environmental provided emission testing on a Waukesha compressor engine at the
Kinder Morgan Tejas Pipeline, LLC            Compressor Station near                Three tests runs were conducted
on the unit to determine the emission of NOx, VOC and CO over three test runs and to determine the compliance
status with the federal and state limits. A formal test report was created that documented the result of the testing
and suitable for submittal to the federal and state agencies.

Email invoice to:


Professional Services through: April 9, 2021
Fee
    Total Fee                              6,825.00
    Percent Complete                        100.00 Total Earned                              6,825.00
                                                   Previous Fee Billing                         0.00
                                                   Current Fee Billing                       6,825.00
                                                   Total Fee
                                                                                                         6,825.00

                                                                           Total this Invoice           $6,825.00
USCA Case #23-1157   Document #2009836   Filed: 07/27/2023   Page 382 of 430




                           Appendix C
USCA Case #23-1157     Document #2009836          Filed: 07/27/2023      Page 383 of 430



                 UNITED STATES COURT OF APPEALS
               FOR THE DISTRICT OF COLUMBIA CIRCUIT

  KINDER MORGAN, INC.,

                     Petitioner,

        v.                                            Case No. 23-1181

  U.S. ENVIRONMENTAL PROTECTION
  AGENCY and MICHAEL S. REGAN,
  Administrator, U.S. EPA

                     Respondents.


             DECLARATION OF KENNETH W. GRUBB
     IN
     IN SUPPORT
        SUPPORT OF KINDER MORGAN
                OF KINDER MORGAN INC.'S
                                    INC.’S MOTION
                                           MOTION TO
                                                  TO STAY
                                                     STAY
    THE FINAL RULE OF THE U.S. ENVIRONMENTAL PROTECTION
                   AGENCY PENDING REVIEW

       I, Kenneth W. Grubb, declare the following is true and correct:

       1.    I am Chief Operating Officer for the natural gas pipelines business unit

 at Kinder Morgan, Inc. (Kinder Morgan), one of the largest energy infrastructure

 companies in North America and one of the largest natural gas transporters and

 natural gas storage operators in North America. I have worked for Kinder Morgan

 for 33 years, with roles in Market Development, Project Management, Construction,

 System Design, and Operations.

       2.    I have a Bachelor of Science degree in Electrical Engineering from

 Oklahoma State University. In my 33 years with Kinder Morgan, I have held various



                                         1
USCA Case #23-1157      Document #2009836           Filed: 07/27/2023   Page 384 of 430



 engineering and leadership roles. For the last eleven years, I have held senior level

                         the natural
 leadership roles within the natural gas
                                     gas pipeline
                                         pipeline business
                                                  business unit's
                                                           unit’s operations
                                                                  operations

 department. As Chief Operating Officer of natural gas pipelines, my primary

 responsibility is to ensure safe, reliable, compliant, and efficient operations of the

 natural gas pipeline network. Part of my responsibilities include helping Kinder

 Morgan with environmental regulatory compliance, including emissions regulations

 affecting Kinder
 affecting        Morgan’s operations.
           Kinder Morgan's operations.

       3.     I am over 21 years of age. This declaration is based on my personal

 knowledge and analysis conducted by Kinder Morgan personnel and me.

       4.     II am
                 am providing
                    providing this
                              this declaration
                                   declaration in
                                               in support
                                                  support of
                                                          of Kinder Morgan’s motion
                                                             Kinder Morgan's motion

 to stay
 to stay the
         the U.S.
             U.S. Environmental
                  Environmental Protection Agency’s (EPA)
                                Protection Agency's (EPA) Final
                                                          Final Rule
                                                                Rule adopting
                                                                     adopting aa

 federal implementation plan (FIP) for the 2015 ozone National Ambient Air Quality

 Standards. 88 Fed. Reg. 36,654 (June 5, 2023) (Rule). EPA promulgated the Rule

 after it
 after it concluded that over
          concluded that      twenty States
                         over twenty        had not
                                     States had not satisfied
                                                    satisfied the
                                                              the Clean Air Act's
                                                                  Clean Air Act’s

 requirements, referred
 requirements, referred to
                        to as
                           as "Interstate
                              “Interstate Transport"
                                          Transport” or
                                                     or "Good
                                                        “Good Neighbor"
                                                              Neighbor”

 requirements. For those states, the Rule imposes emissions limits on certain

 industrial sources, also referred to as non-electric generating unit (non-EGU) sources

 (i.e., non-power plant sources). Engines over 1,000 horsepower that are used for

 pipeline transportation of natural gas are included in the non-EGU source categories

 covered by the Rule (pipeline engines). The Rule would require compliance for


                                           2
USCA Case #23-1157       Document #2009836            Filed: 07/27/2023     Page 385 of 430



 pipeline engines beginning May 1, 2026, which is a mere 31 months from the

 effective date of the Rule. Kinder Morgan's goal in
                                    Morgan’s goal in commenting
                                                     commenting on the proposed
                                                                on the proposed

 Rule and filing a motion for stay has never been to avoid regulation altogether;

 rather, Kinder Morgan merely holds a sensible expectation of reasonable regulation.

 Kinder Morgan remains committed to implementing a reasonable and cost-effective

 solution to reduce ozone-precursor emissions.

       5.     As discussed in more detail below, the Rule, if not stayed by the Court,

 will cause immediate and irreparable harm to Kinder Morgan and the public. For

                59111 pipeline engines are subject to the nitrogen oxides emissions
 Kinder Morgan, 591

 thresholds in the Rule. Somewhere between 360 and 443 of those pipeline engines

 will require retrofit, depending on whether EPA determines, in its sole discretion,

 that any individual facility (and the associated pipeline engines) qualifies for facility-

                                             herein.2
 wide averaging, discussed in further detail herein.2


 11     In its comment letter on the proposed rule, Kinder Morgan estimated that
 approximately 950 of its engines would be subject to the rule. Kinder Morgan
 estimates that 591 pipeline engines are subject to the Rule. The difference in the
 values is primarily due to EPA excluding the gathering and boosting segment of the
 oil and gas industry from the Rule, and the fact that EPA exempted emergency
 engines.
 2
        In addition to the discretionary nature of facility-wide averaging,
                                                                    averaging, EPA’s
                                                                                EPA's
 methodology requires an evaluation of averaging of pipeline engine emissions data
 on a rolling basis, based on the prior two ozone seasons. This is problematic insofar
 as the run time of individual pipeline engines at a facility will vary from year-to-
 year. Thus, depending on the year a pipeline engine may require controls based on
 averaging, and then the next year, a different pipeline engine may require controls.


                                             3
USCA Case #23-1157       Document #2009836            Filed: 07/27/2023     Page 386 of 430



        6.    The tremendous effort that would be required to retrofit this

 unprecedented number of existing engines on an incredibly tight timeline will

 inevitably cause significant service disruptions, including electrical power outages

 to consumers and industrial customers, home heating outages, and delays to industry

 supply chains, which pose significant harm to the public interest. The cost to comply

 with the Rule is approximately $1.8 to $2.1 billion for pipeline engines operated

 by Kinder Morgan (which are all either fully or partially owned by Kinder Morgan).

 Kinder Morgan is anticipating spending $80 million over the course of the next 12

 to 18 months, assuming that the FIP remains stayed in eight states as a result of

 pending litigation
 pending            and/or EPA’s
         litigation and/or       Interim Final
                           EPA's Interim Final Rule.
                                               Rule.33 If the stays of the FIP were

 lifted across those states, Kinder Morgan anticipates it would be required to incur an

                                              months.4 In the Interim Final Rule in
 additional $190 million in the next 12 to 18 months.4


 Over the
 Over  the course  of the
           course of  the next
                          next five to ten
                               five to ten years,
                                           years, Kinder Morgan’s analysis
                                                  Kinder Morgan's            indicates that
                                                                   analysis indicates  that
 nearly every individual engine is likely to require controls, which makes the
 financial (or cost-effective) benefit of facility-wide averaging largely obsolete. To
 address this issue, Kinder Morgan considered facility-wide averaging assuming its
 pipeline engines will operate 24 hours a day, 7 days a week, 365 days a year. This
 approach is
 approach   is different
               different than
                          than EPA’s
                                EPA's formula     in the
                                         formula in  the Rule,  which states
                                                         Rule, which   states an
                                                                               an operator
                                                                                  operator
 should use the highest consecutive 30-day operating period during the ozone season
 from the past two years for each pipeline engine.
 3
               Federal “Good
        EPA, Federal             Neighbor Plan"
                         "Good Neighbor     Plan” for
                                                   for the 2015 Ozone
                                                       the 2015         National Ambient
                                                                 Ozone National   Ambient
 Air Quality Standards; Response to Judicial Stays of      of SIP Disapproval Action forfor
 Certain States, released July 6, 2023, unpublished, EPA-HQ-OAR-2021-0668;
 FRL-8670.2-03-OAR (Interim Final Rule).
 4
        This cost estimates the retrofits that Kinder Morgan expects available vendors
 can reasonably achieve in the next 12 to 18 months.


                                             4
USCA Case #23-1157       Document #2009836           Filed: 07/27/2023     Page 387 of 430



 particular, EPA did not expressly stay the effective date of the Rule for pipeline

 engines. Kinder Morgan
 engines. Kinder Morgan and
                        and other industry cannot
                            other industry        rely on
                                           cannot rely on EPA’s uncertain
                                                          EPA's uncertain

            action.5
 regulatory action.5

       7.     Importantly, for nearly 75 percent of
                                      75 percent    Kinder Morgan's
                                                 of Kinder Morgan’s engines (329 of
                                                                    engines (329 of

 443) that will require retrofit, the cost-per-ton to install the required emissions

 control technologies will exceed $7,500, which is the cost-effectiveness threshold

 that EPA stated it used to initially select which emissions controls and thresholds to

                         FIP.6 In
 mandate in its Proposed FIP.6    some cases,
                               In some        Kinder Morgan’s
                                       cases, Kinder Morgan's costs-per-ton
                                                              costs-per-ton are in

 excess of $100,000 for an individual pipeline engine, and Kinder Morgan estimates

 that more than 216 (of 443) pipeline engines would cost more than $20,000 per ton

                              reduced.7
 of nitrogen oxides emissions reduced.'




 5
         Interim Final
         Interim Final Rule,  at 12
                       Rule, at  12 ("At
                                    (“At the
                                          the time
                                               time of
                                                     of this
                                                        this rulemaking,
                                                              rulemaking, the
                                                                          the EPA
                                                                              EPA cannot
                                                                                    cannot
 predict how
 predict  how the
               the Agency's
                   Agency’s future
                              future action
                                     action may affect the amendments being finalized
 in this
 in this action.")
         action.”)
 6
         In arriving at estimated cost-per-ton thresholds, Kinder Morgan evaluated
 costs compared to a five-year average of the operating hours of the individual engine
                               high or
 to balance out any potential high     low years.
                                    or low  years. This  is more
                                                    This is more conservative  than EPA's
                                                                  conservative than EPA’s
 approach which
 approach   which used
                   used "actual
                        “actual emissions
                                 emissions from   the 2019
                                            from the  2019 emissions
                                                             emissions inventory.” 88 Fed.
                                                                       inventory." 88 Fed.
 Reg. at 36,733. Kinder Morgan notes, however, that the cost-per-ton analysis it
 conducted to arrive at the pipeline engine count in this Paragraph 7 does not include
 the "reservation
 the  “reservation charge
                   charge credit”
                           credit" refunds  that Kinder
                                   refunds that  Kinder Morgan     will be
                                                          Morgan will   be required
                                                                           required to
                                                                                    to pay
                                                                                       pay
 its customers for failure to provide contracted capacity. See infra ¶¶ ¶¶ 70−72.
                                                                           70-72.
 7
         In arriving at estimated cost-per-ton thresholds, Kinder Morgan evaluated
 costs compared to a five-year average of the operating hours of the individual engine
 to balance out any potential high or low years.

                                            5
USCA Case #23-1157      Document #2009836          Filed: 07/27/2023    Page 388 of 430



       8.     EPA’s
              EPA's facility-wide
                    facility-wide averaging concept will not reduce the installation

 costs to the
 costs to the EPA’s stated cost-effectiveness
              EPA's stated                    threshold. Kinder
                           cost-effectiveness threshold. Kinder Morgan's
                                                                Morgan’s 443
                                                                         443 pipeline
                                                                             pipeline

                            63 facilities.
 engines are located across 63             Applying EPA's
                               facilities. Applying EPA’s facility-wide
                                                          facility-wide averaging

 concept, and considering costs, Kinder Morgan could only apply facility-wide

 averaging at 29 facilities. Facility-wide averaging would only eliminate 83 engines

                                        than 20
 from requiring retrofit, which is less than 20 percent
                                                percent of Kinder Morgan’s
                                                        of Kinder Morgan's engines
                                                                           engines

 that require control. Averaging also does not materially reduce costs because, in

 many cases, it would cost Kinder Morgan more to over-control several engines at a

 facility, rather than controlling each individual engine to the emissions threshold.

 Thus, on a per-pipeline engine basis, it will cost more to apply facility-wide

 averaging than it will to control each individual pipeline engine. Analysis indicates

 that facility-wide averaging offers no meaningful reductions in costs or the number

 of pipeline engines requiring retrofits to comply with the Rule. At any rate, costs

 committed to compliance cannot be recovered if this Court determines that the Rule

 is unlawful, as Kinder Morgan contends the Court should.

       9.     Compounding these astronomical
              Compounding these astronomical costs is the
                                             costs is the Rule’s unreasonable
                                                          Rule's unreasonable

 timetable for compliance. EPA states that industry must start now to meet the

 compliance deadline: The
 compliance deadline: The Rule
                          Rule directs
                               directs "source
                                       “source owners
                                               owners and
                                                      and operators
                                                          operators that
                                                                    that they
                                                                         they

 should begin engineering and financial planning . . . to be prepared to meet this

 implementation timetable."
 implementation timetable.” 88
                            88 Fed.
                               Fed. Reg.
                                    Reg. at 36,755. As
                                         at 36,755. As outlined
                                                       outlined in this declaration,
                                                                in this declaration,


                                           6
USCA Case #23-1157     Document #2009836          Filed: 07/27/2023   Page 389 of 430



 even if Kinder Morgan begins planning, design, and other pre-installation work

 immediately to
 immediately to attempt to meet
                attempt to meet EPA’s
                                EPA's emission
                                      emission limits
                                               limits by the compliance deadline

 of May 1, 2026, Kinder Morgan will not achieve compliance in less than three years.

       10.   Considering its real-world experience and depending on whether and to

 what extent Kinder Morgan could meaningfully apply facility-wide averaging,

 Kinder Morgan's
 Kinder Morgan’s analysis
                 analysis suggests
                          suggests aa realistic
                                      realistic completion date of
                                                completion date    no earlier
                                                                of no         than
                                                                      earlier than

 March 2029 as the best-case scenario, and December 2030 as the more likely

 scenario. Both dates are well beyond May 1, 2026. As a result, the Rule would

                 percent of
 require over 50 percent of Kinder
                            Kinder Morgan’s pipeline engines
                                   Morgan's pipeline         be granted
                                                     engines be granted aa timeline
                                                                           timeline

 extension, and some retrofits could extend beyond the discretionary timeline

 extensions the EPA suggests it would consider.

       11.   Regardless of the timetable, compliance will result in significant

 interruptions of service to the public. For example, one computer simulation

 modeling exercise shows that if Kinder Morgan sought to achieve full compliance

 on one pipeline segment by May 1, 2026, it would fail to fulfill hundreds of

 thousands of dekatherms/day of natural gas capacity, which equates to a failure to

 provide natural gas to millions of homes for heat and cooking, and hot water for

 bathing. These modeling exercises provide only one snapshot of a single Kinder

 Morgan pipeline segment. These service interruption impacts would be




                                         7
USCA Case #23-1157       Document #2009836           Filed: 07/27/2023    Page 390 of 430



 compounding across Kinder Morgan pipelines, as well as the national natural gas

 pipeline transportation sector.

       12.      The failure to provide continuous service will also cause Kinder

 Morgan to violate its obligations to the Federal Energy Regulatory Commission

 (FERC) under the Natural Gas Act. Breaks in continuous service require Kinder

 Morgan to refund charges to natural gas shippers, resulting in additional significant

 charges and costs that EPA did not consider, up to tens of millions of dollars per
                                                                                per

 individual pipeline
            pipeline segment. Indeed in the example discussed below, the charges

 were estimated at $120 million for only three segments.

       13.      Thus, absent a stay, Kinder Morgan will be irreparably harmed.

  Kinder Morgan is an Indispensable Player in the Natural Gas Supply Chain.

       14.      The natural gas industry involves three basic sectors: production and

 processing; transmission and storage; and distribution to consumers. Once extracted

 from the ground, oil and natural gas are transported to processing plants and

 processed into pipeline-quality natural gas. From there, natural gas transmission

 pipelines (either intrastate or interstate) move the natural gas to large industrial and

 commercial customers (such as power companies) and local distribution companies.

 Local distribution companies then deliver gas to retail consumers like homes and

 businesses to use for heating, cooking, fueling hot water heaters and other

 necessities.



                                            8
USCA Case #23-1157      Document #2009836           Filed: 07/27/2023    Page 391 of 430



       15.    Natural gas transmission pipelines and storage are indispensable steps

 in the natural gas supply chain. These pipelines form a vast cross-country highway

 of sorts, connecting sources of natural gas to the ultimate consumers. Natural gas is

 used to generate electricity for residential, commercial, and industrial applications;

 to heat and cool our homes; to cook food for our families; to fuel hot water heaters

 for bathing and to serve other necessary functions that support a basic standard of

 living. Underground storage of natural gas is similarly critical to the supply chain.

 As the term implies, underground storage of natural gas involves storing natural gas

 in underground formations. Storage capacity ensures that sufficient natural gas is

 available regardless of seasonal ebbs and flows of natural gas production or

 consumption. It makes gas reliably available to consistently serve basic human needs

 every hour of every day of every year, including at peak times during the coldest

 winter nights (for heating) and the hottest summer days (for electric power

 generation for air conditioning). Figure 1, below, shows how natural gas

 transmission and storage play a critical role in the natural gas supply chain:




                                           9
USCA Case #23-1157                    Document #2009836                              Filed: 07/27/2023          Page 392 of 430



             Figure 1: The Natural Gas Supply Chain


         •    Production &PrOCeSsitit;
                                                            O
                         .• , J Welt Corn
                 Producrri We11                                                             was 00 tendliedes
              3 C+188annallnes
                 GstIvenni and BOost.riCornorts‘Or$
              S. Gas Processing Rani



                     Transmission &Storage
                     6   Tranimission CornOrt‘sor ati.ons
                     7   7ransm sli on Plpelone
                     8   1.1nr.4**round Storage




                               Distribution                                             9
                               9 D. stnIxtion Mains
                               10. A re.d atom and Meters for
                                       a. O Gala
                                       b Large Whine CiscloraerS
                                           Rasidenbal Customers
                                                                                                                     10d
                                       d Commamal Witmer

  Source Adapted fmrn the American Gas Association and EPA Natural Gas STAR Prog,a


             16.     Kinder Morgan has interests in approximately 62,000 miles of natural

 gas transmission pipelines and owns approximately 700 billion cubic feet of

 underground storage capacity for natural gas. Kinder Morgan operates within 44

 states and
 states and has
            has natural
                natural gas
                        gas transmission
                            transmission facilities
                                         facilities in
                                                    in 32
                                                       32 states.
                                                          states. Kinder
                                                                  Kinder Morgan's
                                                                         Morgan’s

 natural gas transmission pipelines are connected to every important natural gas

 resource in the lower 48 states, including the Bakken, Eagle Ford, Marcellus,

 Permian, Utica, Uinta, Haynesville, Fayetteville, Barnett, Mississippi Lime, and

 Woodford. Kinder
 Woodford. Kinder Morgan's
                  Morgan’s transportation
                           transportation of natural gas plays a significant role in

 meeting both
 meeting both the
              the nation's
                  nation’s long-term
                           long-term natural gas supply needs as well as its emission-

 reduction goals,
 reduction goals, particularly
                  particularly supporting
                               supporting the
                                          the electricity
                                              electricity sector's
                                                          sector’s transition
                                                                   transition away
                                                                              away from
                                                                                   from

 coal-fired power plants.

                                                                    10
USCA Case #23-1157      Document #2009836           Filed: 07/27/2023   Page 393 of 430



       17.    Approximately 40 percent of the natural gas consumed in the United

 States is transported by pipelines owned or operated by Kinder Morgan companies.

 Key Kinder Morgan natural gas pipeline assets include Natural Gas Pipeline

 Company of America LLC (which serves the high-demand Chicago market);

 Tennessee Gas Pipeline (which serves the supply-restricted areas in the Northeast

 including New York City and Boston as well as the Gulf Coast); Southern Natural

 Gas (which serves the southeastern United States); intrastate pipelines in Texas (the

 largest producer and consumer of natural gas in the United States); and El Paso

 Natural Gas Pipeline and Mojave Pipeline (which serve the southwestern United

 States, including supply-restricted California markets).

       18.    Natural gas-fired reciprocating internal combustion engines (i.e.,

 pipeline engines) make it possible for companies like Kinder Morgan to serve these

 energy markets and provide natural gas for public use. These engines are used at

 compressor stations along
 compressor stations along Kinder
                           Kinder Morgan’s natural gas transmission pipelines to
                                  Morgan's natural

 compress the natural gas that Kinder Morgan transports. Compressing the natural

 gas increases its pressure, enabling the gas to flow along the pipeline system.

 Compressor stations are typically spaced about 40 to 100 miles apart, depending on

 topography, pipeline routes, pipeline diameter, and other factors. Natural gas is re-

 compressed at each station to facilitate its movement to the next station, ultimately

 arriving at (1) the facilities of industrial consumers including power generation, (2)



                                          11
USCA Case #23-1157      Document #2009836          Filed: 07/27/2023    Page 394 of 430



 underground storage facilities for storage until demand increases (like during winter

 months), or (3) local distribution companies for distribution to residential,

 commercial, and other industrial consumers.

       19.    Although pipeline
              Although pipeline engines are "engines,"
                                engines are “engines,” these
                                                       these are
                                                             are not
                                                                 not the
                                                                     the typical
                                                                         typical

 engines found in cars. Pipeline engines are very expensive and very large. They

 weigh at least 100,000 pounds (50 tons) and as much as 365,000 pounds (182.5 tons).

 To put that weight in perspective, an average pickup truck weighs approximately

 5,000 pounds. This means a large pipeline engine weighs the same as approximately

 73 pickup trucks. The price of a new pipeline engine typically ranges from about

 $300,000 (for engines with less than 1,000 horsepower—five times greater than the

 horsepower of a standard car) to as much as $7 million (for engines larger than 5,000

 horsepower).

       20.    Protecting public health, safety, welfare, and the environment has

                                                    per the
 always been a priority for Kinder Morgan. Further, per the Company's
                                                            Company’s commitment
                                                                      commitment

 to sustainable operations, Kinder Morgan is a founding member of ONE Future, a

 unique coalition made up of members across the natural gas industry focused on

 identifying policy and technical solutions to improve the management of emissions

 associated with the production, gathering, processing, transmission, and distribution

 of natural gas. Members of ONE Future are committed to continuously improving

 their emissions management to achieve voluntary reductions in emissions and to



                                          12
USCA Case #23-1157      Document #2009836           Filed: 07/27/2023   Page 395 of 430



 assure efficient
 assure           increased use
        efficient increased use of natural gas.
                                of natural gas. In
                                                In connection with Kinder
                                                   connection with Kinder Morgan's
                                                                          Morgan’s

 membership in
 membership in ONE Future, the
               ONE Future, the Company
                               Company joined
                                       joined EPA’s
                                              EPA's Methane Challenge
                                                    Methane Challenge

 program in 2016. As part of this program, Kinder Morgan committed to achieving a

 methane emission intensity target of 0.31 percent by 2025. In 2022, Kinder Morgan

 achieved an emissions intensity of 0.03 percent. Surpassing the 0.31 percent

 intensity target
 intensity target by
                  by such
                     such aa wide
                             wide margin
                                  margin reflects
                                         reflects Kinder
                                                  Kinder Morgan's
                                                         Morgan’s deep
                                                                  deep commitment
                                                                       commitment

 to reducing emissions from its operations. From 2020 to 2022, Kinder Morgan also

 achieved voluntary reductions in carbon dioxide equivalent emissions of 10.3

 million metric tons and voluntary reductions in methane emissions of 19.1 billion

 cubic feet, resulting in an estimated $104 million in natural gas saved.

             The
             The Rule Applies to
                 Rule Applies    Many of
                              to Many    Kinder Morgan's
                                      of Kinder Morgan’s Engines.
                                                         Engines.

       21.    For the first time, the Rule establishes nitrogen oxide emission limits

 for the natural
 for the natural gas
                 gas industry's
                     industry’s use
                                use of
                                    of reciprocating internal combustion
                                       reciprocating internal combustion engines in
                                                                         engines in

 pipeline transportation. The Rule imposes stringent regulations on engines of 1,000

 horsepower and greater located in the States EPA says did not satisfy the Clean Air

 Act’s requirements.
 Act's requirements. In particular, under
                     In particular, under the
                                          the Rule, “two stroke
                                              Rule, "two stroke lean
                                                                lean burn"
                                                                     burn” engines
                                                                           engines

 must achieve an emissions rate limit of 3.0 grams per horsepower per hour (g/hp-

 hr), "four
 hr), “four stroke
            stroke lean burn” engines
                   lean burn"         must achieve
                              engines must achieve an
                                                   an emissions rate limit
                                                      emissions rate limit of 1.5 g/hp-
                                                                           of 1.5 g/hp-

 hr, and
 hr, and "four
         “four stroke
               stroke rich
                      rich burn"
                           burn” engines must achieve
                                 engines must achieve an
                                                      an emissions rate limit
                                                         emissions rate limit of
                                                                              of 1.0
                                                                                 1.0

 g/hp-hr. By way of comparison and to provide context, in the Rule, EPA assumes



                                          13
USCA Case #23-1157      Document #2009836           Filed: 07/27/2023   Page 396 of 430



 the uncontrolled industry average emissions rate for a two stroke lean burn engine is

 16 g/hp-hr, over five times higher than the emissions threshold required in the Rule.

 For additional context, the Rule is targeting ozone-precursor emissions to address

 the maintenance and attainment of the 2015 Ozone National Ambient Air Quality

 Standard. Specifically, this Rule targets nitrogen oxides, as an ozone-precursor.

 Importantly, nitrogen oxides are not greenhouse gas emissions, and therefore, a

 reduction in nitrogen oxides does not reduce local, regional, national or global

 greenhouse gas emissions.

       22.    The stringent emissions limits in the Rule can be satisfied only by

 implementing controls on reciprocating internal combustion engines. “Controls”
                                                            engines. "Controls"

 describe a range of aftermarket technological modifications to engines to limit their

 emissions. The technical and cost practicability of installing controls on any

 individual engine depends on site-specific considerations such as space for the

 installation of the control, the availability of sufficient power, the make, model and

 age of the engine, and, of course, the emissions reductions required to meet the

 Rule’s requirements. Costs
 Rule's requirements.       are largely
                      Costs are largely driven
                                        driven by
                                               by the
                                                  the fact that control
                                                      fact that         technologies
                                                                control technologies

 are limited, and where they are feasible, it is no small task to address aftermarket

 retrofit technologies on these engines.

       23.    These strict new limits under the Rule apply to approximately 591 of

 Kinder Morgan's
 Kinder Morgan’s engines, which are
                 engines, which     located across
                                are located across 90 transmission compressor
                                                   90 transmission



                                           14
USCA Case #23-1157       Document #2009836            Filed: 07/27/2023    Page 397 of 430



 stations. Of those 591 engines, nearly 75 percent (about 443 engines) operate above

                                 Rule.'8 Those 443 engines are located across 63
 the emissions thresholds in the Rule.

 compressor stations. Many of these engines operate close to the emissions

 thresholds, but would require additional, incremental controls. Notably, 469 of

 Kinder Morgan's
 Kinder Morgan’s 591 pipeline engine
                 591 pipeline        are two
                              engine are two stroke
                                             stroke lean burn engines,
                                                    lean burn          which limits
                                                              engines, which limits

 control technologies. Considering cost-effectiveness of the control technologies,

 Kinder Morgan could only apply facility-wide averaging at 29 of 63 compressor

 stations. This would exempt only 83 of 443 engines (less than 20 percent) from

 requiring controls under the Rule, leaving Kinder Morgan at least 360 engines to

 retrofit by May 1, 2026.

       24.    Kinder Morgan
              Kinder Morgan offered
                            offered extensive
                                    extensive comments on EPA’s
                                              comments on       proposed rule,
                                                          EPA's proposed rule,

 including detailed exhibits. Kinder Morgan specifically raised concerns regarding

 EPA’s underlying data
 EPA's underlying data (in
                       (in particular
                           particular with
                                      with respect
                                           respect to
                                                   to pipeline
                                                      pipeline engine
                                                               engine count and
                                                                      count and

 estimated actual emissions), technical feasibility analyses, cost and cost-

 effectiveness calculations, and unreasonable timelines, among other concerns.

 Kinder Morgan also offered an alternate proposal for EPA and states to comply with

 the Clean Air Act, suggesting EPA promulgate a model rule (as it has done in the



 8
       While 591
       While  591 of
                   of Kinder Morgan’s engines
                      Kinder Morgan's   engines are subject to
                                                are subject to the
                                                               the Rule (i.e., are
                                                                   Rule (i.e.,  are larger
                                                                                    larger
 than 1,000 horsepower), 128 of those engines currently operate below the emissions
 thresholds in
 thresholds in the
               the Rule.
                    Rule. Kinder  Morgan’s efforts
                          Kinder Morgan's            to install
                                             efforts to install controls
                                                                controls on    these 128
                                                                         on these     128
 engines across the Unites States has taken place over the course of multiple decades.

                                            15
USCA Case #23-1157      Document #2009836         Filed: 07/27/2023   Page 398 of 430



 past) that each state would adopt, which would both allow emissions averaging at

 company-wide level within a state, and strictly consider cost-effectiveness and

 technical feasibility thresholds. Kinder Morgan welcomed the opportunity to engage

 and dialogue with EPA to identify a reasoned solution. In the interim, Kinder

 Morgan respectfully requested EPA re-publish a revised proposal and incorporate

 Kinder Morgan's
 Kinder Morgan’s workable
                 workable state-wide,
                          state-wide, company-wide averaging program, coupled

 with a cost-effectiveness threshold.

     The Rule Imposes Enormous Costs of Compliance on Kinder Morgan.

       25.    The installation of controls at all required engines would require an

 immense and unprecedented effort on behalf of Kinder Morgan and its contractors.

 Kinder Morgan has experience installing control equipment at its units, but not on

 the scale and magnitude as required by the Rule, and certainly not within the

 mandated timeline of less than three years. Kinder Morgan has already begun

 extensive planning to comply with the Rule, which requires Kinder Morgan to make

 immediate expenditures.

       26.    Installing the
              Installing the necessary
                             necessary controls to achieve
                                       controls to achieve the
                                                           the Rule’s required
                                                               Rule's required

 emissions limits will
 emissions limits will be
                       be astronomically
                          astronomically expensive,
                                         expensive, even by EPA's
                                                    even by EPA’s own
                                                                  own optimistic
                                                                      optimistic

 estimates. Even incorrectly assuming an average cost-per-ton of $4,981 for pipeline

 engines, EPA anticipates that operators will be required to spend approximately

 $425,000 per engine in the year 2026 on installing the required controls. 88 Fed.



                                         16
USCA Case #23-1157      Document #2009836            Filed: 07/27/2023    Page 399 of 430



 Reg.
 Reg. at 36,739. Using
      at 36,739. Using EPA’s incorrect data,
                       EPA's incorrect data, for Kinder Morgan’s
                                             for Kinder          443 engines
                                                        Morgan's 443         alone,
                                                                     engines alone,

 EPA’s
 EPA's estimate
       estimate amounts to Kinder
                amounts to Kinder Morgan
                                  Morgan spending
                                         spending more
                                                  more than
                                                       than $188 million.
                                                            $188 million.

 However, using actual and current cost data, Kinder Morgan will spend between

 $1.8 and $2.1 billion to comply with the Rule, which amounts to approximately

 $4.74 million (no facility-wide averaging) to $5 million (facility-wide averaging)

 per pipeline engine. Interestingly, the overall cost-per-engine would be higher if

 Kinder Morgan elects to apply facility-wide averaging. This is largely because it will

 cost Kinder Morgan more per pipeline engine to overcontrol an engine, as opposed

 to controlling
 to controlling all
                all engines
                    engines from the start.
                            from the start. This
                                            This result
                                                 result is
                                                        is contrary to EPA's
                                                           contrary to EPA’s suggestion
                                                                             suggestion

 that Kinder
 that Kinder Morgan’s
             Morgan's costs will decrease
                      costs will decrease dramatically
                                          dramatically by
                                                       by applying
                                                          applying facility-wide
                                                                   facility-wide

 averaging.

       27.    EPA’s
              EPA's cost
                    cost estimates
                         estimates are wrong because
                                   are wrong because EPA
                                                     EPA relies on extremely
                                                         relies on extremely

 outdated cost data, which is far lower than actual costs Kinder Morgan experiences

 for available control technology. Even though EPA expressly recognized that the

 control technologies it selected will not be cost-effective considering the variation

 of costs associated with different types of technologies and as applied to different

 types and vintages of engines, the agency nonetheless proceeded with the identified

 control technologies and associated emissions reductions.

       28.    Kinder Morgan has calculated that its costs would be between $1.8

 billion and $2.1 billion to install required controls for all of its affected engines to



                                           17
USCA Case #23-1157      Document #2009836            Filed: 07/27/2023    Page 400 of 430



 satisfy the applicable emissions rate limits under the Rule. In the next 12 to 18

 months, Kinder Morgan will be required to spend nearly $80 million to attempt to

 comply with the Rule, or $270 million if the individual state stays (put in place by

 other Circuit Courts) are lifted, with no ability to recover the costs from the

 government. These costs will include but are not limited to the cost of contracting

 for labor, parts, engineering, planning, permitting, and other capital costs.

       29.    Importantly, for 329 (of 443) engines, the costs to achieve the emissions

 threshold will exceed the $7,500 per ton cost-effectiveness threshold that EPA relied

 on in its Proposed FIP to determine reasonable control technologies for this segment

 of industry. Kinder Morgan offered extensive comments during the comment period,

 producing detailed and site-specific studies of pipeline engines operated by Kinder

 Morgan, analyzing and demonstrating that the cost-per-ton of nitrogen oxide

 reduced can be in excess of $600,000 in some circumstances. For this declaration,

 Kinder Morgan provides a couple of examples of the costs-per-ton estimates

 (evaluated as of 2022) required to control engines subject to the Rule in the following

 two paragraphs. Each of these examples were provided to EPA during the comment

 period.

       30.    Kinder Morgan evaluated the costs of adding selective catalytic

 reduction to a type of two stroke lean burn engine built by Worthington. Kinder

 Morgan estimates capital costs of $6,215,151 to install a control technology referred



                                           18
USCA Case #23-1157      Document #2009836          Filed: 07/27/2023    Page 401 of 430



 to as selective catalytic reduction (SCR). The largest component of this cost

 ($3,138,700) is for the construction contractor (both the primary and secondary), and

 the second-largest component ($1,326,500) is for the control technology materials.

 This estimate is dated September 8, 2021, meaning that the inflationary and market

 (i.e., high-demand) environment has driven these costs up even higher. Further, the

 resulting cost-per-ton of nitrogen oxide reduced by adding SCR at this engine would

 be approximately
 be approximately $19,158 per ton,
                  $19,158 per ton, which
                                   which is
                                         is far higher than
                                            far higher than EPA’s initial estimates
                                                            EPA's initial

 of no more than $7,500 per ton.

       31.    In its cost analyses, EPA assumed SCR is the preferred, or most used,

 technology. That is not the case for Kinder Morgan. SCR is an add-on control system

 that removes
 that removes nitrogen
              nitrogen oxides
                       oxides from
                              from aa turbine's
                                      turbine’s exhaust gas by causing a chemical
                                                exhaust gas

 reaction between nitrogen oxides and ammonia gas. The ammonia gas is added prior

 to the exhaust reaching the SCR catalyst, and the chemical reaction occurs as the

 exhaust passes through the catalyst chamber. The process requires a significant

 amount of ammonia in quantities that are regulated by the Occupational Safety and

 Health Standards, Process Safety Management regulations for hazardous chemicals.

 Further, even without these other environmental and regulatory challenges, SCR

 does not function unless the exhaust temperature is sufficiently high. Many of

 Kinder Morgan's
 Kinder Morgan’s two
                 two stroke
                     stroke lean
                            lean burn
                                 burn engines do not
                                      engines do not operate at high
                                                     operate at high enough
                                                                     enough




                                          19
USCA Case #23-1157       Document #2009836           Filed: 07/27/2023   Page 402 of 430



 temperatures to allow for effective control and therefore SCR is not a universally

 viable option.

       32.    Kinder Morgan also evaluated the costs for a four stroke lean burn

                                                        to meet
 engine manufactured by Ingersoll-Rand (model: KVG-310) to meet the
                                                                the Rule’s 1.0
                                                                    Rule's 1.0

 g/hp-hr limit. The project would require non-selective catalytic reduction, air-fuel

 ration controllers, and adding turbochargers to meet the 1.0 g/hp-hr limit, resulting

 in a total project cost of $5,684,158. Based on the level of emissions reductions

 achieved, the resulting cost-per-ton of nitrogen oxide reduced would be $684,169,

 which greatly
 which greatly exceeds
               exceeds EPA’s
                       EPA's estimates.
                             estimates. This estimate reflects the likely costs for all

 three of
 three    Kinder Morgan's
       of Kinder Morgan’s four stroke lean
                          four stroke lean burn
                                           burn Ingersoll-Rand
                                                Ingersoll-Rand Engines.

     Case-by-Case Emissions Exemptions and the Facility-Wide Emissions
    Averaging Concepts Do Not Meaningful Reduce the Enormous Costs of
                     Compliance on Kinder Morgan.

       33.    Recognizing the cost challenges in the pipeline transportation sector,

 EPA purports to provide relief through two options: case-by-case exemptions and

 facility-wide averaging. Neither option provides the requisite relief. And, beyond

 the substance, when more engines will go through the exception process than the

 Rule itself, it proves how illogical the Rule is.

       34.    The Rule includes a provision for case-by-case exemptions that would

 allow EPA
 allow     to approve,
       EPA to          at the
              approve, at the agency’s sole discretion,
                              agency's sole discretion, unit-specific emissions rates.

 This provision does not eliminate the enormous costs imposed on Kinder Morgan.


                                            20
USCA Case #23-1157      Document #2009836          Filed: 07/27/2023    Page 403 of 430



 Kinder Morgan anticipates that it will need to submit case-by-case requests for at

 least 250
 least 250 engines. EPA requires
           engines. EPA requires aa showing
                                    showing of “extreme economic
                                            of "extreme          hardship” to
                                                        economic hardship" to

 approve a request for a unit-specific emission rate, a term that EPA has not defined

 (either in narrative or with a cost-per-ton value), and Kinder Morgan has no way to

 assess what the exemption means. EPA is also requiring all case-by-case requests be

 submitted to EPA no later than August 5, 2024 (one year after the effective date of

 the Rule). Each exemption request requires expansive technical, emissions profiling,

 and cost analysis that are no simple feat. Neither Kinder Morgan nor EPA have

 processed exemptions on this scale, and EPA has also not offered any anticipated

 timeline by which applications for individual unit-specific exemptions would be

 processed. Kinder Morgan cannot rely on a remote, and completely discretionary,

 chance of relief on only certain, individual engines. To attempt compliance with the

 Rule, Kinder Morgan must begin implementing engine controls on all of its pipeline

 engines now, at great expense.

       35.    EPA also suggests that the Rule has built-in compliance flexibility to

 mitigate any
 mitigate any costs
              costs concerns by way
                    concerns by way of the EPA’s
                                    of the EPA's facility-wide
                                                 facility-wide averaging proposal.

 EPA’s
 EPA's facility-wide
       facility-wide averaging program would allow an operator to take a facility-

 wide emissions
 wide           “cap,” which
      emissions "cap," which would
                             would be
                                   be equal to the
                                      equal to the total
                                                   total nitrogen
                                                         nitrogen oxide
                                                                  oxide emissions
                                                                        emissions

 allowed for that facility based on the pipeline engine-specific emissions thresholds.

 In other words, if the average emissions from all the subject pipeline engines at the



                                          21
USCA Case #23-1157      Document #2009836           Filed: 07/27/2023   Page 404 of 430



 facility equal the average emissions thresholds for those pipeline engines under the

 Rule, then the facility (and all engines) are in compliance. In theory, this provision

 allows an
 allows an operator to "over
           operator to “over control” some engines
                             control" some         to achieve
                                           engines to achieve lower
                                                              lower emissions than
                                                                    emissions than

 those required by the Rule, and in exchange, other pipeline engines would not require

 any modification or control.

       36.    As a threshold matter, the formula codified in the Rule has an error. If

 applied strictly as drafted, the equation gives an operator a cap it could most likely

 never exceed and it would most likely not be required to control any units on the

 site. The error is that the conversion factor from grams per day to tons per day is

 improperly applied. These values calculated as codified leaves both the facility-wide

 average cap and facility-wide average actual emissions in grams per day, not tons

 per day, with the facility wide average cap multiplied by an additional factor of

 907,184.74.
 907,184.74. II expect this was
                expect this was not
                                not EPA’s intent. This
                                    EPA's intent. This further undermines EPA's
                                                       further undermines EPA’s

 facility-wide averaging approach. For purposes of this declaration, however, Kinder

 Morgan applied the formula, correcting the equation error.

       37.    If applied as corrected, facility-wide averaging would have an operator

 determine the highest consecutive 30-day operating period during the ozone season

 from the past two years for each engine. The operator would then calculate the

 average daily
 average daily operating hours for
               operating hours for each
                                   each engine,
                                        engine, and multiply those
                                                and multiply those hours
                                                                   hours by
                                                                         by the
                                                                            the unit's
                                                                                unit’s

 design horsepower and the applicable rule limit (i.e., g/hp-hr). The operator would



                                          22
USCA Case #23-1157       Document #2009836           Filed: 07/27/2023    Page 405 of 430



 then convert to tons per day for each engine and sum the resultant values to get a

 facility-wide cap in tons per day of nitrogen oxides. Using facility-wide averaging,

 theoretically, the facility has the flexibility to apply controls on one or more engines

 at its facility to meet this facility-wide cap. As explained below, this concept does

 not work in practice.

       38.    EPA extrapolated this theory to its data set of 3,005 pipeline engines

 subject to the Rule. By its calculation, EPA determined that averaging would only

 require controls on one-third of all engines in the transmission pipeline sector that

 are subject to the Rule. If accurate, this would mean that of the 3,005 engines subject

 to the rule, EPA believes only 905 would require controls. The problem is the very

 small, and unrepresentative data set EPA used to justify facility-averaging.

 Specifically, EPA relied on a sample set of ten facilities (a total of 43 pipeline

 engines)
 engines) from
          from aa total
                  total of
                        of 713
                           713 facilities (and 3,005
                               facilities (and 3,005 pipeline
                                                     pipeline engines). EPA’s ten
                                                              engines). EPA's ten

 selected facilities average 8.3 engines per facility. As discussed below, that is not

 representative of the facilities subject to the Rule. Of the 43 engines that EPA

 deemed to be controlled in the facility-wide averaging plan, only 34 of these engines

 appear in
 appear in EPA's
           EPA’s 905-engine
                 905-engine subset, while the rest of the 9 engines do not (and thus

 are assumed not subject to emissions thresholds under Rule). EPA also did not

 consider pipeline engines located at any facility in Louisiana, the state with the

 highest number of covered pipeline engines under the Rule. Further, the ten facilities



                                           23
USCA Case #23-1157       Document #2009836            Filed: 07/27/2023     Page 406 of 430



 that EPA evaluated are located in 6 states, which constitutes less than half of the 20

 states subject to pipeline engines requirements under the Rule. This is a consequence

 of selecting sample facilities to use in the facility-wide averaging approach that are

 biased, non-representative, and represent only a very small sample of the engines in

 the 905-engine subset. The bottom line is that the sample set that EPA used to

 extrapolate in support of the entire Rule is not representative of the number of

 facilities at each compressor station, the technology types, engine design capacity,

 and annual nitrogen oxide emissions. Furthermore, EPA did not provide

 documentation on the process that EPA followed while selecting the ten sample

 facilities.

        39.    Figure 2 below shows the distribution of the 905 engines across all 307

 facilities subject to the Rule. This distribution reflects that 133 facilities (out of the

 307 total facilities, or 43% of the facilities) have only one engine, approximately

 58% of the 307 facilities have two or fewer engines, and approximately 90% of the

 307 facilities
 307            have 6
     facilities have 6 or
                       or fewer
                          fewer engines. By comparison,
                                engines. By comparison, EPA’s ten sample
                                                        EPA's ten sample facilities
                                                                         facilities

 average 8.3 engines per facility, and none of them contain only one engine. This

 skews EPA’s
 skews       averaging results.
       EPA's averaging results.




                                            24
USCA Case #23-1157                     Document #2009836                                       Filed: 07/27/2023                 Page 407 of 430




 Figure 2: The Distribution of Engines Across Facilities Subject to the Rule,
 Compared
 Compared toto EPA’s Sample Set
               EPA's Sample Set
                                                                    Cumulative Share (/0 )
              140                                                                                                                100%
                                                                                            8.3 Engines Per Facility
                                                                                            (Evaluated Facilities in             90%
              120                                                                           Facility-Wide Averaging
                                                                                            Process)
                                                                                                                                 80%

              100                                                                                                                70%

                                                                                                                                 60%    a)
                                                                                                                                        co
         3     80
         LL
         6                                                                                                                       50% a

               60                                                                                                                       0
                                                                                                                                 40%
         E
         z
              40                                                                                                                 30% to

                                                                                                                                 20%
              20
                                                                                                                                 10%

               0                                                                     •                                           0%
                               2        3        4        5       6    7      8               9      10     11         12   13
                                                                Number of Engines
         Sources: Non-EGU Facilities and Units.xlsx; Pipeline Natural Gas - Engine Analysis data




       40.          Notably, two
                    Notably, two of
                                 of Kinder
                                    Kinder Morgan's
                                           Morgan’s compressor
                                                    compressor stations
                                                               stations were
                                                                        were included
                                                                             included in
                                                                                      in

 the very small sample set of the ten facilities EPA analyzed, and Kinder Morgan can

 show with
 show with precision
           precision how
                     how EPA’s
                         EPA's facility-wide
                               facility-wide averaging analysis does not work.

 These facilities are Tennessee Gas Pipeline Station 214 and Tennessee Gas Pipeline

 Station 209.

       41.          At Tennessee Gas Pipeline Station 209 (a facility owned and operated

 by Kinder Morgan), EPA assumed that only 9 of 13 pipeline engines would require

 controls based on facility-wide averaging. Considering the averaging data only, and

                                                                            25
USCA Case #23-1157      Document #2009836           Filed: 07/27/2023   Page 408 of 430



 disregarding costs,
 disregarding        Kinder Morgan’s
              costs, Kinder          actual emissions
                            Morgan's actual           data demonstrates
                                            emissions data demonstrates that
                                                                        that Kinder
                                                                             Kinder

 Morgan would have to over-control 10 of the 13 pipeline engines to make the

                                                EPA's emissions
 facility-wide averaging work. However, neither EPA’s           averaging
                                                      emissions averaging

 calculation (9 engines
 calculation (9 engines requiring
                        requiring control) nor Kinder
                                  control) nor        Morgan’s (10
                                               Kinder Morgan's (10 engines requiring
                                                                   engines requiring

 control) considers cost-effectiveness. Considering costs, it would be more cost-

 effective for Kinder Morgan to retrofit all 13 pipeline engines than it would be for

 Kinder Morgan to overcontrol 10 pipeline engines. Therefore, the Station 209

 example does not support an overall two-thirds cost savings across Rule applicability

 using facility-wide averaging.

       42.    Tennessee Gas Pipeline Station 214 (owned and operated by Kinder

 Morgan) has a similar result. This facility operates 13 pipeline engines. EPA applied

 facility-wide averaging and calculated that only 4 of the 13 engines would require

 controls. This is however, a faulty and non-representative sample. EPA fails to

 clarify that the remaining 9 engines that EPA says do not require controls are already

 controlled and operating below the emissions thresholds in the Rule. So realistically,

 facility-wide averaging at this facility just means every engine onsite requires

 controls.

       43.    This type
              This type of
                        of discrepancy
                           discrepancy between
                                       between EPA’s
                                               EPA's assumptions and reality
                                                     assumptions and reality is rife
                                                                             is rife

 across Kinder
 across Kinder Morgan's
               Morgan’s fleet. Considering facility-wide
                        fleet. Considering facility-wide averaging on a cost-

 effective basis, Kinder
 effective basis, Kinder Morgan’s analysis shows
                         Morgan's analysis shows it
                                                 it could
                                                    could only apply facility-wide
                                                          only apply facility-wide



                                          26
USCA Case #23-1157      Document #2009836           Filed: 07/27/2023    Page 409 of 430



 averaging at 29 of 63 compressor stations, which would eliminate only 83 (of 443)

 engines from requiring retrofit under the Rule. This is only a 19 percent reduction in

 engines requiring controls, not the sweeping 67 percent that EPA suggests.

       44.                        the issue,
              Further compounding the issue, EPA’s averaging analysis
                                             EPA's averaging          is based
                                                             analysis is based on
                                                                               on

 a moving target. The averaging analysis must consider data on a 30-day rolling

 emissions average, based on the prior two ozone seasons. Each pipeline engine

 operates a different number of hours every year. Importantly, the number of hours a

 pipeline engine runs per year is primarily a function of customer demand for natural

 gas, which
 gas, which of
            of course varies over
               course varies      time. Kinder
                             over time. Kinder Morgan's
                                               Morgan’s analysis
                                                        analysis indicates
                                                                 indicates that
                                                                           that

 because of
 because of the
            the "rolling"
                “rolling” data
                          data that
                               that informs averaging, over the course of the next five
                                    informs averaging,

 to ten years, nearly every individual engine is likely to require controls, which makes

 any financial benefits of facility-wide averaging obsolete.

 The Direct Costs Kinder Morgan Would be Required to Incur to Comply with
        the Rule Will Restrict Other Planned Business Opportunities.

       45.    Furthermore, the costs Kinder Morgan must divert to comply with the

 Rule will leave Kinder Morgan unable to pursue other planned business

 opportunities. Kinder Morgan's
 opportunities. Kinder Morgan’s long
                                long range
                                     range outlook plans include
                                           outlook plans include a variety of

 business opportunities, including those focused on efficient, greenhouse gas

 reducing projects. In the future, if Kinder Morgan is capital constrained as a result

 of the Rule, Kinder Morgan may be unable to pursue similar projects, for example,

 to build natural gas pipeline facilities to support the retirement of third-party coal-

                                           27
USCA Case #23-1157      Document #2009836           Filed: 07/27/2023    Page 410 of 430



 fired generating units for replacement with lower carbon power generation (i.e.,

 natural gas). For instance, the energy market often releases requests for proposals

 for diversified, reliable, and low-cost energy. Kinder Morgan plays an important role

 in these environmentally responsible and reliable power projects because natural gas

 is needed to support innovative projects. The following are examples of new-energy

 projects that Kinder Morgan typically supports: the Kentucky Municipal Energy

 Agency9 (soliciting innovative energy proposals, including for natural gas
 Agency9

 combustion turbines), the Electric Reliability Council of Texas (soliciting qualified

 loads and generators to make themselves available for deployment in an electric grid

 emergency),10
            10
               Integrated Resource Plans from Dominion Energy South Carolina,

 Inc. (evaluating resource adequacy, reliability, and commodity pricing and



 9
         Kentucky Municipal Energy Agency, Request for Proposals, available at
 https://www.kymea.org/rfp/ (last visited July 13, 2023).
 10
 10
         Electric Reliability Council of Texas, Inc., Emergency Response Service,
                                                                     (“ERS decreases
                 https://www.ercot.com/services/programs/load/eils ("ERS
 available at https://www.ercot.com/services/programs/loacVeils               decreases
 the likelihood of system-wide load shedding by paying qualified scheduling entities
 (QSE) to make arrangements with residential, commercial and industrial participants
 to either reduce consumption or increase generation across the grid when called upon
 by ERCOT. These participants are required to provide an agreed-upon amount of
 megawatts (MW) within ten to thirty minutes to help prevent or alleviate an actual
 or
 or anticipated  Energy Emergency
    anticipated Energy              Alert (EEA)
                          Emergency Alert (EEA) event.”);
                                                 event."); see also Electric Reliability
 Council of Texas, Inc., Emergency Response Service Request for Proposal (Jan. 31,
 2023),                                   available                                   at
 https://view.officeapps.live.com/op/view.aspx?src=https%3A%2F%2Fwww.ercot.
 haps  ://view.officeapps.live.com/op/view.aspx?src=https%3A%2F%2Fwww.ercot.
 com%2Ffiles%2Fdocs%2F2023%2F01%2F31%2FRequest-for-Proposal-ERS-
 com%2F files%2Fdocs%2F2023%2F01%2F31%2FRequest-for-Proposal-ERS-
 AprMay23.docx&wdOrigin=BROWSELINK.


                                           28
USCA Case #23-1157        Document #2009836          Filed: 07/27/2023    Page 411 of 430


                                    11
 developing a strategic framework),
                        framework),11  and Tennessee Valley Authority 2019

 Integrated Resource Plan (evaluating resource adequacy and reliability as the TVA

 power system is required to be self-supporting and operated on a nonprofit basis, at
                                  12
 lowest cost rates, as feasible).
                       feasible).12

        46.    The costs required for compliance with the Rule will also divert

 resources from
 resources from Kinder
                Kinder Morgan’s
                       Morgan's efforts to modernize
                                efforts to modernize facilities,
                                                     facilities, ensure pipeline
                                                                 ensure pipeline

 integrity above and beyond the regulatory requirements, and achieve voluntary

 additional emissions reductions (see supra ¶
                                            ¶ 20). For example, in 2023, Kinder

 Morgan spent approximately $54 million in voluntary operations and maintenance

 practices and approximately $49 million in voluntary capital projects, both focused

 on pipeline integrity. Through these voluntary programs, for example, Kinder

 Morgan conducted additional inline inspections of pipelines beyond what was

 required by the Pipeline and Hazardous Materials Safety Administration, the


 11
        Dominion Energy South Carolina, Inc., 2023 Integrated Resource Plan
               https://www.dominionenergy.com/-/media/pdfs/global/company/desc-
 available at haps  ://www.dominionenergy.com/-/media/pdfs/global/company/desc-
                                     (Filed January
 2023-integrated-resource-plan.pdf (Filed           30, 2023)
                                            January 30, 2023) ("Although
                                                                (“Although most
                                                                            most of  the
                                                                                  of the
 resources added in all build plans are non-emitting resources, the modeling shows
 that natural gas generation is also needed to support reliability and supply low-cost
 energy.”).
 energy.").
 12
        Tennessee Valley Authority, 2019 Integrated Resource Plan, Volume I —    – Final
 Resource Plan (2019), available at https://tva-azr-eastus-cdn-ep-tvawcm-
 prd.azureedge.net/cdn-tvawcma/docs/default-source/default-document-library/site-
 content/environment/environmental-stewardship/irp/2019-documents/tva-2019-
 content/environment/environmental-stewardship/im/2019-documents/tva-2019-
 integrated-resource-plan-volume-i-final-resource-plan.pdf?sfvrsn=44251e0a_4
 integrated-resource-plan-volume-i-final-resource-plan.pdf?sfvrsn=44251e0a        4
 (“Gas, storage
 ("Gas,  storage and  demand response
                 and demand   response additions
                                        additions provide
                                                  provide reliability
                                                           reliability and/or
                                                                       and/or flexibility
                                                                              flexibility
 across all
 across all seasons").
            seasons”).

                                           29
USCA Case #23-1157      Document #2009836              Filed: 07/27/2023   Page 412 of 430



 purpose of which was to inspect for potential anomalies that require additional

 investigation and likely remediation to maintain safe operation of the pipelines. The

 costs of compliance with the Rule will curtail Kinder Morgan from engaging in

 similar projects planned in the next several years.

       47.    Thus, absent a stay, Kinder Morgan will be required to expend

 resources, not
 resources, not recoverable
                recoverable from the government,
                            from the government, at
                                                 at aa level
                                                       level contrary to EPA’s
                                                             contrary to EPA's own
                                                                               own

 cost-effectiveness thresholds and averaging evaluations.

   The Rule’s Accelerated
   The Rule's Accelerated Timeline for Compliance
                          Timeline for            Compounds the
                                       Compliance Compounds the Costs
                                                                Costs to
                                                                      to
                              Kinder Morgan.

       48.    The Rule’s
              The Rule's compliance
                         compliance deadline of May 1, 2026, to implement all the

 mandated controls is unreasonable and impossible. Kinder Morgan operates 443

 engines that do not currently meet the emissions thresholds. Based on Kinder

 Morgan’s significant
 Morgan's significant real-world
                      real-world experience of deploying emissions reduction

 technologies on large engines, Kinder Morgan estimates that a realistic completion

 date is no earlier than March 2029, and December 2030 as the more likely scenario.

 Both dates are well beyond May 1, 2026. As a result, the Rule would require over

 50 percent of
 50 percent of Kinder
               Kinder Morgan's
                      Morgan’s pipeline
                               pipeline engines be granted
                                        engines be granted aa timeline
                                                              timeline extension, and
                                                                       extension, and

 some retrofits could extend even beyond the discretionary timeline extensions the

 EPA considered.

       49.    Transmission pipeline engines are large, complex pieces of equipment,

 and retrofitting engines with emissions controls involves a multi-step process with

                                           30
USCA Case #23-1157      Document #2009836           Filed: 07/27/2023    Page 413 of 430



 long lead times to appropriately stagger control deployment in a manner that ensures

 continuity of service; engine-specific design, engineering, and procurement of

 equipment; and contracting with specialized contractors to install and test equipment

 given the complexity of reciprocating internal combustion engines.

       50.    As noted
              As noted above, nearly 80
                       above, nearly 80 percent
                                        percent of
                                                of Kinder
                                                   Kinder Morgan’s pipeline engines
                                                          Morgan's pipeline engines

 are two stroke lean burn engines. There are only two vendors nationwide with the

 necessary equipment
 necessary equipment and
                     and experience in retrofitting
                         experience in retrofitting Kinder
                                                    Kinder Morgan’s two stroke
                                                           Morgan's two stroke lean
                                                                               lean

 burn engines. These vendors have never processed the scale and magnitude of

                                                      Morgan’s primary
 requests that the Rule forces. Indeed, one of Kinder Morgan's primary contractors
                                                                       contractors

 has shared that over the last 25 years, it has modified approximately 400 total engines

 across all of the pipeline transportation industry. This rate of approximately 16

 engines a year would not allow Kinder Morgan, let alone the entire pipeline

 transportation sector, to achieve compliance by May 1, 2026.

       51.    Even the study EPA published in support of the proposed timetable

 identified lack of skilled labor as a concern. The report says the compliance timeline

                     the skilled
 is possible because the skilled labor
                                 labor pool
                                       pool "should
                                            “should be
                                                    be present,"
                                                       present,” or “has likely
                                                                 or "has likely already
                                                                                already

 grown.” EPA
 grown." EPA Timing
             Timing Report at 60.
                    Report at     No further
                              60. No         data was
                                     further data was provided
                                                      provided to
                                                               to demonstrate
                                                                  demonstrate this
                                                                              this

 is the case. Kinder Morgan and consumers of natural gas cannot rely on the

 unpredictable status of the manufacturer's timetable and
                             manufacturer’s timetable and unsupported
                                                          unsupported prognoses
                                                                      prognoses on
                                                                                on




                                           31
USCA Case #23-1157       Document #2009836             Filed: 07/27/2023     Page 414 of 430



 the skilled labor force, the latter of which realistically needs to be in place in the next

 few months in order to even attempt to comply with the Rule.

        52.    In addition, Kinder Morgan faces other hurdles that impact its

 compliance timeline. Nearly all emissions control projects require permits or permit

 modifications from EPA or state agencies before an operator is allowed to start

 construction to physically modify an engine. EPA estimated permitting timeframes

 range from 6-12
            6–12 months. In my experience at Kinder Morgan, while minor

 modifications for permits often take around 90 days, major permit modifications, or

 new permits, can take 24 months or more to process. These permit applications

 require significant time from both external consultants and Kinder Morgan staff to

 complete, often between 65 and 500 total hours to prepare an individual application.

 For example, as recently as 2021, Kinder Morgan submitted an application for a

 permit modification to a major source permit to the Louisiana Department of

 Environmental Quality. The application was of the type that would be required

 before Kinder Morgan could undertake pipeline engine modifications required by

 the Rule. That project required 200 hours of consultant and Kinder Morgan staff

 time to prepare the application and coordinate with the regulatory agency. From start

 to finish, inclusive of application preparation time, agency processing time, and

 public comment, permitting for this application took 14 months. This is just one of




                                             32
USCA Case #23-1157       Document #2009836           Filed: 07/27/2023    Page 415 of 430



 many real-world examples of realistic permitting timelines caused by factors outside

 of Kinder
 of        Morgan’s control,
    Kinder Morgan's          including understaffed
                    control, including understaffed state
                                                    state agencies.
                                                          agencies.

       53.      Nearly all
                Nearly all of Kinder Morgan’s
                           of Kinder Morgan's facilities where the
                                              facilities where the pipeline
                                                                   pipeline engines are
                                                                            engines are

 located are major sources. This means that if there is any substantial incremental

 increase in any regulated pollutant, the entire facility (and not just an individual

 emissions source) will trigger Prevention of Significant Deterioration permitting,

 which is one of the most complex and lengthy permitting processes required by the

 Clean Air
 Clean Air Act,
           Act, well
                well beyond
                     beyond even
                            even EPA’s longer permitting
                                 EPA's longer permitting timelines.
                                                         timelines.

       54.      Recognizing that its own compliance timeline is incredibly short, EPA

                                                     of the
 attempts to take cover by claiming that publication of the proposed
                                                            proposed rule
                                                                     rule "provided
                                                                          “provided

 roughly an
 roughly an additional year of
            additional year    notice” that
                            of notice" that operators
                                            operators should
                                                      should begin
                                                             begin implementation.
                                                                   implementation.

 88 Fed. Reg. at 36,755. It would have been entirely irresponsible for Kinder Morgan

 to expend capital and material costs on a draft proposed rule that is subject to change,

 and in particular, when the proposal is one of the most highly contested rules EPA

 has published in the recent past, as evidenced by the numerous pending challenges

 to the Rule.

     EPA’s Discretionary and
     EPA's Discretionary and Limited
                             Limited Timeline
                                     Timeline Extensions
                                              Extensions Do Not Address
                         Kinder Morgan's
                         Kinder Morgan’s Concerns.
                                         Concerns.

       55.      The Rule’s
                The        provision of
                    Rule's provision of compliance deadline extensions
                                        compliance deadline            on aa case-by-
                                                            extensions on    case-by-

 case basis does not lessen the concerns on feasibility to comply or costs to comply.

 As stated
 As stated above,
           above, based
                  based on
                        on Kinder Morgan’s experience,
                           Kinder Morgan's             the Rule
                                           experience, the      would require
                                                           Rule would require

                                            33
USCA Case #23-1157      Document #2009836          Filed: 07/27/2023    Page 416 of 430



 Kinder Morgan to apply for a discretionary timeline extension for over 50 percent

 of the pipeline engines in its fleet, and some retrofits could extend even beyond the

 discretionary timeline extensions to be considered by EPA.

       56.    Because the timeline extension is discretionary, Kinder Morgan cannot

 delay its preparations for compliance with the Rule based on an assumption that EPA

 will grant an exemption. This is particularly true where, in its June 2023 Interim

 Final Rule, EPA declined to expressly extend the May 1, 2026 deadline for pipeline

 engines pending judicial review of the Rule. This omission to extend the timeline

 speaks for itself. And because the Rule says that even to be considered for an

 exemption, Kinder Morgan
 exemption, Kinder Morgan must
                          must "take[]
                               “take[] all
                                       all steps
                                           steps possible
                                                 possible to
                                                          to install
                                                             install controls
                                                                     controls for
                                                                              for

            with the
 compliance with the applicable
                     applicable requirements,"
                                requirements,” Kinder
                                               Kinder Morgan
                                                      Morgan must
                                                             must take
                                                                  take action
                                                                       action now
                                                                              now

 to install emissions controls during the time the appeal is pending in this case. 88

 Fed. Reg. at 36,760. Further, whether Kinder Morgan will fail to provide continuous

            its customers
 service to its           (thus violating
                customers (thus violating FERC's
                                          FERC’s continuous service requirements)
                                                 continuous service requirements) is
                                                                                  is

 not listed as a factor EPA will consider in its assessment of whether to grant an

 operator more time to achieve compliance.

       57.    Finally, the extension process further restricts the compliance timeline

 because owner or operator must submit the request to EPA at least 180 days before

 the May 1, 2026 deadline. 88 Fed. Reg. at 36,760. The owner or operator remains

 subject to the May 1, 2026 until the compliance deadline is granted, which opens



                                          34
USCA Case #23-1157      Document #2009836           Filed: 07/27/2023   Page 417 of 430



 Kinder Morgan to fines should that extension not be granted in a timely manner.

 There is no certainty in this completely discretionary path, and Kinder Morgan

 cannot rely on
 cannot rely on it.
                it. As
                    As EPA
                       EPA states,
                           states, "A
                                   “A denial
                                      denial will
                                             will be
                                                  be effective on the
                                                     effective on the date
                                                                      date of
                                                                           of denial."
                                                                              denial.”

 88 Fed. Reg. at 36,760.

 EPA’s
 EPA's Compliance
       Compliance Timetable
                  Timetable Fails to Meaningfully
                            Fails to Meaningfully Consider
                                                  Consider the
                                                            the Natural
                                                                Natural Gas
                                                                        Gas
        Act’s Underlying
        Act's Underlying Purpose
                         Purpose of
                                  of Ensuring Continuity of
                                     Ensuring Continuity of Service.
                                                            Service.

       58.    Another critical component of the compliance timeline is ensuring

                                              Morgan’s obligation
 continuity of service consistent with Kinder Morgan's obligation to
                                                                  to comply with the
                                                                     comply with the

 Natural Gas Act as implemented by FERC. Protecting continuity of service is a

 paramount concern for FERC, and natural gas pipelines must remain operational at

 all times to meet their natural gas delivery obligations. The expedited timeline for

 the Rule’s
 the        mandated controls
     Rule's mandated          will curtail
                     controls will curtail Kinder
                                           Kinder Morgan’s ability to
                                                  Morgan's ability to meet
                                                                      meet its FERC
                                                                           its FERC

 obligations. It does not appear that EPA considered the central role that the pipeline

 transportation sector plays in providing natural gas to consumers and to the overall

 energy generation and electric grid reliability discussion.

       59.    According to publicly available information, EPA documented only

 one meeting with FERC in January 2023, well into the rulemaking process. EPA-

 FERC Meeting
 FERC Meeting on
              on GNP”
                 GNP" Presentation,
                      Presentation, Dkt. No. EPA-HQ-OAR-2021-0668-1175

 (Jan. 9, 2023), https://www.regulations.gov/document/EPA-HQ-OAR-2021-0668-

 1175. It is unclear from the singular EPA memorandum memorializing the meeting

 whether, for example, EPA received feedback on the Rule as it relates to both the

                                           35
USCA Case #23-1157      Document #2009836           Filed: 07/27/2023    Page 418 of 430



 electric power industry or the natural gas pipeline transportation industry, both of

 which fall
 which      under FERC's
       fall under FERC’s primary
                         primary jurisdiction.
                                 jurisdiction. Overall,
                                               Overall, commenters,
                                                        commenters, including

 Kinder Morgan, expressed concerns regarding system reliability. EPA did not

 meaningfully address these important concerns on the record, in particular with

 respect to pipeline engines.

       60.    Because natural gas is a foundational building block in the American

 economy, natural gas pipeline service interruptions pose significant harms to the

 public interest. Service interruptions can lead to electric power outages, heating

 outages, and delays to industrial supply chains.

       61.    Given the considerable number of engines that require controls

 (approximately 360 to 443), Kinder Morgan will not be able to fulfill its obligation

 of continuity of service in all cases. In particular, based on my knowledge and

 experience of the complexity of engine installations, I expect that Kinder Morgan

 will need to take pipeline engines out of service to complete retrofits, timeframes for

 which will depend on the complexity of the modification.

       62.     Ordinarily, most maintenance is completed by the start of the winter

 season to prevent disruptions to heating season needs. That said, in the south, some

 maintenance is performed before the summer heat so as not to impact peak cooling

 season needs. Either way, it is a complex evaluation that is highly sensitive to peak

                        pipeline segment.
 demand on a particular pipeline segment. It is Kinder
                                          It is        Morgan’s practice
                                                Kinder Morgan's practice that
                                                                         that prior
                                                                              prior


                                           36
USCA Case #23-1157     Document #2009836           Filed: 07/27/2023   Page 419 of 430



 to the next maintenance season, all approved maintenance and project activities are

 reviewed and an initial outage schedule is developed. The schedule takes into

 consideration a variety of factors to minimize interruptions. As impacts are

 calculated using modeling, consolidation or separation of maintenance and project

 activities are recommended to minimize outage impacts and durations. These

 recommendations are reviewed by key stakeholders within Kinder Morgan. A final

 outage schedule is developed just prior to the start of maintenance, which is then

 further refined and updated throughout the maintenance season.

       63.   To make
             To make clear the gravity
                     clear the gravity of Kinder Morgan's
                                       of Kinder Morgan’s concerns regarding
                                                          concerns regarding

 system capacity, Kinder Morgan performed computer simulation modeling on two

 of its transmission pipelines to evaluate the pipeline system capacity impacts that

 will result during implementation of the Rule. In particular, Kinder Morgan modeled

 its Tennessee Gas Pipeline (TGP) and the Natural Gas Pipeline Company of America

 LLC (NGPL) pipelines. TGP is a bi-directional pipeline system that transports

 natural gas supplied from the Northeastern United States, to diverse end-use demand

 markets including New York City and Boston in the Northeast, the Louisiana and

 Texas Gulf Coast, and Mexico, and back. TGP offers more than 1.6 million

 compression horsepower, 11,760 miles of pipeline, and 75.5 billion cubic feet of

 working natural gas storage. NGPL is the largest transporter of natural gas into the

 high-demand Chicago-area market, as well as one of the largest interstate pipeline



                                         37
USCA Case #23-1157       Document #2009836            Filed: 07/27/2023    Page 420 of 430



 systems in the country. NGPL offers approximately 9,100 miles of pipeline, more

 than 1 million compression horsepower and 288 billion cubic feet of working natural

 gas storage. The pipeline system provides its customers access to all major natural

 gas supply basins.

        64.    The model calculated the amount of gas that would not be delivered to

 Kinder Morgan's
 Kinder Morgan’s customers
                 customers if Kinder Morgan
                           if Kinder        took engines
                                     Morgan took engines offline to retrofit
                                                         offline to retrofit or

 modify with the required control technologies. The amount of gas was calculated in

 dekatherms per day (Dth/d). For perspective when considering the results of the

 model, based on information available through the U.S. Energy Information

 Administration, during the winter months, approximately 1,000 Dth/d of natural gas

                                      day,13 and 1,000 Dth/d of natural gas in the
 serves approximately 3,000 homes per day,13

                                             day.14 These modeling scenarios
 summer serves approximately 3,600 homes per day.14

 were based on June 2023 delivery obligations, and the modeling did not account for

 any other maintenance or outages, which is expected to have a negative

 compounding effect on the calculated capacity impacts.


  13
  13          forecasts U.S. winter natural gas bills will be 30% higher than last winter,
         EIA forecasts
  U.S.     E
           ENERGY
            NERGY       IINFORMATION
                          NFORMATION      ADMINISTRATION
                                          ADMINISTRATION         (Oct.     25,     2021),
  https://www.eia.gov/todayinenergy/detail.php?id=50076#:~:text=For%20househol
  haps ://www.eia.gov/todayinenergy/detail.php?id=50076#:—:text=For%20househol
  ds%20that%20use%20natural,demand)%20compared%20with%20last%20winter.
  ds%20that%2Ouse%2Onatural,demand)%20compared%20with%201ast%20winter.
  14
         EIA expects 2019 summer average residential electricity use to be lowest in
  five years,
 five   years, U.S. E            INFORMATION ADMINISTRATION
                         NERGY INFORMATION
                       ENERGY                    ADMINISTRATION (April 18, 2019),
  https://www.eia.gov/todayinenergy/detail.php?id=39132.
  hops ://www.eia.gov/todayinenergy/detail.php?id=39132.


                                            38
USCA Case #23-1157      Document #2009836          Filed: 07/27/2023    Page 421 of 430



       65.    Kinder Morgan ran two general scenarios in the model. The first

 scenario analyzed system capacity impacts on the affected sections of the TGP and

 NGPL pipelines, assuming Kinder Morgan completed all engine modifications

                                                  2026.15 The second scenario
 required across those pipeline systems by May 1, 2026.15

 analyzed system capacity impacts on the TGP and NGPL pipelines, considering

 implementation of the engine retrofits in the amount Kinder Morgan reasonably

 believes it can accomplish by May 1, 2026. In this second scenario, to ensure

 compliance with the Rule, this second model run assumed that Kinder Morgan

 would shut-down any engines subject to the Rule as of May 1, 2026 that do not meet

 the nitrogen oxides emissions thresholds, because the sweeping exceptions to the

 Rule offer no regulatory certainty. For purposes of this Declaration, I provide a

 summary of three specific impacts to exemplify the types of capacity constraints that

 will be caused by the Rule, and which EPA failed to consider.

       66.    The first example summarizes the capacity impacts from the first

 scenario—compliance by May 1, 2026—on a segment of NGPL that services the

 greater Chicago area. This area is a high-demand market, especially in the winter



 15
       Out of an abundance of clarity, Kinder Morgan cannot achieve compliance
 across its entire fleet by May 1, 2026 due to vendor availability, supply chain,
 permitting, and the significant number of engines subject to the Rule. This modeling
 exercise, however, exemplifies the critical component of harm to both the public and
 Kinder Morgan that EPA failed to consider by requiring a 31-month compliance
 timeline.

                                          39
USCA Case #23-1157      Document #2009836          Filed: 07/27/2023    Page 422 of 430



 months, which makes this a particularly sensitive market. And, NGPL provides

 approximately 60 percent of the natural gas to the Chicago area market. The analysis,

 reflected in Figure 3, below, shows that in the winter heating season months of 2024

 and 2025, NGPL would be unable to provide approximately 587,000 Dth/d of natural

 gas. This equates to an inability to provide the natural gas necessary to heat

 approximately 1,761,000 homes. This includes the compression located at storage

 fields on this line, which are required to meet daily peak demand on the coldest, and

 thus most critical, days in the winter. Implementing the Rule could result in a 20

 percent overall deficit in meeting the Chicago market peak demand on winter days.

 Moreover, the reduction in storage capacity on this system will also substantially

 increase the cost of natural gas for consumers.




                                          40
USCA Case #23-1157                  Document #2009836                                Filed: 07/27/2023           Page 423 of 430



     Figure 3: NGPL Chicago Area Market Capacity Impacts (Scenario 1)
                                   C511


             190




                                                                                             CS 901




                            NGPL Chicago Area Market Deficit Impacts
                   Winter 2024/25: 587,000 Dth/d = 1,767,000 homes
                   Winter 2025/26: 80,000-226,000 Dth/d = 240-678,000 homes
                   Summer 2024: 70,000 MU -id = 252,000 homes



                                               Fa.



                                                           llUeols    „...


                                                                                                           Indiana




                                                                             C9   2009




                                                              9 310




                    afIssouri




                                                                                                      Kentucky

       67.           Kinder Morgan also evaluated a segment of the TGP under the first

 scenario—compliance by May 1, 2026. This segment of TGP services the Gulf Coast

 region (Alabama, Mississippi, and Louisiana). The analysis, reflected in Figure 4,

 below, shows a multitude of capacity impacts, peaking in the winter months of 2024

 at a deficit of 277,000 Dth/d of natural gas (Station 555 to 534 impacts). Importantly,

 this portion of TGP currently serves six power plants. Those power plants generate

 enough electricity to serve millions of homes, commercial loads, and industrial

 operations,
 operations, daily.        Morgan’s implementation
             daily. Kinder Morgan's implementation of the unreasonable
                                                   of the unreasonable deadline
                                                                       deadline in
                                                                                in

 the Rule
 the Rule would
          would impede
                impede Kinder
                       Kinder Morgan's
                              Morgan’s ability
                                       ability to serve those
                                               to serve those power
                                                              power plants,
                                                                    plants, which
                                                                            which

                                                                41
USCA Case #23-1157                   Document #2009836                        Filed: 07/27/2023                                      Page 424 of 430



               impede the
 in turn would impede the power
                          power plants'
                                plants’ ability
                                        ability to
                                                to provide
                                                   provide electricity
                                                           electricity to
                                                                       to millions of

 consumers. This is just one pipeline segment of the TGP system, and multiple other

 segments will be impacted.

 Figure 4: TGP Gulf Coast Region Capacity Impacts (Scenario 1)
                             _                                                      Tennessee
                                                                                                     71
                                                                                                                                    CS 66
                                                                                                                                              555r-
                                        STATION 555 TO 534 Deficit Impacts
                         Summer 2024: 107,000 Dti/d = 385,200 homes
                         Winter 2024: 277,000 Dth/d = 831,000 homes                                                                 CS 550

                         Summer 2025: 3,000 to 71,000 Did = 10,800-255,600 homes
                         Winter 2025/26: 40,000 to 229,000 Dth/d = 120,000-687,000 homes
                         Summer 2026: 161,00012ft/id = 579,600

                                                                                            011,04.1.•              nfin   CS 546

                                                     CS 843




                                                                                                    ••••••••
                                                                      Mississippi                                                   Alabama
                                          CS 538
                    CS                                                                                         CS



                                                                                                                                       Ileenar.




                              834           STATION 834 TO 823 Deficit Impacts
   40                                     Summer 2024: 139,000 DthJd = 500,400                  CS 530
                                          Winter 2024: 308,000Wd = 924,000


                     CS 527


                                                                                     534
                                                                                                                                                  cF:
        CS 504




        823
                              Louisiana
          823                                   STATION 523 TO 823 Deficit Impacts
                                            Summer 2024: 15,000 Dth/d = 54,000 homes                                       Alabama

                                            Winter 2024: 275,000 Dth/d = 825,000 homes


                                                                ~cssn

                                                         523




              68.   The following analysis summarizes the capacity impacts modeled on

 the same TGP Gulf Coast region, assuming a schedule Kinder Morgan reasonably

 expects to retrofit pipeline engines by May 1, 2026. This model assumes Kinder

 Morgan shuts down non-compliant pipeline engines after May 1, 2026, as reliance

                                                                 42
USCA Case #23-1157                   Document #2009836                                  Filed: 07/27/2023                               Page 425 of 430



 on any exceptions is not a reasonable regulatory approach. The model shows that

 there are significant service interruptions, in both winter and summer months. As

 indicated above, this portion of the TGP system primarily serves power plants, which

 would means there could be loss of service to consumers, including residential,

 commercial, and industrial..
                 industrial.

 Figure 5: TGP Gulf Coast Region Capacity Impacts (Scenario 2)
                                                                                                Tennessee                                   CS 555
                                                                                                               71                                        555

                                                                                                  CS651

                                                                                                                                              11••••••




                        A rLomas                 STATION 555 TO 534 Deficit Impacts                                                         C111160

                                           Summer 2024: 446,000 Dth/d = 1,605,600 homes
                                           Winter 2024: 464,000 Dth/d = 1,392,000 homes                                 7.1•••••
                                                                                                                                                               Wan




                          "a,
                                                 C                                                                                 CS 544

                                                       CS &3




                                                 r•I
                                                                                  Mississippi                                               Alabama
                                                                                                                       C$1142L
                               STATION 834 TO 823 Deficit Impacts
                        Summer 2024: 324,000 Dtlyd = 1,166,400 homes
                        Winter 2024: 311,000 Dthid = 933,000 homes
    a-
    Mw                                                                                              44

         GS
                                     834                                                                    CS 6311




                                                                                  11*
                        CS e27                                            PAL•I


                                                                                                 534
               C11004
                                                                                   I                             *K.
                                                                                                                                                               lro7€a

                                                     STATION 523 TO 823 Deficit Impacts
              273
                                   Louisiana   Summer 2024: 292,000 Dth/d = 1,051,200 homes
               823                             Winter 2024: 275,000 Dth/d = 825,000 homes                                          Alabama
                           4,

                                                                                                         Louisiana

                                                                                  ~CS    527


                                                               523




                                                                     43
USCA Case #23-1157      Document #2009836          Filed: 07/27/2023    Page 426 of 430



       69.    By requiring every major transmission pipeline system in the United

 States to take pipeline engines offline at the same time, the options for temporarily

 re-routing flow of natural gas to the consumer will be limited. Bottom line, Kinder

 Morgan is greatly concerned about providing reliable service to the public.

   Kinder Morgan will Face Additional Financial Harm (Not Considered by
   EPA) For Failure to Provide Continuity of Service in Favor of Compliance
                                with the Rule.

       70.    Service interruptions also mean that Kinder Morgan will incur

 additional financial harm from being unable to meet its FERC obligations to

 customers—a harm that EPA did not consider, even in its Regulatory Impact

 Analysis. Natural gas shippers who contract for firm capacity on a FERC-regulated

 interstate transmission pipeline typically pay two charges to transport gas on a

 pipeline. The
 pipeline. The first
               first charge,
                     charge, called
                             called aa "reservation
                                       “reservation charge,” is based
                                                    charge," is based on the amount
                                                                      on the amount of
                                                                                    of

 pipeline capacity
 pipeline capacity reserved by the
                   reserved by the shipper.
                                   shipper. The second charge,
                                            The second charge, called
                                                               called aa "usage
                                                                         “usage

 charge,” is based
 charge," is based on the actual
                   on the actual amount
                                 amount of gas transported
                                        of gas transported by
                                                           by the
                                                              the shipper.
                                                                  shipper. When

 transmission pipeline service is interrupted for any reason, FERC policy requires

 Kinder Morgan
 Kinder Morgan to
               to provide
                  provide its
                          its shippers
                              shippers with
                                       with "reservation
                                            “reservation charge
                                                         charge credits”—essentially
                                                                credits"—essentially

 a refund of the reservation charge the shipper paid to reserve pipeline capacity.

        policy to
 FERC’s policy
 FERC's        to refund
                  refund reservation
                         reservation charges is crafted
                                     charges is         to ensure
                                                crafted to        that service
                                                           ensure that service

 provided is as reliable as possible to minimize the harm to the public and financial

 injury caused by service outages.


                                          44
USCA Case #23-1157       Document #2009836          Filed: 07/27/2023    Page 427 of 430



       71.      By way of example, consider Figure 4, described in Paragraph 67

 above. In that example, if TGP failed to deliver the deficit capacity for pipeline

 segments 500 and 800 shown in Figure 4, over the course of seasons shown along

 the three highlighted portions of the pipeline system, TGP would have to refund

 reservation charge credits in the amount of approximately $120 million. This

 scenario offers just one of many examples of the financial impact Kinder Morgan

 could incur from failure to ensure continuity of service under the Natural Gas Act.

 Kinder Morgan will face this situation innumerable times through implementation

 of the Rule.

       72.      EPA did not consider these financial impacts of the required refund of

 reservation charge
 reservation charge credits in its
                    credits in its cost analyses. Kinder
                                   cost analyses. Kinder Morgan's
                                                         Morgan’s analysis
                                                                  analysis shows
                                                                           shows that
                                                                                 that

 when distributing the $120 million reservation charge credits across the applicable

 pipeline engines, each individual engine will see an additional capital cost in the

 range of $750,000 to $5,400,000 million, which increases the final cost-per-ton for

 each pipeline engine by multiple thousands of dollars. This is consequential when

 the cost
 the      threshold is
     cost threshold is the
                       the critical “amount” required
                           critical "amount" required by
                                                      by the
                                                         the Clean
                                                             Clean Air
                                                                   Air Act.
                                                                       Act.

       73.      If Kinder Morgan is put in the untenable position of continuing to

 provide natural gas services to its customers and the public, but failing to meet the

 compliance obligations of the Rule, Kinder Morgan would be exposed to civil, and

 even potential criminal, liability by EPA. For a facility that fails to comply with the


                                           45
USCA Case #23-1157      Document #2009836           Filed: 07/27/2023    Page 428 of 430



 Rule, EPA can seek a permanent or temporary injunction on the source and/or fines

 up to $117,468 (adjusted for inflation) per day for each violation (per engine). In

 addition to the civil penalties, the Clean Air Act includes criminal penalties for

 knowingly violating a FIP.

   The
   The Rule’s
       Rule's Enormous
              Enormous Costs
                       Costs of
                             of Compliance are Not Recoverable From the
                                Compliance are
                               Government.

       74.    Given the magnitude
              Given the magnitude of the changes
                                  of the         necessary for
                                         changes necessary for Kinder Morgan’s
                                                               Kinder Morgan's

 engine assets to comply with the Rule by the May 1, 2026 deadline, the size and

 complexity of these engines, and the long lead time for installations, Kinder Morgan

 will be
 will be forced to incur
         forced to incur substantial
                         substantial costs during this
                                     costs during this Court’s
                                                       Court's consideration
                                                               consideration of the Rule
                                                                             of the Rule

 to ensure compliance if the Rule is ultimately upheld. Kinder Morgan simply cannot

 afford to wait for the resolution of legal challenges to the Rule, or wait for EPA to

 determine at a later date it is going to extend the May 1, 2026 deadline, before

 installing controls.

       75.    The costs of compliance are not recoverable from EPA or any other

 branch of federal or state government. For FERC-regulated pipelines, which

 includes the
 includes the majority
              majority of Kinder Morgan's
                       of Kinder Morgan’s pipelines
                                          pipelines subject
                                                    subject to
                                                            to the
                                                               the Rule,
                                                                   Rule, there
                                                                         there is
                                                                               is no
                                                                                  no

 way to recover these costs through existing FERC-approved rates. There are only

 limited circumstances, and no guarantee, for recovery of future
                                                           future costs through

 FERC’s ratemaking
 FERC's ratemaking process. For non-FERC regulated pipelines, which includes




                                           46
USCA Case #23-1157      Document #2009836           Filed: 07/27/2023     Page 429 of 430



 several of
 several of Kinder
            Kinder Morgan's
                   Morgan’s pipelines
                            pipelines subject
                                      subject to
                                              to the
                                                 the Rule, there is
                                                     Rule, there is no
                                                                    no regulatory
                                                                       regulatory

 mechanism for Kinder Morgan to seek revisions to future rates.

       76.    The financial impact of reservation charge credits as described above

 are also unrecoverable under FERC policy, further exacerbating the financial harm

 to Kinder
 to Kinder Morgan
           Morgan to
                  to ensure
                     ensure compliance during the
                            compliance during the Court's
                                                  Court’s consideration
                                                          consideration of the Rule.
                                                                        of the Rule.

       77.    Nor would
              Nor would the
                        the costs be recoverable
                            costs be recoverable from Kinder Morgan's
                                                 from Kinder Morgan’s vendors.
                                                                      vendors.

 Kinder Morgan must pay significant non-refundable deposits even to secure a

 vendor’s services,
 vendor's services, which
                    which Kinder
                          Kinder Morgan must do
                                 Morgan must do 6
                                                6 to
                                                  to 12
                                                     12 months
                                                        months before
                                                               before an
                                                                      an engine
                                                                         engine

 is offline to ensure continuity of service. Vendors also require timely, and

 incremental payment as an emissions control project is in development and through

 to completion. For example, many vendors require 30 percent of a payment due upon

 acceptance of the purchase order, 20 percent due upon submittal of drawings for

 approval, 30 percent due upon material shipment, and 20 percent due upon final

 commissioning of the unit. Once spent, the costs are not recoverable.

       78.    As a result, Kinder Morgan will not be able to prioritize the public

 interest by serving all of its customers. Kinder Morgan also will not recover any

 costs it incurs for compliance with the Rule, and will not be able to salvage the lost

 business opportunities
 business               resulting from
          opportunities resulting      the Rule’s
                                  from the Rule's forced
                                                  forced reallocation of funds.
                                                         reallocation of funds. These
                                                                                These

 harms are irreparable and thus preventable only by a stay of the Rule.




                                          47
USCA Case #23-1157     Document #2009836           Filed: 07/27/2023    Page 430 of 430



       79.   I declare under penalty of perjury that the foregoing is true and correct.

       Executed on this 26th day of July, 2023.



                                      .42A, ttk,)
                                       _________________________
                                       Kenneth W. Grubb
                                       Chief Operating Officer
                                       Kinder Morgan, Inc.




                                          48
